              Case 20-11139-1-rel                 Doc 1    Filed 08/26/20 Entered 08/26/20 12:21:49                                Desc Main
                                                          Document      Page 1 of 370

Fill in this information to identify your case:

United States Bankruptcy Court for the:

NORTHERN DISTRICT OF NEWYORK

Case number   0rknown)                                                      Chapter      11

                                                                                                                          E   Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-lndividuals Filin g for Bankruptcy                                                                                          u19
lf more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known)
For more information, a separate document, lnstructions for Bankruptcy Forms for Non-lndividuals, is available.


1.   Debtor's name                lnterstate Commodities. lnc.

2.   All other names debtor
     used in the last 8 years
     lnclude any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer ldentif ication     XX-XXXXXXX
     Number (ElN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  7 Madison Street
                                  Troy, NY 12180
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Rensselaer                                                      Location of principal assets, if different from principal
                                  County                                                          place of business
                                                                                                  See lnventory Lists
                                                                                                  Number, Skeet, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type ofdebtor                I   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                  E   Partnership (excluding LLP)

                                  E   Other. Specify:




Official Form 201                          Voluntary Petition for Nonlndividuals Filing for Bankruptcy                                               page     1
              Case 20-11139-1-rel                         Doc 1     Filed 08/26/20 Entered 08/26/20 12:21:49                                            Desc Main
                                                                   Document      Page 2 of 370
Debtor lnterstateCommodities.lnc.                                                                                Case number (if known)
          Name



7    Describe debtor's business A. Checkone:
                                         E    Health Care Business (as defined in 11 U.S.C. S 101(27A))
                                         E    SingleAsset Real Estate (as defined in           '11   U.S.C. S 101(518))
                                         E    Railroad (as defined in 11 U.S.C. S     1   01   (44))
                                         E    Stockbroker (as defined in 11 U.S.C. S 101(53A))
                                         E    Commodity Broker (as defined in 11 U.S.C. S 1 Ol (6))
                                         E    Clearing Bank (as defined in 11 U.S.C. S 781(3))
                                         I    None ofthe above

                                         B. Check all that apply
                                         E    Tax-exempt entity (as described in 26 U.S.C. g501)
                                         E    lnvestment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. S80a-3)
                                         E    lnvestment advisor (as defined in 1 5 U.S.C. S8Ob-2(aX11))

                                         C. NAICS (North American lndustry Classification System) 4-digit code that best describes debtor
                                            See http://www.uscourts.qov/four-diqit-national-association-naics-codes.



8.   Under which chapter of the          Check one:
     Bankruptcy Code is the
     debtor filing?
                                         E    Chapter 7
                                         E    Chapter 9
                                         I    Chapter 1'1. Check alt that appty:
                                                                  tr   Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                       are less lhan $2,725,625 (amount subject to adjustment on 4101122 and every 3 years after that).
                                                                  tr   The debtor is a small business debtor as deflned in 11 U.S.C. S 101 (51 D). lf the debtor is a small
                                                                       business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                       statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                       procedure in 11 U.S.C. S 1116(1XB).
                                                                       A plan is being filed with this petition.
                                                                       Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                       accordance with 11 U.S.C. S 1126(b).
                                                                       The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                       Exchange Commission according to $ 1 3 or I 5(d) of the Securities Exchange Act of 1934. File the
                                                                       aftachment to Voluntary Petition for Non-lndividuals Filing for Bankruptcy under Chapter 11
                                                                       (Official Form 201A) with this form.
                                                                       The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                         fl   Chapter'12



9.   Were prior bankruptcy               I    tto.
     cases filed by or against
     the debtor within the last 8        E    Yes.
     years?
     lf more than 2 cases, attach a
     separate list"                                    District                                        When                               Case number
                                                       District                                        When                               Case number


10. Are any bankruptcy cases
     pending or being filed by a
                                         Ino
     business partner or an              E    Yes.
     affiliate of the debtor?
     List all cases. lf more than   1,
     attach a separate list                            Debtor                                                                         Relationship
                                                       District                                        When                           Case number, if known




Official Form 201                                    Voluntary Petition for Non-lndividuals Filing for Bankruptcy                                                   page 2
                 Case 20-11139-1-rel                    Doc 1      Filed 08/26/20 Entered 08/26/20 12:21:49                                   Desc Main
                                                                  Document      Page 3 of 370
Debtor lnterstateCommodities lnc.                                                                           Case number (if known)




11   .   Why is the case filed in    Check all that apply:
         this district?
                                     I      Debtor has had its domicile, principal place of business, or principal assets in this district for '180 days immediately
                                            preceding the date of this petition or for a longer part of such 180 days than in any other district.

                                     El     A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12.      Does the debtor own or      lNo
         have possession of any
         real property or personal                 Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                     El Yes.
         property that needs
         immediate attention?                      Why does the property need immediate attention? (Check all that apply.)
                                                   E   lt poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety
                                                       What is the hazard?

                                                   E   lt needs to be physically secured or protected from the weather.
                                                   E    lt includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                       livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                   E other
                                                   Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                   ls the property insured?
                                                   Eltto
                                                   fl yes. lnsurance     agency

                                                              Contact name
                                                               Phone



              Statistical and administrative information

13.      Debtor's estimation of                Check one:
         available funds
                                               I    Funds will be available for distribution to unsecured creditors.

                                               E    After any administrative expenses are paid, no funds will be available to unsecured creditors.


14.      Estimated number of         E    r-+g                                           tr   r,ooo-s,ooo                            E   zs,oor-so,ooo
         creditors                   tr   so-gs                                          E soor-ro,ooo                               E   so,oor-roo,ooo
                                     E    roo-rgg                                        E to,oot-zs,ooo                             E   More than100,000
                                     I    zoo-ggg


15.      Estimated Assets            tr   $o - $so,ooo                                   tr   $r,ooo,oor - $10 mirion                E   $soo,ooo,oo1 - $1 birion
                                     E    $so,oor - $1oo,ooo                             I    $ro,ooo,oot - $50 mirion               E   $r ,ooo,ooo,oo r - $ ro binion
                                     EI $roo,oor - $5oo,ooo                              E    $so,ooo,oot - gloo minion              E   $r o,ooo,ooo,oo1 - $50 birion
                                     E $soo,oot - $1 miltion                             tr   $r oo,ooo,ool - $5oo mirion            E   More than $50 billion


16.      Estimated liabilities       tr   $o - $so,ooo                                   E $t,ooo,oor - gio mirion                   E   $soo,ooo,oo1 - $1 birion
                                     E    $so,oor - gloo,ooo                             I    $to,ooo,oot - $50 mirion               E   $r ,ooo,ooo,ool - $10 birion
                                     E    $roo,oor - $5oo,ooo                            tr   $so,ooo,oot - $'1oo mirion             E   $ro,ooo,ooo,ool - g5o birion
                                     E    $soo,oot - $1 milion                           E    $too,ooo,oo1 - $5oo milion             E   More than $50 billion




Official Form 201                                  Voluntary Petition for Non-lndividuals Filing for Bankruptcy                                                     page 3
              Case 20-11139-1-rel                Doc 1      Filed 08/26/20 Entered 08/26/20 12:21:49                                 Desc Main
                                                           Document      Page 4 of 370
Debtor    Interstate Commodities, Inc.                                                             Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on       08/25/2020
                                                  MM / DD / YYYY


                             X       /s/ Michael G. Piazza                                                Michael G. Piazza
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Chief Operating Officer




                             X      /s/ Gerard R. Luckman                                                  Date    08/26/2020
18. Signature of attorney
                                 Signature of attorney for debtor                                                 MM / DD / YYYY

                                 Gerard R. Luckman
                                 Printed name

                                 Forchelli Deegan Terrana LLP
                                 Firm name

                                 333 Earle Ovington BLVD.
                                 Suite 1010
                                 Uniondale, NY 11553
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     516-812-6291                  Email address      GLuckman@forchellilaw.com


                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 4
            Case 20-11139-1-rel                        Doc 1          Filed 08/26/20 Entered 08/26/20 12:21:49                     Desc Main
                                                                     Document      Page 5 of 370




 Fill in this information to identify the case:

 Debtor name         Interstate Commodities, Inc.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                    amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                         12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                 Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

                 Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

                 Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

                 Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

                 Schedule H: Codebtors (Official Form 206H)

                 Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                 Amended Schedule
                 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                 Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on           08/25/2020                             X      /s/ Michael G. Piazza
                                                                         Signature of individual signing on behalf of debtor

                                                                         Michael G. Piazza
                                                                         Printed name

                                                                         Chief Operating Officer
                                                                         Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                          Best Case Bankruptcy
                 Case 20-11139-1-rel                       Doc 1           Filed 08/26/20 Entered 08/26/20 12:21:49                                            Desc Main
                                                                          Document      Page 6 of 370

 Fill in this information to i  the case:
 Debtor name I lnterstate Gommodities, lnc.
 United States Bankruptcy Court for the: NORTHERN DISTRICT OF NEW                                                                                       E    Check if this is an
                                                          YORK
 Case number (if known):                                                                                                                                     amended filing




Official Form 204
Chapter 11 or Chapter 9 Gases: List of Creditors Who Have the 20 Largest Unsecured Glaims and
Are Not lnsiders                                                                           nns
A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. lnclude claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. S 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                               lndicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                            is contingent,     lf the claim is fully unsecured, fill in only unsecured claim amount. lf
 including zip code        creditor contact       debts, bank loans,                            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                                   professional services,           disputed        value of collateral or setoff to calculate unsecured claim.
                                                                   and government                                   Total claim, if           Deduction for value       lJnsecured claim
                                                                   contracts)                                       partiallv secured         of collateral or setoff
 ATEL LEASING                    Tom Monroe                                                                                                                                    $372,756.25
 CORPORATION ///
 PO Box 67'1597                  tmonroe@atel.com
 DALLAS, TX
 75267-1597
 BNSF RAILWAY                                                                                                                                                                   $277,894.99
 COMPANY
 3115 Solutions
 Center
 Chicago, lL
 50677-3001
 CANADIAN                                                                                                                                                                       $229,723.99
 NATIONAL
 Attn: Non-Freight
 Management
 PO Box 71351
 Chicago, lL
 60694-1351
 CANADIAN                                                                                                                                                                       $372,440.37
 NATIONAL /'
 P.O. Box 71206
 Chicago, lL
 60694-l 206
 CHICAGO FREIGHT                                                                                                                                                             $1,376,437.90
 CAR LEASING CO //
 PO Box 75129
 Chicaqo. lL 50675
 CONSOLIDATED                                                                                                                                                                   $253,182.00
 LOGISTICS
 SOLUTIONS INC
 13041 Binney Street
 Omaha. NE 68164
 INFINITY                                                                                      Unliquidated                                                                     $764,648.43
 TRANSPORTATION                                                                                Disputed
 2016 1 LLC il
 PO BOX 645510
 Cincinnati, OH
 45264-5510

Official form   204                              Chapter 11 or Chapter      I   Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                  Page   1



Software Copyright (c) 1996-2020 Best Case, LLC - M.bestcase.com                                                                                                      Best Case Bankruptcy
                 Case 20-11139-1-rel                         Doc 1       Filed 08/26/20 Entered 08/26/20 12:21:49                                               Desc Main
                                                                        Document      Page 7 of 370


 Debtor lnterstate Commodities, lnc.                                                                                  Case number (if known)
            Name

 Name of creditor and      Name, telephone number Nature of claim                                lndicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                             is contingent,     lf the claim is fully unsecured, fill in only unsecured claim amount. lf
 including zip code        creditor contact       debts, bank loans,                             unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                                  professional services,             disputed        value of collateral or setoff to calculate unsecured claim.
                                                                                                                     Total claim, if           Deduction for value       Unsecured claim
                                                                                                                     oartiallv secured         of collateral or setoff
 MGH RAILCAR                                                                                                                                                                    $189,440.27
 SERVICES LIMITED
 8207 Fainivays West
 Dr.
 Reqina, SK S4Y 0Al
 MRXX CORP. ///                                                                                                                                                               $1,932,493.39
 PO Box 189
 Hampton, NH
 03843-0189
 NORFOLK                                                                                                                                                                        $513,212.10
 SOUTHERN //
 PO BOX 116944
 Atlanta, GA
 30368-6944
 PROGRESS RAIL                                                                                                                                                                $7,369,744.91
 LEASING //
 25083 Network
 Place
 Chicago, lL
 60673-1250
 RAS DATA SERVICE                                                                                                                                                               $370,374.62
 1510 PLAINFIELD
 RD
 SUITE 3
 DARIEN. IL 60561
 THE ANDERSONS                                                                                  Unliquidated                                                                  $1,104,025.15
 rNc                                                                                            Disputed
 PO BOX 84878
 CHICAGO,IL
 60689-8478
 TRINITY LEASING                                                                                                                                                                $262,92',1.24
 CUSTOMER
 PAYMENT
 ACCOUNT
 w    510131
 POBOX7777
 PHILADELPHIA, PA
 1   91 75-01 31
 TTX COMPANY                                                                                                                                                                  $3,669,353.05
 AGENT FOR CSXT
 Lockbox# 22984
 22984 Network
 Place
 Chicago, lL
60673-1229
TTX COMPANY                                                                                                                                                                     $755,404.24
AGENT FOR NS
 LOCKBOX #22984
 22984 NETWORK
 PLACE
 CHICAGO,IL
 60673-1229


Official form   204                                  Chapter 11 or Chapter   I   Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 Page 2

Software Copyright (c) 1996-2020 Best Case, LLC -   w.bestcasa.com                                                                                                    Best Case Bankruptcy
                Case 20-11139-1-rel                          Doc 1       Filed 08/26/20 Entered 08/26/20 12:21:49                                            Desc Main
                                                                        Document      Page 8 of 370


 Debtor lnterStateCommodities, lnc.                                                                                Case number (if known)
            Name

 Name of credltor and             Name, telephone number Nature of claim                      lndicate lf claim   Amount of claim
 complete mailing address,        and email address of   (for example, trade                   is contingent,     lf the claim is fully unsecured, fill in only unsecured claim amount. lf
 includlng zlp code               creditor contact       debts, bank loans,                     nliquidated, or   claim is partially secured, fill in total claim amount and deduction for
                                                         professional seryices,                    di6puted       value of collateral or setoff to calculate unsecured claim.
                                                                                                                  Total claim, if           Deduction for value         Unsecured claim
                                                                                                                  partially secured         of collateral or setoff
 TTX COMPANY                                                                                                                                                                 $1,163,041.76
 AGENT FOR UP
 Lockbox #22984
 22984 Network
 Place
 Chicago, lL
 60673-1229
 VTG                                                                                                                                                                            $189,583.65
 3045 MOMENTUM
 PLACE
 CHICAGO,IL
 60689-5330
 WELLS FARGO                                                                                                                                                                    $391,882.36
 RAIL
 9377 W Higgins Rd
 Ste 600
 Rosemont, lL 60018
 WISCONSIN AND                                                                                                                                                                  $457,460.42
 SOUTHERN
 RAILROAD
 P. O. Box 790343
 Bin #150077
 ST LOUIS, MO
 631 79-0343




Official form 204                                    Chapter 1 1 or Chapter 9 Cases: List of Creditors Vvho Have the 20 Largest Unsecured claims                                   page 3

Software Copyright (c) 1996-2020 Best Case, LLC -   w.bestcase.com                                                                                                    Best Case Bankruptcy
              Case 20-11139-1-rel                        Doc 1        Filed 08/26/20 Entered 08/26/20 12:21:49        Desc Main
                                                                     Document      Page 9 of 370
 Fill in this information to identify the case

 Debtor    name lnterstate Commodities, lnc.
 United States Bankruptcy Court for the:               NORTHERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                  !       Check if this is an
                                                                                                                          amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-lndividuals                                                                                       12t15

EfifI          Summarv of Assets


 1.     Schedule NB.'Assefs-Real and Personal Property (Official Form 206A/8)

        1a. Real property:
            Copy line 88 from Schedule NB..                                                                               $                      0.00

        1b.   Total personal property:
              Copy line 91A from Schedule NB..                                                                            $         12,558,336.78

        1c. Total of all properg:
            Copy line 92 from Schedule NB..                                                                               E         12,558,335.78


 Part2         s

 2     Schedule D: Creditors Who Have Claims Secured by Properfy (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D                        $                      0.00


 3.    Schedule HF: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F.                                                $                      0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
              Copythetotal of theamountof claimsfromPart2fromline5bof Schedu/e UF................                     +g            25,513,305.47


 4.    Total liabilities
       Lines2+3a+3b                                                                                                   $         25,513,305.47




 Official Form     206Sum                                 Summary of Assets and Liabilities for Non-lndividuals                              page      1

Software Copyright (c) 1996-2020 Best Case, LLC -   w.bestcase.com                                                              Best Case Bankruptcy
               Case 20-11139-1-rel                   Doc 1          Filed 08/26/20 Entered 08/26/20 12:21:49                               Desc Main
                                                                   Document     Page 10 of 370
    Fill in this information to identify the case:
    Debtorname lnterstate Commodities lnc.

    United States Bankruptcy Court for the:        NORTHERN DISTRICT OF NEWYORK

    Case number (if known)
                                                                                                                                     !     Check if this is an
                                                                                                                                           amended filing




Official Form 206NB
Schedule A/B: Assets - Real and Personal Property                                                                                                            12t1s
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
lnclude all propefi in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. ln Schedule A/8, list any executory contracts
or unexpired leases. Also list them on ScDedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. lf more space is needed, aftach a separate sheet to this form. At the top of any pages added, write
the debtor's name and case number (if known). Also identify the form and line number to which the additional information applies. lf an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 1 1, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. ln valuing the
 debtor's interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1       Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

         E   ruo. Go toParl2.
         I   Yes Fill in the information below.
         All cash or cash equivalents owned or controlled by the debtor                                                                    Current value of
                                                                                                                                           debtor's interest
    2           Cash on hand                                                                                                                         $409,696.42



    3           Checking, savings, money market, or financial brokerage accounts (ldentity all)
                Name of institution (bank or brokerage    firm)            Type of account                      Last 4 digits of account
                                                                                                                number

    4.          Other cash equivalents (ldentify all)

    5.          Total of Part 1.                                                                                                                  $409,696.42
                Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80

    Parl2.   Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

         I   No. Go to Part   3.
         E   Yes Fill in the information below


    Part 3:         Accounts receivable
1   0. Does the debtor have any accounts receivable?

         E   No. co to Part 4.
         I   Yes Fill in the information below.

    11          Accounts receivable
                11a. 90 days old or less:                   3,910,257.93                             1,750,000.00 = ..                              $2,160,257.93
                                             face amount                         doubtful or uncollectible accounts




Official Form        206A/8                                  Schedule A/B Assets - Real and Personal Property                                                    page   1

Software Copyright (c) 1996-2020 Best Case, LLC - w.bestcase.com                                                                                     Best Case Bankruptcy
             Case 20-11139-1-rel                      Doc 1             Filed 08/26/20 Entered 08/26/20 12:21:49                            Desc Main
                                                                       Document     Page 11 of 370
 Debtor            lnterstateCommodities,lnc.                                                                Case number (f   known)
                   Name


 12.          Total of Part 3.                                                                                                                  $2,160,257.93
              Current value on lines   1   1a + 1 1b = line   1   2.   Copy the total to line 82

 Parl4       lnvestments
13. Does the debtor own any investments?

       I   No. Go to Part 5.
       E   Yes Fill in the information below.


 Part 5            lnventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

       E   No. co to Part 6.
       I   Yes Fill in the information below

              General description                     Date of the last                   Net book value of         Valuation method used     Gurrent value of
                                                      physical inventory                 debtor's interest         for current value         debtor's interest
                                                                                         (Where available)

 '19          Raw materials

20            Work in progress

21            Finished goods, including goods held for resale

22            Other inventory or supplies
              Railshop      Equipment                 0713112020                                          $0.00                                       $292,540.83




23            Total of Part 5.                                                                                                                    $292,540.83
              Add lines 19 through 22. Copy the total to line 84

24            ls any of the property listed in Part 5 perishable?
              luo
              E   Yes

25            Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
              INo
              E yes. Book value                                           Valuation   method                            Current Value

26            Has any of the property listed in Part 5 been appraised by a professional within the last year?
              I   tto
              E   Yes

 Part 6      Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

       I   No. co to Part 7.
       E   Yes Fill in the information below


 Paft.7            Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

       E   tr,to. Go to Part 8.
       I   Yes Fill in the information below.

              General     description                                                    Net book value  of         Valuation method used    Gurrent value of
                                                                                         debtor's   interest        for current value        debtor's interest
                                                                                         (Where available)

Official Form       206A/8                                        Schedule A,/B Assets - Real and Personal Property                                            page 2
Software Copyright (c) 1996-2020 Best Case, LLC - wW.bestcase.com                                                                                   Best Case Bankruptcy
            Case 20-11139-1-rel                    Doc 1           Filed 08/26/20 Entered 08/26/20 12:21:49                     Desc Main
                                                                  Document     Page 12 of 370
 Debtor             lnterstateCommodities.lnc.                                                   Case number U known)
                    Name



 39          Office furniture
             Misc. Office Furnishings                                                        $o.oo                                                 $0.00



 40.         Office fixtures

41           Office equipment, including all computer equipment and
             communication systems equipment and software
             See Fixed Asset Schedule                                                        $0.00                                                 $0.00



 42.         Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
             books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
             collections; other collections, memorabilia, or collectibles


 43.         Total of Part 7.                                                                                                                     $0.00
             Add lines 39 through 42. Copy the total to line 86.

 44.         ls a depreciation schedule available for any of the property listed in Paft7?
             Eruo
             I    yes

 45.         Has any of the property listed in Part 7 been appraised by a professional within the last year?
             lruo
             E    Yes

 Part B      Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

      E   No. Go to Part 9.
      I   Yes Fill in the information below

             General       description                                       Net book value of          Valuation method used    Current value of
             lnclude year, make, model, and identification         numbers   debtor's interest          for current value        debtor's interest
             (i.e., VlN, HlN, orN-number)                                    (Where available)

47.          Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

             47.1   .   See Fixed Asset Schedule                                             $0.00                                           Unknown



 48.         Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
             floating homes, personal watercraft, and fishing vessels

 49.         Aircraft and accessories


 50.         Other machinery, fixtures, and equipment (excluding farm
             machinery and equipment)
             See Attached Rail Car lnventory                                                 $0.00                                      $7,945,841.60



 51          Total of Part 8.                                                                                                       $7,945,841.60
             Add lines 47 through 50. Copy the total to line 87.

 52.         ls a depreciation schedule available for any of the property listed in Part 8?
             fl   tto
             I    Yes

Official Form        2064/8                                 Schedule A,/B Assets - Real and Personal Property                                      page 3
Software Copyright (c) 1996-2020 Best Case, LLC -w.bestcase.com                                                                         Best Case Bankruptcy
             Case 20-11139-1-rel                        Doc 1        Filed 08/26/20 Entered 08/26/20 12:21:49                      Desc Main
                                                                    Document     Page 13 of 370
 Debtor             lnterstateCommodities,lnc.                                                       Case number   0f known)
                    Name


 53.          Has any of the       propefi listed     in Part 8 been appraised by a professional within the last year?
              lruo
              E    Yes

 Part 9:            Real property
54. Does the        debtorown or lease any real property?

       E tto.     Go to Part 10.
       I   Yes Fill in the information below

 55.          Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

              Description and location of                  Nature and            Net book value of         Valuation method used   Current value of
              property                                     extent of             debtor's interest         for current value       debtor's interest
              lnclude street address or other              debtor's interest     (Where available)
              description such as Assessor                 in property
              Parcel Number (APN), and type
              of property (for example,
              acreage, factory, warehouse,
              apartment or office building, if
              available.
              55'1        7 Madison Street,
                          Troy NY 12180                    Owned                            Unknown                                              Unknown


              55.2.       19 South Swinton
                          Ave, Delray Beach
                          Fforida 334/,4 -
                          Sublease                         Sublessee                        Unknown                                              Unknown


              55.3.       1801 West Farmers
                          Ave, Amarillo Texas
                          79118 - Leased
                          railshop and tracks               Lease                           Unknown                                              Unknown


              55.4. 6555 Ottawa Road,
                          Cairo OH - lease
                          railshop                          Lease                           Unknown                                              Unknown


              55.5. 1000 N 14th Street,
                          Charleston, lL 61920 -
                          Railshop lease                    lease                           Unknown                                              Unknown


              55.6. 2415        N 2105 East Rd,
                          Watseka, lL 60970 -
                          land lease                        lease                           Unknown                                              Unknown




 56.          Total of Part 9.                                                                                                                      $0.00
              Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
              Copy the total to line 88.

 57.          ls a depreciation schedule available for any of the property listed in Part 9?
              I    t'to
              E    Yes

 58.          Has any of the property listed in Part 9 been appraised by a professional within the last year?
              I    tto
Official Form         2064/8                                  Schedule A/B Assets - Real and Personal Property                                         page 4
Software Copyright (c) 1996-2020 Best Case, LLC -   w.best€se.com                                                                           Best Case Bankruptcy
                Case 20-11139-1-rel                     Doc 1     Filed 08/26/20 Entered 08/26/20 12:21:49               Desc Main
                                                                 Document     Page 14 of 370
 Debtor             lnterstateCommodities.lnc.                                                 Case number ff   known)
                    Name


                E   Yes

 Part 10     lntangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

    I     No. co to Part 11.
    E    Yes Fill in the information below


 Part   'l 'l       All other assets
70. Does the debtorown any otherassets that have notyet been reported on this form?
    lnclude all interests in executory contracts and unexpired leases not previously reported on this form.

    I    No. Go to Parl'|2.
    E    Yes Fill in the information below




Official Form        2064/8                                    Schedule A,/B Assets - Real and Personal Property                         page 5
Softwaro Copyright (c) 1996-2020 Best Case, LLC -   M.bestcase.com                                                            Best Case Bankruptcy
            Case 20-11139-1-rel                         Doc 1         Filed 08/26/20 Entered 08/26/20 12:21:49                            Desc Main
                                                                     Document     Page 15 of 370
Debtor          lnterstateGommodities,lnc.                                                           Case number ff     known)
                Name



Pan 12          Summary

ln Part 12 copy all of the totals from the earlier pails of the form
      Type of propefi                                                                    Current value of               Current value of real
                                                                                         psrsonal property              property

80.      Cash, cash equivalents, and financial assets.
         Copy line 5, Paft 1                                                                       $409,696.42

81.      Deposits and prepayments. Copy line 9, Part2.                                                      $0.00

82. Accounts         receivable. Copy line 12, Part 3.                                           $2,160,257.93

83. lnvestments. Copy line 17, Paft 4.                                                                      $0.00

84. lnventory. Copy line 23, Part 5.                                                               $292,540.83

85.      Farming and fishing-related assets. Copy line 33, Part              6.                             $0.00

86.      Office furniture, fixtures, and equipment; and collectibles
         Copy line 43, Paft 7.                                                                              $0.00

87.      Machinery, equipment, and vehicles. Copy line 51, Part L                                $7,945,841.60

88.      Real property. Copy line 56, Part 9..                                                                                                     $o.oo

89. lntangibles and intellectual property. Copy line                  66, Part 10.                          $0.00

90. All other assets. Copy line 78, Part 11.                                         +                      $0.00

91   .   Total. Add lines 80 through 90 for each column                                      $10,808,336.78         + 91b                        $0.00


92.      Total of all property on Schedule A/8. Add lines 91a+91b=92                                                                            $10,808,336.78




Official Form 2064/8                                           Schedule A/B Assets - Real and Personal Property                                                page 6
Software Copyright (c) 1996-2020 Best Case, LLC -   w.bestcaso.com                                                                                  Best Case Bankruptcy
                            Case 20-11139-1-rel              Doc 1    Filed 08/26/20 Entered 08/26/20 12:21:49           Desc Main
                                                                     Document     Page 16 of 370


                                                                     I   nterstate Com mod ities
                                                             Stock Status Report for Lincoln, NE
                                                                              Date: 07130/2020

            Alr                                                                                                                   Qty
Part        Part                                                                                 Alter    oty     Qty     oty      On     Unit         lnv
Nrrm        Nrrm                      Daserinlion                                                Cost    Curr    Alloc   Avail   Order    Cost      Value
157                                   1/2 -13 X 2 112 BOLT                                                0.00    0.00    0.00    0.00                0.00
B1 000                                10" NIPPLE                                                          0.00    0.00    0.00    0.00     0.00       0.00
81 001      027                       ABD EMERGENCY VALVES                                                0.00    0.00    0.00    0.00   225.05       0.00
B1 002      026                       ABD SERVICE VALVES                                                  0.00    0.00    0.00    0.00   309.58       0"00
81 003      o25                       ABDW VALVES                                                         0.00    0.00    0.00    0.00   325.53       0.00
81 004      o79,G-324                 GLAD HAND GASKET                                                    0.00    0.00    0.00    0.00     0.68       0.00
81 005      087,5401-16               ArR BRAKE GASKET (1")                                               0.00    0.00    0.00    0.00     0.33       0.00
81 006      088,5401-20               ArR BRAKE GASKET (1-1l4')                                           0.00    0.00    0.00    0.00     0.33       0.00
81 007      086,5401-12               AIR BRAKE GASKET (3/4")                                             0.00    0.00    0.00    0.00     0.29       0.00
81 008      085,5401-06               ArR BRAKE GASKET (3/8)                                              0.00    0.00    0.00    0.00     0.28       0.00
81 009      005,5401-08               ArR BRAKE GASKET (1/2)                                              0.00    0.00    0.00    0.00     0.28       0.00
81010       247,100914, SPC20         ANCHOR BASE (1-1l4)                                                 0.00    0.00    0.00    0.00     6.47       0.00
81011       260,100915, SPCI2Hl       ANCHOR BASE (3/4)                                                   0.00    0.00    0.00    0.00     6.47       0.00
81012       248, 100916, SPCW1620     ANCHOR WEDGE (1" OR 1-1l4" PIPE)                                    0.00    0.00    0.00    0.00     2.16       0.00
81013       261,100917, SPCW812       ANCHOR WEDGE (3/4" PrPE)                                            0.00    0.00    0.00    0.00     2.16       0.00
81014       050, 0660999              ANGLE COCK                                                         35.00    0.00   35.00    0.00    40.74   1,425.90
81015       1   0091 0                ANGLE COCK U BOLT                                                  50.00    0.00   50.00    0.00     1.63      81 .50
81016       080,3286, 100919          BELL CRANK ('6s OR NEWER)                                           0.00    0.00    0.00    0.00    44.61       0.00
81017                                 BELL CRANK CHAIN . 15"                                              0.00    0.00    0.00    0.00     0.00       0.00
81018       156, 1 00035, 1 004055C   BRAKE BEAM - WABCOPAC B3/B3A                                        0.00    0.00    0.00    0.00   135.00       0.00
81019       155,1002859C              BRAKE BEAM #18, RECOND.                                             0.00    0.00    0.00    0.00    74.OO       0.00
81 020      262,100452                BRAKE BEAM #18, LH, RH UNIVERSAL                                    0.00    0.00    0.00    0.00   154.54       0.00
81 021      1   00564                 BRAKE PrN (1-3/32" X 3-1/8" X 3-1/2" X C)                           0.00    0.00    0.00    0.00     3.23       0.00
81022       066,100566                BRAKE PtN (1-3t32" X 3-3/8" X 4" X C)                               0.00    0.00    0.00    0.00     2.77       0.00
81 023                                BRAKE PIN ???                                                       0.00    0.00    0.00    0.00     0.00       0.00
81024       084, 100854,458           HAND BRAKE CLEVTS (2-112)                                           0.00    0.00    0.00    0.00     8.56       0.00
81 025                                BRAKE ROD CLEVIS - 3"                                               0.00    0.00    0.00    0.00     7.90       0.00
B1 026      '100597                   BRAKE ROD CLEVTS (4-112)                                            0.00    0.00    0.00    0.00     0.00       0.00
81027       1   00599                 BRAKE ROD CLEVIS - 6"                                               0.00    0.00    0.00    0.00     0.00       0.00
81 028                                BRAKE ROD CLEVTS (12)                                               0.00    0.00    0.00    0.00     0.00       0.00
81 029      1   00590                 BRAKE ROD JAW (3/4)                                                 0.00    0.00    0.00    0.00     0.00       0.00
B1 030      074,100589, 1028-1028     BRAKE ROD JAW (1)                                                   0.00    0.00    0.00    0.00     9.18       0.00
81 031      1   00591                 BRAKE ROD JAW (7/8)                                                 0.00    0.00    0.00    0.00     0.00       0.00
B1 032      078,3188-3233             JAW OFFSET (1)                                                      0.00    0.00    0.00    0.00    15.98       0.00
81   033                              BRAKE ROD EYE (3/4")                                                0.00    0.00    0.00    0.00     6.61       0.00
81   034    1   00602                 BRAKE ROD EYE 7/8"                                                  0.00    0.00    0.00    0.00     0.00       0.00
81   035                              BRAKE ROD COMPLETE                                                  0.00    0,00    0.00    0.00     0.00       0.00
81   036                              BRAKE ROD. SHORT 27"                                                0.00    0.00    0.00    0.00     0.00       0.00
81   037    1 00595                   BRAKE LEVER -STRAIGHT 7" X 14"                                      0.00    0.00    0.00    0.00     0.00       0"00
81038       1 00449                   BUFFALO CONNECTORS (7/8)                                            0.00    0.00    0.00    0.00     0.00       0.00
Bl 039      1 00450                   BUFFALO CONNECTORS 3/4"                                             0.00    0.00    0.00    0.00     4.23       0.00


Run Date: 07/3O|2O2O                                                                                                                               1of 9
                              Case 20-11139-1-rel          Doc 1    Filed 08/26/20 Entered 08/26/20 12:21:49   Desc Main
                                                                   Document     Page 17 of 370

Stock Status Report for Lincoln, NE                                                                                               Date: 0713012020
81 040       117, HPE2                    BRAKE SHOE - HF (1-1t2")                             270.00   0.00   270.OO   0.00        10.32   2,786.40
81 041       118, HPE4                    BRAKE SHOE - HF (2')                                 208.00   0.00   208.00   0.00         9.96   2,071.68
81042        211,100685                   BRAKE SHOE KEY                                         0.00   0.00     0.00   0.00         2.94       0.00
81 043       1   00845                    HAND BRAKE - GROUP F                                   0.00   0.00     0.00   0.00         0.00       0.00
81 044       115                          HAND BRAKE ASSEMBLY                                    0.00   0.00     0.00   0.00       70.00        0.00
81 045       1 003328                     AIR RELEASE YOKE                                       0.00   0.00     0.00   0.00        0.00        0.00
81 046       161, LTH7633                 DIRT COLLECTOR LINE-1" - 45 DEG. FLANGE                0.00   0.00     0.00   0.00       54.88        0.00
81047        1 19, LTH7466                DIRT COLLECTOR LINE-1" - 90 DEG. FLANGE                0.00   0.00     0.00   0"00       55.21        0.00
81 048       o45,0577071                  DIRT COLLECTOR - COMBINED                              0.00   0.00     0.00   0.00       62.06        0.00
81 049       051,0661063                  RETAINER VALVE WBRACKET                                0.00   0.00     0.00   0.00       54.60        0.00
81 050       082,   100604,3377-3377      THROUGH TRUCK CONNECTOR (s6")                          0.00   0.00     0.00   0.00       57.39        0.00
81 051       081,   1 00657, 3334-3334    THROUGH TRUCK CONNECTOR (37")                          0.00   0.00     0.00   0.00       57.42        0.00
81 052       083,   1 0061 1, 3388-3388   THROUGH TRUCK CONNECTOR (38")                          0.00   0.00     0.00   0.00       57.47        0.00
81 053       017,   TEC20-20LW            TRATN LtNE EXTENSTON CASTING (1-114)                  24.OO   0.00    24.O0   0.00         5.21    125.O4
81 054       249,100912                   TRA|N L|NE - U BOLT (3/4)                              0.00   0.00     0.00   0.00         1.44       0.00
81 055       101147,09871 02              22" TRAIN LINE HOSE - STANDARD                       174.OO   0.00   174.O0   0.00       30.80    5,359.20
B1   056     123, s618125                 TRUCK MOUNTED BRAKE HOSE ASSEMBLY (718") - 2           0.00   0.00     0.00   0.00       22.OO        0.00
                                          BOLT SWIVEL FLANGE
B1   057     s61 81 54                    TRUCK MOUNTED BRAKE HOSE ASSEMBLY (718") - 314"        0.00   0.00     0.00   0.00       22.OO        0.00
                                          PIPE THREAD
B1   058     o77,2300-DJ                  UNIVERSAL SLACK ADJUSTER                               0.00   0.00     0.00   0.00      389.94        0.00
81059        113, EXT 100-68              WABCOPAC                                               0.00   0.00     0.00     00     1,800.00       0.00
B1   060     048, 0578790, SBD20          DEEP SOCKET WELD ASSEMBLY WGROOVE (1-1t4")             0.00   0.00     0.00     00        18.28       0.00
B1 061       010, sBD12                   DEEP SOCKET WELD ASSEMBLY WGROOVE (3/4')               0.00   0.00     0.00     00         6.75       0.00
81   062     125, sBD12-6                 DEEP SOCKET WELD ASSEMBLY WGROOVE (3/4" BY             0.00   0.00     0.00     00        11.95       0.00
                                          3/8)
81 063       046, 0578787, SBD6           DEEP SOCKET WELD ASSEMBLY W/GROOVE (3/8)              16.00   0.00    16.00   0   00       6.94    11 1.04
81   064     SWTD2O                       DEEP SOCKET WLD BY FEMALE THREAD UNION (1-114)         0.00   0.00     0.00   0   00       0.00       0.00
81   065     049, SWTD12                  DEEP SOCKET WELD BY FEMALE THREAD UNION (3/4)          0.00   0.00     0.00   0   00       8.76       0.00
81   066     047, SWD12, 0578788          DEEP SOCKET WELD UNrON (3/4)                           0.00   0.00     0.00   0   00      13.31       0.00
81   067     243, SWD20                   DEEP SOCKET WELD UNION (1-1l4")                        0.00   0.00     0.00   0   00       5.51       0.00
81   068     SWT12-2                      3/4" WELD ON COLLAR W/ TAP                             0.00   0.00     0.00   0   00      18.53       0.00
81   069     SFS2O                        FLANGE - SPL|T (1-1l4')                                0.00   0.00     0.00   0   00       0.00       0.00
81   070     SFW2O                        FLANGE - SWTVEL (1-114)                                0.00   0.00     0.00   0   00      0.00        0.00
81   071     053, WFE-1 , 0661 156001     FLANGE INSERT (3/4)                                    0,00   0.00     0.00   0   00     34.70        0.00
81072        052, WFB-1 , 0661 104        FLANGE WTAP (3/4")                                     0.00   0.00     0.00   0   00     35.17        0.00
81 073       FTF2O-2OGL                   FLANGED THREADED SWIVEL FITTING WGROOVE -              0.00   0.00     0.00   0   00       0.00       0.00
                                          LONG (1-1l4")
81074        FTF2O-2OG                    FLANGED THREADED SWIVEL FITTING WGROOVE                0.00   0.00            0.00         0.00       0.00
                                          (1-1t4")
81 075       FTF2O-20BL                   FLANGED THREADED SWIVEL FITTING W/O GROOVE.            0.00   0.00     0.00   0.00         0.00       0.00
                                          LONG (1-114)
B1   076     FTF2O-20B                    FLANGED THREADED SWIVEL FITTING W/O GROOVE             0.00   0.00     0.00   0.00         0.00       0.00
                                          (1-1t4")
81077        121 , RSW20-12               REDUCTNG SOCKET WELD UNrON (1-114" BY 3/4)             0.00   0.00     0.00   0.00         8"48       0.00
81 078       120, RFF12-12                REINFORCED FLANGED TEE WO GROOVE (3/4')                0.00   0.00       00   0.00        14.57       0.00
B1 079       124, 5890-6                  SOCKET WELD ASSEMBLY W/GROOVE (3/8"- 90 DEG.)          0.00   0.00       00   0.00        12.OO       0.00
Bl 080       127, SBF90-12                SOCKET WELD ASSEMBLY WO GROOVE (3/4" - 90              0.00   0.00       00   0.00        12.00       0.00
                                          DEG.)



Run Date: 07130/2020                                                                                                                         2of9
                             Case 20-11139-1-rel        Doc 1    Filed 08/26/20 Entered 08/26/20 12:21:49   Desc Main
                                                                Document     Page 18 of 370

Stock Status Report for Lincoln, NE                                                                                          Date:0713012020
B1 081       SB12                    SOCKET WELD ASSEMBLY WGROOVE - STANDARD                 0.00   0.00     0.00     0.00     0.00      0.00
                                     (3t4")
81082        sFG45-12                socKET WELD ASSEMBLY WGROOVE (3/4" - 4s DEG.)           0.00   0.00     0.00     0.00    11.00      0.00
8r083        SB6                     socKET WELD ASSY WGROOVE - STANDARD (3/8)               0.00   0.00     0.00     0.00     0.00      0.00
81084        SB16                    SOCKET WELD ASSY W GROOVE - STANDARD (1)                0.00   0.00     0.00     0.00     0.00      0.00
81 085       SB8                     socKET WELD ASSY WGROOVE - STANDARD (1/2")              0.00   0.00     0.00     0.00     0.00      0.00
81 086       SWTS2O                  SOCKET WELD BY FEMALE THREAD UNION -                    0.00   0.00     0.00     0.00     0.00      0.00
                                     STANDARD (1-1l4)
81   087     sB12-6                  SOCKET WELD FLANGED FITTING WGROOVE .                   0.00   0.00     0.00     0.00     0.00      0.00
                                     STANDARD (3/4" X 3/8)
81088        sB12-8                  SOCKET WELD FLANGED FITTING WGROOVE .                   0.00   0.00     0.00     0.00     0.00      0.00
                                     STANDARD (3/4" X 1t2")
81 089       SWS2O                   socKET WELD UN|ON - STANDARD (1-114)                    0.00   0.00     0   00   0.00     0.00      0.00
81 090       SWS6                    socKET WELD UN|ON - STANDARD (3/8")                     0.00   0.00     0   00   0.00     0.00      0.00
81 091       SWSS                    socKET WELD UNrON - STANDARD (1/2)                      0.00   0.00     0   00   0.00     0.00      0.00
81 092       SWS12                   socKET WELD UN|ON - STANDARD (3/4)                      0.00   0.00     0   00   0.00     0.00      0.00
81 093       SWS16                   socKET WELD UN|ON - STANDARD (1)                        0.00   0.00     0   00   0.00     0.00      0.00
81 094       SFSG6                   SPLIT FLANGE ASSY W/GROOVE (3/8")                       0.00   0.00     0   00   0.00     0.00      0.00
81 095       SFSGs                   SPLIT FLANGE ASSY WGROOVE (112")                        0.00   0.00     0   00   0"00     0.00      0.00
81 096       SFSG12                  sPLtT FLANGE ASSY W/GROOVE (3/4')                       0.00   0.00     0   00   0.00     0.00      0.00
81 097       SFSGl 6                 SPLIT FLANGE ASSY w/GROOVE (1")                         0.00   0.00     0   00   0.00     0.00      0.00
81098        LPORgo-12               LOW PROFILE OFFSET ELBOW - RH                           0.00   0.00     0   00   0.00     0.00      0.00
81 099       101, BPT20-16           BRANCH P|PE TEE W/S|DE OUTLET (1-114" X 1-1/4" X 1)     0.00   0.00     0   00   0.00    20.00      0.00
81100        swT12-12                socKET BY SOCKET TEST ADAPTER (3/4)                     0.00   0.00     0   00   0.00     0.00      0.00
81101        SWT12-5                 socKET WELD TEE (3/4" X3/4" X3t8")                      0.00   0.00     0   00   0.00     0.00      0.00
81102        swT16-16                SOCKET WELD TEE (1')                                    0.00   0.00     0   00   0.00     0.00      0.00
81103        swT20-16                socKET WELD TEE (1-1l4" X 1")                           0.00   0.00     0   00   0.00     0.00      0.00
81 104       SWBT2O-16               socKET WELD BY FLANGED BRANCH PIPE TEE (1-114"          0.00   0.00     0   00   0.00     0.00      0.00
                                     x 1-114" X 1")
81105        097, 8C601 , 1 0091 3   AIR HOSE SUPPORT - RUBBER                               0.00   0.00     0   00   0.00     7.45      0.00
81106        1 00630                 AIR HOSE SUPPORT - STEEL                                0.00   0.00     0   00   0.00     0.00      0.00
81107                                BRAKE ROD EYE (1-1l4")                                  0.00   0.00     0   00   0.00    11.05      0.00
81108                                BRAKE ROD JAW (1-1l8")                                  0.00   0.00     0   00   0.00     0.00      0.00
81109        100549, H543GN          BRAKE BEAM POCKET PLATE - PLASTIC                       0.00   0.00     0   00   0.00     6.18      0.00
81 110       SWD6                    DEEP SOCKET WELD UNION (3/8)                            0.00   0.00     0   00   0.00     0.00      0.00
81 111                               ABD GASKET                                              0.00   0.00     0   00   0.00     3.44      0.00
81112                                HANDBRAKE WHEEL                                         0.00   0.00     0   00   0.00    15.96      0.00
81 113       s 618215                3I4X4A" STR SWIVEL                                      0.00   0.00     0   00   0.00    63.93      0.00
c2000        210,100764              COUPLER DRAFT KEY RETAINER                              0.00   0.00     0   00   0.00     5.29      0.00
c2001        209,100778              COUPLER DRAFT KEY RETAINER LOCK                         0.00   0.00     0   00   0.00     1.62      0.00
c2002        1   0071 6              COUPLER KEY LOCKS                                       0.00   0.00     0   00   0.00    57.23      0.00
c2003        1 00743                 KNUCKLE - E50AE (NEW)                                   0.00   0.00     0   00   0.00     0.00      0.00
c2004        201, 100166             COUPLER KNUCKLE-E5OAE                                   0.00   0.00     0   00   0.00   139.22      0.00
c2005        207,100746              COU PLER LOCK LIFTER-E248                               0.00   0.00     0   00   0.00    39.47      0.00
c2006        009,100786              couPLER SHANK WP (1/4" X 5" X 8")                       0.00   0.00     0   00   0.00     7.50      0.00
c2007        100747                  COUPLER THROWER PIN                                     0.00   0.00     0   00   0.00    19.56      0.00
c2008        213,100760              COUPLER CARRIER WP - 3/8" METALLIC                      0.00   0.00     0   00   0.00    11.78      0.00
c2009        069,100790              COUPLER CARRIER WP - 3/8" PLASTIC                       0.00   0.00     0   00   0.00    22.18      0.00
c201 0       206,100136              couPLER, SBE60CE (BODY), RECOND.                        0.00   0.00     0   00   0.00   546.45      0.00



Run Date: 07/3012020                                                                                                                   3of9
                              Case 20-11139-1-rel       Doc 1    Filed 08/26/20 Entered 08/26/20 12:21:49   Desc Main
                                                                Document     Page 19 of 370

Stock Status Report for Lincoln, NE                                                                                         Date: 0713012O2O
c2011            72 ,100205           DRAFT GEAR - MARK 5O/5OO RECOND.                        0.00   0.00     0.00   0.00   566.21            0.00
c2012            80 ,100762           DRAFT GEAR CARRIER PLATE . 1 8" CENTER                  0.00   0.00     0.00   0.00    44.94            0.00
c201 3        86 100723               DRAFT GEAR FOLLOWER BLOCK - Y44AE                       0.00   0.00     0.00   0.00    91.86            0.00
c2014         93 100772               DRAFT KEY 18"                                           0.00   0.00     0.00   0.00    21.30            0.00
c201 5        94 100776               DRAFT KEY 19"                                           0.00   0.00     0.00   0.00    21.30            0.00
c201 6        95 1 0021 5             DRAFT KEY WASHER                                        0.00   0.00     0.00   0.00     2.67            0.00
c2017        068, 100789              KNUCKLE PIN - PLASTIC                                   0.00   0.00     0.00   0.00    11.56            0.00
c201   I     057, 100164              KNUCKLE PIN - STEEL                                     0.00   0.00     0.00   0.00    11.63            0.00
c201   I     O72,100925               UNCOUPLER LEVER - STANDARD 2.PIECE                      0.00   0.00     0.00   0.00    25.37            0.00
c2020        071, 100921              UNCOUPLER LEVER BRACKET                                 0.00   0.00     0.00   0.00    20.80            0.00
c2021        100s26                   uNcouPLER LEVER (1-PTECE)                               0.00   0.00     0.00   0.00     0.00            0.00
c2022        100176,1003879C          YOKE(Y40AE/SY40AERECONDITIONED)                         0.00   0.00     0.00   0.00   222.28            0.00
c2023        DA-45461                 FRONT LUG KEYWAY                                        0.00   0.00     0.00   0.00    98.16            0.00
c2024        100783                   DRAFT LUG, REAR                                         0.00   0.00     0.00   0.00    99.23            0.00
G41 00       012, DA-00648            BEARING BLOCK                                           0.00   0.00     0.00   0.00    23.58            0.00
G4101        DA-01211                 CAPSTAN 2-CH-156                                        0.00   0.00     0"00   0.00     0.00            0.00
G4102        221 ,DA-33142            CAPSTAN LOCK,2-CH-322                                   0.00   0.00     0.00   0.00     8.05            0.00
G41 03       108, DA-43413            CAPSTAN, LONG                                           3.00   0.00     3.00   0.00    52.11         156.33
G4104        103, DA-41890            CAPSTAN, SHORT                                          6.00   0.00     6"00   0.00    53.27         3'19.62
G4105        107, DA.42391            CAPSTAN, STANDARD                                      10.00   0.00    10.00   0.00    37.07         370.70
G4106        OO4, DA-25690            CAPSTAN, WELD.ON                                        0.00   0.00     0.00   0.00    55.38           0.00
G4107        264                      CUT PLATE (5/16" X 32" X 35)                            0.00   0.00     0.00   0.00    59.10           0.00
G4108        110, DA-70209            PINION GEAR - STANDARD                                  4.00   0.00     4.00   0.00    32.11         128.44
G41 09       109, DA.52082            PINION GEAR - WIDE, 3"                                  3.00   0.00     3.00   0.00    23.48          70.44
G4110        OO8, ATP 750-0033        UNIVERSAL GATE LOCK                                     0.00   0.00     0.00   0"00    21.54            0.00
G4111        042, 55OOO381GRY         GATE ASSEMBLY 0381                                      6.00   0.00     6.00   0.00   651 .90    3,91 1.40
G4112        OO2,550-0075     2GRY3   GATE ASSEMBLY 0532                                      0.00   0.00     0.00   0.00   988.10            0.00
G4113        041,55000681GRY          GATEASSEMBLY0681                                        4.00   0.00     4.00   0.00   754.74     3,018.96
G4114        034,17514                GATE ASSEMBLY 7514                                      0.00   0.00     0.00   0.00   945.04          0.00
G41 15          MKE8843
             236,                     OPT HANDLE (FOR A-LOK I GATES)                          0.00   0.00     0.00   0.00    94.00          0.00
G4116           MKE8807
             237,                     oPT SHAFT 1.2s" X 4'3"                                  0.00   0.00     0.00   0.00   128"00          0.00
G4117        zND HAND     STANDARD    SLIDE DOORASSEMBLY                                      0.00   0.00     0.00   0.00   254.00          0.00
G41 18       235,MKE10129             SLIP PINION ASTM A897-90                                0.00   0.00     0.00   0.00    34.00          0.00
G41 19       177,DA-O171,I            VIBRATOR BRACKET, WELD ON, DA-167-6000                152.00   0.00   152.00   0.00    67.09    10, 197.68
G4120        DA.52O9O                 LOCK WELD ASSY SEAL BRKT, DA-sOO                        0.00   0.00     0.00   0.00     0.00            0.00
G4121        DA-52101                 LOCKWELDASSYSEALBRKT, DA-501                            0.00   0.00     0.00   0.00     0.00           0.00
G4122        DA-13096                 RACK- D413096                                           0.00   0.00     0.00   0.00    33.68           0.00
G4123        DA-33181                    RACK - DA33181                                       0.00   0.00     0.00   0.00    36.92           0.00
G4124        DA-42328                    RACK, DA-42328                                       0.00   0.00     0.00   0.00    41.65           0.00
G4125        DA.694OO                    PINION GEAR . WELD ON                                0.00   0.00     0.00   0.00    33.94           0.00
G4126        DA-21 130                   PINION GEAR . WELD ON                                0.00   0.00     0.00   0.00    32.73           0.00
G4127        40991751                    ANDERSON GATE SHAFT (24" X48")                       0.00   0.00     0.00   0.00     0.00           0.00
G4128        40991731                    ANDERSON GATE SHAFT RETAINER (24"X48")               0.00   0.00     0.00   0.00     0.00           0.00
G4129        40991741                    ANDERSON SLIDE GATE (24" X 48")                      0.00   0.00     0.00   0.00     0.00           0.00
G41 30       4099r821                    ANDERSON SLIDE GATE (17" X 48)                       0.00   0.00     0.00   0"00     0.00           0.00
G4132        CH-LATCH                    BUTTERFLY LOCK                                      18.00   0.00    18.00   0.00     8.75         157.50
G4133        1 04, DA-42339, MKE1 01 1 2 RACK - BACK STOP                                    18.00   0.00    18.00   0.00    39.24         706.32
G4134        105, DA.42340, MKE8O29 RACK. BAR LOCK                                           18.00   0.00    18.00   0.00    40.65         731.70
G4135        22O,DA-42444                RACK - OUTLET DOOR                                  18.00   0.00    18.00   0.00    56.15     1   ,010.70



Run Date:07130/2020                                                                                                                        4of9
                             Case 20-11139-1-rel       Doc 1    Filed 08/26/20 Entered 08/26/20 12:21:49   Desc Main
                                                               Document     Page 20 of 370

Stock Status Report for Lincoln, NE                                                                                       Date: 0713012O2O
G4136        106, DA-42372           RACK - WIDE WSTOP                                      0.00   0.00    0.00   0.00     53.07        0.00
G4137        111, DA-985381-2C NDY   CAPSTAN KIT                                            0.00   0.00    0.00   0.00      2.50        0.00
G4138        40992091                ANDERSON GATE ASSY (24" X 48")                         0.00   0.00    0.00   0.00       0.00       0.00
G4139                                VIBRATOR BRACKET                                       0.00   0.00    0.00   0.00      49.22       0.00
G4140                                cuT PLATE (3/8" X 32" X 35)                            0.00   0.00    0.00   0.00       0.00       0.00
G4141        DA-50066                SPRING GUIDE BRACKET CAP                               0.00   0.00    0.00   0.00       0.00       0.00
G4142        DA-09048                SPRING GUIDE & STOP                                    0.00   0.00    0.00   0.00       0.00       0.00
G4143        DA-50068                ECCENTRIC NUT                                          0.00   0.00    0.00   0.00       0.00       0.00
G4144                                BAR LOCK BRACKET (A)                                   0.00   0.00    0.00   0.00       9.47       0.00
G4145                                BAR LOCK BRACKET (B)                                   0.00   0.00    0.00   0.00       9.47       0.00
G4146        60221                   #100 DOOR CHAIN                                        0.00   0.00    0.00   0.00      13.90       0.00
G4147        TOGGLE LOCK O4M         13"X24" OUTLET                                         0.00   0.00    0.00   0.00    670.00        0.00
G414A        ATP-18455               31 112LX54 112W                                        0.00   0.00    0.00   0.00   1,036.03       0.00
G4149                                KEYSTONE OUTLET WALK STYLE GATE-2ND HAND               0.00   0.00    0.00   0.00    206.66        0.00
H4000        035, ATP-750-0863       BATTEN BAR - 24"                                       7.00   0.00    7.00   0.00     58.40     408.80
H4001        036, ATP-750,0906       BATTEN BAR 24" HA1                                     6.00   0.00    6.00   0.00     38.93     233.58
H4002        039, ATP-750-0861       BATTEN BAR GASKET                                      0.00   0.00    0.00   0.00      3.24        0.00
H4003        037, ATP-750-1039       BATTEN BAR KIT                                         0.00   0.00    0"00   0.00      15.17       0.00
H4004        ATP-850-0909            BATTEN BAR                                             0.00   0.00    0.00   0.00     58.40        0.00
H4005        ATP-750-0896            BATTEN BAR 20'                                         0.00   0.00    0.00   0.00     65.97        0.00
H4006        030, ATP-8s0-0070       HATCH COVER 7'- FIBERGLASS                             0.00   0.00    0.00   0.00    260.62        0.00
H4007        029, ATP-850-0074       HATCH COVER 9'. L - FIBERGLASS                         0.00   0.00    0.00   0.00    309.29        0.00
H4008        028, ATP-850-0075       HATCH COVER 9'- R - FIBERGLASS                         0.00   0.00    0.00   0.00    309.29        0.00
H4009        006, ATP-850-0491       HATCH COVER 1 1'- ALUMINUM                             5.00   0.00    5.00   0.00    379.86    1,899.30
H401 0       031, ATP-850-0021       HATCH COVER 1 1'. FIBERGLASS                           0.00   0.00    0.00   0.00    355.79        0.00
H401   1     007, ATP 850-0894       HATCH COVER 12'S - ALUMINUM                            0.00   0.00    0.00   0.00    389.72        0.00
H4012        a7, ArP 850-0279        HATCH COVER 12'-L (ROUND) - FIBERGLASS                 0.00   0.00    0.00   0.00    333.13        0.00
H401   3     21 6, ATP 850-0280      HATCH COVER 12'. R (ROUND) . FIBERGLASS                0.00   0.00    0.00   0.00    323.75        0.00
H401   4     003, ATP 850-0620       HATCH COVER 12'(ROUND) - ALUMTNUM                      0.00   0.00    0.00   0.00    395.58        0.00
H401   5     032, ATP-850-0028       HATCH COVER 13'- FIBERGLASS                            0.00   0.00    0.00   0"00    429.33        0.00
H401   6     204, ATP 850-0993       HATCH COVER 13'- L (ROUND) - FIBERGLASS                0.00   0.00    0.00   0.00    359.97        0.00
H4017        205, ATP 850-0992       HATCH COVER 13'. R (ROUND) - FIBERGLASS                0.00   0.00    0.00   0.00    359.97        0.00
H401   I     038, ATP-750-0828       HATCH COVER GASKET                                     0.00   0.00    0.00   0.00       1.51       0"00
H401 9       040, ATP-750-01 04      HATCH COVER LOCK-IRECO 30149 - STANDARD                0.00   0.00    0.00   0.00     37.85        0.00
H4020        183, 0802/tRECO-30169   HATCH COVER LOCK - IRECO 301 69 - ALUM                 0.00   0.00    0.00   0.00      41.72       0.00
H4021        2T.461-ACF              ACF LATCH ASSEMBLY                                     0"00   0.00    0.00   0.00       0.00       0.00
H4022        ATP-850-0019            HATCH COVER 13'                                        0.00   0.00    0.00   0.00       0.00       0.00
H4023        179                     HATCH COMBTNG (4-1l2")                                 0.00   0.00    0.00   0.00       7.71       0.00
H4024        269                     HATCH COMBTNG (6)                                      0.00   0.00    0.00   0.00       7.71       0.00
H4025        ATP-850-0001            HATCH COVER 8'- S                                      0.00   0.00    0.00   0.00     70.00        0.00
H4026        ATP-850-0002            HATCH COVER 8'- RH                                     0.00   0.00    0.00   0.00      0.00        0.00
H4027        ATP-850-0003            HATCH COVER 8'- LH                                     0.00   0.00    0.00   0.00    458.56        0.00
H4028        ATP-750-0903            BATTERN BAR - O9O3                                     0.00   0.00    0.00   0.00     75.09        0.00
H4029        ATP-850-0007            HATCH COVER 12'                                        0.00   0.00    0.00   0.00    314.44        0.00
H4030        ATP-750-2007            BATTEN BAR 20" HC2/HDB                                 0.00   0.00    0.00   0.00     70.00        0.00
H4031        ATP 850-001 0           FIBERGLASS HATCH 12'L                                  0.00   0.00    0.00   0.00    357.00        0.00
H4032        ATP 850-0008            FIBERGLASS 12'RH                                       0.00   0.00    0.00   0.00    357"00        0.00
H4033        ATP 750-091 9           BATTEN BAR 24"                                         0.00   0.00    0.00   0.00     60.00        0.00
H4034        ATP 750-0899            BATTEN BAR 20"                                         0.00   0.00    0.00   0.00     70.00        0.00



Run Date: 0713012020                                                                                                                5of9
                         Case 20-11139-1-rel          Doc 1    Filed 08/26/20 Entered 08/26/20 12:21:49    Desc Main
                                                              Document     Page 21 of 370

Stock Status Report for Lincoln, NE                                                                                          Date: 07/3012020
H4035        NDY                     3/16X2X3 3/16 X 5'FORMED                              0.00   0.00      0.00   0.00          16.45     0.00
H4036        NDY                     3116x2x4 1/2 X 5' FORMED                              0.00   0.00      0.00   0.00          18.05     0.00
H4037        8s0-0632 B-END          87-88 UP SERIEES HATCH (OUANTUM)                      0.00   0.00      0.00   0.00           0.00     0.00
H4038        850-0630 A-END          87-88 SERTEES HATCH UP(OUANTUM)                       0.00   0.00      0.00   0.00     498.83         0.00
H4039        850-0631 CENTER         87-88 UP SERIEES (OUANTUM)                            0.00   0.00      0.00   0.00     541 .93        0.00
M4500        158, 101 159,300909 AEI TAGS-AT51 18-NEWSTYLE                                 0.00   0.00      0.00   0.00          33.57     0.00
M4501                                AEI TAG - 51 1O - OLD STYLE                           0.00   0.00      0.00   0.00           5.44     0.00
M4502           R99
             187,                    REFLECTIVE TAPE (1OO PIECES/ROLL)                   525.00   0.00    525.00   0.00           1.37   719.25
M4503        190                     STENCIL SET - INTX VINYL                              0.00   0.00      0.00   0.00          12.78     0.00
M4504           100s85
             067,                    WEDGEFAST COTTER PIN (5/16" X 3)                      0.00   0.00      0.00   0.00           o.37     0.00
M4505        076,200100, tREco-30445AEI TAG BRACKET (PUSH TAB)                             0.00   0.00      0.00   0.00           4.80     0.00
M4506        30011o                  AEr TAG BRACKET (BOLT-ON)                             0.00   0.00      0.00   0.00           5.06     0.00
M4507                                LADDER BRACKET (5" X 3)                               0.00   0.00      0.00   0.00           0.00     0.00
M4508                                LADDER BRACKET (3" X 3)                               0.00   0.00      0.00   0.00           0.00     0.00
M4509        FG136                   WHEEL SETS                                            0.00   0.00      0.00   0.00   1 ,1   96.00     0.00
M451 0                               DEFECT CARD HOLDER                                    0.00   0.00      0.00   0.00           8.32     0.00
M451   I                             INTX STENCTL SET - MAGNET (INCLUDES 2 LARGE,2         0.00   0.00      0.00   0.00          21.94     0.00
                                     SMALL)
R4200        089,72414-OO            CROSSOVER BOARD - (A-END) NO CUT OUT                  0.00   0.00      0.00   0.00          41.92     0.00
R4201        o91,72425-OO            cRossovER BoARD (10-1i4" X 60)                        0.00   0.00      0.00   0.00          46.03     0.00
R4202        092,72425-10            cRossovER BoARD (12-118" X 60)                        0.00   0.00      0.00   0.00          46.38     0.00
R4203        o93,72425-20            cRossovER BoARD (14-1l8" X 60)                        0.00   0"00      0.00   0.00          42.25     0.00
R4204        098, BG-CLIP            GRATING CLIP                                          0.00   0.00      0.00   0.00           5.06     0.00
R4205        018, HH10219DS170       HANDHOLD - 19" DOUBLE OFFSET                          0.00   0.00      0.00   0.00           7.95     0.00
R4206        020, HH11719SDS69       HANDHOLD - 19" SINGLE OFFSET LH                       0.00   0.00      0.00   0.00           8.95     0.00
R4207        019, HH11719SDS68       HANDHOLD. 19" SINGLE OFFSET RH                        0.00   0.00      0.00   0.00           8.95     0.00
R4208        1 16, HH10634530        HANDHOLD - 34"                                        0.00   0.00      0.00   0.00          12.28     0.00
R4209                                RUNNING BOARD 24" X 147"                              0.00   0.00      0.00   0.00           0.00     0.00
R421 3       01 1 , 72419-01         RUNNING BOARD - END EXT. (24" X 18)                   0.00   0.00      0.00   0.00          27.08     0.00
R4214        100,8G3608              RUNNTNG BOARD - GRATING (7.74|SOFT.)                  0.00   0.00      0.00   0.00           0.50     0.00
R4215        o94,72543-21,709715     RUNNTNG BOARD (24" X 1O1-114")                        0.00   0.00      0.00   0.00          77.56     0.00
R4216        095,72629-42            RUNNING BOARD (24" X 106-314")                        0.00   0.00      0.00   0.00      172.73        0.00
R4217        o90,72415-O4            RUNNTNG BOARD (24" X 127")                            0.00   0.00      0.00   0.00      154.94        0.00
R4218        128, DWG# SS-10         SILL STEP                                             0.00   0.00      0.00   0.00          69.45     0.00
R4219        129, DWG#SS-1OR         SILL STEP                                             0.00   0.00      0.00   0.00          69.45     0.00
R4220        130, DWG# SS-12         SILL STEP                                             0.00   0.00      0.00   0.00          45.25     0.00
R4221        131 , DWG#SS-11         SILL STEP                                             0.00   0.00      0"00   0.00      56.45         0.00
R4222        023                     CRDX LAT BOARD 24X77.75"                              0.00   0.00      0.00   0.00     452.95         0.00
R4223                                HANDHOLD - 21" STRAIGHT                               0.00   0.00      0.00   0.00           0.00     0.00
R4224                                CROSSOVER BOARD BRACKET                               0.00   0.00      0.00   0.00           0.00     0.00
sA1 00       165                     ANGLE - 1" X 1" X 3/16" (1 .16/FT)                    0.00   0.00      0.00   0.00           0.73     0.00
SA1   O1     222                     ANGLE - 1" X 1" X 1/8" (.80/FT)                       0.00   0.00      0.00   0.00           0.77     0.00
SA102                                ANGLE - 1"X 1" X114" (1 .49/FT)                       0.00   0.00      0.00   0.00           0.00     0.00
SA103        024                     ANGLE - 1-1 /2" X 1-1 12" X 1/8" (1.23lFT)            0.00   0.00      0.00   0.00           0.88     0.00
SA104        o21                     ANGLE - 2" X 2" X 3116" (2.441F1)                     0.00   0.00      0.00   0.00           0.65     0.00
SA105        242                     ANGLE -2"X2" X 1/4" (3.1g/FT)                         0.00   0.00      0.00   0.00           o.77     0.00
SA106        147                     ANGLE - 2-112" X2-112" X 1/4" (4.1olFT)               0.00   0.00      0.00   0.00           0.64     0.00
SA107        251                     ANGLE - 3" X 3" X 114" (4.9O|FT)                      0.00   0.00      0.00   0.00           0.56     0.00
SA108        144                     ANGLE - 3-1 t2" X 3-1 12" X 1/4" (5.80/FT)            0.00   0.00      0.00   0.00           o.72     0.00



Run Date: 07130/2020                                                                                                                     6of9
                        Case 20-11139-1-rel               Doc 1       Filed 08/26/20 Entered 08/26/20 12:21:49   Desc Main
                                                                     Document     Page 22 of 370

Stock Status Report for Lincoln, NE                                                                                             Date:0713012020
SA109                            ANGLE - 3" X 3" X 3t8" (7 .zOEr)                                 0.00   0.00     0.00   0.00    0.00       0.00
SA11O        146                 ANGLE - 6" X 3-1t2" X 5/1 6" (9.80/FT)                           0.00   0.00     0.00   0.00    1.06       0.00
SA111        253                 ANGLE - 6" X 4" X 3/8" (12.30/FT)                                0.00   0.00     0.00   0.00    0.63       0.00
SA1 12       145                 ANGLE - 5" X 3-1t2" X 3/8" (1 0.40/FT)                           0.00   0.00     0.00   0.00    0.61       0.00
SA1 13                           ANGLE - 5" X s" X 3/8" (/FT)                                     0.00   0.00     0.00   0.00    0.54       0.00
sc200        254                 CHANNEL - 3" (5#)                                                0.00   0.00     0.00   0.00    0.78       0.00
sc201                            CHANNEL - 8" (11.5#)                                             0.00   0.00     0.00   0.00    1.34       0.00
SF3OO                            HR FLAT - 3/16" X 2" (1 .275/Fr)                                 0.00   0.00     0.00   0.00    0.00       0.00
SF3O1        138                 HR FLAT - 3/8" X 1" (1.281FT)                                    0.00   0.00     0.00   0.00    1.08       0.00
SF302        141                 HR FLAT - 114" X 1" (.850/FT)                                    0.00   0.00     0.00   0.00    o.87       0.00
SF303                            HR FLAT - 1t4" X2" (1 .70lFT)                                    0.00   0.00     0.00   0.00    0.80       0.00
SF304        149                 HR FLAT - 1t4" X3" (2.ss/FT)                                     0.00   0.00     0.00   0.00    0.68       0.00
SF3O5                            HR FLAT - 1t4" X4" (3.40/FT)                                     0.00   0.00     0.00   0.00    0.00       0.00
SF3O6        136                 HR FLAT - 1t2" X 1', (1 .70lFT)                                  0.00   0.00     0.00   0.00    0.83       0.00
SF3O7                            HR FLAT - 1t2" X3" (5.1o/FT)                                     0.00   0.00     0.00   0.00    0.80       0.00
SF308                            HR FLAT .1/2" X4"                                                0.00   0.00     0.00   0.00    0.00       0.00
SF309        181                 HR FLAT - 3/4" X 3" (7.65Fr)                                     0.00   0.00     0.00   0.00    1.32       0.00
SF31   O     224                 HR FLAT - 1-1t2" X3-1t2" (IFT)                                   0.00   0.00     0.00   0.00    o.97       0.00
SF31   1     137                 HR FLAT - 1-1t4" X3" (12.75tF1)                                  0.00   0.00     0.00   0.00    1.08       0.00
SF31 2                           HR FLAT - 1"X2" (6.80 PER FT)                                    0.00   0.00     0.00   0.00    0.91       0.00
SF31 3                           HR FLAT - 112" X2" (IFT)                                         0.00   0.00     0.00   0.00    0.79       0.00
SF31 4                           HR FLAT-3/16X3"#1 .9.I FT                                        0.00   0.00     0.00   0.00    0.84       0.00
SP4OO        178                 HR PLATE - 3/16" (7.66/SQFT)                                     0.00   0.00     0.00   0.00    0.61       0.00
SP4O1        139                 HR FLAT - s/16" (12.76/SOFT)                                     0.00   0.00     0.00   0.00    0.57       0.00
SP4O2                            HR PLATE - 1/4" (10.21ISQFT)                                     0.00   0.00     0.00   0.00    0.51       0.00
SP4O3                            HR PLATE - 3/8" (15.32|SOFT)                                     0.00   0.00     0.00   0.00    1.11       0.00
SP4O4        148                 HR PLATE - 1t2" (aO.42|SQFT)                                     0.00   0.00     0.00   0.00    0.48       0.00
SP4O5        150                 HR PLATE - 1" (40.84/SOFT)                                       0.00   0.00     0.00   0.00    0.64       0.00
SP4O6                            HR PLATE - 1 -114" (s1 .05/SQFT)                                 0.00   0.00     0.00   0.00    0.00       0.00
SP4O7        151                 HR PLATE - 2" (81.68/SOFT)                                       0.00   0.00     0.00   0.00    0.58       0.00
sP408                            HR PLATE. 1/8" UFT)                                              0.00   0.00     0.00   0.00    0.00       0.00
SPSOO        o44                 PIPE - 1-1/4"                                                    0.00   0.00     0.00   0.00    4.65       0.00
SP8O1        159                 PtPE - 3/4"                                                      0.00   0.00     0.00   0.00    4.25       0.00
SP8O2        142                 PIPE - 3/8"                                                      0.00   0.00     0.00   0.00    1.71       0.00
SP8O3                            PIPE - 1"                                                        0.00   0.00     0.00   0.00    0.00       0.00
SP8O4                            PIPE - 1/2"                                                      0.00   0.00     0.00   0.00    0.00       0.00
SR5OO        154                 HR ROUNDS - 1/2" (.668/FT)                                       0.00   0.00     0.00   0.00    0.63       0.00
SR5O1        197                 HR ROUNDS - 3t4" (1.soztFr)                                      0.00   0.00     0.00   0.00    1.04       0.00
SR502        160                 HR ROUNDS - 1" (2.670Fr)                                        46.00   0.00    46.00   0.00    0.87      40.o2
SR503        143                 HR ROUNDS - 1-113" (J                                            0.00   0.00     0.00   0.00    0.79       0.00
SR5O4                            HR ROUNDS - 1-112" (6.008/FT)                                    0.00   0.00     0.00   0.00    0.00       0.00
SR505        231                 HR ROUNDS - 1-3t4" (8j78/Fr)                                     0.00   0.00     0.00   0.00    0.87       0.00
5560O        140                 HR SQUARES - 1-114" (5.316/FT)                                   0.00   0.00     0.00   0.00    o.97       0.00
SSTOO        174                 HR STRIP - 3/16" X 3" (1 .91/FT)                                 0.00   0.00     0.00   0.00    o.82       0.00
SS7O1                            HR STRIP - 3i 16 X 1 (.6375/FT)                                  0.00   0.00     0.00   0.00    o.72       0.00
ST9OO        223                 TUBTNG - 2" X2" X 1/8"     o                                     0.00   0.00     0.00   0.00    0.73       0.00
ST9O1                            TUBTNG - s" X 3" X 1/4" (9.11o/FT)                               0.00   0.00     0.00   0.00    0.00       0.00
ST902                            TUBE - 1 -114" X 1 -1 14" X 1 18"                                0.00   0.00     0.00   0.00    0.00       0.00
ST903                            TUBE - 1" X 1" X 1/8" (/FT)                                      0.00   0.00     0.00   0.00    0.00       0.00



Run Date: 07130/2020                                                                                                                      7 of 9
                            Case 20-11139-1-rel            Doc 1     Filed 08/26/20 Entered 08/26/20 12:21:49   Desc Main
                                                                    Document     Page 23 of 370

Stock Status Report for Lincoln, NE                                                                                             Date:0713012O2O
T3000        182                        ACF PATCH - 3/8" X 12" X 20"                              0.00   0.00     0.00           47.93        0.00
T3001        175                        ACF PATCH W/ REINFORCEMENT STRIP                          0.00   0.00     0.00   0.00    99.79        0.00
T3002        073,100989                 BODY S|DE BERTNG SHTMS (5/8" X 4" X 14" - CENTER          0.00   0.00     0.00   0.00    16.75        0.00
                                        10-1t2")
T3003        064,100494                 BOLSTER BOWL LINER - 114" X 1" X 14-112"                  0.00   0 00     0.00   0.00    26.87        0.00
T3004        061, 100481                BOLSTER BOWL SHIM . 114" X 13-314"                        0.00     00     0.00   0.00    44.66        0.00
T3005        163,100348                 BOLSTER POCKET WP - 1/4" X 4-1t4" X 5-1/4"                0.00     00     0.00   0.00    18.36        0.00
T3006        164,100350                 BOLSTER POCKET WP - 1t4" X 5-1t2" X 5-112"                0.00   0 00     0.00   0.00    18.36        0.00
T3007        059,100353                 BOLSTER POCKET WP - 114" X 5-1/2" X 6"                    0.00     00     0.00   0.00    18.36        0.00
T3009        212,100839                 CENTER PLATE 2O-3l8" X21" X 16" BOWL                      0.00     00     0.00   0.00   522.88        0.00
T301 0       065,100524                 CENTER PLATE LUBE PADS - 8"                               0.00     00     0.00   0.00     2.36        0.00
T301   1     102,                       CONSTANT CONTACTS (A)                                   152.00     00   152.00   0.00    64.09    9,741.68
             RETROXTs4OOBELEM
T301 2       152,688BRELEM              CONSTANT CONTACTS (B)                                     0.00   0.00     0.00   0.00    67.71        0.00
T301 3       056,100060                 DOUBLE ROLLER BEARING CAGE                                0.00   0.00     0.00   0.00    13.91        0.00
T3014        100330                     S.2 HD WEDGE                                              0.00   0.00     0.00   0.00    61 .80       0.00
T301 5       196,100329                 FRICTION CASTING WEDGES-BARBERIS.z, 787 -C                0.00   0.00     0.00   0.00    45.O2        0.00
T301 6       214,100474                 FRICTION CASTING WEDGE.RIDE CONTROL                       0.00   0.00     0.00   0.00    52.1 6       0.00
T301 7       215,100416                 FRICTION CASTING WEDGE WALT SHIMS-BARBER/S-2              0.00   0.00     0.00   0.00    39.66        0.00
T3018        188,100534                 FRICTION CASTING WEDGE W/ ALT SHIMS - RC                  0.00   0.00     0.00   0.00    64.89        0.00
T301   I     062,100483                 crB (rNsrDE) 1-1t4" X4-7t8"                               0.00   0.00     0.00   0.00     4.27        0.00
T3020        063,100486                 GrB (OUTSTDE) 1-1t4" X3-3t4"                              0.00   0.00     0.00   0.00     3.43        0.00
T3021        001, A-05048               LINER - TRANSDYNE CLIP-ON WEAR LINER                      0.00   0.00     0.00   0,00     7.29        0.00
r3022        1 00335                    LTNER - WELD ON ROOF L|NER (1t4" X7-1/2" X5")             0.00   0.00     0.00   0.00     6.03        0.00
T3023        055,100056                 PEDISTAL ADAPTER 6-112" X 12" - 2ND HAND                  0.00   0.00     0.00   0.00    12.90        0.00
r3024        255, 10051 1               PEDISTALN ADAPTER 6-112" X 12" - NEW                      0.00   0.00     0.00   0.00    49.47        0.00
T3025        01 3, 1 00088, 1 0037255   SPRING, D5 INNER - 2ND HAND                               0.00   0.00     0.00   0.00     7.22        0.00
T3026        01 4, 1 00093, 1 0037265   SPRING, D5 OUTER - zND HAND                               0.00   0.00     0.00   0.00    12.22        0.00
T3027        167,100545                 SPRING, FRICTION CASTING WEDGE - INNER Ds-NEW             0.00   0.00     0.00   0.00     8.63        0.00
T3028        166,100546                 SPRING, FRICTION CASTING WEDGE - OUTER Ds-NEW             0.00   0.00     0.00   0.00    11.26        0.00
T3029        202,100395                 SPRING, INNER D5-NEW                                      0.00   0.00     0.00   0.00    12.34        0.00
T3030        238,100396                 SPRINGS, INNER D6.NEW                                     0.00   0.00     0.00   0.00    12.85        0.00
T3031        228,100398                 SPRING, INNER D6A - NEW                                   0.00   0.00     0.00   0.00    9.07         0.00
T3032        203,100402                 SPRING, OUTER Ds.NEW                                      0.00   0.00     0.00   0.00   25.36         0.00
T3033        229,100344                 SPRING, SIDE STABILIZING 8432 - NEW                       0.00   0.00     0.00   0.00    13.60        0.00
T3034        230,100345                 SPRING, SIDE STABILIZING 8433 - NEW                       0.00   0.00     0.00   0.00    10.59        0.00
T3035        100366                     WEAR PLATE, S/F WHOLES (1t2 X7-112" X 8-5/16)             0.00   0.00     0.00   0.00     0.00        0.00
T3036        100367,100385              WEAR PLATE, TRUCK SHIM COLUMN WHOLES (1/2" X              0.00   0.00     0.00   0.00    15.96        0.00
                                        7-112" X9-7116")
T3037        1   00379                  WEAR PLATE, TRUCK SHIM COLUMN (3t8" X7-112" X             0.00            0.00   0.00     0.00        0.00
                                        s-3/8)
T3038        100369 5 1/4 CENTER        WEAR PLATE, TRUCK SH|M COLUMN (3/8" X 5-1/2" X            0.00            0.00   0.00     7.46        0.00
                                        8-3/4)
T3039        241, 100346                BOLSTER POCKET WP - 1 /4" X 5-1 12" X s-5/8"              0.00   0.00     0.00   0.00     8.12        0.00
T3040        169,100499                 BOLSTER POCKET WP W/RC - 1/4" X2-114" X4-1/4"             0.00     00     0.00   0.00     3.59        0.00
T3041        257,100781                 couPLER CARRIER WP - 112" (PLASTIC)                       0.00     00     0.00   0.00    10.89        0.00
r3042        259,100364                 WEAR PLATE, StF (1t2" X5-1/2" X 8-s/4)                    0.00     00     0.00   0.00    16.79        0.00
T3043        100386                     WEAR PLATE, SlF (1t2" X5-1t2" X 8-3/4)                    0.00   0 00     0.00   0.00    18.46        0.00
T3045        100374,100379              WEAR PLATE, S/F W HOLES (3/8" X7-112" X 9-7116)           0.00   0 00     0.00   0.00    12.98        0.00



Run Date: 07130/2020                                                                                                                      8of9
                          Case 20-11139-1-rel       Doc 1    Filed 08/26/20 Entered 08/26/20 12:21:49   Desc Main
                                                            Document     Page 24 of 370

Stock Status Report for Lincoln, NE                                                                                             Date:0713012O2O
T3046        244,100375          WEAR PLATE, S/F WHOLES (7/16" X 7-1t2" X9-7t16")        0.00   0.00    0   00          0.00    11,09        0.00
r3047        265,100631          VERT. L|NER, SS (1/4" X 1-118" X16-1t2")                0.00   0.00    0   00          0,00    40.56        0.00
T3048        1 00526             TRUCK CENTER PIN . 1 5"                                 0.00   0.00    0   00          0.00     0.00        0.00
T3049                            WEAR PLATE, StF (1t2" X7-1t2" X8-1t2")                  0.00   0.00    0   00          0.00     0.00        0.00
T3050        1   00365           WEAR PLATE, S/F WHOLES (112" X7-1t2" X 8-15/16)         0.00   0.00    0   00          0.00     0.00        0.00
T3051        1   00373           WEAR PLATE, SF WHOLES (3t8" X7-1t2" X 8-s/16)           0.00   0.00    0   00          0.00     0.00        0.00
T3052                            BOLSTER                                                 0.00   0.00    0   00          0.00     0.00        0.00
T3053                            TRUCK SIDE FRAME                                        0.00   0.00    0   00          0.00     0.00        0.00
T3054        1 00403             SPRING,OUTER D-7 NEW                                    0.00   0.00    0   00          0.00     0.00        0.00
T3055        1 00397             SPRING,INNER D-7 NEW                                    0.00   0.00    0   00          0.00     0.00        0.00
T30s6        1 00644             SPRING,RIDEMASTER INNER NEW                             0.00   0.00    0   00          0.00     0.00        0.00
T3057        1 00645             SPRING, RIDEMASTER OUTER NEW                            0.00   0.00    0   00          0.00     0.00        0.00
T3058        1 00498             114X2X16 1/2 VERT BOWL LINER                            0.00   0.00    0   00          0.00    85.55        0.00

                                                                                                                 Reporl Total           45,783.18




Run Date: 07/3012020                                                                                                                      9of9
                            Case 20-11139-1-rel         Doc 1     Filed 08/26/20 Entered 08/26/20 12:21:49           Desc Main
                                                                 Document     Page 25 of 370


                                                              Interstate Commodities
                                                         Stock Status Report for Cairo, OH
                                                                           Date: 0713112020

             Atr                                                                                                              otv
Part         Part                                                                             Alter   otv     Oty     Qty      On     Unit          lnv
Num          Num                    Descriolion                                               Cost    Curr   Alloc   Avail   Order    Cost     Value
025                                 SECOND HAND C-10                                                  0.00                             4.26      0.00
026                                 SECOND HAND E4O                                                   0.00                            23.43      0.00
027                                 SECOND HAND E3O                                                   0.00                             7.46      0.00
028                                 NEW E24B                                                          0.00                            26.10      0.00
038          1   001 60             couPLER, SF70CE(BODY), RECOND.                                    0.00                           632.19      0.00
041          1   0071 9             ROTOR, F8A-NEW                                                    0.00                            19.01      0.00
o42          100744                 KNUCKLES, F51AE, NEW                                              0.00                           277.63      0.00
043          100745                 LOCK, F41AE, NEW                                                  0.00                            55.17      0.00
o44          10071      I           LOCKLIFT ASSEMBLY, F7 ROTARY                                      0.00                            49"91      0.00
045          1001 18                couPLER, E6oCE(BODY), RECOND                                      0.00                           478.13      0.00
055          A500                   2,375X.154 WAL RD TUB                                             0.00                            52.85      0.00
o57          ATP-850-0001           HATCH COVER LOCK                                                  0.00                           270.OO      0.00
064          Y45HTE                 YOKE                                                              0.00                           185.00      0.00
8099         TA-34807               J-1 RELAYVALVE                                                    0.00                             0.00      0.00
B1 000       035                    10" NIPPLE                                                        1.00                             9.33      9.33
81 001                              ABD EMERGENCY VALVES (S)                                          0.00                           358.39      0.00
B1 002                              ABD SERVICE VALVES                                                0.00                           314.35      0.00
81   003                            ABDW VALVE                                                        0.00                           430.81      0.00
81   004     G-324                  GLAD HAND GASKET                                                  0.00                             0.64      0.00
81   005     5401 -1 6              ArR BRAKE GASKET (1)                                              0.00                             0.31      0.00
81   006     5401-20                AIR BRAKE GASKET (1-1l4)                                          0.00                             0.31      0.00
81   007     5401-12                AIR BRAKE GASKET (3/4")                                           0.00                             0.26      0.00
81   008     5401 -06               AIR BRAKE GASKET (3/8)                                            0.00                             o.26      0.00
81   009     5401 -08               AIR BRAKE GASKET (1/2)                                            0.00                             0.25      0.00
81010        sPc20,100914           ANCHOR BASE (1-1l4)                                               0.00                             5.01      0.00
81011        sPc12Ht, 100915        ANCHOR BASE (3/4)                                                 0.00                             4.84      0.00
81012        sPcw1620, 100916       ANCHOR WEDGE (1" OR 1-1l4" PIPE)                                  0.00                             2.97      0,00
81013        sPcw812,100917         ANCHOR WEDGE (3/4" PrPE)                                          0.00                             1.97      0.00
81014        031                    ANGLE COCK                                                        1.00                            46.50     46.50
81015        036,100910             ANGLE COCK U BOLT                                                 0.00                             3.73      0.00
81016        1   0091   I           BELL CRANK ('69 OR NEWER)                                         0.00                            46.40      0.00
81017                               BELL CRANK CHAIN - 15"                                            0.00                             2.50      0.00
81018        1   00035              BRAKE BEAM - WABCOPAC B3/B3A                                      0.00                             0.00      0.00
81019        1   002859C            BRAKE BEAM #24, RECOND.                                           0.00                            95.00      0.00
81 020       o24,100452             BRAKE BEAM #18, LH, RH UNIVERSAL                                  0.00                            85.00      0.00
81 021       1 00564                BRAKE PrN (1-3/32" X 3-1/8" X 3-1/2" X C)                         0.00                             3.23      0.00
81022        1 00566                BRAKE PtN (1-3132" X 3-3/8" X 4" X C)                             0.00                             2.77      0.00
81 023                              BRAKE PIN ?                                                       0.00                             1.50      0.00
81024        1   00854              HAND BRAKE CLEVTS (2-112)                                         0.00                             6.61      0.00
81025                               BRAKE ROD CLEVIS - 3"                                             0.00                             7.90      0.00
Bl 026       1   00597              BRAKE ROD CLEVTS (4-1l2')                                         0.00                            12.73      0.00



Run Date: 07/31/2020                                                                                                                          1of   11
                             Case 20-11139-1-rel     Doc 1    Filed 08/26/20 Entered 08/26/20 12:21:49   Desc Main
                                                             Document     Page 26 of 370

Stock Status Report for Cairo, OH                                                                                     Date:0713112020
81027         1   00599              BRAKE ROD CLEVIS.6"                                   0.00                        12.65       0.00
81   028                             BRAKE ROD CLEVIS. 12"                                 0.00                         0.00       0.00
81   029      1   00590              BRAKE ROD JAW (3/4)                                   0.00                         5.03       0.00
81   030      1   00589              BRAKE ROD JAW (1")                                    0.00                         0.00       0.00
81   031      1   00591              BRAKE ROD JAW (7/8)                                   0.00                        11.52       0.00
B1   032      3188-3233              JAW OFFSET (1)                                        0.00                         0.00       0.00
81 033                               BRAKE ROD EYE (3/4)                                   0.00                         4.79       0.00
81   034      1   00602              BRAKE ROD EYE (7/8)                                   0.00                         5.15       0.00
B1   035                             BRAKE ROD COMPLETE                                    0.00                          0.00      0.00
B1   036                             BRAKE ROD - SHORT 27"                                 0.00                          0.00      0.00
B1   037      1 00595                BRAKE BAR - STRAIGHT 7" X 14"                         0.00                          0.00      0.00
81   038      1 00449                BUFFALO CONNECTORS (7/8',)                            0.00                         4.23       0.00
B1   039      1 00450                BUFFALO CONNECTORS (3/4)                              0.00                         4.23       0.00
81 040        HPE2                   BRAKE SHOE 1-112" - HF                                6.00                         8.82      52.92
81041         HPE4                   BRAKE SHOE 2" - HF                                    0.00                        12.50       0.00
81042         1 00685                BRAKE SHOE KEY                                        0.00                         2.94       0.00
Bl 043        1 00845                HAND BRAKE - GROUP O                                  0.00                       528.33       0.00
81 044                               HANDBRAKE ASSEMBLY GROUP N                            0.00                       413.98       0.00
81 045        1003328                AIR RELEASE YOKE                                      0.00                         5.00       0.00
81046         LTH7633                DIRT COLLECTOR LINE - 1" . 45 DEG. FLANGE             0.00                          0.00      0.00
81047         LTH7466                DIRT COLLECTOR LINE-1" - 90 DEG, FLANGE               0.00                          0.00      0.00
81 048        o577071                DIRT COLLECTOR, COMBINED - BALL TYPE                  0.00                        71.58       0.00
81 049        0661 063               RETAINER VALVE WBRACKET                               0.00                        57.46       0.00
81 050        1   00604              THROUGH TRUCK CONNECTOR (36)                          0.00                        96.61       0.00
81 051        1   00657              THROUGH TRUCK CONNECTOR (37)                          0.00                         0.00       0.00
81 052        1   0061   1           THROUGH TRUCK CONNECTOR (38)                          0.00                         0.00       0.00
B1 053        TEC20-20LW, 101090     TRATN LtNE EXTENSTON CASTTNG (1-114)                  4.00                         5.20      20.80
81 054        1 0091 2               TRA|N L|NE - U BOLT (3/4)                             0.00                          0.00      0.00
81055         101147, 0987102        TRATN LtNE HOSE - STANDARD (22)                       4.00                        30.60     122.40
81 056        s61 81 25              TRUCK MOUNTED BRAKE HOSE ASSY (7t8") - 2BOLr          0.00                        22.64       0.00
                                     SWIVEL FLANGE
Bl 057        s61 81 54              TRUCK MOUNTED BRAKE HOSE ASSY (718") - 314" PIPE      0.00                        25.90       0.00
                                     THREAD
81   058      2300-DJ                UN IVERSAL SLACK ADJUSTOR                             0.00                        314.48      0.00
81   059      EXT 100-68 0R 70       WABCOPAC 2+                                           0.00                      1,923.26      0.00
81 060        SBD2O                  DEEP SOCKET WELD ASSEMBLY WGROOVE (1-1t4")            0.00                        11.00       0.00
B1 061        SBD12                  DEEP SOCKET WELD ASSEMBLY WGROOVE (3/4)               0.00                         7.20       0.00
81 062        SBD12-6                DEEP SOCKET WELD ASSY WGROOVE (3/4" BY 3/8)           0.00                         0.00       0.00
81 063        SBD6                   DEEP SOCKET WELD ASSEMBLY w/GROOVE (3/8)              0.00                          6.95      0.00
81 064        SWTD2O                 DEEP SOCKET WELD BY FEMALE THREAD UNION               0.00                        10.86       0.00
                                     (1-1t4")
Bl 065        SWTD12                 DEEP SOCKET WELD BY FEMALE THREAD UNION (3/4)         0.00                          0.00      0.00
81   066      SWD12                  DEEP SOCKET WELD UNION (3/4)                          0.00                          0.00      0.00
81   067      SWD2O                  DEEP SOCKETWELD UNrON (1-114)                         0.00                          5.51      0.00
81   068      SWT12-2                3/4" WELD ON COLLAR WTAP                              0.00                          0.00      0.00
81   069      SFS2O                  FLANGE - SPLIT (1-1/4')                               0.00                        14.62       0.00
81   070      SFW2O                  FLANGE - SWIVEL (1-1l4)                               0.00                         0.00       0.00
81   071      WFE-1                  FLANGE TNSERT (3/4)                                   0.00                          0.00      0.00
81072         WFB-1                  FLANGE WTAP (3/4)                                     0.00                          0.00      0.00



Run Date: 07/3112020                                                                                                            2o|'11
                           Case 20-11139-1-rel           Doc 1    Filed 08/26/20 Entered 08/26/20 12:21:49   Desc Main
                                                                 Document     Page 27 of 370

Stock Status Report for Cairo, OH                                                                                        Date:0713112020
81 073        FTF2O.2OGL            FLANGED THREADED SWIVEL FIT WGROOVE - LONG                 0.00                       25.79       0.00
                                    (1-114',)
81074         FTF2O-2OG             FLANGED THREADED SWIVEL FITTING W/GROOVE                   0.00                       16"s8       0,00
                                    (1-1t4")
81 075        FTF2O-20BL            FLANGED THREADED SWIVEL FIT W/O GROOVE - LONG              0.00                       27.77       0.00
                                    (1-1t4")
81 076        FTF2O-20B             FLANGED THREADED SWTVEL FrT WO GRV (1-1l4')                0.00                       16"44       0.00
81077         RSW20-12              REDUCTNG SOCKET WELD UNION (1-114" BY 314")                0.00                       12.97       0.00
81 078        RFF12-12              RETNFORCED FLANGED TEE W/O GROOVE (3/4)                    0.00                        0.00       0.00
81 079        sB90-6                SOCKET WELD ASSEMBLY W/GROOVE (3/8" - 90 DEG.)             0.00                        0.00       0.00
81 080        sBF90-1 2             SOCKET WELD ASSEMBLY WO GROOVE (3/4". 90                   0.00                       12.31       0.00
                                    DEG.)
B1 081        SB12                  SOCKET WELD ASSEMBLY        W GROOVE . STANDARD            0.00                        0.00       0.00
                                    (3t4")
81 082        sFG45-12              socKET WELD ASSEMBLY W/GROOVE (3/4" - 4s DEG.)             0.00                        0.00       0.00
81 083        S86                   socKET WELD ASSY w/ GROOVE STANDARD (3/8)                  0.00                        0.00       0.00
81 084        SB16                  socKET WELD ASSY w/ GROOVE STANDARD (1)                    0.00                        5.00       0.00
81 085        SB8                   socKET WELD ASSY W GROOVE STANDARD (1/2)                   0.00                        5.25       0.00
Bl 086        SWTS2O                SOCKET WELD BY FEMALE THREAD UNION -                       0.00                        4.50       0.00
                                    STANDARD (1-1l4)
81 087        sB12-6                SOCKET WELD FLANGED FITTING W/ GRV - STD (3/4" X           0.00                        9.84       0"00
                                    3/8)
81 088        sB12-8                SOCKET WELD FLANGED FITTING WGRV-STD (3/4" X               0.00                        9.84       0.00
                                    112")
81 089        SWS2O                 SocKETWELD        UNTON - STANDARD   (1-1l4)               0.00                        4.47       0.00
81 090        SWS6                  socKET WELD       UNTON STANDARD (3/8)                     0.00                        0.00       0.00
81 091        SWSs                  socKET wLED       UNION STANDARD (1/2)                     0,00                        0.00       0.00
81 092        SWS12                 socKET WELD       UNION STANDARD (3/4)                     0.00                        0.00       0.00
81 093        SWS16                 socKET WELD  UN|ON STANDARD (1)                            0.00                        0.00       0.00
81 094        SFSG6                 SPLIT FLANGE ASSEMBLY W/ GROOVE (3/8')                     0.00                       21 .00      0.00
81 095        SFSGD8                spLIT FLANGE DEEP SOCKET ASSY WGRV (1/2)                   0,00                        0.00       0.00
81 096        SFSG12                SPLIT FLANGE ASSEMBLY W/ GROOVE (3/4)                      0.00                        0.00       0"00
81 097        SFSGl 6               SPLIT FLANGE ASSEMBLY W GROOVE (1")                        0.00                        0.00       0.00
81 098        LPOR90-12             LOW PROFILE OFFSET ELBOW RIGHT HAND                        0.00                       23.O4       0.00
81 099        BPT20-1 6             BRANCH P|PE TEE WSIDE OUTLET (1-1l4" X 1-114" X   1)       0.00                        0.00       0.00
Bt 100        swT12-12              socKET WELD TEE (3t4"X3t4"X314")                           0.00                       12.08       0.00
81 101        swT12-5               socKET WELD TEE (3/4 BY 3/4 BY 3/8)                        0.00                        0.00       0.00
B1 102        swT16-16              socKET WELD TEE (1")                                       0.00                        0.00       0.00
Bl 103        swT20-16              socKET WELD TEE ( 1 1/4 BY 1)                              0.00                        0.00       0.00
B't 104       swBT20-16             SOCKET WELD BY FLANGED BRANCH PIPE TEE                     0.00                        0.00       0.00
                                    (1-114X1-114X1)
B1 105        8C601,100913          RUBBER AIR HOSE SUPPORT                                    0.00                        5.07       0.00
B1 106        1   00630             AIR HOSE SUPPORT. STEEL                                   17.00                        6.58     111.86
B1 107                              BRAKE ROD EYE (1-114)                                      0.00                        0.00       0.00
B1 108                              BRAKE ROD JAW (1-1/8)                                      0.00                        0.00       0.00
81 109        100549, H543GN        BRAKE BEAM WEAR PLATE - PLASTIC                            0.00                        7.04       0.00
81 110        SWD6                  DEEP SOCKET WELD UN|ON (3/8')                              0.00                        7.35       0.00
81111                               ABD EMERGENCY GASKET                                       0.00                        4.41       0"00
81112                               HAND BRAKE WHEEL                                           0.00                        0.00       0.00



Run Date: 07/3112020                                                                                                               3of11
                              Case 20-11139-1-rel        Doc 1    Filed 08/26/20 Entered 08/26/20 12:21:49   Desc Main
                                                                 Document     Page 28 of 370

Stock Status Report for Cairo, OH                                                                                        Date: 0713112020
81   113      1   00981 3RW              10X12 CYLINDER COMPL                                  0.00                      319.60         0.00
81   114      1   009704                 KIT 8.5 WABCO PISTON REBUILD                          0.00                       96.12         0.00
81   115      SFD82O                     DEEP SOCKET WELD ASSY WO GRV (1-1l4)                  0.00                       23.13         0.00
81   116      sBS90-12                   SOCKET TO SOCKET WELD 9ODG-314"X314"                  0.00                       23.25         0.00
81117         SFS6                       3/8 SPLIT FLANGE                                      0.00                       18.63         0.00
81 118        SFS12                      3/4 SPLIT FLANGE                                      0.00                       13.87         0.00
81 119        LTHO67                     1" E-STYLE GLAD HAND 30" HOSE                         0.00                       83.26         0.00
81 120        1 004043R                  DBlO SERVICE VALVE                                    0.00                      313.74         0.00
B1 12'l       1 003922R                  DBzO EMERGENCY VALVE                                  0.00                      663.74         0.00
81122                                    SERVICE VALVE GASKET                                  0.00                        5.00         0.00
81123         1 00832                    GROUP R SLACK ADJ                                     0.00                      453.39         0.00
81124         41008202                   BRAKE CYLINDER - 8.5                                  0.00                      101.58         0.00
81125         1 201 -360                 BRAKE ROD - 36-40"                                    0.00                      123.58         0.00
81 126        572588                     BRAKE LEVER                                           0.00                       47.83         0.00
81127         107'1682                   FULCRUM BRACKET LH                                    0.00                      146.1   1      0.00
81 128        1 071 683                  FULCRUM BRACKET RH                                    0.00                      146.1   1      0.00
81 129                                   ABD PIPE BRACKET (RECOND)                             0.00                      150.00         0.00
c2000         100764                     COUPLER DRAFT KEY RETAINER                            0.00                        5.29         0.00
c2001         100778                     COUPLER DRAFT KEY RETAINER LOCK                       0.00                        1.62         0.00
c2002         1   0071 6                 COUPLER KEY LOCKS                                     1.00                       58.05       58.05
c2003         1   00743                  KNUCKLE - E50AE (NEW)                                 0.00                      272.12         0.00
              Location:                  Cairo, OH                                             0.00                        0.00         0.00
c2004         060,100166                 COUPLER KNUCKLE - EsOAE                               0.00                      120.00         0.00
c2005         1   00746                  COUPLER LOCK LIFTER - E24B                            1.00                       23.10        23.10
c2006         1   00786                  couPLER SHANK WP (1t4" X s" X 8)                      0.00                        0.00         0.00
c2007         o40,100721                 COUPLER THROWER PIN                                   0.00                       18.85         0.00
c2008         1   00760                  COUPLER CARRIER WP - 3/8" METALLIC                    0.00                       13.23         0.00
c2009         1   00790                  COUPLER WEAR PLATE - 3/8" PLASTIC                     0.00                       20.12         0.00
c201 0        058,100136                 couPLER, SBE60CE (BODY), RECOND.                      0.00                      541 .81        0.00
c2011         063,100205                 DRAFT GEAR - MARK 5O/5OO RECOND.                      0.00                      455.O2         0.00
c2012         1   00762                  DRAFT GEAR CARRIER PLATE - 18" CENTER                 0.00                        0.00         0.00
c2013         059,100723                 DRAFT GEAR FOLLOWER BLOCK -Y44AE                      0.00                       85.60         0.00
c2014         062,100772                 DRAFT KEY 1 8"                                        0.00                       77.71         0.00
c2015         061 , 1 00776              DRAFT KEY 19"                                         0.00                       79.05         0.00
c2016         1 0021 5                   DRAFT KEY WASHER                                      0.00                        2.67         0.00
c2017         1 00789                    KNUCKLE PIN - PLASTIC                                 0.00                        0.00         0.00
c2018         039, 1 001 64, 1 00742     KNUCKLE PIN - STEEL                                   0.00                       12.08         0.00
c201 9        1 00925                    uNcouPLER LEVER - STANDARD (2-PIECE)                  0.00                       29.28         0.00
c2020         1   00921                  UNCOUPLER LEVER BRACKET                               0.00                       20.80         0.00
c2021         100926                     UNCOUPLER LEVER (1 -PTECE)                            0.00                       22.58         0.00
c2022         037, 1 001 76, 1 003879C   YOKE (Y4oAE/SY40AE RECOND.)                           0"00                      175.73         0.00
c2023         DA-45461                   FRONT LUG KEYWAY                                      0.00                        0.00         0.00
c2024         100783                     DRAFT LUG, REAR                                       0.00                       85.72         0.00
c2025         60 CHT COUPLER             DOUBLE SHELF COUPLERS                                 0.00                      283.47         0.00
c2026         100747                     E-30 THROWER                                          0.00                       17.O7         0.00
c2027                                    KNUCKLE PIN-SECOND HAND STEEL                         0.00                        8.O2         0.00
D3000                                    RAPID DISCHARGE CYLINDERS (2ND HAND)                  0.00                      370.97         0.00
D3001         DA 50289                   sTD 31 1/4X 35 3/4 & 26 1/4CENTR                      0.00                      359.85         0.00
D3002         DA 71 131                  ws 31 1/8"X36" & 36 1/4"CENTER                        0.00                      569.00         0.00



Run Date: 07131/2020                                                                                                                 4ot11
                            Case 20-11139-1-rel        Doc 1     Filed 08/26/20 Entered 08/26/20 12:21:49   Desc Main
                                                                Document     Page 29 of 370

Stock Status Report for Cairo, OH                                                                                           Date:0713112020
D3003         D471140               ws   32 3/8"X 28" &27 1/2" CENTER                         0.00                          462.15       0.00
D3004         DA 31 139             wtDE 44 1t2"X18" &37 3/4" CENTER                          0.00                          232.50       0.00
D3005         DA 50287              STANDARD 31 3/4"X 34 114" & 26 1/4" CENTER                0.00                          359.61       0.00
D3006         DA 0841 0             STANDARD 31 3/4" X 34 5/8" & 24" CENTER                   0.00                          319.83       0.00
D3007         DA 10062              STANDARD 31 5/8"X38 112" & 24 1/2' CENTER                 0.00                          319.24       0.00
G4100         010, DA-00648         BEARING BLOCK                                             2.00                           24.94      49.88
G4101         DA-0121   1           CAPSTAN 2-CH.156                                          0.00                           43.89       0.00
G4102         o12, DA-33142         CAPSTAN LOCK, DA-33142                                    0.00                            8.05       0.00
G41 03        DA-43413              CAPSTAN, 12-7116"LONG                                     0.00                           37.68       0.00
G4104         006, DA-41890         CAPSTAN, SHORT                                            2.00                           52.87     105.74
G4105         DA-42391              CAPSTAN, STD 7-314"                                       2.OO                           40.69      81 .38
G4106         005, DA-25690         CAPSTAN, WELD ON                                          2.OO                           44.22      88.44
G4107         ATP 550-0026-1GRY     33"X68 5/8" WELD ON                                       0.00                          744.00       0.00
G4108         o17, DA-70209         PINION GEAR - STANDARD                                    2.00                           18.58      37.16
G41 09        069, DA-52082         PINION GEAR - WIDE, 3"                                    0.00                           21.27       0.00
G4110         033,ATP-750-0033      UNIVERSAL GATE LOCK                                       8.00                           23.43     187.44
G4111         029,550-0038-1GRY     GATE ASSEMBLY 0381                                        0.00                          654.45       0.00
G4112         030,550-0053-2GRY4    GATE ASSEMBLY 0532                                        0.00                          914.94       0.00
G41 13        55000681 GRY          GATE ASSEMBLY 0681                                        0.00                          747.88       0.00
G4114         17514                 GATE ASSEMBLY 7514                                        0.00                             0.00      0.00
G41 '15       MKE8843               OPT HANDLE (FOR A-LOK I GATES)                            0.00                             0.00      0.00
G4116         MKE8807               oPT SHAFT 1.25 X 4'3"                                     0.00                             0.00      0.00
G4117         MKE8729               SLIDE DOOR ASSEMBLY                                       0.00                             0.00      0.00
G41 18        MKEl 0129             SLIP PINION ASTM A897-90                                  0.00                             0.00      0.00
G41 19        DA-0171   1           VIBRATOR BRACKET-WELD ON, DA-167-6000                     0.00                           75.77       0.00
G4120         DA-52090              LOCK WELD/ ASSY SEAL BR, DA-sOO                           0.00                           33.46       0.00
G4121         DA-521 01             LOCK WELD/ASSY SEAL BRKT, DA-501                          0.00                           33.46       0.00
G4122         022,   DA-13096       RACK - DA13096                                            0.00                           35.80       0.00
G4123         023,   DA-33181       WIDE RACK - DA33181                                       0.00                           23.75       0.00
G4124         013,   DA-42328       RACK, DA-42328                                            2.OO                           42.93      85.86
G4125         004,   DA-69400       PrNroN GEAR, (WELD ON)                                    2.00                           28.00      56.00
G4126         DA-21 1 30            PINION GEAR, STAINLESS - WELD ON                          0.00                           32.73       0.00
G4127         052,40991751          ANDERSON GATE SHAFT (28" X 48)                            0.00                          252.46       0.00
G4128         40991 731             ANDERSON GATE SHAFT RETAINER (24" X 48")                  2.00                           35.96      71.92
G4129         40991741              ANDERSON SLIDE GATE (24" X 48")                           0.00                          381 .02      0.00
G41 30        40991 821             ANDERSON SLIDE GATE (17" X 48")                           0.00                             0.00      0.00
G4132                               BUTTERFLY LOCK                                            6.00                             4.72     28.32
G4133         014,   DA-42339       RACK - BACK STOP (DA-42339)                               2.00                           44.40      88.80
G4134         070,   DA-42340       RACK - BAR LOCK (DA-42340)                                0.00                           42.64       0.00
G4135         018,   DA-42444       RACK - OUTLET DOOR (DA-42444)                             4.00                           42.56     170.24
G4136         071,   DA-42372       RACK - W|DE WSTOP (DA-42372)                              0.00                           60.83       0.00
G4137         DA-985381 -2C         CAPSTAN KIT                                              52.00                             3.51    182.52
G41 38        40992091              ANDERSON GATE ASSEMBLY 28" X 48"                          0.00                      1   ,170.00      0.00
G4139         DA-11224              VIBRATOR BRACKET-NO BACKER                                0.00                           73.68       0.00
G4140                               cuT PLATE (3/8" X 32" X 3s)                               0.00                            0.00       0.00
G4141         DA-50066              SPRING GUIDE BRACKET CAP                                  0.00                           44.68       0.00
G4142         DA-09048              SPR|NG GUTDE & STOP (DA-50067)                            0.00                           71 .68      0.00
G4143         DA-50068              ECCENTRIC NUT                                             0.00                           19.90       0.00
G4144         SPALLINGER            BAR LOCK BRACKET (A)                                      0.00                             7.97      0.00



Run Date:0713112020                                                                                                                   5of11
                           Case 20-11139-1-rel        Doc 1    Filed 08/26/20 Entered 08/26/20 12:21:49   Desc Main
                                                              Document     Page 30 of 370

Stock Status Report for Cairo, OH                                                                                      Date:0713112020
G4145                               BAR LOCK BRACKET (B)                                    0 00                         7.72       0.00
G4146         60221                 #100 DooR cHAtN                                         0 00                        13.90       0.00
G4147         DA-42382              RACK DA-42382                                           0 00                       115.17       0.00
G4148         DA-22527              WINE DOOR HOOK.DM2527                                   0 00                        43.20       0.00
G4149         DA-43480 PK-480-A     PAWL WINE LOCK-DA.43480                                 0 00                        18.12       0.00
G4150         DA-44480 PK-480-B     PAWL WINE LOCK-DA-44480                                 0 00                        18.12       0.00
G4151         DA-1 0080             CAPSTAN BACKLOCK STYLE ATP                              0 00                        69.90       0.00
G4152         DA-43514              BUSHING, MC-514                                         0 00                        27.50       0.00
G41 53        DA-50039              SPRING GUIDE                                            0 00                        49.90       0.00
G4154         DA-s0040              SPRING GUIDE BRACKET                                    0 00                        36.90       0.00
G41 55        DA-50034              SPRING ADJUSTMENT PLATE                                 0 00                        26.50       0.00
G4156         DA-14123              GREEN SPRING FOR SPRING ASSIST                          0 00                         44.69      0.00
G4157         DA-5001 7             HINGE BUTT                                              0 00                         13.63      0.00
G4158         DA-50090              SPRING GUIDE PIN                                        0 00                          9.79      0.00
G4159         M08564643             DUMP DOOR VALVE                                         0 00                       445.16       0.00
G4160                               ALUMINUM DUST CAP (TANKER ONLY)                         0 00                        27.06       0.00
G4161         DA-41 902             CAPSTAN, 15-1/2" LONG                                   0 00                        78.84       0.00
G4162         ATP-1 8455            GATE ASSEMBLY,31 1IzLX54 1/2W                           0 00                      1,018.87      0.00
G4163                               CAPSTAN HOUSING, 2112" PIPE PIECE                       2 00                         12.46     24.92
G4'164        MKE875O               ADAPTOR PLATE FOR 32 BOLT ASSEMBLY                      0 00                         0.00       0.00
G4165         MKE10260 (SECOND      32 BOLT ON ASSEMBLY MKE1 0260                           0 00                       535.98       0.00
              HAND)
G4166         MKE10260 (NEW)        32 BOLT ON 24"X48"                                      0.00                      1,127.O7      0.00
G4167         ATP 550-0055          66 BOLT ON ASSEMBLY (GACX 6246)                         0.00                      1,087.45      0.00
H4000         ATP-750-0863          BATTEN BAR - 24" (750-0863)                             1.00                         56.51     56.51
H4001         072, ATP-7s0-0906     BATTEN BAR 24" HA1 (7so-0906)                           1.00                        63.59      63.59
H4002         ATP-750-0861          BATTEN BAR GASKET                                      15.00                         3.32      49.80
H4003         ATP-750-1 039         BATTEN BAR KrT (750-1039)                               0.00                         0.00       0.00
H4004         ATP 850-0909          BATTEN BAR                                              0.00                          0.00      0.00
H4005         ATP-750-0896          BATTEN BAR 20" (750-0896)                               0.00                        64.16       0.00
H4006         ATP-850-0070          HATCH COVER 7'- FTBERGLASS (8s0-0070)                   0.00                       229.19       0.00
H4007         ATP-850-0074          HATCH COVER 9'- R - FIBERGLASS (850-0074)               0.00                       310.89       0.00
H4008         ATP-850-0075          HATCH COVER 9'- L- FTBERGLASS (8s0-0075)                0"00                       322.94       0.00
H4009         ATP-850-0491          HATCH COVER 1 1'- ALUM (850-0491)                       0.00                       379.86       0.00
H401 0        067, ATP-850-0021     HATCH COVER 11'- FIBERGLASS (8s0-0021)                  0.00                       424.24       0.00
H401 1        ATP-850-0894          HATCH COVER 12'S , ALUM (850-0894)                      0.00                         0.00       0.00
H4012         ATP-8s0-0279          HATCH COVER 12'- L (RD) - FTBERGLASS (850-0279)         0.00                       430.94       0.00
H401 3        ATP-850-0280          HATCH COVER 12' - R (RD) - FTBERGLASS (850-0280)        0.00                       430.94       0.00
H4014         ATP-850-0620          HATCH COVER 12'- R (RD) - ALUM (850-0620)               0.00                       395.58       0.00
H401 5        053, ATP-850-0028     HATCH COVER 13'- FTBERGLASS (850-0028)                  0.00                       472.29       0.00
H401 6        ATP-850-0993          HATCH COVER 13'- L (RD) - FTBERGLASS (8s0-0ss3)         0.00                       549.71       0.00
H4017         ATP-850-0992          HATCH COVER 13'- R (RD) - FTBERGLASS (850-0992)         0.00                          0.00      0.00
H401 8        034, ATP 750-0828     HATCH COVER GASKET                                     37.00                          1.53     56.61
H401 9        ATP-750-01 04         HATCH COVER LOCK.IRECO 30149 - STANDARD                 2.00                        39.74      79.48
H4020                               HATCH COVER LOCK. IRECO 30169 - ALUMINUM                0.00                         0.00       0"00
H4021         ZT-461.A|CF           ACF LATCH ASSEMBLY                                      0.00                        28.50       0.00
H4022         054, ATP-8s0-001 9    HATCH COVER 13' (850-0019)                              0.00                       506.54       0.00
H4023                               HATCH COMBING (5)                                       0.00                         7.30       0.00
H4024                               HATCH COMBTNG (6)                                       0.00                          7.71      0.00



Run Date:0713112020                                                                                                              6of11
                           Case 20-11139-1-rel       Doc 1    Filed 08/26/20 Entered 08/26/20 12:21:49   Desc Main
                                                             Document     Page 31 of 370

Stock Status Report for Cairo, OH                                                                                    Date:0713112020
H4025         ATP-850-0001          HATCH COVER 8', - S (850-0001 )                        0.00                      244.93        0.00
H4026         ATP-850-0002          HATCH COVER 8'- RH (850-0002)                          0.00                      260.08        0.00
H4027         ATP-850-003           HATCH COVER 8'- LH (e50-ooo3)                          0.00                      261.47        0.00
H4028         ATP-750-0903          BATTEN BAR 20" - O9O3                                  0.00                       73.68        0.00
H4029         ATP-850-0007          HATCH COVER 12' (8so-0007)                             0.00                      39'l .05      0.00
H4030         ATP-750-2007          BATTEN BAR 20" HC2iHDB (750-2OO7)                      0.00                         0.00       0.00
H4031                               FIBERGLASS                                             0.00                      410.11        0.00
H4032                               FIBERGLASS                                             0.00                      503.68        0.00
H4033                               FIBERGLASS                                             0.00                      411.42        0.00
H4034                               FIBERGLASS                                             0.00                      422.41        0.00
H4035         850-0983              HATCH COVER END RD (8s0-0983)                          0.00                      364.54        0.00
H4036         850-0986              HATCH COVER END RD (850-0986)                          0.00                      364.54        0.00
H4037         850-0984              HATCH CENTER (2) - 8s0-0984                            0.00                      506.14        0.00
H4038         850-0985              cENTER INTERMEDIATE (850-0985)                         0.00                      445.13        0.00
H4039         ATP 850-0015          13' DOUBLE RD END 24" TROFT (8s0-0015)                 0.00                      594.98        0.00
H4040         850-0008              HATCH COVER 12'(RD) (8so-ooo8)                         0.00                      534.40        0.00
H4041         ATP 7s0-0899          BATTEN BAR (20")                                       2.O0                       64.96      129.92
H4042         850-00 1 0            HATCH COVER 12'RD                                      0.00                      383.26        0.00
H4043CONV     5"X10'WTDEGREE,       5" X 5" ACFX COMBING                                   0.00                       72.14        0.00
              CONVERSION
H4044         ATP 850-0630           ALUM HATCH COVER                                      0.00                      582.00        0.00
H4045         ATP 850-0657           24" QUANTUM FIRST HATCH                               0.00                      507.38        0.00
H4046         750-091 7              BATTEN BAR 24" (750-0917)                             2.00                       60.09      120.18
H4047         850-0024               13' FIBERGLASS HATCH COVER                            0.00                      465.52        0.00
H4048         850-001 9              1 1' FIBERGLASS HATCH COVER                           0.00                      374.37        0.00
M4500         101159                 AEI TAGS-ATs1 1 8-NEW STYLE                           0.00                       31.92        0.00
M4501                                AEI TAG - 5.1 1O - OLD STYLE                          0.00                        0.00        0.00
M4502         065, R99               REFLECTTVE TAPE (100 PTECES/ROLL)                    11.00                         1.36      14.96
M4503                                STENCIL SET - INTX VINYL                              0.00                        0.00        0.00
M4504         1 00585                WEDGEFAST COTTER PrN (5/16" X 3l                      0.00                        0.33        0.00
M4505                                AEI TAG BRACKET (PUSH TAB)                            4.00                        4.87       19.48
M4506                                AEI TAG BRACKET (BOLT ON)                             0.00                        5.67        0.00
M4507                                LADDER BRACKET (5" X 3)                               0.00                        0.00        0.00
M4508                                LADDER BRACKET (3" X 3)                               0.00                        0.00        0.00
M4509         FG136                  WHEEL SETS                                            0.00                      823.62        0.00
M4510                                DEFECT CARD HOLDER                                    0.00                       13.32        0.00
M451   1                             rNTX STENCTL SET - MAGNET (TNCLUDES 2 LARGE,2         0.00                        0.00        0.00
                                     SMALL)
M4512                                AEI TAG-ATs1 1 8, SECOND HAND                         0.00                       12.00        0.00
R4200         102046A METLX 72414-00 CROSSOVER BOARD . (A-END) NO CUT OUT                  0.00                       77.96        0.00
R4201         1020948 METLX72425-00 cRossovER BoARD (10-1/4" X 60)                         0.00                       46.03        0.00
R4202         72425-10               cRossovER BoARD (12-1l8" X 60)                        0.00                       46.38        0.00
R4203         72425-20               cRossovER BoARD (14-1l8" X 60)                        0.00                        0.00        0.00
R4204         HAND HOLD HH101        HAND HOLD - 20"X3"X1 1/16                             0.00                       20.04        0.00
R4205         HH1 021 9DS1 70        HANDHOLD - 19" DOUBLE OFFSET                          0.00                         0.00       0.00
R4206         HHl 1 71 9SDS69        HANDHOLD 19'SINGLE OFFSET LH                          0.00                         8.45       0.00
R4207         HH11719SDS68           HANDHOL 19 " SINGLE OFFSET RH                         0.00                         8.45       0.00
R4208         HH 1 0634530           HANDHOLD - 34"                                        0.00                         9.45       0.00
R4209                                RUNNING BOARD 24" X 147"                              0.00                      158.47        0.00



Run Date: 07/31/2020                                                                                                            7ot11
                              Case 20-11139-1-rel         Doc 1     Filed 08/26/20 Entered 08/26/20 12:21:49   Desc Main
                                                                   Document     Page 32 of 370

Stock Status Report for Cairo, OH                                                                                           Date: 0713112020
R421 0                                BRAKE STEP (GRATE)                                         0.00                         0.00       0.00
R4211         38S00138                24"X77 314" LONG RUNNING BOARD                             0.00                        72.32       0.00
R4213         704901 METLX 72419-01   RUNNING BOARD - END EXT. (24" X 18)                        0.00                        40.99       0.00
R4214         8G3608                  RUNNTNG BOARD - GRATTNG (7.74|SOFT.)                       0.00                         0.98       0.00
R4215         72543-21                RUNNTNG BOARD (24" X 1O1-1t4")                             0.00                         0.00       0.00
R4216         72629-42                RUNNTNG BOARD (24" X 106-3/4)                              0.00                         0.00       0.00
R4217         704898 METLX 72415-04   RUNNTNG BOARD (24" X 127")                                 0.00                       320.82       0.00
R421A         DWG   #SS-10            SILL STEP #SS-10                                           0.00                         0.00       0.00
R4219         DWG   # SS-1OR          SILL STEP # SS-1OR                                         0.00                         0.00       0.00
R4220         DWG   #SS-12            SILL STEP # SS-12                                          0.00                         0.00       0.00
R4221         DWG   # SS-11           SILL STEP # SS-1 1                                         0.00                         0.00       0.00
R4222                                 CRDX LAT BOARD 24" X77.75"                                 0.00                         0.00       0.00
R4223                                 SIDE SILL PLATE ASSEMBLY                                   0.00                         87.54      0.00
R4224         UTLX 901 71 2           SAFETY PLATFORM & RAIL SUPPORT                             0.00                      1,090.88      0.00
SAlOO                                 ANGLE - 1" X 1" X 3/16" (1 .16/FT)                         0.00                          0.46      0.00
SA1O1                                 ANGLE - 1" X 1" X 1/8" (.80/FT)                            0.00                          0.60      0.00
SAl02         o47                     ANGLE - 1" X 1" X 1t4" (1.49tFT)                           4.00                          0.58      2.32
SA103                                 ANGLE - 1 -1 t2" X 1-1 t2" X 1/8" (1.23lFT)                0.00                          0.00      0.00
SA104                                 ANGLE - 2" X 2" X 3t16" (2.441FT)                          0.00                          1.65      0.00
SA105         007                     ANGLE - 2" X2" X 1/4" (3.1e/FT)                           19.00                          0.45      8.55
sA106                                 ANGLE - 2-112" X2-112" X 114" (4.101FT)                    0.00                          0.55      0.00
SA1 07        020                     ANGLE - 3" X 3" X 114" (4.9O|FT)                           0.00                          o.57      0.00
SA1 08                                ANGLE - 3-1 t2" X 3-1 t2" X 1/4" (s.80/FT)                 0.00                          o.47      0.00
SA1 09                                ANGLE - 3/8" X 3" X3" (7.20/Fr)                            0.00                          0.00      0.00
SAlIO                                 ANGLE - 6" X3-1t2" X s/16" (9.80/FT)                       0.00                          0.00      0.00
s4111                                 ANGLE - 6" X 4" X 3/8" (12.30/FT)                          0.00                          0.50      0.00
SA1 12                                ANGLE - 5" X 3-1t2" X 3/8" (1 0.40/FT)                     0.00                          0.00      0.00
sA1 13                                ANGLE - s" X 5" X 3/8" (12.30/FT)                          0.00                          0.81      0.00
SA1 I4                                ANGLE - 4" X 3" X 3/8" (8.50/SO FT)                        0.00                          o.42      0.00
SA115                                 ANGLE - 3' X 2" X 1/4" (4.10/SO FT)                        0.00                          0.51      0.00
sc200         016                     oHANNEL - 3" (5/FT)                                       65.00                          0.48     31.20
sc201                                 CHANNEL - 8" (1 1.5/FT)                                    0.00                          0.00      0.00
sc202         5" CHANNEL              5" CHANNEL 6.7# FT                                         0.00                          0.69      0.00
sc203                                 5" 16# WF I BEAM - CHASSIS                                 0.00                          0.72      0.00
SF3OO         019                     HR FLAT - 3/16" X 2" (1.275/Fr)                            0.00                          1.63      0.00
SF3O1                                 HR FLAT - 3/8" X 1" (1 .28/FT)                             0.00                          0.00      0.00
SF302                                 HR FLAT - 1t4" X 1" (.850/FT)                              0.00                          0.64      0.00
sF303         056                     HR FLAT - 1t4" X2" (1.70/FT)                              20.00                          0"46      9.20
SF304                                 HR FLAT - 1t4" X3" (2.5siFr)                               0.00                          0.57      0.00
SF305         o32                     HR FLAT - 1/4" X 4" (3.40/FT)                              0.00                          0.45      0.00
SF3O6                                 HR FLAT - 1t2" X1-1t4" (2.13/FT)                           0.00                          0.00      0.00
SF3O7                                 HR FLAT - 1t2" X3" (5.10/FT)                               0.00                          0.00      0.00
SF308                                 HR FLAT - 1t2" X 4" (6.80/FT)                              7.00                          o.37      2.59
SF309                                 HR FLAT - sl4" X3" (7.6s/FT)                               0.00                          1.32      0.00
SF31   O                              HR FLAT - 1-1t2" X3-112" (17.86/Fr)                        0.00                          0.00      0.00
SF31   1                              HR FLAT - 1-114" X3" (12.75ffr)                            0.00                          0.00      0.00
SF31 2                                HR FLAT - 112" X 1-112" (2.55/FT)                          0.00                          0.00      0.00
SF31 3                                HR FLAT - 1t2" X2" (3,4/FT)                                8.00                          0.46      3.68
sF3t4                                 HR FLAT 1"X6" (20.40/FT)                                   0.00                          0.39      0.00



Run Date: 07/31/2020                                                                                                                  8of11
                          Case 20-11139-1-rel          Doc 1     Filed 08/26/20 Entered 08/26/20 12:21:49   Desc Main
                                                                Document     Page 33 of 370

Stock Status Report for Cairo, OH                                                                                       Date: 07131/2020
sF315                               HR FLAT - 3/8" X 4" (5.1o/SQ FT)                          0.00                        0.40       0.00
SF316                               HR FLAT - 3/8'X 3" (3.83/SO FT)                           0.00                        0.44       0.00
SFs1 7                              HR FLAT - 1t2" X6" (10.20ISQ.FT.)                         0.00                        0.00       0.00
SF31 8                              HR FLAT - 5/16" X 4" (4.258r)                             0.00                        0.52       0.00
SF31 9                              HR FIAT - 5/8" X 4" (8.50/FT)                             0.00                        0.46       0.00
SP4OO                               HR PLATE - 3/16" (7.66/SQFT)                              0.00                        0.45       0.00
SP4O1         o02                   HR PLATE - 5/16" (12.76/SOFT)                           425.OO                        0.45     191 .25
SP4O2                               HR PLATE - 1/4" (10.21|SOFT)                              0.00                        0.65       0.00
SP4O3         001                   HR PLATE - 3/8" (15,32/SQFT)                              0.00                        1.11       0.00
SP4O4         048                   HR PLArE - 112" (zO.AztSAFr)                              0.00                        o.52       0.00
SP4O5                               HR PLATE - 1" (40.84/SOFT)                                0.00                        0.64       0.00
SP4O6                               HR PLATE - 1-1l4" (51.os/SOFT)                            0.00                        0.50       0.00
SP4O7                               HR PLATE - 2" (81.68/SOFT)                                0.00                        0.00       0.00
SP4O8                               1O GAGE HR FLAT (5.625SQ FT)                            156.00                        o.57      88.92
SPSOO                               PIPE - 1-114"                                             0.00                        3.69       0.00
SP801                               PIPE - 3/4"                                               0.00                        4.65       0.00
SP8O2                               PtPE - 3/8"                                               0.00                        0.00       0.00
SP8O3                               PIPE - 1"                                                 0.00                        0.00       0.00
SP8O4                               PIPE - 1t2                                                0.00                        4.68       0.00
SP8O5                               2 1t2 BLACK P|PE SCH 40(5.172 Fr)                         0.00                        5.51       0.00
SP8O6         1 1/2 OD PIPE         1 1t2 OD P|PE 1/8' WALL (HAND RAILS)                      0.00                        1.85       0.00
SP8O7                               PIPE - 2"                                                 0.00                        1.21       0.00
SRsOO                               HR ROUNDS - 1/2" (.668/FT)                                0.00                        0.98       0.00
SRsO1         01   1                HR ROUND - 3t4" (1.5021FT)                                0.00                        0.54       0.00
SRsO2                               HR ROUNDS - 1" (2.67oFr)                                 55.00                        0.55      30.25
SRsO3                               HR ROUNDS - 1-113" (/FT)                                  0.00                        0.00       0.00
SR5O4         003                   HR ROUND - 1-112" (6.008/FT)                             78.00                        0.52      40.56
SR5O5                               HR ROUNDS - 1-3t4" (8.178tFr)                             0.00                        0.87       0.00
SR5O6         SR5O6                 HR ROUNDS - 7t8" (2.0458r)                                0.00                        0.64       0.00
SRsO7                               HR ROUNDS - 1-114" (4.172)                                0.00                        0.94       0.00
SR5O8                               HR ROUNDS - 3/8" (.376/FT)                                0.00                        0.97       0.00
5560O         021                   HR SQUARE - 1-114'(5.316/FT)                             54.00                        0.59      31.86
ss601                               HR SQUARE - 2" (13.60/FT)                                 0.00                        0.85       0.00
SSTOO                               HR STRTP - 3/16" X 3" (1 .91/FT)                          0.00                        0.74       0.00
SS7O1                               HR STRIP - 3/16" X 1" (.6375/FT)                          0.00                        0.00       0.00
sT900                               TUBE-2"X2"X1i8"(/FT)                                      0.00                        0.00       0.00
ST9O1                               TUBE - 3" X 3" X 1/4" (9.1 1o/FT)                         0.00                        0.00       0.00
ST9O2                               TUBE - 1-1l4" X 1-114" X 1/8" UFT)                        0.00                        0.00       0.00
ST9O3                               TUBE - 1" X 1" X 1/8" (/FT)                               0.00                        0,00       0.00
T3000                               ACF PATCH - 3/8' X 12" X 20"                              0.00                        0.00       0.00
T3001                               ACF PATCH W/REINFORCEMENT STRIP                           0.00                       87.54       0.00
T3002         1   00989             BODY S|DE BEARING SHIMS (5/8" X 4" X 14" - CENTER         0.00                        0.00       0.00
                                    1O-112")
T3003         1   00494             BOLSTER BOWL LINER . 1/4" X 1" X 14-112"                  0.00                        0.00       0.00
T3004         1   00481             BOLSTER BOWL SHIM - 114" X 13-314"                        0.00                        0.00       0.00
T3005         1 00348               BOLSTER POCKET WP - 1 /4" X 4-114" X 5-114"               0.00                        0.00       0.00
T3006         1 00350               BOLSTER POCKET WP - 1/4" X5-112" X5-1/2"                  0.00                        0.00       0.00
T3007         1 00353               BOLSTER POCKET WP .114" X 5-1/2" X 6"                     0.00                        0.00       0.00
T3009         1 00839               CENTER PLATE 2O-3l8" X 21" X 16" BOWL                     0.00                        0.00       0.00



Run Date:0713112020                                                                                                              9of11
                            Case 20-11139-1-rel        Doc 1    Filed 08/26/20 Entered 08/26/20 12:21:49   Desc Main
                                                               Document     Page 34 of 370

Stock Status Report for Cairo, OH                                                                                       Date:0713112020
T3010         100524                  CENTER PLATE LUBE PADS .8"                             0.00                              3.62        0.00
T3O1 1        RETROXTs4OOBELEM        CoNSTANT CONTACTS (A)                                  5.00                             63.21      316.05
T3012         RETROXTSP               CONSTANT CONTACTS                                      0.00                             78.16        0.00
T3013         100060                  DOUBLE ROLLER CAGE BEARING                             2.00                             29.73       59.46
T3015         100329                  FRICTION CASTING WEDGES-BARBERiS-2, 787-C              0.00                              0.00        0.00
T3016         100474 SCTCT#17803      FRICTION CASTING WEDGE-RIDE CONTROL                    0.00                             67.56        0.00
T30'17        100416                  FRICTION CASTING WEDGE WALT SHIMS -                    0.00                             40.61        0.00
                                      BARBER/S.2, 888-N
T301 8        1   00534               FRICTION CASTING WEDGE WALT SHIMS. ELASTIC -           0.00                             77.39        0.00
                                      RC, RFE-18
T301 9        1 00483                 GtB (rNSrDE) 1-114" X 4-718"                           0.00                              0.00        0.00
T3020         1 00486                 GtB (OUTS|DE) 1-1t4" X3-314"                           0.00                              0.00        0.00
T3021         A-05048                 LINER - TRANSDYNE CLIP-ON WEAR LINER                   0.00                              6.49        0.00
r3022         1 00335                 LTNER - WELD ON ROOF LINER (1/4" X 5" X7-114")         0.00                              0.00        0.00
T3023         1 00056                 PEDISTAL ADAPTER 6-112" X 12" - 2ND HAND               0.00                              0.00        0.00
r3024         '10051   1              PEDISTAL ADAPTER 6.112" X 12" - NEW                    0.00                             56.24        0.00
T3025         100088,1003725S         SPRING, D5 INNER - 2ND HAND                            0.00                              7.22        0.00
T3026         100093,10037263         SPRING, D5 OUTER - 2ND HAND                            0.00                             12.22        0.00
T3027         1 00545                 SPRING, FRICTION CASTING WEDGE, INNER D5-NEW           0.00                              7.69        0.00
T3028         1 00546                 SPRING, FRICTION CASTING WEDGE, OUTER D5-NEW           0.00                             10.66        0.00
T3029         066,100395              SPRING, INNER D5. NEW                                  0.00                             11.61        0.00
T3030         1 00396                 SPRINGS, INNER D6-NEW                                  0.00                              0.00        0"00
T3031         1 00398                 SPRING, INNER D6A.NEW                                  0.00                              0.00        0.00
T3032         100402                  SPRING, OUTER Ds.NEW                                   0.00                             26.38        0.00
T3033         1 00344                 SPRING, SIDE STABILIZING 8432-NEW                      0.00                              0.00        0.00
T3034         1 00345                 SPRING, SIDE STABILIZING 8433-NEW                      0.00                              0.00        0.00
T3035         1 00366                 WEAR PLATE, S/F WHOLES (112" X7-1/2" X 8-5/16)         0.00                              0.00        0.00
T3036         1 00367                 WEAR PLATE, S/F WHOLES (112" X7-112" X 9-7116)         0.00                              0.00        0.00
                                                                                             0.00                             '10.56       0.00
T3037         1 00379 CST#5706-1 06   WEAR PLATE, TRUCK SH|M COLUMN (318" X7-112" X
                                      s-3/8")
T3038         1 00369                 WEAR PLATE, S/F WHOLES (3t8 X5-112" X 8-3/4")          0.00                             12.36        0.00
T3039         1 00346                 BOLSTER POCKET WP - 1 14" X 5-112" X 5-s/8"            0.00                              0.00        0.00
T3040         1 00499 SCT#61 27-2     BOLSTER POCKET WP W/RC - 114" X2" X4-114"              0.00                              6.91        0.00
T3041         1   00781               couPLER CARRTER WP - 112" (PLASTIC)                    0.00                              0.00        0.00
13042         1 00364                 WEAR PLATE, StF (112" X5-112" X 8-3/4)                 0.00                              0.00        0.00
T3043         1 00386                 WEAR PLATE, S/F WHOLES (112" X5-1t2" X 8-15/16)        0.00                              0.00        0.00
r3044         100374                  WEAR PLATE, S/F (3/8" X7-112" X 9-7116)                0.00                             12.79        0.00
T3045         1 00379                 WEAR PLATE, S/F WHOLES (318" X7-112" X 9-7116")        0.00                              9.80        0.00
T3046         1 00375                 WEAR PLATE, S/F WHOLES (7/16" X 7-112" X9-7116")       0.00                             12.35        0.00
r3047         1   00631               vERT. LtNER, SS (1/4" X 1-118" X 16-1/2)               0.00                              0.00        0.00
T3048         1   00526               TRUCKCENTER PIN 15"                                    0.00                             11.72        0.00
T3049                                 WEAR PLATE, SIF (112" X7-112" X 8-1/2")                0.00                              0.00        0.00
T3050         1 00365                 WEAR PLATE, S/F WHOLES (112" X7-112" X 8-1s/16)        0.00                              0.00        0.00
T30s1         1 00373                 WEAR PLATE, SF WHOLES (318" X7-112" X 8-5/16')         0.00                              0.00        0.00
T3052         1 00330                 S-2 HD WEDGE                                           0.00                             61 .01       0.00
T3053         1 00390                 S-2 HD BOLSTER POCKT WEAR PLT                          0.00                          16.00           0.00
T3054         TCCilt 605T             ROUND SIDE BEARING                                     0.00                         162.81           0.00
T3055         1000354                 WEAR PLATE 7t16X5 1/2X8 314 5 114 C                    0.00                          14.87           0.00
T3056         B9S 14EJ FX             14" RECONDITIONED BOLSTER                              0.00                      1 ,1   67.96        0.00



Run Date: 07131/2020                                                                                                                   10of11
                              Case 20-11139-1-rel            Doc 1    Filed 08/26/20 Entered 08/26/20 12:21:49   Desc Main
                                                                     Document     Page 35 of 370

Stock Status Report for Cairo, OH                                                                                                   Date: 07131/2020
T3057         497- t 6-12SS               VERTICAL BOLSTER LINER, 16"                              0.00                              52.35        0.00
T3058                                     TRUCK SIDE FRAME                                         0.00                             694.37        0.00
T3071 CONV    850-0140, CONVERSION        HATCH COVER, CONVERSION                                  0.00                             383.07        0.00
T3072CONV     750-0917, CONVERSTON        BATTEN, 24" CONVERSION                                   0.00                              54.35        0.00
T3073CONV     750-1039, CONVERSTON        END DEFLECTOR KIT, CONVERSION                            0.00                              20.99        0.00
T3074CONV     750-01 04/650-2001      ,   IRECO LOCKS/BRACKETS, CONVERSION                         0.00                              33.06        0.00
              CONVERSION
T3075CONV     650-1 345/650-1   1   00,   H ING   ES/BRACKETS, CONVERSION                          0.00                              17.21        0.00
              CONVERSION
T3076CONV     650-01 01/650-01 02,        HEX BOLTS/NUTS, CONVERSION                               0.00                               1.42        0.00
              CONVERSION
2101                                      BRAKE ROD CLEVIS - WELD ON 7/8"                          0.00                               6.98        0.00


                                                                                                                    Report Total:             3,110.00




Run Date: 0713112020                                                                                                                         11 of   11
                          Case 20-11139-1-rel        Doc 1     Filed 08/26/20 Entered 08/26/20 12:21:49           Desc Main
                                                              Document     Page 36 of 370


                                                              lnterstate Com modities
                                                    Stock Status Report for Watseka, lL
                                                                       Date:0713112020

            Alr                                                                                                            Qty
Part        Part                                                                         Alter    Oty      Qty     Qtv      On     Unit            lnv
Num         Num                   Descriotion                                            Cost     Curr    Alloc   Avail   Order    Cost         Value
001         ARCHIVE               WEAR PLATE, S/F (3/8" X7-1/2" X 9-7116)                          0.00                            13.39          0.00
015         9999999 #8432         WEDGE OUTER/FOR D5,2ND HAND                                      0.00                             8.22          0.00
016         9999999 #8433         WEDGE INNER/FOR D5, 2ND HAND                                     0.00                             6.22          0.00
043                               USED STEEL 1/2 PLATE 4X8                                         0.00                             0.48          0.00
126         SBD6                  FLING/SOCKET WELD W/GROOVE 3/8                                   0.00                             0.00          0.00
132         ARCHIVE, SPCl2HI      PIPE CLAMP 3/4                                                   0.00                             4.74          0.00
133         SPC2O                 PIPE CLAMP 1 1/4SIZE20                                           0.00                             0,00          0.00
134         sPcw1620              PIPEWEDGE 1X1114                                                 0.00                             0.00          0.00
135         SPCW812               PIPE WEDGE 112 & 314                                             0.00                             1.42          0.00
173         BPAl4HNFX             BOLSTER 1OO TON 1971 OR NEWER-2ND HAND                           0.00                             0.00          0.00
191                               DSRC MAGNET STENCIL SETS                                         0.00                            21.94          0.00
192                               DSRC STICK.ON STENCIL SETS                                       0.00                            13.52          0.00
198                               SPRING, INNEFYINNER D5,2ND HAND                                  0.00                             6.69          0,00
199         ARCHIVE, 1003013C     COUPLER BODY-SBE6O EQUAL BODY CORE-SBEbODE                       0.00                           420.68          0.00
208         ARCHIVE               1" BLKAA/HT VINYL LETTER NUMBERS                                 0.00                             3.35          0.00
218         850-0993              13'R HATCH COVER-FIBERGLASS ROUND END                            0.00                             0.00          0.00
219         850-0992              13'L HATCH COVER-FIBERGLASS ROUND END                            0.00                             0.00          0.00
226         r443492               TA 43492 LEVER                                                   0.00                            25.00          0.00
227         T443491               TA 43491 LEVER                                                   0.00                            25.00          0.00
233         MKE8O29               RACKWSTOP                                                        0.00                            38"00          0.00
234         MKEj01 12             RACK (19T) WSTOP FORGTNG                                         0.00                            43.00          0.00
240                               5/16 PLATE - USED STEEL                                          0.00                             0.46          0.00
245         1 00346               WEAR PLATE BIP 114X5112X55/A                                     0.00                             6.09          0.00
246         1 00487               PEDISTAL ROOF LINER SNAP ON 7O-10                                0.00                             5.85          0.00
250         1 00879               HANDHOLD 19" DO/DO 11/16H1                                       0.00                             9.39          0.00
252         709447                13GA G90 0G END 24 X 18.25                                       0.00                            22.75          0.00
256         1 0059                POCKET PLATE, BRK BEAM PLAST STD                                 0.00                             0.00          0.00
263         100452                BRAKE BEAM #18 RH COMP                                           0.00                             0.00          0.00
266                               HR ROUNDS 1/2X20"                                                0.00                             9.70          0.00
268                               2" X2" X 1/4" ANGLES                                             0.00                             0.00          0.00
A1   1      075,1029-1029         JAW (1-1/8)                                                      0.00                             9.70          0.00
A5                                BRAKE ROD EYE - WELD ON (1-1l4)                                  0.00                             6.61          0.00
80999                             BRAKE PIPE BRKT 2ND HAND                                         0.00                            95.1 4         0.00
81 000                            10" NIPPLE                                                       0.00                             0.00          0.00
81 001      o27                   ABD EMERGENCY VALVES (S)                                         0.00                           392.11          0.00
B1 002      026                   ABD SERVICE VALVES                                               1.00                           309.58        309.58
81 003      025                   ABDW VALVES                                                      4.00                           325.53    1,302j2
B1 004      079,G-324             GLAD HAND GASKET                                               146.00                             o.67          97.82
81 005      087,5401-16           ArR BRAKE GASKET (1)                                           170.00                             0.35          59.50
81 006      088,5401-20           ArR BRAKE GASKET (1-114)                                       360.00                             0.33        1 18.80

81 007      086,5401-12           ArR BRAKE GASKET (3/4")                                         90.00                             0.30         27.OO



Run Date:07131/2020                                                                                                                         1   ol12
                              Case 20-11139-1-rel           Doc 1    Filed 08/26/20 Entered 08/26/20 12:21:49   Desc Main
                                                                    Document     Page 37 of 370

Stock Status Report for Watseka, lL                                                                                         Date:0713112020
81 008        085, 5401 -06                ArR BRAKE GASKET (3/8)                                205.00                       0.30      61.50
Bl 009        005, 5401 -08                AIR BRAKE GASKET (1/2)                                 40.00                       o.28      11.20
81010         247,100914, SPC20            ANCHOR BASE (1-1/4)                                     0.00                       6.47       0.00
8101   1      260,100915, sPCl2Ht          ANCHOR BASE (3/4)                                       0.00                       5.93       0.00
81012         248, 100916, SPCW1620        ANCHOR WEDGE (1" OR 1-114" P|PE)                        0.00                       2.16       0.00
81013         261,100917, SPCW812          ANCHOR WEDGE (3/4" PrPE)                                0.00                       1.77       0.00
81014         050, 0660999                 ANGLE COCK                                              0.00                      52.17       0.00
81015         1   0091 0                   ANGLE COCK U BOLT                                      10.00                       2.19      21.90
81016         080,3286,100919              BELL CRANK ('6s OR NEWER)                               0.00                      60.96       0.00
81017                                      BELL CRANK CHAIN - 15"                                  0.00                       0.00       0.00
81018         1   56, 1 00035, 1 004055C   BRAKE BEAM - WABCOPAC B3/B3A                            0.00                     135.00       0.00
81019         155,1002859C                 BRAKE BEAM #18, RECOND.                                 0.00                      74.OO       0.00
81 020        262,100452                   BRAKE BEAM #18, LH, RH UNIVERSAL                        0.00                     137.65       0.00
B1 021        1   00564                    BRAKE PrN (1-3/32"X3-1/8"X3-1/2" X C)                   0.00                       3.23       0.00
81022         066,100566                   BRAKE PtN (1-3/32" X 3-3/8" X 4" X C)                   0.00                       2.77       0.00
Bl 023                                     BRAKE PIN ???                                          35.00                       0.00       0.00
81024         084, 100854,458              HAND BRAKE CLEVTS (2-112)                               0.00                       7.91       0.00
81 025                                     BRAKE ROD CLEVIS - 3"                                   0.00                       6.58       0.00
81 026        1 00597                      BRAKE ROD CLEVTS (4-1l2")                               0.00                       0.00       0.00
81027         1 00599                      BRAKE ROD CLEVIS - 6"                                   0.00                       0.00       0.00
81 028                                     BRAKE ROD CLEVTS (12")                                  0.00                       0.00       0.00
81 029        100590                       BRAKE ROD JAW (3/4)                                     0.00                       0.00       0.00
B1   030      074, 1 00589, 1 028-1 028    BRAKE ROD JAW (1)                                       0.00                       9.18       0.00
81 031        1   00591                    BRAKE ROD JAW (7/8)                                     0.00                       0.00       0.00
B1   032      078,3188-3233                JAW OFFSET (1)                                          0.00                      15.98       0.00
B1   033                                   BRAKE ROD EYE (3/4)                                     0.00                       6.61       0.00
81   034      1   00602                    BRAKE ROD EYE 7/8'                                      5.00                       0.00       0.00
81   035                                   BRAKE ROD COMPLETE                                      0"00                       0.00       0.00
81   036                                   BRAKE ROD - SHORT 27"                                   0"00                       0.00       0.00
81   037      1 00595                      BRAKE LEVER -STRAIGHT 7" X 14"                          0.00                      13.77       0.00
81   038      1 00449                      BUFFALO CONNECTORS (7/8')                               0.00                       0.00       0.00
81   039      1 00450                      BUFFALO CONNECTORS 3/4"                                 0.00                       4.23       0.00
81   040      117, HPE?                    BRAKE SHOE - HF (1-1t2")                              273.OO                      12.13   3,311.49
81 041        1 18, HPE4                   BRAKE SHOE - HF (2)                                     0.00                       9.99       0.00
81042         211,100685                   BRAKE SHOE KEY                                          0.00                       2.94      0.00
81   043      1   00845                    HAND BRAKE. GROUP F                                     0.00                       0.00      0.00
81   044      115                          HAND BRAKE ASSEMBLY 2ND HAND                            1.00                     140.00    140.00
81   045      1 003328                     AIR RELEASE YOKE                                        0.00                       0.00      0.00
81   046      161, LTH7633                 DIRT COLLECTOR LINE-1" - 45 DEG. FLANGE                 8.00                     54.88     439.04
81047         1 1 I, LTH7466               DIRT COLLECTOR LINE-1" - 90 DEG. FLANGE                 0.00                      55.21      0.00
81 048        045, 0577071                 DIRT COLLECTOR - COMBINED                               0.00                     62.06       0.00
81 049        051, 0661063                 RETAINER VALVE WBRACKET                                 0.00                     53.50       0.00
81 050        082, 100604,3377-3377        THROUGH TRUCK CONNECTOR (36")                           0.00                     57.39       0.00
Bl 051        081, 100657, 3334-3334       THROUGH TRUCK CONNECTOR (37)                            0.00                      57.42      0.00
81 052        083,100611,3388-3388         THROUGH TRUCK CONNECTOR (38)                            0.00                      57.47      0.00
81 053        017, TEC20-201W              TRA|N LrNE EXTENSTON CASTING (1-1l4)                   29.00                       7.13    206.77
81 054        249,100912                   TRAIN L|NE - U BOLT (3/4)                               0.00                       2.28       0.00
81 055        101147, 0987102              22" TRAIN LINE HOSE. STANDARD                          75.00                      32.31   2,423.25
81 056        123, 5618125                                                                         0.00                     22.OO        0.00



Run Date: 07131/2020                                                                                                                 2ot12
                            Case 20-11139-1-rel           Doc 1    Filed 08/26/20 Entered 08/26/20 12:21:49   Desc Main
                                                                  Document     Page 38 of 370

Stock Status Report for Watseka, lL                                                                                        Date:0713112O2O
                                          TRUCK MNTD BRAKE HOSE ASSY(7/8")-2 BOLT SWIVEL
                                          FLANGE
81 057        s6181 54                    TRUCK MNTD BRAKE HOSE ASSY(7/8")-3I4" PtPE            0.00                        22.OO         0.00
                                          THREAD
81 058        077,2300-DJ                 UNIVERSAL SLACK ADJUSTER                              1.00                       389.94       389.94
81 059        1 13, EXT 1 00-68           WABCOPAC                                              0.00                      1,800.00        0.00
Bl 060        048, 0578790, SBD20         DEEP SOCKET WELD ASSEMBLY W/GROOVE (1-114")           0.00                         13.62        0.00
B1 061        010, sBD12                  DEEP SOCKET WELD ASSEMBLY W/GROOVE (3/4)              0.00                          7.32        0.00
81   062      '125, SBD12-6               DEEP SOCKET WELD ASSY WGRV (3/4" BY 3/8")             0.00                         11.95        0.00
81   063      046, 0578787, SBD6          DEEP SOCKET WELD ASSEMBLY W/GROOVE (3/8)              0.00                          7.00        0.00
81   064      SWTD2O                      DEEP SOCKET WLD BY FEMALE THREAD UNION (1-1l4)        0.00                          0.00        0.00
81   065      049, SWTD12                 DEEP SOCKET WELD BY FEMALE THREAD UNTON (3/4)         0.00                          8.76        0.00
81   066      047, SWD12, 0578788         DEEP SOCKET WELD UNION (3/4)                          0.00                        14.89         0.00
81   067      243, SWD20                  DEEP SOCKET WELD UNrON (1-1l4")                       0.00                          6.92        0.00
81   068      SWT12.2                     3/4" WELD ON COLLAR W TAP                             0.00                        18.53         0.00
81   069      SFS2O                       FLANGE - SPLTT (1-1/4',)                              0.00                          0.00        0.00
81   070      SFW2O                       FLANGE - SWTVEL (1-114)                               0.00                         0.00         0.00
B1 071        053, WFE-1 , 0661 1 56001   FLANGE TNSERT (3/4)                                   0.00                        34.70         0.00
81072         052, WFB-1, 0661104         FLANGE WTAP (3/4")                                    0.00                        35.17         0.00
81 073        FTF2O-20GL                  FLANGED THREADED SWIVEL FITTING w/GRV-LONG            0.00                          0.00        0.00
                                          (1-1t4")
81074         FTF2O-20G                   FLANGED THREADED SWIVEL FITTING WGROOVE               0.00                          0.00        0.00
                                          (1-1t4")
81075         FTF2O-20BL                  FLANGED THREADED SWIVEL FITTING W/O GRV.LONG          0.00                          0.00        0.00
                                          (1-1/4)
B1   076      FTF2O-2OB                   FLANGED THREADED SWTVEL FrrrNG W/O GRV (1-114)        0.00                          0.00        0.00
81077         121 , RSW20-12              REDUCTNG SOCKET WELD UNION (1-1/4" BY 3/4)            0.00                          8.48        0.00
81 078        120, RFF12-12               REINFORCED FLANGED TEE w/O GROOVE (3/4)               0.00                        14.57         0.00
81 079        124, S890-6                 socKET wEtD ASSEMBLY WGROOVE (3/8'- 90 DEG.)          0.00                        12.00         0.00
81 080        127, SBF90-12               socKET WELD ASSEMBLY WO GROOVE (3/4" - 90 DEG.)       0.00                        12.00         0.00
81081         sB12                        SOCKET WELD ASSEMBLY WGROOVE - STANDARD               0.00                          0.00        0.00
                                          (3t4\
81082         sFG45-1 2                   SOCKET WELD ASSEMBLY W/GROOVE (314" .45 DEG.)         0.00                        11.00         0.00
81 083        s86                         socKET WELD ASSY WGROOVE - STANDARD (3/8)             0.00                          6.86        0.00
81 084        SB1 6                       socKET WELD ASSY W/ GROOVE - STANDARD (1 )            0.00                          6.17        0.00
81 085        SB8                         SOCKET WELD ASSY WGROOVE - STANDARD (1/2")            0.00                          0.00        0.00
B1   086      SWTS2O                      SOCKET WELD BY FEMALE THREAD UNION - STANDARD         0.00                          0.00        0.00
                                          (1-1t4")
81 087        sB12-6                      SOCKET WELD FLANGED FITTING WGROOVE -                 0.00                          0.00        0.00
                                          STANDARD (3/4" X 3/8)
81 088        sB12-8                      SOCKET WELD FLANGED FITTING W/GROOVE -                0.00                          0.00        0.00
                                          STANDARD (3t4" X 1t2")
81089         SWS2O                       socKET WELD UNrON - STANDARD (1-1l4)                  0.00                          0   00      0.00
B1   090      SWS6                        SOCKET WELD UNION . STANDARD (3/8)                    0.00                          0   00      0.00
B1 091        SWSs                        socKET WELD UN|ON - STANDARD (1/2)                    0.00                          0   00      0.00
81 092        SWS12                       socKET WELD UN|ON - STANDARD (3/4)                    0.00                          0   00      0.00
81093         SWS16                       socKET WELD UNTON - STANDARD (1)                      0.00                          0   00      0.00
81 094        SFSG6                       SPLIT FLANGE ASSY WGROOVE (3/8)                       0.00                          0   00      0.00
B1   095      SFSGs                       SPLIT FLANGE ASSY WGROOVE (112")                      0.00                          0   00      0.00



Run Date: 07/3112020                                                                                                                   3ot12
                           Case 20-11139-1-rel      Doc 1    Filed 08/26/20 Entered 08/26/20 12:21:49   Desc Main
                                                            Document     Page 39 of 370

Stock Status Report for Watseka, lL                                                                                 Date:0713112020
81 096        SFSG12               SPLIT FLANGE ASSY W/GROOVE (3/4)                        0,00                          0.00      0.00
81 097        SFSGl 6              sPLrT FLANGE ASSY W/GROOVE (1")                         0.00                          0.00      0.00
81 098        LPOR90-12            LOW PROFILE OFFSET ELBOW. RH                            0.00                          0.00      0.00
81 099        101, BPT20-16        BRANCH PIPE TEE WSIDE OUTLET(1-1l4"X1-1/4"X1)           0.00                         20.00      0.00
Bt100         swTl2-12             socKET BY SOCKET TEST ADAPTER (s/4)                     0.00                          0.00      0.00
81101         SWT12-5              socKET WELD TEE (3t4" X3t4" X3t8")                      0.00                          0.00      0.00
81102         swT16-16             socKET WELD TEE (1")                                    0.00                          0.00      0.00
81103         swT20-16             socKET WELD TEE (1-114" X 1)                            0.00                          0.00      0.00
81104         SWBT2O.16            SOCKET WELD BY FLANGED BRANCH PIPE                      0.00                          0.00      0.00
                                   TEE(1-1l4"X1-1/4"X1)
81105         097,8C601, 102035    AIR HOSE SUPPORT. RUBBER                                0.00                          6.31      0.00
81106         1   00630            AIR HOSE SUPPORT - STEEL                                0.00                          6.58      0.00
B1 107                             BRAKE ROD EYE (1-114)                                   0.00                         10.16      0.00
Bl 108                             BRAKE ROD JAW (1-1l4)                                   0.00                          3.73      0.00
81109         100549, H543GN       BRAKE BEAM POCKET PLATE - PLASTIC                       0.00                          7.80      0.00
81   110      SWD6                 DEEP SOCKET WELD UNTON (3/8)                            0.00                          8.04      0.00
81   111                           ABD SERVICE GASKET                                     40.00                          3.44    137.60
81   112                           HANDBRAKE WHEEL 2ND HAND                                4.00                         15.96     63.84
81   113      s618215              314X48" STR SWIVEL                                      0.00                         65.90      0.00
81114         SBD 16               DEEP SOCKET WELD ASSEMBLY w/GROOVE                      0.00                          9.67      0.00
81115         sP90-12              3/4 90 DEGRE WGROOVE                                    0.00                         12.00      0.00
Bl 116       GROUP N HB            NEW GROUP N HAND BBAKE                                  0.00                     388.00         0.00
81117        SHALLOW WHEEL         HAND BRAKE WHEEL SHALLOW                                1.00                      42.79        42.79
81 118       DEEP WHEEL            HAND BRAKE DEEP WHEEL                                   0.00                      42.79         0.00
81 119       ELX-B                 ELX-B EMPTY LOAD 50% R.H                                0.00                     262.96         0.00
81 120       581 1 28              NO. 8 VENT VALVE                                        0.00                       0.00         0.00
c2000         210,100764           COUPLER DRAFT KEY RETAINER                              0.00                       5.29         0.00
c2001         209,100778           COUPLER DRAFT KEY RETAINER LOCK                         0.00                          1.62      0.00
c2002         1   0071 6           COUPLER KEY LOCKS                                       0.00                         47.64      0.00
c2003        100743                KNUCKLE - E50AE (NEW)                                   0.00                     113.06         0.00
c2004        201, 100166           COUPLER KNUCKLE.E5OAE                                   0.00                     139.22         0.00
c2005        207, 100746           COUPLER LOCK LI FTER-E248                               0.00                      21 .19        0.00
c2006        009,100786            COUPLER SHANK WP (1/4" X 5" X 8)                        0.00                          9.35      0.00
c2007         100747               COUPLER THROWER PIN                                     0.00                         16.67      0.00
c2008        213,100760            COUPLER CARRIER WP.3/8" METALLIC                        0.00                         11.78      0.00
c2009        069,100790            COUPLER CARRIER WP - 3/8" PLASTIC                       0.00                         22.18      0.00
c201 0       206,100136            couPLER, SBE6oCE (BODY), RECOND.                        0.00                     480.67         0.00
c201   1     172,100205            DRAFT GEAR - MARK 5O/5OO RECOND.                        0.00                     441 .60        0.00
c2012         180,100762           DRAFT GEAR CARRIER PLATE - 18" CENTER                   0.00                      54.42         0.00
c2013         186,100723           DRAFT GEAR FOLLOWER BLOCK .Y44AE                        0.00                      91 .86        0.00
c2014         193,100772           DRAFT KEY 18"                                           0.00                      21.30         0.00
c2015         194,100776           DRAFT KEY 19"                                           0.00                      21.30         0.00
c201 6        195,100215           DRAFT KEY WASHER                                        0"00                          2.67      0.00
c2017        068,100789            KNUCKLE PIN - PLASTIC                                   3.00                         11.56     34.68
c2018        057,100742            KNUCKLE PIN - STEEL                                     0.00                         14.75      0.00
c2019        o72,100925            UNCOUPLER LEVER - STANDARD 2-PIECE                      0.00                         33.47      0.00
c2020        071, 100921           UNCOUPLER LEVER BRACKET                                 0.00                         20.80      0.00
c2021        1 00926               UNCOUPLER LEVER (1 -PIECE)                              0.00                       0.00         0.00
c2022        100176,1003879C       YOKE (Y40AE/SY40AE RECONDTTTONED)                       0.00                     198.26         0.00



Run Date: 07131/2020                                                                                                            4ot12
                          Case 20-11139-1-rel            Doc 1    Filed 08/26/20 Entered 08/26/20 12:21:49   Desc Main
                                                                 Document     Page 40 of 370

Stock Status Report for Watseka, lL                                                                                       Date:0713112020
C2023         DA-45461                  FRONT LUG KEYWAY                                        2.00                      101 .27    202.54
C2024         100783                    DRAFT LUG, REAR                                         4"00                      123.40     493.60
C2025         SKOI 180502               RTC DRAFT SILL                                          0,00                     3,694.22       0.00
G41OO         012, DA-00648             BEARING BLOCK                                          23.00                        21.94     504.62
G4101         DA-01211                  CAPSTAN 2-CH-156                                        0.00                         0.00      0.00
G4102         221 ,DA-33142             CAPSTAN LOCK,2-CH-322                                  31.00                         8.05    249.55
G4103         108, DA-43413             CAPSTAN, LONG (DA-43413)                               18.00                       40.54     729.72
G4104         103, DA-41890             CAPSTAN, SHORT (DA-41890)                               8.00                       49.81     398.48
G4105         107,DA-42391              CAPSTAN, STANDARD (DA-42391)                            7.00                       35.19     246.33
G4106         004, DA-25690             CAPSTAN, WELD-ON (DA-25690)                            16.00                       42.14     674.24
G4107         ATP 550-0026-1GRY         33"X68 5/8" WELD ON                                     0.00                      785.O7       0.00
G4108         110,DA-70209              PINION GEAR - STD (DA-70209)                            0.00                       23.18       0.00
G4109         109,DA-52082              PINION GEAR - WIDE, 3" (DA-52082)                      12.00                       17.60     211.20
G4110               750.0033
              OO8, ATP                  UNIVERSAL GATE LOCK                                     3.00                       24.46      73.38
G41 1
   1          042, 55000381GRY          GATE ASSEMBLY 0381                                     10.00                      643.1 0   6,431 .00
G4112         OO2, 550-0075  2GRY3      GATE ASSEMBLY 0532                                      5.00                     1,086.51   5,432.55
G41 3
   1          041 , 55000681 GRY        GATE ASSEMBLY 0681                                      8.00                       751.O3   6,008.24
G4114         034,17514                 GATE ASSEMBLY 7514                                      1.00                       945.O4    945.O4
G411s         236, MKE8843              OPT HANDLE (FOR A-LOK I GATES)                          0.00                       94.00        0.00
G41 6
   1          237, MKE8807              oPT SHAFT 1 .25" X 4' 3"                                0.00                      128.00        0.00
G4117         232,MKE8729               SLIDE DOORASSEMBLY                                      0.00                      419.00        0.00
G41 18        235, MKEI 0129            SLIP PINION ASTM A897-90                                0.00                       34.00        0.00
G41 19        DA.O171 1                 VIBRATOR BRACKET, WELD ON, DA-11222                     1.00                       64.89       64.89
G4120         DA-52090                  LOCK WELD ASSY SEAL BRKT, DA-sOO                        0.00                         0.00       0.00
G4121         DA-52101                  LOCKWELDASSYSEALBRKT, DA-501                            0.00                         0.00       0.00
G4122         DA-13096                  RACK- DA13096                                           0.00                       33.68        0.00
G4123         DA-33181                  RACK- DA33181                                           2.00                       36.92      73.84
G4124         DA-42328                  RACK, DA-42328 (DA-7028)                                7.00                       39.29     275.O3
G4125         DA-69400                  PINION GEAR - WELD ON (DA-69400)                       13.00                       25.19     327.47
G4126         DA-21 130                 PINION GEAR STAINLESS - WELD ON (DA-21 130)             0.00                       32.73        0.00
G4127         40991751                  ANDERSON GATE SHAFT (24" X48")                          4.00                      269.64    1,078.56
G4128         40991731                  ANDERSONGATESHAFTRETAINER (24"X48")                     0.00                        0.00        0.00
G4129         40991741                   ANDERSON SLIDE GATE (28" X 48)                         3.00                      422.14    1,266.42
G4130         40991821                   ANDERSON SLIDE GATE (17" X 48)                         0.00                         0.00       0.00
G4131         N/A                        SECOND HAND RACK                                       2.00                       20.00       40.00
G4132         NDY#2OOOO27                BUTTERFLY LOCK                                        88.00                        5.97     525.36
G4133         104, DA-42339,   MKE101 12 RACK - BACK STOP (DA-42339)                            0.00                       39.52        0.00
G4134         105, DA-42340,   MKE8029 RACK - BAR LOCK (DA-42340)                               0.00                       43.1 3       0.00
G413s            DA-42444
              220,                       RACK - OUTLET DOOR (DA-42444)                          0.00                        44.63       0.00
G4136         1O6,DA-42372               RACK - WIDE WSTOP (DA-42372)                          10.00                       51.39     513.90
G4137         NDY#2OOOO26                CAPSTAN KIT                                           42.O0                        2.73      114.66
G4138         40992091                   ANDERSON GATE ASSY (24" X 48")                         0.00                        0.00        0.00
G4139         DA11224                    VIBRATOR BRACKET                                       0.00                       50.21        0.00
G4140         DA-42382                   RACK (DA-42382)                                        5.00                      122.34     61 1.70
G4141         DA.5OO66                   SPRING GUIDE BRACKETCAP                                0.00                        0.00        0.00
G4142         DA-09048                   SPRING GUIDE & STOP                                    0.00                        0.00        0.00
G4143         DA-50068                   ECCENTRIC NUT                                          0.00                        0.00        0.00
G4144         NDY#2000025 R              BAR LOCK BRACKET (A)                                 131.00                         9.38   1,228.78
G414s         NDY#2000025 L              BAR LOCK BRACKET (B)                                 127.00                         8.86   1,125.22



Run Date: 07/3112020                                                                                                                5o112
                            Case 20-11139-1-rel         Doc 1     Filed 08/26/20 Entered 08/26/20 12:21:49   Desc Main
                                                                 Document     Page 41 of 370

Stock Status Report for Watseka, lL                                                                                          Date: 0713112020
G4146         60221                   #100 DooR cHAtN                                          13.00                             15.41       200.33
G4147         TOGGLE LOCK O4M         13'X24" OUTLET                                            0.00                         670.00            0.00
G4148         ATP-1 8455              GATE ASSEMBLY, 31 1/2 LXs4 1t2 W (ATP-18455)              1.00                     1   ,108.93       1,108.93
G4149         900-552GRY3             2ND HAND BOLT ON                                          0.00                         475.OO            0.00
G4150         ATP550-0032-2BRN3       32 BOLT ON 35"X70 1/2                                     1.00                         586.79          586.79
G4151         MKE8819                 AUTOLOK ASSEMBLY 1 3"X42"                                 0.00                         158.95            0.00
G4152         NDY 20000030            CAPSTAN HOUSING                                          57.00                          12"86          733.O2
G4153         5s0-0098-2GRY-3         66 BOLT ON ASSEMBLY                                       0.00                         939.73             0.00
G4154         ATP-20001               GASKET, 13X42- 32 HOLE                                    0.00                         1   18.32          0.00
G4155                                 CAPSTAN STANDARD                                          0.00                             31.19         0.00
G4156                                 PINION GEAR STANDARD                                      0.00                             25.19         0.00
G41s7CONV     550-0081-2GRY4          32 BOLT ON 24X48 OPENNING                                 1.00                     1,115.50          1,115.50
              CONERSION
G4158         MKE10604                rNco BoLT oN (NEW CARS)                                   0.00                     1,001.00               0.00
G4159                                 TOGGLE LOCK O4M                                           4.00                       718.93          2,875.72
G41 60        DA-21129                PtNroN GEAR-WELD ON (DA-21129)                           19.00                        30.66            582.54
G4165         MKE10260                32 BOLT ON ASSEMBLY MKEI 0260                            17.00                       608.28         10,340.76
G4166         570-0027-2GRY           ADAPTER, F8-YG34/N32-2GRY                                16.00                       388.36          6,213.76
G4167         ATP550-0055             66BOLT ON REPLACES MKEl OO2O                              3.00                     1,076.69          3,230.07
G4168         ATP 550-009s-2GRY3      32 BOLT ON                                                2.00                       944.40          1,888.80
H4000         03s, ATP-750-0863       BATTEN BAR - 24" (ATP-0863)                              13.00                             62.13       807.69
H4001         036, ATP-750-0906       BATTEN BAR 24" HA1 (ATP-0e06)                            21.00                             55.93     1,174.53
H4002         039, ATP-750-0861       BATTEN BAR GASKET                                       275.OO                              3.48       957.00
H4003         037, ATP-750-1039       BATTEN BAR KtT,24" (ATP-1039)                            10.00                             17.28       172.80
H4004         ATP-850-0909            BATTEN BAR (ATP-0909)                                     6.00                          53.26          319.56
H4005         ATP-750-0896            BATTEN BAR 20" (ATP-0896)                                14.00                          66.96          937.44
H4006         030, ATP-850-0070       HATCH COVER 7'- FTBERGLASS (850-0070)                    12.00                         303.39        3,640.68
H4007         029, ATP-850-0074       HATCH COVER g',- R - FTBERGLASS (850-0074)                9.00                         302.92        2,726.28
H4008         028, ATP-850-0075       HATCH COVER 9'- L - FTBERGLASS (850-0075)                14.00                         303.24        4,245.36
H4009         006, ATP-850-0491       HATCH COVER 1 1'- ALUM (850-0491)                        11.00                         379.86        4,178.46
H401 0        031, ATP-850-0021       HATCH COVER 1 1' - FIBERGLASS (850-0021)                  9.00                         414.49        3,730.41
H401 1        007, ATP 850-0894       HATCH COVER 12'S - ALUM (850-0894)                       12.00                         389.72        4,676.64
H4012         217, ArP 850-0279       HATCH COVER 12'-L (RD) - FTBERGLASS (8s0-0279)            2.00                         442.48          884.96
H401 3        216, ATP 850-0280       HATCH COVER 1 2' - R (RD) - FTBERGLASS (8s0-0280)         2.00                         442.48          884.96
H4014         003, ATP 850-0620       HATCH COVER 12'(RD) - ALUM (850-0620)                    11.00                         395.58        4,351 .38
H401 5        032, ATP-850-0028       HATCH COVER 1 3' - FTBERGLASS (8s0-0028)                 11.00                         480.32        5,283.52
H4016         204, ArP 850-0993       HATCH COVEB 13' - L (RD) - FTBERGLASS (850-0993)         12.00                         359.97        4,319.64
H4017         205, ATP 850-0992       HATCH COVER 13' - R (RD) - FIBERGLASS (850-0992)          0.00                         359.97            0.00
H401 8        038, ATP-750-0828       HATCH COVER GASKET                                      750.00                              1.56     1,170.00
H401I         040, ATP-750-0104       HATCH COVER LOCK-IRECO 30149 - STANDARD                  18.00                             38.26       688.68
H4020         183, 0802/IRECO-30169   HATCH COVER LOCK - IRECO 30169 - ALUM                     0.00                             41.72          0.00
H4021         zr-461-ACF              ACF LATCH ASSEMBLY                                        0.00                              0.00          0.00
H4022         ATP-850-001   I         HATCH COVER 13' (ATP-001s)                                0.00                              0.00          0.00
H4023         179                     HATCH COMBTNG (4-112)                                     0.00                              7.71          0.00
H4024         269                     HATCH COMBTNG (6)                                       200.00                              7.71     1,542.00
H4024CONV     CONVERSION              HATCH COMBING, CONVERSION                               132.00                             65.1 6    8,601  .1 2

H4025         ATP-850-0001            HATCH COVER 8' - S (850-ooo1 )                            5.00                         263.63        1 ,318.15

H4026         ATP-850-0002            HATCH COVER 8'- RH (8s0-0002)                             9.00                         275.15        2,476.35
H4027         ATP-850-0003            HATCH COVER 8'- LH (8so-ooo3)                             7.OO                         277.93        1.945.51



Run Date: 0713112020                                                                                                                      6of12
                             Case 20-11139-1-rel       Doc 1    Filed 08/26/20 Entered 08/26/20 12:21:49   Desc Main
                                                               Document     Page 42 of 370

Stock Status Report for Watseka, lL                                                                                    Date:0713112020
H4028         ATP-750-0903            BATTEN BAR (ATP-0903)                                   0.00                      73.68         0.00
H4029         ATP-850-0007            HATCH COVER 12'(ATP-0007)                               4.00                     394.1 3    1,576.52
H4030         ATP-750-2007            BATTEN BAR 20" HC2|HDB (ATP-2007)                       0.00                      70.00         0.00
H4031         ATP 850-0010            FIBERGLASS HATCH 12'L (ATP-0010)                        0.00                     410.11         0.00
H4032         ATP 850-0008            FTBERGLASS 12'RH (ATP-0008)                             0.00                     503.68         0.00
H4033         ATP 7s0-0919            BATTEN BAR 24" (ATP-0919)                               0.00                      60.00         0.00
H4034         ATP 750-0899            BATTEN BAR 20" (ATP-0899)                              67.00                      70.00     4,690"00
H4035         NDY 2000031             3/16X2X3 3/16 X 5' FORMED                               0.00                      16.45         0.00
H4036         NDY 2000032             3116X2X4 1/2 X 5' FORMED                                0.00                      18.05         0.00
H4037         750-0914                BATTEN BAR,24" (HD1/HDC) - ATP-0914                     0.00                      60.80         0.00
H4038         750-1038                BATTEN BAR KlT,20" (ATP-1038)                           0.00                      44.53         0.00
H4039         8s0-1076                HATCH COVER, RD (850-1076)                              2.00                     273.61       547.22
H4040         850-0536,   BR|X97179   HATCH COVER                                             0.00                     707.66         0.00
H4041         8s0-0613                HATCH COVER-32" RD (850-0613)                           0.00                     291 .57        0.00
H4042         ATP 850-0015            24X137 DOUBLE ROUND END HATCH                           1.00                     506.13       506.1 3
H4043         ATP 750-0987            BATTEN BAR,20"TROUGH                                    3.00                      94.92      284.76
H4044         850-0833                JBRX HATCH COVER                                        1.00                     415.73       415.73
H4045         850-0588                JBRX HATCH COVER                                        4.00                     453.73     1,814.92
H4046         850-0656                JBRX HATCH COVERS                                       1.00                     382.73      382.73
H4047         850-0834                JBRX HATCH COVER                                        1.00                     415.73       415.73
H4048         750-1010                30" GSKT RING 32 1/4"OD (ROUND HATCH GASKET)           20.00                      21.74       434.80
M4500         158, 101159,   3OO9O9   AEI TAGS-4T5118-NEW STYLE                            1000.00                      31.92    31,920.00
M4501                                 AEITAG-5110-OLDSTYLE                                    0.00                       5.44         0.00
M4502         187, R99                 REFLECTIVE TAPE (100 PIECES/ROLL)                    164.00                       1.37      224.68
M4503         190                      STENCIL SET - INTX VINYL                               0.00                      12.78         0.00
M4504         067, 100585              WEDGEFAST COTTER PIN (s/1 6" X 3)                      0.00                       0.60         0.00
M4505         076, 200100, TRECO-30445AE1 rAG BRACKET (PUSH TAB)                             13.00                       1.31        17.O3
M4506         3oo1   10                AEr rAG BRACKET (BOLT-ON)                             25.00                       5.42       135.50
M4507                                  LADDER BRACKET (5" X 3)                                0.00                       0.00         0.00
M4508                                  LADDER BRACKET (3" X 3)                                0.00                       0.00         0.00
M4509         FG136                    WHEEL SETS                                             0.00                     847.03         0.00
M451 0                                 DEFECT CARD HOLDER                                    16.00                       4.16        66.56
M451 1                                 INTX STENCIL SET - MAGNET (INCLUDES 2 LARGE, 2         0.00                      21.94         0.00
                                       SMALL)
M4512                                  AEI TAG-ATs1 18, SECOND HAND                           0.00                      12.00         0.00
N301   1      RETROXTs4o0BELEM CONSTANTCONTACTS(NY)                                          76.00                      64.14     4,874.64
N4502         983-71KC                REFLECTTVE TAPE-NY (100 PC/ROLL)                       55.00                       1.33        73.1 5
R4200         o89,72414-OO            CROSSOVER BOARD - (A-END) NO CUT OUT                    0.00                      41.92         0.00
R4201         o91 ,72425-OO           CROSSOVER BOARD (10-1/4" X 60')                         0.00                      46.03         0.00
R4202         092,72425-10            cRossovER BoARD (12-1l8" x 60")                         0.00                      46.38         0.00
R4203         o93,72425-20            cRossovER BoARD (14-1l8" X 60")                         0.00                      42.25         0.00
R4204         098, BG-CLIP            GRATING CLIP                                            0.00                       5.06         0.00
R4205         018,   HH1O219DS170     HANDHOLD - 19" DOUBLE OFFSET                            1.00                       7.95         7.95
R4206         O2O, HH1 1719SDS69      HANDHOLD - 19" SINGLE OFFSET LH                         2.O0                       8.95        17.90
R4207         019, HH1 1719SDS68      HANDHOLD. 19" SINGLE OFFSET RH                          4.00                       8.95        35.80
R4208         D017653-18.25           L.H 18.25                                               4.00                      42.01       168.04
R4209         WABASH INCO CARS        RUNNING BOARD 24" X 139 112"                            0.00                     422.72        0.00
R4210         WABASH      38SOOOO7    RUNNING BOARD 24" X 127 114"                            0.00                     171.19        0.00
R4211         38500138                24"X77 1I4"LONG RUNNING BOARD                           3.00                      72.32      216.96



Run Date: 07131/2020                                                                                                             7of12
                              Case 20-11139-1-rel           Doc 1     Filed 08/26/20 Entered 08/26/20 12:21:49   Desc Main
                                                                     Document     Page 43 of 370

Stock Status Report for Watseka, lL                                                                                          Date:0713112020
R4212         38000009                  END CAP (RUNNtNG BOARD)                                    4.00                       16.75      67.00
R4213         011,72419-01              RUNNING BOARD. END EXT, (24" X 18)                        10.00                       33.47     334.70
R4214         100,8G3608                RUNNTNG BOARD - GRATTNG (7.74|SQFT.)                     900.00                        0.50     450.00
R4215         094, 72543-21 , 7097 15   RUNN tNG BOARD (24" X 1 01 -1 t4")                         4.00                       77.56     310.24
R4216         o95,72629-42              RUNNTNG BOARD (24" X 1O6-3t4")                             4.00                      141 .29    565.16
R4217         090,72415-04              RUNNTNG BOARD (24" X 127")                                 0.00                      145.45        0.00
R4218         128, DWG# SS-10           SILL STEP (DWG-SS-10)                                      0.00                       69.45        0.00
R4219         129, DWG#SS-1OR           SILL STEP (DWG-SS-1OR)                                     1.00                       69.45       69.45
R4220         130, DWG# SS-12           srLL srEP (DWG-SS-12)                                      4.00                       45.25     181 .00
R4221         131 , DWG # SS-1   1      SILL STEP (DWG-SS-11)                                      2.O0                       56.45     1 12.90

R4222         023                       CRDX LAT BOARD 24X77.75"                                   1.00                      452.95     452.95
R4223                                   HANDHOLD - 21" STRAIGHT                                    0.00                        0.00        0.00
R4224                                   CROSSOVER BOARD BRACKET                                    0.00                        0.00        0.00
R4225         D017726-28C               HANDHOLD, 28" SINGLE                                      20.00                       28.36     567.20
                                                         .I/2"                                    '10.00                      19.80     198.00
R4226         D01 7613-18.5             HANDHOLD, 18           STRAIGHT
R4227         D01 7609-287              HANDHOLD,28" DOUBLE                                        8.00                       33.17     265.36
R4228         38S00281                  RUNNTNG BOARD (24" X 42 518")                              0.00                       90.49       0.00
R4229         D017613-22                HANDHOLD,22" STRAIGHT                                      3.00                       20.90      62.70
R4230         D01 7609-22U              HANDHOLD, 22" DOUBLE OFF-SET                               6.00                       32.55     195.30
R4231         D01 761 3-69              69" STRAIGHT END HAND HOLD                                 0.00                       78.44       0.00
SAlOO         '165                      ANGLE - 1" X 1" X 3/16" (1 .16/FT)                         0.00                        0.46       0.00
SA1O1         222                       ANGLE - 1" X 1" X 1i8" (.80/FT)                            0.00                        0.79       0.00
sA102                                   ANGLE - 1" X 1" X 114" (1.491Fr)                           0.00                        0.00       0.00
SA103         024                       ANGLE - 1-1t2" X 1-112" X 118" (1 .23lFT)                  0.00                        0.88       0.00
SA104         021                       ANGLE - 2" X 2" X 3t16" (2.441Fr)                          0.00                        0,65       0.00
SA105         242                       ANGLE - 2 X 2" X 1/4" (3.1g/FT)                            0.00                        0.68       0.00
SA106         147                       ANGLE - 2-1t2" X2-1t2" X 114" (4.10/FT)                    0.00                        0.65       0.00
SAl07         251                       ANGLE - 3" X 3" X 114" (4.9O|FT)                          99.00                        0.73      72.27
SA108         144                       ANGLE - 3-1 t2" X 3-1 12" X 1/4" (5.80/FT)                75.00                        0.76      57.00
sA109                                   ANGLE - 3" X s" X 3t8" (7 .20ffr)                          0.00                        0.00       0.00
SA1 1O        146                       ANGLE - 6" X 3-1/2" X 5/16" (9.80/FT)                      0.00                        0.84       0.00
SA111         253                       ANGLE - 6" X 4" X 3/8" (12.30/FT)                        111.00                        0.93     103.23
SA1 12        145                       ANGLE - 5" X3-112" X 3/8" (10.40/FT)                     145.00                        0.67      97.15
SA1   13                                ANGLE - s" X 5" X 3/8" (12.3oiFT)                          0.00                        0.54       0.00
SA1   14                                ANGLE s/16'X 3 112" X3 112" (7.z/FT)                       0.00                        0.75       0.00
SA1   15                                ANGLE - 2" X2" X 1/8" (1 .65/FT)                           0.00                        o.77       0.00
SA1   16                                ANGLE - 1 1t4" X 1 114" X 1/8" (1.01/FT)                   0.00                        o.78       0.00
SA117                                   ANGLE -31t2X31t2X112 (1 1.1/FT)                            0.00                        0.76       0.00
SA1 18                                  ANGLE - 4" X 4" X 1/4" (6.60/SQ.FT.)                       0.00                        o.75       0.00
SA1 19                                  ANGLE -5"X3112" Xsi16" (8.70/FT)                          87.00                        o.67      58.29
sc200         254                       CHANNEL - s" (5#)                                        100.00                        0.86      86.00
sc201                                   CHANNEL - 8" (1 1.5#)                                      0.00                        1.34       0.00
SF3OO                                   HR FLAT - 3/16" X 2" (1 .275lFT)                           0.00                        0.80       0.00
sF301         138                       HR FLAT - 3/8" X 6" (7.6s /FT)                             0.00                        0.75       0.00
SF3O2         141                       HR FLAT - 1t4" X 1" (.850/FT)                             40.00                        0.68      27.20
SF303                                   HR FLAT - 1t4" X2" (1 .70lFT)                              0.00                        0.45       0.00
SF3O4         149                       HR FLAT - 1/4" X 3" (2.55/FT)                              0.00                        0.68       0.00
sF30s                                   HR FLAT - 1t4" X 4" (3.40/FT)                              0.00                        0.43       0.00
SF306         136                       HR FLAT - 1t2" X 1' (1.70/FT)                              0.00                        0.83       0.00



Run Date: 07/3112020                                                                                                                   8of12
                           Case 20-11139-1-rel           Doc 1      Filed 08/26/20 Entered 08/26/20 12:21:49   Desc Main
                                                                   Document     Page 44 of 370

Stock Status Report for Watseka, lL                                                                                        Dale:07131/2020
sF307                              HR   FLAT - 1/2" Xs" (5.1o/FT)                               154.00                      0.69     106.26
SF3O8                              HR   FLAT - 1/2" X4" (6.80/FT)                                61.00                      0.88       53.68
SF3O9         181                  HR   FLAT - 3/4" X 3" (7.65/FT)                                0.00                      1.32        0.00
sF31 0        224                  HR   FLAT - 1-112" X3-112" (17.861FT)                          0.00                      o.97        0.00
sF31 1        137                  HR   FLAT - 1-1t4" X3 (12.75tFT)                               0.00                      'L08       0.00
sF31 2                             HR   FLAT - 1" X2" (6.80/FT)                                  30.00                      0.91      27.30
SF31 3                             HR   FLAT - 1t2" X2" (3.40/FT)                                 0.00                      0.45       0.00
SF314                              HR   FLAT-3/16X3" (1.91/FT)                                  244.OO                      0.91     222.O4
SF31 5                             HR   FLAT - 1-1t2" X 3" (1s.4oiFT)                           240.00                      0.56     134.40
SF31 6                             HR   FLAT -3t8X2 (2.ssiFT)                                      0.00                     0.71       0.00
SF31 7                             HRFLAT-1X3(10.20/FT)                                          80.00                      o.72      57.60
SF31 8                             HR FLAT- 1/2X6" (10.20lFT)                                    38.00                      0.80      30.40
sF31 9                             HR FLAT - 1t4" X 1 112" (1.28/Fr)                             35.00                      o.67      23.45
sF320                              HR FLAT - 3/16" X 8" (5.10 LB/SO FT)                            0.00                     0.75        0.00
SP40O         174                  HR PLATE - 3/16" (7.66/SQFT)                                161 6.00                     o.62    1,001 .92
SP4O1         139                  HR PLATE - 5/16" (12.76ISQFT)                               1500.00                      0.59     885.00
SP4O2                              HR PLATE - 1/4" (10.21ISOFT)                                    0.00                     0.51       0.00
SP4O3                              HR PLATE - 3/8" (15.32ISQFT)                                    0.00                     1.11       0.00
SP4O4         148                  HR PLATE - 1t2" (2O.42|SQF1)                                 864.00                      o.57     492.48
SP4O5         150                  HR PLATE - 1" (40.84ISQFT)                                      0.00                     0.64       0.00
sP406                              HR PLATE - 1-114" (51.0s/SQFT)                                  0.00                     0.00       0.00
SP407         151                  HR PLATE - 2" (81 .68/SOFT)                                     0.00                     0.58       0.00
sP408                              HR PLATE - 1/8" (5.1o/FT)                                       0.00                     0.00       0.00
SP4O9                              HR PLATE- 5/8" (25.53/SOFT)                                  357.00                      0.70     249.90
SP4lOCONV     CONVERSION STEEL     3/16 SHEET, 2'X4'                                               0.00                     1.03        0.00
sP800         o44                  PtPE - 1-114"                                                   0.00                     4.65        0.00
SP8O1         159                  PtPE - 3/4"                                                     0.00                     4.25        0.00
sP802         142                  PtPE - 3/8"                                                     0.00                     1.71        0.00
SP8O3                              PIPE - 1"                                                       0.00                     0.00        0.00
SP8O4                              PIPE - 1t2"                                                     0.00                     0.00        0.00
SRsOO         154                  HR ROUNDS - 1/2" (.668/FT)                                      0.00                     0.68        0.00
SR501         197                  HR ROUNDS -3t4" (1.5021Fr)                                      0.00                     0.76       0.00
SR5O2         160                  HR ROUNDS - 1" (2.67otFT)                                     77.OO                      0.77      59.29
SR503         143                  HR ROUNDS - 1-113" (J                                          0.00                      0.79       0.00
SR5O4                              HR ROUNDS - 1-112" (6.008/FT)                                507.00                      o.75     380.25
SR5O5         231                  HR ROUNDS - 1-314" (8.178tFT)                                 87.00                      0.87      75.69
5560O         140                  HR SQUARES - 1-1l4'(5.316/FT)                                117.00                      0.86      100.62
ss601                              HR SQUARE 1" (3.4/ FT)                                         0.00                      0.82        0.00
SS7O1                              HR STRIP - 3/16 X 1 (.637s/FT)                                 0.00                      0.72        0.00
SS7O2                              HR STR|P - 3/16" X 6' (3.83/FT)                                0.00                      o.77        0.00
ST9OO         223                  TUBTNG -2"X2" X 1/8" o                                         0.00                      0.73        0.00
ST9O1                              TUBTNG - 3" X 3" X r/4" (9.11o/FT)                             0.00                      0.00        0.00
ST9O2                              TUBE - 1 -114" X 1 -1 t4" X 1 18                               0.00                      0.00        0.00
ST9O3                              TUBE - 1" X 1" X 1/8" (/FT)                                    0.00                      0.00        0.00
T3000         182                  ACF PATCH - 318" X 12" X 20"                                   0.00                     47.93        0.00
T3001         200028 + 2000029     ACF PATCH W/ REINFORCEMENT STRIP                              55.00                     92.08    5,064.40
T3002         073,100989           BODY SI DE BEARG SH MS-5/8"X4"X1 4"-CTR
                                                            I                 1   O-1   /2"       0.00                     16.75        0.00
T3003         064,100494           BOLSTER BOWL LINER - 1/4" X 1" X 14-112"                       0.00                     31.16        0.00
T3004         061,100481           BOLSTER BOWL SHIM - 114" X 13-314"                             1.00                     44.66       44.66



Run Date:07131/2020                                                                                                                 9of12
                             Case 20-11139-1-rel              Doc 1      Filed 08/26/20 Entered 08/26/20 12:21:49   Desc Main
                                                                        Document     Page 45 of 370

Stock Status Report for Watseka, lL                                                                                             Date:0713112O2O
T3005         163,100348                 BOLSTER POCKET WP-1 I 4"X4-1 I 4"X5-1 I 4"                   0.00                       18.36           0.00
T3006         164,100350                 BOLSTER POCKET WP - 1 I 4"X5- 1 t2"X5-1 /2"                  0.00                       18.36           0.00
T3007         059, '100353               BOLSTER POCKET WP - 1/4" X 5-112" X 6"                       0.00                       18.36           0.00
T3008         D-217-41 UNIT FORGE        14" CENTER PLATE 21X21                                       0.00                      363.76           0.00
T3009         212,100839                 CENTER PLATE 2O-3l8" X21" X 16" BOWL                         1.00                      522.44         522.88
T301 0        065,100524                 CENTER PLATE LUBE PADS - 8"                                  0.00                        2.36           0.00
T301   1      102,                       CoNSTANT CONTACTS (A)                                        0.00                       66.50           0.00
              RETROXTs4OOBELEM
T3012         CC8-6OOOXT                 ROUND CC A.STUCKI                                            0.00                       84.26         0.00
T301   3      056,100060                 DOUBLE ROLLER BEARING CAGE                                  13.00                       21.37       277.81
T301   4      100330                     S-2 HD WEDGE                                                31 .00                      61.79     1,915.49
T301   5      196,100329                 FRICTION CASTING WEDGES-BARBER/S-2, 787-C                    0.00                       43.65         0.00
T301   6      214,100474                 FRICTION CASTING WEDGE-RIDE CONTROL                          0.00                       52.16         0.00
T301   7      215,100416                 FRICTION CASTING WEDGE WALT SHIMS-BARBER/S-z                 0.00                       44.47         0.00
T3018         188,100534                 FRICTION CASTING WEDGE W/ ALT SHIMS - RC                     0.00                       79.55         0.00
T3019         062, '100483               GtB (tNSrDE) 1-1t4" X 4-7/8"                                 5.00                        4.27          21.35
T3020         063,100486                 GtB (OUTSTDE) 1-1t4" X3-314"                                 5.00                        3.43          17.15
T3021         001, A-05048               LINER - TRANSDYNE CLIP-ON WEAR LINER                         0.00                        6.16           0.00
r3022         1 00335                    LTNER-WON ROOF LrN ER (1 I 4X7 -1 t2"X5")                   34.00                        7.88         267.92
T3023         055,100056                 PEDISTAL ADAPTER 6-112" X 12" - 2ND HAND                     0.00                       12.90           0.00
r3024         255,100511                 PEDISTALN ADAPTER 6-112" X 12" - NEW                         0.00                       61 .54          0.00
T3025         01 3, 1 00088, 1 0037255   SPRING, D5 INNER - 2ND HAND                                  0.00                        7.22           0.00
T3026         01 4, 1 00093, 1 0037263   SPRING, D5 OUTER - 2ND HAND                                  0.00                       12.22           0.00
r3027         167, 100545                SPRING RIDE CONT WEDGE INNER                                50.00                        9.09         454.50
T3028         166,100546                 SPRING, RIDE CONT WEDGE OUTER                               53.00                       11.63         616.39
T3029         202,100395                 SPRING, INNER Ds-NEW                                         0.00                       10.77           0.00
T3030         238,100396                 SPRINGS, INNER D6-NEW                                        0.00                       13.50           0.00
T3031         228,100398                 SPRING, INNER D6A - NEW                                      0.00                        8.37           0.00
T3032         203,100402                 SPRING, OUTER Ds-NEW                                         0.00                       24.45           0.00
T3033         229,100344                 SPRING, SIDE STABILIZING 8432 - WEDGE OUTER                  0.00                       14.47           0.00
                                         SPRING
T3034         230, 100345                SPRING, SIDE STABILIZING 8433 - WEDGE INNER                  0.00                       10.59           0.00
                                         SPRING
T3035         1 00366                    WEAR PLATE,S/F WHOLES-1 I2X7 -1 /2X8-5/ 1 6                  0.00                       22.11           0.00
                                                                                                     12.00                       '18.04        216.48
T3036         1 00367                    WEAR PLATE,T/S COL WHOLES-1 /2X7 -1 I2X9-7 I 1 6
T3036.52HD    1 00389                    3/8X7 112 X I3/8 HD                                         10.00                       19.19         191 .90
T3037         1 00379                    wEAR PLATE,T/S COL-3/8"X7 -1 12"X9-318"                     20.00                       12.33         246.60
T3038         100369 5 1/4 CENTER        wEAR PLATE,T/S COL-3/8"Xs-1 12"X8-31 4"                      0.00                       12.29           0.00
T3039         241,100346                 BOLSTER POCKET W P - 1 I 4"Xs- 1 lz"Xs-s/8"                  0.00                        8.10           0.00
T3040         169, 100499                BOLSTER PKT WP W IRC- 1 I 4"X2- 1 / 4"X4- 1 / 4"             0.00                        3.59           0.00
T3041         257,100781                 couPLER CARRTER WP - 1/2" (PLASTIC)                          0.00                       10.89           0.00
                                                                                                                                 '16.79
r3042         259,100364                 WEAR PLATE, StF (1t2" X5-1/2" X 8-3/4)                       0.00                                       0.00
T3043         1   00386                  WEAR PLATE, SIF (112" X 5-112" X 8-3/4)                     26.00                       14.74         383.24
T3045         1   00374,                 WEAR PLATE, SiF W/ HOLES-318X7.112X9.7116                   37.00                       14.33         530.21
T3046         244,100375                 WEAR PLATE,S/F WHOLES-7 / 1 6X7 -1 12X9.7 / 1 6              0.00                       15.61           0.00
r3047         100492                     VERT. L|NER, (1/4"X1-3/8"X14-1/2) REPLACED 16 1/2"           0.00                       31.42           0.00
                                         RING
T3048         1   00526                  TRUCK CENTER PIN - 15"                                       3.00                        8.94          26.82
T3049                                    WEAR PLATE, StF (1t2" X7-112" X8-112")                       0.00                        0.00           0.00



Run Date: 07/31/2020                                                                                                                      1O   of 12
                               Case 20-11139-1-rel       Doc 1    Filed 08/26/20 Entered 08/26/20 12:21:49   Desc Main
                                                                 Document     Page 46 of 370

Stock Status Report for Watseka, lL                                                                                        Date: 07131/2020
T3050         100365                WEAR PLATE,S/F WHOLES-112X7-1/2X8-15/16                   25.00                          19.54            488.50
T3051         100373                WEAR PLATE,SF WHOLES-318X7-112X8-5116                      5.00                          10.95             54.75
T3052         BgA-14FJ.FX           BOLSTER                                                    0.00                      1 ,165.41              0.00
r3O52.2       INTX427159            BOLSTER, B9A08 HNBX                                        0.00                      1,085.48               0.00
T3O52A        FgS-O4BN-UA           SIDE FRAMES                                                0.00                        657.48               0.00
T3053         FgA-O4BN-UA RIDE CONT TRUCK SIDE FRAME                                           0.00                        642.69               0.00
T3054         1OO4O3                SPRING,OUTER D.7 NEW                                       8.00                              0.00           0.00
T3055         100397                SPRING,INNER D-7 NEW                                       4.00                              0.00           0.00
T3056         100644                SPRING,RIDEMASTER INNER NEW                                0.00                              0.00           0.00
T3057         100645                SPRING, RIDEMASTER OUTER NEW                               0.00                             16.79           0.00
T30s8         r00498                114x2x16 1/2 VERT BOWL LINER                               0.00                             51.04           0.00
T3059              118
              Zr-107-               1 6" X 1/8 BOWL LINER                                      0.00                         14.25               0.00
T3060              118
              zr-129-               14"x118 BOWL LINER                                         0.00                         12.40               0,00
T3061         ZI-370                1I4X 14" BOLSTER BOWL LINER                                0.00                         17.00               0.00
T3062         ZT-371                1/4X 16" BOLSTER BOWL LINER                                0.00                         19.25               0.00
T3063                               END SHEET STIFFNERS                                        1.00                        375.71             375.71
T3064                               TOP CHORD                                                  1.00                        280.1 3            280.1 3
T3065                               slDE slLL (ACE/MARINE)                                     4.00                        318.76         1,275.04
T3066                               TOP END SHEET                                              1.00                        259.31           259.31
T3067         100369                WEAR PLATE, S/F - 3/8 X 5 1l2X 8 3/4, WITH HOLES          16.00                         12.36           197.76
T3068         100377                WEAR PLATE, S/F - 3/8 X 5112X 8 3/4 WITHOUT HOLES         16.00                             10.11       161 .76
T3069         100390                318X7 1/2"X97116"W143l4" HOLES                             0.00                             21.28         0.00
T3O7O         BgS.14EJ-BX           52 BOLSTER                                                 0.00                         06.33
                                                                                                                         1 ,1                 0.00
T3071         1OO4O9                8-353 WEDGE OUTER SPRING S2HD                              0.00                         27.37             0.00
T3071CONV     850-0140,CONVERS|ON HATCHCOVER-I3"CONVERS|ON(8s0-0140)                           0.00                        380.35             0.00
T3O72         1OO41O               8-354 FRICTION WEDGE INNER SPING S2HD                       0.00                             13.69         0.00
T3O72CONV     750-0917, CONVERSION 24" BATTEN BAR, CONVERSION                                  0.00                             53.15         0.00
T3073         S2 HD BOLSTER        BgS.72DNFF BOLSTER, 52 HD                                   0.00                      1,639.69             0.00
T3O73CONV 750-1039, CONVERSION END DEFLECTOR KIT, CONVERSION                                  22.OO                             21.19       466.1 8
T3074CONV 750-0104/650-2001, IRECOLOCKS/2.S"BRACKETS,CONVERSION                                0.00                             17.92         0.00
              CONVERSION
T3075CONV     650-0970/650-1   100,   HINGES-3.5YBRKTS-1/2 X 4', CONV. FREMONT               105.00                             14.90     1,564.50
              CONVERSION
T3O76CONV 650-0101/650-0102,          HEX BOLTS/NUTS, CONVERSION                               0.00                              1.40           0.00
              CONVERSION
T3077CONV 8s0-0025,CONVERSION HATCHCOVER-I3"CONVERS|ON(8s0-0025)                               0.00                        391 .00              0.00
T3078CONV 850-0026,CONVERSlON HATCHCOVER-l3"CONVERSION(850-0026)                               0.00                        372.20               0.00
T3O7gCONV 750-0863, CONVERSION 24" BATTEN BAR, CONVERSION                                     74.OO                         55.54         4,109.96
T3080CONV 750-0104/650-0439, IRECO LOCKS/3" BRKTS, CONV. FREMONT?                             14.00                             30.1 3        421 .82
              CONVERSION
T3081CONV 650-1244/650-2000,          HINGES-3"/BRKTS-1/2X3.5",CONVERS|ON                      0.00                             13.75           0.00
              CONVERSION
T3O8zCONV     750-1053, CONVERSION 24" BATTEN BAR, CONVERSION                                  0.00                             52.01           0.00
T3083CONV 650-1900/6s0-1243,           HINGES-2.5"/BRKTS-1/2X3",CONVERSION                                                      18.91           0.00
              CONVERSION
T3084CONV 850-0020                     HATCH COVER-1 1.' UNPX CONVERSION (850-0020)           18.00                        319.54         5,751.72
T3085CONV 750-0104/650-1932            IRECO LOCKS/3.5" BRKTS, CONVERSION                     80.00                             43.94     3,515.20
T3086CONV 650-1244/650-1100            HINGES-3YBRKTS-1/2 X 4", CONVERSION                   199.00                             15.54     3,092.46
T3087CONV 850-0656                                                                            40.00                        303.54        12,141.60



Run Date:0713112020                                                                                                                      11   ol   12
                         Case 20-11139-1-rel       Doc 1    Filed 08/26/20 Entered 08/26/20 12:21:49   Desc Main
                                                           Document     Page 47 of 370

Stock Status Report for Watseka, IL                                                                                         Date:0713112O2O
                                    HATCH COVER.NO CROSS GASKET, UNPX CONV
                                    (8s0-0656)
T3088CONV     850-0588              HATCH COVER-NO CROSS GASKETS, UNPX CONV              4_00                               365.54         1,462.16
                                    (850-0588
T3089         22257-TR 89A69 UNFN   tNTX 74880                                           0.00                           1   ,1   17.00         0.00
T3090         MISQ BOLSTER          BOLSTER.INTX 76586                                   0.00                              65.65
                                                                                                                        1 ,1                   0.00
T3091         B9S-64F-JFX           tNTX35007                                            0.00                           1,305.95               0.00


                                                                                                         Report Total                    232,430.97




Run Date: O7l31l2O2O                                                                                                                     12 of 12
                            Case 20-11139-1-rel      Doc 1    Filed 08/26/20 Entered 08/26/20 12:21:49        Desc Main
                                                             Document     Page 48 of 370


                                                          Interstate Commodities
                                                   Stock Status Report for Charleston, lL
                                                                    Date: 0713012020

             Atr                                                                                                       otv
Part         Part                                                                      Alter   Oty     Qly     Qty     On      Unit       lnv
Num          Nrm                     Deserintion                                       Cost    Curr   Alloc   Avail   Order    Cost    Value
004          5401-12                 AIR BRAKE GASKET-3/4                                      0.00                             0.00    0.00
012          72414-OO                A END CROSSOVER BOARD 72" OR LESS                         0.00                             0.00    0.00
o22                                  STRIP 3/16 X 3                                            0.00                             0.00    0.00
             Location:               Charleston, lL                                            0.00                             0.00    0.00
033          ATP-750-0802            GATE LOCK                                                 0.00                             0.00     0.00
049          0579542                 COLLAR 1 1/4 DEEP                                         0.00                             0.00     0.00
058          1 00350                 WEAR PLATE                                                0.00                             0.00     0,00
060          1 00450                 BRAKE ROD 3/4                                             0.00                             0.00     0.00
070          1   0091 0              ANGLE COCK U BOLT                                         0.00                             0.00     0.00
096          A-05048                 CLIP ON WEAR PLATE                                        0.00                             0.00     0.00
099          8G73606                 RUNNING BOARD 28X12O                                      0.00                             0.00     0.00
112          DECALS                  INTXMNTX CARS                                             0.00                             0.00    0.00
122          s401 -08                AIR BRAKE GASKET                                          0.00                             0.00     0.00
136          SWT12.2                 SOCKET WELD UNION                                         0.00                             0.00    0.00
137          TEC2O-2OLW              EXT FOR TRAIN LINE 1 1/4                                  0.00                             0.00    0.00
138                                  1 1/4" PtPE                                               0.00                             0.00    0.00
160                                  1/2" ROUNDS                                               0.00                             0.00    0.00
162          sB90-12                 FLNG/SOCKET WELD ASSY/GRV                                 0.00                             0.00    0.00
168          100476                  FRICTION CASTING, WINGED                                  0.00                             0.00    0.00
171          SWD2O                   DEEP SOCKET WELD UNION                                    0.00                             0.00     0.00
173          SPC12                   PIPE CLAMP SIZE 12 (3t4)                                  0.00                             0.00     0.00
174          SBDl2                   FLNG/SOKT WELD ASSEM. W/GROOVE                            0.00                             0.00     0.00
175          sBF90-6                 FLNG/SOKT WELD ASSEM.W/O GROOVE                           0.00                             0.00     0.00
176                                  AEI TAGS-AT51 1O-OLD SryLE                                0.00                             0.00     0.00
241          1   00396               SPRING INNER D-6 NEW                                      0.00                             0.00     0.00
242                                  2X2X 114 EQ ANGLE                                         0.00                             0.00     0.00
243          1   00346               WEAR PLATE, BIP 114X 5 1/2 X 5 5/8                        0.00                             0.00     0.00
91 000                               10" NIPPLE                                                0.00                             0.00    0.00
81 001       027                     ABD EMERGENCY VALVES                                      0.00                           392.11    0.00
81 002       026                     ABD SERVICE VALVES                                        0.00                           162.00     0.00
81 003       o25                     ABDW VALVES                                               0.00                           172.00     0.00
B1   004     079,G-324               GLAD HAND GASKET                                          0.00                             0.55     0.00
81   005     087,5401-16             AIR BRAKE GASKET 1"                                       0"00                             0.30     0.00
B1   006     088,5401-20             AtR BRAKE GASKET (1-1l4)                                  0.00                             0.34     0.00
B1   007     086,5401-12             AIR BRAKE GASKET (3/4)                                    0.00                             0.28     0.00
81   008     085,5401-06             AIR BRAKE GASKET (3/8)                                    0.00                             o.27     0.00
81 009       005, 5401 -08           AIR LINE GASKET 1/2"                                      0.00                             0.30     0.00
81010        247, 100914, SPC20      ANCHOR BASE (1-1l4)                                       0.00                             6.47     0.00
8101   1     260,100915, SPC12Hl     ANCHOR BASE (3/4")                                        0.00                             6.47     0.00
81012        248, 100916, sPcw1620   ANCHOR WEDGE (1" OR 1-114" PIPE)                          0.00                             2.16     0.00
81013        26'r ,100917, SPCW812   ANCHOR WEDGE (3/4" PrPE)                                  0.00                             2.16     0.00



Run Date: 0713012020                                                                                                                   1of   9
                             Case 20-11139-1-rel        Doc 1    Filed 08/26/20 Entered 08/26/20 12:21:49   Desc Main
                                                                Document     Page 49 of 370

Stock Status Report for Charleston, lL                                                                                   Date:0713012020
81014         050, 0660999               ANGLE COCK                                          0.00                         46.50      0.00
81015         1   0091 0                 ANGLE COCK U BOLT                                   0.00                           1.31     0.00
81016         080,100919                 BELL CRANK (69 OR NEWER)                            0.00                         63.69      0.00
81017                                    BELL CRANK CHAIN - 15"                              0.00                          0.00      0.00
81018         1 56, 1 004055C, 1 00035   BRAKE BEAM . WABCOPAC B3/3A                         0.00                        135.00      0.00
81019         155,1002859C               BRAKE BEAM #18, RECOND.                             0.00                         74.00      0.00
B1   020      262,100452                 BRAKE BEAM #18, LH, RH UNIVERSAL                    0.00                        137.65      0.00
81 021        1 00564                    BRAKE PrN (1-3/32" X 3-1/8" X 3-1/2" X C)           0.00                           0.00     0.00
81022         066,100566                 BRAKE PtN (1-3/32" X 3-3/8" X 4" X C)               0.00                           2.77     0.00
81 023                                   BRAKE PIN ?                                         0.00                           0.00     0.00
81024         1 00854                    BRAKE ROD CLEVTS (2-1lzJ                            0.00                           6.61     0.00
81 025                                   BRAKE ROD CLEVIS - 3"                               0.00                           0.00     0.00
81 026        1 00597                    BRAKE ROD CLEVTS (4-112)                            0.00                           0.00     0.00
81027         1 00599                    BRAKE ROD CLEVIS - 6"                               0.00                           0.00     0.00
81 028                                   BRAKE ROD CLEVIS - 12"                              0.00                           0.00     0.00
81029         1 00590                    BRAKE ROD JAW (3/4)                                 0.00                           0.00     0.00
81 030        074,100589                 BRAKE ROD JAW (1)                                   0.00                           9.18     0.00
81 031        1 00591                    BRAKE ROD JAW (7/8)                                 0.00                           0.00     0.00
81 032        078,3188-3233              JAW OFFSET (1)                                      0.00                          15.98     0.00
81 033                                   BRAKE ROD EYE - WELD ON (3/4)                       0.00                           0.00     0.00
81 034        1 00602                    BRAKE ROD EYE (7/8")                                0.00                           0.00     0.00
81 035                                   BRAKE ROD COMPLETE                                  0.00                           0.00     0.00
81 036                                   BRAKE ROD - SHORT 27"                               0.00                           0.00     0.00
81 037        1 00595                    BRAKE BAR - STRAIGHT 7" X 14"                       0.00                           0.00     0.00
81 038        1 00449                    BUFFALO CONNECTORS (7/8)                            0.00                           0.00     0.00
81 039        1 00450                    BUFFALO CONNECTORS (3/4)                            0.00                           4.23     0.00
81 040        117, HPEZ                  BRAKE SHOE 1-112" - HF                              0.00                          12.26     0.00
81 041        1 18, HPE4                 BRAKE SHOE 2" - HF                                  0.00                          10.37     0.00
81042         211,100685                 BRAKE SHOE KEY                                      0.00                           2.94     0.00
81 043        1 00845                    HANDBRAKE - GROUP F                                 0.00                          0.00      0.00
81044         115                        HAND BRAKE ASSEMBLY                                 0.00                        140.00      0.00
81 045        1 003328                   RELEASE VALVE HANDLE                                0.00                          0.00      0.00
81 046        161, LTH7633               DIRT COLLECTOR LINE - 1" - 45 DEG. FLANGE           0.00                         54.88      0.00
81047         1 1 I, LTH7466             DIRT COLLECTOR LINE-1" - 90 DEG. FLANGE             0.00                         55,21      0.00
81   048      045,0577071                DIRT COLLECTOR, COMBINED - BALL TYPE                0.00                         62.06      0.00
81   049      051,0661063                RETAINER VALVE WBRACKET                             0.00                         49.65      0.00
81   050      082, 100604,3377-3377      THROUGH TRUCK CONNECTOR (36')                       0.00                         57.39      0.00
81   051      081, 1 00657, 3334-3334    THROUGH TRUCK CONNECTOR (37)                        0.00                          57.42     0.00
81   052      083, 1 0061 1, 3388-3388   THROUGH TRUCK CONNECTOR (38)                        0.00                         57.47      0.00
81   053      01 7, 1 01 090, TEC20-20LW TRATN LtNE EXTENSION CASTING (1-1l4)                0.00                           7.11     0.00
81   054      249,100912                 U BOLT - 3/4" TRAIN LINE                            0.00                          1.45      0.00
81   055      054, 101 147,0987102       22" TRAIN LINE HOSE - STANDARD                      0.00                         32.40      0.00
81   056      123, 5618125               TRUCK MOUNTED BRAKE HOSE ASSEMBLY (718") - 2        0.00                         22.OO      0.00
                                         BOLT SWIVEL FLANGE
81 057        s61 81 54                  TRUCK MOUNTED BRAKE HOSE ASSEMBLY (7t8") - 314"     0.00                           0.00     0.00
                                         PIPE THREAD
81 058        o77,2300-DJ                UNIVERSAL SLACK ADJUSTEB                            0.00                        389.94      0.00
81 059        1 13, EXT 100-68           WABCOPAC                                            0.00                       1,800.00     0.00
B1   060      048, 0578790, sBD20        DEEP SOCKET WELD ASSEMBLY W/GROOVE (1 -114)         0.00                          18.28     0.00



Run Date: 0713012020                                                                                                               2ot9
                             Case 20-11139-1-rel          Doc 1    Filed 08/26/20 Entered 08/26/20 12:21:49   Desc Main
                                                                  Document     Page 50 of 370

Stock Status Report for Charleston, lL                                                                                    Date:0713012020
B1 061        010, sBD12                 DEEP SOCKET WELD ASSEMBLY W/GROOVE (3/4)              0.00                        7.37       0.00
81 062        125, SBD12-6               DEEP SOCKET WELD ASSEMBLY W/GROOVE (3/4" BY           0.00                       11.95       0.00
                                         3/8")
81 063        046, SBD6, 0578787         DEEP SOCKET WELD ASSEMBLY W/GROOVE (3/8')             0.00                        7.14       0.00
81 064        SWTD2O                     DEEP SOCKET WELD BY FEMALE THREAD UNION               0.00                        0.00       0.00
                                         (1-1t4")
81 065        049, swTD12                DEEP SOCKET WELD BY FEMALE THREAD UNTON (3/4")        0.00                        8.76       0.00
81 066        047, SWD12, 0578788        DEEP SOCKET WELD UNION (3i4)                          0.00                       16.79       0.00
Bl 067        243, SWD20                 DEEP SOCKET WELD UN|ON (1-1l4)                        0.00                        5.51       0.00
81 068        SWTl2-2                    3/4" WELD ON COLLAR WTAP                              0"00                        0.00       0.00
81 069        SFS2O                      FLANGE - SPL|T (1-1l4")                               0.00                        0.00       0.00
81 070        SFW2O                      FLANGE - SWTVEL (1-114)                               0.00                        0.00       0.00
81 071        053, WFE-1 , 0661 156001   FLANGE TNSERT (3/4)                                   0.00                       36.21       0.00
81072         052, WFB-1 , 0661 104      FLANGE WTAP (3/4)                                     0.00                       35.17       0.00
81 073        FTF2O-2OGL                 FLANGED THREADED SWIVEL FITTING WGROOVE -             0.00                        0.00       0.00
                                         LONG (1-1l4)
81074         FTF2O-2OG                  FLANGED THREADED SWIVEL FITTING WGROOVE               0.00                        0.00       0.00
                                         (1-1t4")
81 075        FTF2O-20BL                 FLANGED THREADED SWIVEL FITTING WO GROOVE -           0.00                        0.00       0.00
                                         LONG (1-1l4)
B1   076      FrF20-208                  FLANGED THREADED SWIVEL FITTING WO GROOVE             0.00                        0.00       0.00
                                         (1 -1 t4")
81077         121 ,   RSW20-12           REDUCTNG SOCKET WELD UNrON (1-1/4" BY 314")           0.00                        8.48       0.00
81 078        120, RFF12-12              RETNFORCED FLANGED TEE w/O GROOVE (3/4)               0.00                       14.57       0.00
81 079        124, 5890-6                SOCKET WELD ASSEMBLY W/GROOVE (3/8" . 90 DEG.)        0.00                       12.00       0.00
81 080        127, sBF90-12              SOCKET WELD ASSEMBLY WO GROOVE (3/4" - 90             8.00                        0.00       0.00
                                         DEG.)
B1 081        SB12                       SOCKET WELD ASSEMBLY WGROOVE - STANDARD               0.00                        0.00       0.00
                                         (3t4")
81 082        sFG45-12                   SOCKET WELD ASSEMBLY W/GROOVE (3/4". 90 DEG.)         0.00                        0.00       0.00
81 083        S86                        SOCKET WELD ASSY WGROOVE . STANDARD (3/8)             0.00                        0.00       0.00
81084         SB16                       socKET WELD ASSY W/GROOVE - STANDARD (1)              0.00                        0.00       0.00
81 085        SB8                        socKET WELD ASSY WGROOVE - STANDARD (1/2")            0.00                        0.00       0.00
81 086        SWTS2O                     SOCKET WELD BY FEMALE THREAD UNION .                  0.00                        0.00       0.00
                                         STANDARD (1-114)
81 087        sB12-6                     SOCKET WELD FLANGED FITTING W/GROOVE -                0.00                        0.00       0.00
                                         STANDARD (3/4" X 3/8)
81 088        sB12-8                     SOCKET WELD FLANGED FITTING W/GROOVE -                0.00                        0.00       0.00
                                         STANDARD (3t4" X 1t2")
81 089        SWS2O                      socKET WELD UNTON - STANDARD (1-114)                  0.00                        0.00       0.00
81 090        SWS6                       socKET WELD UNION - STANDARD (3/8)                    0.00                        0.00       0.00
B1 091        SWSS                       SOCKET WELD UNION - STANDARD (1/2")                   0.00                        0.00       0.00
81 092        SWS12                      socKET WELD UN|ON - STANDARD (3/4')                   0.00                        0.00       0.00
81 093        SWS16                      socKET WELD UN|ON - STANDARD (1)                      0.00                        0.00       0.00
81 094        SFSG6                      SPLIT FLANGE ASSY W/GROOVE (3/8)                      0.00                        0.00       0.00
81 095        SFSGs                      SPLIT FLANGE ASSY WGROOVE (112")                      0.00                        0.00       0.00
81 096        SFSG12                     SPLIT FLANGE ASSY WGROOVE (3/4)                       0.00                        0.00       0.00
81 097        SFSGl 6                    SPLIT FLANGE ASSY WGROOVE (1)                         0.00                        0.00       0.00
81 098        LPOR90-12                  LOW PROFILE OFFSET ELBOW - RH                         0.00                        0.00       0.00



Run Date: O7/3O/2O20                                                                                                                3of9
                           Case 20-11139-1-rel          Doc 1    Filed 08/26/20 Entered 08/26/20 12:21:49   Desc Main
                                                                Document     Page 51 of 370

Stock Status Report for Charleston, lL                                                                                  Date:0713012020
81 099        101, BPT20-16          BRANCH PtPE TEE W/S|DE OUTLET (1-114" X 1-114" X 1")    0.00                        20.00      0.00
81 100        swT12-12               socKET    BY SOCKET TEST ADAPTER (3/4)                  0.00                         0.00      0.00
81101         SWT12-5                socKET WELD TEE (3/4" X 3/4" X 3/8")                    0.00                         0.00      0.00
81 102        swT16-16               socKET WELD TEE (1)                                     0.00                         0.00      0.00
81103         swT20-16               socKET WELD TEE (1-1/4" X 1")                           0.00                         0.00      0.00
B1 104        swBT2o-16              socKET WELD BY FLANGED BRANCH P|PE TEE (1-114"          0.00                         0.00      0.00
                                     x 1-1l4" x 1)
Bl   105      097, BC601,100913      AIR HOSE SUPPORT - RUBBER                               0.00                         6.25      0.00
81106         1 00630                AIR HOSE SUPPORT - STEEL                                0.00                         0.00      0.00
81107                                BRAKE ROD EYE - WELD ON (1-1l4)                         0.00                         6.61      0.00
81108         075,1029-1029          BRAKE ROD JAW (1-1l4')                                  0.00                         9.70      0.00
81109         1 00549                BRAKE BEAM POCKET PLATE - PLASTIC                       0.00                         7.80      0.00
81   110      SWD6                   DEEP SOCKET WELD UNrON (3/8)                            0"00                         7.35      0.00
81   111                             ABD GASKET                                              0.00                         0.00      0.00
81   112                             HANDBRAKE WHEEL                                         0.00                        15.64      0.00
81   113      sP90-12                3/4" 90 DEGREE WGROOVE                                  0.00                         0.00      0.00
c2000         100764                 COUPLER DRAFT KEY RETAINER                              0.00                         5.29      0.00
c2001         100778                 COUPLER DRAFT KEY LOCK                                  0.00                         1.62      0.00
c2002         1   0071 6             COUPLER KEY LOCKS                                       0.00                        60.74      0.00
c2003         100743                 couPLER KNUCKLE - E50AE (NEW)                           0.00                         0.00      0"00
c2004         1 001 66               COUPLER KNUCKLE - EsOAE                                 0.00                       139.22      0.00
c2005         1 00746                COUPLER LOCK LIFTER - E24B                              0.00                        35.93      0.00
c2006         1 00786                COUPLER SHANK WP . 1/4" X 5" X 8"                       0.00                         7.50      0.00
c2007         100747                 COUPLER THROWER PIN                                     0.00                        18.85      0.00
c2008         1 00760                COUPLER CARRIER WP - 3/8" METALLIC                      0.00                        11.78      0.00
c2009         1 00790                COUPLER CARRIER WP - 3/8" PLASTIC                       0.00                        20"12      0.00
c201 0        1 001 36               couPLER, SBE6oCE (BODY), RECOND.                        0.00                       503.93      0.00
c201   1      1 00205                DRAFT GEAR - MARK 5O/5OO RECOND.                        0.00                       463.65      0.00
c2012         100762                 DRAFT GEAR CARRIER PLATE - 18"                          0.00                        33.37      0.00
c201 3        100723                 DRAFT GEAR FOLLOWER BLOCK -Y44AE                        0.00                        91.86      0.00
c2014         100772                 DRAFT KEY 18"                                           0.00                        21.30      0.00
c201 5        100776                 DRAFT KEY 19"                                           0.00                        21.30      0.00
c201 6        1   0021 5             DRAFT KEY WASHER                                        0.00                         2.67      0.00
c2017         1   00789              KNUCKLE PIN - PLASTIC                                   0.00                        11.56      0.00
c201 8        100164                 KNUCKLE PIN - STEEL                                     0.00                         4.12      0.00
c201   I      1   00925              UNCOUPLER LEVER - STANDARD 2-PIECE                      0.00                        31.63      0.00
c2020         1   00921              UNCOU PLER LEVER BRACKET                                0.00                        20.80      0.00
c2021         100926                 uNcouPLER LEVER (1 -PTECE)                              0.00                         0.00      0.00
c2022         100176, Y40AE/SY40AE   YOKE                                                    0.00                       225.11      0.00
              RECONDITIONED
c2023         DA-45461               FRONT DRAFT LUG                                         0.00                        98.16      0.00
c2024         100783                 DRAFT LUG, REAR                                         0.00                       123.40      0.00
G4100         012, DA-00648          BEARING BLOCK                                           0.00                        23.22      0.00
G4101         DA-33142               CAPSTAN LOCK, 2.CH-156                                  0.00                         0.00      0.00
G4102         221 , DA-33142         CAPSTAN LOCK,2-CH-322                                   0.00                         8.05      0.00
G4103         108, DA-43413          CAPSTAN, LONG (DA-4341 3)                               0.00                        51.87      0.00
G4104         103, DA-41890          CAPSTAN, SHORT (DA-41 890)                              0.00                        50.43      0.00
G4105         107, DA-42391          OAPSTAN, STANDARD (DA-42391    )                        0.00                        36.30      0.00
G4106         004, DA-25690          CAPSTAN, WELD ON (DA-2s690)                             0.00                        50.21      0.00



Run Date:0713012020                                                                                                               4of9
                            Case 20-11139-1-rel         Doc 1     Filed 08/26/20 Entered 08/26/20 12:21:49   Desc Main
                                                                 Document     Page 52 of 370

Stock Status Report for Charleston, lL                                                                                   Date:0713012O2O
G4107                                cuT PLATE (s/1 6" X 32" X 35)                            0.00                        59.10      0.00
G41 08        110, DA-70209          PrNroN GEAR - STANDARD (DA-70209)                        0.00                        23.95      0.00
G4109         109, DA-52082          PrNroN GEAR - W|DE,3" (DA-s2082)                         0.00                        '17.60     0.00
G4110         008, ATP-750-0033      UNIVERSAL GATE LOCK                                      0.00                        21.54      0.00
G4111         042,55000381GRY        GATE ASSEMBLY 0381                                       0.00                       554.88      0.00
G4112         002, 55000532GRY4      GATE ASSEMBLY 0532                                       0.00                       869.38      0.00
G41 13        041,55000681GRY        GATE ASSEMBLY 0681                                       0"00                       727.OO      0.00
G4114         o34,17514              GATE ASSEMBLY 7514                                       0.00                       945.04      0.00
G41 15        236, MKE8843           oPT HANDLE (FOR A-LOK r GATES)                           0.00                        94.00      0.00
G41 16        237, MKE8807           OPT SHAFT 1.25" X 4'3"                                   0.00                       128.00      0.00
G4117         232,MKE8729            SLIDE DOOR ASSEMBLY                                      0.00                       419.00      0.00
G4118         235, MKE10129          SLIP PINION ASTM A897-90                                 0.00                        34.00      0.00
G4119         177, DA-01711          VIBRATOR BRACKET, WELD ON, DA-167-6000                   0.00                        64.89      0.00
G4120         DA-52090               LOCK WELD/ASSY SEAL BR, DA-sOO                           0.00                         0.00      0.00
G4121         DA-521 01              LOCK WELD/ASSY SEAL BRKT, DA-501                         0.00                         0.00      0.00
G4122         DA-13096               RACK - DA13096                                           0.00                         0.00      0.00
G4123         DA-33181               RACK- DA3318r                                            0.00                         0.00      0.00
G4124         DA-42328               RACK - D442328                                           0.00                         0.00      0.00
G4125         DA-69400               PrNroN GEAR - WELD ON (DA-69400)                         0.00                        34.40      0.00
G4126         DA-21 129              PrNroN GEAR - WELD ON (DA-21129)                         0.00                        30.66      0.00
G4127         40991 751              ANDERSON GATE SHAFT 28" X 48"                            0.00                         0.00      0.00
G4't28        40991 731              GATE SHAFT RETAINER 24" X48"                             0.00                         0.00      0.00
G4129         40991741               ANDERSON GATE 24" X 48"                                  0.00                         0.00      0.00
G4130         40991 821              ANDERSON GATE 17" X 48"                                  0.00                         0.00      0.00
G4131                                13X24 OUTLET GATE                                        0.00                       670.00      0.00
G4132         2000027                BUTTERFLY LOCK                                           0.00                         6.25      0.00
G4133         104, DA-42339          RACK - BACK STOP (DA-42339)                              0.00                        40.44      0"00
G4134         105, DA-42340          RACK - BAR LOCK (DA-42340)                               0.00                        44.99      0.00
G4135         220, DA-42444          RACK - OUTLET DOOR (DA-42444',)                          0.00                        42.40      0.00
G4136         106, DA-42372          RACK - W|DE WSTOP (DA-42372)                             0.00                        45.58      0.00
G4137         1 1 1, DA-985381 -2C   CAPSTAN KIT                                              0.00                         3.87      0.00
G4138         40992091               ANDERSON GATE ASSY (24" X 48")                           0.00                         0.00      0.00
G4139         DA-11224               VIBRATOR BRACKET                                         0.00                         0.00      0.00
G4140         DA-42382               RACK (DA-42382)                                          0.00                       122.57      0.00
G4141         DA-50066               SPRING GUIDE BRACKET CAP                                 0.00                         0.00      0.00
G4142         DA-09048               SPRING GUIDE & STOP                                      0.00                         0.00      0.00
G4143         DA-50068               ECCENTRIC NUT                                            0.00                         0.00      0.00
G4144                                BAR LOCK BRACKET (A)                                     0.00                         9.76      0.00
G4145                                BAR LOCK BRACKET (B)                                     0.00                         9.76      0.00
G4146                                #100 DooR cHAtN                                          0.00                         0.00      0.00
G4147         2000030                CAPSTAN HOUSING                                          0"00                        12.86      0.00
G4148         DAVANAC                TOGGLE LOCK O4M                                          0.00                       718.93      0.00
H4000         035, ATP-750-0863      BATTEN BAR - 24" (ATP-0863)                              0.00                        64.1 6     0.00
H4001         036, ATP-750-0906      BATTEN BAR 24" HA1 (ATP-0906)                            0.00                        60.17      0.00
H4002         039, ATP-750-0861      BATTEN BAR GASKET (ATP-0861)                             0.00                         3.30      0.00
H4003         037, ATP-750-1 039     BATTEN BAR KIT (END DEFLECTOR)                           0.00                        15.17      0.00
H4004         ATP 850-0909           BATTEN BAR (ATP-0909)                                    0.00                         4.65      0.00
H4005         ATP-750-0896           BATTEN BAR 20" (ATP-0896)                                0.00                        61.82      0.00
H4006         030, ATP-850-0070      HATCH COVER 7'- FIBERGLASS (850-0070)                    1.00                       258.53    258.53



Run Dale: 07/3012020                                                                                                               5of9
                               Case 20-11139-1-rel          Doc 1     Filed 08/26/20 Entered 08/26/20 12:21:49   Desc Main
                                                                     Document     Page 53 of 370

Stock Status Report for Charleston, lL                                                                                       Date: 0713012020
H4007         029,   ATP-850-0074         HATCH COVER g',- L - FTBERGLASS (850-0074)              0.00                       310.26        0.00
H4008         028,   ATP-850-0075         HATCH COVER g',- R - FTBERGLASS (8s0-0075)              0.00                       303.60        0.00
H4009         006,   ATP-850-0491         HATCH COVER 1 1' - ALUM (8so-04e1)                      0.00                       379.86        0.00
H401 0        031,   ATP-850-0021         HATCH COVER 11' - FTBERGLASS (850-0021)                 5.00                       363.24    1,816.20
H401 1        007,   ATP-850-0894         HATCH COVER 1 2' - ALUM (850-0894)                      0.00                       389.72        0.00
H4012         217, ATP-850-O279           HATCH COVER 12' - L (RD) - FTBERGLASS (8s0-0279)        0.00                       361 "25       0.00
H401 3        216, ATP-850-0280           HATCH COVER 12'- R (RD) - FTBERGLASS (8s0-0280)         0.00                       361 .25       0.00
H4014         003, ATP 850-0620           HATCH COVER 12'(RD) - ALUM (850-0620)                   0.00                       395.58        0.00
H401 5        032, ATP-850-0028           HATCH COVER 13'- FIBERGLASS (8s0-0028)                  1.00                       429.11     429.11
H401 6        204, ATP-850-0993           HATCH COVER 13' - L (RD) - FTBERGLASS (850-0ss3)        0.00                       359.97        0.00
H4017         205, ATP-850-0992           HATCH COVER 13', - R (RD) - FTBERGLASS (850-0992)       8.00                       359.97    2,879.76
H401   I      038, ATP-750-0828           HATCH COVER GASKET                                      0.00                         1.81        0.00
H401   I      040, ATP-750-01 04          HATCH COVER LOCK.IRECO 3014g-STANDARD                   0.00                        38.66        0.00
H4020         1 83, 0802/IRECO-301 69     HATCH COVER LOCK-IRECO 30169-FOR ALUMINUM               0.00                        41.72        0.00
H4021         2T-461-ACF                  ACF LATCH ASSEMBLY                                      0.00                         0.00        0.00
H4022         ATP-850-001 9               HATCH COVER 1 3' (ATP-0019)                             0.00                         0.00        0.00
H4023         179                         HATCH COMBTNG (4-1l2)                                   0.00                         7.71        0.00
H4024         269                         HATCH COMBTNG (6')                                      0.00                         7.71        0.00
H4025         ATP-850-0001                HATCH COVER 8'- S (850-0001)                            0.00                       261 .59       0.00
H4026         ATP-850-0002                HATCH COVER 8',- RH (8so-ooo2)                          0.00                       268.54        0.00
H4027         ATP-850-0003                HATCH COVER 8'- LH (850-ooo3)                           0.00                       268.54        0.00
H4028         ATP 750-0903                BATTEN BAR - O9O3                                       0.00                         0.00        0.00
H4029         ATP - 850-0007              HATCH COVER 12' (ATP-0007)                              4.00                       342.91    1,371.64
H4030         ATP-750-2007                BATTEN BAR 20" HC2|HDB (ATP-2007)                       0.00                         0.00        0.00
H403   1      ATP-850-001 0               12', ROUND FTBERGLASS (ATP-001 0)                       0.00                       364.25        0.00
H4032         ATP-850-0008                12' ROUND FIBERGLASS (ATP-ooo8)                         0.00                       364.25        0.00
H4034         750-0899                    20" BATTEN BAR (ATP-0899)                               0.00                        70.00        0.00
H4035         NDY                         3/16X2X3 3/16X5' FORMED                                 1.00                        16.45       16.45
H4036         NDY                         3/16X2X 41tzxs',FORMED                                  2.OO                        18.05      36.10
H4037         850-061 3                   HATCH COVER-s2" RD (850-0613)                           0.00                       291.57       0.00
H4038         850-001 5                   24" X 13'7" DOUBLE ROUND END HATCH                      0.00                         0.00       0.00
M4500         101159                      AEI TAG - AT51 18 - NEW STYLE                           2.00                        34.30      68.60
M4501                                     AEITAG-5110-OLDSTYLE                                    0.00                         8.32        0.00
M4502         R99                         REFLECTIVE TAPE (1OO PIECES/ROLL)                       0.00                         1.36        0.00
M4503                                     STENCIL SET - INTX VINYL                                0.00                        12.78        0.00
M4504         1   00585                   WEDGEFAST COTTER PIN (5/16" X 3")                       0.00                         1.17        0.00
M4505         TRECO - 30445               AEI TAG BRACKET (PUSH TAB)                              0.00                         1.31        0.00
M4506         3001 1 0                    AEI TAG BRACKET (BOLT ON)                               0.00                         8.32        0.00
M4507                                     LADDER BRACKET (5" X 3)                                 0.00                         0.00        0.00
M45OB                                     LADDER BRACKET (3" X 3)                                 0.00                         0.00        0.00
M4509         FG136                       WHEEL SET. WS TT 6.5 X 12 36 H WB QBS                   0.00                         0.00        0.00
M451 0        100872                      DEFECT CARD HOLDER                                      0.00                         0.00        0.00
M451 1                                    INTX MAGNET STENCIL SET (2 LARGE, 2 SMALL)              0.00                         0.00        0.00
M4512                                     AEI TAG-AT51 1 8, SECOND HAND                           0.00                        12.00        0.00
R4200         089,   102046A,72414-00     CROSSOVER BOARD - (A-END) NO CUT OUT                    0.00                        41.92        0.00
R4201         091,   1021728,72425-OO     cRossovER BoARD (10-1/4" x 60)                          0.00                        46.03        0.00
R4202         092,   1021708,72425-10     cRoss ovERBoARD     (12-118" X 60")                     0.00                        46.38        0.00
R4203         093,   1021 068, 72425-20   cRossovER BoARD (14-1l8" X 60)                          0.00                        42.25        0.00
R4204         098,   BG-CLIP              GRATING CLIP                                            0.00                         5.06        0.00



Run Date: 0713012020                                                                                                                   6of9
                               Case 20-11139-1-rel          Doc 1     Filed 08/26/20 Entered 08/26/20 12:21:49   Desc Main
                                                                     Document     Page 54 of 370

Stock Status Report for Charleston, lL                                                                                       Date: 0713012O2O
R4205           018,     HH10219DS170   HANDHOLD - 19" DOUBLE OFFSET                               0.00                        7.95       0.00
R4206           020,     HH11719SDS69   HANDHOLD - 19'SINGLE OFFSET LH                             0.00                        8.95       0.00
R4207           019,     HH11719SDS68   HANDHOLD - 19" SINGLE OFFSET RH                            0.00                        8.95       0.00
R4208           1 1 6,   HH 1 0634530   HANDHOLD - 34"                                             0.00                       12.28       0.00
R4209                                   RUNNING BOARD 24" X 147"                                   0.00                        0.00       0.00
R4213                     ,72419-01
                011 ,709441             RUNNTNG BOARD - END EXT. (24" X 18")                       0.00                       27.08       0.00
R4214           100,8G3608              RUNNTNG BOARD - GRATTNG (27" X 120" X         1)           0.00                      257.67       0.00
R4215           o94, 7097 15,72543-21   RUNNTNG BOARD (24" X 1O1-1t4")                             1.00                       77.56      77.56
R4216           095,72629-42            RUNNTNG BOARD (24" X 106-3/4")                             0.00                      141.29       0.00
R4217           o90,72415-04            RUNNTNG BOARD (24" X 127")                                 3.00                      145.45     436.35
R4218           DWG# SS.1O              stLL sTEP (DWG-SS-10)                                      0.00                       69.45       0.00
R4219           DWG#SS-1OR              srLL sTEP (DWG-SS-1oR)                                     0.00                       69.45       0.00
R4220           DWG#12                  srLL STEP (DWG-SS-12)                                      0.00                       45.25       0.00
R4221           SS-1     1              srLL STEP (DWG-SS-11)                                      1.00                       56.45      56.45
R4222           o23                     CRDX LAT BOARD 24X77"75"                                   0.00                      452.95       0.00
R4223                                   HANDHOLD - 21" STRAIGHT                                    0.00                        0.00       0.00
R4224                                   CROSSOVER BOARD BRACKET                                    0.00                        0.00       0.00
R4225                                   24X78" RUNNING BRD                                         0.00                      129.85       0.00
SAlOO                                   ANGLE - 1" X 1" X 3/16" (1.16/FT)                          0.00                        0.73       0.00
SA1O1                                   ANGLE - 1" X 1" X 1/8" (.80/FT)                            0.00                        0.85       0.00
sA102                                   ANGLE - 1" X 1" X1t4" (1 .49/Fr)                           0.00                        0.00       0.00
SA103                                   ANGLE - 1-1t2" X 1-1/2" X 1/8" (1.231FT)                   0.00                        1.18       0.00
SAl04                                   ANGLE - 2" X2" Xst16" (2.44tFT)                            0.00                        0.65       0.00
SA105                                   ANGLE -2"X2" X 1/4" (3.1g/FT)                             48"00                        0.66      31.68
SA106                                   ANGLE - 2-1t2" X2-112" X 114" (4.1O/Fr)                    0.00                        0.65       0.00
SAl07                                   ANGLE - 3" X 3" X 1/4" (4.9O|FT)                           0.00                        0.68       0.00
SA1 08                                  ANGLE - 3-1 t2" X 3-1 t2" X 1 /4" (5.80/FT)                0.00                        0.79       0.00
SA1 09                                  ANGLE - 3/8" X 3" X 3" (7 .zOEr)                           0.00                        o.78       0.00
sA110                                   ANGLE - 6" X 3-112" X 5/1 6" (9.80/FT)                     0.00                        1.06       0.00
       ,I
SA,1        1                           ANGLE -6" X 4" X 3/8" (12.30/FT)                           0.00                        0.63       0.00
SA1 12                                  ANGLE - s" X3-1t2" X 3/8" (10.40/FT)                       0.00                        0.79       0.00
sA1 13                                  ANGLE - 5" X s" X 3/8" (12.3oiFT)                          0.00                        0.00       0.00
SA116                                   ANGLE - 1 1t4" X 1 1t4" X 1/8" (1.01/FT)                   0.00                        0.78       0.00
sc200                                   CHANNEL - 3" (5#)                                         38.00                        0.66      25.08
sc201                                   CHANNEL - 8" (11.5#)                                       0.00                        0.00       0.00
SF3OO                                   HR FLAT - 3/16" X 2 (1 275Fr)                              0.00                        0.00       0.00
SF3O1                                   HR FLAT - 3/8" X 6" (7,65/FT)                              0.00                        o.75       0.00
sF302                                   HR FLAT - 114" X 1" (.850/FT)                              0.00                        0.66       0.00
sF303                                   HR FLAT - 1t4" X2" (1 .7O|FT)                              0.00                        0.00       0.00
SF3O4                                   HR FLAT - 1t4" X3" (2.55/FT)                               0.00                        0.68       0.00
SF3O5                                   HR FLAT - 1t4" X4" (3.40/FT)                               0.00                        0.00       0.00
SF3O6                                   HR FLAT - 1t2" X 1-1t4" (2.13/FT)                          0.00                        1.12       0.00
SF3O7                                   HR FLAT - 1t2" X3" (s"1o/FT)                              '12.00                       0.63       7.56
SF3O8                                   HR FLAT 112" X 4" (6.80/FT)                                0.00                        0.88       0.00
SF3O9                                   HR FLAT - 3/4" X 3"(7.65/FT)                               0.00                        1.32       0.00
sF31 0                                  HR FLAT - 1-1/2" X3-1/2" (17.861Fr)                        0.00                        o.97       0.00
SF31        1                           HR FLAT - 1-1t4" X3" (12.75ffr)                            0.00                        1.08       0"00
SF312                                   HR FLAT - 1t2" X 12" (2o.42lFr)                           41 .00                       0.78      31.98
sF313                                   HR FLAT - 1t2" X2" (3.40/FT)                               0.00                        0.68       0.00



Run Date: 0713012020                                                                                                                   7 ol9
                           Case 20-11139-1-rel         Doc 1     Filed 08/26/20 Entered 08/26/20 12:21:49   Desc Main
                                                                Document     Page 55 of 370

Stock Status Report for Charleston, lL                                                                                  Date: 07130/2020
SFs1 4                             HR FLAT - 1/8" X 6" (2.55tFr)                             20.00                        0.88      17.60
SF31 5                             HR FLAT 11t2X3 (15.30/FT)                                  0.00                        o.47       0.00
SF31 6                             1/4" X 8" (6.80/FT)                                       80.00                        0.85      68.00
SF31 7        FL31 68              HR FLAT - 3/16" X 8" (5.10/SO.FT.)                        54.00                        0.75      40.50
SP4OO                              HR PLATE - 3/16" (7.66/SQFT)                               0.00                        0.56       0.00
SP4O1                              HR PLATE - 5/1 6" (12.76|SQFT)                             0.00                        0.65       0.00
SP4O2                              HR PLATE - 1/4" (10.21ISQFT)                               0.00                        0.00       0.00
SP4O3                              HR PLATE - 3/8" (1s.32lSQFT)                               0.00                        0.61       0.00
SP4O4                              HR PLATE - 1t2" (zO.4ztSOFr)                               0.00                        0.48       0.00
SP4O5                              HR PLATE - 1" (40.84/SOFT)                                 0.00                        0.64       0.00
SP4O6                              HR PLATE - 1-1l4" (51 .os/SQFT)                            0.00                        0.00       0.00
sP407                              HR PLATE - 2" (81.68/SOFT)                                 0.00                        0.58       0.00
SP4O8                              HR PLATE - 1/8" (5.1o/FT)                                  0.00                        0.00       0.00
SPsOO                              PIPE - 1-114"                                              0.00                        4.65       0.00
sP801                              PtPE - 3/4"                                                0.00                        4.25       0.00
SP8O2                              PtPE - 3/8"                                                0.00                        1.71       0.00
SP8O3                              PIPE - 1"                                                  0.00                        0.00       0.00
SP8O4                              PIPE - 1/2"                                                0.00                        0.00       0.00
SRsOO                              HR ROUNDS - 1t2" (.668/Fr)                                 6.00                        0,67       4.02
SR501                              HR ROUNDS - 3/4" (1 .502/FT)                               0.00                        1.04       0.00
sR502                              HR ROUNDS - 1" (2.670/FT)                                 22.OO                        0.67      14.74
SR503                              HR ROUNDS - 1-1l3" ( /FT)                                  0.00                        0.79       0.00
SR504                              HR ROUNDS - 1-1l2" (6.008/FT)                              0.00                        0.45       0.00
SR5O5                              HR ROUNDS - 1-3/4" (8.178tFr)                             36.00                        1.10      39.60
5560O                              HR SQUARES - 1-1l4" (5.316/FT)                             0.00                        0.86       0.00
SSTOO                              HR STR|P - 3/16' X 3" (1 .91/FT)                          53.00                        0.66      34.98
SS7Ol                              HR STR|P - 3/16" X 1' (.637s/FT)                           0.00                        0.00       0.00
ST9OO                              TUBE-2"X2"X1/8"(/FT)                                       0.00                        0.73       0.00
sT901                              TUBE - 3" X 3" X 1/4' (9.11o/FT)                           0.00                        0.00       0.00
ST902                              TUBE - 1-1l4" X 1-1t4" X 1/8" (/FT)                        0.00                        0.00       0.00
ST9O3                              TUBE - 1" X 1" X 1/8" (/FT)                                0.00                        0.00       0.00
T3000                              ACF PATCH 3/8" X 12" X 20"                                 0.00                       47.93       0.00
T3001         2000028-2000029      ACF PATCH W/REINFORCEMENT STRIP                            0.00                       90.61       0.00
T3002         1 00989              BODY S|DE BEARTNG SHTMS (5/8" X 4" X 14" - CENTER          0.00                       16.75       0.00
                                   1O-112")
T3003         1   00494            BOLSTER BOWL LINER - 114" X 1" X 14-112"                   0.00                       26.87       0.00
T3004         1   00481            BOLSTER BOWL SHIM - 114" X 13-314"                         0.00                       44.66       0.00
T3005         1 00348              BOLSTER POCKET WP - 1t4" X 4-114" X5-114"                  0.00                       18.36       0.00
T3006         1 00350              BOLSTER POCKET WP - 114" X 5-112" X 5-s/8"                 0.00                       18.36       0.00
T3007         1 00353              BOLSTER PLATE WP - 114" X5-112'X6"                         0.00                       18.36       0.00
T3009         1 00839              CENTER PLATE 20.3/8" X 21" X 16" BOWL                      0.00                      522.48       0.00
T301 0        100524               CENTER PLATE LUBE PADS - 8"                                0.00                        2.36       0.00
T301   1      RETROXTS4OOBELEM     CONSTANT CONTACTS (A)                                      0.00                       63.35       0.00
T3012         688BRELEM            CoNSTANT CONTACTS (B)                                     34.00                       67.71   2302.14
T3013         1 00060              DOUBLE SIDE BEARING CAGE (USED)                            0.00                       13,91       0.00
T301 5        1 00329              FRICTION CASTING WEDGE . BARBERiS-2                        0.00                       36.21       0.00
T301 6        100474               FRICTION CASTING WEDGE - RIDE CONTROL                      0.00                       48.02       0.00
r30't7        1   0041 6           FRICTION CASTING WEDGE WALT SHIMS-BARBEF/S.2               8.00                       45.88     367.O4
T301 8        1   00534                                                                       0.00                       75.26       0.00



Run Date: 0713012020                                                                                                              8of9
                            Case 20-11139-1-rel            Doc 1    Filed 08/26/20 Entered 08/26/20 12:21:49   Desc Main
                                                                   Document     Page 56 of 370

Stock Status Report for Charleston, lL                                                                                           Date:0713012020
                                         FRICTION CASTING WEDGE WALT SHIMS-RIDE
                                         CONTROL
T301 9        1 00483                    GtB (tNStDE) 1-1t4" X 4-7t8"                           0.00                               4.27         0.00
T3020         1 00486                    GtB (OUTSTDE) 1-1t4" X3-3t4',                          0.00                               3.43         0.00
T3021         A-05048                    LINER - TRANSDYNE CLIP-ON WEAR LINER                  23.00                               6.09      140.07
13022         1 00335                    L|NER - WELD ON ROOF LTNER (1/4" X7-1t2" X5")          0.00                               0.00         0.00
T3023         055,100056                 PEDISTAL ADAPTER 6-112" X 12" - 2ND HAND               0.00                              12.90         0.00
T3024         255,100511                 PEDISTAL ADAPTER 6.112" X 12" . NEW                    1.00                              63.09        63.09
T3025         01 3, 1 00088, 1 0037255   SPRING, D5 INNER - zND HAND                            0.00                               7-22         0.00
T3026         01 4, 1 00093, 1 0037265   SPRING, D5 OUTER - 2ND HAND                            0.00                              24.64         0.00
T3027         167,100545                 SPRING, FRICTION CASTING WEDGE, INNER D5-NEW           0.00                              12.65         0.00
T3028         '166, 100546               SPRING, FRICTION CASTING WEDGE, OUTER Ds-NEW           0.00                              11.35         0.00
T3029         202,100395                 SPRING,INNER Ds-NEW                                    0.00                              12.13         0.00
T3030         238,199396                 SPRINGS, INNER D6-NEW                                  3.00                              12.91        38.73
T3031         228,100398                 SPRING, INNER D6A - NEW                                0.00                               8.19         0.00
T3032         203,100402                 SPRING, OUTER Ds-NEW                                   4.00                              27.40      109.60
T3033         229,100344                 SPRING, SIDE STABILIZING 8432. NEW                     8.00                              14.32      1 14.56

T3034         230,100345                 SPRING, SIDE STABILIZING 8433 - NEW                    9.00                              11.02       99.18
T3035         1 00366                    WEAR PLATE, S/F WHOLES (1/2" X7-1t2 X 8-5/16)          0.00                              19.32         0.00
T3036         1 00367                    WEAR PLATE, TRUCK SHrM COLUMN WHOLES (1/2" X           0.00                              15.96         0.00
                                         7-1t2" X9-7116")
T3037         1   00379                  WEAR PLATE, TRUCK SH|M COLUMN (318" X7-112" X          0.00                              12.36         0.00
                                         9-3/8)
T3038         1   00369                  WEAR PLATE, TRUCK SHIM COLUMN (318" X5-112" X          3.00                              12.29       36.87
                                         8-314")
T3039         241,100346                 WEAR PLATE, BtP (1t4" X5-1/2" X 5-5/8)                 0.00                               8.09        0.00
T3040         169,100499                 WEAR PLATE, B/P W/RC (1/4" X2-114" X 4-114")           0.00                               5.65        0.00
T3041         257, 100781                WEAR PLATE, COUPLER CARRIER, 1/2" -PLASTIC             3.00                              10.89       32.67
                                                                                                                                  '16.79
13042         259,100364                 WEAR PLATE, SIF (1 12" X 5-112" X 8-3/4)               0.00                                            0.00
T3043         1   00386                  WEAR PLATE, StF (1t2" X5-1t2" X 8-3/4)                 0.00                              18.46        0.00
T3044         184,100374                 WEAR PLATE, S/F (3/8" X7-1/2" X 9-7116)                0.00                              13.74        0.00
T3045         200,100379                 WEAR PLATE, S/F WHOLES (3/8" X7-112" X9-7116")         0.00                              12.28        0.00
T3046         244,100375                 WEAR PLATE, S/F WHOLES (7116" X7-112" X9-7116")        0.00                              11.09        0.00
r3047         265,100631                 VERT. LtNER, SS (1/4" X 1-118" X16-1/2")               0.00                              40.56        0.00
T3048         1 00526                    TRUCK CENTER PIN 15"                                   0.00                               8.94        0.00
T3049                                    WEAR PLATE, StF (112" X7-112" X8-112")                 0.00                               0.00        0.00
T3050         1 00365                    WEAR PLATE, S/F WHOLES (112" X7-112" X 8-1s/16')       8.00                              18.78      150.24
T3051         1 00373                    WEAR PLATE, S/F WHOLES (318" X7-112 X 8-5/16)          0.00                              10.95        0.00
T3052                                    BOLSTER                                                0.00                             542.74        0.00
T3053                                    TRUCK SIDE FRAME                                       0.00                             243.64        0.00
T3054         1 00403                    SPRING,OUTER D-7 NEW                                   0.00                              29.93        0.00
T3055         1 00397                    SPRING,INNER D-7 NEW                                   0.00                              15.65        0.00
T3056         1 00644                    SPRING,RIDEMASTER INNER                                0.00                              20.80        0.00
T3057         1 00645                    SPRING,RIDEMASTER OUTER NEW                            0.00                              28.54        0.00
TESTPARTl     ALTERNATE                  DESCRIPTION                                            0.00                               0.00        0.00
TP1                                      TOILET PAPER                                           0.00                               0.00        0,00


                                                                                                                  Report Total             11,216.68




Run Date: O7/30/2O2O                                                                                                                         9of9
Case 20-11139-1-rel   Doc 1    Filed 08/26/20 Entered 08/26/20 12:21:49   Desc Main
                              Document     Page 57 of 370




    FIXED ASSET SCHEDIJLE
        Case 20-11139-1-rel                                                       Doc 1       Filed 08/26/20 Entered 08/26/20 12:21:49                                                            Desc Main
                                                                                             Document     Page 58 of 370

                                                                                                            lnterctate Commodities, lnc.
                                                                                                                   Depecidion Eryenso Repon

                                                                                                                       As ol Jtly 31,    2fi2t


Book= Intemal

FYE   lllmh    = December


                    ln   Srt                Ace'rd               P     DoF          Ed         Sr,lv/168Alort          DopmceUe          Prhr        ftidAccm           Dqncidion           CrilsfllY'ID           CrmilAcqm       lGy

$sNo Ed             Dab                       Valw               T     ildr         rfr           S€c 179                Brsb            Ihru                            Ihb Run            Domddfn                Dsscbbn         Co6



GlLAs!€|lcdllo=1Ol
000031 Land .7 l\4adison             Street Troy, NY

        000          lZ31/49                     20,719,00         P   NoDep        00    00                0.00            20,719,00 06/30/20                  0.00                0,00               0,00                 0.00

000032 Parking Lot
        000    10/0'1/99                          2,65100          P   NoDep         0000                   0,00.................@06/30/20                      0.00                0.00               0.00                 0,00


        OtAsol     = Acc{ No                     23,370,00                                                  0.00            23,370,00                           0.00                0,00               0.00                 0.00

                               l$1
         Less disposals        and                        0.00                                              0,00                  0,00                          0,00                                                        0,00

                         transfers

                             _
                         Count= o

                    Net   Subtotal               23,370.00                                                  0.00            23,370.00                           0,00                0,00               0,00                 0.00

                         Count = 2



OtlrcArdNo=lma
000033    Storage Facility       -   #l Storage Buildlng in Tmy
              000    0v11/65                    142,762.00         R     sLFl\4      35 00                  0.00           142J62.00 06/30/20            140,599.00                 0.00               0.00           140,599,00

000034        Fully Depr.   Phnt
              000    01/01/49                   288,789.00         R     SLFM        15 00                  0,00           288,789,00 06/30/20          288,789.00                  0,00               0.00           288,789.00

000035        Building - Garage in Troy

              000    1231/49                      15,745,00        R     SLHY        50 00                  0.00             15,745.00 0d30/20            15,745.00                 0,00               0,00            15,745.00

000036        ConcreteRepairs

              000    06/15/92                    34,677.00         R     D8200       07 00                  0.00            34,677,00 06/30/20            34,677,00                 0.00                   0,00        34,677,00 s

000037        RoofReplacement

              000    06/'15/92                     9,300,00        R     SLMM        31 06                  0.00              9,300.00 06/30/20            8,129.84                24,60             172.22             8,302.06

000038        Loader Repair

              000    12t19/92                      4,7i3.00        P     MF200       05 00             4,773,00                    0.00 06/30/20           4,773,00                 0,00                   0.00         4,773.00 rs

000039        Elevator& Load Eqmt

              000    0d01/93                      52,911,00        P     l\4F200     07 00                  0,00             52,9t1.00    06/30/20        52,9t1,00                 0,00                   0,00        52,911,00 s

000040        TruckScale

              000    08/01/93                     44,600.00        P     MF200       07 00                  0.00             44,600.00 06/30/20           44,600.00                  0,00                  0.00        44,600.00 s

000041        BlackTop

              000    10/30/93                      8,710.00        R     DC150       15 00                  0,00              8,710,00 0fl30/20            7,318.29                  0,00                  0.00         7,318,29

000042        Scale Housing

              000    09/15/95                     35,955.00        P     MF200       07 00                  0,00             35,955.00 06/30/20           35,955,00                  0.00                  0,00        35,955,00 s

000043        Track-mobile

              000    11/06/95                     26,000.00        P     MF200       05 00                  0.00             26,000,00 06/30/20           26,000.00                  0.00                  0.00        26,000.00 s

000044        Loade(new)

              000    09/15/95                     '18,750,00       P     MF200       07 00                  0.00             18,750,00 06/30/20            18,750.00                 0,00                  0.00         18,750.00 s

000045        PowerWasher

              000    06/01/95                      2,000.00        P     MF200       07 00                  0,00                2,000.00 06/30/20           2,000,00                 0.00                  0,00          2,000,00 s

000046        Boiler-downstairs 7 Madison StTroy, NY

              000    06/01/95                      3,800,00        P     l\4F200     07 00                   0.00             3,800,00 06/30/20             3,800.00                 0,00                  0.00          3,800.00 s

 000047       Troy.Load Out Shed

              000    0205/96                      25,455.00        P     MF200       07 00                   0.00            25,455,00 06/30/20            25,455.00                 0,00                  0.00         25,455,00 sm

 000048       Bobcat Bucket Loader

              000    06/30/97                     17,200.00          P    MF200      07 00                   0,00            17,200.00 06/30/20            17,200,00                 0,00                  0,00         17,200.00 s

 000049       Troy Load Out Shed

               000       10/31/97                 56,507,00          P    MF200      07 00                   0.00            56,507,00 0fl30/20            56,507.00                 0.00                  0.00         56,507,00 s

 000050       Loader

               000   0u01/01                      '18,600.00         P    MF200      05 00                   0.00            18,600,00 06/30/20            18,600.00                 0.00                   0.00        18,600,00 s

 000084        ElectricalUpdates

               000   07/06/04                          4,,113,34     P    MF200       07 00                  0,00               4,113.34 06/30/20           4,1 13,34                0,00                   0,00         4,113,34 s

 000258        ParkingLotLighting


 tusrr6,2020ot      11l3lll                                                                                                                                                                                                           P$1
         Case 20-11139-1-rel                                                Doc 1          Filed 08/26/20 Entered 08/26/20 12:21:49                                                                   Desc Main
                                                                                          Document     Page 59 of 370

                                                                                                           lnterstate Commodilies, nc.              I



                                                                                                                 Dryec{ailion Eryenso Ropot

                                                                                                                     As ol Jdy31,2020


Book = lntemal

FYE   lllmh   = December


                   ln   Slt                Ac{rM            P    DE           Ed           Satv/168Aou               Dopnchlb            hir            ftidAmrr            DoFlcialion          CtmntY'ID        OmtAcon             Koy
                                                                                                   .l79
Srrilo    E)d      Dd                       Vd$             T    ildr         rft            Soc                                         Ihru           Dsgnddbtt            Ihh Run             Drprst*Utn       Dopoc'r{in Cn*

GllAsrollrdNo= lflI2
          000      02J2a06                       4,765.52 R      SLMM         39 00                       0.00             4,765,52      06/30/20                1,690,30                10,18           71,27            1,761,5i

000436    Pavement-Troy

          000      07/14/06                      5,100.00 P      SLMM          10 00                      0.00                5,100,00   06/30/20                5,100,00                 0,00            0.00            5,100.00

000454    Prt   roof

          000      09/18/06                           986,00 R   SLMM         39 00                       0,00                 986.00    06/30/20                 JJ4.YD                  2.10           14.74             349.70

000490    Bin roof

          000      1v15/06                       2,860.75 R      SLMM         39 00                       0,00                2,860.75   06/30/20                 965.78                  6,11           42,78            1,008,56

000491    Rebuild       nikoad trackage and switches
          000      11/2206                       3,960,00 R      SLMI\4       39 00                       0,00                3,960.00   06/30/20                1,328,48                 8,46           59,23
                                                                                                                                                                                                                          '1,387,71


000783    Kohler 26kv{ generator

          000      0201/08                      30,400,42 P      SLMIV         10 00                      0,00            30,400.42      06/30/20           30,400,42                     0.00            0,00        30,400,42

002154    Ranger        I   DCWelder

          000      07/1210                       1,700,00 P      SLMI\,I       10 00                      0.00                1,700,00   06/30/20                1,615,00                 0.00           85.00            1,700.00

002230    New Windows - Acmunting            0flice
          000      06/30/11                      4,318,00 R SLMI\4            39 00                       0.00                4,318,00   06/30/20                 941.12                  9.22           64,58            1,005.70

002333    New Roof for Troy Office/Plant

          000      10/05/11                     27,500,00 R      sLt\4t\4     39 00                       0.00            27,500.00      0d30/20                 5,817, 2                58,76          411.32            6,2n,64
002339    New Parking Lot (Troy)

          000      11/08/11                     20,632.00 R SLI\4M             15 00                      0.00            20,632.00      0a/30/20            11,233,01               114.62             802,35        12,035,36

002432    New HVAC unitforaccounting            ollice

          000      01/04/12                     13,950.00 P      SLI\4M        10 00                      0,00            13,950.00      06/30/20            1   1,160,00            1   16.25          813.75        1   1,973.75

002474    New Olfice and Kitchen

          000      02115112                    255,033.25 R      SLI/M        39 00                       0,00           255,033,25      06/30/20            51,680.17              544.94            3,814,60        55,494.77

002483    HVAC unit f or middle oflice

          000      04/30/12                      6,993.00 P      SLMM          10 00                      0,00                6,991,00   06/30/20                5,361.30                58,27          407.92            5,769.22

002487    Women's Bathroom / Seruer Room Project

          000      05/01/12                     32,303.52 R      SLMM         39 00                       0.00            32,303,52      06/30/20                6,350,30                69,02          483,'17           6,833,47

002829    Railroad repairs at Troy facility

          000      10/31/12                     20,000.00   P    SLMI\4        10 00                      0.00            20,000,00      06/30/20            14,333,33               166.66            1,166,66       15,499.99

002852    Rail&wices          - New   RailTres on Tnack

          000      11/19n2                      21,800,00    P   SLMI\4        10 00                      0.00            21,800.00      06/30/20            'i5,441.68              'i81.66           1,271,66       16,713.34

003403    Ollice Building Exlerior Renovation

          000      ln1ln                        26,659,82    P   SLMM          10 00                      0.00            26,659.82      06/30/20            18,661.86               222,16            1,555.15       20,217.01

003626    Upgrade Fire        Alam System - Troy Office
          000      05/2213                       8,106,00    P   SLI\4M        10 00                      0,00                8,106,00   0d30/20                 5,336,45                67,55          472.85            5,809,30

0m700     Paving - Troy Plant

          000      07/03/13                      3,456.00    P   SLIIIM
                                                                               '10
                                                                                     00                   0,00                3,456.00   0d30/20                 2,246.40                28.80          201,60            2,448,00

0m701     Paving - Troy Train Tracks

          000      07/3t't3                      4,590.00    P   SLMM          10 00                      0.00                4,590.00   06/30/20                2,945.25                38.25          267.75            3,213.00

003993    Emergency Exit Lights

          000      09/30/13                      4,721.41    R   SLMM          39 00                      0.00                4,721.41   06130/20                  756.64                10,08           70,61              827.25

004158    Troy Track Cross Ties & Plates

          000      10/23/13                     11,486.67    P   SLMI\4        10 00                      0,00            1   1,486,67   06/30/20                7,0&1,47                95,72          670.05            7,753.52

004873    Facility Project

          000      1231/13                     497,770.00    R   BemVl         06 00                      0,00           497,770.00      06/30/20           497,770,00                    0.00             0.00      497,770.00

004877    Troy lmprovements           - Silos, Ramp

          000      1231/13                      26,785,00    P   SLMM          10 00                      0,00            26,785,00      06/30/20            16,071,00               223.20            1,562,45       17,633,45

005715    Planl Belt and Bucket Project

          000      05127114                      9,039,91    R   SLI\4M        39 00                      0.00                9,039.91   06/30/20                1,294.16                19.32           135.21           1,429,37

005856    Work Shop Panel

          000      06/26/14                      6,234,63    P   SLMM          05 00                      0.00                6,234.63   06/30/20                6,234,63                 0,00             0.00           6,234.63

006312    HVAC Ductwork



turd6,2mdll:.l3^il                                                                                                                                                                                                                     w2
         Case 20-11139-1-rel                                            Doc 1         Filed 08/26/20 Entered 08/26/20 12:21:49                                                              Desc Main
                                                                                     Document     Page 60 of 370

                                                                                                  lnterstate Commodities, nc,               I



                                                                                                        Depeciailion Eryenso Roport

                                                                                                            As ol Jdy 31, 2020


Book = lntemal

ffE lllmh      = December


                   lnS:w                   A.q'rM P DEt                   Ed          Satv/l68Alol          Dogochbb             ftit           hidAcqrn           DEecidott           Cusrll'lD        CmilAcom        KE
SysNo Ed           qS                      Valuo I ltoh                   tft           Socl79                                   Ihru           D€pr€ddion          Ihb Run            Doptoce[fn       Dopro*Uin       Codo



OlAndlrdNo= 1fl2
             000   11/07/14                    2,350.00   B   SLMM        39 00                  0,00                2,350.00    06/30/20               311.34                 5.02            35.15          346.49
006342       Troy Conslruction Project

             000   11/30/14                   43,257.23   R   SLMM        39 00                  0,00            43,257.23       06/30/20             5,638.24             92.43              647,01         6,285.25

006520       Troy Lobby Renovation

             000   fl17114                    11,615.00   R   SLMM        39 00                  0,00            1   1,615.00    06/30/20             1,489.10                24,81            173,72        1,662,82

006521       Troy Carpet Installation

             000   fl17114                    18,500.00   R   SLMM        39 00                  0,00            18,500.00       06/30/20             2,371.80             lo El              276.71         2,648,51

006522       Troy Credenza

             000   1219/14                     4,450.00   P   SLMM        t0    00               0,00                4,450.00    06/30/20             2,225.00             37,08              259.58         2,484,58

006565       Troy office Elecldc Work

             000   01/2215                     9,709.62   R   SLI\,IM     39 00                  0,00                9,709,62    06/30/20             1,224,10                20,75            145.23        1,369,33

0070'1   1   New Railroad Switch Ties

             000   04/14/15                    4,115,88   R   SLI\4M      39 00                  0,00                4,1 15.88   06/30/20               501,31                 8.79             61,56          562,87

007012       NewEntryway -Troy0flice

             000   04/21/15                    5,314,75   R   SLMM        39 00                  0,00                5,314,75    06/30/20               635,97                11.35             79,49          715,46
007219       Concrete

             000   09/30/15                    1,800,00   P   SLI\4M      10 00                  0,00                1,800,00    06/30/20               675,76                15.00            105,00          780.76
007236 6'Con        Pipe X

             000   10/0215                     1,499,16   P   SLI\4M      05 00                  0,00                1,499,16    06/30/20             \n4,28                  24.98            174,89        1,449.17

007237 Eleilic       to St0rage Facility

             000   10/09/15                  51,625,00    P   SLI\4M      05 00                  0,00            51,625,00 0d30/20                   43,881,25            860.41             6,022.91       49,904.16

007238 CSXTrackRepain
             000   10/21lt5                  39,086,26    R   SLI\4M      39 00                  0,00            39,086,26 06130/20                   2,259.72                83.52           584,62         2,84.34
007509 6'Cow         Pipe

             000   11/1215                     1,499,16   P   SLI\4M      05 00                  0,00                1,499,'16   0d30/20              1,245.29                24.99            174,90        1,424.19

007937       Troy Railmad    Tnck Repair
             000   04/20/16                   52,241,91   R   SLI\4M      39 00                  0,00            52,241,91       06/30/20             4,91 1.65           111,62              781.39         5,693.04

008113       FremontPrcbe

             000   08/31/16                  105,348,38   P   SLI\4M      10 00                  0,00           105,348.38       06/30/20            35,'1 16.13          877,90             6,145,32       41,261,45

010586       New Chain in Liner

             000   1205/16                   43,730.91    R   SLI\4M      13 00                  0,00            43,730.91       06/30/20            10,372,09            280,32             1,962,28       12,334,37

010933 RocklorContainerYard
             000   0ut4/17                     8,472,60   R   SLI\4M      13 00                  0,00                8,472.60    06/30/20             1,846,60                54.31           380.18         2,226,78

010934       RockforContainerYard

             000   03/14/17                    6,916,74   R   SLI\4M      13 00                  0,00                6,916.74    06/30/20             1,507,50                44.33           310.36         1,817,86

010935       RockforContainerYard

             000   03/15/17                    1,734.22   R   SLII4M      13 00                  0,00                1,7U.22     06/30/20               377,97                11.11             77.81          455.78
010999       FremontContainerProFct

             000   0s/3117                 1,287,582.44   R   SLI\,IM     13 00                  0.00          1,287,582.44      06/30/20           255,865,74          8,253.73            57,n6.8        313,641.87
011000       FremontLimestone

             000   0t31/17                    10,874,10   R   SLI/M       13 00                  0.00             10,874,10      06/30/20             2,160.88                69.7'l           487.94        2,648.82

011832       Site Work

             000   1215/17                  '152,347,89
                                                          R   SLMM        15 00                  0,00           152347.89        06/30/20            21,159.44            846,38             5,924,64       27,084.08

012043       Accounting Door

             000   0u3v18                      5,567,50   R   SLII/M      39 00                  0.00                5,567,50    0d30/20                249.83                11,89             83,27          333.10
012314       Stone at Fremont

             000   10/18/18                    7,999.68   R   SLI'M       13 00                  0.00                7,999,68    06/30/20               717.92                51,28           358.96         1,076.88

0'12384      Stone at Fremont

             000   11/2u18                     7,442,50   R   SLMM         13 00                 0.00                7,442.50    06/30/20               620.21                47.70            JJJ.YJ          954.16

012400       Stone at Fremont

             000   1219/18                     3,201,16   R   SLMM         t3   00               0.00                3,201.16    0d30/20                246.24                20.52            143.64          389.88
012430       Slone at Fremont



tug[l6,mdl1{3lt                                                                                                                                                                                                          Pre03
          Case 20-11139-1-rel                                        Doc 1      Filed 08/26/20 Entered 08/26/20 12:21:49                                                       Desc Main
                                                                               Document     Page 61 of 370

                                                                                               lntentate Commodities, lnc.
                                                                                                     Degedafion Epenso R€poil

                                                                                                         As ol Jrly 31,2020


lg9[   = lpternal

FYE    Monh = December


                    lnSrr             Aoquiod          P   Dor         EEt        Sslv/168 Alot,        Dopmchbb          Hk'r     RirAmn             DEnddhn             OmlliY]I)          qlleniAccm         lGy
                                                                                         ,l79
SysNo      Ed DS                       Valuo           T   ildr        tb            Soc                   Ba$            Ihru     Dsgedalon          lhb   Run           Dsprscdtn          Dege*Uion O&

GILA$otAcctNo= 1fl2
           000      1219/18                3,376.00 R      SLMM        13    00              0,00             3,376.00 06/30/20           259.69                  21,64         151.48                411.17

012449     TrackRepair

           000      04/0u19               14,559.82 R      SLMM        07    00              0,00            14,559.82 06/30/20          1,559.98             173.33           1,213.32             2,773,30

012450     Stone

           000      04/03/19               3,538.70 R      SLMI\,I     13    00              0,00             3,538.70 06/30/20           204.16                  22.68         158,78                362,94

012452     Stone

           000      05/13/19               2,055.60 R      SLMI\4      13    00              0,00             2,055.60 06/30/20           105.42                  13.17              92,23            197,65

012457     CrushedConcrete

           000      0m1n9                  1,905.20 R      SLMI\,I     07    00              0,00              1,905,20 06/30/20          158,77                  22,68         158.76                317.53

012458     CrushedConcrete

           000      013'1/19               1,428.90 R      SLMi/l      07    00              0,00              1,428,90 06/30/20          I 19,08                 17,01          1   19.07            238.15

012459     CrushedConcrete

           000      0t31/19                2,355.52 R      SLMI\,I     07    00              0.00             2,355,52 06/30/20           196,29                  28.04          196,29               392.58

012460     CrushedConcrete

           000      05/31/19               2,355.52 R      SLMM        07    00              0.00              2,355.52 06/30/20          196.29                  28,04          196,29               392,58

012466     Stone

           000      0&13/19                3,227.68 B      SLMM        13    00              0.00             3,227.68 06/30/20           144.83                  20.69          144.83               289,66

012468     Fremont Track Repair

           000      07124119              85,264.60 B      SLMM        13    00              0.00            85,264.60 06/30/20         2,732,84              546.56           3,825,97             6,558,81

012472     RefrigerationReceplacles

           000      08/06/19              10,905.00    R   SLMM        13    00              0.00             10,905.00 06/30/20          349,52                  69,90         489.32                838.84

012538     Fremont Rail Unloading Drag Pmject

           000      10/31/19              22,540.00 R SLI\4M           '13
                                                                             00              0,00            22,540.00 0d30/20            288,98              144,49           1,01 1.41
                                                                                                                                                                                                    '1,300.39

012546     RepairstoFremontTrack

           000      01/1u20                i,573,50    R   SLIlIM      12    00              0,00              7,573,50 06/30/20               0.00               52.59         368,15                368.15

012547     Repairs to FremontTrack

           000      01/13/20               5,437,00 R SLITM            12    00              0,00              5,437,00 06/30/20               0.00               37.75          264.29               264,29

012548     RepairstoFremontTrack

           000      01/13/20              10,517,00 R stMt\4           1200                  0.00406/30/20                                     0.00               73.03          511.24               51 1,24


        OLAnstlpdNo=                   3,927,121.97                                      4,773,00          3,922,348.37              1,9&3,280.71 15,276.99 107,024,99                          2,040,305.70

                          1gt2
          Less disposals and                    0,00                                         0.00                  0,00                        0,00                                                     0,00

                      tnansfers

                      Counl = 0

                    Net Sublotal       3,927,121.37                                      4,773.00          3,922,348.37              1,933,280.71 15,276.99 107,024.99                          2,040,305,70

                     Count = 86



OLArcArdtlo=tflB
000085     Misc Repair Parts

           000      01127n4                4,030.02    P   MF200       07 00                  0,00             4,030.02 06/30/20         4,030.02                  0,00               0,00          4,030,02 s
000086     MachineryReplacements

           000      0u03/04                9,343.43    P   MF200       07 00                  0.00             9,343.43 06/30/20         9,343,43                  0,00               0,00          9,343.43 s
000087     Blacktop

           000      05/07/04               1,039,20    P   l\4F200     07 00                  0,00             1,039.20 0d30/20          1,039,20                  0,00               0.00          1,039,20 s
000088 BepairstoFacility
           000 0t20/04                     8,881.09    P   l\4F200     07 00                  0,00             8,881,09 06/30/20         8,881,09                  0.00               0.00          8,881.09 s




Aryll6,2(,20dlll3ltl                                                                                                                                                                                             PeF{
         Case 20-11139-1-rel                                            Doc 1         Filed 08/26/20 Entered 08/26/20 12:21:49                                                       Desc Main
                                                                                     Document     Page 62 of 370

                                                                                                   lnterctate Commodities, lnc.
                                                                                                         Dryrecidion Eryenso Ropoil

                                                                                                             As ol Jdy 31,2020


Book= lntemal

FYE Motth = Decembr


                      lnS'rc             Acstiod           P   DEI         Ed         Salv/168lhrl           Dopochblo          Rir        PlidAcqn          Doprcidon          CunltilYlD          c.t.n€nlAcqm      l(ry
SlsNo Ed              Drb                 Value            T   Mdr        tft           Sec 179                                 thru       Demdaion           Ihh Run           DemcUtn             Dog€cffin         Code



         OLAsetAcc.tNo=                     23,293.74                                             0.00           23,293,74                     23,293.74                 0,00            0.00            23,293,74

                            tgB
            Less disposals and                      0.00                                          0.00                   0,00                         0.00                                                    0.00
                        lnnsfers
                        Count = 0

                    Net Subtotal            23,293.74                                             0.00           23,293.74                     23,293.74                 0.00            0,00            23,293.74

                        Count    =   4



OLAssdArdNo= 1fl5
000002       Safe

             000 1l|flnl                          410.00       SLFM        25 00                  0.00              410,00      06/30/20          410,00                 0,00            0,00               410,00

000003       ConferenceFurniture

             000      09/17185               3,346.00          SLFM        10 00                  0.00            3,346.00      06/30/20        3,346,00                 0,00            0.00             3,346,00

000004       Various5yrPropeiy
             000      01/01/85                    825.00       SLFM        05 00                  0,00              825,00 06/30/20               825.00                 0,00            0.00               825,00

000005       Konica Fax 100

             000 0s07/88                      1,456.00         t\,tF200    07 00                  0,00             1,456,00     06/30/20        1,456.00                 0.00            0,00             1,456.00 s
000006       PanafaxFacsmile

             000 0y14/88                      1,456.00         MF2OO       07 00                  0,00             1,456,00     06/30/20        1,456.00                 0.00            0,00             1,456.00 s
000007       Chairs

             000      1001/87                     915.00       MF2OO       07 00                  0,00              915.00 06/30/20               915,00                 0,00            0.00               915.00 s
000008       PrinterTable

             000      12129n7                     401,00       MF20O       07 00                  0,00              401,00 0d30/20                401,00                 0,00            0,00               401,00 s
000009       Tables

             000 0$01/87                          260,00       MF20O       0i   00                0.00              260,00 06/30/20               260.00                 0.00            0.00               260,00 s
000010       OfficeFurniture

             000      10/31/87               3,585,00          MF20O       07 00                  0,00            3,585.00      06/30/20        3,585.00                 0,00            0.00             3,585,00 s
00001   1    Copiel Comp & Printer

             000      09/01/93               8,593,00          MF20O       07 00                  0.00             8,5S3.00     06/30/20        8,593.00                 0.00            0,00             8,593.00 s
000012       Compulers & Pdnter

             000      07/01/94               3,450,00          MF20O       07 00                  0.00            3,450,00      06/30/20        3,450.00                 0.00            0,00             3,450.00 s
000014       Phone System

             000      03/20/98               10,000,00         SLFM        10 00                  0,00            10,000,00     00/30/20        9,999,67                 0,00                0.00         9,999.67

000015       Sofiware

             000      0201/01               60,000.00          SLFM        03 00                  0,00           60,000,00 06/30/20            59,999,67                 0,00                0.00        59,999.67

000016       Computer System

             000      03/04/02                2,120.00         t\4F200     05 00                  0.00             2,120.00     06/30/20        2,120.00                 0,00                0.00         2,120,00 sm
000017       Computer Software

             000      06/01/02                1,638.00         SLFM        03 00                  0.00             1,638.00     06/30/20        1,637.50                 0.00                0.00         1,637,s0

000018       Pitney Bowes Slamp Machine

             000      06/01/02               3,424.00          SLFI\4      05 00                  0.00             3,424.00     06/30/20        3,4n.73                  0.00                0,00         3,423.73

000019       Computer System

              000     07128102                2,498.00     P   MF200       05 00                  0.00             2,498,00     06/30/20        2,498,00                 0,00                0,00         2,498.00 sm
000020       Computer Software (Accounting)

             000      11/20/02                9,900.00     P   sLFl/       03 00                  0,00             9,900,00     06/30/20        9,900,00                 0,00                0.00         9,900.00

000021       Dell Workstation

             000      1218/02                 1,995,00     P   SLFM        05 00                  0,00             1,995,00     06/30/20        1,994,75                 0,00                0.00         '1,994.75

000022       ComputerSyslem

             000      1216/02                 1,299,00     P   SLFM        05 00                  0,00             1,299.00     06/30/20        1,298.55                 0,00                0.00         1,298.55

000023       ComputerSystem

             000      1216/02                 1,299.00     P   SLFM        05 00                  0.00             1,299.00     06/30/20        1,298.55                 0.00                0,00         1,298,55

000024       ComputerSystem

             000      1216/02                 '1,299.00    P   SLFM        05 00                  0,00             1,299.00     06/30/20        1,298,55                 0,00                0,00         1,298,55


fts[l6,AP()rl1l13All                                                                                                                                                                                                   PNs5
       Case 20-11139-1-rel                                           Doc 1       Filed 08/26/20 Entered 08/26/20 12:21:49                                                           Desc Main
                                                                                Document     Page 63 of 370

                                                                                               lntestate Commodities, nc,              I



                                                                                                     Depscialion Eeonso Roporl

                                                                                                         As   olJrly3l,2020

Book= Intemal

FYE iilotth = December


                ln   Srr               Aoquiod          P   Dopr       Ed        Salv/l68Alovt           Dof,€chbb          hh             RbAmrn           Dofscidon          CmntY.II)       CrmilAciln       lGy
SuNo Ert        Dr[o                    ValF            T   lldr       tlo          Soc 179                                 lhru           Degedaion         fibRun            DsprscUbn       DemcHbn          Co&


oLA*dAdNo=1915
000025 Flat Pannel Computer         Screens (8)

       000      1216/02                     4,101,00 P      SLFM       05 00                  0,00              4,101,00    06/30/20            4,101.00                0.00           0.00         4,101.00

000026   ComputerSystem

         000    04/2u03                     3,057,00 P      SLFM       05 00                  0,00              3,057,00    06/30/20            3,05i.00                0,00           0,00         3,057.00

000027   ComputerSyslem

         000    06/26/03                    3,002,00 P      SLFM       05 00                  0.00              3,002.00    06/30/20            3,001,77                0,00           0,00         3,001,77

000028   CompulerSyslem

         000    0&06/03                     3,747.00 P      SLFM       05 00                  0.00              3,747.00    06/30/20            3,746,75                0,00           0.00         3,746,75

000029   CompulerSyslem

         000    10/17/03                     1,628.00 P     SLFM       05 00                  0.00              1,628.00    06i30/20            1,627,60                0.00           0.00         1,627.60

000030   3PlasmaTV's

         000    1217/03                    16,200.00 P      SLFI\4     05 00                  0.00             16,200,00    06/30/20           16,200.00                0.00           0.00        16,200.00

OOOOTO DELLWORKSTATION

         000    01/08/04                     1,609.00 P     SLMI\,I    05 00                  0,00              1,609,00    06/30/20            1,609.00                0,00           0,00         '1,609.00

OOOO71 SERVER
         000    01/09/04                    6,495.00 P      sLMtlt     05 00                  0,00              6,495,00    06/30/20            6,495.00                0,00           0.00         6,495,00

OOOO72 SHARPAR.M23TCOPIEB
         000    03/11/04                    3,700,00 P      SLI\4M     05 00                  0.00              3,700,00    06/30/20            3,700,00                0.00           0.00         3,700,00

OOOO73 PLASMATV
         000    0413/04                      1,400,00 P     SLI\4M     05 00                  0.00              1,400.00    06/30/20            1,400,00                0.00           0.00         1,400.00

OOOO74 PLASI\4ATV
         000    04/1u04                      5,400,00 P     SLI\4M     05 00                  0.00              5,400.00    06/30/20            5,400.00                0,00           0,00         5,400.00

OOOO75 DELLWORKSTATION
         000    0t11/04                      1,450.00 P     SLMM       05 00                  0.00              1,450,00    06/30/20            1,450.00                0,00           0.00         1,450.00

000076 soNlcWALL
         000    11/19/04                     1,700.00 P     SLMM       05 00                  0,00              1,700,00    06/30/20            1,700,00                0.00           0.00         1,700,00

OOOO77 DELLWORKSTATION
         000    1112404                      1,349.00 P     sLMtlt     05 00                  0.00              1,349.00    0d30/20             1,349,00                0.00           0,00         1,349,00

OOOO78 DELLWORKSTATION
         000    1210/04                      1,339.00 P     SLMI\,I    05 00                  0.00              1,339.00    06/30/20            1,339.00                0.00           0,00         1,339.00

OOOO79 SERVER
         000    1213/04                      4,538,00 P     SLMM       05 00                  0.00              4,538,00    06/30/20            4,538.00                0,00           0.00         4,538.00

000091   Laptop computer

         000    0u14/05                      1,840,00 P     SLI\,lM    05 00                  0,00              1,840,00    06/30/20            1,840,00                0.00           0.00         1,840,00

000099   Dell Server

         000    08/29/05                     2,499.00 P     SLI\,lM    05 00                  0,00              2,499.00    06/30/20            2,499,00                0.00           0,00         2,499,00

000100   FAS Software

         000    09/14/05                     2,693.95 P     SLMM       03 00                  0,00              2,693.95    06/30/20            2,693.95                0.00           0,00         2,693,95

000105   office Lighting   -   Leasehold lmprovements

         000    10/21/05                     2,86'1.00 z    SLMI\4     39 00                  0.00              2,86'1.00   06/30/20            1,039.27                6,11           42.79        1,082.06

00014i   Agris Software

         000    11/30/05                   60,706.25 P      SLMNI      03 00                  0.00             60,706,25    06/30/20           60,706,25                0.00            0,00       60,706.25

000148   Phone System Addilion

         000    11/30/05                     3,322,95 P     SLMM        10 00                 0.00              3,322.95    06/30/20            3,319.65                0.00            0,00        3,319,65

000150   Server

         000    11/07/05                     6,489,00 P     SLIlIM      05 00                 0,00              6,489.00    06/30/20            6,489.00                0.00            0,00        6,489,00

000228   OlliceConslruction

         000    lzSll05                     16,800,00 P     SLMM       39 00                  0.00             16,800.00    06/30/20            6,030,78              35,90           251,28        6,282.06

000229   Oflice Fumiture

         000    1231/05                      4,634.31 P     SLMM        07 00                 0.00              4,634,31    06/30/20            4,634,31                0.00            0.00        4,634.31

000230   VoicemailTVM

         000    1231/05                      1,390.63 P     sLMtlt      05 00                 0.00              1,390,63    06/30/20             1,390.63               0.00            0,00        1,390.63



Aflllq20md1ffirfl                                                                                                                                                                                                Pqo6
          Case 20-11139-1-rel                                             Doc 1       Filed 08/26/20 Entered 08/26/20 12:21:49                                                        Desc Main
                                                                                     Document     Page 64 of 370

                                                                                                 lntem{ate Commodities, lnc.
                                                                                                       Dege<talion Eryenso R€poil

                                                                                                           AsolJdySl,2020

Book = lnternal

FYE     iionh   = December


                   lnSu                 L{rM                P   DEr         Ed        &lv/l68Ah'il         Dopmchbb            Prbr       ft*rAcq.m              DqEddon          qmilY'ID       fulontAc.un lGy
S]tNo Ef           Dah                  Val$                T   il€dr       tft         Socm                                   Ihru       Doptsd.diort           IhbRun           Dogqidht        Doggddbn Co6

OlAssdAntNo=          1fl15

000231      WiringandCables

            000    1231/05                      1,349,07        SLMM        05 00               0.00                1,349,07   06/30/20              1,349,07              0.00          0.00             1,349.07

000234      MemoryforCompaqSeruer

            000    01/1206                       324,98         SLMI\4      05 00               0.00                 324.98    06/30/20               324,98               0,00          0.00              324.98

000235      V9lmplemenlation

            000    01/13/06                     8,370,00        SLMI\4      03 00               0.00             8,370,00      06/30/20          8,370.00                  0,00          0.00         8,370,00

000236      Symantec Antivirus License

            000    01/20/06                     '1,725,00
                                                                SLMI\4      03 00               0.00                1,725,00   06/30/20              1,725,00              0.00          0,00             1,725.00

000237      LAN and Telephone Cable

            000    01/24106                     1,160,07        SLMI\4      05 00               0.00                1,160.07   06/30/20              1,160,07              0,00          0,00             1,160.07

000239      Software/ComputerProducts

            000    01/26/06                     6,913,96        SLMI\4      03 00               0.00                6,913.96   06/30/20          6,913,96                  0.00           0.00         6,913.96

000240      Flat Panel LCD

            000    01/27106                     2,447.00        sLMt\,,1    05 00               0.00                2,447.00   06/30/20          2,447.00                  0,00           0.00         2,447.00

000259      Sage   fuftware
            000    0201/06                       215,52         SLMM        03 00               0,00                 215,52 06/30/20                  215.52               0,00           0.00             215.52

000277      Laser Printerv'/ith RAM

            000    03/16/06                     2,397,00        SLMM        05 00               0,00                2,397,00   06/30/20              2,397.00              0.00           0,00         2,397,00

00031   1   Phone system

            000    05/1'1/06                10,920,00           SLI\4M      07 00               0,00            10,920,00      0d30/20          10,920,00                  0.00           0.00        10,920.00

000312      Copymachine

            000    0125/06                      9,256,00        SLI\4M      07 00               0.00                9,256.00   06/30/20              9,256,00              0.00           0.00            9,256.00

000327      Dellmonitor

            000    06/13/06                     '1,599,00
                                                                SLI\4M      05 00               0,00                1,599.00   06/30/20              1,599.00              0,00           0.00            1,599.00

000437      EleclricalWork

            000    08/04/06                     2,482.00        SLMM        39 00               0.00                2,482.00   06/30/20               853.84               5,30         37.12              890,96

000627      officeAddition

            000    05/31/98                100,238,00           SLMM        40 00               0.00           100,238,00      06/30/20         54,086.77             208,83          1,461,80        55,548,57

000669      SonicWall2440CDP

            000    05/07/07                     2,704,00        SLMM         05 00              0,00                2,704,00   06/30/20              2,704,00              0.00           0.00            2,7M.00

000670      SonicWall2440CDP

            000    05/07/07                     2,7M.00         SLMM         05 00              0,00                2,7M.00    06/30/20              2,7M,00               0.00           0.00            2,704.00

000718      2 Dell optiplex workstations

            000    06/1207                      2,628.08        SLMI\4       05 00              0,00                2,628.08   06/30/20              2,628.08              0,00           0.00            2,628,08

000748      Dell optiplex 320 Station

            000    07/09/07                     1,194.96        StMI\,I      05 00              0,00                1,194.96   06/30/20              1,'194.96             0,00           0,00            1,194,96

000759      2 HP Compaq computen

            000    0u21/07                      2,236.64        SLMM         05 00              0.00                2,236.64   06/30/20              2,236,64              0,00           0,00            2,236.64

000764      C0mputer- optiPlex 745 l\linitower

            000    09/10/07                     2,026.96        SLI\4M       05 00              0.00                2,026.96   06/30/20              2,026.96              0.00           0,00            2,026.96

000765      Computer-optiPlexS20Minito$/er

            000    09/10/07                     1,225.12        SLI\4M       05 00              0.00                1,225,12   0d30/20               1,225.12              0.00           0.00            1,225.12

000767 Computer-optiPlexT55luinitower
            000    10/18/07                     1,922,96        SLI\,lM      05 00              0,00                1,922,96   06/30/20              1,922.96              0,00           0,00            1,922,96

000770 Computer-optiPlex330Minitolver
            000    11/15/07                     1,392,56        SLMM         05 00              0,00                1,392,56   06/30/20              1,392.56              0,00           0,00            1,392,56

00077   1   Computer - optiPlex 330 Minitolver

            000    11/15/07                     1,392,56        SLMM         05 00              0,00                1,392.56   06/30/20              1,392,56              0.00           0.00            1,392.56

000779 XeonProcessor/lerninalseryerlicenses
            000    01/24108                 1   1,059,28        SLMI\4       05 00              0.00            1   1,059.28   06/30/20          1   1,059,28              0.00           0.00        1   1,059.28

000780      XeonProcessor/Analogswitch

            000    01/24108                 15,200.64           SLMM         05 00              0.00            15,200,64      0d30/20           15,200.64                 0,00           0.00        15,200.64



ft{Il6,lpl)otlllSlll                                                                                                                                                                                                 P{s7
        Case 20-11139-1-rel                                                  Doc 1       Filed 08/26/20 Entered 08/26/20 12:21:49                                                      Desc Main
                                                                                        Document     Page 65 of 370

                                                                                                      lnterctate Commodities, lnc.
                                                                                                            Depeddion Eryense Repon
                                                                                                                As   olJrly31, 2t20

Book = lntemal

ffi   Jllonh = December


                    lnSrt                    Acfliod           P   Dar          Ed       &lv/168AIow           Dopochlb           Rit        ftirAcun         Doptoddhn           CmdY-D           qmftlciln       lGy
qsNo Eil            Ddo                       Valtr            T   lildr       tft         Soc 179                                Ihru       Dop'ecidbn        thb   Run          DopFcir[irn      Dop{sctsbn      Co&


OtlselldNo=1fl5
000784      3   opti Plex 330 l\4inilo$/er
            000     0s18/08                      3,974,88      P   SLM|\4       05 00                0,00              3,974.88   06/30/20         3,974,88                0,00             0,00       3,974,88
000787      HP LaserJet4250dln Prinler

            000      0412408                      1,814,39     P   SLMM         05 00                0,00              1,814.39   06/30/20         1,814,39                0,00             0,00        1,814.39

000883      Dell optiplex 755 Minitower

            000     0101/08                       1,246,96     P   SLMM         05 00                0,00              1,246.96   06/30/20         1,246,96                0.00             0,00        1,246.96

000884      2 Oell optiplex Minitowers

            000     0t06/08                      2,493.92      P   SLMM         05 00                0,00              2,493.92   06/30/20         2,493,92                0.00             0,00       2,493.92
000885 Dell0pliplexMinitower
            000     0y09/08                       1,974.96     P   SLMM         05 00                0,00              1,974.96   06/30/20         1,974,96                0.00             0,00        1,974.96

001   092   2 opliPlex 755 Minitower computers

            000     07/01/08                     4,053.92      P   SLMM         05 00                0,00              4,053.92   06/30/20         4,053.92                0.00             0.00       4,053,92
001093      Microsoft Windows Server 2003 Slandard Edition

            000     07/15/08                      1,932,32     P   SLMM         03 00                0,00              1,932.32   06/30/20         1,932.32                0,00             0.00        1,932,32

001094      Dell optiPlex workslation

            000     07122108                      1,610.96     P   SLMM         05 00                0,00              1,610.96   06/30/20         1,610.96                0,00             0.00        1,610,96

001   128   Computer - optiPlex 755 Minitower (Troy)

            000     04/01/09                      1,142.96     P   SLMM         05 00                0,00              1,142.96   06/30/20         1,142.96                0,00             0.00        1,142,96

001   129   Computer - optiPlex 755 Minitower (Tro$

            000     04/01/09                      1,142.96     P   SLMM         05 00                0,00              1,142.96   0d30/20          1,142,96                0,00             0.00        1,142.96

001   194   Computer-Vostro 220 Slim Tower (Troy)

            000     07/1209                           554.04   P   SLMM         05 00                0,00               554.04    06/30/20          554,04                 0,00             0,00         554,04
001   195   Computer- Latitu& E5400 (Troy)

            000     07/1209                           592.92   P   SLMM         05 00                0,00               592.92 0il30/20              592,92                0,00             0,00         592.92
001   196   Computer- Latitude E5400 (Troy)

            004     07tfl09                           592.92   P   SLMM         05 00                0,00               592.92 06/30/20              s92,92                0.00             0,00         592.52
001   197   Computer-Vostro A90 (Troy)

            000     07/1209                           417.96   P   SLMM         05 00                0.00               417,96    06/30/20           417,96                0.00             0,00         417.96
001   198   Computer-Voslro       A90 (Troy)

            000     07/1209                           417.96   P   SLMM         05 00                0,00               417.96    06/30/20          417,96                 0.00             0.00         417.96
001203      Computer-Vostm        420 Tov'/er

            000     0&/11/09                          629.00   P   SLMM         05 00                0.00               629.00    06/30/20          629.00                 0,00             0.00         629.00
001204      Computer-Vostro 420 Tower

            000     08/11/09                          629.00   P   SLMM         05 00                0.00               629,00    06/30/20          629.00                 0,00             0.00         629,00
001302      Compuler- optiplex 755 Minitower(Tmy)

            000     01/08/09                      1,298.96     P   SLMM         05 00                0.00              1,298.96   06/30/20         1,298.96                0,00             0,00        1,298,96

001303      Computer- opliplex 755 Minitower(Troy)

            000     0t/08/09                      1,298.96     P   SLMtlt       05 00                0.00              1,298.96   06/30/20         1,298.96                0,00             0,00        1,298,96

001304      Compuler- Optiplex 755 Minitower(Canada)

            000     01/08/09                      1,298.96     P   SLMI\4       05 00                0.00              1,298.96   06/30/20         1,298.96                0.00             0.00        1,298,96

001305      C0mpuler- optiPlex 755 l\4inito$/er (Canada)

            000     0v08/09                       1,298.96     P   SLMI\,|      05 00                0.00              1,298.96   06/30/20         1,298,96                0.00             0,00        1,298,96

001347      Computer- Voslm 220 Mini Tower

            000      10/20/09                         623.00   P   slMt\,t      05 00                0.00               623,00    06/30/20           623,00                0.00             0.00         623.00
001348      Computer- Voslrc 220 Mini Tower

            000     10/20/09                          623.00   P   slMt\,t      05 00                0,00               623.00    06/30/20           623,00                0.00             0,00         623.00
001349      Computer- Vostrc 220 Mini Tower

            000     10/20/09                          623.00   P   slMli        05 00                0,00               623.00    06/30/20           623,00                0.00             0.00         623.00
001396      RicohCopierMP3350
            000     11/05/09                     7,254.48      P   SLMM         05 00                0,00              7,2il,48 06/30/20           7,2il.48                0,00             0.00        7,2U.48
001476      Apple Computer- Vic

            000     0v01/10                      2,823.12      P   SLMM         05 00                0,00              2,8n.fl    06/30/20         2,8n.n                  0.00             0,00        2,8n.12


Augrd6,ma[tll3Af,                                                                                                                                                                                                   PNgoS
           Case 20-11139-1-rel                                                   Doc 1      Filed 08/26/20 Entered 08/26/20 12:21:49                                                 Desc Main
                                                                                           Document     Page 66 of 370

                                                                                                   lntestate Commodities, lnc.
                                                                                                         Depe<$ailion Epense Repoil

                                                                                                             As ol Jdy 31,2020


Book= lntemal

FYE ltrlonh = December


                     lnSvc                     Acfliod P Dry                Ed              Salv/1684hry Dopmcebb             ftior      PfurAccm           DEsdshn             CmnllTD         Qn€'tAccrm lGy
SysNo EIl            Dab                         V8lllo           T   lil€h us               Socm              Ba!i]          firu       Doprortrdion       thb   Run           Doilochirn      Dgptedohn co*

GltAssdArdtlo= 1$5
001477         AppleComputer-Victor

               000   01/01/10                        2,211.84     P   SLMtll       05 00          0.00            2,211.84    06/30/20          2,211,84                0.00             0,00        2,211.84

001574         Computer - Voslrc 220 Mini Tower Quad Core (Troy)

               000   0210/10                           476.00     P   SLMM         05 00          0.00              476,00 06/30/20               476,00                0,00             0.00         476,00

001   575      Computer . Voslro 220 Mini Tower Quad Core (Troy)

               000   0210/10                           476.00     P   sLt\4t!l     05 00          0,00              476,00    06/30/20            476.00                0,00             0.00         476.00

001576         Computer - Voslro 220 Mini Tower Ouad Core (Troy)

               000   0210/10                           476.00     P   sll\4|\/     05 00          0,00              476,00    06/30/20            476.00                0.00             0.00         476.00

001578         Computer- Latilude 2100 (Troy)

               000   0u1210                            418.00     P   SLMM         05 00          0,00              418.00    06/30/20            418.00                0.00             0,00         418.00

001588         Applecomputer(V03)

               000   04/21/10                        1,492,51     P   SL|\4M       05 00          0.00            1,492,51    06/30/20          1,492,51                0.00             0,00        1,492.51

001607         Computer-HPLaptopforGary
               000   06/18/10                          820.79     P   SLI\4M       05 00          0.00              820.79    06/30/20            820,79                0.00             0.00         820.79

001609         Server Project

               000   06/30/10                       76,700.67     P   SL|\4M       05 00          0.00           76,700,67 06/30/20            i6,700,67                0,00             0,00       76,700,67

002156         Computer- Cappuccino 1014 Config 6 (Jodi)

               000   07/20/10                          599,00     P   sLl\4M       05 00          0.00              599.00 06/30/20               599.00                0,00             0.00         599.00

002172         Computer-AcerAspire(TNY)

               000   09/2210                           480,2s     P   sLl\4M       05 00          0.00              480.25 0d30/20                480,25                 0,00            0.00         480,25

002173         Computer- Lenovo ThinkCentre (TNY)

               000   09/22'10                          473,51     P   SLI\4M       05 00          0.00              473.51    06/30/20            473.5'1                0.00            0,00         473.51

002174         Computer - ASUS Eee Box 8202 (TNY)

               000   09/2210                           400,21     P   SLMM         05 00          0.00              400,21    06/30/20            400.21                 0.00            0.00          400.21

002180         Laptop - AcerTnvelMate          5740.5896 (Company Backup)

               000    10/13/10                         750,86     P   SLMM         05 00          0.00              750,86    06/30/20            750,86                 0.00            0.00         750.86

002181         Laptop " AcerTravell\,late 5740-5896 (Company Backup)

               000    1u13/10                          750,87     P   SLMM         05 00          0,00              750,87    06/30/20            750,87                 0,00            0.00         750,87

002186         Computer - Voslrc 230 Mini-Totver

               000    11/1210                          491.00     P   SLMM         05 00          0,00              491,00 06/30/20               491,00                 0,00            0.00         491,00

002187         Computer- Vostm          E0 Mini-Tower
               000    1'1/1210                         49r.00     P   sLMt\4       05 00          0,00              491.00 06/30/20               491.00                 0,00            0,00         49 1.00

002   1   88   Computer - V0stro 230 Mini"Tower

               000    11/1210                          49r.00     P   sLMt\,|      05 00          0,00              491.00 06/30/20               491.00                 0.00            0,00         491.00

002199         Apple Computer- Greg

               000    12121t10                       1,185.84     P   SLMM         05 00          0.00            1,185,84    06/30/20          1,185.84                 0.00            0.00        1,185.84

002203         Carpel in accounl oflices

               000   0205/il                         3,088.80     P   SLMM         10 00          0.00            3,088.80    06/30/20          2,754,18                25.74          180.18        2,934.36

002205         Computer-Vostro          E0   l\4ini-Tower (TNY)

               000   0214/11                           429.00     P   SL|\4M       05 00          0,00              429,00    06/30/20            429.00                 0.00            0.00          429,00

002211         Desk - HON 10700 Double Pedaslal Desk

               000   03/21111                          867.99     P   SLtltM       10 00          0,00              ea7 00    06/30/20            759.50                 LlJ            50.63          8'10,13

002212         Desk - HON 10700 Double Pedastal Desk

               000   03/21111                          867,99     P   SLMM         10 00          0,00              867.99 06/30/20               759.50                 7,23           50,63          810,13

002221         Printer - P45   1   5N Laer (Troy back office)

               000   04/28/11                        1,559,99     P   SLMM         05 00          0.00             1,559,99   0d30/20            1,559.99                0,00            0.00        1,559,99

002222         Computer-Vostro          E0   Slim Tower

               000   05/20/11                          429,00     P   SLM|\4       05 00          0.00              429,00 06/30/20               429,00                 0.00            0.00          429.00

002227         Computer.VostroE0Mini-Tower
               000   06/21111                          451,00     P   SLM|\4       05 00          0.00              45'1,00   06/30/20            451,00                 0.00            0.00          451,00
002228         Computer- Vostro         E0 Mini-Tower
               000   06/21/11                          451.00     P   SLMIU        05 00          0.00              451,00    06/30/20            451.00                 0.00            0.00          451.00



A$H6,20md'lffiil                                                                                                                                                                                                 PrF9
         Case 20-11139-1-rel                                           Doc 1      Filed 08/26/20 Entered 08/26/20 12:21:49                                                        Desc Main
                                                                                 Document     Page 67 of 370

                                                                                                 lntestate Commodities, nc.            I



                                                                                                      Dqecftlion   Eryenso Ropofi

                                                                                                          As ol Jrly 31 , 2020


Book = lntemal

ffi   ltrlonh = December


                 lnS'rc                 Lquiod            P   DEr        Ed       SalY/1684bil            D€pochbb          ftior          PrirAccm        Dopnddbn          Cur€niYlD       CfiiltAcqn       lGy
Sr6No Ed         Ddo                     Vafue            T   ileh       Uo         S€c 'l79                                Ihru           Deg*amn          Ihb Run          Depmctrn        Ihpr€cHion       Co&


OLArdArdNo=1fl5
002268 Storage Container      (forfiling stonage out back)

          000    07/15/11                     3,380.00    P   SLMM       05 00                 0,00             3,380.00    06/30/20            3,380.00              0,00            0.00        3,380.00

002269    LaselJel   P451 5N Pdnter - Troy   office

          000    07/20/11                     1,328.35    P   SLMM       05 00                 0,00             1,328,35    0fl30/20            1,328.35              0,00            0.00        1,328.35

002270    Computer- Vizio 55 Class LCD 1080P

          000    08/2211                         970.92   P   SLMM       05 00                 0.00                970,92   0fl30/20             970.92               0,00            0.00         970.92
002271    Computer- Vizio 55 Class LCD 1080P

          000    0&/2211                         970,92   P   SLMM       05 00                 0,00                970,92   06/30/20             970,92               0,00            0.00         970.92

002272    Computer-Vostro260Minitower

           000   0u2411                          974,00   P   SLMM       05 00                 0,00                974,00   0d30/20              974,00               0,00            0.00         974.00
002334    Computer- Vostro 1540 BTX (Troy)

          000    10/21/11                        982,00   P   SLMM       05 00                 0,00                982,00   06/30/20             982,00               0.00            0.00         982.00
002340    RailcarSoftware

          000    1v08/11                     17,147,16    P   SLMM       03 00                 0,00            17,147.16    06/30/20           17,147,16              0.00            0.00       17,147 .16

002366    Railcar Software - Trainspotler

          000    !214111                      5,109.75    P   SLMM       03 00                 0,00             5,109.75    06/30/20            5,109.75              0.00            0,00        5,109,75

002367    Websile

          000    1219/11                     58,46'1,66   P   SLMM       03 00                 0,00            58,461.66 06/30/20               9,450.00              0.00            0,00        9,450,00

002368    6 desks lor new troy olfice

          000    1201/11                     17,258,40    P   SLMM       10 00                 0,00            17,258.40    06/30/20           13,950.54          143.82          1,006.74       14,957,28

002433    Computer Laptop -Vosko 1540 BTX

          000    0l/20/12                        529,00   P   SLMM       05 00                 0,00                529.00 06/30/20               529.00               0.00            0,00          529,00
002434    Computer Laptop -Voslro 1540 BTX

          000    01/20/12                        529,00   P   SLMM       05 00                 0,00                529,00 06/30/20               529.00               0,00            0.00          529.00
002435    Computer Laptop -Voslro '1540 BTX

          000    01/20/12                        529,00   P   SLMM       05 00                 0,00                529,00 06/30/20               529.00               0,00            0.00          529.00
002436    ComputerDesktop - lnspiron 620 luinitower

          000    01/20/12                        658,80   P   SLMM       05 00                 0,00                658,80 06/30/20               658.80               0,00            0.00          658,80
002437    ComputerDesktop - Inspimn 620 l\4initov{er

          000    01/20/12                        658,80   P   SLMM       05 00                 0,00                658,80 06/30/20               658,80               0.00            0.00          658.80
002438    ComputerDesktop - Inspiron 620 l\4initov{er

          000    01/20/12                        658,80   P   SLMM       05 00                 0.00                658.80 06/30/20               658,80               0.00            0.00          658.80
002439    ComputerDesklop - lnspiron 620 l\4initower

          000    01/20/12                        658,80   P   SLMM       05 00                 0.00                658.80 06/30/20               658,80               0.00            0,00          658.80
002440    Conference Room Table and Chairs

          000    01/15/12                     6,875,28    P   SLMM       07 00                 0.00             6,875,28    06/30/20            6,875,28              0.00            0,00        6,875.28

002467    ProjectorScreen

          000    02123112                     3,458,75    P   SLMM       05 00                 0.00             3,458,75    06/30/20            3,425.88              0.00            0,00        3,425.88

002468    ConletencePhone

          000    laNfl                           999,99   P   SLMM       05 00                 0.00                ooo oo   06/30/20             999,99               0.00            0,00          999.99
002477    Computer-lnspiron620l\4initower

          000    03/19/12                        447,11   P   SLMM       05 00                 0.00                447,11   0il30/20              447.11              0,00            0.00          447.11

002484    Laptop Computer - Acer Aspire AS5750

          000    04/18/12                        479,99   P   SLMM       05 00                 0,00                479,99   06/30/20              479.99              0,00            0.00          479,99
002485    Laptop Computer - Acer Aspire AS5750

          000    04/18/12                        479,99   P   SLM|\4     05 00                 0,00                479,99   06/30/20             479.99               0,00            0.00          479,99
002489    Computer-Voslro260Minitoy{er

          000    06/20/12                        449,00   P   SLM|\4     05 00                 0,00                449,00   0d30/20              449.00               0,00            0.00          449,00
002490    Compuler-Voslro260Minitower

          000    06i20/12                        449.00   P   sLMt\4     05 00                 0,00                449,00   06/30/20             449,00               0.00            0.00          449.00
002491    Compuler.Vostro260Minitower

          000    06/20/12                        449,00   P   SLM[4      05 00                 0,00                449.00   06/30/20             449,00               0.00            0,00          449.00



A$!il6,md1il3All                                                                                                                                                                                              P{o l0
        Case 20-11139-1-rel                                       Doc 1      Filed 08/26/20 Entered 08/26/20 12:21:49                                                            Desc Main
                                                                            Document     Page 68 of 370

                                                                                          lntemtate Commodilies, nc,             I



                                                                                                Dqtedralhn Eryonso R€port

                                                                                                    As   olJrly3l,2020

Book = lntemal

ffi[ffi1=December

                 ln Src             Ac$hd           P   Dopr        Eil      &lv/1684hry            Dopo*bb           hb             htrAcqlrl          DoF$idon            CmiltY'ID          CmdAcctm        lGy
SlsNo Ed         DdE                VdF             T   lldr        tft        $€c 179                                thru           DEocidin            thb   Run          D€g€ddbrt          DoprocHhn       Co&


GllAselAcdtlo     = 1fl!5
002492 Computer-Voslro260Minitower
          000    06/20/12                  449,00   P   SLMM        05 00                0,00               449.00 06/30/20                 449.00                   0,00           0,00             449.00

002497    Computer. HP 5008 Desktop

          000    07t20t12                  410,44   P   SLMM        05 00                0,00                410.44   06/30/20              4 10,44                  0.00           0,00             410.44

002498    Computer- HP ProBook 4535s Laptop

          000    08/20/12                  435,02   P   SLMM        05 00                0,00               435.02 06/30/20                 435,02                   0.00           0.00             435.02

002499    Computer- HP ProBook 4535s Laptop

          000    0&20/12                   435,02   P   SLMI\4      05 00                0,00               43s.02    06/30/20              435,02                   0.00           0,00             435,02

002500    Backupserver-eVaultBDR 10000series
          000    0&30/12                14,m8,92 P      SLMI\4      05 00                0,00             14,038.92   06/30/20            14,m8.92                   0,00           0,00          14,038,92

002853    Computer - Dell lnsphon 660

          000    11120112                  599,99 P     SLMI\4      05 00                0.00               599,99    06/30/20              599.99                   0,00           0.00             599.99

003270    LaserJet 9040dn Printer

          000    1219/12                  3,4'13.68 P   SLMM        05 00                0.00              3,413,68   06/30/20            3,413.68                   0.00           0.00           3,413.68

0m$6      DellPER320 lURackmountSeryer

          000    03/26/13                 2,914.92 P    SLMM        05 00                0,00              2,914,92   06/30/20             2,914.92                  0.00           0.00           2,514.92

003537    BanacudeE-mailArchiverAppliance

          000    0326/13                12,420.00 P     SLI\4M      05 00                0.00             12,420.00   06/30/20            12,420,00                  0,00           0,00          12,420,00

003624    HP ProBook4540 Notebook

          000    04/19n3                   505,17 P     SLI\4M      05 00                0,00               505,17 06/30/20                 505.17                   0,00           0.00             505,17

003625    HP ProBook4540 Notebook

          000    04/19/13                  505.18 P     SLl\/|M     05 00                0,00                505,18   06/30/20              505.18                   0,00           0.00             505.18

003627    lnspiron 660 Deshop Computer

          000    05/21113                  399.99   P   SLMM        05 00                0,00               399,99 0il30/20                 e00 00                   0.00           0.00             399,99

003628    lnspiron 660 Desktop Computer

          000    05/21113                  399,99   P   SLMI\4      05 00                0.00               399.99    06/30/20              399,99                   0.00           0,00             399,99

003629    lnspiron 660 Desktop Computer

          000    05/21/13                  399,99   P   SLMI\4      05 00                0.00               399.99    06/30/20              399,99                   0,00           0,00             399.99

0m637     MicrosoftOlficeLicenses(60)

          000    06/'1213               23,398,96 P     SLMI\4      05 00                0,00             23,398,96   06/30/20            23,398.96                  0,00           0.00          23,398.96

003638    Dell Vostro 270

          000    06/19/13                  449,00   P   SLMI\4      05 00                0,00                449,00 06/30/20                 449.00                  0,00           0.00             449.00

003639    Dell Vostro 270

          000    06/19/13                  449.00 P     SLMM        05 00                0.00                449.00 06/30/20                 449,00                  0.00           0,00             449,00

003646    AppleComputer

          000    0d19/13                  1,338.07 P    SLI\,lM     05 00                0,00              1,338,07   06/30/20             1,338,07                  0,00           0,00            1,338,07

003718    DelloptiPlex30l0
          000    0&/16/13                  499,00 P     SLMM        05 00                0.00                499.00 06/30/20                 499.00                  0,00           0.00             499,00

003719    Dell optiPlex 3010

          000    08/16/13                  499.00 P     SLMM        05 00                0,00                499,00 06/30/20                 499.00                  0.00               0.00         499.00

0013720   Dell optiPtex 3010

          000    0&i16/13                  499.00   P   SLMI\4      05 00                0,00                499,00 06/30/20                 499.00                  0.00               0.00         499.00

003721    Dell OptiPlex 3010

          000    08/'t6/13                 499,00   P   SLMI\4      05 00                0.00                499.00   06/30/20               499,00                  0,00               0,00         499,00

0ffi724   lnspiron660

          000    08/16/13                  429,99   P   SLMM        05 00                0.00                429.99 06/30/20                 lro   00                0,00               0,00         429,99

003725    lnspiron 660

          000    0&16/13                   429,99   P   StMM        05 00                0.00                429.99 06/30/20                 429.99                  0,00               0.00         429,99

003726    lnspiron 660

          000    08/16/13                  429,99   P   SLI\4M      05 00                0,00                429,99 06/30/20                 429.99                  0.00               0.00         429.99

003994    DellServer

          000    09/30/13               21,689.52 P     SLMM        05 00                0,00             21,689.52   06/30/20            21,689,52                  0,00               0,00       21,689,52



Au0!il6,mmd1fi3^ll                                                                                                                                                                                             Ple3ll
        Case 20-11139-1-rel                                            Doc 1      Filed 08/26/20 Entered 08/26/20 12:21:49                                                       Desc Main
                                                                                 Document     Page 69 of 370

                                                                                                  lnterctate Commodities, lnc.
                                                                                                      Depnialion Epense Rqort
                                                                                                          As ol Jrly 31, 2020


Book = lnternal

FYE ltrlonh = December


                  ln Slrt                Ac$tM            P   DEr        Esi      SalY/168Alotv          Dopsebb              hlr        ftfrAciln        DEntidion          qmilY'fD      AntntAfiun       KE
Sn   tlo tu       Drb                    Value            T   ilo[t      ts          Soc 179                Bait              Ihru       Demtidbn          Ihb Run           Deqsh0on      Demchlbn         Co&


G,LArsrtl0c|No =     l&F
0m995     10 Acer   20' LED l\lonitors

          000     09/17/13                       986.10       SLMM       05 00                 0.00                986.10 06/30/20              986,10               0.00           0,00         986,10

0m999     Delloptiplex30l0
          000     09/17/13                       529.00       SLMM       05 00                 0.00                529.00 06/30/20              529,00               0.00           0,00         529.00

004173    Dell B2360DN

          000     10/17/13                       529.19       SLMM       05 00                 0.00                529,19     06/30/20          529,19               0,00           0,00         529.19
004174    Dell B2350DN

          000     l0/17113                       529,19       SLMM       05 00                 0.00                529,19     06/30/20          529.19               0,00           0,00         Ero   l0

004175    Dell B2360DN

          000     10/17/13                       529.19       SLMI\4     05 00                 0.00                529,19 06/30/20              529.19               0,00           0.00         529.19

004176    De[ BA60DN

          000     10/17/13                       529.19       StMM       05 00                 0.00                529,19 06/30/20              529.19               0.00           0.00         529,19

004177    De[ BA60DN

          000     10/17113                       529.19       SLMI\4     05 00                 0.00
                                                                                                                   (t0   10   06/30/20          529.19               0.00           0,00         529,19

004178    De[ BA60DN

          000     l0/17/13                       529.19       SLMI\4     05 00                 0,00                529.19 06/30/20              529,19               0.00           0,00         529,19

004179 De[BA60DN
          000     10/17113                       529,23       SLMM       05 00                 0,00                529.23     06/30/20          529.23               0,00           0.00         529.23

004627    Troy NewCopier

         000      ll/27l13                  7,338.60          SLMI\,I    05 00                 0,00            7,338,60       06/30/20        7,338.60               0,00           0.00        7,338.60

004891    DetlopliPlex30l0Computer
          000     1218/13                        582.12       SLMM       05 00                 0,00                582.12     06/30/20          582.12               0.00           0.00         582.12

004892    DellopliPlexS0l0Computer
          000 l218l13                            582.12       SLI\4M     05 00                 0.00                582,12     06/30/20          s82.12               0.00           0.00         582,12

004894    DelloptiPlexS0l0Computer
          000     1218/13                        582.13       SLI\4M     05 00                 0.00                582,13 06/30/20              582,13               0.00           0,00         582,13

004895    lnspiron3T2lLaptop
          000     1218/13                        539,99       SLI\4M     05 00                 0.00                539,99 0d30/20               539,99               0,00           0,00         539,99

0M896     lnspironST2lLaptop
          000     1218/13                        539,99       SLMM       05 00                 0.00                539,99 06/30/20              539,99               0,00           0.00         539.99

0M897     lnspiron3T2lLaptop
          000     1218/13                        539,99       SLMM       05 00                 0.00                539.99 06/30/20              539.99               0,00           0.00         539.99

004898 lnspiron3T2lLaptop
                                                                                                                                                                                                 q10 00
          000     1218/13                        539,99       SLMM       05 00                 0,00                539.99 06/30/20              539.99               0.00           0.00

005101    XPS 8700 Deshop
                                                                                                                                                qao 00
          000     1231/13                        539,99       SLMM       05 00                 0,00                539.99 06/30/20                                   0.00           0,00         539,99

005102    XPS 8700 Desktop

          000     1231/13                        539,99       SLMI\4     05 00                 0,00                539,99 06/30/20              539,99               0,00           0.00         539,99

005103    XPS 8700 Desklop

          000     1231/13                        540,00       sLMtlt     05 00                 0,00                540,00 06/30/20              540,00               0,00           0.00         540.00

005104 Dell0ptiPlex30l0Computer
          000     1231/13                        603,72       SLMM       05 00                 0.00                603.72 0d30/20               603.72               0,00           0.00          603.72

005107    Apple Computer

          000     1231/13                   2,512.03          SLMM       05 00                 0.00             2,512,03      06/30/20         2,512.03              0,00           0.00        2,512.03

005420 optiPlex3020Computer
          000 0214/14                            625.31       SLI\4M     05 00                 0.00                625.31     06/30/20          625.31                0.00          0,00          625.31

005421 optiPlex3020Computer
          000     0a14114                        625.31       SLI\4M     05 00                 0.00                625,31     06/30/20          625,31                0.00          0,00          62s,31

005422 optiPlex3020Computer
          000     0414114                        625.31       sLtltM     05 00                 0,00                625,31     06/30/20          625,31                0,00          0.00          625,31

005423    optiPlexS020Computer

          000 0214/14                            625.34       SLMM       05 00                 0.00                625.34 06/30/20              625.34                0,00          0.00          625.34



A$iqmd1fi3All                                                                                                                                                                                               Prge 12
        Case 20-11139-1-rel                                        Doc 1       Filed 08/26/20 Entered 08/26/20 12:21:49                                                       Desc Main
                                                                              Document     Page 70 of 370

                                                                                            lnteHate Commodities, lnc.
                                                                                                  Depe<ialion Eryenso Ropod

                                                                                                      As   olJdy3l,       2020


Book = lntemal

FYE   ilonh   = December


                  lnS'rc              tuquiod           P   Dopr      Est      &lv/l68Ahw             DopocHlte           Rix        ftbAccln        Doprgciailon          CmilYlD      On€niAccm       lGy
SysNo     Ed      Ddo                  Vafue            T   Lldt      tft        Soc 179                                  Ihru       Depcdahr         Ihb Run              Demcdbn      Demdaion        Coo


G,tlrdArdNo=         18{5
005475    DellopliPlex3020
          000     0u17/14                      560,52   P   SLI\4M    05 00                0.00                560.52 06/30/20             560.52               0.00             0,00         560.52

005476    Dell optiPlex 3020

          000     03/17114                     560,52   P   SLMM      05 00                0,00                560.52 06/30/20             560,52               0,00             0.00         560.52

005477 DellPowerEdgeTll0
          000     03/26/14                2,536,92      P   SLMM      05 00                0,00              2,536,92     06/30/20        2,536,92              0,00             0,00        2,536.92

005478    Office, Windows, Bemote Deskop, Exchange Licenses

          000     03/26114               24,190,63      P   SLMM      05 00                0,00             24,190.63     06/30/20       24,190,63              0.00             0,00       24,190,63

005488    optiPlex3020
          000     04/15/14                     555,22   P   SLMM      05 00                0,00                555,22     06/30/20          555,22              0.00             0,00         555.22

005489    optiPlex3020
          000     04/15/14                     555,22   P   SLM|\4    05 00                0,00                555,22     06/30/20          555.22              0.00             0.00          555.22

005490    opliPlex3020
          000     04/15/14                     555.22   P   SLM|\4    05 00                0,00                AA(
                                                                                                                     ''   06i30/20          555.22              0.00             0.00          555.22

005491    opliPlex3020
          000     04/15/14                     555,25   P   SLM|\,|   05 00                0,00                555,25 06/30/20              555,25              0,00             0.00         555.25

005492    HP LaserJet P3015 Printer

          000     04/15/14                     878.02   P   SLMM      05 00                0.00                8i8.02 06/30/20              878,02                  0,00         0,00         878,02

005717    opliPlex3020Computer
          000     05/15/14                     551.44   P   SLMM      05 00                0.00                551.44 06/30/20              551,44                  0,00         0,00         551,44

005719    optiPlex3020Computer

          000     0t1s/14                      551.47   P   SLMM      05 00                0,00
                                                                                                               cEl t1
                                                                                                                          06/30/20          551.47                  0.00         0.00         551.47

005720    AcerTiavelMateNotebook

          000     0t15/14                      670.06   P   SL|\4M    05 00                0,00                670,06 06/30/20              670.06                  0.00         0.00          670.06

005722    HP CE527A Printer

          000     0t15/14                      646,92   P   SL|\4M    05 00                0,00                646,92 0d30/20               646,92                  0,00         0,00          646.92

006140    28N.PeadSruer&Sofiware
          000     07129t14              106,418,03      P   SLMM      05 00                0,00            106,418,03     06/30/20      106,418.03                  0,00         0,00      106,418.03

006227    optiPlex 3020 Computer

          000     08/14/14                     625,32   P   SLMM      05 00                0.00                625.32     06/30/20          625.32                  0.00         0.00          625,32

006228    optiPlex3020Computer

          000     0&14/14                      625,32   P   SLMM      05 00                0.00                625.32     06/30/20          ot3,Jt                  0.00         0.00          625.32

006229    optiPlex3020Computer

          000     08/14/14                     625.32   P   SLMIII    05 00                0.00                625.32 06/30/20              625.32                  0.00         0.00          625.32

006230    optiPlex3020Computer

          000     0&14/14                      625.32   P   SLMM      05 00                0,00                625,32 06/30/20              625,32                  0,00         0,00          625.32

006231    AcerTravelmateLaptop

          000     0&i14l14                     605.01   P   SLMM      05 00                0,00                605,01     06/30/20          605,01                  0,00         0,00          605,01

006232    AcerTnvelmateLaptop
          000     0u14/14                      605.01   P   SLMM      05 00                0.00                605.01     06/30/20          605.01                  0.00         0.00          605.01

006233    optiPlex3020Computer

          000     08/14/14                     690.12   P   SL|\4M    05 00                0.00                690.12 06/30/20              690.12                  0.00         0.00          690.12

006234    optiPhxS020Computer
          000     08/14/14                     690.12   P   SLI\4M    05 00                0.00                690,12 06/30/20              690,12                  0,00         0,00          690.12

006250    Dell   Pol\ieconnecl 2848
          000     09/16/14                 1,535,76     P   SLt\,tM   05 00                0,00              1,535.76     0d30/20         1,535,76                  0,00         0,00        1,535,76

006251    AcerTravelMateP2Senes

          000     09/17/14                     645,06   P   SLM|\4    05 00                0,00                645.06 06/30/20              645.06                  0.00         0.00          645,06

006346    Sonicv{all SA 3600 Security

          000     11/00/'14               10,313,55     P   SLM|\4    05 00                0,00             10,313,55     06/30/20       10,313.55                  0.00         0.00       10,313,55

006524    DellComputer

          000     1203/14                      700.92   P   SLMM      05 00                0.00                700.92 06/30/20              700,92                  0.00         0,00          700.92



Auf,H6,md11J3At                                                                                                                                                                                         PeFlS
            Case 20-11139-1-rel                                       Doc 1      Filed 08/26/20 Entered 08/26/20 12:21:49                                                    Desc Main
                                                                                Document     Page 71 of 370

                                                                                              lnteHate Commodities, lnc.
                                                                                                    Depedalion Eryenso Repott

                                                                                                        AsolJtlySl,2020

Book = lntemal

FYE ltrlonh = December


                  lnS'rc                AcquiEd         P   hpr         Eri      Salv/168Alow           Dopochbb        hkr        hirAciln         DspEcidion          CimniY'ID        qmrtAmn         lGt
SY*   No Ed       Dsb                                   T   tl€ilr      tfr        S€c 179                              Ihru       Demddixr          Ihb   Run          Demcbhn          Dsonddin        Co&


GrtAsss[AcdNo= 188
006525      DellComputer

            000   fl\il14                     700.92        SLMM        05 00                0.00              700.92   06/30/20         700.92                  0.00            0.00         700.92

006526      Dell Computer

            000   12103114                    700.92        su\4M       05 00                0.00              700.92   0aB0/20          700.92                  0,00            0,00         700.92

006527      Dell Computer

            000   12115114                    823.29        SLMM        05 00                0.00              823.29 06/30/20           823.29                  0,00            0,00          823.29
006528      Dell Computer

            000   12115114                    823.28        SLI\4M      05 00                0.00              823.28 06/30/20           823.28                  0,00            0,00          823.28

006533      New Desks Tmy

            000   t219114                  24,356.71        SLI\4M      05 00                0.00           24,356.71   06/30/20       24,35671                  0.00            0.00       24,356,71

006535      Dell opliPlex 3020

            000   123t114                     646.70        SLI\4M      05 00                0,00              646.70 06/30/20           646,70                  0.00            0.00          646,70

006568      Dell OpliPlex Computer

            000 0l/1ul5                      1,142.65       SLI\4M      05 00                0,00            1,142,65   06/30/20        1,14255                  0.00            0.00        1,142,65

006571      Apple Computer

            000   01/21115                   1,517.40       SLI\4M      05 00                0,00            1,517,40   06/30/20        '1,492.11                0.00          IJ.IY         1,5'17.40

006572      Dell B540dn Laser Printer

            000   01/30/15                                              05 00                                                                                                   '16,64
                                              999.00        SLIlIM                           0,00              999.00 06/30/20           982.36                  0.00                          999.00

00661   1   Dell 0ptiPlex Computer

            000   0223/15                     571.32        SLI\,lM     05 00                0,00              571.32   06/30/20         552.26                  0,00           19,06          571.32
006612      Dell 0ptiPlex Computer

            000   0223/15                     571.32        SLIlIM      05 00                0,00              571,32   06/30/20         552.26                  0,00           19,06          571.32

006613      Dell OptiPlex Computer

            000   0223/15                     571.31        SLI\4M      05 00                0.00              571,31   06/30/20         552,26                  0.00           19.05          571,31

006614      AcerTBvelmate P256

            000   0225/15                     605,34        SLMM        05 00                0,00              605,34 06/30/20           585,17                  0.00           20.17          605,34

006615      Ac€rTravelmate P256

            000   0425115                     605,35        SLMI\4      05 00                0.00              605,35 06/30/20           585.17                  0.00          20.18           605,35
006936      Surface Pm 3

            000   03/09/15                   1,615,65       SLMI\,I     05 00                0.00            1,615.65   06/30/20        '1,561,80                                            1,6't5,65
                                                                                                                                                                 0.00          53,85

006937      lnfocus 1N3124 DLP Projector

            000   03/09/15                    995,81        sLMtlt      05 00                0.00              995,81   06/30/20         962.61                  0.00          33,20           995.81

007014      Apple Computer

            000   03/26n5                    1,684,29       SLMI/       05 00                0,00            1,684,29   06/30/20        1,600.08                 0,00           84,21        1,684.29

007015      optiPlex 3020M Computer

            000   04/16/15                    759,78        SLMM        05 00                0,00              759.78 06/30/20           709,14                  0,00           50.64          759.78
007018      New Desks in Tmy

            000   04/21115                   6,187,00       SLMM        05 00                0,00            6,187.00   06/30/20        5,774,53                 0,00          412,47        6,187,00

007019      Acer TravelMate Laptop

            000   04/30/15                    491,99        SLMM        05 00                0,00              491,99 06/30/20            459.21                 0.00           32.78          491,99

007160      Dell Compuler

            000   05/14/15                    560.52        SLMM        05 00                0,00              560,52 06/30/20           523.14                  0.00           37,38          560,52

007162      Dell Computer

            000   05/14/15                    560.52        SLMM        05 00                0.00              560,52 06/30/20           523.14                  0.00           37,38          560,52
007163      Dell Computer

            000   05/14/15                    560.52        SLI\4M      05 00                0.00              560.52 06/30/20            523.14                 0,00           37.38          560.52
007171      Table/Filing Cabinet

            000   06/10/15                   2,744.16       sLtlrM      05 00                0.00            2,7M,16    06/30/20        2,515.47                 0,00          228,69        2,7Mj6
007172      Desk- Michael's Office

            000   06/10/15                   4,468.10       SLI\'1M     05 00                0.00            4,468,10   06/30/20        4,095,76                 0.00          372.34        4,468.'10

007173      Switches-11N,Pead
            000   06/24115                   2,160.00       StMM        05 00                0,00            2,160,00   06/30/20        1,944.00                 0.00          216.00        2,160,00



Au0rd6,mdillSAll                                                                                                                                                                                         PNgo   ll
           Case 20-11139-1-rel                                                Doc 1      Filed 08/26/20 Entered 08/26/20 12:21:49                                                        Desc Main
                                                                                        Document     Page 72 of 370

                                                                                                     lnterctate Commodities, lnc,
                                                                                                           Dryrc<iailion E4ense        Repil
                                                                                                               As ol   Jdy31,2020

Book = lnternal

ffi   [lrlotth = December


                  lnSlr               AcSrM                   P   DEr           El      Salv/l68Alow           Dogscbbb             Rix        PrbAmn           Doptertdlon         CtmntYlD           CurfitAccm       lGy
$sNo       H      Ddo                     Val$                T   ildr          Uo        Soc 179                 Ba$               lhru       Diledobn          Ihb Run            thpo*lion          Dspreddbn Coe

G,LArdAcdNo        =   18$
007181     RAPIDS Agent

           000    07/16/15                  20,460,00         P   SLMM          05 00               0,00            20,460,00       06/30/20       18,073.00            341.00           2,387.00          20,460,00

007 1 82   lnspiron   17   5000

           000    07/29/15                   1,101,59         P   SLMM          05 00               0,00               1,101,59     06/30/20         973.09                18,34           128.50           1,101,59

007196     Apple Computer

           000    08i18/15                   1,045,39         P   SLMM          05 00               0,00               1,045,39     06/30/20         906.01                17.42           121.96           1,027.97

007197     optiPlex 3020

           000    08/20/15                       544,53           SLMM          05 00               0,00                544.53 06/30/20               471,94                9,07               63.52          535,46

007198     opliPlex 3020

           000    0&/20/15                       544,53           SLMM          05 00               0,00                544.53 06/30/20               471.94                9.07               63,52          535.46

007199     optiPlex 3020

           000    08/20/15                       544,53           SLMM          05 00               0,00                544.53 06/30/20               471.94                9.07               63.52          535.46

007200     opliPlex 3020

           000    08/20/15                       544.54           SLMM          05 00               0,00                544.54 06/30/20               471,94                9.08               63.53          535.47

007202     Acer Tavelmate Laptop

           000    0&/20/15                       489,39           SLMM          05 00               0,00                489.39 06/30/20               424,15                8,16               57,09          481.24

007203     AcerTravelmate Laptop

           000    08/20/15                       489.39           SLMM          05 00               0,00                489,39 06/30/20               424,15                8,16               57,09          481,24

007222     Dell Precision T1700 Computer

           000    09/16/15                   1,532,26             SLMM          05 00               0,00               1,532.26     06/30/20        1,302.41               25,54           178.76           1,481,17

007243     Fremont oneweigh

           000    10/0215                    8,1 15,00            SLMM          05 00               0.00               8,1 15.00    06/30/20        6,897.75            135,25            946.75            7,844,50

007244     Apple Compuler

           000    l0/16/15                   2,608.15             SLMM          05 00               0,00               2,608.15     06/30/20        2,173.47               43.47          304,28            2,4n.75
007245     Dell B5460dn Printer

           000    10/29/15                   1,025.99             SLMM          05 00               0.00               1,025,99     0d30/20           855.01               17.10           1   19,70          974.71

007246     Lenovo Thinkpad Laptop

           000    10/29/15                       452.78           SLMM          05 00               0.00                 452.78     06/30/20          JTT,JJ                7.55               52,82          430.15

007247     Lenovo Thinkpad Laplop

           000    l0/29/15                       452.78           SLMI\4        05 00               0,00                 452.78     0&30/20           377,33                7,55               52,82          430.15

007248     Acer Travelmate Laptop

           000    10/29/15                       460,78           SLMI\,I       05 00               0,00                460.78 06/30/20               384.0'1               7,68               53.76          437.77

007249     Acer Tnvelmate Laptop

           000    10/29/15                       460.81           SLMI\4        05 00               0,00                460,81      06/30/20          384.00                7.68               53.76          437,76

007250     Dell B?,460dn Printer

           000    10/29/15                       582.1    1       sLt\4tlt      05 00               0,00                582,1   1   06/30/20          485.08                9.70               67.91          552,99

007251     optiPlex 7(90 Computer

           000    10/29/15                       754.92           sLt\4t\,t     05 00               0,00                754,92 06/30/20               629.08               12.58               88.07          7 17.15

007252     optiPlex 7M0 Computer

           000    10/29/'15                      754,92           SLI\4M        05 00               0.00                754,92 06/30/20               629,08               12.58               88,0i          7 17.15

007253     optiPlex 7040 Computer

           000    10/29/15                       754.92           SLI\4M        05 00               0.00                754.92 06/30/20               629,08               '12.58
                                                                                                                                                                                               88,07          7 17.15

007254     optiPlex 7040 Computer

           000                                   754,93                         05 00               0.00                754.93      00/30/20          629.13               '12,58
                  10/29/15                                        SLI\4M                                                                                                                       88.07          717.20
007255     Microsoft Exchange     Srver
           000    10/30/15                  32,092,20             SLI\4M        05 00               0.00            32p9220         06/30/20       26,743.50            534,87           3,744.09          30,487.59

00751'1    XPS'13 Laptop

           000    11/24115                   1,873,78             SLMM          05 00               0,00               1,873,78     06/30/20        1,530.28               31,23           218,61           1,748.89

007513     0ptiPlex 5M0Computer

           000    1't/24l15                      744.11           SLMM          05 00               0,00                 744.11     06/30/20          607.68               12.40               86,81          694,49

007515     OptiPlex 5040 Computer

           000    11/24115                       744.14           SLMM          05 00               0.00                 744,14 06/30/20              607,72               12.40               86,81          694,53



Augun6,mdlil3All                                                                                                                                                                                                        Pas15
       Case 20-11139-1-rel                                      Doc 1       Filed 08/26/20 Entered 08/26/20 12:21:49                                                     Desc Main
                                                                           Document     Page 73 of 370

                                                                                         lntestate Commodilies, lnc.
                                                                                               Depsdr{ion Eponse Repoil

                                                                                                   AsolJrlySl,2020

Book= lntemal

ffiMffi=December

                lnSw              A.SrM            P   D€F        EC        Salv/168Alort          Dopochhb        hfr        PriorAccm        DopFidfon             CtmfllYlD       Crrt€ntAccm lcy
SltNo    tr     Dah               Valuo            T   lmr        tlo         Soc 179                              Ihru       Defleddbn         Ihb   Run            LoFs'*dfn       Dopre'*lhn       Co&


OllrdArdllo       = 1fl15
007516   XPS lSComputer
                                                                                                                                                            '19.19
         000    11/24115              1,151,27         SLMM       05 00                 0,00            1,151,27   06/30/20          940.20                                134,31          1,074.51

007770 AcerT€velmateLaptop
         000 fl29115                      600,10       SLMM       05 00                 0,00             600,'t0   06/30/20          480,08                 10,00           70,01           550,09

007771 AcerTnvelmateLaptop
         000    1229/15                   600,10       SLMM       05 00                 0,00             600,10 06/30/20             480,08                 10,00           70,01           550,09

007772   AcerTravelmateLaptop

         000 fl29115                      600.12       SLMM       05 00                 0.00             600.12 06/30/20             480,08                 10,00           70.01           s50.09

007773   GE Dishwasher

         000    12129115                  722.49       SLMI\4     05 00                 0.00             722.49 06/30/20             578.00                 12.04           84,29           662,29

007777   optiPlex 3020 Computer

         000    1212u15                   545.79       SLMI\4     05 00                 0.00             545.79 06/30/20             436.64                  9.09           63,67           500.31

007835   optiPlex3040

         000 01/29n6                      614.51       SLMI\4     05 00                 0.00             614.51    06/30/20          481,36                 10,24           71,69           553,05

007836   optiPlex3040

         000    01/29/16                  614.54       SLI\4M      05 00                0,00             614.54 0d30/20              481,40                 10.24           i1,69           553,09

007916   optiPlex3020

         000    00/16/16                  506.52       SLI\4M      05 00                0,00             506,52    06/30/20          379,88                  8,44           59.09           438.97

007917   OptiPlex3020

         000    03/16/16                  506.52       SLI\,,lM    05 00                0,00             506,52 06/30/20             379.88                  8.44           59,09           438.97

007918   optiPlex3020

         000    03/16/16                  506,52       SLMM        05 00                0.00             506.52 06/30/20             379.88                  8.44           59,09           438,97

007919   0ptiPlex3020

         000    03/16/16                  506,54       SLMM        05 00                0.00             506.54 06/30/20             379,91                  8,44           59,09           439,00

007920   Acer P256 Laptop

         000    03/16/'16                 524,54       SLMI\4      05 00                0,00             524.54    06/30/20          393.41                  8.74           61.19           454,60

007921   Acer P256 Laptop

         000 0u16/16                      524.54       SLMI\4      05 00                0,00             524.54    06/30/20          393.41                  8.74           61,19           454.60

007922   Acer P256 Laptop

         000    03/16/16                  524.54       SLMM        05 00                0,00             524,54    06/30/20          393.41                  8.74           61,19           454.60

007923   Ac€rP256 Laptop

         000 0315/16                      524.54       SLI\4M      05 00                0.00             524.54    06/30/20          393,41                  8,74           61.19           454,60

007924   DellXPS 15

         000 0u16/16                  1,495,74         sLtltM      05 00                0.00            1,495.74   06/30/20         1,121,81                24.93           174,50         1,296,31

007957   optiPlexComputer

         000    06/2u16                   625,32       SLMM        05 00                0,00             625.32    06/30/20          437.71                 10.42           72,95           510.66

007958   optiPlexComputer

         000    06/23/16                  625,32       SLMM        05 00                0,00             62532 06/30/20               437.71                10.42           72,95           510.66

007959   optiPlexComputer

         000    06/23/16                  625,32       SLMI\,I     05 00                0.00              625,32   06/30/20           437,71                10,42           72.95           510,66

007960   opliPlexComputer

         000    06/23/16                  625.32       SLMM        05 00                0.00              625.32   06/30/20           437,71                10,42            72.95           510,66

008121   optiPlexComputer

         000    08/15/16                  555.89       SLI\4M      05 00                0,00             555.89 06/30/20             379.87                  9.26            64,85           444.72

008122   optiPlexComputer

         000    0&/15/16                  555,89       SLMM        05 00                0,00              555,89   06/30/20          379.87                  9.26            64,85           444.72

008123   OptiPhxComputer

         000    08/15/16                  555,89       SLMM        05 00                0.00              555,89 06/30/20            379,87                  9,26            64.85           444,72

010587   PB 470   17   Computer

         000    12129116                  728,87       SLMI\4      05 00                0,00             728.87    06/30/20          437.31                 12,15            85.03           522,34

010589   PB 470   17   Computer

         000 fl29116                      728.87       SLMM        05 00                0,00              728.87 06/30/20             437.31                12.15            85.03           522.34



Adril6,mmdlfi3^ll                                                                                                                                                                                     PeF16
       Case 20-11139-1-rel                                             Doc 1       Filed 08/26/20 Entered 08/26/20 12:21:49                                                     Desc Main
                                                                                  Document     Page 74 of 370

                                                                                                  lnterstate Commodities, nc.          I



                                                                                                      Depncidion Erysnso R€poil

                                                                                                          AsolJdy31,2020

Book= lntemal

FYE ltlotth = December


                ln Srrr             Acqitiod             P   DEr          Est      &lv/168Ahw             Dogochlb          Prfx           ftiotAciln          Doprocialion   CmntY'ID           CummAciln        lGy
SlsNo Elt       Ddo                   Valuo              T   It€tr       tft         Soc
                                                                                           .l79
                                                                                                                            Ihru           D€prsdabn            IhbRun        D€f,€cHicn D€FocHbn                 Codo



GiL Assd Acd No =   lflF
010798   AppleiPad2Wi-Fi
         000    01/03/17                     1,005.00    P   SLMM         05 00                   0,00          1,005,00 06/30/20                  603.00             t0,tJ          117.25             720.25

010799   Apple iPad Pro Wi-Fi

         000    01/03/17                     1,228.00    P   SLI\4M       05 00                   0,00          't,228,00 06/30/20                 736.80             20,46          143.26             880.06

010800   Apple MacBook

         000    01/03/17                     1,682,00    P   SLI\4M       05 00                   0,00          1,682,00 06/30/20                 1,009.20            28.03          196.23            1,205,43

010801   l\.,licrosoft Access Open License

         000    01/31/17                     5,346,00    P   SLI\4M       05 00                   0.00          5,346.00 0d30/20                 3,1 18,50            89.10          623,70            3,742,20

011001   Tansportation TrainspotterSoftware

         000    0y31/17                 205,575,00       P   SIMM         10 00                   0,00       205,575,00 06/30/20                52,822,50          1,713.12     1   1,991.87         64,814,37

011831   FremontConlainerSoftware

         000    11/29/17                 49,990,00       P   SLMM         10 00                   0.00        49,990.00 06/30/20                 10,414,58          416,58          2,916.08          13,330.66

012453   VintermodalSofrware

         000    05/07/19                     18,218,00   P   SLMM         10 00                   0.00         18,2'18.00 06/30/20                1,2'14.53          151.81         1,062,71           2,2n.24
012454   GavantSQLSeruer&Migration

         000    05/29/19                     14,700,00   P   SLM|\4       10 00                   0.00         14,700,00 06/30/20                  857.50            122.50          857,50            1,715.00

012467   2004 Dodge Ram Vin# 3D7KU28D246160422

         000    06/03/19                     8,100,00    P   sLMl\,|      05 00                   0,00          8,100,00 0d30/20                   945,00            135.00          945,00            1,890,00

      OLAss€tAtctNo=                  1,473,997.94                                                0,00      1,473,397,94
                                                                                                                                             '1,107,902.17         4,743.83     34,943.14          1,142,845.31

                          1m5
        Less disposals and                       0.00                                             0,00               0.00                               0.00                                               0.00

                  tanslers
                  Count    -- 0

                Net Subtolal          '1,473,397,94                                               0,00      1,473,397.94                      1,107,902,17         4,741.83 34,943,'14             1,142,845,31

                Count = 317



OLAsstAcdNo=lflI,
000089 Railcars - 175
         016    01/15/05                 23,700,00       P   SLMM         25 00            8,000,00            15,700,00    06/30/20             12,899.74            52,33          366,33           13,266,07 r
000133   NBLX46442

         000    11t22105                     6,350,00    P   SLMM         10 00            6,350,00                  0,00 06/30/20                      0,00           0,00             0,00               0.00 r
000209   DoNX7113
         000    1208/0s                      17,500,00   P   sLMrll       15 00            8,000,00             9,500.00    06/30/20              8,599.97            52.78           369.44           8,969.41 r
000298   NRLX47036

         000    04/20/06                     6,350.00    P   SLMM         10 00            6,350.00                  0,00   06/30/20                    0.00           0.00             0,00               0.00 r
000333   Raihars-CUNX1017,1018,1019,7151, 1009,1010,1015
         002    06/01/06                     6,857.14    P   SLMM         25 00            6,857,14                  0.00   06/30/20                    0,00           0,00             0.00               0.00 r
000401   Bailcar.45121
         000    07/19/06                     12,000.00   P   sLt\4M       25 00            8,000,00             4,000.00    0d30/20               3,760,00            13,33            oeel            3,853,33 r
000402   Railcar-45122
         000    07/19/06                     12,000.00   P   sLl\4M       25 00            8,000,00             4,000.00    06/30/20              3,760.00            13.33            93,33           3,853,33 r
000404   Railcar-45125
         000    07/19/06                     12,000.00   P   sll\,lM      25 00            8,000,00             4,000.00    06/30/20              3,760.00            13.33            93,33           3,853.33 r
000405   Bailcar-45126
         000    07/19/06                     12,000,00   P   SLMM         25 00            8,000.00             4,000,00    06/30/20              3,760,00            13.33            93.33           3,853.33 r
000406   Railcar-45129
         000    07/19/06                     12,000,00   P   slMt\t       25 00            8,000.00             4,000,00    06/30/20              3,760,00            13,33            oa   al         3,853,33 r
000407   Railcar-45131

         000    07/19/06                     12,000,00   P   SLMM         25 00            8,000,00             4,000.00    06/30/20              3,760.00            13.33            oa   el         3,853,33 r
000408   Railcar-45132
         000    07/'19/06                    12,000,00   P   SLMM         25 00            8,000,00             4,000.00    06/30/20              3,760.00            13.33            93,33           3,853.33 r
000409   Railcar-45133

tu$l6,lPodll{3lt                                                                                                                                                                                                  Peeo 17
       Case 20-11139-1-rel                                          Doc 1        Filed 08/26/20 Entered 08/26/20 12:21:49                                                             Desc Main
                                                                                Document     Page 75 of 370

                                                                                                 lntestate Commodities, nc,            I



                                                                                                       Dryedraton EpenseRepoil

                                                                                                           As ol Jdy 31 , 2020


Book= lntemal

ffiMonh=December

                ln   Slc             tuquisd             P   Dopr       Ed       &lY/168Ahn               DoFlchbb          Prir           hirAciln          Dqrilhton            qmdY'ID         fumtAccun       Koy
SrsNo    Ef     Dah                   Valtn              T   lldr       LIo        Soc
                                                                                         .l79
                                                                                                             Barb           Ihru           DopFidbn           Ihb   Run           Ihpor*dion       Dssecldin      Cads



OLAscstAdNo= 180t
         000    07/19/06                 12,000,00       P   SLMM       25 00            8,000,00               4,000,00    06/30/20            3,760,00                  13.33           01 11        3,853.33 r
000411   Railcar-45137

         000    07/19/06                 12,000,00       P   SLMM       25 00            8,000,00               4,000.00    06/30/20            3,760,00                  13.33           93,33        3,853.33 r
000412   Railcar-45'139

         000    07/19/06                 12,000,00       P   SLMM       25 00            8,000,00               4,000,00    06/30/20            3,760.00                  13.33           93,33        3,853.33 r
000413   Railcar-45141

         000    07/19/06                 12,000,00       P   SL[/M      25 00            8,000,00               4,000.00    06i30/20            3,760.00                  IJ.JJ           93,33        3,853.33 r
000414   Railcar-45142

         000    07/19/06                 12,000.00       P   SLMM       25 00            8,000.00               4,000.00    06/30/20            3,760.00                  IJ,JJ           93,33        3,853.33 r
000416   Railcar-45145

         000    07/19/06                 12,000.00       P   SLMM       25 00            8,000,00               4,000.00    06/30/20            3,760.00                  13,33           93,33        3,853.33 r
000417   Railcar-45146
         000    07/19/06                 12,000.00       P   SLMM       25 00            8,000.00               4,000.00    06/30/20            3,760.00                  13,33           93.33        3,853.33 r
000418   Raitcar-45148

         000    07/'19/06                12,000.00       P   SLI\4M     25 00            8,000.00               4,000.00    06/30/20            3,760.00                  13,33           93.33        3,853,33 r
000419   Railcar-45149
         000    07/19/06                 12,000.00       P   SLi,,IM    25 00            8,000.00               4,000.00    06/30/20            3,760.00                  13.33           93.33        3,853,33 r
000420   Railcar-45150

         000    07/19/06                 12,000.00       P   SLMM       25 00            8,000.00               4,000,00    06/30/20            3,760,00                  13.33           93.33        3,853,33 r
000421   Railcar-45151

         000    07/19/06                 12,000,00       P   SLIiM      25 00            8,000.00               4,000,00    06/30/20            3,760,00                  13.33           93,33        3,853,33 r
000423   Railcar-45153

         000    07/19/06                 12,000.00       P   SLI/M      25 00            8,000.00               4,000,00    06/30/20            3,760,00                  13.33           oa aa        3,853.33 r
000424   Railcar-45154

         000    07/19/06                 12,000,00       P   SLMM       25 00            8,000.00               4,000,00    06/30/20            3,760,00                  13.33           93,33        3,853.33 r
000425   Railcar-45155

         000    07/19/06                 12,000,00       P   SLMM       25 00            8,000.00               4,000,00    06/30/20            3,760.00                  IJ,JJ           93.33        3,853.33 r
000427   Railcar-45157

         000    07/19/06                 12,000,00       P   SLMM       25 00            8,000.00               4,000,00    06/30/20            3,760,00                  13,33           93,33        3,853.33 r
000428   Railcar-45158

         000    07/19/06                 12,000,00       P   SLMM       25 00            8,000.00               4,000.00    06i30/20            3,760.00                  13,33           93.33        3,853.33 r
000429   Railcar-45160

         000    07/19/06                 12,000.00       P   SLMI\4     25 00            8,000.00               4,000.00    06/30/20            3,760.00                  13,33           93.33        3,853.33 r
000430   Railcar-45161

         000    07/19/06                 12,000,00       P   SLMI\4     25 00            8,000,00               4,000.00    06/30/20            3,760.00                  13.33           93,33        3,853,33 r
000431   Railcar-45162

         000    07/19/06                 12,000,00       P   SLMIII     25 00            8,000,00               4,000.00    06/30/20            3,760.00                  13.33           93,33        3,853,33 r
000432   Railcar-45163

         000    07/19/06                 12,000,00       P   SLMIII     25 00            8,000,00               4,000.00    06/30/20            3,760,00                  13.33           93,33        3,853,33 r
000433   Railcar-45164

         000    07/19/06                 12,000,00       P   SLMI\4     25 00            8,000,00               4,000.00    06/30/20            3,760,00                  13.33           YJ.JJ        3,853.33 r
000434   Railcar-45167

         000    07/19/06                 12,000,00       P   SLMM       25 00            8,000,00               4,000,00    0d30/20             3,760.00                  13,33           93.33        3,853.33 r
000435   Railcar-45169

         000    07/19/06                 12,000,00       P   SLMM       25 00            8,000.00               4,000,00    0d30/20             3,760.00                  13,33           93.33        3,853.33 r
000452   0RDX6435
         000    08/29/06                      6,000,00   P   SLMM       25 00            6,000.00                    0.00 06/30/20                    0.00                 0,00            0.00            0.00 r
000559   Bailcar extensions - INTX   45 151

         000    tz31l06                       2,950.80   P   SLMM       10 00                   0,00             2,950,80   06/30/20            2,950.80                   0.00            0,00        2,950,80
000676   |NTX4001/MTNX4001
         000    05/17/07                      9,000,00   P   SLI\.,IM   10 00            8,000.00                1,000.00   06/30/20            1,000,00                   0.00            0,00        '1,000,00 r

000677   |NTX4002/MTNX4002


                      lt                                                                                                                                                                                          P{o    18
^ryd0,2020i|lllS
           Case 20-11139-1-rel                                             Doc 1       Filed 08/26/20 Entered 08/26/20 12:21:49                                                         Desc Main
                                                                                      Document     Page 76 of 370

                                                                                                    lnterstate Commodities, nc.             I



                                                                                                          Depsoialhn Epenso Report

                                                                                                              As   olJrly31,2020

Book= Intemal

FYE      lilmh   = December


                    ln   Srr               Ac$iod            P   Dopr         tur      Salv/1684hil           DoFlchbb           Prit           HtrAcdrn           Dopr€ddon         CmnlYlD      qnfitAcoln      lGy
SrBNo Etr           Dr[o                     Value           T   t   o$r     tft         Soc 179                Ba{tb            Ihru           Deoociatixr         thh Run          Demc&hn      Dmcffin         Co&


Q,LArsdArdNo= 1$7
             000    0117/07                       9,000,00   P   SIMM         10 00          8,000.00                1,000.00    06/30/20              1,000,00               0.00         0,00        1,000.00 r
000678       INTX 4003/ MTNX 4003

             000    05/17107                      9,000.00   P   SLMM         10 00          8,000,00                1,000.00    06/30/20              1,000,00               0,00         0,00        1,000,00 r
000679       |NTX4004/MTNX4007
             000    05/17/07                      9,000.00   P   SLI\4M       10 00          8,000,00                1,000.00    06/30/20              1,000,00               0.00         0,00        1,000,00 r
000681       |NTX4006/lllTNX4012
             000   05/17/07                      9,000.00    P   SLI\4M       10 00          8,000,00                1,000.00    06/30/20              1,000,00               0,00         0,00        1,000,00 r
000682       |NTX4007/|\4TNX4014

             000   05/17/07                      9,000,00    P   SLMM         10 00          8,000.00                1,000,00    06/30/20              1,000,00               0,00         0,00        1,000,00 r
000683       |NTX4008/MTNX4016
             000   05/17/07                      9,000,00    P   SLMI\4       10 00          8,000.00                1,000,00    06/30/20              '1,000,00
                                                                                                                                                                              0,00         0,00        1,000,00 r
000684       INTX 4009/ MTNX 4020

             000   0t17/07                       9,000,00    P   SLMM         10 00          8,000.00                'r,000,00
                                                                                                                                 06/30/20              1,000.00               0,00         0,00        1,000,00 r
000687       |NTX4012/MTNX4046
             000   0917/07                       9,000.00    P   SLMM         10 00          8,000.00                1,000,00    06/30/20              1,000.00               0,00         0,00        1,000,00 r
000688       INTX4013/|\4TNX4050

             000   05/17/07                      9,000.00    P   SLI\4M       10 00          8,000,00                1,000.00    06/30/20              1,000.00               0,00         0,00        1,000,00 r
000689       |NTX4014/|\4TNX4055

             000   0t17/07                       9,000.00    P   SLMM         10 00          8,000,00                1,000.00    06/30/20              1,000.00               0,00         0,00        1,000.00 r
000692       |NTX4017/MTNX4061

             000   05/17107                      9,000.00    P   SLI\4M       10 00          8,000,00                1,000.00    06/30/20              1,000.00               0,00         0,00        1,000.00 r
000693       |NTX4018/MTNX4065
             000   0s17/07                       9,000,00    P   SLMM         10 00          8,000,00                1,000,00    06/30/20              1,000.00               0.00         0,00        1,000.00 r
000694       |NTX4019/MTNX4068
             000   0t17/07                       9,000,00    P   SLMI\4       10 00          8,000.00                1,000,00    06/30/20              1,000.00               0,00         0,00        1,000.00 r
000695       |NTX4020/tltTNX4070
             000   05/17107                      9,000,00    P   SLMI\4       10 00          8,000.00                1,000,00    06/30/20              '1,000.00
                                                                                                                                                                              0.00         0,00        1,000.00 r
000781       |NTX 4021 / |\4TNX 4013

             000   01/0208                       9,000,00    P   SLMI\4       10 00          8,000.00                1,000,00    06/30/20              1,000.00               0.00         0,00        1,000.00 r
000978       Railcar- MTNX 004007 - Life Extension

             000   0t28/08                       8,204.89    P   SLMM         10 00          8,000.00                   204.89 06/30/20                 204.89                0.00         0.00         204,89 r
000979       Railcar MTNX 004003      '   Life Extension

             000   0t28/08                       8,650.01    P   SLMM         10 00          8,000.00                   650.01   0d30/20                650.01                0.00         0,00         650.01 r
000980       Railcar MTNX      004014-Lile Extension
             000   0t28/08                       8,132.84    P   SLIIIM       10 00          8,000.00                   132.84   06/30/20               132.84                0.00         0,00          132,84 t
000982       Bailcar- MTNX 004009 - Life Extension

             000   0t2208                        7,886.22    P   SLI\4M       10 00                0,00             7,886.22     0d30/20              7,886.22                0.00         0,00        7,886,22
001 08   1   Bailcar lile extension - |\4TNX 4013

             000   06/04/08                      8,3m.97     P   SLI\4M       10 00                0.00             8,323,97     06/30/20             8,3z3.97                0.00         0,00        8,320,97
001111       Railcar-BTRX3322

             000   120208                        5,151,30    P   SLI\,IM      10 00          5,131,30                    20,00   06/30/20                 20.00               0.00         0,00           20.00 r
001   130    Lile Extension - INTX 45122

             000   04/28/09                      3,964,75    P   SLMM         10 00                0.00             3,9M.75      06/30/20             3,964.75                0.00         0,00        3,964,75

001205       Raihar-1DCX20685
             000   08/21/09                      8,250,00    P   SLMI\4       10 00          8,000,00                   250,00 06/30/20                 250.00                0.00         0,00         250,00 r
002253       iNTX47110/CC49362
             000   07/25n1                      13,600,00    P   SLMI\4       10 00          8,000,00               5,600.00     06/30/20             5,600.00                0.00         0,00        5,600,00 r
002312       |NTX472107/CSXT253873

             000   09/07/11                     14,000,00    P   SLMI\/I      10 00          8,000,00               6,000,00     06/30/20             6,000.00                0.00         0,00        6,000,00 r
002322       |NTX 4i21 17/CSXT 255982

             000   09/07/11                     14,000,00    P   SLMI\4       10 00          8,000,00               6,000.00     06/30/20             6,000.00                0.00         0,00        6,000,00 r
002s30       |NTX482100/CSXT249548



tu$l6,2lP0sfi1l3At                                                                                                                                                                                                PeFt9
        Case 20-11139-1-rel                                          Doc 1       Filed 08/26/20 Entered 08/26/20 12:21:49                                                       Desc Main
                                                                                Document     Page 77 of 370

                                                                                          lnterctate Commodities, lnc.
                                                                                               Depecftdion Epenso R€poil

                                                                                                   AsolJtly3l,2020

Book= Intemal

FYE   iilmh   = December


                 lnS:rc              Acstisd P DE                      Ed        Sdvn68Ahil        DoF€chbb           Prix       P'rfrAcill           Deptocidion          CmnlYlD         CtmfltAcqm     lGy
SlsNo     Erd   !!b                   Value T tl$                      Uo         S€c179             Basb             Ihru       D€procidon            IhbRun              Dopecidion      Dopecldi,n     c,o&


G[AsellrdNo=180/
          000    09/07/11                 14,000.00      SLMM           10 00       8,000.00            6,000,00      06/30/20         6,000,00                     0,00            0,00        6,000.00 r
002332    |NTX482102/CSXT249764

          000    09/07/11                 14,000.00      SLMM           10 00       8,000,00            6,000,00      0429n0           6,000,00                     0,00            0.00        6,000.00 dr
002405    |NTX427120/CSXT229044

          000    1201/11                  14,000.00      SLMM           10 00       8,000,00            6,000,00      06/30/20         6,000,00                     0.00            0.00        6,000,00 r
002406    |NTX427t21 /CSXT229048

          000    1201/11                  14,000.00      SLMM           10 00       8,000,00            6,000,00      06/30/20         6,000.00                     0.00            0.00        6,000,00 r
002407    INTX427122/CSXT229075

          000    1201/11                  14,000.00      SLMM           10 00       8,000,00            6,000,00      06/30/20         6,000.00                     0.00            0,00        6,000,00 r
002408    |NTX4271A/CSXT229077
          000    1201/11                  14,000.00      SLMM           10 00       8,000,00            6,000,00      06/30/20         6,000.00                     0,00            0,00        6,000,00 r
002409    |NTX427124/CSXT229086

          000    1201/11                  14,000.00      SLMM           10 00       8,000,00            6,000.00      06/30/20         6,000.00                     0,00            0,00        6,000.00 r
002428    |NTX472138/CSXT255780

          000    1201/11                  14,000.00      SLMM           10 00       8,000,00            6,000.00      06/30/20         6,000.00                     0,00            0,00        6,000.00 r
002429    |NTX472139/CSXT255851

          000 1201/ll                     14,000.00      SLMM           10 00       8,000,00            6,000.00      06/30/20         6,000.00                     0,00            0.00        6,000.00 r
002430    |NTX472140/CSXT255881

          000    1201/11                  14,000.00      SLMM           10 00       8,000.00            6,000.00      0d30/20          6,000,00                     0.00            0.00        6,000.00 r
002461    |NTX472144/CSXT255627

          000    01/30/12                 14,000,00      StMM          06 00        8,000,00            6,000.00      06/30/20         2,750.01                     0.00            0.00        2,750.01 r
002462    |NTX472145/CSXT255730

          000    01/30/12                 14,000.00      SLMM          06 00        8,000.00            6,000.00      06i30/20         2,750.01                     0.00            0,00        2,750,0't r
002463    |NTX472147/CSXT255903

          000    01/30/12                 14,000.00      SLMM          06 00        8,000.00            6,000.00      06/30/20         2,750.01                     0.00            0,00        2,750.0't r
002464    INTX472148/CSXT255929

          000    01/30/12                 14,000.00      SLMM          06 00        8,000.00            6,000.00      06/30/20         2,750.01                     0.00            0,00        2,750.01 r
002557    |NTX427138/CSXT227928

          000 08/3v12                     14,000,00      SLMM           15 00       8,000.00            6,000,00      06/30/20         4,755.54                 33,33             233.33        4,988.87 r
002560    |NTX427'141      / NYC 875364
          000    08/31/12                 14,000,00      SLMI\4        06 00        8,000.00            6,000,00      06/30/20         4,694,46                     0,00            0.00        4,694.46 r
002562    |NTX427143/NYC885067
          000    08/31/12                 14,000,00      stMr\4        09 00        8,000,00            6,000,00      06/30/20         6,000,00                     0.00            0.00        6,000.00 r
002579    |NTX472149/CSXT249215

          000 08/3l/t2                    17,164,1 5     SLMI\4         09 00       8,000,00            I,164,15      06/30/20         9,164,15                     0.00            0,00        9,164,15 r
002609    |NTX472179/CSXT255695

          000    08/31/12                 16,310,48      sLMtlt         06 00       8,000,00            8,310,48      06/30/20         8,256.45                     0.00            0,00        8,256,45 r
002610    |NTX472180/CSXT255702

          000    0u31/12                  14,000,00      sLMtlt         06 00       8,000,00            6,000.00      06/30/20         4,694.46                     0.00            0,00        4,694.46 r
002616    |NTX472486/ NYC 887016

          000    08/31/12                 17,220,37      sLt\4t\,l      06 00       8,000.00            9,220.37      0d30/20          9,220.37                     0.00            0,00        9,220.37 r
002624    |NTX482104/CSXT249668

          000    08/31/12                 14,000,00      SLI\4M         08 00       8,000.00            6,000.00      06/30/20         6,000.00                     0,00            0.00        6,000.00 r
002806    |NTX427158/CSXT220620
                                          '15,154.73
          000    08/31/12                                SLI\,lM        08 00       8,000.00            7jMJ3         06/30/20         7jil.73                      0,00            0.00        7,154.73 t
002807    |NTX427159/CSXT220643

          000    08/31/12                 15,368.1   1   sLt\.,tM       08 00       8,000.00            7,368,1   1   06/30/20         7,368,1    1                 0.00            0,00        7,368,11 r
0m060     AIG[77022 I lNlX77022
          000    1   1/15/12              15,972,89      SLMM           18 00       8,000.00            7,972.89      06130/20         4,618,83                 36.91             258.38        4,8n,21 t
0m396     CN377120/|NTX43120
          000    lnlln                    '12,500.00
                                                         StMM           08 00       8,000,00            4,500,00      06/30/20         4,500.00                     0.00            0.00        4,500,00 r
0m399     CN377000/INTX43122


Au$rt6,gPod     1l{3tt                                                                                                                                                                                    P{020
        Case 20-11139-1-rel                                         Doc 1         Filed 08/26/20 Entered 08/26/20 12:21:49                                                             Desc Main
                                                                                 Document     Page 78 of 370

                                                                                                  lnterstate Commodities, lnc.
                                                                                                        Depeciailion Eryenso Roport

                                                                                                            As   olJtly31,2CI0

Book= Intemal

ffE   Monh = December


                  ln   Srt           lrquiod           P   DEr         Ed         Salv/l68Ahw               Dopr$hbb             hkf        hbActln           Dof,ecidkrn          C/mntYlD        OmniAcam       lGy
                                                                                          .l79
S]tNo       E)d Dd.                   Velus            T   ildr       Lb            S€c                          Besb            thru       0€prsden           thb   Run           Depnc*lio       Degec.*mn      Co&


6111s41p4f{o=          tflI/
            000 fl31112                 12,500,00          SLMM        08 00              8,000,00                  4,500.00     06/30/20        4,500.00                   0.00            0,00       4,500,00 r
0m576       INTX482105/CSXT249568
            000   0931/13               14,986.65          SLI\4M      06 00              8,000,00                  6,986,65     04/30/20        6,986.65                   0.00            0,00       6,986,65 dr
0m586       |NTX472504/CSXT25s974
            000   0931/13                14,238,23         sLtltM      19 00              8,000.00                  6,238.23     06/30/20        3,409,20                  27.36         191,52        3,600,72 r
0m587       |NTX47250s/CSXT25973s
            000   0931/13                15,515,86         SLMM        05 00              8,000.00                  7,515.86     06/30/20        6,615,20                   0,00            0.00       6,615.20 r
003652 Repairsto|NTX427l41
            000   06/30/13                1,854.77         SLMM        10 00                     0,00               1,lil,77     06/30/20        1,205.62                  15,45         108.19        1,313.81

0M727       |NTX10045

            000   0&30/13               27,000,00          SLMM        10 00              8,000.00                 19,000,00     06/30/20       13,966.67              158,33           1,108,33      15,075,00 dr
0m728       |NTX10061

            000   0&/30/13              27,000,00          SLMM        10 00              8,000.00                 19,000,00     06/30/20       13,966.67              158.33           1,108.33      15,075,00 dr
0m739       Repairsto INTX 10045

            000   08/31/13                    469.59       SLMfuI      10 00                     0.00                   469.59   06/30/20          297.41                   3.91           27.39        324,80

003740      Repairsto INTX 10061

            000   08i31/13                    469.59       SLMI/       10 00                     0.00                   469,59   06/30/20          297,41                   3,91           27.39        324.80

00s192      INTX4011/|\4TNX4043

            000 0t17/07                         0.00       NoDep       00 00                     0.00                     0,00 06/30/20                0.00                 0,00            0,00           0.00

005202      WFGX6891

            000   09/01/13                      0.00       NoDep       00 00                     0,00                     0.00 06/30/20                0.00                 0.00            0,00           0,00

005284      Repairsto INTX 87325

            000   01/31/14                1,375.69         SLI\4M      t0   00                   0,00               1,375,69     06/30/20          813.96                  11.46           80,24        894,20

005305 Repairsto|NTX6199
            000   01/31/14                1,1 15,40        SLMM        l0   00                   0,00               1,1 15.40    06/30/20          659,95                   9,29           65.06        725.01

005306      Repairsto INTX 6329

            000   01/31/14                1,02'1,68        SLMM        10 00                     0.00               1,021.68     06/30/20          604.50                   8,51           59,59        664.09

005307      Repairsto INTX 6334

            000   01/3'1/14                   851,57       SLMI\4      10 00                     0.00                   851,57   0d30/20           503.86                   7.09           49.67        553,53

005308      Repairsto INTX 87222

            000   01/31/14                1,545,78         sLMfut      10 00                     0.00               1,545.78     06/30/20          914.60                  12.88           90.17       1,0M,77

005309      Repairs to INTX 87257

            000   01/31/14                1,545.78         SLMM        10 00                     0.00               1,545,78     06/30/20          914.60                  12,88           90.17       1,0M.77

005310      Repairs to INTX 87217

            000   01/31/14                1,512.06         SLMM        l0   00                   0,00               1,512.06     06/30/20          894,66                  12,60           88.20        982.86

00531   1   Repahs to INTX 87255

            000   01/31/14                1,512.06         SLI\4M      10 00                     0,00               1,512,06     06/30/20          894.66                  12.60           88,20        982.86

005312      Repairs to INTX 873'l5

            000   01/31/14                1,512,06         SLMM        10 00                     0,00               1,512.06     0d30/20           894.66                  12.60           88,20        982,86

005313      RepairstoINTXST266

            000   0131/14                 1,512,06         SLMM        10 00                     0.00               1,512,06     06/30/20          894.66                  12,60           88,20        982,86

005314      Repairsto|NTXST2ST

            000   01/31/14                1,512,06         sLMtlt      10 00                     0.00               1,512,06     06/30/20          894,66                  12,60           88.20         982,86

005315      Repalrsto|NTXST3S9

            000   01/31/14                1,512.06         SLMM        10 00                     0,00               1,512.06     06/30/20          894,66                  12.60           88,20         982.86

005316      Repairsto|NTXST303

            000   01/31/14                1,512,06         SLMM        10 00                     0,00               1,512.06     0d30/20           894,66                  12.60           88,20         982.86

005317      Repairs to INTX 87397

            000   01/31/14                1,512.06         SLMM        10 00                     0.00               1,512.06     06/30/20          894.66                  12,60           88,20         982,86

005318      Repahs to INTX 87258

            000   01/31/14                1,512.06         SLI\,lM     10 00                     0.00               1,512,06     06/30/20          894,66                  12.60           88.20         982.86

005319      Repairs to INTX 87231



ft{llt6,xporl1tl3Af,                                                                                                                                                                                              Po{f2l
        Case 20-11139-1-rel                                             Doc 1       Filed 08/26/20 Entered 08/26/20 12:21:49                                                         Desc Main
                                                                                   Document     Page 79 of 370

                                                                                                    lntemtate Commodities, lnc.
                                                                                                          Depe<*{ion Epenso Ropod

                                                                                                              AsolJrly3l,2020

Book = lnternal

FYE ltlonh = December


                  lnSrc            Acflid               P   DoF           Ed        SalY/1684hfr             DoFochbb          ftir       ft*xAcon         Dof,ddion             CmntllD        CuontAoqn     Kot
SrNo      tr      Dds                Velue              T   Itoilr        tlo         Soc
                                                                                            .l79
                                                                                                               8a8b            Itru       DepEddion         lhb   Run            Depmcluim      DeprcHion     Codo



GlLArsdAcdllo=      iflI,
          000     01/31/14                1,5'12,06         SLI\,lM        10 00                   0,00           1,512,06     06/30/20          894.66                 12.60           88,20        982,86

005320    Repairs to INTX 87285

          000     01/31/14                1,512,06          SLMM           10 00                   0,00           1,512.06     06/30/20          894.66                 12,60           88.20        982,86

005321    Repairsto|NTXST243

          000     01/31/14                1,512.06          SLIIM          10 00                   0,00           1,512,06     06/30/20          894.66                 12,60           88.20        982,86

005322    Repairsto|NTXST29l
          000     01/3v14                 1,512,06          SLI\,IM        10 00                   0,00           1,512.06     06/30/20          894.66                 12,60           88,20        982.86

005323    Repairsto|NTXST3SS

          000     01/31/14                1,512,06          sLtltM         10 00                   0,00           1,5 12,06    06/30/20          894.66                 '12,60
                                                                                                                                                                                        88,20        982,86

005324    Repairsto|NTXST250

          000     01/31/14                1,512,06          SLI\,lM        10 00                   0,00           1,512,06     06/30/20          894,66                 12.60           88,20        982,86

005325    Repairsto|NTX616l
          000     01/3v14                    534,33         SLI\4M         10 00                   0,00               534,33 06/30/20            316,13                  4.45           Jt.t0        347.29

005326    RepairstoINTX6420
          000     0v31/14                    532.04         SLI\,lM        10 00                   0,00               532,04 0d30/20             314,77                  4.43           31,03        345.80

005327    Repairsto|NTX64lS
          000     01/31/14                   532,04         SLI/M          10 00                   0.00               532,04 06/30/20            314,77                  4,43           31.03        345.80

005328    Repairsto|NTX6433
          000     01/31/14                1,061,85          sLt!fl\4       10 00                   0,00           1,061.85     06/30/20          628,29                  8,85           61.94        690,23

005329    Railcar Life Exlension-INTX 6161

          000     01/31/14                   103,43         sLt\/t\,l      10 00                   0.00               103.43   06/30/20           61.18                  0,86            6,03         67,21

005330    Railcar Life Extension - INTX 6180

          000     01/31/14                   103.43         SLMI\4         10 00                   0.00               103.43   06/30/20           61.18                  0,86            6,03         67,21

005331    Railcar Life Extension - INTX 6182

          000     0'1/3v14                   103.43         SLMI\4         10 00                   0.00               103.43   06/30/20           61.18                  0.86            6.03         67.21

005332    Railcar Life Extension - INTX 6184

          000     01/31/14                   103.43         SLMM           10 00                   0.00               103.43   06/30/20           61,18                  0.86            6.03         67.21

005333    Railcar Life Exlension-INTX 6185

          000     01/31/14                   103,43         SLMI\.,I       10 00                   0,00               103.43   06/30/20           61,18                  0.86            6.03         67.21

005334    Railcar Life Exlension - INTX 6188

          000     01/3't/14                  103,43         SLMM           10 00                   0,00               103,43   06/30/20           6 1.18                 0,86            6.03         67.21

005335    Railcar Life Extension - INTX 6190

          000     01/31/14                   103.43         SLMM           10 00                   0,00               103,43   06/30/20           61.18                  0,86            6,03         67,21

005336    Railcar Life Extension - INTX 6197

          000     01/31/14                   103.43         SLMM           10 00                   0,00               103,43   06/30/20           61.18                  0,86            6,03         67,21

005337    Railcar Life Extension ' INTX 6198

          000     01/31/14                   103.43         SLMM           10 00                   0.00               103.43   06/30/20           61.18                  0.86            6.03         67.21

005338    Railcar Life Exlension - INTX 5199

          000     01/31/14                   103.43         SLMM           10 00                   0.00               103.43   06/30/20           61.18                  0.86            6.03         67.21

005339    Railcar Life Extension - INTX 6203

          000     01/31/14                   103.43         SLMM           10 00                   0.00               103.43   06/30/20           61,18                  0.86            6,03         67.21

005340    Railcar Life Extension - INTX 6205

          000     01/31/14                   103.43         SLMM           10 00                   0.00               103,43   06/30/20           61,18                  0,86            6.03         67.21

005341    Railcar Lffe Extension - INTX 6206

          000     01/3'1/14                  103.43         SLI\,lM        10 00                   0,00               103,43   06/30/20           61.18                  0,86            6.03         67.21

005342    Bailcar Life Extension - INTX 6207

          000     01/31/14                     103,43       sLtvfl\4       10 00                   0,00               103,43   06/30/20           61.18                  0.86            6,03         67.21

005344    Railcar Life Extension - INTX 6213

          000     01/31/14                     103,43       SLMI\,I        10 00                   0,00               103,43   06/30/20           61.18                  0,86            6,03         67,21

005345    Raihar Life Extension - INTX 6214

          000     01/31/14                     103,43       SLMIU          10 00                   0.00               103.43   06/30/20           61.18                  0.86            6.03         67,21

005346    Railcar Lile Extension - INTX 6215



Augun6,fl40rd1lIgAll                                                                                                                                                                                          w,2,
       Case 20-11139-1-rel                                         Doc 1          Filed 08/26/20 Entered 08/26/20 12:21:49                                                        Desc Main
                                                                                 Document     Page 80 of 370

                                                                                                  lnteHate Commodities, nc.            I



                                                                                                        Depeddion Epen$o R€poti
                                                                                                            As ol Jrly 31, 2020


Book = lntemal

FYE illonh = December


                 lnSrr             Acqrid              P   DEr        Ei          Salv/168   Aloil         Doproc.hbb       Rid            ftbAcurn        Dognddion          CurgnlYlD      qmtAccun      lGy
SrsNo Ed         Doh                 Valuo             T   l,ldh      tft            Sec     m                              Ihru           Dopro*mn         thb Run           IhpncHhn       t)epmc!{fn    Codo



GlLArsdAcdtlo = 1ff)7
         000     01/31/14                     103.43   P   SLI\4M     10 00                      0,00              103.43   06/30/20              61,18                0,86           6.03         67.21

005347   Baihar Life Extension INTX 6219

         000     01/31/14                     103.43   P   SLMM       10 00                      0,00              103.43   06/30/20              6 1,18               0.86           6,03         67.21

005348   Railcar Life Extension   INTX 6225

         000     01/31/14                     103.43   P   SLMM       10 00                      0,00              103.43   06/30/20              61,18                0.86           6.03         67,21

005349   Bailcar Life Extension INTX 6227

         000     01/31/14                     103,43   P   SLMM       10 00                      0,00              103,43   06/30/20              61,18                0.86           6.03         67,21

005350   RailcarLifeExtension     INTX 6232

         000     01/31/14                     103.43   P   SLMM       10 00                      0,00              103.43   06/30/20              6 1,18               0,86           6.03         67,21

005351   RailcarLifeExtension     INTX 6236

         000     01/31/14                     103,43   P   SLMM       10 00                      0,00              103.43   06/30/20              61.18                0.86           6.03         67,21

005352   Railcar Lile Extension   INTX 6237

         000     0't/31/14                    103,43   P   SLMM       10 00                      0,00              103.43   06/30/20              61,18                0,86           6.03         67,21

005353   Railcar Life Extension   INTX 6240

         000     01/31/14                     103,43   P   StMt\4     10 00                      0.00              103.43   06/30/20              61,18                0.86           6.03         67,21

005354   Railcar Life Exlension   INTX 6253

         000     01/31/14                     103,43   P   SLMI\4     10 00                      0.00              103.43   06/30/20              61,18                0.86           6.03         67.21

005355   Railcar Lile Exlension   INTX 6254

         000     01/31/14                     103,43   P   SLMI\4     10 00                      0.00              103.43   06/30/20              61,18                0.86           6,03         67,21

005356   Railcar Life Extension   INTX 62s5

         000     01/31/r4                     103,43   P   SLMI\4     10 00                      0.00              103.43   06/30/20              61.18                0.86           6,03         67.21

005357   Raihar Life Extension INTX 6256

         000     01/31/14                     103.43   P   SLMI\4     '10
                                                                            00                   0,00              103.43   06/30/20              61.18                0.86           6,03         67.21

005358   Railcar Life Extension   INTX 6257

         000     01/31/14                     103,43   P   SLMI\4     10 00                      0,00              103.43   06/30/20              61.18                0.86           6,03         67.21

005359   RailcarLifeExtension     INTX 6258

         000     01/31/14                     103.43   P   SLMI\4     10 00                      0,00              103.43   06/30/20              61.18                0.86           6,03         67.21

005360   Railcar Life Extension   INTX 6260

         000     01/31/14                     103.43   P   SLMI\4     10 00                      0,00              103.43   06/30/20              61.18                0,86           6,03         67.21

005361   Railcar Life Extension   INTX 6261

         000     01/31/14                     103.43   P   SLMI\I     10 00                      0,00              103.43   06/30/20              61,18                0,86           6.03         67.21

005362   Bailcar Life Extension INTX62M

         000     01/31/14                    103.43    P   SLMI\4     10 00                      0,00              103.43   06/30/20              61,18                0,86           6.03         67.21

005363   Bailcar Life Extension INTX 6264

         000     01/31/'14                    103.43   P   SLMI\4     10 00                      0,00              103,43   06/30/20              61,18                0,86           6.03         67.21

005364   Railcar Life Extension   INTX 6265

         000     01/31/'14                   '103.43
                                                       P   SLMI\4     10 00                      0,00              103,43   06/30/20              61,18                0.86           6.03         67,21

005365   RailcarLifeExtension     INTX 6267

         000     01/31/14                     103.43   P   SLMI\4     10 00                      0,00              103,43   06/30/20              61,18                0.86           6.03         67.21

005366   RailcarLifeExtension     INTX 6269

         000     01/31/14                     103.43   P   SLMI\,I    10 00                      0,00              103,43   0d30/20               61,18                0,86           6,03         67,21

005367   Railcar Life Extension   tNTX   62i1
         000     01/31/14                     103.43   P   SLMI\I     10 00                      0,00              103,43   0d30/20               61.18                0.86           6,03         67,21

005368   Railcar Lile Extension   INTX 6274

         000 01/3v14                          103.43   P   SLMI\4     10 00                      0,00              103.43   0d30/20               61.18                0.86           6,03         67.21

005369   Railcar Life Extension   tNTX 627s

         000     01/31/14                     103.43   P   SLMIII     10 00                      0.00              103.43   06/30/20              61.18                0.86           6,03         67.21

005370   RailcarLifeExtension     |NTX 6278

         000     01/31/14                     103.43   P   SLMM       10 00                      0.00              103.43   0il30/20              61.18                0.86           6.03         67,21

005371   Railcar Life Exlension   INTX 62&3

         000 01/3tl4                         '103.43   P   SLMM       10 00                      0,00              103.43   06/30/20              61.18                0.86           6.03         67.21

005372   RailcarLileExtension     INTX 6287



Au[lfi6,lpod llXgAll                                                                                                                                                                                       PtSA
       Case 20-11139-1-rel                                          Doc 1          Filed 08/26/20 Entered 08/26/20 12:21:49                                                   Desc Main
                                                                                  Document     Page 81 of 370

                                                                                                lntestate Commodities, lnc.
                                                                                                      Dryeddion Eryense Repoil
                                                                                                          AsolJtly3l,2t20

Book = lntemal

ffi1ffi1=December

                 lnSrc             Lq"M                P   DoF        Ed           Salv/l68Ahrr           Dop$bblo           ftit       nbAmn          DqFcidion          qmftY'lD       CtmrtAccm     lGy
$sNo     il      Dah                 Valuo             T   Mdh        l'Io           Soc 179                Basb             Itru       Demddbn         Ihb Run           Ihmcftdbn      D€gccldon Coe

GlLAsellcclNo=      lff['
         000     01/31/14                     103.43   P   SLMM        10 00                   0.00                '103.43   06/30/20         61,18                0,86           6.03         67.21

005373   RailcarLifeExtension     INTX 6291

         000     01/31/14                     103.43   P   SLMM        10 00                   0.00                103.43    06/30/20         61,18                0,86           6.03         67,21

005374   RailcarLifeExtension     INTX 6293

         000     01/31/14                     103.43   P   SLMM        l0    00                0,00                103,43    06/30/20         61.18                0.86           6,03         67.21

005375   Bailcar Life Extension   INTX   63M
         000     01/31/14                     103.43   P   SLMM        10 00                   0.00                103.43    06/30/20         61,18                0.86           6,03         67.21

005376   BailcarLifeExtension     tNTX 6307

         000     01/31/14                     103.43   P   SLMM        10 00                   0,00                103,43    06/30/20         61.18                0.86           6.03         67.21

005377   Bailcar Life Extension INTX 6309

         000     01/31/14                     103.43   P   SLMI\4      10 00                   0,00                103,43    06/30/20         61.18                0.86           6.03         67.21

005378   Bailcar Life Extension INTX 6316

         000     01/31/14                     103.43   P   SLMI\4      10 00                   0,00                103,43    06/30/20         6 1.18               0,86           6.03         67,21

005379   Bailcar Life Extension INTX 6324

         000     01/31/14                     103.43   P   SLMI\4      10 00                   0.00                103,43    06/30/20         6'1,18               0,86           6.03         67.21

005380   Bailcar Life Extension   INTX 6329

         000     01/31/14                     103.43   P   SLMI\4      10 00                   0,00                103,43    06/30/20         61,18                0,86           6,03         67,21

005381   BailcarLifeExtension     INTX 6331

         000     01/31/14                     103.43   P   SLMI\4      10 00                   0.00                103.43    06/30/20         61.18                0.86           6,03         67.21

005382   Railcar Life Extension   INTX 6334

         000     01/31/14                     103.43   P   SLMM        10 00                   0.00                103.43    06/30/20         61.18                0.86           6,03         67.21

005383   RailcarLifeExtension     INTX 6335

         000     01/31/14                     103.43   P   SLI\4M      10 00                   0.00                103.43    06/30/20         61.18                0.86           6.03         67.21

005384   Bailcar Life Extension   INTX 6336

         000     01/31/14                     103,43   P   SLI\4M      10 00                   0.00                103,43    0d30/20          61.18                0,86           6.03         67.21

005385   Railcar Life Extension   INTX 6340

         000     01/31/14                     103,43   P   SLI\4M      10 00                   0.00                103,43    06/30/20         61,18                0,86           6.03         67.21

005386   Railcar Life Extension   INTX 6344

         000 01/3yl4                          103,43   P   SLIIIM      10 00                   0,00                103,43    06/30/20         61,18                0.86           6.03         67,21

005387   RaiharLifeExtension      INTX 6347

         000 01/3tl4                          103,43   P   SLMM        10 00                   0,00                '103,43
                                                                                                                             06/30/20         61,18                0.86           6,03         67,21

005388   RaiharLifeExtension      INTX 641   1


         000     01/3'1/14                    103,43   P   SLMM        10 00                   0.00                103.43    06/30/20         61.18                0.86           6,03         67.21

005389   Railcar Life Exlension   INTX 6413

         000 0181n4                           103.43   P   SLMI\4      10 00                   0,00                103.43    06/30/20         61.18                0,86           6.03         67.21

005390   Railcar Life Exlension   INTX 6414

         000     01/31/14                     103.43   P   SLMI\4      10 00                   0.00                103.43    06/30/20         61.18                0,86           6.03         67.21

005391   Raihar Life Extension INTX 6416

         000     01/31/14                     103.43   P   SLMI\,I     10 00                   0.00                103,43    06/30/20         61,18                0,86           6.03         Dt,lt
005392   Railcar Lile Extension   |NTX 6418

         000     01/31/14                     103.43   P   SLMi/       10 00                   0.00                103,43    06/30/20         61,18                0.86           6,03         67.21

005393   Railcar Life Extension   INTX 6419

         000     01/31/14                     103.43   P   SLMM        t0    00                0,00                '103.43   06/30/20         61.18                0.86           6,03         67.21

005394   Raihar Lile Extension INTX 6420

         000     01/31/14                     103.43   P   SLI\4M      l0    00                0,00                103.43    06/30/20         61.18                0.86           6,03         67.21

005395   Railcar Life Exlension   INTX 6422

         000     01/31/14                     103.43   P   SLI\4M      10 00                   0,00                103.43    0d30/20          61.18                0,86           6.03         67.21

005396   Railca Life Extension INTX64A

         000     01/31/14                     103,43   P   SLMM        10 00                   0.00                103.43    06/30/20         61,18                0.86           6,03         67.21

005397   Bailcar Life Extension   INTX 6424

         000     01/31/14                     103,43   P   SLMM        10 00                   0.00                103,43    06/30/20         61.18                0.86           6,03         67,21

005398   Railcar Life Extension   INTX 6425



Al!!lqmal1fioril                                                                                                                                                                                       w21
        Case 20-11139-1-rel                                              Doc 1          Filed 08/26/20 Entered 08/26/20 12:21:49                                                           Desc Main
                                                                                       Document     Page 82 of 370

                                                                                                        lnteHate Commodities, lnc,
                                                                                                              Depmdallon Epense Report

                                                                                                                  As ol Jrly 31,    2t20

Eook = lntemal

FYE   ltlonh = Decemhr


                  ln   Srt              Ac$iod              P   DEr         Ed          Salv/l68Ab{r             Doprocidbb         ftior      ftirAcqllr        Dqmdafion             Cmill'lD       CmnlAcq.n      lGy
SlsNo       E[    Ddo                    Vrluo              T   lrdh       tIg            Soc
                                                                                                .l79
                                                                                                                    Balb            Ihru       Demci.uion         Il'p   Run           Dopncldim      l)spFc*uim     Co&


GlLAsrstloctNo= 1$7
            000   01/31/14                       103.43     P   SLMM        10 00                      0,00                103,43   06/30/20           61.18                   0,86            6,03          67,21

005399      Railcar Life Exlension   - INTX 6426

            000   01/31/14                       103.43     P   SLMM        10 00                      0,00                103,43   06/30/20           61.18                   0.86            6.03          67.21

005400      Railcar Life Extension - INTX 6427

            000   01/31/14                       103.43     P   SLI\4M      10 00                      0.00                103,43   06/30/20           61.18                   0.86            6.03          67.21

005401      Railcar Life Exlension   - INTX 6429

            000   01/31/14                       103.43     P   SLI\4M      10 00                      0,00                103,43   06/30/20           61,18                   0,86            6,03          67.21

005402      Railcar Life Extension - INTX 6430

            000   01/3'1/14                      103.43     P   SLMM        10 00                      0.00                103,43   0il30/20           61,18                   0,86            6,03          67,21

005403      Railcar Life Extension - INTX 6432

            000   01/31/14                       103.43     P   SLIt4M      10 00                      0.00                103.43   06/30/20           61,18                   0,86            6,03          67,21

005404      RailcarLifeExtension-     INTX 6493

            000   01/3'1/14                      103.43     P   SLI\4M      '10 00                     0.00                103.43   06/30/20           61,18                   0.86            6.03          67,21

005405 RailcarLifeExtension. INTX          6438

            000   01/31/14                       103.43     P   SLI\4M      10 00                      0.00                103.43   06/30/20           61.18                   0.86            6.03          67,21

005406      RailcarLifeExtension-     INTX 6439

            000 0t31/14                          103.43     P   SLI\4M      10 00                      0.00                103.43   06/30/20            6't.18                 0.86            6.03          67,21

005407      Railcar Life Extension - INTX 6440

            000 0v31/14                          103.43     P   SLI\.,IM    10 00                      0,00                103,43   06/30/20            61.18                  0.86            6.03          67.21

005408      RailcarLifeExtension-     INTX 6441

            000 01/31n4                          103.43     P   SLMM        10 00                      0,00                103,43   06/30/20            61,18                  0,86            6,03          67.21

005409      RailcarLifeExtension-     INTX 6442

            000 0v31/14                          103,43     P   SLMM        10 00                      0,00                103,43   0il30/20            61,18                  0,86            6.03          67,21

005410      Railcar Life Extension - INTX 6444

            000 0181n4                           103,43     P   SLMI\4      10 00                      0,00                103,43   06/30/20            61,'18                 0.86            6.03          67,21

00541   1   Railcar Life Exlension " INTX 6445

            000   01/31/14                       103,43     P   SIMI\4      10 00                      0.00                103,43   06/30/20            61.18                  0,86            6.03          67,21

005412      Railcar Life Extension - INTX 6446

            000   01/31/14                       '104,'15
                                                            P   SLMI\4      10 00                      0,00                104.15   06/30/20            61.65                  0.86            6.07          67.72

005424      Repairs to INTX 6237

            000 02l2au                           779,72     P   SLMI\,I     10 00                      0.00                779.72   06/30/20          454.83                   6.50           45,48         500.31

005425      Repahs to UP 87268

            000 0228/14                          500,62     P   SLMM        10 00                      0.00                500.62   06/30/20           292.02                  4.17           29.20         321.22
005426      Repairs to INTX 87341

            000 0a2au                              137,82   P   SLMM        10 00                      0.00                137.82   06/30/20            80,39                  1,14            8.03          88.42

005427      Bepairs to INTX 87355

            000 02124ft                            137.82   P   SLMM
                                                                            '10
                                                                                  00                   0,00                137.82   06/30/20            80,39                  1,14            8,03          88.42

005428      Bepairs to INTX 81166

            000   0212N14                        137,82     P   SLMM        10 00                      0,00                137,82   06/30/20            80.39                  1.14            8.03          88,42

005429      Bepairs to INTX 87364

            000 02l2aw                             137.82   P   SLIIIM      10 00                      0,00                137,82   06/30/20            80.39                  1.'t4           8,03          88.42

005430      Bepairs to INTX 87614

            000   0428114                          137.82   P   SLI\4M      10 00                      0.00                137.82   06/30/20            80.39                  1.14            8,03          88.42

005431      Repairc to INTX 87239

            000 042u14                             137.82   P   SLMM        10 00                      0.00                137.82   06/30/20            80.39                  1,14            8.03          88.42

005432      Repairs to INTX 87434

            000 0a2M4                              137.82   P   SLMM        10 00                      0.00                137.82   06/30/20            80,39                  1,14            8,03          88.42

005433      Fepairsto INTX 87488

            000   0428114                          152.88   P   SLMI\,I     10 00                      0.00                152,88   06/30/20            89,19                  1.27            8.91          98,10

005434      Repairsto INTX 87383

            000   0a28114                        500,62     P   SLMIU       10 00                      0.00                500,62   06/30/20           292,02                  4.17           29.20         321.22

005435      Repairsto|NTXST330



Ary!il6,flmd1fi3^fl                                                                                                                                                                                                  PaeoS
        Case 20-11139-1-rel                                        Doc 1          Filed 08/26/20 Entered 08/26/20 12:21:49                                                   Desc Main
                                                                                 Document     Page 83 of 370

                                                                                               lnters{ate Commodities, lnc,
                                                                                                     Depuldion   Eryenso R€port

                                                                                                        As   olJrdy3l, 2020

Book = lnternal

ffilffiq=December

                  ln Svc             lr{riod          P   DoF         Est         S.lv/l68lbw           Dopmcltb          Rix        ftirAcallr       D€pr€cidion          qmilY'ID     qmdAcqm       lGy
SlsNo Ed          Drb                 ValF            T   lldr       tft            Soc 179                               Ihru       Dsrscidon         lhbRun              DoF€cHhn DErctUtn          Co&


OLAssetAcdNo=        lflI/
          000     0428114                    500.62       sLtltM      10 00                   0,00               500.62 06/30/20            292.02                  4.17       29,20        321.22

005436    RepairstoINTXST345

          000     02128114                   500.62       SLMM        10 00                   0,00               500,62 06/30/20            292.02                  4.17       29,20        321,22

005437    BepairstoINTXST3S0

          000     02128114                   500.62       SLMM        10 00                   0,00               500,62 06/30/20            292,02                  4,17       29.20        321.22

005438    Bepairs to INTX 87230

          000     02128114                   500.62       SLMM        10 00                   0.00               500,62 00/30/20            292,02                  4,17       29.20        321,22

005439    Bepairs to INTX 8721   1


          000 0228/14                        680,62       SLMI\,l     10 00                   0.00               680,62 06/30/20            397,02                  5.67       39.70        436.72

005440    Repairs to INTX 87382

          000 02l2aw                         500,62       SLMI\,l     10 00                   0.00               500.62   06/30/20          292.02                  4.17       29.20        321.22

005442    Bepairs to INTX 87227

          000 0a2aw                      2,157,57         SLMI\4      10 00                   0.00             2,157,57   06/30/20         1,217.17             17.98         125.86       1,343.03

005443    Repairs to INTX 87275

          000     0428114                    500,62       SLMM        10 00                   0,00               500.62 06/30/20            292,02                  4,17       29.20        321.22

005444    Repairsto INTX 87272
                                                                      '10
          000     0228/14                    500,62       SLI\4M            00                0,00               500,62 06/30/20            292.02                  4.17       29.20        321,22

005445    Repairsto INTX 87375
                                                                      '10
          000 042a14                         500,62       SLI\4M            00                0,00               500,62 0d30/20             292,02                  4.17       29.20        321.22

005446    Repairsto|NTXST3l2
          000     0228/14                    500.62       SLITM       10 00                   0.00               500,62 06/30/20            292.02                  4.17       29,20        321,22

005447    Repairsto INTX 87232

          000 042u14                         500.62       SLMM        10 00                   0,00               500,62   06/30/20          292.02                  4.17       u.tv         321.22

005448    Repairs to INTX 87366

          000     0228/14                    500.62       SLMI\,,I    10 00                   0.00               500.62 0d30/20              292,02                 4.17        29.20       321.22

005449    Repahsto|NTXST24S

          000     0212u14                    500.62       SLMM        10 00                   0.00               500.62 06/30/20             292,02                 4.17        29.20       321.22

005450    Repairsto |NTX87310

          000     02128114                   500,62       SLMM        10 00                   0,00               500,62 0d30/20              292.02                 4.17        29,20       321,22

005451    Repairs to INTX 87325

          000     02128114                   500,62       SLI\4M      10 00                   0.00               500,62 06/30/20             292.02                 4,17        29,20       321,22

005452    Repairs to INTX 87306

          000     0428114                    500,62       SLIlIM      10 00                   0,00               500.62   06/30/20           292,02                 4.17        29.20       321.22

005453    Repaircto INTX 87338

          000     02t28/14                   500,62       SLMM        10 00                   0.00               500.62 06/30/20             292,02                 4.17        29.20       321.22

005454    Repairsto INTX 87328

          000     0428114                    500.62                   '10 00                  0.00               500,62 06/30/20             292.02                 4.17        29,20       321,22
                                                          SLMI\4

005455    Repairsto INTX 87352

          000     0212il14                   500.62       sLMtlt      10 00                   0,00               500,62 06/30/20             292.02                 4.17        29,20       321.22

005456    Repairs to INTX 87386

          000 042u14                         500.62       SLMM        10 00                   0.00               500,62   06/30/20           292,02                 4,17        29.20       321.22

005457    Repairsto|NTXST294

          000 042414                      4,020.24        SLMM        l0    00                0.00             4,020,24   06/30/20         2,257,12             33.50          234.51      2,491.63

005458    Repairs to INTX 87305

          000     0428114                    500,62       SLI\,lM     10 00                   0.00               500.62 06/30/20             292.02                 4.17        29,20       321,22

005459    Repairs to INTX 87296

          000     02128114                   500,62       SLMM        10 00                   0.00               500,62 06/30/20             292.02                 4,17        29,20       321,22

005460    Repairs to INTX 87368

          000     0a28114                    500.62       SLMI\4      10 00                   0,00               500,62 06/30/20             292,02                 4.17        29.20       321.22

005461    Repairsto|NTXST233

          000     02t2u14                    500.62       SLMM        10 00                   0,00               500,62 0d30/20              292,02                 4.17        29,20        321.22

005462    Repairsto|NTXST316



ft{un0,mal1lX8All                                                                                                                                                                                     Pseo26
         Case 20-11139-1-rel                                       Doc 1       Filed 08/26/20 Entered 08/26/20 12:21:49                                                       Desc Main
                                                                              Document     Page 84 of 370

                                                                                             lnterctate Commodities, lnc.
                                                                                                   Depmialion Epenso Repod

                                                                                                       AsolJdySl,2020

Book= lntemal

FYE   ilmh   = December


                ln   Srr            Ac$iod            P   Dqr        fti       SalY/168   Alon        DoFecIDb          hix        ftixAcqn         Dopntddion            CntnlY'ID           CmrtAmn       lGy
S$No Ed DS                           Valtr            T   lldr       tft          Soc 179                Ba$            Ihru       D€grodafun        Ihb Bun              lhmcffion           Dem*hn        Coe


G,LAsetAnlNo= 180/
         000    0428114                      500.62       SLMM        10 00                 0.00               500.62 06/30/20            292.02                   4.17          29.20            321.22

005463   Repairs to INTX 87288

         000 0228/14                     2,8%.77          SLMM        10 00                 0.00           2,894.77     06/30/20         1,628.77              24.12            168.86           1,797,63

005464   RepairstoINTX4T162

         000    02128t14                 1,686.97         SLMM        10 00                 0.00           1,686.97     06/30/20          984,08               14.05             98.40           1,082,48

005465   Repairsto INTX 47172

         000    0428114                      688.16       SLMM        10 00                 0.00               688.16 06/30/20            401,45                   5.73          40.14            441,59

005466   Repairs to INTX 47175

         000    0428114                      741.60       SLMM        10 00                 0,00               741,60 06/30/20            432,60                   6.18          43.26            475,86

005483   RepairstoINTX6lS2
         000    03/31/14                 1,352,10         SLMI\,l     10 00                 0,00           1,352.10     0d30/20           777.46               11.27             78.87            856.33

005484   Repairs to INTX 6197

         000    03i31/14                 1,140,76         SLMI\I      10 00                 0,00           1,140.76     06/30/20          655.96                   9,50          66,54            722.50

005485   Repahs to INTX 6184

         000    00/31/14                     706,59       SLMI\4      10 00                 0,00               706,59   06/30/20          406.30                   5,88          41,21            447.51

005723   Repaimto INTX 4741     1


         000    05/31/14                 2,620,69         SLMI\4      10 00                 0.00           2,620,69     06/30/20         1,461.22              21.84            152,87           1,616.09

005724   Repairs to INTX 47435

         000 05/3v14                     1,912,49         SLMI/       10 00                 0.00           1,912,49     06/30/20         1,067,81              15.94            111,56           1,179,37

005725   Repairsto INTX 47443

         000 0t3vl4                      '1,905,30
                                                          SLMM        10 00                 0.00           1,905,30     06/30/20         1,063,79              15,88            1 1   1,'14      1,174,93

005726   Repairsto INTX 47446

         000    0t31/14                      796,74       SLMM        10 00                 0.00               796.74 06/30/20            444.84                   6,64           46,47           491.31

005727   Repairsto INTX 47436

         000    05/31/14                 1,861.19         SLI\4M      10 00                 0,00           1,861,19     0d30/20          1,039.18              15,51            108.57           1,147.75

005728   Repairsto|NTX4T4lS
         000    05/31/14                     816.23       SLI\4M      10 00                 0,00               816,23   0d30/20           455.71                   6.80           47,61           503.32

005729   Repairsto INTX 47448

         000    05/31/14                 1,422.00         sLtltM      10 00                 0,00           1,422.00     06/30/20          793,95               1   1.85          82.9s            876.90

005730   Repairsto INTX 47423

         000    05/31/14                 2,258.88         SLMM        10 00                 0,00           2,258,88     06/30/20         1,261,22              18.82            131.76           1,392,98

005731   Bepairsto|NTX4T4l4
         000 0t3v14                      1,786.46         SLMM        10 00                 0,00           1,786,46     06/30/20          997.46               14,89            104.21           1,101,67

005732   Repairs lo |NTX47422

         000 0131/14                         140.00       SLMI\,l     10 00                 0.00               140.00   06/30/20            78.17                  L tb               8,16          86,33

005733   Repahs to |NTX47427

         000    0fl31/'14                    624.43       SLMI/l      10 00                 0.00               624,43 06/30/20            348.63                   5.20          36.42            385.05

005734   Repairsto|NTX4T4S4

         000    05/31/14                     980,03       SLMM        10 00                 0.00               980,03 06/30/20            547.17                   8.16          57.16            604.33

005735   Repairsto|NTX4i440
         000    05/31/14                     757,43       SLMM        10 00                 0,00               757.43   06/30/20           422,88                  6.31          44.18            467,06

005736   Repairsto|NTX4T425

         000 0s31/14                     2,296,59         SLMM        10 00                 0,00           2,296,59     06/30/20         1,282.27              19,13             133.96          1,416,23

005737   Repairsto|NTX4T444

         000 0$31/14                     2,293.00         SLI\,lM     10 00                 0,00           2,2E3,00     06/30/20         1,280.26              19,'10            133.75          1,414,01

005738   Repairsto INTX 25974
         000    05/31/14                     788.41       SLI\4M      11 00                 0.00               788.41   06/30/20          400.16                   5.97          41.80            441.96

005739   Repairsto INTX 53108

         000    05/31/14                     380,05       SLIiM       11 00                 0.00               380,05 06/30/20             192,92                  2.88           20.15            213.07

005740   Repairsto UP 88024/ INTX 88024

         000    0t31/14                  1,306.65     P   SLMtlt      31 00                 0.00            1,306.65    06/30/20          235,34                   3.51           24,58            259.92

005741   Repairsto UP 88054/ INTX 88054



Aryll6,1120rltl13Atl                                                                                                                                                                                        wn
          Case 20-11139-1-rel                                                  Doc 1         Filed 08/26/20 Entered 08/26/20 12:21:49                                                                Desc Main
                                                                                            Document     Page 85 of 370

                                                                                                          lnterslate Commodilies, nc,               I



                                                                                                                Depxlalion E4ense Repoil
                                                                                                                    As   olJrly3l,2020

Book = lntemal

FYE     ltlmh   = December


                   ln   Srt            Aofliod                P   DE             El          Sslv/l68Now            Dopr$bbb             Rix            ftbAciln          Dqmcidion              CrronlYlD      CrmrtAcq{n        lGy
SrBNo Etr          Dab                      Vrlue             T   tldr           ttu           Soc 179                   Basb            Ihru           DepF.idirn         Ihb   Run             lhqo'*dbn      Deomddim          Co&


GlLAsdlrdllo= lflI/
            000    05/31/14                       1,627,68        StMM           31 00                   0.00               1,627,68     06/30/20              293.18                  4,38             30.63         323.81

005742      Bepairs to UP 87488/ INTX 87488

            000    0t31/14                          591,0'1       SLMM           31 00                   0.00                   591.01   06/30/20              106.47                   1.59            11.12         1   17.59

005i43      Bepairsto UP 87323/ INTX 87323

            000    05/31/14                         203.15        SLMM           31 00                   0,00                   203.15 06/30/20                 36.57                   0,55             3.82             40.39
005744      Repairst0 UP 88025/ INTX 88025

            000    05/31/14                         895.64        StMM           31 00                   0,00                   895.64 06/30/20                161.30                   2,41            16.85         178.15

005745      Repairsro UP 88113/INTX 88113

            000    05/31/'14                        386.50        SLI\4M         3t    00                0,00                   386.50   06/30/20               69,62                   1,04             7.27             76.89
005746      Repairsto UP 88200/ INTX 88200

            000    0t3l/14                        1,499.90        s|\4M          31 00                   0,00               1,499,90     06/30/20              270.12                  4.03             28.22         298.34
005747      Repairs to UP 87991    / INTX 87991
            000    05/31/14                       1,717.96        SLI\,lM        31 00                   0,00               1,717,96     06/30/20              309,43                  4,61             32,32         341.75
005748      Repai6 to UP 87320/ INTX 87320

            000    05/31/14                       1,155.26        SLI\4M         31 00                   0,00               1,155,26     06/30/20              208,09                  3.1   1          21.74         229.83

005749      Repairs to UP 88 182   / INTX   881   82

            000    0s31/14                          815.23        SLI\4M         31 00                   0,00                   815.23 06/30/20                146.84                   2.19            15.34         162.18

005750      Repaim to UP 87274/ INTX 87274

            000    05/31/14                       1,469.70        SLI\4M         31 00                   0,00               1,469,i0     06/30/20              264.71                   3.95            27.65         292.36

00575   1   Repairs t0 UP 87326 / INTX 87326

            000    05/31/14                       1,695.22        SLI\,,IM       31 00                   0,00               1,695,22     06/30/20              305.35                   4.56            31.90         337.25
005752      Repahs to UP 87339/ INTX 87339

            000    0t31/14                          849,05        SLI\4M         31 00                   0,00                   849.05 06/30/20                152.93                   2.28            15.97         168.90

005827      ATGX75961/INTX75961

            000    11/15/12                            0.00       NoDep          00 00                   0,00                     0.00   06/30/20                  0,00                 0.00             0,00              0,00

005857      Repairs lo INTX 6419

            000    0680n4                         1,415.00        SLI\4M         10 00                   0,00               1,415,00     06/30/20              778.25                  11,79            82.54         860,79
005858      Bepairs lo INTX 47478

            000    06/30/14                         902,83        sLt\4t\.,1     10 00                   0,00                   902,83 06/30/20                496,54                   7.52            52,66         549,20
005859      Repairsto INTX 47451

            000    06/30/14                       1,770,00        SLI\4M          10 00                  0,00               1,770.00     06/30/20              973,50                  14,75           103.25        '1,076,7s

005860      Repairs to INTX 47459

            000    06/30/14                       1,092.95        SLI\4M          10 00                  0,00               1,092.95     06i30/20              601,'15                  9,10            63,75         664,90

005861      Bepairsto INTX 47479

            000    06/30/14                         999,22        SLI\4M          10 00                  0,00                   999,22 06/30/20                549,56                   8,32            58,28         607,84

005862      Repahsto INTX 47458

            000    06/30/14                       1,084,31        SLI\4M          10 00                  0.00               1,084.31     06/30/20              596,37                   9,04            63,25         659,62
005863      Repahsto INTX 4i437

            000    06/30/14                         735,69        SLI\4M         10 00                   0.00                   735,69 06/30/20                404,64                   6.13            42.91          447,55

005864      Repairsto INTX 47461

            000    06/30/14                       r,234.94        SLI\4M          10 00                  0.00               1,2U.94      06/30/20              679,20                  10,29            72,03         751,23
005865      Bepairsto|NTX4TlS9
            000    06/30/14                         796.86        SLI\,lM         10 00                  0,00                   796.86 06/30/20                438.29                   6.64            46.48          484.77

005866      Bepairsto INTX 47463

            000    06/30/14                         844,15        SLI\4M          10 00                  0.00                   844.15 06/30/20                464.31                   7.03            49.24         513.55
005867      Repairsto INTX 474i7

            000    06/30/14                         871,75        sLtltM          t0   00                0,00                   871.75 06/30/20                i70 to                   7.26            50.85         530.34
005874      Repahsto INTX 6430

            000    06/30/'14                        549.68        SLI\,lM         10 00                  0.00                   549.68 06/30/20                302.33                   4.58            32.06         334.39
005875      Repairsto INTX 6439

            000    06/30/14                         761,10        SLMM            10 00                  0.00                   761.10 06/30/20                418.61                   6.34            44.39         463.00
005888      Repairsto|NTX4T422



tugt[lqxPorlll1slll                                                                                                                                                                                                               Psgoa
           Case 20-11139-1-rel                                    Doc 1        Filed 08/26/20 Entered 08/26/20 12:21:49                                                          Desc Main
                                                                              Document     Page 86 of 370


                                                                                           lnteHate Commodities, lnc.
                                                                                                 Depecidion Epense Repon

                                                                                                     As   olJdy 31,202t

Book= lntemal

FYE     ilont   = December


                   lnSrc            Ac{iEd P DEr                    Eril       Solv/l68Alow         DopFchblo             ftkr       RirAcqm          D€prsdafion           Cmfilm                emdAc&m        lGy
SlblS Ed           De               Vdr T il€fri                    tft          Socl7g                   Basb            thru       D€gocidon         lhb   Run            Doencldin              D€p$mon       Cade



OLAsaillrdl{o= ifl}7
            000    06i30/14           1,241.66    P   SLMM          10 00                 0.00               1,241,66     06/30/20          682.93                 10,35               72.43           755,36

005889      Repahsto|NTX4T424

            000    06/30/14            986,99 P       SLMI\4        10 00                 0.00                   986,99 06/30/20            542.85                  8.22               57.57           600.42

005890      Repairsto|NTX4T4T4
            000    06i30/14           1,351.20    P   SLMI\4        10 00                 0.00               1,351.20     06/30/20          i43.16                 11.26               78.82           821.98

005891      Repairsto|NTX4T4TS
                                                                                                                                                                   11 1E
            000    06/30/14           2,130.05    P   SLMI\4        10 00                 0.00               2,130.05     06/30/20         1,171,55                               124.25              1,295.80

005892      Repairsto|NTX4T46T

            000    06/30/14           3,047.78    P   sLt\4t\4      10 00                 0.00               3,047.78     06/30/20         1,676,29                25,39          177.78              1,854.07

005893      Repairsto|NTX4T464

            000    0d30/14             839.91     P   sLt\4t\,r     10 00                 0.00                   839,91   06/30/20          461,96                  7,00               48.99           510,95

005894      Repairsto |NTX47416

            000    06/30/14           2,631.79    P   SLI\4M        10 00                 0,00               2,631,79     06/30/20         1,447,49                21,93          153,52              1,601,01

005895      Repairsto|NTX4T44l
            000    06/30/14           1,950.85    P   sLt\4t\,|     10 00                 0,00               1,950,85     06/30/20         1,072,99                16,26           1   13,80          1,186,79

005896      Repairsto|NTX4Tl90
            000    06/30/14            795.65     P   SLI\,lM       10 00                 0,00                   795.65 06/30/20            437.63                  6.63               46.41           484.04

005897      Repairsto |NTX47419

            000    06i30/14           1,234.65    P   SLMM          10 00                 0,00               1,234,65     06/30/20          679.08                 10,29               72.02           i51.10
005898      Repairsto |NTX47415

            000    06/30/14           1,894.72    P   SLMM          10 00                 0.00               1,894.72     06/30/20         1,042,10                15,79           1   10.52          1,15252

005899      Repairsto|NTX4T456

            000    06/30/14           1,115.72    P   SLMM          10 00                 0.00               1,115.72     06/30/20          613,64                  9,30               65.08           678,72

005900      Repairsto|NTX4T460

            000    06/30/14           1,128,88    P   SLMM          10 00                 0.00               1,128.88     06/30/20          620.89                  9.41               65.85           686.74

005901      Repairsto INTX 47455
            000    06/30/14                                         '10 00
                                      2,111,02    P   SLMM                                0.00               2,111,02     00/30/20         1,161,05                17.59           123.14             1,284,19

005902 Repahsto|NTXST3l2
            000 06n0n4                1,755,69    P   SLMM          l0   00               0.00               1,755,69     06/30/20          965.64                 '14.63          102.41             1,068.05

005903      Repahsto INTX 87366

            000    06/30/14            855,69 P       SLMI\4        10 00                 0,00                   855.69 06/30/20            470,64                  7,13               49,91           520.55

005904      Repairsto INTX 87268

            000    06/30/14           1,055.69    P   sLt\4tlt      10 00                 0,00               1,055.69     06/30/20          580.64                  8,80               61.58           642,22

005905 Repairsto|NTXST3l0
            000    06/30/14            955.69 P       SLI\4M        10 00                 0,00                   955,69 0il30/20            525,64                  7.96               55.74           581,38

005906      Repairsto INTX 87375

            000    06/30/14            855,69 P       SLI\4M        10 00                 0.00                   855,69 06/30/20             470.64                 7.13               49.91           520,55

005907      Repairs to INTX 87232

            000    06/30/'14           855.69     P   SLI\4M        10 00                 0.00                   855.69 06/30/20            470.64                  7.13               49,91           520.55

005908      Repairs lo INTX 87248

            000    06/30/14            O(A   AO
                                                  P   SLMM          10 00                 0.00                   955,69 0d30/20             525.64                  7,96               55,74           581.38

005909      Bepairs to INTX 6263

            000    06/30/14             '196.88
                                                  P   SLMM          10 00                 0.00                   196.88   06/30/20           108.29                 1,64               1   1.48         119.77

005910      Repairs to INTX 87306

            000    06/30/14            655,69     P   SLMM          l0   00               0.00                   655,69 06/30/20            360,64                  5,46               38.24           398,88

00591   1   Repairs lo INTX 87233

            000    06/30/14            655,69     P   SLMM          10 00                 0,00                   655,69 06/30/20            360,64                  5.46               38.24           398.88

005912      Bepairs to INTX 87338

            000    06/30/14            655,69     P   sLMtlt        10 00                 0,00                   655,69 06/30/20            360.64                  s.46               38,24           398.88

005913      Repairs to INTX 87227

            000    06/30/'14            655,69 P      SLMM          10 00                 0.00                   655.69 06/30/20            360.64                  5.46               38,24           398.88

005914      Repairsto INTX 87368



ftOll6,ilmdlfi3^fl                                                                                                                                                                                               PNooA
         Case 20-11139-1-rel                                        Doc 1         Filed 08/26/20 Entered 08/26/20 12:21:49                                                     Desc Main
                                                                                 Document     Page 87 of 370

                                                                                               lnterctate Commodities, lnc.
                                                                                                     Depe<idion Epenso R€poil

                                                                                                         As ol Jrly 31, 2020


Book = lntemal

FYE ltilonh = December


                 ln Stvc             Ac$M             P   Dar         Esi         &lv/l68Ahw            Dogochbb           Prir       HirAmrn          Dopocidftn         C/mfltYlD       qmd&.m          lGy
SlsNo En         Dah                 Valuo            T   lildt       tlo           S€c 179                                lhru       Dspor*ubn         thb Run           Deq€cldtn       Dooclulon       Codo



GIL Asset Accl No =   18!7
          000    06/30/14                    655.69       SLI\,lM     10 00                   0.00              655,69 06/30/20              360,64               5,46           38.24         398.88

005915    RepairstoINTXST3l6
          000    06/30/14                    655.69       SLI\4M      10 00                   0,00              655,69     06/30/20          360.64               5,46           38.24         398.88

005916    RepairstoINTXST32S

          000    06/30/14                    655,69       SLI\4M      10 00                   0,00              655,69     06/30/20          360.64                5,46          38,24         398.88

005917    Repairsto INTX 87305

          000    06/30/14                    655,69       SLI\4M      10 00                   0,00              655,69     06/30/20          360.64                5.46          38.24         398.88

005918    Repairsto INTX 87296

          000    06/30/14                                             '10
                                             655,69       SLI\4M            00                0,00              655,69     06/30/20          360.64                5.46          38,24         398.88

005919    Repairs to INTX 87352

          000                                                         '10
                 06/30/14                    663,02       SLI\,lM           00                0,00              663,02     06/30/20          364,65                5.52          38,6i         403,32

005920    Repairs to INTX 87288

          000    06/30/14                    655,69       SLI\4M      10 00                   0.00              655,69     06t30/20          360,64                5,46          38.24         398,88

005921    Repairs to INTX 87294

          000    06/30/14                    655,69       SLMM        10 00                   0,00              655.69 06/30/20              360,64                5,46          38,24         398.88

005922    Repairs to INTX 87386

          000 06n0n4                         655,69                   '10 00
                                                          SLMM                                0.00              655.69 06/30/20              360,64                5,46          38.24         398,88

005923    Repairs to INTX 87364

          000    06/30/14                    592,83       SLMM        10 00
                                                                                                                (ot   qq
                                                                                              0,00                         06/30/20          326.04                4,94          34,58         360.62

005924    Repairs to INTX 87239

          000    06/30/'t4                   584,72       SLMM        10 00                   0.00              584.72 0&30/20               321.59                4.87          34,10         lAA   AO


005925    Repahs to INTX     8r/66
          000    06/30/14                    669,15       SLMM        10 00                   0.00              669,15     06/30/20          368,06                5.57          39,03         40i.09
005926    Repairs to INTX 87434

          000    06/30/14                    800,78       SLMI\4      10 00                   0.00              800,78     06/30/20          440,44                6,67           46.71        487,'t5

005927    Repairsro INTX 87341

          000    06/30/14                    676.09       SLMI\4      10 00                   0.00              676,09     06/30/20          371.86                5,63          39.43         411,29

005928    Repairsto|NTXST614

          000    06/30/14                1,796,86         SLMM        10 00                   0,00             1,796.86    06/30/20          988.29               14.97         104.81        '1,093.10

005929    Repairsto INTX 87355

          000    06/30/14                    838.73       SLMII4      10 00                   0,00              838.73 06/30/20              461.30                6.99           48,92        510.22

005930    Repairs to INTX 88052

          000    06/30/14                    358.98       SLMM        10 00                   0,00              358.98     06/30/20          197.45                2,99          20.94         218.39

00593'1   Repairsto INTX 87797

          000    06/30/14                    291.59       SLI\4M      10 00                   0.00              291.59 0d30/20               160,39                2.43           17.01         177.40

005932    Repairsto|NTX768893

          000    06/30/14                    501.19       SLI\4M      10 00                   0.00              501,19 06/30/20              275.66                4.17          29.23         304.89

005933    Repairsto|NTX53lTS
          000    06/30/14                    640.47       SLI\4M      10 00                   0.00              640.47 06/30/20              352.27                5,34          37,36         389,63

005934    Repai6to|NTX53057
          000    06/30/14                    651,71       SLMM        10 00                   0.00              651,71     06/30/20          358.44                5,43          38,01         396,45

006'142   Repairsto|NTX4T450

          000    07/31/14               2,240.28          SLMM        10 00                   0.00             2,240.28    06/30/20         1,213.51              18.67          130.68       1,344.19

006143    Repairsto|NTX4T449

          000    07/31/14               3,937,32          SLMM        10 00                   0.00             3,937,32    06/30/20         2,132,71              32.81         229,67        2,362.38

006144    Repairsto|NTX4T429

          000    07/31/14               3,371,23          SLMI\4      10 00                   0,00             3,371,23    06/30/20         1,826,07              28.09          196,65       2,022.72

006'145   Repairsto|NTX4T466

          000    07/31/14                1,613,46         SLMIlI      10 00                   0,00             1,613.46    0d30/20           873,98               13,45           94.12        968,10

006146    Bepairsto|NTX4T4S0

          000 07/3v14                   3,2%.97           SLMI\,I     10 00                   0.00             3,294.97    06/30/20         1,7U.79               27.45          192.20       1,976,99

006147    Repairsto|NTX4T432



Al{ul6,2md1l:tgl0l                                                                                                                                                                                        PrFo
        Case 20-11139-1-rel                                     Doc 1          Filed 08/26/20 Entered 08/26/20 12:21:49                                                       Desc Main
                                                                              Document     Page 88 of 370

                                                                                             lnterctate Commodities, lnc.
                                                                                                  Dryecialion E4ense Reod

                                                                                                      Asoljdy31,2t20

Book = lntemal

FYE   iiotth   = December


                  lnSlt            Acfliod          P   Dopr       EC          Salv/168Aht           Doprschbb          hir        HilAcdm           DErsridion           CrmilYTD          CuontArun       lGy
SrsNo Ed          Ddo               Vdw             T   llotr      Eo            S€c 179               Basb             lhru       Dopmiaho           Ith   Run           DogocHidt         DoprsclUin      Codo



OLArsotAnlNo= lflI,
        000 07/31/14                   2,818.39         SLMM       10 00                   0.00           2,818.39      06/30/20        1,526,63                  23.48         164,40          1,691.03

006'148    Repaircto INTX 47409

           000    07/3'1/14            5,563.82         SLMM       10 00                   0,00           5,563.82      0d30/20         3,013,73              46,36             324,55          3,338.28

006149     Repairsto INTX 47452

           000    07/31/14             2,005.38         SLMM       10 00                   0,00           2,005.38      06/30/20        1,086,26                  16.71         1't6.98         1,2ffi.24

006150     Repairsto|NTX4T412

           000    07/31/14             3,674.60         SLMM       10 00                   0.00           3,674.60      06/30/20        1,990,41              30,62             214.35          2,204,76

006151     Repairs to INTX 47428

           000    07/31/14             2,295.05         StMM       10 00                   0.00           2,295.05      06/30/20        1,243.18                  19.13         133.88          1,3r/,06
006152     Repairsto INTX47410

           000    07/31/14             3,870.64         SLMM       10 00                   0,00           3,870.64      06/30/20        2,096.58                  32.25         225.78          2,322,36

006153     Repairsto|NTX4T4S4

           000    07/31/14             1,990.95         SLMM       10 00                   0,00           1,990.95      06/30/20        1,078.46                  16.59         116,14          1,194.60

006154     Bepairsto |NTX47481

           000    07/31/14             2,278.91         ELMM       10 00                   0,00           2,278.91      06/30/20        1,2U.41                   18.99                         '1,367.34
                                                                                                                                                                                132,93

006155     Repairsto|NTX4T465

           000    07/31/14             3,282.55         SLMM       10 00                   0,00           3,282,55      06/30/20        1,778,07                  27,35         191,48          1,969.55

006156     Repairsto|NTX4T4T0

           000    07/31/14             3,272.X9         SLMM       10 00                   0.00           3,272.39      06/30/20        1,772.56                  27.27         190.89          1,963.45

006157     Repairsto|NTX4Sl26
           000    07/3'l/14            1,625.09         SLMM       10 00                   0.00           1,625,09      0d30/20          880,26                   13.54          94,79            975.05

006236     Bepairsto|NTXST233

           000    08/14/14             2,428.82         SLMM       10 00                   0.00           2,428,82      06/30/20        1,315.60                  20.24         141.68          1,457.28

006237     Repairsto|NTXST305

           000    0&/14/14             2,525.71         SLMI\,l    10 00                   0.00           2,525,71      06/30/20        1,368.09                  21.05         147,33          1,515,42

006238     Repairsto|NTXST3S6

           000    08/14/14             2,324,16         SLMI\4     10 00                   0.00           2,324.16      06/30/20        1,258.94                  19.36         135,57          1,394.51

006239     Repairsto|NTXST96l
           000    0&/15/14             4,237,66         SLMI\,l    10 00                   0.00           4,237.66      06/30/20        2,295.42                  35.31         247,19          2,542,61

006243     Repairsto|NTX4T420

           000    0&/31/14                637,06        SLMM       10 00                   0.00               637,06    06/30/20         339.80                    5,31          37,16            376.96

006244     Repairsro|NTX4T4T3

           000    0&/31/14                887,70        SLMM       10 00                   0,00               887.70 06/30/20             473.44                   7.40          51,78            525.22

006253     Repairsto|NTX5324S

           000    09/30/14                778,09        SLMM       11 00                   0,00               778.09    06/30/20         371,38                    5.89          41.26            412.64

006254     Repairsto|NTX4T469

           000    09/30/14             4,411,18         SLI\4M     10 00                   0,00           4,41 1,18     0d30/20         2,315,89                  36,76         257.32          2,573,21

006255     RepairstoINTX4T4Tl
           000    09/30/14             2,238,93         SLI\4M     10 00                   0.00           2,238.93      06/30/20        1,175.42                  18.66         130,60           1,306,02

006256     BepairstoINTX4Tl5S
           000    09/30/14             2,675.15         SLI\4M     10 00                   0.00           2,675.15      06/30/20        1,404.48                  22.29         156,05           1,560.s3

006257     BepairstoINTX4T4l3
           000    09/30/14             4,275,14         sLlltM     10 00                   0.00           4,275.14      06/30/20        2,2M.43                   35,63         249,38          2,483.81

006292     Repairs to INTX 6185

           000    10/17/14             4,180,36         sLtltM     10 00                   0.00           4,180,36      06/30/20        2,159,87                  34,83         243.85          2,403.72

006293     Bepairs to INTX 23342

           000    10/17l14                              SLMM       '10
                                       3,390,61                          00                0.00           3,390.61      06/30/20        1,751,81                  28,25         197.78           1,949.59

006415     UP 87390/ INTX 87390

           000    10/10/13                   0.00       SLMM       31 00                   0.00                  0.00   06/30/20              0.00                 0.00              0.00            0,00

006416     UP 87392/ INTX 87392

           000    10/10/13                   0.00       SLMM       31 00                   0,00                  0.00   06/30/20              0.00                 0.00              0.00            0,00

006417     UP87397/|NTX8739i


Alleur6,2md1fi3All                                                                                                                                                                                          PEge3l
       Case 20-11139-1-rel                                         Doc 1          Filed 08/26/20 Entered 08/26/20 12:21:49                                                                Desc Main
                                                                                 Document     Page 89 of 370


                                                                                               lntes{ate Commodilies, nc,               I



                                                                                                     Dqredalion Eryense Report
                                                                                                         As ol Jrly 31, 2020


Book = lntemal

ffE Mmh    = December


                 lnS:rc         Acquied           P   Dopr           Ed           SslY/l68AIow           Dopmcblh            hit            ftixAcqrlr          DEecidion             qmilY'ID           CmnlAcriln     Koy

SlsNo Eil        Da[o            Valuo            T   lmr            tft            Soc 179                Bssb              Ihru           DopBtidion           Ihb Run              Dopocidfn          D€Feclilion    Co&


G/LAssdA&{No=          lM
         000     t0/10/13                  0.00   P   sLt\4t\.,1     31 00                    0.00                    0,00 06/30/20                      0.00               0,00              0.00               0.00

006418 UP8i399/|NTX8i399
       000 10/10/13                        0.00   P   SLMM           31 00                    0.00                    0,00 06/30/20                      0.00               0,00              0.00               0.00

006421   CFWR 76037

         000     11/19/14          19,000.00      P   SLI\4M          15 00             8,000,00              11,000.00      0s/31/20             4,350.00                  0,00            183.33            4,533.33 dr
006426   CFWR76077

         000     1   1/19/14       19,000.00      P   SLMM            15 00             8,000,00              1   1,000.00   04/30/20             4,350,00                  0,00            244,44            4,594.44 dr
006432   CFWR76196

         000     11/19/14          19,000.00      P   SLMI\,I         15 00             8,000,00              1   1,000.00   06/30/20             4,350.00                 61,1   1         427.77            4,777,77 r
006449   CFWR76342

         000     11/19/14          19,000.00      P   SLI\4M          15 00             8,000,00              1   1,000,00   uBln0                4,350,00                  0.00             61,'1   1        4,411,11 dr
006452   CFWR76497

         000     1l/19/14          19,000.00      P   SLMM            15 00             8,000,00              1   1,000,00   02129n0              4,3s0,00                  0.00            122.22            4,472,22 dr
006464   MHLX3241/|NTX3241
         000                                                          '15
                 10/24114          20,000.00 P        SLI\4M                00          8,000,00              12,000.00      06/30/20             4,800,00                 66.66            466.66            5,266,66 r
006465   MHLX3242/|NTX3242
         000     10/24114          20,000.00 P        SLI\4M          15 00             8,000.00              12,000,00      06/30/20             4,800.00                 66.66            466,66            5,266.66 r
006466   MHU 3243 / INTX 3243
         000     10124114          20,000.00      P   s|\4M           15 00             8,000,00              12,000,00      06/30/20             4,800.00                 66.66            466,66            5,266,66 r
006467   l/HlX3240/|NTX3240
         000     10/24114          20,000.00      P   SLI\4M          15 00             8,000.00              12,000,00      06/30/20             4,800.00                 66,66            466,66            5,266.66 r
006468   |TLX41113/|NTX4ll13
       000 10/29/14                21,700.00      P   SLI\4M          15 00             8,000,00              13,700.00      06/30/20             5,385.54                 76,'11           532.77            5,918.31 r
006473 PlDxznnlNIX22I23
       000 10/29/14                21,700,00      P   SLI\4M          15 00             8,000.00              13,700.00      06/30/20             5,385.54                 76.1   1         532.77            5,918.31 r
006474 PLCX27610/jNTX27610
       000 10/29/14                21,700.00      P   sLtltM          15 00             8,000.00              13,700.00      06/30/20             5,385.54                 76,1'1           532.77            5,918,31 r
006477 P\CX27977 I INIX27977
         000     10/29/14          21,700,00      P   SLMM            15 00             8,000.00              13,700.00      06i30/20             5,385,54                 i6.t   1         532,77            5,918,31 r
00653i   Repairsto|NTX4T4T2

         000     1231/14                 743.33   P   SLMM            10 00                   0.00                 743,33    06/30/20               371,65                  6.19             43.35             415.00
006538   Repairsto INTX 47453

         000     1231/14             1,059,93     P   SLMM
                                                                      '10
                                                                            00                0,00                1,059,93   06/30/20               tto 0(                  8.83             61.82             s91.77

006539   Repairsto INTX 47434

         000     1231/14                 505,45                       '10
                                                  P   SLMM                  00                0.00                 505.45 06/30/20                  252.75                  4.21             29.48             282.23
006540   Repairsto|NTX4Tl65
         000     123'1/14                791,67   P   SLMM            10 00                   0.00                 791.67    06/30/20               lOE    EE
                                                                                                                                                                            6,60             46,18             442.03

006541   Repairsto INTX 47433

         000     123'1/14            1,099,34     P   SLMM            10 00                   0.00                1,099,34   06/30/20               549.65                  9,16             64,12             613.77

006542   Repairsto|NTX4T44T

         000     1231/14             1,063.94     P   SLMM            10 00                   0,00                1,063.94   06/30/20               531.95                  8,87             62,06             594.01

006543   RepairstoATGXT6T46

         000     1231/14                 436.27   P   SLMI\4          10 00                   0,00                 436.27    06/30/20               218.15                  3,64             25.45             243,60
006544   RepairstoATGX4Tl16
         000 fl31114                     483,58   P   SLMI\4          10 00                   0,00                 483,58    06/30/20               241,80                  4.03             28.21             270.01

006545   Repairsto|NTX4T306

         000 lz31l14                     461.80   P   SLMI\4          10 00                   0,00                 461,80    06/30/20               230.90                  3.84             26,93             257.83
006546   Repairsto INTX 47438

         000     12131114            1,080.61     P   SLMM            10 00                   0,00                1,080.61   06/30/20               540.30                  9.00             63,03             603,33
006547   Repairsto INTX 47442

         000     1231/14                 650.08   P   SLI\4M          10 00                   0.00                 650.08 06/30/20                  325.05                  5.42             37,92             362.97
006548   Repairsto INTX 47445



Au$HqAild1lXSAil                                                                                                                                                                                                        PrFU
        Case 20-11139-1-rel                                    Doc 1          Filed 08/26/20 Entered 08/26/20 12:21:49                                                    Desc Main
                                                                             Document     Page 90 of 370

                                                                                           lntemtate Commodities, lnc.
                                                                                                 Depsdrilion Ep€nse Repoil

                                                                                                     AsolJdy31,2020

Book = lnternal

FYE   iionh   = December


                  ln   Src       Acfliod          P   DEr        Ed           &lv/168Ahr             IhFochilo          Prior      hixAccm            D€precidon       qmdYlD         CuEntAcqllr      lGy
SvsNo     H       Dsh             Vd$             T   irdh       tto            Soc 179                                 Ihru       Deptoddbn           nbBun           OomUion        OepnclUim Co&


GlLAsrctArdNo= 1fll7
          000     1231/14             1,701.50        SLI\4M      10 00                   0,00            1,701,50      06/30/20          850.75               14,18         99.25           950,00

006584    Repahs to INTX 3240

          000     01/31/15              523,89        SLI\4M      10 00                   0,00              523.89      06/30/20          257.58                4.37         30.56           288,14

006621    BFRX292

          000     0220/15           25,500.00         SLI\4M      10 00             8,000.00             17,500.00      06/30/20        9,191.67             145.83        1,020,83       10,212,50 r
006622    BFRX293

          000     0220/15           25,500.00                     10 00                                  '17,500.00                                          '145.83
                                                      SLI\4M                        8,000.00                            06/30/20        9,191.67                           1,020,83       10,212,50 r
006623    BFRX294

          000     0220/15           25,500.00         SLI\4M      10 00             8,000.00             17,500,00      06/30/20        9,191,67             145.83        1,020,83       10,212.50 r

006624    BFRX 295

          000     0220/15           25,500.00         SLI\4M      10 00             8,000,00             17,500.00      06/30/20        9,191,67             145,83        1,020.83       10,2'12.50 r
005625    BFRX 295

          000     0220/15           25,500.00         SLI\4M      10 00             8,000,00             17,500.00      06/30/20        9,191,67             145,83        1,020,83       10,212.50 r

006626    BFRX 297

          000     0220/15           25,500.00         SLI\,lM     '10
                                                                        00          8,000,00             17,500.00      06/30/20        9,191,67             145,83        1,020.83       '10,212.50 r

006627    BFRX 298

          000     0220/15           25,500.00         sLtltM      10 00             8,000,00             17,500,00      06/30/20        9,191,67             145,83        1,020.83       10,212,50 r

006628    BFRX 299

          000     0220/15           25,500.00         SLMM        10 00             8,000,00             17,500.00      06/30/20        9,191.67             145.83        1,020.83        10,212,50 r

006629    BFRX 269

          000     0220/15           25,500.00         SLMM        10 00             8,000,00             17,500,00      06/30/20        9,191.67             145.83        1,020,83        10,212.50   t
006630    BFRX 278

          000     0220/15           25,500.00         SLMM        10 00             8,000,00             17,500,00      06/30/20        9,191.67             145.83        1,020,83        10,212,50 r

006749    Bepairsto|NTX385986

          000     0228/15            2,478.43         SLMI\4      10 00                   0,00            2,478,43      06/30/20         I,197.90              20.65         144.57         1,342.47

006752    Repairsto INTX 22123

          000     0228/15               431.43        SLMI\,l     10 00                   0,00              431.43 06/30/20               208,51                3,59          25.16          233.67

006756 CRDX6182/|NTX6182
          000     12t31/13                 0.00       NoDep       00 00                   0,00                   0.00   06/30/20               0,00             0,00           0.00             0.00

006757    CRDX6184/|NTX6184
          000     1231/13                  0,00       NoDep       00 00                   0,00                   0.00   06/30/20               0,00             0,00           0.00             0.00

006758    CRDX 6185/ |NTX 6185

          000     1231/13                  0,00       NoDep       00 00                   0.00                   0,00   06/30/20               0.00             0.00           0,00             0.00

0067s9    0RDX 6188/ INTX 6188

          000     12l31/13                 0,00       NoDep       00 00                   0.00                   0,00   06/30/20               0.00             0.00           0,00             0,00

006760    oRDX 6190/ INTX 6190

          000     1231/13                  0,00       NoDep       00 00                   0.00                   0,00   06/30/20               0.00             0.00           0,00             0,00

006761    CRDX 6197/ INTX 6197

          000     1231/13                  0,00       NoDep       00 00                   0.00                   0,00   06/30/20               0.00             0.00           0.00             0,00

006762    CRDX6198/|NTX6198
          000     123v13                   0,00       NoDep       00 00                   0.00                   0.00   06/30/20               0,00             0,00           0.00             0,00

006763    CRDX 6199/ |NTX 6199

          000     1231/13                  0,00       NoDep       00 00                   0.00                   0.00   06/30/20               0,00             0,00           0,00             0,00

006765    CRDX6203/|NTX6203
          000     123v13                   0,00       NoDep       00 00                   0,00                   0.00   06/30/20               0,00             0,00           0,00             0.00

006766    CRDX6205/|NTX6205
          000     1231/13                  0,00       NoDep       00 00                   0.00                   0.00   0d30/20                0.00             0.00           0,00             0.00

006767 CRDX6206/|NTX6206
          000     1231/13                  0.00       NoDep       00 00                   0,00                   0,00   0d30/20                0.00             0.00           0.00             0.00

006768 CRDX6207/|NTX6207
          000     1231/13                  0.00       NoDep       00 00                   0.00                   0,00   06/30/20               0,00             0.00           0.00             0.00

006769 CRDX6213/|NTX6213


tuSEto,mmd1ffiAil                                                                                                                                                                                      PageS
        Case 20-11139-1-rel                                      Doc 1       Filed 08/26/20 Entered 08/26/20 12:21:49                                                   Desc Main
                                                                            Document     Page 91 of 370

                                                                                           lnterc{ate Commodities, lnc,
                                                                                                 Depre<ialion Epense Repon

                                                                                                     As ol Jdy 31,2020


Book= lntemal

FYE   ilonh   = December


                 lnSrc                Lfliod          P   D€pt     Ei        Salv/1684hil            Dopocbbb        ftix       ftirAcdn          Dopddon          Cur€ntY-ID      CmntAcqm     lGy
qsNo Ef Ds                             Vrltc          T   lldh     t-h         Ss   179                              lhru       Deqsddon          thh Run          Doflo.ffin      DemcHion     Co&


GlLAsetAcol No =    lflI/
          000    1231/13                       0.00   P   NoDep    00 00                  0.00                  0.00 06/30/20          0.00                 0,00            0,00         0,00

006770 oRDX6214/|NTX6214
          000    1231/13                       0.00   P   NoDep    00 00                  0,00                  0.00 06/30/20              0.00             0,00            0,00         0,00

006771 CRDX6215/INTX6215
          000    1231/13                       0.00   P   NoDep    00 00                  0,00                  0.00 06/30/20              0.00             0.00            0,00         0.00

006772    CRDX 6219/ INTX 6219

          000    1231/13                       0.00   P   NoDep    00 00                  0,00                  0.00 06/30/20              0.00             0.00            0.00         0.00

006773 CRDX6225/|NTX6225
          000    1231/13                       0.00   P   NoDep    00 00                  0,00                  0.00 06/30/20              0.00             0.00            0.00         0.00

006774    CBDX 6227l |NTX 6227

          000    1231/13                       0.00   P   NoDep    00 00                  0,00                  0.00 06/30/20              0.00             0.00            0.00         0.00

006775    CBDX   6A2l    INTX   6A2
          000    1231/13                       0.00   P   NoDep    00 00                  0,00                  0.00 06/30/20              0.00             0,00            0.00         0.00

006776 CBDX6236/INTX6A6
          000    1231/13                       0.00   P   NoDep    00 00                  0,00                  0.00 06/30/20              0,00             0,00            0,00         0.00

006777 CBDX6237/INTX6m7
          000    1231/13                       0.00   P   NoDep    00 00                  0,00                  0.00 06/30/20              0,00             0,00            0,00         0,00

006778 CRDX6240/|NTX6240
          000    1231/13                       0.00   P   NoDep    00 00                  0.00                  0,00 06/30/20              0,00             0,00            0,00         0,00

006779    CRDX 6253/ INTX 6253

          000    1231/13                       0.00   P   NoDep    00 00                  0.00                  0,00 06/30/20              0,00             0.00            0.00         0,00

006780 CRDX6254/INTX6254
          000    1231/'t3                      0.00   P   NoDep    00 00                  0.00                  0,00 06/30/20              0.00             0.00            0,00         0.00

006781 CBDX6255/INTX6255
          000    123'1/13                      0.00   P   NoDep    00 00                  0.00                  0,00 06/30/20              0.00             0.00            0.00         0.00

006782 CRDX6256/INTX6256
          000    1231/13                       0.00   P   NoDep    00 00                  0,00                  0.00 06/30/20              0.00             0.00            0.00         0.00

006783    CRDX 6257/ INTX 6257

          000    1231/13                       0.00   P   NoDep    00 00                  0.00                  0.00 06/30/20              0.00             0.00            0.00         0.00

006784    CBDX 6258/ INTX 6258

          000    1231/13                       0.00   P   NoDep    00 00                  0.00                  0.00 06/30/20              0,00             0,00            0,00         0.00

006785 CRDX6260/|NTX6260
          000 't231lt3                         0,00   P   NoDep    00 00                  0.00                  0.00 06/30/20              0,00             0,00            0,00         0,00

006786 CRDX6261/INTX6261
          000    1231/13                       0,00   P   NoDep    00 00                  0,00                  0.00 06/30/20              0,00             0,00            0,00         0,00

006787    CBDX 6263/ INTX 6263

          000    123v13                        0,00   P   NoDep    00 00                  0,00                  0.00 06/30/20              0,00             0.00            0.00         0,00

006788    CBDX 6265/ INTX 6265

          000    1231/13                       0,00   P   NoDep    00 00                  0,00                  0,00 06/30/20              0.00             0.00            0.00         0.00

006789 CRDX6267/INTX6267
          000 123t13                           0,00   P   NoDep    00 00                  0,00                  0,00 06/30/20              0.00             0.00            0.00         0.00

006790 0RDX6269/|NTX6269
          000    1231/13                       0,00   P   SLI\4M    10 00                 0,00                  0,00 06/30/20              0.00             0.00            0,00         0.00

006791    CBDX 6271 / INTX 6271

          000    1231/13                       0,00   P   NoDep    00 00                  0.00                  0,00 06/30/20              0.00             0,00            0,00         0.00

006792 0RDX6274/|NTX6274
          000    1231/13                       0,00   P   NoDep     00 00                 0.00                  0.00 06/30/20              0,00             0,00            0,00         0,00

006793 CRDX6275/INTX6275
          000    1231/13                       0,00   P   SLMM      10 00                 0.00                  0.00 06/30/20              0,00             0,00            0,00         0,00

006794 CRDX6278/INTX6278
          000    1231/13                       0.00 P NoDep         00 00                 0.00                  0.00 06/30/20              0,00             0,00            0.00         0,00

006795 CRDX6283/|NTX6283


tu$r6,mAldlllSAt                                                                                                                                                                                P{031
          Case 20-11139-1-rel                                 Doc 1       Filed 08/26/20 Entered 08/26/20 12:21:49                                                         Desc Main
                                                                         Document     Page 92 of 370

                                                                                          lnteHate Commodities, nc.         I



                                                                                                Deprc<idion Epense Repod

                                                                                                    As olJrly31, 2020


Book= lntemal

FYE     ilonh   = December


                   lnSw            AcAid          P   DEr        Ed       SalY/168Ahw               Dopelb       ftb            ftirAcmr          Dop$idion           CuettilYlD      OmrtActun    lGy
$sNo        H      Dab             Value          T   tl€fi     tfr         Soc
                                                                                  .l79
                                                                                                      Be$        firu           Demdahn            thh   Run          Ihntocldhn      Dmcidbn      Co&


GiL&sstAcdNo = 1$7
            000    1231/13                 0.00   P   NoDep      00 00                   0,00               0.00 0d30/20                   0.00                0,00            0,00         0,00
006796 CRDX6287/|NTX6287
            000    1231/13                 0.00   P   NoDep      00 00                   0.00               0.00 06/30/20                  0.00                0,00            0,00         0,00
006797 CRDX6291/|NTX6291
            000    1231/13                 0.00   P   NoDep      00 00                   0.00               0.00 06/30/20                  0.00                0,00            0,00         0,00
006798      CRDX6293/|NTX6293
            000    12131/13                0.00   P   NoDep      00 00                   0,00               0.00 0d30/20                   0.00                0,00            0,00         0,00
006799      CBDX 6303/ INTX 6303

            000    1231/13                 0.00   P   NoDep      00 00                   0.00               0.00 0d30/20                   0.00                0,00            0.00         0,00
006800      CRDX6307/|NTX6307
            000    1231/13                 0,00   P   NoDep      00 00                   0,00               0.00 0d30/20                   0,00                0,00            0,00         0,00
006801      0RDX6309/|NTX6309
            000    1231/13                 0,00   P   NoDep      00 00                   0.00               0.00 06/30/20                  0,00                0,00            0.00         0.00

006802 0RDX6316/|NTX6316
            000 lz31l13                    0,00   P   NoDep      00 00                   0.00               0,00 0d30/20                   0.00                0.00            0.00         0,00

006803 0RDX6324/|NTX6324
            000 lz31l13                    0.00   P   NoDep      00 00                   0.00               0,00 0d30/20                   0,00                0,00            0.00         0.00

006804      CRDX 6329/ INTX 6329

            000    1231/13                 0,00   P   NoDep      00 00                   0.00               0,00 0d30/20                   0,00                0.00            0.00         0.00

00680s      oRDX6331 /INTX 6331

            000    1231/13                 0,00   P   NoDep      00 00                   0.00               0,00 06/30/20                  0,00                0.00            0.00         0.00

006806      CBDX 6334/ INTX 6334

            000    1231/13                 0,00   P   NoDep      00 00                   0.00               0,00 06/30/20                  0,00                0.00            0,00         0.00

006807      oRDX6335/|NTX6335
            000    1231/13                 0,00   P   NoDep      00 00                   0.00               0,00 06i30/20                  0.00                0.00            0,00         0.00

006808      CRDX 6336/ INTX 6336

            000    1231/13                 0,00   P   NoDep      00 00                   0,00               0,00 0d30/20                   0.00                0.00            0,00         0,00

006809      0RDX6340/INTX6340
            000    1231/'13                0,00   P   NoDep      00 00                   0,00               0,00 06/30/20                  0.00                0.00            0,00         0,00

006810 CRDX6344/|NTX6344
            000    1231/13                 0,00   P   NoDep      00 00                   0,00               0,00 06/30/20                  0.00                0,00            0,00         0,00

00681   1   CRDX 6347/ INTX 6347

            000 l231l13                    0.00   P   NoDep      00 00                   0.00               0,00 06/30/20                  0.00                0,00            0.00         0,00
006812 CRDX6411/INTX6411
            000    1231/13                 0.00   P   NoDep      00 00                   0.00               0.00 06/30/20                  0.00                0,00            0.00         0,00
006813 CRDX6413/|NTX6413
            000    1231/13                 0.00   P   NoDep      00 00                   0.00               0,00 06/30/20                  0,00                0,00            0.00         0,00
006814 CRDX6414/|NTX6414
            000    1231/13                 0.00   P   NoDep      00 00                   0.00               0.00 06/30/20                  0,00                0.00            0.00         0,00
006815 CRDX6416/|NTX6416
            000    1231/13                 0.00   P   NoDep      00 00                   0.00               0.00 0d30/20                   0,00                0.00            0.00         0.00

006816 CRDX6418/|NTX6418
            000    1231/13                 0.00   P   NoDep      00 00                   0.00               0,00 06/30/20                  0,00                0.00            0.00         0,00

006817      CRDX6419/|NTX6419
            000    123'1/13                0.00   P   NoDep      00 00                   0,00               0.00 06/30/20                  0,00                0.00            0.00         0.00

006818      CRDX6420/|NTX6420
                   '123'1l13
            000                            0.00   P   NoDep      00 00                   0,00               0.00 06/30/20                  0.00                0,00            0,00         0.00

006819      CRDX6422/|NTX6422
            000    1231/13                 0.00   P   NoDep      00 00                   0,00               0,00 06/30/20                  0.00                0,00            0,00         0.00

006820      CRDX 6423/ INTX 6423

            000    1231/13.                0.00   P   NoDep      00 00                   0.00               0,00 06/30/20                  0.00                0,00            0,00         0,00

006821      CRDX 6424/ INTX 6424



AuqH6,20mdlffirt                                                                                                                                                                                   PtFs
        Case 20-11139-1-rel                                  Doc 1       Filed 08/26/20 Entered 08/26/20 12:21:49                                                               Desc Main
                                                                        Document     Page 93 of 370

                                                                                         lnterctate Commodities, nc.         I



                                                                                            Depecialion Epenso Roport

                                                                                                As ol Jdy 31,2020


Book = lnternal

FYE   Mmh = December


                  lnS:rc          AcStM          P   DEr       Ed        SalY/168Ah'r,          D€podalb          Etur           ftidAcmr              Doprscidon           CmntYlD        CtmiilAccm     lGy
                                                                                .l79
SltNo Ed          Ddo             Value          T   il€0r     tft          Soc                   Balb            Ihru           Dopnrir[iott           Thb Bun             Doprocbbn      D€pl€t*dlon    Codo



OLAsellcdtlo= 1fl17
       000 1231/13                        0.00       NoDep     00 00                0.00                   0.00   06/30/20                      0,00              0,00              0,00           0.00

006822 CRDX 6425/ INTX 6425
       000 1231/13                        0.00       NoDep     00 00                0,00                   0,00 06/30/20                        0,00              0,00              0,00           0.00

006823 CRDX6426/|NTX6426
       000 1231/13                        0.00       NoDep     00 00                0.00                   0,00 06i30/20                        0,00              0.00              0,00           0,00

006824 CRDX 6427/ INTX 6427
       000 1231/13                        0.00       NoDep     00 00                0.00                   0,00 06/30/20                        0,00              0.00              0,00           0.00

006825 CRDX6429/|NTX6429
       000 1m1n3                          0.00       NoDep     00 00                0.00                   0,00 06/30/20                        0.00              0.00              0.00           0,00

006826 CRDX6430/|NTX6430
       000 1231/13                        0.00       NoDep     00 00                0.00                   0,00 06/30/20                        0.00              0,00              0.00           0,00

006827 CRDX 6432/ INTX 6432
       000 1231/13                        0.00       NoDep     00 00                0.00                   0.00 06/30/20                        0.00              0.00              0,00           0,00

006828    CRDX6433/|NTX6433
          000     123'tl13                0.00       NoDep     00 00                0,00                   0.00 00/30/20                        0.00               0,00             0,00           0,00

006829    0RDX6438/|NTX6438
          000     1231/13                 0.00       NoDep      00 00               0,00                   0.00   06/30/20                      0,00               0.00             0,00           0,00

006830    0RDX6439/|NTX6439
          000     1231/13                 0.00       NoDep      00 00               0,00                   0.00   06/30/20                      0,00               0.00             0.00           0.00

00683'1 CRDX6440/|NTX6440
          000     l231113                 0.00       NoDep      00 00               0,00                   0.00   06/30/20                      0,00               0.00             0.00           0.00

006832    CRDX6441/|NTX644l
          000     1231/13                 0.00       NoDep      00 00               0,00                   0,00 0d30/20                         0.00               0,00             0.00           0,00

006833    CRDX6442/|NTX6442
          000     1231/13                 0.00       NoDep      00 00               0.00                   0,00 06/30/20                        0.00               0,00             0,00           0,00

006834    CRDX6444/|NTX6444
          000 1m1n3                       0,00       NoDep      00 00               0.00                   0,00 06/30/20                        0.00                0.00            0,00           0,00

006835    CRDX 6445/ INTX 6445

          000     1231/13                 0,00       NoDep      00 00               0.00                   0,00 06/30/20                        0,00                0,00            0,00           0.00

006836    CRDX6446/|NTX6446
          000     1231/13                 0,00       NoDep      00 00                0.00                  0,00 06/30/20                        0,00                0.00            0.00           0.00

006876    JBBX 200

          000     11/19/14          25,500,00        SLMM       15 00           8,000.00            17,500,00     06/30/20              6,552,80                  97.22           680,55        7,233,35 I
006877    JBRX 201

          000     11/19/14          25,500,00        SLMM       15 00           8,000.00            17,500,00     06/30/20               6,552.80                 97,22           680,55        7,233.35 r
006878    JBRX 202

          000     11/19/14          25,500.00        SLMI\4     15 00           8,000.00            17,500,00     06/30/20               6,552.80                 97,22           680,55        7,233,35 r
006879    BFHX 284

          000     11/19/14          25,500.00        SLMI\4     15 00           8,000.00            17,500,00     06/30/20               6,552.80                 97.22           680.55        7,233,35 r
006880    BFRX285

          000     1   1/19/14       25,500,00        SLMM       15 00           8,000.00            17,500.00     06/30/20               6,5s2,80                 07   tt         680.55        7,233,35 r
006881    BFRX286

          000     1   1/'19/'14     25,500.00        SLMM       15 00           8,000,00            17,500.00     06/30/20               6,552,80                 97.22           680,55        7,233,35 r
006882    BFRX287

          000     1il24114          25,500.00        SLI\4M     15 00           8,000,00            17,500.00     06/3020                6,694,45                 97,22           680,55        7,375.00 r
006883    BFRX288

          000     10/24114          25,500.00        SLI\4M     15 00           8,000,00            17,500,00     06/30/20               6,694,45                 97,22           680.55        7,375.00 r
006884    BFRX289

          000     1u24114           25,500,00        SLMM       15 00           8,000.00            17,500.00     06/30/20               6,694.45                 97.22           680.55        7,375,00 r
006885    BFRX290

          000     1il24114          25,500,00        SLMM       15 00           8,000.00            17,500.00     06/30/20               6,694.45                 97.22           680,55        7,375,00 r
005886    BFRX 291



Au$il6,2fp0d11l3Alt                                                                                                                                                                                       Paeo e6
        Case 20-11139-1-rel                                           Doc 1         Filed 08/26/20 Entered 08/26/20 12:21:49                                                            Desc Main
                                                                                   Document     Page 94 of 370

                                                                                                 lnterctate Commodities, nc.            I



                                                                                                       Depuiallon Eryense      Rept
                                                                                                           As   ol jrly 31,2020


BOok= lntemal

FYE   ilonh   = December


                    ln   Srr              AcquM          P   DEr        Ed          SaFnGSAlou             Dopchbb          Ri,r            PffAciln         DopGddon               CmntYlD         qmdAfln        lGy

SYINo Ert Drb                             Val$           T   ll€h       t"h           Soc 179                   Balb        I}ru            DogrEddon         thb Run               D€mchlixl       Doql*[hl       Co&



*1o4trp610=18f/
          000       10/29/14                25,500.00    P   SLMM       15 00             8,000.00                17,500.00 06/30/20             6,694.45               97.22             680,55        7,375.00 r

006891    INTX 1152

          000       10/29/14                20,000,00 P      sLMtlt     15 00             8,000,00                12,000.00 04/30/20             4,800,00                   0,00          266.67        5,066.67 dr

006898    INTX 1265

          000       11/14/14                20,000,00 P      SLI\4M     10 00             8,000.00                12,000,00 06i30/20             7,199.99           100,00                700,00        7,899.99 r

006938    Repairsto INTX 1148

          000       03/31/15                 2,963.26    P   StMM        10 00                  0.00               2,963.26 06/30/20             1,407.57               24.69             172.85        1,580.42

006942    Repairsto INTX        1   159

          000       03/31/15                 1,48,65     P   SLMM        10 00                  0.00               1,423,65 06/30/20               676.25               1   1,86           83.04         759,29

006949    JBRX317

          000       03/13/15                21,000,00 P      SLI\4M      15 00            8,000.00                13,000.00 06/30/20             4,6n.79                72.22             505.55        5,183.34 dr

0069s1    JBRX356

          000       03/13/15                21,000.00    P   SLMM        15 00            8,000,00                13,000,00 06/30/20             4,6n]9                 72.22             505,55        5,183,34 r

006952    JBRX314

          000       0u13/15                 21,000,00 P      SLMM        15 00            8,000,00                13,000,00 06/30/20             4,6n.79                72.22             505.55        5,183,34 dr

006953    JBRX351
                                                                                                                  '13,000.00 06/30/20                                                     EAE EE
          000       0u13/15                 2t,000.00    P   SLMM        15 00            8,000.00                                               4,6n]9                 72.22                           5,183.34 dr

006955    JBRX325

          000       03/13/15                21,000,00 P      SLMI\,I     15 00            8,000,00                13,000,00 06/30/20             4,6n.79                72.22             505.55        5,181,34 dr

006959    JBRX313
                                                                         '15 00                                                                   4,6n,79                                 505,55        5,183.34 dr
          000       0u13/15                 21,000,00 P      SLI\,lM                      8,000.00                13,000.00 06/30/20                                    72.22

006960    JBRX361

          000       03/13/15                21,000.00 P      SLMM        15 00            8,000,00                13,000,00 06/30/20              4,6n.75               72.22             505.55        5,183,34 dr

006964    JBRX30s

          000       03/13/15                21,000,00 P      SLMM        15 00            8,000,00                13,000.00 06/30/20              4,677,79              72.22             505.55        5,183.34 dr

006965    JBRX365

          000       03/13/15                 21,000.00 P     SLMM        15 00            8,000,00                13,000,00 0fl30/20              4,6n.75               72.22             505.55        5,183,34 dr

006968    JBRX307

          000       03/13/15                 21,000.00   P   SLMI\,I     15 00            8,000.00                13,000,00 06/30/20              4,677.79              72,22             505.55        5,183.34 dr

006969    JBRX363

          000       03/13/15                 21,000,00 P     SLMM        15 00            8,000.00                13,000.00 0d30/20               4,6n.79               72.22             505,55        5,18i1,34 dr

006972    JBBX318

              000   0u13/15                  21,000.00 P     SLMM        15 00            8,000,00                13,000,00 06/30/20              4,6n,79               72.22             505,55        5,183,34 r

006974    JBRX319
                                                                                                                  '13,000.00 06/30/20             4,6n.79               72.22              505.55       5,183.34 dr
              000   0u13/15                  21,000,00 P     SLMM        15 00            8,000.00

006976    JBRX341

              000   03/13/15                 21,000,00 P     SLMM        t5   00          8,000,00                13,000,00 06/30/20              4,677.79              72,22              505,55       5,183,34 r

006982    JBRX357

              000   03/13/15                 21,000.00 P     SLMI\4      15 00            8,000.00                13,000.00 06/30/20              4,6n.79               72.22              505.55       5,183.34 r

006983        JBRX354

              000   03/13/15                 21,000,00 P     SLMM        15 00            8,000,00                13,000,00 06/30/20              4,677,79              72,22              505,55       5,181,34 dr

006985        JBRX335

              000 03/1ul5                    21,000,00 P     SLMM        15 00            8,000.00                 13,000,00 06/30/20             4,6n.75               72,22              505.55       5,183.34 r

006987        JBRX353

              000    0313/15                 21,000.00 P     SLMM        15 00             8,000,00                13,000,00 06/30/20             4,677,79               72.22             505,55        5,18i3,34 dr

006989        JBRX358

              000    0u13/15                 21,000.00 P     SLMM        15 00             8,000.00                13,000.00 06/30/20             4,6n.79                72,22             505.55        5,183.34 dr

006990        JBBX316

              000    0u13/15                 2'1,000.00 P    SLMM        15 00             8,000,00                13,000,00 06/30/20             4,6n,79                   72,22          505.5s        5,181,34 dr

006993        JBRX330

              000    03/13/15                21,000,00 P     SLI\,lM     15 00             8,000,00                13,000.00 06/30/20             4,6n.79                   72.22          505.55        5,1813.34 dr

006995        JBBX303



ftdrl6,n20dttl3All                                                                                                                                                                                                   P{ocl
         Case 20-11139-1-rel                                               Doc 1       Filed 08/26/20 Entered 08/26/20 12:21:49                                                           Desc Main
                                                                                      Document     Page 95 of 370


                                                                                                      lntestah Commodities, lnc.
                                                                                                          Depeckilion Enense Repoil

                                                                                                              As ol Jrly 31, 2fi20


Book= lntemal

ffiiluth=December

                lnSlt                  Ar$ri0d             P   DEr           Ed        Sslv/l68Ahil           Dog€chlb             Prix       HirAciln            Doprffidon          CuonlYlD       qfisrlAc&m      lGy

SysNo Ed        Ddo                     Vol$               T   Mdr           tft         Soc 179                                   thru       Demt*{im             Ihb Run            D€mchton       Dmcftlitn       Co&


G/LAnetlcclNo =    lflI/
         000    03/13/15                   21,000,00           SLMI\4        15 00           8,000.00              13,000.00       06/30/20        4,6n.79                72,22            505,55         5,183.34 dr
006996   JBRX315

         000    0x/13/15                   21,000,00           SLMI\4        15 00            8,000.00             13,000.00       06/30/20        4,6n.79                72.22            505,55         5,183.34 dr
007001   JBRX350

         000 03/1u15                       21,000.00           sLt\4t\4      15 00            8,000,00             13,000,00       06/30/20        4,677,79               72.22            505.55         5,183,34 dr
007002   JBBX352

         000    03/13/15                   21,000.00           SLI\4M        15 00            8,000,00             13,000,00       06/30/20        4,677.79                  72.22         505.55         5,183,34 dr
007007   JBBX362

         000 03/1ul5                       21,000.00           SLI\,,IM      15 00            8,000,00             13,000.00       0d30/20         4,677.79                  72,22         505,55         5,183.34 dr
007035   Repairsto INTX I 135

         000    04/30/15                    1,019.17           SLMM          10 00                 0,00             1,019,17       06/30/20         475.63                    8.49          59.45          535.08

007036   Repairsto INTX 20898

         000    04/30/15                    1,019.17           SLMM          10 00                 0,00             1,019.17       0d30/20          475,63                    8.49          59,45          535.08

007037 Repairsto|NTXll2l
         000    04/30/15                       926.71          SLMM          10 00                 0,00               926,71       06/30/20          432,46                   7.72          54,05          486,51

007038   Repairsto INTX 1 143

         000    04/30/15                       926,71          SLMM          10 00                 0.00               926.71       06/30/20          432.46                   7,72          54.05          486.51

007041   Repairs to INTX 27977

         000    04/30/15                       964,15          SLMI\4        10 00                 0.00               964.15 06/30/20               449,96                     8,03         56.24          506.20

007042   Repairsto |NTX40011

         000 0430/15                           941,75          SLMII4        10 00                 0,00               941,75 06/30/20               439,50                    7.84          54,93          494.43

007043   Repairsto|NTX2T66T

         000    04/30/15                    1,591,61           SLI\,lM       10 00                 0,00             1,591.61       0d30/20          742J5                    13.26          92.84          835,59

007045 Bepairsto|NTX41469
                                                                                                                    '1,1
         000    04/30/15                    1,'1   18,17       SLI\/lM       10 00                 0,00                    18,17   06/30/20          521.83                    9,31         65.22          587.05

007046   BepairstoINTX2T610

         000    04/30/15                    1,543.50           SLMM          10 00                 0,00             1,543,50       06/30/20         720,30                   12.86          90,03          8't0.33

007047   Repairs to INTX 4093

         000    04/30/15                    1,074.25           SLMM          10 00                 0.00             1,074,25       06/30/20          501,34                    8.95         62.66          564,00

007050   Repairsto INTX 1 147

         000    04/30/15                       316.47          SLMM          10 00                 0.00               316,47 06/30/20                147.70                    2.64          18.46          166,16

007052   Repairsro INTX 1 146

         000    04/30/15                       994.52          SLMI\4        10 00                 0,00               994,52 06/30/20                464.10                    8,29         58.01           522.11

007053   Repairsto |NTX        1 160


         000 04n0n5                         1,480,22           sLt\4t\,1      10 00                0.00             1,480.22       06/30/20          690,76                  12,33          86,34          777.10

007054   Repairsto INTX 3241

         000    04/30/15                       522.12          SLI\4M         10 00                0.00               522.12       06/30/20          243,65                    4.35         30,45           274,10

007055   Repairsto INTX 3243

         000    04/30/15                       522.12          SLMM           10 00                0.00               522,12       06/30/20          243.65                    4,35         30.45           274,10

007056   Repairs to INTX 3242

         000    04/30/15                       522.12      P   SLMM           10 00                0,00                522,12      06/30/20          243,65                    4.35          30,45          274.10

007083   Brokerage Fee - INTX 3240

         000    04/30/15                       250.00      P   SLMM           10 00                0,00               250,00 0d/30/20                1    16,67                2.08          14,58          131.25

007084   Brokerage Fee - INTX 3241

         000    04/30/1s                       2s0.00      P   sLMl\4         10 00                0.00               250.00 06/30/20                1    16,67                2.08          14.58          131,25

007085   Brokerage Fee - INTX 3242

         000    04/30/15                       250,00      P   slMlll         10 00                0.00                250,00      06/30/20          'I
                                                                                                                                                          16.67                2,08          14.58          131,25

007086   Brokerage Fee     '   INTX 3243

         000    04/30/15                       250,00      P   sLl\4M         10 00                0,00                250,00 06/30/20               1    16.67                2,08          14,58          131,25

007093   Emply Car Movement - INTX 101 188

         000    04/30/15                    1,016.60       P   SLMM           10 00                0,00             1,016,60       06/30/20          474,41                    8.47          59,30          533.71

007094   Empty Car Movement - INTX 101285



Al{q[6,mmd1fi3All                                                                                                                                                                                                    Pego38
           Case 20-11139-1-rel                                             Doc 1         Filed 08/26/20 Entered 08/26/20 12:21:49                                                     Desc Main
                                                                                        Document     Page 96 of 370

                                                                                                      lntemtate Commodilies, lnc.
                                                                                                            Degec{alion Epenso B€port

                                                                                                                AsolJdy31,202t

Book= Intemal

FYE    iiottft   = December


                     lnSrt               AoWM               P   DEr          Esl         Salv/168AIot           Dspocltle       ftbr       ftbiAcffir       Doprocia[on          CumntY'ID        OfifitAmrn        lGv
StsNo Ed             Ddo                   Value            T   il€dr        tft           S€c 179                              Ihru       Degoddion         Ihh Run             Drpnciiion       Depmc.*utn        Codo



OLAacAdNo=lflI/
               000   04/30/15                  1,016,60 P       SLMI\4        10 00                  0.00            1,016,60   06/30/20          474,41                  8.47           59.30            533,71

007095         Empty Car Movement - INTX 101381

               000   04/30/15                  1,016.60 P       SLMI\4       10 00                   0.00            1,016,60   06/30/20          474,41                  8.47           59.30            533.71

007096         Empty Car Movement - INTX 101401

               000   04/30/15                  1,016.60 P       SLMI\4        10 00                  0.00            1,016,60   0il30/20          474.41                  8,47           59.30            533.71

007097         Empty Car Movement - INTX 101414

               000   04/30/15                  1,016.60 P       SLI\4M        10 00                  0.00            1,016.60   06/30/20          474.41                  8.47           59,30            533.71

007098         Empty Car Movement - INTX 101395

               000   04/30/15                  1,017.00 P       SLI\4M        10 00                  0,00            1,017.00   06/30/20          474.60                  8.47           59.32            533,92

007099         Emply Car Movement - INTX 101337

               000   04/30/15                 2,742.00 P        SLMM          10 00                  0,00            2,742,00   06/30/20         1,279,60              22.85            159,95           1,439.55

007100         Empty Car Movement . INTX 101216

               000   04/30/15                 2,742,16 P        SLMM          10 00                  0,00            2,742.16   06/30/20         1,279.69              22,85            159.96           1,439.65

007101         Empty Car Movement - INTX 101303

               000   04/30/15                 2,742j6       P   SLMM          10 00                  0.00            2,742.16   0ils0/20         1,279.69              22,85            159.96           1,439.65

007102         Empty Car l\4ovement . INTX 101323

               000   04/30/15                  2,742j6      P   SLMM          10 00                  0.00            2,742.16   06/30/20         1,279.69              22.85
                                                                                                                                                                                        '159,96          1,439,65

007103         Empty Car l\,lovement - INTX 101343

               000   04/30/15                  2,742j6      P   SLMI\4        10 00                  0.00            2,742.16   06/30/20         1,279,69              22.85            159,96           1,439.6s

007104         Empty Car l/ovement - INTX 101351

               000   04/30/15                  2,742.16 P       SLI\4M        10 00                  0,00            2,742.16   06/30/20         1,279.69              22,85            159.96           1,439.65

007105         Empty Car Movement' INTX 101424

               000   04/30/15                  2,742.20 P       SLI\4M        10 00                  0,00            2,742,20   0a40/20          1,279.69              22,85            159.96           1,439.65

00i106         Empty Car Movement - INTX 101283

               000   04/30/15                      850.70 P     SLMM          10 00                  0.00              850,70   06/30/20          396.99                  7.09           49.62            446,61

007107         Empty Car Movement - INTX 101 164

               000   04/30/15                      850,70 P     SLMM          10 00                  0.00              850,70   06/30/20          396,99                  7.09           49.62            446,61

007108         Empty Car Movement   '   INTX 101205

               000   04/30/15                      850,70   P   SLMM          10 00                  0,00              850.70 06/30/20            396,99                  7,09           49,62            446.61

007109 EmptyCarMovement"INTX                 t01222

               000   04/30/15                      850.70 P     SLMI\4        l0   00                0,00              850.70 06/30/20            396,99                  7,09           49,62            446,61

0071   10      Emply Car Movemenl - INTX
                                         '101243

               000   04/30/'15                     850.70 P     SLMI\4
                                                                              't0 00                 0,00              850.70   06/30/20          396.99                  7,09           49.62            446,61

0071   1   1   Empty Car Movement - INTX
                                         '101250

               000   04/30/15                      850.70 P     SLI\4M        10 00                  0.00              850,70   06/30/20          396,99                  7,09           49,62            446.61

007   112      Empty Car l\4ovement - INTX 101264

               000   04/30/15                      850.i0   P   SLlilM        '10 00                 0.00              850.70   06/30/20           396,99                 7,09           49,62            446.61

0071   13      Empty Car lllovement - INTX 101265

               000   04/30/15                      850,70 P     SLMM          10 00                  0,00              850.70 06/30/20             396.99                 7.09           49.62            446,61

0071   14      Empty Car Movement - INTX 101281

               000   04/30/15                      850,70   P   SLMM          10 00                  0,00              850.70   06/30/20           396,99                 7.09            49.62           446,61

0071   15      Empty Car Movement - INTX 101299

               000   04/30/15                      850.70 P     SLMI\.,|      10 00                  0,00              850,70   06/30/20           396,99                 7,09           49,62             446,61

0071   16      Empty Car Movement - INTX 101320

               000   04/30/15                      850,70 P     SLMM          10 00                  0.00              850.70 06/30/20             396.99                 7.09            49.62            446.61

007117         Empty Car Movement - INTX 101332

               000   04/30/15                      850.70 P     SLI\,lM       10 00                  0,00              850.70 06/30/20             396.99                 7.09            49.62            446,61

00i118         EmptyCarMovement-INTX 101339
               000   04/30/15                      850,70 P     SLMM          10 00                  0,00              850,70   06/30/20           396,99                 7,09           49,62             446.61

0071   19      Empty Car Movement " INTX 101356

               000   04/30/15                      850,70   P   SLMM          10 00                  0.00              850.70   06/30/20           396.99                 7.09            49.62            446.61

007120         Empty Car lllovement - INTX 101359



A!t!i6,mdlm^ll                                                                                                                                                                                                      PeF39
        Case 20-11139-1-rel                                        Doc 1       Filed 08/26/20 Entered 08/26/20 12:21:49                                                              Desc Main
                                                                              Document     Page 97 of 370

                                                                                              lntemtate Commodities, lnc.
                                                                                                    Depeddion Eryenso Repon
                                                                                                        As ol JrIy 31 , 2020


Book= Intemal

ffi   iionh   = December


                  lnSlc             AcStM            P   D€F         En        Salv/,l68 Alow          Dopr€chib           Rid        nifiAEan             DqEcidion            C{millm         CuronlAccun    lGy
S]BNo Eil         Ddo                Vdue            T   itdr        tb           Se   179                Basit            thru       Dofleri.di$           lhb   Run           DoprgX[ion      D€iler*dion    Code



GlLlss€tAEdNo= 18tr/
            000   04/30/15                  850.70       SLI\4M       10 00                  0.00                 850,70 06/30/20             396,99                    7.09            49,62         446.61

007121      Empty Car l\4ovement - INTX 101384

            000   04/30/15                  850.70       SLI\4M       10 00                  0.00                 850,70 06/30/20             396,99                    7.09            49,62         446.61

007   122   Empty Car l\4ovement - INTX 101413

            000   04/30/15                  850.70       SLI\4M       10 00                  0.00                 850,70 0fl30/20             396,99                    7.09            49.62         446.61

007123      Empty Car l\4ovement - INTX 101417

            000   04/30/'15                 850.70       SLI\4M       10 00                  0.00                 850,70 06/30/20             396,99                    7,09            49,62         446.61

007   124   Empty Car l\4ovement - INTX 101428

            000   04/30/15                  850,70       SLI\4M       10 00                  0.00                 850.70 0d30/20              396,99                    7,09            49.62         446.61

007125      Empty Car l\4ovement - INTX 101448

            000   04/30/15                  850,70       SLI\4M       10 00                  0.00                 850,70 06/30/20             396,99                    7,09            49.62         446.61

007126      Empty Car l\40vement - INTX 101450

            000   04/30/15                  850.70       SLMM         10 00                  0.00                 850.70 06i30/20             396.99                    7,09            49.62         446,61

007128 Repairsto|NTX4lll3
            000   04/30/15                1,578.77       SLI\4M       10 00                  0.00             1,578,77     06/30/20           736.77                    13,15           92,09         828,86

007129      Repairsto |NTX27611

            000   04/30/15                  530.05       SL|\ilM      10 00                  0.00                 530.05 06/30/20             247.38                    4.42            30,92         278,30
007146      Bepairsto|NTX385280

            000   04/08/15                  903,12       SLI\4M       10 00                  0,00                 903.12 06/30/20             428.97                    7.53            52,68         481,65
007164      Repairsto INTX 890568

            000   05/31/15                  926.77       sLrltM       10 00                  0,00                 926.77   06/30/20           424.78                     7]2            54.06         478.84
007282      INTX 6496/CRDX 6496

            000   05/29/14                    0.00       NoDep       00 00                   0,00                   0.00   06/30/20                 0,00                 0.00            0.00           0.00
007283      |NTX6sl7/CRDX6517
            000   05/29/14                    0.00       NoDep       00 00                   0,00                   0.00 06/30/20                   0,00                 0,00            0.00           0.00

007284      |NTX6520/CRDX6520
            000   05/29/14                    0.00       NoDep       00 00                   0,00                   0,00 06/30/20                   0,00                 0,00            0.00           0.00
007285      INTX 6531 /CRDX 6531

            000   0t29/14                     0.00       NoDep       00 00                   0,00                   0,00 06/30/20                   0,00                 0.00            0,00           0,00
007286      INTX 6534/CRDX 6534

            000   05/29/14                    0.00       NoDep       00 00                   0.00                   0,00 06/30/20                   0.00                 0.00            0,00           0,00

007287      |NTX6539/CBDX6539
            000   05/29/14                    0.00       NoDep       00 00                   0.00                   0.00 06/30/20                   0.00                 0.00            0.00           0,00
007288      |NTX 6540/CBDX 6540

            000   05/29/14                    0.00       NoDep       00 00                   0.00                   0.00   06/30/20                 0.00                 0.00            0.00           0,00
007289      |NTX77000/CRDX7000
            000   05/29/14                    0.00       NoDep       00 00                   0.00                   0.00   06/30/20                 0,00                 0.00            0.00           0.00
007290      |NTX770s0/CRDX7050
            000   05/29/14                    0.00       NoDep       00 00                   0.00                   0.00   06/30/20                 0,00                 0,00            0.00           0.00

007291      |NTX77053/CBDX7053
            000   05/29/14                    0.00       NoDep        00 00                  0,00                   0.00   06/30/20                 0,00                 0,00            0,00           0.00

007292      |NTX77054/CRDX7054
            000   05/29/14                    0.00       NoDep        00 00                  0,00                   0.00 06/30/20                   0,00                 0,00            0,00           0.00

007293      |NTX77055/CRDX7055
            000   05/29/14                    0.00       NoDep        00 00                  0,00                   0,00 06/30/20                   0.00                 0.00            0.00           0.00
007294      |NTX7i056/CBDX7056
            000   0t29/14                     0,00       NoDep        00 00                  0.00                   0.00 06/30/20                   0.00                 0.00            0.00           0,00

007295      |NTX77059/CRDXi059
            000   0t29/14                     0,00       NoDep        00 00                  0.00                   0.00 0d30/20                    0.00                 0.00            0.00           0,00
007296      |NTX77061/CRDX706'1

            000   0t29/14                     0,00       NoDep        00 00                  0.00                   0.00 06/30/20                   0,00                 0,00            0,00           0,00
007297      |NTXi7062/CRDX7062


At4$6,2020.1l1:13l'il                                                                                                                                                                                          PaeoO
       Case 20-11139-1-rel                                    Doc 1       Filed 08/26/20 Entered 08/26/20 12:21:49                                                            Desc Main
                                                                         Document     Page 98 of 370

                                                                                          lntestate Commodities, lnc,
                                                                                                Deiloddlon Eeonso Ropoil
                                                                                                    As   olJrly3l,     2020


Book = lntemal

ffi[ilmb=December

                 ln   Srt       tuqlid            P   DE        Ed        Selv/l68Ahry              Dsptsclam          Rh         ftbAcqrn            Dopmddion          ClmilY'ID          qmdAccun     lGy
S}tNo    tr      Dsb               Vrltr          T   ir€tr     tft         Soc
                                                                                  .l79
                                                                                                      Basb             thru       D€prEirdin           Ihb Run           Dryq*[ion          DoprscHfn    Codo



OLlsletlrdNo=         1fl17

         000     05/29/14                  0,00   P   NoDep     00 00                    0,00                   0.00   06/30/20              0.00                0,00            0,00             0.00

007298   |NTX77065/CRDX7065
         000     05/29/14                  0,00   P   NoDep     00 00                    0,00                   0.00   06/30/20              0.00                0,00            0.00             0,00

007299   |NTX77066/CRDX7066
         000     05/29/14                  0,00   P   NoDep     00 00                    0,00                   0.00   06/30/20              0.00                0,00            0,00             0,00

007300   |NTX77068/CRDX7068
         000 0129/14                       0,00   P   NoDep     00 00                    0.00                   0.00   06/30/20              0.00                0.00            0.00             0,00

007301   |NTX77069/CRDX7069
         000     05/29/14                  0,00   P   NoDep     00 00                    0.00                   0.00   06/30/20              0,00                0.00            0,00             0.00

007302   |NTX77071/CRDX7071

         000 0t29/14                       0,00   P   NoDep     00 00                    0,00                   0.00   06/30/20              0,00                0.00            0,00             0,00

007303   INTX 77072|CRDX 7072

         000     05/29/14                  0,00   P   NoDep     00 00                    0.00                   0.00   06/30/20              0,00                0,00            0,00             0.00

007304   |NTX 77074/CRDX 7074

         000     05/29/14                  0,00   P   NoDep     00 00                    0.00                   0,00   06/30/20              0,00                0,00            0,00             0.00

007305   |NTX77075/CRDX7075
         000     05/29/14                  0.00   P   NoDep     00 00                    0.00                   0,00   06/30/20              0.00                0,00            0.00             0.00

007306   |NTX770i7/CRDX707i
         000     05/29/14                  0.00   P   NoDep     00 00                    0.00                   0,00 06/30/20                0.00                0,00            0,00             0,00

007307   |NTX77078/CRDX7078
         000 0y29/14                       0,00   P   NoDep     00 00                    0,00                   0.00   06/30/20              0.00                0.00            0,00             0,00

007308   |NTX77080/CRDX7080
         000     05/29/14                  0.00   P   NoDep     00 00                    0,00                   0,00   06/30/20              0,00                0.00            0,00             0.00

007309   |NTX77082/CRDX7082
         000     05/29/14                  0.00   P   NoDep     00 00                    0.00                   0.00   06/30/20              0,00                0,00            0.00             0.00

007310   |NTX7i083/CRDX7083
         000     05/29/14                  0.00   P   NoDep     00 00                    0,00                   0.00   06/30/20              0,00                0,00            0,00             0.00

0073'11 |NTX77085/CRDX7085
         000     0129/14                   0.00   P   NoDep     00 00                    0.00                   0,00   06/30/20              0.00                0,00            0.00             0.00

007312   |NTX77086/CRDX7086
         000 0t29/14                       0.00   P   NoDep     00 00                    0.00                   0,00   06/30/20              0.00                0.00            0,00             0,00

007313   |NTX77087/CRDX7087
         000     05/29/14                  0.00 P NoDep         00 00                    0,00                   0.00 06/30/20                0,00                0.00            0,00             0,00

007314   INTX 77088/CRDX 7088

         000     05/29/14                  0.00 P NoDep          00 00                   0,00                   0,00   06/30/20              0,00                0,00            0.00             0,00

007315   INTX    7i089/CBDX 7089
         000 0t29/14                       0,00   P   NoDep      00 00                   0,00                   0.00   06/30/20              0.00                0,00            0.00             0,00

007316   |NTX77090/CBDX7090
         000 0t29/14                       0,00   P   NoDep      00 00                   0.00                   0.00   06/30/20              0.00                0,00            0.00             0.00

007317   |NTX77092/CRDX7092
         000     0929/14                   0,00   P   NoDep      00 00                   0,00                   0,00   06/30/20              0.00                0,00            0.00             0.00

007318   |NTX 77096/CRDX 7096

         000     05/29/14                  0,00   P   NoDep      00 00                   0.00                   0,00 06/30/20                0.00                0.00            0,00             0.00

007319   |NTX77097/CRDX7097
         000 0129/14                       0.00   P   NoDep      00 00                   0.00                   0.00 06/30/20                0,00                0.00            0.00             0,00

007320   |NTX77099/CRDX7099
         000     05/29/14                  0.00   P   NoDep      00 00                   0.00                   0.00   06/30/20              0,00                0.00                0.00         0,00

007321   |NTX77101/CRDX7101

         000     05/29/14                  0.00   P   NoDep      00 00                   0,00                   0.00   06/30/20                0.00               0,00               0.00         0.00

007322   |NTX77104/CRDX7104
         000     05/29/14                  0.00   P   NoDep      00 00                   0,00                   0,00   06/30/20                0.00               0.00               0.00         0.00

007323   INTX77105/CRDX7105


A{[l6,mmd1fi3All                                                                                                                                                                                         P{o{
       Case 20-11139-1-rel                                 Doc 1      Filed 08/26/20 Entered 08/26/20 12:21:49                                                           Desc Main
                                                                     Document     Page 99 of 370

                                                                                    lnterctate Commodities, nc.          I



                                                                                          Dqrcdalion EpensoR€poil
                                                                                              As   olJrly3l,   2020


Book = lntemal

ffi1ffi1=Decembr

                 lnSw            Lflhd          P   Dopr     Ed       Solv/168Alow           DogocUU           Rix           HirAD.[rn          Doprsciafun          CrmilnD       CuronlAcon      lGy
Syst{o Ed        DdE             Valuo          T   lldr     tft        Soc 'l79                               Ihru          D€pEcidon           Ihb   Run           Dogoddfn      Doilst*dicrtr   Co&


GlLAsstlrdtlo=      lM
         000     05/29/14                0.00   P   NoDep    00 00                 0,00                 0,00 06/30/20                    0.00                 0.00          0,00            0,00

007324 |NTX77107/CRDX7107
         000     05/29/14                0,00   P   NoDep    00 00                 0,00                 0,00 06/30/20                    0.00                 0.00          0,00            0.00

007325   INTX77108/CRDX7'108

         000     05/29/14                0.00   P   NoDep    00 00                 0,00                 0,00 0d30/20                     0.00                 0,00          0.00            0.00

007326   INTX77110/CRDX7'110

         000     05/29/14                0.00   P   NoDep    00 00                 0,00                 0,00 06/30/20                    0,00                 0,00          0,00            0.00

007327   Repairs to INTX 77056

         000     05/30/14                0,00   P   NoDep    00 00                 0,00                 0.00 06/30/20                    0,00                 0,00          0.00            0,00

007328   Repairs to INTX 77092

         000     05/30/14                0,00   P   NoDep    00 00                 0,00                 0.00 06/30/20                    0,00                 0,00          0.00            0,00

00732S   Repairs to INTX 6539

         000 0s30/14                     0,00 P NoDep        00 00                 0.00                 0.00 06/30/20                    0,00                 0.00          0,00            0.00

007330 Repairsto|NTXTTl05
         000     05/30/14                0,00   P   NoDep    00 00                 0.00                 0.00 06/30/20                    0.00                 0.00          0,00            0.00

007331   Repairs to INTX 77108

         000     05/30/14                0,00   P   NoDep    00 00                 0.00                 0.00 06/30/20                    0.00                 0,00          0.00            0.00

007332   Repairsto INTX 77066

         000     05/30/14                0,00   P   NoDep    00 00                 0.00                 0,00 06/30/20                    0.00                 0.00          0.00            0.00

007333   Repairsto INTX 77069

         000 0y30/14                     0,00   P   NoDep    00 00                 0.00                 0.00 06/30/20                    0,00                 0.00          0.00            0,00

007334   Repairsto INTX 6[,34

         000     05/30/14                0.00   P   NoDep    00 00                 0.00                  0,00 06/30/20                   0,00                 0.00          0,00            0,00

007335   Repairsto INTX 77085

         000 0t30/14                     0.00   P   NoDep    00 00                 0,00                  0.00 06/30/20                   0.00                 0.00          0.00            0.00

007336 Repairsto|NTXTTl04
         000     05/30/14                0.00   P   NoDep    00 00                 0,00                  0.00 06/30/20                   0.00                 0,00          0.00            0,00

007337   Repairsto INTX 77087

         000 0t30/14                     0.00   P   NoDep    00 00                 0,00                  0.00 06/30/20                   0.00                 0,00          0.00            0.00

007338   Repairsto INTX 77068

         000 0y30/14                     0.00   P   NoDep    00 00                 0.00                  0,00 06/30/20                   0,00                 0,00          0,00            0.00

007339   Bepairsto INTX 77055

         000 0t30/14                     0.00   P   NoDep    00 00                 0.00                  0,00 06/30/20                   0,00                 0.00          0,00            0,00

007340   Bepairsto INTX 7i075

         000     0s/30/14                0.00   P   NoDep    00 00                 0.00                  0.00 06/30/20                   0.00                 0.00          0.00            0,00

007341   Bepahsto|NTXTT054

         000     05/30/14                0,00 P NoDep        00 00                 0.00                  0.00 06/30/20                   0.00                 0,00          0.00            0,00

007342   Bepahsto|NTXTToES

         000 0t30/14                     0,00 P NoDep        00 00                 0,00                  0,00 06/30/20                   0.00                 0,00          0.00            0.00

007343 Repairsto|NTXiT090
         000 0y30/14                     0.00   P   NoDep    00 00                 0,00                  0,00 0d30/20                    0.00                 0,00          0,00            0.00

007344   Repairs to INTX 77082

         000     05/30/14                0,00   P   NoDep    00 00                 0,00                  0,00 06/30/20                   0,00                 0.00          0,00            0,00

007345   Repairsto|NTXTT0TT

         000     05/30/14                0,00   P   NoDep    00 00                 0.00                  0.00 06/30/20                   0.00                 0.00          0.00            0,00

007346   Repairsto|NTXTT0SS

         000 0$30/14                     0,00   P   NoDep    00 00                 0.00                  0.00 06/30/20                   0.00                 0,00          0.00            0.00

007347   Repairsto INTX 6496

         000     05/30/14                0.00   P   NoDep    00 00                 0.00                  0.00 06/30/20                   0.00                 0,00          0.00            0.00

007348   Repairsto INTX 77053

         000     05/30/14                0.00   P   NoDep    00 00                 0.00                  0,00 06/30/20                   0,00                 0.00          0,00            0.00

007349   Repairsto|NTXTTl0T


tu$ll6,20mdlfi3lt                                                                                                                                                                                  PrF12
        Case 20-11139-1-rel                                  Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                                             Desc Main
                                                                  Document    Page 100 of 370

                                                                                     lnterctate Commodites, nc.          I



                                                                                           Dryectailion Eryense R€pot

                                                                                               AsolJdy3l,2fi20

Book= lntemal

FYE   ilmh   = December


                lnSn             tufliod          P   DEr       E6l     Satv/l68Ahir           Dop$hbb        Prix           PtirAcqrn           Dop$idion          Cu€ntYD       fumnlAc.ufl    l(ot
Sr6No EIl       Ddo               Valta           T   Itdh     tft        S€c 179                Barb         lhru           Depccialon           Ihb Run           DemOaion      Dopnc*dicn     C,o&



OLAsdArdllo=       1fl17

         000 0$30/14                       0,00   P   NoDep     00 00               0.00                 0.00 06/30/20                0,00                   0.00          0,00          0,00
007350   Repairs to INTX 77050

         000    05/30/14                   0,00   P   NoDep     00 00               0.00                 0.00 06/30/20                0,00                   0,00          0,00          0,00
007351   Repairsto|NTXTT065

         000 0930/14                       0,00   P   NoDep     00 00               0.00                 0.00 06/30/20                0.00                   0.00          0,00          0,00
007352   RepairstoINTXTT062

         000 0t30/14                       0,00   P   NoDep     00 00               0.00                 0.00 06/30/20                0,00                   0.00          0,00          0,00
007353   Repairsto|NTXTT0T2

         000 0t30/14                       0,00   P   NoDep     00 00               0,00                 0.00 06/30/20                0,00                   0.00          0,00          0.00
007354   Bepairsto|NTXTT096

         000    06/30/14                   0,00   P   NoDep     00 00               0,00                 0.00 06/30/20                0,00                   0.00          0.00          0,00
007355   Repairsto INTX 77080

         000    06/30/14                   0,00   P   NoDep    00 00                0,00                 0.00 06/30/20                    0,00               0.00          0,00          0.00
007356   Repairsto INTX 6520

         000    06/30/14                   0,00   P   NoDep    00 00                0,00                 0.00 06/30/20                    0,00               0.00          0.00          0.00
007357   Repairsto INTX 77061

         000 0il30/14                      0,00   P   NoDep    00 00                0,00                 0.00 06/30/20                    0,00               0.00          0,00          0,00
007358   Repairs to INTX 77101

         boo    oerso/lq                   0.00   P   NoDep    00 00                0,00                 0.00 06/30/20                    0,00               0.00          0.00           0.00

007359   Repairs to |NTX77059

         000    06/30/14                   0.00   P   NoDep    00 00                0,00                 0.00 06/30/20                    0,00               0,00          0.00           0.00

007360   Repahs to INTX 77099

         000 0d30/14                       0.00   P   NoDep    00 00                0,00                 0,00 06/30/20                    0,00               0,00          0.00           0.00

007361   Repairsto|NTXTT0S6

         000 0680n4                        0.00   P   NoDep    00 00                0,00                 0.00 06/30/20                    0.00               0,00          0.00           0.00

007362 Repairsto|NTXTi000
         000    06/30/14                   0.00   P   NoDep    00 00                0,00                 0,00 06/30/20                    0.00               0,00          0,00           0.00

007363   Repairs to INTX 6531

         000    06/30/14                   0.00   P   NoDep    00 00                0,00                 0,00 06/30/20                    0.00               0.00          0,00           0.00

007364   RepairstoINTXTT0TS

         000    06/30/14                   0.00   P   NoDep    00 00                0.00                 0,00 06/30/20                    0.00               0.00          0,00           0,00

007365   Bepairs to INTX 6540

         000 0680n4                        0.00   P   NoDep    00 00                0,00                 0,00 06/30/20                    0,00               0,00          0,00           0,00
007366   RepairsloINTXTT0Tl
         000    06/30/14                   0.00   P   NoDep    00 00                0,00                 0,00 06/30/20                    0,00               0.00          0,00           0.00
007367   |NTX384862

         000    01/31/14                   0,00   P   NoDep    00 00                0.00                 0,00 06/30/20                    0,00               0.00          0.00           0,00
007368   |NTX384883

         000    01/31/14                   0.00   P   NoDep    00 00                0.00                 0.00 06/30/20                    0,00               0.00          0.00           0,00
007369   |NTX384958

         000    01/3r/14                   0.00   P   NoDep    00 00                0.00                 0.00 06/30/20                    0.00               0.00          0.00           0.00
007370   |NTX384970

         000    01/31/14                   0.00   P   NoDep    00 00                0.00                 0,00 06/30/20                    0.00               0,00          0.00           0,00
007371   |NTX385014

         000    01/31/'14                  0.00   P   NoDep    00 00                0.00                 0.00 06i30/20                    0.00               0,00          0,00           0.00

007372   |NTX385031

         000    0t/31/'14                  0.00   P   NoDep    00 00                0.00                 0.00 06/30/20                    0.00               0,00          0,00           0.00

007373   |NTX385207

         000 01/3114                       0.00   P   NoDep    00 00                0.00                 0.00 06/30/20                    0.00               0,00          0,00           0.00

007374   |NTX385225

         000    01/31/14                   0.00   P   NoDep    00 00                0.00                 0.00 06/30/20                    0.00               0.00          0,00           0.00

007375   |NTX385234



AUH6,rnd1fi3All                                                                                                                                                                                  P{013
        Case 20-11139-1-rel                     Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                         Desc Main
                                                     Document    Page 101 of 370

                                                             lnterc{ate Commodities, lnc.
                                                                   DryeddionEryense Repot
                                                                      As   olJdy 31,2020

Book= lntemal

FYE   ilonh   = December


                 lnSrt       A0$i0d P Dept Ed Salv/l68Ahil Dopoc$l Ril                           RirAciln DE€ddon CUtutIY'ID qmilAciln lGy
Slrilo Ed        Dab         Value T tlodr l,.b Sec179 Barh thru                                 DepFtialkn lhbRun Dsplddbn D€gochlin Codo

OtAssetlcdNo=       1807

          000    01/31/14        0.00   P   NoDep   00 00   0.00                0.00 06/30/20         0,00      0.00      0.00      0.00

007376    |NTX385237

          000 0v31/14            0.00   P   NoDep   00 00   0,00                0.00 06/30/20         0,00      0.00      0.00      0.00

007377    |NTX385238

          000    01/31/14        0.00   P   NoDep   00 00   0,00                0.00 06/30/20         0.00      0.00      0,00      0.00

007378    |NTX385242

          000    01/31/14        0.00   P   NoDep   00 00   0,00                0.00 06/30/20         0.00      0,00      0,00      0.00

007379    |NTX385256

          000 0v31/14            0.00   P   NoDep   00 00   0,00                0.00 06/30/20         0.00      0,00      0.00      0,00

007380    |NTX385274

          000    01/31/14        0.00   P   NoDep   00 00   0,00                0.00 06/30/20         0.00      0.00      0.00      0,00

007381    |NTX385276

          000    01/31/14        0.00   P   NoDep   00 00   0,00                0,00 06/30/20         0,00      0.00      0.00      0,00

007382    |NTX385307

          000    01/31/14        0.00   P   NoDep   00 00   0,00                0,00   0429120        0,00      0.00      0.00      0.00   d

007383    |NTX385317

          000    01/31/14        0.00   P   NoDep   00 00   0.00                0,00 06/30/20         0,00      0.00      0,00      0.00

007384    |NTX385400

          000 0v31/14            0.00   P   NoDep   00 00   0.00                0,00 06/30/20         0.00      0.00      0,00      0.00

007385    |NTX385694

          000    01/31/14        0.00   P   NoDep   00 00   0.00                0,00 06/30/20         0.00      0,00      0,00      0.00

007386    |NTX385709

          000    01/31/14        0.00   P   NoDep   00 00   0.00                0.00 06/30/20         0.00      0.00      0.00      0,00

007387    |NTX385984

          000    01/31/14        0.00   P   NoDep   00 00   0,00                0.00 0d30/20          0.00      0,00      0.00      0,00

007388    |NTX385986

          000    01/31/14        0,00 P NoDep       00 00   0,00                0.00 06/30/20         0,00      0.00      0.00      0.00

007389    |NTX46761

          000    0'1/31/14       0,00 P NoDep       00 00   0,00                0.00 06i30/20         0,00      0.00      0,00      0.00

007390    |NTX52830

          000    01/31/14        0,00   P   NoDep   00 00   0,00                0.00 0il30/20         0,00      0.00      0,00      0.00

007391    |NTX54656

          000    01/31/14        0,00   P   NoDep   00 00   0,00                0,00 06/30/20         0.00      0,00      0.00      0.00

007392    |NTX54691

          000    01/31/14        0,00   P   NoDep   00 00   0,00                0.00 06/30/20         0.00      0,00      0.00      0,00

007393    |NTX765732

          000    0'1/31/14       0.00   P   NoDep   00 00   0,00                0.00 06/30/20         0.00      0,00      0.00      0,00

007394    |NTX765768

          000 01/3vl4            0.00   P   NoDep   00 00   0.00                0.00 06/30/20         0,00      0.00      0,00      0.00

007395    |NTX765775

          000    01/31/14        0,00   P   NoDep   00 00   0.00                0.00 06/30/20         0,00      0.00      0.00      0.00

007396    |NTX765804

          000    01/31/14        0.00   P   NoDep   00 00   0,00                0.00 06/30/20         0.00      0.00      0.00      0.00

007397    |NTX765811

          000    0't/31/14       0.00   P   NoDep   00 00   0,00                0,00 06/30/20         0.00      0,00      0.00      0.00

007398    |NTX765832

          000    01/31/14        0.00   P   NoDep   00 00   0.00                0,00 06/30/20         0.00      0,00      0.00      0,00

007399    |NTX765837

          000    0t/31/14        0.00   P   NoDep   00 00   0,00                0,00 06/30/20         0.00      0.00      0,00      0,00

007400    |NTX765851

          000 0l/31/14           0.00 P NoDep       00 00   0.00                0.00 06/30/20         0,00      0.00      0,00      0,00

007401    |NTX765854



AUd6,madllXSlI                                                                                                                             PNF14
       Case 20-11139-1-rel                          Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                   Desc Main
                                                         Document    Page 102 of 370

                                                                      lntestate Commodities, lnc,
                                                                            Degeciailion Eryense   Repil
                                                                                As ol Jrly 31,2020


Book = lntemal

ffi[$ffi=December

                 lnSrr           AcSftd     P   DoF Ett         Satun68Abu Dop$hbh              Rbr        ftbAcqn    Doprecidion   CmdnD     CtmilAcqxlt    lGy




G/LAssellcctNo = 1$7
         000     01/31/14            0.00 P NoDep       00 00        0,00                0,00 06/30/20         0,00         0.00       0,00           0.00

007402   |NTX765867

         000     01/31/14            0.00 P NoDep       00 00        0,00                0,00 06/30/20         0,00         0,00       0,00           0.00

007403   |NTX765876

         000     01/31/14            0.00   P   NoDep   00 00        0,00                0,00 06/30/20         0,00         0,00       0.00           0,00

007404   |NTX765902

         000     01/31/14            0.00 P NoDep       00 00        0,00                0,00 06/30/20         0,00         0,00       0.00           0,00

007405   |NTX765905

         000     01/31/14            0.00   P   NoDep   00 00        0.00                0.00 06i30/20         0.00         0,00       0,00           0,00

007406   |NTX765909

         000     01/31/14            0.00   P   NoDep   00 00        0.00                0.00   06/30/20       0.00         0.00       0,00           0,00
007407   |NTX765928

         000     01/31/14            0.00   P   NoDep   00 00        0.00                0.00   0d30/20        0.00         0.00       0,00           0.00

007408   |NTX765931

         000     01/31/14            0.00   P   NoDep   00 00        0.00                0.00   06/30/20       0,00         0.00       0.00           0.00

007409   |NTX765941

         000     01/31/14            0.00   P   NoDep   00 00        0.00                0.00   06/30/20       0,00         0.00       0.00           0.00

007410   |NTX765953

         000 0v31/14                 0,00   P   NoDep   00 00        0.00                0,00 06/30i20         0.00         0,00       0.00           0.00

007411   |NTX765987

         000     01/31/14            0,00   P   NoDep   00 00        0,00                0,00 06/30/20         0.00         0,00       0,00           0,00

007412   |NTX769237

         000     01/31/14            0,00   P   NoDep   00 00        0,00                0,00 06/30/20         0.00         0.00       0,00           0,00

007413   |NTX769258

         000     01/31/14            0,00   P   NoDep   00 00        0,00                0,00 06/30/20         0.00         0.00       0.00           0,00

007414   |NTX769265

         000     01/31/14            0,00   P   NoDep   00 00        0.00                0.00   06/30/20       0,00         0.00       0.00           0.00

007415   |NTX769596

         000     01/31/14            0,00   P   NoDep   00 00        0,00                0.00   06/30/20       0,00         0,00       0.00           0.00

007416   |NTX800493

         000 0t/3t14                 0.00   P   NoDep   00 00        0.00                0.00   06/30/20       0,00         0,00       0.00           0.00

007417   |NTX800532

         000     01/31/14            0,00 P NoDep       00 00        0.00                0,00   06/30/20       0.00         0,00       0,00           0.00

007418   INTX53580

         000     0712414             0.00 P NoDep       00 00        0.00                0,00 06/30/20         0.00         0.00       0,00           0,00

007419   Repairsto|NTXTT0T4

         000     07/31/14            0.00 P NoDep       00 00        0,00                0,00 06/30/20         0.00         0.00       0,00           0,00

007420   RepairstoINTX65lT
         000     07/31/14            0.00   P   NoDep   00 00        0,00                0,00 06/30/20         0,00         0.00       0.00           0,00

007421   Repahs to INTX 77097

         000     07/31/14            0.00   P   NoDep   00 00        0,00                0.00   06/30/20       0.00         0,00       0.00           0.00

007422   Repairsto |NTX771'10

         000     07/31/14            0.00   P   NoDep   00 00        0.00                0.00   06/30/20       0.00         0.00       0.00           0.00

007423   Repairslo|NTXTT0S9

         000 0il31/14                0,00   P   NoDep   00 00        0.00                0.00   06/30/20       0.00         0.00       0,00           0.00

007424   Repai6roINTX385986
         000     1231/14             0,00   P   NoDep   00 00        0.00                0,00 06/30/20         0,00         0.00       0,00           0,00

007425   RepairstoINTX800532

         000 0228/15                 0,00   P   NoDep   00 00        0.00                0,00 0fl30/20         0,00         0.00       0.00           0,00

007426   Repairsto|NTX385276

         000 0228/15                 0,00   P   NoDep   00 00        0,00                0.00 0d30/20          0,00         0,00       0.00           0.00

007427   Repairsto INTX 385238



Alsll6,AIAdtfitAtl                                                                                                                                           P$15
        Case 20-11139-1-rel                                   Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                                             Desc Main
                                                                   Document    Page 103 of 370

                                                                                           lnterctate Commodities, lnc.
                                                                                                 Depedailion EryenseRepil

                                                                                                     AsolJrly3l,2020

Book = lnternal

FYE   lilonh = December


                  lnS:w           Acquiod          P   Dopr     Esl        &lv/168Alol               DoFochblo     hix        PriorAcqm          Degscidion          CuodYfD       C\mntAcurn lGy
                                                                                   .l79
S'YsNo    Ed      Ddo                              T   it€h     t.b          S€c                       Besb        thru       Demdditn            Ihb Bun            DepFddim      l)eprscldon Co*

OLArsdArd    No =     180/
          000 0228/15                       0.00   P   NoDep    00 00                     0,00                0.00 06/30/20               0,00              0,00            0.00           0,00
007428    Repairsto|NTX385234

          000     04/08/15                  0,00   P   NoDep    00 00                     0,00                0.00 06/30/20               0,00              0,00            0,00           0,00
007429    Repain to INTX 384958

          000     04/08/1s                  0,00   P   NoDep    00 00                     0,00                0.00 06/30/20               0,00              0,00            0.00           0.00
007430    Repahs to INTX 385233

          000     04/08/15                  0,00   P   NoDep    00 00                     0.00                0.00 06/30/20               0,00              0,00            0,00           0,00
007431    |NTX384748

          000     01/31/14                  0,00   P   NoDep    00 00                     0.00                0.00 06/30/20               0,00              0,00            0,00           0.00
007432    |NTX384872

          000     01/31/14                  0.00   P   NoDep    00 00                     0.00                0.00 06/30/20               0,00              0,00            0,00           0.00
007433    |NTX384960

          000     01/31/14                  0.00   P   NoDep    00 00                     0.00                0,00 06/30/20               0,00              0,00            0,00           0,00
007434    |NTX384972

          000     01/31/14                  0.00   P   NoDep    00 00                     0.00                0.00 06/30/20               0.00              0,00            0,00           0.00
007435    |NTX385004

          000     01/31/14                  0.00   P   NoDep    00 00                     0.00                0,00 06/30/20               0,00              0,00            0,00           0,00

007436    |NTX385005

          000     01/31/14                  0.00   P   NoDep    00 00                     0.00                0.00 06/30/20               0,00              0,00            0,00           0.00

007437    |NTX385029

          000     01/31/14                  0.00   P   NoDep    00 00                     0.00                0,00 06/30/20               0.00              0,00            0.00           0.00

007438    INTX385030

          000     01/31/14                  0,00   P   NoDep    00 00                     0.00                0.00 06/30/20               0.00                0,00          0,00           0.00

007439    |NTX385180

          000     01/31/14                  0.00   P   SLMM      l0   00                  0.00                0,00 06/30/20               0.00                0.00          0.00           0.00

007440    |NTX385181

          000     01/31/14                  0,00   P   NoDep    00 00                     0.00                0.00 06/30/20               0.00                0,00          0,00           0.00

007441    |NTX385184

          000 0v31/14                       0,00   P   NoDep    00 00                     0.00                0.00 06/30/20               0,00                0.00          0.00           0.00

007442    |NTX385195

          000     01/31/14                  0,00   P   NoDep    00 00                     0.00                0.00 06/30/20               0,00                0.00          0.00           0,00

007443    |NTX385199

          000     01/31/14                  0,00   P   NoDep    00 00                     0.00                0.00 06/30/20               0.00                0.00          0.00           0.00

007444    |NTX385209

          000     01/31/14                  0,00   P   NoDep    00 00                     0.00                0.00 06/30/20               0.00                0.00          0.00           0.00

007445    |NTX385226

          000     0't/3't/14                0,00   P   NoDep    00 00                     0.00                0.00 06/30/20               0.00                0.00          0.00           0.00

007446    |NTX385228

          000     01/31/14                  0,00   P   NoDep    00 00                     0.00                0.00 0d30/20                0.00                0.00          0.00           0.00

007447    |NTX385233

          000     01/31/14                  0,00   P   NoDep    00 00                     0.00                0.00 06/30/20               0.00                0.00          0,00           0.00

007448    |NTX385280

          000     01/31/14                  0,00   P   NoDep    00 00                     0.00                0.00 06/30/20               0.00                0.00          0,00           0.00

007449    |NTX385288

          000     01/31/14                  0,00   P   NoDep    00 00                     0.00                0.00 06/30/20               0.00                0,00          0,00           0,00

007450    |NTX385311

          000     01/31/14                  0.00   P   NoDep    00 00                     0.00                0.00 06/30/20               0,00                0,00          0,00           0,00

007451    |NTX385381

          000     01/31/14                  0,00   P   NoDep    00 00                     0,00                0.00 06i30/20               0,00                0,00          0,00           0,00

007452    |NTX385956

          000     0t/31/14                  0,00   P   NoDep    00 00                     0.00                0,00 06/30/20               0,00                0,00          0,00           0,00
007453    |NTX385975



A$d6,gpoel11l3Ail                                                                                                                                                                                 PeF{6
       Case 20-11139-1-rel                              Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                                               Desc Main
                                                             Document    Page 104 of 370

                                                                                lnteHate Commodities, lnc.
                                                                                      Depedailion Epense Bepoil

                                                                                          AsolJrlySl,2020

Book = Intemal

FYE ltilonh = December



                 ln   Srr     AoflM          P   D€p.      Ed      Salv/l68Ahw            Doprochbb        Prid       ftitAE&m               DoFtddion          CmnlYlD          Cunrtlcqn    lGy
S}ltlo Ert Dah                               T   lldt      tft       S€c 179                               Ihru       Doprsrirdiort           thbRun            Dopror*dicn      Dogocffin    Co&


OLAselArdtlo=         lflIl
         000     01/31/14             0.00   P   NoDep     00 00               0,00                   0,00 06/30/20               0,00                 0.00               0,00         0.00

007454   |NTX385985

         000     01/31/14             0.00   P   NoDep     00 00               0.00                   0.00 06/30/20               0.00                 0.00               0.00         0,00

007455   |NTX385989

         000 0l/31/14                 0.00   P   NoDep     00 00               0,00                   0,00 06/30/20               0.00                 0,00               0.00         0,00

007456   INTX 53772

         000     01/31/14             0.00   P   NoDep     00 00               0,00                   0.00 06/30/20               0,00                 0,00               0.00         0,00

007457   INTX 53773

         000     01/31/14             0.00   P   NoDep     00 00               0,00                   0.00 0d30/20                0,00                 0,00               0,00         0,00

007458   |NTX54442

         000     01/31/14             0.00   P   NoDep     00 00               0,00                   0.00 06/30/20               0,00                 0,00               0,00         0,00

007459   1NTX765709

         000 01/3vl4                  0.00   P   NoDep     00 00               0,00                   0.00 06/30/20               0.00                 0,00               0,00         0.00

007460   |NTX765711

         000     01/31/14             0.00   P   NoDep     00 00               0,00                   0,00 06/30/20               0,00                 0.00               0,00         0.00

007461   |NTX765726

         000 01n1n4                   0.00   P   NoDep     00 00               0,00                   0,00 06/30/20               0.00                 0.00               0.00         0.00

007462   |NTX765727

         000     01/31/14             0.00   P   NoDep     00 00               0.00                   0,00 06/30/20               0.00                 0.00               0.00         0.00

007463   1NTX765740
         000     01/31/14             0.00   P   NoDep     00 00               0.00                   0,00 06/30/20               0.00                 0,00               0.00         0,00

007464   |NTX765746

         000     01/31/14             0.00   P   NoDep     00 00               0.00                   0.00 06/30/20               0,00                 0,00               0.00         0,00

007465   |NTX765750

         000 0r/3vl4                  0.00   P   NoDep     00 00               0.00                   0.00 06/30/20               0,00                 0.00               0,00         0,00

007466   |NTX765751

         000     01/31/14             0.00   P   NoDep     00 00               0.00                   0.00 0d30/20                0,00                 0,00               0,00         0,00

007467   1NTX765765

         000 01/3vl4                  0,00   P   NoDep     00 00               0.00                   0.00 06/30/20               0.00                 0.00               0,00         0.00

007468   |NTX765799

         000     01/31/14             0,00   P   NoDep     00 00               0.00                   0.00 06/30/20                   0.00             0.00               0,00         0.00

007469   |NTX765808

         000     01/31/14             0,00   P   NoDep     00 00               0.00                   0,00 06/30/20                   0.00             0,00               0.00         0.00

007470   |NTX765814

         000     01/31/14             0,00   P   NoDep     00 00               0,00                   0,00 06/30/20                   0,00             0,00               0.00         0.00

007471   |NTX765820

         000     01/31/14             0,00   P   NoDep     00 00               0,00                   0,00 06/30/20                   0,00               0,00             0.00         0,00

007472   |NTX765821

         000     01/31/14             0,00   P   NoDep     00 00               0,00                   0,00 06/30/20                   0,00               0.00             0,00         0,00

007473 INTX7658A
         000 0ln1n4                   0,00   P   NoDep     00 00               0,00                   0.00 0fl30/20                   0,00               0.00             0,00         0,00

007474   |NTX765829

         000     01/3'1/14            0.00   P   NoDep     00 00               0.00                   0.00 0d30/20                    0.00               0.00             0,00         0.00

0074i5   |NTX765848

         000     01/31/14             0.00   P   NoDep     00 00               0.00                   0,00 06i30/20                   0.00               0,00             0.00         0.00

007476   |NTX765849

         000     01/31/14             0.00   P   NoDep     00 00               0.00                   0,00 06/30/20                   0,00               0,00             0.00         0.00

007477   |NTX765858

         000     01/31/14             0.00 P NoDep         00 00               0.00                   0,00 06/30/20                   0,00               0,00             0.00         0.00

007478   INTX765860

         000     01/31/14             0.00   P   NoDep     00 00               0.00                   0.00 06/30/20                   0.00               0.00             0,00         0,00

007479   INTX 765871



ft{ll6,O20rllll3All                                                                                                                                                                           Paoo17
        Case 20-11139-1-rel                            Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                                           Desc Main
                                                            Document    Page 105 of 370

                                                                              lnterctate Commodities, lnc.
                                                                                    Depec{dion Epense         Repil
                                                                                        As   olJdy31, 20[t

Book = lntemal

FYE ltilmh = December


                 lnSrr       lc$ied          P   DEr      E il    &lv/168Ahil          Dopt0chllo          Rix        hixAciln          Dqrtcidon           CumntY'ID      CrmnlAcqn      lGy

rysNo Ed         Ddo          Vsluo          T itdr       tft       S€c179                   Basb          thru       Doptddbrt          Ihb   Run          Dopddion       Dof,€cfu[in    Codo



G/LAseetlrdtlo= 1$7
          000    01/31/14             0,00   P   NoDep    00 00              0.00                   0,00 06/30/20                0,00                0.00           0.00           0.00
007480    |NTX765880

          000    0131/14              0,00   P   NoDep    00 00              0.00                   0.00   06/30/20              0,00                0.00           0.00           0,00

007481    |NTX765887

          000    01/31/14             0,00   P   NoDep    00 00              0,00                   0.00   06/30/20              0,00                0.00           0,00           0.00

007482    |NTX765895

          000    01/31/14             0,00   P   NoDep    00 00              0.00                   0.00   06/30/20              0,00                0,00           0,00           0,00

007483    |NTX765903

          000    01/31/14             0,00   P   NoDep    00 00              0,00                   0.00   0d30/20               0.00                0,00           0,00           0.00

007484    INTX765920

          000    01/31/14             0,00   P   NoDep    00 00              0,00                   0.00   06/30/20              0.00                0,00           0,00           0.00

007485    |NTX765922

          000 0v31/14                 0,00   P   NoDep    00 00              0.00                   0.00   06/30/20              0.00                0,00           0,00           0.00

007486    |NTX765929

          000    01/31/14             0,00   P   NoDep    00 00              0,00                   0.00   06/30/20              0.00                0.00           0.00           0,00

007487    |NTX765932

          000    01/31/14             0.00   P   NoDep    00 00              0.00                   0.00   06/30/20              0.00                0,00           0.00           0,00

007488    INTX765938

          000    01/31/14             0,00   P   NoDep    00 00              0.00                   0.00   06/30/20              0.00                0.00           0.00           0,00

007489    INTX 765949

          000 01/3114                 0,00   P   NoDep    00 00              0.00                   0,00 06/30/20                0,00                0.00           0.00           0,00

007490    INTX i65961

          000    01/31/14             0,00   P   NoDep    00 00              0.00                   0,00 06/30/20                0,00                0.00           0,00           0.00

007491    |NTX765966

          000    01/31/14             0,00   P   NoDep    00 00              0.00                   0,00 06/30/20                0.00                0,00           0,00           0.00

007492    |NTX765981

          000    01/31/14             0,00   P   NoDep    00 00              0.00                   0,00 06/30/20                0.00                0,00           0.00           0.00

007493    INTX 765986

          000 0t/31/14                0,00   P   NoDep    00 00              0,00                   0,00 06/30/20                0.00                0.00           0,00           0.00

007494    INTX i65991

          000    01/31/14             0,00   P   NoDep    00 00              0,00                   0.00   06/30/20              0.00                0.00           0.00           0.00
007495    |NTX769239

          000    01/3'1/14            0,00   P   NoDep    00 00              0,00                   0,00   06/30/20              0,00                0.00           0.00           0,00
007496    |NTX769242

          000    01/31/14             0,00   P   NoDep    00 00              0,00                   0.00   06/30/20              0,00                0.00           0,00           0,00

00749i    INTX 769245

          000    01131/14             0,00   P   NoDep    00 00              0,00                   0.00   06/30/20              0,00                0,00           0,00           0.00

007498    |NTX769247

          000    01/31/14             0,00   P   NoDep    00 00              0.00                   0.00   06/30/20              0,00                0,00           0,00           0,00

007499    |NTX769252

          000    01/31/14             0.00   P   NoDep    00 00              0,00                   0.00 06/30/20                0.00                0,00           0.00           0.00

007500    |NTX769254

          000    01/31/14             0.00   P   NoDep    00 00              0,00                   0,00 06/30/20                0.00                0.00           0.00           0,00

007501    INTX 769257

          000    01/31/14             0.00 P NoDep        00 00              0.00                   0.00 06/30/20                0,00                0.00           0.00           0,00

007502    |NTX769263

          000    01/31/14             0.00   P   NoDep    00 00              0.00                   0.00   06/30/20              0,00                0.00           0,00           0,00
007503    |NTX769271

          000    01/31/14             0,00   P   NoDep    00 00              0.00                   0.00   06/30/20              0,00                0,00           0,00           0,00

007504    |NTX800363

          000    01/31/14             0.00   P   NoDep    00 00              0,00                   0.00   06/30/20              0.00                0,00           0,00           0.00

007505    |NTX800880



Auet[l6,XPos(   lllgAll                                                                                                                                                                   PeFlS
       Case 20-11139-1-rel                                       Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                                                 Desc Main
                                                                      Document    Page 106 of 370

                                                                                            lntentate Commodilies, lnc.
                                                                                                  Dqtecialion Eryenso Ropod

                                                                                                      As ol Jdy 31 , 2t20


Book= Intemal

FYE ltlonh = December


                lnSrc            AcqrM             P   DEr         Eri      Sslv/168Alon              Dop€ebb          ftir       ftilAccim             DEocidion          CrmtY'ID        CumntAccun        lGy
                                                                                    ,l79
StsNo Ed        Ddo              Value             T   tHr         tft        Soc                       Ba{*r          Ihru       D€prorir[ion           Ihb Run           Doprddhtt       Depet*dion Co*

G/LArst[Ardtlo=       lflI/
         000    01/31/14                    0,00 P     NoDep       00 00                   0.00                 0.00   06/30/20                  0,00              0.00            0,00               0,00

007506   |NTX872071

         000    01/31/14                    0,00 P     NoDep       00 00                   0.00                 0.00 06/30/20                    0.00              0,00            0,00               0.00

007507   |NTX872431

         000    01/31/14                    0.00   P   NoDep       00 00                   0.00                 0,00 06/30/20                    0,00              0.00            0.00               0.00

007529 CN|S368757/|NTX38001
         000    11/30/15            1   1,300.00   P   SLMI\,I      15 00           8,000.00               3,300.00    06/30/20            987.23                  18.33         128.33         1,115.56 r
007530   0NLX 7106/ INTX 38002
                                                                                                                                                                                 '128,33
         000    11/30/15            1   1,300.00   P   SLMI\,I      15 00           8,000.00               3,300,00    06/30/20            987,23                  18.33                        1,115,56 r
007531 CNLX7115/|NTX38003
         000    1l/30/15            1   1,300.00   P   SLMM         15 00           8,000.00               3,300,00    06/30/20            98i,23                  18.33         128.33         1,115,56 r
007532 CNLX7339/|NTX38004
         000    11/30/15            1   1,300.00   P   SLMM         15 00           8,000,00               3,300,00    06/30/20            987.23                  18,33         128,33         1,115.56 r
007533   CNLX 7595/ INTX 38005

         000    11/30/15            '11,300,00     P   SLMM         15 00           8,000,00               3,300,00    0d30/20             987.2s                  18.33         128,33         1,1   15.56 r
007534   CNLX 9138/ INTX 38006

       000 1 1/30/15                1   1,300,00   P   SLI\,lM      15 00           8,000,00               3,300.00    06/30/20            987.23                  18.33         128,33         1,115.56 r
007535 CNU 100m/NTX38007
       000 11/30/15                 11,300,00      P   SLITM        15 00           8,000,00               3,300.00    06/30/20            987,23                  18.33          128.33        1,115,56 r
007536 CNLX10155/|NTX38008
       000 1 1/30/15                11,300,00      P   SLMI\,I      15 00           8,000.00               3,300,00    06/30/20            987.23                  18,33          128,33        1,115.56 r
007537 CNLX10854/|NTX38009
       000 11/30/15                 11,300.00      P   SLMI\,I      15 00           8,000.00               3,300,00    06/30/20            987.23                  18,33          128,33        1,1   15.56 r
007540 SLRG 2152/|NTX2152
       000 1 1/30/15               22,000.00       P   SLMM         15 00           8,000,00               14,000.00   0331/20            3,899.99                  0.00         233,33         4,133.32 dr
007541   SLBG2153/|NTX2153

         000    11/30/15           22,000.00 P         SLMM         15 00           8,000,00               14,000.00   06/30/20           3,899,99                  0.00         466.66         4,366,65 dr
007543 SLRG2157/NTX2157
         000    t1/30/15           22,000.00 P         SLMM         15 00           8,000.00               14,000.00   02129120           3,899.99                  0,00          155,5s        4,055.54 dr
007544   SLRG2158/NTX2158
         000    11/30/15           22,000,00 P         SLMM         15 00           8,000.00               14,000,00   uBln0              3,899.99                  0.00           77.78        3,977.77 dr
007546   SLRG2161/INTX2161

         000    11/30/15           22,000,00 P         SLIIM        15 00           8,000.00               14,000.00   0d30/20            3,899,99                 77.78          544,44        4,444.43 t
007549   SLRG2182/|NTX2182

         000    't
                     1/30/15        22,000,00      P   SLMI\,I      15 00           8,000,00               14,000.00   0s/31/20           3,899,99                  0,00          233.33        4,133,32 dr
007561 CNA385392/|NTX6479
         000    11/30/15            10,500.00      P   SLMI/|       15 00           8,000,00                2,500.00   0429120              769,46                  0.00           27.77          797,23 dr
007562 WC87213/|NTX6482
         000    1    1/30/1s        10,500.00      P   SLMM         15 00           8,000.00                2,500,00   03/31/20             769.46                  0.00           41.66          811.12 dr
007565   CC800075/|NTX6489
         000    11/30/15            10,500.00      P   SLMM         15 00           8,000.00                2,500,00   04/30/20             769.46                  0.00           55,55          825.01 dr
007567   CNA3853135/INTX6494

         000    11/30/15            10,500.00      P   SLMM         15 00           8,000.00                2,500,00   04/30/20             769,46                  0,00           55.55          825,01 dr
007568   CC800098/|NTX6497
         000    1    1/30/15        10,500,00      P   SLI\,lM      15 00           8,000,00                2,500.00   06/30/20             769.46                 13,89           97.22          866,68 r
007569 CNA385297/|NTX6498
         000    1    1/30/15        10,500,00      P   sLMtlt       15 00           8,000.00                2,500.00   04/30/20             769.46                  0.00           55,55          825.01 dr
007575 CNA385025/|NTX6528
         000    11/30/15            10,500.00      P   SLMM         15 00           8,000.00                2,500,00   0429t20              769,46                  0.00           27,77          797.23 dt
007580 cc46108/|NTX6537
         000    1'1/30/'15          10,500,00      P   SLMM         15 00           8,000.00                2,500.00   0429n0               769.46                  0,00           27.77          797.23 dt
007581 cNA385942/|NTX6538


Auts6,20md     1fi3lrl                                                                                                                                                                                       P{019
        Case 20-11139-1-rel                                        Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                                                  Desc Main
                                                                        Document    Page 107 of 370

                                                                                                lnterc{ate Commodities, lnc.
                                                                                                     Drysdalion Eeenss Repoil
                                                                                                         As ol Jrly 31, 2020


Book = lntemal

FYE Monh = December


                 ln$r               AcStiad          P   DE          Ed          Salv/168AIow            Dogechbb         Ri'         ftixAcffii       Doptecidion            Cm{rtY'ID       Cur€ntAcdrn     lGy

SrrNo En         Dds                                 T   tl€dr       tle           Soc
                                                                                         .l79
                                                                                                                          lhru        Dneidhn           lhb   Hun             DsmcHon         Domddon        Co&



GtAadAndNo=lfln
         000     1   1/30/1s            10,500.00    P   SLI\4M       15 00              8,000.00             2,500.00    0u31/20            769,46                  0.00            41.66          811,12 dr

007582 CC800m7/NTX6542
         000     11n0n5                 10,500,00    P   SLI\4M       15 00              8,000.00             2,500.00    04/30/20           769.46                  0,00            55.55          825.01 dr

007583 CNA385270/|NTX6543
         000     11/30/15               10,500,00    P   SLMM         15 00              8,000,00             2,500,00    02129120           769.46                  0,00            27.77          797.23 dr

007584   CC16164/|NTX6545
         000     11n0ns                 10,500,00    P   SLMM         15 00              8,000.00              2,500.00   02129120           769,46                  0.00            27.77          797.23 dt
007585   CNA 385348/ INTX 6547
                                                                      '15                                                                                                            qE EE
         000     1   1/30/15            10,500.00    P   SLMI\4             00           8,000.00              2,500.00   04/30/20           769,46                  0,00                           825,01 dr

007586   WC 82233/ INTX 77001

         000     11/30/15               10,500.00    P   SLMM         15 00              8,000.00              2,500,00   02129n0            769.46                  0.00            27.77          797.23 dr
007590   CNA385305/|NTX77009
         000     11/30/15               10,500.00    P   SLI\,lM      15 00              8,000,00              2,500,00   04/30/20           769.46                  0.00            55,55          825,01 dr

007593 CNA385347/|NTX77m5
         000     11/30/15               10,500,00    P   SLMM         15 00              8,000.00              2,500,00   0429n0             769,46                  0,00            27.77          797,23 dr

007596 CNA385268/|NTX77M0
         000     11/30/15               10,500,00    P   SLMI\4       15 00              8,000.00              2,500.00   06/30/20           769,46                 13,89            97.22          866.68 r

007597   CC54320/|NTX77043
       000 11/30/15                     10,500.00    P   sLMtr4       15 00              8,000.00              2,500.00   03/31/20           i69.46                  0.00            41,66          81   1.12 dr
007600 cN 384m4/|NTX77046
       000 11/30/15                     10,500.00    P   SLI\4M       15 00              8,000,00              2,500,00   02129120           769,46                  0.00            27.77          797,23 dr

007604 cc5384l/INTX77114
       000 11/30/15                     10,500,00    P   sLtltM       'i5 00             8,000.00              2,500.00   01/3 1/20          769.46                  0,00            13,89          783.35 dr

007608 cc800093/INTX77122
         000     11/30/15               10,500,00    P   SLMM         15 00              8,000.00              2,500.00   0429120            769.46                  0.00            27,77          797,23 dr
007610 cNA       385473/|NTX77127

          000    11/30/15               10,500,00    P   SLMI\,I      15 00              8,000,00              2,500,00   05/31/20            769,46                 0,00            69.44          838,90 dr

007613   CN4385410/|NTX77132
                                        '10,500.00                                                                                                                                   '13,89
          000    1   1/30/15                         P   SLMM         15 00              8,000.00              2,500.00   01/31/20            769.46                 0,00                           783.35 dr

007614   CC53819/|NTX77133
          000    1   1/30/15            10,500.00    P   SLI/lM       15 00              8,000.00              2,500.00   06/30/20            769.46                13.89            97.22          866.68 r

0076'16 CNA385342/|NTX77136
          000    11/30/15               10,500,00    P   SLMI\4       15 00              8,000,00              2,500,00   06/30/20            769,46                13,89            97.22          866,68 r

007617 CNLX8410/|NTX7151
          000    11/30/15               10,500.00    P   SLMM         15 00              8,000,00              2,500.00   06/30/20            769.46                13,89            97,22          866.68 r

007618   DWC384879/|NTX7152
          000    1   1/30/15            10,500.00    P   SLMM         15 00              8,000.00              2,500.00   01/31/20            769.46                  0.00           13.89          783.35 dr
007625   CC 53824/ INTX 7164

          000    1   1/30/15            10,500,00    P   SLI\,lM      15 00              8,000,00              2,500,00   06/30/20            769.46                 13,89           97.22          866,68 r

007627 CNA385021/|NTX7167
          000    11/30/15               10,500,00    P   SLMI\4       15 00              8,000.00              2,500,00   06/30/20            769.46                 13,89           97,22          866.68 r

007629 CC16298/|NTX7169
          000    11/30/15               10,500.00    P   SLMM         15 00              8,000.00              2,500.00   0181n0              769,46                  0.00            13.89         783,35 dr
007631    CN 384032/|NTX7t72
                                        '10,500.00                    '15 00
          000    11/30/15                            P   SLMM                            8,000,00              2,500,00   06/30/20            769,46                 13,89           97,22          866,68 r

007634    CNA385394/|NTX7175
                 '11/30/15
          000                           10,500,00    P   SLMM         15 00               8,000,00             2,500.00   06/30/20            769.46                 13.89           97.22           866.68 r

007635 CN|S368365/|NTX7176
                                                                                                                                                                     '13,89
          000    11/30/15               10,500,00    P   SLMI\4       15 00               8,000.00             2,500.00   06/30/20            769,46                                 97.22           866,68 r
007635 CNLX10199/|NTX7177
          000    11/30/15               10,500.00    P   SLMM         15 00               8,000,00             2,500,00   06/30/20            769.46                 13.89            97,22          866,68 r

007637    CNLX 10831/|NTX7178



                                                                                                                                                                                                               P{s50
^l[!i5,nmdlffirt
         Case 20-11139-1-rel                                      Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                                             Desc Main
                                                                       Document    Page 108 of 370

                                                                                            lntestate Commodities, nc,          I



                                                                                                Deptetliallon Eryenso R€port

                                                                                                    AsolJdy3l,2020

Book= lntemal

FYE   iilmg   = December


                 lnS'rc           ArquM           P   Dopr          Esi        Setun68Ahw           Dogocbbh         Rix            ftiotAciln        DEocidion          Cmntl'ID         fuEntAftrm     lGy
SrsNo     Ht     DS                Value          T   lldr          tft          Soc 179                             Ihru           DemCUm             Ihb Run           DopmcHhn         Demc*uion Co*

GiLAsdArdNo= 1S7
          000    11/30/15             10,500,00       st|\4rlt      15 00            8,000.00             2,500.00   06/30/20              769,46                13,89         97.22            866,68 r
007638    |C769330/|NTX7179
          000    1l/30/15             10,500,00       SLMI\4        15 00            8,000,00             2,500.00   06/30/20              769,46                13,89         97.22            866,68 r
007640 CC55121/INTX7181
          000    1   1/30/15          10,500,00       sLt\4t\,t     15 00            8,000,00             2,500.00   06/30/20              769,46                13,89         97.22            866,68 r
007641 CNA385027/|NTX7182
          000    11/30/15             10,500,00       sLMtlt        15 00            8,000,00             2,500.00   06/30/20              769,46                13,89         97,22            866.68 r
007642    CC   s3954/ INTX 7184
          000    1   1/30/15          10,500.00       SLMi,,|       15 00            8,000.00             2,500.00   06/30/20              769,46                13,89         97.22            866,68 r
007643    CNLX 108i0/|NTX7187

          000    11/30/15             10,500,00       SLMI\,I       15 00            8,000.00             2,500.00   06/30/20              769,46                13,89          97.22           866,68 r
007644 CNA385477/|NTX7188
          000    11/30/15             10,500.00       SLMI\4        '15 00           8,000.00             2,500.00   06/30/20              769,46                13.89          97,22           866.68 r
007645    UNPX 123719/ INTX 123719

          000    1'1130/15            25,000.00       sLMtlt        15 00            8,000,00            1i,000.00   06/30/20             4,716.66                0.00        566.67           5,283,33 dr
007647    UNPX 123920/ INTX 123920

          000    1   1/30/15          25,000.00       SLMI\4        15 00            8,000.00            17,000.00   0t31/20              4,716.66                0.00         472,22          5,188.88 dr
007648    UNPX 1A928/ INTX 't23928

       000 1 1/30/15                  25,000.00       sLMtlt        15 00            8,000.00            17,000.00   0u31/20              4,716.66                0.00        283,33           4,999.99 dr
007649 UNPXlA$5/|NTX123935
       000 1v30/15                    25,000.00       SLMI\4        15 00            8,000.00            17,000.00   06/30/20             4,716.66                0.00        566,67           5,283.33 dr
007650 UNPX 1A946/INTX 123946
       000 1 1/30/15                  25,000.00       sLt\4t/       15 00            8,000.00            17,000.00   06/30/20             4,716.66                0.00        566,67           5,283,33 dr
007651    UNPX 123947/ INTX 123947

          000    1   1/30/15          25,000.00       sLt\4tlt      15 00            8,000.00            17,000.00   06/30/20             4,716.66                0,00        566,67           5,283,33 dr
007652    UNPX 123969/ INTX 123969

          000    1   1/30/15          25,000.00       SLMI\,I       15 00            8,000.00            17,000.00   06/30/20             4,716,66                0,00        566.67           5,283,33 dr
007653    UNPX lzJgga/|NTX 123993

          000    11/30/15             25,000.00       SLI\4M        15 00            8,000.00            17,000,00   04n0120              4,716,66                0,00        377.78           5,094,44 dr
007654    UNPX 124001 / INTX 124001

          000    11/30/15             25,000,00       SLI\4M        15 00            8,000.00            17,000,00   06/30/20             4,716,66               94,45        661.1   1        5,377.77 dr
007655    UNPX 124009/ INTX 124009

          000    11/30/15             25,A5.00        SLI\4M        15 00            8,000,00            17,A5,00    06/30/20             4,780,65                0.00        574,50           5,355,15 dr
007656 ACFX38500/|NTX38500
          000    11/30/15             21,M4.00        SLI\4M        t5    00         8,000,00            13,644,00   06/30/20             3,803.10               75.80        530,60           4,333.70 r
0076s7    ACFX38503/|NTX38503
          000    11/30/15             21,644.00       SLI\4M        15 00            8,000,00            13,644.00   06/30/20             3,803.10               75,80        530,60           4,333.70 r
007658 ACFX38504/|NTX38504
          000    11/30/15             21,644.00       SLI\4M        15 00            8,000,00            13,644.00   06/30/20             3,8m.10                75.80        530,60           4,333.70 r
007661 ACFX38527/|NTX38527
          000    I 1/30/1s            21,644,00       SLI\4M        15 00            8,000,00            13,644.00   06/30/20             3,8ffi.10              75.80        530.60           4,333,70 r
007662    ACFX 38528/ INTX 38528

          000    1   1/30/15          21,M4,00        SLI\4M        15 00            8,000,00            13,644.00   06/30/20             3,8m,10                75,80         530.60          4,333,70 r
007663 ACFX38724/|NTX38724
          000    11/30/15             21,644.00       SLI\4M        15 00            8,000.00            13,644.00   06/30/20             3,803,10               75,80         530.60          4,33i],70 r
007665 ACFX38828/|NTX38828
          000    11/30/15             21,644,00       SLI\4M        15 00            8,000,00            13,644.00   03/31/20             3,803,10                0,00         227,40          4,030,50 dr
007666 ACFX39110/|NTX39110
          000    11/30/15             21,644,00       SLI\4M        15 00            8,000,00            13,644.00   06/30/20             3,803.10               75,80         530,60          4,333,70 r
007667 ACFX39119/|NTX39119
          000    11/30/15             21,644,00       SLMM          15 00            8,000.00            13,644,00   06/30/20             3,803.10               75.80         530.60          4,333.70 r
007670 ACFX41929/INTX41929


tugrll6,2U0rl11l3lll                                                                                                                                                                                     PaF51
        Case 20-11139-1-rel                                        Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                                               Desc Main
                                                                        Document    Page 109 of 370

                                                                                             lnterctate Commodities, lnc.
                                                                                                   Depmctudion Eryense      Repot
                                                                                                       AsolJrly31,2020

Book= lntemal

FYE   ilonh   = December


                 lnSrr            lc$iod             P   Dept Ed                 Salv/1684bry          DoFoeilo          htr        ftitAcon          D€pGcidort          CmurlYlD               CrmrtAcffii     lcv
SlsNo Ed         Ddo               VdrD              T   li{oh tft                 Soct?g                Bash            Ihru       Dopsddiort         Ihb Run            Doprocidion            DrFocluim       co6


G[AsdApdNo=lflI/
          000    11/30/15               21,644,00        SLMI\4       15 00            8,000,00            13,644.00     06/30/20         3,8m.10                75,80            530,60                4,333,70 r
007672    PLCX   43790/|NTX43790
          000    11/30/15               21,644.00        SLMI\4       15 00            8,000,00             13,644.00    06/30/20         3,8m.10                75,80            530,60                4,333,70 r
007673    PLCX43793/|NTX43793
          000    11/30/15               21,644.00        SLMI\4       15 00                 0.00           21,U4.00      0413u20          5,891,98                0,00            480,s8                6,372.96 d
007679    PLCX43818/|NTX43818
          000    11/30/15               21,644.00        SLMI\4       15 00            8,000,00             13,644.00    06/30/20         3,803,10               75.80            530,60                4,333.70 r
007681    PLCX43831/|NTX43831
          000    11/30/15               21,644.00        stMt\4       15 00            8,000.00             13,644.00    06/30/20         3,803,10               75.80            530.60                4,333.70 r
007682    PLCX 438&3/ INTX 43833

          000    11/30/15               2't,644.00       SLMM         15 00            8,000.00             13,644,00    06/30/20         3,803,10               75,80            530.60                4,333.70 r
007683    PLCX 43836/ INTX 43836

          000    11/30/15               21,644.00        SLMM         15 00            8,000.00             '!3,644,00 06/30/20           3,803.10               75,80            530.60                4,333,70 r
007686    NAHX 59171 / INTX 59171

          000    1t30/15                21,644.00        SLI\,lM      15 00            8,000.00             13,644,00    0a2st20          3,8m.10                 0,00            151,60                3,954.70 dr
007687    NAHX 60484/ INTX 60484

          000    1   1/30/15            21,M4.00         SLI\4M       15 00            8,000.00             13,644,00    0d30/20          3,8m.10                75.80            530,60                4,333.70 r
007688    NAHX 60492/ INTX 60492

          000    11/30/15               21,644,00        SLI\4M       15 00            8,000.00             13,644,00    06/30/20         3,803.10               75.80            530.60                4,333.70 r
007690    ACFX 69979/ INTX 69979

          000    1   1/30/15            21,644.00        SLI\4M       15 00            8,000,00             13,644.00    04130n0          3,803,10                0.00            303.20                4,106.30 dr
007691    ACFX 69985/ INTX 69985

          000    11/30/15               21,644,00        SLMM         15 00            8,000,00             13,644.00    0331/20          3,803,10                0,00            227.40                4,030.50 dr
007705    ACFX 99425/ INTX 99425

          000    1   1/30/15            21,M4,00         SLMM         15 00            8,000,00             13,644.00    06/30/20         3,8m.10                75,80            530,60                4,333,70 r
007707    UNPX 120127/ INTX 120127

          000    11/30/15               18,000,00        SLMM         15 00            8,000,00             10,000,00    06/30/20         2,81 1,13              55.56            388,89                3,200,02 r
00771'1   UNPX 120134/INTX 120134
                                        '18,000,00                                                          '10,000,00
          000    11/30/15                                SLMI\4       15 00            8,000,00                          06/30/20         2,81 1.13              55.56            388,89                3,200,02 r
007713    UNPX 120148/ INTX 120148

          000    11130/15               18,000,00        SLMI\4       15 00            8,000.00             10,000,00    06/30/20         2,81 1,13              55.56            388.89                3,200.02 r
007714    UNPX 120149/ INTX'120149

          000    1   1/30/15            18,000.00        SLMI\4       15 00            8,000.00             10,000.00    02129120         2,811,'13                0,00           11 1.1 1              2,922.24 dt
007718    UNPX 120177/ INTX'120177

          000    1l/30/15               18,000.00        SLMM         15 00            8,000.00             10,000.00    01131n0          2,81 1,13                0,00               55.56             2,866,69 dr
007721    RPEX 120116/INTX 120116

          000    11/30/15               18,000,00        SLMM         15 00            8,000,00             10,000.00    01/31/20         2,81 1.13                0,00                   0.00          2,811,13 dr
007723    RPEX 120155/INTX 120155

          000    11/30/15               18,000,00        SLMM         15 00            8,000,00             10,000,00    06/30/20         2,81 1.13              55.56            388,89                3,200,02 r
007724    RPEX'120184/INTX     120184

          000    11/30/15               18,000.00        SLI\4M       15 00            8,000,00             10,000,00    0429120          2,81 1.13                0.00           1   1   1.11          2,922.24 dt
007726    RPEX'120183/INTX     1201E3

          000    11/30/15               18,000.00        SLI\,lM      15 00            8,000,00             10,000,00    06/30/20         2,81 1,13              55,56            388.89                3,200.02 t
007728    RPEX 120112/|NTX120112
                                                                      '15
          000    1   1/30/15            18,000.00        SLMM               00         8,000.00             10,000.00    06/30/20         2,81 1.13              55,56            388,89                3,200,02 r
007729    BPEX 120170/ INTX 120170

          000        1/30/15            18,000.00        SLMM         '15 00           8,000.00                          0t3t/20          2,81 1.13                0.00           277.78                3,088,91 dr
                 1                                                                                          10,000.00

007733    BPEX 120166/ INTX 120166

          000    11/30/15               18,000.00        SLMM         15 00            8,000.00             10,000,00    0429n0           2,81 1.13                0.00           111.1      1          2,922,24 dt
00i735    BPEX 120137/ INTX 120137

          000    1   1/30/15            18,000,00        sLMtlt       15 00            8,000,00             10,000,00    06/30/20         2,81 1,13              55,56            388.89                3,200.02 r
001737    RPEX 120159/ INTX 1201s9



AltrH6,mmdlll3^fl                                                                                                                                                                                                PrF52
         Case 20-11139-1-rel                                          Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                                                    Desc Main
                                                                           Document    Page 110 of 370

                                                                                                   lntemtate Commodities, nc,               I



                                                                                                         Deprecialion Eponso B€poil

                                                                                                             As   olJrly3l,202t

Book= lntemal

ffi   illmh   = December


                   ln   Srvc        Ac$M PDoF                           Ei         SalY/168Ahw               Drlelclrbb         ftkr            ftirAoqrn        DEnddion           CusriYlD            qnottt&qm       lq
S]tNo Ed           Dab              Value T ir$                         Lft          S€c
                                                                                           .l79
                                                                                                                  Basb          Ihru            Degedahn          Ihb Bun           Ihpn*ubn             Dog€clfrn      Coe


GIL Asset   Acd tlo =    lfll7
             000   11/30/15                18,000,00   P   sLl\4M        15 00             8,000,00                 10,000,00   01/31/20             2,81 1,13               0.00            55,56           2,866,69 dr
007738      RPEX 120158/INTX 120158

             000   11/30/15                18,000,00   P   sLt\4M        15 00             8,000,00                 10,000,00   0429120              2,81 1,13               0.00        11 1.1 1            2,922,24 dr
007739      RPEX 120120/INTX 120120

             000   11/30/15                18,000,00   P   sLl\,,|M      15 00             8,000.00                 10,000,00   03/31/20             2,81 1.13               0,00        166,67              2,9n,80    dr

007740      RPEX 120151 /INTX 120151

             000   11/30/15                18,000,00   P   sLl\4M        15 00             8,000,00                 10,000,00   06/30/20             2,81 1.13              55,56        388,89              3,200.02 r
007741      RPEX'120198/|NTX     120198

             000   11/30/15                18,000,00   P   sLt\4M        15 00             8,000.00                 10,000.00   0429t20              2,81 1.13               0,00        1   11,1   1        2,922.24 dt
007746      RPEX 120150/|NTX 120150

             000   11/30/15                18,000,00   P   sLl\4M        15 00             8,000,00                 10,000,00   06/30/20             2,81 1.13              55,56        388,89              3,200.02 r
007747      RPEX 120153/INTX 120153

             000   11/30/15                18,000,00   P   sLt\4M        15 00             8,000.00                 10,000.00   02129n0              2,81 1.13               0.00
                                                                                                                                                                                         '111,11
                                                                                                                                                                                                             2,922.24 dt
007749      RPEX'120117/|NTX     120117

             000   11/30/15                18,000,00   P   sLl\,lM       15 00             8,000.00                 10,000,00   0u3l/20              2,81 1.13               0.00        166,67              2,9n.80    dt

007750      RPEX 120161 /INTX 120161

             000   11/30/15                18,000,00   P   sLt\4M        15 00             8,000.00                 10,000.00   0u31/20              2,81 1,13               0.00        166.67              2,9n.80 dt
0077s1      RPEX 120123/INTX 1201A

             000   11/30/'15               18,000,00   P   sLt\4M        15 00             8,000.00                 10,000.00   06/30/20             2,811,13               55.56        388.89              3,200,02 r
007754      RPEX 120018/|NTX 120018

             000   11/30/15                18,000,00   P   sLt\4M        15 00             8,000.00                 10,000.00   06/30/20             2,81 1,13              55,56        388,89              3,200,02 r
007755      UNPX 122272 I INIX   12227 2

             000   11/30/15                24,255,55   P   SL|\.,|M      t5   00           8,000.00                 16,255.55   0d30/20              4,514.00               90,30        632,15              5,146,15 r
007756      UNPX 1A092/|NTX 123092

             000   11/30/15                24,255,55   P   SLMM          15 00             8,000.00                 16,255.55   06i30/20             4,514.00                0,00        541,85              5,055,85 dr
007757      UNPX 1A189/|NTX 123189

             000   11/30/15                24,255.55   P   SLMM          15 00             8,000,00                 16,255,55   06/30/20             4,514.00               90.30        632.15              5,146.15 r
007758      UNPX   1A3gl/INTX    123393

             000   fi/30/15                24,255.55   P   SLMM          15 00             8,000,00                 16,255,55   06/30/20             4,514.00               90.30        632.15              5,146.15 r
007759      UNPX 1A395/|NTX 123395

             000   11/30/15                24,255.s5   P   SLMM          15 00             8,000,00                 16,255,55   06/30/20             4,514.00               90.30        632.15              5,146.15 r
007760      UNPX 1A413/INTX 123413

             000   t1/30/15                24,255.55   P   SLMM          15 00             8,000.00                 16,255.55   06/30/20             4,514,00                0,00        541.85              5,055.85 dr
007761      UNPX   1A6m/NTX      123603

             000   11/30/1s                24,255.55   P   SLMM          15 00             8,000.00                 16,255.55   05/3 1/20            4,514,00                0,00        451.54              4,965.54 dr
007762      UNPX 1A688/|NTX 123688

             000   11/30/15                24,255.55   P   SLMM          15 00             8,000.00                 16,255.55   06/30/20             4,514,00               90,30        632,15              5,146,15 r
007763      UNPX 1A692/|NTX 123692

             000   11/30/15                24,255.60   P   SLM|\4        15 00             8,000.00                 16,255.60   06/30/20             4,514.04                0.00        541.85              5,055,89 dr
007764      LKE #2 Boot

             000   11/30/15                 6,i00,00   P   sLMt\4        15 00                    0,00               6,700.00   0d30/20               1,823.90              37.22        260,55              2,084,45
007779      EmptyCarRevenue Movement- UNPX 122272

             000   1223/15                 13,220,79   P   SLMt\,t       10 00             8,000.00                  5,220.79   06i30/20             2,154.99               43.50        304.54              2,459.53 r
007780      Empty Car Revenue Movement- UNPX 123946

             000   1229/15                  5,084,92   P   SLMI/         10 00                    0.00               5,084,92   06/30/20             2,033,96               42.37        296.61              2,330.57
007781      Empty Car Revenue Movement.ACFX       38500

             000   1229/15                  1,704,29   P   SL|\4M        10 00                    0.00               1,704.29   06/30/20               681,72               14.20            99.41            781.13
007782      Empty Car Revenue Movement - ACFX 38504

             000   1229/15                  1,704,29   P   SL|\4M        10 00                    0.00               1,704.29   06/30/20               681.72               14,20            99.41            781.13
007783      Empty Car Revenue Movement - ACFX 38503

             000   12129115                 1,704,29   P   SL|\4M        10 00                    0,00               1,7M.29    0d30/20                681.72               14.20            99,41            781,13
007i84      Empty Car Revenue Movement - ACFX 391 10



tuet616,2U0r111:13|il                                                                                                                                                                                                   Pqogl
        Case 20-11139-1-rel                                                   Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                                                    Desc Main
                                                                                   Document    Page 111 of 370

                                                                                                         lntestate Commodities, nc.             I



                                                                                                               Depodrilion Ep€nso R€port

                                                                                                                   As ol Jtly 31, 202,0


Book = Intemal

FYE iilonh = December


                  lnSrt                tuquiod               P   Dopt           Ed         SalY/168Abw             Deps'*Uo          Prh            RirAccm              D€pmddbn           OrortYTD       qmilAcqnl       lGy
Sytilo Ed         Ddo                      Valuo             T   ileh           tft          Soc 'l79                Basb            Ihru           D$t€ddlort            thb Bun           Dqncmon         Dogo'*frn      Co&


G,LAa99tAcdNo= 1fl)7
            000   1229/15                      1,704.29      P   SLMI\4         10 00                   0,00             1,704.29    06/30/20              681.72                   14,20         99,41          781.13

00i785      Empty Car Revenue Movement-ACFX             38724

            000   1229/15                      1,704,29      P   SLMI\4         10 00                   0,00             1,704,29    06/30/20              681.72                   14.20         99,41          781.13

007786      Empty Car Revenue l\4ovement- ACFX 38527

            000   12129115                     1,7m,29       P   SLI\41\.,|     10 00                   0.00             1,704.29    06/30/20              681.72                   14.20         99.41          781,13

007787      Empty Car Revenue l\4ovement- ACFX          9952
            000   u29115                       1,704,29      P   SLI\4M          10 00                  0.00             1,7M.29     06/30/20              681.72                   14,20         99.41          781,13

007788      Empty Car Revenue l\4ovement - ACFX 385 19

            000   12129115                     1,704.29      P   SLI\4M          t0   00                0.00             1,7M.29     06/30/20              68172                    14,20         99,41          781,13

007789      Empty Car Revenue lllovement-ACFX           38528

            000   12129115                     1,704.29      P   SLMM            10 00                  0.00             11MtO       06/30/20              681.72                   14,20         99.41          781,13

007790      Empty CarRevenue Movement - ACFX 69985

            000   1231/15                      1,409.00      P   SLMM            10 00                  0.00             1,409.00    06/30/20              563.60                   11.74         82.19          645.79

007813      Shunt/StongeforUNPX- 123928
            000   1231/15                           286.70   P   SLMM            10 00                  0,00                286.70 06/30/20                 I 14.68                  2.39         16.72          13'1,40

0078   14   Shunt/Storage   for UNPX - 1 23092

            000   1231/15                           286.70   P   SLMM            10 00                  0,00                286.70 06/30/20                 1    14,68               2,39         16.72          131,40

007815      ShunuStonge for UNPX . 123393

            000   1231/15                           286,70   P   SLMI\4          10 00                  0.00                286.70 06/30/20                 1    14,68               2,39         16.72          131,40

007816      ShunyStonge lor UNPX - 123413

            000   1231/15                           286,70   P   SLMtll          10 00                  0,00                286,70   06/30/20               1'14,68                  2.39         16.72          131.40

007817      ShunUSlongeforUNPX- 123692
            000   1231/15                           286,70   P   SLI\4M          l0   00                0.00                286,70 06/30/20                 1    14.68               2.39         16.72          131.40

007818      ShunyStoragelorUNPX-           122272

            000   tz31l15                           286.70   P   SLI\4M          l0   00                0.00                286,70 06/30/20                 1    14.68               2,39         16.72          131.40

007819      ShunUStongeforUNPX-            123603

            000   1231/15                           286.70   P   SLMM            10 00                  0,00                286.70 00/30/20                 1    14,68               2,39         16,72          131,40

007820      ShunUStorage for UNPX - 123946

            000   1231/15                           286.70   P   SLMM            10 00                  0,00                286.70 06/30/20                 1    14.68               2,39         16.72          131,40

007821      ShunUStorage for UNPX - 123719

            000   1231/15                           286.70   P   SLMM            10 00                  0.00                286,70 06/30/20                 1    14.68               2.39         16.72          131.40

007822      Shunt/Storage   for UNPX   - 123935

            000   1231/15                           286,70   P   SLM|\4          10 00                  0.00                286,70 06/30/20                 1    14.68               2.39         16.72          131.40

007823      Shunystorage for UNPX - 123969

            000   1231/15                           286,70   P   SLMtll          10 00                  0.00                286.70 06/30/20                 1    14,68               2,39         16.72          131,40

007824      Shunt/Stonage for UNPX     - 123688

            000   1231/15                           286,70   P   SLI\4M          10 00                  0,00                286.70 06/30/20                 I 14.68                  2,39          16.72         131,40

007825      ShunVStonage lor TJNPX     - 123727

            000   1231/15                           286.70   P   SLMM            10 00                  0,00                286.70 0il30/20                 1    14.68               2.39          16.72         13'1.40

007826      ShunUStonge for UNPX - 1 23947

            000   123v15                            286.70   P   SLMM            10 00                  0.00                286,70   06/30/20               I 14.68                  2,39          16,72         131.40

007827      ShunUStonge for UNPX " 123395

            000   lz3v15                            286.70   P   SLMM            10 00                  0.00                286.70   06/30/20               1    14,68               2,39          16.72         131,40

007828      Shun/Storage for UNPX - 124001

            000   1m1n5                             286,70   P   sLMl\4          10 00                  0.00                286,70 0d30/20                  '1
                                                                                                                                                                 14,68               2,39          16.72         131,40

007829      ShunUStonge for UNPX       .   124009

            000   1231/15                           286,70   P   SLI\4M          10 00                  0,00                286.70 06/30/20                 1    14.68               2.39          16,72         131.40

007830      Shunt/Stonge for UNPX - 123920

            000   1z3tl15                           286.70   P   SLI\4M          10 00                  0,00                286,70 06/30/20                 I 14.68                  2,39          16.72         131.40

00783I      Shunt/StonageforUNPX-          123993

            000   1231/15                           286.70   P   SLMM            10 00                  0.00                286,70 06/30/20                 1    14,68               2,39          16.72         131.40

007832      ShunVStonge for UNPX - 123189



lu6llqnmdlfisAll                                                                                                                                                                                                           PeFtl
       Case 20-11139-1-rel                                         Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                                                 Desc Main
                                                                        Document    Page 112 of 370

                                                                                            lntestate Commodities, nc,            I



                                                                                                  Dqafdion   Eryenso R€port

                                                                                                     As ol Jdy 31, 2020


Book = lntemal

FYE iilonh = December


                 lnSrr           AcStiEd             P   Dq.          Esi      Salv/168 A!ou,        Doprochbb         Prix           RidAcqn           DEocidion            CmnllTD            CtflellilAcam    Koy

$t{o     Ed      Ddo                Value            T   tmr         tfr          S€c
                                                                                      .l79
                                                                                                                       Ilru           Demciaion          Itb   Run           Dspmc*uitn         Dopnc*dicrn Co&


GlLAcrollcclNo=     lflI/
         000     123'1/15                   286.71   P   SL|\4M       10 00               0.00               286.71    0d30/20              1   14.68                 2,39              16.72           131,40

007837   Repairsto INTX 8788

         000 0181n6                     1,967,86 P       SLI\4M       10 00               0.00             1,967,86    06/30/20             770,76                   16,40          1   14.79          885.55

007838   Repairsto INTX 8781

         000     01/31/16               1,721,74 P       SLI\4M       10 00               0.00             1,721,74    0il30/20             674,34                   14,35          100.43             774.77

007839   Repairsto INTX 8784

         000     01/31/16              2,395.65 P        SLI\4M       10 00               0.00             2,395,65    06/30/20             938,31                   19,96          139.74            1,078.05

007840   Repairsto INTX 120151

         000     0t/31/16               1,8n]7       P   SLI\,IM      10 00               0.00             18n.77 06/30/20                  735.47                   15.64          109,53             845,00

007845   Empty Revenue l\4ovement    INTX 41929

         000     0217/16                1,629.00 P       SLI\,lM      15 00               0.00             1,629,00    0u30/20              416.30                    onE               63,35          479,65

007846   Empty Revenue l\4ovement    INTX 99425

         000     0217/16                1,629,00 P       sLtltM       15 00               0.00             1,629,00    06/30/20             416.30                    9.05              63.35          479,65

007847   Empty Revenue l\4ovement    INTX122272
         000     0203/16                1,563.00 P       SLI\,IM      15 00               0,00             1,563,00    06/30/20             408.12                    8,68              60.78          468,90
007848   Empty Revenue l\4ovement    INTX 123092

         000     0203/16                1,563.00 P       SLMM         15 00               0,00             1,5m,00     06/30/20             408.12                    8,68              60.78          468.90

007849   Empty Revenue l\4ovement    INTX 123189

         000     0203/16                '1,563.00 P                   15 00               0,00             1,5m.00     06/30/20                                       8,68
                                                         SLMM                                                                               408.12                                      60,78           468.90
007850   Empty Revenue l\4ovement    INTX 123395

         000     0203/16                1,563,00 P       SLMM         15 00               0,00             1,563.00    06/30/20             408,12                    8,68              60,78           468.90

007851   Empty Revenue l\4ovement    INTX 123413

         000     0203/16                1,563.00 P       SLMM         15 00               0,00             1,563.00    06/30/20             408,12                    8.68              60,78           468.90
007852   Empty Revenue Movement      INTX 123603

         000     0203/16                1,563.00 P       StMM         15 00               0,00             1,563.00    06/30/20             408,12                    8.68              60.78           468.90

007853   Empty Revenue lllovement    lNTX t23688

         000     0203/16                1,563,00 P       SLMI\4       15 00               0.00             1,563.00    0d30/20              408,12                    8.68              60.78           468.90

007854   Empty Revenue l\4ovement    INTX 123692

         000     0203/16                1,563,00 P                    15 00                                '1,563,00
                                                         SLMI\4                           0.00                         06/30/20             408,12                    8.68              60.78           468,90
007855   Empty Revenue l\lovement    INTX 123719

         000     0203/16                1,563,00 P       SLMI\4       15 00               0.00             1,563,00    06/30/20             408.12                    8.68              60.78           468,90

007856   Empty Revenue Movement      tNTX 123727

         000     0203/16                1,s63,00 P       SLMI\4       15 00                0.00            1,563,00    06/30/20              408.12                   8,68              60,78           468.90

007857   Empty Revenue Movement      |NTX 123920

         000     0203/16                1,563,00 P       stMt\4       15 00                0.00            1,563,00    06/30/20             408.12                    8,68              60,78           468.90

007858   Empty Revenue Movement      INTX 123928

         000     0203/16                1,563,00 P                    '15 00               0.00
                                                         SLMIT                                             1,563,00    06/30/20             408,12                    8,68              60,78           468.90
007859   Empty Revenue Movement      INTX 123935

         000     0203/16                1,563,00 P       sLMtlt       15 00                0.00            1,563,00    06/30/20             408,12                    8.68              60,78           468.90

007860   Empty Revenue Movement      INTX 123393

         000     0203/15                1,563,00 P       SLMM         15 00                0,00            1,563.00    06/30/20             408.12                    8.68              60.78           468.90
007925   Repairsio INTX 38002

         000     03/31/16               1,412,40 P       SLMM         10 00                0,00            1,412.40    0d30/20              529.65                   11.77              at 10           612,04

007926   Repairsto INTX 38001

         000     03/31/16               \1n37        P   SLMM         10 00                0,00            1,177.37    06/30/20              441.52                   9.81              68.68           510.20

007927   Repairsto INTX 38006

         000     03/31/16                   948.06   P   SL|\4M       10 00                0,00              948.06 06/30/20                355.54                    7,90              55,30           410,84

007928   Bepairsto INTX 38008

         000     03/31/16                   876.23   P   SL|\4M       10 00                0.00              876.23 0&30/20                 328.58                    7,30              51,11           379,69
007929   Repahsto INTX 38005

         000     0u31/16                    771.32   P   SL|\4M       10 00                0.00              771.32 06/30/20                 289.24                   6.43              44.99           334.23
007930   Repairsto|NTX3S003



Augldqm20dll$^il                                                                                                                                                                                                 Pago55
         Case 20-11139-1-rel                               Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                  Desc Main
                                                                Document    Page 113 of 370

                                                                                    lnterstate Commodities, lnc,
                                                                                      Depecialion Epense Repoil

                                                                                           As   olJrly3l,202t

Book= Intemal

FYE   Motth = December


                lnSrc                Acflhd         P   Dept Ed              Satun6SAfon   Dq$bblo   hb            PixAcclm Dqrocidbn CmniY'ID Omrtlclnt lGy
Syltlo Ed       Dde                  Value          T   [Hr tft               Secln             B0sb Ihru          ooflsdrilim lhbRun D€pndilkn Dogedilkrn Co*

OtAs9dAodNo= 1$7
          000   0131/16                 1,014.73    P SLI\4I\4    10    00         0.00           1,014.73   06/30/20   380.52     8.46     59.19      439.71

007931    Repairs to INTX 38007

          000   0u31/16                  960.00     P sLt\4t\4    10    00         0.00            960,00    06/30/20   360,00     8,00     56.00      416.00

007932    Repairs to INTX 7178

          000   00/31/16                 630.96     P SLI\4|\,|   '10   00         0.00            630.96    06/30/20   236,62     5,25     36,80      273,42

007933 Repahsto|NTX2l53
          000   00/31/16                1,0m,80     P SLI\4M      10    00         0.00           1,003,80   06/30/20   376.43     8,36     58,55      434.98

007938 Repairsto|NTX2156
          000   04/30/16               3,454,60     P SLI\,IM     10    00         0.00           3,454,60   06/30/20 1,266.69 28.78        201.51    1,468.20

007939 Repaircto|NTX2149
          000   04/30/16                 485,82     P SLMM        10    00         0,00            485.82    06/30/20   178.13     4.04     28.33      206.46

007940    Bepairsto INTX 10415

          000   04/30/16                 533,04     P SLMM        10    00         0,00            533,04    06/30/20   195,44     4.44     31.09      226.53

007941 Repairsto|NTX2lTT
          000   04/30/16                 544,22     P SLMM        10    00         0,00            544.22    06130120 199,54       4,53     31,74      231,28

007942 Repairsto|NTX2196
          000   04/30/16                 485,82     P SLMI\4      10    00         0,00            485,82    06/30/20   178.13     4.04     28.33      206.46

007943 Repairsto|NTX2lS2
          000   04130/16                 485.82     P SLMI\4      t0    00         0.00            485.82    06/30/20   178.13     4.04     28.33      206.46

007944    Repairsto INTX 120189

          000   04/30/16               6,028.88     P SLI\4|\/    10    00         0,00           6,028,88   06/30/20 2,210,60 50.24        351,68    2,562.28

007945    Repairsto|NTXT1TT

          000   04/30/16               6,801.34     P SLI\4M      10    00         0,00           6,801.34   06/30/20 2,493,81 56,68        396.74    2,890,55

007946    Empty Revenue Movement . UNPX 123946

          000   04/05/16                1,563.00    P SLI\,IM     10    00         0,00           1,563.00   06/30/20   586.13     13,02    91,17      677,30

007947    Empty Revenue Movement-UNPX 123947

          000   04/05/16                1,563,00    P SLMM        10    00         0.00           1,563.00   06/30/20   586.13     13.02    91.17      677,30

007948    Empty Revenue Movement - UNPX 123969

          000   04/05/16                1,563,00    P SLMM        10    00         0.00           1,563,00   06/30/20   586.13     13,02    91.17      677.30

007949    Empty Revenue Movement - UNPX 123993

          000   04/05/16                1,563,00    P SLM|\4      10    00         0.00           1,563,00   06/30/20   586,13     13,02    91,17      677,30

007950    Empty Revenue l\4ovement - UNPX 124001

          000   04/05/16                1,563,00    P SLMI\4      10    00         0,00           1,563,00   06/30/20   586.13     13.02     91,17     677,30

007951    Empty Revenue l\4ovement-UNPX 124009

          000    04/05/16               1,563.00    P SLI\4M      10    00         0,00           1,563.00   06/30/20   586.13     13.02     91.17     677.30

007954    Repairsto INTX 120142

          000    05/31/16               5,563.60    P SL|\4M      10    00         0.00           5,563,60   06/30/20 1,993,62 46.36        324.54    2,318.16

007977    CN 382021   / |NTX38202r
          000    07/01/16              10,002,03    P SLMM        15    00       8,000,00         2,002,03   06/30/20   556,03     11,12     77,85     633,88 r
00i978    cN382040/INTX382040
          000    07/01/16              '10,002,03   P SLMM        15    00       8,000,00         2,002.03   06/30/20   556.03     11.12     77.85     633,88 r
007979    CN   382098/ INTX 382098
          000    07/01/16              10,002,03    P sLMl\4      15    00       8,000.00         2,002.03   06/30/20   556.03     11.12     77.85     633,88 r
00i980    cN382'136/|NTX382136
          000    07/01/16              10,002,03    P sLMt\4      15    00       8,000.00         2,002.03   06/30/20   556.03     11.12     77.85      633.88 r
007981 CN382139/|NTX382139
          000    07/01/16              10,002.03    P sLt\4M      15    00       8,000,00         2,002,03   06/30/20   556,03     11.12     77,85      633.88 r
007982    CN 382206   / INTX 382206
          000    07/01/16              10,002.03    P   sllllM    15    00       8,000,00         2,002.03   06/30/20   556,03     11.12     77.85      633,88 r
007983    CN   382250/ INTX 382250
          000    07/01/'16             10,002,03    P SLMM        15    00       8,000.00         2,002.03   06/30/20   556.03     11.12     77.85      633.88 r
007984    CN   382273/ INTX 382273


Au$d6,qpod 1lJ3     At                                                                                                                                           P{056
       Case 20-11139-1-rel                                           Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                                           Desc Main
                                                                          Document    Page 114 of 370

                                                                                               lnterstate Commodities, lnc.
                                                                                                    Dqeddion   Eryense Bepofl

                                                                                                       As ol Jtly 31,   2t20

Book = Intemal

ffE iionh   = December


                 lnSrc             Ao$M               P   DEr          EC          Salv/1684hil        Dopchlh          Prid       ftffAcdm          Doprodafion          CmdYlD         AmdAcdm       lGy
SFNo Ed          Ddo                   Value          T   tldr         tft           Sec 179             B$b            Ihru       DopFir[icn         Ih'p Bun            Dopndrdbn      Depteddbt' Co6

Ol-Anrtldt{o=1&[
         000     07/01/16                10,002.03        SLMI\.,|      15 00            8,000.00            2,002,03   0d30/20           556.03                 11,12           77.85         633.88 r
007985   CN 382278/ INTX 382278

         000     07/01/16                 10,002.03       SLMI\4        15 00            8,000.00            2,002,03   06/30/20          556.03                 11.12           77.85         633.88 r
007986   CN 382296/ INTX 382296

         000     07/01/16                 10,002.03       SLMI\4        15 00            8,000.00            2,002.03   06/30/20          556.03                 11,12           77.85         633.88 r
007987   CN 382337/ INTX     38A37
         000     07/01/16                10,002.03        SLMI\4        15 00            8,000.00            2,002,03   06/30/20          556.03                 11.12           77.85         633.88 r
007988   CN 382499/ INTX 382499

         000     07/01/16                 10,002.03       SLMI\4        15 00            8,000.00            2,002.03   06i30/20          556.03                 11.12           i7.85         633.88 r
007989   CN 382520/ INTX 382520

         000     07/01/16                10,002.03        SLMI\4        15 00            8,000.00            2,002,03   06/30/20          556.03                 11.12           7i.85         633.88 r
007990 cN 382596/        INTX 382596

         000     07/01/16                10,002.03        stMt\4        15 00            8,000.00            2,002.03   06/30/20          556.03                 11.12           77,85         633.88 r
007991   CN382603/|NTX382603
         000     07/01/16                10,002.03        SLMI\4        15 00            8,000.00            2,002.03   06/30/20          556,03                 11.12           77,85         633,88 r
007992   CN 380803/ INTX 380803

         000     07/01/16                10,002.03        SLMI\4        15 00            8,000.00            2,002.03   06/30/20          556,03                 11.12           77.85         633,88 r
007993   CN|S368098/|NTX38010
         000     07/01/16                 9,502.03        SLMI\4        15 00            8,000.00            1,502.03   06/30/20          439,38                   8,34          58,41         497,79 t
007994   CN|S368240/INTX38011
         000     07/01/16                 9,502.03        SLMI\4        15 00            8,000,00            1,502.03   06/30/20          439,38                   8,34          58.41         497,79 t
007995   CNLX7578/|NTX38012
         000     07/01/16                 9,502.03        SLMM          15 00            8,000,00            1,502.03   06/30/20          439.38                   8,34          58.41         497.79 t
007996   CNLX10802/|NTX38013
         000     07/01/16                 9,502.03        SLMI\,I       15 00            8,000,00            1,502.03   06/30/20          439.38                   8,34          58.41         497.79 t
007997   CNLXl08l0/|NTX38014
         000     07/01/16                 9,502,03        SLMI\4        15 00            8,000,00            1,502.03   06/30/20          439.38                   8,34          58.41         497.79 t
007998   CNLX10844/|NTX38015
         000     07/01/16                 9,502.03        SLMM          15 00            8,000,00            1,502,03   06/30/20          439.38                   8.34          58,41         497.79 t
007999   CN4385402/|NTX7189
         000 07/0v16                     10,502,03        SLMI,,|       15 00            8,000.00            2,502,03   06/30/20          672,69                 13.90           97,30         769.99 r
008000 cc    800074/|NTX7200
         000     07/01/16                10,502,03        SLMM          15 00            8,000,00            2,502,03   06/30/20          672,69                 13.90           97.30         769.99 r
008003   cc53827/|NTX7218
         000     07/01/16                 10,502,03       SLMM
                                                                        't5 00           8,000,00            2,502,03   06/30/20           672.69                13,90           97.30         769.99 r
008007   cNA 3853i4/ INTX 7217
         000     07/01/16                 10,502,03       SLMM          15 00            8,000.00            2,502,03   0d30/20            672,69                13,90           97.30         769,99 r
008010   0NLX10040/|NTX8783
         000     07/01/16                 10,502,03       SLMM          15 00            8,000.00            2,502,03   0il30/20           672.69                13,90           97.30         769,99 r
008011   wc87214/|NTX7219
         000     07/01/16                10,s02,03        SLI\4M        15 00            8,000.00            2,502.03   06/30/20          672.69                 13,90           97.30         769,99 r
008012   BGCX 1009

         000     07/01/16                 14,002,03       SLI\4M        15 00            8,000,00            6,002.03   06/30/20         1,489.38                33,34          233.41       1,722.79 t
008024   BGCX7005

         000     07/01/16                 14,002.03       SLI\4M        15 00            8,000.00            6,002.03   06/30/20         't,489.38               33.34          233.41       1,722.79 r
008026   BGCX7007

         000     07/01/16                                               '15
                                          14,002.03       SLI\4M              00         8,000,00            6,002.03   06/30/20         1,489,38                33.34          233.41       1,722.79 r
008027   BGCXi008
         000     07/01/'16                14,002,03       SLI\,lM       15 00            8,000,00            6,002,03   02129120         1,489,38                  0.00          bb.b9       1,556.07 dr
008042   BGCX 11302

         000     07/01/16                 14,002.03       SLMM          15 00            8,000,00            6,002,03   01/31/20         1,489,38                  0.00          33.35        1,522.73 dt
008051   BGCX 12308



AU!il6,fimdlfi3All                                                                                                                                                                                     PNFST
       Case 20-11139-1-rel                                   Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                                             Desc Main
                                                                  Document    Page 115 of 370

                                                                                      lnterstate Commodities, nc,          I



                                                                                            Depsddon Epenso        Roport

                                                                                               As ol Jrly 31, 202t


Book= lntemal

FYE Monh = December


                lnSrr        Ac$iod             P   DEr        Ed         &lv/l68Alotv         Doprochblo       Rix            RirAccm          DEGcidon           ClmilllD        CrmilAciln    lGy
SlrNo Eil       Dde              Valuo          T   llotr      tft          S€c 179              Ba*r           Ihru           D€fledert         Ihb Run           Dopgchlion      DoprecHicn    Co&


GlLAsdAmtNo= 1il7
         000 07/0v16                14,002,03       SLMM        15 00           8,000,00             6,002.03   06/30/20            1,489.38           33.34              233,41        1,722.79 r
008055   BGCX70503

         000    07/01/16            14,002.03       SLMM        15 00           8,000,00             6,002.03   01131120            1,489.38                0.00            0,00        1,489,38 dr
008056   BGCX70504

         000    07/01/16            14,002,03       SLMM        15 00           8,000,00             6,002.03   06/30/20            1,489,38           33.34              233,41        1,722,79 t
008062   N0K1067000/|NTX067000
         000    07/0'1/16           14,002.03       SLMI\4      15 00           8,000.00             6,002,03   0u3t/20             1,489,38                0,00          100,04        1,589,42 dr
008063   N0K1067002/|NTX067002
         000    07/0'1/16           14,002.03       SLMI\4      15 00           8,000.00             6,002,03   uEln0               1,489.38                0,00           33.35        1,522.73 dr
008064   NoKL0670m/NTX067003
         000    07/01n6             14,002.03       SLMI\4      15 00           8,000.00             6,002,03   0u31/20             1,489.38                0,00          100.04        1,589.42 dr
008065   N0K1067004/|NTX06i004
         000    07/01/16            14,002.03       SLMI\4      15 00           8,000.00             6,002,03   0429n0              1,489.38                0.00           66,69        1,556.07 dr
008066   N0K106700s/|NTX067005
         000    07/0'1/16           14,002,03       SLMM        15 00           8,000.00             6,002,03   03/31/20            1,489.38                0,00          100.04        1,589.42 dr
008067   N0K1067006/|NTX067006
         000    07/01/16            14,002,03       SLI\4M      15 00           8,000,00             6,002.03   06/30/20            1,489,38                0.00          200,07        1,689,45 dr
008070   N0K1067009/|NTX067009
         000    07/0'1/16           14,002,03       SLI\4M      15 00           8,000,00             6,002.03   06/30/20            1,489,38               33.34          233,41        1,722.79 t
008071   N0K1067010/|NTX067010
         000    07/01/16            14,002,03       SLMM        t5   00         8,000.00             6,002,03   0429t20             1,489,38                0,00           66.69        1,556.07 dr
008075   N0K1067016/|NTX067016
         000    07/01/16            14,002,03       SLMM        15 00           8,000,00             6,002,03   06/30/20            1,489.38               33,34          233.41        1,722.79 t
008076   N0K1067017/|NTX067017
         000    07/01/16            14,002,03       SLMM        15 00           8,000.00             6,002,03   05i31/20            1,489.38                0.00          166.73        1,656.11 dr
008077   N0K1067018/|NTX067018
         000    07/01/16            14,002.03       SLMI\4      15 00           8,000.00             6,002,03   0429n0              1,489.38                0.00           66.69        1,556,07 dr
008078   N0K1067019/|NTX067019
         000    07/01/16            14,002.03       SLMI\4      15 00           8,000.00             6,002.03   06/30/20            1,489,38               33,34          233,41        1,722,79 t
008079   N0K1067024/1NTX067024

         000    07/01/16            14,002.03       SLMI\4      15 00           8,000,00             6,002.03   02129120            1,489.38                0,00           66,69        1,556,07 dr
008080   N0K1067027/|NTX06702i
         000    07/01/16            14,002,03       SLI\4M      15 00           8,000,00             6,002.03   0429120             1,489,38                0,00           66,69        1,556.07 dr
008081   N0K1067028/|NTX067028
         000    07/01/16            14,002,03       SLI\4M      15 00           8,000,00             6,002,03   0030/20             1,489.38                0.00          200.07        1,689.45 dr
008082   N0K1067029/INTX067029
         000    07/01/16            14,002,03       SLMM        15 00           8,000.00             6,002,03   0331/20             1,489.38                0.00          100,04        1,589.42 dr
008084   N0K1067031/INTX067031
         000    07/01/16            14,002.03       SLMM        15 00           8,000.00             6,002,03   06/30/20            1,489,38                0.00          200,07        1,689,45 dr
008086   N0K1067033/|NTX067033
         000    07/0116             14,002.03       SLMM        15 00            8,000.00            6,002,03   0u31/20             1,489.38                0,00          100,04        1,s89,42 dr
008087   N0K1067034/|NTX067034
         000    07/01n6             14,002.03       SLMI\4      15 00            8,000,00            6,002.03   03/31/20            1,489.38                0,00          100.04        1,589,42 dr
008088   NoKL 067035/ INTX 067035

         000                                                                                                                        '1,489.38
                07/01/16            14,002.03       SLMI\,I     15 00            8,000,00            6,002.03   0429n0                                      0.00           66.69        1,556.07 dr
008089   N0K1067036/|NTX067036
         000 07/0t16                14,002,03       SLI\4M      15 00            8,000.00            6,002,03   01/31/20            1,489,38                0.00           33.35        1,522J3 dt
008090   N0K1067037/INTX067037
         000    07/01/16            14,002,03       SLI\4M      15 00            8,000,00            6,002,03   03/31/20             1,489,38               0.00          100,04        1,589,42 dr
008093   N0K1067040/|NTX067040
         000    07/01/16            14,002,03       SLI\4M      15 00            8,000.00            6,002,03   04/30/20             1,489.38               0,00          133.38        1,622.76 dt
008094   N0K1067041/INTX067041


tu$ll6,2U0ol11l3tll                                                                                                                                                                              PoF58
        Case 20-11139-1-rel                                    Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                                                 Desc Main
                                                                    Document    Page 116 of 370

                                                                                        lnterc:tate Commodities, I nc.

                                                                                              Depsdailion Eeonso Ropflt

                                                                                                  AsolJdy31,2020

Book = lntemal

ffi   llonh   = December


                 lnS'rc         Ac$hd            P   DEr          Ed       Selv/168Ahry           DoFochblo        Prh          ftirAcqm              Dognddlfi          CmntY'ID        CmrlAcdm       l(oy
qsilo Elt Dsb                       Valw         T   ilotr       tft         S€c 179                Ba8b           Ihru         D€ptddbn               ItbRun            Dsg€cffirt      D€Xochftn      Coe


GILA*dArdNo       = 1fl)7
          000    07/01/16             14,002,03 P    SLMM         15 00          8,000.00              6,002.03    uB1n0             1,489.38                    0,00            al lq       1,522.73 dt
008096    NoKL 067043/ INTX 067043

          000    07/01/16             14,002,03 P    SLMM         15 00          8,000,00              6,002,03    02129120          1,489.38                    0.00            66,69       1,556,07 dr
008098    NoKL 067051 / INTX 067051

          000    07/01/16             14,002,03 P    SLMM         15 00          8,000,00              6,002,03    02129120          1,489.38                    0.00            66.69       1,556,07 dr
008099    NoKL 067052/ INTX 067052

          000    07/01/16             14,002,03 P    SLMM         15 00          8,000,00              6,002,03    0u3t20            1,489.38                    0.00           100.04       1,589.42 dr
008101    NoKL 067054/ INTX 067054

          000    07/01/16             14,002,03 P    SLMM         15 00          8,000,00              6,002,03    lil29n0           '1,489,38                   0.00            66.69       '1,556.07 dr

008102    N0K1067055/|NTX067055
          000    07/01/16             14,002,03 P    SLI\4M       15 00          8,000,00              6,002.03    0429n0            1,489,38                    0.00            66.69       1,556.07 dr
008103    N0K1067056/|NTX067056
          000    07/01/16             14,002.03 P    SLI\4M       15 00          8,000,00              6,002.03    0d30/20           1,489,38                   33,34           233.41       1,722.79 t
008104    N0K1067060/|NTX067060
          000    07/01/16             14,002.03 P    SLMM         15 00          8,000,00              6,002.03    06/30/20          1,489.38                   33,34           233.41       1,722.79 t
00810s    NoKL 067061 /|NTX06i061

          000    07/01/16             14,002.03 P    SLI\,lM      15 00          8,000,00              6,002.03    06/30/20          1,489.38                   33.34           233,41       1,722,79 t
008106    NoKL 67001 / INTX 67001

          000    07/01/16             14,002.03 P    SLIVM        15 00          8,000.00              6,002.03    0u31/20           1,489.38                     0.00          100,04       1,589,42 dr
008107    N0K167020/INTX67020
          000    07/01/16             14,002.03 P    SLMM         15 00          8,000.00              6,002,03    06/30/20          1,489.38                   33.34           233,41       1,722.79 t
008108    NoKL 67021 / INTX 67021

          000    07/01/16             14,002.03 P    stMr\,t      15 00          8,000,00              6,002,03    06/30/20          1,489,38                   33,34           233.41       1,722.75 t
008109    N0K167022/|NTX67022
          000    07/01/16             14,002.04 P    SLMI\,I      '15 00
                                                                                 8,000,00              6,002,04    06/30/20          '1,489,38                  33,34           233.41       1,722.79 t
008110    LKE Boot

          000    07/01/16              6,730,00 P    SLMI\4       10 00                0.00            6,730.00    06/30/20          2,355.50                   56,08           392.58       2,748.08

008124    Empty Revenue Movement - INTX 123189

          000    08/04/16              3,710,00 P    SLMM         10 00                0.00            3,7'10.00   06/30/20          1,267.58                   30.91           216,41       1,483,99

009144    CP 16589

          000    0&24116              12,000,00 P    SLMM         12 00          8,000.00              4,000.00    03/31/20          1,1   1   1.10               0.00           83.33       1,194,43 dr
009156    CP385118

          000    08/24116             12,000,00 P    SLMM         11 00          8,000.00              4,000.00    06/30/20          1,212.13                   30.30           212.12       1,424.25 t
009'158   CP385121

          000    08/24116             12,000.00 P    SLMM         11 00          8,000.00              4,000,00    06/30/20          1,212.13                   30,30           212.12       1,424.25 t
009162    CP385'126

          000    08/24116             12,000.00 P    SLI\4M       11 00          8,000.00              4,000,00    06/30/20          1,212.13                     0,00          181.81       1,393.94 dr
009163    cP385127
          000    0&/24116 12,000.00              P   sLtltM       11 00          8,000,00              4,000,00    0429120           1,212.13                     0.00           60,60       1,272,73 dt
009165    CP385131

          000    08/24116             12,000.00 P    SLMM         11 00          8,000,00              4,000.00    06/30/20          1,212.1s                   30.30           212.12       1,424.25 dt
009167    CP385137

          000    08/24116             12,000.00 P    sLMtvt       11 00          8,000.00              4,000.00    0 1/3 1/20        1,212,13                     0.00           30.30       1,242.43 dt
009171    CP385142

          000    08/24116             12,000.00 P    SLMI\iI      11 00          8,000.00              4,000,00    0429120           1,212.13                     0,00           60,60       1,272.73 dt
009174    CP 385145

          000    08/24116             12,000,00 P    SLMM         11 00          8,000,00              4,000,00    0429n0            1,212.13                     0,00           60,60       1,272.73 dt
009175    CP 385149

          000    0fl24l16             12,000,00 P    SLMM         11 00          8,000,00              4,000,00    0M0120            1,212.13                     0.00          121.21       1,333,34 dr
009180 cP      385160

          000    08/24116             12,000,00 P    SLMM         11 00          8,000,00              4,000.00    0331/20           1,212.13                     0.00           90,90       1,3m,03 dr
009184    cP 385165


tugt[lqmdlfi3All                                                                                                                                                                                        PoFS
       Case 20-11139-1-rel                                Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                                              Desc Main
                                                               Document    Page 117 of 370

                                                                                   lnteHate Commodities, lnc.
                                                                                        Dege<idion Epenso R€poil

                                                                                            AsoljrtySl,2t20

Book= lntemal

FYE Mmh = December


                lnSrc       Aoqtisd P D€g            Esi               Salv/1684bil         DoFochbb        Prir          PriltArrrm       Doptoddion           CqmntY'ID        Cmillcun     lGy
qsilo Bi Drio               Vduo           T   lt€lh tft                 Socl7g               Ba$           thru          DEsddht           thk   Run           D€proclaibn      D€Focldbn    Codo



G/LAs*lArdllo=     lflI/
         000    08/24116      12,000.00        SLI\,lM       11 00           8,000.00            4,000.00   0931/20             1,212.13                 0,00            90.90       1,303.03 dr
009190 cP385176
         000    08/24116      12,000.00        StMM          11 00           8,000,00            4,000.00   02129120            1,212.13                 0.00            60.60       1,272,73 dt
009192   CP385178

         000    08/24116      12,000.00        SLMM          11 00           8,000,00            4,000.00   0331/20             1,212.13                 0.00            90.90       1,303,03 dr
009199   CP385193

         000    08/24116      12,000.00        SLMM          11 00           8,000.00            4,000.00   02129120            1,212.13                 0.00            60,60       1,272,73 dr
009201   CP385197

         000    0u24/16       12,000,00        SLi/M         11 00           8,000,00            4,000.00   0u31/20             1,212,13                 0.00            90,90       1,303.03 dr
009203 cP385200
         000    08/24116      12,000.00        SLM|\il       11 00           8,000,00            4,000.00   02129n0             1,212.13                 0.00            60,60       1,272.73 dr
009205 cP   385204

         000    08/24116      12,000.00        SLMI\4        t1   00         8,000,00            4,000,00   06/30/20            1,212,13                30,30           212.12       1,424.25 t
009212   CP385214

         000    08/24116      12,000.00        SLMI\4        11 00           8,000,00            4,000,00   0u31/20             1,212.13                 0,00            90.90       1,303.03 dr
009219   CP385271

         000    08/24116      12,000,00        SLMI\4        11 00           8,000,00            4,000,00   01/31/20            1,212.13                 0,00            JU.JU       1,242.43 dt
009222 CP3852i7
         000    08/24116      12,000.00        SLMI\4        11 00           8,000,00            4,000,00   06/30/20            1,212.13                30,30           212,12       1,424.25 dt
009224   CP 385281

         000    08/24116      12,000,00        SLMI\4        11 00           8,000.00            4,000,00   0a29120             1,212j3                  0.00            60,60       1,272.73 dt
009225   CP385282

         000    08/24116      12,000.00        SLMI\,,I      11 00           8,000.00            4,000,00   0d30/20             1,212,13                30.30           212.12       1,424,25 t
009234   CP 385292

         000    08/24116      12,000.00        SLMM          11 00           8,000.00            4,000,00   01/31/20            1,212,13                 0,00             0,00       1,212.13 dr
009250 cP   385329

         000    08/24116      12,000.00        SLMM          1100            8,000.00            4,000.00   06/30/20            1,212.13                 0,00           181,81       1,393.94 dr
009262   CP385354

         000    08/24116      12,000.00        SLMM          11 00           8,000.00            4,000.00   0   1/31/20         1,212.13                 0,00            30.30       1,242.43 dt
009263   CP385357

         000                  '12,000,00
                08/24116                       SLMM          11 00           8,000,00            4,000.00   0429120             1,212.13                 0,00            60.60       1,272.73 dt
009264   CP385358

         000    08/24116      12,000,00        SLMM          11 00           8,000,00            4,000,00   0429120             1,212.13                 0.00            60,60       1,272.73 dt
009268   CP385368

         000    0e/24l'16     12,000,00        SLMM          11 00           8,000,00            4,000,00   0u31/20             1,212,13                 0.00            90,90       '1,303,03 dr

009272   CP385383

         000    08/24116      12,000,00        sLrftM        1l   00         8,000,00            4,000,00   0429n0              1,212j3                  0,00            60,60       1,272,73 dr
009274   CP385385

         000    08/24116      12,000,00        SLIVM         11 00           8,000.00            4,000.00   0s31/20             1,212.13                 0,00            90.90       1,303,03 dr
009275   CP385386

         000    08/24116      12,000,00        SLMM          11 00           8,000.00            4,000.00   0429120             1,212.13                 0.00            60.60       1,272.79 d(
009279   CP385396

         000    08/24116      12,000.00        SLMI\4        11 00           8,000.00            4,000.00   06/30/20            1,212.13                30.30           212j2        1,424.25 r
009280 cP385399
         000    0&24116       12,000,00        SLMI\4        11 00           8,000.00            4,000.00   04t30t20            1,212.13                 0.00           121.21       1,333.34 dr
009283   CP385402

         000    0&/24116      12,000,00        SLMM          11 00           8,000.00            4,000,00   03/31/20            1,212,13                 0,00            90,90       1,303,03 dr
009288   CP385416

         000    0&/24116      12,000.00        SLMM          11 00           8,000,00            4,000,00   06/30/20            1,212.13                30,30           212.12       1,424,25 r
009294   CP385422

         000    08i24/16      12,000.00        SLMM          11 00           8,000,00            4,000,00   0u3v20              1,212.13                 0,00            90.90       1,303.03 dr
009297   CP 385427



A!0d6,mmd1fi3lt                                                                                                                                                                                Ps0o60
         Case 20-11139-1-rel                             Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                                              Desc Main
                                                              Document    Page 118 of 370

                                                                                lntestate Commodities, nc,          I



                                                                                    DEtedalion Eryenso B€pott

                                                                                        AsotJrly31,2020

 Book= lntemal

 FYE   [|lonh = December


                  lnSrc     Ac$hd          P   Dopr         ENil    Salv/l68Ahw         Dopoclrbb       Rix             HfrAmrn              Dqr€cidion          qmtYT)        qmilAcqn      lGy
SYsNo Ed         Dds        Velue          T   ildr         tft       Soc 179             Basb          Ihru            Demirlbn              Ihb Bun            Demchlbn      Dsechlin      Coe


OLAsdAcctNo = 1$7
           000   08/24116     12,000,00    P   SLMI\4       11 00        8,000,00            4,000,00   06/30/20             1,212.13                   30.30         212,12       1,424.25 t
009305 cP     385451

           000   08i24/16     12,000.00    P   SLI\4M       11 00        8,000,00            4,000.00   0u31/20              1,212.13                     0.00         90,90       1,3m.m dr
009312     CP385468

           000   08/24116     12,000.00    P   SLMM         11 00        8,000.00            4,000.00   06/30/20             1,212j3                  30,30           212.12       1,424,25 t
009313     CP385469

           000   08/24115     12,000,00    P   SLMI\4       11 00        8,000.00            4,000,00   03/3 1/20            1,212.13                     0,00         90,90       1,303,03 dr
009323     CP385496

           000   08/24116     12,000.00    P   sLtltM       11 00        8,000.00            4,000,00   0429120              1,212,13                     0.00         60.60       1,272,73 dr
009329     CP390035

           000   08/24116     12,000.00    P   SLI\4M       13 00        8,000,00            4,000,00   03/31/20            1,025.64                      0.00         76.92       1,102.56 dr
009333     CP390076

           000   08/24116     12,000,00    P   SLMII        13 00        8,000.00            4,000.00   06/30/20            1,025,64                    25,64         179.48       1,205.12 r
009334     CP390077

           000   08/24116     12,000.00    P   SLMI\4       12 00        8,000.00            4,000,00   uB1n0               1,1   1   1,10                0.00         27,78       1,138.88 dr
009335     CP390078

           000   08/24116     12,000.00    P   sLtltM       12 00        8,000,00            4,000,00   0429120             1,1 11,10                     0,00         55,55       1,166,65 dr
009342     CP 390092

           000   0&/24116     12,000,00    P   SLMM        09 00         8,000,00            4,000,00   02129n0             1,481,50                      0,00         74,07       1,555,57 dr
009344     CP390095

           000   0&24116      12,000,00    P   SLMI\,|     09 00         8,000.00            4,000.00   0429t20             1,481.50                      0.00         74.07       1,555.57 dr
009345     CP390096

           000   08/24116     12,000.00    P   SLI/lM      09 00         8,000.00            4,000.00   06/30/20            1,481.50                 37.04            259,26       1,740.76 t
009347     CP 390099

           000   08/24116     12,000.00    P   SLI\4M       12 00        8,000,00            4,000.00   0429n0              1,1   1   1,10                0,00         55.55       1,166,65 dr
009355     CP390116

           000   08/24116     12,000,00    P   SLMM         13 00        8,000.00            4,000,00   02129n0             1,025,64                      0.00         51,28       1,076,92 dr
009358     CP390128

           000   08/24116     12,000.00    P   SLMI\4      13 00         8,000.00            4,000,00   04t3u20             r,025,64                    0,00          102.56       1,128,20 dr
009359     CP390129

           000   0&/24115     12,000,00    P   sLtltM      13 00         8,000.00            4,000.00   06/30/20            1,025.64                 25,64            179.48       1,205.12 t
009360 cP390131
           000 0u24l16        12,000,00    P   sLtltM      13 00         8,000,00            4,000.00   0429t20             1,025.64                    0.00           51.28       1,076.92 dr
009364    CP 390137

           000   08/24116     12,000.00    P   SLMM        13 00         8,000.00            4,000,00   06/30/20            '1,025,64
                                                                                                                                                     25.64            179,48       1,205.'t2 r
009368    CP 390146

           000   0&/24116     12,000,00    P   SLMI\,l     13 00         8,000.00            4,000.00   0u31/20             1,025.64                    0.00           76.92       1,102.56 dr
009370 cP390148
           000   08/24116     12,000,00    P   SLI\4M      13 00         8,000.00            4,000,00   06/30/20            1,025,64                 25.64            179.48       1,205j2 t
009371    CP390153

           000   08/24116     12,000,00    P   SLMM        13 00         8,000.00            4,000.00   06/30/20            1,025,64                 25,64            179.48      1,205,12 t
009372    CP390156

          000    0&24116      12,000.00    P   SLMM        13 00         8,000,00            4,000.00   06/30/20            1,025.64                 25,64            179.48      1,205.12 t
009374    CP390159

          000    0&/24116     12,000.00    P   SLMI\,|     13 00         8,000.00            4,000.00   0429n0              1,025.64                    0.00           J LZo      1,076.92 dr
009376    CP390165

          000    08/24n6      12,000,00    P   SLI\,lM     13 00         8,000.00            4,000.00   06/30/20            '1,025.64
                                                                                                                                                     25.64            179.48      1,205.12 r
009378    CP 390180

          000    08/24116     12,000,00    P   SLI\4M      09 00         8,000,00            4,000,00   0d30/20             1,481.50                 37.04            259,26      1,740.76 r
009380 cP390184
          000    08/24116     't2,000.00
                                           P   SLMM        09 00         8,000.00            4,000,00   0d30/20             1,481,50                 37,04            259.26      1,740,76 r
009381    CP390185



tugrll6,20mal l1:13At                                                                                                                                                                        Psgo6l
        Case 20-11139-1-rel                               Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                                               Desc Main
                                                               Document    Page 119 of 370

                                                                                 lntestate Commodities, lnc,
                                                                                      Degecidion Epenso Boport

                                                                                          AsolJdy31,2020

Book = lntemal

FYE   ilonh   = December


                 lnSrc      Acquiod          P   DEr         Eil     Salv/168Ahn          Dopo*bb         htr         ftirAcqn                Depttdafon          Crn€lllllD       CmiilAmm      lGy
S'vsNo Ed        Ddo         Velue           T   Mdr         l-to      S€c 179              Basb          Ihru        Dopro*utn                Ihb Run            thpnc*Uicn       mgeckUion    Co&


G/LAreolAcclNo =    lflI/
          000    08/24116      12,000.00         SLI\4M      09 00         8,000,00           4,000,00    06/30/20         1,481.50                      37,04           259,26        1,740,76 t
009383    CP390187

          000    0&/24n6       12,000,00         SLI\4M      13 00         8,000.00           4,000,00    03i31/20         1,025.64                        0.00           76,92        1,102,56 dr
009385    CP390189

          000    08/24116      12,000.00         SLI\,lM     13 00         8,000.00            4,000,00   01tan0           1,025,64                        0.00           25,64        1,051,28 dr
009386    CP390191

          000    08/24116      12,000.00         SLMM        13 00         8,000.00            4,000,00   06/30/20         1,025,64                      25,64           179.48        1,205,12 t
009387    CP390194

          000    08/24116      12,000.00         SLMM        13 00         8,000,00            4,000.00   06/30/20         1,025,64                      25,64           179.48        1,205.12 t
009389    CP390196

          000    08/24116      12,000.00         SLMI\4      13 00         8,000,00            4,000.00   0480n0           1,025,64                        0,00          102,56        1,128,20 dr
009391    CP390198

          000    08/24116      12,000.00         SLMI\4      13 00         8,000,00            4,000.00   06/30/20         1,025.64                      25.64           179,48        1,205j2 t
009392    CP390199

          000    08/24116       12,000,00        SLMI\4      13 00         8,000,00            4,000,00   0181t20          1,025,64                        0.00           25.64        1,051,28 dr
009393    CP390201

          000    08/24116      12,000,00         SLMI/       13 00         8,000.00            4,000,00   0331/20          1,025,64                        0,00           76.92        1,102.56 dr
009398    CP390215

          000    08/24116      12,000,00         SLMI/       09 00         8,000.00            4,000,00   01/31/20          1,481,50                       0,00           37.04        1,5'18.54 dr

009402    cP390229
          000    08/24116       12,000,00        SLMM        09 00         8,000.00            4,000.00   03/31/20          1,481.50                       0.00          111,11        '1,592,61 dr

009406    cP 390233
          000    08/24116       12,000.00        SLI\4M      13 00         8,000.00            4,000.00   0v31/20           1,025.64                       0.00            0,00        1,025,64 dr
009407    cP 390235
          000    0&24116        12,000.00        sLtltM      12 00         8,000,00            4,000.00   06/30/20          1,1    1   1,10              27.78           194.44        1,305,54 r
009408    cP 390237
          000    08/24116       12,000.00        SLMM        13 00         8,000,00            4,000,00   0d30/20           1,025,64                     25,64           179.48        1,205.12 t
009409    cP 390m8
          000    08/24116       12,000.00        SLMM        13 00         8,000.00            4,000,00   0429n0            1,025.64                       0,00           51.28        1,076.92 dr
009413    CP 390245

          000    08/24116       12,000,00        SLMI\,l     13 00         8,000.00            4,000,00   01/3V20           1,025.64                       0,00           25.64        1,051.28 dr
009414    CP390246

          000    0&/24116       12,000,00        SLMI/       13 00         8,000.00            4,000.00   01131120          1,025,64                       0.00           25.64        1,051,28 dr
009416    CP 390255

          000    08/24116       12,000,00        SLMM        13 00         8,000.00            4,000.00   0212s120          1,025,64                       0.00           51,28        1,076.92 dr
009420    cP 390266
          000    08/24116       12,000,00        SLI\4M      12 00         8,000,00            4,000.00   0d30/20           1,1 1      1.10              27,78           194,44        1,305.54 r
009421    CP 390267

          000    0&/24116       12,000,00        SLI/lM      12 00         8,000,00            4,000,00   06/30/20          1,1 1      1.10              27.78           194,44        1,305.54 r
009423    CP390269

          000    08/24116       12,000.00        SLI/M       12 00         8,000,00            4,000,00   0429120           1,1    1   1.10                0.00           55,55
                                                                                                                                                                                       '1,166.65 dr

009424    cP390271
          000    08/24116       12,000.00        StMM        12 00         8,000.00            4,000.00   03/3'1/20
                                                                                                                            '1,1
                                                                                                                                   I 1,10                  0.00           83,33        1,194,43 dr
009425    CP390275

          000 08/24n6           12,000.00        SLMI\,I     12 00         8,000.00            4,000.00   06/30/20          1,1 1      1.10                0.00           166,66       1,277.76 dt
009429    CP390293

          000 0u24/16           12,000,00        SLMM        13 00         8,000,00            4,000.00   02129n0           1,025.64                       0,00           51.28        1,076.92 dr
009430    cP390294
          000                   '12,000,00
                 08/24116                        StMM        13 00         8,000,00            4,000,00   06/30/20          1,025.64                     25,64            179.48       1,205.12 t
009431    CP390318

          000    08/24116       12,000,00        SLI\4M      13 00         8,000.00            4,000,00   06/30/20          1,025,64                     25.64            179.48       1,205.12 t
009432    CP390320



Augtd6,2md11:13|ril                                                                                                                                                                              Pree60
       Case 20-11139-1-rel                                Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                                            Desc Main
                                                               Document    Page 120 of 370

                                                                                    lnterclate Commodities, lnc,
                                                                                       Deprcciailion Epense Repoil

                                                                                           As   olJrly 31,2020

Book= lntemal

ffiMmh=December

                lnS:rc     A.qutEd          P   hr          Est      Salv/168Ahrl          Doprucbbb          Rior        HnrAciln         Dop'rddi'n          CuenlY'ID           CmnlAciln    l(ry
SrsNo Ed        Ddo         Valm            T   tldr        tft        Soc 179                  Balb          Ihru        Dscidin           thh Bun            DmUIbn              Dmchtin      Co&



GiLAsellrdtlo= 1S7
         000    08/24116      12,000.00     P   sLMtlt       13 00         8,000,00                4,000,00   0429n0           1,025.64                 0.00          51,28            1,076,92 dr
009433   CP390321

         000    08/24116       12,000.00    P   SLMM         13 00          8,000,00               4,000,00   06/30/20         1,025,64               25.64          179.48            1,205,12 r
009435   CP390327

         000    08/24116       12,000,00    P   SLI\,lM      13 00          8,000,00               4,000,00   0429120          1,025,64                 0,00          51,28            1,076.92 dr

009436   CP390328

         000    08/24116       12,000,00    P   SLI\4M       13 00          8,000.00               4,000.00   06/30/20         1,025.64               25.64          179.48            1,205,12 r
009446   cP390362
         000    08/24116       12,000,00    P   SLMM        09 00           8,000.00               4,000,00   0a29120          1,481.50                 0.00          74.07            1,555,57 dr

009448   l\4NS3405

         000    08/24116       12,000,00    P   SLMM         10 00          8,000,00               4,000,00   06/30/20         1,333,33               33.33          233.33            1,566.66 r
009450   MNS340i
         000    08/24116       12,000.00    P   SLMI\,l      10 00          8,000,00               4,000,00   0d30/20          1,393.33               33,33          233.33            1,566.66 r

009453   MNS3410
                                                                                                                               '1,333.33                              o0 00
         000    08/24116       12,000.00    P   SLMM         10 00          8,000.00               4,000.00   03/3'l/20                                 0.00                           1,433.32 dr

009508 s0074234
         000    08/24116       12,000,00    P   SLI\4M      09 00           8,000.00               4,000.00   06/30/20         1,481,50               37.04          259.26            1,740,76 t

009510 s0074237
         000    0&24116        12,000,00    P   SLMM        09 00           8,000,00               4,000,00   04/30/20         1,481.50                 0,00          148.15           1,629.65 dr

009512   S0074245
         000    0&/24116       12,000,00    P   SLMM         09 00          8,000,00               4,000.00   05/3 1/20        1,481.50                 0,00          185,19           1,666.69 dr

009513   S0074248
         000    0&/24116       12,000.00    P   SLMI\,l      09 00          8,000.00               4,000.00   06/30/20         1,481,50               37.04          259.26            1,740.76 t

009517   S0074252
         000    0&/24116       12,000.00    P   SLMM         09 00          8,000.00               4,000,00   0030/20          1,481.50               37,04           259.26           1,740.76 t

009518   S0074260
         000 08/24n6           12,000,00    P   SLI\4M       09 00          8,000,00               4,000,00   06130/20         1,481.50               37.04           259,26           1,740.76 t

009520 s0074264
         000    08/24116       12,000,00    P   SLMM         09 00          8,000.00               4,000.00   02129120         1,481,50                 0.00           74,07           1,555,57 dr
009522   S0074266
         000    08/24116       12,000.00    P   SLMM         09 00          8,000.00               4,000.00   06/30/20         1,481,50               37,04           259.26           1,740.76 t
009525   S0074270
         000    0&24/16        12,000.00    P   SLMIU        09 00          8,000,00               4,000,00   06/30/20         1,481.50               37.04           259,26           1,740.76 t
009527 50074274
         000    08i24/16       12,000,00    P   SLMM         09 00          8,000,00               4,000.00   0429n0           1,481,50                 0.00           74,07           1,555,57 dr

009530 s0074287
         000    08/24116       12,000,00    P   SLI\,lM      09 00          8,000.00               4,000.00   06/30/20         1,481,50               37,04           259.26           1,740.76 t
009534   S0074296
         000    08/24116       12,000,00    P   SLMM         09 00          8,000,00               4,000.00   02129n0          1,481.50                 0.00           74.07           1,555.57 dr
009537   50074299
         000    08/24116       12,000.00    P   sLMtlt       09 00          8,000,00               4,000,00   06/30/20         1,481,50               37.04           259.26           1,740.76 t
009538   S0074302
         000    0&24l'16       12,000.00    P   SLMM         09 00          8,000.00               4,000.00   uB1n0            r,481,50                 0,00           37,04           1,518.54 dr

009540 s0074306
         000    08/24116       12,000,00    P   SLI\,lM      09 00          8,000.00               4,000.00   0429n0           1,481.50                 0,00           74.07            1,555.57 dr
009541 S0074307
         000    08/24116       12,000.00    P   SLMM         09 00          8,000,00               4,000,00   0{30/20          1,481,50                 0,00          148.15            1,629,65 dr
009542   S0074308
                               '12,000.00                                                                                                                                               1,740.76 t
         000    08/24116                    P   sLMtlt       09 00          8,000,00               4,000,00   06/30/20         1,481.50               37,04           259,26

009544   S0074310
                                                                                                                               '1,481.50
         000    08/24116       12,000,00    P   SLMM         09 00          8,000.00               4,000.00   03/31/20                                  0,00          1 1   1.11        1,592.61 dr
009545   S0074311


Alel|l6,20md1fi3^t                                                                                                                                                                                  Plgo63
        Case 20-11139-1-rel                                Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                                    Desc Main
                                                                Document    Page 121 of 370

                                                                                        lntestate Commodities, nc.          I



                                                                                           Degsdalion Ee€nso R€poil

                                                                                               As   olJdy3l,2020

Book= Internal

FYE Monh = December


                 ln   Srr   AcAM          P   Dopr           Ed          Sslv/l68Alow          DoF€chblo         Rix            HirAcun       Depedilion Om'niY'ID CunfllAciln    lGy
SFNo Eil DS                 Vduo          T   itotr          rft           Soc 179                               Ihru           DopFidion lhbRun Doprsctron DoFlcffin             codo



Ol-ArcdArdNo= 1S7
         000     0&24l'16     12,000,00   P   SLMI\4         09 00              8,000.00             4,000.00    02129120          1,481.50         0,00      74.07      1,555.57 dr
009546   S0074314
         000     08/24116     12,000,00   P   SLI\4M         09 00              8,000.00             4,000.00    01/31/20          1,481,50         0.00      37.04      1,518,54 dr
009547   S0074319
         000     0&i24l16     12,000,00   P   SLI\4M         09 00              8,000.00              4,000.00   0429n0            1,481,50         0.00      74,07      1,555,57 dr
009549   S0074324
         000     0&24116      12,000.00   P   StMM           09 00              8,000,00              4,000,00   01/3V20           1,481.50         0,00      37,04      1,518.54 dr
009554   S0074332
         000     08/24116     12,000.00   P   SLMM           09 00              8,000,00              4,000,00   05/31/20          1,481.50         0.00      185,19     1,666.69 dr
009556 S00743s6
         000     08/24116     12,000.00   P   SLMM           10 00              8,000,00              4,000,00   02129n0           1,333.33         0.00       66.66     1,399,99 dr

009559 S0074339
         000     08/24116     12,000.00   P   SLMI\4         10 00              8,000.00              4,000,00   0429n0            1,331,33         0.00       66,66     1,399,99 dr
009560 s0074341
         000     08/24116     12,000,00   P   SLMI\,l        10 00              8,000,00              4,000.00   06/30/20          1,333,33        33,33      233.33     1,566,66 dr
009561   S0074342
         000     08/24116     12,000,00   P   SLI\4M         10 00              8,000,00              4,000,00   06/30/20          1,3&3.33        33,33      233,33     1,566.66 r
009567   S0074354
         000     08/24115     12,000,00   P   SLMM           10 00              8,000,00              4,000,00   0429120           1,333.33         0.00       66,66     1,399,99 dr
009570   s0074361
         000     08/24116     12,000.00   P   SLMM           10 00              8,000.00              4,000.00   0429120           1,331,33         0.00       66,66     1,399.99 dr
009573 50074375
         000     08i24/15     12,000.00   P   SLMM           10 00              8,000.00              4,000,00   06/30/20          1,333.33        33,33      233,33     1,566.66 r
009575 S0074378
         000     08/24116     12,000.00   P   SLMI\4         10 00              8,000,00              4,000.00   06/30/20          1,333.33        33,33      233.33     1,566.66 r
009577 S00743&l
         000     08/24116     12,000,00   P   sLt\4tlt       10 00              8,000.00              4,000,00   0429120           1,333,33         0.00       66,66     1,399,99 dr
009582   s0074391
         000     08/24116     12,000,00   P   SLI\4M         10 00              8,000.00              4,000,00   ul31n0            1,333,33         0,00       33.33     1,366,66 dr
009585   S0074402
         000     0924/16      12,000.00   P   SLMM           10 00              8,000.00              4,000.00   00/31/20          1,333,33         0.00       99.99     1,433.32 dr
009586   S0074407
         000     08/24116     12,000.00   P   SLMM           10 00              8,000,00              4,000.00   03/31/20          1,333.33         0.00       99,99     1,433.32 dr
009587 S0074411
         000     08/24116     12,000.00   P   SLMI\4         10 00              8,000.00              4,000,00   0429n0            1,331,33         0,00       66.66     1,399,99 dr
009589 S0074419
         000     0u24/16      12,000,00   P   SLI\,ll\,1     10 00              8,000.00              4,000.00   01131120          1,333,33         0,00       33.33     1,366,66 dr
009593 S0074426
         000     0u24/16      12,000,00   P   SLI\4M          10 00             8,000.00              4,000.00   02129n0           1,333.33         0.00       66,66     1,399.99 dr
009597   S0074435
         000     08/24116     12,000.00   P   SLMM            10 00             8,000,00              4,000.00   uB1n0             1,333.33         0.00       33,33      1,366.66 dr

009598   50074437
         000     0&24116      12,000.00   P   SLMM            10 00             8,000.00              4,000,00   06/30/20          1,333,33        JJ,JJ      233,33      1,566,66 r
009601 s0074444
                                                              '10
         000     08/24116     12,000,00   P   SLMIlI                00          8,000.00              4,000.00   0il31/20          1,333.33         0,00       99.99      1,433.32 dr
009603 s0074446
         000     08/24116     12,000,00   P   SLI\4M          10 00             8,000,00              4,000.00   04/30/20          1,333.33         0.00      133.33      1,466.66 dr
009606 s0074458
         000     08/24116     12,000.00   P   SLI\,lM         10 00             8,000,00              4,000.00   06/30/20          1,333,33        33,33      ZJJ,JJ      1,566.66 r
009608   s0074466
         000     08/24116     12,000.00   P   SLMM            10 00             8,000.00              4,000,00   0u31/20           1,3&1.33         0,00       99.99      1,433,32 dr
009611   S0074470


ftryll6,lpoelltl3lt                                                                                                                                                                Pto0{
       Case 20-11139-1-rel                            Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                                             Desc Main
                                                           Document    Page 122 of 370

                                                                                  lnterctate Commodities, lnc,
                                                                                       Degedalhn Eryense Repoil

                                                                                           As ol Jrly 31, 2020


Book= lntemal

FYE Mmh = December


                ln   Srt   AcflM        P   Dry         Esl        Sslv/168 Alotv          Dopoce*          Rix        ftkrAciln        Dopmddion          CumntY'ID        CrmilAltm     l(ot
SllNo    ff     Dsh        Vrluo        T   lil$        Us            S€c   i79              Brrb           thru       Deprtiann         thb Run           Depm*lictn       Depmcftlitn   Co&


OllsClrdtlo= lflIl
         000    08/24116    12,000,00       SLMM        10 00               8,000.00            4,000.00    06/30/20        1,333.33           JJ.JJ              233,33         1,566.66 r
009614 S0074481
         000    0&/24116    12,000,00       SLMM        10 00               8,000.00            4,000.00    04130120        1,333,33                0.00          133,33         1,466.66 dr
009619 S0074498
         000    08/24116    12,000.00       SLI\4M      10 00               8,000,00            4,000,00    02129120        1,333.33                0,00           66,66         1,399,99 dr
009622 S0074505
         000    0&i24l16    12,000.00       SLIVM       10 00               8,000,00            4,000,00    01131120        1,333.33                0.00           33,33         1,366,66 dr
009623   S0074510
         000    08/24116    12,000.00       SLMM        10 00               8,000,00            4,000,00    02129n0         1,333.33                0.00           66.66         1,399.99 dr
009625   S0074512
         000    08/24116    12,000.00       SLMM        10 00               8,000.00            4,000.00    02129120        1,333,33                0,00           66.66         1,399.99 dr
009627   S0074521
         000 0u24/16        12,000.00       SLMI\4      10 00               8,000.00            4,000.00    0t3t20          1,33],33                0,00          166.66         1,499,99 dr
009628   S0074525
         000    08/24116    12,000.00       SLMI/       10 00               8,000.00            4,000.00    06/30/20        1,333,33               33,33          233.33         1,566,66 r
009629   S0074526
         000 0u24l16        12,000,00       SLMI/l      10 00               8,000.00            4,000.00    03/31/20         1,333.33               0.00           99.99         1,43,3.32 dI

009634 S0074545
         000    08/24116    12,000,00       SLMM        10 00               8,000,00            4,000,00    03/31/20         1,333.33               0.00           99.99         1,433.32 dr
009635 50074546
         000    08/24116    12,000,00       SLI\4M      10 00               8,000,00            4,000,00    06/30/20         1,333,33              33,33          233.33         1,566.66 r
009644 S0074565
         000 0u24l16        12,000,00       SLI/M       10 00               8,000.00            4,000.00    05/3V20          1,333,33               0.00          166.66         1,499,99 dr
009645 S0074570
         000    0&24116     12,000,00       SLMM        10 00               8,000.00            4,000.00    01/31/20         1,333.33               0.00           33.33         1,366,66 dr
009647 S00745i8
         000    0&/24116    12,000.00       SLMI\4      10 00               8,000.00             4,000,00   03/31/20         1,333.33               0,00           99.99         1,433,32 dr
009651   S0074587
         000    08/24116    12,000.00       SLMI\4      10 00               8,000,00             4,000,00   00/31/20         1,333,33               0,00           99,99         1,433.32 dr
009653   S0074589
         000 0u24l16        12,000.00       SLMM        10 00               8,000,00             4,000.00   04/30/20         1,333,33               0.00           IJJ.JJ        1,466,66 dr
009655   S0074591
         000    08/24116    12,000,00       SLMM        10 00               8,000,00             4,000.00   0$1n0            1,333,33               0.00           99.99         1,433,32 dr
00965i   S0074593
         000    08/24116    12,000,00       SLI\4M      10 00               8,000,00             4,000.00   0429p0           1,333.33               0,00           66.66         1,399.99 dr
009658 S0074594
         000    08/24115    12,000,00       StMM        10 00               8,000.00             4,000,00   0d30/20          1,39t,33               0,00           199,99        1,533.32 dr
009660 s0074597
         000    0&24115     12,000,00       SLMI\,I      10 00              8,000,00             4,000.00   06/30/20         1,393,33              33.33          233.33         1,566,66 r
009661 s0074599
         000    08/24116    12,000.00       SLMM         t0   00            8,000,00             4,000.00   03/31/20         1,333.33               0.00            99.99        1,433,32 dr
009662   S0074600
         000 0u24l16        12,000.00       SLMM         10 00              8,000.00             4,000,00   02129120         1,333.33               0,00            66.66        1,399,99 dr
009666   S0074607
         000    08/24116    12,000.00       SLIlIM       10 00              8,000.00             4,000,00   06i30/20         1,333.33              33,33           233.33        1,566.66 r
009667 S0074609
         000    08/24116    12,000,00       SLMM         10 00              8,000.00             4,000,00   06/30/20         1,333,33              33.33           233.33        1,566,66 r
009671 S0074617
         000    08/24116    12,000,00       sLMtlt       t0   00            8,000,00             4,000.00   06/30/20         1,333.33              JJ,JJ           233,33        1,566,66 r
009674 S0074621
         000    0&24l'16    12,000,00       SLMM         10 00              8,000,00             4,000,00   03/3V20          1,333.33               0,00            99.99        1,433.32 dr
009679 S0074638


A$!16,0Atd1ffirrl                                                                                                                                                                             Preo65
        Case 20-11139-1-rel                               Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                                            Desc Main
                                                               Document    Page 123 of 370

                                                                                   lntestate Commodities, lnc.
                                                                                         Deprcciaion Epenso Ropoil

                                                                                             As ol Jdy 31,2020


Book = Intemal

FYE llrltxth = December


                 lnSrr      Acqtisd         P   DEr         El         Salv/168Ahrt          Oont*lb         Rix         ftixAcqm         Dsrocidon            CrmillY'D      OmntA$m       ICI
Srotlo Eil       Ddo         Valu           T   lil€01      t.b          S€c 179                             thru        Doptsddirn        Itb   Run           Ihmc*dtn       Demcftuion    Co&


G,LAssrlAcrtNo= 1O7
       000 0&/24116            12,000,00        SLMM         11 00           8,000,00             4,000,00   0u31/20           1,212j3                  0,00          90,90       1,303,03 dr
009680 s0074640
       000 08/24116            12,000,00        SLMM         11 00           8,000,00             4,000,00   03/31/20          1,212.13                 0,00          90,90       1,303.03 dr
009681 S0074641
       000 0&24116             12,000,00        SLMM         11 00           8,000,00             4,000,00   0480n0            1,212j3                  0.00         121.21       1,333.34 dr
009691 S0074667
       000 0&24116             12,000,00        SLMM         11 00           8,000.00             4,000.00   06/30/20          1,212,13                30.30         212,12        1,424.25 (
009692 S0074668
       000 08/24116            12,000,00        SLMM         11 00           8,000,00             4,000,00   0413u20           1,212.13                 0.00         121,21       1,333,34 dr
009693 s0074669
       000 08/24116             12,000,00       SLMM         11 00           8,000,00             4,000.00   06/30/20          1,212.13                30.30         212,12        1,424,25 t
009697 S0074675
       000 08/24116            12,000,00        SLMM         11 00           8,000,00             4,000,00   0429120           1,212.13                 0.00          60.60        1,272,73 dr
009702   S0074682
         000     08/24116      12,000,00        SLMM         11 00           8,000,00             4,000.00   03/31/20          1,212.13                 0,00          90.90        1,303,03 dr
009706   S0074687
         000     08/24116      12,000,00        SLMM         11 00           8,000.00             4,000,00   01/31/20          1,212.13                 0,00          30,30        1,242.43 dr
009710   S0074694
         000     08/24116      12,000.00        SLMM         11 00           8,000.00             4,000.00   06/30/20          1,212.13                30,30         212.12        1,424.25 r
009711   S0074695
         000     08/24116      12,000,00        SLMM         11 00           8,000.00             4,000.00   01t31n0           1,212.13                 0,00           0.00        1,212j3 dt
009712 S0074696
         000     08/24116      12,000,00        SLI\4M       11 00           8,000.00             4,000.00   0429120           1,212j3                  0.00          60.60        1,272,73 dr
009716   S0074705
         000     08/24116      12,000,00        SLI\4M       11 00           8,000.00             4,000,00   06/30/20          1,212,13                30.30         212.12        1,424.25 t
009722 S0074712
         000     0u24l15       12,000,00        SLIlIM       11 00           8,000.00             4,000,00   0u31/20           1,212.13                 0.00          90.90        1,3m,03 dr
009724 S0074715
         000                   '12,000,00
                 08/24116                       SLIlIM       1'1 00          8,000.00             4,000,00   0u31/20           1,212,13                 0,00          90.90        1,303,03 dr
009725 S0074717
         000     08/24116      12,000,00        SLI\,lM      11 00           8,000.00             4,000.00   0u31/20           1,212,13                 0,00          90,90        1,303.03 dr
009727 S00747A
         000     08/24116      12,000,00        SLI/lM       11 00           8,000,00             4,000,00   06/30/20          1,212.13                 0.00         181.81        1,393.94 dr
009729 50074726
         000                                                 '11 00
                 08/24116       12,000,00       SLMM                         8,000,00             4,000.00   0&30/20           1,212.13                30.30         212.12        1,424.25 t
009732 S0074735
         000     08/24116      12,000,00        SLI/lM       1100            8,000,00             4,000.00   0429120           1,212,13                 0.00          60.60        1,272.73 dt
009734 S0074737
         000                   '12,000,00
                 08/24116                       SLMM         11 00           8,000,00             4,000.00   03/31/20          1,212j3                  0.00          90.90        1,3m,03 dr
009735 S0074738
       000 08/24116            12,000,00        SLMM         11 00           8,000,00             4,000,00   06/30/20          1,212.13                30,30         212.12        1,424,25 t
009736 50074742
       000 08/24116            12,000,00        SLMM         11 00           8,000,00             4,000,00   06/30/20          1,212.13                30,30         212.12        1,424,25 t
009740 S0074749
         000     08/24116      12,000.00        SLMI\4       1l   00         8,000.00             4,000,00   03/3 1/20         1,212.13                 0,00          90,90        1,303.03 dr
009741 50074750
         000                   '12,000.00
                 08/24116                       SLMI\,I      11 00           8,000.00             4,000,00   0d30/20           1,212.13                30,30         212.12        1,424.25 t
009743 S0074754
         000     08/24116      12,000,00        SLMI\4       11 00            8,000.00            4,000,00   0u31/20           1,212.13                 0.00          90.90        1,303.03 dr
009745 S007475i
         000     08/24116      12,000.00        SLMM         11 00            8,000.00            4,000.00   0u31/20           1,212,13                 0.00          90.90        1,303.03 dr
009747 S0074761


AryH6,xl20Ntltl3All                                                                                                                                                                         Pego66
       Case 20-11139-1-rel                                      Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                                                              Desc Main
                                                                     Document    Page 124 of 370

                                                                                             lntentate Commodities, lnc.
                                                                                                   Depecftdion Epenso Repqt

                                                                                                       As ol Jtly 31,2020


Book= Internal

ffiMsffi=Decemhr

                 ln Svc           Acqtiod        P    DoF         Et         Sslv/168   Alon           Dopochbh         Prix        hidAciln                        Dopr€ddion          CunriYlD          qmilAccum     lGy

SrsNo il         Ddo               Vd$           T                Lls           Soc 179                  Balb           liru        Domtidin                         Ihb Run            Dsmchlbn          D€oEcHirn Co6


GILA$otAcotNo = 1gl7
         000     08/24116              12,000,00 P    SLMI\,I      11 00            8,000,00                4,000,00 06/30/20            1,212.13                              30,30          212.12          1,424.25 dt

009748   S0074762
         000     08/24116              12,000.00 P    SLMM         11 00            8,000.00                4,000.00 0d30/20             1,212.13                              30.30          212,12          1,424,25 t

009749   S0074763
         000     08/24116
                                       '12,000,00 P   SLMM         11 00            8,000.00                4,000,00 05/31/20            1,212.13                               0.00          151.51          1,363,64 dr

009754 50074772
         000     08/24116              12,000,00 P    SLMI\,l      11 00            8,000,00                4,000.00 0229/20             1,212.13                               0.00           60.60          1,272.73 dt

009756 50074774
         000     08/24116              12,000.00 P    SLMM         11 00            8,000,00                4,000.00 0229/20             1,212.13                               0.00           60,60          1,272.73 dr

009764   S0074796
         000     08/24116              12,000,00 P    SLMM         11 00            8,000,00                4,000,00 01/31/20            1,212.13                               0.00           30,30          1,242,43 dt

009766   S0074798
         000     08/24116              12,000.00 P    sLMtlt       1l   00          8,000,00                4,000.00 06/30/20            1,212,13                              30.30          212.12          1,424.25 r

009768   S0074800
         000     08/24116              12,000.00 P    SLMM
                                                                   'i1 00           8,000.00                4,000,00 0229/20             1,212.13                               0,00           60.60          1,272.73 dt

009i70   s0074805
         000     08/24116              12,000,00 P    SLMI\4       11 00            8,000,00                4,000.00 0931/20             1,212,13                               0.00           90,90          1,303.03 dr

009772   S0074808
         000     08/24116              12,000.00 P    SLMM         11 00            8,000.00                4,000,00 0229/20             1,212.13                               0,00           60.60          1,272.73 dr

009773   S0074810
         000     0&i24l16              12,000,00 P    SLMM         11 00                8,000,00            4,000,00 0'1/31/20           1,212,13                                0.00           0,00          1,212.13 dr

009781   S0074830
         000 0u24/16                   12,000.00 P    SLMM         11 00                8,000.00            4,000.00 0229/20             1,212.13                                0.00          60.60           1,272.73 dr

009786   S0074839
                                                                                                                                                                                                               '1,166.65 dr
         000     0&24116               12,000.00 P    SLI\4M       12 00                8,000,00             4,000,00 0229/20            1,1      1   1,10                       0.00          55,55

009793 S00       125087/ INTX 12s087

          000    08/24116              12,000.00 P    SLMI\,l      12 00                8,000,00             4,000.00 06/30/20           1,   1   11.10                        27.78          194,44           1,305.54 r

009796   50074859
          000    08/24116              12,000.00 P    SLI\,,IM     12 00                8,000,00             4,000.00 0229/20            1,1      1       1,10                   0.00          55,55           1,166.65 dr

009797   S0074860
          000    08/24116              12,000,00 P    SLMM         12 00                8,000.00             4,000.00 0229/20            1,1 11.10                               0,00          55.55           1,166.65 dr

009800   S0074864
          000    08/24116              12,000.00 P    SLMM         12 00                8,000.00             4,000,00 03/31/20           1,1      1       1,10                   0.00          83.33           1,194.43 dr

009801 s0074867
          000    0&/24116              12,000,00 P    SLMM         12 00                8,000,00             4,000.00 06/30/20           1,1 11.10                             27.78           194.44          1,305.54 r

009807 s0074876
          000    08i24/16              12,000.00 P    SLMM         12 00                8,000.00             4,000,00 06/30/20            1,'t    1       1.10                 27,78           194.44          1,305.54 r

009809 s0074883
          000    08/24116              12,000.00 P    SLI\,lM      12 00                8,000.00             4,000.00 06/30t20            1,1 11.10                             27.78          194.44          1,305,54 r

009810 s0074885
          000    08/24116              12,000.00 P    SLMII,l      12 00                8,000.00             4,000,00 06/30/20            1,1     1       1,10                  27.78          194,44          1,305.54 r

009811    S0074887
                                                                                                                                          '1,1                                                                 1,305.54 r
          000 0u24/16                  12,000.00 P    SLMM         12 00                8,000,00             4,000.00 06/30/20                    1       1.1   0               27.78          194,44

009812    S0074888
          000    08/24116              12,000,00 P     SLMI\,I     12 00                8,000.00             4,000,00 0v31/20             1,1     1       1,10                   0,00              0.00        1,111.10 dr

009814    S0074893
          000    0&i24l16              12,000.00 P     SLMM        12 00                8,000.00             4,000.00 0131/20             1,1         1   1,10                   0.00              0,00        1,111,10 dr

009819    S0074901
          000    0&24116
                                       '12,000,00 P    SLMM        12 00                8,000.00             4,000,00 04/30/20            '1,1
                                                                                                                                                      1   1.10                   0,00          11 1,1 1        1,222.21 dt

009822    S0074907
          000    0&24116               12,000,00 P     SLMM        12 00                8,000,00                4,000.00 03/31/20         1,1         1   1,10                   0.00           83.33          1,194,43 dr

009826    S0074916


Au0s6,mdlfi3ltl                                                                                                                                                                                                             Po{o67
        Case 20-11139-1-rel                                   Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                                                      Desc Main
                                                                   Document    Page 125 of 370

                                                                                          lnterctate Commodities, lnc.
                                                                                               Dqeciailion Eryenso Repott
                                                                                                   As ol Jrty 31 , 2020


Bod=   Internal

FYE Monh = December


                  lnS:rc      Ao$iod           P   DoF          Ei         Salv/l68Alotv           Doprochhb        Rkr         ftilAcqln               DopFddon             CumiY'ID        Cunnllcrun    l(oy
S]!NO Ed DS                    Value           T   tkh          tft           Soc   lrc                             Ihru        Dmdolim                  Ihb   Run           Ihpncfibn       DemcHon       Coo


OLAsdAcdNo= 18f/
                                  '12,000,00
         000      08/24116                     P   SLMM         12 00               8,000,00             4,000,00   0429n0            1,1    1   1,10                 0.00          55,55         1,166.65 dr
009827 S0074917
         000      0&24116         12,000,00    P   SLMI\4       12 00               8,000,00             4,000.00   06/30/20          1,1    1   1.10                27,78         194.44         1,305.54 r
009829   S0074921
         000 0u24n6               12,000.00    P   SLMI\,I      12 00               8,000,00             4,000.00   06/30/20          1,1 11.10                       0,00         166,66         1,271.76 dr
009831   S0074566/|NTX74566
         000 0&24n6               12,000.00    P   SLMI\4       12 00               8,000.00             4,000.00   05/31/20          1,1    1   1,10                 0.00         138,89         1,249,99 dr
009834   S0074932
         000      08/24116        12,000.00    P   SLI\4M       12 00               8,000.00             4,000,00   0fl30/20          1,1    1   1.10                27.78         194.44         1,305,54 r
009835   S0074933
         000      0&/24116        12,000.00    P   SLI\4M       12 00               8,000,00             4,000,00   06/30/20          1,1    1   1.10                27.78         194.44         1,305.54 r
009836 s0074938
         000      08/24116        12,000.00    P   SLI\4M       t2    00            8,000,00             4,000,00   06/30/20          1,1    1   1.10                27.78         194,44         1,305.54 r
009838 S0074942
         000      0&/24116        12,000,00    P   SLMM         12 00               8,000,00             4,000.00   03/3 1/20         1,1    1   1.10                 0.00          83.33         1,194.43 dr
009839 S0074945
         000      08/24116        12,000,00    P   SLMM         12 00               8,000.00             4,000.00   02129120          1,1    1   1,10                 0.00                        1,166,65 dr
009848 S0074961
         000 0u24l15              12,000.00    P   SLMM         12 00               8,000.00             4,000.00   06/30/20          1,1'l 1.10                     27.78         194.44         1,305,54 r
009850 s0074964
                                                                                                                                      'I,1
         000 0u24l16              12,000,00    P   SLMI\4       12 00               8,000,00             4,000,00   0d30/20                  1   1.10                27,78         194,44         1,305,54 r
009851 50074967
                                                                                                                                             '11.10
         000      08/24116        12,000.00    P   SLMI\4       12 00               8,000,00             4,000,00   0331/20           1,1                             0,00          83.33         1,194.43 dr
009853 50074970
         000      08/24116        12,000.00    P   sLt\4tlt     12 00               8,000,00             4,000.00   02129n0           1,1    1   1,10                 0.00                        1,166,65 dr
009854   S0074971
         000      08/24116        12,000,00    P   SLI\4M       12 00               8,000,00             4,000.00   0429n0            1,1    1   1,10                 0.00          55,55         1,166,65 dr
0098s6 s0074973
                                                                                                                                                                                   '166,66
         000      0u24/16         12,000,00    P   SLMM         12 00               8,000.00             4,000.00   06/30/20          1,1    1   1,10                 0,00                        1,217.76 dr
009858   S0074975
         000      0&24116         12,000,00    P   SLMM         12 00               8,000.00             4,000.00   01/31/20          1,1    1   1.10                 0,00          27.78         1,138.88 dr
009865   S0074989
         000      08/24116        12,000.00    P   SLMM         12 00               8,000,00             4,000,00   0a/31/20          1,1    1   t,10                 0.00          83,33         1,194.43 dr
009868   S0074995
         000      08/24116        12,000.00    P   SLMI\4       12 00               8,000,00             4,000.00   02129n0           1,1    1   1,10                 0.00          55,55         1,166,65 dr
009869 S0074997
                                                                                                                                      '1,1
         000      08/24116        12,000.00    P   SLMI\4        12 00              8,000,00             4,000.00   06/30/20                 1   1,10                27,78         194.44         1,305,54 r
009870 s0074998
         000      08/24l'16       12,000.00    P   SLI\4M        12 00              8,000,00             4,000.00   0d30/20           1,1 1 1.'10                    27,78         194.44         1,305.54 r
009872   S0075002
         000      08/24116        12,000.00    P   SLI\4M        12 00              8,000.00             4,000,00   06/30/20          1,1 11.10                      27.78         194.44         1,305.54 r
009873   S0075003
                                                                                                                                      't,1
         000      08/24116        12,000,00    P   SLMM          12 00              8,000.00             4,000,00   06/30/20                 11,10                   27.78         194.44         1,305.54 r
009876   S0075009
         000      08/24116        12,000.00    P   SLMM          12 00              8,000,00             4,000.00   02129n0           1,1    1   1.10                 0,00          55,55         1,166,65 dr
009878   S0075013
         000      0u24/16         12,000,00    P   SLMM          12 00              8,000,00             4,000.00   0u31/20           1,1    1   1.10                 0,00          83.33         1,194.43 dr
009884   S0075021
          000     08/24116        12,000.00    P   SLMI\,l       12 00              8,000.00             4,000.00   0331/20           1,1 11,10                       0.00          83,33         1,194.43 dr
009887   S0075025
          000     08/24116        12,000.00    P   SLMM          12 00              8,000.00             4,000,00   05/31/20          1.1    1   1.10                 0.00         138,89         1,249,99 dr
009889   S0075027


fi[lt6,n20d1ffiril                                                                                                                                                                                         Prs68
        Case 20-11139-1-rel                               Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                             Desc Main
                                                               Document    Page 126 of 370

                                                                               lntestate Commodities, lnc.
                                                                                    Depeddion Eryense        Rept
                                                                                        As   olJtly3l,2020

Book= lnternal

FYE   i{mh   = December


                 lnSrr       Aoquid P Dept Ed                        Salv/168Abyr Dopochblo       Prb                 HirAccrm Dqrocidion qmtill'ID             CuaqilAmrm    lGy
Slrtlo Ed        Dah         Value T ileft Ue                         Sec179                 Bacb thru                Dsget*fin lhbRun            Deget*dktn Degeddkn         Co6


G,LAredlcdNo=       1fl17
                              '12,000.00
         000     08/24116                   P   SLI\4M       12 00       8,000.00              4,000,00   06/30/20       1,1   1   1.10   27.78       194.44         1,305,54 r
009891   S0075031
         000     0&/24116     12,000,00     P   SLI\,lM      12 00       8,000,00              4,000,00   04/30/20       1,1 11.10         0.00       111,11         1,222.21 dt
009892   S0075032
         000     08/24116     12,000,00     P   SLMM         12 00       8,000,00              4,000.00   06/30/20       1,1   1   1,10   27,78       194.44         1,305.54 r
009893 s0075033
         000     0&24116      12,000.00     P   SLMM         12 00       8,000,00              4,000.00   0u3 1/20       1,1   1   1,10    0,00        83,33         1,194,43 dr
009895   S0075036
         000     08/24116     12,000,00     P   SLMI\4       12 00       8,000,00              4,000.00   02129n0        1,1   1   1,10    0.00        55.55         1,166,65 dr
009896   S0075038
         000     08/24116     12,000.00     P   SLMI\4       12 00       8,000.00              4,000.00   0331/20        1,1 11.10         0.00        83.33         1,194.43 dr
009901   S007504s
         000     08i24/16     12,000.00     P   SLMI\,I      12 00       8,000.00              4,000,00   uB1n0          1,1 11,10         0,00         0.00         1,111.10 dr
009903 s0075050
         000     08/24116     12,000.00     P   SLI\4M       12 00       8,000.00              4,000,00   06/30/20       1,1   1   1,10   27,78       194.44         1,305.54 r
009905   S0075053
         000     08/24116     12,000.00     P   SLI\/lM      12 00       8,000.00              4,000,00   06/30/20       1,1   1   1.10   27.78       194.44         1,305,54 r
009906 s0075055
         000     08/24116     12,000,00     P   SLMM         12 00       8,000,00              4,000.00   04/30/20       1,11 1.10         0.00       111,11         1,222.21 dt
009917   S0075079
         000     08/24116     12,000,00     P   SLMI\4       12 00       8,000.00              4,000.00   0a29n0         1,I 11.10         0.00        55.55         1,166.65 dr
009919   S0075085
         000     08/24116     12,000.00     P   SLMI\,I      12 00       8,000.00              4,000,00   02129n0        1,1   1   1,10    0,00                      1,166.65 dr
009922   S0075094
         000     08/24116      12,000,00    P   SLMM         12 00       8,000.00              4,000,00   06/30/20       1,1   1   1.10   27.78       194,44         1,305,54 r
009926   S0075105
         000     0&24116       12,000.00    P   SLI\4M       12 00       8,000.00              4,000.00   0x/31/20       1,1   1   1.10    0.00        83.33         1,194,43 dr
009929   S007s108
                               't2,000.00
         000     08/24116                   P   SLl\IM       12 00       8,000,00              4,000.00   06/30/20       I,I   11.10      27.78       194,44         1,305.54 dr
009931   S0075110
                               '12,000,00
         000     08/24116                   P   SLMM         12 00       8,000.00              4,000,00   03/31/20       1,1 I 1,10        0,00        83,33         1,194.43 dr
009932   S0075111
         000     08/24116      12,000,00    P   SLMI\4       12 00       8,000.00              4,000,00   01131120       1,1   1   1.10    0.00        27.78         1,138,88 dr
009934   S0075113
         000     08/24116      12,000,00    P   SLMI\,I      12 00       8,000.00              4,000,00   01/31/20       1,1   1   1.10    0.00         0.00         1,111.10 dr
009940 s00i5121
         000 0924/16           12,000.00    P   SLMM         12 00       8,000.00              4,000.00   0t31/20        1,I 11.10         0.00       138.89         1,249.99 dr
009941   S0075122
         000     0&/24116      12,000.00    P   st\4M        12 00       8,000,00              4,000,00   06/30/20       1,1   1   1,10   27,78       194.44         1,305.54 r
009944   S0075125
         000     0&/24116      12,000.00    P   SLMM         12 00       8,000,00              4,000,00   06/30/20       1,1   1   1,10   27.78       194.44         1,305,54 r
009945   S0075126
         000     08/24116      12,000,00    P   SLMI\4       12 00       8,000.00              4,000.00   06/30/20       1,11 1.10        27.78       194.44         1,305.54 r
009946 S007si28
         000 0u24/16           12,000,00    P   SLMM         12 00       8,000,00              4,000.00   0a29n0         1,1 11.10         0,00        55,55         1,166.65 dr
009948   50075130
         000     08/24l'16     12,000,00    P   st|\4M       12 00       8,000,00              4,000,00   03/3'1/20      1,1 I 1,10        0.00        83,33         1,194.43 dr
009958   S0075146
         000     08/24116      12,000.00    P   SLMM         12 00       8,000,00              4,000,00   OMUlO          1,1   1   1.10    0.00       1 11,11        1,222,21 dt
009959   S0075150
                                                                                                                         '1.111.10
         000     08/24116      12,000.00    P   SLMM         12 00       8,000.00              4,000,00   0 1/31/20                        0.00        27.78         1,138,88 dr
009961   S0075166


tu$t6,lPodlll3All                                                                                                                                                                 Pego60
          Case 20-11139-1-rel                           Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                                                   Desc Main
                                                             Document    Page 127 of 370

                                                                                    lntedate Commodities, nc,          I



                                                                                       Depecialion Eryense     Repd
                                                                                           AsolJdy3l,2020

Book = lntemal

FYE Jtrkrtth = December



              lnS'rc          Acqriod P DoF                Ei         S.lv/l68Ahw          Dopoc.hlb        Prir           hirAcqn             Doprsc*dion          C{mtYID           CursntAcqm    lGy
SlsNo       H Dsio            Value T lildt               tft           Soc 179              &lb            Ihru           D@dion               Ih'p Run            Dop'rcidiul       Dofddhn       Co&


G/L   Arsd Acd l,lo = lflI/
            000 0u24l16         12,000.00    SLMM          12 00            8,000.00            4,000,00    06/30/20           1,'1 1   1,10               27.78           194.44          1,305.54 r
009963 S0075170
            000   08/24116      12,000,00    SLMM          12 00            8,000.00            4,000,00    0429n0             1,1 1    1,10                 0.00           55,55          1,166,65 dr
009965 S00i5188
            000   08/24116      12,000.00    SLMM          13 00            8,000,00            4,000,00    06/30/20           1,025,64                    25,64           179,48          1,205.12 t
009967 S0075193
            000                 '12,000,00
                  08/24116                   SLMM          13 00            8,000,00            4,000,00    0429t20            1,025,64                      0,00           51.28          1,076,92 dr
009971 S0075200
            000   0&/24116      12,000.00    SLMM          13 00            8,000,00            4,000,00    06/30/20           1,025.64                    25,64            179,48         1,205j2 t
009973 S00752m
            000   0&24116       12,000.00    SLI\,lM       13 00            8,000,00            4,000,00    06/30/20           1,025.64                    25,64            179,48         1,205.12 t
009974 S00752M
            000   0&24116       12,000.00    SLMM          13 00            8,000.00            4,000,00    0u31/20            1,025.64                      0,00           76,92          1,102,56 dr
009975 S0075206
            000   0&/24116      12,000,00    SLMM          13 00            8,000,00            4,000.00    06/30/20           1,025.64                    25,64            179.48         1,205.12 t
009978 S0075210
            000   0&24116                                  '13 00
                                12,000,00    SLMM                           8,000.00            4,000,00    0u31/20            1,025.64                      0.00           76.92          1,102.56 dr
009979 S0075213
            000 0u24l16         12,000,00    SLMM          13 00            8,000,00            4,000.00    06/30/20           1,025.64                    25.64            179,48         1,205.12 t
009981 S0075217
            000   0&24116       12,000.00    SLMM          13 00            8,000.00            4,000.00    0u31/20            1,025,64                      0.00           76.92          1,102,56 dr
009982 S0075219
            000                                            '13 00
                  08/24116      12,000.00    StMM                           8,000.00            4,000.00    03/31/20           1,025,64                      0,00           76.92          1,102.56 dr
009983 S0075220
            000 08/24n6                                    '13 00
                                12,000,00    SLMI\,I                        8,000.00            4,000.00    0212s120           1,025,64                      0,00            51.28         1,076,92 dr
009984 S0075221
            000   08/24116      12,000.00    SLMI\4        13 00            8,000.00            4,000,00    06/30/20           1,025,64                    25,64            179,48         1,205,12 r
009987 S0075225
            000   08/24116      12,000,00    SLMI\4        13 00            8,000.00            4,000,00    06/30/20           1,025,64                    25.64            179.48         1,205,12 r
009990 s0075229
            000   08/24116      12,000,00    SLMI\4        13 00            8,000,00            4,000,00    06/30/20           1,025.64                    25.64            179.48         1,205.12 t
009994 S0075238
            000 0u24l16         12,000.00    SLMI\,I       13 00            8,000,00            4,000,00    06/30/20           1,025.64                    25.64            179.48         1,205.12 t
009995 S0075239
            000   08/24116      12,000.00    SLMM          13 00            8,000,00            4,000.00    06/30/20           1,025.64                    25.64            179,48         1,205.12 t
009998 S0075244
            000   08/24116      12,000.00    SLI\4M        13 00            8,000,00             4,000,00   06/30/20           1,025.64                      0,00           153,84         1,179.48 dr
009999 S0075245
            000   08/24116      12,000.00    SLI\4M        13 00            8,000.00             4,000.00   06/30/20           1,025,64                    25,64            179,48         1,205.12 t
010011 s0075264
            000   08/24116      12,000.00    s|!tM         13 00            8,000,00             4,000.00   03/31/20           1,025,64                      0,00            76,92         1,102,56 dr
010014 s0075270
            000                                            '13
                  08/24116      12,000.00    sLt\,,tM            00         8,000.00             4,000,00   06/30/20           1,025,64                    25.64            179,48         1,205.12 t
010017 s0075277
            000   08/24116      12,000.00    SLMM          13 00            8,000.00             4,000,00   04/30/20           1,025.64                      0.00           102.56         1,128,20 dr
010019 s0075280
                                '12,000,00
            000   08/24116                   SLMM          13 00            8,000.00             4,000,00   06/30/20           1,025.64                    25.64            179.48         1,205.12 r
010022 s0075286
            000 0u24l16                                                                                                                                                     '179.48
                                12,000,00    StMM          13 00            8,000.00             4,000.00   06/30/20           1,025.64                    25,64                           1,205.12 t
010035 s0075307
            000   08/24116      12,000,00    SLMM          t3    00         8,000,00             4,000.00   02129n0            1,025,64                      0,00            51.28         1,076.92 dr
010036 s0075311


Au$dqmdlll3Ail                                                                                                                                                                                      Pagom
        Case 20-11139-1-rel                                Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                                                Desc Main
                                                                Document    Page 128 of 370

                                                                                  lntentate Commodilies, nc,             I



                                                                                       Depu[aiion Epenso Ropoil
                                                                                           As   olJdy31, 2020

Book= lntemal

FYE   iionh   = Decemhr


                lnSrt      Acsrisd          P   DEr          Esl      Salv/168Ahw          Doprochblo        ftid            RixAm,m           DEetiadon            CmdYlD          CurorilAfirrn l@
SFNo      il    Ddo         Vefuo           T   Moh          rft        Soc 179                              Ihru            DoprEddftn         lhb   Bun           Dopror*[hn      Dof,sd[ion      Code



GlLlstdAcdtlo=     lflI/
          000   08/24116      12,000,00         SLMI\4        13 00         8,000,00              4,000.00   03/31/20              1,025.64                  0.00           76.92         1,102.56 dr
010037    S0075313
          000   08/24116       12,000,00        SLMI\4        13 00         8,000,00              4,000,00   06/30/20              1,025.64                 25.64          179,48         1,205.12 t
010040 s0075319
          000 08/24lt6        12,000,00         SLMM          13 00         8,000.00              4,000,00   0u31/20               1,025,64                  0.00           76.92         1,102,56 dr
010050 s0075335
          000   08/24116       12,000,00        SLMM          13 00         8,000.00              4,000,00   uMn0                  1,025,64                  0,00            0.00         1,025,64 dr
010051 s0075336
          000   08/24116       12,000,00        SLI\4M        13 00         8,000.00              4,000,00   0480n0                1,025,64                  0,00          102.56         1,128,20 dr
010052 s0075344
          000   08/24116       12,000,00        st|\,,tM      13 00         8,000.00              4,000,00   0331/20               1,025.64                  0,00           76,92         1,102.56 dr
010057 s00      125004

          000   08/24116       12,000.00        SLI\,lM      09 00          8,000,00              4,000.00   06i30/20              1,481.50                 37.04          259.26         1,740.76 t
010059 s00      125006

          000   08/24116       12,000.00        sLtltM        13 00         8,000,00              4,000.00   06/30/20              1,025,64                 25.64          179,48         1,205.12 t
010062 s00      125012

          000   08/24116       12,000.00        SLMM          13 00         8,000,00              4,000.00   06/30/20              1,025,64                 25,64          179.48         1,205,12 t
010065    s00'125015
          000   08/24116       12,000.00        SLMM          13 00         8,000.00              4,000,00   0a29120               1,025,64                  0,00           51,28         1,076,92 dr
010066 s00      125016

          000   08/24116       12,000.00        SLMM          13 00         8,000.00              4,000,00   06/30/20              1,025.64                 25.64          179.48         1,205.12 t
010067 s00      125017

          000   08/24116       12,000.00        sLMtlt        13 00         8,000.00              4,000,00   06/30/20              1,025.64                 25.64          179,48         1,205.12 r
0'10068 s00     125018

          000   08/24116       12,000.00        SLMM          13 00         8,000.00              4,000.00   06i30/20              1,025,64                 25.64          179,48         1,205.12 t
010069 s00      125019

          000 0u24/16          12,000,00        SLMM          13 00         8,000,00              4,000,00   02129120              1,025,64                  0,00           51,28         1,076,92 dr
010071 s00      125023

          000   08/24116       12,000,00        SLMM          13 00         8,000,00              4,000.00   03/31/20              1,025,64                  0,00           76,92         1,102,56 dr
010072    s00125026
          000   08/24116       12,000,00        SL|\ilM       13 00         8,000,00              4,000.00   02129n0               1,025.64                  0,00           51,28         1,076,92 dr
010077    s00125033
          000   0&24116        12,000,00        SLI\4M        13 00         8,000.00              4,000,00   01/31/20              1,025.64                  0.00            0.00         1,025.64 dr
010078 s00125m6
          000   08/24116       12,000,00        SLMM          13 00         8,000.00              4,000,00   04130120              1,025.64                  0.00          102,56         1,128.20 dr
010081 s00      125039

          000   08/24116       12,000.00        SLMI\4        13 00         8,000.00              4,000,00   06/30/20              1,025,64                 25.64          179,48         1,205.12 t
0'10082 s00     125042

          000 08/24lt6         12,000.00        SLMI\,I       13 00         8,000,00              4,000.00   06/30/20              1,025,64                 25,64          179.48         1,205.12 t
010083    s00125044
          000   08/24116       12,000.00        SLMM          13 00         8,000,00              4,000,00   01131t20              1,025,64                  0.00           25.64         1,051,28 dr
010084 s00      125045

          000                                                                                                                      '1,025.64
                08/24116       12,000.00        SLMM          13 00         8,000,00              4,000,00   03/3'1/20                                       0,00           76.92         1,102.56 dr
010086 s00      125052
                               '12,000,00
          000   08/24116                        SLI\,lM       13 00         8,000.00              4,000,00   06/30/20              1,025,64                 25,64          179,48         1,205.12 t
010087    s00'125053
          000   08/24116       12,000,00        SLiIM         13 00         8,000.00              4,000.00   06/30/20              1,025.64                 25,64          179.48         1,205.12 t
010088    s00125054
          000 0924/16          12,000.00        SLMM          13 00         8,000,00              4,000.00   06/30/20              1,025.64                 2s.64          179,48         \,205j2   r

010094 s00      125062

          000   08/24116       12,000,00        SLMM          12 00         8,000,00              4,000.00   02129n0               1,1 11.10                 0.00           55.55         1,166.65 dr
010095 800      125063



AutfrqmdlllSAll                                                                                                                                                                                     PreoTl
         Case 20-11139-1-rel                               Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                                   Desc Main
                                                                Document    Page 129 of 370

                                                                                   lntedate Commodities, lnc.
                                                                                        Deptedilion Eryense Repott

                                                                                            AsolJtly31,2020

Eook = Intemal

FYE Monfi = December


                  lnSrr           Ac$iod P Dept Bt                       Salv/168Ahil Dopuchblo    hir                  ftiotlcam           D€pr€dalion   CmntY'ID    CuontAcum     lGy
qtNo Eil DS                       Value T ildt tle                        Sec179              Basb Ihru                 D€pnd.dion          nbRun lhFo*dkn            D€f,ocldi,n   Co&


GIL   lsrd lmt   No =   lflI/
           000    08/24116           12,000.00    SLMM        12 00          8,000.00            4,000.00    03/31/20      1,1   1   1,10         0.00        83.33        1,194,43 dr
010098 s00        125069

           000    08/24116           12,000.00    SLI\4M      12 00          8,000.00            4,000,00    0u31/20       1,1 11,10              0.00        83.33        1,194.43 dr
010099     S0012s070
           000    08/24116           12,000,00    SLI\4M      12 00          8,000.00            4,000,00    04/30/20      1,1   1   1.10         0.00       111.11        1,222.21 dr
010104     s00125081
           000    08/24116           12,000.00    SLI\4M      12 00          8,000.00            4,000,00    06/30/20      1,1   1   1.10        27.78       194.44        1,305.54 r
010114 S00        125104

           000    08/24116           12,000,00    SLI\,lM     13 00          8,000.00            4,000,00    02129120      1,025.64               0,00        51,28        1,076.92 dr
010115     S0012s107
           000    08/24116           12,000.00    SLIIM       13 00          8,000.00            4,000.00    06/30/20      1,025,64              25,64       179,48        1,205.12 t
010117     s00125110
           000    08/24116           12,000.00    StMM        't3 00         8,000.00            4,000.00    06/30/20      1,025.64              25,64       179,48        1,205j2 t
010120 s00        125114

           000    08/24116           12,000.00    SLMM        13 00          8,000.00            4,000.00    06/30/20      1,025,64              25.64       179,48        1,205.12 t
010121     S00125115
           000    08/24116           12,000,00    SLMM        13 00          8,000,00            4,000.00    06/30/20      1,025,64              25.64       179.48        1,205.12 dr
010t23 s00        125117

           000    08/24116           12,000,00    SLMI\4      13 00          8,000,00            4,000.00    06/30/20      1,025.64              25.64       179.48        1,205.12 t
010130 s00        125124

           000                                                '13
                  08/24116           12,000,00    SLMI\,I           00       8,000,00            4,000,00    06/30/20      1,025.64              25.64       179.48        1,205.12 t
010131 S00        125125

           000    08/24116           12,000,00    SLMM        13 00          8,000.00            4,000,00    01131/20      1,025.64               0,00        25.64        1,051,28 dr
010134 S00        125129

           000    08/24116           12,000,00    SLMM        13 00          8,000.00            4,000,00    0429120       1,025,64               0,00        51.28        1,076,92 dr
010135 S00        125130

           000    0&/24116           12,000,00    SLIlIM      13 00          8,000.00            4,000.00    02129120      1,025,64               0.00        51,28        1,076.92 dr
010137 S00        125133

           000    0&/24116           12,000.00    SLI\,lM     13 00          8,000.00            4,000.00    0430/20       1,025,64               0.00       102.56        1,128,20 dr
010138 S00        125134

           000    0&/24n6            12,000.00    SLI\4M      13 00          8,000,00            4,000.00    06/30/20      1,025.64              25,64       179.48        1,205.12 r
010139     S00'125135
           000    08/24116           12,000.00    SLMM        13 00          8,000,00            4,000,00    03/31/20      1,025.64               0,00        76.92        1,102.56 dr
01014'l s00       125137

           000    08/24116           12,000.00    SLMM        13 00          8,000.00            4,000,00    06/30/20      1,025,64              25,64       179,48        1,205,12 t
010143 S00        125145

           000    08/24116           12,000.00    SLMI/l      12 00          8,000.00            4,000,00    unll20        1,1   1   1,10          0.00        0,00         1,111,10 dr
010144     RRRX 1104/INTX 11044

           000    09/0'1/16          10,920,00    SLMI\,,I    14 00          8,000.00             2,920.00   0il3u20         695.23                0.00       69,52          764,75 dr
010147     RRRX212i/|NTX2127
           000    09/01/16           10,920,00    SLMM        14 00          8,000.00             2,920.00   06/30/20        695.23               17,38      121.66          816.89 r
010'148 RBRX2133/|NTX2133
           000 09/0v16               10,920,00    SLI\4M      14 00          8,000,00             2,920.00   06/30/20        695.23               17,38      121,66          816.89 r
010149     RRRX2135/INTX2135
           000 09/0116               10,920,00    SLI\4M      14 00          8,000,00             2,920,00   06/30/20        695,23               17,38      121,66          816.89 r
010150     RRBX2139/INTX2139
           000    09/01/16           10,920.00    SLMM        14 00          8,000,00             2,920,00   06/30/20        695,23               17,38      121.66          816,89 r
010152     RBRX2145/|NTX2145
           000                       '10,920.00               '14
                  09/01/16                        SLMM              00       8,000.00             2,920.00   03/31/20        695.23                0.00       52,14          747.37 dt
010154     RRRX 182739/INTX 182739

           000    09/01/16           10,920.00    SLMI\,,I    14 00          8,000.00             2,920.00   06/30/20        695.23               17,38      121,66          816.89 r
010155     RRRX 182754/INTX 182754



Alf,H6,rpoel1ll3lt                                                                                                                                                                   wn
        Case 20-11139-1-rel                                        Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                                               Desc Main
                                                                        Document    Page 130 of 370

                                                                                               lntem{ate Commodities, nc.             I



                                                                                                   Dep€dalion Ep€nso Repoft

                                                                                                       As   olJdy3l,2020

Book = lnternal

FYE   Monh = December


                  ln   Slc       Ac$M               P   DEr          Eli        Salv/168Alow          DopecA*             hfr             nirAciln       DEocidion          qmilYI)       OmfllAcdm   lGy
                                                                                        .l79
Sl6No Ed          Ddo             Vdtr              T   Mdt          rft          Soc                       Balb          Ihru            Dmtiditn        Ihb Run           DemcHin       Demcffin    Co&


GlLAssollrdi{o     = 180/
                                                                     '14
          000     09/01/16             10,920.00    P   SLMM               00           8,000,00               2,920.00   0429n0                695.23               0,00        34.76         729.99 dr
010156    RRRX'182757/INTX    182757

          000     09/01/16             10,920,00    P   SLMI\,I      14 00              8,000.00               2,920.00   06/30/20              695.23              17,38        121.66        816.89 r
010157    RRRX 182763/ INTX 182763
                                                                     '14 00
          000     09/01/16             10,920.00    P   sLMt\.,1                        8,000.00               2,920,00   0429n0                695,23               0.00        34.76         729,99 dr
010164    RRRX'182819/ |NTX 182819

          000     09/01/16             10,920.00    P   SLMM         14 00              8,000.00               2,920,00   06/30/20              695,23               0.00        104.28        799,51 dr
010169    RRRX 182840/INTX 182840

          000     09/01/16             '10,920.00                    14 00              8,000.00                                                695.23                                         764,75 dr
                                                    P   SLMM                                                   2,920.00   04/30/20                                   0,00         69.52

010171    RRRX 182873/ INTX 182873

          000     09/01/16             10,920.00    P   SLMM         14 00              8,000.00               2,920.00   06/30/20              695.23              17,38        121,66        816.89 r
010172    RRRX'182904/ INTX 182904

          000     09/01/16             10,920,00    P   SLI\4M       14 00              8,000,00               2,920.00   02129120              695.23               0,00         34,76        729.99 dr
010173    RRBX 182910/ INTX 182910

          000     09/01/16             10,920,00    P   sLtltM       14 00              8,000,00               2,920.00   06/30/20              695.23              17.38        121.66        816.89 r
010175    RRRX 182919/INTX 182919

          000     09/01/16             10,920,00    P   SLI\,lM      14 00              8,000.00               2,920.00   06/30/20              695,23              17.38        121.66        816,89 r
010176    RRBX 182921 /INTX 182921

          000     09/01/16             10,920,00    P   SLMM         14 00              8,000.00               2,920,00   06/30/20              695,23              17,38        121,66        816,89 dr
010180    RRRX 182941 /|NTX 182941

          000     09/01/16             10,920,00    P   SLMI\,l       t4   00           8,000.00               2,920,00   06/30/20              695.23              17,38        121,66        816,89 r
010181    BRRX 182943/INTX 182943

          000     09/01/16             10,920.00    P   sLMtlt        14 00             8,000.00               2,920.00   01Mn0                 695.23               0.00          0,00        695.23 dr
010183    RRRX 182957/INTX 182957

          000     09/01/16             10,920.00    P   SLMM          14 00             8,000,00               2,920.00   06/30/20              695.23              17.38        121.66        816,89 r
010184    RRRX 182960/INTX 182960

          000     09/01/16             10,920.00    P   SLMM          14 00             8,000,00               2,920.00   0u31/20               695,23               0,00         52.14        747.37 dr
010185    RRRX 182965/INTX 182965

          000     09/01/16             10,920.00    P   SLMM          14 00             8,000,00               2,920,00   0429n0                695,23               0,00         34.76        729,99 dr
010186    RRRX 182967/INTX 182967

          000     09/0'1/16            10,920,00    P   SLI\4M        14 00             8,000,00               2,920,00   0429120               695.23               0,00         34,76        729.99 dr
010187    RRRX 182968/ INTX 182968

          000     09/01/16             10,920,00    P   SLI\4M        14 00             8,000.00               2,920,00   03/31/20              695.23               0.00         52,14        747.37 dr
010188    RBRX 182970/ INTX 182970

          000 09/0t16                  10,920,00    P   SLMM          t4   00           8,000.00               2,920.00   02129120              695,23               0,00         34.76        729,99 dr
010189    RRRX 182975/ INTX 182975

          000     09/01/16             10,920,00    P   SLMI\,I       14 00             8,000,00               2,920.00   0u31/20               695,23               0,00         52.14        747.37 dt
010190    RRBX 182988/ |NTX 182988

          000     09/01/16             10,920,00    P   sLMtvl        14 00             8,000,00               2,920.00   06/30/20              695,23              17,38        121.66        816,89 r
010194    BRRX 182997/INTX 182997

          000     09/01/16             10,920.00    P   SLMM          14 00             8,000.00               2,920,00   02129n0               695.23               0.00         34,76        729.99 dr
010195    BRRX460084/|NTX460084
          000     09/01/16             10,920.00    P   SLMM          14 00             8,000.00               2,920,00   03/3 1/20             695.23               0.00         52.14        747.37 dr
010198    RRRX460137/|NTX460137

          000     09/01/16             10,920.00    P   SLI\4M        14 00             8,000.00               2,920.00   06/30/20              695,23              17,38        121,66        816,89 r
010199    RRRX460139/|NTX460139

          000 0901/16                  10,920,00    P   SLI\,IM       14 00             8,000,00               2,920.00   02l2sn0               695,23               0,00         34,76        729,99 dr
010202    RRRX460200/1NTX460200

          000     09/01/15             10,920,00    P   sLMm          14 00             8,000,00               2,920,00   0331/20               69s.23               0.00         52.14        747.37 dr
010206    RRRX460218/|NTX460218
          000 09/0v16                  10,920.00    P   SLMI/         14 00             8,000.00               2,920,00   04130120              695,23               0,00         69,52        764.75 dr
010210    RBBX 460242/ INTX 450242



Au$t6,2(P0dltl3All                                                                                                                                                                                    Pegon
         Case 20-11139-1-rel                                     Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                                         Desc Main
                                                                      Document    Page 131 of 370

                                                                                         lntestate Commodities, lnc.
                                                                                              Depmciailion Epense Repoil

                                                                                                  As   olJdy3l,2020

Book = Intemal

FYE   ltionfi = December


             lnSrr               Acqliod P DE     Ei                           Satv/168410il D€ptchbb               hit        nfrAcdm           Doprecidon        CrmilY'lD       OmilAc.iln    lGy
SFNo      tr Ddo                   Value T il€ilh tft                           S€c179 Bar*r                        Ihru       Doproridicn        fibRun           Dogocdfn        Doproch[on    Co&


GrLAssdAcdNo=1fl)7
          000    09/01/16            10,920.00       SLMM           14 00          8,000.00             2,920.00    06/30/20           695.23              17,38         121,66          816.89 dr
010213 RRRX460269/|NTX460269
          000 09/01n6                10,920.00       SLMM           14 00          8,000.00             2,920.00    0a2sl20            695.23               0.00          34.76          729.99 dr
010215 RRRX460282/|NTX460282
          000    09/01/16            10,920.00       SLMM           14 00          8,000,00             2,920,00    01131D0            695,23               0.00          17,38          712,61 dt
010216 RRRX460314/|NTX460314
          000 09/0v16                10,920.00       SLMM           14 00          8,000,00             2,920,00    0u31/20            695,23               0.00          52,14          747,37 dr
010219 RRRX460319/|NTX460319
          000    09/01/16            10,920.00       SLMM           14 00          8,000,00             2,920,00    0t3r/20            695,23               0,00          86,90          782,13 dr
010220 RRRX460328/|NTX460328
          000    09/01/16            10,920.00       SLMI\4         14 00          8,000,00             2,920,00    03/31/20           695.23               0,00          52.14          747.37 dr
010221 RRRX460335/|NTX460335
          000    09/01/16            10,920.00       SLMI\4         14 00          8,000,00             2,920.00    01/3V20            695.23               0.00           17.38         712.61 dr
010223 RRRX460337/|NTX460337
          000    09/0'1/16           10,920.00       SLMI\4         14 00          8,000.00             2,920.00    06/30/20           695.23              17.38         121,66          816.89 r
010224 RRRX460355/|NTX460355
          000    09/01/16            10,920.00       SLMI\4         14 00          8,000.00             2,920.00    02129120           695.23               0.00          34.76          729.99 dr
010225 RRRX460359/|NTX460359
          000    09/01/16            10,920.00       sLt\4t\,l      14 00          8,000.00             2,920.00    06/30/20           695,23              1i,38         121.66          816,89 r
010229    RRRX 460429/ INTX 460429

          000 09/01n6                10,920,00       SLI\4M         14 00          8,000.00              2,920.00   02129n0            695,23               0,00          J4./O          729.99 dr
010231 RRRX463020/|NTX463020
          000    09/01/16            10,920,00       SLI\4M         14 00          8,000,00              2,920,00   0d30/20            695.23              17,38          121,66         816,89 r
010234 CGBX21216/INTX21216
          000    09/15/16            1    1,900,00   SLI\4M         13 00          8,000,00             3,900,00    03131n0           1,000.00              0.00          i5.00         1,075.00 dr
010240    CGRX 21230/ INTX 21230

          000    09/15/16            1    1,900,00   SLMM           13 00          8,000,00             3,900.00    0429n0            1,000,00              0.00          50,00         1,050.00 dr
010244 CGAXA241 / INTX21241
          000    09/15/16            'I
                                          1,900,00   StMM           13 00          8,000,00              3,900,00   06/30/20          1,000,00             25.00          175.00        1,175,00 dr
010246    CGRX2'1246/INTX21246

          000                                                       '13
                 09/15/16            1    1,900,00   SLMM                 00       8,000.00              3,900.00   01131120          1,000,00              0,00           25,00        1,025,00 dr
010249    CGRX 21263/|NTX21263

          000    09/15/16            1    1,900,00   SLMI\4         13 00          8,000,00              3,900.00   06/30/20          1,000.00             25,00          175,00        1,175.00 r
010250 0GRX21265/|NTX21265
          000    09/15/16            1    1,900,00   SLMI\4         13 00          8,000.00              3,900,00   05/31/20          1,000.00              0.00          125,00        1,125.00 dr
010253 CGRXA2n I N1X21277
           000   09/15/16            1    1,900.00   SLMI\4         13 00          8,000.00              3,900,00   0429n0            1,000.00              0.00           50,00        1,050.00 dr
010258 CGRX21310/|NTX21310
          000    09/15/15            1    1,900.00   SLI\4M         13 00          8,000,00              3,900,00   0429n0            1,000,00              0.00           50,00        1,050.00 dr
010263 CGRX21326/|NTX21326
           000   09/15/16            1    1,900.00   SLI\4M         13 00          8,000,00              3,900.00   02129120          1,000,00              0,00           50,00        1,050,00 dr
010264 CGRX21328/|NTX21328
           000   09/15/16            11,900.00       SLI\4M         13 00          8,000.00              3,900.00   06/30/20          1,000.00             25,00          175,00        1,175,00 r
010266 CGRX21340/|NTX21340
           000   09/15/16            1    1,900.00   SLMM           13 00          8,000.00              3,900.00   06/30/20          1,000.00             25.00          175,00        1,175.00 r
010268 N0K167045/|NTX67045
           000                                                      '14
                 09/28/16            10,500.00       SLMM                 00       8,000.00              2,500,00   06/30/20           580.35              14.88          104.16         684.51 r
010271 N0K167048/|NTX67048
           000   09/28/16            12,200,00       SLMI\4         14 00          8,000,00              4,200.00   0429120            975,00               0,00           50.00        1,025,00 dr
010272    NoKL 67049/ INTX67049

           000   09/28/16            12,200,00       SLMI\4         14 00          8,000,00              4,200.00   ul31n0             975.00               0,00           25.00        '1,000,00 dr

010273 N0K167050/|NTX67050


tu$Hqms[11l0lt                                                                                                                                                                                    Pr0074
         Case 20-11139-1-rel                                        Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                                Desc Main
                                                                         Document    Page 132 of 370

                                                                                             lnteHate Commodilies, lnc.
                                                                                                   Dryedalion Eryenso R€port
                                                                                                       As   olJrly3l, 202t

Book = lntemal

ffi   ltrlonfi = December


                 lnSlc              lcfliBd           P   Dopr        Ed       Salv/168llotv           Domcla*           Hi)r       ftirA..un        Dqmdadon CrmilY-fD CtmrlAoqm       lGy
SysNo E)d        Ddo                 Veluo            T   Itdr        Us          Soc 179                                Ihru       DqFcidon         fihRun Dopddbn Dsg€cffibn          Co6


GlLAs3dAdNo=lflIt
       000 09/2u16                     10,500.00      P   SLMM        14 00           8,000,00                2,500.00   02129120          580.35          0.00     29.76     610.11 dr
010274 N0K167058/|NTX67058
           000   09/28/16              10,500.00      P   SLMM        14 00           8,000.00                2,500.00   06/30/20          580,35         14.88    104.16     684.51 r
010275     N0K167059/|NTX67059
           000   09/28/16              10,500.00      P   SLMI\4      14 00           8,000.00                2,500.00   03/31/20          580,35          0,00     44.64     624.99 dr
010276     Repairs to INTX 49636

           000   09/30/16               4,609.78      P   SLMI\,I     10 00                 0.00              4,609,78   06/30/20         1,498.19       38,41    268,90    1,767,09

010277     Bepairs to   S00 74570
           000   09/30/16                    531,28   P   SLMM        10 00                 0.00               531.28 0d30/20              172.67          4.43     30,99     203.66

010278     Repairs to   S00 74712
           000   09/30/16                    700,55   P   SLI\4M      10 00                 0.00               700,55 06/30/20             227,69          5.83     40,86     268.55

010279     Repairc to   S00 75318
           000   09/30/16                    715,65   P   SLMM        10 00                 0,00               715,65    06/30/20          232,60          5,96     41.74     274.34

010280     RepahstoS0074911
           000   09/30/16                    397.33   P   SLMM        10 00                 0,00               397,33    06/30/20          129,12          3,31     23.17     152.29

010281     RepairstoS0074763
           000   09/30/16                    478.60   P   SLMI\4      10 00                 0,00               478.60    06/30/20          155.56          3.98     27,91     183.47

010282 RepairstoS00i4590
           000   09/30/16                    397.33   P   SLMM         10 00                0.00                397,33 0fl30/20             129,12         3.31     23,17     152.29

010283     RepairstoCP385163

           000   09/30/16                    430,83   P   SLI\4M       10 00                0.00                430,83 0il30/20            140.01          3,59     25.13     165,14

010284     RepairstoS00 125088
           000   09/30/16                    467,33   P   SLMM         10 00                0,00                467.33   06/30/20           151.87         3,89     27.25     179.12

010285     RepairstoS0074817
           000   09/30/16                    397.33   P   SLMM         10 00                0,00                397.33   06/30/20           129.12         3.31     23,17     152,29

010286     Repairs to   S00 74952
           000   09/30/15                                                                                                                                                     '183.47
                                             478.60   P   SLMI\4       10 00                0.00                478,60 06/30/20             155,56         3.98     27.91

010287     RepairstoS0075l1'l
           000   09/30/16                    e07   cc P   SLMM         10 00                0.00                397,33   06/30/20           129.12         3,31     23.17     152,29

010288     RepairstoS0074998
           000   09/30/16                    478,60   P   SLI\,lM      10 00                0,00                478.60 06/30/20             155.56         3.98     27,91     183,47

010289     RepairstoS0075065
           000   09/30/16                    478,60   P   SLI\4M       10 00                0,00                478.60 06/30/20             155,56
                                                                                                                                                           10e      27,91     183.47

010290     RepairstoS0074989
           000   09/30/16                    478,60   P   SLMI\4       10 00                0,00                478,60 06/30/20             155,s6         3,98     27.91     183.47

010291     RepairstoCP385143
           000   09/30/16                    478,60   P   SLMI\,I      10 00                0.00                478.60   06/30/20           155.56         3,98     27.91     183,4i
010292     Repairs to   S00 74679
           000   09/30/16                    478.60   P   SLMM         10 00                0.00                478.60 06/30/20             155.56         3,98     27.91     183,47

010293     Bepairs to   S00 74755
           000   09/30/16                    JY',JJ   P   sLtltM       10 00                0,00                397,33 0d30/20              129.12         3,31     23.17     152.29

010294     RepairstoS0075217
           000   09/30/16                    478,60   P   SLMM         10 00                0.00                478,60   06/30/20           155.56         3,98     27.91     183.47

010295     RepairstoS0074684
           000   09/30/16                    478.60   P   SLMI\,l      10 00                0.00                478,60   06/30/20           155.56         3.98     27,91     183,47

0'10296 RepairstoS0074800
           000   09/30/16                    478.60   P   SLMM         10 00                0,00                478.60 06/30/20             155,56
                                                                                                                                                           10q      27.91     183,47

010297     RepairstoS0074917
           000   09/30/16                    478.60   P   SLI\4M       10 00                0,00                478,60 06/30/20             155.56         3,98     27.91     183.47

010298     Repairs to   S00 74859
           000   09/30/16                    397,33   P   SLMM         10 00                0.00                397,33   06/30/20           129.12         3.31     23,17     152,29

010299     BepaimtoS0O74887


Al{uil6,20oN[11l3lt                                                                                                                                                                      PNF75
        Case 20-11139-1-rel                                      Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                                                 Desc Main
                                                                      Document    Page 133 of 370

                                                                                            lntentate Commodities, lnc,
                                                                                                  Dryeddhn Epenso Ropoil
                                                                                                     As ol Jtly     31 ,   2020


Book = lnternal

ffi1ffi1=Decemhr

                  lnSvc           &flid             P   D€pr        Eri        Salv/i68Ahw           Dop$hbb               Rix         fthApiln       Dqrsdafion          Ct.mdlm           CurodAcqn     lGy
S}sNo Ed          Ddo             VolF              T   lldr       tft           Soc 179               Bash                lhru        DEodd,on        Ihb Run            Donsrirdirn       Dogo'idion Oe

G/LAsetAccll{o =     lflIl
          000     09/30/16               515.33     P   sLMtlt      10 00                  0,00               515,33 06/30/20                167.47                4,29            30.05         197.52

010300    RepairstoS0075280
          000     09/30/16               397.33     P   SLMM        10 00                  0,00               397,33       06i30/20          129,12                3.31            23.17         152,29

010301    BepairstoS0074830
          000     09/30/16               397.33     P   SLMM        10 00                  0,00               397.33       06/30/20          129.12                3.31            23,17.        152.29

010302    BepairstoS0074929
          000     09/30/16               478.60     P   SLMM        10 00                  0.00               478.60       06/30/20          155.56                3.98            27,91         183.47

010303    RepairstocP385335
          000     09/30/16               544.81     P   SLMM        10 00                  0.00               544.81       06/30/20          177.06                4,54            31.78         208.84

010304    Repairstos0074650
          000     09/30/16               478.60     P   SLIUM       10 00                  0.00               478.60 06/30/20                155.56                3,98            27.91         183.47

010305    RepairstoCP3S53m
          000     09/30/16               537,33     P   SLMM        10 00                  0.00               537,33 0d30/20                 174,62                4.48            31,34         205,96

010306    RepairstoCP385455

          000     09/30/16               583,60     P   SLMI/       l0    00               0,00               583,60 06i30/20                189.67                4.86            34,04         223.71

010307    Repairs lo CP 385479

          000     09/30/16               397,33     P   SLMM        10 00                  0,00               397,33       06/30/20          129.12                3,31            23.17         152.25

010308    Repairs to CP 385303

          000     09/30/16               430.83     P   SLMM        10 00                  0,00               430.83       06/30/20          140.01                3,59            2s,13         165.14

010309    Repairs to   S00 7538
          000     09/30/16               913.33     P   SLMM        10 00                  0.00               ote   el     06/30/20          296,82                7.61            53.27         350,09

010310    Repai6toS0074601
          000     09/30/16               478.60     P   SLI\,lM     10 00                  0.00               478,60 06/30/20                155,56                3.98            27.91         183,47

010311    RepairstoCP385198

          000     09/30/16               397,33     P   SLITM       10 00                  0.00               397,33 06/30/20                129,12                3.31            23.17         152.29

010312    RepairstoCP385191

          000     09/30/16               430,83     P   SLMIlI      l0    00               0,00               430.83       06/30/20          140.01                3,59            25.13         165.14

010313    RepairstoS0074151
          000     09/30/16               478,60     P   SLMM        10 00                  0,00               478.60       06/30/20          155,56                3,98            27,91         183.47

010314    RepairstoCP385290

          000     09/30/16               s02.33     P   SLMM        10 00                  0.00               502.33 06/30/20                163.25                4.19            29,30         192,55

0103i5    RepairstoCP3S5l69
          000     09/30/16               430.83     P   SLMM        10 00                  0.00               430,83 06/30/20                140.01                3.59            25.13         165.14

010316    RepairstoS0074156
          000     09/30/16               583.60     P   SLI\,lM     10 00                  0.00               583,60 06/30/20                189,67                4,86            34.04         223.71

010317    Repairs to CP 385144

          000     09/30/16               397.33     P   SLMM        10 00                  0,00               397.33       06/30/20          129.12                3,31            23,17         152.29

010318    RepairstoCP385l54
          000     09/30/16               467,33     P   SLMIU       10 00                  0,00               467.33 06/30/20                151.87                3.89            27,25         179,12

010319    RepairstoCP385296

          000     09/30/16               397,33     P   SLMM        10 00                  0.00               397,33 06/30/20                125.12                3.31            23.17         152.29

010320    RepairstoCP385107

          000     09/30/16               478.60     P   SLMM        10 00                  0.00               478,60 06/30/20                155,56                3,98            27.91         183.47

010321    RepairstoCP385314

          000     09/30/16               107   lC   P   SLMM        '10
                                                                          00               0,00               397,33        06/30/20         129.12                3.31            23,17         152.29

010322    RepairstoCP385454

          000     09/30/16               478.60     P   SLI\4M      10 00                  0,00               478.60 06/30/20                155.56                3.98            27.91         183,47

010323    RepahstoCP385124

          000     09/30/16               583,60     P   SLMiI       10 00                  0.00               583,60 06/30/20                189,67                4.86            34.04         223.71

010324    RepairstoS00742m
          000     09/30/16               502,33     P   SLMM        10 00                  0.00               502,33 06/30/20                163,25                4,19            29,30         192.55

010325    RepairctoCP385183



A|UH6,m20d1l13tlt                                                                                                                                                                                         Pego75
            Case 20-11139-1-rel                                      Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                                                     Desc Main
                                                                          Document    Page 134 of 370

                                                                                                lnterctate Commodities, lnc.
                                                                                                      Depe<ialion Epenso R€port

                                                                                                          As   olJrly3l,2020

Book = lntemal

ffi1ffi1=December

                   lnSrt               tuflisd          P   D€pr        Ed         &lv/l68Ahil            Dog€chlb             Prior      PridAcqm         ooprrcidon             CuronlYlD         AmrtAcan       Koy

SyBNo        il    Dah                  ValF            T   tldr       lft           Soc 179                   Balb            Ihru       D€proddicn        Ih'n Run              Dof,ocffion       Dopecffin      Cado



GIL   Aac   Acct No =   I&Il
             000   09/30/16                    502,33       SLI\,lM     10 00                  0.00                   502,33 06/30/20            163.25                 4.19               29,30         192.55

010326       RepairstoCP385437

             000   09/30/16                 1,881,66        SLMM        10 00                  0.00               1,881.66     06/30/20          61 1.55               15.68              109.76         721,31

010327       Repairs to CP     38542
             000   09/30/16                    397,33       SLMM        10 00                  0,00                   397.33 06/30/20            129,12                 J.J   I            23.17         152,29

010328       Repairs to CP 385381

             000   09/30/16                    397,33       SLMM        10 00                  0,00                   39i.33 06/30/20            129,12                 3,31               23.17         152.29

010329       Repairs to CP 385464

             000   09/30/16                    397,33       SLMI\4      10 00                  0,00                   397.33 06/30/20            129.12                 3.31               23,17         152.29

010330       RepairstoDSRC385153
                                                                        '10
             000   09/30/16                    478.60       SLMI\4            00               0.00                   478,60 06/30/20            155.56                 3.98               27.91         183,47

010331       RepairstoDSRC385338

             000   0980n6                      397.33       SLMM        10 00                  0.00                   397,33 06/30/20             129.12                J.J   I            23.17         152.29

010338       Repairsto|NTX43Sl9
             000   10/31/16                14,024.67        SLI\4M      14 00            8,000,00                 6,024.67     06/30/20         1,362.71               35,86              251,02        1,613.73 r
010339       Bepairsto|NTX43SlS
             000   10/31/16                14,024,67        s|\4M       14 00                  0,00              14,024.67     06/30/20         3,172,24               83,48              584.36        3,756.60

010340       Repairsro|NTX60492

             000   10/31/16                14,106,47        SLMM        14 00                  0.00              14,106.47     06/30/20         3,190.78               83.97              587,77        3,778,55

010341       Repairs to INTX 43810
                                                                                                                 '14,138.15
             000   10/31/16                14,138.15        SLMM        t4    00               0.00                            06/30/20         3,197,92               84,16              589,09        3,787.01

010342       Repairsro|NTX3SS22

             000   10/31/16                14,159,31        SLMM        14 00                  0.00              14,159.31     06/30/20         3,202.70               84,28              589,97        3,792.67

010343       Repairsto|NTX395T0

             000   10/31/16                14,'159.31       SLMI\4      14 00                  0,00              14,159,31     06/30/20         3,202.70               84.28              589.97        3,792.67

010344       Repairsto|NTX4SS0l

             000   10/31/16                14,060.82        SLI\4M
                                                                        't4 00                 0,00              14,060,82     06/30/20         3,180.44               83.70              585,87        3,766,31

010345       Repairsto|NTXS9l22
             000   10/31/16                14,159.3 t       SLMM        14 00                  0.00              14,159.31     06/30/20         3,202,70               84,28              589.97        3,752.67

010346       Repairsto|NTX43S02

             000   10/31/16                14,138,15        SLMM        14 00                  0.00              14,138.15     06/30/20         3,197,92               84.16              589.09        3,787.01

010347       Repairs lo INTX 38828

             000   't0/3116                14,159,31        SLMM        14 00                  0,00              14,159,31     06/30/20         3,202.70               84.28              589,9i        3,792.67

010348       Repairs to INTX 38004

             000   10/31/16                 6,724.85        SLMM        14 00                  0,00               6,724.85     06/30/20         1,521.12               40,03              280,20        1,801.32

010349       Repairsto|NTX3S002

             000   10/31/16                 7,951.64        SLMI\4      14 00                  0,00               7,951.64     06/30/20         1,i98,60               47.33              331.32        2,129.92

010350       Repairsto|NTX3S00l
             000   10/31/16                 7,220.69        SLI\,ll/    14 00                  0.00               7,220.69     06/30/20         1,633,24               42.98              300,86        1,934,10

010351       Repairsto|NTXTlTT
             000   10/3V16                  7,264j3         SLI\IM      14 00                  0.00               7,264,13     06/30/20         1,643.10               43.24              302,67        1,945,77

010352       RepairstoCGRX21236

             000   10/31/16                    452,58       SLMM        14 00                  0,00                   452.58 06/30/20             102,38                2.69                18,85         121.23

010353       RepairstoCGRX21263

             000   10/3v16                     371,31       SLMM        14 00                  0.00                   371.31   06/30/20            83,98                2,21                15.47          99.45

010354       Repahs to CGRX 21328

             000   10/31/16                    336.31       SLMI\4      14 00                  0.00                   336,31   06/30/20            76.06                2,00                14.01          90,07

010355       Repahs to CGRX 21285
                   '10/31/16
             000                               371.31       sLt\4r\r    14 00                  0,00                   371.31   06/30/20            83,98                2,21                15,47          99.45

0'10356      Repairs to CGRX 2'1304

             000   10/31/16                    452,58       SLIlIM      14 00                  0,00                   452.58 06/30/20             102,38                2.69                18.85         121.23

010357       RepairstoINTXT4694



AryH6,mOdllX3All                                                                                                                                                                                                   Pslon
        Case 20-11139-1-rel                                           Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                                                  Desc Main
                                                                           Document    Page 135 of 370

                                                                                                   lntestate Commodities, lnc,
                                                                                                         Depntailion Epense Repoil

                                                                                                             As ol Jrly31, 2020


Book= lntemal

FYE   illmh   = December


                 lnS'rc               Ac$M             P   DoF           Elt        Salv/l68Ahil             Dopttr*rlts       P?ir       PrirArun       Dopccmon                CfiqlYlD         AmdAcrun lGy
S$No      E)d Dd.                     Vrlue            T   lloh          tft          Soc   1i9                                thru       Demiahn         Ihb   Run              Deocchlitn       Deqsddin Co&

GlLAsdlntNo=180/
       000 '10/31/16                          320.71   P   SLMI\4        14 00                    0.00                320.71 06/30/20           72,56                 1.91               13.36             85.92

010358 Repairsto|NTXT52S6
       000 10/31/16                           401.98 P     sLt\4t\4      14 00                    0,00                401.98 06/30/20            90.92                2.39               16.74         107,66

010359 RepairstoINTXTSl2S
                                                                                                                                                                      '1,91
       000 10/31/16                           320.71   P   sLt\4t\4      14 00                    0,00                320,71 06/30/20            72.56                                   13,36             85,92

010360 Repaitsto|NTXT5094
       000 10/31/16                           320,71   P   sLt\.,tM      14 00                    0.00                320,71 06/30/20            72,56                1,91               13.36             85.92

010361 Repairsto|NTXT5203
       000 10/31/16                       1,1 16,89    P   SLMM          14 00                    0.00              1,116.89 06/30/20           252,65                6.64               46.53         299.18

010362    Repairsto|NTXT50l0
          000    10/31/16                     320.71   P   SLMM          t4    00                 0.00                320.71 06/30/20            72.56                1.91               13,36             85,92

010363    Repairs to INTX 74592

          000    10/31/16                     320.71   P   SLMM          14 00                    0.00                320.71 06/30/20            72.56                1,91               13,36             85.92

010364    Repairs to INTX 75085

          000    10/31/16                     320.71   P   SLMI\4        14 00                    0,00                320,71 06/30/20            72,56                1.91               13,36             cE   o,
010365    Repahs to INTX 75319

          000    10/31/16                     435.40 P     SLI\4I\,l     14 00                    0,00                435,40 06/30/20            98,48                2.59               18.14         1   16,62

010366    Repairsto|NTXT5025

          000    10/31/16                     320.71   P   SLMM          14 00                    0.00                320,71 06/30/20            72.56                1,91               13,36             85,92

010367    Repai6toINTX74711
          000    t0/31/16                     401,98   P   SLMM          14 00                    0.00                401.98 06/30/20            90.92                2,39               16.74         107.66

010368    Repairsto|NTXT5l95
          000    10/31/16                     401,98   P   SLMM          14 00                    0,00                401,98 06/30/20            90,92                2.39               16.74         107.66

010369    Repairsto|NTXT5003

          000    10/31/16                     401,98   P   SLMM          14 00                    0,00                401.98 06/30/20            90.92                2.39               16,74         107,66

010370    Bepairs to INTX 74588

          000    10/3v16                      401.98 P     sLt\4t\4      14 00                    0,00                40'1.98 06/30/20           90.92                2,39               16,74         107,66

010371    Repahs to INTX 75247
                 '10/31/16
          000                                 401.98 P     SLMM          14 00                    0.00                401.98 06/30/20            90.92                2,39               16.74         107.66

010372    Repairsto INTX 125004
                                                                                                                                                                      't.9
          000    10/31/16                     320.71   P   SLMM          14 00                    0,00                320,71 06/30/20            72,56                       1           13.36             85,92

010373    Repairsto|NTXT5209

          000    10/31/16                     401,98   P   SLMM          14 00                    0,00                401.98 06/30/20            90.92                2,39               16,74         107,66

010374    Repairsto|NTXT4T0S

          000    l0/31/16                     320.71   P   SLMI\4        14 00                    0,00                320.71 06/30/20            72.56                1.91               13.36             85.92

010375    Repairsto|NTXT52T0

          000    10/31/16                     320.71   P   SLMM          14 00                    0.00                320.i1   06/30/20          72,56                1.91               13.36             eq   ot
0'10376   Repairs to INTX 75307
                                                                                                                                                                      '1,91
          000    10/31/16                     320.71   P   SLI\,lM       t4    00                 0,00                320,71 06/30/20            72.56                                    IJ,JO            85,92

010377    Repairsto|NTXT5l30
          000    10/31/16                     401,98 P     SLMM          t4    00                 0,00                401,98 06/30/20            90.92                2.39               16,74         107,66

010378    Repairs to DSRC 385103

          000    10/31/16                     435,40   P   SLMM          14 00                    0.00                435.40 06/30/20            98,48                2.59               18.14         1   16.62

010379    RepairstoDSRC385287

          000    10/31/16                     320,71   P   SLMII4        14 00                    0.00                320,71 06/30/20            72.56                1.91                IJ,JD            85.92

010380    Repairs to INTX 75166

          000    10/31/16                     320J1    P   SLI\4M        14 00                    0,00                320.71 06/30/20            72.56                tol                13.36             85,92

010381    Repairs lo INTX 74605

          000    10/31/16                     401.98 P     SLMM          14 00                    0,00                401.98 06/30/20            90,92                2.39               16.74         107,66

010382    Repairs to DSRC 38531   I
          000    10/31/16                     320.71   P   SLMM          14 00                    0.00                320,71 06/30/20            72.56                1.91               13,36             85.92

010383    Repairsto|NTXT4959



ft[!il6,2m0d1fiSrt                                                                                                                                                                                                   PNge78
      Case 20-11139-1-rel                               Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                                                Desc Main
                                                             Document    Page 136 of 370

                                                                                  lntemtate Commodities, nc.             I



                                                                                        Dege<ialion Eqense Report

                                                                                            AsolJriy31,2020

Book = lntemal

ffiilonh=Decemhr

                 lnSrr            Ao$hd P DoF E il                   &tv/l68Akn             DopmcAm           Prb            PtirAciln       D€lldefion           Crmillm          CmntAcarn        KE
$rt{o Ed Dth                      Valrs T il$ lft                      Soc 179                Basb            Ihru           Dolocidon        Ihh Run             D€flsidion       DoFoctron        Codo



GlLAssslAn{ No = 1fl17
         000     10/31/16            40't.98   P   SLI\,lM   14 00               0,00                401.98   06/30/20               90,92                2,39            16.74         107.66

010384   Repairsto|NTXT4S93

         000     10/31/16            320,71    P   SLMM      14 00               0,00                320.71   06/30/20               72,56                1,91            13.36             85,92

010385   Repairsto |NTXTS3l3

         000     10/31/16            354,13    P   SLI\,lM   14 00               0,00                354.13 06/30/20                 80,13                2.10            14.75             94,88

010386   Repairs to DSRC 385495

         000     10/31/16            435,40    P   SLMM      14 00               0,00                435.40 06/30/20                 98.48                2,59            18,14         1   16.62

010387   Repairsto DSRC 385275

         000     10/31/16            320.71    P   SLMM      14 00               0.00                320.71   06/30/20               72.56                1.91            13,36             85,92

010388   Repairsto|NTXT436T

         000     10/31/16            401,98    P   SLMM      14 00               0,00                401,98 06/30/20                 90.92                2,39            16.74         107.66

010389   Repairsto|NTXT5224

         000     10/31/16            320,71    P   SLMI\4    14 00               0.00                320,71   06/30/20               72,56                1,91            13.36             85.92

010390   Repairsto |NTX75021

         000     10/31/16            401,98    P   SLMI\4    14 00               0.00                401,98   06/30/20               90,92                2,39            16,74         107,66

010391   RepairstoINTXT496S

         000     10/31/16            401.98    P   SLMM      14 00               0.00                401.98   06/30/20               90.92                2.39            16.74         107,66

010392   Repairsto|NTXT466T

         000     10/31/16            320.71    P   SLMM      14 00               0.00                320.71   06/30/20               72.56                1.91            13.36             85.92

010393 Repairsto|NTXT5l3l
         000     10/31/t6            320.71    P   SLI\,lM   14 00               0,00                320.71   06/30/20               72.56                1,91            13.36             85.92

010394   Repairsto|NTXT463S

         000     l0/31/16            435.40    P   sLtt4M    14 00               0,00                435,40 06/30/20                 98,48                2,59            18.14         1   16.62

010395   Repairsto|NTXT4T96

         000     l0/3v16             401.98    P   SLMM      14 00               0,00                401,98   06/30/20               90,92                2.39            16,74         107,66

010396   Bepairsto|NTXT49SS

         000     10/31/16            401,98    P   SLMM      14 00               0.00                401,98   06/30/20               90,92                2.39            16,74         107,66

010397   Repairs to INTX 74839

         000     10/3'1/16           401,98    P   SLMI\4    14 00               0.00                401.98   06/30/20               90.92                2.39            16,74         107.66

010398   Repairs to INTX 75036

         000     10/31/16            401,98    P   SLMI\4    14 00               0.00                401.98 0d30/20                  90.92                2,39            16.74         107.66

010399   Repahsto|NTXT4T42

         000     10/31/16            320.71    P   SLMM      14 00               0.00                320.71   0d30/20                72.56                iol             13.36             85.92

010400   Repahs to INTX 74754

         000     10/31/16            320.71    P   SLMM      14 00               0,00                320,71   06/30/20               72,56                1.91
                                                                                                                                                                          '13,36
                                                                                                                                                                                            85,92

010401   Repairs to INTX 74595

         000                                                                                                                                                              '13,36
                 10/31/16            320.71    P   SLII4M    14 00               0,00                320.71   06/30/20               72,56                1.91                              85,92

010402   Repairs to INTX 75109

         000     10/31/16            401.98    P   SLI\,lM   14 00               0,00                401.98   06/30/20               90.92                2.39            16.74         107.66

010403   Repairs to INTX 751 13

         000     10/31/16            401.98    P   SLMM      14 00               0.00                401.98 06/30/20                 90.92                2,39            16.74         107.66

010404   Repairsto|NTXT4550

         000     10/31/16            182.02    P   SLMM      14 00               0.00                182,02   06/30/20               41.17                1,08             7,58             48.75

010405   Repairsto|NTXT503l
         000     10/31/16            296.71    P   SLMI\4    14 00               0.00                296.71   06/30/20               67,10                1.77            12,36             79.46

010406   RepairstoINTXT5329

         000     10/31/'16           182,02    P   SLMM      14 00               0,00                182.02   06/30/20               41.17                1.08             7,58             48.75

010407   Repalrsto|NTXT4TT2

         000     l0/31/16            263.29 P      SLI\4M    14 00               0,00                263.29 06/30/20                 59.58
                                                                                                                                                          '1.57
                                                                                                                                                                          10.97             70.55

010408   Repairsto|NTXT46ST

         000     10/31/16            263,29    P   SLI\4M    14 00               0,00                263.29 06/30/20                 59,58                                10.97             70.55

010409   Repairs to INTX 74843



ft|!!l6,2m0dltlglt                                                                                                                                                                                  PS19
        Case 20-11139-1-rel                                     Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                                                     Desc Main
                                                                     Document    Page 137 of 370

                                                                                             lnterchte Commodities, nc.            I



                                                                                                   Dryeddion Enense Repotl
                                                                                                       As ol Jdy   31,2t20

Book = lntemal

FYE   iimh   = December


                 lnSrc            lcfliEd          P   Dopr        Ed         SalY/168Ahw             Dopscam           Rilt           h*lrAcqn         DQrocidion           CrlrfitY-ID          funtAc.un      Koy

StlNo Ert        Dah               Vduo            T   lldr        tfr          S€c   i79                               Thru           Demchtbn          IhbRun              Ihqor*frn            Doo*mn         hdo


gL^$stlfflNo=       1gI7
                                                                   '14 00
         000     10/31/16                 182.02   P   SLI\4M                               0,00              182.02    06/30/20              41.17                  1,08              7.58             48.75

010410   RepairsroINTXi4669
         000     10/31/16                 263.29   P   SLI\4M      14 00                    0,00              263.29 06/30/20                 59.58                  1,57             10,97             70,55

0'104'11 Repairsto|NTXT5269
                                                                                                                                                   (C
         000     10/31/16                 263,29   P   SLMM        14 00                    0,00              263.29 06/30/20                 EO
                                                                                                                                                                     1.57             10.97             70,55

010412   Repairsto INTX75108

         000     10/31/16                 182,02   P   SLMI\4      14 00                    0.00              182.02    06/30/20              41,17                  1.08              7.58             48.75

010413   Repairsto|NTX75193

         000     10/31/16                 182.02   P   SLMM        14 00                    0.00              182,02    06/30/20              41.17                  1,08              7,58             48.75

010414   Repairs to INTX 75262

         000     10/31/16                 182.02   P   SLMM        14 00                    0.00              182.02    06/30/20              41.17                  1.08              7,58             48,75

010415   Repairsto|NTXT466S

         000     10/31/16                 263.29   P   SLIlIM      14 00                    0,00              263.29 06/30/20                 59,58                  1.57             10.97             70,s5

010416   Repaircto INTX 125139

         000     10/3v16                  182.02   P   SLI/M       14 00                    0,00              182,02    06/30/20              41.17                  1,08              7.58             48.75

010417   RepairstoINTXT490S

         000     l0/31/16                 263,29   P   SLMI\,l     14 00                    0.00              263.29 06/30/20                 59.58                  1,57             10,97             70.55

010418   Repairsto |NTX74894
                                                                   '14
         000     l0/31/16                 182.02   P   sLMtvl            00                 0.00              182.02    06/30/20              41.17                  1.08              7,58             48,75

010419   Repairsto INTX75200

         000     10/31/16                 182,02   P   SLMM        14 00                    0,00              182.02    06/30/20              41,17                  1.08              i.58             48.75

010420   Repairs to INTX 75143

         000     10/31/16                 263.29   P   SLI\,lM     14 00                    0,00              263,29    06/30/20              59.58                                    10,97            70.55

010421   Repairs to INTX 74677

         000     10/31/16                 263.29   P   SLMM        14 00                    0,00              263.29 06/30/20                 59.58                  1.57              10.97            70,5s

010422   Repahsto INTX 74577

         000     10/3t16                  182,02   P   sLMtvt      14 00                    0.00              182.02 06/30/20                 41,17                  1.08                  i.58         48,75

010423   RepairstoINTXTSl22
                                                                                                                                                                     '1,08
         000     10/31/16                 182,02   P   SLI\4M      14 00                    0,00              182.02    06/30/20              41.17                                        7,58         48.75

010424   Repairslo|NTXT50T3

         000     10/31/16                 182.02   P   SLMM        14 00                    0,00              182.02    06130/20              41.17                  1,08                  7.58         48,75

010425   Repairsto|NTXT52T5

         000     10/31/16                 263.29   P   SLMI\,l     14 00                    0.00              263.29    06/30/20              59,58                  1.57              10.97            70.55

010426   Repairs to INTX 125145

         000     10/3v16                  354,13   P   SLMM        14 00                    0.00              354.13    0d30/20               80.13                  2,10              14,75            94.88

010427   Repairsto INTX 74735
                                                                                                                                                   Eq
         000     10/31/16                 263,29   P   SLI\,lM     14 00                    0,00              263.29    06/30/20              EO
                                                                                                                                                                     1.57              10.97            70.55

010428   RepairstoINTXT5245

          000    10/31/'16                354.13   P   SLIIM       14 00                    0.00              354.13    06/30/20              80,13                  2.10              14.75            94,88

010429   Repairsto|NTXT464l
          000    10/31/16                 320.71   P   sLMtlt      14 00                    0.00              320.71    0d30/20               72,56                  1,91              13,36            85.92

010430   Repairsto|NTXT4960

          000    10/31/15                 320,71   P   SLMM        14 00                    0.00              320,71    06/30/20              72.56                  1.91              13,36            85.92

010435   RepahstoINTX67001
                                                                   '14                                                                                                                                 '120.49
          000    1t/04/16                 449,86   P   SLI\4M            00                 0,00              449.86    06/30/20             101,75                  2,68              18.74

010436   Repairsto|NTX6T003

          000    11/04/'16             1,605,07    P   SLMM        14 00                    0.00             1,605,07   06/30/20             363.06                  9.55              66,87           429.93

010437   Repairsto |NTX67012

          000    11/04/16                 391.06   P   SLMI\4      14 00                    0.00              391,06    06/30/20              88.45                  2,33              16,29           104,74

010438    RepairstoINTX6T020

          000    11/04/16                 242,69 P     SLMM        14 00                    0,00              242.69 06/30/20                 54,91                  r.44              10.1   1         65.02

010439    Repairs to INTX 67024



Au!!t6,2mdltl3lll                                                                                                                                                                                                P{om
       Case 20-11139-1-rel                                        Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                                          Desc Main
                                                                       Document    Page 138 of 370

                                                                                           lnters{ate Commodities, lnc.
                                                                                                 Depe<ialion Epense Bepofi

                                                                                                     As olJdy31,2020


Book= lntemal

FYE irlmh = Decemhr


                lnS:w             Ac$iod            P   Dopr        Ert       &tv/l68llow            Depocltb           Btr        ftirAcqn         DEocidon           OmdYlD       A,mnilcarn        lGy
SysNo Ed Dd!                       Value            T   tdr         tft         S€c 179                Basil            thru       DegsdAbn          Ihb Run           Demcmn       Depe'Xdbn         Co&


G,LAsstlrdt{o= lM
        000 1t/04/16                       449,86   P   SLI\,lM      14 00                0,00                 449,86   06/30/20         101,7s                 2.68        18.74         120,49

010440 Repairsto INTX 67043
        000 11/04/16                   1,590.98     P   SLMM         14 00                0,00             1,590.98     06/30/20         359.86                 9.47        66.29         426,15

010441 Repairsto|NTX6T044
        000 11/04/16                   1,591.20     P   SLMI\/l      14 00                0.00             1,591.20     06/30/20         lqo ot                 9,47        66,30         426,22

010442 Repairsto|NTX6T04T
        000 11/04/16                       306,06   P   SLMI\,l      14 00                0.00                 306.06 06/30/20             69,22                1,82        12.75          81.97

010443 Repairs to INTX 67048
        000 1 1/04/16                      391,06   P   SLMM         14 00                0,00                 391.06 06/30/20            88,45                 2.33        16.29         104.74

010444 Bepahs to INTX 67049
        000 11/04/16                       449,86   P   SLI\4M       14 00                0,00                 449,86   06/30/20         101.75                 2.68        18,74         120,49

010445 Bepairsto|NTX6T050
        000 11/04/16                       449.86   P   sLtt4M       14 00                0.00                 449,86 06/30/20           101.75                 2,68        18,74         120,49

010446 Repairs to INTX 67051
        000 1 1/04/16                  1,591.20     P   SLMM
                                                                     't4 00               0.00             1,591.20     06/30/20         359,92                 9,47        66.30         426.22

010447 Repairs to INTX 67052
        000 11/04/16                   1,607.67     P   SLMM         14 00                0.00             1,607.67     06/30/20         363,63                 9.57        66.98         430.61

010448    Repairsto|NTX43S3T

          000   1   t/30/16           13,625.42     P   SLMI\4       14 00                0,00            13,625.42     06/30/20        3,000.85               81.10       56772         3,568,57

010449    Repairsto INTX 43777

          000   11/30/16              13,571,78     P   SLMM         14 00                0,00            13,571,78     06/30/20        2,989,03               80,78       565,48        3,554,51

010450    Repairs to INTX 38818

          000   11/30/16              15,U7,27      P   SLMM         14 00                0.00            15,U7.27      06/30/20        3,380,04               91,35       639,46        4,019.50

010451    Repairs to INTX 43814

          000   1   1/30/16           13,571.78     P   sLtltM       14 00                0.00            13,571.78     06/30/20        2,989.03               80.78       565.48        3,554.51

010452    Repahsto|NTX43S43

          000   1   1/30/16           13,571.78     P   SLMM         14 00                0,00            13,571,78     06/30/20        2,989.03               80,78       565.48        3,554,51

010453    Repairsto|NTX43S36

          000   11/30/16              13,567.78     P   SLMI\,l      14 00                0,00            13,567,78     06/30/20        2,988,'15              80,76       565,32        3,553,47

010454    RepaiIstoCGRX21254

          000   11/30/16                   344,53   P   SLMM         14 00                0,00                 344,53   06/30/20           75.88                2.05        14,35           90.23

010455    RepairstoCGBX212T5

          000   11/30/16                   344,53   P   SLMM         14 00                0.00                 344,53 06/30/20             75.88                2.05        14.35           90,23

010456    RepairstoCGRX2l3l0
          000   11/30/16                   425.80   P   sLtltM       14 00                0,00                 425.80 06/30/20             93,81                2,53        17.74          I I t.5J

010457    Repairs lo CGRX 21277

          000   11/30/16                   344.53   P   SLMM         14 00                0,00                 344.53 0d30/20              75,88                2,05        14,35           90,23

0'10458   Repahs to CGRX 21249

          000   1'1/30/16                  495.53   P   sLMt\,,1     14 00                0,00                 495.53   06/30/20          109.16                2.95        20,65          129.81

010459    RepairstoINTX212T6

          000   1t30/16                    399,53   P   SLMM         14 00                0.00                 399,53 06/30/20             88.01                2.37        16.64          104.65

010460    Repairsto|NTX2122T

          000   11/30/16                   399,53   P   SLI\4M       14 00                0,00                 399.53 06/30/20             88,01                2,37        16.64          104.65

0'10461   Repairsro INTX 21331

          000   1t/30/16                   339.53   P   SLMM         14 00                0,00                 339.53 06/30/20             74.77                2.02        14.14           88,91

010462    Repairsto INTX 21298

          000   11/30/16                   339.53   P   SLMM         14 00                0.00                 220 41   06/30/20           74.77                2.02        14.14           88.91

010463    Bepairsto|NTX2l2lS
          000   1   1/30/16                389,53   P   SLMM         14 00                0.00                 389,53 06/30/20             85,79                2,31        16.22          102.01

010464    RepahstoCGRX21222

          000   11/30/16                   399.53   P   SLMM         14 00                0.00                 39S.53   06/30/20           88.01                2.37        16.64          104,65

010465    RepairstoCGRX2l24l


AUI|6,qP(,d1ll3Atl                                                                                                                                                                                    PrFSl
       Case 20-11139-1-rel                             Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                               Desc Main
                                                            Document    Page 139 of 370

                                                                              lnter$ate Commodities, lnc.
                                                                                Depecftilion Epense Repoil

                                                                                    As   olJtly31,2020

Book= lnternal

FYE Motth = December


                 lnSrr              fuquM        P   DoF Ed            Salv/'l68Ahw Dopociolb ftkr           ftirAcdn Dopmcialio" CmnlY'ID qmilAcqm lGy
Slsilo Ed        Dab                 Value       T   lildr Lle          SeclB            Barb Ihru           Depnddkn lhkRun lhpmchlin Depncldion Co&

GlLAreotAcc|No= 1fl)7
          000    11/30/16              399.53    P SLMI\4    14   00         0,00           399,53    06/30/20    88.01      2.37     16,64     104,65

010466    RepaimtoCGRX2l2ll
          000    11/30/16              509,53    P SLMI\,I   14   00         0,00           509,53    06/30/20   1P.n        3,03     21,23     133,46

010467    Repai6 toCGRX 21326

          000    11/30/16              913.54    P SLMI\4    14   00         0,00           913.54    06/30/20   201,20      5,44     38.06     239.26

010468    Repairs to CGRX 21265

          000    11/30/16              341.53    P SLMI\4    14   00         0,00           341,53    06/30/20    75,23      2,03     14.23      89.46

010469    Repairs to CGRX 21216

          000    11/30/16              341,53    P SLMI\4    14   00         0.00           341.53    06/30/20    75.23      2.03     14.23      89.46

010470    Bepairs to CGRX 21246

          000    11/30/16              422,80    P SLMI\4    14   00         0.00           422.80    06/30/20    93.13      2.51     17,61     110.74

010471    Repai$toDSBC385161
          000    '11130/16             389,53    P SLMI\,|   14   00         0.00           389.53    06/30/20    85.79      2.31     16,22     102,01

010472    Repairs lo INTX   i5293
          000    11/30/16              470,80    P SLMM      14   00         0.00           470.80    06/30/20   103.69      2,80     19.61     123,30

010473    RepairstoDSBC385l29
          000    '11/30/16             389,53    P SLI\4M    14   00         0.00           389.53    06/30/20    85,79      2,31     16.22     102,01

010474    Repairs to DSRC 385423

          000    11/30/16              389,53    P SLI\4M    14   00         0.00           389,53    06/30/20    85,79      2,31     16.22     102.01

010475    Repairs to INTX 74553

          000    11/30/16              422,95    P SLI\4M    14   00         0,00           422.95    06130120 93.16         2.52     17,62     110.78

010476    Repairs to DSRC 385151

          000    11/30/16              422,95    P SLI\4M    14   00         0,00           422.95    0d30120     93.16      2.52     17.62     110,78

010477    Repairs to DSRC 385340

          000    1'1/30/16             389,53    P   SLiIM 14 00             0,00           389,53    06/30/20    85.79      2.31     16.22     102,01

010478    Repairsto DSRC 385456

          000    11/30/16              389.53    P SLMM      14   00         0.00           389.53    06/30/20    85,79      2,31     16.22     102.01

010479    Repairs to DSRC 385202

          000    11/30/16             1,782.86   P SLMM      14   00         0,00          1,782,86   06/30/20   392,66     10,61     74.28     466,94

010480    Repairs to INTX 74717

          000    11/30/16              389.53    P SLMI\4    14   00         0.00           389.53    06/30/20    85,79      2.31     16,22     102.01

010481    RepairstoDSRC385336

          000    11/30/16              389.53    P SLMI\4    14   00         0.00           389,53    06/30/20    85.79      2.31     16.22     102.01

010482    RepairstoDSRC385419

          000    11/30/16              389.53    P SLMI\,|   14   00         0,00           389,53    06/30/20    85,79      2.31     16.22     102,01

010483    Bepairsto|NTXT523l
          000    1r/30/16              389,53    P SLMI\4    14   00         0,00           389,53    0d30/20     85,79      2,31     16.22     102,01

010484    Repairsto DSRC 385426

          000    11/30/16              389,53    P SLMM      14   00         0,00           389.53    06/30/20    85,79      2,31     16,22     102,01

010485    RepahstoDSRCSS5'190

          000    1'l/30/16             470,80    P SLI\4M    14   00         0.00           470.80    06/30/20   103.69      2.80     19.61     123.30

0'10486   RepahstoDSRC385270

          000    11/30/16              489,53    P SLI\4M    14   00         0.00           489.53    06/30/20   107.82      2.91     20.39     128.21

010487    RepairstoINTXT4S0S

          000    11/30/16              389.53    P SLMM      14   00         0,00           389,53    06/30/20    85.79      2,31     16.22     102,01

0'10488   Repairs to DSRC 385138

          000    11/30/16             3,316.19   P SLMM      14   00         0,00          3,316.19   06/30/20   730,36     19,74    138,17     868,53

010489    Repairs to INTX 125083

          000    11/30/16              522.95    P SLMI\4    14   00         0.00           522.95    06/30/20   115.16      3,11     21.78     136,94

010490    Repairs to INTX 75050

          000    11/30/16              329.37    P SLM|\4    14   00         0.00           329.37    06/30/20    72.55      1.96     13.72      86.27

010491    Repairs to INTX 74640



Ary![6,mdlfi3All                                                                                                                                         Pogou
       Case 20-11139-1-rel                                       Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                                               Desc Main
                                                                      Document    Page 140 of 370

                                                                                               lntentate Commodities, nc,            I



                                                                                                   Depo<idion Epenso R€poil

                                                                                                       Asoljdy31,2020

Book = lntemal

FYEllilmh = December


                 lnS'n             AcAM            P   DoF          Ed         Selv/168Afrfl          Dop&hbb             Prir           ftiorAccm       DEddbn           C{mdnD             qmilAcqm         lGy
SlsNo Ed         Dsh               Vduo            T   lldr         tft           Soc 179                Bsit             Thru           Depniam         Ihb Run          Ilepo*Uion         Doprq*lbn        Co&


Ol-AstetArdNo= 180/
          000    11/30/16                 410,64   P   SLI\,IM      14 00                   0,00                410,64    06/30/20              90.45              2,44           17,10           107.55

010492 Repairslo|NTXT4995
          000    11/30/16                 410,64   P   SLMM         14 00                   0,00                410.64    06/30/20              90.45              2.44           17,10           107,55

010493    Repairs to INTX 385194
                                                                                                                                                                                  't5.11
          000    1   1/30/16              362,79   P   SLMM         14 00                   0,00                362,79    06/30/20              79,90              2.16                               95,01

010494    Repairsto|NTXT4564

          000    11/30/16                 329,37   P   SLMM         14 00                   0,00                325.37 06/30/20                 72.55              1.96           13J2                86.27

010495    Repairsto|NTX385390

          000    11/30/16                 444,06   P   SLMM         14 00                   0,00                444.06    06/30/20              97,80              2.64           18,50           1   16.30

010496    Repairsto INTX 125069
                                                                    '14
          000    1   1/30/16              329.37   P   SLMM               00                0,00                329,37 06/30/20                 72.55              1,96           13,72               86.27

010497    Repairsto|NTXT464T
          000    11/30/16                 329.37   P   SLMM         14 00                   0.00                329,37    06/30/20              72.55              1,96           13,72               86.27

010498    Repairsto |NTX75,344

          000    11/30/16                 410.64   P   SLMM         14 00                   0.00                410,64    06/30/20              90.45              2.44           17.10           107,55

0'10499   RepairstoINTXT5264

          000    11/30/16                 329.37   P   SLMI\4       14 00                   0.00                329.37    06/30/20              72,55              1.96           13.72               86.27

010500    Repairsto INTX75298

          000                             410.64 P                  '14 00
                 11/30/16                              SLMI\,I                              0.00                410.64    06/30/20               90,45             2,44           17,10           107.55

010501    RepairstoINTXT4S24

          000    11/30/16                 410.64 P                  14 00                   0,00                410.64    06/30/20                                                17,10           '107.55
                                                       SLI\4M                                                                                    90.45             2.44

010502    Repairsto|NTXT46T5

          000    11/30/16                 410.64 P     SLI\,lM      14 00                   0,00                410,64    06/30/20               90.45             2.44           17,10           107,55

010503    Repairsto|NTXT5252

          000    1l/30/16                 410.64 P     SLMM         14 00                   0.00                410,64    06/30/20               90,45             2.44           17.10           107,55

010504 Repairsto|NTXT5l05
          000    11/30/16                 329.37   P   SLMM         14 00                   0,00                329,37    06/30/20               72,55             1.96           13.72               86.27

010505    Repairsto INTX 74579

          000    1l/30/16                 410,64   P   SLMM         14 00                   0.00                410.64    06/30/20               90.45             2,44           17,10           107.55

010506    Repahsto INTX 74632

          000    11/30/16                 329,37   P   SLMM         14 00                   0.00                329.37 06/30/20                  72.55             1,96           13,72               86.27

010507 Repairsto|NTXT49l4
          000    11/30/16                 410,64   P   SLMI\4       14 00                   0.00                4't0,64   06/30/20               90.45             2.44           17.10           107,55

010508    Repairs to INTX 125061

          000    1v30/16                  362.79 P     sLMtlt       14 00                   0,00                362,79    06/30/20               79,90             2.16           15.1   1            95,01

010509    Repairs to INTX 75227

          000    1   1/30/16              329.37   P   SLMM         14 00                   0,00                329,37    06/30/20               72,55             1.96           13.72               86.27

010510    RepairstoINTXTS05S

          000    11/30/16                 329.37 P     SLI\4M       14 00                   0,00                325.37    06/30/20               72.55             1,96           13,72               86.27

010511    Repairsto|NTXT5244

          000    11/30/16                 aro 17 P     SLMM         14 00                   0.00                329.37    0&30/20                72.55             1,96           13.72               86,27

010512    Repairsto |NTX74774

          000    11/30/16                 444.06 P     SLMM         14 00                   0.00                444.06    06/30/20               97.80             2.64           18.50           1'16,30

010513    Bepairsto|NTXT4S49

          000    l1/30/16                 329.3i P     SLMM         't4 00                  0.00                329,37    06/30/20               72.55             1.96           13.72               86.27

010514    Repairsto|NTXT4909

          000    11/30/16                 410,64   P   SLMI\4       14 00                   0.00                410.64    06/30/20               90,45             2,44           17,10           107.55

010515    Repairsto|NTXT5090

          000    11/30/16                 410,64   P   SLMM         14 00                   0,00                410.64    0d30/20                90.45             2.44           17,10           107.55

010516    Repahsto|NTXT5292

          000    11/30/16                 410,64   P   SLI\4M       14 00                   0.00                410.64    06i30/20               90.45             2.44           17.10           107,55

010517    Repairs to INTX 74654



tu$|6,tr20rt1,l:l3llil                                                                                                                                                                                        PlFs
        Case 20-11139-1-rel                               Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                                          Desc Main
                                                               Document    Page 141 of 370

                                                                               lnteHate Commodities, lnc.
                                                                                     Dryeddion E4ense Repolt
                                                                                         As   olJdy3l,        2020


Book = lntemal

ffE   Jtlonh = December


                 lnS'w            Acqtiod P Dept             Ed         S.lv/168ASff    Dopr€cblb             Rir        hffAciln          Dopdafion           CrmilYlD         qmilAcqn          lGy
SysNo     Eil    Drh              Vdlq         T   tl$       tb          Sec179               Basb            Ihru       Dqrs'idiort        lhbRun             Dopncmn          De|oddioll        Co&


SlLArsolAdNo=          lflIl
          000    1   1/30/16         329,37        SLMI\4    14 00            0,00                   329,37   0d30/20             72,55                1.96          13.72                86.27

010518    Repahsto|NTXT496l
          000    1   1/30/16         362,79        SLMI\4    't4   00         0,00                   362,79   06/30/20            79,90                2,16          15.1   1             95.01

010519    Repairs lo INTX 75335

          000    11/30/16            329,37        SLMI\/l   14 00            0.00                   329,37   0fl30/20            72,55                1,96          13.72                86.27
010520    Repairs lo INTX 75306

          000    1't/30/16           410,64        SLMI\4    14 00            0,00                   410,64   06/30/20            90,45                2.44          17.10            107.55

010521    Repairsto|NTXT4600

          000    11/30/16            410,64        SLMI\4    14 00            0,00                   410,64   06/30/20            90,45                2.44          17.10            107,55

010522    Repairsto|NTXT4932

          000    11/30/16            362,79        SLMM      14 00            0,00                   362.79   06/30/20            79,90                2,16          15.'1 1              95,01

010523    Repairsto|NTXT4ST6

          000    ll/30/16            410,64        sLMtlt    14 00            0,00                   410.64   06/30/20            90.45                2.44          17,10            107,55

010524    Repainto|NTXT4566
          000    11/30/16            410,64        SLMI\,I   14 00            0,00                   410.64   06/30/20            90.45                2.44          17,10            107.55

010525    Repairsto|NTX385289

          000    11/30/16            329.37        SLMM      14 00            0.00                   329.37   06/30/20            72.55                1.96          13.72                86.27

010526    Repairsto|NTXT4266

          000    lt/30/16            362,79        SLMM      14 00            0,00                   362.79   06/30/20            79.90                2,16          15.1   1             95.01

010527    Repairsto|NTXT4T23

          000    11/30/16            410,64        SLMM      14 00            0.00                   410.64   06/30/20            90,45                2.44          17.10            107.55
010528    Bepairsto|NTXT503S

          000    lt/30/16            410.64        SLMM      14 00            0.00                   410.64   06/30/20            90,45                2,44          '17.10
                                                                                                                                                                                      107,55
010529    RepairstoINTXT5l92
          000    11/30/16            329,37        SLMM      14 00            0.00                   329,37   06/30/20            72.55                '1.96
                                                                                                                                                                     13.72                86,27
010530    Repairsto|NTXT5l32
          000    1t/30/16            444,06        SLI\4M    14 00            0,00                   444,06   06/30/20            97,80                2.64          18,50            1   16,30

010531    Repairsto|NTXT5254

          000                        362,79                  '14 00
                 1   1/30/16                       SLI\,lM                    0.00                   362,79   06/30/20            79.90                2.16          15,1   1             95,01

010532    RepairstoINTXT465S

          000    1   1/30/16         329,37        SLI\4M    14 00            0.00                   329,37   06/30/20            72.55                1.96          13.72                86.27

010533    Repairsto INTXT4T9S

          000    l1/30/16            329.37        SLI/|M    14 00            0,00                   329.37   06/30/20            72.55                1,96          13.72                86.27
010534    RepairstoINTXTS052

          000    1130/16             329.37        SLMM      14 00            0,00                   329.37   06/30/20            72,55                1,96          1372                 86.27
010535    Repairsto|NTXT5045

          000    I 1/30/16           4'10,64       SLMM      14 00            0.00                   410.64   06/30/20             90,45               2,44          17,10            '107,55

010536    Bepairsto|NTXT4T95

          000    1   1/30/16         329.37        SLMI\4    14 00            0.00                   329.37   0d30/20             72,55                1.96          13,72                86.27
010537    Repairsto |NTX75188

          000    t1/30/16            329.37                  14 00                                            06/30/20                                 't.96
                                                   SLMI\4                     0.00                   329,37                       72.55                              13.72                86,27

010538    Repairsto INTX34055

          000    ll/30/16            410.64        SLMI\,l   14 00            0.00                   410,64   06i30/20             90.45               2.44          17.10            107.55

010539    Repairsto|NTXTSl25
          000    11/30/16            329.37        SLMI/l    14 00            0.00                   329,37   06/30/20             72.55               1,96          13,72                86.27

0'10540   Repairsto|NTXT4T69

          000    1   1/30/16         410.64        SLMM      14 00            0,00                   410.64   06/30/20             90,45               2,44          17,10            107.55
010541    RepairstoINTXT5229

          000    l1/30/16            ato e7        SLMM
                                                             '14
                                                                   00         0,00                   329.37   06/30/20             72,55               1.96          13.72                86,27
010542    Repairsto|NTXT49Tl
          000    1   1/30/16         410.64        SLMM      14 00            0,00                   410.64   06/30/20             90.45               2.44          17.10            107,55

010543    Repairsto INTX 75287



A$d6,mmd1fi3All                                                                                                                                                                                   Paeo01
        Case 20-11139-1-rel                                          Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                                                             Desc Main
                                                                          Document    Page 142 of 370

                                                                                                   lntershte Commodities, lnc.
                                                                                                         Dryecidion EryenseRepo[
                                                                                                             As   olJtly 31,2020


16ft=   Intemal

ffEilmh     = Decemhr


                  lnSrc             lcflM            P    DE           Ei        Salv/168    AIoil           Deproebb             Prix       nbAcqln               DEecidon                 CmntY'ID        Cul€ntAmm         lcv
$sNo Ed           Dtb               Value            T       lldr      Lls          Ss      179                   Basb            Ihru       Dmiadon                Ih'r   Run                              Dmhlin            Co&



GrLlEcAcclNo=           lflIt
                                                                                                                                                                                 toa
          000     1v30/16                   329.37   P       SLMIV      14 00                     0,00                   329.37   06/30/20         72.55                                          13.72            86,27

010544    Repairsto INTX 74802

          000     11/30/16                  410.64   P       SLI\4M     14 00                     0,00                   410,64 06/30/20           90,45                         2,44             17.10           107,55

010545    Repairsto|NTXT5002

          000     1v30/16                   410,64   P       SLMM       14 00                     0,00                   410.64   06/30/20         90,45                         2.44             17,10            107.55

010546    Repairsto|NTX385164

          000     11/30/16                  803.54    P      SLMM       14 00                     0.00                   803,54   06/30/20        176.98                         4,78             33.48           210,46

010547    Repairsto|NTX385149

          000     11/30/16                  329,37    P      SLMM       14 00                     0.00                   329.37 06/30/20           72.55                         1,96             13.72             86.27

010548    Repairs to INTX 75320

          000     1l/30/16                  410.64    P      SLMI\,|    14 00                     0,00                   410.64   06/30/20         90,45                         2.44              17,10           107.5s

010549    Repahs to INTX 74676

          000     11/30/16                  410,64    P      SLI\4M     14 00                     0.00                   410,64 0030/20            90.45                         2,44              17,10           107,55

010550    Repairsto|NTX340SS
                                                                                                                                                                                                                   '107.55
          000     11/30/16                  410,64    P      SLMM       14 00                     0,00                   410.64 06/30/20           90.45                         2,44              17.10

010551    Repails lo INTX 75222

           000    11/30/16                  633.37    P      SLMI\4     14 00                     0,00                   633,37 0u30/20           139,49                         3.77              26.39           165.88

010552    Repairsto|NTXTS242

           000    1t/30/16                  410,64    P      SLMM       14 00                     0.00                   410,64 0d30/20            90,45                         2.44              17,10           107,55

010553    Repairs to INTX 74957
                                                                                                                                                                                                   '17.10
           000    11/30/16                  410.64    P      SLMM       14 00                     0,00                   410.64 06/30/20               90.45                     2.44                              107,55

010554     RepairstoINTXT4T99

           000    1v30/16                   329.37    P      SLi/M      14 00                     0.00                   329.37   06/30/20             72,55                     1.96              13.72            86.27

010555     RepairstoINTX74781

           000    11/30/16                  329,37    P      SLMM       14 00                     0.00                   329,37 06/30/20               72,55                      1.96             13.72            86.27

010556     Repairsto|NTX385126

           000    11/30/16                  329.37    P      SLMM       14 00                     0.00                   329.37 06/30/20               72.55                      1,96             13,72             86.27

010557     Repairsto|NTXT4S50

           000    1    1/30/16              329.37    P      SL|VIM     14 00                     0.00                   329.37 06i30/20               72.55                      1.96             13.72             86.27

010558     Repairs to INTX 751 19

           000    11/30/16                  522,37    P      SLMM       14 00                     0,00                   522,37 0680n0             1   15.05                     3.1    1          21.76           136,81

010559     Repairsto|NTXT4T06

           000    11/30/16                  602.06    P       SLMM      14 00                      0,00                  602,06 06/30/20           132,61                         3,58             25.08            157,69

010560     Repairsto|NTXT4T43
                                                                                                                                                                                                                    '145.57
           000     11/30/16                 555,79    P       SLI\IM     14 00                     0,00                  555.79 06/30/20           122.42                         3,30             23,15

010561     Repahsto|NTXT4924

           000     11/30/16                 603,64    P       SLMM       14 00                     0.00                   603.64 06/30/20          132.95                         3.59             25.15            158,10

010562     Repairsto|NTXT5040

           000     1   1/30/16               522.37      P    SLMM       14 00                     0,00                   522,37 06n0n0            1'15,05                        3.11             21.76            136,81

010563     Repairs to INTX 75124

           000     11/30/16                  522,37      P    SLMM       14 00                     0,00                   522.37 0680n0            1       15,05                  3,11             21.76            136.81

010564     RepairstoINTXT5035

           000     11/30/16                  522,3i      P    SLMM       14 00                     0.00                   522.37 06/30/20          1       15.05                  3,11              21.76           136.81

 010565    Repairsto|NTXT50TS

           000     1   1/30/16               603.64      P    SLMM       14 00                     0.00                   603,64 06/30120          132,95                         3.59              25.15           158,'10

 010566    Repairs to INTX 75225

           000     11/30/16                  592.37      P    SLMM       14 00                     0,00                   592.37 06/30/20          130,47                         J,JJ              24.68           155,15

 010567    Repairsto |NTXT5206

            000    11/30/16                  522,37      P    SLMM       14 00                     0,00                   s22.37 0ffi0n0               1   15.05                  3,11              21.76           136.81

 010568    Repairs to INTX 75042

            000       11/30/16               603.64      P    SLMM       14 00                     0.00                   603,64 0d30/20               132.95                     3.59              25,15           158.10

 010569    Bepairsto INTX 125001


                                                                                                                                                                                                                               Pqo85
 Au6!16,2020d1ffifil
       Case 20-11139-1-rel                                       Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                                               Desc Main
                                                                      Document    Page 143 of 370

                                                                                           lnteHate Commodities, lnc.
                                                                                               Depmdailion Eryense Roport

                                                                                                   As ol Jrly 31, 2020


Eook = lntemal

FYE Monh = December


                 lnSrrc          Ac$iEd             P   DoF        Esl      Salv/168Abtt           Dopohbb           hir        PtbAEom             Doprocidon           C{mntYlD        qnotlAciln        lcy
SlsNo Ed         Dab               Valm             I   iloilr     rft        Soc 179                Badi            firu       D€proti.dbn          Ihb Run             Doprs'*din      D€gocHion         Code



G/LAsrCAcclNo=       lflI/
         000     11/30/16                 603.64    P   SLI\4M      14 00               0,00                603.64 06/30/20             132,95                 3,59              25.15         158.10

010570   Bepairs to INTX 75142

         000     1   1/30/16              683.88    P   sLtllM      14 00               0,00                683.88 06/30/20             150.62                 4,07              28,49         179,1   1


010571   Bepairs to INTX 75120

         000     11/30/16                 603,64    P   SLMM        14 00               0,00                603,64 06/30/20             132,95                 3,59              25,15         158,10

010572   Repairsto|NTXT5296

         000     11/30/16                 522,37    P   SLMM        14 00               0,00                522,37   06/30/20           1   15.05              3,1   1           21.76         136,81

0105i3   Repairs to INTX 74692

         000     11/30/16                 603,64    P   SLMM        14 00               0.00                603,64   00/30/20           132.95                 3.59              25.15         158.10

010574   Repairs to INTX 74930

         000     1v30/16                  555,79 P      SLMM        14 00               0.00                A(E 70   06/30/20           122,42                 3.30              23.15         145.57

010575   Repairs lo INTX 75257

         000     1'1/30/16                555.79    P   SLMM        14 00               0.00                555.79 06/30/20             122/2                  3.30              23,15         145.57

010576   Repai6 lo INTX 21228

         000     11/30/16               1,052.12    P   SLMM        14 00               0,00             1,0s2j2     06/30/20           231.71                 6,26              43,83         275.54

010577   Repairs to INTX 21240

         000     11/30/16                 935.85    P   SLMI\4      14 00               0,00                935.85 06/30/20             206.12                 5.57              38.99         245,11

010578   Repairs to CGRX 21315

         000     11/30/16               1,050.12    P   SLMI\4      14 00               0,00             1,050.12    06/30/20           231.28                 6.25              43.75         275,03

010579   RepairstoCGBX21242

         000     11/30/16               1,695.8s    P   SLMM        14 00               0,00             1,695.85    06/30/20           373,50                 10.09             70.65         444.15

010580   Repairs to CGRX 21204

         000     11/30/16               1,002.12    P   SLMM        14 00               0.00             1,002.12    06/30/20           220,72                 5.96              41.75         262.47

010581   RepairstoCGRX2lS20
         000     1   1/30/16              920,85    P   SLI\4M      14 00               0.00                920,85 06/30/20             202.82                  5,48             38.37         241.19

010582   Repairsto CGRX 21322

         000     11/30/16                 542.37    P   SLI\4M      14 00               0,00                s42.37 06/30/20             1   r9.46              3.22              22.59         142,05

010583   Repairsto|NTXT4T3S

         000     11/30/16                 329,37 P      SLMM        14 00               0,00                329.37 06/30/20                 72.55               1.96             13.72          86,27

010590   Empty Car l\4ovement - INTX   67Mg
         000     1201/16                '!,032,00
                                                    P   SLMM        14 00               0,00             '1,032,00
                                                                                                                     06/30/20           227,30                  6.14             43,00         270,30

010591   Empty Car Movement - INTX 67050

         000     1201/'16               1,032.00    P   SLMI\4      14 00               0.00             1,032.00    0d30/20            227.30                  6,14             43,00         270.30

010592   Empty Car Movement - INTX 67024

         000     120'tl16               1,032.00    P   SLMI\4      14 00               0.00             1,032.00    06/30/20           227.30                  6,14             43.00         270.30

010593   Empty Car Movement. INTX 67001

         000     1201/16                1,032.00    P   SLMI\4      14 00               0.00             1,032.00    06/30/20           227.30                  6,'14            43.00         270,30

010594   Empty Car Movement - INTX 67047

         000     1201/16                1,032.00    P   SLMM        14 00               0.00             '1,032,00
                                                                                                                     06/30/20           227.30                  6.14             43.00         270,30

010595   Empty Car Movement-INTX 67008

         000     1201/16                1,032,00    P   SLI\4M      14 00               0,00             1,032,00    06/30/20           227,30                  6.14             43,00         270.30

010596   Empty Car Movement - INTX 67044

         000     1201/16                1,032,00    P   SLI/lM      14 00               0.00             1,032,00    0il30/20           227.30                  6,14             43,00         270.30

010597   Empty Car Movement - INTX 67051

         000     1201/16                1,032,00    P   SLI\,lM     14 00               0.00             1,032.00    06/30/20           227.30                  6,14             43.00         270.30

010598   EmptyCarMovement-INTX67052
         000     1201/16                1,032,00    P   SLMM        14 00               0.00             1,032,00    06/30/20           227.30                  6,14             43.00         270,30

010599   Empty Car l\4ovement - INTX 67043

         000     1201/'16                1,032.00   P   SLMI\4      14 00               0,00             1,032,00    06/30/20           227,30                  6.14             43,00         270,30

010600   Empty Car l\4ovement . INTX 67020

         000     1201/16                1,032.00    P   SLMM        14 00               0,00             1,032,00    0d30/20            227.30                  6,14             43.00         270.30

010601   Empty Car Movement - INTX 67029



Ar[!i6,md1ilSAf                                                                                                                                                                                            Prgo 86
          Case 20-11139-1-rel                                   Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                                           Desc Main
                                                                     Document    Page 144 of 370

                                                                                          lnterstate Commodities, lnc,
                                                                                                Deprc<idion Eryense Repoil

                                                                                                    AsolJdy31,2020

Book = lntemal

ffi   [lonh = December


                 lnSrt          Acfliod           P   DoF         fti        Salv/l68Ahu            Dopr€chlh         hir        ftirAmrrn        Dq"tddion         Cur€lilYlD       CutnlAc$m      lGy
SrsNo     tr     Dsb              Veluo           T   il€dr       tft          Soc 179                Basb            Ihru       DeoFdslion        thb Run          Deq€chtrn        Domchlbn       Co&


G[ArsdlrdNo= 1801
        000 1201/16                    1,032,00   P   SLMM        14 00                  0.00             1,032,00    06130/20          227.30               6,14           43,00         270.30
010602    EmptyCarMovement     tNTX 67042

          000    1201/16               1,032,00   P   SLMM        '14 00                 0,00             1,032,00    06/30/20          227.30               6,14           43.00         270.30

010603    Empty Car Movement   INTX 67009

          000    1201/16               1,032,00   P   SLMM        14 00                  0.00             1,032,00    06/30/20          227.30               6.14           43.00         270,30
010604    EmptyCarMovement     tNTX 67056

          000    1201/16               1,032,00   P   SLMM        14 00                  0.00             1,032.00    06/30/20          227.30               6.14           43.00         270,30
010605    EmptyCarMovement     INTX 67060

          000    1201/16               1,032,00   P   SLMM        14 00                  0.00             1,032.00    06/30/20          227,30               6.14           43.00         270,30
010606 EmptyCarl/ovement       INTX 67040

          000    1201/16               1,032,00   P   SLMM        14 00                  0.00             1,032,00    0d30/20           227,30               6.14           43.00         270,30
010607 EmplyCarlllovement tNTX67m2
          000 lz01l16                  1,032,00   P   SLMM        14 00                  0.00             1,032.00    06/30/20          227.30               6.14           43,00         270,30
010608    EmptyCarMovement     INTX 67019

          000    12101/15              1,032,00   P   SLI\4M      14 00                  0.00             1,032.00    06/30/20          227.30               6.14           43,00         270.30
010609    EmptyCarMovement     INTX 67021

          000    120116                1,032,00   P   SLI\,IM     14 00                  0,00             1,032.00    06/30/20          227.30               6,14           43,00         270.30
010610    EmptyCarMovement     INTX 67028

          000 tz01l16                  1,032,00   P   SLI\4M      14 00                  0.00             1,032.00    06/30/20          227.30               6,14           43,00         270.30
010611    EmptyCarMovement     INTX 67002

          000    1201/16               1,032,00   P   SLI\4M      14 00                  0.00             1,032.00    06/30/20          227.30               6.14           43,00         270.30
010612    Empty Car Movement   INTX 67M1

          000    1201/16               1,032,00   P   SLI\4M      14 00                  0.00             1,032,00    06/30/20          227.30               6.14           43.00         270.30

010613    Empty CarMovement    INTX 67048

          000    120116                1,032,00   P   SLI\4M
                                                                  '14
                                                                        00               0.00             1,032,00    06/30/20          227.30               6.14           43.00         270,30
010614    Empty CarMovement    INTX 67012

          000    1201/16               1,032,00   P   SLMM        14 00                  0.00             '!,032,00
                                                                                                                      06/30/20          227,30               6.14           43.00         270,30
0106 15   Empty Car Movement   INTX 67058

          000    1210'1/16             1,191,00   P   SLMM        14 00                  0.00             1,191,00    06/30/20          262.30               7.09           49,62         31 1,92

010616    Empty Car Movement   INTX 67018

          000    1201/16               1,191,00   P   SLMM        14 00                  0,00             1,191,00    06/30/20          262.30               7,09           49.62         311,92
0'10617   Empty Car Movement   tNTX 67022

          000    1201/16               1,191,00   P   SLMM         14 00                 0,00             1,191.00    06/30/20          262.30               7,09           49.62         31 1.92

010618    Empty Car Movement   |NTX   67m4
          000    1201/16               1,191,00   P   SLMM         14 00                 0,00             1,191.00    06/30/20          262.30               7,09           49,62         31 1.92

0 10619   Empty Car Movement   INTX 67004

          000    12J01/16              1,191,00   P   SLMM         14 00                 0.00             1,191.00    06/30/20          262.30               7.09           49.62         31 1.92

010620    Empty Car Movement   INTX 67039

          000    12101/16              1,191,00   P   SLMM         14 00                 0.00             1,191.00    06/30/20          262.30               7.09           49.62         31'1.92

010621    Empty Car Movement   NTX 67M7

          000    1201/16               1,191,00   P   SLMM         14 00                 0.00             1,191,00    06/30/20          262,30               7.09           49.62         311,92
010622    Empty Car Movement   tNTX   67m0
          000    1201/16               1,191,00   P   SLMM         14 00                 0.00             1,191,00    06/30/20          262,30               7.09           49,62         31 1,92

010623    Empty Car Movement   INTX 67033

          000    120'1/16              1,191,00   P   SLMM         14 00                 0.00             1,191,00    06/30/20          262.30               7,09           49,62         31 1,92

010624    Empty Car Movement   INTX 67008

          000    1201n6                1,191,00   P   SLMM         14 00                 0.00             1,191,00    06/30/20          262.30               7,09           49.62         311.92
010625    Empty Car Movement   tNTX 67045

          000    1201/16               1,191.00   P   SLMI\4       14 00                 0,00             1,191.00    06/30/20           262.30              7.09           49.62         31 1.92

010626    Empty Car Movement   INTX 67023

          000    1201/16               1,191.00   P   SLMIII       14 00                 0,00             1,191.00    06i30/20          262,30               7.09            49.62        31 1.92

010627    Empty Car Movement   INTX 67061



AU!il6,mdlfi3At                                                                                                                                                                                     PeF87
       Case 20-11139-1-rel                                             Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                                                      Desc Main
                                                                            Document    Page 145 of 370

                                                                                                    lntestate Commodities, nc,                 I



                                                                                                          Depecftlion Epenso R€port

                                                                                                              As   otJdy 31,2020

Book = Intemal

FYE Monh = December


                 ln   Slr        Acquiod                 P   Dopr         E6t        &tY/1684hil              Dopchbb               hbr            ftirlcqm        Dopochton          C,ulontYlD        OrulAcan          lGy
Slstlo E[        Ddb              Vafuo                  T   Mdr         tft           Soc   t79                   Balb             Itru           D@diort          IhbRun            DeptocHin         D€prscffin        Co&


G/LAssotAdNo= 1gll
         000 1z0ll16                 1,191,00            P   SLI\4M       14 00                    0.00               1,191.00      06/30/20             262.30                7.09           49.62          31 1.92

010628   Repairsto|NTX6T000

         000     1201/16                  449,86         P   SLiIM        14 00                    0.00                   449.86    06/30/20              99.07                2.68           18,74          1    17.81

010629   Repairsto|NTX6T00S

         000     1201/16                  449,86         P   SLMM         14 00                    0.00                   449.86    0d30/20               99.07                2.68           18.74          1'17,81

010630   Repairsto|NTX6T005

         000 lz0ll16                      449.86         P   SLMI\,l      14 00                    0,00                   449.86    06/30/20              99,07                2.68           18.74          117,81

010631   Bepairsto INTX 67006

         000     1201/16                  449.41         P   SLMI\,l      14 00                    0,00                   449,41    0d30/20               98,98                2.67           18.72           117.70

010632   Bepairsto INTX 67007

         000     1201/16              1,839.96           P   SLMM         14 00                    0.00               1,839.96      06/30/20             405.24              10.95            76,66          481.90

010633   Repairsto INTX 67014
                                                                          '14
         000     1201/16                  449.86 P           StMM               00                 0.00                   449.86    06/30/20              99.07                2,68           18.74           117,8'1

010634   Repairsto INTX 67017

         000     120'1/16                 546.08         P   SLI\4M       14 00                    0.00                   546.08 06/s0/20                120,28                3,25           zt.tx           143,03

010635   Repairs to INTX 67036

         000     1201/16                  862,81         P   sLtltM       14 00                    0.00                   862.81    06/30/20             190,03                5,14           35,95          225.98

010636   Repahs to INTX 67046

         000     '1201/16                 449,86         P   SLMI\4       14 00                    0,00                   449,86 06/30/20                 99.07                2.68            18.74
                                                                                                                                                                                                              't17.81

010637   Repairs to INTX 67027

         000     '1201/16                 862.81         P   SLMM         14 00                    0.00                   862.81    06/30/20             190.03                5.14           35.95           225.98

010638   Repai6 to INTX 21340

         000     1231/16                  495,53 P           SLMM         14 00                    0.00                   495.53    06/30/20             106,20                2,95           20.65           126.85

010639   Repairsto INTX 67002

         000     1201/16                  700.37 P           SLMM         14 00                    0.00                   700.37    06/30/20             154,26                4.17           29,18           183.44

010640   Repairsto INTX 67004

         000 lz01l16                      449.86 P           SLI\,lM      14 00                    0,00                   449,86 0d30/20                  99.07                2.68            18.74          1   17.81

010641   Bepairsto INTX 67009

         000     1201/16                  7   1   1.33   P   SLMM         14 00                    0,00                   71 1,33   06/30/20             156.67                4.23           29.63           186,30

010642   Repairsto INTX 6i018

         000     120v16                   449,86         P   SLMI\4       14 00                    0,00                   449,86    06/30/20              99,07                2,68            18,74          117.81

010643   Repairs lo INTX 67019
                                                                                                                                                                                               '18,74
         000     1201/16                  449,86         P   SLMM         14 00                    0.00                   449.86    06/30/20              99,07                2,68                           1   17.81

010644   Repairs to INTX 67021

         000     1201/16                  449.86         P   SLMM         14 00                    0.00                   449,86 06/30/20                 99.07                2.68            18.74          1   17.81

010645   Repairsro|NTX6T022

         000     1201/16                  449.86 P           SLI\,lM      14 00                    0,00                   449,86 06/30/20                 99.07                2,68            18.74          117,81

010646   RepairstoINTX6T023

         000     lz01/16                  449.86 P           SLMM         14 00                    0,00                   449.86    06/30/20              99,0i                2.68            18,74          117.81

010647   Repairsto INTX 67028

         000     120'tl16                 449,86         P   SLMI\,I      14 00                    0,00                   449.86    06/30/20              99.07                2.68            18.74          1   17.81

010648   Repairsto INTX 67029

         000     1201/16                  449,86         P   SLMM         14 00                    0.00                   449,86 0fl30/20                 99.07                2,68            18.74          117,81

010649   Repairsto|NTX6T030

         000     1201/16                  391,06         P   SLMM         14 00                    0,00                   391.06    06/30/20              86,12                2,33            16,29          102.41

010650   Repahs to INTX 67032

         000 1z0tl16                      474.78         P   sLtltM       14 00                    0,00                   474.78    06/30/20              104,56               2.83            19,78          124.34

010651   Repahsto|NTX6T033

         000     1201/16                  391.06 P           SLMI\4       14 00                    0.00                   391.06    06/30/20               86.12               2.33            16.29          102.41

010652   Repairsto|NTX6T034
         000     1201/15                  702.46 P           SLMM         t4    00                 0.00                   702.46 06/30/20                 154.72               4,18            29,27          183,99

010653   Repairsto INTX 67037



Au$d6,meltll3At                                                                                                                                                                                                           PeF88
       Case 20-11139-1-rel                                    Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                    Desc Main
                                                                   Document    Page 146 of 370

                                                                                   lntestate Commodities, lnc.
                                                                                         Dqedalion Epenso Ropoil
                                                                                             As ol Jrly 31, 2020


Book= Intemal

FYE iilonh = December


                lnSrc              AcfliEd P DEi                Ed          Salv/168Ahw Dopuchllo Prb                    ftixAlqm DoFlcidon CmntY'ID qnfiAcqrn          lGy




OtAscArdNo=lflr,
          000   1201/16               449.86   P   StMM          14 00            0.00              449.86    06/30/20           99.07   2,68    18,74      117,81

010654    Repairs to INTX 67038

          000   1201/16               449.86   P   SLMI\4        14 00            0.00              449.86    06/30/20           99.07   2,68    18.74      117,81

010655    Repairs to INTX 67039

          000   1201/16               491.67   P   sLMtvt        14 00            0,00              491.67 06/30/20          108.29      2.92    20.48      128.77

010656    Repairs to INTX 67040

          000   '1201/16              449,64   P   SLMM          14 00            0.00              449,64 06/30/20              99,04   2.67    18.73      117.77

010657    Repairs to INTX 67041

          000 1z0t/l6                 482,81   P   SLMM          14 00            0,00              482,81    06/30/20       106,34      2.87    20,1   1   126,45

010658    Repairsto INTX 67042

          000   1201/16               449,86   P   SLI\,lM       14 00            0.00              449.86    06/30/20           99.07   2,68    18.74      117,81

0'10659   Repairsto INTX 67045

          000   l201/16               449.86   P   SLI\4M        14 00            0.00              449.86    06/30/20           99.07   2.68    18.74      1   17,81

010660    BepairstoINTX6T053

          000   1201/16               449.86   P   SLMM          14 00            0,00              449,86 06/30/20              99,07   2.68    18.74      1   17.81

010661    Repairsto|NTX6T054

          000   1201/16               525.27 P     SLMI\,l       14 00            0,00              525,27 06/30/20          1   15,69   3,12    21,88      137.57

010662    Repairsto INTX 67056

          000   1201/16               482.98   P   SLMM          14 00            0,00              482.98    06/30/20       106.38      2.87    20.12      126,50

010663    Repairs to INTX 67058

          000   1201/16               449,86   P   SLMM          14 00            0.00              449.86    06/30/20           99.07   2.68    18.74      1   17,81

010664    Repairs to INTX 67060

          000   1201/16               449,86   P   SLI\4M        14 00            0.00              449.86 06/30/20              99,07   2.68    18,74      1   17.81

010665    Repairs to INTX 67061

          000   1201/16               449,41   P   SLI\4M        14 00            0,00              449,41    0030/20            98.98   2.67    18.72      11770

010666    Repairs to SO0   7470i
          000   1230/16               172.97   P   SLMM          14 00            0.00               172.97   06/30/20           37.08   1.03     7.21          44,29

010667    Repairsto INTX74619

          000   1230/16                91.70   P   SLMI\,I       14 00            0.00               91.70    06/30/20           19,65   0.55     3,82          23.47

010668    BepairstoS0074688
          000   1230/16                91.70   P   SLMM          14 00            0.00               91.70 0d30/20               19,65   0.55     3,82          23.47

010669    Repairsto|NTXT4S36

          000 1m0n6                    91,70   P   SLI\4M        14 00            0,00               91,70 06/30/20              19.65   0,55     3.82          23,47

010670    Repairs ro INTX 74725

          000   1230/16               172,97   P   SLI\.,lM      14 00            0,00               172.97   06/30/20           3i.08   1.03     7,21          44.29

010671    Repairs to INTX 74999

          000   '1230/16               91,70   P   SLM|\il       t4    00         0.00                91.70   06/30/20           19,65   0.55     3,82          23.47

010672    Repairsto|NTXT4953

          000   1230/16               172.97   P   SLMM          14 00            0.00               172,97   06/30/20           37.08   1,03     711           44.29

010673    Repairsto|NTXT4S54

          000   1230/16               172.97   P   SLMM          14 00            0,00               172,97   06/30/20           37.08   1.03      LZt          44,29

010674    Repairsto|NTXT4T6T

          000   1230/16               172,97   P   SLMM          14 00            0,00               172.57   06/30/20           37,08   1.03     7.21          44.29

010675    Repairsto|NTXT4T64
                                                                 '14
          000   1230/16                91,70   P   SLI\,lM             00         0,00                91.70 06/30/20             19.65   0.55     3.82          23.47

010676    Repairs lo INTX 74868

          000 1m0n6                   172.97   P   SLMI\I        14 00            0.00               172,57   06/30/20           37.08   1,03     7.21          44,29

010677    Repairs to INTX 3406

          000   1230/16                91.70   P   SLMM          14 00            0,00                91,70   06/30/20           19,65   0.55     3,82          23.47

010678    Repairsto|NTXT455T

          000   1230/16               172.97   P   SLMM          14 00            0.00               172.97   06/30/20           37.08   1.03     7.21          44.29

010679    Repairsto|NTXT4TS6



Auord6,md1fi3All                                                                                                                                                        Pss
        Case 20-11139-1-rel                                         Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                                             Desc Main
                                                                         Document    Page 147 of 370

                                                                                             lntestate Commodities, lnc,
                                                                                                   Depedilion Epense Repod
                                                                                                       As olJtIy31,2020


Book = lntemal

FYE   llonh   = December


                    lnSrt          Ao$M              P   DEr          Ed        Salv/t68Ahrl          Doptocbbb          ftiI       PrbAc.un         DEr€dalion           CunntY'ID          Cu€ntAccl,m f'sl
$sNo Ed             Dab            Va,lw             T   lldr         tft         S€c 179                Basb            thru       Domdfin           Ihb Run             Dembtbn            Dsmhlin          Co&



Glllsril^EdNo=1807
          000       1230/16                91,70     P   SLMM          14 00                0,00                91,70    06/30/20          19,65                0,55              3,82               23.47

010680    Repairsto INTX 125003

          000       1230/16                172.97    P   sLMt\,,1      14 00                0,00                172.97   06/30/20          37,08                  1.03            7.21               44,29

010681    Repairsto|NTXT5243

          000       1230/16                172.97    P   SLI\4M        14 00                0,00                172.97   06/30/20          37.08                  1.03            7.21               44.29

010682    Repairs to INTX 75207

          000       1230/16                 91.70    P   SLI\,lM       14 00                0.00                91,70    06130/20          19,65                  0,55            3,82               n.47
010683    Bepairsto|NTXT4S45

          000       1230/16                 91,70    P   SLMM          14 00                0,00                 91,70   06/30/20          19,65                  0.55            3,82               23.47

010684    Bepairsto|NTXT5l0l
          000       1230/16                 91,70    P   SLMM          14 00                0,00                 91.70   06/30/20          19.65                  0.55            3.82               23,47

010685    Repairsto|NTX390096

          000       1230/16                 91,70    P   SLMI\4        14 00                0.00                 91.70   06/30/20          19.65                  0.55            3,82               23.47

010686    Repairsto |NTX75106

          000       1230/16                 91.70    P   SLI\4M        14 00                0.00                 91.70   06/30/20          19,65                  0,55            3,82               23.47

010687    Repairsto|NTXT5046

          000       1230/'16                91.70    P   SLMM          14 00                0,00                 91,70   06/30/20          19.65                  0.55            3.82               23.47

010688    Repairsto|NTXT4556

          000       1230/16                 91,70    P   SLMM          14 00                0.00                 91.70   06/30/20          19.65                  0,55            3,82               23.47

010689    Repairsto|NTXi530l
                                                                       '14 00
          000 1m0n6                         9 1,70   P   SLMI\4                             0.00                 91.70   06/30/20          19,65                  0,55            3.82               23,47

010690    Repairs to INTX 74869

          000       1230/16                 91.70    P   SLI\4M        14 00                0.00                 91,70   06/30/20          19,65                  0.55            3.82               23.47

010691    Repairsto|NTXT5024

          000       1230/16                172.97    P   sLtt,lM       14 00                0,00                172.97   06/30/20          37.08                  1.03            7.21               44.25

010692    Repairs to INTX 125089

          000       1230/16                 91,70    P   SLMM          14 00                0.00                 91.70   06/30/20          19,65                  0,55            3.82               23,47

010693    Bepairsto|NTXT50T6

          000       1230/16                 91.70    P   SLMM          14 00                0.00                 91,70   06/30/20          19.65                  0.55            3.82               23,47

010694    Repairsto|NTXT4622

          000       1230/16                 91.70    P   SLI\4M        14 00                0,00                 91.70   06/30/20          19.65                  0,55              3,82             23.47

010695    Repairsto |NTX74611

          000       1230/16                 91.70    P   SLI/lM        14 00                0,00                 91.70   06/30/20          19,65                  0,55              3.82             23.47

010696    Repairs to INTX 75317
                                                                       '14 00
          000       1230/'16               172,97    P   SLMM                               0.00                172.97   06/30/20          37.08                  1,03              7.21             44.29

010697    Bepairsto INTX 75290
                                                                                                                                                                  .1,03
          000       1230/16                172.97    P   sLMtlt        14 00                0,00                172.97   06/30/20          37.08                                    7,21             44.29

010698    Repairsto|NTXT46S9

          000       1230/16                 91.70    P   SLI\4M        14 00                0,00                 91.70   06/30/20          19,65                  0,5s              3.82             23,47

010699    Repairsto|NTXT4624

          000       1230/16                 91.70    P   SLMM          14 00                0.00                 91,70   06/30/20          19.65                  0.55              3,82             23.47

010700    Repairs ro INTX 74584

          000       1230/16                 91,70    P   SLMI\4        14 00                0,00                 91.70   06/30/20          10   6(                0,55              3,82             23.47

01070'i   Repairsto INTX 74656

          000       1230/16                172.97    P   SLI\4M        14 00                0,00                172.97   06/30/20          37.08                  1,03                7.21           44,29

010702    Repairsro|NTXT4T62

          000       1230/16                172.97    P   SLMM          14 00                0.00                172,97   06/30/20          37.08                  1.03                7.21            44,29

010703    Repairsto|NTXT5060

          000       1230/16                 91,70    P   SLMM
                                                                       '14 00               0,00                 91.70   06/30/20          19,65                  0,55                1n,            23.47

010704    Repairsto|NTXT4646

              000   1230/16                172.97    P   SLMI\4        14 00                0,00                172.97   06/30/20          37.08                   1.03               7.21            44,29

010705    Repairsto|NTXT45TS



Al{[t6,2ms[11l3lll                                                                                                                                                                                            PS90
          Case 20-11139-1-rel                                        Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                                                 Desc Main
                                                                          Document    Page 148 of 370

                                                                                              lnterctate Commodities, nc.          I



                                                                                                    Depndaiion Epsnse Repoil

                                                                                                        As ol Jrty 31 , 2020


lg9[    = lnternal

ffillffi=December

                     lnS:rc          Acsriod           P   DEr         Eri       SalY/168Aloir          DqocUlH         Priot          ftixAcqn           DEr€cidion           CuonlY'lD           OrBrilAccm         tGy

SYsNo Ed             Ddo              Value            T               tb          S€c 179                Basb          Ihru           Depoddotr           Ihb Run             Doil€cbhn           Dsechlin           Co&



Ol-Alt€|Antt{o=         1fl17

            000      1230/16                  427,80 P     SLMM         14 00                0,00                427.80 06/30/20              91.68                    2.54            17.82             109.50

010706      Bepahsro |NTX75126

             000     1230/16                  427,80 P     SLI\4M       14 00                0.00                427,80 06/30/20              91.68                    2.54            17.82             109,50

010707      Repairs to INTX 74870

             000     1230/16                  346.53   P   SLMM         14 00                0.00                346,53 06/30/20              74.25                    2.06            14,43              88.68

010708      Repairs ro INTX 75044

             000     l230/16                  475,95   P   SLMI\4       14 00                0,00                475.95 06/30/20              102.00                   2,83            19.83             12'1,83

010709       RepairstoINTXT45ST

             000     1230/16                  414,80 P     SLI\,lM      14 00                0,00                414,80 06/30/20               88,89                   2.47            17,28             106.17

010710       Repairsto|NTXT459T

             000     1230/16                  333.53   P   SLMM         14 00                0,00                333.53 06/30/20               71.46                   1,98            13.89              85,35

01071   1    Repairs to INTX 74722

             000     l230/16                  930,22 P     SLMM         14 00                0,00                930,22 06/30/20              199,35                   5.54            38,76             238.1   I

0107   12    Repairsto INTX74761
             000     12130/16                 333.53   P   SLMM         14 00                0.00                333.53 06/30/20               71.46                   1,98            13.89              85,35

010713       Repai6to INTX 74565
             000     1230/16                  333,53   P   SLMI\4       14 00                0,00                333,53 06/30/20               71,46                   1.98            13,89              85.35

010714       Repairsto|NTXT5ll0
             000     1230/16                  427.80   P   SLI\,lM      14 00                0.00                427.80 06/30/20               91.68                   2,54            17.82             109.50

010715       Repairsto|NTXT4S40

             000     1230/16                  427.80 P     SLMM         14 00                0,00                427.80 06/30/20               91.68                   2,54            17.82             109.50

010716       Repairs to INTX 75032

             000     1230/16                  379,95   P   SLI\4M       14 00                0.00                379.95 06/30/20               81,42                   2.26            15,83              97.25

010717       Repairsto INTX 125071
                                                                        '14 00
             000     1230/16                  340.95   P   SLMM                              0,00                340.95 0d30/20                73,05                   2,03            14,20              87.25

0107'18      Repai6 to INTX 74621

             000     1230/16                  388,80   P   SLMM         14 00                0.00                388,80 06/30/20               83,31                   2.31             to.   tv          99.50

010719       Repairsto |NTX74997

             000     1230/16                  307,53   P   SLMM         14 00                0,00                307,53 06/30/20               65.91                   1,83            12.81              78,72

010720       Repahsto|NTXT52ST
                     '1230/16                                                                                                                                                          '16,19
             000                              388.80   P   SLMI\4       14 00                0.00                388,80 06/30/20               83,31                   2.31                               99,50

010721       Bepairs lo INTX 75154

             000      1230/16                 340.95   P   SLI\4M       14 00                0,00                340.95 0d30/20                73,05                   2,03            14.20              87,25

010722       Repairsto |NTX750'17

             000      1230/16                 388.80   P   SLMI\4       14 00                0.00                388.80 06/30/20               83,31                   2.31            16,19              99.50

010723       Repai6 to INTX 751 14

             000      1230/16                 422,22 P     SLMM         14 00                0.00                 422.22 0680n0                90.48                    2.51           17.59             108,07

010724       Repairsto INTX 75253

             000      1230/16                 307.53   P   SLMM         14 00                0.00                307,53 06/30/20               65,91                    1.83            12.81             78.72

010725       Repahsto|NTXT4T9T
                                                                                                                                                                                                              oo qn
             000      1230/16                 388,80   P   SLMM         14 00                0,00                388.80 06/30/20               83.31                    2.31            16.19

010726       Repairs to INTX 74696

             000      1230/16                 307.53   P   SLMM         14 00                0.00                307.53 06/30/20               65,91                    1,83            12.81                 78.72

010727 RepahstoINTXT52l9
             000 1m0n6                        388,80   P   SLMM         14 00                0,00                388,80 0d30/20                   83.31                 2.31            16,19                 99,50

010728       Repainto|NTXT4SS3

              000     1230/16                 307.53   P    SLMM         14 00                0.00                307,53 06/30/20                 65.91                 1.83               12.81              78.72

010729       Repairsto INTX 125078

              000     1230/16                 340,95   P    SLMI\,l      14 00                0,00                340,95 06/30/20                 73.05                 2.03               14,20              87,25

010730 Repahsto|NTXi5S13
              000     1230/16                 468.23   P    SLMM         14 00                0,00                468.23 06/30/20              100,35                   2.79               19.51          1   19.86

010731        Repairsto|NTXT4T46



lryH6,xnd1fi3At                                                                                                                                                                                                        Prgo9l
       Case 20-11139-1-rel                                      Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                                                  Desc Main
                                                                     Document    Page 149 of 370

                                                                                        lnterctate Commodities, lnc.
                                                                                              Depntaillon Epenso B€poil

                                                                                                  As ol Jrly 31 , 2020


Book= lntemal

ffiilmh=December

                ln Svc             Ac$iEd          P   DoF         Ed      Salv/1684hil           Dopr€chblo        RiI        ftirAcqm           Doptocia[on              Cln€ttiYlD       OmdAccun           lGy
SysNO     E*    DE                  VdB            T   l,ldl       tft       S€c 179                Basb            Ihru       DepFidin            Ihb Bun                 Demdabn          Dog9clffon         Co&


Gl[AsoelAcdtlo= 180/
          000   1230/16                   555.53   P   SLI\4M      14 00               0.00                555,53 06/30/20           1   19.04                  3.30               23.14         142.18

010732    Bepairs to INTX 74921

          000   1230/16                   670,22   P   SLMM        14 00               0.00                670.22 06/30/20           143.61                     3,99               27.92         171,53

010733    Repairsto INTX 182940

          000   '1230n6                   596,38 P     SLMM        14 00               0,00                596,38 06/30/20           127,80                     3,55               24.85         152.65

010734    Repairsto|NTXT4TS2

          000   1230/16                   670,22   P   SLMM        14 00               0,00                670,22   06/30/20         143,61                     3.99               27.92          I   / t.JJ
010735    Repairs to INTX 751 12

          000   1230/16                   339.53   P   SLMM        14 00               0,00                339,53   06/30/20             72.75                  2.02               14,14              86,89

010736    Repairsto INTX 125103

          000   1230/16                   372.95 P     SLMI\4      14 00               0,00                372,95   06/30/20             79.92                  2,22               15.54              95,46

010737    Repairsto INTX 74985

          000 lz30l16                     585.22 P     SLMI\4      14 00               0.00                585.22   06/30/20         125.40                     3,48               24.38          149.78

010738    Repairsto INTX 125067

          000   t230/16                   557.22   P   SLI\4M      14 00               0.00                557.22 06/30/20           119,40                     3.31               23,21          142.61

010739    Repairsto |NTX75015

          000   1230/16                   523.80   P   SLI\,lM     14 00               0.00                523,80   0d30/20          112,26                     3.1   1            21.82          134,08

010740 Repai6to|NTX75ll8
       000 1230/16                        523,80   P   SLMM        14 00               0.00                523,80 06/30/20           112.26                     3,11               21.82          134,08

010741 RepairstoINTXT4T0l
          000   1230/16                   442,53   P   SLMM        14 00               0,00                442.53   06/30/20             94.83                  2,63               18,43          1't3,26

010742    Repairs to INTX 75293

          000   1230/16                   936.31   P   SLMM        14 00               0,00                936.31   06/30/20         200,64                     EE7                39,01         239.65

010743    Repairs to INTX 75087

          000   1230/16                   523.80 P     SLMI\4      14 00               0.00                523.80 06/30/20           112,26                     3.1   1            21.82          134.08

010744    Repairs to INTX 75303
                                       '1,032.31
          000   1230/16                            P   SLMI\4      14 00               0.00             1,032.31    06/30/20         221.22                     6,14               43.01          264,23

010745    Repairsto INTX 74685
                                                                                                                                         '19.40
          000   1230/16                   557.22   P   SLI\4M      14 00               0.00                557,22   06/30/20         1                          3,31               23.21          142.61

0'10746   Repairsto INTX 75039

          000   1230/16                   475.95 P     SLMM        14 00               0,00                475.95 06/30/20           102,00                     2.83                19,83         121.83

010747    Repairs to INTX 75246

          000   1230/16                   442.53   P   SLMM        14 00               0,00                442.53   06/30/20             94,83                  tal                 18.43         113,26

010748 Repairsto|NTXT5020
          000   1230/16                   442.53   P   SLMI\4      14 00               0.00                442.53   0d30/20              94.83                  2,63                18.43         1   13,26

010749    Repairsto INTX 125097

          000   1230/16                   727.95   P   SLMI\4      14 00               0.00                727,95   06/30/20         156.00                     4.33               30,33          186.33

010750    Repairs to INTX 74602

          000   1230/16                   442.53   P   SLI\4M      14 00               0,00                442.53   06/30/20             94,83                  2.63                18.43         113.26

010751    Repairsto|NTXT4S3S

          000   1230/16                   442.5X   P   SLI\4M      14 00               0,00                442.53   06/30/20             94.83                  2,63                18.43         113.26

010752    Repairsto INTX 125060

          000   12130/16                  475.95   P   SLMM        14 00               0,00                475,95   0d30/20          'i02.00                    2.83                19,83         121,83

010753    Repahsto INTX 74888

          000   1230/16                   442,53   P   SLMM        14 00               0.00                442.53   06/30/20             94.83                  2.63                18,43         1   13.26

010754    Repairslo |NTX75239

          000   l230/16                   475,95   P   SLM|\rl     14 00               0.00                475.95 06130/20           102,00                     2.83                19.83         121.83

010755 Repairslo|NTXT4634
          000   1230/16                   523.80   P   SLMM        14 00               0,00                523.80 06/30/20           112.26                     3,11                21,82         134,08

010756    Repairs to INTX 75328

          000   1230/16                   523.80 P     SLI\,lM     14 00               0.00                523.80 06/30/20               112.26                 3.1    1            21.82         134,08

010757    Repairs to INTX 75321



fiSFl6,ml}dtll3lt                                                                                                                                                                                              Pr0o92
       Case 20-11139-1-rel                                       Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                                              Desc Main
                                                                      Document    Page 150 of 370

                                                                                            lntemtate Commodities, lnc,
                                                                                                  DWreddion Epsnse Repoil

                                                                                                     As ol Jrly 31 , 2020


Book = lntemal

FYE Mmh = December


                 lnSrc            tuquhd            P   DoF         Ed        Sslv/168Alott          Doprocbbb        hk|l       ftirAcilr          Dopr€ddion           qnonlY'ID      qmtAcqn            Kst
SrsNo Ed         Ddo               Valuo            T lloh         Uo            S€c 179                              Ihru       Demdatur            Ihb Run             Depmchen       IhprocHion         Co&


OtAssllrdNo       = 1fl17
          000    't230/16                  604.04 P     SLMI\4      14 00                  0.00             604.04 06/30/20             129,45                 3.60             25.17         154.62

010758    Repairsto INTX 75325

          000    1230/16                   442.53   P   SLMM        14 00                  0.00              442.53   06/30/20           94.83                 2,63             18.43         1   13.26

010759    Repairsto |NTX75121

          000    1230/16                   442.53   P   SLMM        14 00                  0.00              442.53   06/30/20           94.83                 2,63             18,43         1   13.26

010760    Repahsto|NTXT506S

          000    1230/16                   475,95 P     SLI\4M      14 00                  0,00             475.95    06/30/20          102.00                 2,83             19,83         121,83

010761    Repairsto|NTXT52T6

          000    1230/16                   442,53   P   SLMM        t4   00                0,00              442.53   06/30/20           94,83                 2.63             18.43         1   13.26

010762    Bepahsto|NTXT5l33
          000    1230/16                   523,80   P   SLMM        14 00                  0,00             523.80 06/30/20             112,26                 3,11             21.82         134.08

010763    RepaimtoINTX75018

          000    1230/16                   605,00 P     SLMI\4      14 00                  0,00             605,00    06/30/20          129.66                 3,60             25.21         '154.87

010764    Repairsto|NTXT4SS5

          000    1230/16                   523,80 P     SLMI\4      14 00                  0.00              523,80 06/30/20            112.26                 3.1   1          21.82         134,08

010765    Repairsto|NTXT4T2S

          000    1230/16                   442,53   P   SLMM        14 00                  0.00              442.53   06/30/20              94,83              2.63             18.43         1   13,26

010766    Repairsto|NTXT4S5T

          000    1230/16                   523.80 P     SLMM        14 00                  0,00              523.80 06/30/20            112,26                 3,11             21.82         134.08

010767    Repairs to INTX 74759

          000    1230/16                   523.80 P     SLI\,lM     14 00                  0,00              523.80   06/30/20          112.26                 3.1   1          21,82         134.08

010768    Repairsto|NTXT4T4T

          000    1230/16                   523,80 P     SLMM        14 00                  0,00              523,80   06/30/20          112.26                 3.1   1          21.82         134,08

010769    RepairstoINTXT5l25
          000    1230/16                   601,00   P   SLMI\4      14 00                  0.00              601,00 0d30/20             128,79                 3.58             25.04         153.83

010770    Repairsto|NTXT530S

          000    12130/16                  732.22   P   SLMI/       14 00                  0.00              732.22   06/30/20          156.90                 4,35             30,50         187.40

010771    Repahsto|NTXT5355

          000    '1230/16                  523,80 P     SLMM        14 00                  0,00              523.80 06/30/20            112.26                 3,11             21,82         134,08

010772    RepairstoINTXT4T09

          000    1230/16                   523.80 P     SLI\4M      t4   00                0.00              523,80   06/30/20          112.26                 3.1   1          21.82         134,08

010773    Repairsto|NTXT4649

          000    1230/16                   523.80 P     SLI\,lM     14 00                  0,00              523.80 06/30/20            112,26                 3,11             21.82         134.08

010774    Repairs ro INTX 74750

          000    1230/16                   523.80   P   SLMM        14 00                  0.00              523.80 06/30/20            112.26                 3.11             21,82         134.08

010775    Repairsto INTX 75248

          000    tz30/16                   558,95   P   SLM|\il     14 00                  0,00              558,95   06/30/20          1   19.79              3.33             23,29         143.08

0'10776   Repairsto INTX 75285

          000    1230/16                   442,53   P   SLMM        14 00                  0,00              44253    06/30/20              94.83                2.63           18.43         113,26

010802    BepairstoCP385298
          000    01/11/17                  358.80   P   SLI\.,lM    14 00                  0.00              358,80   06/30/20              76,89                2,14           14.95             91.84

010803    BepairstoCP385264
          000    01/11/17                  566.50 P     SLIUM       14 00                  0.00              566.50 06/30/20            121.41                   3.37           23,60         145.01

010804    Repairs to CP 385141

          000 01/11ni                      331.50 P     SLMM        14 00                  0.00              331,50   06/30/20              71,04                1.97           13,81             84,85

010805    RepairstoCP385388
          000 01/1t'l7                     402,30   P   SLMI\I      14 00                  0,00              402.30   0d30/20               86.22                2,39           16.76         102,98

010806    RepairstoS0074794
          000 0v11/17                      562,30   P   SLMM        14 00                  0.00              562.30 06/30/20            120.51                   3,35           23,43         143.94

010807    Repairsto CP 385352

          000    0v11/17                   596,80 P     SLI\,lM     14 00                  0,00              596,80   06/30/20          127.89                   3.55           24.86             152.75

010808    Repairsto DSRC 385472



fts!|6,2020d1.l13^fl                                                                                                                                                                                       PFs
        Case 20-11139-1-rel                                     Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                                                   Desc Main
                                                                     Document    Page 151 of 370

                                                                                            lnterc{ate Commodities, lnc,
                                                                                                  Depecidion Epenso Roport

                                                                                                      As   olJrly31,202t

Book= lntemal

ffi   lvlonh = December


                ln   Srr           Acqriod           P   DoF       EC         Se,lv/168AIow           Dopt€chbb             hb         RiorAciln           DqBcia|ion       Cur€nlY'ID          qmilAcdn            lGy
S$No Ert        Drb                 Val$             T   Itdr      tft           S€c 179                   Balii            Ihru       Depnddio             fibRun          Depocmn             Dspocffin           Co&


OlAstdlcdllo= lflI/
          000   01/11/17                   459,50    P   SLMI\,l   14 00                   0.00                    459.50   06/30/20           98,46                 2.73           19.14            1   17.60

010809    RepairstoCP385117

          000   01/11/17                   288.00    P   SLMi/l    t4    00                0.00                    288.00 06/30/20             61.71                 1.71           1   1,99             73.70

010810    Repai6 to CP 385192
                                                                   '14
          000   01/11/17                   288.00    P   SLMM            00                0,00                    288,00 06/30/20             61.71                 1.71           1   1,99             73.70

010812    RepairstoCP385291

          000   01/11/17                   288.00    P   SLMM      14 00                   0,00                    288,00 06/30/20             61.71                 1.71           1   1.99             73,70

010813    RepairstoDSRC385483

          000   01/11/17                   498,62    P   SLMM      14 00                   0,00                    498,62   06/30/20          106,86                 2,96           20.77            127.63

010814    RepairstoCP3S53ll
          000   01/11/17                     70,80   P   SLI\4M    14 00                   0,00                     70,80   06/30/20              15,18              0.42               2,95             18.13

010815    RepairstoDSRC385213

          000   01/11n7                      70.80   P   SLMM      14 00                   0.00                     70.80   06/30/20              15.18              0.42               2,95             18,13

010816    Repairsto|NTXT4662

          000 01/11/1i                       70,80   P   SLMI\4    14 00                   0.00                     70,80   0d30/20               15.18              0.42               2,95             18,13

010817    Repairsto|NTXT46iS
          000   0'l/11/17                    70.80   P   SLMM      14 00                   0.00                     70,80   06/30/20              15,18              0,42               2.95             18,13

0108'18   Bepahs to INTX 74726
                                                                   '14                                                                            '15,18
          000   01/11/17                     70.80   P   SLMM            00                0,00                     70,80 0il30/20                                   0,42               2,95             18.13

010819    Repairs lo INTX 74737

          000 0v11/17                        70.80   P   SLMM      14 00                   0,00                     70.80   06/30/20              15.18              0.42               2,95             18.13

010820    Repahsto|NTXT5213

          000   01/11/17                     70,80   P   sL[,lM    14 00                   0.00                     70.80   06/30/20              15.18              0.42               2,95             18,'13

010821    Repairsto|NTXT5336

          000   01/1 1/17                    70.80   P   sLtltM    14 00                   0.00                     70,80   06/30/20              15,18              0,42               2.95             18,13

010822    Repairsto INTX 125077

          000   01/11/17                     70,80   P   SLMI\4    14 00                   0.00                     70,80 06/30/20                15,'18             0.42               2,95             18.13

010823    RepairstoDSRC385138
                                                                   '14
          000   0t/11/17                     70.80   P   sLMtlt          00                0,00                     70.80   06/30/20              15.18              0.42               2,95             18.13

010824    RepairstoDSRC3S5l6l
          000 0t/11/17                       70.80   P   SLMM      14 00                   0,00                     70.80   06/30/20              15.18              0.42               2.95             18,13

010825    RepairstoDSRC3SS36
          000   01/1 1/17                    70.80   P   SLMM      14 00                   0.00                     70,80   06/30/20              15,18              0.42               2,95             18,13

010826    RepairstoDSRC385340

          000   01/1 1/17                    70,80   P   SLI\4M    14 00                   0.00                     70,80 06/30/20                15.18              0,42               2,95             18.13

0'10827   Bepairs to DSRC 385456

          000   01/11/17                     70,80   P   SLMM      14 00                   0,00                     70.80 06/30/20                15.18              0.42                ,o(             18.13

0'10828   Repairs to INTX 74553

          000   01/11/17                     70.80   P   SLMIlI    14 00                   0,00                     70.80   06/30/20              15.18              0.42                2.95            1   8,13

010829    Repai6toINTX74808
                                                                   '14
          000   01/11/17                     70.80   P   SLMM            00                0,00                     70.80   06/30/20              15,18              0,42                2.95            18,13

010830    Repairsro|NTXT523l
                                                                   '14                                                                            '15,18
          000   01/11/17                     70.80   P   SLMM            00                0.00                     70,80 06/30/20                                   0,42                2,95            18.13

010831    Repairsto|NTXT5293

          000   01/11/17                     70,80   P   sLtt4M    14 00                   0.00                     70,80   06/30/20              15.18              0.42                2,95            18.13

010832    RepahstoDSRC385367
          000 01/1v17                      534.50    P   SLMM      14 00                   0,00                    534.50   06/30/20          1   14.54              3.18            22.27           136,81

010833    RepahstoCP38518
          000   01/11/'17                  431.00    P   SLMI\,|
                                                                   't4 00                  0.00                    431.00   06/30/20              92,37              2,57            17,96           1   10,33

010834    Bepairs to DSRC 385389

           000 0t/11/17                    534.50    P   SLMM      14 00                   0.00                    534,50 06/30/20            1   14.54              3.18            22.27           136.8'1

0'10835   Repaim to    S00 75009


lrJgrfr6,md1fi3All                                                                                                                                                                                                  Pa0o9{
       Case 20-11139-1-rel                                         Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                                            Desc Main
                                                                        Document    Page 152 of 370

                                                                                               lntedate Commodilies, lnc.
                                                                                                     Dqeddion EryensoR€pqt
                                                                                                        AsolJrly3l,2t20

Book = lntemal

FYE Monh = Decemhr


                 ln   Srr        Acflid               P   DEr         Ed       SalY/168llow             Dopchbb         hix        fti[ADqm         Dqrscidion          CmilY'ID            OnsntAciln     lGy
                                                                                       .l79
S]tNo Eil        Ddp                 Value            T   ll€dr      tft         Soc                                    Ihru       D€f,€ddion        Ilb   Bun          Dof,€cidion         D€gocftdion    Codo



GlLAssdAntNo=         lflI/
          000    01/11/17                    605,30   P   SLMM        14 00                   0.00            605,30    06/30/20           129.72                3,60            tR   tt          154.94

010836    RepairstoCP3854813

          000    01/1v17                     327,50                   '14 00                  0,00                                                                               '13.64
                                                      P   SLMI\,I                                             327,50    06/30/20            70.17                1.95                              83,81

010837    RepairstoCP385363

          000    01/1v17                     327,50   P   SLMI\4      14 00                   0,00            327.50    0d30/20             70,17                1.95            13,64             83,81

010838    Repahs to INTX 75213

          000    01/1v17                     476,54 P     SLMI\4      14 00                   0,00            476.54    06/30/20           102,12                2,83            19,85            121,97

010839    RepairstoCP385470

          000    01/1'1/17                   346,10 P     SLMI\4      14 00                   0,00            346.10 06/30/20               74.16                2,06            14.42             88.58

010840    RepairstoCP385499

          000    01/1'1/17                   346,10   P   SLMI\,l     14 00                   0,00            346.10 06/30/20               74.16                2,06            14.42             88.58

010841    RepairstoCP385l66
          000    01/11/17                    284,00 P     SLMM        14 00                   0,00            284.00 06/30/20               60.87                1,69            1   1.83          72.70

010842    RepairstoCP3852l2
          000    01/11/17                    284.00 P     SLI\4M      14 00                   0.00            284.00    06/30/20            60.87                1.69            1   1.83          72.70

010843    RepairstoCP385339

          000    01/11/17                    426.80   P   SLI\4M      14 00                   0.00            426.80 06/30/20               91.47                2.54            17,78            109.25

010844    Repairsto CP 385485

          000    01/11/17                    426.80   P   SLI\,lM     14 00                   0.00            426,80 06/30/20               91.47                2.54            17.78            109,25

010845    RepahstoCP385175

          000    01/11/17                    569.66   P   StMM        14 00                   0.00            569,66    06/30/20           122,07                3,39            23.73            145,80

010846    BepairstoCP385104

          000    01/11/17                    426.80   P   SLMM        14 00                   0,00            426,80    06/30/20            91.47                2.54            17.78            109,25

010847    Repah$t0CP385109

          000 0t/l1/17                       426,80   P   SLMM        14 00                   0,00            426,80 06/30/20               91.47                2.54            17,78            109.25

010848    RepairstoCP385443

          000    01/1 1/17                   426,80   P   SLMI\4      14 00                   0.00            426.80 06/30/20               91.47                2.54            17.78            109.25

010849    RepahstoCP385472

          000    01/'11/17                   426,80   P   SLMI\4      14 00                   0.00            426,80 06/30/20               91.47                2.54            17.78            109.25

010850    RepaintoDSRC385386
          000    01/11/17                    392.15   P   SLMI\,l     14 00                   0.00            392.15 06/30/20               84,03                2.33            16.33            100,36

010851    RepairstoCP385113

          000    01/11/17                    390,50   P   SLMM        14 00                   0.00            390,50 06/30/20               83,67                2.32            16.26             99,93

010852    RepairstoCP385293

          000    0t/11/17                    390.50 P     SLI\4M      14 00                   0.00            390,50 06/30/20               83.67                2,32            16.26             oo 01

010853    RepairstoCP385380

          000    01/1 1/'17                  390.50   P   sLtltM      14 00                   0.00            390,50 06/30/20               83.67                2.32            16,26             99,93

010854    Empty Revenue Movement      cP 390144
          000    01/1 1/'17                  910.00   P   SLI/M       14 00                   0,00            910,00    06/30/20           195.00                5.41            37.91            232.91

010855    Empty Bevenue Movement      INTX 67016

          000    01/1v17                 1,191.00 P       SLMM        14 00                   0,00           1,191,00   06/30/20           255.21                7.09            49.62            304.83

010856    Empty Revenue Movement      INTX 67035

          000    01/1 1/17               1,191.00 P       SLMM        14 00                   0.00           1,191,00   06/30/20           255.21                7,09            49,62            304.83

0'10857   EmptyRevenuelMovement       |NTX    6i0r5
          000    01/11/17                1,191.00 P       SLMI\4      14 00                   0.00           1,191,00   06/30/20           255.21                7,09            49,62            304,83

010858    Empty Revenue l\4ovement    INTX 67055

          000    01/11/17                1,191,00 P       sLMtlt      14 00                   0.00           1,191.00   06/30/20           255.21                7,09            49,62            304.83

010859    Empty Revenue lllovement    INTX 67010

          000    01/11/17                1,191,00 P       SLMM        14 00                   0,00           1,191.00   06/30/20           255.21                7.09            49.62            304.83

010860    Emply Revenue Movement      tNTX67m1
          000    01/11/17                1,191,00 P       SLI\4M      14 00                   0,00           1,191.00   06/30/20           255,21                7,09            49.62            304.83

010861    RepairstoDSRC385107



ftfill5,xpoNlllt3lll                                                                                                                                                                                       PeF95
       Case 20-11139-1-rel                                            Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                                               Desc Main
                                                                           Document    Page 153 of 370

                                                                                               lnters{ate Commodities, lnc.
                                                                                                     Depociailion Epenso Repoil

                                                                                                         As ol Jrly 31 , 2020


Book= Internal

ffil/ffi=December

                 ln Svc             Arflisd           P   DoF           Est       &lv/168Ahw             Dopr$hbb          Ptkx       Pr'uAcdln           Dopociafon          OnenlYlD         OmnlAciln           lGv
StBNo Ed         Dato                Value            T   Itdr          ub          Soc 179                Basb            11ru       Depoddin             Ihh Run            thDmcffit        DepFcHin            Co&



OLAnetAcciNo= 1&I/
          000    01/11/17                    329,96       sLt\4t\4      14 00                 0.00                329.96 06/30/20                70,71                1.96           13,74             84.45

010862    Repairs to DSRC 385144

          000    01/11/17                    329,96       SLMM           14 00                0,00                329,96   06/30/20              70,71                1,96           13.74             84,45

010863    Repairs to DSRC 385154

          000    01/11/17                    329.96       SLMM           14 00                0,00                329,96 06/30/20                70.71                1,96           13.74             84,45

010864    Repairs to DSRC 385191

          000    01/11/17                    329.96       SLMM           14 00                0,00                329,96 06/30/20                70.71                 1.96          13.74             84.45

010865    Repairs to DSRC 385314

          000    01/11/17                    329.97       SLMM           14 00                0.00                329.97 0030/20                 70.71                 1.96          13,74             84.45

010866    Bepairsto INTX 120175
                                                                                                                                             '119,52
          000    01/11/17                    55i.80       SLMM           14 00                0.00                557.80   0d30/20                                    3.32           23,24            142.76

010867    Repairsto INTX 120193

          000    0r/11/17                    557.80       SLMI\4         14 00                0.00                557.80 06/30/20            1   19.52                3,32           23.24            142,76

010868    Repairsto INTX 120128

          000    01/11/17                    557,80       sLt\4t\4       14 00                0.00                557,80 06/30/20            1   19.52                3,32           23,24            142.76

010869    Repairsto|NTX49655

          000    01/11/17               5,149,76          sLt\4t\4       14 00                0,00             5,149.76    06/30/20         1,1m.52                  30.65          214.57           1,318.09

010870    Repairsto|NTX21224

          000    01/11/17                    486,80       SLMM           14 00                0.00                486.80 06/30/20            104.31                   2,90           20,28            124,59

010871    RepairstoCGRX21232

          000 01/11/t7                       486.80       SLMM           14 00                0.00                486.80 06/30/20            104,31                    2,90          20.28            124,59

010872    Repairs lo INTX 74736

          000 01/1117                        389,80       SLMM           14 00                0.00                389,80 06/30/20                83.52                 2.32          16,24                 99.76

0108i3    Repairs to INTX 74822

          000    01/11/17                    308.53       SLMM           14 00                0,00                308,53   06/30/20              66.12                 1.83          12,85                 78.97

010874    Repahs to INTX 75304

          000    01/1 1/17               1,490.57         SLMI\4         14 00                0,00             1,490.57    06/30/20          319,41                    8.87          62.10            38'1,51

010875    Bepairsto|NTXT49T3

          000    01/11/17                    342.07       sLt\4t\4       14 00                0.00                342.07 06/30/20                73,29                 2,04          14.25                 87,54

010876    Bepairsto |NTX74916

          000    01/11/17                    937,58       SLMM           14 00                0.00                937.58 06/30/20            200.91                    5.58          39,06            239.97

010877    BepairsioINTXT496T

          000    01/11/17                    308.53       SLMM           14 00                0,00                308,53   06/30/20              66.12                 1.83          12,85                 78.97

010878    Repairsto|NTX21293
                                                                         '14 00
          000    01/11/17                    394.53       SLMM                                0,00                394.53 06/30/20                84,54                 2,34          16.43             100,97

010879    Repairsto INTX 21324

          000    01/11/17                    464.53       SLMM           14 00                0.00                464.53 06/30/20                99,54                 2,76          10   1(           1   18.89

010880    Repahs to INTX 75199

          000 0v1117                         389.80       SLMI\4         14 00                0.00                389.80 06/30/20                83.52                 2.32          16.24                 99.76

0'10881   Repairs lo INTX 463017

          000    01/1 1/17                   420,80       sLt\4t\4       14 00                0,00                420,80   06/30/20              90,18                 2,50          17.53             107,71

010882    Repairsto INTX 11044

          000    01/1 1/17                   3i3,07       SLMM           14 00                0,00                373.07 06/30/20                79,95                 2,22          15.54                 95,49

010883 BepairstoS0074700
          000    01/11/17                     89,92       SLMM           '14 00               0.00                 89.92   06/30/20               19,26                0.53           3,74                 23.00

010884 RepairstoS0074446
          000 0l/11/17                       171.19       SLMM           14 00                0.00                171,19   06/30/20              36.69                 1.02           7.13                 43.82

010885    RepairstoCP390244

          000    01/11/17                     89.92       SLMI\4         14 00                0.00                 89,92   06/30/20               19,26                0,53           3.74                 23,00

010886 RepahstoCP390136
          000 0v11/17                         89.92       sLt\4t\,t      14 00                0.00                 89.92   06/30/20               19.26                0.53           3.74                 23.00

010887    Repairs to    S00 74813


AuSH6,mdll:l3lt                                                                                                                                                                                                    Pi{o$
       Case 20-11139-1-rel                                          Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                                                       Desc Main
                                                                         Document    Page 154 of 370

                                                                                                  lnterclate Commodities, nc.                I



                                                                                                        Dryeddhn Eryenso Repoil
                                                                                                            As   olJdy3l,2020

Book= lnternal

FYE Monh = December


                 ln Svc              L$isd             P   Dopr        Ed         S.IY/168Alotv            Doeoc*tte              Bkf            ftirlpqn       Dopnddon             CmntY-ID       qmilAccm          Ksl
                                                                                          ,l79
SFNo En          Dah                 Vafue             T   Itdr        tft          Soc                          Basb             lhru           DEddht'         thh   Bun           DoF$Hion       Dspfo*|lol' co*

OLAltdArdtlo=       lflI/
          000    01/11/17                     89,92        SLI\4M      14 00                     0.00                    89.92 06/30/20                 19.26                0.53           3,74              23.00

010888 RepairstoS0074617
          000    01/11/17                    171,19        SLI\4M      14 00                     0.00                   17 1,19   0d/30/20             36,69                  1.02          7,13              43.82

010889    BepairstoS0075022
          000    01/11/17                     89,92        SLI\4M      14 00                     0.00                    89,92    06/30/20              19,26                0.53           3.74              23,00

010890    BepairsloS0074642
          000    01/11/17                    171,19        SLI\4M      14 00                     0.00                   171,19    06/30/20             36,69                  1,02          7.13              43.82

010891 Repairsros0074939
          000    01/1 1/17                   204.73        SLI\,lM     14 00                     0.00                   204.73 06/30/20                43,86                  1,21           8.52             52.38

010892 Bepairsto|NTXT4il62
          000    01/11/17                     89,92        SLMM        14 00                     0.00                    89.92    06/30/20              19.26                0.53            3,74             23.00

010893    Bepairsto |NTX75102
                                                                       '14
          000    01/11/17                     87.92        SLMI\4            00                  0,00                    87.92    06/30/20              18.84                0.52            3,66             22.50

010894    Bepairsto|NTXT4S99

          000    01/11/17                    169.19        SLMI\,l     14 00                     0,00                   169.19    06/30/20              36.27                 1,01           7.05             43,32

010895    Repairslo|NTXT5333
          000    01/11/17                    169.19        SLMI\,I     14 00                     0,00                   169,19    06/30/20              36,27                 1,01           7.05             43.32

010896    Repairsto|NTXT429l
                                             '169.19                   '14
          000    01/1 1/17                                 SLMM              00                  0,00                   169,19    06/30/20              36,27                 1,01           7,05             43.32

010897    Repairsto INTX 125119

          000    01/1 1/17                   121.34        SLMM        14 00                     0.00                   121.34    06/30/20              26.01                 0.72           5,05             31.06

010898    Repairsto INTX 125131

          000    01/1 1/17                   121.34        SLMM        14 00                     0.00                   121,34    0d30/20               26.01                 0.72           5,05             31.06

010903    Repairsto|NTX460242
          000 02124fi                        497,79        SLI\,lM     14 00                     0.00                   497.79    0d30/20              100,75                 2,96          20.74         121,49

010904    Repairs to INTX 182840

          000 0212afl                        345,53        SLI\,lM     14 00                     0,00                   345.53 06/30/20                 ao oe                 2,05          14.39             84.32

010905    Repairs to INTX 182954

          000    02128117                    345,53        sLtvtM      14 00                     0,00                   345,53    06/30/20              69,93                 2.05          14.39             84.32

010906    Repairs to INTX 74938

          000    0428117                     544,80        sLMtlt      14 00                     0,00                   544.80    06/30/20             110.27                 3.24          22.70         ter    07

010907    Repairs to INTX 74674

          000 042ufl                         463.53        sLMtlt      14 00                     0,00                   463,53    06/30/20              93.81                 2.76          19.31         1   13,12

010908    Repairs to INTX 75238

          000    0212u17                     463.53        SLMM        14 00                     0.00                   463.53    06/30/20              93,81                 2,76          19.31         1   13,12

010909 Repairsto|NTXlE4l3
          000    02128117               4,878.32           SLMM        14 00                     0.00               4,878,32      06/30/20             987,28                29.04         203.26        1,190.54

010910    Repairs ro INTX 123935

          000    0428117                4,797.05           SLI\4M      14 00                     0.00               4,797.05      06/30/20             970.84                28.55         199.87        1,170.71

010911    Repairsto INTX 18928

          000 02124fl                   4,797.05           SLI\,lM     14 00                     0,00               4,797.05      06/30/20             970.84                28.55         199.87        1,170.71

010912    Repairsto INTX 123692

          000    0428117                4,797,05           SLMM        14 00                     0.00               4,797,05      06/30/20             970.84                28,55         199,87        1,170.71

010913    Bepairsto INTX 1E688

          000    02128117               4,797,05           SLMI\4      14 00                     0.00               4,797,05      06/30/20             970,84                28,55         199,87        1,170,71

010914    Repairsto INTX 124001

          000    02128117               4,797,05           SLMII4      14 00                     0.00               4,797,05      06/30/20             970,84                28,55         199.87        1,170,71

010915    Repairsto INTX 124009

          000    02128117               4,911,86           SLMM        14 00                     0,00               4,91 1.86     06/30/20             994.07                29.24         204.66        1,198.73

0'10916   Repairs lo INTX    18969
          000    02128117               4,878,32           SLMM        14 00                     0.00               4,878.32      06/30/20             987.28                29,04         203,26        1,190.54

010917    Repairsto INTX 123727



Au$l6,md11l3At                                                                                                                                                                                                        Prgo97
         Case 20-11139-1-rel                                          Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                                             Desc Main
                                                                           Document    Page 155 of 370

                                                                                            lntedate Commodities, lnc.
                                                                                                   Deprediilion Eryense Repoil

                                                                                                       As   olJrly 31,2020

Book= lntemal

FYE ltilonh = Decemhr


                ln   Src                 A.flM           P   Dopr        Ed      SalY/168AIow          Dopr€chblo           ftir       ftbrAcqm          DoFocidon           CmntY'ID         CmntAcqn          lGy
SysNo    fu     DdB                      Vdlo            T   lldr        t.h       S€c
                                                                                        .l79
                                                                                                            Basb            Ihru       Deorchtbn          thb Run            Ihmddion         hoddion           Coe


Q,LAsetArdNo= 18f/
          000   02128117                    4,878.32         SLI\4M      14 00             0.00               4,878.32      06/30/20          987,28                29.04         203.26          1,190.54

010918   Repairs to INTX 132947
                                                                                                                                                                                   '199.87
          000 0424fl                        4,797.05         sLtltM      14 00             0,00               4,797.0s      06/30/20          970.84                28.55                         1,170.71

010919   Repairsto INTX 123920

          000 0a2aI                         4,797,05         SLMM        14 00             0,00               4,797,05      06/30/20          970.84                28.55          199,87         1,170.7   1



010920   Repairsto INTX 123719

          000 0a2aI                         4,797.05         SLMI\,l     14 00             0.00                4,797.05     06/30/20          970.84                28,55          199.87         1,170.71

010921   Bepairsto INTX 123946

          000 02124fl                       4,797.05         SLMI\,l     14 00             0.00                4,797.05     06/30/20          970,84                28.55          199.87         1,170.71

010922   Bepairs to INTX 390128

          000 042ufl                            752.82       SLMM        14 00             0.00                    752,82   06/30/20          152.35                 4.48           31,36          183.71

010923   Repairs to RRRX 460429

          000   02128117                        850.14       SLMM        14 00             0.00                    850,14 0d30/20             172,06                 5,06           35.42          207,48

010924   Repairs to INTX 182904

          000   0212u17                         370.80       sLtltM      14 00             0,00                    370.80   06/30/20           75,05                 2,21           15.45            90.50

010925   Repairs to 1NTX460230

          000 0424fl                            370.80       SLMM        14 00             0,00                    370.80   06/30/20           75.05                 2.21           15,45            90.50

010926   Repairs to INTX 38503

          000   02128117                    9,351,12         SLMI\4      14 00             0.00                9,351.12     06/30/20         1,892.50               55.66          389,63         2,282.13

010927   Repairs to INTX 38519

          000   02128117                    9,351,12     P   SLMI\4      14 00             0,00                9,35'1,12    0d30/20          1,892,50               55,66          389,63         2,282,13

010928   Repairsto INTX 64952

          000   0a2ar                       9,351,12     P   SLMM        14 00             0.00                oqql 1t 06/30/20              '1,892.50              55.66          389,63         2,282.13

010936   Empty Car Revenue Movement - CP           390n9
          000   03/06/17                        910.00   P   SLI\,lM     14 00             0,00                    910,00   06/30/20          184.17                 5.41           17   0l        222.08

010937   Bepairsto    l\4NS   3409

          000   03/17/17                        527.80 P     SLMM        14 00             0,00                    527.80   06/30/20          103.68                 3,14           21.99           125,67

010938    Repairs to CP 385430

          000   0u17/17                         457,00   P   SLMI\4      14 00             0.00                    457.00   06/30/20            89,76                2.72           19,04           108,80

010939    Repairs to CP 385337

          000   0317/'17                    3,763,30     P   SLMI\4      14 00             0.00                3,763,30     06/30/20          739.23                22.40          156.80          896.03

010940    Repairs to CP 385174

          000 0u17/17                           323,05   P   SLI\4M      14 00             0,00                    323,05   06/30/20            63.47                1.92           13.46            76,93

010941    Repairs to CP 385285

          000 0u17/17                           323.05   P   SLI\,lM     14 00             0,00                    323,05   06/30/20            63,47                 1.92          13.46            76,93

010942    Repairs to CP 385447

          000   0s/17117                        323.05   P   SLMM        14 00             0.00                    323.05   06/30/20            63.47                 1.92          13,46            76.93

010943    Repaimto CP 385307

          000   03/17n7                         336,85   P   stMt\4      14 00              0.00                   336.85   06/30/20            66.1i                2.00           14.03            80.20

010944    Repairsto INTX 74375

          000   03/17/17                        200.00   P   SLMM        14 00              0,00                   200,00   06/30/20            39,30                 1,19            8.33           47,63

010945    Bepairs to INTX 39021      1


          000 0u17/17                           200.00   P   SLI\4M      14 00              0,00                   200.00 06/30/20              39,30                 1.19            8,33           47.63

010946    Repairs to 1NTX460252

          000 0u31/17                           445.53   P   SLMM        14 00              0,00                   445.53   06/30/20            87.51                2.65            18.56          106.07

010947    Repairs to INTX 460084

          000 0331/17                           338.53   P   SLMM        14 00              0.00                   338,53   06/30/20            66,50                2,01            14.10           80.60

010948    Repairs to INTX 2135

          000 0u31/17                           406,53   P   SLMM        14 00              0,00                   406,53   06/30/20            79.87                 2.42           16,94           96,81

010949    Repahsto INTX 182739

          000   03/31/17                        440.80   P   SLMM        14 00              0.00                   440.80   06/30/20            86.60                 2.62           18.36          104,96

010950    Repairsto INTX 182943



Aulil6,2mal11:13r'il                                                                                                                                                                                            P{o$
       Case 20-11139-1-rel                                         Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                                                  Desc Main
                                                                        Document    Page 156 of 370

                                                                                                 lnterctate Commodities, lnc,
                                                                                                       Depeddion Eryenso Ropot
                                                                                                           AsolJdy3l,2020

Book= lntemal

ffiffifi=December

                ln   Srt           Aoqtiod          P   Dqr           Ed         SalY/168Ahw              Doproc!'bb         Prior      hirAciln         Dogrtddlon          CufitYlD         qmdAciln           lGy
Slst{o    Bi    Dsb                 Vduo            T   lmr          tft           Sec
                                                                                         .l79
                                                                                                             Basb            Ihru       D€pFddlon         Ihb Run            Doprocldion      Deilec*dion        Code



GllAssetAdtlo= 18Il
          000 0u31/17                      394.53   P   SLMM          14 00                     0,00                394.53 06/30/20             77.50                 2.34            16,43              93,93

010951    Repairs to INTX 182970

          000   03/31/17               1,671.90     P   SLMM          14 00                     0,00            1,671.90     06/30/20          328,41                 9.95            69,66         398.07

010952    Repairsto|NTX385399

          000 0u31/17                  2,071.24     P   SLMM          14 00                     0.00            2,071.24     06/30/20          406,86               12,33             86,30         493.16

010953    Repairsto|NTX385281

          000   00/31/17               2j52.51      P   SLMI\4        14 00                     0.00            2,152.51     06/30/20          422.81               12,81             89.68         512,49

010954    Repahsro INTX 182993

          000 0u31/17                      636.80   P   SLMI\4        14 00                     0.00                636.80 06/30/20            125.10                 3,79            26.53         151,63

010955    Repairsto |NTX460317

          000   03/31/17                   555,53   P   sLt\4t\4      14 00                     0,00                555.53 06/30/20            109.12                 3.30            23,14         132,26

010956    Repairsto|NTX460201

          000   03/31/17               1,232,58     P   SLI\4M        14 00                     0,00            1,232,58     06/30/20          242,11                 7.33            51,35         293.46

010957    RepaimtoCP390144

          000   03/31/17                   226.87 P     SLI\4M        14 00                     0.00                226.87   06/30/20            44.57                1,35             9.45              54.02

010958    Repairsto|NTX59lTl
          000   00/31/17              16,019,00     P   SLMM          14 00                     0,00           16,019.00     06/30/20        3,146.60               95,35            667,46        3,814,06

010959    Repairsto INTX 123993

          000   03/31/17              18,M6.74      P   SLMM          14 00                     0.00           18,M6.74      06/30/20         3,544.89           107.42              751.94        4,296,83

010960    Repairsto|NTX699SS

          000 0381n7                                                  '14                                                                                                            557.20
                                      13,372.80     P   SLMM                00                  0.00           13,372.80     06/30/20         2,626,81              79.60                          3,184.01

01096't   RepairstoCP385420

          000   03/31/17               1,162.56     P   SLMI\4        14 00                     0,00            1,162,56     06/30/20          228,36                 6,92            48.44         276.80

010962    Repairs to CP 385488

          000   03/31/17               1,578,45     P   SLMI\4        14 00                     0,00            1,578,45     06/30/20          310.06                 9,40            65.77         375,83

010963    RepairstoCP390221

          000   03/31/17                   142,95   P   SLMM          14 00                     0.00                142.95   06/30/20            28.08                0,85             5,95              34,03

010965    Repairsto |NTX2139

          000   04/30/17                   363,39   P   SLI\4M        10 00                     0.00                363,39 06/30/20              96,91                3.02            21,19          1   18.10

010966    Repairsto INTX 182819

          000   04/30/17                   890.59   P   SLMM          10 00                     0.00                890.59 06/30/20             237.49                7.42            51.95          289.44

010967    Repahsto |NTX460218

          000 04n0n7                       403.99   P   SLMM          10 00                     0,00                403.99 06/30/20             107.73                3,36            23.56          131.29

010968    Repairsto INTX 182975

          000   04/30/17                   389.59   P   SLMM          10 00                     0,00                389.59 06/30/20             103,89                3,24            22.72          126,61

0'10969   Bepairsto INTX 460209

          000   04/30/17                   308.39   P   SLMI\4        10 00                     0.00                308,39 06/30/20              82.25                2.57            17.99          100,24

010970    Repairsto|NTX460319

          000   04/30/17                   308,39   P   SLI\4M        10 00                     0.00                308,39 06/30/20              82.25                2.57            17.99          100.24

010971    Repairsto|NTX460277

          000 0480n7                       308,39   P   SLI\4M        10 00                     0.00                308.39 06/30/20              82.25                tR7             17.99          100.24

010972    Repairsto|NTX460359

          000   04/30/17                   308.39   P   SLMM          10 00                     0,00                308.39 06/30/20              82,25                2.57            17,99          100,24

010973    Repairs lo INTX 182965

          000   04/30/17                   308.39   P   SLMM          10 00                     0,00                308,39 06/30/20              82,25                2.57            17.99          100,24

010974    Repairsto|NTX460335

          000   04/30/17                   308.39   P   SLMI\4        10 00                     0,00                308,39 06/30/20              82,25                2.57            17.99          100.24

010975    Repairsto INTX 182921

          000   04/30/17                   765.85   P   SLMM          10 00                     0.00                765.85 0d30/20              204.24                6,38            44.67          248.91

010976 Repai6to|NTX460lll
          000   04/30/17                   464,59   P   SLI\.,lM      10 00                     0,00                464.59 06/30/20             123,89                3,8i            27.10          150,99

010977    Repairsto|NTX460250



tuSlr6,md1fiSfi                                                                                                                                                                                                  PrCo$
               Case 20-11139-1-rel                                       Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                                                   Desc Main
                                                                              Document    Page 157 of 370

                                                                                                    lntentate Commodities, lnc.
                                                                                                          Depnddhn Enenso B€poil
                                                                                                             As ol Jrly 31, 2tr20


Book= Intemal

FYE       lbtth   = December


                     lnS'n                 &qrM            P   DEr          Est     Selv/l68Alow             Doprochbb        hix        PrixActrm              Dqrocidion           CmdY-ID          futtiiAccrm            lGy
SlsNo          H     Dah                   VNho            T   iloh        Uo         Soc
                                                                                            .l79
                                                                                                                              Ihru       Demdahn                 ThbRun              Doprscl[ion       Dmc&uhr               co&


Gil-AacArdNo=           1&17

               000   04/30/17                     383,39       SLilIM       10 00                  0,00             383.39 06/30/20             102.24                        3,19            22,36          124.60

010978         Repairsto INTX46019'1

               000   04/30/17                     464,59       SLI\,lM      10 00                  0.00             464.59    06/30/20          123.89                        3.87            27.10          150,99

010979         Repairs lo INTX 182837

               000   04/30/17                     383,39       SLMM         10 00                  0.00             383.39    06/30/20          102,24                        3.19            22.36          124,60

010980         Repairsto INTX 182941

               000   04/30/17                     492,39       SLMM         10 00                  0.00             492,39 06/30/20             131.31                        4.10            28.72          160,03

010981         Bepairsto INTX 460269

               000   04/30/17                     455,19       SLMM         10 00                  0.00             455,19 06/30/20             121.39                        3.79            26,55           147.94

010982         Repairsto INTX 460355

               000   04/30/17                     333,39       StMM         10 00                  0.00             333,39 06/30/20                  88.91                    2,77            19,44          108.35

010983         Repairsto INTX 182858

               000   04/30/17                 1,336,02         SLI\,lM      10 00                  0.00            1,336.02   06/30/20          356.27                    1   1,13            77,93          434.20

010984         Repairsto INTX 182997

               000   04/30/17                     333,39                    10 00                                                                                                                            '108,35
                                                               SLMM                                0,00             333,39 06/30/20                  88,91                    2.77            19,44

010985         Repairs to INTX 182805

               000   04/30/17                     407,39       SLMM         10 00                  0,00             407.39 06/30/20              108.64                       3.39            23.76           132,40

010986         Repairsto INTX 460336

               000   04/30/17                     407,39       SLMM         10 00                  0,00             407,39 0d30/20               108.64                       3.39            23.76           132,40

010987         Repairsto INTX 2133

               000   04/30/17                     345,39       SLMM         10 00                  0.00             345.39    06/30/20               92.1   1                 2.87            20,14           112.25

010988         Repairs to INTX 182988

               000   04/30/17                     426.59       SLMI\4       10 00                  0.00              426.59   06/30/20           1   13.76                    3,55            24,88           138.64

010989         Repairs to INTX 182873

               000   04/30/17                     426.59                    10 00                  0.00                       06/30/20           '113,76
                                                               SLMI\4                                               426.59                                                    3,55            24.88           138.64

010990         Repairs to INTX 182763

               000   04/30/17                     629.44       SLMI\4       10 00                  0.00              629.44   06/30/20           167,84                       5,24            36.71          204,55

010991         Repairsto INTX 2145

               000   04/30/17                     436.39       SLMI\,l      10 00                  0.00             436,39 06/30/20              I 16,37                      3.63            25.45           141.82

010992         Repairs to INTX 460139

               000   04/30/17                 1,448$2          SLMI/|       10 00                  0.00            1,448.62   06/30/20          386.30                    12.07               84,50          470,80

010993         Repairs to INTX 182957

               000   04/30/17                     370.39       sLMtvt       10 00                  0,00             370.39 06/30/20                  98.77                    3.08            21,60           120.37

010994         Repairsto INTX 182917

               000   04/30/17                     451.59       SLMM         10 00                  0,00             451.59 0il30/20              120.43                       3,76            26.34           146.77

010995         Repairsto INTX 2127

               000   04/30/17                     774.59   P   SLMM         10 00                  0,00             774.59    06/30/20          206,56                        6.45            45.18           251.74

010996         Repairsto INTX 182834

               000   04/30/17                 1,241.80 P       SLMM         10 00                  0.00            1,241,80   06/30/20          331.15                    10.34               72.43          403,58

010997         Hepahs to CP 390030

               000   04/30/17                 2,901.57 P       SLI\4M       10 00                  0.00            2,901.57   06/30/20          773.77                    24.18              169,26           943,03

0   1   1002   Empty Car Revenue Movements

               000   05/31/17               124,516.84 P       SLI\4M       15 00                  0.00          124,516,84   06/30/20        21,444.56                 691.76             4,842,32        26,286,88

011003         l0l Car Repairs
               000   05/31/17               258,794.99 P       SLI\,lM      15 00                  0.00          258,794,99 06/30/20          44,570.26                1,437.75           10,064.25        54,634.51

01't004        Re-Stencil & Tag Railcars

               000   05124117                 7,275,00 P       SLMM         10 00                  0,00            7,275.00   06/30/20         1,879,38                   60,62              424.37         2,3m.75

011005         Empty Revenue Movement      -CP 16589

               000   05/3v17                      983.00   P   SLMM         10 00                  0,00              983.00 06/30/20             253,94                       8,19            57.34           31 1.28

011006         Empty Revenue Movement -     S00 74310
               000   05/31/17                     983,00   P   SLMI\,I      10 00                  0.00              983.00 06/30/20             253.94                       8.19            57,34           3   1   1,28

01 1007        Empty Revenue Movement -CP 385292



A!f,!r6,mdlfi3lt                                                                                                                                                                                                             Pr|o1()0
                   Case 20-11139-1-rel                                    Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                              Desc Main
                                                                               Document    Page 158 of 370

                                                                                                 lntentate Commodities, nc.
                                                                                                                          I



                                                                                                   Depeddion Epense Report

                                                                                                        AsolJdy3l,202t

Book = lntemal

FYE Jtlotth = December


                         lnS:rc           L{riod                   P   DEt Est                        PrU
                                                                                          Saly/1684ftr D€FoclrHo              PrirAcqm Dstgciafon e,mntY'ID q,miiAccm Koy
S]ltlo Eil Ddo                             Valuo                   T   llkft tlo           Soc179 Ba$ Ihru                    Demddbn lhbRun l)omclnion Deoec*ulon CoS

OLAsdArdNo=                lflI/
                   000   05n1n7                      983,00        P sLMt\4     10   00         0.00         983.00    06/30/20   253.94      8,19     57,34      311,28

011008             Emply Revenue luovement-S00 125042

                   000   05/31/17                    983,00        P SLI\41\4   10   00         0.00         983.00    06/30/20   253.94      8.19     57.34      311.28

01    1009         Empty Revenue l\4ovement -     S00 74458
                   000   05/31/17                       983,00     P SLI\4M     10   00         0.00         983.00    06/30/20   253.94      8.19     57.34      311.28

01    1010         Empty Revenue l\4ovement -CP 385177

                   000   05/31/17                       983,00     P SL|\4M     10   00         0.00         983.00    06/30/20   253,94      8.19     57,34      311.28

01'101         1   Empty Revenue l\4ovement -CP 385187

                   000   0y31/17                        983.00     P SLI\4M     10   00         0,00         983,00    06/30/20   253,94      8,19     57,34      311,28

0   1 1   01   2   Empty Revenue lMovement - UP 71 Cars

                   000   0t31/17                   95,862.00       P SLMM       10   00         0,00       95,862.00   06/30/20 24,764.35 798,85 5,591,95       30,356,30

01    1013         Empty Revenue Movement - CP 390128

                   000   0y1217                         937.00     P SLMM       10   00         0,00         937.00    06/30/20   249.87      7,80     54.65      304.52

01    1014         Empty Revenue Movement - CP 390360

                   000   05112117                       910,00     P SLMM       10   00          0.00        910.00    06/30/20   242.67      7.58     53,08       295.75

01    1015         Empty Revenue Movement -       S00 75060
                   000   0t1217                         910,00     P sLMl\4     10   00          0.00        910.00    06/30/20   242,67      7.58     53,08       295,75

01    1016         Empty Revenue Movement -       S00 74656
                   000   0t1217                         910,00     P sLMl\4     10   00          0.00        910.00    06/30/20   242.67      7,58     53.08       295,75

0'1   1017         Empty Revenue   Movement-S00 74558
                   000   0ilu17                         910,00     P sLl\4M     10   00          0,00        910,00    06/30/20   242.67      7.58     53.08       295.75

01    1018         Empty Bevenue   Movement-S00 74762
                   000   091217                         910.00     P sLl\4M     10   00          0,00        910.00    06/30/20   242,67      7.58     53.08       295.75

0   1 1   0   19   Empty Bevenue Movement -       S00 75096
                   000   05/1217                        910.00     P sLl\4M     10   00          0,00        910.00    06/30/20   242,67      7,58     53,08       295,75

0   1 1   020      Empty Revenue Movement -       S00   751   75

                   000   05/1217                        910.00     P SLMM       10   00          0.00        910,00    06i30/20   242.67      7,58     53,08       295,75

01    1021         Emply Revenue l\4ovement   -   S00 74806
                   000   05/'t217                       910.00     P SLMM       10   00          0.00        910,00    06/30/20   242.67      7.58     53.08       295.75

011022             Empty Revenue Movement -       S00 75221
                   000   0t10/'t7                       983,00     P sLMt\,4    10   00          0.00        983,00    06/30/20   262.13      8.19     57,34       319.47

0   1 1   023      Empty Revenue Movemenl -       S00 74950
                   000   05/10/17                       983,00     P SLMI\4     10   00          0,00        983.00    06/30/20   262,13      8,19      57,34      319,47

01    1024         Empty Revenue Movement - CP 390099

                   000   05/10/17                       983,00     P SLMIII     t0   00          0,00        983.00    06/30/20   262.13      8,19      57.34      319,47

01    1025         Empty Revenue Movement-CP 390184

                   000   0t'10/17                       983,00     P sLt\4M     10   00          0,00        983.00    06/30/20   262.13      8.r9      57.34      319,47

01    1026         Empty Revenue Movement-CP 385460

                   000   0y10/17                        983,00     P   sltltM   10   00          0.00        983,00    06/30/20   262.13      8.19      s734       319.47

011027             Empty Revenue   Movemeni-S00 74500
                   000   0t10/17                        983.00     P SLMM       10   00          0.00        983.00    06/30/20   262j3       8,19      57,34      319.47

011028             Empty Revenue Movement -       S00 74994
                   000   0910/17                        983.00     P SLMM       10   00          0,00        983.00    06/30/20   262.13      8.19      57.34      319,47

01    1029         Emply Revenue Movement - S0074251

                   000   0908/17                        983.00     P sLMl\4     10   00          0,00        983.00    06/30/20   262.13      8.19      57.34      319.47

01    1030         Emply Revenue l\4ovemenl   -   S00 74250
                   000   05/08n7                        983,00     P sLMt\4     10   00          0,00        983,00    06/30/20   262,13      8.19      57,34      319.47

011031             Emply Revenue l\4ovement   - CP   385458

                   000   05/08/17                       983,00     P SLMM       10   00          0.00        983.00    06/30/20   262j3       8,19      57.34      319.47

011032             Empty Revenue   Movement-S00 74933
                   000   0t08/17                        983,00     P sLl\4M     10   00          0,00        983.00    06/30/20   262.13      8.19      51.34      319,47

0'1   1033         Empty Revenue   Movement-S00 74207


Augd6,2mdll:13tril                                                                                                                                                          Pr$   10'|
               Case 20-11139-1-rel                                          Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                                               Desc Main
                                                                                 Document    Page 159 of 370

                                                                                                       lntedate Commodities, lnc.
                                                                                                             Deprc<*ailion Erysnse Repoil

                                                                                                                 As   olJrly 31,2020

Book = Intemal

FYE       lilmh   = December


                        lnSrc          Ac$iod                  P   Dst         Ed         Selv/168Ahw            Dspchbb              Prir       HirAcqm        Dqrocidion          C/mrlY'ID         CtmnlAcdrn        lcv
StlNo          E)d DS                      Valw                T   Itdr        tft          Soc 179                   Balb            Ihru       Demdoion        IhhRun             Ihp.oc*dion       DemOafn           Codo



GllAasdArd          No = 1801

               000      05/08/17                  983.00       P   SLMM        10 00                  0.00                   983.00 06/30/20           262.13             8.19               57.34            319,47

01 1034        Empty Revenue Movement -CP 385262

               000      05/09/17                  850.90 P         SLMM        10 00                  0,00                   850.90 06/30/20           226.91             i.09               49.63            276.54

011035         Empg Revenue luovement -CP 385370

               000      05/09/17                  835,54 P         SLMI\4
                                                                               't0 00                 0,00                   835.54 06/30/20           222.80             6,96               48,73            271.53

01 1036        Empty Revenue lMovement -CP 385407

               000      0t09/17                  2,233,11 P        sLMtll      10 00                  0,00               2,233.11     06/30/20         595,49             18,61             130.26            725,75

01 1037        Empty Revenue l\rlovement   - CP   385325

               000      0t09/17                   333,54       P   SLMI\I
                                                                               '10 00                 0.00                   333,54 06/30/20            88,94              2.78              19,45            108,39

01 1038        Empty Revenue Movement -        S00 74546
               000      05/09/17                  333,54       P   SLI\4M      10 00                  0.00                   333,54   06/30/20          88.94              2.78              19.45            108,39

01'1039        Empty Revenue Movement      -   S00 74614
               000      0909/17                   333.54       P   SLI\4M      t0    00               0.00                   333.54   06/30/20          88.94              2,78              19,45            108.39

01 1040        Empty Revenue Movement -CP 385345

               000      05/09/17                 2,201.55 P        SLMM        10 00                  0,00               2,201,55     06/30/20         587.09             18,34             128,42            715.51

011041         Empty Revenue Movement      -   S00 75'141
               000      05/09/17                     70.80     P   SLMM        10 00                  0,00                    70,80   06/30/20          18,88              0.59               4.13             23,01

0   1   1042   Empty Revenue Movement      -   S00 74896
               000      0t09/17                      70.80     P   SLMI\4      10 00                  0,00                    70,80 06i30/20            18.88              0.59               4,13             23.01

01 1043        Empty Revenue Movement      -   S00 74563
                000     05/09/17                     70,80     P   SLMI\4      10 00                  0.00                    70.80   06/30/20          18.88              0,59               4. tJ            23.01

01 1044        Empty Revenue l\4ovemenl    - CP 385441

                000     0t09/17                      70,80     P   SLMM        10 00                  0.00                    70.80   06/30/20          18,88              0,59               4.13             23.01

01 1045        Empty Revenue l\4ovement    -   S00 74784
                000     0909/17                    185.05 P        SLI\4M      t0    00               0.00                   185.05   06/30/20          49,36              1.54              10.79             60,'15

0 1 1046       Empty Revenue l\4ovement    -   S00 75058
                000     05/09/17                  323,05       P   SLIilM      10 00                  0,00                   323,05   06/30/20          86.16              2.69              18,84            105.00

01 1047        Empty Revenue Movement -CP 390212

                000     0t09/17                    185.05 P        SLMM        10 00                  0,00                   185.05   06/30/20          49.36                1,54            10,79             60.15

01 1048        Empty Revenue Movement      -   S00 74713
                000     05/09/17                   185.05 P        SLMI\4      10 00                  0.00                   185.05   06/30/20          49,36                1.54            10.79             60,15

01 1049        Empty Revenue Movement      -   S00 74223
                000     05/09/17                   983.00      P   SLMM        10 00                  0.00                   983.00 06/30/20           262.13              8.19              i/,J4            319,47

01 1050        Empty Revenue Movement      - CP   38535i
                000     05/09/17                   983,00      P   SLMM        10 00                  0,00                   983,00 0d30/20            262.13              8.19              57,34            319.47

01 1051         Empty Revenue Movement - CP 390159

                000     05/09/17                   983,00      P   SLI\4M      10 00                  0,00                   983,00   0d30/20          262.13              8,19              57.34            319.47

011052          Empty Revenue l\4ovement   - CP   390146

                000     05/09/17                   983,00 P        SLMM        10 00                  0.00                   983.00   06/30/20         262,13              8.19              5i.34            319,47

011053          Empty Bevenue Movement     -   S00 74505
                000     0$09/17                    983.00 P        sLMtlt      10 00                  0.00                   983.00 06/30/20           262.13              8.19              c/,J4            319,47

01      1054    Empty Revenue Movement ' S00 7431          1


                000     05/09/17                   983.00 P        SLMI/|      10 00                  0,00                   983,00 06/30/20           262.13              8,19              57,34            319.47

01 1055         Empty Revenue Movement     -   CP 390318

                000     05/09/1i                   983.00      P   SLMM        l0    00               0,00                   983.00   06/30/20         262,13              8,19              57.34            319.47

0   1   1056    Empty Revenue Movement     -   S00   125059

                  000   0t09/17                    983,00      P   SLI\,lM     10 00                  0.00                   983.00   06/30/20         262,13                8.19            57.34            319,47

01 1057         Empty Revenue l\4ovement - CP 385496

                  000   0t09/17                    983,00      P   SLMM        10 00                  0.00                   983.00 06/30/20           262.13                8.19            57.34            319.47

011058          Emply Revenue l\4ovement   - CP   390196

                  000   0909/17                    983.00 P        SLMI\,I     10 00                  0.00                   983.00 06/30/20           262.13                8,19            57.34            319.47

011059          Empty Bevenue Movement     -   S00 74350


                                                                                                                                                                                                                        Pqo   102

^utsi6,!20d1ffirfl
           Case 20-11139-1-rel                                          Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                                                Desc Main
                                                                             Document    Page 160 of 370

                                                                                                  lnterctate Commodities, lnc.
                                                                                                        Deprec*{ion Eryenso R€port

                                                                                                            As ol Jtty 31 , 2020


Book= lntemal

ffi1ffi1=December

                     lnSrc              Acq'iod           P   D€F          Ed        SalY/168Ahil           Dop$hbb            hir        ftirAcqn           Doptocmon           CumtY'ID         Gn€ntAmun lGy
S}sNo En             Ddo                 Valuo            T Ll€tr         tft          Sec 179                B$b              Ihru       DEEddbn             IhbRun             DoprocHort       D€pecHbn Co*

OLAssetlcciNo=          lflI/
               000   05/09/17                    983,00   P   SLMI\4       10 00                 0,00               983.00     06/30/20         262,13                 8.19              57.34         319.4i
01   1   060   Empty Revenue Movement    -   S00 74324
               000   0t09/17                     983,00   P   stMt\4       10 00                 0,00               983.00 06/30/20             262,13                 8,19              57,34         319,47

01   1061      Empty Revenue Movement    - CP   390078

               000   05/09/17                    983,00   P   sLMtlt       10 00                 0.00               983.00 06/30/20             262.13                 8.19              57.34         319.47

011062         Repairsto|NTXT43l0
               000   05/31/17                    356,35   P   SLMM         10 00                 0.00               356,35     0d30/20           92,08                 2.97              20.79          112.87

011063         Repairsto INTX 743199

               000   05/31/17                    467,55   P   SLMM         10 00                 0.00               467,55 06/30/20             120.79                 3.89              27.27         148.06

011064         Repairsto|NTXT4354

               000   05/31/17                    433,35   P   SLMM         '10 00                0.00               433.35 06/30/20             1 1   1,96             3,61              25,28          137,24

01   1065      Repairsto INTX 390077

               000   0y31/17                     514,55 P     SLMM         10 00                 0,00               514.55     06/30/20         132.94                 4,28              30,01         162,95

011066         BepairstoINTX385105

               000   05/31/17                    625.95 P     SLMM         10 00                 0,00               625.95     06/30/20         161.71                 5,21              36.51          198,22

011067         Repairsto|NTX385469

               000   0t31/17                     433.35   P   SLI\,lM      10 00                 0,00               433.35     06/30/20         1'11,96                J.b   I           25.28          137.24

011068         Repairsto|NTX390338

               000   0t31/17                     503.35   P   SLMM         t0   00               0.00               503.35 06/30/20             130,04                 4.19              29,36          159.40

011069         Repairsto|NTXT4S32

               000   0131/17                     433.35   P   SLMI\4       10 00                 0.00               433,35     06/30/20         1 1   1,96             3,61              25,28          137.24

011070         Repairsto INTX390245

               000   05/31/17                    614.79   P   SLMI\4       10 00                 0.00               614.79     06/30/20         158.82                 5,12              35,86          '194,68

011071         Repairsto|NTX390116

               000   0#3't/17                    559,81   P   SLMM         10 00                 0.00               559.81     06/30/20         144.62                 4,66              32.65          177.27

0110i2         Repairs to INTX 390041

               000   05/31/17                    514,55   P   SLMM         10 00                 0,00               514.55 06/30/20             132,94                 4.28              30,01          162.95

01   1073      Repairs to INTX 125036

               000   05/31/17                    536,95   P   SLMM         10 00                 0,00               ElA   OF
                                                                                                                               06/30/20         138,72                 4.47              31.32          170,04

011074         Repairsto|NTX390034

               000   0131/17                    1,731,59 P    sLtltM       10 00                 0.00             1,731.59     06/30/20         447.34                 14.43             101,01        548,35

011075         Repairsto|NTXT4S2l
               000   05/31/17                    514,55   P   SLI\4M       10 00                 0.00               514.55     06/30/20         132.94                 4,28              30.01          162.95

011076         Repairsto|NTX390148

               000   05/31/17                    433,35   P   SLI/lM       10 00                 0.00               433.35     06/30/20         11    1,96             3.61               25,28         137.24

011077         Repairsto|NTXT43l4
               000   05/31/17                    629.81   P   SLMI\4       10 00                 0,00               629.81     06/30/20         162,70                   5.24             36.73         199,43

011078         Repairsto INTX 125125

               000   0t31/17                     514.55   P   sLMM         10 00                 0,00               514,55 06/30/20             132,94                   4,28             30.01         162,95

011079         Repahslo|NTXT4395

               000   05/31/17                    514.55   P   SLMM         10 00                 0.00               514,55 06/30/20             132.94                   4,28             30.01         162,95

011080         Repairsto|NTXTS23S

               000   0931/17                     433.35   P   SLMM         10 00                 0.00               433.35     06/30/20         1 1   1,96               3.61             25,28         137.24

011081         RepairstoINTX390l86
               000   0t31/17                     433,35   P   SLMM         10 00                 0.00               433.35     06/30/20         1 1   1,96               3,61             25.28         137.24

011082         Repairs to INTX 385286

               000   0t31/17                     433,35 P     SLI\4M       10 00                 0,00               433,35     0d30/20          111.96                   3,61             25.28         137.24

011083         Repairsto INTX 75027

               000    05n1n7                     559,8r   P   SLMM         10 00                 0,00               559.81     06i30/20         144.62                   4.66             32,65         177,27

011084         Bepairsto INTX 125133

               000    05/31/17                   514.55   P   SLMM         10 00                 0,00               514.55     06/30/20         132,94                   4.28             30.01         162.95

01'1085        Repairsto|NTXTS0T9



A$!16,2040d          1l{3lt                                                                                                                                                                                       Prge   iln
               Case 20-11139-1-rel                                          Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                                                    Desc Main
                                                                                 Document    Page 161 of 370

                                                                                                        lntemtate Commodities, lnc,
                                                                                                             Deprccialion Epenso Ropoil

                                                                                                                 As   olJdy3l,2020

Book = lntemal

FYE          ilong   = December


                        lnS'rc             tu$M              P   DEr          Esil        &lv/l68Ahrt            Derschbb          Rix        nirlc.m              D€prociefutt          Cm{nY'ID        Cu€nlAcan      lGy
qsilo             H     Ddo                Vduo              T   lilotr       tft           Soc 179                                thru       D€prsddlort           Ihb Bun              Doproc*mrt      Doprecidon     C,o&



OLArsdArdtlo=              lflI/
                  000   05/31/17                  433.35         sLMtlt        10 00                  0.00               433,35 0d30/20               1 1   1,96                  3,61           25,28         137.24

01   1086         Repairs to INTX 74862

                  000   05/31/17                  EEO   EI       SLMI\.,|      10 00                  0,00               559,81    06/30/20           144.62                      4,66           32.65         177.27

01   1087         Repairs to INTX 385200

                  000   05/3't/17                 514.55         SLMI\I        10 00                  0,00               514,55 06/30/20              132.94                      4,28           30.01        162,95

01   1088         Repairs ro INTX 743551

                  000   0131/17                   588.40         SLMI\,I       10 00                  0,00               588,40 06/30/20              152.00                      4.90           JC.JI        186.32

011089            Repairsto|NTX385171

                  000   05/31/17                  462.55         s|\4M         10 00                  0,00               462,55 06/30/20              1   19.50                   3.85           26,98         146.48

011090            RepahstoINTX390196

                  000   0131/17                   392.55         SLI\4M        10 00                  0,00               392.55 06/30/20              101.42                      3,27           22,90         124.32

011091            Repahsto|NTXT4505

                  000 0t31/17                     381.35         SLI\4M        10 00                  0.00               381.35 06/30/20                  98,53                   3,17           22.24         120,77

011092            RepairstoINTX2l2S0
                  000   0131/17                   381,35         SLI\,lM       10 00                  0,00               381.35 06/30/20                  98,53                   3.17           22,24         120,77

01   1093         Repahs to |NTX 390146

                  000   05/31/17                  462,55                       10 00                  0.00                                            '119.50
                                                                 SLI\,lM                                                 462,55 0d30/20                                           3.85           26.98         146,48

011094            Repairsto|NTXT4260

                  000 0t31/17                     479,10         SLI\,lM       10 00                  0.00               479,10 0680/20               123.77                      100            27,94         151.71

011095            Repairsto|NTX390078

                  000   05/31/17                  595,55         SLMM          10 00                  0.00               595,55 0d30/20               153.86                      4,96           34.74         188.60

011096            Repairsto|NTX390159

                  000 0t3l/17                     381,35         SLMM          10 00                  0.00               381,35    06/30/20               98.53                   3,17           22.24         120.77

011097            Repairsto |NTX74245

                  000   0y31/'17                  462,55         SLMM          10 00                  0.00               462.55 06/30/20              1   19,50                   3.85           26.98         146,48

011098            Repairsto|NTXT43ll
                  000   05/31/17                  462,55         SLMM          10 00                  0,00               462.55 06/30/20              1   19,50                   3.85           26.98         146,48

01   1099         Repairsto INTX 385496

                  000 0t31/17                     381,35         SLMI\4        10 00                  0,00               381.35 06/30/20                  98.53                   3.17           22,24         120.77

011100            Repairsto|NTXT4223

                  000 0t31/17                     462,55         SLMI\4        10 00                  0,00               462.55    06/30/20           1   19.50                   3,85           26,98         146.48

011101            RepairstoINTXl25'126

                  000 0t31/17                     356.35         SLMI/l        10 00                  0.00               356,35    06/30/20               92,08                   2,97           20.79         112.87

011      102      Repairs to INTX 74250

                  000   05/31/17                  356.35         SLMM          10 00                  0.00               356.35 06/30/20                  92,08                   2.97           20.79         112,87

011103            Repaim to INTX 385460

                  000   05/31/17                  356.35         SLI\4M        10 00                  0.00               356.35 06/30/20                  92.08                   2.97           20,79         112,87

01   1   104      Repahs to INTX 385177

                  000 0t31/17                     398.84         SLIlIM        10 00                  0,00               398.84 06/30/20              103.03                      3,32           23,26         126.29

011105            Repairsto|NTXT420T

                  000   05/31/17                  437,55         sLt\,,tM      10 00                  0,00               437,55 06/30/20              1   13,04                   3.64           25.52         138.56

011106            Repairsto|NTXT522l
                                                                               '10                                                                    '133,66
                  000   05/31/17                  517,35         SLMM                00               0,00               517,35 06/30/20                                          4,31           30,18         163.84

01   1   107      Repaits to INTX 74933

                  000 0t31/17                     792,69         SLMM          10 00                  0.00               792.69 06/30/20              204.78                      6.61           46,24         251,02

01   1108         Repairsto INTX 390099

                  000 0s31/17                     771,15         SLMI\4        l0    00               0.00               771.15 06/30/20              199.22                      6.42           44,98         244.20

011109            Repairsto|NTX390184

                  000   05/31117              1,005.95           sLMtlt        10 00                  0,00              1,005,95   06/30/20           259.88                      8,38           58.68         318,56

01 I I       10   Repairsto INTX 385458

                  000   05/31/17                  385.86         SLMM          10 00                  0,00               385,86 06/30/20                  99,69                   3.22           22.51         122.20

01'l     1   11   Repairsto INTX 74i)371



tugll6,md1fi3lt                                                                                                                                                                                                         PrF 10{
               Case 20-11139-1-rel                                             Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                                                    Desc Main
                                                                                    Document    Page 162 of 370

                                                                                                         lnteHate Commodities, nc,              I



                                                                                                               Depeddhn E4ense Repod
                                                                                                                  AsolJrly3l,2020

Book = lnternal

ffi          Mmh = December


                        lnSrr                Ac$iod           P   DEr            Ei         Selv/168Alow          Dopci'bb           Prix           P   irrAcdrn         DEscidon            CmntY'ID        Cur€nlAcdrn    l(ry
SrBNo             tr    Dds                   VdE             T   tldr           th           Soc 179               Bosb             IhN            Deprcitmn             Ihh   Run          Ihmckdirn       Dmffin         Co&


GllAssetAdNo=ldl'
                  000   05/31/17                    437.55        SLMM            10 00                 0.00               437.55 06/30/20                   1   13.04                3,64          25.52          138.56

011112            RepairstoINTXT4500

                  000 0t31/17                       437.55        SLMM            10 00                 0.00               437,55 06/30/20                   1   13,04                3.64          25,52          138,56

01   1 1     13   Bepairsto INTX 74994

                  000   05/31/17                    356,35        SLMM            10 00                 0,00               356,35 06/30/20                       92,08                2.97          20.79          112.87

01 I     1   14   Repairs to INTX 74950

                  000   05/31/17                    852,35        SLMM            10 00                 0.00               852,35 06/30/20                   220.20                   7.10          49.72          269,92

01   1 1     15   Repairs lo INTX 385100

                  000   0931/17                                                  '10 00
                                                 1,153,78         SLMM                                  0,00           1,153.78      06/30/20                298,06                   9.61          67.30          365,36
011116 Repairsto|NTXT425l
                  000   05/31/17                    437,55        SLI\4M         10 00                  0,00               437,55 06/30/20                   1   13,04                3.64          25.52          138,56

011117 RepaimtoS00                  125118

                  000   05/31/17                    306,29        SLMM           10 00                  0.00               306,29 06/30/20                       79,13                2.55
                                                                                                                                                                                                    '17,86
                                                                                                                                                                                                                    96,99

011118            RepairstoCP390269

                  000 0t31/17                       306,29        SLI\4M         10 00                  0,00               306,29 06/30/20                       79,13                2.55          17,86           96,99

011119 RepairstoS0074219
                  000   05/31/17                    387,49        SLI\4M         10 00                  0,00               387,49 06/30/20                   100,10                   3,23          22,60          122,70

01   1   120      Repairsto S00 74427

                  000 0t31/17                       306.29        SLI\4M         10 00                  0,00               306,29 06/30/20                       79,13                              17,86           96,99
                                                                                                                                                                                      'EE
011121            RepairstoS0074299
                  000   05/31/17                    51 1.25       SLI\4M         10 00                  0.00               51 1,25   0d30/20                 132.08                   4.26          29,82          161,90

011122            Repairsto S00 74530

                  000   05/31/17                    306.29                       '10 00
                                                                  SLI\4M                                0,00               306,29 06/30/20                       79,13                2,55          17,86           96,99

011123            BepairstoS0074160
                  000 0t31/17                       306.29        SLI\4M         10 00                  0,00               306,29 06/30/20                       79.13                2,55          17,86           96,99

011124 BepairstoS007448/
                  000   05/31/17                    387.49        SLI\4M         10 00                  0,00               387,49 06/30/20                   100.10                   J,IJ          22.60          122.70

011125 RepairstoS00                 125137

                  000   05/3'1/17                   306.29        sLt\4tlt       10 00                  0.00               306,29 06/30/20                       79.13                2.5s          17.86           96.99

011126            RepairstoINTX 182811

                  000   05/31/17                                                 '10
                                                    424.29        SLI\4M               00               0.00               424,29    0d30/20                 109.61                   3,54          24.75          134.36

011127            Repairs to INTX 182817

                  000   05/31/17                    446.29        sLt\4t\.,|     10 00                  0.00               446,29    06/30/20                1   15.29                3,72          26.03          141.32

011128            Repairsto|NTX182922

                  000   05/31/17                    527.49        SLI\4M         10 00                  0.00               527.49    06/30/20                136,27                   4,40          30.77          167,04

01   1'129        Repairs lo INTX 182968

                  000   05/31/17                    418.29        sLt\4tlt       10 00                  0.00               418.29 06/30/20                   108,06                   3.49          24.40          132.46

011130            RepairstoINTX390124

                  000   0131/17                     405.49        SLI\4i/l       10 00                  0.00               405.49 06/30/20                   104,75                   3.38          23.65          128.40

01   1   131      Repairs to |NTX 125023

                  000   05/31/17                    405.49                       10 00                  0.00               405.49 06/30/20                   '104,75
                                                                  sLt\4t,1                                                                                                            3,38          23.65          128.40

011132            Repairsto INTX 125038

                  000 0t3l/17                       405.49        SLI\4M         10 00                  0.00               405.49 06/30/20                   104,75                   3.38          23,65          128.40

011133 Repairsto|NTXT4lT2
                  000 0t31/17                       405.49        SLI\4M         10 00                  0,00               405.49 06/30/20                   104.75                   3.38          23,65          128.40

011      134      Repairsto |NTXT42l5

                  000   0y31/17                     405.59        SLI\4M         10 00                  0.00               405.59 06/30/20                    104.79                  3.38          23,66          128.45

011135            Repairsto |NTX390362

                  000   05/31/17                    506.29        SLI\4M         10 00                  0.00               506,29    06/30/20                 130.79                  4.22          29.53          160,32

011136            Repairsto |NTX74918

                  000   05/31/17                    384.49        SLI\4M         10 00                  0.00               384,49 06/30/20                       99.33                3,20          22.42          121.75

011137            Repairsto INTX 125130



A{urqmmalllXsltl                                                                                                                                                                                                            PNgo 105
           Case 20-11139-1-rel                                           Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                                                     Desc Main
                                                                              Document    Page 163 of 370

                                                                                                      lnterctate Commodilies, lnc.
                                                                                                            Depecftilion Eryense Repod

                                                                                                                As   oljtty31,2020

Book = Intemal

FYE      ilmh   = December


                 lnSrr                  AcqriDd            P   DEr          Ed        Sstv/168Ahl               Dopchbb              ftix       hilAcqrn        Doplrciaflort          CurellilYlD         CuEntAccm           Koy

SlsNo          H Dsb                     Value             T   Mdr         tft          Soc
                                                                                              ,l79
                                                                                                                     Bar*            Ihru       Dogqidort        Ihb   Run             Dopmcllin           Dopro'*[icn         Cods



OLAsrelAcciNo=          lflI/
               000   0t31/17                     303,29    P   SLMI\4       t0   00                  0,00                   303,29   0d30/20           78,35                    2,53            17,69                96,04

01   1   138   Repairs to INTX 390134

               000   0t31/17                 1,779,83 P        SLMI\4       10 00                    0,00               1,779.83     06/30/20         459,78                 14,83             103.82            563.60
01   1   139   Repairs to INTX 125099

               000   05/31/17                    303,29    P   SLMI\,I      10 00                    0,00                   303,29   06/30/20          78,35                    2,53            17,69                96,04

01   1   140   Repairs to INTX 125033

               000   05/31/17                    384,49    P   SLMM         10 00                    0,00                   384,49   06/30/20          99,33                    3.20            22,42            121.75

011141         Repairsto|NTXT4i)91

               000   0t31/17                     308,29    P   SLMI\4       t0   00                  0,00                   308.29   06/30/20          79,64                    2.57            17.98                97.62
011142         Repairsto INTX 74481

               000   05/31/17                1,637,16 P        SLMI\,I      10 00                    0,00               t,0J/, t0 06/30/20            422.94                 13.64              95.50            518.44

011143         Repairsto|NTX 125053

               000   05/31/17                    308,29    P   SLMM         10 00                    0,00                   308.29 06/30/20            79.64                    2,57            17,98                97,62
011      144   Bepairsto |NTX 125018

               000   05/31/17                    389,49    P   sLMtll       10 00                    0.00                   389.49   06/30/20         100.62                    3,25            zz,t   I         123,34

011145         Bepairsto|NTXT42l4
               000   0y31/17                     389,49    P   SLMi/l       10 00                    0.00                   389.49   06/30/20         100.62                    3,25            22.72            123.34

011146         Repairsto|NTX390215

               000   05/31/17                    389,49    P   SLMM         10 00                    0.00                   389.49   06/30/20         100,62                    3,25            22.72            123.34

011147         Repairsto|NTXl25124
               000   05/31/17                    389.49    P   SLI\4M       10 00                    0.00                   389.49   06/30/20          100,62                   3,25            22.72            123.34

011148         Repairsto|NTX390081

               000   05/3v17                     308,29    P   SLI\4M       10 00                    0.00                   308,29   06/30/20          79.64                    2.57            17.98                97.62

011149         Bepairsto|NTXT42Sl
               000   0y31/17                     389.49    P   SLI\4M       10 00                    0.00                   389,49   06/30/20          100,62                   3.25            22.72            123.34

011150         Repairsto|NTX 182960

               000   05/31/17                    484,04    P   SLI\,lM      10 00                    0.00                   484.04   06/30/20          125.04                   4.03            28,23            153,27

011151         Repairsto|NTXT5l95
               000   0y31/17                     819.42 P      SLI\,lM      10 00                    0,00                   819,42 06/30/20           21 1.68                   6.82            4779             259,47
011152         Bepairsto|NTX390180

               000   0t3t17                      335.26 P      SLI,,lM      10 00                    0,00                   335,26   06/30/20           86.62                   2,79            19,55            106,17

011153         Repairsto|NTX2'1222

               000   0m1n7                       688.46 P      StMM         10 00                    0,00                   688.46 06/30/20            177,86                   5.74            40.16            218.02
011154         Repairsto|NTXT5224

               000   0581n7                      406.98 P      StMM         10 00                    0,00                   406.98   06/30/20          105,14                   3,39            23.74            128.88

011155         Repairsto|NTXT5l32
               000   0t31/17                     220.54 P      SLMM         t0   00                  0,00                   220.54 06/30/20             56,97                   1,84            12.86                ao   ql
011156         Repairsto|NTXT4220

               000   0t31/17                     440.23 P      SLMI\4       t0   00                  0.00                   440.23   06/30/20          113.72                   3.66            25,67            139.39

011157         Repairsto|NTXT4S49

               000   05/31/17                    216.62 P      SLMI\4       10 00                    0.00                   216.62 06/30/20             55.96                   1.80            12,63                68,59
011158         Repairsro|NTXT5253

               000   05/31/17                    348,20 P      SLMI\,I      10 00                    0.00                   348,20   06/30/20           89.95                   2,90            20,31            1   10,26

011159         Repairsto|NTX 125078
               000   05/31/17                1,731.62 P        SLMM         10 00                    0.00               1,731.62     06/30/20          447.33                14.43             101,01            548.34

011160         Repairsro|NTXT492l
               000   0t31/17                      97,53    P   SLMM         10 00                    0.00                    97.53   06/30/20           25,19                   0,81             5.68                30.87

0'1 1    161   Repairs to INTX 69979

               000   05/31/17               9,864,23 P         SLI\4M       10 00                    0,00               9,864,23     06/30/20        2,548.25                82,20             575.41           3,123.66

011162         RepairsloINTX43T93

               000   05/31/17               9,157,82 P         SLI\4M       10 00                    0,00               9,157,82     06/30/20        2,365.77                76.31             534.20           2,899,97

011163         Empty Revenue Movement    "S00     125010



tugt[l6,mmd1il8ril                                                                                                                                                                                                             Prge 106
               Case 20-11139-1-rel                                             Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                                          Desc Main
                                                                                    Document    Page 164 of 370

                                                                                                        lntemtate Commodities, lnc.
                                                                                                              Depecidion Epense Repoft

                                                                                                                  As ol JrIy 31 , 2020


Book = lntemal

FYE lrlotth = December


                         lnS:rc           &fliod                 P   DEr          Esi      SatY/l68Alol,          Dop&hilo          hir        ftiorAccun       DE$ialion          qmilYlD        GmilAcqm      lGy
SrrNo Ed                 Drb                  Val$               T   tmr         tft         Soc 179                Buri            thru       Deprdriixr        IhhBun            Ihmclbrt       Dmcitur       Co&


OlAselAoctNo=1917
                   000   06/30/17                    983.00 P        SLI\4M       10 00                0.00                983.00   06/30/20          245.75              8,19           57,34        303,09

0   1   1   164    Empty Revenue l\4ovement   -   S00   125057

                   000   06/30/17                    983.00 P        SLI\,lM      10 00                0.00                983.00   06/30/20          245,75              8,19           57,34        303,09

01      1   165    Empty Revenue Movement-CP 385171

                   000   06/30/17                    983.00 P        SLMM         10 00                0,00                983,00   06/30/20          245.75              8,19           57.34        303.09

01      1   166    Empty Revenue Movement     -S00 74245
                   000   0d30/17                     983.00      P   SLMM         10 00                0,00                983,00   06/30/20          245.75              8.19           57.34        303.09

0   1   1 1   67   Empty Revenue Movement . S00 74260

                   000   06/30117                    983.00      P   SLMM         10 00                0,00                983,00   06/30/20          245.75              8,19           57,34        303.09

01      1   168    Empty Revenue Movemenl - INTX 74425

                   000   06/30/17                   1,088,08 P       SLMM         10 00                0.00             1,088.08    06/30/20          272,02              047            63.47        335,49

01      1   169    Empty Revenue Movement-INTX 74344

                   000   06/30/17                   1,088,08 P       SLMI\4       '10 00               0.00             1,088,08    06/30/20          272.02              9.07           63.47        335,49

0   1   1   170    Empty Revenue Movemenl . INTX 74487

                   000   06/30/17                   1,088,08 P       stMtr4       10 00                0.00             1,088,08    06/30/20          272.02              9.07           63.47        335.49

01      1   171    Empty Revenue Movement - INTX 74434

                   000   06/30/17                   1,088,08 P       sLMtlt       10 00                0.00             1,088,08    06/30/20          272.02              9.07           63.47        335.49

011172             Empty Revenue Movement. INTX 74445

                   000   06/30/17                   1,088,08 P       SLMM         10 00                0.00             1,088,08    06/30/20          272.02              9,07           63,47        335.4S

01      1   173    Empty Revenue Movement - INTX 74386

                   000   06/30/17                   1,088,08 P       SLI\4M       10 00                0,00             1,088.08    06/30/20           272.02               9,07         63.47         335,49

0   1   1   174    Empty Revenue Movement - INTX 74398

                   000   06/30/17                   1,088.08 P       SLI\4M       10 00                0,00             '1,088.08
                                                                                                                                    0d30/20            272,02               9.07         63.47         335,49

01      1   175    Empty Revenue l\4ovement - INTX 74497

                   000   06/30/17                   1,088.08 P       sLtltM       10 00                0,00             1,088,08    06/30/20           272.02               9.07         63.47         335,49

01      1   176    Empty Revenue l\4ovement - INTX 74421

                   000   06/30/17                   1,088.08 P       SLMM         10 00                0.00             1,088,08    06/30/20           272.02               9,07         63,47         335.49

011177             Emply Revenue lllovement-INTX 74503

                   000   06/30/17                   1,088.08 P       SLMM         10 00                0.00             1,088.08    06/30/20           n2.02                9,07         63,47         335.49

01      1   178    Empty Revenue Movement     - INTX    74467

                   000   06/30/17                   1,088.08 P       SLMI\4       10 00                0.00             1,088.08    06/30/20           272,02               9,07         63,47         335,49

01      1   179    Empty Revenue Movemenl - INTX 7451       1


                   000   06/30/17                   1,088,08 P       SLMM         10 00                0,00             1,088.08    06/30/20           272.02               9.07         oJ.4/         335,49

01      1   180    Empty Revenue Movement - INTX 74357

                   000   06/30/17                   1,088,08 P       SLMM         10 00                0.00             '1,088.08   06/30/20           272.02               9.07          63,47        335.49

01      1   181    Empty Revenue Movement - INTX 74453

                   000   06/30/17                   1,088,08 P       SLI\4M       10 00                0,00             1,088,08    06/30/20           272.02               9,07         63,47         335.49

01      1 1   82   Empty Revenue Movement - INTX 74443

                   000   06/30/17                   1,088,08 P       SLI\4M       10 00                0,00             1,088,08    06/30/20           272,02               9,07         63,47         335.49

0   1   1 1   83   Empty Revenue l\4ovement   - INTX    74423

                   000   06/30/17                   1,088.08 P       SLMM         10 00                0,00             1,088.08    0fl30/20           272.02               9.07          63.47        335,49

0   1   1 1   84   Empty Revenue l\4ovement   - INTX    74379

                   000   06/30/17                   1,088.08 P       SLMI\,I      10 00                0,00             1,088.08    0d30/20            272.02               9.07          63.47        335.49

01      1   185    Empty Revenue Movement     - INTX    74495

                   000   0d30/'17                   1,088,08 P       SLMI\,l      10 00                0.00             1,088,08    06/30/20           272.02               9,07          63,47        335.49

0   I   1   186    Empty Fevenue Movement . INTX 74334

                   000   06i30/17                   1,088,08 P       SLMM         10 00                0.00             1,088,08    06/30/20           272,02               9.07          63,47        335,49

01      1   187    Empty Revenue Movement     -   S00 74525
                   000   06/30/17                       983,00 P     SLMM         10 00                0.00                983.00   06/30/20           245.75               8.19          57.34        303,09

01 I        188    Empty Revenue Movement -CP 390229

                   000   06/30/17                       983,00 P     SLI\4M       10 00                0,00                983,00   06/30/20           245.75               8,19          57,34        303,09

01      1   189    Empty Revenue Movement-CP 390191



tugtlto,mdlfisAil                                                                                                                                                                                               Pleo10?
            Case 20-11139-1-rel                                   Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                Desc Main
                                                                       Document    Page 165 of 370

                                                                                           lntestate Commodilies, lnc.
                                                                                             Depeddion EryenseRept
                                                                                                 As ol Jdy 31,2020


Book = lntemal

FYE       ltlmh   = December


                      lnSrc            AcqtM P Dry                       Eli        Salv/168Alow Dopr€*bb        Rir     ftirlcqm D€f,ocidion CtmrlY'ID qmdAcum       KE
SDilo En              Dds              Valuo T tkh                       Lft         Socl7g        Ba*           Ihru    D€pcdohn nbBun Dof,ochlkn lhpnchhn           Co&


GlLAsellrdNo= 18f/
                000   06/30/17                    983.00    P SLMIII     10    00         0,00         983,00    06/30/20    245.75     8.19     57,34      303.09

01   1    190   Empty Revenue Movement -       S00 75146
                000   06/30/17                    983,00    P SLMM       10    00         0,00         983,00    06/30/20    245.75     8.19     57,34      303.09

01   1    191   Emply Revenue l\4ovement   -   ATGX 834307

                000   0d30/17                    1,657,00   P SLMM       10    00         0.00        1,657.00   06/30/20    414.25     13,80    96.65      510.90

01   1    192   Emply Bevenue lMovement    - INTX 52081

                000   06/30/17                   2,531,00   P   SLtllM   10    00         0.00        2,531,00   0fl30/20    632,75     21,09    147.64     780,39

01   1'193      Empty Revenue l\4ovement   ' INTX 520 !8
                000   0il30/17                   2,531.00   P SLIIIM     10    00         0.00        2,531,00   06/30/20    632.75     21,09    147.64     780,39

01   1    194   Empty Revenue Movement - INTX 52004

                000   06/30/17                   2,531.00   P SLMM       10    00         0,00        2,531.00   06130/20 632.75        21.09    147.64     780.39

01   1    195   Empty Revenue Movement- INTX 52000

                000   06/30/17                   2,531.00   P SLMI\4     10    00         0,00        2,531.00   06/30/20    632.75     21,09    147.64     780.39

01   1    196   Empty Revenue Movement - INTX 45073

                000   06/30/17                   3,389,00   P SLMI\4     10    00         0.00        3,389.00   06/30/20    847,25     28.24    197.69    1,044,94

01   1    197   Empty Hevenue Movement - INTX      45m4
                000   06/30/17                   3,389,00   P SLMM       10    00         0.00        3,389,00   06/30/20    847.25     28.24    197.69    1,044,94

01   1    198   Empty Revenue M0vemeni - INTX 45043

                000   06/30/17                   3,389,00   P SLI\4M     10    00         0.00        3,389,00   06/30/20    847.25     28.24    197.69    1,044.94

01   1    199   Empty Revenue l\4ovement - INTX 45145

                000   06/30/17                   2,354,00   P   SLiIM 10 00               0,00        2,354.00   06/30/20    588,50     19.61    137,31     725.81

0   1 1   200   Emply Revenue l\4ovement . INTX 7004

                000   06/30/17                   1,839.00   P SLMM       10    00         0.00        1,839.00   06/30/20    459,75     15,32    107.27     567,02

01   120'1      Empty Revenue Movement- INTX 7006

                000   06/30/17                   1,839.00   P SLMI\4     10    00         0.00        1,839,00   06/30/20    459,75     15.32    107.27     567,02

011202          Repairsto S00 74343

                000   06/30/17                    255,10    P SLMIII     10    00         0.00         255.10    06/30/20     63.78     2,13     14.88       78.66

011203          Repairstos0074319
                000   06/30/17                    461,00    P SLMM       '10
                                                                               00         0,00         461,00    06/30/20    115,25     3.84     26.89      142,14

011204          RepahstoS0074211
                000   06/30/17                    253,20    P   SLtllM   10    00         0,00         253,20    06/30/20     63.30     2.11     14.77        78,07

011205          RepairstoS00125016
                000   06/30/17                    253.20    P SLMM       10    00         0.00         253,20    06/30/20     63,30     2.11      14.77       78.07

011206          Repai6toS0074332
                000   06/30/17                    253.20    P SLMI\4     10    00         0.00         253.20    06/30/20     63.30     2,11      14.77       78.07

011207          RepairstoCP385l58
                000   06/30/17                    253,20    P SLMlt4     10    00         0,00         253,20    06/30/20     63,30     2.11      14,77       78.07

01    1208      Repairsto CP 385487

                000   06/30/17                    253,20    P SLMM       10    00         0,00         253,20    06/30/20     63.30     2.11      14.77       78,07

011209          RepairstoCPSS5lll
                000   06/30/17                    325.70    P SLI\4M     10    00         0.00         325.70    0d30/20      81.43      2,71     18.99      100.42

011210          BepairstoS0074204
                000   06/30/17                    325.70    P SLMM       10    00         0.00         325.70    06/30/20     81,43      2.71     18,99      100.42

011211          RepairstoCP390095

                000   06/30/17                    253,20    P SLM|\4     10    00         0,00          253,20   06/30/20     63,30      2.11     14.77       78,07

011212          RepairstoCP385211

                000   06/30/17                    253,20    P SLM|\4     10    00         0,00          253.20   06/30/20     63.30      2.11     14.77       78.07

011213          RepairstoCP385l12
                000    06/30/17                   253.20    P SLI\4M     10    00         0.00          253.20   06130120 63,30          2.11     14,77       78.07

011214          RepairstoCP385263

                000    06/30/17                    101.20   P SLI\,IM    10    00         0,00          101,20   06/30/20     25,30      0.84     5,90        31,20

011215          BepairstoS0074497


AUsl6,      XP()NI    lll3lt                                                                                                                                          PslS
          Case 20-11139-1-rel                                   Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                                                Desc Main
                                                                     Document    Page 166 of 370

                                                                                           lnterstate Commodities, lnc.
                                                                                                 Depsdrilion Eryenso R€port

                                                                                                     As ol Jtly 31 , 2020


Book = lntemal

FYE    iiclth   = December


                   ln   Srt           Acflid        P   DEr        Ed      SalY/l68Alon              Dopr*hbb             hior       RtrAciln       Dgpr€ddort            qmilY'ID        CmntAcul      lGy
                                                                                   .l79
S]lNo Ed           Drb                              T   il€dr      tft       Soc                       BarJit             Ihru       Deptnd$n        Ihb Run              DeFEdfirt       DogocHbn Co&

G/l-As*tAcdNo=          lflI'
             000   06/30/17                101.20   P   SLMIU      10 00                  0,00                  10'1.20   06/30/20          25,30              0,84               5,90         31.20

011216 RepairsloS0074421
             000   06/30/17                101.20   P   StMM       10 00                  0,00                  101.20    06/30/20          25,30              0,84               5,90         31.20

011217 RepairsloS0074296
             000   06/30/17                101.20   P   SLMM       10 00                  0.00                  101.20    06/30/20          25.30              0,84               5.90         31,20

011218 RepairsloS0074171
             000   06/30/17                101.20   P   SLMM       10 00                  0.00                  101,20    06/30/20          25.30              0.84               5.90         31,20

01    1219   Repairs lo CP 385417

             000   06/30/17                101,20   P   SLMM       10 00                  0.00                  101,20    06/30/20          25.30              0.84               5.90         31,20

011220       Repairs to CP 385408

             000   06/30/17                101,20   P   SLI\,lM    10 00                  0.00                  101,20    06/30/20          25.30              0,84               5.90         31.20

011221       Repairc lo CP 385333

             000   06/30/'t7               173,70   P   SLI\4M     10 00                  0.00                  173,70    06/30/20          43,43                1,45            10,13         53.56

011222       Repairs to INTX 125102

             000   06/30/17                253.20 P     SLI/lM     10 00                  0,00                  253.20    06/30/20          63,30              2.11              14.77         78.07

01    1223   Repairs to |NTX 125070

             000   0m0n7                   253,20   P   SLMM       10 00                  0,00                  253.20    06/30/20          63.30              2,11              14.77         78,07

011224       Repai6 to INTX 125045

             000   06/30/17                253,20 P     SLMM       10 00                  0,00                  253.20    06/30/20          63.30              2.11              14.77         78,07

011225       Repairsto INTX 74287

             000   06i30/17                253.20 P     sLMtlt     10 00                  0,00                  253.20    06/30/20          63.30              2,11              14,77         78.07

011226       Repairsto INTX 74224

             000   06/30/17                253.20 P     SLMM       10 00                  0.00                  253.20    06/30/20          63,30                2,11            14,77         78.07

011227       Bepairsto INTX i4220

             000   06/30/'17               253.20   P   SLMM       10 00                  0.00                  253,20 06/30/20             63,30                2,11            14.77         78.07

011228       Bepairsto DSBC 385267

             000   06/30/17                253.20   P   SLMM       10 00                  0.00                  253.20    06i30/20          63,30                2.11            14.77         78.07

011229       RepairsioDSRC385114

             000   06/30/17                253.20   P   SLI\,lM    10 00                  0,00                  253,20    06/30/20          63.30                2.11            14.77         78,07

011230       RepairstoDSBC385294

             000   06/30/17                253,20   P   sLtltM     10 00                  0,00                  253.20    06/30/20          63.30                2.11            14.77          78,07

011231       RepairstoDSRC385313

             000   06/30/17                253,20   P   SLMM       10 00                  0,00                  253.20    06/30/20          63,30                2,11            14.77          78.07

011232       RepairstoDSRC385315

             000   06/30/17                2s3,20   P   SLMI\,l    10 00                  0.00                  253.20 06/30/20             63,30                2.11            14.77          78.07

011233       Repairsto|NTX390180

             000   06/30/17                253,20 P     sLMtll     10 00                  0.00                  253,20    06/30/20          63.30                2.11            14.77          78.07

01    1234   Repairs lo INTX 74226

             000   06/30/17                253.20   P   SLMM       10 00                  0.00                  253.20 06/30/20             63.30                2.11            14.77          78,07

0'1   1235   Repairs lo INTX 74264

             000   06/30/17                253.20   P   SLMM       10 00                  0.00                  253.20    06/30/20          63.30                2.11             14,77         i8,07
01    1236   Repairs to INTX 74265

             000   06/30/17                253.20   P   SLMM       10 00                  0,00                  253.20    06/30/20          63,30                2.11             14.77         78,07

011237       Repaircto|NTX74589

             000   0d30/17                 253.20   P   SLIlIM     10 00                  0,00                  253,20 06/30/20             63,30                2,11             14.77         i8.07
011238       Repairsto|NTX125l22
             000   06/30/17                253.20   P   SLMM       10 00                  0.00                  253,20 06/30/20             63.30                2.11             14.77         78.07

01    1239   Empty Revenue M0vement -CP 385122

             000   06/30/17                983.00   P   SLMI\,l    10 00                  0.00                  983.00 06/30/20            245.75                8.19            57,34         303.09

011240       Repairsto |NTX74310

             000   06/30/1i                136,35   P   SLMM       10 00                  0.00                  136.35    06/30/20          34.10                L   tJ           7.95          42,05

011241       Repairsto|NTX385014



AuS!l6,mdlffirfl                                                                                                                                                                                        PrS
                                                                                                                                                                                                              .l09
         Case 20-11139-1-rel                                            Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                                                     Desc Main
                                                                             Document    Page 167 of 370

                                                                                                 lntentate Commodities, lnc.
                                                                                                       Depe<railhn Eryense         Rept
                                                                                                           As   olJdy3l,2020

Book = lnternal

ffi   ltltttth = December


                  lnSrt                 AcqrM            P   DEr          Esl       SalY/168Ahil           Dopoc$l              hir        ftixAcam             Doprscidiort          CrmilY'ID          Amrtlcrun       Koy

Stlt{o Ed         Ddo                   Valuo            T   liloh        t.b         Soc 179                   Basb            thru       hp'eddbn              thb Run              DeF€cHion          Dopecffin       Codo



OLAsdArdllo = 1fl)7
      000 06/30/17                              458.29       SLMI\,I       10 00                0,00                   458.29   06/30/20         1   14.59                     3.82          26.73            141.32

011242      Repairsto BGCX 1015

            000   06/30/17                      289,46       SLI\4M        10 00                0,00                   289.46 06/30/20               72.37                     2.41              16.88         n0   tq
011243      Repairsto BGCX 10931

            000   06/30/17                  1,109.46         SLI\4M        10 00                0.00               1,109,46     06/30/20         277.37                        9,25          64,72            342,09

011244      Bepairsto BGCX 1 1302

            000   06/30/17                      275.00       ELMM          10 00                0.00                   275.00 0d30/20                68,75                     2.29              16.04         84,79

011245      Repairsto BGCX 7007

            000   06/30/17                  1,101.51         SLMM          10 00                0.00               1,101.51     06/30/20         275.39                        9,18          64.25            339,64

011246 RepairstoS0074419
            000   06/30/17                      eol eE       SLMM          10 00                0.00                   391,35 06/30/20               97.85                     3.26          22.83            120,68

011247 RepairstoS0074470
            000   06/30/17                      391,35       SLMI\4        10 00                0.00                   391.35   06/30/20             97.85                     3,26          22,83            120.68

011248      RepairstoS0074235
            000   06/30/17                      472.55       SLMI\,l       10 00                0,00                   472.55   06/30/20         1   18,15                     3,93              2756         145,71

011249      RepairstoCP390327

            000   06130/17                      630.80       SLMM          10 00                0,00                   630.80 06/30/20           157,70                        5.25          3b./9            194,49

011250      RepairstoCP390326

            000   06/30/17                      641.21       SLI\4M        10 00                0.00                   641.21   0d30/20          160.30                        5.34          37.40            197,70

011251      RepairstoCP39008,4

            000   06/30/17                      539.34       SLI\4M        10 00                0.00                   539,34 06/30/20           134.83                        4,49          31,45            166.28

011252 RepairstoCP390ll1
            000   06/30/17                      449.39       SLMM          10 00                0.00                   449.39   06/30/20         112,35                        3,74              26,21        138.56

011253      RepairctoINTX390357

            000   06/30/17                      449.39       SLMI\,l       10 00                0.00                   449.39   06/30/20         1   12,35                     3.74              26.21        138,56

011254      Repairsto INTX 390337

            000   06/30/17                      482.U        SLMI\,,I      10 00                0,00                   482.84   06/30/20         120.70                        4.02              28.16        148,86

01'1255     Repairsto INTX 390158

            000   06/30/17                      47259        SLMM          10 00                0,00                   472,59   06/30/20         1   18.15                     3,93              27.56        145.71

011256      Repairsto|NTXT433S

            000   06/30/17                      472,59       SLMM          10 00                0,00                   472,59   06/30/20         1   18.15                     3.93              27.56        145.71

011257      Repairsto|NTX460137

            000   06/30/17                      712,35       SLI\4M        10 00                0.00                   712.35   06/30/20         178,10                        5.93              41.55        2'19,65

011258      Repahsto|NTX460400

            000   06/30/17                      593.59       SLMM          10 00                0.00                   593.59 06/30/20           148.40                        4.94              34,62        183.02

01   1259   Bepairsto INTX 2022

            000   06/30/17                      552.99       SLMI\,I       10 00                0,00                   552,99 06/30/20           138.25                        4.60              32,25        170.50

01   1260   Repairs to   S00 74324
            000   06/30/17                      356.35       SLMM          10 00                0,00                   356,35 06/30/20               89.1   1                  2.97              20,79        109.90

011261      RepairstoCP390'!91

            000   06/30/17                  1,998.04         SLMM          10 00                0.00               1,998,04     06/30/20         499,50                    16.65             1   16,55        6'16,05

011262      Repairs to   S00   125059

            000   06/30/17                                   SLMM          '10 00
                                                578.21                                          0.00                   578.21   06/30/20         144.55                        4,81              33,72        178,27

011263 RepairstoS0074525
            000   06/30/17                      496,35       SLI\,IM       10 00                0.00                   496.35 06/30/20           124.10                        4,13              28,95        153.05

011264 RepairstoS0075146
            000   06/30/17                  2,782.19         SLMI\,I       10 00                0,00               2,782.19     06/30/20         695,55                    23.18             162.29           857.84

011265 RepairstoCP390229
            000   06/30/17                      717.55       SLMM          10 00                0.00                   717.55   06/30/20          179,41                       FOC
                                                                                                                                                                                                 41.86        221,27

011266 RepairstoCP385292
            000   06/30/17                      636.35       SLMM          10 00                0.00                   636.35 06/30/20            159.10                       5,30              37,12         196.22

011267 RepahstoS0074350

                                                                                                                                                                                                                                .l10
Auglt6,ms(11l3lll                                                                                                                                                                                                        PNoo
        Case 20-11139-1-rel                                        Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                                                 Desc Main
                                                                        Document    Page 168 of 370

                                                                                             lntestate Commodities, lnc.
                                                                                                   Dryeciailion Eryenso Roport

                                                                                                       As ol Jtty 31 , 2020


Book= Intemal

ffi   Monh = Decemhr


                  lnS:w              Lflid           P   DEr         fti        Salv/l68Ahtv           Dopr$hllo            htu        ftixAciln         DEoddon            CunfltY'ID          Clmillcqn         lGy
SysNo Ed          Dsb                Vduo            T   lildr       tft          S€c'179                Ba8il              Ihru       Dogoridjon         Ihb Run           Dopr€chfort         Dopecffin         Co&


G,tAadAdt{o        = 1807
                                                                                                                                               't26,91
            000   06/30/17                  507,55 P     SLI\4M       10 00                 0.00                 507.55 06/30/20                                    4.23             29.61           156.52

011268      RepairstoCP390318

            000 0d30/17                     649,41   P   SLI\,lM      10 00                 0.00                 649.41     06/30/20           162,35               5,41             37.88           200,23

01.1269     Bepairsto |NTX74516

            000 0d30/17                     557.55 P     SLMM         10 00                 0,00                 557,55 06/30/20               139.40               4.64             32,52           171.92

011270 Repairsto|NTXTSl94
            000 0d30/17                     557.55   P   ELMM         10 00                 0,00                 557,55 06/30/20               139.40               4.64             3252            171.92

011271 Repairsto|NTX39014l
            000   0a/30/17                  648.07 P     SLMI\4       10 00                 U.UU                 648.07     06/30/20           toz,uz               5.40             37,80           199.82

011272      Repairs to |NTX74183

            000   06/30/17                  476.35   P   SLMI\,I      10 00                 0.00                 476.35     06/30/20           119,'t1              3,97             27.79           146.90

011273      Repairs to INTX 16589

            000   06/30/17                  367,55   P   SLMM         10 00                 0.00                 367.55     06i30/20            91.90               3.06             21,44           1    13,34

0\1274      Repairs to INTX 125042

            000   06/30/17                  927,55   P   SLMM         10 00                 0.00                 0t7 4E 06/30/20               231.91                t.tJ            54,1   1        286,02

011275      Repahs to INTX 125010

            000   06/30/17                  437,55   P   SLI\4M       10 00                 0.00                 437,55 06/30/20               109.40               3.64             25.52           134,92

011276      RepairstoINTX 125057

            000   05/30/17                  366.61   P   SLI\4M       10 00                 0,00                 366,61     06/30/20            91.65                3,05            21.38           1    13.03

011277      Repairs to INTX 74336

            000   06/30/17                  367.55 P     sLtvtM       10 00                 0,00                 367.55     06/30/20            91,90                3,06            21,44           1    13.34

01   1278   Repairs to INTX 74458

            000   06/30/17                  367.55 P     SLMI\4       10 00                 0.00                 367.55     06i30/20            91,90                3,06            21,44            1   13,34

011279      Repairs to INTX 385357

            000   06/30/17                  367.55 P     SLMI\4       10 00                 0.00                 367.55     06/30/20            91.90                3.06            21.44            1   13,34

011280      Bepairsto |NTX38724

            000   05/30/17             10,131,74     P   SLMI/        10 00                 0,00            1   0,13 1.74   06/30/20         2,532.93               84,43           591,01          3,123.94

011281      Repairsto|NTX41929
            000   06/30/17              9,350,54     P   SLMM         10 00                 0,00                9,350.54    06/30/20         2,337,63               77,92           545.44          2,883.07

011282      Repairsto |NTX38527

            000   06/30/17              9,431,74     P   SLI\,lM      10 00                 0,00                9,431,74    06/30/20         2,357.93               78.60           550.18          2,908,1   1


011283      RepairstoINTX39ll0
            000   06/30/17              a 010   td   P   SLIUM        t0   00               0.00                9,919,24    06/30/20         2,479.80               82.66           578.62          3,058,42

01   1284   Repairs to INTX 43833

            000   06/30/17              9,296.00     P   SLMI\,l      10 00                 0.00                9,296.00    06/30/20         2,324.00               77,46           542,26          2,866.26

011285      Repairsto|NTX39ll9
            000   06/30/17              9,431.74     P   SLMI\,l      10 00                 0.00                9,431.74    06/30/20         2,357,93               78.60           550.18          2,908,1   1


011286      RepairstoCP38542l
            000 0il30/17                    469.88   P   SLMI\,I      10 00                 0,00                  469,88    06/30/20           117.47                3.92             27.41           144,88

011287 RepairstoCP390294
            000   06/30/17                  494,91   P   SLMM         10 00                 0.00                  494.91    06i30/20           123.73                4.12             28.86           152,59

011288      RepairstoCP390361

            000   06/30/17                  469,88   P   SLMM         10 00                 0.00                  469.88    06/30/20           117.47                3,92             27.41           144.88

011289      Repairsio|NTXT42'17

            000   06/30/17                  516,61   P   SLi/M        10 00                 0.00                  516,61    06/30/20           129,15                4,30             30,13           159.28

011290      RepairstoINTXT42SS

            000   06/30/17                  494.91   P   SLMI\,l      10 00                 0.00                  494.91    06/30/20           123.73                4.12             28,86           152,59

011291      Repairsto |NTX385134

            000   06/30/17                  516.61   P   SLMM         10 00                 0.00                  516.61    06/30/20           129.15                4.30             30,13           159,28

011292      Repairsto INTX 742741

            000   06/30/17                  494,91   P   SLMM         10 00                 0.00                  494.91    06/30/20           123,73                4,12             28.86           152.59

011293      RepairstoS0074157



Muil6,2mdll:l8All                                                                                                                                                                                                 Pqo   lll
          Case 20-11139-1-rel                                              Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                                                       Desc Main
                                                                                Document    Page 169 of 370

                                                                                                    lnterctate Commodities, lnc.
                                                                                                          DWredaiion Epenso R€pfl            t
                                                                                                              As   olJrly3l,     2020


Book = lntemal

FYE   iionfi   = December


                     ln S:vr              Ao$isd             P   DoF         Ed        Salv/l68Ahw            DoF€cI'bb          Prb             ftbrlrtlln              Dopr$idon           funnlYlD           Or,entAc.un l0y
SysNo Ed             Ddo                   Vsluo             T   ildr        tft         S€c 179                                 Ihru            DqFcidon                 Ihb Run            DoprodEb" Doplddbil                  Coe


GlLAssdArdNo=            lflIl
            000      06i30/17                      429,81    P   SLI\4M      10 00                 0.00                429,81    06/30/20                107,45                      3.58            25.07             132.52

011294      BepairstoS0074309
            000      06/30/17                      448.18    P   SLMM        10 00                 0,00               448,18 06/30/20                    1   12.05                   3.73            26.14             138.19

011295      BepairstoS0074343
            000      06/30/17                      193.40    P   SLMM        10 00                 0,00                193,40    06/30/20                    48.35                   1,61            1   1,28           59.63

011296      RepairstoS0074379
                                                                                                                                                                                                                       '139,21
            000      06/30/17                      451.51    P   SLMI\4      10 00                 0,00               451.51     06/30/20                1   12,88                   3,76            26,33

011297      BepairstoS0074385
            000      06/30/17                      741.24    P   SLMM        10 00                 0,00               741.24     06/30/20                185,30                      6.17            43,23             22853
011298      RepairstoS0074609
            000      06/30/17                     1,953.80   P   SLI\4M      10 00                 0.00              1,953,80    06/30/20                488.45                     16.28        1   13,9i             602.42

011299      RepairstoS0074880
                                                                                                                     '1,768.13                                                      '14,73
            000      06/30/17                     1,768,13   P   SLI\4M      10 00                 0.00                          0d30/20                 442.03                                  103,13                545.16

01   1300   Repairs to    S00    125013

            000      06/30/17                      473,21    P   SLMM        10 00                 0,00                473,21    06/30/20                1   18.30                   3,94            27,60             145,90

01   1301   Repahs to     S00    125026

            000      06/30/17                      429,81    P   SLMM        10 00                 0,00               429.81     06/30/20                107,45                      3.58            25,07             132,52

01   1302   Repairs to    S00    125127

            000      06/30/17                      494,91    P   SLMM        10 00                 0,00               494.91     06/30/20                123.73                      4.12            28.86             152.59

011303      RepairstoCP390263

            000      06/30/17                      429.81    P   sLMtt4      10 00                 0.00                429,81    06/30/20                107.45                      3.58            25,07             132.52

011304      Bepairsto DSRC 74345

            000      06/30/17                      451.51    P   SLMI/l      10 00                 0.00                451,51    06/30/20                1   12,88                   3,76            26,33             139,21

011305      RepairstoDSRCT5l39
            000      06/30/17                      494,91    P   SLI\4M      10 00                 0.00                494.91    0d30/20                 123,73                      4.12            28,86             152,59

01   1306   Repairsto DSBC 390268

            000      06130/17                      560,01    P   SLMM        10 00                 0,00                560.01    06/30/20                140,00                      4.66            32,66             172.66

0i   1307   Repairs lo    S00 74373
            000      06/30/17                      473.21    P   SLMM        10 00                 0.00                473.21    06/30/20                1   18.30                   3.94            27.60             145.90

01   1308   Repairs to    S00 74442
            000      06/30/17                      494.91    P   SLMI\4       10 00                0.00                494,91    06/30/20                123,73                      4,12            28.86             152.59

011309      Repairs to    S00 74453
            000      06/30/17                      473.21    P   SLMM         10 00                0.00                473,21    0d30/20                 118,30                      3.94            27.60             145,90

011310      RepahstoS0074457
            000      06/30/17                      538.31    P   SLI\,lM      10 00                0,00                538.31    0il30/20                134.58                      4.45            31.40             165,98

011311 RepairstoS007447
            000      06/30/17                      494,91    P   SLI\4M       10 00                0,00                494.91    06/30/20                123.73                      4.12            28,86             lqt   Eo

011312      RepairstoS0074495
            000      06/30/17                      469.88    P   SLMM         '10 00               0.00                469,88 06/30/20                   117,47                      3,92            27.41             144.88

011313      RepairstoS0074533
            000      06/30/17                      516.61    P   SLMI\4       10 00                0.00                516,61    06/30/20                129,15                      4.30            30.13             159,28

01   1314   Repairs to     S00 i4585
            000      06/30/17                      466.55    P   SLMM         10 00                0,00                466.55     06/30/20
                                                                                                                                                         't16.65                     3.88            27.21             143,86

011316      CRDX1007/INTX
                                              '1'1,000,00
            000      07/07/17                                P   SLI\4M       10 00          8,000.00                3,000,00     05/31/20               750.00                      0,00        125.00                875.00 dr
011317      CRDX 1045/|NTX

               000   07/07/17                 1   1,000,00   P   SLMM         10 00          8,000,00                3,000.00     06/30/20               750,00                     25,00        175,00                925.00 r
0113'18 RepairstoS0074443
               000   07/31/17                      429,81    P   SLMI\4       10 00                0.00                429,81     0d30/20                103.87                      3.58            tc,vt             128,94

01   1319   Repairs to CP 385283

               000   07/31/17                      451.51    P   sLMtll       10 00                0,00                451.51     06/30/20               109.1       1                3,76           26,33             135,44

01   1320   Repairs to     S00 74423


tuSilq21p0d1ffiil                                                                                                                                                                                                                 PNoo   ll2
        Case 20-11139-1-rel                                       Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                                                     Desc Main
                                                                       Document    Page 170 of 370

                                                                                             lnterctate Commodities, nc.             I



                                                                                                   Depeddhn EryensoB€port
                                                                                                      As ol Jdy 31, 2t20


Book = lntemal

ffi   Monft = Decemhr


                  lnS:rc             Arq'M           P   Dopr        Ed         SalY/168Ahw           Depr€ddbb           hkr            HilA.iln            DqFcidion           CmnlYT)         qmilAcun       lGy
S]6No E)d DS                         Valr            T   tftdr       tft          Soc 179               BnJil             Ihru           D€prrtddfn           IhbBun             Doseddion       Dopr€cHion Co*


GlLAsdAcdNo= 1$7
            000 07/3v17                     429.81       SLMI\4      10 00                  0,00                429,81    0d30/20               103,87                 3,58             25,07         128,94

011321      Repairsto|NTX385460

            000   07/31/17                  168,00       SLMI\4      10 00                  0,00                168,00    06/30/20                  40.60                1,40            9,80          50,40

011322      Repairsto |NTX390184

            000   07t31117                  168,86       SLMI\4      10 00                  0,00                168.86    06/30/20                   40.82               1.4'1           9.85          50,67

011323      Repairsto|NTXT4SS5

            000   07/31/17                  357.28       SLMI\4      10 00                  0,00                357.28    06/30/20                   86,35               2.98           20.84         107.19

011324      Repairsto|NTX390108

            000   07/31/17                  524,55       SLMI\4      10 00                  0.00                524.55 06/30/20                 126,78                   4.37           30,60         157.38

011325      Repairsto|NTX460394

            000   07/31/17                  482,55       SLMI\4      10 00                  0.00                482.55 06/30/20                 1    16,63               4,02           28,15          144,78

011326      Repairsto INTX 463020

            000   07/31/17                  401,35       SLMI\,l     10 00                  0.00                40 1.35   06/30/20                   97.00               3,34           23,41          120,41

011327      RepairstoS00125029
            000   07/31/17                  519,55       SLMM        10 00                  0.00                519,55 06/30/20                 125.58                   4.33           30.31          155.89

011328      RepairstoCP390109

            000   07/31/17                  482.79       SLMM        l0    00               0.00                482,79    06/30/20              1    16.68               4.02           28.16          144.84

011329      RepairstoCP390079
                                                                                                                                                                                        '17,58
            000 07/3v17                     301.35       SLI\4M      10 00                  0,00                301.35    06/30/20                   72,84               2.51                           90.42

011330      RepairstoS00 125037
            000   07/31/17                  382,55       SLI\4M      10 00                  0.00                382.55    06/30/20                   92,46               3,18           22,31          114.77

011331      RepairstoCP390'189

            000   07/31/17              1,493,81         SLI\,lM     10 00                  0,00            1,493,81      06/30/20              361.00                 12.44            87.13         448,13

01'1332 Repah$t0S0074161
            000   07/31/17                  382.55       SLMM        10 00                  0,00                382.55    06/30/20                   92.46               3.18           22.31          114,77

011333      RepairstoCP390179

            000   07/31/17                  301.35       SLMM        10 00                  0,00                301.35 06/30/20                      72.84               2.51            17,58          90.42

011334      RepahstoS0074889
            000   07/31/17                  452.55       SLMM        10 00                  0,00                452,55 06/30/20                 109,38                   3.77           26,40          135.78

011335      Repahsto CP 390098

            000   07/31/17                  382.55       SLMI\,I     10 00                  0.00                382,55 06/30/20                      92,46               3.18           22.31          114.77

011336      RepairstoCP390102

            000   07/31/17                  371,35       sLMtll      10 00                  0.00                371.35    06/30/20                   89.75               3,09           21.66          111,41

011337      RepairstoBGCXT0503

            000   07/31/17              1,220,81         SLMM        10 00                  0.00            1,220,81      06/30/20              295.03                 '10.17
                                                                                                                                                                                        71.21         366,24

011338      Repahsto|NTXT429S

            000   07/31/17                  490,15       SLMM        10 00                  0,00                490.15    06/30/20               1   18.46               4.08           28,59          147,05

01   1339   Repairs to INTX 74388

            000   07/31/17              2,084,98         SLMM        10 00                  0,00            2,084,98      06/30/20              503,88                 17.37            121.62         625.50

0l   1340   Repairs to INTX 385306

            000   07/31/17                  417,55       SLI\,lM     10 00                  0,00                417,55 0fl30/20                  100,93                  3,48            24.36         125.29

01   1341   Repairs to |NTX 390233

            000   07/31/'t7                 336,35       sLtltM      10 00                  0.00                336.35 06/30/20                      81,30               2,80            19.62         100,92

011342      Repairs to |NTX74325

            000   07/31/17                  411.76       SLMM        10 00                  0,00                411.76    06/30/20                   99.52               3.43            24.02         123,54

0'11343     RepairstoINTXT4164

            000   07/31/17                  314.35       SLMM        10 00                  0.00                314.35    06/30/20                   75.99               2.62            18,34          94.33

011344      Repairsto|NTXT4414

            000   07/31/'17                 314.35       SLMI\4      10 00                  0,00                314.35    06/30/20                   75,99               2,62            18.34          94.33

011345      RepairstoINTXT4l94
            000   07/31/17                  314.35       SLMM        10 00                  0,00                314,35 06/30/20                      75.99               2,62            18.34          94.33

011346      RepairstoINTXT4329



                                                                                                                                                                                                                PrF 1i3
^l{!il6,XP(}r(lllSlt
        Case 20-11139-1-rel                                         Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                                                   Desc Main
                                                                         Document    Page 171 of 370

                                                                                                lntemtate Commodities, nc,                I



                                                                                                      Depeddion Eryenso R€pod
                                                                                                          As   olJdy3l,20[0

Book= lntemal

FYE   Monh = Decemhr


                lnSrr            Acq'hd             P   Dopr           Ed        Salv/168Ahw             DoFEcbUo              Rix            PrbAccm          DEnddion          CmnlYlD         AmilAcun       lGy
StsNo    tr     Ddo                Vslm             T   ildr          tfr          S€c   lig                   Bash            thru           ooprEidlon        Ihb Run          lhger*Uin       DeprclUim Co*

OLAsedlnlNo      = 1fl17
         000    07/31/17                  395,55        SLMI\4         10 00                   0,00                   395,55 06/30/20                 95.60               3,29          23,07         I 18,67

011347 Repairsto|NTXT4Sl0
         000    07/3'!/17                 314,35        sLl\4t\,t      10 00                   0,00                   314,35   06/30/20               75.99               2,62          18,34          94,33

011348   Repairs10CP390187

         000    07/31/17                  349,35        SLI\,,lM       10 00                   0,00                   349.35   06/30/20               84,44               2,91          20,38         104.82

011349 RepairstoS0074153
         000    07/31/17                  314,35        SLI\4M         10 00                   0.00                   314.35   06/30/20               75,99               2,62          18,34          94.33

011350   Repairsto|NTX385354

         000    0ii31117                  437.55        SLI\4M         10 00                   0.00                   437.55 06/30/20                105,75               3,64          25.52         131.27

011351 Repairsto|NTXT4S6l
         000    07/31/17                  437.55        SLMM           10 00                   0.00                   437.55 06/30/20                105.75               3,64          25.52         131,27

011352 Repairsto|NTX385l87
         000    07/31/17                  437,55        SLMM           10 00                   0.00                   437,55 06/30/20                105.i5               3.64          25.52         131.27

011390 NDYX821730/INTX         821730

         000    07/05/17                 9,000.00       SLMM           10 00             8,000,00                 1,000.00     06/30/20              250,00               8.33          58.33         308.33 r
011391 NDYX821922/INTX         821922

         000    07/05/'17                9,000.00       SLMM           10 00             8,000.00                 1,000,00     06/30/20              250,00               8.33          58.33         308,33 dr
011408 N0K1816873/|NTX         816873

         000    07/05/17                 9,000.00       SLMI\4         10 00             8,000.00                 1,000,00     06/30/20              250,00               8.33          58,33         308,33 r
011409 N0K1818547/INTX         818547

          000 07/05n7                    9,000,00       SLMI\4         10 00             8,000,00                 1,000,00     0d30/20               250.00               8.33          58.33         308,33 r
011410 N0K1818569/INTX         818569

          000   07/05/17                 9,000,00       SLI\4M         l0   00           8,000,00                 1,000,00     06/30/20              250.00               8.33          58.33         308.33 r
011411 N0K1818908/INTX         818908

          000   07/05/17                 9,000,00       SLI\,lM        t0   00           8,000,00                 1,000.00     06/30/20              250,00               8,33          58.33         308.33 r
011412 N0K1822292/INTX         822292

          000   07/05/17                 9,000.00       SLMM           10 00             8,000.00                 1,000,00     06/30/20              250.00               8,33          58,33         308,33 r
011413 N0K1823717/INTX         823717
                                                                       '10 00
          000   07/05/17                 9,000.00       SLMM                             8,000.00                 1,000,00     06/30/20              250.00               8.33          58,33         308,33 r
011414 N0K1828i01/INTX         828701
                                                                       '10 00
          000   07/05/17                 9,000.00       SLMI\4                           8,000,00                 1,000.00     0d30/20               250.00               8.33          58.33         308,33 r
011415 N0K1828763/INTX         828763

          000   07/05/17                 9,000.00       SLMI\4         10 00             8,000,00                 1,000.00     06/30/20              250,00               8,33          58.33         308.33 r
0114'16 N0K1828768/INTX        828768

          000   07/05/'17                9,000.00       sLt\4t\,l      10 00             8,000,00                 1,000.00     06/30/20              250,00               8,33          58,33         308.33 r
011417 N0K1829604/INTX         829604

          000   07/05/17                 9,000,00       SLI\4M         10 00             8,000.00                 1,000,00     06/30/20              250.00               8,33          58,33         308,33 r
011418 NoKL&t3401/INTX         833401

          000   07/05/17                 9,000,00       SLMM           10 00             8,000,00                 1,000.00     06/30/20              250,00               8.33           58.33        308,33 r
011419 NoKL&33405/INTX         833405

          000   07/05/17                 9,000,00       SLMM           10 00             8,000,00                 1,000.00     06/30/20              250,00               8,33           58.33        308.33 r
011420 N0K1833408/INTX         833408

          000   07/05/17                 9,000.00       SLMM           l0   00           8,000.00                 1,000.00     06/30/20              250.00               8,33           58,33        308,33 r
011421 N0K1833412/INTX         &33412

          000   07/05/17                 9,000.00       SLMI\4         10 00             8,000.00                 1,000,00     0d30/20               250.00               8.33           58.33        308,33 r
011422    N0K18133422/INTX     833422

          000   07/05/17                 9,000.00       SLI\4M         10 00             8,000.00                 1,000.00     06/30/20              2s0,00               8,33           58.33        308.33 r
011423 N0K1833435/INTX         833435

          000   07/05/17                 9,000,00       SLI\4M         10 00             8,000,00                 1,000.00     06/30/20               250,00              8,33           58,33        308.33 r
011424 N0K18i33443/INTX        8i13443

          000   07/05/17                 9,000,00       SLMM           10 00             8,000.00                 1,000,00     06/30/20               250.00              8.33           58,33        308,33 r
011425 N0K1833445/|NTX         &33445



ftsH6,ilmd1fi3|fl                                                                                                                                                                                               PNgo 111
          Case 20-11139-1-rel                                            Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                                         Desc Main
                                                                              Document    Page 172 of 370

                                                                                                   lnterctate Commodities, lnc.
                                                                                                         Dryetidion E4ense Repoil
                                                                                                             AsolJrlySl,2020

Bmk = lntemal

ffi   iionh   = December


                  ln S'vc             Acqlisd             P   Dopt         Ed         Salv/168lht           Dopocnm          hix        ftirAcqn        Dogociton          C/mniY'ID       AmilAcilt     lGy
SylNo Ed          Dah                  Value              T   il€dr        tft          S€c 179                              thru       Dqrodd'on        thb Run           Dopl€c*uim      Dogeddion Co&

OLAg!€lArdtlo= lfl}7
            000   07/05/1i                     9,000.00   P   SLMI\4        10 00           8,000.00              1,000.00   06/30/20         250,00                8,33           58,33        308.33 r
011426 N0K1833462/INTX             &t3462

            000   07/05/17                     9,000.00   P   SLMI\4        t0   00         8,000,00              1,000.00   06/30/20         250.00                8.33           58,33        308.33 r
011427 N0K1833466/INTX             833466

            000   07/05/17                     9,000.00   P   SLMI\4        10 00           8,000,00              1,000,00   06/30/20         250.00                8.33           58,33        308.33 r
011428 N0K18334i5/INTX             833475

            000   07/05/17                     9,000.00   P   SLMI\,I       10 00           8,000,00              1,000,00   06/30/20         250.00                8.33           58.33        308,33 r
011429 N0K1833490/INTX             833490

            000   07/05/17                     9,000,00   P   SLI\4M        10 00           8,000,00              1,000,00   06/30/20         250,00                8,33           58.33        308,33 r
011430      N0K18133491/INTX       833491

            000   07/05/17                     9,000,00   P   SLI\.,IM      10 00           8,000.00              1,000.00   06/30/20          250,00               8,33           58,33        308,33 r
011431 N0K1833502/INTX             833502

            000   07/05/17                     9,000,00   P   SLI\4M        10 00           8,000,00              1,000.00   06/30/20          250,00               8.33           58,33        308,33 r
01t432 NoKLm5m/INTX                8133503

            000   07/05/'17                    9,000,00   P   SLI\4M        10 00           8,000.00              1,000.00   06/30/20          250.00               8.33           58,33        308.33 r
011433 N0K1833506/INTX             833506

            000   07/0s/17                     9,000,00   P   SLMM          10 00           8,000.00              1,000.00   06/30/20          250.00               8.33           58.33        308,33 r
011434 NoKL$3s13/INTX              833513

            000   07/05/17                     9,000,00   P   SLMM          10 00           8,000.00              1,000,00   06/30/20          250.00               8,33           58.33        308,33 r
011435 N0K1833515/INTX             8i33515

            000   07/05/17                     9,000.00   P   SLMM          10 00           8,000,00              1,000,00   06/30/20          250,00               8,33           58,33        308,33 r
01   1436   Empty Car Movement -    S00 75255
            000   08/03/17                      91O.OO    P   SLMM          10 00                 0.00             910.00 06/30/20             219,92               7.58           53,08        273.00

01 1437     Empty Car Movement      s00 75123
            000   08/03/17                      910.00    P   SLMII4        10 00                 0.00             910,00 06/30/20             219,92               7.58           53.08        273.00

01 1438     Empty Car Movement      cP 385207
            000   08/08n7                      1,032.00   P   SLMM          10 00                 0.00            1,032.00   06/30/20          249.40               8,60           60.20        309.60

01 1439     EmptyCar Movement cP 3851 18

            000   08/08/17                     1,032.00   P   SLI\4M        10 00                 0,00            1,032,00   06/30/20          249.40               8,60           60,20        309,60

01 1440     Empty Car Movement      cP 385359
            000   08/15/17                     1,032,00   P   SLI\4M        10 00                 0,00            1,032,00   06/30/20          249,40               8.60           60,20        309.60

0l 1441     EmptyCar Movement cP 385436

            000   08/1s/17                     1,032,00   P   SLI\4M        10 00                 0,00            1,032,00   06/30/20          249,40               8.60           60.20        309.60

011442      Empty Car Movement      cP 385121
            000   08/15/17                     1,032,00   P   SLMM          10 00                 0.00            1,032,00   06/30/20          245.40               8.60           60.20        309.60

01 1443     Empty CarMovement       cP 385206
            000   08/15/17                     1,032.00   P   SLMM          10 00                 0.00            1,032.00   0d30/20           249.40               8,60           60,20        309,60

0't1444     Empty CarMovement       cP385277
            000   08/15/17                     1,032.00   P   SLMI\4        10 00                 0.00            1,032.00   06i30/20          249.40               8.60           60,20        309,60

011445      Empty Car l\4ovement    cP 390359
            000   0&15/17                      1,032.00   P   SLMI\4        10 00                 0,00            1,032,00   06/30/20          249,40               8.60           60,20        309,60

01 1446     Empty Car lllovement    s00 74378
            000   0&/15/'17                    1,032.00   P   SLMM          10 00                 0.00            1,032,00   06/30/20          249.40               8.60           60,20        309.60

011447      Empty Car   llovement cP 390267
            000   08/15/17                     1,032,00   P   SIMM          10 00                 0,00            1,032,00   06/30/20          249.40               8,60           60,20        309.60

011448      Empty Car Movement      s00 74234
            000   08/15/17                     1,032,00   P   SLMM          10 00                 0.00            1,032.00   06/30/20          249.40               8.60           60,20        309,60

01 1449     Empty Car Movement      s00      125015

            000   08/15/17                     1,032,00   P   SLMM          10 00                 0.00            1,032,00   06/30/20          249,40               8,60           60,20        309,60

01 1450     EmptyCar Movement       s00 74293
            000   08/15/17                     1,807.00   P   SLMI\4        10 00                 0,00            1,807,00   06/30/20          436,69              15,05          105,40        542,09

01 1451     Empty Car Movement      s00 74182


ft0!ilqmmd1fi3All                                                                                                                                                                                        Pr|o115
        Case 20-11139-1-rel                                            Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                                               Desc Main
                                                                            Document    Page 173 of 370

                                                                                                      lntestate Commodities, lnc.
                                                                                                         Dryecidion Eryense Repoil
                                                                                                             As   olJdy3l,2020

Book= lntemal

FYE   ilonh   = December


                  lnSlc              Ac$iBd P thpt                       Ed          So,lv/168Ahilr          Dopncbbb           hir        BfrAc.un         DoFocidon          CmillY'ID       OmntAc.un      lGy
SlsNo Ed          Dah                 Valrs                T tHr         tft            Soc 179                   Ba$           Ihru       Depnt*{ion        Ihb Run           Deptocilin      Dogwidiot      Co&


G,L Ass€l Accl No =   lflf
            000   08/24117                     1,032,00      SLMM         10 00                   0,00              1,032,00    0d30/20           240,80                8.60           60,20        301.00
01   1452   Empty Car Movement -CP 390185

            000   0u24117                      1,032,00      SLMM         10 00                   0.00              1,032,00    06/30/20          240.80                8,60           60,20        301,00
01   1453   Empty Car Movement - CP 390188

            000   08/24117                     1,032,00      SLMM         '10
                                                                                00                0,00              1,032,00    06/30/20          240.80                8.60           60.20        30'1,00

01   1454   Empty Car Movement -CP 385137

            000   08/24117                     't,032,00
                                                             SLMM         10 00                   0.00              1,032,00    06/30/20          240.80                8.60           60.20        301,00
01   1455   Empty Car Movement -CP 385427

            000   08/24117                     1,032,00      SLMM         10 00                   0.00              1,032,00    06/30i20          240.80                8,60           60.20        30 1,00

01   1456   Empty Car Movement - CP 385348

            000   0e/24l17                     t,032,00      SLMM         10 00                   0.00              '1,032.00   06/30/20          240.80                8,60           60,20        301,00
01   1457   Empty Car Movement - CP 385416

            000   08/24117                     1,032,00      SLMM         10 00                   0.00              1,032,00    06/30/20          240.80                8,60           60,20        301.00

01   1458   Empty Car Movement - CP 390289

            000   08/24l1i                     1,032,00      SLMI\4       10 00                   0.00              1,032.00    06/30/20          240,80                8.60           60,20        30't.00

01   1459   Empty Car Movement -    S00   74   !98

            000   08/24117                     1,032.00      SLMI\,l      10 00                   0.00              1,032.00    06/30/20          240,80                8.60           60.20        301.00

01'1460     Empty Car Movement - CP 390253

            000   0&/24117                     1,032,00      SLMI\4       10 00                   0.00              1,032.00    06/30/20          240,80                8.60           60.20        301,00
011461      EmptyCarMovement-S00 125129
            000   08i24/17                     1,032,00      SLMIlI       10 00                   0,00              1,032.00    06/30/20          240.80                8.60           60,20        301,00
01   1462   Empty Car Movement -    S00 74435
            000   08/24117                     1,032.00      SLMI\,I      10 00                   0,00              1,032.00    06/30/20          240.80                8,60           60,20        301.00

01   1463   Empty Car Movement - CP 390266

            000   0&/24117                     1,032,00      SLMI/        10 00                   0,00              1,032,00    06/30/20          240.80                8,60           60,20        301.00

01   1464   Empty Car Movement - CP 390321

            000   08/24117                     1,032,00      StMM         10 00                   0,00              1,032,00    06/30/20          240,80                8,60           60,20        301.00
01   1465   Empty Car Movement - CP 390237

            000   0u24117                      1,032,00      SLI\4M       10 00                   0,00              1,032,00    06/30/20          240,80                8,60           60,20        301.00
01   1466   Empty Car Movement - CP 3901 10

            000   08/30/17                     '1,032,00
                                                             SLI\4M       10 00                   0,00              1,032.00    06/30/20          240,80                8.60           60.20        301,00
01   1467   Empty Car Movement -    S00 74199
            000   08/30/17                     1,032,00      SLI\4M       10 00                   0,00              1,032.00    0d30/20           240.80                8.60           60.20        301,00
011468      Repairsto|NTX9S3T4

            000   08i31/17                 13,021,25         SLMM         10 00                   0.00             13,021.25    06/30/20         3,038.30          108.51             759.57       3,797.87

011469      Repairsto|NTX9S1365

            000   0e81/17                  13,021,25         sLtllM       10 00                   0.00             13,021.25    0d30/20          3,038.30          108,51             759.57       3,797.87
011470      Repairsto|NTX9SlS64

            000   0&/31/17                 13,02'1,25        SLMM         10 00                   0.00             13,021.25    06/30/20         3,038.30          '108,51
                                                                                                                                                                                      759.57       x,797.87
011471      Repairsto|NTX9S369

            000   0&i31/17                 13,021.25         SLMM         10 00                   0,00             13,021,25    06/30/20         3,038,30          108.51             759,57       3,797.87
011472      Repairs to INTX 98370

            000   0&/31/'t7                13,021.25         SLMI\4       10 00                   0,00             13,021,25    06/30/20         3,038.30          108.51             759,57       3,797,87
011473      Repairsto|NTX9S3T6

            000   08/31/17                 13,021,25         SLMI\,l      10 00                   0,00             '13,021,25
                                                                                                                                06/30/20         3,038,30          108.51             759.57       3,797,87
011474      Repairs to INTX 98372

            000   0&/31/17                 't3,021,25
                                                             SLMIVI       10 00                   0.00             13,021.25    0d30/20          3,038.30          108,51             759.57       3,797.87
0,l1475     Repairsto|NTX9S36T

            000   08/31/17                 13,021.25         SLMI/        10 00                   0,00             13,021.25    06/30/20         3,038.30          108,51             759.57       3,797.87

01'1476     Repairsto|NTXgESTS

            000   08/31/17                 13,021.25         SLMM         10 00                   0,00             13,021.25    06/30/20         3,038.30          108.51             ?qo (7       3,797.87
011477      Repain to INTX 98366



ft{ul6,fiH}.1'lll3ltl                                                                                                                                                                                         Pego   lt6
        Case 20-11139-1-rel                                           Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                                                    Desc Main
                                                                           Document    Page 174 of 370

                                                                                                     lntentate Commodities, lnc.
                                                                                                           Depe<ialion Eryense R€pon

                                                                                                               As of   Jtly   31, 2020


Book= lntemal

FYE   illmh   = December


                  ln   Srt           Arquiod           P   D€pr          Eil        S8,lv/168   Afotr          Dop$hbb              hfx        PddAmrn         Dqntddion           CmntYlD         qmilAcdn         Koy
                                                                                             ,l79
SYrNo Ert         Ddo                 VolF             T   tloUt         tft           Soc                       B$b                Ihru       Dmcidon          th'n Run           Doilucffin      Deomchtbn        Co&


OtlselActtllo=         1801

            000   08/3'1/17              13,021.25         SLMM          10 00                      0.00           13,021,25        06/30/20       3,038.30            108,51             759.57       3,797,87
011478      Repairsto INTX 98373

            000   08/31/17                                               10 00                      0.00           '13,021,25
                                         13,021.25         SLMM                                                                     06/30/20       3,038.30            108,51             759.57       3,797,87
01   1479   Repairsto INTX 9E380

            000   08/31/17               13,021.25         SLMM          10 00                      0,00           13,021,25        06/30/20       3,038.30            108.51             759.57       3,797.87
011480      Bepairsto INTX 98368

            000   08/31/17               13,021.25         SLMM          10 00                      0,00           13,021,25        0d30/20        3,038,30            108.51             759.57       3,797.87
011481      Repairsto|NTX390289

            000   0u31/17                    573.55        SLMM          10 00                      0,00                 573.55 06/30/20             133,85                 4.78           33.46        167.31

011482      Repaircto INTX 182822

            000   0&/31/17                   408.84        SLMM          10 00                      0,00                 408.84     06/30/20          95,39                 3.40           23.84        1   19.23

01   1483   Repairs to   cP 385207
            000   0&/31/17                   586.87        SLMI\4        t0    00                   0,00                 586.87 06/30/20             '136,94
                                                                                                                                                                            4.89           34.23        171.17

01   1484   Repairs to CP 390198

            000   08/31/17                   358.86        SLMI\4        10 00                      0,00                 358.86     06130/20          83,74                 2.99           20.93        104.67

0'11485 RepairstoCP385427
            000   08/31/17                   713.33        SLMI\4        10 00                      0,00                 713.33     06/30/20         166,44                 5.94           41.60        208.04
011486      RepairsloCP385348
            000   08/31/17               2,600.21          SLMI\4        10 00                      0,00                2,600,21    06/30/20        606,71                 21,66          151.67        758.38
011487      RepahstoCP385l37
            000   0&31/17                    713.33        SLMI\4        10 00                      0,00                 713.33     06/30/20         166,44                 5,94           41,60        208.04
011488      RepairstoCP385436
            000   08/31/17                   602.43        SLMI\4        l0    00                   0,00                 602,43 06/30/20             140.56                 5,02           35,14        175,70

011489      RepahsloCP385359
            000   08/31/17                   999.23        SLMI\.,|      10 00                      0.00                 999,23 06/30/20            233.15                  8,32           58,28        291,43
011490      Repairsto|NTX3S5l9
            000   08/31/'17                                              '10
                                             121.43        SLMI\,I             00                   0.00                  121.43    06/30/20          28.33                 1,01            7.08            35,41

011491      Repairsto|NTX3S52i
            000   0u31/17                    121.43        SLMI\4        10 00                      0.00                  121,43    06/30/20          28.33                 1.01            7,08            35,41

011492      Repairsto|NTX3ST24

            000   08/31/17                   843.19        SLMI\,I       10 00                      0.00                 843,19 0d30/20              196.75                 7.02           49.18        245,93
011493      Repairsto|NTX649S2

            000   08/31/17                   218.56        SLMI\4        10 00                      0.00                 218,56 06/30/20              5'1,01                1.82           12.75            63,76
01'1494     Repairsto|NTX3S503

            000   08/31/17                   218.56        SLMI\,l       10 00                      0.00                 218,56     06/30/20          51,01                 1,82           12.75            63,76
011495      Repairsto|NTX39110

            000   08/31/17                     71.38       SLMI\I        10 00                      0.00                   71,38    06/30/20          16,66                 0.59            4.16            20,82

011496      Repairsto|NTX39'119

            000   08/3'1/'17                 171.48                      10 00                                            '171,48
                                                           SLMI\,|                                  0.00                            06/30/20          40,03                 1.43           10,00            50.03

011497      Repairsto|NTX43T90

            000   08/31/17               9,474.84          SLMM          10 00                      0.00                9,474,84    06/30/20       2,210,79                78,95          552.69       2,763.48

011498      Repairsto|NTX43SlS
            000   08/31/17               9,374.60          SLMM          10 00                      0.00                9,374,60    0d30/20        2,187.41                78,12          546.85       2,7U.26
011499      Repairsto|NTX3S500

            000                         '10,148,53
                  08/31/'17                                SLMIT         10 00                      0.00               10,148,53    06/30/20       2,367.99                84,57          591.99       2,959.98

011500      Repairsto|NTX3S52S

            000   08/31/17               10,146.57         SLMM          10 00                      0,00               10,146,57    06/30/20       2,367.54                84.55          591,88       2,959.42
011501      Repairsto|NTX43S3l
            000   08/31/17               9,293.40          SLMi/         10 00                      0,00                9,293.40    06/30/20       2,168.46                77.44          542.11       2,710.57

01   1502   Repairs to |NTX 99425

            000   08/31/17               9,347.94          SLMM          10 00                      0,00                9,347.94    06/30/20       2,18'1,19               77.90          545,29       2,726.48
011503      Repairsto|NTX3S504


                                                                                                                                                                                                                          ,l17
Ary!|6, m20d    llJSAt                                                                                                                                                                                              P{e
        Case 20-11139-1-rel                                             Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                                                   Desc Main
                                                                             Document    Page 175 of 370

                                                                                                    lntemtate Commodities, lnc.
                                                                                                         Depsdrdion Eryenso R€poil

                                                                                                             AsolJdy31,2CI0

Book = lntemal

FYE Monh = December


                  lnSrc               Ac$M                P   DEr         Ed         SalY/168Alow            lhproc*tts          Prir       ftixAciln          Dopmciaton          CfieniYlD        CrrndAcqn        lGy
SYsNo Ed          Ddo                    Valuo            T   tlotr       Ift          Sec 'l79                Basb              Ihru       Doptoddlon          Ih'n Run           Deplsc*uion      Dsgecffir        Co&


GtlsselArd      No =   lflIl
            000   08/31/17                 10,196,62          SLI\4M      10 00                   0,00            10,196.62      06/30/20         2,379.21                 84,97           594.80       2,974.01

011504      Bepairsto |NTX390265

            000   08/31/17                       444,35       SLI\4M      10 00                   0,00                444,35 06/30/20              103,69                   3,70            25.92        129.61

011505      RepairstoCP390l95
            000   08/31/17                       519.55       st|\,lM     '10
                                                                                00                0,00                519,55     06/30/20          121,25                   4,33            30,31        151.56

011506      Repairs to CP 390332

            000   08/31/17                       502.17       SLMI\4      10 00                   0.00                502,17 06/30/20              1   17,18                4,18            29,29        146.47

011507      RepairstoINTX125021

            000   08/31/17                       399.55       SLMI\,I     10 00                   0.00                lOO   AA
                                                                                                                                 06/30/20              93,25                3,33            23.31        1   16.56

01   1508   Repairs to INTX 390086

            000   0u31/17                        318.35       SLMI\4      10 00                   0.00                318.35 06/30/20                  74.29                2,65            18,57            92.86
01   1509   Repairs to INTX 390284

            000   0u31/17                        399.55       SLMI\4      l0    00                0.00                eoo qq     06/30/20              93,25                3,33            23,31        1   16,56

011510      Repahsto|NTXT4lT3
            000   08/31/17                       399.55       SLMM        l0    00                0.00                100 E(     0d30/20               93,25                3,33            23,31        1   16.56

011511      RepairstoINTX390089

            000   0u31/17                        318,35       SLMM        10 00                   0.00                318.35 06/30/20                  74,29                2,65            18.57            92.86

01   1512   Repahsto |NTX390280

            000   08/31/17                       399,55       SLMM        10 00                   0.00                399.55 06/30/20                  93,25                3.33            23.31        1   16.56

011517      SKRX50004/|NTX50004
            000   08/11/17                  8,106,00          SLMM        10 00             8,000,00                  106.00     06/30/20              25,62                0.88             6.18            31.80 r
011519      SKRX50007/INTX50007
            000   08/11/17                  8,106,00          SLI/lM      10 00             8,000,00                  106,00     0d30/20               25.62                0.88             6.18            31.80 r
011520      SKRX50009/|NTX50009
            000   0&/11/17                  8,106,00          SLMM        10 00            8,000,00                   106,00     06/30/20              25.62                0.88             6.18            31.80 r
011521      SKRX50011/|NTX50011

            000   08/11/17                  8,106,00          SLMM        10 00             8,000,00                  106,00     06i30/20              25.62                0.88             6.18            31.80 r
011526      SKBX50016/|NTX50016
            000   0u11/17                   8,106,00          SLI\,lM     10 00             8,000,00                  106,00     0d30/20               25.62                0.88             6,18            31.80 r
011s28      SKBX50022/|NTX50022
            000   0u11/17                   8,106,00          SLI\,lM     10 00             8,000,00                  106,00     06/30/20              25.62                0.88             6,18            31.80 r
011530      SKRX50025/|NTX50025
            000   08/11/17                  8,106.00          sLtltM      10 00             8,000,00                  106,00     06/30/20              25.62                0.88             6,18            31,80 r
01   1533   SKRX 55001    / INTX 5s001
            000   0&/11/17                  8,106.00          SLI\4M      10 00             8,000,00                  106,00     06/30/20              25.62                0.88             6,18            31,80 r
011548      SKRX 180012/|NTX 180012

            000   08/1v17                   8,106,00          SLI\,|M     10 00             8,000,00                  106,00     06/30/20              25.62                0.88             6,18            31,80 r
011549      SKRX 180013/|NTX 180013

            000   08/11/17                  8,106.00          SLI\4M      10 00             8,000,00                  106,00     06/30/20              25.62                0,88             6,18            31,80 r
011550      SKRX180014/INTX'180014

            000   08/1v17                   8,106.00          SLI\4M      10 00             8,000,00                  106,00     06/30/20              25.62                0,88             6,18            31,80 r
011554      SKRX 180018/INTX 180018

            000   0u11/17                   8,106.00          SLI\4M      10 00             8,000.00                  106,00     06/30/20              25.62                0,88             6.18            31,80 r
01   1613   Eagle Farms 6/1U16 Extra

            000   09/07/17                 63,000.00          SLI\4M      10 00           48,000.00               15,000.00      06/30/20         3,900,00             125,00              875,00       4,775,00 r
01   1614   Emply Car lllovement -   S00 75006
            000   09/11/17                  1,032.00          SLMM        10 00                   0,00             1,032.00      06/30/20          240,80                   8.60            60.20        301,00
011615      EmplyCarMovement-S00 125120
            000   09/11/17                  1,032.00          SLI\4M      10 00                   0,00             '1,032,00
                                                                                                                                 0d30/20           240,80                   8.60            60.20        301,00
01   1616   Empty Car l\4ovement - DSRC 385268

            000   09/21117                       350.00       SLI\4M      10 00                   0,00                350.00 06/30/20                  78.75                2.91            20.41            99,16
01   1617   Empty Car l\4ovement -   S00 74213


Arffl6,2U0rllll3lt                                                                                                                                                                                                   Peeo 118
           Case 20-11139-1-rel                                        Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                                                 Desc Main
                                                                           Document    Page 176 of 370

                                                                                                 lntestate Commodities, lnc.
                                                                                                       Depecialion Epenso Roporl

                                                                                                           As ol Jdy31,2020


Book = lnternal

FYE irlmh = December


                     lnS:w               AoquM P Dry                    Ei          Salv/168Akil           Dogecbbb           ftir       fticAciln           DE$ialion          CrmtYlD          GnelllAnrn      lGy

$yilh Ed D@                              Valuo T tldt                   tft           Soc 179                Balb             thru       D€Focldon            Ihb Run           D€flqirdion      D€go'X[i$       Co&


Ollsdlc.tNo=1fl17
               000   0924fl                   1,032,00   sLt\,lt/        10 00                  0,00               1,032.00   06/30/20          232,20                   8,60           60,20          292,40

011618 CarRepair-|NTX74176
               000   0924fl                    253.20    SLI\4M          10 00                  0,00                253,20 0030/20                   56.97               2.11           14.77           71,74

011619         EmptyCarMovement    -S00     125002

               000   09/25/'17                1,032,00   SLMM            10 00                  0,00               1,032.00   06/30/20          232.20                   8.60           60.20          292,40

011620 EmptyCarMovement-S00                 125028

               000   09/25/17                 1,032,00   sLt\4t\4        10 00                  0,00               1,032,00   06/30/20          232.20                   8.60           60.20          292,40

01      1621   Empty Car Movement -   S00   125044

               000   09/25/17                 1,032,00   sLt\4t\,l       l0    00               0,00               1,032,00   06/30/20          232.20                   8.60           60.20          292.40

011622         Empty Car Movement -   S00 1 25058
               000   09/25/17                 1,032,00   sLt\4t\4        10 00                  0,00               1,032,00   06/30/20          232.20                   8,60           60,20          292.40

0'11623 EmptyCarMovement-S00                125135

               000   09/25/17                 1,032,00   SLI\4M          10 00                  0,00               1,032,00   06/30/20          232,20                   8,60           60,20          292.40

011624 EmptyCarMovement-S00                 125136

               000   09/25/17                 1,032,00   SLI\4M          10 00                  0,00               1,032,00   06/30/20          232.20                   8,60           60,20          292.40

0'1     1625   Empty Car Movement -   S00 74282
               000   09/25/17                 1,032,00   SLI\,ll\,1      l0    00               0,00               1,032,00   06/30/20          232,20                   8,60           60,20          292,40

01      1626   Empty Car Movement - CP 390231

               000   09125117                 1,032,00   sLt\4t\4        10 00                  0.00               1,032,00   06/30/20          232,20                   8.60           60.20          292,40

011627         Empty Car Movement - CP 390213

               000   09/25/17                 1,032,00   s|!tM           10 00                  0,00               1,032,00   06/30/20          232,20                   8,60           60.20          292,40

011628 EmptyCarMovement-S00                 125052

               000   09/25/17                 1,032,00   SLI\.,IM        t0    00               0.00               1,032,00   06/30/20          232.20                   8.60           60.20          292,40

0   1   1629   Empty Car Movement -   S00 74165
               000   09/25/17                 1,032,00   SLMM            10 00                  0.00               1,032.00   06/30/20          232,20                   8.60           60.20          292,40

01      1630   Empty Car Movement - CP 390029

               000   09/25/17                 1,032,00   SLMM            10 00                  0,00               1,032.00   06/30/20          232.20                   8.60           60,20          292,40

01      1631   Repairsto - INTX 390332

               000   09/30/17                  446,35    SLMM            10 00                  0.00                446,35 06/30/20             100.45                   3.72           26,04          126.49

01      1632   Repairsto-INTX 390037
               000   09/30/17                  527.55    SLMM            10 00                  0,00                527,55 06/30/20             '1
                                                                                                                                                     18.71               4,39           30,77          149.48

01      1633   Repairsto - INTX 74293

               000   09/30/17                  621,87    SLMM            10 00                  0.00                621,87    06/30/20          139,93                   5,18           36.27           176.20

011634 Repairsto-|NTX74213
               000   09/30/17                  748,33    SLMM            10 00                  0.00                748,33    06/30/20           168,37                  6,24           43,65          212.02

011635 Repairsto-|NTX74182
               000   09/30/17                  461,35    SLMM            10 00                  0.00                461.35    06/30/20           103,81                  3,84           26.91           130.72

01      1636   Repajrsto-INTX 123920
               000   0980n7                  \742,89     SLMM            10 00                  0.00           11,742.89      06/30/20         2,642,15                 97,86          685,00         3,327,15

01      1637   Repairsto-INTX 123935
               000   09/30/17                11,707,89   SLMM            10 00                  0,00           1   1,707,89   06/30/20         2,6U,28                  97.57          682.96         3,317,24

01      1641   Empty Car Movement -   S00 74225
               000   10/19/17                 1,032,00   SLMM            10 00                  0,00               1,032,00   06/30/20          223.60                   8.60           60,20          283,80

011642         Empty Car l\4ovement - CP 390147

               000   10/19/17                 1,032,00   SLMM
                                                                         '10
                                                                               00               0,00               1,032.00   06/30/20          223.60                   8.60           60,20          283.80
01      1643   Empty Car Movement -   S00 74230
               000   10/19/17                 1,032,00   SLMM            10 00                  0,00               1,032.00   00/30/20          223.60                   8,60           60,20          283.80
01      1644   Empty Car Movement - CP 390242

               000   10/19/17                 1,032,00   SLMI\4          10 00                  0,00               1,032.00   06/30/20          223.60                   8,60           60.20          283.80
0   1   1645   Empty Car Movement - CP 390107

               000   10/19/17                 1,032.00   SLMI\4          10 00                  0.00               1,032,00   0d30/20           223,60                   8.60            60.20         283.80

01      1646   Empty Car Movement -   S00 74155


                                                                                                                                                                                                                        ,l19
                                                                                                                                                                                                                 Preo
^lu!tq2m0d11l3tll
                Case 20-11139-1-rel                                             Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                                                   Desc Main
                                                                                     Document    Page 177 of 370

                                                                                                             lnterctate Commodities, lnc.
                                                                                                                   Drys<ia[ion Epense Repoil

                                                                                                                       As ol Jtiy 31, 2020


Book = lntemal

FYE          iiotth   = December


                         ln   Srt                Aoeid             P   DEr         Et        Salv/l68thw               Doprschblo          ftir       ftfrAcqrlr       Dqrscidon              CmnlYlD        AmtAc{un       lGy
SlsNo              Ht    Dsh                       Va[B            T   tlodr       rb          S€c
                                                                                                     .l79
                                                                                                                         Balb              Ihru       Domddim           Ihb Bun               Ihmcbbn        Dorscldhn      Go6


OtAsotlrdNo               = 1gl7
        000              10/19/17                       1,032,00   P   SLMI\,I
                                                                                   't0 00                   0,00                1,032,00   06/30/20          223.60                8,60            60.20          283,80

01      1647       Empty Car Movement -CP 390199

                   000   10/19/17                       1,032.00   P   SLMi/       10 00                    0,00                1,032.00   0d30/20           223.60                8.60            60,20          283,80

01      1648       Empty Car l\4ovement -CP 390153

                   000   10/19/17                         257.00   P   SLI\4M      10 00                    0.00                 257,00    06/30/20           55,68                2,14
                                                                                                                                                                                                    '14.99
                                                                                                                                                                                                                   70.67

01      1649       Empty Car l\4ovement -       S00 74261
                   000   1u25/17                        1,032.00   P   SLI\4M      10 00                    0,00                1,032.00   06/30/20          223,60                8,60            60,20          283.80

01'1650            Empty Car lllovement -       S00   125030

                   000   10/25/17                       1,032.00   P   SLIIIM      10 00                    0.00                1,032,00   06/30/20          223.60                8,60             60,20         283.80

01'1651            Empty Car l/lovement     -   CP 385282

                   000   10/25/17                       1,032,00   P   SLMM        10 00                    0.00                1,032,00   06/30/20          223.60                8.60             60.20         283,80

01      1652       Empty Car Movement-          S00 74304
                   000   10/25/17                       1,032,00   P   SLMM        10 00                    0.00                1,032.00   06/30/20          223.60                8.60             60.20         283,80

01      1653       Empty Car Movement-CP 390132

                   000   10/26/17                       1,032,00   P   SLMI\,I     10 00                    0,00                1,032,00   0d30/20           223,60                8,60             60,20         283.80

01'1654            Empty Car Movement - CP 390142

                   000   10/26/17                       1,032,00   P   SLMM        10 00                    0,00                1,032.00   06/30/20          223.60                8,60             60,20         283.80

01      1655       Empty Car Movement -         S00 74252
                   000   10/26/17                       1,032,00   P   SLMM        10 00                    0.00                1,032.00   06/30/20          223.60                8.60             60.20         283.80

011656             EmptyCarMovement-S00 125054
                   000   10/26/17                       1,032.00   P   SLI\4M      10 00                    0.00                1,032,00   06/30/20           223.60               8.60             60.20         283,80

0   1
        'l
             657   Empty Car Movement -         S00 74269
                   000   10/26/17                       1,032.00   P   SIMM        10 00                    0.00                1,032,00   06/30/20           223,60               8.60             60,20         283,80

011658             EmptyCarMovement         -   S00   125014

                   000   10/26/17                       1,032.00   P   SLMM        10 00                    0.00                1,032.00   06/30/20           223.60               8,60             60,20         283.80

011659             Repairsto"|NTX74880
                   000   10/31/17                       6,660,23   P   SLMI\,I     10 00                    0,00                6,660,23   06/30/20         1,443.04              55.50            388,51        1,831.55

011660             Repairsto-|NTX123946
                   000   10/31/17                      12,071,15   P   SLMI\4      10 00                    0,00            12,071.15      06/30/20         2,615.43          100.59               704,15        3,319,58

01166'i            Repairsto-|NTX123688
                   000   10/31/17                      11,871,23   P   SLMM        10 00                    0,00            1   1,871.23   06/30/20         2,572.09              98,92            692.48        3,264,57

011662             Repairsto- |NTX20562
                   000   10/31/17                         561,35   P   SLI\4M      10 00                    0.00                 561.35 06/30/20              121,65               4.67             32,74          154.39

011663             Repairsto-INTX 16047
                   000   10/31/17                         575.88   P   SLMM        10 00                    0.00                 575,88 06/30/20              124.79               4.80             33.59          158.38

0'11664 Repairsto-INTX                   18162

                   000   10/31/17                         57s.88   P   SLMM        10 00                    0,00                 575,88    06/30/20           124.79               4.80             ea ao          158,38

011665             Repairsto- |NTX20317
                   000   10/3'1/17                        494.68   P   SLMI\,I     10 00                    0,00                 494.68    06/30/20           107,19               4,12             28,85          136,04

01      1666       Repairsto - INTX 500362

                   000   10/31/17                         454.55   P   SLMM        10 00                    0,00                 454.55    06/30/20            98,51               3,78             26.51          125.02

011667             Repairsto- |NTX500073
                   000   10/31/17                         454,55   P   SLMM        10 00                    0.00                 454.55    0d30/20             98.51               3.78             26.51          125.02

011668             Repairsto-|NTX20715
                   000   10/31/17                         454,55   P   SLI\4M      10 00                    0.00                 454,55    06/30/20            98.51               3.78             26.51          125,02

011669             Repairslo.|NTX4153l
                   000   '10/31/17                        373.35   P   SLMM        l0   00                  0,00                  373.35   06/30/20            80,90               3,11             21,78          102,68

011670             Repairsto-|NTX500352
                   000   10/31/17                         373.35   P   SLMIII      10 00                    0,00                  373.35   06/30/20            80.90               3.1    1         21.78          102.68

011671             Repairsto- |NTX500290
                   000   10/31/17                         373.35   P   SLMM        10 00                    0.00                  373,35   06/30/20            80.90               3.1    1         21.78          102.68

011672 Repairsto-                   INTX 18534



                                                                                                                                                                                                                            PeF   120

^ls!il6,md1fi34t
          Case 20-11139-1-rel                                        Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                                                       Desc Main
                                                                          Document    Page 178 of 370

                                                                                                  lntestate Commodities, lnc.
                                                                                                        Depeddion Eryense Report
                                                                                                            As   ofJtty3l,2020

Book = lntemal

FYE ltrlcnh = December


                 lnSrt                Acqtied          P   Dq.         Est        Sdv/lmAbw                D€ptchlb              hbr        Hillcqn             DEttddion             Cu$tY-ID       AmilAcum       lGy
SysNo     ff     Dah                   Va[p            T   ll€dr       tfr          Sec
                                                                                          ,l79
                                                                                                                 Besb            Ihru       Depr*ditn            lhb   Bun            Dqnc*lim       D€uecHon Co*



          000    10/31/17                     721.69       SLMM         10 00                    0.00                   721,69   06/30/20          156,37                    6,01           42.09         198.46

01 1673   Repairsto-INTX 19167
          000    10/31/17                     477.55       SLMM         10 00                    0.00                   477,55   06/30/20          103.49                    3.98           27.86         131.35

01 1674   Repairs to - INTX 80018

          000    10/3'1/17                    711.35       SLMM         l0   00                  0.00                   711.35   06/30/20          154.15                    5.92           41,49         195.64

01 1675   Repahs to - INTX 27694

          000    10/3117                      477.55       SLMM         10 00                    0.00                   477.55   06/30/20          103.49                    3.98           27.86         13'1,35

01 1676   Repairs    to- INTX 20718
          000    10/31/17                     536.s5       SLMM         10 00                    0.00                   536.35 06/30/20            1   16.23                 4,47           31,29         147.52

01 1677   Repairs to - INTX 74525

          000    1031/17                      923.31       SLI/M        10 00                    0.00                   923,31   06/30/20          200.05                    7,69           53,85        253,90
01 1678   Repairs to - INTX 385100

          000    10/31/17                     122.26       SLMM         10 00                    0.00                   122.26   06130/20              26,51                  1,02           7.13          33,64
01 1679   Repairs to - INTX 385122

          000    10/31/17                     640.56       SLMM         l0   00                  0.00                   640.56   06/30/20          138,81                     5,33          37.36         176,17

01 1680   Repairs to . INTX 385177

          000    10/31/17                     161.46       SLMM         10 00                    0.00                   161.46   06/30/20              34,99                  1,35           9.42          44,41

01 1681   Repairs to - INTX 74182

          000    10/31/17                     154.20       SLMM         10 00                    0.00                   154.20   06/30/20              33,41                  1,28           8,99          42.40

01 1684   AEX 11797

          000    1d06/17                  8,000.00         SLMM         10 00             8,000.00                        0.00 06/30/20                 0.00                  0.00           0,00           0.00 dr
01 1692   4EY,12414

          000    10/06/17                 8,000.00         SLMM         10 00             8,000.00                        0.00   uMl20                  0.00                  0.00           0,00           0.00 dr
01 1696   \EX12462
          000    10/06/17                 8,000.00         SLMM         10 00             8,000.00                        0.00 01131120                 0.00                  0,00           0,00           0.00 dr
01 1709   \EX12527
          000    10/06/17                 8,000.00         SLMM         10 00             8,000.00                        0,00   uBln0                  0.00                  0,00           0.00           0,00 dr
01 1715   AEX 12596

          000    10/06/17                 8,000.00         SLMM         10 00             8,000.00                        0,00 06/30/20                 0.00                  0.00           0.00           0,00 r
01 1717   AEX 12599

          000    10/06/17                 8,000.00         SLMM         10 00             8,000.00                        0,00 06/30/20                 0,00                  0.00           0.00           0.00 r
011721    ,iEX12627

          000    10/06/17                 8,000.00         SLMM         10 00             8,000,00                        0.00 06/30/20                 0,00                  0.00           0,00           0.00 r
011732    AEX 13499

          000    10/06/17                 8,000,00         SLMM         10 00             8,000,00                        0.00 06/30/20                 0.00                  0.00           0,00           0.00 r
011762    Repairs to . SKRX 180026

          000    1   t/06/17                  124,17       SLMM         10 00                    0.00                   124.17   06/30/20              26.91                  '1.03
                                                                                                                                                                                             7.24          34.15
01 1763   Repairs to . SKRX 50002

          000    11/06/17                     124,17       SLMI\,l      10 00                    0.00                   124.17   06/30/20              26.91                  1,03           7.24          34,15
01 1764   Repairs to - SKRX 50023

          000    11/06/17                     124.17       SLMI\4       10 00                    0.00                   124.17   06/30/20              26.91                  1,03            7.24         34.15
01 1765   Repairs to - SKRX 50015

          000    11/06/17                     124,17       SLMI\I       10 00                    0,00                   124.17   0&30/20               26,91                  1,03            7,24         34,15
01 1766   Repairs to - SKRX 50034

          000    1   1/06/17                  124.15       sLMtr,l      10 00                    0,00                   124,15   06/30/20              26,9'1                 1,03            7,24         34,'15

01 1767   Repairs to - SKRX 50000

          000    1'1/06/17                    124,17       SLMM         10 00                    0,00                   124,17   06/30/20              26,91                  1.03            7,24         34,15
01 1768   Repahs     to- INTX 74201
          000    11127117                 2,761,26         SLI\4M       10 00                    0.00               2,761.26     06/30/20          575,27                    23.01          161,07        736.34
01 1769   Repairs to - INTX 75201

          000    11127117                     440.20       SLI\4M       10 00                    0.00                   440.20   06/30/20              91.72                  3.66           25.67        I 17.39

01 1770   Repairs to - INTX 390085



Ary!il6,nmsfilX3All                                                                                                                                                                                                 PeFl2l
              Case 20-11139-1-rel                                              Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                                                    Desc Main
                                                                                    Document    Page 179 of 370

                                                                                                         lnterstate Commodities, nc,               I



                                                                                                               Deprc<hlion Epenso R€pott

                                                                                                                   AsolJrly3l,2tE0

Book= lntemal

FYE iroflh = December


                        ln Stvc              A.quisd           P      Dopr       Ed         Salv/t68Ahry           D€Focl'bb            Prix           HirAccm          DopBcidon            qmdY'ID         CutnlAmn       lGy
Systlo En               Ddo                   Value            T      lldr       tft          Soc 179                                   thru           Denetioiim        IhbRun              IhmdAion        DeCoddol       Co6


G/LftselArdtlo= l80l
                  000   11127117                   1,003.38    P      SLMM        10 00                 0.00                1,003,38    06/30/20              209,04                  8,36          58,53         267.57

011771            Repairsto-|NTX75213
                  000   11127117                   1,105.59    P      SLMI\4      10 00                 0.00                1,105.59    06/30/20              230.33                  9.21          64,49         294.82

011772            Emply Car l\4ovement -   S00   125017

                  000   11/30/17                   1,032.00    P      SLMI\4      10 00                 0.00                1,032.00    06/30/20              215.00                  8.60          60.20         275.20

0 l     1   773   Emply Car liovement - CP 385204

                  000   11/30/17                   1,032.00    P      SLMI\4      10 00                 0,00                1,032.00    0d30/20               215.00                  8,60          60.20         275.20

011774            Repalrsto- INTX 1250'10

                  000   11/30/17                      691.36   P      SL|\4M      10 00                 0,00                 691,36 06/30/20                  144,04                  5.76          40,33         184.37

011775            Repairsto- |NTX74282

                  000   11/30/17                   1,059,31    P      SLIIIM      t0   00               0,00                1,059,31    06/30/20              220,70                  8.83          61.79         282.49

011776            Repairsto-INTX 125058
                  000   11/30/17                   1,023,13    P      SIMM        10 00                 0.00                1,04.13 06/30/20                  213.16                  8.53          59.68         272.84

011777            Repairsto-|NTX125002
                  000   11/30/17                   3,373,91    P      SLMM        10 00                 0,00                3,373,91    06/30/20              702.91              28,12            196,81         899,72

011778            Repairsto-|NTX500214
                  000   11/30/17                      406.35   P      SLMM        10 00                 0.00                 406.35 06/30/20                   84,68                  3,38          23,70         108,38

01      1779      Repairs   to- INTX 23254
                  000   11/30/17                      406,35   P      SLMM        10 00                 0,00                 406.35     0il30/20               84.68                  3.38          23,70         108.38

01      1780      Repairs to - INTX 125044

                  000   11/30/17                   1,153.44    P      SLMI\4      10 00                 0,00                1,153,44    06i30/20              240.29                  9.61          67.28         307.57

01      1781      Repahs to - INTX 125136

                  000   11/30/17                   1,043.26    P      SLI\4M      10 00                 0,00                1,043,26    06/30/20              217.35                  8,69          60.85         278,20

011782            Repairs to - INTX 125028

                  000   11/30/17                   1,347,81    P      SLIIIM      10 00                 0.00                1,347.81    06/30/20              280.79              1   1,23          78,62         359,41

01'1783           Repairsto- |NTX390231

                  000   11/30/17                   3,331,03    P      SLMM        10 00                 0.00                3,331.03    0d30/20               693,97              27.75            194.30         888.27

011784            Repairsto-INTX 125135
                  000   1t/30/17                   1,094,62    P      SLMM        10 00                 0.00                1,094,62    06/30/20              228,04                  9.12          63.85         291.89

011785            Repairsto-INTX 125052
                  000   11/30/17                      7i1.15   P      SLMM        '10 00                0,00                 77 1.15    06/30/20               160.68                 6,42          44,98         205,66

011786            Repairsto-|NTX390110
                  000   11/30/17                   1,495.97    P      SLMI\4      10 00                 0.00                1,495.97    06/30/20              311,68              12,46             87,26         398,94

011787            Repairsto-|NTX390213
                  000   1   r/30/17                   988.27   P      SLI\4M      10 00                 0.00                  988,27    06/30/20              205,91                  8.24          57.65         263,56

01      1788      Repahs to - INTX 21864

                  000   11/30/17                      456,35   P      SLI\4M      l0   00               0.00                  456.35    06/30/20                95.08                 3,80          26.62         121.70

01      1789      Repairs to - INTX 124001

                  000   11/30/17                  11,869,46    P      SLMM        10 00                 0.00            1   1,869,46    06i30/20             2,472.81             98,91            692.38        3,16s,19

011790            Repaimto- INTX 123603

                  000   11/30/'17                 20,638,30    P      SLMM        10 00                 0,00           20,638.30 06/30/20                    4,299,66          171.99             1,203,90       5,503,56

0'1     1791      Empty Car Revenue luovement - CP 390219

                  000   fl21117                    1,032,00    P      SLM|\4      10 00                 0,00                '1,032.00
                                                                                                                                        06/30/20               206,40                 8.60          60.20         266.60

0   1   1792      Empty Car Revenue Movement .        S00 74242
                  000   12121117                   1,032.00    P      SLMM        10 00                 0.00                1,032,00    06/30/20               206.40                 8.60          60,20         266,60

01      1793      Empty Car Revenue Movement-         S00 74190
                  000   12121117                   1,032.00    P      SLI\4M      10 00                 0.00                1,032,00    06/30/20               206,40                 8,60          60,20         266,60

01      1794      Empty Car Revenue Movement -        S00   125031

                  000   fl21117                    1,032,00    P      SLMM        10 00                 0,00                1,032.00    06/30/20               206,40                 8.60           60,20        266,60
                                                            '125123
0 i     1795      Empty Car Revenue Movement -        S00
                  000   12121117                   1,032,00    P      SLMM        10 00                 0.00                1,032.00    06/30/20               206.40                 8.60           60.20        266.60

01      1796      Empty Car Revenue Movement -        S00 74297


Au$!il6,2U0r11ffift                                                                                                                                                                                                         Pwl22
            Case 20-11139-1-rel                                         Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                                             Desc Main
                                                                             Document    Page 180 of 370

                                                                                                lnterstate Commodities, lnc.
                                                                                                      Dep€drilion Eeonso R€pott

                                                                                                          AsolJrlySl,2020

196l = lnternal

FYE iilonh = December


                      lnS:w              Ac$iod          P   Dor          Eli      Sslv/l68Abw            Dopchbb             hid        hirAciln         DEr€ch[on            CmntY'ID          CurontAcqn        l(oy
SysNo Ed              Dde                 V&F            T   tmr          tft        S€c 179                Ba{*              thru       Doproddion        Ihb   Run           DoFEcffin         DogEddion         Co&


GlLlsrstAcdNo= lffl7
                000   12121117               1,032,00    P   SLMM         10 00                0.00            1,032.00       06/30/20          206,40                 8,60           60,20           266,60

0   1 1   797   Emply Car Revenue Movement .    S00 74302
                000   12121117               1,032,00    P   SLMI\4       10 00                0,00            1,032.00       0d30/20           206.40                 8,60           60,20           266.60

01    1798      Emply Car Revenue   Movement-S00 74321
                000   fl21t17                1,032,00    P   SLM|\4       10 00                0,00            1,032.00       06/30/20          206.40                 8.60           60.20           266.60

01    1799      Empty Car Revenue Movement - CP 390125

                000   fl21117                1,032,00    P   SLMI\4       10 00                0,00            1,032,00       06/30/20          206,40                 8.60           60.20            266,60

011800          Repairsto|NTX390107

                000   1231/17                   460.01   P   SL|\4M       10 00                0.00                460.01     06/30/20           92,00                 3,83           26.83            1   18,83

011801          Repairsto|NTXT4l65
                000   1231/17                   525.89   P   SLll4M       10 00                0.00                525.89 06/30/20              105,18                 4.38           30,67            135.85

011802          Repairsto|NTX390l99
                000   1231/17                   483.55   P   SLMM          10 00               0.00                483,55 06/30/20               96.72                 4.03           28.21            124.93

011803          Repairsto|NTXT42S0

                000   1231/17                   436,47   P   SLMM          10 00               0.00                436,47 0d30/20                87.30                 3.64           25.46            112.76

011804 Repairsto|NTX74225l
                000   12131117                  402,35   P   SLMM          10 00               0,00                402.35 06i30/20               80,48                 aaa            23,47            103,95

011805          RepairsloINTX'125120

                000   1231/17                   505,53   P   SLMI\4        10 00               0,00                505.53 06/30/20              101,10                 4.21           29,48            130,58

011806          Bepairsto |NTX74252

                000   fl31117                1,369.62    P   SLI\41\4      10 00               0.00            1,369.62       06/30/20          273.92                 11.41          79.89            353.81

011807          Repairsro |NTX74190

                000   1231/17                   712.27   P   SLI\4M        10 00               0.00                712,27 0030/20               142.46                  5,94          41.55            184.01

011808          RepairstoINTX385204

                000   fl31117                   425.27   P   SLMM          10 00               0.00                425.27     06/30/20           85,06                  3,54          24,80            109,86

01    1809      Repairs to INTX 385282

                000   In1|fl                    92s.23   P   SLMM          10 00               0,00                925.23 06/30/20               185.04                 7.71          53,97            239,01

011810          Repairsto|NTX125054

                000   12131117               1,114,44    P   SLMM          10 00               0,00            1,114,44       06/30/20          222.88                  9.28          65.00            287.88

011811          Repairsto|NTX390153

                000   ln1|fi                 1,111,43    P   SLMI\4        10 00               0.00            1,1 1   1,43   06/30/20          222.28                  9,26          64.83            287.11

011812 Repairsto|NTXT426l
                000   fl31117                1,094,44    P   SLMM          10 00               0.00            1,094,44       06/30/20          218,88                  9,12          63,84            282,72

011813          Bepairslo|NTX390147
                000   12131117                  925,23   P   SLI\4M        10 00               0.00                925.23 06/30/20               185,04                 7.71          53,97            239,01

011814          Repairsto|NTXT4269

                000   1231/17                   901.43   P   SLI\4M        10 00               0,00                901.43 06/30/20               180.28                 7.51          52.58            232.86

011815          Repahsto|NTX390219

                000   12131117                  355.2i   P   SLMM          10 00               0,00                355,2i 06/30/20                71.06                 2,96          tv.t   I             91.78

0118'l6         RepaimtoINTX390142

                000   1231/17                2,315,99    P   SLMI\4        10 00               0.00            2,315.99       06/30/20          463,20                 19,30         135.10            598.30

011817          Repairsto|NTX390253

                000   ln1|fl                 1,014,22    P   sLMl\4        10 00               0.00            1,014,22       06i30/20           202.84                 8.45          59,16            262,00

011818          Repairsto INTX 125017

                000   12131117                  785,23   P   SLI\4M        10 00               0.00                785.23 06/30/20               157.04                 6,54          45.80            202.84

0118.19         Repairsto|NTXT4242

                000   12131117               1,102.73    P   SLMM          10 00               0,00             1,102.73      06/30/20           220.54                 9,19          64,32            284.86

01    1820      Repairs lo INTX 125014

                000   121s1117               1,107.21    P   SLMM          10 00               0.00             1,107.21      0d30/20            221.44                 9.22          64,58            286.02

011821          Repairsto INTX 182989

                000   1231/17                   526.35   P   SLMI\4        10 00               0.00                526.35 06/30/20               105.28                 4.38          30.70            135,98

011822          RepairstoINTX390242



AuSHqmdlflsAll                                                                                                                                                                                                     PlF128
          Case 20-11139-1-rel                                            Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                                                       Desc Main
                                                                              Document    Page 181 of 370

                                                                                                     lntels{ate Commodilies, lnc.
                                                                                                           Depecialion Eryense Ropoil

                                                                                                               AsolJrly3l,2020

Book= Intemal

FYE   ilmh   = December


                lnSrr               tuqtM                 P   D€pr         Ed          Salv/168Alott           Deg€chbb            Prir       PiltAciln           Doprddion           CmntY'ID            OmntAcfln       Koy

SlsNo Ed        Dab                    Vduo               T   Itoilr       t-h            Soc 179                                  lhru       Ihprodaion           Ih'p Bun           Do9ror*dim          Dsfle'*dhn      Co&


OtAasellrdNo=      1fl17

          000   ln1lr                         522,07          SLI\,lM       10 00                   0,00              522.07 06/30/20                 104,42                  4,35               30.45          134,87

01 1823   Repairsto INTX 385460

          000   1231/17                       139,60          SLI\,,lM      10 00                   0,00               139.60      06/30/20               27,92                1.16                8.14          36,06

0l 1824   Repairs to INTX 74i1371

          000                                                               '10
                12131117                      1   15,26       SLI\,lM             00                0,00               1   15.26   06/30/20               23,06               0.96                 6,72          29.78

011825    Repairsto INTX 390184

          000   12131117                      772,42          ELMM          10 00                   0,00              772.42       06/30/20           154.48                  6.43               45,05          199.53

011826    Repairsto INTX 69985

          000   1231/17                       136,03          SLMM          10 00                   0,00               136,03      06/30/20               27.20                1,13                7.93          35.13

0l 1827   Repairs to INTX 385359

          000   12131117                      785,45          SLMM          10 00                   0,00              785,45       06/30/20           157.10                  6,55               45.82          202,92

01 1828   Repairsto INTX 74500

          000   1431117                       580,22          SLMM          10 00                   0.00              580,22 0030/20                  1   16,04               4.83               33.84          149,88

011829    Repairsto INTX 59171

          000   u31117                        132.18          sLMtlt        10 00                   0.00               132,18      06/30/20               26,44                1,10                7.71          34,15

011830    Repairs to INTX 385436

          000   u31117                        632.14          SLMI\,l       t0    00                0.00               632.14      06i30/20           126.42                  5.27               36,87          163.29

01 1855   Empty Car Revenue Movement -        S00 74270
          000   01/03/18                  1,032.00        P   sLMl\4        10 00                   0.00             1,032,00      06/30/20           206,40                  8.60                60,20         266,60

01 1856   Repairsto INTX 500126

          000   01/31/18                      536.47      P   SLMM          10 00                   0.00              536.47       06/30/20           '102.83                 4.47               31.29           134.12

01'1857   Repairsto INTX 385177

          000   01/31/18                  1,806.83        P   SLMM          10 00                   0.00             1,806.83      06/30/20           346.31                  15,05              105,39         451,70

011858    Repairsto INTX 8t1058

          000   01/31/18                      455.27      P   SL|\4M        10 00                   0,00               455,27      06/30/20               87,26               3.79                26,55          113,81

01 1859   Hepairsto INTX 74230

          000   01/31/18                      279.22      P   SLtltM        10 00                   0,00               279,22 06/30/20                    53,52                2.32               16,28           69,80

0l 1860   Repairs to INTX 8 15460

          000   01/10/18                      258.51      P   SLMM          '10
                                                                                  00                0,00               258.51      06/30/20               51.70                2.15               15,07           66.77

01 1861   Blue Ridge Railcar Repair

          000   ln\|fl                  154,096,90        P   SLMM          08 00                   0,00           154,096.90      06/30/20        38,524.22            1,605,18              11,zJ6,23       49,760.45

01 1862   Blue Ridge Railcar Repairs

          000   fl31117                1,618,372,51 P         SLMI\4        08 03                   0.00         1,618,372,51      06/30/20       392,332.74           16,347,20          1   14,430.38      506,763,12

01 1863   Empty Car Revenue l\,lovement-      S00 74184
          000   0206/18                   1,032,00 P          SLMI\4        10 00                   0.00             1,032,00      06/30/20           197,80                   8.60               60,20         258,00

01 1864   Empty Car Revenue Movement-         S00 74221
          000   0216/18                   1,032,00 P          SLMI\,I       10 00                   0.00             1,032.00      06/30/20           189,20                   8.60               60,20         249,40

011865    Empty CarRevenue Movement - CP 390246

          000   0427h8                    1,032,00 P          SLMM          10 00                   0,00             1,032.00      06/30/20           189.20                   8.60               60,20          249,40

0'11866   Repahs to INTX 74190

          000   022u18                            70.00 P     SLMM          '10 00
                                                                                                    0,00                   70,00   06/30/20               12,83                0,58                4.08           16.91

01 1867   Repairsto INTX 390029

          000   0228/18                       135.78 P        sLtltM        10 00                   0,00               135.78      06/30/20               24.90                1,13                7.92           32.82

01 1868   Repairs lo INTX 3902'19

          000 0228/18                             56.00   P   SLt M         10 00                   0,00                   56.00   06/30/20               10.27                0.46                3,26           13,53

01 1869   Repairs to INTX 74282

          000 0228/18                             68.95   P   SLMM          10 00                   0.00                   68,95   06/30/20               12,65                0.57                4.02           16,67

01 1870   Repairs to INTX 125136

          000 02124fi                         246.06      P   SLM|\4        10 00                   0.00               246,06 0d30/20                     45.12                2.05               14.35           59.47

01 1871   Repairs to INTX 125044

          000 0228/18                             7O.OO   P   SLMIU         10 00                   0,00                   70.00   06/30/20               12,83                0.58                4.08           16.91

011872    Repairs to INTX 74184



AuUsO,malmrf                                                                                                                                                                                                              w121
             Case 20-11139-1-rel                                       Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                                                    Desc Main
                                                                            Document    Page 182 of 370

                                                                                                    lnteHate Commodities, lnc,
                                                                                                          Depedailion   EpenseRqoft
                                                                                                              As ol Jrly 31, 2020


Book = lntemal

FYE       ilonh   = December


                      lnSrt              lrflied         P   DoF         Es.t        Salv/1684hfl             Doprsclsib         Rix        RiotAcqn         Dopncidon              Crmnll'lD       qmdAcun           lGy

SrBNo           H     Dsh                                T   tt€ilr      tfr           Soc   i79                 Basb            firu       DeoFdafon         thh Run               Deqeckditn      Doq€clilkn        Co&



OLAsse[Ardt{o= 1fl17
                000   02/28/18                 435.53    P   SLMI\4      10 00                     0,00                 435.53   06/30/20           79.85               3.63                25,40         105,25

011873          Repairsto|NTXT422l
                000   0228/18                  471,47    P   sLMtlt      10 00                     0,00                 471,47   06/30/20           86,44               3.93                27.50         1   13,94

011874          RepairstoINTXT5006

                000   0228/18                  574.37    P   SLMM        10 00                     0,00                 574,37 06/30/20            105,31               4.78                33,50         138.81

011875          Repairsto |NTX480347

                000   0228/18                  405.27    P   SLI\4M      10 00                     0.00                 405.27   0d30/20            74.30               3,38                23,64             97.94

011876          Repairsto INTX 125031

                000   0228/18                  491.99    P   SLi/lM       10 00                    0.00                 491.99   06/30/20           90.20               4.10                28.70
                                                                                                                                                                                                          '118,90

01    1877      Repairs to INTX 74302

                000   0228/18                  436.47    P   SLMM         10 00                    0,00                 436,47   06/30/20           80,02               3,64                25.46         105.48

01    1878      Repairs to INTX 390132

                000   0228/18                  421,05    P   SLMI\4       10 00                    0,00                 421.05   06/30/20           77,20               3,5't               24,56         101.76

011879          Repairsto|NTX220ll
                000   0228/18                  556.47 P      SLMM         10 00                    0.00                 556.47   06/30/20          102.02               4,64                32.46         134,48

011880          Repairsto|NTXT429T

                000   0228/18                  446.73    P   SLI\4M
                                                                          '10
                                                                                00                 0.00                 446.73   06/30/20           81,90               a7t                 26.05         107,95

011881          RepairstoINTXT432l
                000   0228/18                  516.73 P      SLI\,lM      10 00                    0.00                 516,73   06/30/20           94,73               4,31                30.14         124.87

011882          Repairslo|NTX390l25
                000   0228/18                   445,79   P   SLMI\4       10 00                    0,00                 445.79   06/30/20           81,73               J,/     I           26.00         107,73

011883          Repairsto|NTX390029

                000   0228/18                  553,55 P      SLMI\,l      10 00                    0,00                 553.55 06/30/20            101.49                4.61               32.29         133,78

011884          Repairsto|NTXT4l55
                000   0228/18                  443,88    P   SLMM         10 00                    0.00                 443.88   06/30/20           81,38                3,70               25,89         107.27

011885          Bepairsto|NTX 125030
                000   0228/18                  541.47    P   SLI\4M       10 00                    0,00                 541,47 06/30/20             99.27                4,51               31.58         130.85

011887          4S96D4538GU379041 /Rl\4R2279041

                000   0228/18                1s,460.00   P   SLMM         20 00                    0,00            15,460.00     06/30/20         1,417.17              64.42              450,92        1,868,09 d
011888          4S96D453XGU379042 I 8MR2279042

                000   0228/18                15,460,00   P   SLMI\4       20 00                    0.00            15,460,00     06/30/20         1,417.17              64.42              450,92        1,868,09 d
01'1889         4S96D4531GU379043/ RMR2279043

                000   0228/18                15,460,00   P   SLMM         20 00                    0.00            15,460.00     06i30/20         1,417,17              64,42              450.92        1,868.09 d
0't   1890      4S96D4533GU379M4 / RMR2279044

                000   0228/18                15,460.00   P   SLI\4M       20 00                    0,00            15,460.00     06/30/20         1,417.17              64.42              450.92        1,868.09 d
01    1891      4S96D4535GU379045 / Rl\4R2279045

                000   0228/18                15,460.00   P   SLMM         20 00                    0,00            15,460,00     06/30/20         1,417.17              64.42              450.92        1,868,09 d
01    1   892   4S96D4030GU379073 / RMRZ279073

                000   0228/18                19,460,00   P   SLMI\4       20 00                    0.00            19,460,00     06/30/20         1,78t.83              81,08              567,58        2,351.41

011893          4S96D4032GU379074 I RMn2279074

                000   0228/18                19,460,00   P   SLMM         20 00                    0.00            19,460.00     06/30/20         1,7&3.83              81,08              567.58        2,351.41

01    1894      4S9GK4027GW41    1068 / Rl\4R231 1068

                000   0228/18                10,460.00   P   SLI\4M       20 00                    0.00             10,460.00    06/30/20          958,83               43.58              305.08        1,263,91 d
01    1895      4S9GK4029GW41 1069 / RMRZ3l 1069

                000   0228/18                10,460,00   P   SLMM         20 00                    0.00             10,460,00    06/30/20          958,83               43,58              305,08        1,263,91 d
01    1896      4S9GK4025GW41 1070 / RMRZ31 1070

                000   02128/18               10,460,00   P   SLMIV        20 00                    0.00             10,460.00    06/30/20          958.83               43.58              305,08        1,263.91 d
01    1897      4S9GK4027GW41     1071 / RMRZ31 1071

                000   0228/18                10,460.00   P   SLMM         20 00                    0,00             10,460.00    06/30/20          958,83               43.58              305.08        1,263,91 d
01    1898      4S9GK4029GW41 1072/ RlllRZ31 1072

                000   0228/18                10,460.00   P   SLI\IM       20 00                    0.00             10,460,00    06/30/20           958,83              43,58              305,08        1,263.91 d
01    1899      4S9GK4020GW41 1073 / RMRZ31 1073



Al[Hs,APlldlllgAI                                                                                                                                                                                                     PeSlS
             Case 20-11139-1-rel                                      Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                                                  Desc Main
                                                                           Document    Page 183 of 370

                                                                                                lnterctate Commodities, lnc.
                                                                                                      Deprccialion Epenso Ropoil

                                                                                                          As   olJdy3l,202t

bok=     Intemal

FYE llrlonh = Decemhr


                   ln   Src          Ao$M              P   DEr          Ei       SalY/168   Alotv         Doprochbb           Pril       ftkrAccm          Doptttdal[on          C/mltY'ID       GmntAciln      lGy

StlNo Ed           Dab                Vdrs             T   ildr         t.h         Sec 179                    Balb           Ihru       Deomtidbn          Ihb Run              Deqs*dioo       Deoocldbn Co*


OlArgdrtrdtS=lflI/
             000   0228/18                10,460.00    P   SLMM         20 00                 0,00               10,460,00    06/30/20          958.83               43,58             305,08        1,263.91 d

01   1900    4S9GK4022GW41    1074 / BMRZ3l 1074

             000   0228/18                10,460.00    P   SLIIIM       20 00                 0,00               10,460.00    06/30/20          958.83               43,58             305,08        1,263.91 d
01   1901    4S9GK4024GW41    1075 / RMRZ31 1075

             000   0228/18                10,460,00    P   SLMM         20 00                 0,00               10,460.00    06/30/20          958,83                43.58            305.08        1,263,91 d

01   1902    4S9GK4026GW41    1076 / RMRZ31'1076

             000   0228/18                10,460,00    P   StMt\4       20 00                 0.00               10,460,00    06/30/20          958.83                43,58            305,08        1,263.91 d

01   1903    4S9GK4028GW41    1077 / RMBZ31 1077

             000   0228/18                10,460.00    P   SLMI\,,I     20 00                 0,00               10,460,00    06/30/20          958.83                43,58            305,08        1,263.91 d

01   1904    4S9GK402XGW41    1078 / RlllRZ3l 1078

             000   0228/18                10,460.00    P   SLMM         20 00                 0,00               10,460,00    06/30/20          958.83                43,58            305.08        1,2m,91 d

01   1905    4S9GK4037GW41    1080 / Rt\.,1R251 1080

             000   0228/18                19,260.00    P   SLI\4M       20 00                 0,00               19,260.00    06/30/20         1,765,50               80.25            561,75        2,327,25 d

01   1906    4S9GK4021GW41    1079 / BMRZ31 1079

             000   022u18                 10,460,00    P   SLMM         20 00                  0.00              10,460,00    06/30/20          958.83                43,58            305.08        1,263.91 d

01   1907    4S9GK4039GW41    1047 / RMRZ21 1047

             000   0228/18                16,245,00    P   SLMM         20 00                  0,00              16,245,00    06/30/20         1,489.13               67.69            473.81        1,962,94 d
01   1908    4S9GK4030GW41    1048 / RMRZ21 1048

             000   0228/18                16,245.00    P   SLMI\,I      20 00                  0,00              16,245.00    06/30/20         '1,489,13              67.69            473,81        1,962,94 d

01   1909    4S9GK4032GW41    1049 / Rl\,,1R221 1049

             000   0228/18                16,245.00    P   SLI\4M       20 00                  0.00
                                                                                                                 '16,245.00   06/30/20         1,489,13               67,69            473,81        1,962.94 d
01   1910    4S9GK4036GW41    1054/ Rl/R221 1054

             000   0228/18                16,245.00    P   SLI\4M       20 00                  0.00              16,245,00    06/30/20         1,489.13               67.69            473.81        1,962.94 d

01 191   1   4S9GK4036GW41    10A / BMRZ61 1023
             000   022u18                 19,867,00    P   SLMM         20 00                  0,00              19,867.00    04130120         1,821,14                   0.00         248,33        2,069,47 d
01 19   15   4S9GK4030GW41    1051 / RMBZ61 1051

             000   0228/18                19,867,00    P   SLMI\4       20 00                  0,00              19,867.00    06/30/20         1,821.14               82,78            579.45        2,400.59

01   19'16   4S9GK40367GW41    1063 / Rl\,lRZ61 1063

             000   0228/18                19,867,00    P   SLMM         20 00                  0.00              19,867,00    06/30/20         1,821,14               82.78             579.45       2,400.59 d
01   1917    4S9GK403XGW41    1025 / RlVlRZsl 1025

             000   0228/18                21,547.00    P   SLI\4M       20 00                  0,00              21,547.00    06/30/20         1,975,14               89.78             628,45       2,603,59 d
01   1918    4S9GK4036GW41    1040 / BMRZs1 1040

             000   0228/18                21,547.00    P   SLMM          20 00                 0,00              21,il7.00    06/30/20         1,975.14               89,78             628.45       2,603,59

01   1919    4S9GK4038GW41    1041 / RMBZs1 1041

             000   0228/18                21,547,00    P   SLMI\4        20 00                 0.00              21,547.00    06/30/20         1,975.14               89,78             628.45       2,6m.59 d
01   1920    4S9GK403XGW41    1042 / RMRZs1 1042

             000   0228/18                21,547,00    P   SLMI\4        20 00                 0.00              21,547,00    06/30/20         '1,975,14              89.78             628,45       2,603,59 d
01   1921    4S9GK4039GW41    1050 / Rl\,lRZ21 1050

             000   0228/18                16,245.00    P   SLI\4M        20 00                 0,00              16,245.00    06/30/20         1,489.13               67,69             473.81        1,962.94 d

011922       4S9GK4034GW41    1053/ RMRZ2l 1053

             000   0228/18                 16,245.00   P   SLMM          20 00                 0,00              16,245,00    06/30/20         1,489.13               67,69             473,81        1,962.94 d
011923       4S9GK4033GW411061 /8M82211061

             000   0228/18                 16,245,00   P   SLMI\4        20 00                 0.00              16,245,00    06/30/20         1,489,13               67.69             473.81        1,962,94 d

01   1924    4S9GK4038GW41    1055 / RMRZ21 1055

             000   0228/18                 16,245,00   P   SLMM          20 00                 0,00              16,245.00    06/30/20         1,489.13               67,69             473.81        1,962,94 d
01   1925    4S9GK403XGW41    1056 / Bl\,lRZ21 1056

             000   0228/18                 16,245,00   P   SLI\4M        20 00                 0.00              16,245.00    06/30/20         1,489,13               67.69             473,81        1,962.94 d
01   1926    4S9GK4031GW41    1057 / RMRZ21 1057

             000   0228/18                 16,245.00   P   SLMM          20 00                 0.00              16,245,00    0d30/20          1,489.13               67.69             473.81        1,962,94 d
011927       4S9GK4033GW4 1 1058 / BMBZ2 l 1058

             000   0228/18                 16,245,00   P   SLMI\,I       20 00                 0.00              16,245.00    06/30/20         1,489.13               67,69             473,81        1,962,94 d
01   1928    4S9GK4031GW41    1060 / RMRZ21 1060



tugrd6,20mNi11l3At                                                                                                                                                                                              Paeo   16
            Case 20-11139-1-rel                                                        Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                                          Desc Main
                                                                                            Document    Page 184 of 370

                                                                                                               lntestate Commodities, lnc,
                                                                                                                     Dryeddion EryensoRepoil
                                                                                                                         AsolJrly31,2020

Book = lnternal

FYE Motth = December


                      lnSrrc                    AcqtiBd                   P   Depr       Esl      Salv/l68Ahw           Dopmchbb          hix        P?ilAccm         Dogttddldt          CtmntYlD        OmrlAE    un     lGy
StsNo Eil DS                                      Vduo                    T   lildr      rft        S€c 179                Bsrb           Ihru       Depmdabtr         thb Run            Depecllitn      Depoc*Uin        Co&


OtAssdA.{tNo=            lM
                000   0228/18                        16,245,00            P   SLMM       20 00                0.00           16,245.00    06/30/20        1,489.13            67,69             4i3,81         1,962.94 d
01       1929   4S9GK4034GW41       1067 / RMRZ2t 1067

                000   0228/18                        16,245.00            P   SLMI\4     20 00                0,00           16,245.00    06/30/20        1,489.13               67,69          473,81         1,962,94

01       1930   4S9GK4032GW41       1066 / BMRZ2l 1066

                000   0228/18                        16,245.00            P   SIMI\4     20 00                0,00           16,245.00    06/30/20        1,489.13               67.69          473,81         1,962,94 d
0   1    1931   4S9GK4039GW41       1064 / RMRZ2l 1064

                000   0228/18                        16,245.00            P   SLMI\4     20 00                0,00           16,245,00    06/30/20         1,489,13              67.69          473,81         1,962,94 d
01       1932   4S9GK4035GW41       1062 / RMRZ2l 1062

                000   0228/18                        16,245.00            P   SLI\4M     20 00                0.00           16,245,00    06/30/20         1,489,13              67,69          473.81         1,962.94 d
01       1933   4S9GK4035GW41       1059 / RMRZ21 1059

                000   0228/18                        16,245,00            P   SLI\4M     20 00                0.00           16,245.00    06/30/20         1,489.13              67,69          473,81         1,962,94 d
01       1934   4S9GK4032GW41       1083 / RMRZ2l 1083

                000   0228/18                        16,245,00            P   SLI\4M     20 00                0.00           16,245.00    06/30/20         1,489.13              67.69          473,81         1,962,94 d
01       1935   4S9GK4030GW41       1082 / RMBZ21 1082

                000   0228/18                        16,245,00            P   SLMM       20 00                0,00           16,245.00    06/30/20         1,489.13              67.69           473,81        1,962,94 d
01       193i   4S9GK403XGW41       1090 / Rt\4R221 1090

                000   0228/18                        21,190,00            P   SLMM       20 00                0,00           21,190,00    0413u20          1,942,42                0.00          264.87        2,207.29 d
01       1938   4S9GK4034GW41       1084 / Rl\,lRZ2        1   1084

                000   0228/18                        21,190,00            P   SLMI\4     20 00                0.00           21,190,00 06/30/20            1,942.42              88,29           618,04        2,560.46 d
01       1941   4S9GK4036GW41       1085 / RMRZ21 1085

                000   0228/18                        21,190.00            P   SLMI\4     20 00                0.00           21,190.00    06/30/20         1,942.42              88,29           618.04        2,560,46 d
01       1944   4S9GK4034GW41       1098 / RMRZ2l 1098

                000   0228/18                        21,190.00            P   SLMM       20 00                0.00           21,190.00    06/30/20         1p42,42               88.29           618.04        2,560,46 d
01       1945   4S9GK4032GW41       1   102    / RMRZ21        1'102

                000   0228/18                        21,190.00            P   SLI\4M     20 00                0,00           21,190.00    0413u20          1,942,42                0,00          264.87        2,207.29 d
01       1946   4S9GK4038GW4    1   1086       / RMRZ2l't086

                000   0228/18                        21,190.00            P   SLI\4M      20 00               0,00           21,190,00 06/30/20            1,942.42              88,29           618,04        2,560,46 d
01       1952   4C9SC4033H1080771 / RMR2280771

                000   0228/18                        15,904,00            P   SLMM        20 00               0,00           '15,904,00
                                                                                                                                          06/30/20         1,457.87              66.27           463,87        1,921,74 d
011953          4C9SC4035H1080772 I nun2280772

                000   0228/18                        15,904,00            P   SLMM        20 00               0,00           15,904.00    06/30/20         1,457,87              66.27           463.87        1,921,74 d
0   1 1   954   4C9SC4037H1080773 / Rl\482280773

                000   0228/18                        15,904.00            P   SLMI\4      20 00               0.00           15,904.00    06/30/20         1,457,87              66,27           463.87            1,921.74 d
011955          4C9SC4039H1080774 I RMR2280774

                000   0228/18                        15,904.00            P   SLMM        20 00               0,00           15,904,00    06/30/20         1,457.87              bb,z/           463,87            1,921.74 d
01       1956   4C9SC4030H1080775 / RMR2280775

                000   0228/18                        15,904.00            P   SLI\4M      20 00               0,00           15,904,00    06/30/20         1,457.87              66.27           463,87            1,921,74 d
01       1957   4S9GK4030GW41       1065 / RMRZ21 1065

                000   0228/18                        16,245.00            P   SLI\4M      20 00               0,00           16,245,00    06/30/20         1,489,13              67.69           473.81            1,962,94 d
01       1958   4S9GK4032GW41       1097 / RMRZ2l 1097

                000   0228/18                        21,190.00            P   SLMM        20 00               0.00           21,190.00    04/30/20         1,942.42                0,00          264,87        2,207.29 d
01       1959   4S9GK4036GW41       1   100    / RMRZ21        1   100

                000   0228/18                        21,190,00            P   SLMI\4      20 00               0.00           21,190,00 04/30/20            1,942.42                0,00          264,87        2,207.29 d
01'1960         4S9GK4030GW41       1   101    / Rl\48221      1   101

                000   0228/18                        21,190,00            P   SLMM        20 00               0,00           21,190,00 04/30/20            1,942.42                0.00          264.87        2,207.29 d
01       1961   4S9GK4034GW4I I         103 /   RltlRZ2l       1   103

                000   0228/18                        21,190.00            P   SLMM        20 00               0,00           21,190,00    06/30/20         1,942,42              88.29           618,04            2,560,46 d
0    1   1965   4S9GK4033GW4I       1   108 /   BMRZ2l         1   108

                000   0228/18                        21,190.00            P   SLI\4M      20 00               0.00           21,190.00 04/30/20            1,942.42                0,00          264,87            2,207.29 d
01       1966   4S9GK4036GW41       1099 / RMRZ2l 1099

                000   0228/18                        21,190.00            P   SLMM        20 00               0.00           21.190,00 06/30/20            1,942.42              88.29           618.04            2,560.46 d
01't967         4S9GK4031GW41       1 1   10   / RMRZsl        1 1   10



Auorrl6,XndlllsAt                                                                                                                                                                                                          PoSW
           Case 20-11139-1-rel                                                            Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                                             Desc Main
                                                                                               Document    Page 185 of 370

                                                                                                                    lnterctate Commodities, lnc.
                                                                                                                          Depscirilion Erysnso 8€poil

                                                                                                                              As   olJdy3l,2020

Book = lntemal

FYE      ilonh   = December


                     lnSvc                        LAiod                      P   DoF        Ed         S.lv/168 Alow          Dopt*'ib            ftfl       PrfiAcqln        DspFciehn          CrmtY'ID       AmfiAcclm    lGy
SlsNo Etl            Dah                            Value                    T   M€lh       nb           S€c 179                   Bssb           lhru       DEoddjon          Ihb Run           DoF&Hion       D€Focldhn    Co&


OLAsdAcdllo           =   lflIl
               000   0228/18                            21,547,00            P   SLMM       20 00                  0,00              21,547.00    06/30/20         1,975.14              89,78        628.45        2,603,59 d
01      19i0   4S9GK4031GW41 1043 / RMRZ6t 1043

               000   02124ft                            19,867,00            P   SLMM       20 00                  0,00              19,867,00    06/30/20         1,821.14              82.78        579.45        2,400.59 d
01      1971   4S9GK4035GW4       1   1 1   12   / RMRZ6'l     1   1   12

               000   0228/18                            19,867,00            P   SLMM       20 00                  0,00              19,867,00    06/30/20         1,821.14              82.78        579.45        2,400,59 d
011972         4S9GK4037GW411113/RMR2611113

               000   0228/18                            19,867,00            P   SLMM       20 00                  0,00              19,867,00    0d30/20          1,821,14              82,78        579,45        2,400.59 d
01      1973   4S9GK4039GW41          1 1   14   / RMRZ6l      1   1   14

               000   0228/18                            19,867,00            P   SLMM       20 00                  0,00              19,867,00    06/30/20         1,821.14              82,78        579,45        2,400,59 d
01      1974   4S9GK4032GW41          1 1   16   / RMRZ6l      1   1   16

               000   0228/18                            19,867,00            P   SLMI\4     20 00                  0.00              19,867,00    06/30/20         1,821,14              82,78        579,45        2,400,59 d
01      1975   4S9GK4030GW41 1037 / RMRZ5l 1037

               000   0228/18                            21,V7.00             P   SLMIV      20 00                  0.00              21,547.00    06/30/20         1,975.14              89.78        628.45        2,603,59 d
0'1     1976   4S9GK4035GW41          1   109    / RMRZ6l      1   109

               000   0228/'18                           19,867,00            P   SLMI\4     20 00                  0.00              19,867.00    06/30/20         1,821.14              8278         579.45        2,400.59 d
01      1977   4S9GK4030GW41          1 1   15   / RMRZ6l      1   1   15

               000   0228/18                            19,867,00            P   SLMI\4     20 00                  0.00              19,867.00    06/30/20         1,821.14              82.78        579,45        2,400.59 d
01      1978   4S9GK4034GW41          1 1   17   / RMRZ6l      1   1   17

               000   0228/18                            19,867,00            P   SLMI\4      20 00                 0.00              19,867.00    06/30/20         1,821.14              82.78        579,45        2,400.59 d
01      19i9   4S9GK4036GW41          1 1   18   / RMRZ6l      1   1   18

               000   0228/18                            19,867.00            P   StMt\4      20 00                 0,00              19,867.00    06/30/20         1,821.14              82,78        579,45        2,400,59 d
01      1980   4S9GK4038GW41          1 1   19   / RMRZ6l      1   1   19

               000   022u18                             19,867.00            P   SLMM        20 00                 0,00              19,867,00    06/30/20         1,821.14              82.78        579.45        2,400,59 d
01      1981   4S9GK4030GW41 1034 / Rt\4R251 1034

               000   0228/18                            21,547.00            P   SLMM        20 00                 0,00              21,547,00    06/30/20         1,975.14              89.78        628.45        2,603.59 d
01      1982   4S9GK4033GW41          1 1 1 1    / Rl\4R261    1   1   1'l

               000   0228/18                            19,867,00            P   SLMM        20 00                 0,00              '19,867.00   00/30/20         1,821.14              82.78        579,45        2,400.59 d
0   1   1983   4S9GK4034GW41          1   120    / Rl\,lBZ61   1   120

               000   0228/18                            19,867.00            P   SLIIIM      20 00                 0.00              19,867.00    06/30/20         1,821.14              82,78        579,45        2,400.59 d
01      1984   4S9GK4036GW41          1   121    / RMBZ61      1   121

               000   0228/18                            19,867.00            P   SLIIIM      20 00                 0.00              19,867.00    06/30/20         1,821,14              82,78        579.45        2,400.59 d
01      1985   4S9GK4033GW41          1030 /      Ri/8251 1030
               000   0228/18                            21,547.00            P   SLMM        20 00                 0.00              21,547,00    06/30/20         1,975,14              89.78        628.45        2,603,59 d
01      1986   4S9GK4033GW41          1   125    / RMBZ61      1   125

               000   0228/18                            19,867.00            P   SLMM        20   00               0.00              19,867,00    06/30/20         1,821.14              82.78        579.45        2,400.59 d
01      1987   4S9GK4031GW41          1   124    / RMRZ61      1   124

               000   0228/18                            19,867.00            P   SLMM        20 00                 0,00              19,867,00    06/30/20         1,821.14              82,78        579,45        2,400,59 d
011988         4S9GK4037GW41          1   127    I nMR2611127
               000   0228/18                            19,86i,00            P   SLMI\4      20 00                 0,00              19,867.00    06/30/20         1,821.14              82,78         579,45       2,400.59 d
01      1989   4S9GK403XGW41          1   1A / RMRZ61          1   123

               000   0228/18                            19,867,00            P   SLMI\4      20 00                 0,00              19,867.00    06/30/20         1,821.14              82.78         579.45       2,400.59 d
01      1990   4S9GK4034GW41          1036       / RMR251 1036
               000   0228/18                            21,il7,00            P   SLMI\4      20 00                 0.00              21,547.00    06/30/20         1,975,14              89.78         628.45       2,603,59 d
01      1992   4S9GK403XGW4l          1   129 / RMRZ61         1   129

               000   0228/18                            19,867,00            P   SLMM        20 00                 0.00              19,867,00    06/30/20         1,821.14              82.78         579,45       2,400,59 d
011993         4C9SC4036H1080778/RMR2280778

               000   0228/18                            15,904,00            P   SIMM        20 00                 0.00              15,904,00    06/30/20         1,457.87              66,27         463,87        1,921.74 d
0   1   1994   4C9SC4034H1080780 / RMR2280780

               000   0228/18                            15,904,00            P   SLMM        20 00                 0,00              15,904.00    06/30/20         1,457.87              66.27         463.87        1,921.74 d
01199s         4C9SC4036H1080781/RMR2280781

               000   0228/18                            15,904.00            P   SLIIIM      20 00                 0,00              15,904.00    06/30/20         1,457,87              66.27         463.87        1,921.74 d
011S96         4C9SC4038H1080782 I RM42280782


                                                                                                                                                                                                                                   ,126
Augul6,Xl20ollll3lt                                                                                                                                                                                                          Pqo
              Case 20-11139-1-rel                                                  Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                                                Desc Main
                                                                                        Document    Page 186 of 370

                                                                                                             lntestate Commodities, nc.           I



                                                                                                                 Depre<idion Epenso Rspqt

                                                                                                                     AsolJdySl,2020

Book = lntemal

ffi         Monh = December


                        lnSrt                 Ac$iod                 P   D€pr        Ed       Sslv/l68Ahil           DsgochDb         Hir             ftiotAciln        DoF$idiort          CulonlYI)       CtnotttAccrm     Key

SlrNo E[ DS                                                          T   ildr        Es         S€c 179                Bsri!          Ihru            Depmdaitn          Ihb Run            DepteUlon       DegscHin         Cofi


GlLAssdlcdtb= 1fl)7
                  000   0228/18                     15,904,00        P   SLMI\4       20 00               0,00           15,904,00    06/30/20              1,457.87               66,27          463.87          1,921.74 d
0   1   I   997   4C9SC4031 H1080820 / 8MR2280820

                  000   0228/18                     15,904,00        P   SLMI\4       20 00               0,00           15,904,00    06/30/20              1,457,87               66,27          463.87          1,921.74 d
01      1998      4c9sc4033H1080821      / RMR2280821

                  000   0228/18                     15,904,00        P   SLMI\,I      20 00               0.00           15,904,00    06/30/20              1,457,87               66,27          463,87          1,921,74 d
011999            4C9SC4035H1080822 I 8MR2280822

                  000   0228/18                     15,904,00        P   SLMM         20 00               0.00           15,904.00    06/30/20              1,457,87               66.27          463.87          1,921,74 d
012000 4c9sc4037H108088/RMR2280823
                  000   0228/'18                    15,904,00        P   SLMM         20 00               0,00            15,904.00   06/30/20              1,457.87               66.27          463.87          1,921.74 d
012001            4C9SC4039H1080824/RMR2280824

                  000   0228/18                     15,904,00        P   SLIIIM       20 00               0,00            15,904.00   06/30/20              1,457.87               66,27          463.87          1,921.74 d
012002            4C9SC4030H1080825/RM82280825

                  000   0228/18                     15,904.00        P   SLIIIM       20 00               0,00            15,904,00   06/30/20              1,457.87               66.27          463.87          \,921.74 d
012004            4S9GK4037GW41    1   130   / RMRZ61      1   130

                  000   0228/18                     19,867.00        P   SLi/M        20 00               0,00            19,867,00   06/30/20              1,821,14               82.78          579,45          2,400.59 d
012005            4S9GK4039GW41    1   131   / Rl\,lRZ61   1   131

                  000   0228/18                     19,867.00        P   SLMI\4       20 00               0.00            19,867,00   06/30/20              1,821.14               82.78          5i9.45          2,400,59 d
012006            4S9GK4032GW41    1   132/ RMRZ61         1   132

                  000   0228/18                     19,867.00        P   SLMI\4       20 00               0.00            19,867.00   06/30/20              1,821.14               82.78          579.45          2,400.59 d
012007            4S9GK4032GW41    1   133/ RMRZ61'1 133

                  000   0228/18                     19,867,00        P   SLMM         20 00               0.00            19,867.00   04/30/20              1,821.\4                0,00          248,33          2,069.47 d
012008            4S9GK4034GW41    1   134 / RMRZ61'1 134

                  000   02128118                    19,86i,00        P   SLMM         20 00               0,00            19,867,00   01/31/20              '1,821,14                0.00           82.78         1,903.92 d
012009            4S9GK4036GW41    1   135   / RMRZ61      1   135

                  000   02128118                    19,867,00        P   SLMM         20 00               0,00            19,867,00   01/3 1/20             1,821.14                 0.00           82,78         1,903,92 d
01201        1    4S9GK403XGW41    1'137     / RMRZ61      1   137

                  000   0228/18                     19,867,00        P   SLIUM        20 00               0,00            19,867,00   06/30/20              1,821,14               82.78          579.45          2,400,59

012012            4S9GK4031GW41 1 138/ RMBZ6l 1138

                  000   0228/18                     19,867.00        P   SLMM         20 00               0.00            19,867.00   06/30/20              1,821,14               82,78           579,45         2,400,59 d
012014            4S9GK403XGW41    1   140   / BMRZ6l      r   140

                  000   0228/18                     19,867.00        P   SLMI\4       20 00               0.00            19,867.00   06/30/20              1,821,14               82.78           579,45         2,400.59 d
012015            4S9GK4031GW41    1   141   / Rl\,lRZ61   1   141

                  000   0228/18                     19,867.00        P   SLMM         20 00               0.00            19,867,00   06/30/20              1,821.14               82.78           579.45         2,400.59 d
012016            4S9GK4033GW41    1   l42l RMR2611142
                  000   0228/18                     19,867,00        P   SLMM         20 00               0,00            19,867,00   06/30/20              1,821.14               82,78           579.45         2,400,59 d
012017            4S9GK4035GW41    1   143/ HMRZ61         1   143

                  000   0228/18                     19,867,00        P   SLI\4M       20 00               0,00            19,867.00   06/30/20              1,821.14               82,78           579,45         2,400,59 d
0120'18           4S9GK4037GW41    1   144   / BMRZ61      1   144

                  000   0228/18                     19,867,00        P   SLI,IIM      20 00               0.00            19,867.00   06/30/20              1,821.14               82.78           579,45         2,400.59 d
012019            4S9GK4030GW41    1   146   / RMRZ6t I 146

                  000   0228/18                     19,867,00        P   StMt\4       20 00               0.00            19,867,00   06/30/20              1,821.14               82.78           579.45         2,400.59 d
012020            4S9GK4032GW411 147/ RMRZ6l 1147

                  000   0228/18                     19,867.00        P   SLMI\,I      20 00               0,00            19,867,00   06/30/20               1,821.14              82.78           579.45         2,400.59 d
012021            4S9GK4034GW41 1148/ RMBZ61 1148

                  000   0228/18                     19,867.00        P   SLMM         20 00               0,00            19,867,00   06/30/20               1,821.14              82,78           579,45         2,400,59 d
012022            4S9GK4032GW41    1   1s0   / Rl\,lRZ61   1   1s0

                  000   0228/18                     19,867,00        P   SLI\4M       20 00               0.00            19,867.00   06/30/20               1,821.14              82.78           579,45         2,400.59 d
012023            4S9GK4034GW41    1   151   / RMRZ6'1 1 1s1

                  000   0228/18                     19,867,00        P   SLMM         20 00               0.00            19,867,00   06/30/20               1,821.14              82.78           5i9.45         2,400.59 d
012024            4S9GK4036GW4'I   1   152/RMR2611152

                  000   0228/18                     19,867.00        P   SLMI\4       20 00               0.00            19,867.00   06/30/20               1,821.14              82,78           579.45         2,400.59 d
012025            4S9GK403XGW41    1   154   / RMRZ6l      1   154



tuSrt6,flPool11l3ltl                                                                                                                                                                                                         PeFIA
        Case 20-11139-1-rel                                                  Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                                            Desc Main
                                                                                  Document    Page 187 of 370

                                                                                                     lnteHate Commodities, lnc,
                                                                                                           Depecialion Eryenso Bepott

                                                                                                               As ol Jdy31,2020


Book = lntemal

ffi   Jtlmh = December


                  lnS:n                 Ac$M                    P   DEr         Ed      Sslv/l68Aloir          Dopschblo         hi)l       HirAccm          Dqsciaion            C,mntY'ID        CmntAcom          lGy
S$No Ed           Ddo                    Valm                   T   ildr        tft       Soc 179                Basb            lhru       Demdaibn          Ihb   Run           D€llocl{im       thmcldioll        Co&


GLAsellrdl,lo=       lflI/
            000   0228/18                   19,867,00           P   SLI\4M      20 00               0.00            19,867,00    06/30/20        1,821.14                 82,78          579,45        2,400,59 d
012026      4S9GK4033GW41    I 156/RMBZ61             1   156

            000   0228/18                   19,867,00           P   SLI\4M      20 00               0.00            19,867,00    06/30/20        1,82'1.14                82.78          579.45        2,400.59 d
012027      4S9GK4039GW41    1   159   / BMRZ61       1   159

            000   0228/18                   19,867,00           P   SLI\4M      20 00               0.00            19,867.00    06/30/20        1,821,14                 82J8           579,45        2,400,59 d
012028      4S9GK4035GW41    I 160 / BMRZ61           1   160

            000   0228i18                   19,867.00           P   SLMM        20 00               0.00            19,867.00    06/30/20        1,821,14                 82.78          579,45        2,400.59 d
012029      4S9GK4039GW41    1   162   / RMRZ6    l   1   162

            000   0228/18                   19,867,00           P   SLMM        20 00               0.00            19,867.00    06/30/20        1,821.14                 82,78          579,45        2,400.59 d
012030      4S9GK4038GW41    1   122   / RMRZ6l       1   122

            000   0228/18                   19,867.00           P   SLMI\4      20 00               0,00            19,867.00    06/30/20        1,821.14                 82,78          579.45        2,400,59 d
012031      4S9GK4039GW41    1   145   / RMRZ6l       1   145

            000   0228/18                   19,867.00           P   SLM|\,|     20 00               0,00            19,867.00    06/30/20        1,821.14                 82,78          579.45        2,400.59 d
012032      4S9GK4036GW41    1   r49/ RMRZ6l 1149
            000   0228/18                   19,867.00           P   SLMI\4      20 00               0,00            19,867,00    06/30/20        1,821,14                 82.78          579,45        2,400.59 d
012033      4S9GK4038GW41    1   153   / RMRZ61 I 153

            000   0228/18                   19,867.00           P   SLMM        20 00               0,00            19,867,00    06/30/20        1,821,14                 8278           579.45        2,400.59 d
012034      4S9GK4031GW41    1   155/ Rt\4R261 1 155

            000   0228/18                   19,867,00           P   SL|\4M      20 00               0.00            19,867.00    06/30/20        1,821,14                 82.78          579.45        2,400,59 d
012035      4S9GK4035GW41    1   157 / Rt\48261       1   157

            000   02128/18                  19,867,00           P   SLt\,tM     20 00               0.00            19,867,00    06/30/20        1,821.14                 82.78          579.45        2,400,59 d
0   12036   4S9GK4037GW41    1   158 / RMRZ61         1   158

            000   0228/18                   19,867,00           P   SL|\4M      20 00               0,00            19,867.00    06/30/20        1,821.14                 82,78          579,45        2,400,59 d
012037      4S9GK4037GW411161 /8MR2611161

            000   0228/18                   19,867,00           P   SLMM        20 00               0,00            19,867.00    0d30/20         1,821,14                 82.78          579,45        2,400.59 d
012038      4S9GK4030GW41    1   163   / BMRZ61       1   163

            000   0a28118                   19,867.00           P   SLMM        20 00               0,00            19,867,00    06/30/20        1,821,14                 82.78          579,45        2,400.59 d
012039      4S9GK4034GW41    I 165 / RMRZ61           1   165

            000   0228/18                   21,086.00           P   SLMI\4      20 00               0,00            21,086,00 06/30/20           1,932.88                 87,86          615.01        2,547,89 d
012044      Bepahs to INTX 22464

            000   0u31/18                         466.47        P   SLMM        10 00               0.00                466.47   06/30/20           I1.64                  3,89           27.21          108,85

012045      Repairs to INTX 22935

            000   03/31/18                        466,47        P   SL|\4M      10 00               0.00                466,47   06/30/20           81,64                  3.89           27.21          108.85

012046      Repairs to INTX 18735

            000   0g/31/18                        466,47        P   SL|\,|M     10 00               0,00                466,47 0d30/20              81,64                  3.89            27.21         108.85

012047      Repahs to INTX 390246

            000   03/31/18                        471.47        P   SLMM        10 00               0,00                471.47   06/30/20           82.51                                  27,50         1   10.01

012048      Temporary Stonge of AEX Cars

            000   0u31/18                   35,034.00           P   SLMM        10 00               0.00            35,034.00 06/30/20           6,130.9s             291,95            2,043.65       8,174,60

012057      Emply Car Revenue l\,lovement- S00 74'181

            000   04/09/18                    1,032.00          P   sLMt\4      10 00               0.00             1,032.00    06/30/20          180,60                  8,60            60.20        240,80

012058      Storage - INTX 50000

            000   04/20/18                        755.00        P   SLMM        10 00               0.00                755,00 06/30/20            125,83                  6.29            44.04
                                                                                                                                                                                                         '169,87

012059      Stoage-|NTX180026
            000   04/20/18                        755.00        P   SLMM        10 00               0,00                755,00 0d30/20             125.83                  6.29            44.04         169.87

012060      Storage-|NTX500E
            000   04/20/18                        755,00        P   SL|\4M      10 00               0,00                755.00   06/30/20          125.83                  6.29            44.04         169,87

012061      Storage - INTX 50002

            000   04/20/18                        755,00        P   SLMM        10 00               0.00                755.00   06/30/20          125,83                  6,29            44.04         169,87

012062      Storage-|NTX50034

            000   04/20/18                        755,00        P   SLMM        10 00               0.00                i55,00 06/30/20            125,83                  6.29            44.04         159.87

012063      Storage-|NTX50015


AUSH6,mmdlfi3Atl                                                                                                                                                                                                     PqolS
              Case 20-11139-1-rel                                             Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                                                  Desc Main
                                                                                   Document    Page 188 of 370

                                                                                                            lnterctate Commodilies, lnc.
                                                                                                                  Deprcciailion Epenso R€port

                                                                                                                      As ol JtIy 31, 2020


Book = Intemal

ffififfi1=December

                        lnSn               Acstisd          P       Dopr        Ed          &lv/168Ahn                Doprschbb        hior       PrixAc.m           Depltcidon            CurorlY'ID   CulonlAcun         lGv
Slsl{o Ert              Dsb                 VaIr            T       ildr        tft           Soc
                                                                                                    .l79
                                                                                                                                       Ihru       D€pnddion           Ihb   Run            Ihmchftn     Demc*dicn          Co&



GlLArcArdtlo=             lflIl
                  000   04/20/18                   755,00   P       SLMM         10 00                     0.00              755.00 06/30/20             125.83                   6.29          44.04          169,87

012064            Empty Car Bevenue Movement -     S00   125136

                  000   04/27118                 1,032.00   P       SLMM         10 00                     0.00             1,032,00   06/30/20          172,00                   8,60          60,20          232.20

0   12065         Empty Car Revenue Movement -     S00 74321
                  000   04/27118                 1,032.00   P       SLMI\,|      10 00                     0,00             1,032.00   0d30/20           172,00                   8,60          60.20          232.20

012066            Repairsto PLCX 27533

                  000   04/30/18                   233.54   P       SLMM         10 00                     0,00              233,54 06/30/20                 38,92                1.95          13.62              52,54

012067            Bepairsto|NTX24006

                  000   04/30/18                   714.33   P       SLMM         10 00                     0,00              714,33    06/30/20          1   19.05                5.95          41,66          160,71

012068            Bepairs to INTX 74304

                  000   04/30/18                   518.41   P       SLMM         10 00                     0,00              518,41    06/30/20              86.40                4.32          30,24          1   16.64

0   1   2069      Empty Car Revenue l\4ovement "   S00 75305
                  000   0s11/18                    983,00   P       SLI\4M       10 00                     0.00              983.00 06/30/20             163,83                   8,19          57.34          221.17

01      2070      Empty Car Revenue Movement -     S00 7501     I
                  000   05/11/18                   983,00   P       SLI\,IM      10 00                     0,00              983.00 06/30/20             163.83                   e 10          5i.34          221,17

01      207   1   Empty Car Revenue Movement -     S00 1 25097
                  000   0y11/18                    983,00   P       SLMI\,|      10 00                     0,00              983,00    06i30/20          163.83                   8.19          57,34          221.17

012072            Empty Car Revenue Movement -     S0075039
                  000   05/11/18                   983,00   P       SLMtll       10 00                     0.00              983,00 06/30/20             163.83                   8,19          57,34          221.17

0   12073         Empty Car Revenue Movement -     S00 74634
                  000   05i11/18                   983.00   P       SLMM         10 00                     0.00              983.00 06/30/20             163,83                   8,19          57.34          221.17

012074            Empty Car Revenue    Movemenl-S0074885
                  000   05/11/18                   983.00   P       SL|\4M       10 00                     0.00              983.00 06/30/20             163.83                   8.19          57,34          221,17

0   1   2075      Empty Car Revenue Movement -     S00 75355
                  000   05/11/18                   983,00   P       SLIIIM       10 00                     0,00              983,00 06/30/20             163.83                   8.19          57,34          221.17

012076            Emply Car Revenue Movement-      S00 75020
                  000   0s11/18                    983,00   P       SLMM         l0    00                  0,00              983,00 06/30/20             163,83                   8,19          57.34          221.17

012077            Empty Car Revenue Movement -     S00 74701
                  000   05/11/18                   983.00   P       SLMM         10 00                     0.00              983,00 06/30/20             163,83                   a   io        57,34          221.17

012078            Empty Car Revenue Movement -     S00 75Eg
                  000   0M1/18                     983.00   P       SLMM         10 00                     0.00              983.00 06/30/20             163.83                   8.19          57,34          221,17

0   12079         Empty Car Revenue Movement -     S00 75246
                  000   05/11/18                   983.00   P       SLMM         10 00                     0,00              983,00    06/30/20          163,83                   8.19          57.34          221.17

012080            Empty Car Revenue l\4ovement-    S00 75015
                  000   05/11/18                   983,00   P       SLI\,IM      10 00                     0.00               983,00 06/30/20            163.83                   8,19          57.34          221.17

012081            Empty Car Revenue    llovement- S00 751 l8
                  000   0t11/18                    983,00   P       SLMM         10 00                     0.00               983,00 06/30/20            163,83                   8.19          57,34           221.17

012082            Empty Car Revenue Movement-      S00   125060

                  000   05/11/18                   983.00   P       SLMI\4       10 00                     0,00               983.00 06/30/20            163.83                   8.19          57.34           221,17

012083            Empty Car Revenue Movement -     S00 74838
                  000   0y11/18                    983.00   P       SLMM         10 00                     0,00               983,00   06/30/20          163,83                   8,19          57.34           221.17

0'12084           Empty Car Revenue Movement -     S00 74706
                  000 0s11/18                      983.00   P       SLMM         10 00                     0,00               983,00 06/30/20            163.83                   8,19          57,34           221.17

012085            Empty Car Revenue Movement       s00 74743
                  000   05/11/18                   983.00   P       SLMM         10 00                     0.00               983.00 06/30/20            163.83                   8.19          57.34           221.17

012086            Empty Car Revenue lllovement     s00 74924
                  000 0t11/18                      983.00   P       SLMI\4       10 00                     0.00               983.00 06/30/20            163,83                   8,19          57.34           221.17

012087            Emply Car Revenue Movement       s00   74E30
                                                                                 '10
                  000   05/11/18                   983,00   P       SLMM               00                  0,00               983,00   06/30/20           163.83                  8,19          57,34           221.17

012088            Empty Car Revenue Movement       s0075035
                  000 0y11/18                      983.00   P       SLMM         '10 00                    0.00               983.00 06/30/20             163.83                  8.19          57.34           221.17

012089            Empty Car Revenue Movement       s0075040


Au$rrq XPorl l113lll                                                                                                                                                                                                       P{o l3l
               Case 20-11139-1-rel                                                   Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                                              Desc Main
                                                                                          Document    Page 189 of 370

                                                                                                                 lnterctate Commodities, lnc.
                                                                                                                       Depuirdion Eryense Repoft

                                                                                                                           As ol JrIy31,2020


Book= Internal

FYE illonh = December


                         lnS:rc            lc{rM                    P     DoF          Ed         SalY/168   Ah'r,         Doptchbb         Prior      ftiotAciln       D€pFcidon           CuontYlD           qmdAcdn      lGy
SYsNo Ed DS                                   Vaho                  T     lldr         tto           S€c 179                                Ihru       Degetidotr        Ihb Run            Doil$ffin          thpo*uin     Code



GlLAsdlrdllo=               180/
                   000   0t11/18                     983,00         P     SLI\41\4      10 00                  0.00              983.00 06/30/20               163,83               8,'19              57.34       221.17

01   2090          Empty Car Revenue Movement -      S00 75120
                   000   0t11/18                     983,00         P     SLI\41\4      10 00                  0.00              983,00 06/30/20               163,83               8,19               57.34       221.17

012091             Empty Car Revenue Movement -      S00 75124
                   000   0t11/18                     983.00         P     SL|\,IM       10 00                  0.00               983,00 06/30/20              163.83               8.19               57,34       221.17

0   12092          Empty Car Revenue Movemenl -      S00 75142
                   000   0t11/18                     983.00         P     SLMM          10 00                  0,00               983,00 06/30/20              163,83               8,19               57,34       221.17

0   12093          Empty Car Revenue Movement -      S00 75206
                   000   05/11/18                    983.00         P     SLMM          10 00                  0.00               983.00 06/30/20              163,83               8,19               57,34       221,17

012094             Empty Car Revenue l\4ovement-     S00 75225
                   000   05/11/'18                   983.00         P     SIMM          10 00                  0.00               983.00 06/30/20              163.83               8.19               57.34       221.17

012095             Empty Car Revenue l\4ovement-     S00   125001

                   000   05/11/18                    983,00         P     SLMM          10 00                  0.00               983.00 06/30/20              163.83               8.19               57,34       221.17

012096             Restenciling 20 ECN Cars

                   000   0s14/18                 2,000,00           P     sLMl\4        10 00                  0.00             2,000.00    06/30/20           JJJ.JJ              16,66           1   16.66       449,99

012097             Empty Car Revenue Movement - INTX 15629

                   000   05/17/18                1,716,00           P     SLI\41\4      10 00                  0.00             1,716.00    06/30/20           271,70              14,30           100,10          371,80

012098             Empty Car Revenue Movement - INTX 12462

                   000   05/17/18                1,716.00           P     SLI\4M        10 00                  0,00             1,716,00    06/30/20           271,70              14.30           100,10          371,80

012099             Empty Car Revenue Movement - INTX 12550

                   000   0t17/18                 1,716.00           P     SLI\,IM       10 00                  0.00             1,716,00    06/30/20           271.70              14.30           100.10          371.80

0 121      00      Empty Car Revenue Movemenl    '   INTX 12599

                   000   05/17118                1,716.00           P     SLMM
                                                                                        '10 00                  0.00            1,716,00    06/30/20           271.70              14,30           100,10          371.80

012101             Empty Car Revenue Movement- INTX 254m9

                   000   0t17/18                 1,716.00           P     SLMM          10 00                   0.00            1,716.00    0d30/20            271,70              14.30           100,10          371,80

012102             EmptyCarRevenue l\4ovement- INTX 12609

                   000   05/17/18                1,716.00           P     SLMM          10 00                   0.00            1,716.00    0il30/20           271.70              14.30           100,10          371,80

012103             Empty Car Revenue l\,lovement - INTX 20333

                   000   05/17118                1,716,00           P     SLMI\4        10 00                   0,00            1,716,00    06/30/20           271.70              14,30           100.10          371.80

012104             Empty Car Revenue Movement - INTX 12518

                   000   05/'17118               1,716,00           P     SLI\41\4      10 00                   0.00            1,716,00    06/30/20           271.70              14,30           100,10          371.80

0 12   1   05      Empty Car Revenue Movement - INTX 177289

                   000   0t17/18                 1,716.00           P     SLI\4M        10 00                   0.00            1,716.00    06/30/20           271,70              14.30           100,10          371,80

012106             Empty Car Revenue Movement- INTX 15609

                   000   0y17/18                 1,716.00           P     SLMM          10 00                   0.00            1,716.00    06/30/20           27170               14,30           100.10          371,80

012107             Empty Car Revenue Movement- INTX        1    1797

                   000   05/17n8                 1,716.00           P     SLMM          10 00                   0,00            1,716,00    06/30/20           271.70              '14,30          100,10          371.80

012108             Empty Car Revenue Movement- INTX 13531

                   000   0917/18                 1,716.00           P     SLMI\4        10 00                   0,00            1,716,00    06/30/20           271.70              14,30           100,10          371.80

012109             Empty Car Revenue l\,lovement. INTX 12419

                   000   05/17/18                1,716,00           P     SLMI\4        10 00                   0.00            1,716.00    06/30/20           271.70              14.30           100,10          371,80

0121       10      Empty Car Revenue Movement - INTX 12513

                   000   05/17/18                1,716,00           P     SLI\4M        10 00                   0.00            1,716.00    06/30/20           271.70              14,30           100.10          371,80

0121       1   1   Empty Car Revenue Movement - INTX 15624

                   000   05/'17118               1,716.00           P     SLI\4M        10 00                   0,00            1,716,00    06/30/20           271.70              14,30           100,10          371.80

012112             Empty Car Revenue Movement- INTX 12471

                   000   0t17/18                 1,716.00           P     SLMM          t0   00                 0,00            1,i16,00    06/30/20           271,70              14,30           100,10          371.80

0 12 1     1   3   Empty Car Revenue Movement " INTX 20431

                   000   0t17/18                 1,716.00           P     SLMM          10 00                   0.00             1,716.00   06/30/20           271,70              14.30
                                                                                                                                                                                                   '100.10
                                                                                                                                                                                                                   371,80

0121       14      Empty Car Revenue l\4ovement- INTX 12464

                   000   05/17118                1,716.00           P     SLMI\4        10 00                   0,00             1,716.00   06/30/20           271.70              14,30           100.10          371.80

01 2 1 I       5   Empty Car Revenue Movement - INTX
                                                           'l
                                                                1   855



tuSK6,mma[1tl3At                                                                                                                                                                                                            Pr|olU
               Case 20-11139-1-rel                                               Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                                       Desc Main
                                                                                      Document    Page 190 of 370

                                                                                                             lnterctate Commodities, lnc,
                                                                                                                Depedidhn Eryense Repoil

                                                                                                                    AsolJtly31,2020

Book= lntemal

FYE Mmh = December


                           lnS'rc           lcflM               P      DEr         Ed         Salv/168AIow         Depochhb          Prbr       ftirAcqn       Dopscidon         CmnlY-ID        CuuilAcqtm     lGy
                                                                                                     .l79
SytNo E{                   Ddo                                  T      lildr       tlo           Soc                  B$b            Ihru       DEddiott        nhRun            Doprocfrbn      Dof,oddhn      Co&


G,LlndldNo=1917
                   000     0t17/18                1,716.00      P      SLMI\4       10 00               0,00             '1,716,00
                                                                                                                                     06/30/20         271.70            14.30           100.10         371.80

012116             EmptyCarRevenueMovement-INTX           13535

                   000     0y17/18                1,716.00      P      SLM|\,|      10 00               0,00             1,716,00    06/30/20         271.70            14.30           100,10         371.80

012117             Emply Car Revenue l\4ovement - INTX    1 1   801

                   000     0t17/18                1,716.00      P      SLI\4M       10 00               0,00             1,716.00    06/30/20         271.70            14.30           100.10         371.80

0'12     1   18    Empty Car Revenue l\4ovement - INTX    1 1   571

                   000     0t17/18                1,716.00       P     SLI\4M       10 00               0,00             1,716.00    06/30/20         271,70            14.30           100.10         371,80

0121         19    Empty CarRevenue l\rlovement - INTX 12649

                   000     0t17/18                1,716,00       P     SLI\4M       10 00               0.00             1,716.00    06/30/20         271.70            14,30           100.10         371,80

012120             EmptyCarRevenue l/ovement- INTX 15622

                   000     05/17/18               1,716,00       P     SLMM         10 00               0.00             1,716,00    06/30/20         271.70            14.30           100.10         371,80

012121             EmptyCarRevenue Nlovement- INTX 11810

                   000     0t17/18                1,716,00       P     SLMM         t0   00              0.00            1,716,00    06/30/20         271.70            14.30           100,10         371.80

012122             Empty Car Revenue Movement - INTX 12654

                   000     0t17/18                1,716,00       P     SLMM         10 00                0.00            '1,716,00   06/30/20         271.70            14.30           100,10         371.80

012123             EmptyCarRevenueMovement-        INTX 11813

                   000     05/17118               1,716,00       P     SLMI\4       10 00                0.00            1,716.00    06/30/20         271,70            14,30           100,10         371,80

012124             Empty Car Revenue Movement. INTX 12481

                   000     05/17/18               1,716.00       P     slMlll       10 00                0,00            1,716.00    06/30/20         271.70            14,30           100.10         371,80

012125             Empty Car Revenue Movement- INTX 13499

                   000     05/17118               1,716,00       P     SLMI\,|      10 00                0,00            1,716.00    06/30/20         271.70            14.30           100,10         371.80

012126             Empty Car Revenue Movement- INTX 12637

                   000     05/i7l18               1,716.00       P     SLMM         10 00                0.00            1,716.00    06/30/20         271.70            '14.30
                                                                                                                                                                                        100,10         371.80

012127             Empty   Ca    Revenue Movement- INTX   1   16

                   000     05/17118               1,716.00       P     SLI\4M       10 00                0.00            '1,716,00   06/30/20         271,70            14.30           100.10         371,80

012128             Empty Car Revenue Movement - INTX 12468

                   000     0y17/18                1,716,00         P   SLMM         10 00                0.00            1,716,00    06/30/20         271.70            14,30           100.10         371,80

012129             Empty Car Revenue l\rlovement - INTX 12452

                   000     05/17/18               1,716,00         P   SLMM         10 00                0.00            1,716,00    0d30/20          271.70            14,30           100,10         371.80

0   12130          Emply Car Revenue l/ovement - INTX 20432

                   000     0y17/18                1,716,00         P   SLM|\4       10 00                0,00            1,716.00    06/30/20         271.70            14.30           100,10         371.80

0   1   2 13   1   Empty Car Hevenue Movement - INTX 12655

                   000     0fi7l18                1,716,00         P   SLMI\4       10 00                0,00            1,716,00    06/30/20         271.70            14.30           100.10         371,80

012132             Empty Car Revenue Movemenl - INTX 15625

                   000     0917/'18               1,716,00         P   SLMM         10 00                0.00            1,716,00    06/30/20         271,70            14,30           100.10         371,80

012133             Empty Car Revenue Movement- INTX 12646

                   000     05/17/18               1,716.00         P   SL|\4M       10 00                0.00            1,716.00    06/30/20         271.70            14,30           100,10         371.80
                                                          .15616
012134             Empty Car Revenue Movement- INTX

                   000     05/17118               1,716.00         P   SLtltM       10 00                0.00            1,716.00    06/30/20         271.70            14.30           100.10         371.80

012135             Empty Car Revenue Movement- INTX 12488

                   000     0s17/18                1,i16.00         P   SLMM         10 00                0,00            1,716.00    06/30/20         271.70            14.30           100.10         371.80

012136             Empty Car Revenue l\4ovement - INTX 126M

                   000     05/17/18               1,716,00         P   SLMM         10 00                0,00            1,716,00    06/30/20         271,70            14,30           100.10         371,80

012137             Empty Car Revenue l\,lovement - INTX 12661

                   000     05/17l'18              1,716,00         P   SLM|\4       10 00                0.00            1,716.00    06/30/20         271.70            14,30           100,10         371,80

012138             Emply Car Bevenue Movement . INTX      l56E
                   000     0t/17l18               1,716,00         P   SLMM         10 00                0.00            1,716.00    06/30/20         271.70            14.30           100.10         371.80

012       139      Empty Car Revenue Movement- INTX 12502

                   000     05/17/18               1,716.00         P   sLl\4M       10 00                0,00            1,716.00    0u30/20          271.70            14.30           100.10         371.80

012140             Empty Car Revenue Movement. INTX 15610

                   000     0t'17/18               1,716.00         P   SLMM         10 00                0,00            1,716,00    06/30/20         271,70            14,30           100.10         371,80

012141             Empty Car Revenue Movement- INTX       1   1853



tuSrd6,20P0nl            ltl3At                                                                                                                                                                                 Peeo   13
         Case 20-11139-1-rel                                            Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                                            Desc Main
                                                                             Document    Page 191 of 370

                                                                                                   lntestate Commodities, lnc.
                                                                                                         Depecftlion E4ense Repoil

                                                                                                             As ol Jtly 31 , 2020


Book = Intemal

ffi   llsffi   = December


                    lnSvc           Ac$ied              P     Dar          Ei         SalY/1681t0il          Dogochbb          Rb         nbAciln         Dopr€ddon           CumntYlD        CursriAcclm       lGy

SYsNo En De                           Valuo             T     imt         tft           S€c 179                Basb            thru       Demtidion        fibRun             DenocEffn       D€figc*[bn        Co&


GlLArCAcclNo = 1S7
            000     0t17/18               1,716.00      P     SLI\,|M      10 00                  0.00             1,716.00    06/30/20          271,70             14,30           100,10          371.80

012142      Empty Car Revenue l\4ovement - INTX 12625

            000     05/17/18              1,716.00      P     SLMI\4       10 00                  0.00             1,716,00    06/30/20          nfi\               14,30           100.10          371.80

012143      Emply Car Revenue l\4ovement - INTX 12526

            000     0y17/18               1,716,00      P     SLMI\4       10 00                  0.00             1,716,00    06/30/20          271,70             14.30           100.10          371,80

012144      Empty CarRevenue Movement-INTX        12466

            000     0917/18               1,716,00      P     SLMM         10 00                  0,00             1,716.00    06/30/20          271,70             14.30           100,10          371,80

012145      Empty Car Revenue Movement - INTX 12660

            000     05/17/18              1,716.00      P     SLMM         10 00                  0,00             1,716.00    06/30/20          271.70             14,30           100,10          371.80

0   12146   Empty Car Revenue Movemenl - INTX     1    2546

            000     05/17/'18             1,716,00      P     SLI\4M       10 00                  0,00             1,716,00    06/30/20          271.70
                                                                                                                                                                    '14.30          100.10          371,80

012147      Empty Car Revenue Movement- INTX 12520

            000     0917/18               1,716.00      P     SLMM         10 00                  0,00             1,716,00    06/30/20          271.70             14.30           100.10          371.80

012148      Empty Car Revenue Movement- INTX 12598

            000     0y17/18               1,716.00      P     SLMI\4       10 00                  0.00             1,716,00    06/30/20          271.70             14,30           100,10          371.80

012149      Empty Car Revenue l\4ovement - INTX 12447

            000     0t17/18               1,716,00      P     SLMM         10 00                  0.00             1,716.00    06/30/20          271.70             14,30           100.10          371,80

012150      Empty Car Revenue l\4ovement - INTX 15614

            000     05/17/18              1,716,00      P     SLMM         l0    00               0,00             1,716,00    06/30/20          271,70             14.30           100,10          371,80

012151      Empty Car Revenue Movement - INTX 15618

            000     05/17/18              1,716.00       P    SLMM         10 00                  0,00             1,716,00    06/30/20          271,70             14,30           100.10          371.80

012152      Empty Car Revenue Movement- INTX 12613

            000     0fl17/18              1,716.00       P    SLMI\4       10 00                  0.00             1,716.00    06/30/20          271.70             14,30           100.10          371,80

012153      Empty Car Revenue Movement- INTX      1    1548

            000     05/17/18              1,716,00       P    SLMM
                                                                           '10
                                                                                 00               0.00             1,716.00    06/30/20          271,70             14.30           100,10          371.80

012154      Empty   Ca   Revenue Movement- INTX 12543

            000     05/'17118             1,716,00       P    SLI\4M       10 00                  0,00             1,716,00    06/30/20          271.70             14,30           100,10          37'1.80

012155      Empty Car Revenue l\4ovement - INTX 12672

            000     0t17/18               1,716,00       P    SLMM         10 00                  0,00             1,716,00    06/30/20          271.70             14.30           100.10          371,80

012   156   Empty Car Revenue Movement - INTX 15608

            000     05/17118              1,716.00       P    SLM|\4       10 00                  0.00             1,716.00    06/30/20          271.70             14.30           100.10          371,80

012157      Empty Car Bevenue Movement" INTX 15620

            000     0t17/18               1,716,00       P    SLMM         10 00                  0.00             1,716,00    06/30/20          271,70             14,30           100,10          371.80

012158      Empty Car Revenue Movement. INTX 15630

            000     0s17/18               1,716.00       P    SLI\4M       l0    00               0,00             1,716,00    06/30/20          271.70             14,30           100.10          37   i,80

012159      Empty Car Revenue Movement- INTX 15632

            000     0t17/18               1,716,00       P    SLMM         10 00                  0.00             1,716.00    06/30/20          271.70             14.30           100,10          371,80

012160      Empty Car Revenue l\4ovement - INTX    1   1834

            000     05/17/18              1,716.00       P    SLM|\4       10 00                  0.00             1,716,00    06/30/20          271.70             14,30           100,10          371.80

012161      EmptyCarRevenueMovement-          INTX 11886

            000     05/17/18              1,716,00       P    SLMM         t0    00               0,00             1,716,00    06/30/20          271.70             14,30           100.10          371.80

012162      Empty CarRevenue Movement-INTX         12414

            000     05/17/18              1,716,00       P    SLIIIM       10 00                  0,00             1,716.00    06/30/20          271.70             14.30            100.10         371,80

012163      Empty Car Revenue Movement. INTX 12527

            000     05/17/18              1,716.00       P    SLMI\4       10 00                  0,00             1,716.00    06/30/20          271.70
                                                                                                                                                                    '14,30           100.10         371.80

012164      Empty Car Revenue l\4ovement - INTX 12532

            000     05/17/18              1,716.00       P    SLMII        10 00                  0.00             1,716,00    06/30/20          271.70             14,30            100.10         371.80

012165      EmptyCarRevenue Movement- INTX 12552

            000     0t17/18               1,716,00       P    SLI\4M       10 00                  0,00              1,716.00   0d30/20           271,70             14.30            100,10         371,80

012166      Emply Car Revenue Movement- INTX 12596

            000     0il7/18               1,716,00       P    SLMM         10 00                  0,00              1,716,00   06i30/20          271.70               14,30          100.10         371.80

012167      Empty Car Revenue Movement. INTX 12627



tuS!ilG,mdlfi3All                                                                                                                                                                                               Pqo131
            Case 20-11139-1-rel                                              Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                                            Desc Main
                                                                                  Document    Page 192 of 370

                                                                                                        lntemtate Commodities, lnc.
                                                                                                              Dqrecitilion Eryenso Roport

                                                                                                                  As ol Jdy 31, 2t20


Book= lnternal

ffE ilonh = December

                   lnSrc                   Ac$M              P   Dopr          Eri         SalY/168Abtv           Depeilo             Rix        ftirAmm         DEmcmon          CurontY'ID       qmdAciln         lGy
Sysllo En DS                               Valuo             T   Itdr          tft           S€c 179                 Basb             Ihru       DopFirhn        IhhRun           Doprschhn        Degscmn          Co6


OLArsdlrdNo=             1fl)7
             000   05/17/18                       1,716,00 P     SLI\4M         10 00                  0.00                1,716.00   06/30/20         271.70             14,30          100.10         371.80

012'l   68   Empty Car Revenue Movement - INTX 12645

             000   05/17/18                       1,716.00 P     SLI\4M         10 00                  0.00                1,i16,00   0d30/20          271.70             14,30
                                                                                                                                                                                         '100.10
                                                                                                                                                                                                        371,80

012169       Empty Car Revenue Movement - INTX 13500

             000   05/17n8                        1,716,00 P     SLMM           10 00                  0.00                1,716.00   06/30/20         271.70             14.30          100,10         371,80

012170       EmptyCar Revenue l\4ovement - INTX          135fi
             000   05/17/18                       1,716.00 P     SLMM           10 00                  0.00                1,716.00   06/30/20         271,70             14.30          100,10         371,80

012171       EmptyCarRevenue l\4ovement- INTX 13723

             000   05/17n8                        1,716.00 P     SLMM
                                                                                '10
                                                                                      00               0.00                1,716.00   06/30/20         271.70             14.30          100.10         371.80

012172       Empty Car Revenue l\4ovement - INTX 15613

             000   05/17n8                        1,716.00 P     SLMM           l0    00               0.00                1,716.00   06/30/20         271,70             14.30          100.10         371.80

012173       EmptyCar Revenue l\4ovement- INTX 15615

             000   05/17/18                       1,716,00 P     SLMM           10 00                  0,00                1,716.00   06/30/20         271.70             14,30          100.10         37t.80
01217   4    Empty Car Revenue luovement - INTX 15628

             000   0t'17/18                       1,716.00 P     SLMM           10 00                  0,00                1,716,00   06/30/20         271.70             14,30          100,10         371,80

01217   5    Empty Car Revenue l\4ovement. INTX 15619

             000   0t17/18                        1,716.00 P     SLMI\4         10 00                  0,00                1,716,00   06/30/20         nfi\               14,30          100,10         371,80

01217   6    Empty Car Revenue lllovement - INTX 12506

             000   05/17/18                       1,716.00 P     SLMI\4
                                                                                '10
                                                                                      00               0.00                1,716,00   06/30/20         271.70             14.30          100.10         371,80

012177       Repairs to NAHX 489320

             000   05/31/18                        455,13    P   sLt\4t\it      10 00                  0,00                 455,13 06/30/20             72,06              3.79           26,54             98.60

012178       Repairs to PLCX 28121

             000   05/31/18                        455,13    P   SLI\4M         10 00                  0.00                 455,13 06/30/20             72.06              3,79           26,54             98.60

012179       Repahs to INTX 80212

             000   05/31/18                        536,33 P      SLI\4M         10 00                  0.00                 536,33 06/30/20             84.92              4,47           31.28         1   16.20

012180       RepaimtoS00125'123
             000   05/31/18                        436,33 P      SLMM           10 00                  0,00                 436.33    06130/20          69.08              3.64           25.45             94,53

012181       Repairsto INTX 12452

             000   05/31/18                       6,454.82 P     SLMM           10 00                  0,00                6,454,82   06/30/20        1,022.01            53.79          376.53        1,398,54

012185       Empty Car Revenue Movement - INTX 47446

             000   06/2218                        1,032.00 P     SLMM           10 00                  0.00                1,032,00   0d30/20          154,80              8.60           60,20         215,00

012186       Repairsto INTX 125010

             000   06/30/18                        286.77    P   SLMM           10 00                  0.00                 286.77    06/30/20           43.02             2,39           16.73             59.75

012187       Repairs to INTX 385217

             000                                   '196.39
                   06/30/18                                      SLMI\4         10 00                  0.00                  196.39   06/30/20           25.46              LOJ           11.45             40.91

012188       Repairs to INTX 390147

             000   06/30/18                        135.57        SLMI\4         10 00                  0.00                  135,57   06/30/20           20.34             1.13            7,91             28,25

012189       Repairsto INTX'123727

             000   06/30/18                                                     '10 00
                                              1   1,381,92       SLMM                                  0.00            1   1,381.92   06/30/20        1,707.29            94.85          663.94        2,371,23

012190       Bepairsto INTX 18928

             000   06/30/18                   11,250,74          SLI\4M         10 00                  0,00            11,250.74      06/30/20        1,687,61            93.76          656,29        2,343.90

012191       Restencil   '   INTX 390359

             000   07/31/18                        460.06        SLI\,lM        10 00                  0,00                 460.06 06/30/20              65,18             3,83           26.83             92.01

012192       Reslencil - INTX 74198

             000 0il3t18                           460.06        SLMM           10 00                  0,00                 460.06 06/30/20              65.18             3,83           26,83             92.01

012193       Re$encil - INTX 74181

             000   07/31/18                        560,23        SLMM           10 00                  0.00                 560,23    06/30/20           79.36             4.66           32.67          112,03

012194       Restencil - INTX 74199

             000   07/31/18                        460.06        SLMI\4         10 00                  0.00                 460.06    06/30/20           65,18             3.83           26.83             92,01

012195       Restencil- INTX 7218

             000   07/31/18                        294.62        SLM|\il        10 00                  0,00                  294.62 06/30/20             41,74             2,45            1i.18            58.92

012196       Restencil - INTX 7217



A[[l6,2020rll1l3tt                                                                                                                                                                                                  Pqo135
         Case 20-11139-1-rel                                         Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                                                 Desc Main
                                                                          Document    Page 193 of 370

                                                                                               lnter$ate Commodities, nc.             I



                                                                                                     Depeoidion Epense Bepoil

                                                                                                         AsolJrty3l,2020

Book= lntemal

FYE Mtttth = Decemhr


                lnS:rc              Aosriod          P     Dopr        Ed         SalYllGSAbir           Doptrchblo        Rix            ftblctlm         Doinddl(rn          CunfitY'ID       qmilAcm      lGy
STsNo Ert       Dsb                  Vdue            T     tl€dr       tft          S€c 179                Basb            firu           Depcdaflon        Ihb   Run          Demcffin         DomcHkn      Codo



OtlsstArdllo= lflI/
          000   07/31/18                    294,62   P     SLM|\4      10 00                  0,00                294,62   06/30/20                41.74                2.45           17,18         58.92

012197    Redencil - INTX 721   1


          000   07/3'l/18                   533.48   P     SLMI\4      10 00                  0,00                533.48   06/30/20               75.58                 4.45           31,12        106.70

012198    Re$encil-INTX7219
          000   07/31/18                    294,62   P     SLMM        10 00                  0.00                294.62   06/30/20                41.74                2.45           17,18         58.92

012199    Restencil-INTX7207

          000   0i/31/18                    294.62   P     SLMM        10 00                  0,00                294.62   06/30/20                41.74                2.45           '17,18
                                                                                                                                                                                                     58,92

012200    Restencit-jNTX7212

          000   07/31/18                    533,48   P     SLM|\4      10 00                  0.00                533,48   06/30/20               75.58                 4.45           31,12        106,70

012201    Restencil - INTX 8788

          000   07/31/18                    294,62   P     SLMM        10 00                  0.00                294,62   06i30/20                41.74                2.45           17.18         58,92

012202    Restencil- |NTX7180

          000   07/31/18                    394,79   P     SLMM        10 00                  0.00                394,79 06/30/20                 55.93                 3,29           23.03         78,96

012203    Empty Car Revenue l\,lovement-    S00 74435
          000   08/13/18                1,032,00     P     SLM|\4      10 00                  0.00             1,032.00    06/30/20               146,20                8,60           60.20        206,40

012204    Empty Car Revenue lMovement-      S00   125129

          000   08/27118                1,032.00     P     SLMM        10 00                  0.00             1,032.00    06/30/20               137,60                8,60           60,20        197.80

012205    Repairs - INTX 824039

          000   08/31/18                    830,31   P     SLM|\4      10 00                  0.00                830,31   06/30/20               110,71                6,92           48,43        159.14

012211    Empty Car Revenue     luovement-S0074692
          000   09/1u18                     983.00   P     SLM|\4      10 00                  0.00                983.00 06/30/20                 122,88                8,19           57,34        180.22

012212    Empty Car Revenue l\4ovement-     S00 75042
          000   09/18/18                    983.00   P     SLM|\4      10 00                  0.00                983,00 06/30/20                 122.88                8.19           57.34        180.22

012213    Empty Car Revenue     Movement-S0075078
          000   09/18/18                    983.00   P     SLM|\/|     10 00                  0.00                983.00 06/30/20                 122.88                8.19           57,34        180,22

012214    EmptyCarRevenue l\4ovement-S0075257

          000   09/18n8                     983,00   P     SLMI/       10 00                  0,00                983.00 0030/20                  122.88                8.19           57.34        180.22

012215    EmptyCarRevenue lMovement"S0075296

          000   09/1u18                     983.00   P     SLMTU       10 00                  0,00                983.00 06/30/20                 122.88                8,19           57.34        180,22

012216    Empty Car Revenue l\,lovement -   S00 74685
          000   09/18/18                    983.00   P     SLMi/       10 00                  0,00                983.00   06/30/20               122.88                8,19           57,34        180,22

012217    Empty Car Revenue     Movement-S0074888
          000   09/18/18                    983.00   P     SLMM        10 00                  0,00                983.00   06/30/20               122,88                8,19           57,34        180,22

012218    Empty Car Revenue     Movement-S0075044
          000   09/18/18                    983.00   P     SLMM        10 00                  0,00                983.00   06/30/20               122,88                8,19           57,34        180.22

012215    Empty Car Revenue     Movement-S0075248
          000   09/18n8                     983.00   P     SLMM        10 00                  0,00                983,00   06/30/20               122.88                8.19           57.34        180.22

012220    Empty Car Revenue     Movement.S0075285
          000   09/18n8                     983.00   P     SL|\4M      10 00                  0,00                983,00   06/30/20               122.88                8.19           57.34        180.22

012221    Empty Car Revenue Movement -      S00   75 133

          000   09/18/18                    983.00   P     SL|\4M      t0    00               0.00                983,00 06/30/20                 122.88                8.19           57.34        180.22

012222    Empty Car Revenue Movement -      S00 74857
          000   09/18/18                    983,00   P     SL|\/|M     10 00                  0.00                983,00 06/30/20                 122.88                8,19           57.34        180.22

012223    EmptyCarRevenue Movement- S0075321

          000   09/18/18                    983.00   P     SLtltM      10 00                  0.00                983.00 06/30/20                 122.88                8,19           57,34        180,22

012224    EmptyCarRevenue Movement- S0074649

          000   09/18/18                    983,00   P     SLMM        10 00                  0,00                983.00 06i30/20                 122,88                8.19           57,34        180,22

012225    Empty Car Revenue Movement -      S0075121
          000   09/18/18                    983.00   P     SLMM        10 00                  0,00                983.00   06/30/20               122,88                8.19           57.34        180.22

012226    Empty Car Revenue Movement -      S00 74747
          000   09/18/18                    983,00   P     SLMM        10 00                  0,00                983,00   06/30/20               122.88                8.19           57.34        180,22

012227    Empty Car Revenue Movement -      S00 75276


Auetll6,20ilal ll:13ril                                                                                                                                                                                      Pe{o 136
        Case 20-11139-1-rel                                Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                               Desc Main
                                                                Document    Page 194 of 370

                                                                                 lntentate Commodities, lnc.
                                                                                   Depecialion Eryense Bepoil

                                                                                        As ol Jtly 31,2020


Book = lnternal

FYE   iionh   = December


                  lnS:w           AcquM P DoF                    Et                     Rtr
                                                                           &lv/168Alon Doptc$l                  hilAmn D€preciaton CrmttY'ID qnontAccm lGy
Slrltlo Ed        Dab              Valu            T    ltldr    tft        Sec179 Brsh Ihru                    Doprddi,n nbRun lhpnddbn D€ggcffii Coe

GiLAsdAodNo=lflI,
          000     09/18/18               983.00    P SLM|\4      10   00         0.00         983,00    06/30/20    122,88     8.19      57.34      180.22

012228    Empty Car Revenue   Movement-S0075325
          000     09/18/18               983.00    P SLI\4|\]|   10   00         0,00         983,00    06/30/20    122.88     8,19      57,34      180.22

012229    Empty Car Revenue Movement -   S0075328
          000     09/18/18               98s.00    P SLI\4|!|    10   00         0.00         983,00    06/30/20    122.88      8.19     57.34      180.22

012230    Empty Car Revenue Movement -   S00 74759
          000     09/18/18               983.00    P SL|\4M      10   00         0.00         983.00    06/30/20    122.88      8,19     57.34      180.22

012231    Empty Car Revenue Movement -   S0074728
          000     09/18/18               983.00    P SLI\4M      10   00         0.00         983.00    06/30/20    122.88      8.19     57.34      180.22

012232    Empty Car Revenue Movement -   S00 74709
          000     09/18/18               983.00    P SLtllM      10   00         0,00         983.00    06/30/20    122,88      8.'t9    57,34      180.22

012233    Empty Car Revenue Movement -   S00 75068
          000     09/18/18               983,00    P SLMM        10   00         0,00         983.00    06/30/20    122.88      8,19     57,34      180.22

012234    Empty Car Revenue Movement -   S00 74750
          000     09/18/18               983,00    P SLMM        10   00         0,00         983,00    06/30/20    122.88      8.19     57.34      180.22

012n5     Empty Car Revenue Movemenl - INTX 50015

          000     09/27118              1,031,00   P SLMM        10   00         0.00        1,031.00   06/30/20    128.88      8,59     60.14      189,02

012236    Empty Car Revenue Movemenl - INTX 50002

          000     0927/18               1,031.00   P SLMM        10   00         0.00        1,031.00   06/30/20    128,88      8.59     60,14      189.02

012237    EmptyCarRevenueMovement-       |NTX500E
          000     09/27118              1,031.00   P SLMI\4      10   00         0.00        1,031,00   06/30/20    128,88      8,59     60,14      189.02

012238    Empty Car Revenue l\4ovement- INTX 50034

          000     09/27118              1,031.00   P SLMIII      10   00         0.00        1,031,00   06/30/20    128.88      8,59     60.14      189.02

012239    Empty Car Revenue l\4ovement- INTX 50000

          000     09/27118              1,031.00   P SLI\4M      10   00         0,00        1,031.00   06/30/20    128.88      8.59     60.14      189,02

012240    EmplyCarRevenue     Movement- INTX 180026

          000     09/27118              1,031.00   P SLIIIM      10   00         0,00        1,031.00   06/30/20    128,88      8.59     60,14      189.02

012241    Emply Car Revenue Movement- CP    39082
          000     09/27118             6,576.78    P SLMM        10   00         0,00        6,576,78   06/30/20    822,10     54.80    383.64    1,205.74

012242    Emply Car Revenue   Movement-S00 74426
          000     09t27118               937.00    P SLMM        10   00         0,00          937.00   06/30/20    117.13      7,80     54.65      171.78

012243    Empty Car Revenue Movement - CP   390m5
          000     09/27118               937,00    P SLMM        10   00         0.00          937,00   06/30/20    117.13      7.80     54.65      171,78

012244    Empty Car Revenue Movement - CP 385193

          000     09/27118               937,00    P SLMI\4      10   00         0.00          937,00   06/30/20    117,13      i.80     54,65      171,78

012245    Empty Car Revenue   Movement-S00 74512
          000     0927/18                937,00    P SLMM        10   00         0,00          937,00   06/30/20    117,13      i.80     54,65      171.78

012246    Empty Car Revenue Movement-    S00 74526
          000     09/27118               937,00    P SLI\,IM     10   00         0,00          937.00   06/30/20    117,13      7,80     54.65      171.78

012247    Empty Car Revenue Movement"    S00   125062

          000     09/27118               937.00    P SLI\4M      10   00         0.00          937.00   06/30/20    117.13      7.80     54.65      171,78

012248    Empty Car Revenue   Movement'S0074383
          000     09/27118               937.00    P SLMM        10   00         0.00          937,00   06/30/20    117,13      7.80     54.65      171.78

012249    Empty Car Revenue l\,lovement- CP 390275

          000     09/27118               937.00    P SLMM        10   00         0,00          937,00   06/30/20    117,13      7,80     54,65      171.78

012250    EmptyCarRevenue i/ovement-S0074411

          000     09/27118               93i,00    P SLMIII      10   00         0,00          937.00   06/30/20    117.13      7,80     54.65      171.78

012251    EmptyCarRevenue Movement-S0074510

          000     09/27118               937,00    P SLMM        10   00         0,00          937.00   0d30/20     117.13      7.80     54.65      171.78

012252    Empty Car Revenue Movement - S0O 74339

          000     09/27l'18              937,00    P SLI\4M      10   00         0.00          937,00   06/30/20    117,13      i.80     54,65      171,78

012253    Empty Car Bevenue   Movemenl-S0074593


ftSrt6,20Ald 11X3All                                                                                                                                         P{o1trl
            Case 20-11139-1-rel                                       Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                                                   Desc Main
                                                                           Document    Page 195 of 370

                                                                                                lntestate Commodities, lnc,
                                                                                                      DeUecialion Epenso R€port

                                                                                                          As   olJdy3l,2020

Book = lnternal

FYE     ilmh   = December


                   lnS'rc            tufl'rd           P   Dqr          Est        Sdvn68Aftil            Dopmchuo             Prb        ftbAccln             Degeciaton          Cmdlm           Cm€'rilAcdm lGt
StsNo En           Dde                Valtn            T   Mdr          ub           Soc 179                   Basb            thru       Ihpro'idhr            Ihb   Run          Demc*Uin        De0l€c*dion Co&

                         .l80/
OL Arsel    lrd   No =

            000    09/27118                   937.00   P   SLMM          10 00                 0,00                   937.00   06/30/20           1   17.13                 7,80         54.65            171.78

012254      Empty Car Revenue Movement-CP 390235

            000    09/27118                   937.00   P   SLMM          10 00                 0,00                   937,00   06/30/20           1   17.13                 7.80         54.65            171.78

012255      Empty Car Revenue Movement-CP 390131

            000    09/27118                   937,00   P   SLM|\,|       10 00                 0,00                   937,00   06/30/20           1   17.13                 7.80         54,65            171,78

012256      Empty Car Revenue    Movement-S00 74715
            000    09/27118                   937,00   P   SLMtlt        10 00                 0.00                   937.00   06/30/20           I 17,13                   7,80         54,65            171,78

012257      Empty Car Revenue Movement-CP 390238

            000    09/27lr8                   937,00   P   SLMM          10 00                 0.00                   937,00   06/30/20           1   17,13                 7,80         54,65            171.78

012258      Empty Car Revenue    Movement-S00 74407
            000    09/27118                   937,00   P   SL|\4M        10 00                 0.00                   937.00   06/30/20           1   17,13                 7,80         54.65            171.78

012259      EmptyCarRevenue Movement-CP385142

            000    09/27118                   937,00   P   SLI\4M        10 00                 0.00                   937.00   06/30/20           1   17.13                 7.80         54.65            171.78

012260      Empty Car Revenue Movement -      S00 74805
            000    09/27118                   937,00   P   SLt\tM        10 00                 0,00                   937,00   06/30/20           1   17.13                 7.80         54,65            171,78

012261      Empty Car Revenue Movement -      S00 74591
            000    09/27118                   937.00   P   SLMM          10 00                 0,00                   937,00   06/30/20           1   17,13                 7,80         54,65            171.78

012262      Empty Car Revenue Movement-CP 390293

            000    09/27118                   937.00   P   SLMM          10 00                 0.00                   937,00   06/30/20           1   17,13                 7,80         54.65            171.78

012263      Empty Car Revenue l\4ovement-CP 385160

            000    09/27118                   937.00   P   SLMIU         10 00                 0.00                   937,00   06/30/20           1   17,13                 7.80         54.65            171.78

012264      Empty Car Bevenue l\4ovement-CP 385176

            000    0927/18                    937.00   P   SLMM          10 00                 0.00                   937.00   06/30/20           1   17.13                 7.80         54,65            171.78

012265      Empty Car Revenue l\40vement-CP 385214

            000    09/27118                   937.00   P   SLMM          10 00                 0.00                   937,00   06/30/20           1   17,13                 7,80         54,65            171.78

012266      Empty Car Revenue    i/ovement- SO0 7531'1
            000    09/27118                   937.00   P   SL|\4M        10 00                 0,00                   937,00   06/30/20           1   17,13                 7,80         54.65            171.78

012267      Empty Car Revenue    Movement-S00 i4466
            000    09/27118                   937,00   P   SLtltM        l0   00               0,00                   937.00   06/30/20           1   17.13                 7.80         6d   6q          171.78

012268      EmptyCarRevenue Movement-S00i5170

            000    09/27118                   937,00   P   SLMM          10 00                 0,00                   937.00   06/30/20           1   17.13                 7.80         54.65            171.78

012269      Empty Car Revenue Movement - CP 385329

            000    09/27118                   937,00   P   SLMM          10 00                 0.00                   937.00   06/30/20           1   17,13                 7.80         54,65            171,78

012270      Empty Car Revenue Movement - CP 385422

            000    09/27118                   937.00   P   SLMIII        10 00                 0.00                   937,00   06/30/20           1   17,13                 7,80         54,65            171.78

012271      Empty Car Revenue Movemenl - CP 390255

            000    09/27118                   937.00   P   SLMM          10 00                 0.00                   937,00   06/30/20           1   17.13                 7.80         54.65            171.78

01'2n2      Empty Car Revenue Movemenl -CP 385178

             000   09/27118                   937.00   P   SLMM          10 00                 0,00                   937.00   06/30/20           1   17.13                 i.80         54.65            171.78

012273      Empty Car Revenue    Movement.S0074444
             000   09/27118                   937.00   P   SLt\,,tM      10 00                 0,00                   937.00   06/30/20           1   1i,13                 7,80         54,65            171,78

01227   4   Empty Car Revenue l\4ovement -    S00 74402
             000   09/27118                   937.00   P   SLI\,IM       10 00                 0,00                   937,00   06/30/20           I 17,13                   7,80         54.65            17178

012275      Empty Car Revenue Movement-       S00 74864
             000   09/27118                   937,00   P   SLMM          10 00                 0.00                   937,00   06/30/20           1   17.13                 7.80         54.65            171.78

012276      Empty Car Revenue Movement-       S00 74757
             000   09/27118                   937,00   P   SLM|\4        10 00                 0.00                   937.00   06/30/20           1   17.13                 7.80          54,65           171.78

012277      Empty Car Revenue Movement - CP 385358

             000   09/27118                   937.00   P   SLMM          10 00                 0,00                   937.00   06/30/20           1   17,13                 7,80          54,65           171,78

012278      Empty Car Revenue Movemenl - CP 385127

             000    09/27118                  937.00   P   SLMM          10 00                 0.00                   937,00   06/30/20           1   17.'13                7.80          54.65           171.78

012279      Empty Car Revenue Movemenl"CP 390320



A{H6,x}20d11134t                                                                                                                                                                                                   Pego 138
        Case 20-11139-1-rel                                          Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                                                 Desc Main
                                                                          Document    Page 196 of 370

                                                                                                  lntestate Commodities, lnc.
                                                                                                       Depx$ailion Epenso Roport

                                                                                                           As   olJrly3l,     2020


Book = Intemal

ffi   Mong = December


                  ln$c              Acq,rM            P   DEr          Ed         Salv/168   tttotv        Do@'bb             fttr        PrbA.sn           Dqrodadon            CrmiY'ID CmntAciln       lGv
SlsNo Ed Dft                         Volue            T   il€dr        tft           S€c 179                 Basb             Ihru        DepEddhn           Ih'r   Bun          DoF$&di$ DoFgcHbn        Cofi


OlAssstArdNo= 1fl)7
            000   09/27118                   937.00   P   SLMM          10 00                   0.00                937.00 06/30/20             I 17.13                   7,80        54,65      171,78

0   12280   Empty Car Revenue Movemenl - CP 39020     1


            000   09/27118                   937.00   P   SLMM          10 00                   0.00                937.00 06/30/20             1   17.13                 7.80        54,65      17178

012281      Empty CarRevenue Movement-CP 385451

            000   09/27118                   937.00   P   SL|\4M        10 00                   0.00                937,00 06/30/20             1   17,13                 7.80        54.65      171.78

012282      Emply CarRevenue Movement- S00 75204

            000   09/27118                   937,00   P   SLI\4M        10 00                   0,00                937,00 06/30/20             1   17.13                 7,80        54.65      171.78

012283      Emply Car Revenue Movement-CP 385197

            000   09/27n8                    $7,00    P   SLI\,IM       10 00                   0,00                937,00 06/30/20             1   17,13                 7,80        54,65      171.78

012284      Emply Car Revenue Movement- S00 74907

            000   09/27118                   937,00   P   SLI\.,|M      10 00                   0,00                937,00 06/30/20             1   17.13                 7,80        54,65      171,78

012285      Empty Car Revenue Movement-      S00 75m3
            000   09/27118                   937,00   P   SLt\.,tM      10 00                   0,00                937,00 06/30/20             1   17.13                 7.80        54.65      171.78

012286      Empty Car Revenue Movement-      S00 74749
            000   09/27118                   937,00   P   SLM|\4        10 00                   0,00                937.00 06/30/20             1   17,13                 7.80        54.65      171.78

012287      EmptyCarRevenue l\4ovemeni-S0074682

            000   09/27118                   937.00   P   SLM|\4        10 00                   0.00                937.00 06/30/20             '1'17,13
                                                                                                                                                                          7.80        54,65      171.78

012288      Empty Car Revenue l\4ovement - CP 385165

            000   09/27118                   937.00   P   SLMM          10 00                   0.00                937,00 06/30/20             1   17.13                 7,80        54.65      171.78

012289      Empty Car Revenue l\,lovement - CP   39082
            000   09/27118                   937.00   P   SLMM          10 00                   0,00                937,00 0030/20              1   17.13                 7.80        54.65      171.78

012290      EmptyCaBevenue Movement- S00 125063
            000   09/27118                   937,00   P   SLMM          10 00                   0,00                937,00 06/30/20             1   17,13                 7.80        54,65      171.78

012291      Empty Car Revenue Movement.CP 390271

            000   09/27118                   937,00   P   SL|\4M        10 00                   0,00                937.00 06/30/20             1   17,13                 7.80        54,65      171.78

012292      Empty Car Revenue M0vement-CP 385402

            000   09/27118                   937,00   P   SLMM          10 00                   0.00                937.00 06/30/20             1   17.13                 7,80        54.65      171,78

012293      Empty Car Revenue Movement-CP 385385

            000   09/27118                   937,00   P   SLMI\4        10 00                   0.00                93i,00 06/30/20             1   17.13                 7,80        54.65      171,78

012294      Empty Car Revenue Movement.CP 385368

            000   09/27118                   937.00   P   SLMI\4        10 00                   0.00                937,00 06/30/20             1   17,13                 7.80        54.65      171,78

012295      Emply Car Revenue Movement    - CP   39082
            000   09/27118                   937.00   P   SLMM          10 00                   0,00                937,00 06/30/20             1   17,13                 7.80        54,65      171.78

01   2296   Empty Car Revenue l\4ovement - CP 385383

            000   09/27118                   937.00   P   SLMM          10 00                   0,00                937.00 06/30/20             1   17.13                 7,80        54.65      171.78

012297      Empty CarRevenue l\4ovement -    S00 i4498
            000   09/27118                   937.00   P   SLMM          10 00                   0.00                937.00 06/30/20             1   17.13                 7,80        54,65      171.78

012298      Empty Car Revenue lllovement - CP 385386

            000   09/27118                   937,00   P   SLI\4M        10 00                   0.00                937.00 06/30/20             1   17.13                 7.80        54,65      171,78

012299      Empty Car Revenue   Movement-S00 74945
            000   09/27l'18                  937,00   P   SLMM          10 00                   0.00                937,00 06/30/20             1   17,13                 7.80        54,65      171.78

012300      Empty Car Revenue Movement-      S00 74860
            000   09/27118                   937.00   P   SLM|\4        10 00                   0,00                937.00 0d30/20              1   17.13                 7,80        54.65      171.78

012301      Empty Car Revenue Movement-CP 385145

            000   09/27118                1,031.00    P   SLMM          10 00                   0.00              1,031,00    06/30/20          128.88                    8.59        60,14      189.02

012302      Empty Car Revenue Movement - CP      39082
            000   09/27118                1,031.00    P   SLMM          10 00                   0.00
                                                                                                                  '1,031,00
                                                                                                                              06/30/20          128,88                    8.59        60,14      189,02

012303      Emply Car Revenue Movement - INTX 76977

            000   09/27118                1,031,00    P   SL|\4M        l0   00                 0.00               1,031,00   06/30/20          128,88                    8.59        60.14      189,02

012304      EmptyCarRevenue lMovement- |NTX47070

            000   0927t18                 1,031,00    P   sLt\tM        10 00                   0,00               1,031.00    06/30/20         128,88                    8,59        60,14      189.02

01   2305   Empty Car Revenue l\,lovement' ATGX 76983



A{t[|6,XP()rl11l3lll                                                                                                                                                                                      Ps{o   1S
            Case 20-11139-1-rel                                                 Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                                Desc Main
                                                                                     Document    Page 197 of 370


                                                                                                          lntestate Commodities, nc.              I



                                                                                                                DErscitilhn Eryonso Ropod
                                                                                                                    As   olJrly3l,2020

Book = Intemal

ffi   Monh = December


                   ln   Srt                 Acflied              P   D€F          Ed          Salv/168Ahrt          Dopschbb           Prior          PrirAccm Dopocidon CueniY-ID      AnonlAcqm     lGy

SysNo       Bi     Dab                          Value            T   lmr          tft           Socm                                   Thru           D€f,oddion lhhRun Doptscidiott qlEchhn          CoS



G/LAssellocl l{o = 1g[
            000    09/27118                         1,031.00     P   SLMI\4        10 00                0.00               1,031,00    06/30/20           128,88      8.59     60.14         189,02

012306      Empty Car Revenue Movement - CP               39082
            000    09/27118                         1,031,00     P   SLMM          10 00                0.00               1,031.00    06/30/20           128.88      8.59     60,14         189.02

012307      Empty Car Revenue Movement - INTX 47008

            000    09/27118                         1,031,00     P   SLlt4M        10 00                0.00               1,031.00    0d30/20            128.88      8,59     60,'14        189.02

012308      Empty Car Revenue Movement.ATGX                  75987

            000    09/2il18                         1,031,00     P   sLl\.,|M      10 00                0,00               1,031,00    06/30/20           128,88      n(0      60.14         189,02

012309      Empty Car Revenue Movement - RRRX 182953

            000    09/27118                         1,03't.00    P   SLMI\4        10 00                0,00               1,031,00    06/30/20           128.88      8,59     60.14         189.02

012310      Empty Car Revenue Movement -                S00 74762
            000    09/27118                             910.00   P   SLMI\4        10 00                0.00                910,00 06/30/20               1   13.75   i.58     53,08         166.83

01231   1   Empty CarRevenue l\4ovement "               S0074€16
            000    09/27118                             910,00   P   SLMM          10 00                0.00                910.00 06/30/20               1   13,75   7,58     53.08         166,83

012312      Empty Car Revenue Movemenl'                 S00 74656
            000    09/27118                             910,00   P   SLMM          10 00                0,00                910.00 06/30/20               1   13.75   7.58     53.08         166.83

012313      Empty Car Revenue Movement- CP                39082
            000    09/27118                         1,031.00 P       sLtltM        10 00                0,00               1,031,00    06/30/20           128.88      8.59     60,14         189.02

012315      Emply Car Movement           - CP   390266

            000    10/04/18                         1,032.00 P       SLMI\4        10 00                0.00               1,032,00    06/30/20           129,00      8,60     60.20         189,20

012316      Repairs to AEX    1   1853

            000    10/26/18                             214.50   P   sLMtlt        10 00                0.00                214,50 06/30/20                   25.03   '1,79
                                                                                                                                                                                tl,xl         37,54

012317      Repairs to AEX 12466

            000    10/26/18                             2'14,50 P    SLMM          10 00                0,00                214.50 06/30/20                   25.03   1.79     12,51          37.54

0 12318     Repairs to AEX 12471

            000    10/26/18                             214,50   P   sLt\.,tM      t0    00             0,00                214,50 06/30/20                   25.03   1,i9     12.51          37,54

012319      RepahstoAEX 12520

            000    10/26/18                             214.50   P   SLMM          10 00                 0.00               214,50 06/30/20                   25,03   1,79     12,51          37.54

012320      RepairstoAEX 12526

            000    10/26/18                             214.50   P   SLMI\4        10 00                 0.00                214.50    06/30/20               25.03   1.79     12,51          37.54

012321      Repairs to AEX 12546

            000    10/26/18                             214.50   P   SLMM          10 00                 0,00               214.50 06/30/20                   25,03   1,79     12.51          37,54

012322      Repairs to AEX 12598

            000    1026/18                              214,50   P   sLtltM        10 00                 0.00                214,50 06/30/20                  25.03   1,79
                                                                                                                                                                               '12,51
                                                                                                                                                                                              37.54

012323      RepairstoAEX 12599

            000    1u26/18                              214.s0   P   SLMM          10 00                 0,00                2't4,50   06/30/20               25.03   1.79     12.51          37.54

012324      BepahstoAEX 12609

            000    10/26/18                             214.50   P   SLMI\,l       10 00                 0,00                214.50 06/30/20                  25,03   1,79     12.51          37,54

012325      RepahsroAEX 12613

            000    10/26/18                             214.50   P   SLMM          10 00                 0,00                214.50 06/30/20                  25.03   1.79     12,51          37,54

012326      Repairs lo AEX 12625

            000    1026/18                              214,50   P   sL[4M         10 00                 0.00                214,50 0d30/20                   25.03   1.79      12.51         37.54

012327      Repairs to AEX 12646

            000    10/26/18                             214,50   P   SLMI\,I       10 00                 0,00                214.50 06/30/20                  25,03   1,79      12.51         JT,J4

012328      RepairstoAEX 12649

            000    10/26/18                             214.50   P   SLMM          10 00                 0,00                214,50 06/30/20                  25,03   1.79      12,51         37,54

012329      RepairstoAEX 12655

             000   10/26/18                             214.50   P   SLI\r|M       10 00                 0.00                214,50 06/30/20                  25.03   1.79      12.51         37.54

012330      Repairs to AEX 12660

             000   10/26/18                             214,50   P   SLMM          10 00                 0,00                214.50 06/30/20                  25,03    1,79     12,51         37,54

012331      RepairstoAEX 12661

             000   10/26/18                             214.50   P   SLMI\4
                                                                                   '10
                                                                                         00              0.00                214,50 06/30/20                  25.03    1.79     12.51         37.54

012332      RepairstoAEX 12684


                                                                                                                                                                                                            .l10
AuS!t6,mmd1ffifil                                                                                                                                                                                     Pr$
         Case 20-11139-1-rel                                             Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                                         Desc Main
                                                                              Document    Page 198 of 370

                                                                                                  lntestate Commodities, lnc.
                                                                                                        Depaiaion Eaense       Roport

                                                                                                           AsolJrlySl,2020

Book = lnternal

ffififfi1=December

                  ln Svc                Aofliod           P   Dopr         Ed       Salv/168410ry          DoFochilo        Rix         Plirlcqn        Dqrocidhn           Cu$tYTD           Crn'onlAccm    lGy
SlsNo     il      Dsb                    Vduo             T   Itdr         tft         S€c 179               8a$            thru        DErsdahrt        Ihb Run            D€FEchhn          Doprochbn      Co&


GlLArsotlootl{o =    lflIt
          000     10/26/18                      214.50    P   SLMI\4       10 00                 0.00              214,50 06/30/20              25.03               1.79          12,51              37,54

012333    Repairs to AEX 13531

          000     10/26/18                      214.50    P   sLt\4t\4     10 00                 0.00              214.50 06/30/20              2s.03               1.79          12.51              37,54

012334    RepairstoAEX13535
          000     10/26/18                      214,50    P   SLI\4M       10 00                 0.00              214.50   06/30/20            25.03               1,79          12,51              37,54

0'12335   Repairs to AEX 15608

          000     10/26/18                      214,50 P      SLI\4M       10 00                 0.00              214.50 06/30/20              25,03               1,79          12,51              37.54

012336    Repairs to AEX 15609

          000     1u26/18                       214,50 P      sLt\,,tM     10 00                 0.00              214.50 06/30/20              25,03               1,79          12,51              37.54

012337    Repairs to AEX 15610

          000     10/26/18                      214,50 P      SLMM         10 00                 0.00              214,50   06/30/20            25,03               1.79          12.51              37.54

012338    Repairs to AEX 15614

          000     1il26/18                      214,50 P      SLMM         10 00                 0,00              214,50 06/30/20              25,03               1,79          12.51              37,54

012339    Repairs to AEX 15616

          000     10/26/18                      214,50 P      SLMM         '10 00                0,00              214,50 06/30/20              25.03               1,79          12,51              37,54

012340    RepairstoAEX 15618

          000     10/26/18                      2r4,50    P   SLMM         10 00                 0,00              214.50 06/30/20              25.03               1,79          12,51              37.54

012341    RepairstoAEX'15622
                  '10/26/18
          000                                   214.50 P      SLMI\4       10 00                 0,00              214.50 06/30/20              25,03               1,79          12,51              37.54

012342 RepairstoAEXl5623
          000     10/26/18                      214.50 P      SLMI\4       10 00                 0.00              214.50 06/30/20              25,03               1.79          12.51              37.54

012343    RepairstoAEX'15624

          000     10/26/18                      214.50    P   SLMI\,l      10 00                 0.00              214.50   06/30/20            25,03               1,79          12.51              37,54

012344 RepairstoAEX 15625
          000     10/26/18                      214,50 P      SLI\4M       10 00                 0.00              214,50 0d30/20               25.03               1,79          12,51              37,54

012345    BepairstoAEX15632
          000     10/26/18                      214,50    P   SLI\4M       10 00                 0,00              214,50 06/30/20              25.03               1.79          12,51              37,54

012346    Repairsto AEX 20333

          000     10/26118                      2 14,50   P   SLMM         10 00                 0,00              214.50 06/30/20              25,03               1.79          12.51              37.54

012347    Repairsto AEX 20431

          000     10/26/18                      214.50 P      SLMM          10 00                0.00              214.50 06/30/20              25,03               1.79          12.51              37.54

012348    Repairs lo AEX 20432
                                                                                                                                                                                  '12,51
          000     10/26/18                      214.50 P      SLMM          10 00                0.00              214,50   06/30/20            25,03               1,79                             37,54

012349    Repairs to Rl\,lGX   1   16

          000     10/26/18                      214.50 P      SLMI\4        10 00                0.00              214,50 0d30/20               25.03               1,79          12,51              37,54

012350    Repairs to RMGX 177289

          000     10/26/18                      214.50 P      SLMI\4        10 00                0,00              214.50 06/30/20              25.03               1.79          12.51              37.54

012351    Repairs to RMGX 254033

          000     10/26/18                      214.50 P      SLI\4M        10 00                0.00              214.50 06/30/20              25,03               1.79          12.51              37.54

012352    RepairstoAEX 11548

          000     10/26/18                      214.50    P   SLI\4M        10 00                0.00              214.50 06/30/20              25,03               1,79          12.51              37.54

012353    RepairstoAEX'11813

          000     10/26/18                      214,50    P   SLI\4M        10 00                0.00              214.50   06/30/20            25.03               1,79          12,51              37,54

012354    RepairstoAEXllS34
          000     10/26/18                      214,50 P      SLMM          10 00                0.00              214,50 06/30/20              25.03               1.79          12.5    1          37,54

012355 RepaitstoAEX           12414
                                                                                                                                                                    '1,79
          000     10/26/18                      214.50 P      SLMM          10 00                0,00              214.50 06/30/20              25,03                             12.51              37.54

012356    RepairstoAEX 12447

          000     10/26/18                      214.50 P      SLMI\4        10 00                0,00              214.50 06/30/20              25,03               1,79          12.51              37.54

012357    RepairstoAEX 12462

          000     10/26/18                      214.50 P      SLMIT         10 00                0.00              214.50 06/30/20              25.03               1.79          12,51              37,54

012358    RepairsroAEX'12481



Aild8,mdlfi13Ail                                                                                                                                                                                             Pago   l1l
         Case 20-11139-1-rel                                      Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                                   Desc Main
                                                                       Document    Page 199 of 370

                                                                                      lnterstate Commodities, lnc,
                                                                                            Dept€drilion Eponse Repoil

                                                                                                AsolJrly31,2020

Book = lntemal

ffE ltlmh   = December


           lnSrrc                  Ac$iod          P   DoF Est                 Saly/168Ahry DoFlebb ftbr                    HixAE [!n       Dopnddftn          CmnlYlD        CurfltAciln l6t
SylNo    $ pe                       ValF           T   trldl tft                Socl?9            Basir          Ihru       Doprsddht        thb Run           DgFBcHion      Doptocffion     Co&


OLAadlntNo = lflIl
       000 10/26/18                      214.50        SLI\4M       10 00            0.00             214,50     06/30/20          25.03                1.79          12.51          37,54

012359 RepairstoAEX12506
       000 t0/26/18                      214.50        sLtltM       '10
                                                                          00         0.00             214,50     06/30/20          25,03                1.79          12.51          37,54
012360 RepairctoAEXl25l3
       000 10/26/18                      214.50        SLI\,lM      10 00            0.00             214,50 06/30/20               25,03               1.79          12,51          37.54
012361   RepairstoAEXl252T
         000     10/26/18                214.50        SLI\4M        10 00           0,00             214,50 0d30/20                25,03               1.79          12,51          37.54
012362 RepairctoAEX 12532
         000     10/26/18                214.50        SLI\4M        10 00           0.00             214,50 06/30/20               25,03               1.79          12,51          37.54

012363   RepairstoAEX 12543
         000     10/26/18                214.50        sLt\.,tM     10 00            0,00             214,50 06/30/20               25,03               170           12,51          37.54

0'12364 RepairstoAEX 12550
         000     10/26/18                214.50        SLI\4M       10 00            0,00             214.50 06/30/20               25,03               1,79          12.51          37.54
012365   RepairstoAEXl25S2
         000     10/26/18                214.50                     '10 00           0,00
                                                       SLMM                                           214,50 06/30/20               25,03               1,79          12.51          37.54

012366   RepairstoAEX 12627
         000     10/25118                214.50        SLI\,lM      10 00            0,00             214.50     06/30/20           25.03               1,79          12.51          37.54
012367   RepairstoAEX 12654
         000     10/26/18                214.50        SLi/lM       10 00            0,00             2't4.50    06/30/20           25.03               1.79          12,51          37,54
012368   RepairstoAEX 12672
         000     10/26/18                214.50        SLMM         l0    00         0,00             214.50     06/30/20           25,03               1.79          12,51          37,54
012369   RepairstoAEXlSr499

         000     10/26/18                214.50        SLMM         10 00            0.00              214.50 06/30/20              25,03               1.79          12,51          37.54
012370   RepahsroAEX15615
         000     10/26/18                214.50        SLMI\4       l0    00         0.00              214,50 06/30/20              25,03               1,79          12,51          37.54
012371 RepairstoAEX 15619
         000     10/26/18                214,50        SLMI\,l      10 00            0.00             214,50     06/30/20           25,03               1,79          12.51          37.54
012372 RepairstoAEX 15620
         000     10/26/18                214,50        SLMIlI       10 00            0.00              214,50 06/30/20              25.03               1.79          12.51          37.54
012373   RepairstoAEXl5629
         000     10/26/18                214,50        SLMIlI       10 00            0.00              214,50 06/30/20              25.03               1.79          12.51          37.54
012374 RepairstoAEX 15630
         000     10/26/18                214,50        SLMM         10 00            0.00              214.s0    06/30/20           25.03               1.79          12,51          37.54
012375 RepairstoAEX 15637
         000     10/26/18                214,50        SLMM         10 00            0.00              214.50    06/30/20           25.03               1.79          12,51          37,54
012376   Repairsto|NTX 11886
                 '10/26/18
         000                             214,50        SLMM         10 00            0,00              214.50    06/30/20           25,03               1.79          12.51          37,54
012377   Repairsto INTX 12596

         000     10/26/18                214,50        SLMM         10 00            0,00              214.50    0d30/20            25,03               170           12.51          37.54
012378   Bepairsto INTX 12645

         000     10/26/18                214.50        SLMM          10 00           0,00              214.50    06/30/20           25,03               1,79          12.51          37.54
012379   Repairsto INTX 13500

         000     10/26/18                214,50        SLMM          10 00           0.00              214,50    06/30/20           25,03               1.79          12.51          37.54
012380   Repailsto INTX 13577

         000     10/26/18                214.50        SLI\4M        10 00           0.00              214,50 06/30/20              25.03               1.79          12,51          37.54
012381   Repairsto INTX 13723

         000     10/26/18                214.50        sLtltM        l0   00         0.00              214.50    06/30/20           25.03               1.79          12,51          37,54
012382   Repairsto INTX 15628

         000     10/26/18                214.50        SLMM          10 00           0.00              2't4.50   06/30/20           25,03               1.79          12,51          37,54
012385   Empty Car l\4ovement -   S00 74378
         000     11/05/18               1,032.00   P   sLMt\/|       10 00           0.00            1,032,00    0030/20           120,40               8,60          60,20          180,60

012386   Empty Car l\4ovement -CP 3851 18



Al[H6,2U0el11l3lll                                                                                                                                                                            Pego 1{2
         Case 20-11139-1-rel                                         Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                                                           Desc Main
                                                                          Document    Page 200 of 370

                                                                                                       lntestate Commodities, nc,             I



                                                                                                             Dryecialion E4enso Roport

                                                                                                                 As ol Jdy 31,2020


Book = Intemal

ffi   iilonh = December


                   lnS:w                 Acsrisd           P   Ds.       Ed         Salv/168    Alou             Dop$iallo         hkl            hirAcqrn             Dqncidion          Ctn$tY'ID        CrmntAcqn     lGy
                                                                                               .l79
S}tNo        E)d   Dd3                     VaIn            T   Mdh       tfr           Ssc                         Bsrb            Ihru           Degeciaion            nhRun             thmcUmn          Degechftn     Co6


OLAs*tAmiNo= 1$7
             000   11/05/18                     1,032.00       SLI\4M    10 00                        0.00            1,032.00     06/30/20              120.40                    8.60          60,20          180,60

012387       Empty Car Movement -       S00 74234
             000   11/05/18                     1,032.00       sLtllM    10 00                        0.00            1,032,00     06/30/20              120.40                    8.60          60,20          180,60

012388       EmplyCarMovement-S00 125015
             000   11/05/18                     1,032.00       SLi/M     10 00                        0.00            1,032,00     06/30/20               120,40                   8,60          60,20          180.60

012389       Emply Car Movement-CP 385206

             000   1l/05/18                     1,032.00       SLMM      10 00                        0.00            1,032.00     06/30/20               120,40                   8,60          60.20          180.60

012390       Empty Car Movement-CP 385277

             000   1   1/05/18                  1,032.00       SLMI\4    10 00                        0.00            1,032.00     06/30/20               120,40                   8.60          60,20          180.60

012391       Empty Car Movement-CP 385416

             000   11/05/18                     1,032.00       SLMI\,l   10 00                        0,00            1,032.00     06/30/20               120.40                   8.60          60,20          180,60

012392       Empty Car Movement -CP 390185

             000   11/05/18                     1,032.00       SLMI\,I   10 00                        0,00            1,032.00     06/30/20               120.40                   8.60          60,20          180,60

012393       Empty Car Movement -       S00   125129

             000   1   1/05/'t8                 1,032,00       SLMM      10 00                        0,00            1,032.00     06i30/20               120.40                   8,60          60.20          180,60

012394       Empty Car Movement-CP 390321

             000   11/19/18                     1,032,00       SLMM      10 00                        0,00            1,032,00     06/30/20               11    1,80               8,60          60.20          172,00

012395       Empty Car Movement -CP 385121

             000   11/19/'18                    1,032,00       SLMM      10 00                        0.00            1,032,00     06/30/20               1 1   1.80               8.60          60,20          172.00

012396       Empty Car Movement -CP 390267

             000   1119/18                      1,032,00       SLI\4M    10 00                        0,00            1,032,00     06/30/20               1 1   1.80               8.60          60,20          172,00

012397       Empty Car l\4ovement   -   CP 390237

             000   1   1/19/'18                 1,032,00       SLi/lM    10 00                        0.00            1,032.00     06/30/20               1 1   1.80               8.60          60,20          172,00

0 1240   1   Empty Car l\llovemenl - INTX 23254

             000   1214/18                        839.85       SLMM
                                                                         '10
                                                                               00                     0,00                839,85   06/30/20                90.99                   7,00          48.99          139,98

012402       Empty Car Movement - INTX 22935

             000   1214n8                         884.35       SLMI\4    10 00                        0,00                884.35 06/30/20                  95,81                   7.37          51,59          147.40

012403       Empty Car Movement - INTX 2201        1


             000   1214/18                        884.35       SLMI\,|   10 00                        0.00                884.35 06/30/20                  95,81                   7.37          51,59          147.40

012404       Empty Car Movement - INTX 500126

             000   1214/18                        884.35       SLMM      10 00                        0.00                884.35 06/30/20                  95.81                   7.37          51.59          147,40

012405       Empty Car Movement - INTX 24006

             000   1214/18                        884,35       SLMM      10 00                        0.00                884,35 06/30/20                  95,81                   7,37          51.59          147,40

012406       Empty Car Movement-INTX 22464

             000   1214/18                        884,35       SLI\/lM   10 00                        0.00                884,35 06/30/20                  95,81                   7,37          5'1,59         147.40

012407       Empty Car Movement - INTX 480347

             000   12114118                       884.35       SLI/lM    10 00                        0,00                884.35 06/30/20                  95,81                   7.37          Et   (o        147.40

012408       Empty Car Movement- INTX 28121

             000   12114118                       884.35       SLMM      10 00                        0,00                884.35 06/30/20                  95.81                   7.37          51.59          147.40

012409       Empty Car Movemenl - INTX 18735

             000   1214/18                        884.35       SLMIlI    10 00                        0.00                884,35 06/30/20                  95.81                   7.37          51.59          147,40

012410       Empty Car Movement - INTX 80212

             000   1214/18                        884.35       SLMI/     10 00                        0.00                884,35 06/30/20                  95,81                   7.37          51,59          147.40

012411       Empty Car l\4ovement - INTX 80058

             000   1214/18                        884,35       SLMM
                                                                         '10
                                                                               00                     0.00                884.35   06/30/20                 95,81                  7.37          51,59          147.40

012412       Empty Car l\rlovement - INTX 489320

             000   1214/18                        884,35       SLI\/lM   10 00                        0,00                884.35 06/30/20                   95.81                  7.37          51.59          147.40

012413       Empty Car Movement - INTX 21864

             000   1214/18                        884,35       SLMM      10 00                        0,00                884.35 06/30/20                   95,81                  7.37          51.59          147,40

012414       Empty Car Movement'INTX          500214

             000   1214/18                        884.35       SLMI\,I   10 00                        0.00                884,35 06/30/20                   95,81                  7.37          51,59          147.40

012415       Empty Car Movement - INTX 23254



firgut6,1P0ot 1113ltl                                                                                                                                                                                                    P#113
       Case 20-11139-1-rel                                     Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                                                 Desc Main
                                                                    Document    Page 201 of 370

                                                                                         lntestate Commodities, lnc.
                                                                                               Depeddion Epenss Ropoft
                                                                                                   As ol Jrly   31,2t20

Book = lntemal

FYE Mtnh = December


                 lnS'rc            AoquM            P   DEr       Ed      Salv/168   Alotv        Dopchbh             Rix        HirAmrn            DEocidion             CurnlY'ID         qrorilAEdm        lGy

SFNo Ed          D.h               Valuo            T   lldt      Uo         Soc 179                 tub              thru       Dortidlon           Ihb Run              lhmt*din          Doqoeftrn         Co&


Ol-AsrtlcdNo= 1fl17
         000 1214/18                       884.35   P   sLtltM    10 00                0.00                884.35 06/30/20              95.81                   747              J I,JV           147,40

012417 Restencil-CP385266
         000 01/3v19                       695.63   P   SLMM      10 00                0,00                695.63 06/30/20                  63.77               5,79             40,57            104.34

012418   Re$encil-CP385121
         000     01/31/19              1,791,s6     P   SLMM      10 00                0,00              1,791,56     06/30/20          164,23                 14.93            104,51            268.74

012419   Restencil-CP390267

         000 01/3Vl9                       681,31   P   stMt\,t   10 00                0.00                681,31     06/30/20              62,45               5.68             39,74            102,19

012420   Restencil"CP 3851 18

         000     01/31/19             3,338.39      P   SLMM      10 00                0.00              3,338.39     06/30/20         306,02                  27.82            194.74            500,76

012421   Restencil-S00 125015
         000     01/31/19                  681.31   P   SLMM      10 00                 0.00               681.31     06/30/20              62.45               5.68             39.74            102.19

012422   Restencil-CP39m21
         000     01/31/19              2,8z3.09     P   SLI\,lM   10 00                 0,00             2,823,09     06/30/20          258,78                 23.53            164,68            423.46

012423 Restencil"CP38527l
         000     01/31/19                  816,48   P   SLI\4M    10 00                 0,00               816.48 06/30/20                  74,84               6.80             47.62            122,46

012424   Restencil-CP390237

         000 0v31/19                       960,45   P   SLMM      10 00                 0.00               960,45 06/30/20                  88.04               8,00             56,02            144,06

012425   Restencil"S0074il78
         000     01/31/19                  681,31   P   SLMI\4    10 00                 0.00               681,31     06/30/20              62,45               5.68             39.74            102.19

012426   Reslencil-S0074234
         000     01/31/19                  681.31   P   SLMM      10 00                 0.00               681,31     06/30/20              62.45               5.68             39,74            102,19

012427   Restencil.CP385,416

         000 0t/31/19                  1,053.80     P   SLMM      10 00                 0,00             1,053,80     06/30/20              96.60               8,78             o   t.4/         158,07

012428   Restencil   -CP390185

         000     01/31/19                  733.80   P   SLIlIM    10 00                 0.00               733,80 06/30/20                  67,27               6.1   1          42.80            1   10.07

012429   Re$encil'CP390266
         000     01/31/19              1,276,38     P   SLMM      10 00                 0.00             1,276.38     06/30/20          1   17,00              10.63             74,45            191.45

012431   Restencil-S00i4757
         000 0228/19                   1,279,29     P   SLMIlI    10 00                 0.00             1,279,29     06/30/20          106.61                 10.66             74.62            181,23

012432   Restencil-S00'!25063
         000     0228/'19                  958,63   P   SLMM      10 00                 0,00               OAC   A1   06/30/20              79.89               7,98             55.91            135.80

012433   Beslencil-S0074749
                                                                                                                                                                                                  '194.93
          000    02128119              1,375.99     P   SLMM      10 00                 0.00             1,375.99     06/30/20          1   14,67              I 1.46            80,26

012434   Bestencil-S0074805
         000 0228/19                       980.84   P   SLI/M     10 00                 0.00               980,84 06/30/20                  81.74               8.17             57.21            138,95

012435   Re$encil-S0074591
         000     0228/19                   980,84   P   SLMM      10 00                 0.00               980.84 06/30/20                  81.74               8,17             57.21            138,95

012436   Restencil-S0074864
         000 0228/19                   1,047,20     P   sLMlll    10 00                 0,00             1,047.20     0030/20               87.27               8.72             61,08            148.35

012437   Restencil-S0074402
         000 0228/19                   1,2U.48      P   SLMM      10 00                 0.00             1,2U.48      06/30/20          107,04                 10.70             74.92            181.96

012438   Restencil -   S00 74444
         000 0228/19                   1,206.80     P   SLMM      10 00                 0.00             1,206.80     06/30/20          100.57                 10,05             70.39            170,96

012439   Be$encil-CP390271
          000 0228/19                      850,36   P   SLMM      10 00                 0,00               850.36 06/30/20                  70,86               7,08             49,60            120.46

012440   Reslencil.S0075033
          000    0228/19               1,096,78     P   SLMI\,l   10 00                 0,00              1,096.78    0d30/20               91.40               9.14             63,98            155.38

012441   Restencil.SOO75204

          000 0228/19                  1,231.97     P   SLMM      10 00                 0.00              1,231,97    0d30/20           102.67                 10,26             71.86            174,53

012445   Repairsto INTX 12452

          000 0u28/19                      436.80   P   SLI\4M    10 00                 0.00               436.80 06/30/20                  32,76               3,64             25,48                58,24

012446   Repairsto INTX 12414



Ar$rt6,m0dll:l3tt                                                                                                                                                                                             PNF|l,t
         Case 20-11139-1-rel                                          Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                                                  Desc Main
                                                                           Document    Page 202 of 370

                                                                                                lnterutate Commodities, lnc,
                                                                                                      Depnidjon Epense         Repoft

                                                                                                         As   olJrly 31,2020

Book = lntemal

FYE   ltlonh = December


                 ln   Srt              Lflisd            P   Dopr        Est     Sslv/168   Aloir        DoFocIDlo          ftix        hirAcdm           Dogocidfiort            CmntY'ID       CuofltAc.un          l(oy
STn   No   Ert   Dab                     Vd$             T   il€fi       tft        S€c 179                                 Thru        Dedsddon           lhb   Run              Demchhn        Dmcffin              Co&


OLAsedAdNo= 1grl
           000   03/28n9                     1,311.75    P   SLMM        10 00                0.00              1,31 1.75   06/30/20           98,38                   10,93            76.52          174.90

012447     Repairs to INTX 12609

           000   03/28/19                      436.80    P   SLMM        10 00                0.00               436,80 06/30/20               32.76                       3,64         25.48              58.24

012473     Repahs to DSRC

           000   0&31/19                     1,294.96    P   SLMM        10 00                0.00              1,294.96    06/30/20           4J.   l/                10.79            75.54          1   18,7   1




012474     Repairs to DSRC

           000   08/31/19                    1,398.51    P   SLMM        10 00                0.00              1,398.51    06/30/20           46.62                   11.65            81,57          128.19

012475     Repairs lo DSRC

           000   08/31/19                    2,320.49    P   SLI\4M      10 00                0,00              2,320.49    06/30/20           77.35                   19.34           135.36          212.71

012476     Repahs lo DSRC

           000   0u31/19                     2,061.'14   P   SLI\4M      10 00                0.00              2,061.14    06/30/20           68.71                   17,18           120,23          188.94

012477     Repahs to DSR0

           000   0u3v19                        731.21    P   SLI\,IM     10 00                0.00               731.21     06/30/20           24,37                       6,09         42.65              67.02

012478     Repahs to DSRC

           000   08/31/19                    8,105,50    P   SLI\4M      10 00                0.00              8,105,50    06/30/20          270,18                   67,55            472.82         743,00

012479     Repahs lo DSRC

           000   08/31/19                    1,432,06    P   SLMM        10 00                0,00              1,432,06    06/30/20           47.74                   1   1,93         83,53          131,27

012480     Repahs to INTX

           000   08/31/19                    1,628,22    P   SLMM        10 00                0,00              1,628,22    06/30/20           54.27                   13.56             94,97         149,24

012485     4C9SC4031 J1080838 / RMR2280838

           000   08/31/19                        0,00    P   NoDep       05 00                0,00                   0.00 06/30/20                 0.00                    0.00           0,00              0,00      d

012486     4C9SC4038H1080779         / Rlt4R2280779

           000   08/31/19                        0,00    P   NoDep       05 00                0.00                   0,00 06/30/20                 0,00                    0,00           0.00              0.00      d

012487     4CgSC4038J1080&36         / RMR2280836

           000   0&/31/19                        0,00    P   NoDep       05 00                0,00                   0,00 06/30/20                 0,00                    0,00           0.00              0.00 d
012488     4C9SC403XJ1080837         / RMR2280837

           000   0&31/19                         0,00    P   NoDep       05 00                 0.00                  0.00   06/30/20               0.00                    0.00           0,00              0,00 d
012489     Repairto DSRC 74498

           000   10/31/19                    1,2m.51     P   SLMI\4      10 00                 0.00             '1,203,51
                                                                                                                            06/30/20           20,06                   10,03             70.20             90,26

012490     Repairto DSRC 74512

           000   10/31/19                      504.53    P   SLMM        10 00                 0,00              504.5s     06/30/20               8.41                    4.20          taM               37,83

012491     Repair to DSRC 125062

           000   1031/19                       504.53    P   SLMM        10 00                 0,00               504.53    06/30/20               8,41                    4,20          29.42             37.83

012492     Repairto DSRC 74593

           000   10/31/19                      504.53    P   SL|\4M      10 00                 0,00               504.53    06/30/20               8,41                    4,20          29,42             3i.83
012493     Repairto DSRC 390235

           000   10/31/19                      604.i7    P   SLI\,IM     10 00                 0,00               604,77    06/30/20           10.08                       5.04          35,28             45.36
012494     Repair to DSRC 7441   1


           000   10/3v19                       604,7i    P   SLtltM      10 00                 0.00               604.77    06/30/20           10.08                       5.04          35.28             45,36

012495     Repairto DSRC 74526

           000   10/31/19                      504,53    P   SLMM        10 00                 0.00               504.53 06/30/20                  8.41                    4.20          29.42             37,83

012496     Repairto DSRC 390275

           000   10/31/19                      504,53    P   SLMM        10 00                 0.00               504.53 06/30/20                  8.41                    4,20          29.42             37.83

012497     Repairto DSRC 74383

           000   10/31/19                      s04.53    P   SLM|\4      10 00                 0.00               504.53 06/30/20                  8,41                    4,20          29,42             37.83

012498     Repairto DSRC 74339

           000   10/31/19                      504.53    P   SLMtlt      10 00                 0,00               504,53    06/30/20               8.41                    4.20          29.42             37.83

012499     Repairto DSRC 745   10

           000   10/31/19                      504.53    P   SLMM        10 00                 0,00               504,53 06/30/20                  8.41                    4.20          29.42             37,83

012500     Repairto DSRC 74715

           000   10/31/19                      504.53    P   SLMM        10 00                 0.00               504.53 06/30/20                  8.41                    4.20          29.42             37.83

012501     Bepairto DSRC 74907



Arylt6,XPorl 1l13All                                                                                                                                                                                                  Pff115
        Case 20-11139-1-rel                               Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                                                           Desc Main
                                                               Document    Page 203 of 370

                                                                                       lnterstate Commodities, nc,                I



                                                                                             Depufalion Eryenso R€poil
                                                                                                 As ol   Jtly   31 ,   2020


Book = Intemal

ffi   Monh = December


                 lnSr            @M        P   Dopr          Ed        Salv/l60Ahrr              Dopmciebb             hir            R*rAcffil           Dopecidon           C{mr'tY'ID      qnonlAcun     lGy
                                                                               .l79
StrNo EIt        Ddo                       T   ildh         t-h          S€c                       Belb                Ihru           DegeciAicn           Ihb   Run          Ihmcdbtr        DmcHion       Odo


GlLAsr€lLdt{o=lflY
        000 10/31/19              504.53       SLI/lM        10 00                    0.00                504.53 06/30/20                      8.41                    4.20           29.42         37.83

012502 Repairto DSRC 74682
        000 10/31/19              504,53       SLMM          10 00                    0,00                504.53 06/30/20                      8.41                    4,20           29J2          37,83

012503 Repairro DSBC 390035
        000 10/3v19               504,53       SLMM          10 00                    0,00                504.53 0d30/20                       8.41                    4,20           29.42         37,83

012504 Bepairlo DSRC 74407
        000 10/31/19              504,53       SLMM          10 00                    0,00                504,53 06/30/20                      8,41                    4,20           29,42         37,83

012505 Repairto DSRC 385422
        000 10/31/19              604,77       SLMM          10 00                    0,00                604.77       0d30/20                10,08                    5.04           35.28         45.36

012506 RepairtoDSBC385329
        000 10/31/19              504,53       SLMM          10 00                    0,00                504,53 06/30/20                      8,41                    4.20           29.42         37.83

012507 RepairtoDSRCT53ll
        000 10/31/19              604,77       SLMM          10 00                    0.00                604.77       06/30/20               10.08                    5.04           35.28         45.36

012508 RepairtoDSRCT4466
        000 10/31/19              504,53       SLMIlI        10 00                    0.00                504.s3       06/30/20                8.41                    4,20           29.42         37,83

012509 Repairto DSRC 385160
        000 10/31/19              504,53       SLMI\,I       10 00                    0.00                504.53 06/30/20                      8.41                    4.20           29,42         37,83

012510    RepairtoDSRC385451

          000    10/31/19         504,53       SLMI/l        10 00                    0.00                504.53 06/30/20                      8,41                    4.20           29.42         37,83

012511    RepairtoDSRC385l97
          000    10/31/19         504.53       SLMM          10 00                    0.00                504.53 06/30/20                      8,41                    4.20           29.42         37.83

012512    Repairto DSRC 385402

          000    10n1n9           504.53       SLI\4M        t0   00                  0,00                504,53 06/30/20                         8.41                 4,20           29.42         37.83

012513    RepairtoDSRC390201

          000    10/31/19         504.53       SLI\4M        10 00                    0,00                504,53 06/30/20                         8.41                 4.20           29,42         37,83

012514    RepairtoDSRC385165

          000    10/3'1/19        504.53       SLI\,lM       10 00                    0,00                504,53 06/30/20                         8.41                 4,20           29.42         37,83

012515    RepairtoCP385l78
          000    10/31/19         504.53       StMM          10 00                    0,00                504,53 06/30/20                         8.41                 4.20           29,42         37.83

012516    RepairtoDSRC385368

          000    10/31/19         504.53       SLMM          10 00                    0.00                504.53 06/30/20                         8,41                 4.20           29.42         37.83

012517    RepairtoDSRC385385

          000    10/31/19         604,77       SLMI\,l       10 00                    0.00                 604.77      06/30/20                10,08                   5.04           35.28         45.36

012518    RepairtoDSRC385214

          000    10/31/'19        504,53       SLMI/         10 00                    0.00                504.53 06/30/20                          8.41                4,20           29,42         37,83

012519    RepairtoDSRC39013l
          000    10/31/19         504,53       SLMI/         't0 00                   0.00                 504,53 06/30/20                         8.41                4,20           29.42         37,83

012520    Repairto DSBC 390238

          000    10/31/19         504,53       SLMM          10 00                    0,00                 504,53 06/30/20                         8.41                4.20           29.42         37,83

012521    Repairto DSRC 385127

          000    10/31/19         504.53       SLI\4M        10 00                    0,00                 504.53 0d30/20                          8,41                4.20           29.42         37,83
012522    Repairto DSRC 390293

          000    10/31/19         504.53       SLI\,,IM      10 00                    0,00                 504.53 06/30/20                         8,41                4,20           29,42         37.83

012523    Bepairto DSBC 385142

          000    t0/31/19         504.53       SLMM          10 00                    0.00                 504.53 06/30/20                         8.41                4.20           25,42         37.83

012524    Repairro DSRC 75170
          000    10/31/19         504.53       SLMI\/l       10 00                    0.00                 504,53      06/30/20                    8.41                4.20           29.42         37,83

012525    Repairto DSRC 390255

          000    r0/31/19         357,95       SLMM          10 00                    0,00                 357,95      06/30/20                    5.97                2.98           20.88         26,85

012526    RepairtoDSRC390320

          000    10/31/19         504,53       SLMM          10 00                    0.00                 504.53 0a60/20                          8.41                4.20           29,42         37.83

012527    Repahto DSRC 385193



ftry!ilo,mdlfi0All                                                                                                                                                                                          Paeo 116
        Case 20-11139-1-rel                                              Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                                               Desc Main
                                                                              Document    Page 204 of 370

                                                                                                    lntestate Commodities, lnc.
                                                                                                          Depreddion Eryense         Rept
                                                                                                              As   olJtly 31,2020

Book = lntemal

FYE iilonh = December


                    lnSrc                 tuquM             P   Dopr        Ed         Satv/l68Ahry           Dogoohbb            hix        ftbtlciln          Dqreddon          Cur€ntYlD       CutontAccm         lGy
SrsNo        El     Dab                    Volue            T   ll€ilh      tft          S€c 179                   Barb           thru       Demddbn             n'ERun           Dsmdaion        Demdabn            Coe


GIL Asssl   lcct   No =   lflIl
             000     10/31/19                      504,53   P   SLMM        10    00               0,00                   504,53 06/30/20                8,41             4.20           25.42              37,83

012528       RepairtoDSRCT4426

             000     10/31/19                      504,53 P     SLMM        10    00               0,00                   504,53 06/30/20                8,41             4.20           29.42              37,83

012529       RepairtoDSRC385358

             000     10/31/19                      604,77 P     SLMM        10    00               0.00                   604.77 06/30/20             10.08               5,04           35.28              45.36

012530       RepairtoDSRC3S5lT6
             000     1031/19                       504,53 P     stMt\4      10    00               0.00                   504.53 06/30/20                8.41             4,20           29,42              37.83

012531       RepairtoDSBC385145
             000     10/31/19                   1,157.50 P      SLMI\4      10    00               0.00                1,157.50 06/30/20              19.29               9.65           67,52              86.81

012532       RepairtoS0074860
             000     10/31/19                   2,450.22 P      SLMI\.,I    10    00               0.00                2,45022 06n0n0                 40,84               20.41         142.92             '183.76

012533       RepairtoDSRC385383

             000     1031/19                    1,441.12 P      SLI\4M      10    00               0,00                1,441.12 06/30/20              24,02               12.01          84,06             108,08

012534       Repairto DSBC 385386

             000     10/31/19                   5,040.05 P      SLI\4M      10    00               0,00                5,040.05 06/30/20              84.00               42,00         294,00            378,00

012535       Repairto DSRC 74945

             000     10/31/19                   1,443.94 P      SLMM        10    00               0,00                1,443,94 06/30/20              24.07               12,03          84.22             108,29

012549       INTX 2761     1


             000    01124120                   10,854,93 P      SLMM        10    00               0.00               10,854,93 06/30/20                 0.00             90.46         542.75             542.75

012550       INTX 6476

             000    01/24120                    8,740,55 P      SLMM        10    00               0.00                8,740.55 06/30/20                 0,00             72.84         437.03             437,03

012552       BGCX 1016

             000    04fl20                      9,252.17 P      SLMI\4      10    00               0.00                9,252.fl 0429n0                   0.00             0,00           77.10              77.10

012553       BGCX 70509

             000    04fl20                      9,252.17 P      SLMI\,I     '10   00               0.00                9,252.fl 0a29n\                   0.00             0,00           77.10              77.10

012554       |NTX390284

             000    04fl20                      9,252.17 P      SLI\4M      10    00               0,00                9,252,fl   0429120                0.00             0.00           77,10              77.10

0125s5       |NTX385306

             000     04fl20                     9,252.17 P      SLMM        10    00               0,00                s252i7     0429120                                                77.10              77.10

        GilLftsotAcctNo=                   17,927,281.89                                  6,4i0,688.44         1   1,456,593,45                2,963,782.86 63,048.40                477,013.19     3,440,796.05

                               tfll7
            Less disposals      and        (7,517,434.48)                                (3,088,000.00)        (4,429,434,481                   (866,156.90)                                         (976,790,24)

                      transfers

                    Count = 521

                    Net Subtotal          10,409,847.41                                   3,382,688,44             7,027,158,97                2,097,625,96         63,048,40 477,013,19             2,464,005.81

                   Count = 2860



GlLAsrstlcdNo=            1809

000053       l99TWalingaTniler. 2W9HC3625VG001029
             000    00/31/97                   4'1,145.00   P   t\/|F200    05 00                  0,00              41,145.00    06/30/20        41,145,00               0,00             0.00         4'1,145.00 s

000081       Various Truck Hepairs 1996

             000    04/30/04                    6,458.50    P   MF200       05 00                  0,00                6,458.50   06/30/20         6,458.50               0,00             0.00          6,458,50 s
000082       Various Truck Repairs 1997

             000     04/13/04                  14,535,82    P   MF200       05 00                  0.00               14,535,82   06/30/20        14,535.82                0.00            0,00         14,535.82 s
000083       Various Truck Reapirs-olher

             000     06/29/04                  14,403,64    P   MF200       05 00                  0.00               14,403,64   0d30/20         14,403,64                0.00            0.00         14,403.64 s
000092       Various R&M on lrucks

             000     04/01/05                  '17,531,52   P   SL|\4M      05 00                  0,00               17,531.52   06/30/20        17,531,52                0,00            0.00         17,531,52

001074       2006 Ford F350 4x4 White - 1 FDSX35P06ED1207

             000     05/06/08                  31,165.69    P   SLMM        05 00                  0,00               31,165.69   06/30/20        3'1,165,69               0.00            0,00         31,165,69

001   103    2007 Top Hat        Tailer- 4R78U1623n082037
             000     09/0208                    1,309.68    P   SLMM        05 00                  0.00                1,309,68   06/30/20          1,309,68               0.00            0,00          1,309,68


ArlqH6,fl20d       ttlSAll                                                                                                                                                                                           Preo 117
           Case 20-11139-1-rel                                                    Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                                        Desc Main
                                                                                       Document    Page 205 of 370

                                                                                                             lnles{ate Commodities, lnc,
                                                                                                                 DeUecialion Eryenso R€pon

                                                                                                                     As ol Jrly 31, 2020


Book = Intemal

FYE iilonh = December


                    ln Srrc                   Acflid           P       DoF           Ed        Salv/168   Alow       Ihf,€cl'bb        ftil       ftbAcun          Dqmchfion       Crmillm          CumntAccm           lGy
Sytt{o        Bi    DS                         VdB             T       iloh         rs            S€c 179              Basb            firu       Dsprt*utn         fib   Run      IhptgclUfn       IhprclUhn           Coo


G,LAsrtAcdNo = 1&9
001   134    Title/Plates for 2006 FordVin# 1FDXW46P76EA49924 (lL)

              000   06/04/09                       1,772,00    P       sLMl\4        05   00                0.00              1,772.00 06/30/20         1,772.00                0.00         0,00            1,772.00

002157        Ford F550 Vin     1   FDAF57F9XEC58472 (Ohio)

              000    07t24fi                      13,089.38    P       SLM|\/|       05   00                0.00          13,089,38 06/30/20          13,089,38 0,00                         0.00        13,089,38

002504       2008 Ford     F350- 1F0WF36538E844780
              000    0u27112                      17,000,00    P       SLMM          05   00                0,00          17,000,00 0d30/20           17,000.00 0,00                         0.00        17,000,00

002505       2003 GMC      4500- IGDC4E1E03F504022
              000    0u27112                      11,000,00    P       SLMM          05   00                0,00          1   1,000.00 06/30/20       11,000.00 0.00                         0,00        1   1,000,00

006296        1997 GMC C3500 Utility Truck Vin# 1GDJC34R0VF017466

              000    10/08/14                      1,512,37    P       SLMM          05   00                0,00              1,512.37 06/30/20         1,512.37                0.00         0,00            1,512.37

006552       2001   otlawaY-30301935
              000    fl04114                      24,995.00    P       SLMM          05   00                0,00          24,995.00 06/30/20          24,995.00 0.00                         0,00       24,995,00

006553       2015 l\4ercedes Benz C400 Vin         #55SWF6GB2FUm€07
              000    fl2414                       53,r/0.22    P       SLI\,,|M      05   00                0.00          53,n0.22 0181n0             53,770,22 0,00                         0.00        53,770.22 d
006586       2006 Chevrolet Silverado Vin# I GBJK34D46E28i047

              000   01/05/15                      22,220.00    P       SLtltM        05   00                0,00          22,220,00 0613u20           22,220,00 0,00                         0.00       22,220,00

006753       2015 l\,lercedes G1550 Vin# 4JGDF7DE8FA546123

              000   0213/1s                       88,079,30    P       SLMM          05   00                0.00          88,079,30 01/3v20           86,611.31 0.00                         0.00       86,61    1,31   d

007 17   4   2004 ottawa YT30 Vin; t'1VA813E35A00014               1



              000   06/08/15                      12,100,00    P       sLMt\4        05   00                0.00          12,100,00 06/30/20           11,091.67 0.00                    1,008,33        12,100,00

007175       2004 ottau/aYT30 Vinr        1   1VA813E35A000141

              000   06i08/15                      12,100,00    P       sLMlll        05   00                0,00          12,100.00 06/30/20           11,091,67 0.00                    1,008.33        12,100.00

007204       2007 Capacity TJ5000 Vin 4Ll\,l8F2'1 137101783              1


              000   0&/10/15                       9,000,00    P       sLMt\,|       05   00                0,00              9,000.00 06/30/20        7,950,00 150.00                   1,050,00            9,000.00

007205       2001 ottawaYT30 Vin          1   1VA812E21A000482

              000    08/28/15                     65,000.00    P       SLMM          05   00                0,00          65,000.00 06/30/20          56,933,33 1,083,33                7,5E3,33         63,916,66

007256       2010 Ford Ranger Vin# '1FTKR'|AD3APA72812

              000    10/28/15                      8,272.54    P       SLMM          05   00                0.00              8,272.54 0581n0           6,893.79                0,00      689,38             7,583,17 d
009125       2008 Chevy C5500 Vin# 1G8E5E1968F406007

              000    0u17/16                      24,360.00    P       SLI\4M        05   00                0.00          24,360,00 06/30/20           16,240,00 406.00                  2,842,00        19,082,00

010332       2016 Chevrclet Silverado Vin# lGC1WE84GF260506

              000    09/28/16                    100,075.24    P       SLIIIM        05   00                0.00         100,075.24 06/30/20           56,382,24 1,667.92               11,675.44        68,057.68

0 1043   1    201 6 Range Rover VIN# SALGS3E F5GA308561

              000    10/11/16                    118,227.11    P       SLMM          05   00                0,00         118,227.11 0d30120           76,U7,62 1,970,45                 13,793.16        90,640.78

010929       2017 Gl\,lC Siena 2500H Vin# 1GTl2UEY1HF105028

              000    021fl17                      66,639,19    P       SLM|\4        05   00                0,00          66,639.19 0d30/20           38,872.87 1,110,65                 7,774,57        46,M7,44

0l   1886     Repairs t0 2003 GMC 4500          .Vin F504022

              000    0421h8                        5,080,31    P       sLMl\4        05   00                0.00              5,080,31 06/30/20         1,862.78 84,67                     592.70            2,455,48

012040        Repairs    to'04 ottawa SN 35A000141
              000    0228/18                       4,064,47    P       ELMM          05   00                0.00              4,064,47 06/30/20         1,490,30 67.74                     474.18            1,964.48

012041        Repairs to GP-7 Locomotive

              000    0228/18                      15,505.40    P       SLMM          10   00                0.00          15,505,40 06/30/20            2,842.66 129.21                    904,48            3,747.14

012042        Repairs t0 1999 onawa SN79607

              000    0228/18                      11,M6.83     P       SL[4M         0500                   0,00_....jl@06/30/20                        4,050,51 184,11                  1,288.79            5,339.30

           GlLAssotMNo=                          811,459.21                                                 0,00         811,459,2'1                  650,469.57 6,854,08               50,684,69      701,154,26

                              1809

             Lessdisposalsand                   (150,122,06)                                                0.00        (150,122.06)                 114t,27s32)                                       (147,e64,70)

                         transhrs

                         Count=3      _
                    Net   Subtotal               661,337,15                                                 0.00         661337.15                    503,194,25           6,854.08     50,684.69       553,189.56

                        Counl = 26




Auguil6,   AHlal    lllSAtl                                                                                                                                                                                             Pr|o,l18
            Case 20-11139-1-rel                                                  Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                                           Desc Main
                                                                                      Document    Page 206 of 370

                                                                                                         lntestate Commodities, lnc.
                                                                                                               Depecftdhn EpenseRqort

                                                                                                                  As   olJtly3l,2020

Book = lntemal

FYE       ilont    = December


                       lnSlr                Aceisd                P   Dar           Ed      SalY/1684hil          Dopochbb            Prit       hixAcqrn          Dqccidion          Ctmnl\TD       ClmntActrrn      lGy
SlrNo Ed               Ddp                      Vahe              T   iildr         Uo        S€c 179                  Basb           Ihru       Demddiotr          thbRun            lhmcftrhr      Demcftfrn        Co&


OtAssstAoctNo = 18tl
0007'16         Wire Welder

                000    0s31/07                      1,536.80      P   sLt\4M        10 00               0.00              1,536,80    0d30/20          1,536,80              0,00             0,00         1,536.80

000758          RailcarShop Equipment - Drill      l\4ag

                000    07/16/07                     2,0m.07       P   sLl\.,|M      07 00               0.00              2,0m.07     06/30/20        2,003,07               0,00             0,00        2,0m.07

000762          WelderBobcat 250 Kohler

                000    08/31/07                     4,070,30      P   SLMM          07 00               0.00              4,070.30    06/30/20        4,0i0.30               0,00             0,00        4,070.30

000763          S,C,A,T.'AirTeslDevice
                000    08i31/07                     2,736,17      P   SLMM          07 00               0.00              2,736.17    06/30/20        2,736.17               0,00             0.00         2,736,17

000766          Railcarlifisystem
                000    09/24107                    13,0i0,51      P   SLMM          10 00               0.00             13,0i0.51    06/30/20       13,070.51               0.00             0,00        13,070,51

000769          Lg pressure washer

                000     10/08/07                     1,500,00     P   SLMI\4        10 00               0,00              1,500.00    06/30/20         1,500,00              0,00             0.00         1,500.00

000785          Tagpmgrammer

                000    08/03/08                      1,000.00     P   sLMl\4        05 00               0,00              1,000,00    06/30/20         1,000,00              0,00             0,00         1,000.00

000788          Programmer (raihar) - AE1 AP41 18, Gen ll

                000    04/04/08                     7,042.84      P   SLMIII        05 00               0,00              7,042,84    06/30/20        7,042.84               0.00             0.00         7,042.84

001077          Ritchie Bros Telescopic Forklifl

                000    05/06/08                    23,271.95      P   SLI\4M        10 00               0.00             23,271.95    06/30/20       23,271.95               0.00             0,00        23,271,95

001   078       Gradall Telescopic Forklift Model 534D-9

                000    05/15/08                    19,500.00      P   sLl\4M        10 00               0.00             19,500.00    06/30/20        19,s00,00              0.00             0,00        19,500,00

001090          Trailblazer302 Kohler Miller - lJ1500320 (0H rail shop)

                000    06/04/08                     4,121,88      P   SLMM          10 00               0.00              4,121.88    06/30/20        4,121.88               0,00             0.00         4,121,88

001091          Sullair Compressor    Mo&l l\ll-750 (lL rail shop)
                000    06/19/08                     2,973,75      P   SLMM          10 00               0,00              2,973,75    0d30/20          2,973.75              0.00             0.00         2,973.75

001099            1986 Kershaw Ballast - lL rail shop

                000    07/14/08                    15,869,25      P   SLMM          10 00               0,00             15,869,25    06/30/20        15,869.25              0.00             0,00        15,869,25

001   100       Wedler Bobcat 250 Kohler - lL      nil shop
                000    07/25/08                     5,128,'t8     P   SLMI\4        10 00               0,00              5,128,18    06/30/20         5,128.18              0.00             0,00         5,128,18

001   1 1   3   lngenoll"Rand Compressor i/odel SSR-EP60

                000     120208                       1,551.42     P   SLMM          05 00               0.00              1,551,42    00/30/20         1,55'1,42             0,00             0.00         1,551.42

001   1 1   4   Ingenoll.Rand Compressor Model SSB-EP60

                000     120208                       1,551.42     P   SLI\4M        05 00               0.00              1,551.42    06/30/20         1,551.42              0,00             0.00         1,551.42

001   1   15    60 Ton Electric Hydraulic Railcar Jack

                000     lz04l08                     7,890.38      P   sLl\4M        05 00               0,00              7,890,38    06/30/20         7,890.38              0.00             0,00         7,890.38

001   1   16    60 Ton Electric Hydaulic Railcar Jack

                000     1204/08                     7,890,37      P   SLMM          05 00               0,00              7,890,37    06/30/20         7,890.37              0.00             0.00         7,890,37

001   1   23    Singel car tester - lL rail shop

                000    0205/09                       2,560,03     P   SLMM          05 00               0,00              2,560,03    06/30/20         2,560,03              0,00             0.00         2,560,03

001124 Wirewelder-0Hrailshop
                000    0225/09                       2,388.68     P   SLMI\4        05 00               0.00              2,388.68    06/30/20         2,388.68              0,00             0.00         2,388.68

001   127       Bobcat 250 Welder (Kohler) -       0H rail shop
                000    0u06/09                      4,507.45      P   slMlt4        05 00               0.00              4,507.45    06/30/20         4,507.45              0.00             0,00         4,507.45

001   131       Paint Sprayer-lL     nilshop
                000    04/0209                       1,552.89     P   SLI\4M        05 00               0,00              1,552,89    06/30/20         1,552,89              0.00             0.00         1,552,89

001   133       2002 5258 Shuttlewagon (lL Railshop)

                000     05/28/09                   135,937.50     P   SLI\IM        05 00               0.00            '135,937.50   06/30/20       135,937,50              0,00             0.00       135,937,50

001   1   35    Freight for 2002 5258 Shuttlewagon (lL Railshop)

                000     06/03/09                     3,975,00     P   SLMM          05 00               0.00              3,975.00    06/30/20         3,975.00              0,00             0,00         3,975.00

001   136       2004 Case 580M Backhoe          VN n4C303020 (Charle$on)
                000     06/1209                    24,480,00      P   sLMl\4        05 00               0.00             24,480.00    06/30/20        24,480.00                0.00           0.00        24,480.00

001200          Freight- 2004 Case     5801\4   Backhoe (Charelston)

                000     07/08/09                       950.00     P   SLMM          05 00               0,00                  950.00 06/30/20            950,00                0.00           0.00           950,00



AU!t6,2md1il3^tl                                                                                                                                                                                                      PlFl{9
        Case 20-11139-1-rel                                         Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                                                             Desc Main
                                                                         Document    Page 207 of 370

                                                                                                    lnterstate Commodities, lnc.
                                                                                                          Depncialion Eryense R€pott

                                                                                                              As    olJtly3l,2020

Book = lntemal

ffi   Monh = December


                  lnS'rc               tu$iod            P   DoF            Ed      Sslv/l68Ahil              Dopr€chbb                ftid       PilrAcmr              DoF€ddott          CmftY'fD       Culr$ilAco'n         Koy

Stlilo      E)d Drb                      Value           T   Itdr           nb        Soc
                                                                                            .l79
                                                                                                                   BarJb               firu       D€procidion            Ihh Run           DEEddion       Doprddion Co6

GlLAsdAcdt{o       = 1811
001201      2000 Genie Elecldc Boom Lift S/N 230N004342 (Charle$on)

            000   07/17109                   4,595.32    P SLI\4M           05 00                  0.00                    4,595,32    06/30/20             4,595,32               0,00           0.00              4,595.32

001202      Genie Electric Boom Lift   9N 302303889 (Charleston)
            000   07/17/09                   4,085,31    P SLI\,IM          05 00                  0.00                    4,085,31    06/30/20             4,085,31               0,00           0.00              4,085.31

00'1206     Freightfor2002 5258 Shultlewagon (lL Railshop)

            000   08/19/09                   1,745,00    P SLMM             05 00                  0,00                    1,745.00    06/30/20             1,745.00               0.00           0.00              1,745,00

00120i      Hydro Jack ll (Ohio)

            000   08/31/09                   2,992,09    P SLMM             05 00                  0,00                    2,992.09    0d30/20              2,992.09               0.00           0,00              2,992,09

001390      Toold- Dnft Gear Compressor (lL Railshop)

            000   10/01/09                   1,965,81    P sLMl\4           05 00                  0,00                    1,965.81    0d30/20              1,965.81               0,00           0.00              1,965.81

001391      Paintbooth(ChadestonRailshop)

            000   10/20/09                  12,000.00    P sLMl\4           05 00                  0,00               12,000.00        06/30/20         12,000,00                  0,00           0.00         12,000.00

001392      Sand Bla$ Booth {Chadeston Railshop)

            000   10/20/09                   8,000.00    P sLMl\/|          05 00                  0.00                    8,000,00    06/30/20             8,000,00               0.00           0,00              8,000.00

001393      Shutuev'/agon SWX435B/2GS43505 (lL Railshop)

            000   10/2u09                   70,000.00    P SLMM             05 00                  0,00              70,000,00         06/30/20         70,000.00                  0.00           0,00         70,000,00

001394      Shuttlewagon SWX25A/512508(lL Railshop)

            000   10/23/09                  11,545.00    P SLI\4M           05 00                  0,00               '1
                                                                                                                           1,545,00    06/30/20         1   1,545.00               0.00            0,00        1    1,545,00

001395      Shutllewagon 8WX25A/5H2504 (lLRailshop)

            000   '10/2U09                  11,395,00    P SLI\,IM          05 00                  0,00               11,395,00        0d30/20          1'1,395.00                 0,00            0.00        '1
                                                                                                                                                                                                                    1,395.00

001397      Forklift - Serial# S1P506C03E0587550 (Chadeston)

            000   11/0s/09                  15,200,00    P SLMM             05 00                  0.00               15,200.00        06/30/20         '15,200,00                 0.00            0,00        15,200.00

001398      Mag Ddll& Btts (0H railshop)

            000   11/03/09                   2,166,17    P SLMM             05 00                  0.00                    2,166.17    06/30/20             2,'166.17              0.00            0,00             2,166.17

001601      Miller Bobcat 250   KohlerWel&r (Charteston)
            000   041210                     3,906.00    P sLMl\4           07 00                  0.00                    3,906,00    06/30/20             3,906.00               0,00            0,00             3,906,00

001   603   Freight charges - Paint Booth (purchased in Oct 2009)

            000   0y18/10                    1,900.00    P   slMi,,l        05 00                  0,00                    1,900,00    06/30/20             1,900.00               0,00            0.00             1,900,00

001604      Freight charges . Sand Blast Booth (purchased in    oct 2009)
            000   0y18/'10                   1,900.00    P SLI\4M           05 00                  0,00                    1,900,00    06/30/20             1,900,00                0,00           0,00             1,900.00

002200 PowerCutter-MakitaDPC8ll2                 16'

            000   1207/10                    1,083.88    P sLl\4M           10 00                  0.00                    1,083.88    06i30/20               984.54                9.03          63,22             1,047.76

002201 PowerCutter-MakitaDPC8ll2                 16'

            000   1207/10                    1,0&t,87    P SLMM             10 00                  0.00                    1,0&].87 06/30/20                  984.54                9.03          63.22             1,047,76

002223 Shutllewagonlmprovement-San&r
            000   05/03/11                   1,508,04    P SLMM             05 00                  0.00                    1,508,04    06/30/20             1,508.04                0,00           0.00             1,508,04

002224      Shuttlewagon lmprovement - Hydraulic Pump

            000   05/0u11                    3,707,23    P SLMI\4           05 00                  0,00                    3,707,23    06/30/20             3,707,23                0,00           0,00             3,707.23

002225      Shutllewagon lmprovement - oil Pump

            000   0fl03/11                   3,420.93    P SLMM             05 00                  0.00                    3,420.93    0il30/20             3,420.93                0.00           0,00             3,420.93

002226      Shuttlewagon lmprovement - Master C'yclinder

            000   0s03/11                    7,581.81    P SLI\4M           05 00                  0.00                    7,58't.81   06/30/20             7,581.81                0.00           0.00             7,581.81

002231      CIMPJ Diesel Repair Service

            000   06/01/11                   3,329,28    P SLMM             05 00                  0.00                    3,329,28    06/30/20             3,329.28                0,00           0,00             3,329,28

002282 CMPJDieselRepairSruice
            000   08/0211                    't,866,45   P SLMM             05 00                  0,00                    1,866,45    06/30/20             1,866,45                0.00           0,00             1,866.45

002284      5000 PSI Pressure Washer (Watseka)

            000   09/01/11                   3,580,60    P   SLMIII         10 00                  0,00                    3,580.60    06/30/20             2,983.83               29.83         208,86             3,192.69

002285      NorlhSlar Gas Stationary Air Compressor (Watseka)

            000   09/01/11                   1,799.99    P SLMM l0 00                              0.00                    1,799,99    06/30/20             1,500.00               15,00         105,00             1,605.00

002365      5000 PSI Pressure Washer (lL Railshop)

            000   11/28/11                   3,482.60    P SLI\4M           10 00                  0.00                    3,482,60    06/30/20             2,815,10               29.02         203.15             3,018,25



A$H6,mms[11l3All                                                                                                                                                                                                               Pego 150
          Case 20-11139-1-rel                                            Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                                                   Desc Main
                                                                              Document    Page 208 of 370

                                                                                                      lnterstate Commodilies, nc.           I



                                                                                                            Depeoidion Epsnso R€pott

                                                                                                                AsolJrly3l,2020

Book = lntemal

ffi    Msffi   = December


                  lnSrt                   Acqriod           P   D€pt        Ed         Salv/168   Aloir        Dopciabb          Prir           HilAc.iln          Dop$dd'             CmdY'fD           qrotiAcqn       lGy
S$No En           Ddo                      VaIf             T   tr{€dr      tft           S€c 179                 B$b            Ihru           Demtidim           Ihb   Run           lhmdahn           Demdaion        Co&


OLAsdlrdilo=           1811

002371      EssmuellerDrag FlrteConveyor

            000   1215/11                    58,236.40 P        SLMM        10 00                   0.00            58,236.40    06/30/20           47,074.42              485,30          3,397.12         50,471.54

002466 40       SteelStorage Containerfor Inventory

            000   01/20/12                       1,593.75 P     SLMM        05 00                   0.00             1,593.75    06/30/20            1,5E3.75                   0.00             0,00        1,593.75

002482      Shuttlewagon SWX 35A Srial# 5H3504

            000   03/26112                   30,600.00 P        SLMI\4      10 00                   0.00            30,600.00    06/30/20           23,7't5.00             255.00          1,785,00         25,500.00

002486      John Deere XUV 550 54 Gator

            000   04120112                    10,800.00 P       SLMI\4      10 00                   0,00            10,800.00    06/30/20            8,280.00                  90,00        630.00           8,910,00

002488      T6TSundryConveyor

            000   05124112                       6,760.00 P     SLMI\,l
                                                                            '10
                                                                                  00                0,00             6,760,00    06/30/20            5,126,33                  56,33        394.33           5,520.66

002494      Bobcat Welder- 250 Kohler

            000   06t24fl                        5,906.42 P     SLMI\4      10 00                   0,00             5,906,42    06/30/20            4,429,80                  49,22        344,54           4,774.34

002506      John Deere Gator

            000   0u27112                        3,000.00 P     SLMM        10 00                   0,00             3,000,00    06/30/20            2,200.00                  25,00
                                                                                                                                                                                             '!75,00
                                                                                                                                                                                                             2,375.00

002507      Sullair 250 Compressor

            000   0u27112                        3,500.00 P     SLMM        10 00                   0,00             3,500,00    06/30/20            2,566,67                  29.16        204,16           2,770.83

002508      Enerpac 100 Ton Jack wilh all adaptors

            000   0u27112                     12,500.00 P       SLMM        10 00                   0.00            12,500.00    06/30/20            9,166.67              104.16           729.16           9,895,83

002509      Enerpac 100Ton Jackwilhalladaplors

            000   0u27t12                     12,500,00 P       SLMM        10 00                   0.00            12,500,00    06/30/20            I,166.67              104,16           729.16           9,895,83

002510      Duff Nodon    10 Ton   Jack

            000   0u27112                        1,750,00   P   SLMM        10 00                   0.00             1,750.00    06/30/20             1,283,33                 14,58         102,08           1,385.41

00251   1   Dufl Noflon   10 Ton   Jack

            000   08t27t12                       1,750,00 P     SLI\,lM     10 00                   0.00             1,750.00    06/30/20             1,28r3,33                14.58         102,08           1,385,41

002512      Lincoln 300D Welder- 2356       hn
            000   0il27112                       6,000,00 P     SLI\,lM     10 00                   0,00             6,000,00    06/30/20            4,400.00                  50.00         350.00          4,7s0.00

0025   13   Lincoln 300D Welder- 1604       hn
            000   0u27112                        7,000,00 P     SLI\,lM     10 00                   0,00             i,000.00    06/30/20            5,133.33                  58.33         408.33          5,541,66

002514      Lincoln 300D Welder-     1'159 hrs

            000   0u27112                        8,000,00 P     SLMI\4      10 00                   0,00             8,000.00    06/30/20            5,866.67                  66,66         466.66          6,333,33

002515      Lincoln 250D Welder-5804 hrs

            000   08J27112                       2,000,00 P     SLMI\4      10 00                   0.00             2,000.00    0d30/20              1,466,67                 16,66         1   16,66        1,5&3.33

002516      EnclosedTniler
            000   0u27112                        1,000,00 P     SLMI/l      10 00                    0.00            1,000.00    06/30/20              733,33                   8.33             58.33         791.66

002517      Sand Pots, fresh air helmets, hoses and pails

            000   08127t12                       2,250.00 P     SLMM        10 00                    0.00            2,250,00    06/30/20             1,650,00                 18.75         131,25           1,781.25

002518      Sand Pots, fresh air helmels, hoses and pans

            000   0427/12                        2,250.00 P     SLMM        10 00                    0.00            2,250,00    06/30/20             1,650,00                 18,75         131.25           1,781.25

002828      2004 Skytracks 6036 Seilal #016003589

            000   09/05/12                    21,000.00 P       SLMM        10 00                    0,00           2'1,000,00   06/30/20            15,400.00
                                                                                                                                                                           '175,00
                                                                                                                                                                                           1,225.00          16,625,00

002830      Unloading Auger

            000    10/17/12                      1,500.00 P     SLI\,lM
                                                                            '10
                                                                                  00                 0,00            1,500.00    06/30/20             1,075,00                 12,50             87.50        1,162,50

003742      Bobcat 250 Eng Welder

            000   08/07/13                       4,021,17 P     SLi/M       10 00                    0.00            4,021.17    06/30/20             2,580.27                 33.51         234,57           2,814.84

0040i5      Perten Al!15200A Moisture Meter

            000   09/24113                       5,104,42 P     SLMI\,I     10 00                    0.00            5,lM,42     06/30/20             3,190,25                 42.53         297.75           3,488.00

005873      SOKSCA Load Cell

            000   06/25/14                       2,213.64 P     SLMII       05 00                    0.00            2,213,64    06/30/20             2,213.64                  0,00              0.00        2,213.64

0062i6      AP4llSTagProgrammer
            000   0912414                        6,309,33 P     SLMM        05 00                    0,00            6,309.33    06/30/20             6,309,33                  0.00              0.00        6,309,33

006562      40' lntermodal Gooseneck Chassis

            004    12116114                         0.00    P   SLMM        20 00                    0,00                 0,00 0d30/20                      0,00                0.00              0.00            0,00



Aue$16,   XPoel 1113   At                                                                                                                                                                                                PrF   15,|
       Case 20-11139-1-rel                                           Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                                               Desc Main
                                                                          Document    Page 209 of 370

                                                                                          lntestate Commodities, lnc.
                                                                                                Depe<iailion Enense Repoil

                                                                                                    As ol JrIy 31 , 2020


Bod = Intemal

FYE i/onft = December


                lnSrr                 lcqisd           P   Dopr        Est      SslY/168Ahw         Deprochbb            ftix       ftittAciln           DE€dafion           CtrmnlY-ID          CmntAcqrn           lGy
SlsNo Ed        Ddp                    Value           T   Lldt        tft        Socm                Basb               firu       Doptnddiort           Ih'p Bun           Dopocffion          D€pr€cffin          Codo



OtAsdlrdNo          =   I81l
006563   20 lntermodalGooseneckTri-Axle
         000    12'16114                        0,00   P   sLt\4M       10 00            0.00                    0.00 06/30/20                    0,00               0,00                0,00                0.00

006588   201 1 John Deere 5055E Tractor

         000    01/09/1s                  17,000.00    P   sLl\4M      05 00             0,00            1i,000.00       06/30/20        17,000.00                   0,00                0,00        17,000.00 d
006593   AgrisSystemManagerSupport

         000    01/14/15                  24,A3.22     P   SLtllM      05 00             0,00            24,n3.22        06/30/20        24,n3.22                    0.00                0.00        24,t33.22

006607   Agris System ManagerSuppon

         000    01/14/15                   8,021.72    P   SLMM        05 00             0,00                8,021.72    06/30/20             3,380,52               0.00                0.00            3,380.52

006754   FloodLight-Frontof 0tfice
         000    0218/15                     1,338.20   P   SLMM        05 00             0.00                1,338,20    06/30/20             1,293,59               0.00            44,61               1,338.20

007158   Amarillo   $ale
         000    01/15/15                  71,970.50    P   SLMM        05 00             0.00            71,970,50 06/30/20              71,970,50                   0,00                0.00        71,970.50
007167   Bobcal 250 Welder

         000    05/01/15                   4,122.25    P   SLMI\4      05 00             0.00                4J2225      06/30/20             3,847.43               0,00           274,82               4,122.25

007168   SWX2SAShuttlewagonSN:5K2513

         000    0y07/15                   26,000,00    P   sLMt\,|     05 00             0.00            26,000.00       06/30/20        24,266.67                    0.00         1,733.33          26,000,00

007185   40'GN Chassis

         000    07/01/15                        0,00   P   SLMM         20 00            0,00                    0,00 06/30/20                    0,00                0.00               0,00                0.00

007230   40-40'GNChassis
         004    09/0t1s                         0,00   P   SLMM         20 00            0,00                    0,00    06/30/20                 0,00                0,00               0,00                0.00

007231   44 - 40'GN Chassis

         004    09/14/15                        0.00   P   SL|\4M       20 00            0,00                    0.00    06/30/20                 0.00                0,00               0,00                0.00

007232   Shuttlewagon-S/N#AS|\4G0563811-1

         000    09/21/15                  1'1,936,72   P   SLMM         05 00            0.00            1   1,936,72    06/30/20         10,146.20              198.94            1,392.61          1   1,538,81

007258   25 - 20-40      Sli&rTritule Chassis
         000    10/0215                         0.00   P   SLMM         20 00            0.00                    0,00 06/30/20                    0,00                0.00               0,00                0.00

007259   Shuttle Probe 21x220

         000    10/1215                   26,565.16    P   SLMIII       10 00            0.00            26,565.16 06/30/20               1   1,290,21           221.37            1,549,63          12,839.84

007260   D15 lntercom System

         000    10/1215                    3,252.24    P   SLMM         10 00            0,00                3,252,24    06/30/20             1,382.19               27,10           189,71              1,57't.90

007261   Scale Camea System

         000    10/1215                    2,510,37    P   SLMM         10 00            0,00                2,510,37    06/30/20             1,066.92               20.92           146,44              1,213,36

007262   Dual Remote Vacuum

         000    10/1215                     1,904,27   P   SLI\,IM      10 00            0.00                1,904.27    06/30/20               809,33               15.87           111.08                920,41

007263   SignalLighls

         000    10/1215                     1,955,33   P   SL|\4M       10 00            0.00                1,955.33    06/30/20               831,00               16.29           1   14.05             945.05

007264   40ft High Cube

         000    10/13/15                        0,00   P   SLMM         10 00            0.00                    0,00 06/30/20                    0.00                0,00                0.00               0.00

007265   40ftHighCube
         000    r0/13/r5                        0.00   P   SLMM         10 00            0,00                    0.00    06/30/20                 0.00                0.00                0.00               0.00

007270   Polaris RGR-14 Vin# 4XARH57A8EE232634

         000    10/21115                   9,500.00    P   sLMt\/|      05 00            0,00                9,500,00    06/30/20             7,916,67           158.34            1,108,33              9,025,00

007271   Spectrum 625 X-Treme

         000    10/23/15                    2,060.19   P   SLMM         05 00            0.00                2,060.19    06/30/20             1,716.83               34,33           240.35              1,957.18

007272   2003 JLG G6.42A Serial# 0160001056 Telehandler

         000    10/23/15                  21,450,00    P   SL|\4M       05 00            0.00            21,450.00       0d30/20          17,875.00              357,50            2$02.50           20,377.50

007273   Universal Fit95cu. FtBucket

         000    10/23/15                    2,400,00   P   sLt\tM       05 00            0,00                2,400,00    0d30/20              2,000.00               40.00           280.00              2,280.00

007274 0utdoorPrinter
         000    10/23/15                    7,110.70   P   SLMM         05 00            0,00                7,1 10,70   06/30/20             5,925,58           1   18.51           829.58              6,755,16

007279   2015 Brandt 1390 Auger

         000    10/28/15                  25,214,00    P   SLMtlt       05 00            0.00            25,214.00       06/30/20         21,011.67              420.24            2,941.63          23,953.30



lryIl6,n20s[t1$il                                                                                                                                                                                                    PNF152
        Case 20-11139-1-rel                                            Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                                                              Desc Main
                                                                            Document    Page 210 of 370

                                                                                                        lntentate Commodilies, nc.               I



                                                                                                              DErccialion Epense Repat

                                                                                                                  As ol Jrly 31, 2020


Book= Intemal

FYE ltlonh = December


                   lnSrt                AcqliEd          P   DEr             Ei         &lv/l68Ahil              Doprochblg           Rir            HiotAcqln            Dopocidion          CunfltY'ID       qmilAcqrn       lGy
                                                                                                .l79
SlsNo Ed           Dah                   Valtr           T   il€h            tft          Soc                       B$b               Ihru           DeprdAitn             Ihb Run            Dofllddlon       Doproddion      Co&


OLAsdkdt{o=1811
007523 36'Auger$/ithTailer
            000    11/10/15                 11,908.60    P   SLMM            10 00                     0,00            11,908,60      06/30/20             4,961.92                  99,23           694.66         5,656,58

007524 36'AugerwithTniler
            000    11/10/15                 11,908.60    P   SLI\,IM         10 00                     0,00            1   1,908.60   06/30/20             4,961.92                  99.23           694.66         5,656.58

007526      FuelTank

            000    11/19/15                  2,637,50    P   EL|\4M          0s 00                     0.00                2,637.50   0d30/20              2,153,97                  43.96           307,70         2,461.67

007528      20   -33'Triule Stan&rd
            000    11/1u15                        0,00   P   stMM            10 00                     0.00                    0.00 06/30/20                     0,00                 0,00              0.00            0.00

007791      Bobcal 250 l\,lPWelder

            000    1201/1s                   4,872,35    P   SLMM            05 00                     0.00                4,872,35   06/30/20             3,979,09                  81,21           568.44         4,547,53

007794      14-40'GNChassis
            004    1203/15                        0,00   P   SLMM            20 00                     0,00                    0.00   06/30/20                   0.00                 0,00              0,00            0,00

007795      13-40'GNChassis
            002    12t03t15                       0,00   P   SLMM            20 00                     0,00                    0.00   06/30/20                   0.00                 0.00              0.00            0.00

007796      2-33'TilxaleSlandard
            000    1203/15                        0.00   P   slMt\,t         20 00                     0,00                    0,00   06/30/20                   0,00                 0.00              0.00            0.00

007797 5-45'TrixaleStandard
            000    1203/15                        0.00   P   SLMM            20 00                     0.00                    0,00 06/30/20                     0,00                 0,00              0,00            0.00

007799      JRB4yardBucket
            000    1218/15                   3,692.50    P   SL|\4M          05 00                     0.00                3,692,50   06/30/20             2,954,00                  61,54           430.79         3,384,i9

007807      Batco 24x120 SD WD Belt Conveyro

            000    rz31/15                 79,658.64     P   SL|\4M          10 00                     0.00            79,658,64      01/31/20            31,863.44                    0.00          663.82        32,527.26 d
007861      Bobcat 250

            000    020v16                    4,495,91    P   SLMM
                                                                             '10
                                                                                   00                  0.00                4,495,91   06/30/20             1,760.90                  37.47           262.26         2,023.16

007974      2014 Caterpilhr 262D Serial: CAT0262DTDTB00486

            000    07/21116                37,537,50     P   SLMM            10 00                     0,00            37,537,50 0d30/20                  12,825,31              312,81             2,189.68       15,014.99

009128      Bobcat   2501\4P   Welder

            000    08/15/16                  5,547,06    P   SLMI\,|         05 00                     0,00                5,547.06   06/30/20             3,790.49                  92,45           647.15         4,437.64

009132      Terex TFC45 High Reach Slacker SN* VGXTFC45171             178

            000    0&/31/16               315,000.00     P   SLMM            10 00                     0.00           315,000.00 06/30/20                105,000.00             2,625,00           18,375.00      123,375,00

009133      Terex TFC45 High Reach Stacker SN# VHXTFC45I71 180

            000    08/3v16                315,000.00     P   SLMM            10 00                     0.00           315,000.00 06/30/20                105,000.00             2,625.00           18,375.00      123,375,00

009134      Seed Cleaner

            000    08/15/16                35,000.00     P   sLl\4M          05 00                     0.00            35,000,00 06/30/20                 23,9'16,67              583.33            4,083,33       28,000.00

009142      WheatheartX16125AugerSN#         13927

            000    0&/31/16                 60,720,53    P   SLMM            05 00                     0,00            60,720.53      01/31/20            40,480.38                    0,00         1,012,01       41,492.39 d
010333      Bobcat 250 MP M11907500001

            000    09/01/16                  5,805,54    P   SLMM            05 00                     0,00                5,805.54   06/30/20             3,870.37                  96,76            677.31        4,547.68

010337      Shutllewagon SWX735 Serial# 7351 1026

            000    09/27116                '108,500,00   P   SLM|\,|         10 00                     0.00           108,500.00      06/30/20            35,262.50               904.16            6,329.16       41,591,66

010585      Bobcat 250MP Welder

            000     11124ft                  6,450,25    P   SLMM            05 00                     0.00                6,450,25   06/30/20             3,9n,67                '107.50             752.52        4,730,19

010783      Notch NV1 02 Bucket for Skid Loader

            000     1216/16                  2,166.75    P   SLI\4M          14 00                     0,00                2,166.75   06/30/20               464,31                  't2,90            90,28          554.59

010792      John Deere Wheel Loader SN# 62847        1


            000     1223/16                 92,559.81    P   SLMM            14 00                     0,00            92,559.8'l     0d30/20             19,8i34.26              550,95            3,856.66       23,690.92

0   10793   New Holland T0670 SN# ZAB K04010

            000     1223/16                 64,32'1,22   P   SLMM            14 00                     0,00            64,321.22      06/30/20            13,783,1    1           382.86            2,680.04       16,463.15

010797      Batco PS 1800 Pilstop SN# 18.00025

            000     1231/16                 15,825,00    P   SLMI\,|         10 00                     0.00            15,825.00      0l/31/20             4,747.50                    0.00           131.88        4,879,38 d
010899      11'AugerExtension

            000    01/10/1i                  4,494,00    P   SLMM
                                                                             '10
                                                                                   00                  0,00                4,494,00   06/30/20             1,348,20                  37,45            262.15        1,610,35



Aryfi6,mmd1fisAt                                                                                                                                                                                                               PrF   153
               Case 20-11139-1-rel                                              Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                                                     Desc Main
                                                                                     Document    Page 211 of 370

                                                                                                          lnterctate Commodilies, lnc.
                                                                                                                Depsddhn Epenso Ropot
                                                                                                                   As ol Jtly 31 , 202t


Eook= Intemal

FYE Monfi = December


                        lnSrr                L$isd              P   Dopr          Eli       SalY/168   Alow        Doprocglg                 nix        hhAc.m            Doprddion          Cur€fi[Y'ID       CumntAcqrn        Key

Syot{o Ed               Ddo                    Valuo            T   itdr          tft          Sec 179               Basit                   firu       Doprodahrt         Ihb Run           Dopocmr           D€Eechhn          Co&


OLAsclrdNo=                1811

010900         1    1' Auger Extension

               000      01/10/17                     4,494.00   P   Slt\4t\,l      '10 00
                                                                                                         0.00               4,494,00         06/30/20         1,348.20            37.45              262.15         1,610.35
               '1
010901              1' Auger Extension

               000      01/10/17                     4,494.00   P   SLMI\4         10 00                 0.00               4,494,00         06/30/20         1,348.20            37.45              262.15         1,610.35

010902         1    1' Auger Exlension

               000      01/10/'t7                    4,494.00   P   SLMI\4         10 00                 0.00               4,494,00         06/30/20         1,348,20               37.45           262.15         1,610,35

010930         Bobcat 250MP Welder

               000      0201/17                      6,716.90   P   SLMtlt         10 00                 0.00               6,716,90         06/30/20         1,959,10               Eq 07
                                                                                                                                                                                                     391.81         2,350,91

010931         ConveyorChain

               000      02107117                    26,059.04   P   SLMI\4         13 00                 0.00           26,059,04            06/30/20         5,846,58           167.04            1,169,31         7,015,89

010932         Beltand Cups-Leg 3

               000      0210/17                     44,941.04   P   SLMI\4         13 00                 0.00          44,941,04             06/30/20        10,082.92           288.08            2,016.58        12,099,50

0   1   1315   2001 Nissan Tire Forklift SN# 911402

               000      06/14/17                     6,500.00   P   SLMI\4        05 00                  0.00               6,500,00         06/30/20         3,358.33           108,33              758,33         4, I t0.00

01 1638        Kubota RTV-X900 SN# 40958

               000      09/13/17                    11,250.00   P   SLMI\4         10 00                 0.00           1   1,250,00         06/30/20         2,625.00               93,75           656,25         3,281.25

01 1639        Outback l85Welder

               000      09/20/17                     4,111.33   P   SLMI\,I        10 00                 0.00               4,1   1   1,33   0d30/20           925.04                34,26           239.82         1,164.86

012182         Repairsto Truck Scale

               000      0t0218                       4,231.92   P   SLMI\4        05 00                  0.00               4,231,92         06/30/20         1,410.64               70.53           493.72         '1,9M.36

012183         Conlainer- MEDU 855i762

               000      0y24l18                      1,586.00   P   SLMI\4        05 00                  0,00               't,586.00
                                                                                                                                             06/30/20           502.23               26.43           185.03           687.26
012184         Conlainer-TCNU 8272356

               000      05/24118                     1,586.00   P   SLMI\4        05 00                  0,00               1,586.00         06/30/20          502,23                26.43           185.03           687,26

012206         Bobcat 250 SN: MJ241      1   176R

               000      08/16/18                     5,084.85   P   SLMI\4        05 00                  0,00               5,084.85         06/30/20         1,355,96               84.75           593.23         1,949,19

012207         NS Powerwasher4000PSi

               000      08/28/18                     1,599.99   P   SLMI\4        05 00                  0,00               1,599.99         06/30/20           426,67               26,66           186.66           613,33
012208         Repairs to Terex TFC45 Reach Stackers

               000      08/29/18                     4,711.38   P   SLMI\4        05 00                  0,00               4,711.38         06/30/20         '1,256.37
                                                                                                                                                                                     78.52           549,66         1,806,03

012209         Repahs to Fremont Shuttlewagon

               000      08/31/18                     5,601.49   P   SLMM          05 00                  0.00               5,60'1,49        06/30/20         1,493.73               93,35           653,50         2,147.23

012210         Repairs to Terex Machines

               000      08/3v18                     22,638.76   P   SLMM          05 00                  0.00           22,638,76            0d30/20          6,037.00           37i.31            2,641,18         8,678.18

012383         5    Cables/PPM Pressure Switch

               000      10/18/18                     6,805.63   P   SLMM          05 00                  0.00               6,805,63         06/30/20         1,587.99           I 13.43             793.99         2,381.98

012398         QTV-50-80 AM AirCompressor Unit

               000      r1/16n8                      2,500.58   P   SLI\4M        05 00                  0.00               2,500,58         06/30/20           541.80               41.67           291.73           833.53
012399         Tires for Tnckmobile

               000      11/28/18                     4,917.77   P   SLI\4M        05 00                  0.00               4,917,77         06/30/20         1,065,51               81.96           573,73         1,639.24

012416         Fremont Shutllewagon Repairs

               000      1231/18                      7,094,23   P   SLI\,IM       05 00                  0.00               7,094.23         06/30/20         1,418,85           118.24              827,66         2,246,51

012442         Repairs to Fremonl Scale

               000      0201/19                      7,020,49   P   SLI\4M        05 00                  0.00               7,020.49         06/30/20         1,287,09           1   17,00           819,05         2,106,14

012443         Repairs to Fremont Conveyors

               000      0208/19                      9,236,32   P   SLI\4M        05 00                  0,00               9,236.32         06/30/20         1,693.33           153.93             1,077.56        2,770,89

012444         Repairs to Terex Stackers

               000      0226/19                     11,022,84   P   SLMM          05 00                  0,00           11,022.84            06/30/20         1,837.14           183.71             1,285,99        3,123.13

012448         MRKU565O16

               000 0u20/19                           3,256,00   P   SLMM          05 00                  0,00               3,256,00         06/30/20           488.40               54.26           270 q6           868.26
012451         Repahs to Terex Stackers

               000 04/0t19                           8,750,00   P   SLMM          05 00                  0,00               8,750,00         06/30/20         1,312,50           145.83             1,020.83        2,333.33



A!$!i6, ila(}d         lllSAtl                                                                                                                                                                                                   Ps15{
        Case 20-11139-1-rel                                           Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                                              Desc Main
                                                                           Document    Page 212 of 370

                                                                                              lntestate Commodities, nc,               I



                                                                                                    Dryecidion Eryense Repoil
                                                                                                        AsolJdySl,2020

Book = lntemal

FYE iionh = December


                   lnS:w               Ao$hd            P   Dq.         Ed       Salv/168llou           Dogochbb            hi)l           ftiqAcqm          Dryidon          CrmrlY'lD           fumntAciln       lGy
StsNo Eli Dd                            Valuo           T   i{dr        tft        Soc 179                                  thru           D€g€ddon          thbRun           Demdaffi            DepncHion Co6

otlsdldNo=1811
012455 2-GaluyE4PortStarTires
            000    0s14/19                  7,7U,43         SLMM         05 00               0.00               7,7U,43 06/30/20                1,031,26          128,91            902,35             1,933.61

012456 2.GalaxyE4PonStarTires
            000    0114/19                  7,112,50        SLMM         05 00               0.00               7,1 12,50   06/30/20             948,33           1   18.54         829.79             1,778.12

012461      Switch Point Repair

            000    0y31/19                  3,273,34        SLMM         05 00               0.00               3,273.34    06/30/20             381.89               54.56         381.89              763.78

012462      TerexStackerRepair

            000    0t31/19                 3,374,13         SLMM         05 00               0,00               3,374.13    06/30/20             393.65               56.24         393.65              787.30

012463      TerexSlackerRepair

            000    0y31/19                  7,185,00        SLMM         05 00               0,00               7,185.00    06/30/20             838.25           1   19.75         838.25             1,676.50

012464      TerexStackerRepair

            000    05/31/19                 3,i90,68        SLMM         05 00               0,00               3,790.68    06/30/20             442.25               0J,tr         442.24              884.49

012465      Terex Stacker Repair

            000    0t31/t9                  3,517,49        SLMM         05 00               0,00               3,517.49    06/30/20             410.37               58,62         410,37              820.74

012469      RepairstoTerexStacker

            000    07/16/19               11,738,50         SLMM         05 00               0,00           1   1,738.50    0d30/20              978.21           195,64           1,369.49            2,347,70

012470      ShuttlewagonEngine

            000    07/18/19                 8,550,00        SLMM         05 00               0,00               8,550,00    06/30/20             712,50           142.50            997.50             1,710,00

01247   1   Terex Stacker Engine E-BEA-141914

            000    07/30/19               19,602,00         SLMM         05 00               0.00           19,602,00       06/30/20            1,633.50          326.70           2,286,90            3,920,40
012481      RepairstoTerexSlackers

            000    08/08/19                 7,71 1,90       SLMIU        05 00               0.00               7,711.90    06/30/20             642.66           128,53            899.72             1,542.38

012482      Translormer- Shop House

            000    08/13/19                 2,364.06        SLMI\4       05 00               0.00               2,364.06    06/30/20             197.01               39,40         275,80               472.81

012483      Repair to Terex Stackers

            000    09/03/19               25,381.81         SLMiT        05 00               0,00           25,381.81       06/30/20            1,692.12          423.03           2,961.21            4,653.33

012484 RepairtoTerexStacken
            000    09/27119               28,358.08         SLMM         05 00               0,00           28,358.08       06/30/20            1,417,90          472.63           3,308,44            4,726,34

012536 Cylin&r
            000    10/28/19                 2,647.50        SLMM         05 00               0,00               2,647,50    06/30/20               88,25              44.12         308,87              397,12

012537      Pump

            000    10/28/19                15,366.29        SLMM         05 00               0,00           15,366.29       06i30/20             512.21           256.10           1,792.73            2,304.94

012539 RepairtoStacke6
            000    10/25/19                 8,596.00        SLI\4M       05 00               0,00               8,596,00    06/30/20             286.53           143.26           1,002.86            '1,289.39

012540 C/in&r
            000    1d25/19                  3,331.56        SLI\4M       05 00               0.00               3,331,56    06/30/20              1'11.05             55,53         388,68              499.73

012541 3-Cable       Fleche Equipment

            000    10/23/19                 6,398.61        SLI\,lM      05 00               0.00               6,398,61    06/30/20             213,29           106,64             746,50             959,i9
012542      RepairstoTerexStacker

            000    1126/19                 13,440,97        SLMM         05 00               0.00           13,440.97       0fl30/20             224,02           tzc,ut           1,568,1    1        1,792,13

012543      HepairstoTerexStacker

            000    1204/19                  7,049,01        SLMM         05 00               0,00               7,049.0'1   06/30/20              117.48          117,48             822,38              939,86

012544      RepairstoTerexStacker

            000    1220/19                 12,8i38,00       sLMtlt       05 00               0,00           12,838,00       06/30/20                  0.00        213,96           1,497.76            1,497.76

012545 RepairstoTercxStacker
            000    1231/19                26,805,86         SLMIU        05 00               0.00           26,805,86 06/30/20                        0.00        446,76           3,127.34            3,127.34
012551      DSR2TT92STransmission

            000    0'1/14/20               18,125,00        SLMM         05 00               0.00           18,125,00       06/30/20                  0,00        302.08           2,1 14,58           2,1'14.58

012556      Repairs to Terex Stackers

            000    02107120                 9,939.56        SLMM         05 00               0.00               O O?O EA
                                                                                                                            06/30/20                  0,00        165.66             993.95              993,95

012557      Repahs to Terex Stackers

            000    0425120                  3,918.65        SLMM         05 00               0.00               3,918.65    06/30/20                  0.00            65,31          326,55              326,55



AryH6,Amd1fi3All                                                                                                                                                                                                   Pqo   155
           Case 20-11139-1-rel                                               Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                                              Desc Main
                                                                                  Document    Page 213 of 370

                                                                                                      lnterstate Commodities, nc,         I



                                                                                                            Depecidion Epense Repoil

                                                                                                                As ol Jrly 31,2020


Book= lntemal

FYE irlonh = December


                         lnS'w                 Acflid           P   DEr         Ed         SatY/168Alow         Dspnch*          Rkf          RirAcclm          DqFcidon             CrmilY'ID       OmolAmn          lGy
SasNo            Eil Dd                         Veltn           T   lil€h       tft           Soc
                                                                                                  .l79
                                                                                                                  Balit          thru         Dernddbn           lhb   Run           Deuechlkn       Deqocblon        Co&


G,LArseilkdNo = 181I
012558          RepairstoTerexStackers

                 000     042il20                     4,357.06 P     SLMI\4      05    00             0,00             4,357,06 06/30/20                  0.00             72.61            363,09           363.09
0   12559        1   8.00 33 40PR Tiron 670 IND-4 TL

                 000     0u31/20                     2,695.00 P     SLMI\4      05    00             0.00             2,695,00 06/30/20                  0.00                44.92          179,67           179.67

012560          John Deere Coupler Frame

                 000     03/31/20                    5,889.95 P     SLMM        05    00             0.00             5,889,95 06/30/20                  0.00                98.16         392.66           392,66
01   256   1    Repair to Terex Stacker - Sungear/Axel

                 000     04/09/20                   12,759.76 P     SLMM        05    00             0.00            12,759.76 06/30/20                  0.00            212.66             850.64          850.64
012562 Bepai6to               Nonh Conveyor

                000      04/29/20                   21,616.20 P     SLMM        05    00             0.00            21,616,20 06/30/20                  0.00            360.27           1,080,81         1,080,81

01   2563       Repair to Slacker - Steer Cylinder Bebuild

                 000     0412420                     8,312.10 P     SLMM        05    00             0,00             8,312.10 06/30/20                  0,00            138.54             415.61          415,61

012564 Chain-UnloadPit
                000      05/13/20                   p,n3.48     P   SLMM        10    00             0.00            fl,n3,48 0680n0                     0,00            106,44             210 11          319,33
012565          Repairs to Taylor l\,lachine

                 000     0d22120                    15,909.66 P     SLMM        10    00             0.00            15,909.66 06/30/20                  0,00            132,58             132,58           132,58

012566          Repairto Terex Stacker

                000      07/16/20                   12,795,00 P     SLMM        05    00             0.00            12,795,00                           0,00                 0,00            0.00             0.00

           OLAssrtAoclilo=                      2,74S,0S5.6s                                         0.00         2,745,055.68                  1,371,923.03           20,492.75        142,585.81     1,514,508.84

                                l8l1
               Less disposals    and            (173,204.17\                                         0.00         1173,204,17)                   (e4,0e1.32)                                            (95,899.03)

                           transfers

                           Count=4
                                        _
                         NetSubtotal            2,571,8Si,S1                                         0.00         2,571,851.51                  1,2n,831,71            20,492J5 142,585,81             1,418,609,81

                         Count = 187



G,LAsdAcctllo=              1813

000747          Railroadtrackforrailshop
                000      06/08/07                   12,2s8,00   R   sLMt\4      39    00             0.00            12,258.00 06/30/20             3,955.07                 26.19          183.34         4,138.41

006280          53'JindoContainer

                000      09/0214                     2,009.38   P   sLMt\4      0500                 0.00.................@06/30/20                 2,009.38                  0,00            0,00         2,009.38

           GlLAssotMNo=                             14,267.38                                        0.00            14,267,38                      5,964.45                 26,19          183,34         6,147,79

                                t8t3
               Less disposals    and                     0.00                                        0.00                 0.00                           0,00                                                  0.00
                           lansfers
                           count=o
                                        _
                         Netsubtotal                14,267.9S                                        0,00            14,267,38                      5,964,45                 26,19          183,34         6,147.79

                           Count = 2



GltArtttAcdllo= l8l5
000782 Railshop Hoop Tarp               Building   -40'wi& x 144'long
                000 0v0208                          20,123.m    P   SL|\4M      l0    00             0,00            20,123.02 06/30/20            20,123.02                  0.00            0,00        20,123.02

           GlLArtelAoctl{o=                         20J23.02                                         0.00            20J23.02                      20,123.02                  0.00            0.00        20,123.02
                                t8t5
               Less disposals and                        0.00                                        0.00                 0,00                           0.00                                                  0.00
                           lansfers
                           Count = 0

                         Net Subtotal               20J23.02                                         0.00            20,123.02                     20,123.02                  0,00            0.00        20,123.02

                           Count =




Aryfl6,mdlil3lt                                                                                                                                                                                                       PNF   156
           Case 20-11139-1-rel                                                  Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                                        Desc Main
                                                                                     Document    Page 214 of 370

                                                                                                                lntestate Commodities, lnc.
                                                                                                                      Depe<idion Epense Repoil

                                                                                                                          AsolJrly3l,2020

Book = Internal

FYEllmfi         = December


                       ln   Srt               tuquiod              P   DEr               Ei        &lv/168Alow            DoFod'Dlo         Rix    ft'uAcaln         Dopmddbn   CumnY'ID          CrmnlAc.un         lGy
S1[ttlo       Ert      Dsb                        Veho             T   il€fi             rft         S€c 179                Balb            Ihru   Demcidon           Thb Run   Demchlin          Dmchlix            Co&


                    eandToht                  26,965,370.23                                           6,475,461,44         20,489,908.79             8,076,739.55       110,442.24   812,435,16     8,889,174.71

            Less disposals and                    (7,840,760.71)                                     (3,088,000.00)        14,752,760,71)           (1,107,523,54)                                  (1,220,653,97)

                            lransfers

                       Count = 528

                 Net   Gand Total                 19,124,609.52                                       3,387,461.44         '15,i37,148,08            6,969,216,0'1 110,442.24 812,435.16            7,668,520,74

                  Count = 3,485




                                                                                                                           neportAsilndirrr
nqoll   l&m      Deprecialion Expense

Souro     RoFt   <Standad Repon>



CNhIdonrl$tnFffi
           ShortYear none

           lncludeSec 168 Allowance &Sec 179: Yes

           Adiuslmsnt Convontion: None



lGyCdor
           e       Adeprecialion adjuslmsntamountisincluded            in   lhe repoding pedod,

           b:      Thea$ots        businoss-use    percenlage is lesslhan 1007",

           d:      Tho ass€t has boen      dispsed.
           1:      The assel has swilched lmm a MACRS tabls calcuhlion to the lilACRS lomulacalculalion,

           l:      The asset'sdepreciation has been limiled byluxuryaulo rules,

           m:      The asset's dspr€ciation       was calculated usinglhe mid-quarterconvenlion,

           r       The assel's acquircd valus was rsduced to anivs al lhe depreciable basis,

           s:      Theasselhasswilchedlromdeclining-balanc€t0aslnighl-line,
           t       Theass€lwaslanslored,
           v:      Th6 assol has switched to rcmaining value over rcmaining lile due lo ACE,



Oo$,sdluOtuk
           Group = All Complele Assets

           lnclude Assets lhat meelthe lollowing condilions:

                   All Completo Ass€ts

           Sorted by: G/L Asset Accl N0 (ulilh subtolals), Sy$em No, Extension




tu0lr6,mdlll3All                                                                                                                                                                                                     Prgo 157
Case 20-11139-1-rel   Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49   Desc Main
                           Document    Page 215 of 370




       2O2O           LEASE SCHEDIJLE
   Case 20-11139-1-rel          Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                  Desc Main
                                     Document    Page 216 of 370

                                                       lnbound Lease
lnitial Number    Equipment       lnbound Lessor       Expiration       Built Date      End of Life
INTX    385396 tNTX 385396        lnterstate   Owned   lnterstate Ownec       slLlrs77 s/tl2027
INTX    385468 rNTX 385468        lnterstate   Owned   lnterstate Ownec       s/1.he77 s/tl2027
INTX    390137 rNTX 390L37        lnterstate   Owned   lnterstate Ownec       2/t/te79 2/1./202s
INTX    390156 tNTX 390156        lnterstate   Owned   lnterstate Ownec       9/1./1s7s e/rl2o2s
INTX    390165 rNTX 390165        lnterstate   owned   lnterstate Ownec       s/1.11e7e s/1./2O2e
INTX     74342    tNTX 74342      lnterstate   Owned   lnterstate Ownec       e/1./1e76 slLl2026
INTX     74437    tNTX 74437      lnterstate   owned   lnterstate Ownec       s/tlrs76 e/1./2026
INTX     74705    rNTX 74705      lnterstate   Owned   lnterstate Ownec       7/1./1977 7h/2o27
INTX    1250L2    tNTX 125012     lnterstate   Owned   lnterstate Ownec       6l7hs7e 6/tl2O2e
INTX    r25LO7 tNTX 125107        lnterstate   Owned   lnterstate Ownec       s/Llre7e s/L/2O2e
INTX    r251,L4 rNTX 1251L4       lnterstate   Owned   lnterstate Ownec       s/1./r979 slr/202s
RRRX        ro2   RRRX 102        MRXX                 2/tt/2019             10/rlts8o LOlt/2O3O
RRRX        108 RRRX 108          MRXX                 2/1.1./20L9      Confidential    Confidential
RRRX        trz   RRRX 1.12       MRXX                 2/ttlzoLs        Confidential    Confidential
DSRC        120   DSRC 120        MRXX                 211.L/2OL9            LO/tlts8o r0/L/2o3o
RRRX        1-21, RRRX   121      MRXX                 2l1.Ll2Ot9       Confidential    Confidential
DSRC        L26   DSRC 126        MRXX                 2/trlzots              e/tlts8o s/tl2o3o
RRRX        L29   RRRX 129        MRXX                 12/3L/2022            7o/Ll7e8O ro/1.12o3o
FURX    84531_0 FURX 845310       Trinity              6l30/2O2o             L2/Lhss6 12/L/2046
INTX      8049 tNTX 8049          #N/A                 #N/A                   7/r/rs8o 7/1./2O3O
RRRX        147 RRRX 147          MRXX                 2/L1./2019       Confidential    Confidential
RRRX        153 RRRX 153          MRXX                 2hrlzjrs         Confidential    Confidential
RRRX        155 RRRX 155          MRXX                 2lttlzoLg        Confidential    Confidential
DSRC        L66 DSRC 166          MRXX                 211.1./2OL9            s/1./rs8o e/1./2O3O
DSRC        L70 DSRC 170          MRXX                 2l1.Llz}te             s/1hs8o   s/Ll2O3O
ATGX        233 ATGX 233          MRXX                 6/30/2O2O        Confidential    Confidential
ATGX        235 ATGX 235          MRXX                 6/30/2020        Confidential    Confidential
ATGX        24r   ATGX 241        MRXX                 6/30/2O2O        Confidential    Confidential
SIRX    475266 srRX 475266                             s/31/zoLe              3/1./1e7e 3/tl2O2e
ATGX       255 ATGX 255           MRXX                 6l30/2o2o         Confidential   Confidential
ATGX        257 ATGX 257          MRXX                 6/30/2O2O         Confidential   Confidential
ATGX        260 TGX 260           MRXX                 6/30/2020         Confidential   Confidential
ATGX        265      265          MRXX                 6/30/2O2O         Confidential   Confidential
ATGX        269 ATGX 269          MRXX                 6/30l2O2O         Confidential   Confidential
ATGX        32s ATGX 325          MRXX                 6/30/2O2O         Confidential   Confidential
ATGX        33L ATGX 331          MRXX                 6/30/2020         Confidential   Confidential
ATGX        33s ATGX 335          MRXX                 6/30/2O2O         Confidential   Confidential
ATGX        336 ATGX 336          MRXX                 6l30/2O2o         Confidential   Confidential
ATGX        340 ATGX 340          MRXX                 6/30/2O2O         Confidential   Confidential
ATGX        361" ATGX 361         MRXX                 6/30/2O2O         Confidential   Confidential
ATGX        362 ATGX 362          MRXX                 6/30/2020         Confidential   Confidential
RRRX        402 RRRX 402          MRXX                 2/1.1.12OL9       Confidential   Confidential
RRRX        404 RRRX 404          MRXX                 2ltLlz}ts         Confidential   Confidential
RRRX        405 RRRX 405          MRXX                 211,L/2019        Confidential   Confidential
RRRX        407 RRRX 407          MRXX                 2/r1./2OLs        Confidential   Confidential
   Case 20-11139-1-rel          Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49         Desc Main
                                     Document    Page 217 of 370

SIRX   476084 srRX 476084        VTG            s/3L/2OLs          3/1./te8}   311./2O3o
RRRX      4tt       RRRX 411      MRXX          2/TLl2OL9     Confidential   Confidential
RRRX      4t2       RRRX 41.2     MRXX          12/3u2022     Confidential   Confidential
RRRX      413 RRRX 413            MRXX          2/1r/2}re     Confidential   Confidential
RRRX      414 RRRX 414            MRXX          2/ttl2019     Confidential   Confidential
ATGX      420 ATGX 420            MRXX          6/30/2020     Confidential   Confidential
ATGX      433 ATGX 433            MRXX          6/30/2020     Confidential   Confidential
ATGX      451. ATGX 451           MRXX          6/30/2020     Confidential   Confidential
ATGX      459 ATGX 459            MRXX          6/30l2O2O     Confidential   Confidential
ATGX      46L ATGX 461            MRXX          6/30/2O2O     Confidential   Confidential
ATGX      464 ATGX 464            MRXX          6l30/2O2O     Confidential   Confidential
ATGX      466 ATGX 466            MRXX          6/30/2020     Confidential   Confidential
ATGX      472 ATGX472             MRXX          6/30/2020     Confidential   Confidential
ATGX      474 ATGX474             MRXX          6/30/2020     Confidential   Confidential
ATGX      476 ATGX 476            MRXX          6/30/2O2O     Confidential   Confidential
ATGX      484 ATGX 484            MRXX          6/30l2O2O     Confidential   Confidential
ATGX      497 ATGX 497            MRXX           6/30/2O2O    Confidential   Confidential
ATGX      s03 ATGX 503            MRXX           6/30/2O2O    Confidential   Confidential
ATGX      507 ATGX 507            MRXX           6/30/2O2O    Confidential   Confidential
ATGX      509 ATGX 509            MRXX           6/30/2O2O    Confidential   Confidential
ATGX      517 ATGX 517            MRXX           6/30/2O2O    Confidential   Confidential
ATGX      527 ATGX 521            MRXX           6/30/2O2O    Confidential   Confidential
ATGX      522 ATGX 522            MRXX           6/30l2O2O    Confidential   Confidential
ATGX      528 ATGX 528            MRXX           6/30/2O2O    Confidential   Confidential
ATGX      529 ATGX 529            MRXX           6/30/2O2O    Confidential   Confidential
ATGX      531 ATGX 531            MRXX           6/30/2020    Confidential   Confidential
ATGX      s36 ATGX 536            MRXX           6/30/2O2O    Confidential   Confidential
ATGX      538 ATGX 538            MRXX           6/30l2O2O    Confidential   Confidential
ATGX      54r lotn* rot           MRXX           6/30l2O2O    Confidential   Confidential
ATGX      549 loro* ron           MRXX           6/30/2O2L    Confidential   Confidential
ATGX      555 loro*      r*       MRXX           6/30/202t    Confidential   Confidential
ATGX      556 loro* rr.           MRXX           6/30/2021    Confidential   Confidential
ATGX      591- loro* urt          MRXX           6/30/2021    Confidential   Confidential
                I

ATGX      593             se3     MRXX           6/30/202L    Confidential   Confidential
                IArGX
ATGX      601 IATGX 501           MRXX           6l30/2021.   Confidential   Confidential
ATGX      604 lorn*.oo            MRXX           6/30/2O2L    Confidential   Confidential
ATGX      616 loro* uru           MRXX           6/30/2021.   Confidential   Confidential
ATGX      629 loro*.rn            MRXX           6/3012027    Confidential   Confidential
ATGX      63s loro,.      ut,     MRXX           6/30l2O2L    Confidential   Confidential
ATGX      636 loro*       rr.     MRXX           6/30/2O2L    Confidential   Confidential
ATGX      639 loro*       ut,     MRXX           6/30/2O2L    Confidential   Confidential
ATGX      644 lorn*.oo            MRXX           6/30/202t    Confidential   Confidential
ATGX      647 loru*       uot     MRXX           6/30l2O2r    Confidential   Confidential
ATGX      655   lotn* utt         MRXX           6/30/2027    Confidential   Confidential
SIRX   475L85 lr,** orrrru        VTG            sl3L/z}re         4/1./L979 4/Ll2O2e
ATGX      662 loto* uu,           MRXX           6/30/2O2L    Confidential   Confidential
ATGX      664 loro* ooo           MRXX           6/30l2O2r    Confidential   Confidential
   Case 20-11139-1-rel      Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49         Desc Main
                                 Document    Page 218 of 370

ATGX      688 ATGX 688        MRXX          6/30/202t      Confidential   Confidential
ATGX      690 ATGX 690        MRXX          6/30/2O2r      Confidential   Confidential
ATGX      705 ATGX 705        MRXX          6/30/2021.     Confidential   Confidential
ATGX      7to   ATGX 710      MRXX          6/30/2021.     Confidential   Confidential
ATGX      722 ATGX722         MRXX          6/30/2021      Confidential   Confidential
ATGX      742 ATGX742         MRXX          6/30/2021.     Confidential   Confidential
ATGX      749   ATGX 749      MRXX          6/30/2021      Confidential   Confidential
ATGX      756   ATGX 755      MRXX          6/30/2021.     Confidential   Confidential
ATGX      760   ATGX 760      MRXX          6/30/2O2r      Confidential   Confidential
ATGX      765   ATGX 765      MRXX          6/30/2O2t      Confidential   Confidential
ATGX      766   ATGX 766      MRXX          6/30/2021.     Confidential   Confidential
ATGX      769   ATGX 769      MRXX          6/30/202L      Confidential   Confidential
SIRX   475722 slRx475722     VTG            s/31/2019           e/the7s eh/2o2e
ATGX      782 ATGX 782        MRXX          6l30l202r      Confidential   Confidential
TRLX     4772 TRLX4772       VTG            s/31/2oLe      Confidential   Confidential
ATGX      784 ATGX 784        MRXX          6l30/2O2t      Confidential   Confidential
ATGX      785 ATGX 785        MRXX          6l30/2021      Confidential   Confidential
ATGX      790 ATGX 790        MRXX          6/30/2O2r      Confidential   Confidential
ATGX      792 ATGX792         MRXX          6/30/2021.     Confidential   Confidential
ATGX      801 ATGX 801        MRXX          6/30/2021      Confidential  Confidential
ATGX      807 ATGX 807        MRXX          6/30/2O2r      Confidential  Confidential
FURX   845351 FURX 845351    Trinity        6/30/2O2O         12/1.11996 12/Ll2046
ATGX      811 ATGX 811        MRXX          6/30/202L      Confidential  Confidential
ATGX      834 ATGX 834        MRXX          6/30/202t      Confidential  Confidential
FURX   850572 FURX 850572     Trinity       6l30/2020         L1./L/L996 rt/Ll2046
FURX   850368 FURX 850368     Trinity       6/30/2020           elrhee6 s/t/2046
FURX   850360 FURX 850360     Trinity       6l30/2020           e/1/Les6 slLl2046
RRRX     2r37   RRRX 2137     MRXX          L2/3t/2022     Confidential   Confidential
RRRX     21,46 RRRX 2146      MRXX           12/31./2018   Confidential   Confidential
RRRX     2r50   RRRX 2150     MRXX           12/31/2022    Confidential   Confidential
RRRX     4030 RRRX 4O3O       MRXX           t2/37/2022    Confidential   Confidential
ATGX    L2309 ATGX ]-2309     MRXX           t2/3Ll2OL9    Confidential   Confidential
ATGX    L23L2 ATGX 12312      MRXX           t2l3Ll2OL9    Confidential   Confidential
ATGX    L23L6 ATGX 12316      MRXX           1213L/2OL9    Confidential   Confidential
ATGX    L23L9 ATGX 1231-9     MRXX           72/31-/2019   Confidential   Confidential
ATGX    12320 ATGX 12320      MRXX           72/31./2079   Confidential   Confidential
ATGX    12321, ATGX 12321     MRXX           L2/3r/2Or9    Confidential   Confidential
ATGX    12327 ATGXt2327       MRXX           L2/3r/2019    Confidential   Confidential
ATGX    12329 ATGX 12329      MRXX           t2/37l2ots    Confidential   Confidential
ATGX    r2333 ATGX 1.2333     MRXX           72/3L/2OL9    Confidential   Confidential
ATGX    r2335 ATGX 1.2335     MRXX           t2/3L/2OL9    Confidential   Confidential
ATGX    12343 ATGX 12343      MRXX           12/3L/2OL9    Confidential   Confidential
ATGX    r2345 ATGX 12345      MRXX           12/31./2OL9   Confidential   Confidential
ATGX    12346 ATGX 12346      MRXX           L2/3r/2019    Confidential   Confidential
ATGX    I2348 ATGX 1-2348     MRXX           L2/3r/2Or9    Confidential   Confidential
ATGX    12349 ATGX 12349      MRXX           L2/31./2019   Confidential   Confidential
ATGX    123s5 ATGX 1-2355     MRXX           12/3u2ote     Confidential   Confidential
   Case 20-11139-1-rel                Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49           Desc Main
                                           Document    Page 219 of 370

ATGX    12358 ATGX 12358                   MRXX       L2/31./2019   Confidential      Confidential
ATGX    r2359 ATGX 12359                   MRXX       L2/3t/2079    Confidential      Confidential
ATGX    L2360 ATGX 12360                   MRXX       t2/3L/zOLe    Confidential      Confidential
FURX   845295 FURX 845295                  Trinity    6/30/2O2O         ILlLl1se6 11./1./2046
NDYX   5L6064 NDYX 516064                  Trinity    6/30l2O2o          2/L/19s6 2lt/2O46
RRRX    21000 RRRX 21OOO                   MRXX       12/3t/2022    Confidential   Confidential
RRRX    21001 RRRX 21001                   MRXX       t2/31/2022    Confidential   Confidential
RRRX    2roo2        RRRX 21002            MRXX       2lrLl2019     Confidential   Confidential
RRRX    2too4        RRRX 21004            MRXX       2/1.t/201s    Confidential   Confidential
RRRX    21005 RRRX 21005                   MRXX       21L1./2019    Confidential   Confidential
RRRX    21006 RRRX 21006                   MRXX       L2/3L/2022    Confidential   Confidential
RRRX    2roo7 RRRX 21007                   MRXX       t2/3L/2022    Confidential   Confidential
SIRX   475646 srRX 475646                  VTG        s/31./2OL9         s/tl7s7e e/1./202e
SIRX   475736 stRX 475736                  VTG        s/3L/zOLs          s/tl1.s7e elLl2O2e
RRRX    21008 RRRX 21008                   MRXX       2htl2OLe      Confidential   Confidential
RRRX    2TOLO RRRX 21010                   MRXX       zhLl201e      Confidential   Confidential
RRRX    zto1,t       RRRX 21011            MRXX       2/7L/201s     Confidential   Confidential
RRRX    21012        RRRX 21012            MRXX       12131_/2022   Confidential   Confidential
INTX     7tsr        tNTX 71-s1-           #N/A          A               4/rlL974 4/1.12024
INTX     7180 tNTX 7180                    #N/A          A               1./1./r974 rlL/2024
INTX     7181, |NTX 7181-                  #N/A          A               4/tlLs74 4/t/2024
INTX     7782 tNTX 7182                    #N/A       #N/A               6/tlr974 6/1./2024
INTX     7L84 tNTX 7184                    #N/A       #N/A               3/Llr974 3lrl2024
INTX     71_88 tNTX       7188             #N/A       #N/A               4/1/Le74 4/t/2024
INTX     7r89        tNTX 7189             #N/A       #N/A               6/tlL974 6/1./2024
INTX     7200 tNTX 7200                    #N/A       #N/A               1./1.he74 rlLl2024
INTX     7207 INTX 7207                    #N/A       #N/A               4/tlLs74 4/L/2024
INTX     7209 tNTX 7209                    #N/A       #N/A               shlrs74 s/1./2024
INTX     72TL tNTX 7211                    #N/A       #N/A               6/Lhe74 6/7/2024
INTX     7212 tNTX 7212                    #N/A       #N/A               6/1./1974    6ltl2024
INTX     7217 l,*r*       rr'              #N/A       #N/A               4/1/Le74 4lLl2024
INTX     7218 l,rr* rrrt                   #N/A       #N/A               rltlts74 tlL/2024
INTX     72r9 l,*r* rrrn                   #N/A       #N/A               4/7hs74 4/1./2024
INTX     878r l'*tr r^,.                   #N/A       #N/A               6/Llts74 6/1./2024
INTX     8784 l'*r* r^o                    #N/A       #N/A               LlL/1974 1./rl2024
INTX     8788    l,*rr
                 I
                          rr*              #N/A       #N/A               2/1./1974 21712024
INTX   427L20             427120           #N/A       #N/A                        rlLl20t7
                                                                         1./1./1967
              lrNrx
INTX   427t22 |NTX 427L22                  #N/A       #N/A               u7/re67 rltl2oL7
INTX   768947    l,*r* ,.rn*,              #N/A       #N/A               7lrl1e8O 7/t/2o30
RRRX    2LOt3 l****         2ror3          MRXX       12/3L/2022    Confidential      Confidential
RRRX    2ro1,5 l****        zroLs          MRXX       2/1.r/2OL9    Confidential      Confidential
RRRX    2TOT6 l****         2',01.6    lr***          t2l3r/2022    Confidential      Confidential
RRRX    2to2t l****         zrozL      lr***          2/tuzors      Confidential      Confidential
       845252 lrr** s4s2s2
                                       I


FURX                                   lTrinity       6l30/2020        1.1./u1996     7ut/2O46
FURX   845333 lrr** 84s333             lrrinity       6/30/2O2O         t2/tlt9e6 72/tl2046
       845380 lrr** 84s380                                              t2/tltee6 L2lLl2046
                                       I

FURX                                                  6/30/2020
                                       lTrinitV
FURX   850017 lrr** 8soo17             lTrinity       6/30/2020          7/1./L996 7/u2046
   Case 20-11139-1-rel         Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49         Desc Main
                                    Document    Page 220 of 370

FURX   850022 FURX 850022       Trinity        6/30/2020           71111996 7/r/2046
FURX   850460 FURX 850460       Trinity        6/30/2O2O           e/Llrse6 sh/2046
FURX   850604 FURX 850604       Trinity        6/30/2O2O          e/tlrse6 9/1./2046
FURX   850634 FURX 850634       Trinity        6l30/2020         rolrhss6 LO/1./2046
FURX   850661 FURX 850661       Trinity        6/30/2020           s/1./1se6 9ltl2046
FURX   850817 FURX 850817       Trinity        6l30/2020          10/tltee6 ro/1./2046
INTX   482LO4 rNTX 482L04       #N/A           #N/A              7t/1.11969   rtlLlzote
RRRX    27023   RRRX 21023      MRXX           2/1.1.12019    Confidential    Confidential
RRRX    2L024   RRRX 21024      MRXX           zhrl2}ts       Confidential    Confidential
RRRX    2L025   RRRX 21025      MRXX           2/tt/2ote      Confidential    Confidential
RRRX    2L026   RRRX 21026      MRXX           1.2131./2022   Confidential    Confidential
RRRX    2LO27 RRRX 21027        MRXX           2/LuzOLs       Confidential    Confidential
RRRX    2LO28 RRRX 21028        MRXX           2lttlzors      Confidential    Confidential
RRRX    2to29   RRRX 21029      MRXX           2/1.1.12019    Confidential    Confidential
RRRX    21030 RRRX 21030        MRXX           2/tt/2019      Confidential    Confidential
RRRX    21033 RRRX 21033         MRXX          2/1.1./2019    Confidential    Confidential
RRRX    2ro36   RRRX 21036       MRXX           12/3t/2022    Confidential    Confidential
RRRX    2ro37   RRRX 21037       MRXX          2/1.1./2Or9    Confidential    Confidential
RRRX    21039   RRRX 21039       MRXX          211.L/2Or9     Confidential    Confidential
ATGX    23s31, ATGX 23531-       MRXX           12/3t/2020    Confidential    Confidential
ATGX    23800 ATGX 23800         MRXX           12/3r/2O2O    Confidential    Confidential
ATGX    75936   ATGX 75936       MRXX           12/31./2020   Confidential    Confidential
FURX   845213   FURX 84521_3    Trinity         6/30/2020         L2lLlrss6 12/r/2046
ATGX    75946   ATGX 75946       MRXX           12l3u2O2O     Confidential    Confidential
ATGX    75948   ATGX 75948       MRXX           3129/2Or7     Confidential    Confidential
ATGX    7s968   ATGX 75968       MRXX           12/3t/2020    Confidential    Confidential
ATGX    76044   ATGX 76044       MRXX           t2/3r/2O2O    Confidential    Confidential
ATGX    7605r ATGX 75051.        MRXX           3/29/2017     Confidential    Confidential
ATGX    76065 ATGX 76065         MRXX           3l2s/2077     Confidential    Confidential
ATGX    76070 ATGX 76070         MRXX           3l2e/2oL7     Confidential    Confidential
ATGX    761,L9 ATGX 76119        MRXX           t2/3L/2O2O    Confidential    Confidential
ATGX    76223 ATGX76223          MRXX           3/2s/2017     Confidential    Confidential
ATGX    76303   ATGX 76303       MRXX           3/2912017     Confidential    Confidential
SIRX   475987   stRX 47598L                     s/37/2O7e         tohl1s78 10/r/2028
ATGX    76314   ATGX 76314       MRXX           12131/2O2O    Confidential    Confidential
SIRX   475193   stRX 475193     VTG             sl3L/2OLs          s/tlLe7e s/1./2O2e
ATGX    76339 ATGX 76339         MRXX           3l2el2ot7     Confidential    Confidential
ATGX    76340 ATGX 76340         MRXX           12l3rl2O2O    Confidential    Confidential
ATGX    763s9 ATGX 76359         MRXX           t2/3r/2O2O    Confidential    Confidential
ATGX    76375 ATGX 76375         MRXX           3/2s/2OL7     Confidential    Confidential
ATGX    76379 ATGX 76379         MRXX           L2131./2O2O   Confidential    Confidential
ATGX    76394 ATGX 76394         MRXX           12/3L/2O2O    Confidential    Confidential
ATGX    76414      764L4         MRXX           12/37/2O2O    Confidential    Confidential
ATGX    76436      76436         MRXX           t2/3rl2O2O    Confidential    Confidential
RRRX    76460 RRRX 76460         MRXX           12/3t/2O2O    Confidential    Confidential
KBSR    76465 KBSR 76465         MRXX           12131./2O2O       72/uts8} t2/Ll2O3O
ATGX    76468 ATGX 76468         MRXX           12/3L/2020    Confidential    Confidential
   Case 20-11139-1-rel            Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49           Desc Main
                                       Document    Page 221 of 370

ATGX    76471        TGX7647r       MRXX           t2/3L/2020     Confidential     Confidential
ATGX    76489        TGX 76489      MRXX           12/31/2020     Confidential     Confidential
ATGX    76496        TGX 76496      MRXX           12l3r/2020     Confidential     Confidential
ATGX    76510        TGX 76510      MRXX           12/31./2020    Confidential     Confidential
ATGX       7651,4    TGX 76514      MRXX           72/3t/2O2O     Confidential     Confidential
ATGX    76515 ATGX 76515            MRXX           L2/31./2O2O    Confidential     Confidential
SIRX   475L6L srRX 475161           VTG            s/31/2o1e          72/tlL97s 1211./202s
ATGX       76517 ATGX 76517         MRXX           L2/3L/2O2O     Confidential     Confidential
ATGX       76527 ATGX76527          MRXX           L2/3t/2020     Confidential     Confidential
ATGX       76537 ATGX 76537         MRXX           12l3L/2020     Confidential     Confidential
ATGX       76554 ATGX 76554         MRXX           12/3r/2020     Confidential     Confidential
ATGX       76s60 ATGX 76560         MRXX           12/31/2020     Confidential     Confidential
ATGX       76567 ATGX 75567         MRXX           r2l3r/2O2O     Confidential     Confidential
ATGX       76569 ATGX 76569         MRXX           1.2131./2020   Confidential     Confidential
ATGX       76731, ATGX 76731        MRXX           L2/3L/2O2O     Confidential     Confidential
ATGX       76792 ATGX76792          MRXX           L2/3L/2O2O     Confidential     Confidential
ATGX       76805 ATGX 76805         MRXX           4/18/2o2O      Confidential     Confidential
RRRX       76806 RRRX 76806         MRXX           L2/3L/2020     Confidential     Confidential
ATGX       76822 ATGX76822          MRXX           4/18/2O2O      Confidential     Confidential
ATGX       76829 ATGX 76829         MRXX           12/31/2O2O     Confidential     Confidential
ATGX       76833 ATGX 76833         MRXX           4/18/2O2O      Confidential     Confidential
ATGX       76836 ATGX 76836         MRXX           4/1.8/2O2O     Confidential     Confidential
ATGX       76851_ ATGX 76851        MRXX           12131/2O2O     Confidential     Confidential
SIRX         42L srRX 421                          s/31/zots                   th/2o3L
                                                                       8/1./1981
SIRX         424 SIRX 424                          s/31./2Or9          8/ute8L 8/tl203L
SIRX       1_0848 stRX 10848                       s/31./2O7e         tohlLs78 ro/t/2028
SIRX   475091, srRX 475091                         s/3uzote            8/1.lLe7s 8lL/2O2e
SIRX   475100 stRX 475100                          s/3L/z0re           Ll1./r97s L/rl2o2s
SIRX   475233 stRX 475233           VTG            s131./2019         1.1.ltlt97s LrlL/202s
SIRX   475241 stRX 475241           VTG            s131./21rs          6/rhs7s 6/tl2O2s
SIRX   475251, srRX 475251          VTG            s/3r/2or9           8/ths7e 8/1.12O2s
SIRX   475252       srRX 475252     VTG            s/31/zots           s/tlLe7s s/Ll202e
SIRX   475265       stRX 475265     VTG            s/31-lzjte          3/1./Le7e 3/t/2o2e
SIRX   47557L       stRX 475571     VTG            s/3L/201e           3/Llre81 3/rl2o3r
SIRX   475578       stRX 475578     VTG            s/3L/2OL9          lolrl7s78 LO/Ll2028
SIRX   475582       stRX 475582     VTG            s/31./2OL9          s/rlts7e s/tl2o2e
SIRX   475642       stRX 475642     VTG            s131./2Or9          s/tlts7e s/tl202e
SIRX   475754       stRX 475754     VTG            s/37/207e           shl7e7e slLl2O2e
SIRX   475790       stRX 475790     VTG            5/37/201e           7/Llte76 1.lL/2026
SIRX   475835       stRX 475835     VTG            s/3L/z}te          to/Llt976 L0/L/2026
SIRX   4            srRX 475880     VTG            5/3t/2OL9          t2lLlr976 L2/L/2026
SIRX   47588L       srRX 475881     VTG            s/3t/zoLs           2/1./1977 2/1.12027
SIRX   475958       stRX 475958     VTG            5/3r/z}te          to/1./1978 to/rl2028
SIRX   475990       stRX 475990     VTG            s131./2Or9          slrlte78 slL/2028
SIRX   476028       stRX 476028     VTG            s/37/z}te           elLlLssr eh/2031.
SIRX   476075       srRX 476075     VTG            s/3L/zOLs           4lLl197s 4/1./2O2s
SIRX   476086       stRX 476086     VTG            s/31./2OL9         r0/tlrs78 toltl2028
   Case 20-11139-1-rel        Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49            Desc Main
                                   Document    Page 222 of 370

TRLX    45200 TRLX 45200       VTG            5/31/zote      Confidential      Confidential
ATGX    76897 ATGX 76897        MRXX          3/29/20L7      Confidential      Confidential
ATGX    76900 ATGX 76900        MRXX          12/3r/2O2O     Confidential      Confidential
ATGX    76908 ATGX 76908        MRXX          4/18/2021      Confidential      Confidential
ATGX    76909 ATGX 76909        MRXX          4l18/2O2r      Confidential      Confidential
INTX    47488 tNTX 47488        Progress      1.2/3r/2O3O         3/1./1977    3/L{2027
PMRX     8867 PMRX 8867         Progress      4/30/z1ts         t2/ute8L L2/t/2O3r
INTX    47270 tNTX 47270        Progress      L2/31./2027       rchl1s8O r0/1./2030
ATGX    47046 ATGX 47046        Progress       L2131./2027      10/LlLe8O ro/u2o3o
ATGX    75987 ATGX 75987        Progress      L2/31-/2027        utlte80 r/r/2030
ATGX    76983 ATGX 76983        Progress      L2/31.12027         311./Ls$O 3/1./2O3O
INTX   462t18 tNTX 462118       Progress      MTM                tohlts6e to/L/2o7s
INTX   462t35 rNTX 462135       Progress      L2/3Ll2O2t          s/rhe7L s/L/202L
INTX    49151 rNTX 49151        Progress      t2/3L/2027                  r1.lu2j3o
                                                                 1.1./Llr98O
INTX    47446 tNTX 47446        Progress      12/31/2022          s/ute72 eh/2o22
INTX    49L28 rNTX 49128        Progress       t2/3r/2022        rtlLlL98O     1.1./1./2O3O
INTX    49158 tNTX 49158        Progress       12/31./2023       1.1./tlL98O   Ltlt/203o
INTX    74t56   tNTX 74156      Progress       t2/3r/2024        7L/tlLs74 tLlLl2024
INTX    770r8   rNTX 7701"8     Progress       MTM                sl1./L974 s/1.12024
INTX    77039   tNTX 77039      Progress       MTM                5/rlre74 sltl2024
INTX   769269   tNTX 769269     Progress       12/3L/2023        10/tlre73 L0hl2023
INTX   824039   rNTX 824039     Progress       L2l3t/2024         4/1./1974      1./2024
INTX     6256   tNTX 6256       Progress       L2/3L/2023         4/Llte73 4hl2023
INTX     7518 tNTX 7518         Progress       t2/31/2024         tlLlLs74 rlt/2024
INTX     7590 rNTX 7590         Progress       t2/3r/2024         4/1./L974 4/Ll2024
INTX     7673 tNTX 7673         Progress       12/31./2023       70/r/re73 L0/rl2o23
INTX    13820 tNTX 13820        Progress       L2/37/2024         3/tl1e74 3/Ll2024
INTX    15629 tNTX L5629        Progress       t2/37/2024         s/tl1973 s/t/2023
INTX    23307 rNTX 23307        Progress       12/3t/2023         1./1./1973 1./1./2023
INTX    23315 tNTX 23315        Progress       L2/3L/2023         rlL/Le73 1/7/2023
INTX    233t8   tNTX 23318      Progress       L2/31./2023        s/tlLs73 s/712023
INTX    23322 tNTX 23322        Progress       t2/3r/2023        10/tlLs73 to/Ll2023
INTX    23493 tNTX 23493        Progress       12/3r/2023        LO/tlL973 L0/1.12023
INTX    76977 tNTX 76977        Progress       t2/3r/2027         3/tlrego 3lr/2030
INTX    47L38 rNTX 47138        Progress       L2l3t/2O2t         s/1./1971. s/1./2021
INTX    47061, rNTX 47061       Progress       L2/3L/2027        ro/Ll1980 roh/2030
INTX    47227 |NTX47227         Progress       L2/3L/2027         7/1./Ls$O 7/7/2O3O
INTX    47242 |NTX47242         Progress       12/31./2027        8/LlLe8,O 8/Ll2030
INTX    47429 tNTX 47429        Progress       12/31./2022        8lrhe72 8/t12022
INTX    47459 tNTX 47459        Progress       12/31./2022        eltlte72 e/t/2022
INTX    47497 INTX 47497        Progress       12/31/2022         8/the72 8/tl2022
INTX    4725r tNTX 47251        Progress       L2/3112027        t2/Llts8o t2hl2030
INTX    s3133 tNTX 53133        Progress       L2/3L/2023         8/Llte73 8/L/2023
INTX    53139 rNTX 53139        Progress       L2/3t/2023         8/Llr973 8/Ll2023
INTX    54452 tNTX 54452        Progress       L2/31./2024        Urhe74 7/L/2024
INTX    74L55 tNTX 74L55        Progress       t2/3r/2024        LLlt/Le74 Lt/t/2024
INTX    74L61, tNTX 74161       Progress       t2/3r/2024        L1./1.1r974 1.1./1./2024
   Case 20-11139-1-rel       Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49            Desc Main
                                  Document    Page 223 of 370

INTX    741.82 INTX 74782     Progress       12/31./2024       1.1.11./1974 1.L/Ll2024
INTX    74192 INTX 74L92      Progress       12/3t/2024        7L11./rs74 rL/L/2024
INTX    74200 INTX 74200      Progress       L2/31/2024        tLlrlte74 1.1./1./2024
INTX    74203 INTX 74203      Progress       t2/3L12024        7r/tl1s74 tL/t/2024
INTX    7421r INTX 74217      Progress       t2/3L12024        1.1./1./r974   Lrlt/2024
INTX    49164 INTX 49164      Progress       12/3t12027        LtltlLs8o Lr/1./2030
INTX    75997 INTX 75997      Progress       t2131/2027          Ll1./1980 1./tl2O3O
INTX    76005 INTX 76005      Progress       12131./2027         Llths8o tltl2o3o
INTX    76008 INTX 76008      Progress       72/3r/2027          Llr/1s80     1./Ll2O3O
INTX    76260 INTX 76260      Progress       L2/31./2027       nlrl1e8o tLhl2O3O
INTX   38501_4 INTX 385014    Progress       L2/31/2023        LrltlLs73 Lr/1./2023
INTX   385274 INTX 385274     Progress       L2/31/2023        L2/rlL973 L2/t/2023
INTX   385275 INTX 385275     Progress       12/31.12023       L2/u1s73 t2/L/2O23
INTX   390179 INTX 390L79     Progress       12/3t12024         7lLhs74 7/1./2024
INTX   390219 INTX 390279     Progress       12/31/2024        12/1./1974 12/1./2024
INTX   390361 INTX 390361     Progress       12/31./2024       ltltlLs74 Lthl2024
INTX    76590 INTX 76590      Progress       12/3t/2027          7lthe8,o 7/1./2030
INTX   462129 INTX 462129     Progress       t2/3r/2027          6/1./L979 6/1/2O2s
INTX   462134 INTX 462134     Progress       L2/31./2027        LO/tlts8t tolLl2o3L
INTX   472488 INTX 472488     Progress       L2/3u2O2r           7lL/197r 7/1./2027
INTX   765804 INTX 765804     Progress       L2/3L/2023        1.1./1./r973 1.L/r/2023
INTX   765837 INTX 765837     Progress       L2/31./2023       rtltlLs73 Lt/t/2023
INTX   765871 INTX 765871     Progress       r2l3t/2023        7t/tlL973      L1./1./2023
INTX   769242 INTX 769242      Progress      t2l3r/2023          911.1L973 s/tl2023
INTX   800880 INTX 800880      Progress      12/31./2023         2h/re73 2/tl2023
ATGX    77045    TGX77045      MRXX          L2/37/2O2O     Confidential      Confidential
ATGX    77047        77047     MRXX          L2/3tl2O2O     Confidential      Confidential
ATGX    77053        77053     MRXX          L2/3L/2O2O     Confidential      Confidential
ATGX    77060   ATGX 77060     MRXX          4/18/2021.     Confidential      Confidential
ATGX    77062   ATGX77062      MRXX          4/7812021      Confidential      Confidential
ATGX    77063   ATGX 77063     MRXX          12/3r/2O2O     Confidential      Confidential
ATGX    77074   ATGX77074      MRXX          72/3t/2O2O     Confidential      Confidential
INTX     6271   tNTX 6271      Progress       t2/3L/2023         4/1./L9734/u2023
INTX     6429   tNTX 5429      Progress       L2/3L12023         e/1/Le73 e/r/2o23
INTX     6432   rNTX 6432      Progress       L2l3r/2023         s/tlLs73 s/tl2023
INTX     6440   rNTX 6440      Progress       12131./2023        s/tlrs73 s/u2o23
INTX     7610 tNTX 76L0        Progress       72/3u2023         t2/Lhe73 12lLl2023
INTX     762L rNTX 7621        Progress       t2/3u2024          Ll1.he74 Llt/2024
INTX     7647 tNTX 7647        Progress       L2/3L/2023        to/t/Le73 L0h/2023
INTX     7650   tNTX 7650      Progress       L2/3t/2023        lohlLe73      LO/1./2023
INTX     7665   tNTX 7665      Progress       t2/3u2023          tlrlrs73     1./1./2023
INTX     7688   tNTX 7688      Progress       t2l3r/2023         3/Llr973 3/tl2o23
INTX     7696   tNTX 7696      Progress       t2/3r/2023         e/rl7e73 s/L/2023
INTX     7697 rNTX 7697        Progress       12/3u2023          ehlLe73 e/r/2023
INTX    47747 INTX 471,47      Progress       L2/3L/2021         s/tlLs7L s/1./2021.
INTX    47156 tNTX 47155       Progress       L2l3L/2021.        2/1.1t97L 2/tl2021
INTX    471,69 rNTX 47169      Progress       12131./2023       LLlt/1s73 tLlLl2O23
   Case 20-11139-1-rel        Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49           Desc Main
                                   Document    Page 224 of 370

INTX    47L96 tNTX 47196       Progress       L2/3L/2022       tL/L/rs72      1.1./1./2022
INTX    4740L tNTX 4740L       Progress       12l3r/2022        8/ths72 8/t/2022
INTX    47404 tNTX 47404       Progress       12/31./2022       8/1./1e72 8/rl2022
INTX    474r5   |NTX 47415     Progress       12/3r/2022        3/1./1972 3/r/2022
INTX    47416   rNTX 47416     Progress       72/3r/2022        3/tlLs72 3/1./2022
INTX    4744L   tNTX 47441     Progress       t2/3712022        9/rlr972 elLl2022
INTX    4745L   tNTX 47451     Progress       L2/3712022        8/t/rs72 8/1./2022
INTX    47495   rNTX 47495     Progress       L2/3u2022        LO/1.h972 TOlrl2022
INTX    53076   tNTX 53076     Progress       L2/3r12023        7/1./1s73 7/t/2O23
INTX    53108 |NTX 53108       Progress       t2/3L/2023        8/tl1e73 8/1./2023
INTX   384706 tNTX 384706      Progress       12/31./2023       3/LlLs73 3/7/2023
INTX   38s228 tNTX 385228       Progress      12/31/2023        s/Ll1s73 slLl2023
INTX   385291_ rNTX 385291      Progress      12/3r/2023       L2/t/1973 12/1./2023
INTX   385327 tNTX 385327       Progress      12/31./2023       7 /1./1973 7/r/2O23

INTX   462t52   tNTX 462L52     Progress      L2/31,12022       s/rl7e72 s/1./2022
INTX   472122   INTX 472122     Progress      L2l3L/2027        rltlLegL tl1./2O3L
INTX   765848   tNTX 765848     Progress       L2/31.12023     1.1./1.1t973   tt/t/2023
INTX   765929   tNTX 765929     Progress       12/31/2023      ttlthe73   rr/1./2023
INTX   765982   rNTX 765982     Progress       12/31/2023      LLlr/1973 1-1./rl2023
INTX   769236   tNTX 769236     Progress       12/31./2023      3/1./7e73 3/tl2023
INTX   769238   tNTX 769238     Progress       L2/3t/2023       7/tlLs73 7/1./2023
INTX   769240   rNTX 769240     Progress       L2/3u2023        7/Lhe73 7/1/2023
INTX     7622   tNTX 7622       Progress       L2/31./2024      s/Ll1974 slLl2024
INTX     7664   tNTX 7664       Progress       L2l3t/2023       tltl1e73 t/t/2023
INTX    23341, rNTX 2334L       Progress       t2/31/2023       r/rhe73 1,/1./2023
INTX    474L2 tNTX 47412        Progress       t2/31./2022              3hl2022
                                                                3/1.1Le72
INTX   765987 tNTX 765987       Progress       1.2/31./2023    luLlts73 tLlL/2023
INTX     7640 tNTX 7640         Progress       L2/3L/2023       e/Llre73 slLl2023
INTX   4621,64 INTX 462164      Progress       L2l3L/2027       6/t/rs7s 6/rl202e
INTX   427L78 tNTX 427178       Progress       r2131./2027      s/1.he77 s/rl2027
INTX   800603 tNTX 800603       Progress       12/31./2023     1.7/uLe73 1.uL/2023
PMRX     8664 PMRX 8664         Progress      4/30/zote        12/LltssL L2/L/2O3L
INTX   472169 tNTX 472169       Progress       12/3L/2027       8/L/ts8} 8/Ll2030
INTX   427175 tNrx427L75        Progress       12/3L12027       e/tlre77 slLl2027
INTX   4621,43 tNTX 4621_43     Progress       t2/3L/202L       6/the7t 6/tl2O2L
PMRX     8825 PMRX 8825         Progress       4/30120ts       t2/t/L98L 72/t/2}3r
PMRX    1302r PMRX I3O2T        Progress       LO/3r/2Or9       7/L/L974 7lt/2O24
PMRX    13024 PMRX I3O24        Progress       L0/31/2OL9      10/Ll1973 10lLl2023
PMRX    13035 PMRX 13035        Progress       LO/3tl2Or9       2/tl1974 2/Ll2024
PMRX    13036 PMRX 13036        Progress       LO/3L/2019       2/1./7e742/tl2024
PMRX    L320L   PMRX 73207      Progress       ro/31./2019      3/rlte74 3/rl2024
PMRX    5LO7I   PMRX 5LO71.     Progress       70/3u2O7e       ro/L/ts72 to/Ll2022
PMRX    74098   PMRX 74098      Progress       4/30/2O7e        6/LlLe7s 6l1.l2O2s
PMRX   152292   PMRX 152292 Progress           4/30/2O1s       12/t/r979 12/u2O2e
PMRX   752400   PMRX T524OO Progress           4/30/2OLs       L2/1.h979 12/rl2o2s
PMRX   944063   PMRX 944063 Progress           4/30/20ts        6/tlLs7e 6/r/2O2e
INTX    2043L   rNTX 20431_     Progress       t2/3t/2024       7/L/r974 7hl2124
   Case 20-11139-1-rel         Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49            Desc Main
                                    Document    Page 225 of 370

INTX   427176 1Nrx427176         Progress       12l3r/2027         8/rhs8L       8/112031.
INTX   472L30 tNTX 472130        Progress       12131./2021       10/ths7t       70h/2021.
INTX   472L77 INTX472L77         Progress       12131./2021        LO/1.hs71. LO/t/2O27
PMRX     8668 PMRX 8668          Progress          o/zols         L2h/1981. L2/1./2O3L
PMRX     8800 PMRX 88OO          Progress          o/2019         L2/Lltegt t2/L{2031.
INTX    47t58    tNTX 47158      Progress       L2/3r/2027        12/LlL973 12/L/2023
PMRX     8628 PMRX 8628          Progress          o/2oL9         12/tlts8t t2hl2031.
PMRX     8686 PMRX 8686          Progress                         t2/1./1981. 1211./2037
PMRX     8824 PMRX 8824          Progress       4/30lzOLs         12/rlrs8t L2/tl2O3L
INTX    74199 tNTX 741_99        Progress       72/3r/2024        LrltlteT4 LL/1./2024
INTX     6255 rNTX 6255          Progress       12/31/2023          4/Ll1973 4lrl2023
ATGX    90106 ATGX 90106         MRXX           12/31./2019    Confidential   Confidential
ATGX    90110 ATGX    9011-O     MRXX           t2/3r/2019     Confidential   Confidential
ATGX    90111 ATGX 90111         MRXX           L2/3L/z}ts     Confidential   Confidential
ATGX    90113 ATGX 90113         MRXX           12/3L12019     Confidential   Confidential
ATGX    90118 ATGX 90]-18        MRXX           L2/3t/z}te     Confidential   Confidential
ATGX    90119 ATGX 90119         MRXX           t2/31./21te    Confidential   Confidential
ATGX    90120 ATGX 901"20        MRXX           12/31./2Or9    Confidential   Confidential
ATGX    90123 ATGX 90123         MRXX           t2/31/2O1s     Confidential   Confidential
ATGX    90L24 ATGX 90124         MRXX           t2l3t/2019     Confidential   Confidential
INTX     7686 tNTX 7686          Progress       L2/3L/2023          rltl1s73 LlL/2023
INTX     7691, rNTX 7691         Progress       72/3L/2023          t/1./r973 Ll1./2023
INTX    23475 tNTX 23475         Progress       L2/3L12023        10/1.1L973 ro/L/2023
INTX    43L30 tNTX 43130         Progress       L2/31./2022         e/LlLs72 s/tl2022
INTX    47L51, INTX 47151_       Progress       12/31/2O2r          4/t/r971. 4/1/2O2L
INTX    47008 tNTX 47008         Progress       t2l3t/2027          7/1./rs8]    7/Ll\o3o
INTX    47494 tNTX 47494         Progress       12/31./2022        12/the72      L2/1/2022
INTX    47496 tNTX 47496         Progress       L2/3L12022         12/Llt972     L2/Ll2022
INTX    53134 rNTX 53L34         Progress       L2/3t12023          8/tlLs73     8/1./2023
INTX    73958 tNTX 73958         Progress       L2/31./2022                  rhl2022
                                                                    1./1.1L972
INTX    73959 tNTX 73959         Progress       12/31./2022         1./urs72 tlL/2022
ATGX    90L27 ATGX 90127         MRXX           12/31./2Or9    Confidential      Confidential
ATGX    901"28 ATGX 90128        MRXX           72131./2019    Confidential      Confidential
ATGX    90L32     TGX 90132      MRXX           72/3L/2Or9     Confidential      Confidential
ATGX    901_33    TGX 90r_33     MRXX           L2/3L/207e     Confidential      Confidential
ATGX    90137       x 90137      MRXX           tz/3t/2oLs     Confidential      Confidential
ATGX    90140       x 90140      MRXX           t2/3r/2Ot9     Confidential      Confidential
INTX    73970    tNTX 73970      Progress       12/31/2022          1/7he72  rlt/2o22
INTX    73977    tNTX 73977      Progress       t2/3u2022           LlLlLeT2 Lhl2022
INTX    74070    tNTX 74010      Progress       t2/3L/2022         1J/LlL972 ttlL/2o22
INTX    74015    tNTX 74015      Progress       L2/3L/2022         71/rl1s72 r1/rl2022
INTX    74L54    tNTX 74154      Progress       1.2/31./2024       LrhlteT4 tL/rl2024
INTX    74L90    tNTX 74190      Progress       12/3r/2024         luLl1e74 LL/1,12024
INTX    742L3    rNTX 74213      Progress       72/37/2024         n lL/L974 L1./Ll2024
INTX    74448    tNTX 74448      Progress       L2l3L/2022         12/rlL972 12/t/2o22
INTX   384748    rNTX 384748     Progress       12/3L/2023          7   /t/1s73 7/L/2O23
INTX   390110    rNTX 390110     Progress       L2/3t/2024         L0/1./r974 10/1./2024
   Case 20-11139-1-rel        Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49          Desc Main
                                   Document    Page 226 of 370

INTX   427103 tNTX 427103       Progress      t2/31./2026         7/1.17e76   7/r/2026
INTX   4271.06 tNTX 427106      Progress      t2/31./2026         8/tl1e76 8/1./2026
INTX    47285 tNTX 47285        Progress      12/3L/2027        rtltlts8o tLlt/2o3o
INTX   427L29 tNTX 427129       Progress       72/3L/2O2L         7/1.h97L 7/L/2O21
INTX   427L28 tNTX 427128       Progress       12/31./2027        8/tlLs8L    8/1./2031.
INTX   427L39 tNTX 427139       Progress      L2/3r/2027          3/1./re7e 3hl2o2s
INTX   427L46 tNTX 427L46       Progress      L2l3r/2026          8/Llte76 8/1./2026
INTX   427LsL tNTX 427151       Progress      t2/31/2026          7/Ll1976 7/t/2026
INTX   427L42 |Nrx4271,42       Progress       12/3L/2O27         ehlLs77 s/tl2027
INTX   427r52 tNTX 427152       Progress      12/3L/2027          3/1./Ls7e 3/Ll2O2s
INTX   427154 tNTX 427154       Progress      12/3L/2027          s/1./Ls77 s/t/2o27
INTX   4621,42 tNTX 462142      Progress      12/3L/2023          s/tlrs73 sl1./2023
INTX   482rO3 tNTX 482103       Progress      12/3t/2026          1./L/1976 1./1./2026
INTX   765997 INTX 765997       Progress      12/31./2023       tLltlr973 LLlt/2023
PMRX     8881 PMRX 8881-        Progress      4/30/2Or9          12h/Ls8r 12/1./2031
PMRX    74031 PMRX 74037        Progress      4/30/z}ts          12/1./t979 12/u2o2e
SKRX   18000s sKRX L80005       Progress       12l3t/2024        rohlts72 LO/1./2022
INTX     7908 rNTX 7908         Progress       12/31./2022       trltl1972 1.1/Ll2022
INTX    47478 tNTX 47478        Progress       12/3L/2022         9/Ll1972 e/Ll2022
INTX    7422    rNTX 74220      Progress       12/3L/2024        LLILl1s74 tLlt/2o24
PMRX     8707 PMRX 8707         Progress      4/30lz}re          1211./L98L 12/1./2O3L
PMRX    7409L PMRX 74O9L        Progress      4/30/2079           4/1./L975 4/Ll2o2s
INTX    74229 rNTX 74229        Progress       L2131.12024       rtltlte74 Ltltl2o24
INTX   427L3r rNTX 427L31       Progress       L2/3712026         7/tlre76    7/1.12026
INTX   427t32 |NTX427t32        Progress       t2/3L/2026         7/LlL976 7/Ll2o26
INTX   427r34 tNTX 427134       Progress       12/3L/2026         6/tlLs76 6/L/2026
ATGX    901,44    x901,44       MRXX           12/31./2OL9   Confidential     Confidential
ATGX    90146        90146      MRXX           t2/3u2ors     Confidential     Confidential
ATGX    90r49        90149      MRXX           L2/3r/2Or9    Confidential     Confidential
ATGX    90150 ATGX 90150        MRXX           t2l3r/2019    Confidential     Confidential
ATGX    901s2 ATGX 901.52       MRXX           t2/31./2019   Confidential     Confidential
ATGX    90154 ATGX 901-54       MRXX           12/3L/2OL9    Confidential     Confidential
RRRX   182752 RRRX 182752       MRXX           t2/3L/2022    Confidential     Confidential
RRRX   182775 RRRX 182775       MRXX           MTM           Confidential     Confidential
RRRX   182797 RRRX 182797       MRXX           L2/3r/2022    Confidential     Confidential
RRRX   182798   RRRX L82798     MRXX           L2/3L/2Or8    Confidential     Confidential
RRRX   L82803 RRRX L82803       MRXX           L2/3L/2022    Confidential     Confidential
DSRC   L828L2   DSRC L82812     MRXX           12/3L/2OL8         7   /rlLs8O 7h/2030
RRRX   1"82815 RRRX 182815      MRXX           12/3t/2OL8    Confidential     Confidential
INTX   427t36   tNTX 427136     Progress       12/3r/2026         6hhe76 6/Ll2026
INTX   427137 tNTX 4271_37      Progress       12/3112026         7/Ll7s76    7/Ll2O26
INTX   4271,44 INTX427144       Progress       L2/3L/2026         7/LlLs76    7/t/2O26
INTX   427t45 tNTX 427145       Progress       12/3L/2026         8/L/ts76    8/1./2026
INTX   427147 INTX427t47        Progress       t2/31/2026         6/1.he76    6/tl2026
INTX   427r48 tNTX 427148       Progress       12/31/2026         6h/Le76     6/1./2026
INTX   4271,49 rNTX 427149      Progress       L2/3t/2026         6/1./re76   6/Ll2026
INTX   427157 tNTX 427157       Progress       12l3u2027          8lrlLe8L 8/!/2O3r
   Case 20-11139-1-rel            Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49           Desc Main
                                       Document    Page 227 of 370

INTX   390109 tNTX 390109           Progress       12/3r/2024          8/1.he74 8/L/2024
INTX    74225 tNTX 74225            Progress       12/31./2022       1.L/1./1972 1.L/tl2022
INTX    741.57 tNTX 74L57           Progress       72/31./2024       1.L/1./L974 1.1./rl2024
PMRX     8716 PMRX 8716             Progress      4/30/2O7s          t2/7lts8t     12/Ll203L
PMRX     8610 PMRX 861-0            Progress      4/30/2OL9          L2lLlrs8t 12/Ll203r
PMRX     8624 PMRX 8624             Progress      4/30/zOLs          r2lLl198r 12lLl203t
PMRX     870t       PMRX 8701       Progress      4/30/2019          rzhlregr 12h/2o3t
PMRX     8704 PMRX 8704             Progress      4/30/z}rs          12h/Le8t 12/1./2031.
PMRX    74075 PMRX 74075            Progress      4/30/20re            4/1.he7s 4hl2o2s
INTX    95L47 tNTX 95147            Progress      8/Ll2078             s/TlLsss sh/2o4s
INTX    96101 tNTX 96101            Progress      8/Ll2018             2/1./rse6 2/1./2046
INTX    961_05 rNTX 96105           Progress      8/L/2018             2/Llree6 2/u2046
SKRX    55007 sKRX 55007            Progress      72/37/2024           tlLlte7t rltl2021.
INTX    47424 |NTX47424             Progress      12/37/2022          nhlre72 1.1./1./2022
INTX    742L7 tNrx74217             Progress       12/31./2024        nlrlr974 Lrlt/2024
INTX     6L84 tNTX 5184             Progress       L2/3t/2023          3/tlLs73 3/t/2023
INTX    2346s rNTX 23465            Progress       t2l3u2023          10/1.1L973 10/r12023
INTX   390108 rNTX 390108           Progress       12B1/2024           7/Ll1e74 7 /L/2024
INTX     6tLz       tNTX 6112       Progress       t2/3r/2022          e/Ll1e72 s/Ll2022
INTX    74180 rNTX 74180            Progress       12/31/2024         nl1hs74 IL/1./2024
INTX   462rO2 rNTX 462102           Progress       12/31./2021.        5lrlte7L slrl2o2L
INTX   575009 tNTX 575009           Progress       12/31/2026          8/rlLs76 8/r/2026
INTX   765709       tNTX 765709     Progress       12/3L/2023         nl1.1t973 1.1./L12023
PMRX   348215       PMRX 3482T5 Progress           LO/3L1201,8         6/Llrs7s 6/L/202s
PMRX   348L96       PMRX 348196     Progress       ro/31/2OL8         LOILl1e79    tolr/2o2s
INTX   427L53       tNTX 427153     Progress       12/31/2027          3/tlte7s 3lr/2O2e
ATGX    47088       ATGX 47088      Progress       12/3r/2027         rclrlLe8o LO/tl2O3O
ATGX    47273       ATGX47213       Progress       12/31./2027         7   /rlLs8O 7/t/2O3O
ATGX    47230       ATGX47230       Progress       12/3L/2027          7 lllts8l 7/t/2O3O

INTX    23466       tNTX 23466      Progress       L2/3L/2023         to/1./r973 ro/tl2023
ATGX    76591       ATGX 75591      Progress       L2l3t/2027          7/1./1980 7/rl2O3O
SIRX   475082       stRX 475082     VTG            s/3Ll20te           611./7s7s   6/tl2o2s
RRRX   L82848       RRRX 182848     MRXX           12/31./2022    Confidential     Confidential
RRRX   182879       RRRX 182879     MRXX           12/31./2022    Confidential     Confidential
RRRX   182888 RRRX 182888           MRXX           12/37/2022     Confidential     Confidential
RRRX   182891 RRRX 182891           MRXX           L2/3L12022     Confidential     Confidential
INTX    47044 tNTX 47044            Progress       L2/3L/2027         LO/Llte$O to/r/2030
INTX   385192 tNTX 385192           Progress       L2/31/2023          2/t/1e73 2/t/2023
PMRX     8601             8601      Progress       4/30/2OL9          t2/rlLs81. L2/1./203L
                IPMRX
PMRX     8619 IPMRX sG19            Progress       4/30/zOLs          12/rlL981. tzlLl203L
PMRX     8663 lor** tuu,            Progress       4/30/2}ts          12/1./1981. 12lL/2O3t
PMRX     8893 lor** rrn,            Progress       4/30/z1ts          12/Ll7e81 12/rl2031
PMRX     8941 lor** tno,.           Progress       4/30/201s          L2/Ll7e8r t2/rl2o3t
PMRX     8945 lrr** rnot            Progress       4/30/2O7e          t2/rl1981 L2/t/2031.
PMRX     8969 lor** rn.n            Progress       4/30/zOLs          t2/LlL981. L2/1./203L
PMRX    74083 lor** 74o8s           Progress       4/30/zOLe           6/rlte76 6hl2026
                I

PMRX    74086 IPMRX 74086           Progress                 9         tlLhe77 r/Ll2027
   Case 20-11139-1-rel          Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49             Desc Main
                                     Document    Page 228 of 370

INTX    47392 rNTX 47392         Progress       12/31./2027        r2lLlr98O t2/L/2O3O
PMRX     8617 PMRX 8617          Progress       4/30/2019          1211.h98L 12/Ll2O3L
PMRX    74082 PMRX 74082         Progress       4/30/z1re           Lltl1s76 1./L/2026
PMRX    74092 PMRX 74092         Progress          o/zote           6/1.he76 6/1./2026
PMRX   3481,45 PMRX 348T45       Progress       to/31./2Or8        L0/ths7s 10/rl2029
ATGX    47127 ATGX47127          Progress       72/3r/2021         trltlre8o     1.1./u2O3O
INTX     6439 tNTX 6439          Progress       1,2/31./2023        9/1./L973 eltl2023
PMRX     8733 PMRX 8733          Progress          0/2019          12/LlL98L L2/t/203L
PMRX     89L7 PMRX 8917          Progress          o/2019          12/L/tegt     12/1./2O3L
PMRX     8921, PMRX 8921         Progress       4/30/2019          12/1./1981.   12hl2O3t
INTX    23306 tNTX 23306         Progress       7213u2023           thl1e73 tlr/2023
ATGX    76477 ATGX76477          Progress       12/31./2027        Lo/tlte$o 10/1./2O3O
SIRX   476238 srRX 476238        VTG            s/31./2019          7/1./197s 7/tl2jzs
RRRX   1829L4 RRRX 182914        MRXX           12/3r/2022     Confidential      Confidential
RRRX   182915 RRRX 182915         MRXX          12l3rl2022     Confidential      Confidential
KBSR   182925 KBSR 182925         MRXX           12/31.12018        711./1980    7   /t/2030
KBSR   182935 KBSR 182935         MRXX          L2/3r/2018          7/t/ts8o 7/r/2O3O
RRRX   182936   RRRX 182936       MRXX          L2/31/2018     Confidential      Confidential
RRRX   182938 RRRX 182938         MRXX          12/37/2OL8     Confidential      Confidential
RRRX   182949 RRRX 182949         MRXX           12/31/2022    Confidential      Confidential
RRRX   182952   RRRX 182952       MRXX           12/31.12022   Confidential      Confidential
RRRX   182972   RRRX 1_82972      MRXX           12/31.12Or8   Confidential      Confidential
RRRX   182981 RRRX 182981         MRXX           12/3r/2018    Confidential      Confidential
KBSR   182985 KBSR 182985         MRXX           1213r/2018         7hltego 7/1./2O3O
RRRX   182986 RRRX 182986         MRXX           12Br/2018     Confidential      Confidential
RRRX   L82992   RRRX 182992       MRXX           12/31/2022    Confidential      Confidential
RRRX   46007L   RRRX 450071       MRXX           12/31.12OL8   Confidential      Confidential
RRRX   460102   RRRX 460102       MRXX           MTM           Confidential      Confidential
RRRX   460133 RRRX 460133         MRXX           12/31/2Or8    Confidential      Confidential
RRRX   460190 RRRX 460190         MRXX           72l3rl2Ot8    Confidential      Confidential
RRRX   460r92   RRRX 460192       MRXX           MTM           Confidential      Confidential
RRRX   460194   RRRX   460194     MRXX           L2/31/2OL8    Confidential      Confidential
RRRX   460227 RRRX 460227         MRXX           t2/31,/2022   Confidential      Confidential
INTX    95111 tNTX 951_1_1        Progress       8/t/2018           sl1./1se5 5/rl2O4s
INTX    95721, rNTX 951"21        Progress       8/u2078            s/uLess s/rl2o4s
INTX    95L73 rNTX     951_73     Progress       8/Ll2018           shlLees s/tl2o4s
INTX    96103 tNTX 961_03         Progress       8/rl20r8           2/tlLes6 2/1./2046
PMRX     8613 PMRX 861-3          Progress          0/2019         r2lLlLsst 12/u2O3L
PMRX     8629 PMRX 8629           Progress       4/30/z}re         12/rlts81 t2/t/2o3r
PMRX     8851 PMRX 8851           Progress       4/30/zore         t2/rlrsgt t2/rl2031
SIRX   475600 stRX 475600        VTG             s/3L/zOLs          shlte7e s/t/2o2e
SIRX   4757L3 stRX 475713        VTG             sl3Ll20Ls          s/1.lLe7s e/1./2O2e
PMRX    51,1L2 PMRX     5tTL2     Progress       L0l3r/2019         911./L972 elLl2022
PMRX   348209 PMRX 348209 Progress               L0/31./2OL8        2/tlre81 2ltl2O3r
INTX    7418L tNTX 7418L          Progress       12/3L/2024        rL/tlte74 tt/t/2024
INTX    74189 tNTX 74189          Progress       12l3L/2022        Lt/t/r972 1.11Ll2022
INTX    74219 tNTX 742L9          Progress       72131.12024       r./u7e74 7L/L/2024
   Case 20-11139-1-rel       Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49         Desc Main
                                  Document    Page 229 of 370

INTX    95r24   tNTX 95124     Progress      8/1-/201.8        s/Ihsss slLl2O4s
INTX   173352 tNTX 1733s2      Progress      t2/3t/2023        s/7/1s73 sl1./2023
PMRX     8786 PMRX 8786        Progress      4/30/z}rs        12/7/Lsgt L2/Ll2O3t
PMRX     8832 PMRX 8832        Progress      4/3012O1e        12/1.1198r L2/Ll2O3t
PMRX     8863 PMRX 8863        Progress      4/30/zOLs        L2/Lhe81. 12lr/2031.
PMRX     9204 PMRX 9204        Progress      4/30/2OL9        12/1/r98L t2/t/2o31
INTX     7678 tNTX 7678        Progress      12/3112024        s/tlts74     s/1.12024
INTX    47435 rNTX 47435       Progress      12/31./2022       s/7/rs72 9/Ll2O22
INTX   462t27 INTX462t27       Progress      72/37/2O2t        6/tl7e7t 6/r/2021
PMRX     8970 PMRX 8970        Progress      4/30/zOLs        t2/Llt981. 12/1./2031.
PMRX    74077 PMRX 74077       Progress      4/30/2Or9         L/L/1977 tlt/2o27
INTX    1.3846 tNTX 13846      Progress      12/3L/2024        3/Ll1s74 3/tl2024
INTX    23469 tNTX 23469       Progress      t2/3L/2023       L0/1./1973 10/1./2023
INTX    951-67 rNTX 95167      Progress      8/Ll2OL8          s/1./tsss s/Ll2O4s
PMRX     8728 PMRX 8728        Progress      4/30lzOLe        t2/rlts8t t2/1.12O3t
PMRX   348237 PMRX 348237      Progress       ro/3t/2018       6/1.11979 6/1./2O2e
PMRX    74044 PMRX 74044       Progress      4/30/2OL9        roluteso      LO/L/2030
INTX    95188 tNTX 95188       Progress      thl2018           s/Llrses s/tl2o4s
INTX    7701,4 tNTX 77014      Progress       12/31/2027       7   /L/1s8O 7/u2O3O
ATGX    47rO4 ATGX47IO4        Progress      12/37/2027       r0lureso ro/t/2o3o
ATGX    75976 ATGX 75976       Progress      L2l3L/2027        tlt/tsgo     t/L/2O3O
INTX    95159 tNTX 95159       Progress      8/tl2OL8          s/1./lsss s/1/2045
PMRX     8732 PMRX 8732        Progress      4/30/2079        12/Llr98t L2/L/2O3L
PMRX     8746 PMRX 8746        Progress        /30/zOLe       r211./Le8t t2/tl2031.
PMRX     8996 PMRX 8996        Progress        /30/2OLs       t2lLl1981. 1211./2031.
INTX   765949 tNTX 765949      Progress       12/31./2023               rtlt/2o23
                                                              1.1.11/r973
PMRX     8649 PMRX 8649        Progress               19      Lzlrlr98L 12/tl2o3L
PMRX     8658 PMRX 8658        Progress               19      t2/!/t98t     L2/1.12O3L
INTX    34980 tNTX 34980       Progress       L2/3L/2024       2h/Le74 2/1./2024
INTX    73955 tNTX 73955       Progress       L2/3L/2022       LILlr972 rl7/2022
ATGX    76002 ATGX 76002       Progress       12/37/2027       Llrlte8o uLl2030
PMRX     9108 PMRX 9108        Progress       4/30/2}ts       12/tlts8L rzhl2031
INTX   768949 tNTX 768949      Progress       t2/3r/2027       7 /r/tsBo 7/L/2O3O

INTX    47470 tNTX 47470       Progress       72/31/2022      trlrl1972 Lt/Ll2022
INTX    74L98 tNTX 74198       Progress       L2/3L/2024      tLltlL974 1.1.1Ll2024
INTX   L01381 tNTX 101381      Progress       L2/3L/2024       6/LlL974 6/1.12024
PMRX     8738 PMRX 8738        Progress       4/30/2OLs       12/L/1981. 12/1./2031.
INTX    742LO tNTX 74210       Progress       12/31./2024     L1./tl1974 rL/7/2024
INTX   765704 tNTX 765704      Progress       12/31.12023     L1./1.h973 7u7/2023
INTX    75994 tNTX 75994       Progress       t2/31/2027       1./1./1s80 Llt/2O3O
PMRX     8604 PMRX 8604        Progress       4/30/2O7e       r2h/Legr L2/L/2O3r
PMRX     8842 PMRX 8842        Progress       4/30l2OLe       r2lutest t2/t/2o3t
PMRX     8852 PMRX 8852        Progress       4/30/zOLs       L2/Llrs87 12/tl2o3t
PMRX   348113 PMRX 348LI3 Progress            ro/3r/2018       4lrhsTs 4lL/2O2s
INTX    74L83 tNTX 74183       Progress       12/31./2024     L1./1.h974 r1./Ll2024
INTX   472492 |NTX472492       Progress       12/3r/2O2r       shlLe7t e/rlzozt
PMRX     8568 PMRX 8568        Progress       4/30/z}te       12/1-1L981. L2/L/2031.
   Case 20-11139-1-rel        Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49       Desc Main
                                   Document    Page 230 of 370

PMRX     8726 PMRX 8726        Progress       4/30/2OLe        72/tlLe8r t2/1./2031.
INTX    95168 tNTX 95168       Progress       8/Ll2Or8          s/7/tses s/7/2O4s
INTX   390218 tNTX 39021_8     Progress       12/3L/2024        8/Lhe74 8/L/2024
PMRX     8564 PMRX 8564        Progress       4/30/z}ts        12/L/1981. 12/Ll2037
PMRX     89L2 PMRX 8912        Progress       4/30/2Or9        12/tlre8L L2/Ll2031.
PMRX    74071, PMRX 74077       Progress      4/30l2}te         s/1.he77 s/rl2027
INTX    95178 tNTX 95178        Progress      thl2oL8           shlLses s/Ll204s
PMRX     891,4 PMRX 8914        Progress      4/30/zOLs        1.2/1.1L981. 12/1./2O3r
INTX    95187 tNTX 95187        Progress      8/Ll2OL8          s/uLses s/L/2O4s
INTX    95726 tNTX 95126        Progress      8/L/2Or8          s/Llrees s/Ll2O4s
INTX    95134 rNTX 95134        Progress      8/Ll2Or8          s/Llr99s sl1./2O4s
INTX    95154 INTX 95154        Progress      8/Ll201.8         shhess s/tl204s
INTX    96102 tNTX 96102        Progress      8/Ll2018          2/rhee6 2/tl2046
INTX   390086 rNTX 390086       Progress      12/3L/2024        7/1.he74 7/L/2o24
PMRX    74084 PMRX 74084        Progress      4/30l2O1e         6ltlLs7s 6/L/2O2s
INTX    9s130 tNTX 95L30        Progress      8/t/2oL8          s/1,/tses s/L/2O4s
INTX    951,41, INTX 95r_41     Progress      8/t/2Or8          slLl7ee5 s/7/2o4s
PMRX     8888 PMRX 8888         Progress      4/30/20rs        rzhlte81- L2/Ll2O3r
INTX   769L57 tNTX 769157       Progress      t2/3112027         1./t/Legt Ll1.1203L
PMRX     8943 PMRX 8943         Progress      4/30/2OL9        12/rlL987 12/tl2o3r
INTX   472714 INTX472t74        Progress      MTM              70/rlLs7t to/t/2021.
INTX   390089 tNTX 390089       Progress      t2/3L/2024         8/tlLs74 8/r/2024
PMRX     8802 PMRX 8802         Progress      4/30lzOLs        12/L/198r L2/Ll2O3L
INTX     7614 tNTX 7614         Progress      72/31./2024        tltl1e74 Llt/2O24
INTX    74201 tNTX 74201        Progress      L2/3112024       ttl1./L974 tr/1.12024
INTX   101_343 rNTX 101343      Progress       L2l3t/2024        6/1./L974 6/rl2024
PMRX   348244 PMRX 348244 Progress             rol31./2OL8     ro/tlre7s ro/t/2o29
INTX     6138 tNTX 6138         Progress       12/3L/2022        e/tlLs72 s/r/2022
PMRX    74028 PMRX 74028        Progress      4/30l2}ts        L2/tlre7e 12/tl2O2e
INTX    47322 rNTX 47322        Progress       t2/3L/2027      r0/Ll1980 ro/Ll2030
INTX    47428 tNTX 47428        Progress       12/3r/2022        811./7e72 8/tl2022
INTX    95133 tNTX 95133        Progress      8/1./2Or8          s/tlLees s/Ll2o4s
INTX    95140 tNTX 95140        Progress      8/rl2018          s/tlLses s/L/2O4s
PMRX   348204 PMRX 348204 Progress             to/3tl2ot8       2/tltsgL 2lLl2O3t
INTX    9s199 tNTX 95199  Progress             8/Ll2Or8         s/Lltees sh/2o4s
PMRX     8899 PMRX 8899         Progress      4/30l2}rs        12/Llte8l L2ltl2031
SKRX   180021 SKRX 180021       Progress       L2/3t/2024      rtlL/1972 Lu1./2022
INTX     6009 tNTX 6009         Progress       L2/3t/2O2L       s/rl1e71. s/1./2021
INTX    47469 rNTX 47469        Progress       L2/31,/2022      3/1./Ls72 3/L/2O22
INTX    74202 rNTX 74202        Progress       L2/31/2024      11/11L974 1.L/7/2024
INTX   47248L tNTX 472481       Progress       1213L12021.     L0l1/r97r 70/tl2o2t
PMRX     889L PMRX 8891-        Progress       4/30/2OLs       rzhl1e8L t2/t/2o3r
PMRX     8939 PMRX 8939         Progress       4/30l2jrs       12/tlt98L L2/rl2O3r
PMRX    74049 PMRX 74049        Progress      l4/30/20rs       tolrlts&o to/tl2o3o
SKRX   180019 sKRX 180019       Progress      ln/ztlzoza.       1./1.h971. 1./Ll2O2r
INTX    74L94 tNTX 74194        Progress      lt lzr/roro      LLltlL974 rtlL/2024
INTX    95153 tNTX 95153        Progress      le/rlzots         slurses s/Ll2O4s
   Case 20-11139-1-rel           Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49           Desc Main
                                      Document    Page 231 of 370

INTX    95174 tNTX 95174          Progress       8/tl2OL8             shltess s/Ll204s
INTX    95192 rNTX 95192          Progress       8/r/2OL8             s/r/ress s/L/2O4s
INTX    96104 rNTX 96104          Progress       8/1./2Or8            2/1./Les6 211./2046
PMRX     8857 PMRX 8857           Progress                   9       L2/1,/t98L L2/1./2031
PMRX    7404r PMRX 74047          Progress       4/30120rs           LO/urs8} 10/Ll2O3O
PMRX    74072 PMRX 74072 Progress                4/30l2ots            6lLl197s 6/1.12O2s
PMRX   348140 PMRX 348740 Progress               ro/31./2Or8          s/tlre8o s/Ll2o3O
INTX    23345 tNTX 23345  Progress               12/3r/2023           tl1./1973 1./Ll2023
RRRX   460251, RRRX 460251        MRXX           12/31./2Or8     Confidential  Confidential
RRRX   460257 RRRX 460257         MRXX           12/3u2022       Confidential  Confidential
RRRX   460267 RRRX 460267         MRXX           12/31./2Or8     Confidential  Confidential
RRRX   460268    RRRX 460268      MRXX           1.2/3L/2022     Confidential  Confidential
RRRX   460276    RRRX 460276      MRXX           t2/3L/2022      Confidential  Confidential
RRRX   460291,   RRRX 460291      MRXX           t2/3t12022      Confidential  Confidential
DSRC   460297    DSRC 460297      MRXX           12/31.12OL8          e/Uts8o s/Ll2O3O
RRRX   460347    RRRX 460347      MRXX           MTM             Confidential  Confidential
DSRC   460378    DSRC 460378      MRXX           L2/3r/2OL8         10/1./1980 LO/1./2O3O
RRRX   460379 RRRX 460379         MRXX           ].2/31./2022    Confidential  Confidential
KBSR   460397 KBSR 460397         MRXX           t2/3r/2018           e/uLego e/t/2o3o
RRRX   460404    RRRX   460404    MRXX           t2/3tl2Ot8      Confidential     Confidential
RRRX   460413 RRRX 450413         MRXX           t2/3L/2078      Confidential     Confidential
RRRX   460420 RRRX 460420         MRXX           12/3L/2022      Confidential     Confidential
DSRC   460421, DSRC 460421        MRXX           L2/3Ll2OL8           sl1./1e8O   e/1./2030
RRRX   460422    RRRX 460422      MRXX           L2/31.12OL8     Confidential     Confidential
RRRX   460432    RRRX 460432      MRXX           L2/3r/2018      Confidential     Confidential
RRRX   460434    RRRX   460434    MRXX           L2/31/2Ot8      Confidential     Confidential
DSRC   460439 DSRC 460439         MRXX           12/31./2018          s/Ll7e80 e/L/203o
RRRX   463003 RRRX 463003         MRXX           t2/3112018      Confidential     Confidential
KBSR   463008 KBSR 463008         MRXX           12/3L/2078           8h/tego 8/L/2030
RRRX   463009 RRRX 463009         MRXX           t2/3Ll2OL8      Confidential  Confidential
INTX    12589 rNTX 12589          Progress       L2/3t/2023         10/1./L973 LO/L12023
INTX    L2592    rNTX 12592       Progress       12/31./2023         70/tlLs73 to/tl2023
INTX    47326    tNTX 47325       Progress       1.2131./2027        LO/ute8o ro/tl2030
INTX    47304    tNTX 47304       Progress       L2l3r/2027          LL/L/re8} rLlr/2o3o
INTX    47450    tNTX 47450       Progress       t2/3L/2022           8ltlre72 8/L/2022
INTX    47345    tNTX 47345       Progress       12/3L/2027          rLltltego 1.1.h/2O3O
PMRX     8631 PMRX 8631           Progress       4/30/21ts           12/t/regL t2/1./2O3L
PMRX     8672 PMRX 8672           Progress                   9       t2h/LegL L2l1.l2O3r
PMRX     87L3 PMRX 8713           Progress             2079          t2/1,1!98L 12/Ll203r
PMRX     8883 PMRX 8883           Progress                           L2/tl1981 72/rl2O3t
PMRX     89L0 PMRX 8910           Progress          30/2OL9          L2/Ll7987 72/u2037
PMRX     8968 PMRX 8968           Progress       4/30/2O1s           12lrlLegt 72/rl2O3L
INTX    74207 tNTX 74207          Progress       12/31.12024         tt/rlLs74 Lrlt/2024
INTX    76006 tNTX 76006          Progress       t2/3r/2027           tltlLs8o Lltl2O3O
PMRX     8575 PMRX 8575            Progress      4/30/2O1s           t2/1,h98r 12lLl2O3r
INTX   769664 rNTX 769664          Progress       12131./2027         7/7/re80 7/L/203O
INTX    95182 INTX 95182           Progress      8/L/2Ot8             s/tlress    s/Ll2O4s
   Case 20-11139-1-rel        Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49          Desc Main
                                   Document    Page 232 of 370

PMRX      8667 PMRX 8667        Progress       4/30/zOLe       L2/1.h981 1211./2O3t
PMRX      8678 PMRX 8678        Progress       4/30l2}ts       L2/rlrs81    12/1./2O3L
PMRX      8683 PMRX 8683        Progress       4/301201e       12/tlts8r    12/1./2O3t
PMRX      8841 PMRX 8841        Progress       4/30120ts       12/1./1e8r 12/t/2O3L
PMRX      8931 PMRX 8931        Progress       4/30/2}rs       t2/LlL98L 12/1./2O3r
PMRX    74036 PMRX 74036        Progress       4/30/2019       12/tlte7e t2/L/2029
PMRX    74069 PMRX 74069        Progress       4/30/z}te       L0/1./rsgo r0l1.l2o3o
PMRX   348067 PMRX 348067 Progress             to/3t/2oL8       3/1./ts8r 317/203t
INTX    23459 rNTX 23459        Progress       12l3u2023        4/tl1e73 4/1./2023
PMRX     8623 PMRX 8623         Progress       4/30/z}ts       t2/1./1981 t2/u2o3r
PMRX      8997 PMRX 8997        Progress       4/30/20re       r2lLlLsgL 72/L/2O3r
ATGX    47344 ATGX47344         Progress       L2/3u2027       tLlthe80 LtlL/2O3O
INTX    47468 tNTX 47468        Progress       L2/3r/2022       3/1.hs72 3lLl2022
INTX    7395L tNTX 7395L        Progress       12/31./2022      urhs72 t/t/2022
INTX    73968 rNTX 73968        Progress       72/3r/2022       tltl1e72 1./1./2022
INTX    7398t   tNTX 73981      Progress       12131./2022      1./1.1L972 thl2022
INTX    73988 tNTX 73988        Progress       12131.12022      7/Lhs72 tlu2o22
INTX    7401,r tNTX 74011       Progress       t2/3L/2022      1.L/th972 1.1./1./2022
INTX    74031   tNTX 74031      Progress       t2/3L/2022       1.1./1./7972 rt/tl2o22
INTX    74032   tNTX 74032      Progress       12/31./2022    t]-lts/1s72 rrhs/2022
INTX    74036   rNTX 74036      Progress       L2/3r/2022       trluL972 1.1./1_/2022
INTX    74042   tNTX 74042      Progress       L2l3tl2022       1.1./Llr972 L7/t/2022
INTX    74055   tNTX 74055      Progress       12/31.12022      17/ths72 tLl1./2022
INTX    74087 rNTX 74087        Progress       t2/3L/2022       7Lhlr972 1.1./1./2022
INTX    74088   tNTX 74088      Progress       72/3u2022        12/1.h972 12hl2022
INTX    74093   tNTX 74093      Progress       12/3t/2022       1.7h/7e72 trlu2o22
INTX    74094   tNTX 74094      Progress       12/3u2022        rrlLlL972 tLl1./2022
INTX    74098   rNTX 74098      Progress       L2/3r12022      nlutsT2      L1.11.12022
INTX    74337 tNTX 74337        Progress       12/3r/2022     12/rsh972 12/ts/2022
INTX    74355 tNTX 74355        Progress       t2/3L12022      Ltlrlr972 trlt/2o22
ATGX   768947 ATGX768947        Progress       1.213L12027      7hhe8o 7/t/2O3O
INTX   427rO1, tNTX 427101      Progress       L2l3r/2026       7/LlLe76    7/1.12026
INTX    427702 rNTX 427102      Progress       L2/3r/2026       7/Llts76    7/1.12026
INTX    427rO4 tNTX 427104      Progress       tzl3Ll2026       thlrs76   8lLl2026
INTX    427IO5 tNTX 427105      Progress       12/3L12026       8/1./7s76 8lt/2O26
INTX    427707 |NTX427tO7       Progress       t2l3L/2026       6/1./1e76 6/tl2026
INTX    427LO8 tNTX 427108      Progress       t2l3t/2026       6/tlre76 6/rl2026
INTX    427LOg tNTX 427109      Progress       L2/3r/2026       6/rlLe76 6/Ll2026
INTX   427LLO tNTX 4271L0       Progress       L2/31/2026       6lurs76 6/Ll2026
INTX   427TLI tNTX 427L11       Progress       12/3L/2026       7 /r/rs76 7lt/2O26

INTX    76023 tNTX 76023        Progress       12/31.12027      #N/A            N/A
INTX    4271,r2 |NTX4271,12     Progress       1213L12027       3/uLe7e 3/1./2O2s
INTX    4277r3 rNTX 427113      Progress       L2l3t/2027       3/LlL979 3lLl202e
INTX    427714 INTX427t74       Progress       L2/3r/2027       3/1./re7e3/tl2jzs
INTX    427L15 tNTX 427115      Progress       12/31,12027      3/rhs7s 3h/2O2e
INTX   427LL7 INTX 4271,17      Progress       12/3L12027       4/tlre7s 4/1./2029
INTX    4271L8 tNTX 427118      Progress       L2/3r/2027       4/1./L97e 4/u2o2e
   Case 20-11139-1-rel        Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49         Desc Main
                                   Document    Page 233 of 370

INTX   427126 INTX427126       Progress       t2137/2026          6/7/1s76 6lLl2026
INTX   427I1-9 rNTX 427119     Progress       t2/3r/2027          4/L/rs7e 4/1./2O2e
INTX   4271,60 tNTX 427160     Progress       t2/3t/2026          7/Llre76 7 /t/2O26
INTX   42716r INTX 427161      Progress       12131./2026         7/1.he76 7/1./2026
INTX   4271,62 INTX427t62      Progress       t2/31/2026          7/tlLs76 7/t/2O26
INTX   427163 tNTX 427163      Progress       12/3u2026           7 /1./L976 7h/2o26
INTX   4271,64 tNTX 427164     Progress       t2/31./2026         8/tlLs76 8/Ll2026
FURX   845275   FURX 845275    Trinity        6l30/2O2O          1.1./1./1996 LL/r/2046
NDYX   515925 NDYX 515926      Trinity        6/30/2O2O           2/7/rss6 2/t/2046
SIRX   475074   srRX 475074    VTG            s/31/2ote           e/1./ts7e s/L/2O2e
SIRX   475152   stRX 475152    VTG            s131./2Or9         10/1./r978 LO/t/2O28
SIRX   475542   stRX 475542    VTG            s/37l2}re           8/tlre7s 8/rl2O2s
SIRX   475596   srRX 475596    VTG            s/31./2Or9          e/tlLs7s e/1./2O2s
SIRX   475597 stRX 475597      VTG            sl3Ll2Or9           e/1./re7s 9/Ll2O2s
RRRX   463023 RRRX 463023      MRXX           t2/3t/2Or8     Confidential   Confidential
KBSR   463024 KBSR 463024      MRXX           12131./2018         8/t/rsgo   8/Ll2O3O
KBSR   463025 KBSR 463025      MRXX            72/3r/2018         8/1./rs$o 8/t/2O30
RRRX   470032 RRRX 470032      MRXX           tzl3t/2018     Confidential    Confidential
RRRX   470035 RRRX 470035       MRXX          12/31/2022     Confidential    Confidential
DSRC   470039 DSRC 470039       MRXX          72/37/2Ot8          8/1./7e8O 8/tl2O3O
KBSR   470044 KBSR 470044       MRXX          t2/3L/2Ot8          8/tl7s8O 8/tl2O3O
INTX   427165 INTX 427165       Progress      12/31./2026         6/tlLs76 6/1/2026
INTX   427166 tNTX 427166       Progress      12/3L/2026          6/1./Le76 6/L/2026
INTX   4271,67 tNrx427167       Progress      L2/3t/2026          6/tl1s76 6lL/2026
INTX   427768   rNTX 427168     Progress      L2/31./2026         6/tlrs76 6/L/2026
INTX   427127   |NTX427127      Progress      L2/31./2027         4lLl1979 4/rl2O2s
INTX   427169   tNTX 427169     Progress      12/3r/2027          3lureTs 3/t/2o2s
INTX   427770   INTX427L70      Progress      t2l3tl2027          3/tlts7s 3/rl2O2s
INTX   427L71, |NTX427t71,      Progress      12/3L/2027          3/tlLs7e   3/1.12O2e
INTX   427L72 |NTX427172        Progress      12/3L12027          4/t/r979 4/1./2O2e
INTX   427L73 INTX427173        Progress      72/3L/2027          4/urs7e 4lLl2O2e
INTX   427L35 tNTX 427135       Progress      L2/3L12026          6/Ll1s76 6lL/2026
INTX   427L74 INTX427L74        Progress      L2/3t/2027          4/the7s 4lr/2O2s
SKRX    5001_2 SKRX 50012       Progress      L2/31./2024         sltl1e73 s/1./2023
SKRX    55006 SKRX 55006        Progress      L2l3r/2024          4/1.he7r 4/1./2021.
INTX     6254 rNTX 6254         Progress       12131/2023         4/tlLs73 4/Ll2023
INTX     7624   rNTX 7624       Progress       12/3L12024         s/rlL974 s/1./2024
INTX    47r83   rNTX 47183      Progress       12/31.12022        8/rlLs72 8/L/2O22
INTX    47405   tNTX 47405      Progress       12/3r/2022         8/1./r972 8lr/2O22
INTX   L73244   tNTX 173244     Progress      12/31./2023         s/Llre73 5/1/2023
PMRX     8634   PMRX 8634       Progress      4l30/2O1e          72lr/1e87 L2/L/2O3L
PMRX     8688 PMRX 8688         Progress      4/30/zoLs          L2/tl1e8t   12/L/2O3L
PMRX     892s PMRX 8925         Progress      4/30/zOLs          L2/tlLs87 t2/t/2o3t
PMRX     8961 PMRX 8961         Progress      4/30/zOLs          t2/tlL98L 12/1./2031.
PMRX     9106 PMRX 9106         Progress      4/30/2019          12/1./r98L L2/1./2031.
INTX   427L40 tNTX 427140       Progress      12/3t/2027          3/7/1e7e 3/tl2O2s
INTX     3404 rNTX 3404         Progress      12/31/2027         t2/Llte$o 12/Ll2030
   Case 20-11139-1-rel            Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49        Desc Main
                                       Document    Page 234 of 370

INTX     3405 rNTX 3405            Progress       L2/3t/2027       t2lL/tego 12/1./2O3O
INTX   472494 |NTX472494           Progress       L2/3r/2027        tltlte8r rl1./2O3r
INTX   462104 rNTX 462104          Progress       L2131./2O2L       6/1./ts7L 6/tl2O2t
INTX     1265 rNTX L265            Progress       t2/3t/2024        1./!r974 Ll1./2024
INTX   1.OL164 tNTX 101164         Progress       t2/37/2024        6ltlLs74 6/112024
INTX   10120s rNTX L01205          Progress       12/31.12024       6lLlL974 6/L/2024
INTX   1.OL222 tNTX 101222         Progress       t2/3L/2024        6lLl1s74 6/Ll2024
INTX   1.O1283 rNTX L01283         Progress       12/3L/2024        6/Ll1974 6lLl2024
FURX   850642       FURX 850642    Trinity        6/30/2O2O        roltlres6 LO/tl2046
SIRX      457 SIRX 451             VTG            s/3t/2ote         t/r/tego    Ll1./2O3O
INTX   101339 rNTX 101339          Progress       12/31/2024        6n/re74 6/Ll2024
INTX   101359 tNTX 101359          Progress       t2/31./2024       6/tlLs74 6/Ll2024
INTX   101384 tNTX 101384          Progress       L2l3r/2024        6/LlLs74 6/1.12024
INTX   101-413 rNTX 101413         Progress       L2/31./2024       6/Llr974 6/r/2o24
INTX   701477 tNTX 10r.417         Progress       12137/2024        6/Llre74 6/1.12024
INTX   101450 tNTX 101450          Progress       12/3u2024         6h/1e74 6/1./2024
INTX   472502       tNTX 472502    Progress       12/31./2027       4/1./1e8r Ll2037
ATGX    76195       ATGX 76195     Progress       12/3L/2027        tltlLs8o Llt/203O
INTX    76174       tNTX 76174     Progress       12/3t/2027        1/tlLsgO 1./Ll2030
INTX    76264       rNTX 76264     Progress       12Br/2027        L1.lLlr98O rLhl2O3O
INTX   769775       tNTX 769175    Progress       L2/3r/2027        3/Llres0 3/rl2030
INTX   769176       tNTX 769176    Progress       L2l3rl2027        3/1./1e8O 3/1./2O3O
ATGX    23548       ATGX 23548     Progress       1281.12027       10/1./7e8O   to/tl2o3o
ATGX    76641       ATGX 76641     Progress       12/3u2027         7lrlLsse. 7 /L/2O3O
ATGX    76723 ATGX76723            Progress       t2/3L/2027       10/1./Ls8O ro/1./2o3o
INTX    23542 tNTX 23542           Progress       1.2/3L/2027       911./r98O e/1/2030
INTX    23546 tNTX 23546           Progress        72/31./2027      tlLheso Lltl2O3O
INTX    23672 tNTX 23672           Progress       L2/3r/2027        8/tltsgo 8/Ll2O3O
INTX    76L51. tNTX 75151          Progress       L2l3t/2027        t/r/te8o 1./1./2030
INTX    76L56 tNTX 75156            Progress      L2/31.12027      rchl1s8O 10/u2O30
INTX    76175       tNTX 76175      Progress      12l3L/2027        1,h/L98O    rltl2o3o
INTX    76T87       tNTX 76181      Progress      12/3L/2027        Ll7/ts8} rlU2o3o
INTX    76245       rNTX 76245      Progress      12/3u2027        L0hheso LO/Ll2030
INTX    76630       tNTX 76630      Progress      L2/3r/2027        7/tlts$o 7/L/203O
INTX    76654
                I
                    tNTX 76654      Progress      L2l3t/2027        8/rltsgo 8/Ll2O3O
INTX    76663           76663       Progress      L2/31./2027       8/tlLe80 8/L/2O3O
                lrNrx
INTX    76688 INTX 75588            Progress      L2/3L12027        8/tlLegO 8/1./2O3O
CFWR    47005 l.r** 47oos           Progress      t2/3L/2027        7/1./LgBO 7/1./2O3O
CFWR    47026 l.r** 47026           Progress       t2/3t/2027      L0/Lhe8O LO/rl203}
CFWR    47066 l.r** 47066           Progress       L2/31./2027     rchl1e80 rohl2030
CFWR    47L97 l.r** 47rs7           Progress       12/31./2022     12/1./7e8O L2/u2o3o
CFWR    47275 l.r** 4727s           Progress       12/3u2027       70/rlrs8o tohl2o3o
CFWR    47297 l.r** 472s7           Progress       t2/3r/2027      LOll./ts8} Lo/7/2O3O
CFWR    47337 l.r** 47337           Progress       12/3L/2027      LLlLl1e8O ttlL/203o
CFWR    75966 l.r** 7ss66           Progress       L2/3L/2027       1.lL/r98O LlLl2030
CFWR    75979 l.r** 7ss7s           Progress       L2/31./2027      utlLe8o tlLl2O3O
                                                                    tlr/te8o rltl2030
                I

CFWR    75985 ICFWR 7s98s           Progress       t2/31/2027
   Case 20-11139-1-rel       Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49       Desc Main
                                  Document    Page 235 of 370

CFWR    76001 CFWR 76001       Progress       L2/3L/2027       utlrsso rlt/2o3o
CFWR    7661_8 CFWR76618       Progress       12l3r/2027       7l1.he8} 7/t/203O
CFWR    76638 cFWR 76638       Progress       1213t/2027       7 /1./1980 7/u2030

CFWR    76655 cFWR 76655       Progress       12/31.12027     L2/tl1e8O L2/1./2O3O
CFWR    76976 CFWR 76976       Progress       t2/3L/2027       3/LlLe8O 3/t/2O3O
CFWR    770t7 CFWR 77017           Progress   L2/3L12027       7lLhs8u^ 7/I/2O3O
INTX   427155 tNTX 427155          Progress   L2/3L12027       elrl1s77 s/tl2027
INTX   427L56 tNTX 427156          Progress   L2131./2027      s/rlre77 e/Ll2027
INTX   427777 INTX427t77           Progress   t2/3r/2027       8/1./1981. 8/Ll2o3r
INTX     75r9 rNTX 7519            Progress   t2/3112023      L2/uts73 L2/tl2023
INTX    95113 tNTX 95113           Progress   8lL/2OL8         slLltses   s/1./2O4s
PMRX     862L PMRX 8621            Progress   4/30/201e       12/1./1981 72lLl2O3t
PMRX     8687 PMRX 8687            Progress   4/30/2019       12/tlte8t 12/tl2O3L
PMRX     8977 PMRX 8977            Progress   4/3012019       t2/the8r L2/1./2O3L
SKRX   180001 sKRX 180001_         Progress   t2/3t/2024       8/LlL972 8/rl2022
INTX     61-61, rNTX 6L61          Progress   t2/3t/2023       3/rlrs73 3/tl2023
INTX     6269 tNTX 6269            Progress   12/31.12023      4/r/re73          3
INTX     6340 tNTX 6340            Progress   12/3L/2023       3/1./L973 3/Ll2023
INTX     6425   rNTX 6425          Progress   12/3L/2023       ehlLeT3 s/L12023
INTX     6444   tNTX 6444          Progress   L2131./2023      s/LlLs73 e/1./2023
INTX     7693   rNTX 7693          Progress   L2/3r/2023       4/Llr973 4lrl2023
INTX    23445   rNTX 23445         Progress   12/3t/2024       Llrhe74 uLl2024
INTX    46784   tNTX 46784         Progress   12/3L/2023      rL/tlLs73 LL/1./2023
                tNTX 47100         Progress   L2/3t12027       4/1./L97r 4/tl2O2L
INTX    47rO5 tNTX 47105           Progress   r2l3rl2O2r       s/tlrs7L s/tl2o2L
INTX    47755 rNTX 47155           Progress   L2/3r/2021       4ltlte7r 4/tl2021
INTX    47176 tNTX 47176           Progress   12/31./2023     tLlt/r973 LLlr/2023
INTX    47195 tNTX 47195           Progress   12/3L/2022       8/1./L972 8lr/2o22
NDYX   515809 NDYX 515809      Trinity        6/30/2020        1./Llrse6 t/rl2046
NDYX   515816 NDYX 515816      Trinity        6/30/2O2O        tltlres6 r/tl2046
NDYX   515824 NDYX 515824      Trinity        6/30/2O2O        Llt/tee6 tlLl2046
NDYX   515831 NDYX 515831      Trinity        6/30/2O2O        L/t/Lss6 LlL/2046
NDYX   515841 NDYX 515841      Trinity        6/30/2020        t/LlLss6 1/u2O46
NDYX   515844 NDYX 515844      Trinity        6/30/2020        r/Ll1996 rltl2046
NDYX   515850 NDYX 515850      Trinity        6/30l2O2O        Ll1./7ee6 tlLl2046
NDYX   515900 NDYX 515900                     6/30/2O2O        2/uLee6 2/Ll2046
                              lrrinitv
NDYX   5159L7 NDYX    51_5917                 6l30/2O2O        2/1/Lss6 2lLl2046
                              l]rinitv
NDYX   51591_8 NDYX   515918 Innrty           6/30l2o2O        2/Lltse6 2hl2046
                               I
NDYX   515929 NDYX 515929                     6/30l2o2o        2/tlres6 2/tl2046
                               l]'i'':'v                       2lthss6 2/Ll2046
NDYX   5L5932 NDYX 515932      I   Inntty     6/30/2O2O
NDYX   5r5944 NDYX 515944 lrrinity            6/30/2O2O        2/tlLes6 2/L/2046
NDYX   515946 NDYX 515946                     6/30/2O2O        2/Lltee6 2/1./2046
NDYX   515977 NDYX 515977
                               ll'.:':*       6/30l2o2o        2/t/ree6 2/Ll2046
                               ll'.:n:'v
NDYX   516028 NDYX 51"6028     I lnnrty       6/30/2O2O        2/1./Lee6 2/Ll2046
NDYX   516093 NDYX 516093      lrrinity       6/30/2O2O        3/rlLss6 3/L/2O46
NDYX   516095 NDYX 516095      lrrinity       6l30/2O2O        3/Lltss6 3lr/2046
NDYX   516097 NDYX 516097      lrrinity       6/30/2020        3lLlree6 3/rl2046
   Case 20-11139-1-rel        Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49      Desc Main
                                   Document    Page 236 of 370

NDYX   515104 NDYX 516104      Trinity        6l30l2O2o         3/1.lLee6 3/1./2046
NDYX   51,6L22 NDYX 516122     Trinity        6l30/2020         3/1.hse6 3/1./2046
INTX    47443   tNTX 47443      Progress      72/3r/2022        8/L/1s72 8/1./2022
INTX    47455   INTX 4745s      Progress      L2/3r/2022        9/tl1e72 s/tl2022
INTX    47458   rNTX 47458      Progress      12/3r/2022        e/1.he72 e11.12022
INTX    47474   |NTX47474       Progress      L2/3r/2022        8/tl1s72 8/Ll2022
INTX    52823   tNTX 52823      Progress      L2/31/2023        3/1.1L973 3/Ll2023
INTX    53008 rNTX 53008        Progress       12/31./2023      7/tlLs73 7/t/2O23
INTX   384867 tNTX 384867       Progress       12/3u2023       t2/tlL973 12/Ll2023
INTX   384878 rNTX 384878       Progress       12/3112023      12/Llr973 72/L|2023
INTX   384969 tNTX 384969       Progress       72/3L12023       L/tl1e73 L/rl2023
INTX   38s206 tNTX 385206       Progress       t2/3t/2023       311./te73 3/1./2023
INTX   385255 rNTX 385255       Progress       12/31./2023     L1./1.h973 rr/1/2023
INTX   462L25 tNTX 452125       Progress       L2l3r/2O2L       s/tlLe7L s/rl2o2t
INTX   472487 |NTX472487        Progress       L2/3t/202L       4/t|L971. 4/1./2021.
INTX   765746 tNTX 765746       Progress       12/31./2023     1.1./tlL973 7ur/2O23
INTX   765784 tNTX 765784       Progress       t2/3r/2023      rL/Lhe73 1.1./r12023
INTX   765787 tNTX 765787       Progress       L2/3r/2023      tLl1./r973 LLlL/2023
INTX   765797 tNTX 765797       Progress       12/3L/2023      11.17/7e73 tr/L/2023
INTX   76584t   INTX 765841     Progress       12l3L/2023      Lr/tlLs73 tthl2023
INTX   765930 tNTX 765930       Progress       12/3L12023      LrltlL973 1.1./1./2023
INTX   7659s0 rNTX 765950       Progress       12/31.12023     fi.l1lre73 trlt/2o23
INTX   765957 tNTX 765957       Progress       L213u2023       rrlL/rs73 1.L/Ll2023
INTX    23478 tNTX 23478        Progress       L2/3r/2023      t2/L/1973 12/1./2023
INTX     7629 rNTX 7629         Progress       L2/3r/2024       4/1.he74 4ltl2024
PMRX    '8584 PMRX 8584         Progress      4/30/z}te        12/u7e8L t2/1./2031.
INTX     6283 tNTX 6283         Progress       12/3u2023        3/tlte73 3/tl2023
INTX    47437 tNTX 47437        Progress       12/3t/2022       s/1,1Ls72 s/1./2022
INTX   385191 rNTX 385191       Progress       t2/3r12023       LlLl1973 Llu2o23
INTX   765750 rNTX 765750       Progress       L2/31./2023     1.LlLlre73 7uLl2O23
INTX    47L85 tNTX 47185        Progress       L2/3u2022        8/rl1s72 8/1.12022
INTX    47L39 tNTX 47139        Progress       L2/3r/2021       s/rl1e7L sltl202L
INTX     7567 tNTX 7567         Progress       t2/37/2024       3/tlL974 3/1.12024
INTX     7692 tNTX 7692         Progress       t2/3L12023       4/1./r973 4/1./2023
INTX     793t tNTX 7931         Progress       t2/3t12022      to/L/r972 70lLl2022
INTX     7gtr tNTX 7911         Progress       1213r/2022      tLl1./1972 LLlL12022
INTX   385199 rNTX 385199       Progress       L2/3r/2023       3/1./1e73 3ltl2023
INTX   385226 rNTX 385226       Progress       L2/31./2023      s/ure73 slu2023
INTX     7681, rNTX 7681        Progress       12/31.12023      3/ure73 3/tl2023
INTX   385277 rNTX 385277       Progress       12/3L12023      nlrl1973 t2/tl2023
INTX   472503 tNTX 472503       Progress       12131.12023      7/Lhe73 7/t/2O23
INTX    23320 tNTX 23320        Progress       t2l3t/2023      L1lute73 L0/L/2023
INTX    53004 tNTX 53004        Progress       L2/31/2023       7 /r/Le73 71112023

PMRX   348022 PMRX 348022 Progress             LO/3t/2OL8       s/1./rsgo s/rl2030
INTX    54656 rNTX 54656        Progress       12/31/2023       7/LlLs73 7/t/2O23
INTX   76582r tNTX 755821       Progress       12/3L/2023      17/L/1e73 1.1/Ll2023
INTX    234s8 tNTX 23458        Progress       12/3t12023       4/L/1973 4lrl2023
   Case 20-11139-1-rel           Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49           Desc Main
                                      Document    Page 237 of 370

INTX    23477 lNrx23477            Progress       t2/3r/2023       L2/tl1973 12/Ll2023
INTX   823974 rNTX 823974          Progress       12/31/2024        thlte73 8/Ll2023
INTX    43801 tNTX 43801           Progress       12l3r/2O3r        4/tlLs8O 4/L/2O3O
INTX    4381.4 tNTX 43814          Progress       t2/3712031.        4l1.l1e8O 4/L/2o3O
INTX    9836s rNTX 98365           Progress       t2/3L/2031         e/Ll1e8O eh/2o3o
INTX    98369 tNTX 98369           Progress       L2/3L/2031.        elLhe8o e/tl2o3o
INTX    98374 rNTX 98374           Progress       t2/3L/2037         s/tlLe8o 9/1./2O3O
IBRX      204 JBRX 204             Progress       L2/3L/2O3L        12/1.h98L     t2/t/2o3r
JBRX       21,1, JBRX   211        Progress       t2/31./2O3L       12/tltsgr t2/1./2031.
JBRX       227 JBRX227             Progress       12/3r/2O3r        12/1.11981.72hl2031
JBRX       228 JBRX 228            Progress       t2/31/2031.       72/Lhe8r L2/Ll2O3L
JBRX       24L JBRX 241            Progress       12/3r/2O3t        L2/t/Ls81. 12h/2O3t
PMRX    13040 PMRX 13040           Progress       to/3Llzjts         s/1hs74 s/L/2024
PMRX    r3042 PMRX       L3O42     Progress       10/31.12019        6/tlte74 6/Ll2024
PMRX    5LO42 PMRX 5IO42           Progress       LO/3Ll2O7s         7lthe72 711./2022
PMRX    5LI28 PMRX 51L28           Progress       LO/3r/2OL9        ro/Llr972 LO/L/2022
FURX   850733 FURX 850733          Trinity        6/30l2O2O         to/tltss6 tolLl2046
FURX   8s0060 FURX 850060          Trinity        6/30/2020          7 /r/Lee6 7 /1./2046

FURX   850715 FURX 850715          Trinity        6/30/2O2O          s/1.lrss6 s/L/2046
KBSR   470055    KBSR 470065       MRXX           12/3L12018         8ltlte8o     8lL/2O3O
RRRX   470066    RRRX 470066       MRXX           72/3L/2022    Confidential      Confidential
DSRC   47007L    DSRC 470071       MRXX           L2/3L/2Or8         slLhes0 8/tl2O3O
RRRX   470075    RRRX 470075       MRXX           L2/31./2022   Confidential      Confidential
RRRX   470080    RRRX 47OO8O       MRXX           12l3r/2022    Confidential      Confidential
RRRX   47008r    RRRX 470081       MRXX           12/31/2Or8    Confidential      Confidential
RRRX   470082    RRRX 470082       MRXX           12/3L/2022    Confidential      Confidential
DSRC   470088    DSRC 470088       MRXX           n/3r/2oL8          8/Lltsg} 8/1./2O3O
RRRX   470094    RRRX   470094     MRXX           t2/3L/2Ot8    Confidential      Confidential
RRRX   470098    RRRX 470098       MRXX           L2/31/2OL8    Confidential      Confidential
RRRX   470712    RRRX 470112       MRXX           MTM           Confidential      Confidential
RRRX   470L19    RRRX 470119       MRXX           t2/31./2Or8   Confidential      Confidential
KBSR   470L20    KBSR   470120     MRXX           12/3tl2OL8         8lLlteg} 8/1.12O3O
KBSR   470]-22   KBSR 470122       MRXX           72/3L/2OL8         8ltl1e8O 8/Ll2O3O
DSRC   470130    DSRC 4701_30      MRXX           12/31/2OL8         8/1.lLs8O 8lr/2O30
KBSR    470137 KBSR 470137         MRXX           12/31/2Or8         8/1.11s80 8lu2o3o
KBSR    470139   KBSR 470139       MRXX           r2l3L/2Or8         8lLlre8} 8/tl2o3o
DSRC    470145   DSRC 470145       MRXX           t2/3Ll2Or8         8lLl7e8O 8/tl2o3O
KBSR    470t56   KBSR 470156       MRXX           t2/3L/2Or8         811/Le8O 8/712o3O
KBSR    470L57 KBSR 470157         MRXX           L2/3L/2OL8         8/ure80 8/L/2030
DSRC   470L59    DSRC 470159       MRXX           t2/3r/2018         8/tlts8o 8lt/2O3O
ATGX   769054    ATGX 769054       MRXX           12/31./2O2O   Confidential      Confidential
ATGX   7690s6    ATGX 769056       MRXX           12/3Ll2O2O    Confidential      Confidential
ATGX   769057    ATGX 769057       MRXX           72/3Ll2O2O    Confidential      Confidential
ATGX   769060    ATGX 769060       MRXX           72/3L/2O2O    Confidential      Confidential
ATGX   769061    ATGX 769061       MRXX           L2/3r/2O2O    Confidential      Confidential
ATGX   769L52    ATGX 769152       MRXX           12/3r/2O2O    Confidential      Confidential
ATGX   769L54    ATGX 769154       MRXX           t2/3L/2O2O    Confidential      Confidential
   Case 20-11139-1-rel        Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49            Desc Main
                                   Document    Page 238 of 370

ATGX   769164    ATGX 769164    MRXX           L2/3t/2O2O    Confidential       Confidential
ATGX   769166    ATGX 769166    MRXX           12131./2020   Confidential       Confidential
ATGX   769169    ATGX 769169    MRXX           12/31./2O2O   Confidential       Confidential
ATGX   769219    ATGX 769219    MRXX           12l3r/2O2O    Confidential       Confidential
ATGX   76966L    ATGX 769661    MRXX           t2/3t/2O2O    Confidential       Confidential
PMRX    13038 PMRX 1.3038       Progress       10/37/2OL9         3/uts74 3/L/2024
PMRX    13206 PMRX L3206        Progress       LO/3L/z}ts        L2/Ll1980 12/L/2030
INTX    43133 rNTX 431_33       Progress       L2/3t/2021.        rlthe7L rltl2021.
INTX    43137 tNTX 43137        Progress       12/31./2O2r        rltlLe7L 1./L/2O2L
INTX    74151. tNTX 74r_51      Progress       12/31/2024                 LrlL/2024
                                                                 1.1./1./r974
INTX    74172 INTX74t72         Progress       12/3r/2024        77/ute74 tL/Ll2024
INTX    74L76 tNTX 74176        Progress       12/3112024        LtlLlr974      1.1./Ll2024
INTX    74L86 rNTX 74186        Progress       72/3L/2024        1.1./1./L974   Ltlt/2o24
INTX    74t95    rNTX 74195     Progress       L2/3t/2024        rtlrlts74 Lrltl2024
ATGX   81,6922 ATGX 816922      MRXX           LO/17/2O2O    Confidential       Confidential
ATGX   816929 ATGX 816929       MRXX           to/t7/2o2o    Confidential       Confidential
ATGX   816933 ATGX 816933       MRXX           1O117/2020    Confidential       Confidential
ATGX   816938 ATGX 816938       MRXX           ro/17/2o2o    Confidential       Confidential
ATGX   816939 ATGX 81_6939      MRXX           70/17/2O2O    Confidential       Confidential
ATGX   816940 ATGX 816940       MRXX           r0h7/2o2o     Confidential       Confidential
ATGX   8L6976 ATGX 815976       MRXX           to/L7/2O2O    Confidential       Confidential
ATGX   81_6980 ATGX 816980      MRXX           tolLT/2O2O    Confidential       Confidential
ATGX   817000 ATGX 817OOO       MRXX           rolrT/2o2o    Confidential       Confidential
ATGX   817006 ATGX 817006       MRXX           10/1712O2O    Confidential       Confidential
ATGX   817008 ATGX 817008       MRXX           10/17/2O2O    Confidential       Confidential
ATGX   833934 ATGX 833934       MRXX           LOlL7/2O2O    Confidential       Confidential
ATGX   833942         833942    MRXX           ro/L7/2O2O    Confidential       Confidential
ATGX   833943         833943    MRXX           70/77/2O2O    Confidential       Confidential
ATGX   833971 ATGX 833971_      MRXX           tolt7l2o2o    Confidential       Confidential
INTX    74204 tNTX 74204        Progress       12/3L/2024        7L/Llre74 rt/1./2024
INTX    74222 |NTX74222         Progress       t2/31./2024       Lr/tlLs74 Ltlr/2024
INTX   390272 tNTX 390212       Progress       12/31./2024       tt/tlL974 LLlLl2024
PMRX     8926 PMRX 8926         Progress       4/30/201e         12/tltssr 12/tl203r
INTX     76L6 tNTX 7616         Progress       72/31/2024         1./Ll1974     uu2024
INTX      765r   tNTX 765L      Progress       72/3L/2024         slLl7e74 5/L/2o24
INTX    472162 rNTX 472162      Progress       t2/3r/2027         6/rlLe77 6/Ll2027
INTX   575013 rNTX 575013       Progress       t2/3r/2026         7/7/Ls76 7/u2026
PMRX     13020 PMRX 13020       Progress       rol3t/2019         s/Ll1s73 shl2023
PMRX     13025 PMRX L3O25       Progress       ro/3L/2OL9        L0ltlte73 to/tl2023
PMRX     13030 PMRX ]-3030      Progress       LO/3L/2OL9         4/tl7974 4/L/2024
PMRX     13031 PMRX 13031       Progress       to/31./2OL9        4/rlLe74 4/L/2024
PMRX     13043 PMRX 13043       Progress       ro/31./2019       LO/tlt97s to/1./2o2s
PMRX     13198 PMRX 13198       Progress       ro/3L/2Or9        1.LlLlr973 rLl7/2023
PMRX     T32IL   PMRX T32TT     Progress       70/3t/20Le         4/1./198L 4/Ll2031
PMRX     t3215   PMRX T32I5     Progress       LO/3L/2OL9         2/tlLs82 2/L{2032
PMRX     L32L6   PMRX 132T6     Progress       rol31./2019        2/LlLs82 2/1./2032
PMRX     s1069   PMRX 51069     Progress       tol3t/20rs         9lLlr972 s/L/2o22
   Case 20-11139-1-rel       Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49          Desc Main
                                  Document    Page 239 of 370

INTX    472493 tNTX 472493     Progress       L2/3L/2021        r0/LlrsTL to/t/2o2r
                 ATGX47322     Progress       t2/3t/2027        L0/Ll1980 ro/1./2o3o
INTX    427L30 tNTX 427130     Progress       t2/3t/2026         7/Llr976 7 /1./2026
INTX    50003 tNTX 50003       Progress       12/31./2024        7lrhe7r     7h12021.
INTX     5000s rNTX 50005      Progress       t2/3t/2024         8/1.he74 8/L/2024
INTX     50014 tNTX 50014      Progress       12131./2024        6/tlLs73 6/L/2023
INTX    76100 rNTX 76100       Progress       t2/3t/2027         tlLhs80 L/tl2O3O
ATGX   833983 ATGX 833983      MRXX           10/17/2020    Confidential  Confidential
ATGX   834078 ATGX 834078      MRXX           s/2/2O2O      Confidential  Confidential
PMRX      8833 PMRX 8833       Progress       4/30/2O1e         r2ltlL98r t2/t/203L
PMRX      8874 PMRX 8874       Progress       4l30/2Or9         t2/ths8L L2/r/203t
PMRX      9109 PMRX 9109       Progress       4/30/20ts         72h/t98L 12/1./2O3r
PMRX      9202 PMRX 9202       Progress       4/30/2ore         L2/L/r98r t2/Ll2O3t
FURX   845398 FURX 845398      Trinity        6/30/2020         12/Llree6 12lL/2046
SIRX    475073 srRX 475073     VTG            s/3r/zors          8/L/1e7s    8/1./202e
ATGX   83425r ATGX 834251      MRXX           s/2/2O2O      Confidential     Confidential
ATGX   834265 ATGX 834265      MRXX           s/2/2O2O      Confidential     Confidential
ATGX   834307 ATGX 834307      MRXX           s/2/2020      Confidential     Confidential
ATGX   834377 ATGX 834371      MRXX           s/2/2020      Confidential     Confidential
ATGX   834409 ATGX 834409      MRXX           s/2/2020      Confidential     Confidential
INTX     43126 rNTX 43126      Progress       t2/3L/2022        rchlLe72     10/u2O22
INTX     47r92 tNTX 47192      Progress       t2/3L/2027         3/1./Le72   3hl2022
INTX   385180 tNTX 385180      Progress       1.2/3L/2023        2/Ll1s73 2/t/2023
SIRX    475633 stRX 475633     VTG            s/3L/z}ts          ehlrs7s sh/2o2e
ATGX   8346L2 TGX 834612       MRXX           s/2l2O2o      Confidential     Confidential
TCWR   349106       R 349106   Atel           rol31./2Or8        8/rlLe8o 8/t/2030
TCWR   349505         349505   Atel           10/3L/2OL8         3/tlLs81. 3h/2031.
TCWR   349506         349506   Atel           70/3L/2Ot8         3/Llte81. 3/1./2O3L
TCWR   349511         349511   Atel           LO/3t/2018         3/L/7e81 3/rl2031
TCWR   349514      349514      Atel           LO/31/2018         3/Ll7e87 3/L/203r
TCWR   349524 TCWR 349524      Atel           rol3Ll2018         4lrlLs8L 4/L/203L
TCWR   349526 TCWR 349526      Atel           rol3r/2or8         4/rlLe8L 4h/203L
TCWR   349528 TCWR 349528      Atel           70/3t/2018         4/Llre81. 4/1./2O3L
TCWR    349531 TCWR 349531     Atel           L0/31/2Or8         4/t/re81.         7

TCWR   349535 TCWR 349535      Atel           LO/31/2018         4lL/1981.       2031
TCWR    349543 TCWR 349543 lo,"t              ro/3Ll2Ot8         4/1./re8t 411/203L
TCWR    349547 TCWR 349547     lo,"t          tol3L/2OL8         4/1.1L98L 4lrl203L
TCWR    349548 TCWR 349548     lo."t          to/3L/2Or8         4/Ll1981 4hl2031
TCWR    349556 TCWR 349556     lo."t          t0/3t/2ot8         4/1./7e8r 4/u2o3r
TCWR    349557 TCWR 349557     lo,"t          LO/31/2018         4ltl1e8r 4/L/203t
TCWR    349560 TCWR 349560     lo,"t          rol31./2Or8        4lthesL 4/tl203L
TCWR    349564   TCWR 349564   lo,"'          10/3L/2OL8         s/Lltsst s/t/2o3L
TCWR    349s69   TCWR 349569   lo,"t          10/3r/2Or8         s/Lltsgt sh/2031.
TCWR    349575   TCWR 349575   lo."t          LO/3r/2018         s/Lhe81 s/Ll203r
TCWR    349578   TCWR 349578   lo,"t          LO/3tl2Ot8         sl1./Le8L s/tl203L
TCWR    349580 TCWR 349580     lo,"t          10/31./2OL8        s/rlLs8L s/t/203L
TCWR    349590 TCWR 349590 lo."r              to/31/2018         3/1hs8r     3/1./2031.
  Case 20-11139-1-rel   Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49       Desc Main
                             Document    Page 240 of 370

TCWR   349593 TCWR 349593 Atel           LO/3L1201.8      3/Llts8L 3/t{2031
TCWR   349603 TCWR 349603 Atel           ro/3L1201.8      3lrhsst 3/t/203L
TCWR   349604 TCWR 349604 Atel           LOI3L/2018       3/1.hegr 3/rl2O3L
TCWR   349608 TCWR 349608 Atel           LO/3t/2Ot8       3/rl1e8L 3h/2O3r
TCWR   349614 TCWR 349614 Atel           ro/31./2018      3lLltesL 3/Ll2031.
TCWR   349620 TCWR 349620 Atel           ro/31/2or8       s/L/r98L s/rl2o3t
TCWR   349626 TCWR 349626 Atel           to/3r/201.8      4lrlts8t 4/t/2O3L
TCWR   34963L TCWR 349631 Atel           LO/3L12078       s/rlte81. s/1./2O3t
TCWR   349645 TCWR 349645 Atel           LO/3L/2OL8      12/!re82 L2lLl2032
TCWR   349647 TCWR 349647 Atel           LOI3L/2018       3/7he8L 3lLl2031.
TCWR   349651 TCWR 349651_ Atel          tol3u2or8        LlL/rs83 1./rl2033
TCWR   349654 TCWR 349654 Atel           to/31/2018       tl1./7s83 thl2033
TCWR   349662 TCWR 349662 Atel           10/31.12018      e/tl1e82 s/1./2032
TCWR   349663 TCWR 349663 Atel           10/3L/2OL8       tltlLe82 Ll7/2032
TCWR   349665 TCWR 349665 Atel           LO/3Ll2OL8      12/Ll1982 t2/t/2032
TCWR   349678 TCWR 349678 Atel           ro/3r/2or8       L/tl1s82 1./1./2032
TCWR   349679 TCWR 349679 Atel           70/31/2018       ehhe82 s/u2o32
TCWR   349686 TCWR 349686 Atel           ro/31/2018       3hlLe8t 3/tl2031.
TCWR   349690 TCWR 349590 Atel           10/31./2018     LO/uts82 L0/Ll2032
TCWR   34969L TCWR 349691 Atel           LO/3t/2OL8      t2/rhs82 12/tl2032
TCWR   349696      349696 Atel           LOl3t/2OL8      12/Ll1982 t2/t/2032
TCWR   349704      349704 Atel           LO/31./2018     t0hlte8r    10/1./2O3L
TCWR   3497L8      349718 Atel           10/3u2or8        e/tlLe82 elLl2032
TCWR   349730      349730 Atel           to/31/2018      L2/Llt982 12/t|2032
TCWR   349737      349737 Atel           L0/3tl2Or8       elLhssz e/tl2032
TCWR   349738      349738 Atel           LO/3Ll2OL8      t2/tl1982 12/1./2032
TCWR   349748      349748 Atel           LO/3rl2Or8      L2/r/1982 721u2o32
TCWR   349752 TCWR 349752 tel            ro/31/2018      L2/Llt982 L2/Ll2032
TCWR   349755 TCWR 349755 tel            ro/31/201.8      s/Ll1s82 s/tl2032
TCWR   349765 TCWR 349765                LO/31.12Or8      L/1/te83 1./1./2033
TCWR   349767 TCWR 349767 Atel           LO/3L120t8       rltlLe83 1/1./2033
TCWR   34977L TCWR 349777 Atel           LOl3t/2018       uLlrs83 ut/2o33
TCWR   349774 TCWR 349774 Atel           ro/31/2018       t/Llre83 L/Ll2033
TCWR   349776 TCWR 349776 Atel           to/31/2018       L/Ll7e83 rlr/2033
TCWR   349778 TCWR 349778 Atel           to/31.12Ot8      1.11/re83 tlt/2033
TCWR   349779 TCWR 349779 Atel           LO/3Ll2OL8       utl7e83 1./t/2033
TCWR   349784 TCWR 349784 Atel           LO/3t/2018       1/LlLe83 Lltl2033
TCWR   349786 TCWR 349786 Atel           ro/31./2078      s/Ll1s82 e/Ll2o32
TCWR   349788 TCWR 349788 Atel           to/31/2078      rzhl1s82 t2/1./2032
TCWR   349790 TCWR 349790 Atel           ro/3Ll2Ot8       rlrl1e83   1.11./2033
TCWR   349805 TCWR 349806 Atel           LO/3u2018        rlLlLe82 L/712032
TCWR   349808 TCWR 349808 Atel           to/3r/20t8       tlL/te83 rlLl2033
TCWR   3498L1 TCWR 34981_1 Atel          to/37/2OL8      12/the82 12hl2032
TCWR   349817 TCWR 3498t7 Atel           LO/3Ll2OL8      L2/1.he82 1211-/2032
TCWR   34982L TCWR 349821 Atel           ro/31.12Or8     L0ltlLssL L0/Ll2O3L
TCWR   349822 TCWR 349822 Atel           tol3u2018        tlLhs82 rlL/2032
TCWR   349824      349824 Atel           to/3t/2018      12ltl1982 12h/2032
   Case 20-11139-1-rel        Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49          Desc Main
                                   Document    Page 241 of 370

TCWR   349826 TCWR 349826 Atel                 10131./2OL8      12/LlLe82 t2/tl2032
TCWR   349828 TCWR 349828 Atel                 LO/31/2OL8        tl1./1983 tlL/2033
TCWR   349832 TCWR 349832 Atel                 70/31/2OL8        1./1.hs82 1./Ll2032
TCWR   349849 TCWR 349849 Atel                 LO/31.12Or8        t/tl1e82 uL/2032
TCWR   349852 TCWR 349852 Atel                 LO/3L/2Or8         7/1./1e82 t/tl2032
TCWR   349853 TCWR 349853 Atel                 L0/3L/2078        3/1./Ls8t 3/r/2O3L
TCWR   349854 TCWR 349854 Atel                 to/3r/2018        elLlLes2 e/tl2032
TCWR   349855 TCWR 349855 Atel                 10131./2OL8      L2/t/1s82 12/t/2032
TCWR   349860 TCWR 349860 Atel                 ro/3r/2oL8        s/1./rs82 s/Ll2032
TCWR   349865 TCWR 349865 Atel                 t0131./20L8      12/tl7e82 12/L/2032
TCWR   349874 TCWR 349874 Atel                 10/3u2Or8          s/tl1e82 elt/2032
TCWR   349880 TCWR 349880 Atel                 70/3u2Ot8         t2/Ll1982 12/tl2032
TCWR   34988L TCWR 349881 Atel                 LO/3L/201.8        3lLlLssL 3/t/2O3L
TCWR   349887 TCWR 349887 Atel                 L0/3L/2Or8         1/tlts83    1./1./2033
TCWR   349896 TCWR 349896 Atel                 to/3r/2oL8         1./1./1983 7/L/2o33
TCWR   349902 TCWR 349902 Atel                 r0/31./2Or8        ehlresz s/t{2032
TCWR   349912 TCWR 349912 Atel                 70l3u2Ot8          s/rlLe82 e/1.12032
TCWR   349920 TCWR 349920 Atel                 ro/3t/2ot8        12/1./1982 72/r/2O32
TCWR   349927 TCWR 349927 Atel                 t0/3112Or8         3/tlts8L 3/Ll2O3t
TCWR   349931 TCWR 349931 Atel                 70/3Ll2Or8        L2/t/rs82 12/1/2032
TCWR   34993s TCWR 349935 Atel                 LO/3L/2Ot8         8/1.he82 8/Ll2032
TCWR   349939 TCWR 349939 Atel                 L0l3r/2018         s/Llts82 ehl2032
TCWR   349941, TCWR 34994L Atel                r0l3u2oL8         ro/LlL981. ro/1./2031
TCWR   349943 TCWR 349943 Atel                 to/31/2oL8        12/LlL982 12/t/2o32
TCWR   349948 TCWR 349948 Atel                 to/31/2or8        12/1/rs82 12/t/2o32
TCWR   349955 TCWR 349955 Atel                 10/31.12018        shhs82 elL/2O32
INTX   427L25 tNTX 427125    ororr.r,
                               I               72/3r/2027         8/t/te81. 811./203L
INTX   427133 tNTX 427133 lerogr"r,            L2l3t/2026         711.1r976 7/112026
ATGX   834622 ATGX 834622 lvrnxx               sl2/2O2O      Confidential     Confidential
ATGX    76707 ATGX76707 lr.o*,."r,             12/3r/2027         e/ths8o     s/L/2O3O
INTX   173029 tNTX 173029 I trogr.r,           12137/2023         s/tlte73 slL/2023
INTX   390360 rNTX 390360 I erogr"r,           12/3L12024        rtltl1974 r.h/2024
INTX   472L63 rNTX 472163 I erogr.r,           72/3L/2027         6/LlLe77 6/u2027
                               I

ATGX    76699 ATGX 76699     Pro8ress          t2/37/2027         sl1./re8o e/rl2o3o
                           I
ATGX    77016 ATGX 77016 lProgress             12/3r/2027         7   /1./re8] 7/L/2O3O
ATGX   834708 ATGX 834708 lvrnxx               s/2/2021      Confidential     Confidential
ATGX   8347L8 ATGX 834718      lr***           sl2/2O2L      Confidential     Confidential
ATGX   834749 ATGX 834749      lr***           s/2/2021.     Confidential     Confidential
ATGX   834768 ATGX 834768      lr***           s/2/2O2L      Confidential     Confidential
ATGX   834770 ATGX 834770      lr***           s/2/2021.     Confidential     Confidential
ATGX    47L92 ATGX47I92 lrrour"r,              12/31./2022       t2/rlte&o    12/Ll2O3O
ATGX     4735r   ATGX 47351    lerogr"r,       12/3712027        tt/tlte$o L1./L/2O3O
INTX     7600 rNTX 7600        I erogr.r,      72/3L12024         tlLlL974 1./Ll2024
INTX     7959    tNTX 7959     I erogr"r,      MTM               L0lLlL972 70/t/2O22
INTX    95100    tNTX 95100    I erogr"r,      8/r/2018           5/1/rsss s/Ll2O4s
INTX    95122    rNTX 95122    I erogr"r,      8lu2018            s/tltees  s/1./2O4s
INTX    95L27    tNTX 95127    lerogr"r,       8/u2oL8            s/1./lees 517/2o4s
   Case 20-11139-1-rel      Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49          Desc Main
                                 Document    Page 242 of 370

INTX    95129 rNTX 95129      Progress      8/t/2018          s/Llr99s     s/1.12O4s
INTX    9515L tNTX 95151      Progress      8/tl2018          s/rlrees s/1./2O4s
INTX    95t7L tNTX 95171      Progress      8/1./2OL8         shltsss shl204s
PMRX     8585 PMRX 8585       Progress      4/30/z}te        12h/L98L t2hl2O3t
PMRX     8807 PMRX 8807       Progress      4/30/z}rs        t2/Llr98r L2/L/2O3L
PMRX     8812 PMRX 8812       Progress      4/30/201s        72/Llts8r L2/L/2O3L
PMRX    74088 PMRX 74088      Progress      4/30/2}te        1,0/Lhs74 lo/1./2024
PMRX   t52274 PMRX L52274 Progress          4/30l2O1e         1./rlrego utl2030
PMRX   Ls2290 PMRX L5229O Progress          4/30l2OL9        tzhlte7e      12/1./2O2e
PMRX   L52441, PMRX L52447 Progress         4/30lzOLs         1./1./L98O 1.11./2030
PMRX   L52447 PMRX T52447 Progress          4/30/2OLe         1.17/Le8O 7/Ll2O3O
FURX   8s0016 FURX 850016    Trinity        6/30/2O2O         7/LlLse6 7/1./2046
FURX   850647 FURX 850647    Trinity        6/30/2O2O        1.1/L/1996 1.1./1./2046
FURX   850971 FURX 850971      rinity       6/30/2020         3/tlree6 3/L/2046
INTX    74178 tNTX 74178      Progress      12131/2024       lutlte74   tLlLl2024
INTX    50024 rNTX 50024      Progress      L2/3t/2024        3/1./Ls80 7/L/L974
FURX   850009 FURX 85OOO9                   6l30l2O2o         7/Lltse6 7/u2046
FURX   8s0213 FURX 850213                   6/30l2O2O         slLhee6 8/1.12046
DSRC     5000 DSRC 5000      Andersons      s/30/2022         711./1982 7/1./2032
DSRC     5003 DSRC 5003      Andersons      s/30/2022         7/r/te8L 7/L/2O3r
DSRC     5004 DSRC 5004      Andersons      s/30/2022         7/rlLegL 7/L/2O31
DSRC     5005 DSRC 5005      Andersons      e/30/2022         7/1_/L981.   7/u213t
DSRC     5006 DSRC 5006      Andersons      e/30/2022         7luts8t 7 /t/2O31
DSRC     5007 DSRC 5007      Andersons      e/30/2022        LO/rl198L rolr/2031.
DSRC     s008   DSRC 5008     Andersons     e/3o/2022         7 /r/1981. 7/L/2O3r

DSRC     5009 DSRC 5009       Andersons     s/30/2022         7/1./Le8L 7/r/2O37
DSRC     5010 DSRC 5010       Andersons     s/30/2022         7/tlLs8t 7lL/2o3t
DSRC     5011 DSRC 5011       Andersons     e/30/2022         711./Ls8r 7h/2O31.
DSRC     50L2   DSRC 5012     Andersons     el30/2022         7lt/r981 7 /L/2O37
DSRC     5013 DSRC 5013       Andersons     e/30/2022         7   /1./798L 7/L/203r
DSRC     5014 DSRC 5014       Andersons      e/3o12022        7/7/7e8t 7/L/2o3t
DSRC     5015 DSRC 5015       Andersons      s/30/2022        7/t/Ls8r 7/t/2O3L
DSRC     5017 DSRC 5017       Andersons      s/30/2022        711./Ls8r 7/1./2O3t
DSRC     5018 DSRC 5018       Andersons      e/30/2022        7lLlrsgL 7/t/2O31.
DSRC     502L   DSRC 5021     Andersons      el30/2022        7lthsgL 7/L/2O37
DSRC     5023 DSRC 5023       Andersons      e/3o12022        7 ltlLsgL 7 /L/2O37

DSRC     5025 DSRC 5025       Andersons      e/3o12022        7/1.hs81. 7lt/2O3L
DSRC     5026 DSRC 5026       Andersons      9/30/2022        7hlrs81. 7lu2O3L
DSRC     5027 DSRC 5027       Andersons      sl30/2022        7/1./1981. 7 /L/2O3r
DSRC     5028 DSRC 5028       Andersons      e/30/2022        711./7e8r    7   /r/203r
DSRC     5030 DSRC 5030       Andersons      e/30/2022        7/7/te8l 7/L/2o37
DSRC     5032 DSRC 5032        ndersons      e/30/2022        7/t/te8t 7/t/2o3L
DSRC     5034 DSRC 5034        ndersons      s/30/2022        7/LlLs8t 7/1.12031.
DSRC     s036   DSRC 5036                    sl30/2022        7ltlre81. 7/L/2O31.
DSRC     5037 DSRC 5037       Andersons      9/30/2022        7 /1./r98L 7 /r/2O37

DSRC     5039 DSRC 5039       Andersons      e/30/2022        7/t/Ls8L 7/L/2o3L
DSRC     5040 DSRC 5040       Andersons      s/30/2022        7/tlLs81. 7/L/2O3L
  Case 20-11139-1-rel       Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49            Desc Main
                                 Document    Page 243 of 370

DSRC    5041 DSRC 5041        Andersons      e/30/2022        7/1./Le8L 7lL/203r
DSRC    5042 DSRC 5042        Andersons      s/30/2022        7/1./t98L 7 /1./203r
DSRC    5043 DSRC 5043        Andersons      e/30/2022       to/7/1981. ro/r/2031.
DSRC    5044    DSRC 5044     Andersons      s/30/2022        7lLlrsgt 7/r/2O3L
DSRC    5046 DSRC 5046        Andersons      s/30/2022       LO/1.h98L LO/L/203L
DSRC    5047 DSRC 5047        Andersons      s/30/2022        7/!/Ls8L       711.12031.
DSRC    5048 DSRC 5048         ndersons      s/30/2022        7/1./1981.     7   /r/2031
DSRC    5049 DSRC 5049         ndersons      s/30/2022        7lrhs8t 7h/2O3L
DSRC    5050 DSRC 5050        Andersons      e/3o/2022        7   /t/rs81.   7/1./2031.
DSRC    5051 DSRC 5051        Andersons      s/30/2022        7/L/1981 7/u2o3t
DSRC    5052 DSRC 5052        Andersons      e/30/2022        7/L/7s8L 7/tl2031.
DSRC    5054 DSRC 5054        Andersons      e/30/2022        7hlLe8L 7 /1./203r
DSRC    50s5 DSRC 5055        Andersons      s/30/2022       10/1.hs87 ro/tl2o3r
DSRC    5056 DSRC 5056        Andersons      s/30/2022        7   /tlre8t 7/r/2O31.
DSRC    5057 DSRC 5057        Andersons      el30/2022        7/L/1e8L 7 /1.12031
DSRC    5059 DSRC 5059        Andersons      s/3o12022        7/L/Le8L 7 /t/203L
DSRC    5060 DSRC 5060        Andersons      e/30/2022        7/t/ts8L 7 /r/203r
DSRC    5061 DSRC 5061        Andersons      e/30/2022       to/1.11981. 10/7l2O3r
DSRC    5063 DSRC 5063        Andersons      s/30/2022        7/1./r98r 7/u2o3t
DSRC    5064 DSRC 5064        Andersons      s/30/2022        7/rhs81. 7/1./2031.
DSRC    5065 DSRC 5065        Andersons      s/30/2022        TlLhesL 711./203L
DSRC    5066 DSRC 5066        Andersons      elso/2022        7/1.he8L 7 /r/2O3L
DSRC    5068 DSRC 5068        Andersons      s/30/2022        7 /r/ts8t 7/t/2O3L

DSRC    s069 DSRC s069        Andersons      e/30/2022       10/Ll1981. LOl1.l2O3L
DSRC    507L    DSRC 5071     Andersons      s/30/2022        7/Ll198L 7 /L/203r
DSRC    5073 DSRC 5073        Andersons      s/3o12022        7/t/Ls8L 7 /t/2O3L
DSRC    5503 DSRC 5503        Andersons      e/3012022        7hlLegl 7 /I/2O3O
DSRC    5504 DSRC 5504        Andersons      9/30/2022        7lths$o 7/Ll203O
DSRC    5s05 DSRC 5505        Andersons      s/30/2022        7/1./1e8O 7/L|ZO3O
DSRC    5507 DSRC 5507        Andersons      e/30/2022        7/L/te8o 7lL/203O
DSRC    5512    DSRC 5512     Andersons      s/30/2022        s/1lLs8O e/r/2o3o
DSRC    5520 DSRC 5520        Andersons      e/3012022        eltltego s/1./2030
DSRC    5536 DSRC 5536        Andersons      el30/2022       LO/tlrs$o 10/1./2030
DSRC    5541 DSRC 5541        Andersons      9/30/2022        8/L/1s8O 8ltl2030
DSRC    5542    DSRC 5542      ndersons      s/30/2022        8lLl1e8O 8lrl2O3o
DSRC    5544    DSRC 5544      ndersons      s/30/2022        8/1./Le$O      8/tl2030
DSRC    5545 DSRC 5545        Andersons      s/3012022        8/Llrss} 8hl2030
DSRC    5549 DSRC 5549        Andersons      s/30/2022        s/Ll7s8O e/Ll2o3o
DSRC    5557 DSRC 5557        Andersons      e/30/2022        8/rlts$o 8/1/2030
DSRC    5561 DSRC 5561        Andersons      e/30/2022        s/tlLe8o s/tl2o3o
DSRC    5568 DSRC 5558        Andersons      s/30/2022       ro/rlLs8o to/tl2o3o
DSRC     5571   DSRC 5571     Andersons      el30/2022       LO/Llts$O 10/r/2030
DSRC     5572   DSRC 5572     Andersons      el30/2022        s/Llte$o eh/2030
DSRC    5573 DSRC 5573        Andersons      s/30/2022        slLhss}        8/1./2O3o
DSRC     5576   DSRC 5576     Andersons      s/30/2022        8/rlLe$o 8/rl2030
DSRC    5583 DSRC 5583        Andersons      sl30/2022        8/tlts8o       8/1.12030
DSRC    5587 DSRC 5587        Andersons      e/30/2022        8/1./1s8O      8/tl2030
   Case 20-11139-1-rel       Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49             Desc Main
                                  Document    Page 244 of 370

DSRC     5593 DSRC 5593       Andersons      e/3012022         8/tlte8o 8/1/2030
DSRC     5594 DSRC 5594       Andersons      e/30/2022         8/1./Le8O 8/1/2030
DSRC     5599 DSRC 5599       Andersons      s/30/2022         8/1./Le8O 8/Ll2030
DSRC     8004 DSRC 8004       Andersons      9/30/2022         8/tlLegO 8ltl2030
DSRC     8005 DSRC 8005       Andersons      s/30/2022         8/tlts8o th/2030
DSRC     8006 DSRC 8006       Andersons      s/30/2022         8/tlre8o thl2030
DSRC     8007 DSRC 8007       Andersons      sl30/2022         8/1he8o 8/1/2O3O
DSRC     8008 DSRC 8008       Andersons      e/3o/2022         8/tlts$o 8/Ll203o
DSRC     8009 DSRC 8009       Andersons      e/30/2022         8/1./re$O     8ltl2030
DSRC     8010 DSRC 8010       Andersons      s/30/2022         7/L/ts8O      7/1./2O3O
DSRC     8012 DSRC 8012        Andersons     e/30/2022         7lLlts8} 7/t/213o
DSRC     8013 DSRC 8013        Andersons     s/30/2022         7/1./ts8} 7/t/2O3O
DSRC     80L4 DSRC 8014        Andersons     sl30/2022         s/rlLs8o slLl2O3O
DSRC     801_5 DSRC   8015     Andersons     9/30/2022         6/tlLs$O 6lLl2O3o
DSRC     8016 DSRC 8016        Andersons     e/30/2022         7 /1/rego 7 /t/2O30

DSRC     8017 DSRC 8017        Andersons     e/3012022         7   /tlts8o   7   /1./2O3O
DSRC     8019 DSRC 80L9        Andersons     e/30/2022         6/LlLe80 6/tl2o3o
DSRC     8020 DSRC 8020        Andersons     s/30/2022         7/r/Ls$o 7/1,/2030
DSRC     8022   DSRC 8022      Andersons     s/30/2022         6lrlLs$O 6/1./2030
DSRC     8024   DSRC 8024      Andersons     s/30/2022         7/tlrsso 7 /r/2O30
DSRC     8025 DSRC 8025        Andersons     el30/2022         Tlursso 7h/2O30
DSRC     8026 DSRC 8026        Andersons     e/3012022         7 /t/LegO 7 /1./2O3O

DSRC     8027 DSRC 8027        Andersons     e/30/2022         7/r/Le8O 7/L/203o
DSRC     8028 DSRC 8028        Andersons     e/30/2022         s/1./L98O s/L/2O3O
DSRC     8029 DSRC 8029        Andersons     s/30/2022         slr/1s80 s/tl2030
DSRC     8030 DSRC 8030        Andersons     s/30/2022         7lLltsg0 7/r/2O3O
DSRC     8031 DSRC 8031        Andersons     e/3012022         6/LlLe$O 6ltl2o3o
DSRC     8032 DSRC 8032        Andersons     e/3012022         7/1'he8o 7lLl203O
DSRC     8034 DSRC 8034        Andersons     e/30/2022         s/rlLsgo slt/2030
DSRC     803s DSRC 803s        Andersons     e/30/2022         6/thego 6/1./2030
DSRC     8036 DSRC 8036        Andersons     9/3012022         s/1./ts8o s/tl2o3o
DSRC     8038 DSRC 8038        Andersons     s/30/2022         7/L/r98O 7/u2030
DSRC     8039 DSRC 8039        Andersons     e/30/2022         7/r/rs$o 7lLl203O
DSRC     8040 DSRC 8040        Andersons     e/30/2022         5/uLs8o slr/2030
DSRC     8041 DSRC 8041       lond"rron,     s/30/2022         s/rltsso s/rl2030
DSRC     8042   DSRC 8042     lond"rron,     s/30/2022         7ltlte8o 7/t/2O3O
DSRC     8043 DSRC 8043       lono"rron,     sl30/2022         8/tlLe$O 8/1.12O3O
DSRC     8044   DSRC 8044     lond"rron,     e/3o12022         8/tlLe$O 8/Ll2030
DSRC     8045 DSRC 8045       lono"rron,     e/30/2022         8h/LegO 8/1./2O3O
DSRC     8048 DSRC 8048       lond"rron,     e/30/2022         7lllteg1 7/r/2O3O
INTX     1001 rNTX 1001       lond"rron,     e/30/2022         L/1./Ls8O     ut/2o3o
INTX     1003 INTX 1003       lond"rron,     s/30/2022         tlLlre8o uLl2o3o
INTX     1005 tNTX 1005       lond"r.on.     e/30/2022         s/1./re7s s/rl2o2s
INTX     1006 tNTX 1006       lond"rron,     e/30/2022         8/u1s7s 8/tl2O2s
INTX     1008 tNTX 1008       lond"rron,     e/30/2022         8/Llts7s      8/1.12O2s
INTX     1009 rNTX 1009       lond.rron,     s/30/2022         slLlL975 s/Ll202s
INTX     1010 |NTX 1010       lAndersons     s/3012022        fi.lrlLs7e Lr/t/2029
   Case 20-11139-1-rel       Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49           Desc Main
                                  Document    Page 245 of 370

INTX     rot4   tNTX 1014      Andersons      s/30/2022        8/tl1e7s 8/1./2O2s
INTX     10L5 tNTX 1015        Andersons      9l3Ol2022        e/LlLe7e e/t/2o2e
INTX     1016 tNTX 1016        Andersons      s/30/2022        9lLlL97e e/Ll2O2e
INTX     1019 tNTX 1019        Andersons      s/30/2022        e/1./te81. e/Ll2O3t
INTX     ro20 tNTX 1020        Andersons      s/3012022        tlths7s t/L/2O2e
INTX     ro21, rNTX 1021       Andersons      s/30/2022        4/1./r979
INTX     ro22   INTX 1022      Andersons      e/30/2022        tltltsTs Lhl2O2e
INTX     to23   tNTX 1023      Andersons      el30/2022        3l1.l1e7e 3/Ll2029
INTX     ro24   tNTX 1024      Andersons      s/30/2022        3l7lLe7e 3/L/2O2e
INTX     ro25   tNTX 1025      Andersons      elso/2022        LlL/Ls7s t/Ll2O2e
INTX     1026 tNTX 1026        Andersons      s/30/2022        1.l1.hs7s 1./1./2029
INTX     ro27 tNTX 1027        Andersons      sl30/2022        3/ure7s 3/Ll202s
INTX     1028 rNTX 1028        Andersons      sl30l2022        3/tlts7s 3/r/2O2s
INTX     to29 tNTX 1029        Andersons      9/30/2022        7/tlr97s    711./2O2s
INTX     1032 rNTX 1_032       Andersons      s/30/2022       ro/uLe74 to/tl2024
INTX     1033 tNTX 1033        Andersons      s/30/2022        7/LlLe74 7/1./2024
INTX     1034 tNTX L034        Andersons      s/30/2022        9/LlL974 e/Ll2024
INTX     1042 tNTX 1042        Andersons      s/30/2022       12/ure74 12/L/2024
INTX     1043 tNTX 1043        Andersons      9/30/2022        s/tl1s74 slr/2o24
INTX     1048 tNTX 1048        Andersons      e/30/2022       rclrhs74 LO/tl2024
INTX     1049 tNTX 1049        Andersons      e/30/2022       tolLl7e74 LO/rl2024
INTX     1058 tNTX 1058        Andersons      e/30/2022        e/Llts74 e/L/2O24
INTX     1059 tNTX 1059        Andersons      s/30/2022        9/LlL974 s/Ll2024
INTX     1_061 rNTX   106L     Andersons      s/30/2022        8/1./re74 8/tl2024
INTX     LO62 tNTX 1062        Andersons      s/30/2022        s/ths74 e/tl2024
INTX     5001 tNTX 5001        Andersons      e/30/2022        7/tl1e81 7/L/2O3L
INTX     5016 tNTX 5016        Andersons      e/3012022        7/1./L98r 7/L/2o3L
INTX     5019 rNTX 50L9        Andersons      sl30/2022        TlLlrest 7/L/2o3L
INTX     5020 rNTX 5020        Andersons      el30/2022        7   /Llts8r 7/L/2031.
INTX     5022 tNTX 5022        Andersons      s/30/2022        7   ltltsgt 7/1./2O3L
INTX     5029 tNTX 5029        Andersons      s/30/2022        7lrl1981 7/1./2O3t
INTX     5031 tNTX 5031        Andersons      s/30/2022        7/tl1981. 7/L/2O3L
INTX     s033 tNTX 5033        Andersons      e/30/2022        71L1198t    7/t/2o3L
INTX     5035 rNTX 5035        Andersons      s/30/2022       L0lrlre8t tohl2o3L
INTX     5045 rNTX 5045       lond"rron,      e/3012022       r0hlte8t ro/t/2o3t
INTX     50s3 rNTX 5053       lond"rron,      el30/2022        7/rlre8r 7h/203L
INTX     5058 tNTX 5058       lond"rron,      s/30/2022       10/rlts87    LO/L/2O3L
INTX     5062 tNTX 5062       lond"rron,      s/30/2022       toltltegL LO/t/2O3L
INTX     5067 tNTX 5067       lond"rron,      s/30/2022        7/LlLe8L 7/L/2O3L
INTX     5070 tNTX 5070       lond"rron,      e/30/2022        7hlLs8t     7   /L12O31.
INTX     5072 tNTX 5072       lond"rron,      9l30l2O22        7 /L/rs8r   7/1./2O3L
INTX     5074 tNTX 5074
                              lono"rron,
                                              sl30/2022        7/tltegr 7/r/2O3L
INTX     5500 tNTX 5500       lAndersons      e/30/2022        e/1./1e8O e/Ll2o3o
INTX     5501 tNTX 5501       lond"rron,      s/30/2022        8/1.17e8O 8/Ll2o3O
INTX     5502 tNTX 5502       lond"rron,      s/30/2022        s/LlLe8O e/L/2030
INTX     5508 tNTX 5508       lond"rron,      e/30/2022        7/LlLe80 7/u2O3O
INTX     5510 tNTX 5510       lond"rron,      el30/2022        s/rlre8o e/tl2o3o
   Case 20-11139-1-rel       Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49       Desc Main
                                  Document    Page 246 of 370

INTX     5511 tNTX 5511        Andersons      s/30/2022        s/tlLs8o s/L/2030
INTX     5513 tNTX 5513        Andersons      e/30/2022        e/tlts8o s/t/2o3o
INTX     5514 tNTX 5514        Andersons      s/30/2022        9/Ll1980 ehl2o3o
INTX     5s15 tNTX 5515        Andersons      s/30/2022        s/tlte$o e/1.12O3O
INTX     5516 tNTX 5516        Andersons      e/3012022        e/rhs8o s/Ll2030
INTX     5517 tNTX 5517        Andersons      el30l2022        e/1./Le80 s/Ll2030
INTX     5518 tNTX 5518        Andersons      e/30/2022        e/7/ts8o ehl2o3o
INTX     5519 tNTX 5519        Andersons      e/30/2022        s/Llts$o s/1.12O3O
INTX     5521 tNTX 5521        Andersons      sl30/2022        s/1./7e8o s/L/203O
INTX     5522 rNTX 5522        Andersons      e/30/2022        shlLs8o e/L/2O30
INTX     5523 tNTX 5523        Andersons      e/30/2022        e/the8o s/r/2030
INTX     5524 tNTX 5524        Andersons      9/30/2022        sl1.l1s8O 9/tl2O3O
INTX     5525 rNTX 5525        Andersons      el30/2022        s/tlte8o e/Ll2O3O
INTX     5526 tNTX 5526        Andersons      el30l2022        e/rl1s8o s/1./2030
INTX     5528 tNTX 5528        Andersons      sl30/2022        s/1./LegO   s/tl2030
INTX     5531_ rNTX   5531           ons      e/30/2022        7ltlLe8l 7/t/2O30
INTX     5533 tNTX 5533               ns      s/30/2022       L1./111980 L1./tl2O3O
INTX     5534 tNTX 5534        Andersons      e/30/2022       r0lLlr98o to/tl2030
INTX     5535 rNTX 5535        Andersons      e/3012022       toltl7s8o to/Ll2o3o
INTX     5537 tNTX 5537        Andersons      e/3012022       to/rhe8o 10/L/2O3O
INTX     5538 tNTX 5538        Andersons      s/30/2022       rclursso LO/Ll2O3O
INTX     5539 rNTX 5539        Andersons      e/30/2022       LOIL/te80 tol1./2o3o
INTX     5540 tNTX 5540        Andersons      s/30/2022       t0/t/re8o 10/Ll2O3O
INTX     5543 tNTX 5543        Andersons      9/3012022        8/1./LegO   8/tl2030
INTX     5547 tNTX 5547        Andersons      e/3012022        9lrlts8o slr/2o3o
INTX     5548 tNTX 5548        Andersons      s/30/2022        8/tltsso 8/Ll2O3O
INTX     5550 tNTX 5550        Andersons      s/30/2022        e/Ll1e8O e/1./2030
INTX     5552 tNTX 5552        Andersons      s/30/2022        s/1./1e8O s/Ll2030
INTX     5553 rNTX 5553        Andersons      e/30/2022        s/tlLs8o eltl2o3o
INTX     5554 rNTX 5554        Andersons      e/3012022        s/tlrsso e/1./2O3O
INTX     5556 tNTX 5556        Andersons      s/30/2022        slLhes0 8/1./2030
INTX     5558 tNTX 5558        Andersons      e/30/2022        e/Ll1e8O e/Ll2030
INTX     5559 tNTX 5559        Andersons      sl30l2022        s/1./te8o s/u2o3o
INTX     5560 tNTX 5560        Andersons      el30l2o22        e/7/Le8O elrl2o3o
INTX     5562 tNTX 5562        Andersons      9/30/2022        elLlreso e/Ll2030
INTX     5564 tNTX 5564        Andersons      s/30/2022        elLlte8o s/Ll2030
INTX     5565 rNTX 5565        Andersons      s/30/2022        s/uLs8o     s/tl2030
INTX     5566 rNTX 5566        Andersons      s/30/2022        e/rlLe$o    e/rl2o3o
INTX     5567 rNTX 5567               ns      e/3012022        e/Llre80    e/Ll2O3O
INTX     5569 rNTX 5569               ns      e/30/2022       to/Lltego    to/Ll2o3o
INTX     5570 tNTX 5570             rsons     e/30/2022        s/1./LegO s/1.12030
INTX      5574 tNTX 5574       Andersons      e/30/2022        8/rlLesO 8/1./2O3O
INTX     5575 tNTX 5575        Andersons      e/3o12022        8/Ll1s8O 8/tl2030
INTX      5577 tNTX 5577       Andersons      s/30/2022        8lLlteB} 8/Ll2030
INTX     5578 rNTX 5578        Andersons      e/30/2022        8/rl7s80 8/t/2030
INTX     5580 tNTX 5580        Andersons      s/30/2022        8h/Le8O 8/1./2O3o
INTX     5588 tNTX 5588        Andersons      e/30/2022        sltlteso 8/L/2030
   Case 20-11139-1-rel        Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49       Desc Main
                                   Document    Page 247 of 370

INTX     5590 tNTX 5590         Andersons      9l30/2022        8/Llr98O 8/L/2030
INTX     5591 tNTX 5591         Andersons      e/30/2022        8/1./Ls$O 8/1./2030
INTX     5596 rNTX 5596         Andersons      e/30/2022        8/tlte8o th/2o3o
INTX     5598 rNTX 5598          ndersons      e/3012022        8/rlts8o 8/tl2O3O
INTX     7530 tNTX 7530                 ns     9/30/2022        7   /1.1t98O 7/L/2o30
INTX     7532 rNTX 7532                 ns     e/3012022        8/tlte82 8/L/2032
INTX     7533 tNTX 7533                 ns     s/30/2022        7/1.119827lt/2032
INTX     7534 tNTX 7534         Anderso ns     sl30/2022        2/tlLs7s 2/u202s
INTX     7538 rNTX 7538         Anderso ns     s/30/2022        4/L/ts7e 4/1./2029
INTX     754L tNTX 7541         Anderso ns     el30/2022        s/1./Ls78 shl2028
INTX     7547 tNTX 7547         Anderso ns     el30/2022        e/rl1e78 s/L/2O28
INTX     7548   tNTX 7548       Anderso ns     e/30/2022        s/tlre78 slt/2028
INTX     7549   tNTX 7549       Andersons      e/30/2022        s/Ll1e78 9/tl2028
INTX     7551   tNTX 7551       Andersons      s/3o/2022       ro/LlLs8o to/L/2o3o
INTX     7552   tNTX 7552       Andersons      e/30/2022        7lLlts82 7/1.12032
INTX     7553 tNTX 7553         Andersons      e/30/2022        e/1./1s78 s/L/2028
INTX     7555 rNTX 7555         Andersons      sl30/2022        8/tl1s82 8/L/2032
INTX     7557 tNTX 7557         Andersons      e/30/2022        7 /L/r982 7h/2O32

INTX     7558 tNTX 7558         Andersons      e/30/2022       L2/1/197s t2/L/2O2s
INTX     8001 tNTX 800L         Andersons      s/3012022        8/LlLs8O 8/rl2O3O
INTX     8002 rNTX 8002         Andersons      s/30/2022        8/tlLs8O 8/Ll2O3O
INTX     8003 tNTX 8003         Andersons      e/30/2022        8/1./re8,O 8/L/2o30
INTX     8011 tNTX 8011         Andersons      sl30/2022        7/t/te8o 7lL/2O30
INTX     8018 rNTX 8018         Andersons      9/30/2022        7/L/1s8O 7 /1./2030
INTX     8021 tNTX 8021         Andersons      e/30/2022        611./Ls8O6/tl2O3o
INTX     8023 tNTX 8023         Andersons      s/30/2022        6ltlts8o 6/u2O3O
INTX     8033 tNTX 8033         Andersons      e/3012022        7lrltego 7/L/2O30
INTX     8037 rNTX 8037         Andersons      e/30/2022        7ltlrsgo 7h/2O30
INTX     8047 tNTX 8047         Andersons      s/30/2022        7/LlL98O 7 /1/2030
INTX    15043 tNTX 15043        Andersons      el30/2022        6/rlLe7s 6/tl2O2s
INTX    L5053 tNTX 15053        Andersons      e/30/2022        s/tlLs8o e/tl2030
INTX    1s063 tNTX 15063        Andersons      e/3012022        6/rlts7s 6/L/2O2s
INTX    1.5177 rNTX L5177       Andersons      e/3o12022       LO/Ll1978 L0/1./2028
INTX    1_5180 rNTX r.51_80     Andersons      s/30/2022        6/LlLs78 6/1./2028
INTX    15196 rNTX 151_96       Andersons      sl30/2022        6/L/Ls7s 6/1./2O2s
INTX    15239 tNTX 15239        Andersons      e/30/2022        6/L/L977 6/L/2027
INTX    15240 tNTX 15240         ndersons      e/30/2022        8/rl1e78 8/L/2O28
INTX    35001 tNTX 35001                ns     s/3012022        s/7/1e7e sltl202e
INTX    35002 tNTX 35002        Andersons      s/30/2022        s/Ll7e7s s/r/2o2s
INTX    35003 tNTX 35003        Andersons      s/30/2022        5/Llts7e s/rl2o2s
INTX    35004 tNTX 35004        Andersons      el30/2022        sltlts7s s/L/2O2e
INTX    35005 tNTX 35005        Andersons      e/30/2022        shlte7e s/L/2O2e
INTX    3s006 tNTX 35006        Andersons      e/30/2022        s/tlte7e slt/2o2s
INTX    35007 rNTX 35007        Andersons      e/30/2022        s/LlLe7s s/1./202e
INTX    35008 tNTX 35008        Andersons      sl30/2022        2/L/Le7e 2/u2o2s
INTX    3s009 tNTX 35009        Andersons      sl30/2022        sltlts7s    s/Ll2O2e
INTX    35010 rNTX 35010        Andersons      9/30/2022        s/tlr979    slL/2O2e
   Case 20-11139-1-rel      Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49        Desc Main
                                 Document    Page 248 of 370

INTX    350r.2 rNTX 35012     Andersons      e/30/2022        sl1.he7e s/L/2O2e
INTX    35013 rNTX 35013      Andersons      s/30/2022        sl1./1979 s/1./2O2e
INTX    35014 tNTX 35014      Andersons      s/30/2022        s/the7e s/1./2O2e
INTX    35015 tNTX 35015      Andersons      9/30/2022        5ltlLs7e s/t/2o2e
INTX    35016 rNTX 35016      Andersons      s/30/2022        s/1.11979 5/tl202s
INTX    35017 tNTX 35017      Andersons      s/30/2022        s/uLs7s s/1./202s
INTX    35018 rNTX 3501_8     Andersons      el30/2022        s/L{1979 5lLl2o2s
INTX    35019 rNTX 35019      Andersons      e/30/2022        s/Llre7e s/Ll202e
INTX    3s020 tNTX 35020      Andersons      e/30/2022        s/t/re7e s/1./202e
INTX    35022 rNTX 35022      Andersons      s/30/2022        s/1./1979 s/tl2o2e
INTX    35023 rNTX 35023      Andersons      e/30/2022        s/rlts7e s/t/2o2s
INTX    3s024 tNTX 35024      Andersons      e/30/2022        s/tl1e7s    s/1./2O2s
INTX    3502s rNTX 35025      Andersons      e/30/2022        s/1.1r979shl202s
INTX    35026 tNTX 35026      Andersons      e/30/2022        sltlLs7s s/Ll202s
INTX    3so27 tNTX 35027      Andersons      e/30/2022        s/LlrsTs s/Ll202e
INTX    3s029 rNTX 35029      Andersons      e/30/2022        slLlr97e s/tl2o2s
INTX    35030 tNTX 35030      Andersons      s/30/2022        shhsTe s/r/2o2e
INTX    3s031 rNTX 35031      Andersons      s/30/2022        s/the7e     s/1./2O2e
INTX    35032 rNTX 35032      Andersons      e/30/2022        s/1./1979 s/rl2o2s
INTX    35033 tNTX 35033      Andersons      e/30/2022        s/7/Ls7s shl2o2s
INTX    3s034 tNTX 35034      Andersons      e/30/2022        s/Llte7s s/Ll202s
INTX    3503s rNTX 35035      Andersons      s/30/2022        5/tl1s7e 5/tl2O2e
INTX    35036 rNTX 35036      Andersons      9/30/2022        s/tlre7e s/t/2o2e
INTX    3s037 tNTX 35037      Andersons      s/30/2022        shheTe      s/1./2O2e
INTX    3s038 rNTX 35038      Andersons      s/30/2022        s/1./1979 s/rl2o2s
INTX    35039 tNTX 35039      Andersons      e/30/2022        s/rlLe7e s/u2o2e
INTX    35040 tNTX 35040      Andersons      9/30/2022        shlLs7e s/Ll202s
INTX    35041 tNTX 35041      Andersons      e/30/2022        s/LlLsTs s/1./202s
INTX    35042 rNTX 35042      Andersons      e/30/2022        s/Llr979 slLl2O2e
INTX    35043 rNTX 35043      Andersons      e/30/2022        sltlte7e s/t/2o2e
INTX    35044 tNTX 35044      Andersons      e/30/2022        s/rlre7e s/t/2o2e
INTX    35045 INTX 35045      Andersons      s/30/2022        s/rlLs7e shl2o2e
INTX    3s045 tNTX 35046                     s/30/2022        s/7/Ls7e 5/1,/2029
                             lono"rron,
INTX    35047 tNTX 35047     lAndersons      s/30/2022        s/LlLeTs s/Ll202e
INTX    35048 rNTX 35048     lono"rron,      s/30/2022        s/LlteTs s/L/2O2e
INTX    35049 tNTX 35049     lond"rron,      el30/2022        slLl1979 slrl2o2e
INTX    35050 rNTX 35050     lond"rron,      el30/2022        s/u1e7e 5/r/2o2s
INTX    35051 rNTX 35051     lono"rron.      s/30/2022        s/1./te7e s/rl2o2s
INTX    35052 rNTX 35052     lond"rron,      s/30/2022        s/uLs7e s/u2o2s
INTX    35053 rNTX 35053     lond"rron,      s/30/2022        s/ure7e s/Ll2O2s
INTX    35054 tNTX 35054     lond"rron,      s/30/2022        s/Ll1s7s s/L/202e
INTX    35055 rNTX 35055     lond"rron,      e/30/2022        sltlte7e s/t/2o2e
INTX    35056 tNTX 35056     lond"rron,      e/30/2022        s/tlte7e    s/1./2O2s
INTX    35057 tNTX 35057     lond"rron,      e/30/2022        s/r/ts7e    s/1./2O2e
INTX    3s0s8 rNTX 35058     lond"rron,      s/30/2022        s/1.he7e 5/tl202s
INTX    35059 tNTX 35059     lond"rron,      9/30/2022        s/LlLs7s s/tl202e
INTX    3s060 tNTX 35060     lond"rron,      e/3o12022        s/1,/re7s slLl202e
   Case 20-11139-1-rel       Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49        Desc Main
                                  Document    Page 249 of 370

INTX    35061 rNTX 35061      Andersons      s/30/2022         s/Ll197e s/Ll2O2e
INTX    35062 tNTX 35062      Andersons      9/30/2022         s/r/ts7e s/t/202e
INTX    3s063 rNTX 35063      Andersons      s/30/2022         s/tlLe7e s/L/202e
INTX    35064 rNTX 35064      Andersons      e/30/2022         s/1.he7e slLl2029
INTX    35065 tNTX 35065      Andersons      e/30/2022         s/1./Le7e sh/2o2e
INTX    3s066 rNTX 35066      Andersons      e/30/2022         s/ute7e s/1.1202e
INTX    35067 tNTX 35067      Andersons      s/30/2022         sltlLs79 s/t/2o2e
INTX    3s068 tNTX 35068      Andersons      el30/2022         5/Llre7s 5/1./2O2e
INTX    35069 rNTX 35069      Andersons      9/3012022         s/Lhs7s s/tl2o2s
INTX    35070 tNTX 35070      Andersons      e/30/2022         s/Lhe7s s/1.12O2e
INTX    3507L rNTX 35071      Andersons      e/30/2022         slthsTs 5/tl2O2e
INTX    35072 rNTX 35072      Andersons      9/30/2022         s/tlts7e s/t/202e
INTX    35073 tNTX 35073      Andersons      e/30/2022         s/1./1s7e s/Ll202e
INTX    35074 rNTX 35074      Andersons      s/3012022         s/rlLs7e 5lt/212s
INTX    35075 rNTX 35075      Andersons      9/30/2022         s/tlLs7e s/t/2o2e
INTX    35076 tNTX 35076      Andersons      e/30/2022         s/1./L979 s/1./2O2s
INTX    35077 rNTX 35077      Andersons      s/30/2022         s/rlteTs shl2o2s
INTX    35078 tNTX 35078      Andersons      s/30/2022         s/LltsTs s/1./2o2e
INTX    3s080 tNTX 35080      Andersons      e/30/2022         sl1./1979 s/1./2O2e
INTX    3s081 rNTX 35081      Andersons      s/30/2022         slLl7s7e s/tl202e
INTX    35082 tNTX 35082      Andersons      e/30/2022         s/tlts7e s/L/202e
INTX    35083 tNTX 35083      Andersons      s/30/2022         s/1./L979 slL/2O2e
INTX    35084 rNTX 35084      Andersons      s/30/2022         s/rlLe7e    slrl2o2e
INTX    35085 rNTX 35085      Andersons      9/30/2022         shlLs7e     s/t/2o2s
INTX    35086 rNTX 35086      Andersons      el30/2022         s/Lhe7e     s/1.12O2e
INTX    3s088 tNTX 35088      Andersons      sl30/2022         s/Llr979    s/1.12O2e
INTX    3s089 rNTX 35089      Andersons      s/30/2022         s/Llte7e    s/7/202e
INTX    35090 rNTX 35090      Andersons      e/30/2022         slLlrs7e    s/L/202e
INTX    35091 tNTX 35091      Andersons      s/3012022         slLlts7e    s/tl202e
INTX    3s092 tNTX 35092      Andersons      e/30/2022         s/1./1979 s/L/202e
INTX    3s093 tNTX 35093      Andersons      s/30/2022         s/uLs7e 5/r/2O2e
INTX   720034 rNTX 120034     Andersons      s/30/2022         rltlLe80 u7/2O3o
INTX   120057 rNTX 120057     Andersons      9/30/2022         rlLlts8o r/rl2o3o
INTX   120066 tNTX 120066     Andersons      e/30/2022         1,/Llrs81 tltl2o3o
INTX   120098 tNTX 120098     Andersons      sl30/2022         LlL/rs8,Otltl2o3o
INTX   t20321 tNTX 120321     Andersons      s/30/2022         LlL/ts$O tltl2030
INTX   120324 tNTX 120324     Andersons      e/3012022         LlL/rs8,O 1./Ll2030
INTX   120328 tNTX 120328     Andersons      e/30/2022         1.11./1e8O LlLl2O3O
INTX   120330 tNTX 120330     Andersons      e/3012022         1./1./L98O LlL/2O3O
INTX   12033L tNTX 120331     Andersons      e/30/2022         1./r/LegO   1.11./2O3O
INTX   120335 tNTX L20335     Andersons      s/30/2022         1./1.lLe$O 1./1./2O3O
INTX   720349 tNTX 120349     Andersons      s/30/2022         7/Llre$O u7/2o3o
INTX   720352 rNTX 120352     Andersons      s/30/2022         LlL/re$O rlU2o3o
INTX   L20354 INTX 120354     Andersons      s/30/2022         tltlts8o tlLl2030
INTX   1"20359 tNTX 120359    Andersons      e/30/2022         r/L/1s8O LlLl2030
INTX   120360 rNTX 120360     Andersons      s/30/2022         rlrl1s8o LlLl2O3O
KBSR     5002 KBSR 5002       Andersons      e/30/2022         7ltlLs8L 7h/203r
   Case 20-11139-1-rel        Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49        Desc Main
                                   Document    Page 250 of 370

KBSR     5024   KBSR 5024       Andersons      e/30/2022        711.1L981. 7 /1./2031.
KBSR     5509 KBSR 5509         Andersons      e/3012022        7/r/1.s80 7 /t/2O3O
KBSR     5532 KBSR 5532         Andersons      e/3012022        7/tlts8o 7/t/2O3O
KBSR     5546 KBSR 5546         Andersons      s/30/2022        8/ths80 8/1./2O3o
KBSR     5551 KBSR 5551         Andersons      e/30/2022        s/1./rs$o s/1./2O3O
KBSR     5579 KBSR 5579         Andersons      9/30/2022        8/rlrs8o 8/u2o3o
KBSR     5584 KBSR 5584         Andersons      e/3012022        8/1./1s8O 8/Ll2O3O
KBSR     5592 KBSR 5592         Andersons      s/30/2022        8/ths80 8/L/2O3O
KBSR     5595 KBSR 5595         Andersons      s/30/2022        8/tltego 8lL/2o3o
KBSR     5597 KBSR 5597         Andersons      e/3012022        8/1.hego 811./2030
KBSR     7537 KBSR 7537         Andersons      s/30/2022        9/tlts82 eh/2032
KBSR     7543   KBSR 7543       Andersons      s/3012022        L/1./te84 L/r/2034
INTX   74225I   tNTX 742251     Progress       t2/31./2024     L1./L{1974 1.1./1./2024
INTX     3407 INTX 3407         Progress       12/3t/2027      L2/Ll7980 12/L/2030
INTX   349763 tNTX 349763       Residco        ro/31./2018      s/tlLs82 s/tl2032
INTX   349650 tNTX 349650       Residco        ro/31./201.8    r2lyL982 12/L/2032
INTX   349885 rNTX 349885       Residco        to/31/2018      L2/rl1982 12/r/2o32
INTX   349572   tNTX 349572     Residco        10/31./2018      s/t/rs8t s/1-/2O3L
INTX   34962L   tNTX 349621     Residco        to/31./2018      4/1./1981. 4/Ll2031.
INTX   349952   rNTX 349952     Residco        tol3t/2oL8       slrhssz s/L/2032
INTX   349732   tNTX 349732     Residco        10/31/2OL8       utlte82 uL/2o32
INTX   349L20   rNTX 349120     Residco        10131/2OL8       7/1.he7e 7lL/2O29
INTX   349592   rNTX 349592     Residco        10/3u2OL8        317/7e8L 3/tl203r
INTX   349672   tNTX 349672     Residco        1,0/31.12OL8    t2/tlts82   12/1.12032
INTX   349792   tNTX 349792     Residco        r0/3Ll2Ot8       elLlLe82 e/1./2032
INTX   349929   tNTX 349929     Residco        LO/3L/2018       1./1.1L983 1./1./2033
INTX   349714   tNTX 349714     Residco        L0/3L/2018       rlLlLes3 tltl2033
INTX   349t19   tNTX 349119     Residco        L0/3r/2Ot8       6/L/Ls7s 6/tl2o2s
INTX   349616 tNTX 349616       Residco        10131./2Or8      s/t/Le8L s/1./2O3t
INTX   349801 tNTX 349801       Residco        ro/3r/2018       s/1./rs82 s/1./2032
INTX   349503 rNTX 349503       Residco        ro/3t/2078       3/1./rs81 3/rl2037
INTX   349510 rNTX 3495L0       Residco        ro/31/2018       3/rhe8L 3lL/2O3r
INTX   349589 tNTX 349589       Residco        ro/3r/2oL8       3/rlte8L 3/L/2031
INTX   349677 tNTX 349677       Residco        10/3r/2OL8       3/tlte8L 3/tl2031.
INTX   349661 tNTX 349661       Residco        ro/3tl2oL8       e/tl1e82 e/r/2032
INTX   349Lr3 tNTX 349113       Residco        to/3tl2oL8       tlLltegL t/rl2o3L
INTX   349803 tNTX 349803       Residco        r0l31,l2Ot8     Lzhl1e82 12/rl2032
INTX   349810 tNTX 349810       Residco        r0l3L/2Or8       elLlLe82 e/t/2032
INTX   349LtL tNTX 349111       Residco        L0l3L/2Or8       r/r/Ls81. r/t/2031.
INTX   349930 tNTX 349930       Residco        L0l3L/2Or8       r/1./t982 1./1.12032
INTX   349769 rNTX 349769       Residco        t0l3L/2Or8       u1./rs83 1./Ll2033
INTX   349897 tNTX 349897       Residco        tol3r/2078       u1./7e82 LlL/2O32
INTX   349527 rNTX 349527       Residco        to/3r/2ot8       4/1/regL 4ltl2037
INTX   349743 INTX 349743       Residco        ro/31/2oL8       Lhlre82 t/rl2032
INTX   349562 tNTX 349562       Residco        10/31./2OL8      4/7/tsgL 4/t/2O3L
INTX   349863 tNTX 349863       Residco        ro/3u2oL8        e/1./Ls82 e/1./2032
INTX   34976r tNTX 349761_      Residco        to/31./2Ot8      e/LlLe82 sh/2o32
   Case 20-11139-1-rel        Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49       Desc Main
                                   Document    Page 251 of 370

INTX   349739 tNTX 349739       Residco        ro/3L/201.8     LO/Lhs81. LO/t/2031
INTX   349905 tNTX 349905       Residco        ro/3L/201,8      9/1./1982 9/1./2032
INTX   349561 rNTX 349561       Residco        to/3L/2OL8       4lrl1981. 4/1./2031.
INTX   349509 tNTX 349509       Residco        to/3L/20L8       3hlte8t 3/t/2O3r
INTX   349565 rNTX 349565       Residco        ro/3L/2018       sl1.he8r s/L/2031.
INTX   349L30 tNTX 349130       Residco        ro/3L/2OL8       e/1/te8o e/Ll2O3O
INTX   349516 rNTX 349516       Residco        ro/3t/2018       3ltlLegt 3/L/203r
INTX   349876 tNTX 349876       Residco        10/3L/2Or8      ro/rhs8t ro/tl2031
INTX   349537 rNTX 349537       Residco        to/3L/2OL8       4/1.hs81. 4/L/2031.
INTX   349126 rNTX 349126       Residco        ro/3L/2018       s/rlLe$o s/Ll2O3O
INTX   349533 tNTX 349533       Residco        to/3L/2018       4/tlLsgt 4/L/2O3t
INTX   349538 tNTX 349538       Residco        10/3L/2078       4/1./L98L 4/1./2031.
INTX   349728 rNTX 349728       Residco        10/3L/2OL8       s/r/L982 s/Ll2032
INTX   34954L tNTX 349541       Residco        10/3L/2OL8       4h/Ls8L 4/Ll2031
INTX   349724 tNTX 349724       Residco        LO/3L/2OL8      12/1./L982 1.2/1./2032
INTX   349r32   rNTX 349132     Residco        ro/3L/2OL8       s/tlre8o s/r/203o
INTX   349753 tNTX 349753       Residco        ro/3t/2or8       s/tlte82 sh/2032
INTX   349813 tNTX 349813       Residco        LO/3L/2OL8       s/1lre82 el1./2032
INTX   349523 rNTX 349523       Residco        ro/3L/2OL8       4h/re8L 4/rl2O3t
INTX   349101 tNTX 3491_01      Residco        ro/3L/2OL8       8/Llrs$o 8/tl2030
INTX   349953 tNTX 349953       Residco        10/3L/2OL8      12/1./1982 L2/1./2032
INTX   349716 rNTX 349L16       Residco        ro/3L/2OL8       7/Llre7s 7/L/2O2e
INTX   349134 tNTX 3491_34      Residco        10/3L/2018       7/Llre7e 7/t/2j2s
INTX   349596 tNTX 349596       Residco        to/3L/2Or8       3/Lhe81. 3/Ll2031.
INTX   349903 rNTX 349903       Residco        10/3L/2018      1211./L982 72/u2032
INTX   3499L4 rNTX 349914       Residco        lOl3t/2018      t2/t/Ls82 t2/r/2032
INTX   349844 tNTX 349844       Residco        10/31./2Or8     L2/tlLs82 12hl2032
INTX   349764 tNTX 349764       Residco        ro/3r/2or8       311./Ls$O 3/L/2O3O
INTX   349839 rNTX 349839       Residco        ro/31/2018       1/1.he82 1./t/2032
INTX   349109 rNTX 349109       Residco        ro/3t/2018      70/r/Le8o to/Ll2030
INTX   349924 tNTX 349924       Residco        to/3r/2or8       s/rlLs82 sh/2032
INTX   349L27 tNTX 349127       Residco        10/31./2Or8      s/tltego s/t/2030
INTX   349133 tNTX 349133       Residco        70/37/2078       e/tlLesL e/tl2031.
INTX   349635 tNTX 349635       Residco        to/3t/2018       4/1.1r98L 4/1.12031.
INTX   349622 tNTX 349622       Residco        to/3r/2078       s/1.11981.   s/Ll203L
INTX   349733 tNTX 349733       Residco        ro/31./2078     12/7/1982 L211./2032
INTX   34981,4 rNTX 349814      Residco        to/37/2018       s/Ll7e82 e/Ll2032
INTX   3491_03 rNTX 349103      Residco        to/3t/2018       th/7e8o 8/rl2O3O
INTX   349Lr2   rNTX 349112     Residco        L0/3L/2OL8       uLlLe8r 1/Ll2037
INTX   349r74   rNTX 349114     Residco        L0/3L/2OL8       8/LlLe7e 8/Ll2O2s
INTX   349818 rNTX 349818       Residco        t0/3L/2OL8       eltlLe82 s/Ll2032
INTX   349799   tNTX 349799     Residco        t0/3L/2Ot8       2/tlLs83 2/tl2033
INTX   349634   tNTX 349634     Residco        L0/31./2Or8      4/r/Lsgr 4/1./203t
INTX   349770   tNTX 349770     Residco        LO/3t/2018       Llt/Ls83 rhl2033
INTX   349904   tNTX 349904     Residco        LO/3r/2Or8       s/1./rs82 s/1./2032
INTX   3491,r5 rNTX 349115      Residco        LO/3t/2018       8/tlLe7e 8/t/202s
INTX   349534 tNTX 349s34       Residco        LO/3u2Or8        4/t/Legt 4/tl203L
   Case 20-11139-1-rel        Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49             Desc Main
                                   Document    Page 252 of 370

INTX   349891 INTX 349891       Residco        LO/31/2Ot8       elLl1e82 s/Ll2032
INTX   349915 rNTX 349915       Residco        LO/3r1201.8     r2lLl1s82 12lLl2032
INTX   349559 rNTX 349559       Residco        LO/31./2018      4/Llts8L 411,/2037
INTX   349630 tNTX 349630       Residco        LO/3r/2Ot8       slLltegt s/L/2037
INTX   349648 rNTX 349648       Residco        to/31./201.8     e/rhe82 elLl2032
INTX   349658 rNTX 349658       Residco        LOl3t/2018       ehhe82    e/L/2O32
INTX   349692 rNTX 349692       Residco        LO/31./2078      s/1./1e82 e/1./2032
INTX   349759 tNTX 349759       Residco        LOl3t/2018       3/rl7e8t 3/tl2O3L
TCWR   349797 TCWR 349797       Residco        LO/3r/2018       s/tl1s82 s/r/2032
TCWR   349820 TCWR 349820 Residco              LO/3t/2078      L0/1./198r 1O/1./2031.
TCWR   349837 TCWR 349837       Residco        LO/3r/2018       3hlLegL 3/tl2O3r
TCWR   349838 TCWR 349838       Residco        LO/31./20L8      e/tlLs82 e/tl2032
TCWR   349846 TCWR 349846 Residco              to/3r/20L8       s/1.1L978 s/1./2028
INTX   3491O7 tNTX 349107       Residco        LOl3r/2018       8hlrs$o 8/tl2030
INTX   349108 rNTX 349108       Residco        tol31./2OL8      8/1/te81 8ltl2030
INTX   349594 tNTX 349594       Residco        ro/31/2oL8       3/1./1981. 3/1./2031.
INTX   349602 tNTX 349602       Residco        LO/31/2OL8       3/Lltegt 3/7/2o3t
INTX   3496L9 rNTX 349619       Residco        rol31./2Or8      slLlre8L s/Ll2O3L
INTX   349637 tNTX 349637       Residco        LO/3r/2Ot8       s/1./1981. sl1./2O3L
INTX   349640 tNTX 349640       Residco        to/3r/2oL8       s/Llt98r s/L/2o3L
INTX   349894 tNTX 349894       Residco        10131./2OL8      e/Ll1e82 e/Ll2032
INTX   349I23   rNTX 349123     Residco        10/3u2Ot8        1.11./1980 Ll1./2030
INTX   349582 tNTX 349582       Residco        to/37/2Ot8       s/tlLs8t s/rl2o3r
INTX   349890 tNTX 349890       Residco        10/31./2Or8      s/rlLs82 s/rl2032
INTX    74794 INTX 74794        RESIDCO        #N/A             7   /1./L977   7   /1./2027
BGCX     7006 BGCX 7006         RESIDCO        #N/A             u1./L977 u1./2027
BGCX     10L5 BGCX 1016         RESIDCO        #N/A             1/tlLe77 rhl2027
INTX   38s289 rNTX 385289       RESIDCO        #N/A             s/tl1s77 s/tl2027
BGCX     1013 BGCX 1013         RESIDCO        #N/A             1./Llt977 r/L/2027
BGCX     1015 BGCX 1015         RESIDCO        #N/A             1./1./1977 1./L{2027
BGCX     1018 BGCX 1018         RESIDCO        #N/A             rlL/re77 7/Ll2027
BGCX     1019 BGCX 1019         RESIDCO        #N/A             rlL/1977 uLl2027
BGCX     7001 BGCX 7001         RESIDCO        #N/A             LlLhs77 Lltl2027
BGCX     7003 BGCX 7003         RESIDCO        #N/A             Lltl1s77 L/1./2027
BGCX    ro239 BGCX 10239        RESIDCO        #N/A             s/tl1s78 s/t/2028
BGCX    10258 BGCX 10258        RESIDCO        #N/A             slr/rs78 s/r/2028
BGCX    70506 BGCX 70506        RESIDCO        #N/A            10/rlL978 ro/tl2028
INTX     6474 tNTX 6474         RESIDCO        #N/A             2/tlL974 2/1./2024
INTX    34099 tNTX 34099        RESIDCO        #N/A             2/1./t976 2/1./2026
INTX    74242 INTX74242         RESIDCO        #N/A             9/1./L97s s/1./202s
INTX    74250 tNTX 74250        RESIDCO        #N/A             9/1./r97s s/1./2O2s
INTX    74257 tNTX 74251_       RESIDCO        #N/A            LO/7/re7s 70lt/2o2s
INTX    74281   tNTX 74281      RESIDCO        #N/A             e/Llre7s e/tl2o2s
INTX    74325   tNTX 74325      RESIDCO        #N/A             s/Lhs7s s/L/2O2s
INTX    74329   rNTX 74329      RESIDCO        #N/A             e/Llrs7s e/t/2o2s
INTX    746L2   tNTX 74612      RESIDCO        #N/A            1.L/1./L976 1.1./1./2026
INTX    74670   tNTX 74570      RESIDCO        #N/A             7   /tlLs77 7 /r/2027
   Case 20-11139-1-rel       Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49           Desc Main
                                  Document    Page 253 of 370

INTX    74818 tNTX 74818       RESIDCO        #N/A             7lLlLe77    7   /1./2027
INTX    75006 rNTX 75006       RESIDCO        #N/A             711./L978 7/1./2028
INTX    7513t tNTX 75131       RESIDCO        #N/A             7   /t/te78 7/r/2O28
INTX    75247 tNTX 75247       RESIDCO        #N/A            LzhhsTs 72/t/2j2s
INTX    75252 rNTX 75252       RESIDCO        #N/A            L2/1./r979 12/1./2029
INTX   12501,4 rNTX 125014     RESIDCO        #N/A             shlrs7s 5/u2o2s
INTX   125030 tNTX 125030      RESIDCO        #N/A             s/r11979 s/L/2O2e
INTX   125038 rNTX 1_25038     RESIDCO        #N/A             s/ute7s slLl2O2e
INTX   r25ro2 tNTX 125102      RESIDCO        #N/A             s/Llts78 s/u2o28
INTX   3901s8 tNTX 390158      RESIDCO        #N/A             9lLlL979 s/1./2O2s
INTX   390213 rNTX 390213      RESIDCO        #N/A             2h/te7s 2h/2O2s
INTX    74544 tNTX 74544       RESIDCO        #N/A            1.th/ts76 1.1/L/2026
INTX    75318 tNTX 75318       RESIDCO        #N/A            L2/1./r979 L211./2029
INTX   385266 rNTX 385266      RESIDCO        #N/A             6/rlts77 6/u2027
INTX   390037 tNTX 390037      RESIDCO        #N/A            t2/rlteTs 12/tl2o2s
INTX   390195 tNTX 390195      RESIDCO        #N/A             9/1_11979 s/L/2O2e
BGCX     7002 BGCX 7002        RESIDCO        #N/A             7/L/Le77 u1./2027
BGCX    70505 BGCX 70505       RESIDCO        #N/A            to/LlLs78 ro/Ll2028
BGCX    70509 BGCX 70509       RESIDCO        #N/A            ro/1./r978 ro/L/2028
BGCX    70510 BGCX 70510       RESIDCO        #N/A            L0/u1e78 1O/L/2028
INTX    21254 tNTX 21254       RESIDCO        #N/A             thlts7s 8/Ll2O2e
INTX    74679 tNTX 74679       RESIDCO        #N/A             7/rhs77 7lL/2O27
INTX    7471-3 tNTX 74713      RESIDCO        #N/A             7/7/7e77    7/1./2027
INTX    74889 tNTX 74889       RESIDCO        #N/A             7/LlLe78    7/t/2O28
INTX   r25127 tNTX 125127      RESIDCO        #N/A             s/LlLe7s    s/r/2o2s
INTX   390079 rNTX 390079      RESIDCO        #N/A            121Lh978     12/L/2028
BGCX     70L7 BGCX 1_017       RESIDCO        #N/A             Llure77     tl1./2027
INTX   385217 tNTX 385217      RESIDCO        #N/A             6/rl1s77    6/tl2027
INTX   385306 tNTX 385306      RESIDCO        #N/A             s/t/re77    s/tl2027
INTX   390284 tNTX 390284      RESIDCO        #N/A            12/1.1r97s   t2h/2O2s
INTX    21275 rNTX 21275       RESIDCO        #N/A             8/rl1e7s    8/1./2O2e
INTX    74282 tNTX 74282       RESIDCO        #N/A             elLlLeTs el7/2O2s
INTX   390332 tNTX 390332      RESIDCO        #N/A             slrlts7s shl2o2s
INTX    7432t   tNTX 74321     RESIDCO        #N/A             e/ths7s shl2o2s
INTX    74746 |NTX74746        RESIDCO        #N/A             7 /rl1s77 7/7/2027

INTX    77037 tNTX 77037       RESIDCO        #N/A             6/tl1e74 6/Ll2024
INTX    74388 tNTX 74388       RESIDCO        #N/A             s/Llte76 e/L/2O26
FURX   822sL5 FURX 822516      RESIDCO         N/A            rolLlLe8o r0/tl2o3o
NDYX   82078r   NDYX 820781    RESIDCO         N/A             slLlLs8L s/1./2031.
NDYX   821578 NDYX 821578      RESIDCO           A             311./rsgl 3hl2031.
NDYX   821630 NDYX 821630      RESIDCO           A             e/1./rs80 e/tl2o3o
NDYX   826764 NDYX 826764      RESIDCO        #N/A            1.1./1./r979 L1.11./2029
NDYX   826781, NDYX 826781_    RESIDCO        #N/A            71./7/te7e rrl7/2o2e
NDYX   826804 NDYX 826804      RESIDCO        #N/A            ru7/Le7s 1r/t/2o2e
NDYX   828Lr4 NDYX 828114      RESIDCO        #N/A             LlL/Le8t th/2031.
NDYX   828458 NDYX 828458      RESIDCO        #N/A             6/r/r979 611./2O2e
NDYX   828462 NDYX 828462      RESIDCO        #N/A             6/rhs7s 6hl2o2e
   Case 20-11139-1-rel        Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                   Desc Main
                                   Document    Page 254 of 370

NDYX   828739 NDYX 828739       RESIDCO              #N/A                 2/r/1980     2/1./2O3O
NDYX   830683 NDYX 830683       RESIDCO              #N/A                 311./re8} 3/1.12030
NDYX   830783 NDYX 830783       RESIDCO              #N/A                 4hlLeTs 4/1./2029
NDYX   830810 NDYX 830810       RESIDCO              #N/A                 4/LlLs7s 4/tl202s
INTX    74309   rNTX 74309      RESIDCO              #N/A                 9lLlt97s     s/rl2o2s
INTX    74430   tNTX 74430      RESIDCO              #N/A                LOhl1s76      70/t/2O26
INTX   125002   rNTX 125002     RESIDCO              #N/A                 7 /1./r97s   7/L/2O2s
INTX    74769   tNTX 74769      RESIDCO              #N/A                 7lure77      7lL/2O27
INTX   743622   rNTX 743622     RESIDCO              #N/A                 s/the76 slL/2026
INTX    L3723   tNTX 13723      RESIDCO              #N/A                 2/1.heg} 2/r/2O3O
INTX    21232   tNTX 21232      RESIDCO              #N/A                 8/t/Le7e 8/tl202e
INTX   460336 rNTX 460336       RESIDCO              #N/A                 e/rlLe8o e/1/2030
INTX   39022L tNTX 390221       RESIDCO              #N/A                 s/71r978 s/u2028
INTX     3406 tNTX 3406         RESIDCO              #N/A                 2/Llrs76 2/tl2026
INTX    74619 tNTX 74619        RESIDCO              #N/A                LtlLlt976 tLh/2026
INTX    74620 tNTX 74620        RESIDCO              #N/A                1.1./1./r976 1,L/1./2026
INTX    74622 |NTX74622         RESIDCO              #N/A                L7/tlre76 Lt/rl2026
INTX   390230 rNTX 390230       RESIDCO              #N/A                 6hhe7s 6/L/2O2s
INTX   472509 tNTX 472509       RESIDCO              #N/A                 3/1./Lsge 3/1./203e
NDYX   8208s3 NDYX 820853       RESIDCO              #N/A                  6/rl7e8L    6/tl203t
NDYX   826815 NDYX 826815       RESIDCO              #N/A                tt/1./L979    11./L/2029
NDYX   831002 NDYX 831002       RESIDCO              #N/A                  3/LlL979    3hl202s
INTX   462t17 tNTX 462117       RESIDCO              #N/A                  e/L/rs68    sh/2oL8
NDYX   820829 NDYX 820829       RESIDCO              #N/A                 6/L/ts8t 6/1./2o3L
NDYX   820868 NDYX 820868       RESIDCO              #N/A                 6/t/1981. 6/L|2031.
INTX     7174 tNTX 7174         RESIDCO              #N/A                 6/7/re74 6lLl2024
INTX    75087 tNTX 75087        RESIDCO              #N/A                 7/tlte78 7/L/2O28
INTX   125060 rNTX 125060       RESIDCO              #N/A                12/tlL97s t2/1./2O2s
SKRX   180004 SKRX 18OOO4       RESIDCO              #N/A                12/1.1r976 12/Ll2026
INTX   t25037 tNTX 125037       RESIDCO              #N/A                 slLlre7e s/7/202e
NDYX   8L68L7 NDYX 815817       RESIDCO              #N/A                r2lLlrs78 12/L/2O28
NDYX   8287sO NDYX 828750       RESIDCO              #N/A                 2/tlts$o 2hl2o3o
NDYX   829s03 NDYX 829503       RESIDCO              #N/A                 8lLlr974 8/1./2024

INTX     21,61, rNTX 2161       lnterstate   Owned   lnterstate Ownec     6/the$o 6/L/2O3O
INTX   390237 rNTX 390237       lnterstate   Owned llnterstate   owner   to/t/Ls7e L0/t/2o2s
INTX    75286 tNTX 75286        lnterstate   Owned llnterstate   ownec   t2/1_/L979 12/L12029
RRRX   7829rO RRRX 182910       lnterstate   Owned llnterstate   owner     slLlLes} s/1./2030
INTX    74726 tNTX 74726        lnterstate   Owned llnterstate   ownec    7lLl1977 7/1./2027
INTX   120155 tNTX 120155       lnterstate   Owned llnterstate   owner    rl1./rs$o 7/u2o3o
INTX    67021 tNTX 67021        lnterstate   owned llnterstate   owner    7/1./re8} 7/L|2O3O
RRRX   460337 RRRX 460337       lnterstate   Owned llnterstate   owner    s/rhe$o slL/2O3o
INTX   120L27 tNTX 120127       lnterstate   Owned llnterstate   owner    LhlLs8O LILl2o3O
INTX   385427 tNTX 385427       lnterstate   Owned llnterstate   owner    s/tlLe77 slt/2027
INTX   725052 rNTX 1_25052      lnterstate   Owned llnterstate   owner    s/1.1L979 s/1./202s
INTX   120L23 tNTX 120123       lnterstate   Owned   l,na.rrrr," owner    1.lLlts80 rlrl2o3o
INTX   L23688 rNTX 123688       lnterstate   Owned   Itnterstate owner    s/Lltsst s/tl2o4r
   Case 20-11139-1-rel       Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                    Desc Main
                                  Document    Page 255 of 370

INTX    75126 tNTX 75126       lnterstate   Owned   lnterstate   Ownec    7   /1.1Le78 7/1./2028
INTX   L251,r7 rNTX 125117     lnterstate   Owned   lnterstate   Ownec    s/tlte7e s/tl2o2s
INTX   390318 tNTX 39031_8     lnterstate   Owned   lnterstate   Ownec    s/tlLeTe s/tl2o2e
INTX    27340 tNTX 21340       lnterstate   Owned   lnterstate   Ownec    9/1./1979 s/1_/2O2s
INTX   390076 rNTX 390076      lnterstate   Owned   lnterstate   Ownec   L2/tlLe7e t2hl2O2s
INTX   120712 tNTX 120112      lnterstate   Owned   lnterstate   Ownec    1./1./r98O 1./Ll2030
INTX     2139 rNTX 2139        lnterstate   Owned   lnterstate   Ownec    7lute8o 7/1./2030
BGCX    12308 BGCX L2308       lnterstate   Owned   lnterstate   Ownec    e/1./1e8O s/Ll2030
INTX   182873 tNTX 182873      lnterstate   Owned   lnterstate   Ownec    ehl1e8o s/L/2030
INTX   821730 rNTX 821730      lnterstate   Owned   lnterstate   Ownec    e/1./te8o s/t/2o3o
INTX   390185 tNTX 390L85      lnterstate   Owned   lnterstate   Ownec    8/1.he7s    8/1./2O2s
INTX   385416 tNTX 385416      lnterstate   Owned   lnterstate Ownec      s/L/1977    s/tl2027
INTX   385118 rNTX 385118      lnterstate   Owned   lnterstate Ownec      6/1/1e77    6/L/2027
INTX   390266 tNTX 390256      lnterstate   Owned   lnterstate Ownec      7/1.he78    7/L/2O28
INTX   390267 tNTX 390267      lnterstate   Owned   lnterstate Ownec      8/Llr978 8ltl2028
INTX    67020 rNTX 67020       lnterstate   Owned   lnterstate Ownec      7/1.he8o 7/L/2O3O
INTX     6497 tNTX 6497        lnterstate   Owned   lnterstate Ownec      1./1./r974 Ll1./2024
INTX     7164 tNTX 7164        lnterstate   Owned   lnterstate Ownec      rlLhe74 ur/2o24
INTX    77133 rNTX 77133       lnterstate   Owned   lnterstate Ownec      rlLhe74 Ll1./2024
INTX     7r75   INTX 7175      lnterstate   Owned   lnterstate Ownec      6/1./r974 611./2024
INTX    74248 tNTX 74248       lnterstate   Owned   lnterstate Ownec      s/Ll1e75 e/t/202s
INTX    74252 rNTX 74252       lnterstate   Owned   lnterstate Ownec      s/Llts7s s/t/202s
INTX    74270 lNrx74270        lnterstate   Owned   lnterstate Ownec      9/1./197s s/1./202s
INTX    74287 tNTX 74287       lnterstate   Owned   lnterstate Ownec      s/Ll7e75 e/r/2o2s
INTX    74308 tNTX 74308       lnterstate   Owned   lnterstate Ownec      s/tlts7s s/tl2o2s
INTX    34055 rNTX 34055       lnterstate   Owned   lnterstate Ownec      2/ths76 2/r/2026
INTX    74470 tNTX 74470       lnterstate   Owned   lnterstate Ownec      9/1./r976 s/1.12026
INTX    74546 tNTX 74546       lnterstate   Owned   lnterstate Ownec     1.url7e76 rLl1/2026
BGCX     1009 BGCX 1009        lnterstate   Owned   lnterstate Ownec      thl1s77 1/tl2027
BGCX     7005 BGCX 7005        lnterstate   Owned   lnterstate Ownec      Llr/1s77 tlLl2027
BGCX     7007 BGCX 7007        lnterstate   Owned   lnterstate Ownec      1.11./L977 rlLl2027
INTX   385282 tNTX 385282      lnterstate   Owned   lnterstate Ownec      517/1977 s/L/2O27
INTX   38s204 tNTX 385204      lnterstate   Owned   lnterstate Ownec      6/7/Ls77 6/L/2027
INTX    74667 tNTX 74667       lnterstate   Owned   lnterstate Ownec      7/uLe77 7/L/2O27
INTX    74669 tNTX 74669       lnterstate   Owned   lnterstate Ownec      7 /rlLs77 7/L/2O27

INTX    74694 tNTX 74694       lnterstate   Owned   lnterstate Ownec      7 /rlLs77 7/L/2O27

INTX    74738 tNTX 74738       lnterstate   Owned   lnterstate Ownec      7 /tlLs77    7lt/2o27
INTX    74762 INTX74762        lnterstate   Owned   lnterstate Ownec      7 /tlLs77    7/t/2O27
INTX   125087 rNTX 125087      lnterstate   Owned   lnterstate Ownec      6/tlLe78     6/L/2028
INTX    74867 rNTX 74867       lnterstate   Owned   lnterstate Ownec      7 /tlLe78    7/L/2O28
INTX    74933 rNTX 74933       lnterstate   Owned   lnterstate Ownec      7 /rlLe78    7/L/2028
INTX    74964 rNTX 74954       lnterstate   Owned   lnterstate Ownec      7 ltlLe78    7/1./2028
INTX    74997 tNTX 74997       lnterstate   Owned   lnterstate Ownec      7   /1.11978 711./2028
INTX    7s002 tNTX 75002       lnterstate   Owned   lnterstate Ownec      7hlLe78 7/r/2O28
INTX    75003 tNTX 75003       lnterstate   Owned   lnterstate, Ownec     7 /L/te78 7/r/2O28

INTX    75032 rNTX 75032       lnterstate   Owned   lnterstate Ownec      7/Lhe78 7/1./2028
INTX    75t25 tNTX 7512s       lnterstate   Owned   lnterstate Ownec      7/Ll1978 7/t/2O28
   Case 20-11139-1-rel         Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                   Desc Main
                                    Document    Page 256 of 370

BGCX     70504   BGCX 70504      lnterstate   Owned   I   nte rstate Ownec   rol7/te78 tolLl2028
INTX   390321 rNTX 390321        lnterstate   Owned   I   nte rstate Ownec    4/Llre79 4/tl2O2e
INTX   L25017 rNTX L25017        lnterstate   Owned   I   nte rstate Ownec    slLl1979 s/1./2O2e
INTX   125054    tNTX 125054     lnterstate   Owned   I   nte rstate Ownec    s/Llte7e shl202s
INTX   725134    INTX L25134     lnterstate   Owned   I   nte rstate Ownec    s/the7e shl202e
INTX   125r37    rNTX 125137     lnterstate   Owned   I   nte rstate Ownec    s/1./re7e s/1.1202e
INTX   390294    tNTX 390294     lnterstate   Owned   I   nte rstate Ownec    s/Ll1e7e s/tl202e
INTX    21263    tNTX 21263      lnterstate   Owned   lnterstate    Ownec     8lt/ts7e 8/Ll202s
INTX   390153 rNTX 390153        lnterstate   Owned   lnterstate    Ownec     911./1979 s/1,12O2e
INTX    75200    tNTX 75200      lnterstate   Owned   lnterstate    Ownec    t2/ths7e 72hl2O2s
INTX    7522L    tNTX 75221      lnterstate   Owned   lnterstate    Ownec    12lLlts7s 12/t/2O2s
INTX    75245    tNTX 75245      lnterstate   Owned   lnterstate    Ownec    1211./r979 12/1./2029
INTX    75270    tNTX 75270      lnterstate   Owned   lnterstate    Ownec    12/tlLe79 72/rl202s
INTX    75280    tNTX 75280      lnterstate   Owned   lnterstate    Ownec    tzltlLs7s 12/tl2O2s
INTX   125006 rNTX 125006        lnterstate   Owned   lnterstate    Ownec    12/1./L979 1.2/1./2029
INTX   120183 tNTX 120183        lnterstate   Owned   lnterstate    Ownec     L/tlLe8O L/Ll2o3o
INTX     13499 rNTX 13499        lnterstate   Owned   lnterstate    Ownec     2/1./Le8O 2/1./2030
INTX      2133 tNTX 2133         lnterstate   Owned   lnterstate    Ownec     7/Ihs80 711./2O3O
INTX      2135 tNTX 2135         lnterstate   Owned   lnterstate    Ownec     7ltlLsg} 7h/2030
INTX     67022 tNTX 67022        lnterstate   Owned   lnterstate    Ownec     7hlLe8o 7/r/2O3O
INTX   182919 rNTX L82919        lnterstate   Owned   lnterstate    Ownec     7/7/reg} 7/1./2O3O
INTX    182957 tNTX 182957       lnterstate   Owned   lnterstate    Ownec     7/t/Le8O 7/t/2O3O
INTX   182988 tNTX 182988        lnterstate   Owned   lnterstate    Ownec     7/r/Le8O 7 /t/203O
INTX     670L6 rNTX 670L6        lnterstate   Owned   lnterstate    Ownec     s/1.he8o s/1./2030
INTX     67079 tNTX 67019        lnterstate   Owned   lnterstate    Ownec     slrlLe80 e/tl2030
INTX     67061, tNTX 67061       lnterstate   Owned   lnterstate    Ownec     e/1./te8o s/tl2030
INTX    182739 INTX 182739       lnterstate   Owned   lnterstate    Ownec     s/1.he8o e/t/2030
INTX   182757 rNTX 182757        lnterstate   Owned   lnterstate    Ownec     s/Llrs8o s/Ll2030
INTX   460359 tNTX 460359        lnterstate   Owned   lnterstate    Ownec     s/ure8o s/Ll2030
INTX     12596 tNTX 12596        lnterstate   Owned   lnterstate    Ownec    LO/Llre8} ta/r/2o3o
INTX    67056 tNTX 67056         lnterstate   Owned   lnterstate    Ownec    LO/Ll1980 10/tl2O3O
INTX    67060 tNTX 57050         lnterstate   Owned   lnterstate    Ownec    rolLlt98o 1,0/r/2o3o
INTX    75122 rNTX 75122         lnterstate   Owned   lnterstate    Ownec     7/Ll1978 7/L/2O28
INTX   390328 tNTX 390328        lnterstate   Owned   lnterstate    Ownec    LtlLlL979 L1./1./2029
INTX    67058 tNTX 67058         lnterstate   Owned   Inte rstate   Ownec     7lrlLe8} 7lL/2O3O
INTX    74234 tNTX 74234         lnterstate   Owned   Interstate    Ownec     e/tlLe7s    elt/2o25
INTX    74378 tNTX 74378         lnterstate   Owned   Interstate    Ownec     eluLsT6     e/1/2026
INTX   385121 tNTX 385121        lnterstate   Owned   Interstate    Ownec     6/rlL977    6/tl2027
INTX   18292t tNTX 182921        lnterstate   Owned   Interstate    Ownec     7 /r/Ls8O   7h/2O3O
INTX   122272 |NTX722272         lnterstate   Owned   Interstate    Ownec     tlrlLe7e ut/202e
INTX    60484 tNTX 60484         lnterstate   Owned   Interstate    Ownec     3/rlLs8L 3/rl203t
INTX   123r89 tNTX 123189        lnterstate   Owned   Interstate    Ownec     4/tlLe84 4/1./2034
INTX   123393 tNTX L23393        lnterstate   Owned   lnterstate    Ownec     4/t/Le88 4/L/2038
INTX   123395 rNTX 123395        lnterstate   Owned   Interstate    Ownec     4/711e88 4/Ll2038
INTX    74299 tNTX 74299         lnterstate   Owned   Interstate    Ownec     s/tlte7s s/L/2025
SKRX    55001 SKRX 55001         lnterstate   Owned   Interstate    Ownec     4h/rs7o 4lt/2020
INTX     60492 tNTX 60492        lnterstate   Owned   lnterstate    Ownec     3/1./r98r 3/Ll2031.
   Case 20-11139-1-rel        Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                     Desc Main
                                   Document    Page 257 of 370

SKRX    50011 SKRX 50011        lnterstate   Owned   lnterstate   Ownec    4/1./Ls77 4/t/2027
INTX    74375 tNTX 74375        lnterstate   Owned   lnterstate   Ownec    s/tl7e76 9/1./2026
INTX   380803 rNTX 380803       lnterstate   Owned   lnterstate   Ownec    s/rl798L s/1./2031
INTX   382021 rNTX 382021       lnterstate   Owned   lnterstate   Ownec    4/1./198L 4/tl203r
INTX   382040 tNTX 382040       lnterstate   Owned   lnterstate   Ownec    4/tlte81^ 4/1./2O3t
INTX   382098 rNTX 382098       lnterstate   Owned   lnterstate   Ownec    s/1.hs81 s/t/2031.
INTX   382136 INTX 382136       lnterstate   Owned   lnterstate   Ownec    4hhsgt      4/1./2O3L
INTX   382139 rNTX 382139       lnterstate   Owned   lnterstate   Ownec    4/1./t981 4/rl2O3L
INTX   382206   tNTX 382206     lnterstate   Owned   lnterstate   Ownec    5lrl1s87 sh/2o3L
INTX   382250   tNTX 382250     lnterstate   Owned   lnterstate   Ownec    shlrs8t s/1./2O3L
INTX   382273   rNTX 382273     lnterstate   Owned   lnterstate   Ownec    s/1./rsgt s/t/2o3r
INTX   382278   tNTX 382278     lnterstate   Owned   lnterstate   Ownec    5/rlrs81. s/t/2o3L
INTX   382296   tNTX 382296     lnterstate   Owned   lnterstate   Ownec    s/tlts8t s/1.12O3L
INTX   382337 rNTX 382337       lnterstate   Owned   lnterstate   Ownec    sl1hs8t s/t/2031.
INTX   382499 tNTX 382499       lnterstate   Owned   lnterstate   Ownec    6/r/rs81. 6lL/2o3L
INTX   382520 tNTX 382520       lnterstate   Owned   lnterstate   Ownec    eltlts8r e/tl2o3t
INTX   382596 rNTX 382596       lnterstate   Owned   lnterstate   Ownec    6/1./rs8r 6/t/2O3L
INTX   382603 tNTX 382603       lnterstate   Owned   lnterstate   Ownec    6/Ll1981. 6/Ll2O3t
SKRX    50004 SKRX 5OOO4        lnterstate   Owned   lnterstate   Ownec   r2lLhs67 12/1./20t7
SKRX    50022 sKRX 50022        lnterstate   Owned   lnterstate   Ownec    6/Llre77 6/L/2027
SKRX    s0007 SKRX 50007        lnterstate   Owned   lnterstate   Ownec    8/urs78 8/L/2o28
SKRX    s0009 SKRX 50009        lnterstate   Owned   lnterstate   Ownec    2lthsso 2/1l2O3O
SKRX    50016 sKRX 50016        lnterstate   Owned   lnterstate   Ownec    2/1/Le8o 2/L/2O3O
SKRX   1_80018 sKRX 180018      lnterstate   Owned   lnterstate   Ownec    311./re8} 311./2o3o
INTX    74617 tNTX 74617        lnterstate   Owned   lnterstate   Ownec   TtlLlL976 LLlu2026
BFRX      285 BFRX 285          lnterstate   Owned   lnterstate   Ownec   1.L/uLe77 LL/rl2027
BFRX      278   BFRX 278        lnterstate   Owned   lnterstate   Ownec   10/1.1L976 LOIL/2O26
BFRX      294   BFRX 294        lnterstate   Owned   lnterstate   Ownec    Ll7/Ls77 L/tl2027
BFRX      269   BFRX 269        lnterstate   Owned   lnterstate   Ownec    217/te77 2/1.12027
BFRX      287 BFRX 287          lnterstate   Owned   lnterstate   Ownec    4/1/Ls77 4/u2027
BFRX      289   BFRX 289        lnterstate   Owned   lnterstate   Ownec    4/r/Ls77 4/tl2027
BFRX      297 BFRX 297          lnterstate   Owned   lnterstate   Ownec    4/1./1977 4hl2027
BFRX      288 BFRX 288          lnterstate   Owned   lnterstate   Ownec    7/1./L977 7/t/2O27
BFRX      290 BFRX 290          lnterstate   Owned   lnterstate   Ownec    7/ure77     7/rl2o27
BFRX      291 BFRX 291          lnterstate   Owned   lnterstate   Ownec    7/tlLe77    7/r/2O27
BFRX      292 BFRX 292          lnterstate   Owned   lnterstate   Ownec    7/rlL977    7/1./2027
BFRX      293 BFRX 293          lnterstate   Owned   lnterstate   Ownec    7/tlLs77    7   /1./2027
BFRX      295 BFRX 295          lnterstate   Owned   lnterstate   Ownec    7/rl7s77    7/r/2O27
BFRX      296 BFRX 296          lnterstate   Owned   lnterstate   Ownec    7/tl1s77    7/r/2O27
BFRX      298 BFRX 298          lnterstate   Owned   lnterstate   Ownec    7/tl1s77    7/u2O27
BFRX      299 BFRX 299          lnterstate   Owned   lnterstate   Ownec    7/tl1e77    7h/2O27
BFRX      286 BFRX 286          lnterstate   Owned   lnterstate   Ownec   L1./1.h977   trlt/2o27
BFRX      284 BFRX 284          lnterstate   Owned   lnterstate   Ownec   L2/1./1977 t2/1./2027
INTX   427L43 tNTX 427143       lnterstate   Owned   lnterstate   Ownec    7/u7e7O 7/r/2O2O
INTX   125710 tNTX 125110       lnterstate   Owned   lnterstate   Ownec    slrlLs7e 5/1./2O2e
INTX    77040 rNTX 77040        lnterstate   Owned   lnterstate   Ownec    3/tl1e74 3hl2024
INTX    411.13 tNTX 41113       lnterstate   Owned   lnterstate   Owneo    thlrgTs 8/r/2o2s
   Case 20-11139-1-rel        Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                    Desc Main
                                   Document    Page 258 of 370

INTX     27610 tNTX 27610       lnterstate Owned    lnterstate Ownec       7/tlLs77 7/t/2O27
INTX    27977 INIX27977         lnterstate Owned    lnterstate Ownec       1./1./r978   r/tl2028
INTX    22123 rNTX 22123        lnterstate Owned    lnterstate ownec       4/1./1.980   4hl2030
INTX    34077 tNTX 34077        Residco sale        Residco Sale           2/uts76      2/1./2026
INTX   390L29 tNTX 390129        lnterstate Owned    lnterstate   Ownec    4/1./1979 4/r/202e
INTX     7L67 rNTX 7167          Interstate Owned    lnterstate   Ownec    6/tl1e74 6/1./2024
INTX    74342 tNTX 74342         lnterstate Owned    lnterstate   Ownec    9/1./1976 e/L/2026
INTX    74437 tNTX 74437         lnterstate Owned    lnterstate   Ownec    e/rlte76 el1.l2026
INTX   385395 tNTX 385396        lnterstate Owned   lnterstate    Ownec    s/1./L977 s/Ll2027
INTX   385468 tNTX 385468        lnterstate Owned   lnterstate    Ownec    s/rl1977 s/t/2o27
INTX    74705 tNTX 74705         lnterstate Owned   lnterstate    Ownec    7/LlLe77 7 /1./2027
INTX   390137 rNTX 390137        lnterstate Owned   lnterstate    ownec    2/Ll1.e7s 2hl2O2e
INTX   125IO7 |NTX 125L07        lnterstate Owned   lnterstate    Ownec    5/1./1.979 s/r/2o2e
INTX   I25L1,4 rNTX 125L14       lnterstate owned   lnterstate    Ownec    s/7/rs7e s/1./202e
iNTX   125012 iNTX 125012        lnterstate Owned   lnterstate    ownec    6/1.he7s 6/tl2O2e
INTX   390156 tNTX 390156        lnterstate Owned   lnterstate    Ownec    e/7/re7s e/t/2o2e
INTX   390165 tNTX 390165        lnterstate owned   lnterstate    Ownec    e/rlte7e elLl2O2s
SKRX   180014 sKRX L80014        lnterstate Owned   lnterstate    Ownec   ro/r/t96e 10/1./2019
JBRX      318 JBRX 31-8         lnterstate Owned    lnterstate    Ownec    s/rlrs7s s/1./2o2s
JBRX      33s JBRX 335          lnterstate Owned    lnterstate    Ownec    sltlrs7s     s/1./2O2s
JBRX      356 JBRX 356          lnterstate Owned    lnterstate    Ownec    s/Llre7s shl2o2s
JBRX      357 JBRX 357          lnterstate Owned    lnterstate    Ownec    s/LlL979 s/t/2o2e
INTX    75L66   tNTX 75166      lnterstate owned    lnterstate    Ownec    7/Ll7e78 7/1./2028
INTX    43L20   rNTX 43120      lnterstate Owned    lnterstate    ownec    4/Llr970 4/7/2020
INTX    43122   tNTX 43122      Interstate Owned    lnterstate    Ownec    4/1,/197O 4/tl2020
INTX   725004   tNTX 125004     lnterstate Owned    lnterstate    Ownec    6/tlt97s 6/t/2o2s
INTX    75027 rNTX 75027        lnterstate Owned    lnterstate    Ownec    7/the78 7/L/2O28
INTX   18294r   rNTX L82941     lnterstate Owned    lnterstate    ownec    7lthe8o 7/u2O3O
INTX   463020 tNTX 463020       lnterstate Owned    lnterstate    Ownec    8/1.hsg} 8/7/2O3O
INTX   460137 tNTX 460137       lnterstate Owned    lnterstate    Ownec   ro/rlrs8o roltl2030
INTX   120018 tNTX 120018       lnterstate Owned    lnterstate    Ownec    rltlts$o 1./1./2O3O
INTX   120737 rNTX 120137       lnterstate Owned    lnterstate    Ownec    tlLlLs8O r/1./2O3O
INTX   390198 rNTX 390198       lnterstate Owned    lnterstate    owneo    e/Ll1e7e e/7/2O2e
CRDX     1045 CRDX 1045         lnterstate Owned    lnterstate    owned   ro/Ll1974 to/u2024
INTX     3240   tNTX 3240       lnterstate Owned    lnterstate    owned    1./1,/197sr/tl202s
INTX     324L   tNTX 3241       lnterstate Owned    lnterstate    Owned    4/Lhs78 4hl2028
INTX     3242   tNTX 3242       lnterstate Owned    lnterstate    Owned   72/1./re$O t2hl2030
INTX     3243   tNTX 3243       lnterstate Owned    lnterstate    Owned    s/7/7e8L s/t/2031.
JBRX      201 JBRX 201          lnterstate Owned    lnterstate    Owned   12/rl7e81. L2/rl2031.
JBRX      202 JBRX 202          lnterstate Owned    lnterstate    Owned   12/tlre81- 12/t/2037
NOKL   829604 NOKL 829604       lnterstate Owned    lnterstate    Owned    7/rlr97s     7/1./2O2s
NOKL   816873 NOKL 816873       lnterstate Owned    lnterstate    Owned   L2/1/L978 12/L/2028
NOKL   818547 NOKL 818547       lnterstate Owned    lnterstate    Owned    rltlts8o 1/1./2O3o
NOKL   828707 NOKL 828701       lnterstate Owned    lnterstate    owned    1.lr/Le8o rl7/2O3O
NOKL   828763 NOKL 828763       lnterstate Owned    lnterstate    Owned    7/LlLsgO rltl2o3o
NOKL   818569 NOKL 81_8569      lnterstate Owned    lnterstate    Owned    2/LlLe$O 2/1./2030
NOKL   828768 NOKL 828768       lnterstate Owned    lnterstate    Owned    2/LlLeso 2hl2030
   Case 20-11139-1-rel        Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                 Desc Main
                                   Document    Page 259 of 370

NOKL   8334L2 NOKL 833412       lnterstate   Owned   lnterstate   Ownec    2/1./r98r 2h/2o3t
NOKL   833466 NOKL 833466       lnterstate   Owned   lnterstate   Ownec    2/tl1e8L 2/Ll2O3r
NOKL   833502 NOKL 833s02       lnterstate   Owned   lnterstate   Ownec    2h/Ls8L 2/L/2O31
NOKL   833401 NOKL 833401       lnterstate   Owned   lnterstate   Ownec    3/tl198L 3/1_/2O3t
NOKL   833405 NOKL 833405       lnterstate   Owned   lnterstate   Ownec    3/1./r98L 3/tl2O3L
NOKL   833408 NOKL 833408       lnterstate   Owned   lnterstate   Ownec    3/1./1981 3/1./203L
NOKL   833443 NOKL 833443       lnterstate   Owned   lnterstate   ownec    3/tltegt   3/tl2031.
NOKL   833s06 NOKL 833506       lnterstate   Owned   lnterstate   Ownec    3/urs8r    3/1./2037
NOKL   833445 NOKL 833445       lnterstate   Owned   lnterstate   Ownec    4/1./rs8r 4/1./2031.
NOKL   822292 NOKL 822292       lnterstate   Owned   lnterstate   Ownec    6/1.lte7e 6/L/2o2e
NOKL   823717 NOKL 823717       lnterstate   owned   lnterstate   Ownec    6h/Ls$O 6/L/2030
NOKL   818908 NOKL 818908       lnterstate   Owned   lnterstate   Ownec   12/t/Ls8o t2/1./2O3O
NOKL   833490 NOKL 833490       lnterstate   Owned   lnterstate   ownec   12/1./1980 L2/rl2O3O
NOKL   833491 NOKL 833491      lnterstate    owned   lnterstate   Owneo   t2hhe80 L2/L/2030
NOKL   833503 NOKL 833503      lnterstate    Owned   lnterstate   Owned    2/tlre8r 2/1./2O3L
NOKL   833513 NOKL 833513      lnterstate    Owned   lnterstate   Owned    2/1.he8t 2/712037
NOKL   833515 NOKL 833515      lnterstate    Owned   lnterstate   Owned    2/Llr98r 2/t/2037
NOKL   833422 NOKL 833422      lnterstate    Owned   lnterstate Owned      3ltlts81 3/1./2031
NOKL   833435 NOKL 833435      lnterstate    Owned   lnterstate Owned      3/1.hsgt 3/1/2o3t
NOKL   833462   NOKL 833462    lnterstate    owned   lnterstate Owned      3/tl198r 3/tl2O3r
NOKL   833475   NOKL 833475    lnterstate    Owned   lnterstate Owned      3/rlLs8L 3/1./2031.
INTX    74938   tNTX 74938     lnterstate    Owned   lnterstate Owned      7 /1./1978 7/L/2O28
INTX    74932   tNTX 74932     lnterstate    owned   lnterstate Owned      7 /tl1978 7/L/2O28

INTX     7172 rNTX 7172        lnterstate    Owned   lnterstate Owned      6h/1e74 6/u2024
INTX    74266 rNTX 74266       lnterstate    Owned   lnterstate Owned      9/1./ts7s e/t/2o25
INTX    75188 tNTX 75188       lnterstate    Owned   lnterstate Owned     L2lLl1979 L2/t/2O2s
INTX    67009 tNTX 67009       lnterstate    Owned   lnterstate Owned      slLhes} s/t/2o3o
INTX   390096 rNTX 390096      lnterstate    Owned   lnterstate Owned      7/ths7s 7lu202s
INTX    74607 rNTX 74607       lnterstate    Owned   lnterstate owned     r./!rs76    tLlu2O26
INTX    43790 tNTX 43790       lnterstate    Owned   lnterstate Owned      4/1./rs8} 4/t/2O3O
INTX    43831 tNTX 43831       lnterstate    Owned   lnterstate Owned      4/7/rs81 4/t/2O3O
INTX    43833 tNTX 43833       lnterstate    Owned   lnterstate Owned      4/tl7e80 4/L/2O3o
INTX    43818 tNTX 4381_8      lnterstate    Owned   lnterstate Owned      6h/7e8o 6/1./2O3O
INTX    99425 rNTX 99425       lnterstate    Owned   lnterstate Owned      e/tl7e8o e/Ll2O3O
INTX    38527 rNTX 38527       lnterstate    Owned   lnterstate Owned     L2/tl7e84 L2/1./2034
INTX    38528 rNTX 38528       lnterstate    Owned   lnterstate Owned     LzlLl1e84 L2/r/2O34
INTX    38s00   INTX 38500     lnterstate    Owned   lnterstate Owned      LILl198s 7/tl2O3s
INTX    38s03   tNTX 38503     lnterstate    Owned   lnterstate Owned      LlLltegs 7/tl2O3s
INTX    38504   tNTX 38504     lnterstate    Owned   lnterstate owned      1_/1./r98s Llr/203s
INTX    38724   tNTX 38724     lnterstate    Owned   lnterstate Owned      7/1.he8s t/t/203s
INTX    39110   tNTX 391"L0    lnterstate    Owned   lnterstate Owned      7hlrs8s 7lr/2o3s
INTX    39119 tNTX 39119       lnterstate    Owned   lnterstate Owned      7h/1s8s 7 /t/203s
INTX    41929 tNTX 41929       lnterstate    Owned   lnterstate Owned     12/tlt988 12/t/2038
INTX   390180 tNTX 390180      lnterstate    Owned   lnterstate Owned      8/1./7s75 8/1./2025
INTX    74887 rNTX 74887       lnterstate    Owned   lnterstate Owned      7 /1./1e78 7/L/2O28

INTX   125039 tNTX 125039      lnterstate    Owned   lnterstate Owned      5/1.he7e s/L/2O2s
INTX   7201.48 rNTX 120148     lnterstate    Owned   lnterstate Owned      t/L/te8o t/1.12030
   Case 20-11139-1-rel       Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49         Desc Main
                                  Document    Page 260 of 370

INTX   12015t tNTX 1_20151     lnterstate Owned   lnterstate Ownec   LlL/ts8} rlu2030
   Case 20-11139-1-rel       Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49            Desc Main
                                  Document    Page 261 of 370

                                OWNED RAILCAR ASSETS
                                                   Gross Rail     Cubic Feet
 lnitial   Number      Built Date Tare Weight     Load/Weight     Capacity     End of Life
INTX           2L6t      6/1.he$O       60s00            263000         4750     6lLl2030
INTX         390237     LO/ths7s        62900            263000         4750    70/tl2029
INTX          7s286     r2hheTe          60100           268000         4750    L2/1./2O2s
RRRX         182910      s/7/te8o        61000           263000        4650       s/1./2O3O
INTX          74726      7/1./7977       61r_00          268000         4750      7/L/2O27
INTX         120155      tltl7s80        62LOO           263000         4650      1-/rl2030
INTX          6702L      7/1,/1e80       63s00           263000         4700      7/1./2030
RRRX         460337      el7/Ls8O        60900           263000         4650      e/rl2o3o
INTX         720r27      L/L/ts8}        61900           263000         4650      rltl2o3o
INTX         385427      shlte77         61100           268000         4550      s/Ll2027
INTX         125052      s/1./797s       61500           268000         4650      s/L/202e
INTX         I20I23      urheso          62LOO           263000         4650      1./L/2030
INTX         123688      s/1./199r       64700           286000         5810      s/1./2041
INTX          75126      7hlrs78         60800           268000         4750      7h/2o28
INTX         t25Lt7      s/tlts7e        61400           268000         4650      s/tl2o2e
INTX         390318      s/1./1979       s9800           263000         4750      s/1./2O2e
INTX          21340      s/Ll7s7s        63200           263000         4740      s/L/202s
INTX         390076     t2/L{1979        61600           268000         4750    t2/t/2o2s
INTX         L20trz      LlLlLe80        62600           263000         4650      L/r/2O3O
INTX           2r39      7lths8o         63100           263000         4700      7/r/2O3O
BGCX          12308      s/rhe8,o        63200           263000         4700      sh/2o3o
INTX         182873      e/1.he8o        60s00           263000         4650      sl1./2O3O
INTX         821730      e/7/re8o        60200           268000         4750      s/t/203o
INTX         390185      8h/ts7s         s9900           263000         4750      811./2O2s
INTX         385416      s/1./1977       60800           268000         4550      s/1./2027
INTX         3851"18     6lLl1977        62LOO           286000         4550      6/1./2027
INTX         390266      7   /rlrs78     52500           268000         4750      7/L/2o28
INTX         390267      8/rl1s78        62500           268000         4750      8/L/2028
INTX          67020      7hlte$o         63s00           263000         4700      7lL/2O3O
INTX           6497      tlthe74         s9800           263000         4750      Llt/2024
INTX           7L64      tl111974        60000           253000         4750      1./1./2024
INTX          77L33      1,/Ll1974       60300           263000         4750      1.h/2024
INTX           7175      6lLlre74        60100           253000         4750      6/L/2024
INTX          74248      elrlte7s        62500           268000         4600      s/L/2o2s
INTX          74252      e/rlts7s        62000           268000         4600      elt/2o2s
INTX          74270      e/rlte7s        62200           263000         4600      s/r/2o2s
INTX          74287      9/tlts7s        62600           263000         4600      s/tl2o2s
INTX          74308      slLlLe7s        52300           263000         4600      s/tl2o2s
INTX          34055      2/LlLe76        60700           263000         4750      2/Ll2026
INTX          74470      slLl1e76        63s00           268000         4600      e/L/2026
INTX          74546     1.1./1./r976     60700           268000         4750     tr/r/2026
BGCX           L009      tlrlrs77        65700           263000         4650      tltl2027
BGCX           7005      rlLl1977        65700           263000         4650      1.h/2027
   Case 20-11139-1-rel        Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49   Desc Main
                                   Document    Page 262 of 370
BGCX          7007           r/1./Le77    65700        263000     4650    1./Ll2027
INTX        385282       s/1./re77        60400        268000     4550    shl2027
INTX        385204       6/1./1s77         67700       286000     4s50    6h/2027
INTX         74667       7/Ll7977         61500        268000     4750    7/1./2027
INTX         74669       7/1./rs77        61300        268000     4750    7/L/2O27
INTX         74694       7/ths77          61100        268000     4750    7/1./2027
INTX         74738       7/L|1977         61L00        268000     4750    7/t/2O27
INTX         74762       7/7/1977         61200        268000     4750    7/1./2027
INTX        125087       6/1.hs78         61700        268000     4750    6/Ll2028
INTX         74867       7/u7e78          611_00       268000     4750    7/L/2028
INTX         74933       7hhs78           60800        268000     4750    7/1./2028
INTX         74964       7/1./r978        60900        268000     4750    7/L/2O28
INTX         74997       7/7/7e78         60700        268000     4750    7lL/2O28
INTX         7soo2       7/tlrs78         61100        268000     4750    7/1/2028
INTX         75003       7/1./te7s        60100        268000     4750    7/t/2O28
INTX         75032       7/7/7e78         60100        268000     4750    7/1./2028
INTX         75125       7/tl1s78         60800        268000     4750    7/1./2028
BGCX         70504    10/1./1978          62600        263000     4750   Lohl2028
INTX        390321       4/7/7e7s         67700        263000     4750    4/1./2O2e
INTX        125017       s/1./1s79        61600        268000     4650    s/1./2O2e
INTX        L25054       s/1.he7s         61600        268000     4650    s/L/202e
INTX        125134       5/7/7e7e         61600        268000     4650    s/1./2O2s
INTX        r25137       s/ths7s          61600        268000     4650    s/1.12o2s
INTX        390294       s/1./r97s        59700       263000      4750    s/t/2o2s
INTX         2L263       8/tlLe7e         63200       263000      4740    8/L/202s
INTX        390153       eh/1e7e          61600       268000      4650    s/L/2o2e
INTX         75200    t2/Ihs7e            60300       268000      4750   L2hl2O2s
INTX         75221,   nlrlre7s            60300       268000      4750   12/rl2o2s
INTX         75245    12/Ll7979           60100       268000      4750   12/L/2029
INTX         75270    12/t/ts79           60100       258000      4750   t2/Ll2029
INTX         75280    72/L/ts79           60000       268000      4750   L2/1./2029
INTX        125006    72/LlL979           64200       268000      4750   12/tl2O2s
INTX        120183       rlrhs$o          62200       263000      4650    Llrl2030
INTX         13499       2lrlrs8o         62700       263000      4750    2/L/2030
INTX          2133       7/Ll1s80         63200       263000      4700    7/1-/2O3O
INTX          2t35       7 /7/7e8O        63100       263000      4700    7/L/2030
INTX         67022       7/tlts$o         63400       263000      4700    7/r/2o30
INTX        1829L9       7/Llre8}         63400       263000      4700    7lL/2030
INTX        182957       7/L/Ls80         63s00       263000      4700    7/1./2030
INTX        182988       7/t/1e8O         63200       263000      4700    7/rl2O3O
INTX         670L6       e/r/ts8o         60700       263000      4650    s/tl2o3o
INTX         670L9       s/Llts8o         60400       263000      4650    e/L/2O30
INTX         67061       s/ure8o          60s00       263000      4550    e/L/2O3O
INTX        L82739       s/rl7s8o         60700       263000      4650    s/1,/2O3O
INTX        182757       s/Llrs8o         60000       263000      4650    e/1./2o3O
INTX        460359       s/1./re80        60600       263000      4550    e/r/2o3o
INTX         12596    ro/u1980            64000       263000      4750   ro/Ll2030
   Case 20-11139-1-rel        Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49   Desc Main
                                   Document    Page 263 of 370

INTX         67056       70/1./1.s8O       60500       263000     4650   LO/1./2030
INTX         67060       rc/L/ts8o        61300        263000     4650   ro/7/2030
INTX         75122        7hl7e78         61000        268000     4750    7/t/2O28
INTX        390328       1.7/7/r97e       60300        263000     4750   Lrlu2o2s
INTX         67058        7/1./1s8O       63200        263000     4700    7/1./2030
INTX         74234        slureTs         62300        263000     4600    s/t/2o2s
INTX         74378        shlrs76         63500        263000     4600    s/1./2026
INTX        385121        6/Ll1s77        61400        286000     4550    6/1./2027
INTX        78292L        7   /1./Ls8O    63500        263000     4700    7lL/2o30
INTX        t22272        1./r/r97e       68900        268000     5820    t/1./202s
INTX         60484       3/tlte8t         73500        263000     5750    3/1/2O3r
INTX        L23189       4/Ll1e84         70200        268000     5820    4/1./2034
INTX        123393       4/1./1988        67800        268000     5820    4/1./2038
INTX        123395       4/1./7e88        68300        268000     5820    4/Ll2038
INTX         74299       s/1hs7s          62300        263000     4600    s/u2o2s
SKRX         s5001       4/rl197O         6s700        263000     4650    4/1./2O2O
INTX         60492       3/L/rsgL         74000        268000     5750    3lL/2031
SKRX         50011       4/1./Ls77        61800        263000     4750    4/L/2027
INTX         74375       el7he76          63300        268000     4600    s/1./2026
INTX        380803       s/t/te81.        62300       263000      4550    s/L/2031,
INTX        38202L       4/Ll]-sSr        61800       263000      4550    4/1./2031.
INTX        382040       4/ths81'         61700       263000      4550    4h/2031
INTX        382098       s/Ll7e81.        61800       263000      4550    s/Ll2031,
INTX        382L36       4/1_/Ls8t        63600       263000      4550    4/t/2031.
INTX        382139       4h/Le87          62700       268000      4550    4/1./2O3r
INTX        382206       s/1./tegL        62400       263000      4550    s/u203L
INTX        3822sO       s/1./Ls81.       64100       263000      4550    s/t/2031.
INTX        382273       shl1e8L          63400       286000      4550    s/1./2031.
INTX        382278       s/1'he8L         64000       263000      4550    s/Ll2037
INTX        382296       s/LlLe81         61900       268000      4550    shl203r
INTX        382337       5/1,/rs81.       62900       263000      4550    s/t/2031
INTX        382499       6/7/Ls87         6t700       263000      4550    6/1./2031.
INTX        382520       s/Ll1e81         62000       263000      4550    e/r/2o3r
INTX        382596       6hl]-s8t         62200       263000      4550    6/Ll2o3L
INTX        382603       6/Lltsgr         61200       263000      4550    6/7/2037
SKRX         50004   72/1/1e67            65100       263000      4785   t2/r/20L7
SKRX         50022       6/1./Le77        64500       263000      4650    6/L/2027
SKRX         50007       8/Ll1e78         64000       263000      4600    8/rl2028
SKRX         s0009       2/1./Ls$O        61700       263000      4600    2/tl2O3O
SKRX         s0016       2/LlLe8O         60700       263000      4600    2lLl2030
SKRX        180018       3/1/teg}         59800       263000      4750    3/7/2030
INTX         74617   tL/1./Ls76           61100       268000      4750   lLh/2026
BFRX           285   7r/L/1977            70500       286000      570r   Lrlt/2o27
BFRX           278   ro/7/L976            Trtoo       286000      570L   to/1./2026
BFRX           294       1./t/L977        70600       286000      5701    LlL/2O27
BFRX           269       2/1./rs77        71700       286000      570L    2/L/2027
BFRX           287       4/r/L977         70900       286000      5707    4/1./2027
   Case 20-11139-1-rel           Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49     Desc Main
                                      Document    Page 264 of 370

 BFRX            289         4/1./1e77       TILOO        286000     5707    4hl2027
 BFRX            297         4/t/1977        70800        286000     570r    4/1./2027
 BFRX           288          7/7/1977        70700        286000     570L    7   /1./2027
BFRX            290          7/1.he77        71000       286000      5701    7/t/2O27
BFRX            291,         7/LlL977        7L400       286000      570I    7/1/2027
BFRX            292          7   /tl1977     71200       286000      570L    7/1./2027
BFRX            293          7/Llre77        72700       286000      5707    7h/2O27
BFRX            295          7/u1s77         70300       286000      570I    7/1./2027
BFRX            296          7/Lhe77         70700       286000      5701    7   /112027
BFRX            298          7/1.hs77        70800       286000      5707    7   /t/2O27
BFRX            299      7/rhe77             70600       286000      570I    7/1./2027
BFRX            286    1.1./t/1977           70300       286000      570r   rrl1./2027
BFRX            284    t2/1./te77            70700       286000      5707   1.2/tl2027
INTX        427I43       7/tlr970            61000       263000      3435    7/1./2020
INTX        1257r0       s/1/Le7s            61300       268000      4650    s/Ll202e
INTX         77040       3/1./1e74           60200       263000      4750    3/tl2024
INTX         411,13      8/Lhs7s             61400       263000      4750    8/1./2025
INTX         276LO       7/1./7977           62600       268000      4780    7/Ll2027
INTX         27977       7/Lhe78             62600       263000      4780    1./t/2028
INTX         22123       4/7/re$o            6L100       263000      4750    4/1./2030
INTX         34077       2/rl1e76            60300       263000      4750    2/u2026
INTX        390129       4/Ihs7e             61700       268000      4650    4/tl2O2s
INTX          7167       6/7/1974            59500       263000      4750    6/1./2024
INTX         74342       s/1'he76            62900       263000      4600    s/tl2026
INTX         74437       e/1./ts76           63000       268000      4600    e/7/2026
INTX        385396       s/tl1977            60700       286000      4550    s/1./2027
INTX        385468       s/Ll1977            61100       268000      4550    s/Ll2027
INTX         74705       7/1./Le77           61300       268000      4750    7/u2027
INTX        390137       2/1./1s7e           62300       263000      4650    2/t/2O2s
INTX        I25107       s/tlre7e            61100       268000      4650    s/L/202e
INTX        L251,1,4     s/1./Le7e           61700       268000      4650    s/1./202s
iNTX        125012       6/tlte7s            61400       268000      4650    6/7/2O2s
INTX        390156      s/Llrs7e             61600       268000      4650    s/L/202e
INTX        390165      e/tl1s7s             61600       268000      4650    e/7/2O2e
SKRX        180014     10/urs6e              66000       263000     4635    lOhl2}rs
JBRX            318     s/Llrs7e             61300       263000     4650     s/Ll202e
JBRX            33s     sltlLeTs             61200       263000     4650     s/1./2o2e
JBRX            356      s/1/1e7e            61400       263000     4650     s/r/2o2e
JBRX            357      s/Llrs7e            61L00       263000     4650     s/L/202e
INTX         751,66      7hl7s78             62100       268000     4750     7/1./2028
INTX        43L20        4/Lhe7o             64400       286000     4350     4/rl2O2o
INTX        43722        4/Llt97O            60500       286000     4350     4/1./2O2o
INTX       125004        6/1.lLs7s           60800       268000     4750     6/u202s
INTX         75027       /1./ts78
                         7                   60700       268000     4750     7/t/2O28
INTX       782947       7/L/rs&o             63200       263000     4700     7/L/2O3O
INTX       463020       8/tlLs8O             63s00       263000     4700     8/Ll2030
INTX       460L37      ro/Ll1e80             60900       263000     46s0    1.0/tl2o3o
       Case 20-11139-1-rel     Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49    Desc Main
                                    Document    Page 265 of 370

 INTX           120018        1.hl1e8o      62000       263000     46s0     t/Ll2O3O
 INTX           L20L37        1./7/rs8}     63000       263000     4650     Ll1./2030
 INTX           390198        s/1./re79     61600       268000     4650     s/1./2029
 CRDX              1045      70/1./7e74     73900       286000     570L    10/tl2024
 INTX             3240        1'/1'hs7s     67700       286000     5852     r/Ll2O2s
 INTX             324L       4/Llre78      69800        286000     5750     4/t/2028
 INTX             3242     1.2/tlL980      71800        286000     5750    t2/Ll2030
 INTX             3243        s/1hs8t      72000        286000     5750     s/tl203r
 JBRX              20L     1.2/L/198r      69400        286000     5700   L2/1/2031,
JBRX               202     L2/tlL987       69400        286000     5700   12hl203r
 NOKL           829604      7/1./ts7s      60500        263000     4750     7/1./2O2s
 NOKL           816873     1.2/tl1975      62s00       263000      4650   1211./2028
 NOKL           8L8547       1'/thego      65100       268000      4700     t/7/2O3O
 NOKL           828701.      1./1./ts8}    s9900       263000      4750     1./L/2030
 NOKL           828763       1.h/Ls8o      s9s00       268000      4750     t/1./2o3O
NOKL            818569       2/Llts$o      65100       268000      4700    2/L/203o
NOKL            828768       2/1./1e80     59400       268000      4750    2/1-/2O3o
NOKL            833412       2/rhe8L       61800       268000      4750    2/1./2031,
NOKL            833466       2/1.lts8t     61200       268000      4750    2hl2037
NOKL            833502       2/1./Le81,    62000       268000      4750    2/t/203t
NOKL            833401       3/7hssr       61000       268000      4750    3/1./2031,
NOKL            833405       3/tl7e81,     6r_300      268000      4750    3/t/2O3L
NOKL            833408       3/1./ts8]-    60900       268000      4750    3/tl2031,
NOKL            833443       3/Ll1s8t      61300       268000      4750    3/1./2031,
NOKL            833s06       3/1./Le81,    60200       268000      4750    3/rl2O3r
NOKL            833445       4/1./ts81,    61200       268000      4750    4/t/2O3L
NOKL            822292       6/L/1e7s      62400       263000      4750    6h/202s
NOKL            8237t7       6/thego       61L00       268000      4750    6/tl2030
NOKL            818908    t2/1./7980       62800       268000      4700   72/tl2O3O
NOKL            833490    L2/1./ts$O       s9300       268000      4750   L2/tl2030
NOKL            833491    12/Urs8o         60700       268000      4750   t2/r/2o3o
NOKL            833503     2/LhsgL         62100       268000      4750    2/1./2O3r
NOKL           8335L3        2/7hs8r       60300       268000      4750    2/U2031,
NOKL           833515        2/Ll7e81      60800       268000      4750    2hl203L
NOKL           833422        3/1./tsgr     67200       268000      4750    3h/203r
NOKL           833435        3/Ll7e81.     61000       268000      4750    3/u203L
NOKL           833462        3/1,/1981,    51600       268000     4750     3/t/2031,
NOKL           833475        3hl1s81,      61300       268000     4750     3/tl2O3L
INTX            74938        7/L/rs78      60900       268000     4750     7/L/2028
INTX            74932        7/tlrs78      60800       268000     4750     7/t/2O28
INTX             7I72        6lLl1e74      s9400       263000     4750     6/Ll2024
INTX            74266      s/rl1s7s        62400       268000     4600     e/1./2O2s
INTX            75188     t2/Ll797e        60000       268000     4750    12hl2o2s
INTX            67009      e/1./te8o       60900       263000     4650     e/tl2o3o
INTX           390096      7 /1./1e7s      59300       268000     4750     7/t/202s
INTX            74607     1.L/rlr976      6r.100       268000     4750    L1./1./2026
INTX            43790      4/tl7980       68500        268000     5820    4/L/2030
   Case 20-11139-1-rel       Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49   Desc Main
                                  Document    Page 266 of 370
INTX         43831       4/Ll!e$O        68600        268000     s820    4/L/2030
INTX         43833       4/7/Ls$O        68s00        268000     5820    4/u213o
INTX         43818       6h/Le8o         68700        268000     5820    6/7/2030
INTX         9942s       shlLs8o         68600        268000     5700    e/tl2030
INTX         38527    12/Ll1984          67900        268000     s800   L2/1./2034
INTX         38s28    rzhlLe84           67300        268000     5800   L2/Ll2034
INTX         38s00       rltlLe8s        67s00       268000      s800    rhl2o3s
INTX         38s03       Ll1./L98s       59800       268000      5800    tlL/2O3s
INTX         38504       LlLlregs        70L00       268000      5800    1./Ll2O3s
INTX         38724       uLlLe&s         67900       268000      5800    tltl2o3s
INTX         39110       7/1,/L985       67300       268000      s800    7/L/203s
INTX         39119      /tlLe8,s
                         7               69700       268000      s800    7h/203s
INTX         41929    12/t/Ls88          67500       268000      5800   t2/rl2038
INTX        390180     8/Ll1e7s          60200       263000      4750    8/1./2O2s
INTX         74887     7/LlLe78          61000       268000      4750    7/L/2O28
INTX        125039     s/rlLs7e          61600       268000      4650    s/L/2O2s
INTX        7201,48    Llu1e80           62tOO       263000      4650    rlLl2030
INTX        L2OL5T       utl1e80         62200       263000      4650    tlL/2O3O
            Case 20-11139-1-rel                         Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                              Desc Main
                                                             Document    Page 267 of 370
 Fill in this information to identify the case:

 Debtor    name Interstate Commodities,                    lnc.

 United States Bankruptcy Court for the:               NORTHERN DISTRICT OF NEWYORK

 Case number (if known)
                                                                                                                                !   Check if this is an
                                                                                                                                    amended filing


Official Form 206D
Schedule D: Greditors Who Have Glaims Secured by Property                                                                                             121'|.5

Be as complete and accurate as possible.
l.   Do any creditors have claims secured by debtor's property?

       I   ru0. Check this box and submit page 1 of this form to the court with debto/s other schedules. Debtor has nothing else to report on this form.
       E   Yes. Fill in all of the information below.




Official Form    206D                                Schedule D: Creditors Who Have Claims Secured by Property                                      page 1 of    1

Software Copyright (c) 1996-2020 Best Case, LLC -   w.best€se.com                                                                             Best Case Bankruptcy
                Case 20-11139-1-rel                    Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                                    Desc Main
                                                            Document    Page 268 of 370
  Fill in this information to identify the case

  Debtor     name lnterstate Commodities, lnc.
  United States Bankruptcy Court for the:             NORTHERN DISTRICT OF NEW YORK

  Case number (if known)
                                                                                                                                                    fl   Check if this is an
                                                                                                                                                         amended filing


 Official Form 206ElF
 Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                        12t15
Be as complete and accurate as possible. Use Part I for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedute NB.- Assets - Rea, and
Personal Propetty (Official Form 206A/8) and on Sctedure G: Executory Contracts and alnexpired Leases (Official Form 2O6G). Number the entries in parts 1 and
2intheboxesontheleft. lf morespaceisneededforPart{ orPatl2,fill outandattachtheAdditional Pageofthatpartincludedinthisform.
fiH?!il          List Ail Creditors wirh PRIORITY Unsecured Claims

       1.   Do any creditors have priority unsecured ctaims? (See 11 U.S.C. S 507).

            I    No. co to P"rt z.

            E   Yes. Go to line 2.


EEI'F,I          List Ail Creditors with NONpRtoRtTy Unsecured Claims
       3.   List in alphabetical order all of the creditors with nonpriority unsecured claims.   lf the debtor has more than 6 creditors with nonpriority unsecured claims, fill
            out and attach the Additional Page of Part 2.
                                                                                                                                                              Amount of claim

 3.1        Nonpriority creditor's name and mailing address                 As ofthe petition filing date, the claim is: Checkailthatappty.                            $2,533.32
            A AND R BULK PAK, INC //                                        E   Contingent
            452 YORK STREET                                                 E   Untiquidated
            ELIZABETH, NJ 07201                                             E   Disputed
            Date(s) debt was incurred     _                                 Basis forthe claim:    _
            Last 4 digits of account number
                                                                            ls the claim subjectto offset?    I   ruo E   Yes

 3.2        Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is:   Check att that appty.                     $10,673.99
            ABERDEEN CAROLINA AND WESTERN RR                                E   Contingent
            C/O JAN DICKEY                                                  E   Unliquidated
            967 NC HWY 211 E
                                                                            E   Disputed
            CANDOR, NC27229
                                                                            Basis for the claim:   _
            Date(s) debt was incurred     _
            Last 4 digits of account number                                 ls the claim subjectto offset?    I ruo fl    Yes


 3.3        Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is: check art that   appty.                           $38.70
            ACW RAILWAY                                                     E   Contingent
            ATT: Edwin Erker                                                E   Untiquidated
            967 NC Highway 211 East
                                                                            E   Disputed
            CANDOR, NC27229
            Date(s) debt was incurred     _
                                                                            Basis for the claim:   _
            Last 4 digits of account number                                 ls the claim subject to offset?   I   ruo E   Yes


 3.4        Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:    Check ail that appty.                      $t 315.19
            ADM                                                             E   Contingent
            PO BOX 92572                                                    E   Untiquidated
            Chicago, |L 60675-2572                                          E   Disputed
            Date(s) debt was incurred     _                                 Basis for the claim:   _
            Last 4 digits of account number
                                                                            ls the claim subject to offset?   I   ruo E   Yes




Official Form    206E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                           page   1   of46
Software Copyright (c) 1996-2020 Best Case, LLC -   M.bestcaso.com                                       55657                                                    Best Case Bankruptcy
           Case 20-11139-1-rel                         Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                                    Desc Main
                                                            Document    Page 269 of 370
 Debtor InterstateCommodities lnc.                                                                        Case number (irmown)
              Name

 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:   Check all that appty.                 $2,42.44
          ADM                                                                E    Contingent
          PO BOX 2490s                                                       E    Unliquidated
          Pasadena, CA          91   1   09-0003                             E    oisputed
          Date(s) debt was incurred        _                                 Basis forthe claim:    _
          Last 4 digits of account number
                                                                             ls the claim subject to offset?     I ruo E    yes

 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: check all       that apply.               $300.00
          ADM ALLIANCE NUTRITION                                             E    Contingent
          2OOO HUMMEL AVENUE                                                 E    Unliquidated
          CAMP HILL, PA 17011                                                E    Disputed
          Date(s) debt was incurred        _                                 Basis forth€ claim:      _
          Last 4 digits of account number
                                                                             ls the claim subjectto offset?      I No E     Yes

 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: check aI        that appty.           $15,095.80
          ADM GRAIN                                                          E    Contingent
          4410 W. Military Avenue                                            E    Unliquidated
          FREMONT, NE 68025                                                  E    Disputed
          Date(s) debt was incurred        _                                 Basis for the claim:     _
          Last 4 digits of account number
                                                                             ls the claim subject to offset?     I No E Yes
 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:   Check att that appty.               $10,559.28
          AERO TRANSPORTATION PRODUCTS                                       E    Contingent
          P.O. BOX 1058                                                      E    Untiquidated
          lndependence, MO 64051 -0558                                       E    oisputed
          Date(s) debt was incurred        _                                 Basis for the claim:     _
          Last 4 digits of account number         _                          ls the claim subject to offset?     I   No E   Yes


 3.9      Nonpriority creditor's name and mailing address                    As ofthe petition filing date, the claim is:    Check aI that appty.                    $845.61
          AG CONTAINER TRANSPORT //                                          E    Contingent
          433 London Groveport Rd                                            E    Unliquidated
          Lockbourne, OH 43137                                               E    Disputed
          Date(s) debt was incurred        _                                 Basis forthe claim:      _
          Last 4 digits of account number
                                                                             ls the claim subiect to   offset?   I Uo E y"t
 3.1 0    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: check      att that appty.                 $283.48
          AG TRADERS INC                                                     E    Contingent
          12328 747 Road                                                     E    Untiquidated
          KEARNEY, NE 68845                                                  E    oisputed
          Oate(s) debt was incurred        _                                 Basis for the claim:     _
          Last 4 digits of account number
                                                                             ls the claim subjectto    offsetz   I   No E   Yes

 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:    Check   aI   that appty                    $0.01
          AG VALLEY COOP ///                                                 E    Contingent
          P. O. Box 68                                                       El   Untiquidated
          EDISON, NE 68936                                                   E    Disputed
          Oate(s) debt was incurred        _                                 Basis for the claim:     _
          Last 4 digits of account number
                                                                             ls the claim subject to offset?     I No E Yes




Official Form 206   E/F                                       Schedule E/F: Greditors Who Have Unsecured Claims                                                    Page   2   of46
Software Copyright (c) 1996-2020 Best Cas€, LLC   -w.bestcase.com                                                                                             Best Case Bankruptcy
           Case 20-11139-1-rel                        Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                                     Desc Main
                                                           Document    Page 270 of 370
 Debtor lnterstateCommodities.lnc.                                                                       Case number      (il<nown)
              Name

 3.12      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: check      ail that appty                1,702.88
          AGRI LOGISTICS //                                                   E    Contingent
          32596 W 111TH STREET                                                E    Unliquidated
          OLATHE, KS 56061                                                    E    Disputed
           Date(s) debt was incurred     _                                    Basis for the claim:   _
           Last 4 digits of account number
                                                                              ls the claim subject to offset?     I No E      Yes

 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:      Check ail that appty.                 $922.6s
          AGRICULTURAL COMMODITIES INC                                        El   Contingent
           2224OxlordRd.                                                      E    Unliquidated
           New Oxford, PA 17350                                               E    Disputed
          Date(s) debt was incurred      _                                    Basis for the claim:   _
          Last 4 digits of account number
                                                                              Is the claim subject to   otfset?   I No E      Yes

 3.14     Nonpriority creditor's name and mailing address                    As ofthe petition filing date, the claim is: check        att that appty.             $3,636.16
          AIRGAS USA LLC                                                      E    Contingent
          PO BOX 73444s                                                       E    Untiquidated
          Chicago, lL 60673-4445                                              E    oisputed
          Date(s) debt was incurred      _                                    Basis forthe claim:    _
          Last 4 digits of account number
                                                                              ls the claim subject to offset?     I   No El Yes
 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:      Check alt that apply.              $4,263.23
          ALABAMA AND TENNESSE RIVER
          RAILWAY                                                                  Contingent
          Omnitrax Holdings Combines lnc                                           Unliquidated
          PO Box 912979
                                                                                   Disputed
          Denver, CO 80291-2979
                                                                             Basis for the claim:
          Date(s) debt was incurred     _
          Last 4 digits of account number                                     ls the claim subject to   offset?   I   No E    ves

 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: check       ail that appty.           $15,086.63
          ALASKA RAILROAD CORPORATION                                         E    Contingent
          Attn: Acct Rec; P.O Box 100520                                      E    Unliquidated
          327 West Ship Creek Avenue
                                                                              E    otsputed
          Anchorage, Alaska 9951 0-35'l 5
                                                                             Basis forthe claim:     _
          Date(s) debt was incurred     _
          Last 4 digits of account number                                    ls the claim subject to offset?      I   No E    Yes


 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:     Check att that appty.             $46 ,310.49
          ALF P-I INC //                                                      E    Contingent
          c/o Residco                                                         E    Unliquidated
          70 West Madison, Ste 2200                                           E    oisputed
          cHtcAco, tL 60602
          Date(s) debt was incurred     _
                                                                             Basis for the claim:    _
          Last 4 digits of account number                                    ls the claim subject to    offset?   I   ruo E   Yes


 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: check aI       that appty.              $z 767.48
          ALTON AND SOUTHERN RAILWAY CO                                      E     Contingent
          22984 Network Place                                                E     Unliquidated
          Chicago, lL 60673-1229                                             E     oisputed
          Date(s) debt was incurred     _
          Last 4 digits of account number
                                                                             ls the claim subject to offset?      I   No E    Yes




Official Form 206   E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 3 of46
Software Copyright (c) 1996-2020 Best Case, LLC - wW.bestcase.com                                                                                             Best Case Bankruptcy
           Case 20-11139-1-rel                          Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                                Desc Main
                                                             Document    Page 271 of 370
 Debtor lnterstateCommodities,lnc.                                                                        Case number (itrnown)
              Name

 3.19     Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is:   Check all that apply.               $194.38
          AMARILLO WIRELESS                                                   E    Contingent
          P.O. BOX 20561                                                      E    Unliquidated
          AMARILLO, TX 79114                                                  E    Disputed
          Date(s) debt was incurred       _                                   Basis for the claim:   _
          Last 4 digits of account number           _                         ls the claim subject to offset?   I ruo EI Yes
 3.20     Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is:   Check att that appty.             $1,060.37
          AMEROPA ASIA PTE LTD                                                E    Contingent
          One Temasek Avenue                                                  E    Untiquidated
          Millenia Tower #31-02                                               E    Disputed
          Singapore,        0391 92 00000-0000
                                                                              Basis forthe claim:    _
          Date(s) debt was incurred      _
          Last 4 digits of account number                                     ls the claim subject to offset?   I   ruo E Y"t

 3.21     Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: check att   that appty.               $799.26
          AMEROPA SA                                                          E    Gontingent
          13, Avenue De Rumine                                                E    Unliquidated
          Lausanne, 0 CH-1005                                                 E    Disputed
          Date(s) debt was incurred      _                                    Basis forthe      claim:_
          Last 4 digits of account number           _                                                           I Ho E     yes
                                                                              ls the claim subject to otfset?


 3.22     Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: check ail   that appty.                $976.25
          AMSPEC LLC                                                          E    Contingent
          1249 South River Road                                               E    Unliquidated
          Suite 204                                                           E    Disputed
          Cranbury, NJ 08512
                                                                              Basis forthe claim:    _
          Date(s) debt was incurred      _
          Last 4 digits of account number                                     ls the claim subject to offset?   I   No E   Yes


 3.23     Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: check    att that appty           $17,076.38
          ANN ARBOR RAILROAD                                                  E    Contingent
          C/O JAY BENEDICT                                                    E    Unliquidated
          P. O. Box 790343 Bin #150077                                        E    oisputed
          sT LOU|S, MO 63179-0343
                                                                              Basis for the claim:   _
          Date(s) debt was incurred      _
          Last 4 digits of account number                                     ls the claim subject to offset?   I   No E   Yes


 3.24     Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is:   Check ail that appty.             $2,000.00
          APA'S SECURED TRUCK PARKING                                         E    Contingent
          250 E 167TH ST                                                      E    Unliquidated
          HARVEY, IL 60426                                                    E    Disputed
          Date(s) debt was incurred      _                                    Basis for the claim:   _
          Last 4 digits of account number
                                                                              ls the claim subject to offset?   I   Uo E ye.

 3.25     Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is:   Check ail that appty.         $126,387.76
          ARC RAIL 2013 1 LLC                                                 E    Contingent
          PO BOX 310431                                                       E    Unliquidated
          DES MOINES, lA 50331-0431                                           El   Disputed
          Date(s) debt was incurred      _                                    Basis forthe claim:    _
          Last 4 digits of account number
                                                                              ls the claim subject to offset?   I   No E   Yes




Official Form 206   E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 4of46
Software Copyright (c) 1996-2020 Best Case, LLC -   w.bestcase.com                                                                                         Best Case Bankruptcy
           Case 20-11139-1-rel                      Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                                    Desc Main
                                                         Document    Page 272 of 370
 Debtor lnterstate Commodities. lnc.                                                                  Case number       (irxnown)
              Name

 326      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: check      att that appty.             $z 196.58
          ARCHER DANIELS MIDLAND COMPANY                                   E    Contingent
          Export Containers                                                E    Unliquidated
          4666 Faries Parkway                                              E    Disputed
          DECATUR, IL 62526
                                                                           Basis for the claim:   _
          Date(s) debt was incurred    _
          Last 4 digits of account number                                  ls the claim subject to offset?     I No E        Yes


 3.27     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: check      att that appty.             $2,870.32
          ARS NEBRASKA LLC                                                 E    Contingent
          dba Appalachian RC Services                                      E    Unliquidated
          P. O. Box 1548
                                                                           El   Disputed
          GRAND ISLAND, NE 68802
                                                                           Basis for the claim:   _
          Date(s) debt was incurred    _
          Last 4 digits of account number                                  Is the claim subject to   otfset?   I no E        Yes


 3.28     Nonpriority creditofs name and mailing address                   As of the petition filing date, the claim is: check ail     that appty.           $372,756.25
          ATEL LEASING CORPORATION ///                                     E    Contingent
          PO Box 671597                                                    E    Unliquidated
          DALLAS, TX75267-1597                                             E    oisputed
          Date(s) debt was incurred    _                                   Basis forthe claim:    _
          Last 4 digits of account number
                                                                           ls the claim subject to offset?     I   No E      yes

 3.29     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: check      ail that appty.                $100.00
          ATLAS PHYSICAL PRODUCTS LLC                                      E    Contingent
          4203 Montrose Blvd                                               E    Untiquidated
          Suite 650                                                        E    oisputed
          Houston, TX 77006
                                                                           Basis forthe claim:    _
          Date(s) debt was incurred    _
          Last 4 digits of account number                                  ls the claim subjectto offset?      I   No E      Yes


 3.30     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: check aI      that appty.                 $120.00
          B&B BROKERAGE SERVICES LLC                                       E    Contingent
          3590 W 350 S                                                     E    Unliquidated
          Chalmers,lN 47929                                                E    Disputed
          Date(s) debt was incurred    _                                   Basis for the claim:   _
          Last 4 digits of account number
                                                                           ls the claim subject to offset?     I No E        Yes

 3.31     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: check aI      that appty.                 $399.98
          BAUER BUILT TIRE                                                 E    Contingent
          2547 West 23rd Drive                                             E    Untiquidated
          Fremont, NE 68025                                                E    oisputed
          Date(s) debt was incurred    _                                   Basis for the claim:   _
          Last 4 digits of account number
                                                                           ls the claim subject to otfset?     I   No E      Yes

 3.32     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: check      att that appty.                 $81.80
          BELSON STEEL CENTER                                              E    Contingent
          PO Box 88498                                                     E    Unliquidated
          Chicago, lL 60680-1498                                           E    Disputed
          Date(s) debt was incurred    _                                   Basis forthe claim:    _
          Last 4 digits of account number
                                                                           ls the claim subject to offset?     I   No   fl   yes




Official Form 206   E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 5of46
Soflware Copyright (c) 1996-2020 Best Case, LLC -w.bestcase.com                                                                                            Best Case Bankruptcy
           Case 20-11139-1-rel                          Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                                 Desc Main
                                                             Document    Page 273 of 370
 Debtor lnterstateGommodities,lnc.                                                                       Case number    (itt<nown)
              Name

 3.33      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: check    att that appty.             $1,306.80
           BENJAMIN STEEL CO INC                                              E   Contingent
           PO Box 748014                                                      E   Untiquidated
           Ci ncin nati, OH 4527 4-801 4                                      E   Disputed
           Date(s) debt was incurred      _                                   Basis forthe claim:    _
           Last 4 digits of account number
                                                                              ls the claim subject to offsetz   I   No E   Yes

 3.34      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: check    att that appty.                $133.96
           BLUE RIDGE SOUTHERN RAILROAD                                       E   Contingent
          P.O. BOX 790343                                                     E   Unliquidated
          BtN#150077                                                          E   oisputed
          sT LOU|S, MO 63179
                                                                              Basis forthe claim:    _
           Date(s) debt was incurred      _
          Last 4 digits of account number           _                         ls the claim subject to offset?   I ruo E    yes


 3.35     Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is:   Check att that appty.          $277,894.99
           BNSF RAILWAY COMPANY                                               E   Contingent
          3115 Solutions Center                                               E   Untiquidated
          Chicago, lL 60677-3001                                              E   oisputed
          Date(s) debt was incurred       _                                   gasis for the claim:
                                                                                                     _
          Last 4 digits of account number
                                                                              ls the claim subject to offset?   I No E Yes
 3.36     Nonpriority credito/s name and mailing address                      As of the petition filing date, the claim is: Check att that   appty.              $3,864.14
          BRIAN LAIRD                                                         E   Contingent
          923 Stone Church Road                                               E   Unliquidated
          Waterloo, NY 13165                                                  E   Disputed
          Date(s) debt was incurred      _
          Last 4 digits of account number           _                                                           I uo E Yes
                                                                              ls the claim subject to offsetz

 3.37     Nonpriority creditor's name and mailing address                     As ofthe petition filing date, the claim is:    Check alt that apply.              $t 308.97
          BUCYRUS RAILCAR REPAIR LLC                                          E   Contingent
          C/O THOMAS CATHCART                                                 E   Unliquidated
          P.O. BOX 734158                                                     E   Disputed
          cHtcAco, tL 606734158
                                                                              Basis for the claim:   _
          Date(s) debt was incurred      _
          Last 4 digiG of account number                                      ls the claim subject to offset?   I No E Yes
 3.38     Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: check    att that appty.             $1,091.80
          BUFFALO AND PITTSBURGH RAILROAD                                     E   Contingent
          27606 NETWORK PLACE                                                 E   Unliquidated
          Chicago, lL 60673                                                   E   Disputed
          Date(s) debt was incurred      _                                    Basis forthe claim:    _
          Last 4 digits of account number
                                                                              ls the claim subject to offset?   I No E     Yes

 3.39     Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is:   Check att that apply.                  $81.21
          BUNGE NORTH AMERICA                                                 E   Contingent
          11720 Borman Drive                                                  E   Unliquidated
          sT LOU|S, MO 63146                                                  E   Disputed
          Date(s) debt was incurred      _
          Last 4 digits of account number           _                                                           I No E Yes
                                                                              ls the claim subject to offset?




Official Form 206   E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page   5 of 46
Software Copyright (c) 1996-2020 Best Case, LLC -   w.bestcase.com                                                                                          Best Case Bankruptcy
            Case 20-11139-1-rel                          Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                                  Desc Main
                                                              Document    Page 274 of 370
 Debtor        lnterstate Com modities, lnc.                                                              Case number    (il<nown)


 3.40      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim isi   Check ail that appty.                $1,039.29
           BURLINGTON JUNCTION RAILWAY                                         E    Contingent
           ATTN: LIZ CALHOUN                                                   E    Untiquidated
           1510 BLUFF ROAD / PO BOX 37
                                                                               E    Disputed
           BURLINGTON, IA 52501
           Date(s) debt was incurred      _
                                                                               Basis for the claim:   _
           Last 4 digits of account number                                     ls the claim subject to offset?   I   No E    Yes


 3.41      Nonpriority creditor's name and mailing address                    As ofthe petition filing date, the claim is: Checkalthatappty.                     $12,006.00
           BURLINGTON NORTHERN AND SANTA FE                                    E    Contingent
           RWY //                                                              u    Untiquidated
           3110 Solutions Center                                               E    oisputed
           Chicago, lL 60677-3001
                                                                               Basis forthe claim:    _
           Date(s) debt was incurred      _
           Last 4 digits of account number                                     ls the claim subjectto offset?    I tlo E Yes
 3.42      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:   Check ail that appty.                   $345.20
          CAL.MAINE                                                            E    Contingent
          3320 w' WOODROWWILSON DRIVE                                          E    Unliquidated
          JACKSON, MS 39209                                                    E    Disputed
           Date(s) debt was incurred      _                                   Basis for the claim:
           Last 4 digits of account number          _                                                            I ruo E
                                                                              ts the claim subject to offset?                Yes

 3.43     Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim isi Check    att   that appty.          $229,723.99
          CANADIAN NATIONAL                                                    E    Contingent
          Attn : Non-Freight Management                                        E    Unliquidated
          PO Box 71351                                                         El   Disputed
          Chicago, lL 60694-1351
          Date(s) debt was incurred       _
                                                                              Basis for the claim:    _
          Last 4 digits of account number                                     ls the claim subject to offset?    I   No E    Yes


 3.44     Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is:   Check att that appty.             $372,4r'i0.37
          CANADIAN NATIONAL//                                                  E    Contingent
          P.O. Box 71206                                                       E    Untiquidated
          Ghicago, lL 60694-1206                                               E    Disputed
          Date(s) debt was incurred       _                                   Basis for the claim:    _
          Last 4 digits of account number
                                                                              ls the claim subject to otfset?    I   No E    Yes

 3.45     Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is:   Check ail that appty.              $48,135.74
          CANADIAN PACIFIC RAILWAY                                            E     Contingent
          w01835C / PO BOX 1289                                               E     Untiquidated
          MAIN POST OFFICE
                                                                              E     Disputed
          WINNIPEG, MB R3C 221
          Date(s) debt was incurred       _
                                                                              Basis for the claim:    _
          Last 4 digits of account number                                     ls the claim subject to offset?    I   No EI ves

 3.46     Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is:   Check ail that appty.                   $434.02
          CANADIAN PACIFIC RAILWAY CO //                                      El    Contingent
          c/o cM-9527                                                         EI Unttquidated
          ST PAUL, MN 55170-9527                                              E     Disputed
          Date(s) debt was incurred       _                                   Basis for the claim:    _
          Last 4 digits of account number
                                                                              ls the claim subject to offset?    I   No El   Yes




Official Form 206   E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 7 of46
Software Copyright (c) 1996-2020 Best Case, LLC -   w.bestcase.com                                                                                            Best Case Bankruptcy
            Case 20-11139-1-rel                         Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                                   Desc Main
                                                             Document    Page 275 of 370
 Debtor lnterstate Commodities, lnc.                                                                    Case number      (ir t<nown)
              Name

 3.47      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim isi     Check ail that appty.                  $374.62
           CANPOTEX                                                          E   Contingent
           C/O DAVID WHYMAN                                                  E   Untlquidated
           1112 AVE SOUTH                                                    E   Disputed
           SASKATOON, SK CA S7K 1K5
           Date(s) debt was incurred      _
                                                                             Basis for the claim:   _
           Last 4 digits of account number                                   ls the claim subject to   offset?   I No E      Yes


 3.48      Nonpriority creditor's name and mailing address                   As ofthe petition filing date, the claim is: check        att that appty.           $11,400.00
          CARGILL INC.                                                       E   Contingent
          862 W. Ridge Road Building A                                       E   Untiquidated
          ATT: Cindy Sanders                                                 E   oisputed
          GAINESVILLE, GA 30501
                                                                             Basis for the claim:   _
           Date(s) debt was incurred      _
           Last 4 digits of account number                                   ls the claim subject to offset?     I   ruo E   Yes


 3.49      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:     Check ail that appty.                  $57s.68
          CAROLINA COASTAL RAILWAY                                           E   Contingent
          PO BOX 399                                                         E   untiquidated
           BUNN, NC 27508                                                    E   Disputed
          Date(s) debt was incurred       _                                  Basis for the claim:   _
          Last 4 digits of account number
                                                                             ls the claim subject to   offset?   I   No E    Yes

 3.50     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:     Check att that appty.                  $525.00
          CENTENNIAL GRAIN LLC                                               E   Contingent
          164 West 1st North                                                 E   Unliquidated
          Rexburg, lD 83440                                                  E   oisputed
          Date(s) debt was incurred       _                                  Basis for the claim:   _
          Last 4 digits of account number
                                                                             ls the claim subject to   offset?   I   No E    Yes

 3.51     Nonpriority creditor's name and mailing address                    As ofthe petition filing date, the claim is: check        att that appty.             $1,960.89
          CENTERGAS FUELS INC                                                E   Contingent
          P.O. BOX 15000                                                     E   Unliquidated
          AMARILLO, TX 79105                                                 E   Disputed
          Date(s) debt was incurred       _                                  Basis for the claim:   _
          Last 4 digits of account number
                                                                             ls the claim subject to   offset?   I   ruo E yes

 3.52     Nonpriority creditor's name and mailing address                    As ofthe petition filing date, the claim is:      Check ail that appty.               $2,467.36
          CENTRAL MAINE AND QUEBEC RAILWAY //                                E   Contingent
          7OO MAIN STREET                                                    E   Unliquidated
          SUITE 3                                                            E   Disputed
          BANGOR, ME 04401
          Date(s) debt was incurred       _
                                                                             Basis for the claim:   _
          Last 4 digits of account number           _                        ls the claim subject to offset?     I No E      Yes


 3.53     Nonpriority creditor's name and mailing address                    As ofthe petition filing date, the claim is: check        ail that appty.                $131.37
          CENTRAL OREGON AND PACIFIC RR                                      E   Contingent
          Cash Receipts, JP Morgan Chase                                     E   Unliquidated
          27603 Network Place                                                E   Disputed
          Chicago,lL 60673-1276
                                                                             Basis for the claim:   _
          Date(s) debt was incurred       _
          Last 4 digits of account number                                    ls the claim subject to offset?     I   No E    Yes




Official Form 206   E/F                                       Schedule E/F: Creditorc Who Have Unsecured Claims                                                    Page   I of46
Software Copyright (c) 1996-2020 Best Case, LLC -   w.bestcase.@m                                                                                             Best Case Bankruptcy
           Case 20-11139-1-rel                       Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                                     Desc Main
                                                          Document    Page 276 of 370
 Debtor lnterstateGommodities,lnc.                                                                     Case number (iirnown)
              Name

 3.54      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:      Check ail that appty.                 $150.00
          CENTRAL VALLEY AG                                                  E   Contingent
           P. O. Box429                                                      E   Untiquidated
          YORK, NE 68467                                                     E   oisputed
          Date(s) debt was incurred     _                                   Basis for the claim:   _
          Last 4 digits of account number
                                                                            ls the claim subjectto offset?      I lto E Yes
 3.55     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:      Check att that appty               $3,400.00
          CERES CONSULTING LLC                                               E   Contingent
          3808 Cookson Road                                                  E   Unliquidated
          East St. Louis, lL 62201-2126                                      E   Disputed
          Date(s) debt was incurred     _                                   Basis forthe claim:    _
          Last 4 digits of account number
                                                                            ls the claim subject to offset?     I   No   f]   yes

 3.56     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: check ail      that appty               $3,919.83
          CHICAGO CENTRAL AND PACIFIC                                       E    Contingent
          RAILROAD //                                                       E    Untiquidated
          PO BOX 95361
                                                                            E    Disputed
          Chicago, lL 60694-5361
                                                                            Basis for the claim:   _
          Date(s) debt was incurred     _
          Last 4 digits of account number                                   ls the claim subject to offset?     I   No E      yes


 3.57     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: check       att that appty.        $1,375,437.80
          CHICAGO FREIGHT CAR LEASING CO //                                 E    Contingent
          PO Box 75129                                                      E    Unliquidated
          Chicago, lL 50675                                                 E    Disputed
          Date(s) debt was incurred     _                                   Basis forthe claim:    _
          Last 4 digits of account number
                                                                            ls the claim subject to offset?     I   No E      yes

 3.58     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: check       att that appty                  $84.28
          CHICAGO FT WAYNE AND EASTERN RR                                   E    Contingent
          27591 Network Place                                               E    Unliquidated
          Chicago, lL 60673-1275                                            E    Disputed
          Date(s) debt was incurred     _                                   Basis for the claim:   _
          Last 4 digits of account number
                                                                            ls the claim subject to   offsetl   I ruo E       Yes

 3.59     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim isi      Check ail that appty.            $15,056.31
          CHICAGO RAIL LINK RAILROAD                                        E    Contingent
          C/O Omnitrax Holdings Combined                                    E    Unliquidated
          P. O. Box 912979                                                  E    Disputed
          Denver, CO 80291-2979
                                                                            Basis for the claim:   _
          Date(s) debt was incurred     _
          Last 4 digits of account number                                   ls the claim subject to offset?     I No E Yes
 3.60     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: check aI       that appty.                  $36.00
          CHIP KEPFORD                                                      E    Contingent
          2160 MARSEILLES GALION RD E                                       E    Untiquidated
          MAR|ON, OH 43302                                                  E    Disputed
          Date(s) debt was incurred     _                                   Basis for the claim:   _
          Last 4 digits of account number
                                                                            ls the claim subject to offset?     I   No E      yes




Official Form 206   E/F                                      Schedule E/F: Greditors Who Have Unsecured Claims                                                    Page 9 of46
Software Copyright (c) '1996-2020 Best Case, LLC - w.bestcase.com                                                                                            Best Case Bankruptcy
           Case 20-11139-1-rel                          Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                                   Desc Main
                                                             Document    Page 277 of 370
 Debtor lnterstateCommodities lnc.                                                                       Case number (r     rnown)


 3.61     Nonpriority creditor's name and mailing address                     As ofthe petition filing date, the claim is: checkailthatappty.                    $56,759.05
          GHS                                                                 El   Contingent
          PO Box 1450                                                         E    Unliquidated
          N W 9365                                                            E    Disputed
          MINNEAPOLIS, MN 55485
                                                                              Basis for the claim:   _
          Date(s) debt was incurred       _
          Last 4 digits of account number                                     ls the claim subject to offset?     I No E    Yes


 3.62     Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: check     att that appty.            $14,724.48
          cHs                                                                 E    Contingent
          5500 Cenex Drive                                                    E    Unliquidated
          lnver Grove Hgts, MN 55077                                          E    Disputed
          Date(s) debt was incurred       _                                   Basis forthe claim:    _
          Last 4 digits of account number
                                                                              ls the claim subject to offset?     I No f]   yes

 3.63     Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is:   Check   aI   that appty.                $158.03
          CINTAS CORPORATION 491                                              E    Contingent
          P.O. BOX 650838                                                     E    Untiquidated
          DALLAS, TX 75255.0838                                               E    oisputed
          Date(s) debt was incurred      _                                    Basis for the claim:   _
          Last 4 digits of account number
                                                                              ls the claim subject to offset?     I No E Yes
 3.64     Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is:   Check ail that appty.                   $100.00
          CIRCLE S TRADING LLC                                                E    Contingent
          3361 S. Hwy 45W                                                     E    Unliquidated
          KENTON, TN 38233                                                    E    Disputed
          Date(s) debt was incurred      _                                    Basis for the claim:   _
          Last 4 digits of account number
                                                                              ls the claim subject to offset?     I No E Yes
 3.65     Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is:   Check ar that appty.                 $8,821.10
          CITY OF TROY                                                        E    Contingent
          433 RIVER STREET                                                    E    Unliquidated
          SUITE 5OO1                                                          E    Disputed
          Troy, NY 12180
          Date(s) debt was incurred
                                                                              Basis for the claim:   _
                                         _
          Last 4 digits of account number                                     ls the claim subject to offset?     I No E    Yes


 3.66     Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: check aI       that appty.             $6,653.06
          COHEN LAND LLP                                                      E    Contingent
          c/o Jeremy Cohen                                                    E    Unliquidated
          1620 S. University Blvd                                             E    Disputed
          DENVER, CO 80210
                                                                              Basis forthe claim:    _
          Date(s) debt was incurred      _
          Last 4 digits of account number           _                         ls the claim subject to   offset?   I No E Yes
 3.67     Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: check     att that appty.                 $157.92
          COLUMBUS AND OHIO RIVER RR                                          E    Contingent
          27605 NETWORK PLACE                                                 E    Unliquidated
          cHtcAGo, tL 60673-1276                                              E    Disputed
          Date(s) debt was incurred      _                                    Basis forthe claim:    _
          Last 4 digits of account number
                                                                              ls the claim subject to offset?     I No E Yes




Official Form 206   E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page10of46
Software Copyright (c) 1996-2020 Best Case, LLC -   w.bestcase.com                                                                                            Eest Case Bankruptcy
           Case 20-11139-1-rel                          Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                                   Desc Main
                                                             Document    Page 278 of 370
 Debtor lnterstateCommodities,lnc.                                                                      Case number (r      tnown)
              Name

 3.68     Nonpriority creditor's name and mailing address                    As ofthe petition filing date, the claim is: Checkailthatapply.                         $192.90
          CONFEDERATED TRIBES OF THE                                         E   Contingent
          UMATILLA INDI                                                      E   Unliquidated
          46411 Timine Way                                                   E   Disputed
          PENDLETON, OR 97801
          Date(s) debt was incurred
                                                                             Basis for the claim:   _
                                         _
          Last 4 digits of account number                                    ls the claim subjectto offset?      I   No E   Yes


 3.69     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:    Check ail that appty.                $1,500.00
          CONGLOBAL INDUSTRIES INC                                           E   Contingent
          32872 COLLECTION CENTER DRIVE                                      E   Unliquidated
          cHtcAGo, tL 60693-0328                                             E   Disputed
          Date(s) debt was incurred      _                                   Basis for the claim:   _
          Last 4 digits of account number
                                                                             ls the claim subject to   offset?   I   No E   Yes

 3.70     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:    Check att that appty.                $1,662.38
          CONSOLIDATED CHASSIS MANAGEMENT                                    E   Contingent
          500 lnternational Drive                                            E   Untiquidated
          Suite 130                                                          E   oisputed
          BUDD LAKE, NJ 07828
          Date(s) debt was incuned
                                                                             Basis for the claim:   _
                                         _
          Last 4 digits of account number_                                   ls the claim subject to   offset?   I   No E   Yes


 3.71     Nonpriority creditor's name and mailing address                    As ofthe petition filing date, the claim is: Checkattthat         appty.          $2s3 182.00
          CONSOLI DATED LOGISTICS SOLUTIONS                                  E Contingent
          tNc                                                                D Untiquidated
          13041 Binney Street                                                D oisputed
          Omaha, NE 68154
          Date(s) debt was incurred
                                                                             Basis for the claim:   _
                                         _
          Last 4 digits of account number                                    ls the claim subject to   offset?   I   No E   Yes


 3.72     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: check ail       that appty.                   $3.s2
          COUNTY OFFICE PRODUCTS                                             E   Contingent
          PO BOX 79                                                          E   Untiquidated
          CHARLESTON, IL 51920                                               E   oisputed
          Date(s) debt was incurred      _                                   Basis for the claim:   _
          Last 4 digits of account number
                                                                             ls the claim subject to offset?     I   No E   Yes

 3.73     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: check     att   that apply.             $1,593.14
          CRANEMASTERS INC                                                   E   Contingent
          RICHMOND CAR REPAIR                                                E   Unliquidated
          8O2O WHITEPINE ROAD
                                                                             E   oisputed
          N CHESTERFIELD, V A 23237
                                                                             Basis forthe claim:    _
          Date(s) debt was incurred      _
          Last 4 digits of account number         _                          ls the claim subject to offset?     I   No E   Yes


 3.74     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:    Check att that appty.            ${22,436.85
          CSX TRANSPORTATION                                                 E   Contingent
          P.O. Box 640839                                                    E   Unliquidated
          Pittsburgh, PA 15264                                               E   Disputed
          Date(s) debt was incurred      _                                   Basis forthe claim:    _
          Last 4 digits of account number         _                                                              I
                                                                             ls the claim subject to offset?         No E   Yes




Official Form 206   E/F                                       Schedule E/F: CreditoF Who Have Unsecured Claims                                                     Page 11 of46
Software Copyright (c) 1996-2020 Best Case, LLC   -M.bestcase.com                                                                                             Best Case Bankruptcy
           Case 20-11139-1-rel                          Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                                 Desc Main
                                                             Document    Page 279 of 370
 Debtor lnterstateCommodities,lnc.                                                                      Case number (r      mown)
              Name

 3.75      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:    Check att that appty.            $17 16',|..20
           CULTURA TECHNOLOGIES LLC                                          El   Contingent
           P.O. Box 203131                                                   E    Unliquidated
           Dallas, TX 75320-3131                                             E    Disputed
           Date(s) debt was incurred      _                                  Basis for the claim:   _
           Last 4 digits of account number
                                                                             ls the claim subject to offset?     I No E     Yes

 3.76      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:    Check ail that appty.              $5,190.99
           D A INTERNATIONAL CASTING COMPANY                                 E    Contingent
          23 lndustrial Parkway                                              E    Unliquidated
          Mansfield, OH 44903                                                E    Disputed
          Date(s) debt was incurred       _                                  Basis forthe claim:    _
          Last 4 digits of account number           _                                                            I
                                                                             ls the claim subject to   offset?       No E   Yes

 3.77     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: check     att that appty.                $526.50
          DAIGLE CLEANING SYSTEMS INC                                        E    Contingent
          20 Genter Street                                                   E    Untlquidated
          Afbany, NY 12204                                                   E    oisputed
          Date(s) debt was incurred       _                                  Basis for the claim:   _
          Last 4 digits of account number           _                                                            I No E
                                                                             ls the claim subject to   offset?              Yes

 3.78     Nonpriority creditor's name and mailing address                    As ofthe petition filing date, the claim is: check      att that appty.                $549.56
          DAKOTA MINNESOTA AND EASTERN RR                                    El Contingent
          C/O Canandian Pacific Railway                                      El   Untiquidated
          8293 Collection Genter Dr                                          EI oisputed
          Chicago, lL 60693-0082
          Date(s) debt was incurred       _
                                                                             Basis for the claim:   _
          Last 4 digits of account number           _                        ls the claim subject to offset?     I   No E   Yes


 3.79     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: check     ail that appty            $1 0,529.63
          DAVE KREAGER //                                                    E    Contingent
          DBA Kreager Trucking Co                                            E    Unliquidated
          2545 BLACKLICK EASTERN NE                                          E    Disputed
          MILLERSPORT, OH 43046
          Date(s) debt was incurred       _
                                                                             Basis for the claim:   _
          Last 4 digits of account number_                                   ls the claim subject to offset?     I No E     Yes


 3.80     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:    Check att that appty.                 $700.00
          DEAN HILL                                                          E    Contingent
          815 THATCHER WAY                                                   E    Unliquidated
          FRANKLIN, TN 37064                                                 E    oisputed
          Date(s) debt was incurred      _                                   Basis for the claim:   _
          Last 4 digits of account number           _                                                            I
                                                                             ls the claim subject to offset?         No E   Yes

 3.81     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:    Check ail that appty.              $4,654.41
          DECATUR AND EASTERN ILLINOIS
          RAILROAD                                                           E    Contingent
          ATTN: Beth Patterson                                               E    Unliquidated
          PO Box 790343 Bin# 150077                                          E    Disputed
          St. Louis, MO 63179-0343
          Date(s) debt was incurred      _
                                                                             Basis for the claim:   _
          Last 4 digits of account number                                    ls the claim subject to offset?     I No E     Yes




Official Form 206   E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 12 of 46
Software Copyright (c) 1996-2020 Best Case, LLC -   w.best€se.com                                                                                           Best Case Bankruptcy
           Case 20-11139-1-rel                          Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                                      Desc Main
                                                             Document    Page 280 of 370
Debtor        lnterstate Gommodities, lnc.                                                                  Case number (ii t<nown)
              Nare
3.82      Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is:        Check ail that appty.             $2,712.50
          DELTA SOUTHERN RAILROAD                                             E    Contingent
          469 Port Road                                                       E    Unliquidated
          Tallulah, LA71282                                                   E    Disputeo
          Date(s) debt was incurred      _                                    Basis for the claim:   _
          Last 4 digits of account number           _                                                             I No E
                                                                              ls the claim subject to   offset?              Yes


3.83      Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is:        Check ail that appty.                $396.00
          DEPKE                                                               E    Contingent
          PO Box 967                                                          E    Unliquidated
          Danville, lL 51834-0967                                             E    Disputed
          Date(s) debt was incuned       _                                    Basis for the claim:   _
          Last 4 digits of account number           _                                                             I No E
                                                                              ls the claim subject to offset?                Yes


3.84      Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: check aI         that apply.                $432.00
          DISTRIBUTIONS PUBLICATIONS INC                                      E    Contingent
          PO BOX 1136                                                         E    Untiquidated
          OAKLAND, CA 94604                                                   E    Disputed
          Date(s) debt was incurred      _                                    Basis for the claim:   _
          Last 4 digits of account number
                                                                              ls the claim subject to offsei?     I   No E    Yes


3.85      Nonpriority creditor's name and mailing address                     As of the petition liling date, the claim is:        Check ail that appty.              $1,223.65
          DLG INDUSTRIAS SA DE CV///                                          E    Contingent
          Lockbox 5202                                                        E    Unliquidated
          1010 W Mockingbird Lane STE100                                      E    Disputed
          Dallas, TX75247
                                                                              Basis for the claim:   _
          Date(s) debt was incurred      _
          Last 4 digits of account number           _                         ls the claim subject to offset?     I   No E    Yes


3.86      Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: check         ail that appty.           $14,851.20
          DODGE COUNTY TREASURER                                              E    Contingent
          C/O GailJ Bargstadt                                                 E    Unliquidated
          435 N Park Ave PO Box 999                                           E    Disputed
          Fremont, NE 68026-0999
                                                                              Basis for the claim:   _
          Date(s) debt was incurred      _
                                                                              ls the claim subjectto offsetz      I No E      Yes
          Last 4 digits of account number           _
3.47      Nonpriority creditor's name and mailing address                     As   ofthe petition filing date, the claim is:       Check att that appty.                $291.39
          DOMINION SPRING FARMS INC                                           E    Contingent
          4123 Hanson Side Road                                               E    Untiquidated
          PAKENHAM, ONTARIO KOA 2XO                                           fl   Disputed
          Date(s) debt was incurred      _                                    Basis forthe claim:    _
          Last 4 digits of account number
                                                                              ls lhe claim subject to offset?     I   ruo E Y".

3.88      Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim      iil   Check att that appty.                 $1s6.69
          DUNRITE INC                                                         E    Contingent
          PO BOX 3                                                            E    Unliquidated
          FREMONT, NE 68026                                                   E    Disputed
          Date(s) debt was incurred      _                                    Basis for the claim:      _
          Last 4 digits of account number           _                                                             I ruo E
                                                                              ls the claim subject to offset?                 Yes




Official Form 206   E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 13 of46
Software Copyright (c) 1996-2020 Best Case, LLC -   M.bestcase.com                                                                                               Best Case Bankruptcy
            Case 20-11139-1-rel                          Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                                    Desc Main
                                                              Document    Page 281 of 370
 Debtor lnterstateCommodities,lnc.                                                                       Case number (irmown)
              Name

 3.89     Nonpriority creditor's name and mailing address                     As ofthe petition filing date, the claim is: checkattthatapply.                        $7,837.32
          DYNAMIC RAILCAR SERVICES LTD                                        E    Contingent
          't044 Montgomery Street                                             E    Unliquidated
          Moose Jaw, Saskatche S6H 2X1                                        E    oisputed
          Date(s) debt was incured       _                                    Basis forthe claim:    _
          Last 4 digits of account number
                                                                              ls the claim subject to   offset?   I No     EI Yes

 3.90     Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: check        ail that appty.             $5,358.00
          EAGLE RAILCAR SERVICES LP                                           E    Contingent
          P.O. Box 1534                                                       E    Untiquidated
          EASTLAND, TX76448                                                   E    oisputed
          Date(s) debt was incurred      _                                    Basis for the claim:   _
          Last 4 digits of account number
                                                                              ls the claim subject to   offset?   I   No E      Yes

 3.91     Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Check att that appty.                    $4,567.44
          EASTERN IDAHO RAILROAD                                              El Contingent
          PO BOX 790343                                                       E Unliquidated
          BtN # 150077                                                        D oisputed
          sT. LOUtS, MO 63179-0343
          Date(s) debt was incurred      _
                                                                              Basis forthe claim:    _
          Last 4 digits of account number           _                         ls the claim subject to   offset?   I No E        Yes


 3.92     Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is:      Check ail that appty.             $21,655.00
          EASTERN ILLINOIS RAILROAD CO                                        E    Contingent
          P.O. Box 383                                                        E    Unliquidated
          CHARLESTON, IL 61920                                                E    oisputed
          Date(s) debt was incurred      _                                    Basis for the claim:   _
          Last 4 digits of account number
                                                                              ls the claim subject to   offset?   I No E        Yes

 3.93     Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is:       Check ail that appty.                 $264.30
          ELEMETAL FABRICATION LLC                                            E    Contingent
          P.O. BOX 791                                                        E    Unliquidated
          FREMONT, NE 68025-0791                                              E    Disputed
          Date(s) debt was incurred      _                                    Basis for the claim:   _
          Last 4 digits of account number
                                                                              ls the claim subject to   offset?   I No E Yes
 3.94     Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: check        ail that appty.             $1,223.97
          ELITE RAILCAR REPAIR LLC                                            E    Contingent
          104 S. Myrtle Ave                                                   E    Untiquidated
          Willard, OH 44890                                                   E    Disputed
          Date(s) debt was incurred      _                                    Basis forthe claim:    _
          Last 4 digits of account number
                                                                              ls the claim subjectto offset?      I   No   fl   Yes


 3.95     Nonpriority creditor's name and mailing address                     As ofthe petition filing date, the claim is: check         att that appty.             $3,314.03
          ELMER MOSER AND SONS LLC                                            E    Contingent
          P. O. Box 5                                                         E    Unliquidated
          CASTORLAND, NY 13520                                                fl   oisputed
          Date(s) debt was incurred      _                                    Basis for the claim:   _
          Last 4 digits of account number           _                                                             I No E Yes
                                                                              ls the claim subject to   offset?




Official Form 206   E/F                                        Schedule E/F: Creditorc Who Have Unsecur€d Claims                                                     Page 14 of 46
Software Copyright (c) 1996-2020 Best Case, LLC -   M.bestcase.com                                                                                              Best Case Bankruptcy
           Case 20-11139-1-rel                       Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                                       Desc Main
                                                          Document    Page 282 of 370
 Debtor lnterstateCommodities,lnc.                                                                    Case number       (irt<nown)
             Name

 3.96     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: check        att   that appty.           $22,895.71
          EMPIRE BLUECROSS                                                 E    Contingent
          PO BOX 11792                                                     El   Untiquidated
          NEWARK, NJ 071014792                                             El   Disputeo
          Oate(s) debt was incurred    _                                   Basis for the claim:   _
          Last 4 digits of account number
                                                                           ls the claim subject to   offsetz   I   No E      Yes

 3.97     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:      Check ail that appty.                 $2,075.46
          EMPIRE DENTAL                                                    E    Contingent
          PO BOX 202837                                                    E    Unliquidated
          DEPARTMENT 83703                                                 E    oisputed
          DALLAS, TX75320-2837
                                                                           Basis forthe claim:    _
          Date(s) debt was incurred    _
          Last 4 digits of account number                                  ls the claim subject to   ofisetz   I   ruo E yes

 3.98     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: check aI           that appty.             $1,200.00
          EVERGREEN SHIPPING AGENCY AMERICA
          CORP                                                             E    Contingent
          Tollway Plaza        I                                           E    Unliquidated
          16000 N Dallas Pkwy Suite 400                                    E    oisputed
          Dallas, TX75248
                                                                           Basis forthe claim:    _
          Date(s) debt was incurred    _
          Last 4 digits of account number_                                 ls the claim subject to   offsetz   I ruo E       Yes


 3.99     Nonpriority creditor's name and mailing address                  As ofthe petition filing date, the claim is: check aI            that appty.                $843.57
          EXCEL RAILCAR CORPORATION                                        E    Contingent
          28367 Davis Parkway                                              E    Unliquidated
          Suite 300                                                        E    Disputed
          Warrenville, lL 60555
                                                                           Basis forthe claim:    _
          Date(s) debt was incurred    _
          Last 4 digits of account number     _                            ls the claim subject to offset?     I No E        Yes


 3.1 00   Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: check       ail that appty.              $15,000.00
          FAEGRE BAKER DANIELS                                             E    Contingent
          NW 6139                                                          E    Unliquidated
          PO BOX 1450                                                      E    Disputed
          MtNNEAPOL|S, MN 55485-61 39
                                                                           Basis forthe claim:    _
          Date(s) debt was incurred    _
          Last 4 digits of account number                                  ls the claim subject to   offsetz   I   No E      Yes


3.101     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:       Check ar that appty.                    $919.11
          FASTENAL COMPANY                                                 E    Contingent
          P.O. BOX 1286                                                    E    Unliquidated
          Winona, MN 55987-1286                                            E    Disputed
          Date(s) debt was incurred    _                                   Basis for the claim:   _
          Last 4 digits of account number
                                                                           ls the claim subject to offset?     I   No   fl   Yes

3.102     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: check ail          that appty.             $2,232.97
          FERROCARRIL MEXICANO S A DE C V///                               El   Contingent
          Lock Box 26502                                                   E    Unliquidated
          131 S Dearborn 6th Floor                                         E    Dlsputed
          Ghicago, lL 60603
          Date(s) debt was incurred    _
                                                                           Basis for the claim:   _
          Last 4 digits of account number                                  ls the claim subject to offset?     I No E        Yes




Official Form 206   E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                       Page 15 of 46
Software Copyright (c) 1996-2020 Best Case, LLC - w.bestcase.com                                                                                               Best Cas6 Bankruptcy
           Case 20-11139-1-rel                       Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                                     Desc Main
                                                          Document    Page 283 of 370
 Debtor lnterstateCommodities, lnc                                                                      Case number     (ir xnown)
              Name

 3.1 03   Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:   Check att that appty.                $1,643.52
          FERROSUR                                                           E   Contingent
          coL. cENTRO C.P.91700                                              E   Untiquidated
          Veracruz, MX 91700                                                 E   Disputed
          Date(s) debt was incurred     _                                    Basis forthe claim:    _
          Last 4 digits of account number
                                                                             ls the claim subjectto offset?      I   No E   Yes

 3.104    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:   Check   aI   that appty.             $1,991.85
          FINGER LAKES RAILWAY                                               E   Contingent
          Attn: Lynn Kisinger                                                E   Unliquidated
          PO BOX 1750                                                        E   oisputed
          Clinton, OK 73601
          Date(s) debt was incurred     _
                                                                             Basis for the claim:   _
          Last 4 digits of account number      _                             ls the claim subject to offset?     I No E     Yes


 3.1 05   Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:   Check att that appty.                  $310.00
          FLEXFACTS                                                          E   Contingent
          1200 River Ave                                                     E   Unliquidated
          Ste 10E                                                            E   Disputed
          Lakewood, NJ 08701
          Date(s) debt was incurred     _
                                                                             Basis for the claim:   _
          Last 4 digits of account number      _                             ls the claim subject to offset?     I   No E   Yes


 3.106    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:   Check aI that appty.                   $451.12
          FLORADALE FEED MILLS LTD                                           E   Contingent
          2131 Floradale Road                                                E   Untiquidated
          FLORADALE, ON NOB 1VO                                              E   Disputed
          Date(s) debt was incurred     _                                    Basis forthe claim:    _
          Last 4 digits of account number
                                                                             ls the claim subjectto offset?      I   No E   Yes

 3.107    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:   Check ail that appty.              $19,505.67
          FLORIDA EAST COAST RAILWAY CO                                      E   Contingent
          ATTN: PAIGE RAULERSON                                              E   Unliquidated
          PO BOX 743068                                                      E   Disputed
          Atlanta, GA 30374
          Date(s) debt was incurred     _
                                                                             Basis for the claim:   _
          Last 4 digits of account number      _                             ls the claim subject to   offset?   I   No E   Yes


 3.1 08   Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: check     att that appty.                  $69.1s
          FORT SMITH RAILROAD                                                E   Contingent
          1318 South Johanson Road                                           E   Unliquidated
          Attn: J M Carr                                                     E   Disputed
          Peoria, lL 51507
                                                                             Basis for the claim:   _
          Date(s) debt was incurred     _
          Last 4 digits of account number      _                             ls the claim subject to offset?     I No E     Yes


 3.1 09   Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim isi    Check ail that appty.                  $249.48
          FP MAILING SOLUTIONS                                               E   Gontingent
          PO BOX 157                                                         E   Unliquidated
          Bedford Park, lL 50499-0157                                        E   oisputed
          Date(s) debt was incurred     _                                    Basis forthe claim:    _
          Last 4 digits of account number      _                                                                 I No E
                                                                             ls the claim subject to offset?                Yes




Official Form 206   E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page16of46
Software Copyright (c) 1996-2020 Best Case, LLC - wW.bestcas€.com                                                                                            Best Case Bankruptcy
            Case 20-11139-1-rel                          Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                                 Desc Main
                                                              Document    Page 284 of 370
 Debtor lnterstateCommodities,lnc.                                                                       Case number      (ir mown)
              Name

 3.110     Nonpriority creditor's name and mailing address                    As of the petition faling date, the claim is: chec?     att that appty.               9,518.75
           FRONTLINE RAILCAR REPAIR LTD                                       E    Contingent
           P.O. BOX 78                                                        E    Unliquidated
           108 EAST RAILWAY STREET                                            E    oisputed
           HAGUE, SK SOK lXO
                                                                              Basis for the claim:   _
           Date(s) debt was incurred      _
           Last 4 digits of account number          _                         ls the claim subjectto offset?      I No E      Yes


 3.111     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: check alt that appty.                 $3,558.09
           FRUIT GROWERS EXPRESS COMPANY                                      E    Contingent
           22984 NETWORK PLACE                                                E    Untiquidated
           cHtcAco, tL 60673-1229                                             fl   oisputed
           Date(s) debt was incurred      _                                   Basis for the claim:   _
           Last 4 digits of account number          _                                                             I
                                                                              Is the claim subject to   offset?       fvo E   Yes

 3.112     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: check alt that appty.                     $11.13
          GARDEN CITY WESTERN RAILWAY                                         E    Contingent
          1318 South Johanson Road                                            E    Unliquidated
          Peoria, lL 61607                                                    E    Disputed
          Date(s) debt was incurred       _                                   Basis forthe claim:    _
          Last 4 digits of account number
                                                                              ls the claim subject to offset?     I No E      yes

 3.1 13   Nonpriority creditor's name and mailing address                     As ofthe petition filing date, the claim is: Checkailthat       appty.                 $472.50
          GAVILON GR.AIN //                                                   E    Contingent
           1331 CapitolAvenue                                                 E    Unliquidated
          OMAHA, NE 68102                                                     E    Disputed
          Date(s) debt was incurred       _                                   Basis forthe claim:    _
          Last 4 digits of account number
                                                                              ls the claim subject to offset?     I   No E    yes

 3.114    Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is:    Check ail that appty.              $2,722.05
          GAVILON IMPERIAL                                                    E    Contingent
          P.O. Box 249                                                        E    Unliquidated
          Attn: Eric Wurtele                                                  E    Disputed
          lmperial, NE 69033
                                                                              Basis forthe claim:    _
          Date(s) debt was incurred       _
          Last 4 digits of account number                                     ls the claim subject to offset?     I No E      Yes


 3.1 15   Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Check     att that appty.                $327.04
          GBW RAILCAR SERVICE LLC                                             E    Contingent
          PO BOX 74008109                                                     E    Untiquidated
          cHlcAco, lL 60574-8109                                              E    oisputed
          Date(s) debt was incurred _
                                                                              Basis forthe claim:    _
          Last 4 digits of account number
                                                                              ls the claim subject to offset?     I   No E    Yes

 3,116    Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is:    Check att that appty.              $4,942.27
          GLOBAL COMPANIES LLC                                                E    Contingent
          Attn: Mark Romaine                                                  E    Unliquidated
          800 South Street                                                    E    Disputed
          Waftham, MA-02454
                                                                              Basis forthe claim:    _
          Date(s) debt was incurred      _
          Last 4 digits of account number                                     ls the claim subjectto offset?      I   No E    Yes




Otficial Form 206   E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page   '17   of 46
Software Copyright (c) 1996-2020 Best Case, LLC -   w.bestcaso.com                                                                                           Best Case Bankruptcy
           Case 20-11139-1-rel                          Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                                     Desc Main
                                                             Document    Page 285 of 370
 Debtor lnterstate Commodities, lnc.                                                                     Case number      (itt<nown)
              Name

 3.117    Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: check      att that apply.                 $216.40
          GODERICH-EXETER RAILWAY                                             E   Contingent
          9001 Boul. De l'Acadie                                              E   Untiquidated
          bureau 600                                                          E   Disputed
          MONTREAL, Quebec H4N 3H5
                                                                              Basis forthe claim:    _
          Date(s) debt was incurred      _
          Last 4 digits of account number           _                         ls the claim subject to offset?     I   No E   Yes


 3.118    Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is:    Check att that appty.                 $1,886.52
          GODFREYS WAREHOUSE INC                                              E   Contingent
          P.O. Box 488                                                        E   Unliquidated
          Madison, GA 30650                                                   E   Disputed
          Date(s) debt was incurred      _                                    Basis forthe claim:    _
          Last 4 digits of account number           _                                                             I No E
                                                                              ls the claim subject to offsetz                Yes

 3.119    Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: check      att   that appty.                 $53.53
          GRAND ELK RAILROAD                                                  E Contingent
          C/O JACOB HAMM                                                      E Untiquidated
          P. O. BOX 790343 BtN #150077                                        E Disputed
          sT LOU|S, MO 63179-0343
                                                                              Basis forthe claim:    _
          Date(s) debt was incurred _
          Last 4 digits of account number                                     ls the claim subject to   otfset?   I   ruo E yes

 3.120    Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: check      att that appty.               $3 136.83
          GRAND TRUNK WESTERN                                                 E   Contingent
          P. O. Box 95361                                                     E   Unliquidated
          Chicago, lL 60694-5361                                              E   Disputed
          Date(s) debt was incurred      _                                    Basis for the claim:   _
          Last 4 digits of account number           _                                                             I
                                                                              ls the claim subject to   offset?       No E   Yes


 3.121    Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: check      ail that appty.               $4,414.62
          GREAT LAKES CENTRAL RAILROAD                                        E   Contingent
          P.O. BOX 550                                                        E   Unliquidated
          owosso,          Mt48867-0550                                       E   Disputed
          Date(s) debt was incurred
                                                                              Basis for the claim:   _
          Last 4 digits of account number
                                                                              ls the claim subjectto offset?      I   No E   Yes

 3j22     Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is:    Check att that appty.                    $395.74
          GREAT NORTHWEST RAILROAD                                            E   Contingent
          PO BOX 790343                                                       E   Untiquidated
          ATTN: L ZIESENIS / BIN #150077                                      El oisputed
          sT. LOUtS, MO 63179-0343
          Date(s) debt was incurred      _
                                                                              Basis for the claim:   _
          Last 4 digits of account number                                     ls the claim subjectto offsetz      I   No E   Yes


 3.123    Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: check      all that apply.               $2,383.01
          GREAT WESTERN RAILWAY OF
          COLORADO LLC                                                        E   Contingent
          Omnitrax Holdings Combined lnc                                      E   Unliquidated
          P.O. Box 912979                                                     E   Disputed
          Denver, CO 80291-2979
                                                                              Basis for the claim:
          Date(s) debt was incurred      _
          Last 4 digits of account number           _                         ls the claim subject to offset?     I   No E   Yes




Otficial Form 206   E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 18 of 46
Software Copyright (c) 1996-2020 Best Case, LLC -   M.bestcase.com                                                                                              Best Case Bankruptcy
            Case 20-11139-1-rel                         Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                                 Desc Main
                                                             Document    Page 286 of 370
 Debtor lnterstateGommodities, lnc                                                                       Case number (r     mown)
              Name

 3.124    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:    check ail that appty.                  $82.08
          GREEN MOUNTAIN RAILROAD                                             E   Contingent
          ATTN: SHELLY KMIEC                                                  E   Unliquidated
          1 Railway Ln.                                                       E   oisputed
          Burlington, VT 05401
          Date(s) debt was incurred
                                                                             Basis for the claim:   _
                                         _
          Last 4 digits of account number                                    ls the claim subject to offset?     I   No E   Yes


 3.125    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:    Check ail that appty.              $9,202.45
          GREENBRIER COMPANIES                                                E   Contingent
          1 Centerpointe Dr.                                                  E   Unliquidated
          Suite 200                                                           E   Disputed
          Lake Oswego, OR 97035
                                                                             Basis forthe claim:    _
          Date(s) debt was incurred      _
          Last 4 digits of account number                                    ls the claim subject to offset?     I   No E   Yes


 3.126    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: check     att that appty.             $3,929.89
          GREENBRIER RAIL SERVICES                                            E   Contingent
          15202 Collections Drive                                             E   Unliquidated
          cHlcAco,         tL 60693                                           E   Disputed
          Date(s) debt was incurred      _                                   Basis forthe claim:    _
          Last 4 digits of account number         _                                                              I
                                                                             ls the claim subject to   offset?       No EI Yes
 3.127    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:    Check ar that appty.           $178,849.85
          HARBOR SERVICES                                                     E   Contingent
          1550 West Colorado Blvd                                             E   Untiquidated
          Pasadena, CA 91105                                                  E   Disputed
          Date(s) debt was incurred      _                                   Basis forthe claim:    _
          Last 4 digits of account number
                                                                             ls the claim subject to   offset?   I   No E   Yes

 3.128    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:    Check ar that appty.             $12,000.00
          HARTWELL RAI LROAD COMPANY                                          E   Contingent
          PO Box 429                                                          E   Unliquidated
          Hartwell, Georgia 30643-0000                                        E   oisputed
          Date(s) debt was incurred      _                                   Basis forthe claim:    _
          Last 4 digits of account number
                                                                             ls the claim subject to   offset?   I   No E   Yes

 3.129    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: check ail    that appty.              $6,580.00
          HERSH EY TRANSPORTATION SOLUTIONS                                   E   Contingent
          LLC                                                                 E   Unliquidated
          319 HOCKERSVILLE ROAD                                               E   oisputed
          HERSHEY, PA 17033
                                                                             Basis forthe      claim:_
          Date(s) debt was incurred      _
          Last 4 digits of account number                                    ls the claim subjectto offset?      I No E     Yes


 3.1 30   Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:    Check ail that appty.                 $180.00
          HILTZ PORTABLE SANITATION INC                                       E   Contingent
          505 N.7TH AVENUE                                                    E   Unliquidated
          HOOPESTON, lL 50942                                                 E   oisputed
          Date(s) debt was incurred      _                                   Basis for the claim:   _
          Last 4 digits of account number
                                                                             ls the claim subject to offset?     I No E     Yes




Official Form 206   E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page '19 of 46
Software Copyright (c) 1996-2020 Best Case, LLC   -M.bestcase.com                                                                                           Best Case Bankruptcy
           Case 20-11139-1-rel                          Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                                   Desc Main
                                                             Document    Page 287 of 370
 Debtor lnterstateCommod                              lnc.                                              Case number      (it t<nown)


 3.'13'l   Nonpriority creditor's name and mailing address                   As ofthe petition filing date, the claim is: check        att that appty.                 $34.02
           HL GAGE SALES INC                                                 E   Contingent
           121 Washington Ave. Extension                                     E   Unliquidated
           P.O. Box 5170                                                     E   oisputed
           Albany, NY 12205-0170
                                                                             Basis forthe claim:    _
           Date(s) debt was incurred     _
           Last 4 digits of account number                                   ls the claim subject to offset?     I No E     Yes


 3.132     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:     check ail that appty.             $65,693.52
           HOLLAND AND M BAR D                                               E   Contingent
           ATTN: JP MORGAN MBARD #37584                                      E   Unliquidated
           131 S. DEARBORN 6TH FLOOR                                         E   Disputed
           cHtcAco, lL 60603
           Date(s) debt was incurred     _
                                                                             Basis for the claim:   _
           Last 4 digits of account number        _                          ls the claim subject to offset?     I No E     Yes


 3.1 33    Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: check aI       that appty.              $3,117.50
           HOWELL SAND COMPANY INC                                           E   Contingent
           23OO E HASTINGS                                                   E   Unliquidated
           AMARILLO, TX 79108                                                EI Disputed
           Date(s) debt was incurred     _                                   Basis for the claim:   _
           Last 4 digits of account number_
                                                                             ls the claim subject to offset?     I No E     Yes

 3.1 34    Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:     Check ail that apply.               $4,764.96
           HURON AND EASTERN RAILROAD                                        EI Contingent
           PO BOX 409590                                                     E   Untiquidated
           Atlanta, GA 30384-9590                                            E   oisputed
           Date(s) debt was incurred     _                                   Basis for the claim:   _
           Last 4 digits of account number        _                                                              I No E Yes
                                                                             ls the claim subject to offset?

 3.1 35    Nonpriority creditor's name and mailing address                   As ofthe petition filing date, the claim is: Checkattthatappty.                     $56,864.85
           HURON AND EASTERN RAILWAY CO                                      E Contingent
           C/O CASH RECEIPTS CLERK                                           D Unliquidated
           27596 NETWORK PLACE                                               E   Dlsputed
           cHtcAGo, tL 60673-1275
           Date(s) debt was incurred
                                                                             Basis for the claim:   _
                                         _
           Last 4 digits of account number                                   ls the claim subject to   offset?   I   No E   Yes


 3.1 36    Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: check       att that appty.                $702.00
           HYNUM LAW                                                         E   Contingent
           2608 North 3rd Street                                             E   Unliquidated
           Harrisburg, PA 171'|'0                                            E   oisputed
           Date(s) debt was incurred     _                                   Basis forthe claim:    _
           Last 4 digits of account number
                                                                             ls the claim subject to offset?     I   ruo E yes

 3.137     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check       att that appty.                $789.08
           IDAHO RAIL SHOP                                                   E   Contingent
           1785 KRAFT ROAD                                                   E   Untiquidated
           POCATELLO, ID 83204                                               E   oisputed
           Date(s) debt was incurred     _                                   Basis for the claim:   _
           Last 4 digits of account number
                                                                             ls the claim subiect to offset?     I   No E   Yes




Otficial Form 206   E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 20 of 46
Software Copyright (c) 1996-2020 Best Case, LLC   -M.bestcase.com                                                                                             Best Case Bankruptcy
           Case 20-11139-1-rel                          Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                                   Desc Main
                                                             Document    Page 288 of 370
 Debtor lnterstateCommodities,lnc.                                                                       Case number      (ir rnown)
              Name

 3.1 38    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:     Check att that appty.          $159,507.32
           ILLINOIS CENTRAL RAILROAD //                                       E   Contingent
           Attn : Non-Freight Management                                      E   Unliquidated
           PO BOX 95361                                                       E   oisputed
           Chicago, lL 60694-5361
                                                                              Basis for the claim:   _
           Date(s) debt was incurred      _
           Last 4 digits of account number          _                         ls the claim subjectto offset?    I No E         Yes


 3.1 39    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:     Check att that appty.                  $99.00
           INCORP SERVICES INC                                                E   Contingent
           PO BOX 94438                                                       E   Untiquidated
           Las Vegas, NV 89193-4438                                           E   oisputed
           Date(s) debt was incurred      _                                   Basis for the claim:   _
           Last 4 digits of account number          _                                                           I
                                                                              ls the claim subject to offset?       ruo   t]   Yes

 3.140     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: check      ail that appty.                $823.75
          INDIANA & OHIO CENTRAL RAILROAD                                     E   Contingent
          ATTN: Teresa King                                                   E   Unliquidated
          PO Box 409590                                                       E   Disputed
          Atlanta, GA 30384
          Date(s) debt was incurred       _
                                                                              Basis for the claim:   _
          Last 4 digits of account number                                     ls the claim subject to offset?   I no E         yes


 3.141    Nonpriority creditor's name and mailing address                     As ofthe petition filing date, the claim is: check       ail that apply.             $9,617.57
          INDIANA AND OHIO RAILWAY                                            E   Contingent
          27596 NETWORK PLACE                                                 E   Untiquidated
          Cash Receipts Glerk JP Morgan                                       E   Disputed
          cHtcAco,          tL 60673
          Date(s) debt was incurred       _
                                                                              Basis for the claim:   _
          Last 4 digits of account number           _                         ls the claim subjectto offset?    I   No E       Yes


 3.142    Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: check      ail that appty.           $55,802.58
          INDIANA HARBOR BELT RAILROAD                                        E   Contingent
          ATTN: Mike Calomino                                                 E   Unliquidated
          1510 Plainfield Road, Suite 3                                       E   Disputed
          Darien, lL 60561
                                                                              Basis for the claim:   _
          Date(s) debt was incurred       _
          Last 4 digits of account number                                     ls the claim subject to offset?   I   No E       Yes


 3.143    Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: check ail     that appty.           $764,648.43
          INFINITY TRANSPORTATION 20161 LLC II                                E   Contingent
          PO BOX 545510                                                       I   Unliquidated
          Cincinnati, OH 45264-5510
                                                                              !   Disputed
          Date(s) debt was incurred       _
                                                                              Basis for the claim:   _
          Last 4 digits of account number
                                                                              ls the claim subject to offset?   I No E         Yes

 3.144    Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is:     Check aI that appty.             $98,777.49
          INFINITY TRANSPORTATION EQUIPMENT                                   E   Contingent
          TRUST                                                               I   Unliquidated
          PO BOX 645539
          ctNctNNAT|, oH 45264-5539                                           !   oisputed

          Date(s) debt was incurred       _                                   Basis for the claim:   _
          Last 4 digits of account number                                     ls the claim subject to offset?   I No E         Yes




Official Form 206   E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page   2l of 46
Software Copyright (c) 1996-2020 Best Case, LLC -   M.bestcase.com                                                                                            Best Case Bankruptcy
           Case 20-11139-1-rel                         Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                                      Desc Main
                                                            Document    Page 289 of 370
 Debtor lnterstateCommodities,lnc                                                                           Case number   (it tnown)
               Name

 3.145    Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: check ail        that apply.           $53,900.00
          INSPIRATION HOLDINGS INC                                            E   Contingent
          P.O. Box 1417                                                       E   Unliquidated
          Broomfield, CO 80038-1417                                           E   Disputed
          Date(s) debt was incurred      _                                    Basis for the claim:   _
          Last 4 digits of account number         _                           ls the claim subject to offset?     I No E     Yes


 3.146    Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is:    Check ail that apply.                 $1,875.00
          INTEGRATED INDUSTRIES CORP                                          E   Contingent
          1 PENNVAL ROAD                                                      E   Unliquidated
          PO BOX 868                                                          E   Disputed
          WOODBRIDGE, NJ 07095
                                                                              Basis for the claim:   _
          Date(s) debt was incurred      _
          Last 4 digits of account number         _                           ls the claim subject to   offset?   I   No E   Yes


 3.147    Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Check att that       appty.              $3,315.50
          INTERSTATE BILLING SERVICE                                          E   Contingent
          PO Box 2208                                                         E   Untiquidated
          Decatur, AL 35609                                                   E   oisputed
          Date(s) debt was incurred      _                                    Basis forthe claim:    _
          Last 4 digits of account number         _                                                               I          yes
                                                                              ls the claim subject to offset?         No E

 3.148    Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: check      att that appty.             $19,4/,0.44
          IOWA INTERSTATE RAILROAD LTD                                        E   Contingent
          Attn: Accounts Receivable                                           E   Untiquidated
          5900 Sixth Street SW                                                E   Disputed
          Cedar Rapids, lA 52404
          Date(s) debt was incurred
                                                                              Basis for the claim:   _
          Last 4 digits of account number         _                           ls the claim subject to offset?     I   No E   Yes


 3.149    Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: check      att   that appty.                 $94.96
          IOWA NORTHERN RAILROAD                                              E   Contingent
          C/O Paramount Theatre Building                                      E   Unliquidated
          305 Second St, SE Suite 400                                         E   Disputed
          CEDAR RAPIDS, IA52401
                                                                              Basis for the claim:   _
          Date(s) debt was incurred      _
          Last 4 digits of account number         _                           ls the claim subject to offset?     I   No E   yes


 3.1 50   Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is:     Check aI that apply.                 $3 780.00
          ISNETWORLD                                                          E   Contingent
          PO Box 841808                                                       E   Untiquidated
          Dallas, TX 75284-1808                                               E   Disputed
          Date(s) debt was incurred      _                                    Basis for the claim:   _
          Last 4 digits of account number         _                           ls the claim subject to offset?     I   No E   Yes


 3.1 51   Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is:     Check ail that apply.                $3,877.50
          J. T. INTERNATIONAL TRADING LTD PART
          il                                                                  E Contingent
          84/9 Soi 33 Sukhumvit Road                                          E Unliquidated
          NORTH KLONGTAN                                                      E oisputed
          WATTANA, BANGKOK                   1    01 1O-OOOO
                                                                              Basis for the claim:      _
          Date(s) debt was incurred      _
          Last 4 digits of account number         _                           ls the claim subjectto offset?      I   No E   Yes




Official Form 206   E/F                                        Schedule ErF: Creditors Who Have Unsecured Claims                                                     Page 22 oI 46
Software Copyright (c) 1996-2020 Best Case, LLC   -w.bestcase.mm                                                                                                Best Case Bankruptcy
           Case 20-11139-1-rel                          Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                                    Desc Main
                                                             Document    Page 290 of 370
 Debtor lnterstateCommodities,lnc                                                                        Case number      (it t<nown)
              Name

 3.152    Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: check       att that appty.           $10,784.22
          JD HEISKELL                                                         E   Conlingent
          20010 Manderson Street                                              E   Unliquidated
          Suite A                                                             E   Disputed
           Elkhorn, NE 68022
                                                                              Basis for the claim:   _
          Date(s) debt was incurred       _
          Last 4 digits of account number                                     ls the claim subject to offset?     I No E     Yes
                                                    _
 3.153    Nonpriority creditor's name and mailing address                     As ofthe petition filing date, the claim is:      Check ail that appty.               $2,318.00
          JFK LOGISTICS AND TRANSPORT //                                      E   Contingent
          803 Avenue A                                                        E   Unliquidated
           Bayonne, NJ 07002                                                  E   Disputed
          Date(s) debt was incurred      _                                    Basis for the claim:   _
          Last 4 digits of account number           _                                                             I
                                                                              ls the claim subject to   offsei?       Ho E   Yes

 3.1 54   Nonpriority creditor's name and mailing address                     As ofthe petition filing date, the claim is: checkailthatappty.                       $1,682.18
          JOHN M DUIS                                                         E   Contingent
          1723 NORTH 2580 EAST                                                E   Unliquidated
          SHELDON, IL 50965                                                   E   oisputed
          Date(s) debt was incurred      _                                    Basis for the claim:   _
          Last 4 digits of account number
                                                                              ls the claim subject to   offset?   I No E     Yes

 3.155    Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is:     Check att that appty.             $24,311.00
          JUAN CONTRERAS //                                                   E   Contingent
          DURA-MEX USA INC                                                    E   Unliquidated
          ,l713 CASCADE RIDGE DRIVE
                                                                              E   Disputed
          PLAINFIELD, IL 60586
          Date(s) debt was incurred      _
                                                                              Basis for the claim:   _
          Last 4 digits of account number                                     ls the claim subject to offset?     I No E     Yes


 3.1 56   Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is:     Check att that appty.                   $22.42
          KANAWHA RIVER RAILROAD LLC                                          E   Contingent
          P.O. Box 790343                                                     E   Unliquidated
          Bin# 150077                                                         E   oisputed
          St. Louis, MO 63179-0343
          Date(s) debt was incurred      _
                                                                              Basis for the claim:   _
          Last 4 digits of account number           _                         ls the claim subject to offset?     I No fl    Yes


 3.157    Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is:     Check atr that appty.                  $226.80
          KANKAKEE BEAVERVILLE AND SOUTHERN                                   E   Contingent
          RR                                                                  E   Untiquidated
          PO BOX 119                                                          E   Disputed
          lroquois, lL 60945
                                                                              Basis forthe claim:    _
          Date(s) debt was incurred      _
          Last 4 digits of account number                                     ls the claim subiect to offset?     I   ruo E yes

 3.1 58   Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: check aI       that appty               $1,442.50
          KANSAS AND OKLAHOMA RAILROAD                                        E   Contingent
          Bin #150077                                                         E   Unliquidated
          PO Box 790343                                                       E   oisputed
          St. Louis, MO 63179-0343
                                                                              Basis for the claim:   _
          Date(s) debt was incurred      _
          Last 4 digits of account number                                     ls the claim subject to offset?     I No E     Yes




Official Form 206   E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 23 of 46
Software Copyright (c) 1996-2020 Best Case, LLC -   w.bestcase.com                                                                                             Best Case Bankruptcy
           Case 20-11139-1-rel                           Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                                     Desc Main
                                                              Document    Page 291 of 370
 Debtor InterstateGommodities lnc.                                                                        Case number     (it t<nown)


 3.159     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: check       att that appty.             $45,132.07
           KANSAS CITY SOUTHERN DE MEXICO SA
          DE CV                                                               E    Contingent
          C/O Carlos Damian Rosas                                             E    Unliquidated
          P.O. Box 219335                                                     E    oisputed
          Kansas City, MO 54121
                                                                              Basis for the claim:   _
          Date(s) debt was incurred       _
          Last 4 digits of account number           _                         ls the claim subject to offset?     I No E     Yes


 3.1 60   Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is:     Check ail that appty.                 $z 210.71
          KANSAS CITY SOUTHERN RAILROAD //                                    fJ   Contingent
          36929 Treasury Center                                               E    Untiquidated
          % Harris Trust & Savings Bank                                       E    Disputed
          Chicago, lL 60694-6400
                                                                              Basis for the claim:   _
          Date(s) debt was incurred       _
          Last 4 digits of account number                                     ls the claim subject to   ofset?    I   No E   Yes


 3.161    Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: check       att that appty.                   $19.67
          KANSAS CITY SOUTHERN RAILWAY                                        E    Contingent
          ATTN JOYCE MCKOWN                                                   t1   untiquidated
          35929 Treasury Center                                               E    oisputed
          Chicago, lL 60694
                                                                              Basis forthe      claim:_
          Date(s) debt was incurred       _
          Last 4 digits of account number                                     ls the claim subject to offset?     I   No EI ves

 3.162    Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: check       att that appty.                   $18.75
          KATAHDIN RAILCAR SERVICES                                           E    Contingent
          7OO MAIN ST.                                                        E    Unliquidated
          SUITE 3                                                             L1 oisputed
          BANGOR, ME 04401
          Date(s) debt was incurred
                                                                              Basis forthe claim:    _
                                          _
          Last 4 digits of account number                                     ls the claim subject to   offset?   I   No E   Yes


 3.163    Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: check       att that appty.                   $55.00
          KC COMMUNICATIONS                                                   E    Contingent
          1523 E 2900 North Rd                                                E    Untiquidated
          Clifton, lL 60927                                                   E    Disputed
          Date(s) debt was incurred       _                                   Basis for the claim:   _
          Last 4 digits of account number
                                                                              ls the claim subjectto offset?      I   No E   Yes

 3.1 64   Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: check       att   that appty.               $282.46
          KIAMICHI RAILROAD COMPANY INC                                       E    Contingent
          27605 NETWORK PLACE                                                 E    Unliquidated
          JP MORGAN CHASE                                                     E    Disputed
          cHtcAco,         tL 60673-1275
          Date(s) debt was incurred       _
                                                                              Basis for the claim:   _
          Last 4 digits of account number           _                         ls the claim subject to offset?     I   No E   Yes


 3.165    Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is:     Check ar that appty.                     $330.08
          KOIAUTO PARTS INC                                                   E    Contingent
          C/O FISHER AUTO PARTS                                               fJ   Unliquidated
          PO BOX 2246                                                         E    Disputed
          STAU NTON, V A 24402-2246
          Date(s) debt was incurred
                                                                              Basis forthe claim:    _
                                          _
          Last 4 digits of account number                                     ls the claim subject to   offset?   I   No E   Yes




Otficial Form 206   E/F                                        Schedule E/F: Creditors who Have Unsecured Claims                                                      Page 24 of 46
Software Copyright (c) 1996-2020 Best Case, LLC -   w.bestcase.com                                                                                               Best Case Bankruptcy
             Case 20-11139-1-rel                         Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                                  Desc Main
                                                              Document    Page 292 of 370
 Debtor lnterstateCommodities,lnc.                                                                       Case number (irtnown)
               Name

 3.1   66   Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: check     all that apply.              $t 050.00
            KOLEV ENTERPRISE INC                                              E    Contingent
            1115 HALL STREET                                                  E    Untiquidated
            SUGAR GROVE, IL 60554                                             E    Disputed
            Date(s) debt was incurred    _                                    Basis for the claim:   _
            Last 4 digits of account number         _                         ls the claim subject to offset?     I   No E   Yes


 3.1 67     Nonpriority creditor's name and mailing address                   As of the petition liling date, the claim ist   Check   aI   that appty.                 $28.99
            KONICA MINOLTA BUSINESS SOLUTIONS                                 E    Contingent
            ATTN: DeptCH 19188                                                fl   unriquidated
            Palatine, lL 60055-9188                                           E    oisputed
            Date(s) debt was incurred    _                                    Basis for the claim:   _
            Last 4 digits of account number
                                                                              ls the claim subject to   offset?   I lto E yes
 3.1   68   Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: check     all that apply.                  $65.00
            KOOGLERS REFUSE SERVICE INC                                       E    Contingent
            7879 E Lincoln Hwy                                                E    Unliquidated
            Lima, OH 45801                                                    E    Disputed
            Oate(s) debt was incurred    _                                    Basis for the claim:   _
            Last 4 digiG of account number
                                                                              ls the claim subject to offset?     I No E     Yes


 3.169      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: check     att that appty.                $913.07
            KT GRAHAM INC                                                     E    Contingent
            137 South Front Street                                            E    Unliquidated
            Columbia, PA17512                                                 E    Disputed
            Date(s) debt was incurred    _                                    Basis for the claim:   _
            Last 4 digits of account number         _                                                             I          yes
                                                                              ls the claim subject to offset?         Ho E

 3.170      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:    Check att that appty.             $20,850.47
            KYLE RAILROAD CO.                                                 fl   Contingent
            27595 Network Place                                               El   Unliquidated
            Chicago, lL 60673-1276                                            El   Disputed
            Date(s) debt was incurred    _                                    Basis for the claim;   _
            Last 4 digits of account number         _                                                             I          yes
                                                                              ls the claim subject to   offset?       No E

3.171       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: check     att that appty.              $2,695.64
            KYLE RAILROAD COMPANY                                             E    Contingent
            27596 Network Place                                               E    Untiquidated
            cHtcAco,        tL 60573-1276                                     E    Disputed
            Date(s) debt was incurred    _                                    Basis for the claim:   _
            Last 4 digits of account number         _                         ls the claim subject to offset?     I   ruo E yes

3.172       Nonpriority creditor's name and mailing address                   As ofthe petition filing date, the claim is: check ail       that appty.           $24,032.09
            LAKE STATE RAILWAY COMPANY                                        EI Contingent
            C/O TRISTAWOLGAST                                                 E    Unliquidated
            750 N. WASHINGTON AVE                                             E    Disputed
            SAG|NAW, M148607
                                                                              Basis for the claim:   _
            Date(s) debt was incurred    _
            Last 4 digits of account number                                   ls the claim subject to offset?     I   No E   Yes




Official Form 206     E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 25 of 46
Software Copyright (c) 1996-2020 Best Case, LLC -   M.bestcase.com                                                                                            Best Case Bankruptcy
           Case 20-11139-1-rel                       Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                                  Desc Main
                                                          Document    Page 293 of 370
 Debtor lnterstateCommodities.lnc.                                                                     Case number    (itt<nown)
              Name

 3.173    Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: check    att that appty.             $1,122.00
          LANCASTER FARMING                                                  E   Contingent
          1 E MAIN STREET                                                    E   Unliquidated
          PO BOX 609                                                         E   Disputed
          EPHRATA, PA-17522
          Date(s) debt was incurred     _
          Last 4 digits of account number      _                            ls the claim subject to otfset?   I   No EI Yes

 3.174    Nonpriority creditor's name and mailing address                   As of the petition liling date, the claim is:   Check ail that appty.              $2,844.18
          LAND O LAKES                                                      E    Contingent
          PO Box 64281                                                      E    Untiquidated
          MS 5540                                                           El oisputed
          St. Paul, MN 55154-0281
                                                                            Basis for the claim:   _
          Date(s) debt was incurred     _
          Last 4 digits of account number                                   ls the claim subject to offset?   I   No E    Yes


 3.175    Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: check ar    that appty.                 $840.00
          LAND O'LAKES PURINA FEED                                          E    Contingent
          P.O. BOX 66812                                                    E    Unliquidated
          St. Louis, MO 63166                                               E    Disputed
          Date(s) debt was incurred     _                                   Basis for the claim:   _
          Last 4 digits of account number
                                                                            ls the claim subject to offset?   I   No E    Yes

 3.176    Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:   Check att that appry.                 $634.47
          LANDUS COOPERATIVE //                                             E    Contingent
          P.O. Box 587                                                      E    Unliquidated
          Carroll, lA 51401                                                 E    Disputed
          Date(s) debt was incurred     _                                   Basis for the claim:   _
          Last 4 digits of account number
                                                                            ls the claim subject to offset?   I   ruo E   Yes

 3.177    Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:   Check att that appty.              $6,300.00
          LANSING TRADE GROUP                                               E    Contingent
          434 Hurricane Lane                                                E    Unliquidated
          Suite 200                                                         E    oisputed
          wtLLtsToN,         w   05495
          Date(s) debt was incurred     _
                                                                            Basis for the claim:   _
          Last 4 digits of account number      _                            ls the claim subjectto otfset?    I ruo E     Yes


 3.178    Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:   Check ail that appty.              $6,107.40
          LANSING TRADE GROUP                                               E    Contingent
          P.O. BOX 741671                                                   E    Unliquidated
          Atlanta, GA 30374-1571                                            E    Disputed
          Date(s) debt was incurred     _                                   Basis for the claim:   _
          Last 4 digits of account number      _
                                                                            ls the claim subject to offset?   I   No E    Yes

 3.179    Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:   Check att that appty.                1,775.40
          LANSING TRADE GROUP //                                            E    Contingent
          10975 Benson Drive - Suite 400                                    fl   Untiquidated
          P.O.Box27267                                                      El   Disputed
          OVERLAND PARK, KS 66225
          Date(s) debt was incurred     _
                                                                            Basis for the claim:   _
          Last 4 digits of account number                                   ls the claim subject to offset?   I   No E    Yes




Official Form 206   E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 26 of 46
Software Copyright (c) 1996-2020 Best Case, LLC - M.bestcase.com                                                                                          Best Case Bankruptcy
           Case 20-11139-1-rel                          Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                                    Desc Main
                                                             Document    Page 294 of 370
 Debtor lnterstateCommodities,lnc.                                                                       Case number    (ir xnown)
              Name

 3.180    Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is:   Check att that appty.               $53,033.66
          LANSING TRADE GROUP LLC                                             EI Contingent
          15314 Gollections Center Drive                                      El   Untiquidated
          Ghicago, lL 60693                                                   E    Disputed
          Date(s) debt was incurred      _                                    Basis for the claim:   _
          Last 4 digits of account number
                                                                              ls the claim subject to offset?   I   No E    Yes

 3.1 81   Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is:   Check ail that appty.                 $8,112.93
          LARSEN INTERNATIONAL                                                E    Contingent
          2050 E. 23rd AVE                                                    E    Untiquidated
          FREMONT, NE 68025                                                   E    oisputed
          Date(s) debt was incurred      _                                    Basis for the claim:   _
          Last 4 digits of account number           _                                                           I
                                                                              ls the claim subject to offset?       No E    Yes

 3.182    Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is:   Check ar that appty                   $2,560.04
          LDIGROWTH PARTNERS LLC III                                          E    Contingent
          PO Box 39000                                                        E    Unliquidated
          Dept 3451 1                                                         El oisputed
          San Francisco, CA 94139
                                                                              Basis for the claim:
          Date(s) debt was incurred      _
          Last 4 digits of account number           _                         ls the claim subject to offset?   I No E      Yes


 3.1 83   Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is:   Check att that appty.                   $182.74
          LUBBOCK WESTERN RAILWAY                                             E    Contingent
          c/o Jay Benedict Bin #150077                                        E    Untiquidated
          P. O. Box 790343                                                    E    Disputed
          sT LOU|S, MO 63179-0343
                                                                              Basis for the claim:   _
          Date(s) debt was incurred      _
          Last 4 digits of account number           _                         ls the claim subjectto offset?    I   ruo E   Yes


 3.1 84   Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is:   Check   aI    that appty.                 $6s.63
          LYCOMING VALLEY RAILROAD COMPANY                                    E    Contingent
          356 Priestley Ave                                                   E    Unliquidated
          Northumberland, PA 17857                                            E    oisputed
          Date(s) debt was incurred      _                                    Basis forthe claim:    _
          Last 4 digits of account number
                                                                              ls the claim subject to offset?   I   No E    Yes

 3.1 85   Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: check     att that appty.             $26,326.66
          MAERSK AGENCY USA, INC. ///                                         E Contingent
          PO Box 7444/,4                                                      E Untiquidated
          Atlanta, GA 303844448                                               E Disputed
          Date(s) debt was incurred      _                                    Basis for the claim:   _
          Last 4 digits of account number
                                                                              ls the claim subject to offset?   I   ruo E yes

 3.1 86   Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Check     att   that appty.                $222.79
          MAR JAC POULTRY                                                     E    Contingent
          PO Box 931                                                          E    Unliquidated
          Jasper, AL 35502                                                    E    oisputed
          Date(s) debt was incurred      _                                    Basis for the claim:   _
          Last 4 digits of account number           _                                                           I
                                                                              ls the claim subjectto offset?        No E    Yes




Official Form 206   E/F                                        Schedule ErF: Creditors Who Have Unsecured Claims                                                    Page 27 of 46
Software Copyright (c) 1996-2020 Best Case, LLC -   w.bestcase.com                                                                                             Best Case Bankruptcy
           Case 20-11139-1-rel                          Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                                  Desc Main
                                                             Document    Page 295 of 370
 Debtor lnterstateGommodities,lnc.                                                                       Case number     (irt<nown)
              Name

 3.187    Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim isi    Check ail that appty               $4,707.00
          MARBLE CLIFF CHASSIS COMPANY                                        E    Contingent
          433 London Groveport Road                                           E    Untiquidated
          Lockbourne, OH 43137                                                E    Disputed
          Date(s) debt was incurred       _                                   Basis forthe claim:    _
          Last 4 digits of account number
                                                                              ls the claim subject to offset?   I   No E      Yes

 3.1 88   Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is:    Check att that appty.                $465.00
          MARQUETTE RAIL LLC                                                  E    Contingent
          C/O CASH RECEIPTS CLERK                                             E    Untiquidated
          27596 NETWORK PLACE                                                 E    oisputed
          cHtcAco, tL 50673-1275
          Date(s) debt was incurred       _
                                                                              Basis for the claim:   _
          Last 4 digits of account number                                     ls the claim subject to offset?   I   No   f]   Yes


 3.1 89   Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is:    Check aI that appty.               $5,601.27
          MCDONALD PELZ GLOBAL COMMODITIES                                    E    Contingent
          LLC                                                                 E    Untiquidated
          P. O. BOX 411099                                                    E    otsputed
          KANSAS C|TY, MO 64141-1099
          Date(s) debt was incurred      _
                                                                              Basis for the claim:   _
          Last 4 digits of account number                                     ls the claim subject to offset?   I   No E      Yes


 3.1 90   Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Check     att that appty.             $2,600.00
          MEDITERRANEAN SHIPPING COMPANY //                                   E    Contingent
          700 Watermark Blvd                                                  E    Untiquidated
          Mount Pleasant, SC 29464                                            E    Disputed
          Date(s) debt was incurred      _                                    Basis for the claim:   _
          Last 4 digits of account number
                                                                              ls the claim subject to offset?   I   No E      Yes

 3.1 91   Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is:    Check ail that appty.          $1 89,4/r0.27
          MGH RAILCAR SERVICES LIMITED                                        E    Contingent
          8207 Fairways West Dr.                                              E    Untiquidated
          Regina, SK S4Y 0Al                                                  E    Disputed
          Oate(s) debt was incurred      _                                    Basis for the claim:   _
          Last 4 digits of account number
                                                                              ls the claim subject to offset?   I   No   fl   Yes

 3.192    Nonpriority crcditor's name and mailing address                     As of the petition filing date, the claim is:    Check ail that appty.                 $854.75
          MID.AMERICAN CAR INC. - LOCOMOTIVE                                  f1   Contingent
          1523 NORTH MONROE                                                   El   Untiquidated
          P.O. BOX 33543                                                      Ll   oisputed
          KANSAS C|TY, MO 64120
                                                                              Basis forthe claim:    _
          Date(s) debt was incurred      _
          Last 4 digits of account number                                     ls the claim subject to otfset?   I   No E      Yes


 3.193    Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: check aI     that appty.                    $5.44
          MIDWEST RAILCAR CORPORATION ///                                     E    Contingent
          4949 Autumn Oaks Drive                                              E    Untiquidated
          Maryville, lL 62052                                                 E    oisputed
          Date(s) debt was incurred      _                                    Basis forthe claim:    _
          Last 4 digits of account number
                                                                              ls the claim subject to offset?   I   No E      Yes




Otficial Form 206   E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 28 of 45
Software Copyright (c) 1996-2020 Best Case, LLC -   M.bestcase.com                                                                                           Best Case Bankruptcy
            Case 20-11139-1-rel                           Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                                   Desc Main
                                                               Document    Page 296 of 370
  Debtor lnterstateCommodities lnc.                                                                          Case number    (ir xnown)



 3.1 94    Nonpriority creditor's name and mailing address                      As of the petition filing date, the claim is:     Check att that appty.                    $0.14
           MIDWEST RENEWABLE ENERGY ///                                         E    Contingent
           27532 US-30                                                          E    Unliquidated
           Sutherland, NE 69165                                                 E    oisputed
           Date(s) debt was incurred       _                                    Basis forthe claim:      _
           Last 4 digits of account number
                                                                                ls the claim subject to   ofset?    I No E      Yes

 3.195     Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Check       att that appty.                $602.30
           MILLERS TEXTILE SERVICES                                             E    Contingent
           PO BOX 239                                                           E    Unliquidated
           WAPAKONETA, OH 45895                                                 E    Disputed
           Date(s) debt was incurred       _                                    Basis for the claim:   _
           Last 4 digits of account number
                                                                                ls the claim subject to   offset?   I   No E    Yes

 3.196     Nonpriority creditor's name and mailing address                     As of the petition liling date, the claim is:      Check ail that appty.                 $183.30
           MIN NESOTA COMMERCIAL RAI LWAY                                       E    Contingent
           C/O John S Walsh                                                     E    Untiquidated
           508 Cleveland Ave North
                                                                                E    Disputed
           St. Paul, MN 55114
                                                                                Basis for the claim:   _
           Date(s) debt was incurred       _
           Last 4 digits of account number                                      ls the claim subject to offsetz     I   ruo E   Yes


 3 197     Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: check aI       that appty.                 $303.93
           MOLESWORTH FARM SUPPLY LTD                                           E    Contingent
           44743 Perth Line 86                                                  E    Unliquidated
           LISTOWEL, ON N4W 3G6                                                 El   Disputed
           Date(s) debt was incurred       _                                   Basis for the claim:    _
           Last 4 digits of account number
                                                                               ls the claim subjectto offset?       I ruo E     Yes

 3.1 98    Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: check       att that appty.            $25,305.41
           MONTANA RAIL LINK                                                    E    Contingent
           P.O. Box 16390                                                       E    Unliquidated
           Missoula, MT 59808-6390                                              E    Disputed
           Date(s) debt was incurred       _                                   Basis for the claim:    _
           Last 4 digits of account number
                                                                               ls the claim subject to    offset?   I No E      Yes

 3.1 99    Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is:     Check att that appty.         $1,932,493.39
           MRXX CORP. ///                                                      E     Contingent
           PO Box 189                                                          E     Unliquidated
           Hampton, NH 03843-0189                                              E     Disputed
           Date(s) debt was incurred      _                                    Basis for the claim:    _
           Last 4 digits of account number
                                                                               ls the claim subject to otfset?      I   No E    Yes

 3.200     Nonpriority creditor's name and mailing address                     As of the petition liling date, the claim is:     Check att that appty.               $8,935.57
           MULBERRY RAILCAR REPAIR COMPANY                                     E     Contingent
           1200 Prairie Mine Rd.                                               E     Unliquidated
           P.O. Box 1038
                                                                               E     Disputed
           Mulberry, FL 33860
                                                                               Basis for the claim:    _
           Date(s) debt was incurred      _
           Last 4 digits of account number                                     ls the claim subject to    offsetz   I   No E    Yes




Otficial Form 206   E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 29 of 45
Software Copyright (c) '1996-2020 Best Case, LLC -   M.bestcase.com                                                                                             Best Case Bankruptcy
           Case 20-11139-1-rel                        Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                                       Desc Main
                                                           Document    Page 297 of 370
 Debtor lnterstateCommodities,lnc.                                                                         Case number   (it xnown)
              Name

 3.201    Nonpriority creditor's name and mailing address                    As ofthe petition filing date, the claim is: Checkallthatapply.                           $800.00
          MURDOCK EXPRESS ING. //                                            E   Contingent
          503 N. 7th St. US 41                                               E   Unliquidated
          Office 2                                                           E   oisputed
          KENTLAND, IN 47951
                                                                             Basis for the claim:   _
          Date(s) debt was incurred     _
          Last 4 digits of account number                                    Is the claim subject to   offset?   I No E      Yes


 3.202    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: check       att   that appty.             $4,373.00
          MURPHY TRACTOR AND EQUIPMENT CO                                    E   Contingent
          3550 ST. JOHNS ROAD                                                E   Unliquidated
          LIMA, OH 45804                                                     E   Disputed
          Date(s) debt was incurred     _                                    Basis for the claim:   _
          Last 4 digits of account number
                                                                             ls the claim subjectto offset?      I lto E     yes

3.203     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:    Check att that appty.                    $106.27
          NAPA PARTS HEADQUARTERS INC                                        E   Contingent
          ACCOUNTS RECEIVABLE                                                E   untiquidated
          4438 CANYON DRIVE                                                  E   Disputed
          AMARILLO, TX 79109
                                                                             Basis forthe claim:    _
          Date(s) debt was incurred     _
          Last 4 digits of account number      _                             ls the claim subject to offset?     I   ruo E   Yes


3.204     Nonpriority creditor's name and mailing address                    As ofthe petition filing date, the claim is: Checkalthatappty.                        $22,653.27
          NEBRASKA KANSAS AND COLORADO
          RAILWAY LLC                                                        E   Contingent
          OMNITRAX HOLDINGS COMBINED INC                                     E   Unliquidated
          P.O. BOX 912979                                                    E   Disputed
          DENVER, CO 80291-2979
                                                                             Basis for the claim:   _
          Date(s) debt was incurred     _
          Last 4 digits of account number      _                             ls the claim subject to offset?     I   No E    Yes


3.205     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check       att that appty.                  $139.90
          N   EBRASKA NORTHWESTERN RAILROAD
          tNc.                                                               E   Contingent
          c/o Jason Bierwerth                                                E   Untiquidated
          P. O. Box 825                                                      E   Disputed
          cRooKsToN, MN 56716
                                                                             Basis forthe claim:    _
          Date(s) debt was incurred _
          Last 4 digits of account number      _                             ls the claim subject to offset?     I   No E    Yes


3.206     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:     Check ail that appty.               $47,072.05
          NEW ENGLAND CENTRAL RAILROAD //                                    E   Contingent
          ATTN: Cash Receipts Clerk                                          E   Unliquidated
          27606 Network Place                                                E   Disputed
          Chicago, lL 60573
          Date(s) debt was incured
                                                                             Basis for the claim:   _
                                        _
                                                                             ls the claim subjectto offset?      I No E      Yes
          Last 4 digits of account number      _
3.207     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:     Check   aI    that appty.             $2,059.75
          NEW ORLEANS PUBLIC BELT RAILROAD                                   E   Contingent
          4822 Tchoupitoulas Street                                          E   Unliquidated
          NEW ORLEANS, LA 7OII5                                              E   Disputed
          Date(s) debt was incurred     _                                    Basis for the claim:      _
          Last 4 digits of account number
                                                                             ls the claim subiect to offset?     I No E Yes



Official Form 206    E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 30 of 46
Software Copyright (c) 1996-2020 Best Case, LLC - wW.bestcase.com                                                                                               Best Case Bankruptcy
            Case 20-11139-1-rel                          Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                                  Desc Main
                                                              Document    Page 298 of 370
 Debtor lnterstateCommodities lnc.                                                                       Case number    (ir mown)
              Nam€

 3.208     Nonpriority creditor's name and mailing address                    As ofthe petition filing date, the claim is: checkatlthatappty.                      $1,259.82
           NMC EXCHANGE LLC                                                    E   Contingent
           PO Box 911784                                                       E   Untiquidated
           Denver, CO 80291-1784                                               E   Disputed
           Date(s) debt was incurred      _                                   Basis forthe claim:    _
           Last 4 digits of account number          _                                                           I No E
                                                                              ls the claim subject to offset?              Yes

 3.209     Nonpriority creditor's name and mailing address                    As ofthe petition filing date, the claim is: checkattthat        appty           $51 3 ,212.10
           NORFOLK SOUTHERN //                                                E    Contingent
           PO BOX 116944                                                      E    Unliquidated
          Atlanta, GA 30368-6944                                              E    oisputed
          Date(s) debt was incurred       _                                   Basis forthe claim:    _
          Last 4 digits of account number
                                                                              ls the claim subject to offset?   I No E     Yes

 3.210    Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is:   Check att that appty.                   $805.62
          NORTH SHORE RAILROAD COMPANY                                        E    Contingent
          C/O Diana L. Williams                                               E    Unliquidated
          356 Priestley Ave                                                   E    Disputed
           Northumberland, PA 17857
          Date(s) debt was incurred       _
                                                                              Basis for the claim:   _
          Last 4 digits of account number                                     ls the claim subject to offset?   I   No E   yes


 3.211    Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is:   Check att that appty.                $2,419.29
          NORTHERN PLAINS RAIL SERVICES                                       E    Contingent
          ATTN SUSAN THOMPSON                                                 E    Untiquidated
          POBOX274                                                            E    Disputed
          ERSKINE, MN 56535
          Date(s) debt was incurred
                                                                              Basis for the claim:   _
                                          _
          Last 4 digits of account number                                     ls the claim subject to offset?   I uo E Yes
 3.212    Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is:   Check ail that appty.                $2,419.29
          NORTHERN PLAINS RAILROAD INC                                        E    Contingent
          PO BOX 38                                                           E    Untiquidated
          FORDVILLE, ND 58231                                                 E    Disputed
          Date(s) debt was incurred      _                                    Basis for the claim:   _
          Last 4 digits of account number
                                                                              ls the claim subject to offset?   I   ruo E yes

 3.213    Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: check aI       that appty.                $422.41
          OFFICENET                                                           E    Contingent
          648 N BROAD ST                                                      E    Unliquidated
          FREMONT, NE 58026                                                   E    Disputed
          Date(s) debt was incurred      _                                    Basis for the claim:   _
          Last 4 digits of account number
                                                                              ls the claim subject to offset?   ! No E yes
 3.214    Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is:   Check   aI   that appty.             $1,535.60
          OMAHA LINCOLN AND BEATRICE                                          E    Contingent
          ATTN: ACCOUNTS REC.                                                 E    Unliquidated
          PO BOX 80268                                                        E    Disputed
          LINCOLN, NE 68501
          Date(s) debt was incurred      _
                                                                              Basis for the claim:   _
          Last 4 digits of account number           _                         ls the claim subject to offset?   I   No E   yes




Official Form 206   E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 31 of 46
Software Copyright (c) 1996-2020 Best Case, LLC -   w.bestcase.com                                                                                            Best Cas€ Bankruptcy
           Case 20-11139-1-rel                       Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                                  Desc Main
                                                          Document    Page 299 of 370
 Debtor lnterstateCommodities,lnc.                                                                     Case number (irmown)
             Name

 3.215    Nonpriority creditor's name and mailing address                   As ofthe petition filing date, the claim is: checkalthatappty.                     $1,857.99
          ONSITE TRUCK AND TRAILER REPAIR                                   E    Contingent
          302 E Wapella St.                                                 E    Unliquidated
          Minooka, lL60447                                                  E    oisputed
          Date(s) debt was incurred    _                                    Basis for the claim:   _
          Last 4 digits of account number_
                                                                            ls the claim subject to offset?     I ruo E    yes

3.216     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: check    ail that appty.             $2,000.18
          ORTUS GLOBAL CO LTD                                               E    Contingent
          7F, No. 37, Dexing W. Road                                        E    Unliquidated
          Shilin District                                                   E    Disputed
          TAIPEICITY,111 TAIWAN
          Date(s) debt was incurred    _
                                                                            Basis for the claim:   _
          Last 4 digits of account number     _                             ls the claim subject to offset?     I   No E   Yes


3.217     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:   Check ail that appty.            $37 931.00
          PACIFIC INTERMODAL COMPANY LLC                                    E    Contingent
          r000 E DoMtNGUEZ #203                                             E    Untiquidated
          GARSON, CA 90746                                                  E    oisputed
          Date(s) debt was incurred    _                                    Basis forthe claim:    _
          Last 4 digits of account number     _                             ls the claim subject to offset?     I   No E   Yes


3.218     Nonpriority creditor's name and mailing address                   As of the petition liling date, the claim is: check    att that appty.               $331.19
          PADUCAH AND LOUISVILLE RAILWAY INC                                El   Contingent
          P.O. BOX 403076                                                   D    Untiquidated
         ATLANTA, GA 30384                                                  E    oisputed
          Date(s) debt was incuned     _                                    Basis for the claim:   _
          Last 4 digits of account number     _                                                                 I
                                                                            ls the claim subject to   offset?       No E   Yes


3.219     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: check    att that appty.                 $50.00
          PALMETTO GRAIN BROKERAGE INC                                      E    Contingent
          516 Browns Cove Rd                                                E    Unliquidated
          Unit J                                                            E    Disputed
          Ridgeland, SC 29936
                                                                            Basis for the claim:   _
          Date(s) debt was incurred    _
          Last 4 digits of account number     _                             ls the claim subject to offset?     I No E     Yes


3.220     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: check    att that appty.               $139.40
          PALOUSE RIVER AND COULEE CITY
          RAILROAD                                                          E    Contingent
          C/O JESSICA SWAFFORD                                              El   Unliquidated
          P.O. BOX 790343, BtN#150077                                       E    oisputed
          sT. LOUtS, MO 63179-0343
                                                                            Basis for the claim:   _
          Date(s) debt was incurred    _
          Last 4 digits of account number     _                             ls the claim subject to   offset?   I   No E   Yes


3.221     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:    Check ail that apply              $4,056.00
          PAN AM SOUTHERN RAILWAY //                                        E    Contingent
          1700 lron Horse Park                                              E    Unliquidated
          Treasury Dept                                                     E    Disputed
          N Billerica, MA 01862
          Date(s) debt was incuned
                                                                            Basis for the claim:   _
                                       _
                                                                            ls the claim subject to offset?     I No E     yes
          Last 4 digits of account number     _




Official Form 206   E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 32 of 46
Softwaro Copyright (c) 1996-2020 Best Case, LLC - w.bestcase.com                                                                                          Best Case Bankruptcy
           Case 20-11139-1-rel                         Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                                  Desc Main
                                                            Document    Page 300 of 370
 Debtor lnterstate Commodities lnc.                                                                     Case number (ittnown)

 3.222    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:   Check all that appty.               $8,750.00
          PAQUETTE RAILWAY SOULTIONS INC                                     E   Contingent
          10516 W Whispering Woods Drive                                     E   Unliquidated
          DeMofte, lN 46310                                                  E   oisputed
          Date(s) debt was incurred      _                                   Basis for the claim:   _
          Last 4 digits of account number         _                                                              I No E
                                                                             ls the claim subject to   offset?              Yes

 3.223    Nonpriority creditor's name and mailing address                    As ofthe petition filing date, the claim is: Check      all that appty.               $352.86
          PENNSYLVANIA AND SOUTHERN RAILWAY                                  E   Contingent
          1 Gateway Center Suite 501B                                        E   Unliquidated
          NEWTON, MA 02458                                                   E   Disputed
          Date(s) debt was incurred      _                                   Basis for the claim:   _
          Last 4 digits of account number         _                                                              I No E
                                                                             ls the claim subject to   offset?              Yes

 3.224    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: check     att that appty.               $500.00
          PHOENIX FEEDS AND NUTRITION INC                                    El Contingent
          5482 Ethan Allen Highway                                           E   Unliquidated
          P. O. Box 36
                                                                             E   oisputed
          New Haven, W 05472
                                                                             Basis for the claim:   _
          Date(s) debt was incurred      _
          Last 4 digits of account number                                    ls the claim subject to   offset?   I No E     Yes


 3.225    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:   Check ail that appty.               $7,832.00
          POD LOGISTICS INC                                                  E   Contingent
          372 Doughty Blvd                                                   E   Untiquidated
          lnwood, NY 11096                                                   E   Disputed
          Date(s) debt was incurred      _                                   Basis for the claim:   _
          Last 4 digits of account number_
                                                                             ls the claim subject to offset?     I   No E   Yes


 3.226    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:    Check ail that appty.            $1 2,831.73
          PORT TERMINAL RAILROAD                                             E   Contingent
          ATTN: JAMES CHASTUN                                                E   Unliquidated
          PO BOX 2348                                                        E   Disputed
          HOUSTON, TX77252-2348
                                                                             Basis for the claim:   _
          Date(s) debt was incurred      _
          Last 4 digits of account number                                    ls the claim subject to offset?     I No E     Yes


 3.227    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: check alt that appty.                    $284.46
          PORTLAND AND WESTERN RR                                            E   Contingent
          27603 Network Place                                                E   Unliquidated
          Chicago, lL 60673-1276                                             E   Disputed
          Date(s) debt was incured       _                                   Basis for the claim:   _
          Last 4 digits of account number
                                                                             ls the claim subject to ottset?     I No E     Yes

 3.228    Nonpriority creditor's name and mailing address                    As ofthe petition filing date, the claim is:     Check att that appty.                    $5.38
          PROGRESS METAL RECLAMATION                                         EI Contingent
          COMPANY                                                            E   Unliquidated
          PO BOX 1179                                                        E   Disputed
          ASHLAND, KY 79118
                                                                             Basis for the claim:   _
          Date(s) debt was incurred      _
          Last 4 digits of account number         _                          ls the claim subject to   otfset?   I   No E   Yes




Official Form 206   E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 33 of 46
Software Copyright (c) 1996-2020 Best Case, LLC   -w.bestcase.com                                                                                           Best Case Bankruptcy
          Case 20-11139-1-rel                      Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                                      Desc Main
                                                        Document    Page 301 of 370
 Debtor lnterstateCommodities.lnc.                                                                       Case number   (itt<nown)
               N€me

3.229     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: check aI        that appty.       $7,369,744.81
          PROGRESS RAIL LEASING //                                         El   Contingent
          25083 Network Place                                              E    Unliquidated
          Chicago, lL 60573-1250                                           E    Disputed
          Date(s) debt was incurred   _                                    Basis for the claim:   _
          Last 4 digits of account number    _                                                                 I No E
                                                                           ls the claim subject to offset?                Yes

3.230     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:    Check   aI   that appty.           $45,622.10
          PROGRESS RAIL SERVICES                                           E    Contingent
          24601 Network Place                                              E    Untiquidated
          Chicago, lL 60573-1245                                           E    Disputed
          Date(s) debt was incurred   _                                    Basis for the claim:   _
          Last 4 digits of account number    _                                                                 I   No E
                                                                           ls the claim subject to   offset?              Yes


3.231     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:    Check ail that apply.                  $292.25
          PROVIDENCE AND WORCESTER                                         E    Contingent
          RAILROAD                                                         E    Unliquidated
          27606 Network Place                                              E    Disputed
          Ghicago, lL 60673
          Date(s) debt was incurred    _
                                                                           Basis for the claim:   _
                                                                           ls the claim subject to offset?     I No E     Yes
          Last 4 digits of account number    _
3.232     Nonpriority creditor's name and mailing address                  As of the petition tiling date, the claim is: Check      all that apply.            $44,100.00
          RAIL PARTNERS SELECT LLC //                                      E Contingent
          70 West Madison                                                  E Unliquidated
          Suite 2200                                                       E Disputed
          Chicago, lL 60602
                                                                           Basis for the claim:   _
          Date(s) debt was incurred    _
          Last 4 digits of account number    _                             ls the claim subject to offset?     I No E Yes
3.233     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: check      att that appty.              $3,000.00
          RAILCAR LEASING AND LOGISTICS LLC                                E    Contingent
          2133 HTGHWAY 3,l7                                                E    Unliquidated
          sulTE 12-302                                                     E    oisputed
          SUWANEE, GA 30024
                                                                           Basis forthe claim:      _
          Date(s) debt was incurred    _
                                                                           ls the claim subject to offset?     I ruo E    yes
          Last 4 digits of account number    _
3.234     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:    Check att that appty.              $18,334.51
          RAILINC CORPORATION                                              E    Contingent
          PO Box 79860                                                     E    Unliquidated
          Baltimore, MD 21279-0860                                         E    oisputed
          Date(s) debt was incurred    _                                   Basis for the claim:      _
          Last 4 digits of account number    _                             ls the claim subject to offset?     I No E     Yes

 3.235    Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:    Check aI that apply.             $111 501.12
          RAPID CITY PIERRE & EASTERN RAILROAD                             E Contlngent
          il                                                               E Unliquidated
          27596 Network Place                                              E oisputed
          cHtcAco, tL 50673-1276
                                                                           Basis for the claim:      _
          Date(s) debt was incurred    _
          Last 4 digits of account number                                  ls the claim subjectto    offsett   I No E     Yes




Official Form 206     E/F                                   Schedule E/F: Credito6 Who Have Unsecured Claims                                                     Page 34 of 46
Software Copyright (c) 1996-2020 Best Case, LLC - w.best€se.com                                                                                             Best Caso Bankruptcy
           Case 20-11139-1-rel                        Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                                  Desc Main
                                                           Document    Page 302 of 370
Debtor lnterstateCommodities,lnc.                                                                       Case number (rrnown)
             Name

3.236     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:   Check alt that apply                   374.62
          RAS DATA SERVICE                                                   El   Contingent
          1510 PLAINFIELD RD                                                 E    Unliquidated
          SUITE 3                                                            EI oisputed
          DARIEN, IL 6055I
                                                                             Basis forthe claim:    _
          Date(s) debt was incurred     _
                                                                             ls the claim subject to offset?   f No E     Yes
          Last 4 digits of account number      _
3.237     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:   Check ail that appty               $7,900.40
          RED RIVER VALLEY AND WESTERN
          RAILROAD                                                           E Contingent
          BtN# 170075                                                        E Unliquidated
          PO Box 9201                                                        E Disputed
          Minneapolis, MN 55480-9201
                                                                             Basis forthe claim:    _
          Date(s) debt was incurred     _
          Last 4 digits of account number      _                             ls the claim subject to offset?   I   No E   Yes


3.238     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:   Check atl that apply.              $3,976.93
          RESCAR COMP                                                        E    Contingent
          1101 3lSTSTREET                                                    E    Unliquidated
          sutTE 250                                                          E    Disputed
          DOWNERS GROVE, IL 60515
          Date(s) debt was incurred     _
                                                                             Basis for the claim:   _
                                                                             ls the claim subject to offset?   I No E     Yes
          Last 4 digits of account number      _
3.239     Nonpriority creditor's name and mailing address                    As ofthe petition filing date, the claim is: Checkailthatappty.                    $1,516.80
          RESCAR INC                                                         E Contingent
          2882 Paysphere Circle                                              E Unliquidated
          Chicago, lL 60674                                                  E oisputed
          Date(s) debt was incurred     _                                    Basis forthe claim:    _
          Last 4 digits of account number
                                                                             ls the claim subject to offset?   I No E Yes
3.240     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: check ail   that apply.            $18,430.47
          RJ CORMAN RAILROAD COMPANY                                         E    Contingent
          C/O DAVID REED                                                     E    Unliquidated
          P. O. Box 788                                                      E    oisputed
          Nicholasville, KY 40340
                                                                             Basis for the claim:   _
          Date(s) debt was incurred     _
          Last 4 digits of account number      _                             ls the claim subject to offset?   I No E Yes
3.241     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: check    ail that appty.           $16,712.44
          RMG FREMONT LLC                                                    E    Contingent
          7 Madison Street                                                   E    Unliquidated
          Troy, NY 12180                                                     E    Disputed
          Date(s) debt was incurred     _                                    Basis for the claim:   _
          Last 4 digits of account number      _                                                               I No E Yes
                                                                             ls the claim subject to offset?


3.242     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:   Check alt that apply.                  $23.15
          ROCHESTER AND SOUTHERN RAILROAD                                    E    Contingent
          27606 NETWORK PLACE                                                E    Untiquidated
          cHtcAGo, tL 60673-1275                                             E    oisputed
          Date(s) debt was incurred     _                                    Basis for the claim:   _
          Last 4 digits of account number
                                                                             ls the claim subject to offset?   I No E Yes




Otficial Form 206   E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 35 of 46
Soflware Copyright (c) 1996-2020 Best Case, LLC - wW.bestcase.com                                                                                          Best Case Bankruptcy
           Case 20-11139-1-rel                         Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                                  Desc Main
                                                            Document    Page 303 of 370
Debtor lnterstateCommodities,lnc.                                                                      Case number     (ir t<nown)
              Name

3.243     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: check      att that apply.         $131,456.31
          ROCKY MOUNTAIN RAILCAR REPAIR                                     E   Contingent
          1485 W James Way                                                  E   Unliquidated
          Tooefe, UT 84074                                                  E   oisputed
          Date(s) debt was incurred      _                                  Basis forthe     claim:_
          Last 4 digits of account number         _                         ls the claim subject to offset?   I   No   fl   Yes


3.244     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: check ail     that apply.                $420.00
          RWCIINC                                                           E Contingent
          l0lndustrial Park                                                 E Unliquidated
          Flora, lL 62839                                                   E Disputed
          Date(s) debt was incurred      _                                  Basis for the claim:   _
          Last 4 digits of account number         _                         ls the claim subject to offset?   I No E        Yes


3.245     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: check      ail that apply.             $3,770.96
          SAFETY RAILWAY SERVICE LP                                         E   Contingent
          403 WAREHOUSE ROAD                                                E   Unliquidated
          vtcToRtA, TX 77905-0514                                           E   Disputed
          Date(s) debt was incufted      _                                  Basis for the claim:   _
          Last 4 digits of account number
                                                                            ls the claim subject to offset?   I   No E      Yes


3.246     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: check      ail that appty.                 $40.86
          SAN LUIS CENTRAL RAILROAD COMPANY                                 E   Contingent
          6400 Shafer Court                                                 E   Unliquidated
          Suite 275                                                         E   oisputed
          Rosemont, lL 60018
                                                                            Basis forthe claim:    _
          Date(s) debt was incurred      _
          Last 4 digits of account number         _                         ls the claim subject to offset?   I   No E      Yes


3.247     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: check      ail that appty                $566.99
          SANDERSVI LLE RAILROAD COMPANY                                    E Contingent
          C/O JEROME GRABIAK                                                E Untiquidated
          P.O. BOX 269                                                      E oisputed
          SANDERSVILLE, GA 31082
                                                                            Basis for the claim:   _
          Date(s) debt was incurred      _
          Last 4 digits of account number         _                         ls the claim subject to offset?   I   No E      Yes


3.245     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:     Check att that apply.            $39,658.03
          SAPP BROS INC                                                     E   Contingent
          P.O. BOX 45305                                                    E   Unliquidated
          OMAHA, NE 68145                                                   E   Disputed
          Oate(s) debt was incurred      _                                  Basis for the claim:   _
          Last 4 digits of account number
                                                                            ls the claim subject to otfset?   I ruo    El Yes

3.245     Nonpriority creditor's name and mailing address                   As ofthe petition filing date, the claim is: checkattthatappty.                        $609.00
          SCALES SALES AND SERVICE LLC                                      E   Contingent
          8615 VERNON AVE                                                   E   Unliquidated
          OMAHA, NE 68134                                                   E   Disputed
          Date(s) debt was incurred      _                                  Basis for the claim:   _
          Last 4 digits of account number         _                         ls the claim subject to offset?   I   No E      Yes




Official Form 206    E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 36 of 46
Software Copyright (c) 1996-2020 Best Case, LLC   -w.best€se.com                                                                                            Besl Caso Bankruptcy
           Case 20-11139-1-rel                          Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                                   Desc Main
                                                             Document    Page 304 of 370
 Debtor lnterstateCommodities.lnc.                                                                      Case number       (it tnown)
              Name

 3.250     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:      Check ail that appty.            $12,300.00
          SCHUYLKILL RAILCAR INC //                                          E   Contingent
          3 Hockersville Road                                                E   Unliquidated
          Hershey, PA 17033                                                  E   Disputed
           Date(s) debt was incurred     _                                   Basis for the claim:   _
           Last 4 digits of account number
                                                                             ls the claim subject to offset?     I ruo E       ves

 3.251    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:      Check ail that appty.              $1,336.50
          SCOTT ELECTRIC INC //                                              E   Contingent
           POBOX272                                                          E   Untiquidated
           FREMONT, NE 68026                                                 E   Disputed
          Date(s) debt was incurred      _                                   Basis for the claim:   _
          Last 4 digits of account number         _                                                              I
                                                                             ls the claim subject to   offset?       No   fl   Yes

 3.252    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: check       ail that appty.                 $78.75
          SCOULAR COMPANY ///                                                E   Contingent
          171 Church Street                                                  E   Unliquidated
          Suite 250                                                          EI Disputed
          CHARLESTON, SC 29401
          Date(s) debt was incurred
                                                                             Basis for the claim:   _
                                         _
          Last 4 digits of account number         _                          ls the claim subject to   otfset?   I No E        Yes


 3.253    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: check       att that appty.             $1,050.00
          SCOULAR GRAIN ///                                                  E   Contingent
          Attn: Heather Farrell                                              E   Unliquidated
          2027 Dodge Street - Suite 200                                      E   Disputed
          OMAHA, NE 68102
                                                                             Basis forthe claim:    _
          Date(s) debt was incurred      _
          Last 4 digits of account number         _                          ls the claim subject to offset?     I No E        Yes


 3.254    Nonpriority creditor's name and mailing address                    As ofthe petition filing date, the claim is: Checkailthat         appty.              $3,750.00
          SCOULAR GRAIN CO ///                                               E   Contingent
          10801 Mastin Blvd.                                                 E   Unliquidated
          Suite 800                                                          E   Disputed
          Overland Park, KS 66210
                                                                             Basis forthe claim:    _
          Date(s) debt was incurred      _
          Last 4 digits of account number         _                          ls the claim subject to offset?     I No E        Yes


 3.255    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:      Check att that appty.            $18,299.20
          SOO LINE RAILROAD                                                  E   Contingent
          8293 COLLECTION CENTER DRIVE                                       E   Unliquidated
          cHtcAco, tL 60593-0082                                             E   oisputed
          Date(s) debt was incurred      _                                   Basis for the claim:   _
          Last 4 digits of account number         _                                                              I
                                                                             ls the claim subject to offsetz         No E      Yes

 3.256    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: check       att that appty.           $14,162.11
          SOUTHEAST RAILCAR INC                                              El Contingent
          PO Box 1204                                                        E   Unliquidated
          Americus, GA 31709                                                 EI Disputed
          Date(s) debt was incurred      _                                   Basis for the claim:   _
          Last 4 digits of account number         _                                                              I
                                                                             ls the claim subject to   offset?       No E      Yes




Official Form 206   E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 37 of 46
Software Copyright (c) 1996-2020 Best Case, LLC   -w.bestcase.com                                                                                             Best Case Bankruptcy
           Case 20-11139-1-rel                          Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                                 Desc Main
                                                             Document    Page 305 of 370
 Debtor lnterstateGommodities,lnc                                                                        Case number   (itt<nown)
              Name

3 257     Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: check    all that appty.            $z 757.10
          SOUTHEASTERN RAILWAY SERVICES INC                                   E    Contingent
          P. O. Box 72                                                        E    Unliquidated
          Magnolia, MS 39652                                                  E    Disputed
          Date(s) debt was incurred      _                                    Basis for the claim:   _
          Last 4 digits of account number       _                             ls the claim subject to offset?   I No E      Yes


3.258     Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is:   Check aI that appty.              $9,022.90
          SOUTHWESTERN RAILROAD INC                                           E    Contingent
          C/O SANDRA WILDER                                                   El   Unliquidated
          P.O. BOX 1876                                                       E    oisputed
          OGDEN, UT 84402
                                                                              Basis forthe claim:    _
          Date(s) debt was incurred      _
          Last 4 digits of account number       _                             ls the claim subject to offset?   I   No E    Yes


3.259     Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: check    att that appty.               $137.00
          SPALLINGER MILLWRIGHT SERVICES                                      E    Contingent
          1 155 EAST HANTHORN ROAD                                            E    Untiquidated
          LIMA, OH 45804                                                      E    oisputed
          Date(s) debt was incurred      _                                    Basis for the claim:   _
          Last 4 digits of account number           _                         ls the claim subject to offset?   I   No E    Yes


3.260     Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is:   Check ail that appty.              $8,990.82
          SPRINGFIELD TERMINAL //                                             E    Contingent
          ATTN: Treasury Department                                           E    Unliquidated
          1700 lron Horse Park                                                E    Disputed
          North Billerica, MA 01862
                                                                              Basis forthe claim:    _
          Date(s) debt was incurred      _
                                                                              ls the claim subject to offsetz   I No E      Yes
          Last 4 digiG of account number            _
3.261     Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is:   Check ail that appty.              $1,258.93
          SPRINGFIELD TERMINAL RAILWAY INC                                    E    Contingent
          1700 lron Horse Park                                                E    Unliquidated
          High Street                                                         E    oisputed
          North Billerica, MA 01862
                                                                              Basis forthe claim:    _
          Date(s) debt was incurred      _
                                                                              ls the claim subiect to offset?   I lto E     Yes
          Last 4 digits of account number           _
3.262     Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is:   Check ail that apply.              $3,528.38
          STILLWATER CENTRAL RAILROAD                                         E    Contingent
          PO BOX 790343                                                       E    Unliquidated
          BtN # 150077                                                        E    Disputed
          sT. LOUtS, MO 63179-0343
                                                                              Basis for the claim:   _
          Date(s) debt was incurred      _
          Last 4 digits of account number           _                         ls the claim subject to offset?   I   No E    Yes


 3.263    Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: check    all that apply.                 351.56
          SUDDEN SERV]CE INC                                                  E    Contingeni
          P.O. BOX 903                                                        E    Unliquidated
          LOUtSVtLLE, MS 39339-0903                                           f1   oisputed
          Date(s) debt was incurred      _                                    Basis forthe claim:    _
          Last 4 digits of account number           _                         ls the claim subject to offset?   I   ruo E   Yes




Official Form 206    E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 38 of 46
Software Copyright (c) 1996-2020 Best Case, LLC -   w.bestcase.com                                                                                          Best Case Bankruptcy
            Case 20-11139-1-rel                           Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                                  Desc Main
                                                               Document    Page 306 of 370
 Debtor lnterstate Commodities lnc.                                                                       Case number    (ir rnown)
               Name

 3.264     Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is:   Check ail that appty.                   $698.71
           SUNDERLAND CO-OP                                                     E   Contingent
           PO Box 280                                                           E   Unliquidated
           Sunderland, ON LOC 1H0                                               E   Disputed
           Date(s) debt was incurred      _                                    Basis for the claim:   _
           Last 4 digits of account number
                                                                               ls the claim subject to offset?   I No   El Yes

 3.265     Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is:   Check att that appty.                $7,515.96
           SWEENEY FARMS                                                       E    Contingent
           4685 ST RTE 568                                                     E    Unliquidated
           SOMERSET, OH 43783                                                  E    Disputed
           Date(s) debt was incurred      _                                    Basis forthe claim:    _
           Last 4 digits of account number
                                                                               ls the claim subjectto offset?    I   ruo E   Yes

 3,266     Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is:   Check att that appty.                   $2s2.69
           T SQUARE SUPPLY                                                     E    Contingent
           140 E Washington Street                                             E    Unliquidated
           FREMONT, NE 68025                                                   E    Disputed
           Date(s) debt was incurred      _                                    gasis forthe claim:
                                                                                                      _
           Last 4 digits of account number
                                                                               ls the claim subjectto offset?    I   No E    Yes

 3.267     Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: check aI       that appty.          $186,272.56
           TAZEWELL AND PEORIA RAILROAD                                        E    Contingent
           27596 NETWORK PLACE                                                 E    Untiquidated
           cHtcAGo, lL 60673-1275                                              E    Disputed
           Date(s) debt was incurred      _                                    Basis forthe claim:    _
           Last 4 digits of account number
                                                                               ls the claim subjectto offset?    I   No E    Yes

 3.268     Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: check aI       that appry.             $7,171.06
           TERMINAL RAILROAD ASSOC OF ST LOUIS                                 E    Contingent
           PO Box 14958-F                                                      E    Unliquidated
           St. Louis, MO 63150                                                 E    Disputed
           Date(s) debt was incurred      _                                    Basis forthe claim:    _
           Last 4 digits of account number
                                                                               ls the claim subjectto offset?    I   No E    Yes

 3.269     Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is:   Check   aI   that appty.             $2,934.38
           TERMINAL RWY ALABAMA STATE DOCKS                                    E    Contingent
           C/O NELSON SIKES                                                    E    Unliquidated
           PO BOX 1588                                                         E    Disputed
           MOBILE, AL 35533
                                                                               Basis forthe claim:    _
           Date(s) debt was incurred      _
           Last 4 digits of account number                                     ls the claim subject to offset?   I   No E    Yes


 3.270     Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: check     ail that appty.              $4,910.53
          THE ANDERSONS                                                        E    Contingent
          480 W Dussel Drive                                                   I    untiquidated
          PO Box 119
          Maumee, OH 43537                                                     I    Disputed

           Date(s) debt was incurred      _                                    Basis forthe claim:    _
           Last 4 digits of account number                                     ls the claim subject to offset?   I   No E    Yes




Official Form 206   E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 39 of 46
Software Copyright (c) '1996-2020 B6st Case, LLC -   w.bestcase.com                                                                                            Best Case Bankruptcy
            Case 20-11139-1-rel                         Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                                  Desc Main
                                                             Document    Page 307 of 370
 Debtor lnterstateCommodities,lnc.                                                                        Case number    (itt<nown)
              Name

 3.271    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:     Check att that appty.        $1,104,025.15
          THE ANDERSONS INC                                                  E   Contingent
          PO BOX 84878                                                       I   Unliquidated
          cHtcAco, lL 60689-8478
                                                                             I   Disputeo
          Date(s) debt was incurred      _
                                                                             Basis forthe claim:      _
          Last 4 digits of account number
                                                                             ls the claim subjectto offset?     I No E        Yes

 3.272    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:     Check att that appty.            $82,134.41
          THE BELT RAILWAY COMPANY OF                                        E   Contingent
          CHICAGO                                                            E   Untiquidated
          PO BOX 67                                                          E   Disputed
          Bedford Park, lL 60499-0067
          Date(s) debt was incurred      _
                                                                             Basis for the claim:     _
          Last 4 digits of account number                                    ls the claim subjectto   offsetz   I   No E      Yes


 3.273    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:     Check ail that appty.                $908.05
          THE CIT GROUP CAPITAL FINANCE INC                                  E   Contingent
          P.O. Box 4339                                                      E   Unliquidated
          CHURCH STREET STATION                                              E   oisputed
          NEW YORK, NY 102614339
                                                                             Basis for the claim:     _
          Date(s) debt was incurred      _
          Last 4 digits of account number                                    ls the claim subject to offset?    I   No E      Yes


 3.274    Nonpriority creditor's name and mailing address                    As ofthe petition filing date, the claim is: Checkattthatappty.                          $10.73
          THE COLORADO AND WYOMING RAILWAY                                   E   Contingent
          COMPANY                                                            E   Unliquidated
          PO BOX 734136                                                      E   Disputed
          Dallas, TX 753734136
          Date(s) debt was incurred
                                                                             Basis for the claim:     _
                                         _
          Last 4 digits of account number                                    ls the claim subject to offset?    I No E        Yes


 3.275    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:     Check ail that appty.                  $71.s0
          THE MALSAM COMPANY                                                 E   Contingent
          15550 390th Ave                                                    EI Unliquidated
          Mellette, SD 57461                                                 E   Disputed
          Date(s) debt was incurred      _                                   Basis forthe claim:      _
          Last 4 digits of account number
                                                                             ls the claim subjectto otfset?     I   No E      Yes

 3.276    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:      Check att that appry.                $560.56
          TH E   WESTLAN D CORPORATION                                       E   Contingent
          1475 CONCESSION 5                                                  E   Unliquidated
          KINCARDINE, ON N2Z 2X6                                             E   oisputed
          Date(s) debt was incurred      _                                   Basis for the claim:     _
          Last 4 digits of account number
                                                                             ls the claim subject to offset?    I   No E      Yes

 3.277    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:      Check ail that appty.             $1,499.60
          TO BE DETERMINED NAME                                              E   Contingent
          0                                                                  E   Unliquidated
          0,0                                                                E   oisputed
          Date(s) debt was incurred      _                                   Basis forthe claim:      _
          Last 4 digits of account number
                                                                             ls the claim subject to offset?    I   No   fl   Yes




Official Form 206   E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 40 of 46
Software Copyright (c) 1996-2020 Best Case, LLC   -w.bestcase.com                                                                                            Best Case Bankruptcy
            Case 20-11139-1-rel                          Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                                         Desc Main
                                                              Document    Page 308 of 370
 Debtor lnterstateCommodities. lnc.                                                                        Case number     (il<nown)
               Name

 3.278     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:          Check att that appty.                $8,800.00
           TOTAL QUALITY LOGISTICS                                             E   Contingent
           PO BOX 634558                                                       E   Unliquidated
           ctNctNNATI, oH 452534558                                            E   oisputed
           Date(s) debt was incurred      _                                   Basis forthe claim:      _
           Last 4 digits of account number
                                                                               ls the claim subject to   offsei?   I no El yes
 3.279     Nonpriority creditor's name and mailing address                    As ofthe petition filing date, the claim is: Checkalthatappty.                           $123,451.86
          TRANSCO RAILWAY PRODUCTS ING                                         E   Contingent
          97480 Eagle Way                                                      E   Unliquidated
           cHtcAco,         tL 60678                                           E   Disputeo
           Date(s) debt was incurred      _                                   Basis for the claim:     _
           Last 4 digits of account number
                                                                              ls the claim subject to    ofset?    I   No E     Yes

 3.280    Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim        isi   check ail that appty.                $1,850.00
          TRANS PORTATION SOFTWARE
          SOLUTIONS INC                                                            Contingent
          C/O Compcare Services                                                    Unliquidated
          PO Box 797030
                                                                                   Disputed
          St. Louis, MO 53179-7000
                                                                              Basis for the claim
          Date(s) debt was incurred       _
          Last 4 digits of account number                                     ls the claim subjectto     offsetz   I No E       Yes


 3.281    Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: check            ail that appty.                 $160.r    1
          TRAXXSIDE TRANSLOADING INC                                          E    Contingent
          231 Speedvale Avenue West                                           E    Unliquidated
          GUELPH, ON N1H IC5                                                  E    Disputed
          Date(s) debt was incurred       _                                   Basis forthe claim:      _
          Last 4 digits of account number
                                                                              ls the claim subject to offset?      I No E       Yes

 3.282    Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: check            att that appty.           $262,821.24
          TRINITY LEASING CUSTOMER PAYMENT
          ACCOUNT                                                             tr Contingent
          w 510131                                                            tr Unliquidated
          PO BOX7777
                                                                              tr Disputed
          PHILADELPHIA, PA 19175-0131
                                                                              Basis for the claim
          Date(s) debt was incurred       _
          Last 4 digits of account number                                     ls the claim subject to offset?      I   No E     Yes


 3.283    Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is:          Check ail that appty.                   $822.94
          TRIPLE F ENTERPRISES LLC                                            E    Contingent
          3380 N Calstrom Drive                          '/                   E    Unliquidated
          FREMONT, NE 68025                                                   E    Disputed
          Date(s) debt was incurred       _                                   Basis for the claim:     _
          Last 4 digits of account number
                                                                              ls the claim subject to offset?      I   ruo E   Yes

 3.284    Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is:                  aI
                                                                                                                                     Check        that apply.             $2,600.00
          TRIPLE F LOGISTICS LLC                                              E    Contingent
          3380 N Carlstrom Drive                                              E    Untiquidated
          FREMONT, NE 68025                                                   E    Disputed
          Date(s) debt was incurred       _                                   Basis forthe claim:      _
          Last 4 digits of account number
                                                                              ls the claim subject to    otfsetz   I lto E Yes




Official Form 206   E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                                          Page 41 of 46
Software Copyright (c) 1996-2020 Best Case, LLC -   w.bestcase.com                                                                                                   Best Case Bankruptcy
            Case 20-11139-1-rel                        Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                                Desc Main
                                                            Document    Page 309 of 370
 Debtor lnterstateCommodities,lnc.                                                                     Case number    (ir tnown)
              Name

 3.285    Nonpriority creditor's name and mailing address                   As ofthe petition filing date, the claim is: checkattthatappty.                  $21,158.47
          TTX COMPANY AGENT FOR ALS                                         E   Contingent
          Lockbox# 22984                                                    E   Unliquidated
          22984 Network Place                                               E   oisputed
          Chicago, lL 60573-1229
          Date(s) debt was incurred      _
                                                                            Basis for the claim:   _
                                                                            ls the claim subject to offset?   I No E       yes
          Last 4 digits of account number         _
 3.286    Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: check    att that appty.       $3,659,353.05
          TTX COMPANY AGENT FOR CSXT                                        E   Contingent
          Lockbox# 22984                                                    E   Unliquidated
          22984 Network Place                                               E   Disputed
          Chicago, lL 60673-1229
          Date(s) debt was incurred      _
                                                                            Basis for the claim:   _
          Last 4 digits of account number                                   ls the claim subjectto offset?    I   No E     Yes


 3.287    Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:   Check att that appty.          $755,404.24
          TTX COMPANY AGENT FOR NS                                          E   Contingent
          LOCKBOX #22984                                                    E   Unliquidated
          22984 NETWORK PLACE                                               E   Disputed
          cHtcAco,         tL 60673-1229
                                                                            Basis for the claim:   _
          Date(s) debt was incurred      _
          Last 4 digits of account number         _                         ls the claim subjectto offset?    I   No E     Yes


 3.288    Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:   Check aI that appty.         $1.1 53,041.76
          TTX COMPANY AGENT FOR UP                                          E   Contingent
          Lockbox #22984                                                    E   Untiquidated
          22984 Network Place                                               E   Disputed
          Chicago, lL 50573-1229
                                                                            Basis forthe claim:    _
          Date(s) debt was incurred      _
          Last 4 digits of account number         _                         ls the claim subject to offset?   I   No E     Yes


 3.289    Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: check ail   that apply.                 $217.46
          TUNGSTEN NETWORK INC                                              E   Contingent
          P.O. Box 535146                                                   E   Unliquidated
          Atlanta, GA 30353-5146                                            E   oisputed
          Date(s) debt was incurred      _
          Last 4 digits of account number         _                                                           I
                                                                            ls the claim subiect to offset?       No E     Yes

 3.290    Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:   Check att that appty.                 $116.50
          TZOONG-YI INDUSTRY CO., LTD                                       E   Contingent
          #22,Lane 30, Sec.2,                                               E   Untiquidated
          Honan Road                                                        E   oisputed
          TAICHUNG, TAIWAN ROC
                                                                            Basis for the claim:   _
          Date(s) debt was incurred      _
          Last 4 digits of account number                                   ls the claim subject to offsetz   I   ruo Ll   Yes


 3.291    Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: check    att that appty.             $1,797.91
          UNION COUNTY INDUSTRIAL RAILROAD                                  E   Contingent
          COMPANY                                                           E   Unliquidated
          356 Priestley Avenue                                              E   Disputed
          NORTHUMBERLAND, PA 17857
                                                                            Basis forthe claim:    _
          Date(s) debt was incurred      _
          Last 4 digits of account number         _                         ls the claim subject to offset?   I No E       Yes




Official Form 206   E/F                                      Schedule E/F: Creditom Who Have Unsecured Claims                                                  Page 42 of 46
Software Copyright (c) 1996-2020 Best Case, LLC   -w.bestcase.mm                                                                                          Best Case Bankruptcy
            Case 20-11139-1-rel                          Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                                 Desc Main
                                                              Document    Page 310 of 370
  Debtor InterstateCommodities lnc.                                                                       Case number    (irxnown)


 3.292     Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: check ail that   appty.              $3,200.00
           US HIGHWAY INC                                                      E   Contingent
           26 W LUGAS DR                                                       E   Untiquidated
           PALOS HILLS, IL 60465                                               E   Disputeo
           Date(s) debt was incurred      _                                    Basis forthe claim:    _
           Last 4 digits of account number
                                                                               ls the claim subject to offset?   I   No E    Yes

 3.293     Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: check    att that appty.            $10,426.94
           US TRACKWORKS LLC                                                   E   Contingent
           1165 142ND AVENUE                                                   LJ Untiquidated
           WAYLAND, MI49348                                                    E   oisputed
           Date(s) debt was incurred      _                                    Basis forthe claim:    _
           Last 4 digits of account number
                                                                               ls the claim subject to offset?   I   ruo E   Yes

 3.294     Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is:   Check att that apply                  $365.02
           UTAH RAILWAY COMPANY //                                             E   Contingent
           27603 NETWORK PLACE                                                 E   Unliquidated
           cHtcAGo, |L 60673-1275                                              E   oisputed
           Date(s) debt was incurred      _                                    Basis for the claim:   _
           Last 4 digits of account number
                                                                               ls the claim subject to offset?   I No E      Yes

 3.295     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:    Check ail that appty.              $4,769.17
           VALERO RENEWABLES //                                                E   Contingent
           P.O. Box 696000                                                     E   Untiquidated
           Attn: Cash Management                                               E   oisputed
           San Antonio, TX 78269-5000
           Date(s) debt was incurred      _
                                                                               Basis for the claim:   _
           Last 4 digits of account number                                     ls the claim subject to otfset?   I   No E    Yes


 3.296     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:    Check aI that appty.                  $262.15
          VANGUARD CLEANING SYSTEMS OF                                         E   Contingent
          NEBRASKA                                                             E   Unliquidated
          13057 WEST CENTER ROAD, STE 20
                                                                               E   Disputed
          Omaha, NE 68144
                                                                              Basis forthe claim:     _
           Date(s) debt was incurred      _
           Last 4 digits of account number                                     ls the claim subjectto offsetz    I fto E     Yes


 3.297     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: check ail    that appty.              $1,513.65
          VERMONT RAILWAY                                                      E Gontingent
          One Railway Lane                                                     D Untiquidated
           Burlington, VT 05401 -5290                                          E oisputed
          Date(s) debt was incurred       _                                   Basis for the claim:    _
          Last 4 digits of account number
                                                                              ls the claim subject to offset?    I   No E    yes

 3.298    Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is:    Check ail that appty.           $1 89,583.65
          VTG                                                                  E   Contingent
          3045 MOMENTUM PLACE                                                  E   Unliquidated
          cHlcAGo, tL 60689-5330                                               E   Disputed
          Date(s) debt was incured _
                                                                              Basis forthe claim:     _
          Last 4 digits of account number
                                                                              ls the claim subject to offset?    I ruo E     Yes




Official Form 206   E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 43 of 46
Software Copyright (c) 1996-2020 Best Case, LLC -   w.bestcase.com                                                                                           Best Case Bankruptcy
            Case 20-11139-1-rel                          Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                                    Desc Main
                                                              Document    Page 311 of 370
 Debtor lnterstateCommodities.lnc.                                                                         Case number (ir*nown)
              Name

 3.299    Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: check      att   that appty.           $11,161.60
          VTG RAIL INC                                                        E   Contingent
          103 West Vandalia                                                   E   Unliquidated
          Suite 200                                                           E   Disputed
           Edwardsville, lL 62025
          Date(s) debt was incurred
                                                                              Basis for the claim:     _
                                          _
          Last 4 digits of account number           _                         ls the claim subject to   otfsett   I ruo E     Yes


 3.300    Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: check aI         that appty.           $99,305.11
          VTG RAIL INC //                                                     E   Contingent
          3045 Momentum Place                                                 E   Unliquidated
          Chicago, lL 50589-5330                                              E   Disputed
          Date(s) debt was incurred       _                                   Basis for the claim:     _
          Last 4 digits of account number           _                                                             I
                                                                              ls the claim subject to offset?         ruo E   Yes

 3.301    Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: check      ail that appty.               $2,244.84
          WARREN CAT                                                          E   Contingent
          P.O. BOX 60652                                                      E   Unliquidated
          MtDLAND, TX 79711-0662                                              E   Disputed
          Date(s) debt was incurred       _                                   Basis forthe claim:      _
          Last 4 digits of account number
                                                                              ls the claim subject to offset?     I   No E    Yes

 3.302    Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is:     Check att that appty.            $149,915.84
          WATCO COMPANIES INC                                                 E   Contingent
          C/O Jacob Hamm                                                      E   Unliquidated
          Chicago, lL 60694-9500                                              E   Disputed
          Date(s) debt was incurred       _                                   Basis forthe claim:      _
          Last 4 digits of account number
                                                                              ls the claim subject to   offset?   I No E      Yes

 3.303    Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is:    Check ar that appty.                     $754.19
          WATCO MECHANICAL SERVICES                                           E   Contingent
          33919 TREASURY CENTER                                               E   Unliquidated
          cHtcAco, lL 50694-3900                                              E   Disputed
          Date(s) debt was incurred       _                                   Basis forthe claim:      _
          Last 4 digits of account number
                                                                              ls the claim subject to   offset?   I No E      ves

 3.304    Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is:    Check aI that appty.                      $95.36
          WATCO MECHANICAL SERVICES                                           E   Contingent
          39575 TREASURY CENTER                                               E   Unliquidated
          cHtcAco,         tL 60594-9500                                      E   Disputed
          Date(s) debt was incurred       _                                   Basis forthe claim:      _
          Last 4 digits of account number
                                                                              ls the claim subject to   offset?   I   No E    yes

 3.305    Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is:    Check   aI    that apply.         $391,882.36
          WELLS FARGO RAIL                                                    E   Contingent
          9377 W Higgins Rd Ste 600                                           E   Untiquidated
          Rosemont, lL 60018                                                  E   Disputed
          Date(s) debt was incurred       _                                   Basis for the claim:     _
          Last 4 digits of account number
                                                                              ls the claim subjectto    offsetz   I   No E    Yes




Official Form 206   E/F                                        Schedule E/F: Greditors Who Have Unsecured Claims                                                     Page 44 of 46
Software Copyright (c) 1996-2020 Best Case, LLC -   w.bestcase.com                                                                                              Bost Case Bankruptcy
            Case 20-11139-1-rel                          Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                                    Desc Main
                                                              Document    Page 312 of 370
  Debtor lnterstateCommodities lnc.                                                                          Case number   (ir xno*n)


  3.306     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:     Check alt that appty.                $4,651.38
           WEST TENNESSEE                                                      E   Contingent
           PO Box 3295                                                         E Unliquidated
           Sea Bright, NJ 07760                                                E Disputed
           Date(s) debt was incurred       _                                   Basis forthe claim:       _
           Last 4 digits of account number
                                                                               ls the claim subject to   offset?   I No E      Yes

  3.307    Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is:     Check alt that appty.                    $96.33
           WEST TENNESSEE RAILROAD                                             E   Contingent
           P.O. BOX 259                                                        E   Unliquidated
           340 SOUTH CENTRAL ROAD
                                                                               E   Disputed
           CENTERVILLE, TN 37033
           Date(s) debt was incurred       _
                                                                               Basis for the claim:      _
           Last 4 digits of account number                                     ls the claim subject to   offset?   I   No E    Yes


 3.308     Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is:     Check ail that appty.              $57 ,180.66
           WEST TENNESSEE RAILROAD                                             E   Contingent
           11 East Church St.                                                  E Untiquidated
           Sea Bright, NJ 07760                                                E Disputed
           Date(s) debt was incurred      _                                    Basis forthe claim;    _
           Last 4 digits of account number
                                                                               ls the claim subject to   offset?   I   ruo E   Yes

 3.309     Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is:     Check ail that appty.              $1 2,774.83
           WEST VIRGINIA STATE AUDITOR                                         E   Contingent
           Building 1, Room W-118                                              E   Unliquidated
           1900 Kanawha Blvd E
                                                                               E   Disputed
           Charleston, WV 25305-0230
                                                                               Basis for the claim:   _
           Date(s) debt was incurred      _
           Last 4 digits of account number                                     ls the claim subject to   otfset?   I No E      yes

 3.310     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:              alt that appty.
                                                                                                                                 Check                                  $954.00
           WF WARE //                                                          E   Contingent
           PO Box 144                                                          E   Unliquidated
           125 4th Street
                                                                               E   Disputed
           Trenton, KY 42286
                                                                               Basis for the claim:   _
           Date(s) debt was incurred      _
           Last 4 digits of account number                                     ls the claim subject to   offset?   I ruo E     Yes


 3.311     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:      check ail that appty.             $15,550.06
           WHEELING AND LAKE ERIE RAILWAY CO                                   E   Contingent
           P.O.BOX72204                                                        E   Untiquidated
           CLEVELAND, OH 44192                                                 E   oisputed
           Date(s) debt was incurred      _                                   Basis for the claim:    _
           Last 4 digits of account number
                                                                              ls the claim subject to offset?      I   No E    Yes

 3.312     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: check        att that appty.                $270.22
          WILLAMETTE VALLEY RAILWAY                                            E   Contingent
          ATTN DAVID ROOT                                                      E   Unliquidated
          PO BOX 917
                                                                               E   Disputed
           McMinnville, OR 97128
                                                                              Basis for the claim:    _
          Date(s) debt was incurred       _
          Last 4 digits of account number                                     ls the claim subject to otfset?      I   No E    yes




Official Form 206   E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 45 of 46
Software Copyright (c) '1996-2020 Best Case, LLC   -w.bastcase.com                                                                                              Best Case Bankruptcy
            Case 20-11139-1-rel                          Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                                            Desc Main
                                                              Document    Page 313 of 370
  Debtor lnterstateCommodities,lnc.                                                                              Case number          (ir mown)
               Name

  3.313    Nonpriority creditor's name and mailing address                        As of the petition filing date, the claim isi check aI             that appty                      ,500.69
           WILMINGTON RAILCAR                                                     E   Contingent
           C/O JOHN ALLEN                                                         E   Unliquidated
           3329-K Wrightsville Ave
                                                                                  E   oisputed
           Wilmington, NC 28403
                                                                                  Basis for the claim:       _
           Date(s) debt was incurred      _
           Last 4 digits of account number                                        ls the claim subject to     ofset?     I No E         yes

 3.314     Nonpriority creditor's name and mailing address                        As of the petition filing date, the claim is:            Check ail that appty.              $457 ,460.42
           WISCONSIN AND SOUTHERN RAILROAD                                        E   Contingent
           P. O. Box 790343                                                       E   Unliquidated
           Bin #150077
                                                                                  E   Disputed
           sT LOUtS, MO 63179-0343
                                                                                  Basis for the claim:       _
           Date(s) debt was incurred      _
           Last 4 digits of account number                                        ls the claim subject to offset?        I ruo E        Yes

 3.315     Nonpriority creditor's name and mailing address                       As of the petition filing date, the claim is:             Check att that appty.                            37
           WISCONSIN CENTRAL LIMITED //                                           E   Contingent
           PO BOX 95361                                                           E   Untiquidated
           ATTN: Non-Freight Management                                           E   Disputed
           Chicago, lL 60694-5361
                                                                                  Basis for the claim:       _
           Date(s) debt was incurred      _
           Last 4 digits of account number                                        ls the claim subject to offset?        f    No E      Yes


 3.316     Nonpriority creditor's name and mailing address                       As of the petition filing date, the claim is:             check att that appty.                    $170.00
           YANKTON FACTORING INC //                                               E   Contingent
           PO Box 217                                                             E   Unliquidated
           Yankton, SD 57078                                                      E   oisputed
           Date(s) debt was incurred      _                                      Basis for the claim:       _
           Last 4 digits of account number
                                                                                 ls the claim subject to offset?         I ruo E        yes



l!!ll*I        List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any othe6 who must be notified for claims listed in Parts              I   and 2. Examples of entities that may be listed are collection agencres,
   assignees of claims listed above, and attorneys for unsecured creditors.

   lf no others need to be notified for the debts listed in Parts     I   and 2, do not fill out or submit this page. lf additional pages are needed, copy the next page.

           Name and mailing address                                                                           On which line in     Partl or Part 2 is the             Last 4 digits of
                                                                                                                related creditor (if any) listed?                     account number, if
                                                                                                                                                                      any

Itllt'I       Totat Amounts of the Priority and Nonprioritv Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                                      Total of claim amounts
 5a. Total claims from Part     1                                                                                  5a.            $                                0.00
 5b. Total claims from Part 2                                                                                      5b.       +$
 5c. Total of Parts 1 and 2
      Lines 5a + 5b = 5c.                                                                                          5c.        $                           25,513,305.47




Official Form 206   E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                                                 Page 45 of 46
Software Copyright (c) 1996-2020 Best Case, LLC -   M.bostcase.com                                                                                                          Best Case Bankruptcy
           Case 20-11139-1-rel                          Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                    Desc Main
                                                             Document    Page 314 of 370
 Fill in this information to identify the case:

 Debtor    name lnterstate Commodities,                    lnc.

 United States Bankruptcy Court for the:               NORTHERN DISTRICT OF NEWYORK

Case number (if known)
                                                                                                                                      E   Check if this is an
                                                                                                                                          amended filing


Official Form 206G
Schedule G: Executo                                     Contracts and             U           ired Leases                                                  12t15
Be as complete and accurate as possible. lf more space is needed, copy and attach the additional page, number the entries consecutively

1.     Does the debtor have any executory contracts or unexpired leases?
       E No. Check this box and file this form with the debto/s other schedules. There is nothing else to report on this form.
       I  Yes. Fill in all of the information below even if the contacts of leases are listed on Schedu/e A/B; Assets   -   Real   and Personal            Propefty
(Official Form 2064/8).

2. List all contracts and unexpired leases                                            State the name and mailing address for all other parties with
                                                                                      whom the debtor has an executory contract or unexpired
                                                                                      lease

2.1          State what the contract or                    lnformation License
             lease is for and the nature of                Agreement
             the debtor's interest

                  State the term       remaining           lndefinite
                                                                                          Chicago Mercantile Exchange, lnc.
             List the contract number of any                                              20 South Wacker Drive
                   government contract                                                    Chicago, lL 60506


2.2          State what the contract or                     Facility Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                          Cropmax, LLC
              List the contract number of any                                             4948lL Hwy   15
                    government contract                                                   Kansas, lL 61933


2.3          State what the contract or                    Consulting Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term       remaining           September 30, 2020
                                                                                          Derek D Sellman
              List the contract number of any                                             5 Deer Creek Road
                    government contract                                                   Poestenkill, NY 12140


2.4.         State what the contract or                     Debtor is Tenant in
             lease is for and the nature of                 Sublease
             the debtor's interest

                  State the term       remaining August31,2020                            Healthcare Appraisers lnc
                                                                                          75 NW lst Avenue
              List the contract number of any                                             Attn Mark Oberlander
                    government contract                                                   Delray Beach, FL33444




Official Form   206G                                 Schedule G: Executory Contracts and Unexpired Leases                                                 Page 1    of3
Software Copyright (c) 1996-2020 Best Case, LLC -   w.best€se.com                                                                                   Best Case Bankruptcy
          Case 20-11139-1-rel Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                                Desc Main
 Debtor   1 lnterstate Commodities lnc. Document Page 315 ofCase
                                                              370number Uf known\
              First Name               Middle Name                  Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

 2.5.        State what the contract or                   Consulting Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                            Lancaster Saftey Gonsulting, lnc.
                                                                                      100 Bradford Road
             List the contract number of any                                          Suite 100
                   government contract                                                Wexford, PA 15090


 2.6         State what the contract or                   Services Agreement for
             lease is for and the nature of               the loading and
             the debtor's interest                        unloading of
                                                          containers; expires on
                                                          September 17,2023
                  State the term remaining                approx 3 years
                                                                                      Louis Dreyfus Company Transport Logistic
             List the contract number of any                                          7255 Goodlett Farms Pkwy
                   government contract                                                Cordova, TN 38016


 2.7         State what the contract or                   Sublease of certain real
             lease is for and the nature of               property and track
             the debtor's interest                        located in Amarillo,
                                                          Texas; lease expires
                                                          earlier of September 17,
                                                          2023 or one day before
                                                          the expiration of the
                                                          Lease between LDC
                                                          and BNSF Railway
                  State the term remaining                approx 3 years
                                                                                      Louis Dreyfus Company Transport Logistic
             List the contract number of any                                          7255 Goodlett Farms Pkwy
                    government contract                                               Gordova, TN 38016


 2.8.        State what the contract or                   Lease of 40 standard
             lease is for and the nature of               forty foot tandem
             the debtor's interest                        gooseneck chassis;
                                                          lease expires on
                                                          December 31,2020
                 State the term remaining                 4 months
                                                                                      Midwest Commodities, LLC
             List the contract number of any                                          6900 Rosendale Road
                   government contract                                                Wayne, OH 43455


 2.9.        State what the contract or                   Lease of certain
             lease is for and the nature of               equipment; lease
             the debtor's interest                        expires on November    1,
                                                          2023
                 State the term remaining                 three years
                                                                                      RMG Assets, LLC
             List the contract number of any                                          7 Madison Street
                    government contract                                               Troy, NY 12180


Official Form   206G                             Schedule G: Executory Contracts and Unexpired Leases                                     Page 2 of 3
Software Copyright (c) 1996-2020 Best Case, LLC - wW.bestcase.com                                                                   Best Case Bankruptcy
           Case 20-11139-1-rel                          Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                         Desc Main
                                                             Document    Page 316 of 370
 Debtor   1   lnterstate Commodities, lnc.                                                       Case number   Qfknown)
              F



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.10.        State what the contract or                   lease of sixty standard
              lease is for and the nature of               forty foot tandem
              the debtor's interest                        gooseneck chassis;
                                                           lease expires on
                                                           December 31,2020
                  State the term remaining                 4 months
                                                                                         Savannah Marine Terminal, lnc.
              List the contract number of any                                            530 Magazine Avenue
                    government contract                                                  Savannah, GA 31415


 2.11         State what the contract or                   Various short-term
              lease is for and the nature of               subleases of owned
              the debtor's inlerest                        railcars

                  State the term remaining

              List the contract number of any                                            See Schedule attached to 206A/8
                    government contract


2.12.         State what the contract or                   Railshop Lease
              lease is for and the nature of
              the debtor's interest

                  State the term       remaining           month to month
                                                                                         Steve and Pam Robey
              List the contract number of any                                            PO Box 246
                    government contract                                                  Cairo, OH 45820


2.13.         State what the contract or                   Cellular Antenna Lease
              lease is for and the nature of
              the debtor's interest

                  State the term       remaining           September 2024                T-Mobile Northeast LLC
                                                                                         c/o T-Mobile USA, lnc.
              List the contract number of any                                            12920 SE 38th Street
                    government contract                                                  Bellevue, WA 98006




Official Form     206G                              Schedule G: Executory Contracts and Unexpired Leases                                     Page 3 of 3
Software Copyright (c) 1996-2020 Best Case, LLC   -w.bestcase.com                                                                      Best Case Bankruptcy
            Case 20-11139-1-rel                           Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                          Desc Main
                                                               Document    Page 317 of 370
 Fill in this information to identify the case

 Debtor     name lnterstate Commodities,                     lnc.

 United States Bankruptcy Court for the                   NORTHERN DISTRICT OF NEWYORK

 Case number (if known)
                                                                                                                              I   Check if this is an
                                                                                                                                  amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                          12t15

Be as complete and accurate as possible. lf more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

       1. Do you have any codebtors?

 I    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
 E    Yes

     2. ln Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
        creditors, Schedules D-G. lnclude all guarantors and co-obligors. ln Column 2, identifu the creditor to whom the debt is owed and each schedule
        on which the creditor is listed. lf the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
              Column 7: Codebtor                                                                        Column 2: Greditor



              Name                                 Mailing Address                                 Name                            Check all schedules
                                                                                                                                   that apply:
     2.1                                                                                                                           trD
                                                   Street                                                                          tr E/F
                                                                                                                                   trG
                                                   City                State      Zip Code


     2.2                                                                                                                           trD
                                                  Street                                                                           tr E/F
                                                                                                                                   trG
                                                  City                 State      Zip Code


     2.3                                                                                                                           trD
                                                  Street                                                                           tr E/F
                                                                                                                                   trG
                                                  City                 State      Zip Code


     2.4                                                                                                                           trD
                                                  Street                                                                           E] E/F
                                                                                                                                   trG
                                                  City                 State      Zip Code




Official Form 206H                                                             Schedule H: Your Codebtors                                       Page 1 of      1
Software Copyright (c) 1996-2020 Best Case, LLC   -w.bestcase.com                                                                           Best Case Bankruptcy
               Case 20-11139-1-rel                          Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                   Desc Main
                                                                 Document    Page 318 of 370


    Fill in this information to identify the case:

    Debtor     name lnterstate Commodities,                    lnc.
    United States Bankruptcy Court for the:                NORTHERN DISTRICT OF NEW YORK

   Case number (if known)

                                                                                                                                         !    Check if this is an
                                                                                                                                              amended flling


  Official Form 207
  statement of Financial Affairs for Non-lndividuals Filin g for Bankruptcy                                                               04119
  The debtor must answer every question. lf more space is needed, attach a separate
                                                                                    sheet to this form. On the top of any additional pages,
  write the debtor's name and case number (if known).

   Part   1       lncome

       Gross revenue from business

        E      None.

          ldentify the beginning and ending dates of the debtor's fiscal year,                       Sources of revenue
          which may be a calendar year                                                                                                       Gross revenue
                                                                                                     Check all that apply                    (before deductions and
                                                                                                                                             exclusions)
          From the beginning of the fiscal year to filing date:
          From 110112020 to Filing Date
                                                                                                     I    Operating a business                        $9,039,293.00
                                                                                                     E other

          For prior year:
          From    1 101     12019 to 12131 12019
                                                                                                     I    Operating a business                       $33,508,227.00
                                                                                                     E other

          For year before that:
          F   rom'l   101   12018 to 12131 12018
                                                                                                     I    Operating a business                      $47,312,296.00
                                                                                                     fl   other

 2.   Non-business revenue
      lncluderevenueregardlessofwhetherthatrevenueistaxable.Non-busrness incomemayincludeinterest,dividends,moneycollectedfromlawsuits,
      and royalties. List each souree and the gross revenue for each separately. bo noi incluoe
                                                                                                revenue listed in line 1.

       E      None.


                                                                                                     Description of sources of revenue       Gross revenue from
                                                                                                                                             each source
                                                                                                                                             (before deductions and
                                                                                                                                             exclusions)
        From the beginning of the fiscal year to filing date:
        From 110112020 to Filing Date                                                               Cellular Tower Lease                                  $22,586.17

        For prior year:
        From     1 101      12019 to 12131 12019                                                    Cellular Tower Lease                                  $31,502.23

       For year before that:
       From      1 101   12018 to 12131 12018                                                       Cellular Tower Lease                                  $28,892.35




Official Form   207                                      Statement of Financial Affairs for NonJndividuals Filing for Bankruptcy
                                                                                                                                                                    page   I
Software Copyright (c) 1996-2020 Best Case, LLC   _   M.bestcase.com
                                                                                                                                                      Best Case Bankruptcy
            Case 20-11139-1-rel                        Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                          Desc Main
                                                            Document    Page 319 of 370
 Debtor lnterstate Commodities. lnc.                                                                      Case number irrtnownl



                                                                                                 Description of sources of revenue             Gross revenue from
                                                                                                                                               each source
                                                                                                                                               (before deductions and
                                                                                                                                               exclusions)
       For the fiscal year:
       From 110112017 to 1213112017                                                              Cellular Tower Lease                                      $27,9,15.32


fFEEJI          List Gertain Transfers Made Before Filino for Bankruotcv

3.   Gertain payments or transfers to creditors within 90 days before filing this case
     List payments or transfers-including expense reimbursements-to any creditor, other than regular employee compensation, within 90 days before
     filing this case unless the aggregate value of all property transfened to that creditor is less than $6,825. (This amount may be adjusted on 4lO1l22
     and every 3 years after that with respect to cases filed on or after the date of adjustment.)

      E    None.

       Creditor's Name and Address                                           Dates                 Total amount of value        Reasons for payment or transfer
                                                                                                                                Check all that apply
       3   1    See attached list                                                                                    $0.00      I   Secured debt
                                                                                                                                E   Unsecured loan repayments
                                                                                                                                I   Suppliers or vendors
                                                                                                                                I   Services
                                                                                                                                I   other


4.   Payments or other transfers of property made within 1 year before filing this case that benefited any insider
     List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
     or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,825. (This amount
     may be adjusted on 4lO1l22 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
     listed in line 3. /nsrders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
     debtor and their relatives; afiiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. S 101 (31).

      E    None.

       lnside/s name and address                                             Dates                 Total amount of value        Reasons for payment or transfer
       Relationship to debtor
       4.1. Gary Oberting                                                    08121t2019 -
                                                                                                                                Health Insurance
                                                                                                              $17,802.72
                19 Hilander Drive                                            Present
                Loudonville. NY'|.2211
       42       Greg Oberting                                                08t21t2019 -                     $17,802.72 Health lnsurance
                5709 S. Flagler Drive                                        Present
                West Palm Beach, FL 33405
       4.3. Victor Oberting lll                                              08t21t2019 -                       $g,43g.61 Healthlnsurance
                17 N. Loudon Heights                                         02128t2020
                Loudonville. NY 1221'l
       4.4.     RMG Fremont LLC                                                                                                 RMG Fremont Rent
                                                                             08t21t2019 -                    $262,499.94
                7 Madison Street                                             05t04t2020
                Trov. NY 121 80
       4.5.     RMG Assets LLC                                                                                                  RMG Assets Rent
                                                                             08t21t2019 -                     $84,000.00
                7 Madison Street                                             Present
                Trov. NY 12180

5.   Repossessions, foreclosures, and returns
     List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
     a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.




Official Form   207                                   Statement of Financial Affairs for NonJndividuals Filing for Bankruptcy                                       page   2

Software Copyright (c) 1996-2020 Best Casa, LLC   -w.bestcase.com                                                                                       Best Case Bankruptcy
             Case 20-11139-1-rel                     Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                          Desc Main
                                                          Document    Page 320 of 370
Debtor lnterstateCommodities, lnc.                                                                      Case number    (r known)




      E     None

       Creditor's name and address                                 Describe of the Property                                    Date              Value of property

       The Andersons, lnc.                                         Railcars                                                    Starting                       $o.oo
       PO Box 84878                                                                                                            12t2019
       Chicago, lL 60689

       Atel Leasing Gorporation                                    Railcars                                                    Starting                       $0.00
       PO Box 671597                                                                                                           12t2019
       Dallas, TX75267

       Chicago Freight Gar Leasing Co                              Railcars                                                    Starting                       $0.00
       PO Box 75129                                                                                                            12t2019
       Chicago, lL 60675

       Wells Fargo Rail                                            Railcars                                                    Starting                       $0.00
       9377 W Higgins Road                                                                                                     1212019
       Suite 600
       Rosemont, lL 60018

       I   nfi nity Transportation                                 Railcars                                                    Starting                       $0.00
       PO Box 310431                                                                                                           12t2019
       Des Moines, lA 50331

       MRXX Corp.                                                  Railcars                                                    Starting                       $0.00
       PO Box 189                                                                                                              12t2019
       Hampton, NH 03843

       Progress Rail Leasing                                       Railcars                                                    Starting                       $0.00
       25083 Network Place                                                                                                     12t2019
       Ghicago, lL 60673

       ALF P-lc/o Residco                                          Railcars                                                    Starting                       $0.00
       70 West Madison                                                                                                         12t2019
       Suite 2200
       Chicago, lL 60602

       Inspiration Holdings, lnc.                                  Railcars                                                    Starting                       $0.00
       PO Box 1417                                                                                                             '|.212019
       Broomfield, CO 80038

       Trinity lndustries Leasing                                  Railcars                                                    Starting                       $0.00
       Company                                                                                                                 12t2019
       PO Box7777
       Philadelphia, PA 19175

       WG Raillnc.                                                 Railcars                                                    Starting                       $0.00
       2045 Momentum Place                                                                                                     12t2019
       Chicago, lL 60689


6.   Setoffs
     List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
     of the debtor without permission or refused to make a payment at the debtor's direction from an account of the debtor because the debtor owed a
     debt.

      I     None

       Creditor's name and address                                 Description of the action creditor took                     Date action was             Amount
                                                                                                                               taken

Official Form 207                                   Statement of Financial Affairs for Non-lndividuals Filing for Bankruptcy                                   Page 3
Software Copyright (c) 1996-2020 Best Case, LLC -wW.bestcase.com                                                                                   Best Case Bankruptcy
              Case 20-11139-1-rel                       Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                        Desc Main
                                                             Document    Page 321 of 370
 Debtor Interstate Commodities. lnc.                                                                      Case number    0f known)




 Part 3:                 Actions or

7.   Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
     List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
     in any capacity-within 1 year before filing this case.

      E    None.

                  Case title                                    Nature of case               Gourt or agency's name and              Status of case
                  Case number                                                                address
       7.'1   .   lnterstate Commodities, Inc.                      Breach of                NGFA Arbitration                        EI   Pending
                  v. Trillium Farm Holdings,                    Contract                     1400 Crystal Drive, Suite               E    On appeal
                  LLC                                                                        260                                     I    Concluded
                  Case No.2809                                                               Arlington, VA22202

       7.2.       Hugh Graham, William                          employee suit for            Supreme Court NY - Albany               I pending
                  Conway, Robert Jordan,                        alleged unpaid               16 Eagle Street                         E On appeal
                  Matthew White, Cliff Arman,                   bonuses                      Albany, NY 12207
                  Marcus Shanahan and
                                                                                                                                     E Concluded
                  Christopher J. Pierpont
                  vs. lnterstate Commodities,
                  lnc.
                  01 265-1 8

       7.3.       Maersk Line A/S vs. lnterstate                    Breach of                United States District Court            E    Pending
                  Gommodities, lnc.                             Contract                     SDNY                                    E    On appeal
                  19 Civ 4787 (KPF)                                                          Daniel Patrick Moynihan US              I    Concluded
                                                                                             Courthouse
                                                                                             500 Pearl Street
                                                                                             New York, NY 10007

       7.4. Norfolk Southern       Railway                          Breach of                United States District Court            E    Pending
                  Company v. lnterstate                         Contract                     MD Pa                                   E    on appeal
                  Gommodities, lnc.                                                          United States Federal                   I    Concluded
                  19 Civ 241                                                                 Building and Court
                                                                                             228 Walnut Street
                                                                                             Harrisburg, PA 17101

       7.5.       The Andersons Railcar                             Breach of                United States District Court            I pending
                  Leasing Company, LLC v. lCl                   Contract                     NDNY                                    E On appeal
                  and RM Railcars, LLC
                  1 :20-cv-00078-GLS-DJS
                                                                                                                                     E Concluded
       7.6. ARC Rail           2013-'1, LLC,       lnfinity         Breach of                Georgia Superior Gourt -                I pending
                  Transportation 201 6-1, LLC,                  Contract                     Fulton Gounty                           E On appeal
                  lnfinity Transportation
                  Equipment Trust and lnfinity
                                                                                                                                     E Concluded
                  Transportation lll Trust v. lcl
                  2020-cv-331931

       7.7. Atel Leasing Corporation v.                         Breach of                    United States District Court            I pending
                  lCland RM Railcars, LLC                       Gontract                     NDNY                                    E On appeal
                      :20-cv-0040O-FJS-CFH
                  1
                                                                                                                                     E Concluded
       7.8.       Canadian National Railway                         Breach of                United States District Court            I pending
                  Company v. lCl                                Contract                     NDNY                                    E on appeal
                  1 :1 9-cv-O1 576-8KS-CFH
                                                                                                                                     fl Concluded
       7.9.       Canadian Pacific Railway                          Breach of                United States District Court            I    pending
                  Company v. lCl                                Contract                     NDNY                                    E    On appeal
                  1 :20-cv-00290-FJS-DJS
                                                                                                                                     E    Concluded

Official Form     207                                 Statement of Financial Affairs for NonJndividuals Filing for Bankruptcy                                     Page 4
Software Copyright (c) 1996-2020 Best Case, LLC   -w.b€stcase.com                                                                                     Best Case Bankruptcy
             Case 20-11139-1-rel                         Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                        Desc Main
                                                              Document    Page 322 of 370
 Debtor lnterstate Commodities, lnc.                                                                       Case number     0fknown)




                Case   title                                     Nature of case               Court or agency's name and              Status of case
                Case number                                                                   address
        7.10 CSX Transportation, lnc. v. lGl                     Breach of                    United States District Court            I pending
        .       1:20-cv-00016-DNH-CFH                            Contract,                    NDNY                                    E on appeal
                                                                 Declaratory Relief,
                                                                 Injunctive Relief,
                                                                                                                                      E Concluded
                                                                 Unjust
                                                                 Enrichment,
                                                                 Promissory
                                                                 Estoppel

        7.11 lllinois Central Railroad                           Breach of                    United States District Court            I pending
                Company v. lGl                                   Contract                     NDNY                                    E On appeal
                1:I   9-cv-01 575-DN H-CFH
                                                                                                                                      E Concluded
        7.12 Rocky Mountain Rail Car &                           Breach of                    Utah Third Judicial District -          I pending
        .       Repair, lnc. v. lCl                              Contract                     Tooele                                  E On appeal
                200300455
                                                                                                                                      E Concluded
        7.13 VTG Rail lnc. v. lCl                                Breach of                    Circuit Court - Cook Go., lL            I    pending
        .       20201004076                                      Contract                                                             E    On appeal
                                                                                                                                      E    Concluded


        7.14 Yotk Rail Logistics, lnc. v. lCl                    Breach of                    NYS Supreme        Gourt'               I pending
        .       20't9-264225                                     Contract                     Rensselaer                              E On appeal
                                                                                                                                      E Concluded
        7.15 Secretary of Labor, United                          Regulatory                   OSHA Review Commission                  I pending
        . States Department of Labor v                           Violations                                                           E On appeal
                tct                                                                                                                   E Concluded
                20-0460

8.   Assignments and receivership
     List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
     receiver, custodian, or other court-appointed officer within 1 year before filing this case.

        I   None



[!fl[           Gertain Gifts and Charitable Contributions

9.   List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
     the gifts to that recipient is less than $1,000

        I   None

                Recipient's name and         address             Description of the gifts or contributions                   Dates given                          Value


 Part 5:        Certain Losses

10. All losses from fire, theft, or other casualty            within 1 year before filing this case.

        I   None




Official Form   207                                    Statement of Financial Affairs for Non-lndividuals Filing for Bankruptcy                                    page 5

Software Copyright (c) 1996-2020 Best Case, LLC -   w.bestcase.com                                                                                     Best Case Bankruptcy
           Case 20-11139-1-rel                              Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                         Desc Main
                                                                 Document    Page 323 of 370
 Debtor lnterstate Commodities. lnc.                                                                           Case number (,tknow)



       Description of the property lost and                         Amount of payments received for the loss                  Dates of loss           Value of property
       how the loss occurred                                                                                                                                          lost
                                                                    lf you have received payments to cover the loss, for
                                                                    example, from insurance, government compensation, or
                                                                    tort liability, list the total received.

                                                                    List unpaid claims on Official Form 106AJB (Schedu/e
                                                                    NB: Assets -    Real and Personal Propefty).


Gtilil          Certain Pavments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or enti$, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

      E   None.

                 Who was paid or who received                           lf not money, describe any property       transferred       Dates              Total amount or
                 the transfer?                                                                                                                                  value
                 Address
       11 .1                                                                                                                        08t12t2020
                                                                                                                                    ($12,116.50)
                                                                                                                                    07t09t2020
                                                                                                                                    ($8,349.00)
                                                                                                                                    o6t11t2020
                                                                                                                                    ($15,2s3.50)
                                                                                                                                    05t14t2020
                                                                                                                                    ($15,329.00)
                                                                                                                                    04t09t2020
                                                                                                                                    ($22,190.00)
                                                                                                                                    03t03t2020
                                                                                                                                    ($40,015.50)
                                                                                                                                    02to7t2020
                                                                                                                                    ($19,381.50)
                                                                                                                                    02t07t2020
                                                                                                                                    ($8,772.50)
                                                                                                                                    01t03t2020
                                                                                                                                    ($66,171.00)
                                                                                                                                    01t03t2020
                                                                                                                                    ($1,666.00)
                                                                                                                                    12t20t2019
                                                                                                                                    ($1,487.50)
                                                                                                                                    11t22t2019
                                                                                                                                    ($2,320.50)
                 Forchelli Deegan Terrana LLP                                                                                       10t18t2019
                 333 Earle Ovington BLVD.                                                                                           ($5,771.50)
                 Suite 1010                                                                                                         10t10t2019
                 Uniondale, NY 11553                                    Attorney Fees                                               ($6,604.s0)           $225,428.50

                 Email or website address
                 G   Luckman@forchel ilaw.com     I




                 Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-seftled trust or similar device.
    Do not include transfers already listed on this statement.

      I   None.

       Name of       trust or device                                    Describe any property transferred                   Dates transfers            Total amount or
                                                                                                                            were made                               value

Official Form   207                                       Statement of Financial Affairs for NonJndividuals Filing for Bankruptcy                                   page     5

Soflware Copyright (c) 1996-2020 Best Case, LLC       -w.bestcase.com                                                                                   Best Case Bankruptcy
             Case 20-11139-1-rel                         Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                       Desc Main
                                                              Document    Page 324 of 370
  Debtor lnterstateCommodities Inc.                                                                        Case number    Uknown)




 13. Transfers not already listed on this statement
     List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
     2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. lnclude
     both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

       I    None.

                Who received transfer?                               Description of property transferred or                 Date transfer         Total amount or
                Address                                              payments received or debts paid in exchange            was made                       value

  Part 7:       Previous Locations

 14. Previous addresses
     List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used


       E    Does not apply

                 Address                                                                                                     Dates of occupancy
                                                                                                                             From-To
        14.1. 9393 West 11oth Street                                                                                         2017 Only
                 Suite 500
                 Overland Park, KS 65210

        14.2. 27352 US 30                                                                                                    2016 - 2017
                 Sutherland NE 69165

        14.3. 5i5 Nebo Road                                                                                                  2015 - 2017
              Madisonville,KY 42431
        14.4. 215 Deo Drive                                                                                                  2015 - 2017
                 Suite    101
                 Newark, OH 43055

        14.5. 2535 Blacklick-Eastern Road                                                                                    2015 - 2018
                 Millersport, OH 43045

        14.6. 420 College Drive                                                                                              2008 -2017
                 Suite 214
                 Middleburo. FL 32068

        14.7. 2790 W Market St                                                                                               2005 - 2017
                 York. PA 17404

        14.8. 12841 Sanders Street                                                                                           2013 - 2019
                 Detroit. Ml482'|.7

        14.9. 3424EAve             G                                                                                         2013 - 2019
                 Hutchinson, KS 67501

       14.10 3803 N 153rd Street                                                                                             2008 -2018
       '         Suite    101
                 Omaha. NE 68116

       14.11 1801 West Farmers Ave                                                                                           2018 - present
             Amarillo. TX 79118
       '14.12 19 South Swinton                                                                                               2015 - present
                 Delrav Beach, FL33M4

       14.13 549 East County Rd T                                                                                            2015 - present
       '         Fremont. NE 68025


Official Form   207                                    Statement of Financial Affairs for NonJndiyiduals Filing for Bankruptcy                                 Page 7
Software Copyright (c) 1996-2020 Best Case, LLC -   w.bestcase.com                                                                                 Best Case Bankruptcy
                     Case 20-11139-1-rel                   Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                          Desc Main
                                                                Document    Page 325 of 370
       Debtor lnterstate Commodities. lnc.                                                                    Case number (fknown)



                            Address
                                                                                                                                  Dates of occupancy
                                                                                                                                  From-To
                 14.14 433 London Groveport Rd
                 '                                                                                                                2014 - 2018
                       Lockbourne, OH 43132
                 14.'15 452 york Street
                                                                                                                                  2013 - 2019
                        Elizabeth, NJ 07201

              14.16 8045 Oak Street
                                                                                                                                  2015 - 2018
              '            Thurston, OH 43ib7
              14.17 2415 N 2105 East Rd
                                                                                                                                  2007 - present
                           Watseka, lL 60970

              14.18        2506) N 2200 E Road
                                                                                                                                  2007 - present
              '            Watseka, lL 60970

             14.19 1000 N 14th Street
                                                                                                                                  2009 - present
             '     Gharleston, lL 61920

             14.20 6555 Oftawa Road
                                                                                                                                  2008 - present
             '     Cairo, OH 45820

             14.21 7 Madison Street
                                                                                                                                  1949 - present
             '             Troy, NY 12180

                       Health Care Bankruptcies

     15. Health Care bankruptcies
         ls the debtor primarily engaged in offering services and facilities for:
         - diagnosing or treating injury, deformity, or disease, or
         - providing any surgical, psychiatric, drug treatment, or obstetric care?

          f          No. Go to part 9.
          tr         Yes. Fill in the information below.


                           Facility name and address                 Nature of the business operation, including type of services               lf debtor provides meals
                                                                     the debtor provides                                                        and housing, number of
                                                                                                                                                patients in debtor's care
                      Personallv ldentifiable lnformation

 16. Does the debtor collect and retain personally identifiable information
                                                                            of customers?

         I           No.
         tr          Yes. State the nature of the information collected and retained.

 1   7 \Mthin   6 years before filing this case, have any employees of the debtor been participants
                                                                                                    in any ERlsA, 401(k), 403(b), or other pension or
        profit-sharing pran made avairable by the debior as an employee benefit?

         tr          No. Go to Part 10.
         I           Yes. Does the debtor serve as plan administrator?

                            E   No Go to Part 10.
                            I Yes. Fill in below:
                            Name of plan
                                                                                                                   Employer identification number of the plan
                            lnterstate Comm odities, Inc. Cash Balance plan                                        EIN: XX-XXXXXXX
                            Has the plan been terminated?
                            fl trto
                            f yes
official Form         207                              Statement of Financial Affairs for Non-lndividuals Filing for Bankruptcy
                                                                                                                                                                      page   I
Software Copyright (c) 1996-2020 Best Case, LLC -   w.bestcase.com
                                                                                                                                                          Best Case Bankruptcy
               Case 20-11139-1-rel                        Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                      Desc Main
   Debtor lnterstate Commodities, lnc.
                                                               Document    Page 326 of 370
                                                                                                             Case number ffknown)



                      E   No Go to Part 10.
                      I   Yes. Fill in below:
                      Name of plan                                                                                  Employer identification number of the plan
                      401(k) Plan                                                                                   EIN: XX-XXXXXXX
                      Has the plan been terminated?
                      E   tto
                      f   yes


 Eal!il         Certain Financial                      Safe Depos it Boxes, and Storaqe Units

  18. Closed financial accounts
      \Mthin 1 year before filing this case, were any financial accounts or instruments held in the debtor's name, or for
                                                                                                                          the debtor,s benefit, closed, sold,
      moved, or transferred?
      lnclude checking, savings, money market, or other financial accounts; certificates of deposit; and
                                                                                                          shares in banks, credit unions, brokerage houses
      cooperatives, associations, and other financial institutions.

        I   None
                   Financial lnstitution name and                    Last 4 digits of         Type of account or           Date account was            Last balance
                   Address                                           account number           instrument                   closed, sold,           before closing or
                                                                                                                           moved, or                             transfer
                                                                                                                           transferred
 19. Safe deposit boxes
     List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has
                                                                                                               or did have within 1 year before filing this
      c€tse.



       I    None

        Depository institution name and address                          Names of anyone with                 Description of the contents           Do you      still
                                                                         access to it                                                               have it?
                                                                         Address
 20. Off-premises storage
     List any property kept in storage units or warehouses within 1 year before filing this case. Do not include
                                                                                                                 facilities that are in a part of a building in
     which the debtor does business.


       E    None

        Facility name and address                                        Names of anyone with                 Description of the contents           Do you      still
                                                                         access to it                                                               have it?
        lntegrated lndustries                                            tct                                  Railcar Chassis                       E tto
        21100 W Noel Rd
        Elwood, lL                                                                                                                                  I    yes


       Coronis LLC                                                       rct                                  Railcar Chassis
       5340 S US Highway 231
                                                                                                                                                    E tto
       Wolcott, lN                                                                                                                                  I    Yes


       Marble Cliff                                                     tcr                                   Railcar Chassis
       433 London Groveport Rd
                                                                                                                                                    E tto
        Lockbourne, OH                                                                                                                              I    Yes


       South Gentral Industrial                                         lct                                   Railcar Chassis
       1629 otd US Rt 35 SE
                                                                                                                                                   E tto
       Washington Gourt House, OH                                                                                                                  I     Yes


       lronbound lntermodal                                             tct                                   Railcar Chassis
       921 Delancy Street
                                                                                                                                                   E tto
       Newark, NJ                                                                                                                                  I     Yes


Ofticial Form   207                                    Statement of Financial Affairs for Non-lndividuals Filing for Bankruptcy                                    page   I
Software Copyright (c) 1996-2020 Bost Case, LLC -   w.bestcase.com                                                                                     Best Case Bankruptcy
                Case 20-11139-1-rel                      Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                    Desc Main
                                                              Document    Page 327 of 370
     Debtor lnterstate Comm odities, lnc.                                                                  Case number    (,f known)




            Facility name and address                                  Names of anyone with                  Description of the contents         Do you still
                                                                       access to it                                                              have it?
            RMG Trucking LLC                                           rct                                   Railcar Chassis                     EHo
            549 Co Rd T
            Fremont, NE 68025                                                                                                                    I   Yes



                    Property the Debtor Holds or Controls That the Debtor Does Not Own

  21. Property held for another
       List any property that the debtor holds or controls that another entity owns.
                                                                                     lnclude any property bonowed from, being stored for, or held in trust. Do
       not list leased or rented property.

       I     None


   Part 12          Details About Environment lnformation

  For the purpose of Part 12, the following definitions apply:
       Environmentallaw means any statute or governmental regulation that concerns pollution,
                                                                                              contamination, or hazardous material, regardless of the
       medium affected (air, land, water, or any other medium).

        sile means any location, facility, or property, including disposal sites, that the debtor now
                                                                                                      owns, operates, or utilizes or that the debtor formerly
        owned, operated, or utilized.

        Hazardous maferial means anything that an environmental law defines as hazardous
                                                                                         or toxic, or describes as a pollutant, contaminant, or a
        similarly harmful substance.

  Report all notices, releases, and proceedings known, regardless ofwhen
                                                                         they occurred.
 22     Has the debtor been a party in any           judicial or administrative proceeding under any environmental law?
                                                                                                                        lnclude setgements and orders.
        t       No.
        tr      Yes. Provide details below

           Gase title                                                Courtoragency nameand                  Nature of the case                 Status of case
           Case number                                               address
 23. Has any governmental unit othenvise notified the debtor that the
                                                                      debtor may be liable or potentially liable under or in violation of an
     environmental law?

       tr       No.
       I        Yes. Provide details below

        Site name and address                                        Governmental unit name and
                                                                     address
                                                                                                               Environmental law, if   known   Date of notice

        Thurston                                                     Ohio Environmental
        8045 Oak Street                                                                                                                        February 18,
                                                                     Protection Agency                                                         2016
        Thurston, OH 43152                                           Central District Office
                                                                     50 West Town Street - pO
                                                                     Box 1049
                                                                     Suite 700
                                                                     Columbus, OH 43260-1049

       Thurston                                                      Fairfield Department of
       8045 Oak Street                                                                                                                         July 17,2018
                                                                     Health
       Thurston, OH 43152                                           1550 Sheridan Drive
                                                                    Suite 100
                                                                    Lancaster, OH 43130

24   Has the debtor notified any governmental unit of any release of hazardous
                                                                               material?

      I       No.
      tr      Yes. Provide details below.
official Form   207                                 statement of Financial Affairs for Non-lndividuals Filing for Bankruptcy
                                                                                                                                                            page 10
Soflwaro Copyright (c) 1996-2020 Best Case, LLC - ww.bestcase.com
                                                                                                                                                Best Case Bankruptcy
                Case 20-11139-1-rel                       Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                              Desc Main
                                                               Document    Page 328 of 370
     Debtor lnterstate Gom modities, lnc.
                                                                                                              Case number    (if known)




             Site name and address                                         Governmental unit name and
                                                                           address
                                                                                                                   Environmental law, if          known      Date of notice

                  Details A bout the Debtor's Business or Connections to Any Business

   25' other businesses in which the debtor has or has had an interest
        List any business for which the debtor was an owner, partner, member,
                                                                              or otherwise a person in control within 6 years before filing this case
        lnclude this information even if already listed in the Schedules.

           E   None

       Business name address                                         Describe the nature of the business           Employer ldentification number
                                                                                                                   Do not include Social Security number or lTlN.


       25.1
                                                                                                                   Dates business existed
                 Watseka lnterstate LLC                           grain elevator operator
                 7 Madison Street
                                                                                                                   EIN:              3Z-1491093
                 Troy, NY 12180                                                                                    From'To 6t4t2oo4 through present

      25   2'    Watseka Fertilizer LLc                           Fertilizer plant operator
                                                                                                                   EIN:              XX-XXXXXXX
                 7 madison street
                 Troy, NY 12180                                                                                    From-To           1012512013    through present
      2s.3.
                 R.M. Railcars LLC                               Railcars Leasing                                  EIN:              XX-XXXXXXX
                 7 madison street
                 Troy, NY 12180                                                                                    From-To       41 17 I   2006 th roug h present

      25   4'    Gregory Grain LLc                               single asset entity - landlord                   EIN:               XX-XXXXXXX
                 7 madison street
                 Troy, NY 12180                                                                                   From-To        61612013       through 5t4t2019
      25   S    Valentine lnterstate LLC                         single asset entity - landlord                   EIN:           XX-XXXXXXX
                7 madison street
                Troy, NY 12180                                                                                    From-To        1   17 1201   4 through 6t2t2017

     25'6' colome lnterstate                                     single asset entity - landlord
                                           LLC                                                                    EIN:           464421003
                7 Madison Street
                Troy, NY 12i80                                                                                    From-To        1 1312014      through present
     25'7       Cornhusker Grain LLc                            holding company - owned 3001                      EIN:           XX-XXXXXXX
                7 Madison Street                                Cornhusker Highway LLC
                Troy, NY 12i80                                                                                    From-To        10l,2212013 through present

     25.8.
                3001 Cornhusker Highway                         single asset entity - landlord                    EIN:           XX-XXXXXXX
                LLC
                7 madison street                                                                                  From-To        1   0l 2412013   throu gh 6t2t2017
                Troy, NY 12180

    25'9'       Menno lnterstate LLc                            single asset entity - landlord                   EIN:            XX-XXXXXXX
                7 Madison Street
                Troy, NY 12i80                                                                                   From-To         511412014       through present
    25'10 Buckeye                                               landlord - Harpster and Morral
                  lnterstate LLc
    '           7 Madison Street                                assets
                                                                                                                 EIN:            XX-XXXXXXX
                Troy, NY i2180                                                                                   From-To         1011 512014      through present


official Form   207                                    statement of Financial Affairs for NonJndividuals Filing for Bankruptcy
                                                                                                                                                                        page 1'l
Software Copyright (c) 1996-2020 Best Case, LLC -   w.bestcase.com
                                                                                                                                                            Best Case Bankruptcy
              Case 20-11139-1-rel                     Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                             Desc Main
   Debtor lnterstate Commodities, lnc.
                                                           Document    Page 329 of 370
                                                                                                           Case number    0fknown)




          Business name address                                    Describe the nature of the business           Employer ldentification number
                                                                                                                 Do not include Social Security number or lTlN.

                                                                                                                 Dates business existed
      25'11 Thurston                                               landlord (sublessor of NS lease to
      '              lnterstate LLc
                                                                   rcr)
                                                                                                                 EIN:          XX-XXXXXXX
            7 Madison Street
                  Troy, NY 12180                                                                                 From-To 12t2gt2o14through present

      2512 rcrAir LLC                                              single asset entity - air company            EIN:           XX-XXXXXXX
                  7 Madison Street
                  Troy, NY 12180                                                                                From-To        1 1281201   5 throu g h present

      25'13 lclExport                                              lC-Disc for tax purposes only
                      lnc
      '           7 Madison Street
                                                                                                                EIN:           464952749
                  Troy, NY 12180                                                                                From-To        2127 I 201 4   throug h present

      25    14 lnterstate Organics                             single asset entity     -   landlord
                                   LLc
      '           7 Madison Street
                                                                                                                EIN:           XX-XXXXXXX
                  Troy, NY 12180                                                                                From-To        3128 I 201 6   through    8l 1 412017

     25     15 lnterstate Feeds LLc                            formed for feed sales - never
      '           39499 US Hwy 20                              operated
                                                                                                                EIN:           81   -2497539

                  Valentine, NE 6920i                                                                           From-To        51312016    through   61212017


 26. Books, records, and financial statements
     26a. List all accountants and bookkeepers who maintained the debtor's books and records within 2 years
                                                                                                            before filing this case.
              EI None

           Name and      address                                                                                                                  Date of service
                                                                                                                                                  From-To
           26a.1. Kelly Doris
                                                                                                                                                  200g    _   present

           26a.2. Bryan Meade
                                                                                                                                                 2008 - present


     26b' List all firms or individuals who have audited, compiled, or reviewed debtor's books of account
                                                                                                          and records or prepared a financial statement
          within 2 years     before filing this case.

             I    None


     26c' List all firms or individuals who were in possession of the debtor's books of account and
                                                                                                    records when this case is filed

             E    None

          Name and address
                                                                                                              lf any books of account and records are
                                                                                                              unavailable, explain why
          26c.1   .   lnterstate Commodities, lnc.
                      7 Madison Street
                      Trov, NY 12180

     26d List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom
                                                                                                                         the debtor issued               a financial
             statement within 2 years before filing this case.

             E    None

          Name and address


Official Form     207                               statement of Financial Affairs for Non-lndividuals Filing for Bankruptcy
                                                                                                                                                                          Page 12
Software Copyright (c) 1996-2020 Best Case, LLC - M.bestcase.com
                                                                                                                                                              Best Case Bankruptcy
             Case 20-11139-1-rel                             Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                       Desc Main
     Debtor Interstate Gomm odities, lnc.
                                                                  Document    Page 330 of 370
                                                                                                                  Case number ork    own)




           Name and address
           26d.1.       M&T Bank


           26d.2. William           Evans, MRXX


          26d.3. Jeff         Edelman, lnfinity Rail



   27. lnventories
        Have any inventories of the debtor's property been taken within years
                                                                       2      before filing this case?

         lNo
         tr Yes. Give the details about the two most recent inventories.
                  Name of the penson who supervised the taking of the
                                                                                                     Date of inventory        The dollar amount and basis (cost, market,
                  inventory
                                                                                                                              or other basis) of each inventory
  28 ust the debtffiffiil";tl':il',fl'i;llfllr?il3                                           partners, members in conrror, conrrorins sharehorders,
                                                                                                                                                    or orher peopre
                                                                        Ir",T,3];;::n","'
          Name                                               Address                                              position and nature of    any          % of interest,        if
         Gary c.      oberting                               19 Hilander     Drive                                iltf|"it""ia"nt    and    rrader;      il,,nn      ss.rsn
                                                             Loudonville, NY       12211                          Voting and non_voting        shares    Non-Voting
                                                                                                                                                         4.77o/o
         Name                                                Address                                              Position and nature of any             % of interest, if
                                                                                                                  interest                               any
         Gregory F. Oberting                                 6709 S. Flagler Drive                                President and CEO; voitng              Voting 33.33%
                                                             West Palm Beach, FL 33405                            and non-voting shares                  Non-Voting
                                                                                                                                                         8.33%
         Name                                               Address                                               Position and nature of any             % of interest,    if
                                                                                                                  interest                               any
         Victory A. Oberting lil                             17 N. Loudon Heights                                 Vice President and Trader;             Voting    33.33o/o
                                                             Loundonville, NY 12211                               Voting and non-voting shares           Non-Voting
                                                                                                                                                         16.67%
         Name                                               Address                                               Position and nature of any             % of interest,    if
                                                                                                                  interest                               any
        Victory A. Oberting Dynasty
                                                                                                                  Non-Voting Shares                      Non-Voting
        Trust
                                                                                                                                                         16.67%
        Name                                                Address                                              Position and nature of any              % of interest,   if
                                                                                                                 interest                                any
        GCO 2012 Legacy Trust
                                                                                                                 non-voting shares                       Non-Voting
                                                                                                                                                         28.57%
        Name                                                Address                                              Position and nature of any             % of interest,    if
                                                                                                                 interest                               any
        GFO 2012 Legacy Trust
                                                                                                                 non-voting shares                      Non-Voting
                                                                                                                                                        2s.00%
        Name                                               Address                                               Position and nature of any             % of interest,    if
                                                                                                                 interest                               any
        Michael Piazza                                      125 Adams Street                                     Chief Operating Officer
                                                           Saratoga Springs, Ny 12g66



29 wthin I year before the filing of this case, did the debtor have
                                                                    officers, directors, managing members, general partners, memberc in
   control of the debtor, or shareholders in control of the                    debtor wt o-no ronger hold these positions?

official Form   207                                       statement of Financial Affairs for Non-lndividuals Filing for Bankruptcy
                                                                                                                                                                     page 13
Software Copyright (c) i996-2020 Best Case, LLC   _   ww.bestcaso.com
                                                                                                                                                         Best Case Bankruptcy
            Case 20-11139-1-rel                        Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                    Desc Main
                                                            Document    Page 331 of 370
 Debtor      Interstate Commodities, Inc.                                                               Case number (if known)




           No
       Yes. Identify below.

30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

           No
       Yes. Identify below.
               Name and address of recipient                    Amount of money or description and value of              Dates             Reason for
                                                                property                                                                   providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

           No
       Yes. Identify below.
    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

       No
           Yes. Identify below.

    Name of the pension fund                                                                                   Employer Identification number of the parent
                                                                                                               corporation
    Interstate Commodities, Inc. Cash Balance Plan                                                             EIN:        XX-XXXXXXX

 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on          08/25/2020

       /s/ Michael G. Piazza                                            Michael G. Piazza
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         Chief Operating Officer

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
 No
 Yes




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 14
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                               Best Case Bankruptcy
    Case 20-11139-1-rel   Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49        Desc Main
                               Document    Page 332 of 370

 lnterstate Gommodities, lnc.
 Payments over 96,825.00

 ChecUEFT #                     Su   er                     Amount          Date
               G ASSETS LLC                                  7,000.00     5t28t2020
 28,0781     TRIPLE F ENTERPRISES LLC //                    10,800.00     5t28t2020
 202013       MERRITT TRAILERS INC                          11,945.97     5t28t2020
 201992       EMPIRE BLUECROSS                              18,794.05     5t28t2020
 28,0786     M AND T BANK                                   30,949.30     5t28t2020
 280800      H AND G TRUCKING //                            17,932.50      6t1t2020
 202020      FREMONT GRAIN INSPECTION DEPARTMENT INC \       7,745.25      614t2020
 202031      CHS                                             8,592.60       6t4t2020
 202014      MERRITT TRAILERS INC                             8,818.71     6t4t2020
 280811      PACIFIC INTERMODAL COMPANY LLC                 10,144.25      6t4t2020
 202030      VS TRUCKING                                    10,615.00      6t4t2020
 280810      TRIPLE F ENTERPRISES LLC //                    11,050.00      6t4t2020
 z,B0812     POD LOGISTICS INC                              11,748.00      6t4t2020
 202029      UNITED PUMPING SERVICE INC                     19,957.64      6t4t2020
 280809      M AND T BANK                                   39,886.79      6t4t2020
zB0B24       H AND G TRUCKING //                            19,1 10.00     6t8t2020
202052       MERRITT TRAILERS INC                            10,898.24    6t11t2020
280839       POD LOGISTICS INC                               13,706.00    6t11t2020
2B,0840      PACIFIC INTERMODAL COMPANY LLC                  14,596.25   6t11t2020
zB083B       FORCHELLI DEEGAN TERRANA LLP                    15,253.50   6t11t2020
zB0B42       M AND T BANK                                    37,720.93   6t11t2020
28,0841      KARZ TRANSPORT                                 38,895.00    6t11t2020
280851       H AND G TRUCKING //                             15,715.00   6t15t2020
zBo849       NORSEMAN INC                                    16,740.07   6t15t2020
280855       CAMERON CHARLES                                38,882.54    6t15t2020
280866       M AND T BANK                                     7,368.44   6t18t2020
28,0867      PACIFIC INTERMODAL COMPANY LLC                   7,710.75   6t18t2020
280863       POD LOGISTICS INC                                8,874.00   6t18t2020
202074      VS TRUCKING                                       9,950.00   6t18t2020
202080      WESTERN AG ENTERPRIESES INC                     19,000.00    6t18t2020
2B,0862     TRIPLE F ENTERPRISES LLC //                     26,350.00    6t18t2020
zB086B      KARZ TRANSPORT                                  51,750.00    6t18t2020
ZBOBSO      H AND G TRUCKING //                             17,750.00    6t22t2020
202123      MERRITT TRAILERS INC                              6,852.34   6t25t2020
zBo894      M AND T BANK                                      7,178.45   6t25t2020
280893      KARZ TRANSPORT                                    8,775.00   6t25t2020
280895      PACIFIC INTERMODAL COMPANY LLC                  10,137.25    6t25t2020
2B0891      TRIPLE F ENTERPRISES LLC //                     12,600.00    6t25t2020
28,0892     PACIFIC INTERMODAL COMPANY LLC                  14,340.50    6t25t2020
2B0896      POD LOGISTICS INC                               14,685.00    6t25t2020
202119      SUDDEN SERVICE INC                              15,909.66    6t25t2020
202118      EMPIRE HEALTHCHOICE ASSURANCE INC               21,068.99    6t25t2020
29,0902     H AND G TRUCKING //                             16,615.00    6t29t2020
2B,0923     RMG ASSETS LLC                                   7,000.00     7t1t2020
28,0925     TSL TERMINALS LTD                                7,126.20     7t1t2020
zBo921      NORSEMAN INC                                    18,367.02     7t1t2020
202131      VS TRUCKING                                      8,450.00     7t2t2020
202139      FREMONT GRAIN INSPECTION DEPARTMENT INC \\       8,554.65     7t2t2020
202132      SAPP BROS INC                                   10,343.50     7t2t2020
28,0931     TRIPLE F ENTERPRISES LLC //                     12,330.00     712t2020
   Case 20-11139-1-rel   Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49       Desc Main
                              Document    Page 333 of 370

202145      BURLINGTON NORTHERN AND SANTA FE RWY //          13,978.38    7t2t2020
28,0934     POD LOGISTICS INC                                16,710.75    7t2t2020
280936      PACIFIC INTERMODAL COMPANY LLC                   21,476.25    7t2t2020
z,B,0932    KARZ TRANSPORT                                   24,725.00    7t2t2020
202146      RAILCAR MANAGMENT LLC                            26,662.94    7t2t2020
28,0942     H AND G TRUCKING //                               7,195.00     7t6t2020
Z,B,0947    FORCHELLI DEEGAN TERRANA LLP                      8,349.00     7t9t2020
202148      CITY OF TROY                                      8,821.10     7t9t2020
202172      ENLARGED CITY SCHOOL DISTRICT OF TROY             8,981.71    7t9t2020
28,0946    TRIPLE F ENTERPRISES LLC //                       15,500.00    7t9t2020
28,0949    KARZ TRANSPORT                                    23,575.00    7t9t2020
280953     CAMERON CHARLES                                   25,927.15   7t13t2020
202208     SOO LINE RAILROAD                                  6,863.00   7t16t2020
202203     CANADIAN PACIFIC RAILWAY                           8,178.21   7t16t2020
202205     WISCONSIN CENTRAL LIMITED //                       8,540.71   7t16t2020
202190     GOREE BACKHOE AND EXCAVATING INC                   8,555.08   7t16t2020
202206     SOO LINE RAILROAD                                 13,791.26   7t16t2020
202202     ILLINOIS CENTRAL RAILROAD //                      23,463.29   7t16t2020
202201     CANADIAN NATIONAL                                 40,329.25   7t16t2020
28,0961    BNSF RAILWAY COMPANY                            137,025.56    7t16t2020
202222     SAPP BROS INC                                     9,690.89    7t23t2020
202215     KT GRAHAM INC                                     14,953.27   7t23t2020
28,0967    M AND T BANK                                     72,396.66    7t23t2020
z,B,0975   RMG ASSETS LLC                                    7,000.00    7t28t2020
28,0976    BNSF RAILWAY COMPANY                             77,655.11    7128t2020
28,0981    NORSEMAN INC                                     18,367.02    7t29t2020
280985     RMG TRUCKING LLC                                  25,175.00   7t30t2020
280991     M AND T BANK                                   1,249,662.35   7t31t2020
281003     KARZ TRANSPORT                                     8,050.00    8t6t2020
281012     FORCHELLI DEEGAN TERRANA LLP                     12,116.50    8t11t2020
281015     BNSF RAILWAY COMPANY                             53,137.85    8t14t2020
281016     TABNER RYAN AND KENIRY LLP                       53,892.33    8t14t2020
281019     EMPIRE BLUECROSS                                 24,230.11    8t17t2020
281023     RMG TRUCKING LLC                                 35,700.00    8t18t2020
202298     SHUTTLEWAGON INC                                 11,795.82    8t20t2020
281031     AGRI LOGISTICS //                                18,826.74    8120t2020
zB1 036    FREMONT GRAIN INSPECTION DEPARTMENT INC    \     16,038.95    8t21t2020
             Case 20-11139-1-rel                       Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                              Desc Main
                                                            Document    Page 334 of 370
B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                     Northern District of New York
 In re       Interstate Commodities, Inc.                                                                     Case No.
                                                                                  Debtor(s)                   Chapter       11

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
              For legal services, I have agreed to accept                                                 $                 66,171.00
              Prior to the filing of this statement I have received                                       $                 66,171.00
              Balance Due                                                                                 $                       0.00

2.     The source of the compensation paid to me was:

                 Debtor            Other (specify):

3.     The source of compensation to be paid to me is:

                 Debtor            Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

          I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
             copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.    Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.    Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.    Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.    Representation of the debtor in adversary proceedings and other contested bankruptcy matters;
       e.    [Other provisions as needed]
                  Representing the Debtor in connection with asset sales and negotiating and preparing a plan for liquidation or
                  reorganization.

6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:

                                                                           CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

            08/26/2020                                                              /s/ Gerard R. Luckman
     Date                                                                        Gerard R. Luckman
                                                                                 Signature of Attorney
                                                                                 Forchelli Deegan Terrana LLP
                                                                                 333 Earle Ovington BLVD.
                                                                                 Suite 1010
                                                                                 Uniondale, NY 11553
                                                                                 516-812-6291 Fax: 866-900-8016
                                                                                 GLuckman@forchellilaw.com
                                                                                 Name of law firm




Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                         Best Case Bankruptcy
            Case 20-11139-1-rel                        Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                                        Desc Main
                                                            Document    Page 335 of 370
                                                               United States Bankruptcy Court
                                                                     Northern District of New York
 In re      Interstate Commodities, Inc.                                                                              Case No.
                                                                                    Debtor(s)                         Chapter        11

                                                         LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities                         Kind of Interest
 business of holder
 Gary C. Oberting                                                    Voting           216                                        Stock
 19 Hilander Drive
 Loudonville, NY 12211

 Gary C. Oberting                                                    Non-voting       278                                        stock



 GCO 2012 Legacy Trust                                               Non-voting       1666                                       stock



 GFO 2012 Legacy Trust                                               Non-voting       1458                                       stock



 Gregory F. Oberting                                                 Voting           216                                        Stock
 6709 S. Flagler Drive
 West Palm Beach, FL 33405

 Gregory F. Oberting                                                 Non-voting       486                                        Stock



 Victor A. Oberting                                                  voting           216                                        stock
 17 N. Loudon Heights
 Loudonville, NY 12211

 Victory A. Oberting Dynasty Trust                                   Non-Voting       972                                        stock



DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

         I, the Chief Operating Officer of the corporation named as the debtor in this case, declare under penalty of perjury
that I have read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information
and belief.



 Date                08/25/2020                                               Signature           /s/ Michael G. Piazza
                                                                                            Michael G. Piazza

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
            Case 20-11139-1-rel                      Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                    Desc Main
                                                          Document    Page 336 of 370



                                                    UNITED STATES BANKRUPTCY COURT
                                                     NORTHERN DISTRICT OF NEW YORK


 In re        Interstate Commodities, Inc.



                                                              Debtor                         Case No.
                                                                      Chapter                            11
 Social Security No(s). and all Employer's Tax Identification No(s). [ifany]
 XX-XXXXXXX


                                                     CERTIFICATION OF MAILING MATRIX



             I,(we)      Gerard R. Luckman ,              the attorney for the debtor/petitioner (or, if appropriate, the debtor(s) or

petitioner(s)) hereby certify under the penalties of perjury that the above/attached mailing matrix has been

compared to and contains the names, addresses and zip codes of all persons and entities, as they appear on the

schedules of liabilities/list of creditors/list of equity security holders, or any amendment thereto filed herewith.



 Dated:               08/26/2020
                                                                                    /s/ Gerard R. Luckman
                                                                               Gerard R. Luckman
                                                                               Attorney for Debtor/Petitioner
                                                                               (Debtor(s)/Petitioner(s))




F:LRI007 (10/19/99)


Software Copyright (c) 1996-2020 Best Case, LLC -www bestcase_com                                                             Best Case Bankruptcy
Case 20-11139-1-rel   Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49   Desc Main
                           Document    Page 337 of 370



                      A AND R BULK PAK, INC / /
                      452 YORK STREET
                      ELTZABETH,      NJ 0120L

                      ABERDEEN CAROLINA AND WESTERN RR
                      C/O JAN DICKEY
                      967 NC HWY 211 E
                      CANDOR, NC 21229


                      ACW RAILWAY
                      ATT: Edwin Erker
                      967 NC Highway 211- East
                      CANDOR/ NC 2'1229


                      ADM
                      PO BOX 92512
                      Chicago, IL 60615-2572

                      ADM
                      PO BOX 24905
                      Pasadena, CA 91109-0003

                      ADM ALLIANCE NUTRITION
                      2OOO HUMMEL AVENUE
                      CAMP HILL, PA 17011


                      ADM GRAIN
                      4410 W. Military Avenue
                      FREMONT, NE 68025


                      AERO TRANSPORTATION PRODUCTS
                      P.O. BOX 1058
                      Independence, MO 64051-0558

                      AG CONTAINER TRANSPORT /     /
                      433 London Groveport Rd
                      Lockbourne, OH 43L31

                      AG TRADERS INC
                      12328 1 47 Road
                      KEARNEY, NE 68845


                      AG VALLEY CooP / /   /
                       P. O. Box 68
                       EDTSON, NE 68936
Case 20-11139-1-rel   Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49   Desc Main
                           Document    Page 338 of 370



                      AGRI LOGISTICS / /
                      32596 W 111TH STREET
                      OLATHE, KS 6606L

                      AGRICULTURAL COMMODITIES INC
                      2224 Oxford Rd.
                      New Oxford, PA 17350

                      AIRGAS USA LLC
                      PO BOX 134445
                       Chicago, fL 60613-4445

                      ALABAMA AND TENNESSE R]VER RAILWAY
                       Omnj-trax Holdlngs Combines Inc
                       PO Box 912919
                       Denver, CO 8029L-2919

                      ALASKA RAILROAD CORPORATION
                      Attn: Acct Rec; P.O Box 100520
                      327 West Ship Creek Avenue
                      Anchorage, Al-aska 99510-3515

                      ALF P-I INC //
                      c/o Residco
                      70 West Madison, Ste 2200
                      cHrcAGo, rL 60602

                      ALTON AND SOUTHERN RAILWAY      CO
                      22984 Network Pl-ace
                      Chicago, IL 60613-1"229

                      AMARILLO W]RELESS
                      P.O. BOX 20567
                      AMARTLLO, TX 19II4


                       AMEROPA AS]A PTE LTD
                       One Temasek Avenue
                       Millenia   Tower +3L-02
                       Singapore, 039L92 00000-0000

                       AMEROPA SA
                       13, Avenue De Rumine
                       Lausanne, 0 CH-1005
Case 20-11139-1-rel   Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49   Desc Main
                           Document    Page 339 of 370



                      AMSPEC LLC
                       1249 South River Road
                       Suite 204
                       Cranbury, NJ 08512

                      ANN ARBOR RAILROAD
                      C/O JAY BENED]CT
                       P. O. Box 790343 Bin #150077
                       sr Lours, Mo 63L1 9-0343
                      APA'S SECURED TRUCK         PARKING
                      250 E 167TH ST
                       HARVEY,   rL   60426

                      ARC RA]L 201.3 ]. LLC
                      PO BOX 310431
                      DES MOTNES, rA 50331-0431


                      ARCHER DANIELS MIDLAND COMPANY
                       Export Containers
                       4666 Faries Parkway
                       DECATUR,      rL   62526


                       ARS NEBRASKA LLC
                       dba Appalachian RC Services
                       P. O. Box 1548
                       GRAND ISLAND, NE 68802


                       ATEL LEASING CORPORATION        ///
                       POBox 61L591
                       DALLAS, TX 15261-L597

                       ATLAS PHYSICAL PRODUCTS LLC
                       4203 Montrose Blvd
                       Suite   650
                       Houston, TX 11006

                       B&B BROKERAGE SBRVICES LLC
                       3590 W 350 S
                       Chalmers, IN 41929

                       BAUER BUILT TIRE
                       2541 West 23rd Drive
                       Fremont, NE 68025
Case 20-11139-1-rel   Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49   Desc Main
                           Document    Page 340 of 370



                      BELSON STEEL CENTER
                      PO Box BB498
                      Chicago, IL 60680-1498

                      BENJAMIN STEEL CO INC
                       PO   Box 1 480I4
                      Cincinnati,      OH 45214-8014

                      BLUE RIDGE SOUTHERN RAILROAD
                      P.O. BOX 190343
                      BrN#150077
                       srLours, Mo 63119

                      BNSF RAILWAY COMPANY
                      3115 Solutions Center
                      Chicago, IL 60677-3001

                      BRIAN LATRD
                       923 Stone Church Road
                      Waterloo, NY 13165

                      BUCYRUS RAILCAR REPAIR LLC
                      C/O THOMAS CATHCART
                      P.O. BOX 734158
                      cHrcAGo,    rL   60673-4158

                      BUFFALO AND PITTSBURGH RAILROAD
                       27606   NETWORK PLACE
                      Chicago, IL      606'13


                       BUNGE NORTH AMERICA
                       I7120 Borman Drive
                       sr Lours, Mo 63L46
                       BURL]NGTON JUNCTION RAILWAY
                      ATTN: L]Z     CALHOUN
                       1510 BLUFF ROAD      /   PO EOX   :I
                       BURLTNGTON,     rA   52601


                       BURLTNGTON NORTHERN AND SANTA FE RWY       //
                       3110 Sol-utions Center
                       Chicago, IL     606'77-3001
Case 20-11139-1-rel   Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49   Desc Main
                           Document    Page 341 of 370



                      CAL-MA]NE
                      3320 W. WOODROW W]LSON DRIVE
                      JACKSON, MS 39209


                      CANADIAN NATIONAL
                      Attn: Non-Freight Management
                      PO Box 71351
                      Chicago, IL 60694-1351

                      CANADIAN NATIONAL    //
                      P.O. Box'7L206
                      Chicago, TL 60694-7206

                      CANADIAN PACIFIC RAILWAY
                      WOlB35C / PO BOX 1289
                      MAIN POST OFFICE
                      WINNIPEG, MB R3C 2ZI

                      CANADIAN PACIFIC RAILWAY CO /     /
                      c/o cM-9521
                      sr PAUL, MN 55170-9521

                      CANPOTEX
                      C/O DAVID WHYMAN
                      LII 2 AVE SOUTH
                      SASKATOON, SK CA S7K 1K6


                      CARGILL INC.
                      862 W. Ridge Road Building A
                      ATT: Cindy Sanders
                      GATNESVTLLE, GA 30501


                      CAROLINA COASTAL RAILWAY
                      PO BOX 399
                      BUNN, NC 27508

                      CENTENNIAL GRAIN LLC
                      164 West 1st North
                      Rexburg, ID 83440

                      CENTERGAS FUELS INC
                      P.O. BOX 15000
                      AMARTLLO, TX 79105
Case 20-11139-1-rel   Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49    Desc Main
                           Document    Page 342 of 370



                      CENTRAL MAINE AND QUEBEC RAILWAY /        /
                      7OO MAIN STREET
                      SUITE   3
                      BANGOR, ME 04401-


                      CENTRAL ORBGON AND PACIFIC RR
                      Cash Receipts, JP Morgan Chase
                      21603 Network Place
                      Chi-cago, IL 6067 3-L216

                      CENTRAL VALLEY AG
                      P. O. Box 429
                      YORK, NE 68461

                      CERES CONSULTING LLC
                      380B Cookson Road
                      East St. Louis, IL 6220I-2L26

                      CHICAGO CENTRAL AND PACIFIC RAILROAD /        /
                      PO BOX 95361
                      Chicago, rL 60694-5361

                      CHICAGO FREIGHT CAR LEASING CO       //
                      PO Box 15L29
                      Chicago, IL     60615


                      CHICAGO FT VIAYNE AND EASTERN RR
                       2159I Net.work Pl-ace
                      Chicago, IL 60613-1215

                      Chicago Mercantile Exchange, Inc.
                      20 South Wacker Drive
                      Chicago, IL     60606


                      CHICAGO     RAIL LINK RAILROAD
                      C/O Omnitrax Holdings Combined
                      P. O. Box 9L2919
                      Denver, CO 8029I-2979

                      CHIP KEPFORD
                      2760 MARSEILLES GALION RD     E
                      MARTON, OH 43302
Case 20-11139-1-rel   Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49    Desc Main
                           Document    Page 343 of 370



                      CHS
                      PO Box 1450
                      N W 9365
                      MTNNEAPOLTS, MN 55485


                      CHS
                      5500 Cenex Drive
                      Inver Grove Hgts,       MN 55077


                      CINTAS CORPORATION 491
                      P.O. BOX 650838
                      DALLAS, TX 75265-0838

                      CIRCLE S TRADING LLC
                      3361 S. Hwy 45W
                      KENTON, TN 38233


                      C]TY OF TROY
                      433 RIVER STREET
                      SUITE    5OO1
                      Troy,    NY 12L80

                      COHEN LAND LLP
                      c/o Jeremy Cohen
                      L620 S. Unlversity       Bl-vd
                      DENVER, CO 80210


                      COLUMBUS AND OHIO RIVER RR
                      21606 NETWORK PLACE
                      cHrcAGo, TL 60613-1216

                      CONFEDERATED TRTBES OF THE UMATILLA        INDI
                      464L1 Timine Way
                       PENDLETON, OR 97801


                      CONGLOBAL INDUSTRIES TNC
                      32812 COLLECTION CENTER DRIVE
                       cHrcAGo, rL 60693-0328

                       CONSOLIDATED CHASSIS MANAGEMENT
                       500   International Drive
                       Suite 130
                       BUDD LAKE,     NJ   07828
Case 20-11139-1-rel   Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49   Desc Main
                           Document    Page 344 of 370



                       CONSOLIDATED LOGISTICS SOLUTIONS ]NC
                       13041 Binney Street
                       Omaha, NE 68164

                       COUNTY OFFICE PRODUCTS
                       PO BOX 79
                       CHARLESTON,      rL   61920


                       CRANEMASTERS INC
                       RICHMOND CAR REPAIR
                       B02O WHITEPINE ROAD
                       N CHESTERFTELD, VA 23231

                       Cropmax, LLC
                       4948   IL   Hwy 15
                      Kansas, IL 61933

                       CSX TRANSPORTATION
                       P.O. Box 640839
                       Pittsburgh,      PA L5264

                       CULTURA TECHNOLOGIES LLC
                       P.O. Box 203L3L
                       Dallas, TX 15320-3131

                       D A TNTERNATIONAL CAST]NG     COMPANY
                       23 Industrial Parkway
                       Mansfield, OH 44903

                       DAIGLE CLEANING SYSTEMS INC
                       20 Center Street
                       Albany, NY 12204

                       DAKOTA MINNESOTA AND EASTERN RR
                       C/O Canandian Pacific Railway
                       8293 Collection Center Dr
                       Chlcago, IL 60693-0082

                       DAVE KREAGER //
                       DBA Kreager Trucking Co
                       2545 BLACKLICK EASTERN NE
                       MTLLERSPORT, OH 43046
Case 20-11139-1-rel   Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49   Desc Main
                           Document    Page 345 of 370



                       DEAN HILL
                       815 THATCHER WAY
                       FRANKLTN, TN 31064


                       DECATUR AND EASTERN     ILLINOIS   RAILROAD
                      ATTN: Beth Patterson
                      Po Box 190343 Bin# 150077
                      St. Louis, MO 63L19-0343

                      DELTA SOUTHERN RAILROAD
                      469 Port Road
                      Tall-ulah, LA 11282

                      DEPKE
                       PO   Box 967
                       Danvil-le, fL     61834-0967

                       Derek D Sellman
                       6 Deer Creek Road
                       Poestenkill,     NY I2I40

                      DISTRIBUTIONS PUBLICATIONS INC
                      PO BOX 1136
                      OAKLAND, CA 94604


                       DLG INDUSTRIAS SA DE CV / /    /
                      Lockbox 5202
                       1010   W   Mockingbird Lane STEl00
                       Dal-las, TX 15241

                       DODGE COUNTY TREASURER
                      C/O Gail J Bargstadt
                      435 N Park Ave PO Box 999
                      Fremont, NE 68026-0999

                       DOMTNION SPRING FARMS INC
                       4723 Hanson Side Road
                       PAKENHAM, ONTARTO KOA 2X0


                       DUNRITE INC
                       PO BOX 3
                       FREMONT, NE 68026
Case 20-11139-1-rel   Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49   Desc Main
                           Document    Page 346 of 370



                      DYNAMIC RAILCAR SERVICES LTD
                      L044 Montgomery Street
                      Moose Jaw, Saskatche S6H 2X1

                      EAGLE RAILCAR SERVICES LP
                      P.O. Box 1534
                      EASTLAND, TX 16448


                      EASTERN IDAHO RAILROAD
                      PO BOX 190343
                      BrN # 150077
                      sr. Lours, Mo 63L19-0343
                      EASTERN ILLINOIS RAILROAD      CO
                      P.O. Box 383
                      CHARLESTON,    rL   6L920


                      ELEMETAL FABRICATION LLC
                      P.O. BOX 791
                      FREMONT, NE 68026-0191,


                      ELITE RAILCAR REPAIR LLC
                      104 S. Myrtle Ave
                      Wi11ard, OH    44890


                      ELMER MOSER AND SONS LLC
                      P. O. Box 5
                      CASTORLAND, NY L3620


                      EMPIRE BLUECROSS
                      PO BOX LI192
                      NEWARK, NJ 0110I-4192


                      EMP]RE DENTAL
                      PO BOX 202831
                      DEPARTMENT 83703
                      DALLAS, TX 15320-2831

                      EVBRGREEN SHIPPING AGENCY AMERICA CORP
                      Tollway Plaza I
                      16000 N Dal-las Pkwy Suite 400
                      Dallas, TX 15248
Case 20-11139-1-rel   Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49   Desc Main
                           Document    Page 347 of 370



                      EXCEL RA]LCAR CORPORATION
                      28361 Davis Parkway
                      Suite   300
                      Warrenville, IL     60555


                      FAEGRE BAKER DANIELS
                      NW 613 9
                      PO BOX 1450
                      MTNNEAPOLTS, MN 55485-6139


                      FASTENAL COMPANY
                      P.O. BOX 1286
                      Winona, MN 55987-L286

                      FERROCARRIL MEXICANO S      A   DE   CV ///
                      Lock Box 26502
                      131 S Dearborn 6th Floor
                      Chicago, IL     60603


                      FERROSUR
                      COL. CENTRO C.P. 91700
                      Veracruz, MX 9l-700

                      FINGER LAKES RAILWAY
                      Attn: Lynn Kisinger
                      PO BOX 1750
                      Clinton, OK 73601

                      FLEXFACTS
                      1200 River Ave
                      Ste   10E
                      Lakewood, NJ 08701

                      FLORADALE FEED MILLS LTD
                      2L3I Floradale Road
                      FLORADALE, ON NOB 1V0


                      FLORIDA EAST COAST RAILWAY       CO
                      ATTN: PAIGE   RAULERSON
                      PO BOX 743068
                      Atl-anta, GA 3037 4

                      FORT SMITH RAILROAD
                      l-318 South Johanson Road
                      Attn: J M Carr
                      Peoria, IL 6L601
Case 20-11139-1-rel   Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49   Desc Main
                           Document    Page 348 of 370



                      FP MAILING SOLUT]ONS
                      PO BOX 157
                      Bedford Park, IL 60499-0157

                      FRONTLINE RAILCAR REPAIR LTD
                      P.O. BOX 78
                      1OB EAST RAILWAY STREET
                      HAGUE, SK SOK 1X0


                      FRUIT GROWERS EXPRESS COMPANY
                      22984 NETWORK PLACE
                      cHrcAGo, rL 60613-1-229

                      GARDEN CITY WESTERN RAILWAY
                      1318 South Johanson Road
                      Peorj-a, IL       61601


                      GAVILON GRAIN //
                      1331 Capitol Avenue
                      OMAHA, NE 68L02


                      GAV]LON IMPERIAL
                      P.O. Box 249
                      Attn: Eric Wurtele
                      Imperial, NE 69033

                      GBW   RAILCAR SERVICE LLC
                      PO BOX 14008109
                      cHrcAGo,     rL    60614-8109

                      GLOBAL COMPANIES LLC
                      Attn: Mark Romaine
                      800 South Street
                      Waltham, MA 02454

                      GODERI CH_EXETER RAILWAY
                      9001 Boul-. De I'Acadie
                      bureau 600
                      MONTREAL, Quebec H4N 3H5


                      GODFREYS WAREHOUSE INC
                      P.O. Box 4BB
                      Madison, GA 30650
Case 20-11139-1-rel   Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49   Desc Main
                           Document    Page 349 of 370



                      GRAND ELK RAILROAD
                      C/O JACOB HAMM
                      P. O. BOX 790343 BrN #150077
                      sT LOUTS, MO 63119-0343

                      GRAND TRUNK WESTERN
                      P. O. Box 95361
                      Chicago, IL 60694-5361

                      GREAT LAKES CENTRAL RAILROAD
                      P.O. BOX 550
                      owosso, Mr 48867-0550

                      GREAT NORTHWEST RAILROAD
                      PO BOX 790343
                      ATTN: L ZIESENIS / BIN #150077
                      sT. LOUTS, MO 631"19-0343

                      GREAT WESTERN RAILWAY OF COLORADO LLC
                      Omnitrax Holdings Combined Inc
                      P.O. Box 912919
                      Denver, CO 8029L-2979

                      GREEN MOUNTAIN RAILROAD
                      ATTN: SHELLY KMIEC
                      1 Railway Ln.
                      Burlington, VT      05401


                      GREENBRIER COMPANIES
                      1 Centerpointe Dr.
                      Suite 200
                      Lake Oswego, OR 97035

                      GREENBRIER   RAIL   SERV]CES
                      15202Collections Drive
                      cHrcAGo, rL 60693

                      HARBOR SERVICES
                      l-550 West Colorado Blvd
                      Pasadena, CA 91105

                      HARTWELL RAILROAD COMPANY
                      PO Box 429
                      Hartwelf, Georgia 30643-0000
Case 20-11139-1-rel   Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49   Desc Main
                           Document    Page 350 of 370



                      Healthcare Appraisers Inc.
                      75 NW 1st Avenue
                      Attn    Mark Oberl-ander
                       Delray Beach, FL 33444

                      HERSHEY TRANSPORTATION SOLUTIONS LLC
                      3]-9 HOCKERSV]LLE ROAD
                      HERSHEY, PA 17033


                      HILTZ PORTABLE SANITATION INC
                      506 N. 7TH AVENUE
                      HOOPESTON,    rL   60942


                      HL GAGE SALES TNC
                      121 Washington Ave. Extension
                      P.O. Box 5170
                      Albany, NY L2205-0L10

                      HOLLAND AND M BAR        D
                      ATTN: JP MORGAN MBARD #37584
                      131 S. DEARBORN 6TH FLOOR
                      cHrcAGo,    rL   60603


                      HOWELL SAND COMPANY INC
                      23OO E HASTINGS
                      AMARTLLO, TX 79108


                      HURON AND EASTERN RAILROAD
                      PO BOX 409590
                      Atlanta,    GA 30384-9590

                      HURON AND EASTERN RAILWAY CO
                      C/O CASH RECEIPTS CLERK
                      27596 NETWORK PLACE
                      cHrcAGo, rL 60673-7275

                      HYNUM LAW
                       2608   North 3rd Street
                      Harrisburg,      PA 17110

                       IDAHO RAIL   SHOP
                       1785 KRAFT   ROAD
                       POCATELLO,   rD 83204
Case 20-11139-1-rel   Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49   Desc Main
                           Document    Page 351 of 370



                      ILLINOIS CENTRAL RAILROAD / /
                      Attn: Non-Freight Management
                      PO BOX 95351
                      Chicago, IL 60694-5361

                       INCORP SERVICES INC
                       PO BOX 94438
                      Las Vegas, NV 89193-4438

                      INDIANA & OHIO CENTRAL RAILROAD
                      ATTN: Teresa King
                      PO Box 409590
                      Atlanta, GA 30384

                      INDIANA AND OH]O RAILWAY
                      27596 NETWORK PLACE
                      Cash Receipts Cl-erk JP Morgan
                      cHrcAGo, rL 60673

                       INDIANA HARBOR BELT RAILROAD
                      ATTN: Mike Calomino
                      1510 Plainfield Road, Suite     3
                       Darien, IL   60561


                       INFINITY  TRANSPORTATION 2OL6      1 LLC / /
                       PO BOX 545510
                      Cincinnati,    OH 45264-5510

                       INFIN]TY  TRANSPORTATION EQU]PMENT TRUST
                       PO BOX 545539
                      crNCrNNATr, OH 45264-5539

                      INSPIRATION HOLDINGS INC
                      P.O. Box \4I1
                      Broomfield, CO 80038-L4L1

                       INTEGRATED INDUSTRIES CORP
                       1 PENNVAL ROAD
                       PO BOX 868
                      wooDBRrDGE,    NJ 07095

                       INTERSTATE BILLING SERVICE
                       PO Box 2208
                       Decatur, AL 35609
Case 20-11139-1-rel   Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49   Desc Main
                           Document    Page 352 of 370



                      IOWA INTERSTATE RAILROAD LTD
                      Attn : Accounts Receivabl-e
                      5900 Sixth Street SW
                      Cedar Rapids, fA 52404

                      IOWA NORTHERN RAILROAD
                      C/O Paramount Theatre Building
                      305 Second St, SE Suite 400
                      CEDAR RAPTDS,     rA   5240L


                      ]SNETWORLD
                      PO Box B4180B
                      Da11as, TX 15284-1808

                      J. T. ]NTERNATIONAL TRADING LTD PART. //
                      B4/9 Soi 33 Sukhumvit Road
                      NORTH KLONGTAN
                      WATTANA, BANGKOK 10110-0000


                      JD HEISKELL
                      200L0 Manderson Street
                      Suite   A
                      Elkhorn, NE 68022

                      JFK LOGISTICS AND TRANSPORT      //
                      803 Avenue A
                      Bayonne, NJ 01002

                      JOHN M DUIS
                      L]23 NORTH 25BO EAST
                      SHELDON, rL 60966


                      JUAN CONTRERAS / /
                      DURA-MEX USA INC
                      1113 CASCADE RIDGE DRIVE
                      PLATNFTELD, rL 60586


                      KANAWHA     RIVER RAILROAD LLC
                      P.O. Box 190343
                      Bin# 150077
                       St. Louis,    MO 63L19-0343


                      KANKAKEE BEAVERVILLE AND SOUTHERN RR
                      PO BOX 119
                       Iroquois, TL    60945
Case 20-11139-1-rel   Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49   Desc Main
                           Document    Page 353 of 370



                      KANSAS AND OKLAHOMA RAILROAD
                      Bin   #150077
                      PO   Box 190343
                      St. Louis,      MO 6311 9-0343


                      KANSAS    CITY SOUTHERN DE MEXICO SA DE CV
                      C/O   Carlos Damian Rosas
                      P.O. Box 2L9335
                      Kansas City, MO 64L2I

                      KANSAS    CITY   SOUTHERN RAILROAD   //
                      36929 Treasury Center
                      ? Harris Trust & Savings Bank
                      Chicago, IL 60694-6400

                      KANSAS CITY SOUTHERN RAILWAY
                      ATTN JOYCE MCKOWN
                      36929 Treasury Center
                      Chicago, fL 60694

                      KATAHDIN RAILCAR SERVICES
                      7OO MAIN ST.
                      SUITE 3
                      BANGOR, ME 04401


                      KC COMMUNICATIONS
                      1523 E 2900 North Rd
                      CIifton, IL 60921

                      KIAMICHI RAILROAD COMPANY INC
                      21605 NETWORK PLACE
                      JP MORGAN CHASE
                      cHrcAGo, rL 60613-L216

                      KOI AUTO PARTS INC
                      C/O FISHER AUTO PARTS
                      PO BOX 2246
                      STAUNTON, VA 24402-2246


                      KOLEV ENTERPRISE INC
                      1115 HALL STREET
                      SUGAR GROVE, rL 60554


                      KONICA MINOLTA BUSINESS SOLUTIONS
                      ATTN: Dept CH 19188
                      Palatine, IL      60055-9188
Case 20-11139-1-rel   Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49   Desc Main
                           Document    Page 354 of 370



                      KOOGLERS REFUSE SERVICE INC
                      7819 E Lincoln Hwy
                      Lima,   OH 45801

                      KT GRAHAM INC
                      137 South Front Street
                      Cof umbia, PA Ll51,2


                      KYLE RA]LROAD CO.
                      27596 Network Place
                      Chicago, IL 60673-L276

                      KYLE RAILROAD COMPANY
                      21596 Network Place
                      cHrcAGo, rL 60613-L216

                      LAKE STATE RAILWAY         COMPANY
                      C/O TRISTA WOLGAST
                      750 N. WASHINGTON AVE
                      SAGTNAW,      Mr   48601


                      LANCASTER FARMING
                      1 E MAIN STREET
                      PO BOX 609
                      EPHRATA, PA 11522


                      Lancaster Saftey Consulti-ng, Tnc.
                      100 Bradford Road
                      Suite   100
                      Wexford, PA 15090

                      LAND O LAKES
                      PO Box 6428L
                      MS 5540
                      St. Paul, MN 55164-028L

                      LAND OI LAKES PURINA FEED
                      P.O. BOX 668\2
                      St. Louis,     MO 63166


                      LANDUS COOPERATIVE /        /
                      P.O. Box 587
                      Carroll, IA 51401
Case 20-11139-1-rel   Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49    Desc Main
                           Document    Page 355 of 370



                      LANSING TRADE GROUP
                      434 Hurricane Lane
                      Suite 200
                      WILLISTON, VT 05495

                      LANSING TRADE GROUP
                      P.O. BOX 14]-67I
                      Atlanta,    GA 30374-161I

                      LANSING TRADE GROUP //
                      1097 5 Benson Drive - Suite 400
                      P. O. Box 2'1267
                      OVERLAND PARK, KS 66225


                      LANSING TRADE GROUP LLC
                       15314   Collections Center Drive
                      Chicago, lL    60693


                      LARSEN INTERNATIONAL
                       2050 E. 23rd AVE
                       FREMONT, NE 68025


                      LDT GROWTH PARTNERS LLC / / /
                      PO Box 39000
                      Dept 34511
                      San Francisco, CA 941,39

                      Louis Dreyfus      Company   Transport Logistlc
                      1255 Goodl-ett Farms Pkwy
                      Cordova, TN 38016

                      Louis Dreyfus Company Transport Logistic
                      1255 Goodlett Farms Pkwy
                      Cordova, TN 38016

                      LUBBOCK WESTERN RAILWAY
                       c/o Jay Benedict Bin #150077
                       P. O. Box 790343
                       sT LOUTS, MO 63L79-0343

                      LYCOMING VALLEY RAILROAD COMPANY
                       356   Priestley   Ave
                      Northumberland, PA 11851
Case 20-11139-1-rel   Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49   Desc Main
                           Document    Page 356 of 370



                      MAERSK AGENCY     USA, INC. / / /
                      PO Box 7 44448
                      Atlanta,    GA 3038 4-4448

                      MAR JAC POULTRY
                      PO Box 931
                       Jasper, AL 35502

                      MARBLE CLIFF CHASS]S COMPANY
                      433 London Groveport Road
                      Lockbourne, OH 43131

                      MARQUETTE RAIL LLC
                      C/O CASH RECEIPTS CLERK
                      27596 NETWORK PLACE
                      cHrcAGo,    rL   60613-1215

                      MCDONALD PELZ GLOBAL COMMODITIES LLC
                      P. O. BOX 411099
                      KANSAS CrrY, MO 64L41-1099


                      MEDITERRANEAN SHIPPING COMPANY              //
                      700 Watermark Blvd
                      Mount Pl-easant, SC 29464

                      MGH RAILCAR SERVICES LIMITED
                       820'l Fairways West Dr.
                       Regina, SK S4Y     0A1


                      MID-AMERICAN CAR       INC. -   LOCOMOTIVE
                       T523   NORTH MONROE
                       P.O. BOX 33543
                       KANSAS CrTY, MO 64120


                      Midwest Commoditi-es,       LLC
                      6900 Rosendale Road
                      Wayne, OH 43466

                      MIDWEST RAILCAR CORPORATTON / /         /
                      4949 Autumn Oaks Drive
                      Maryville, IL 62062

                      MIDWEST RENEWABLE ENERGY          ///
                       21532 US-30
                       Sutherland, NE     69165
Case 20-11139-1-rel   Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49   Desc Main
                           Document    Page 357 of 370



                      MILLERS TEXTILE SERVICES
                      PO BOX 239
                      WAPAKONETA, OH 45895


                      MINNESOTA COMMERCIAL RAILWAY
                      C/O John S Walsh
                      508 Clevefand Ave North
                      St. Paul,    MN 55114


                      MOLESWORTH FARM SUPPLY LTD
                      44143 Perth Line B6
                      LrsTowEL, oN N4W 3G6

                      MONTANA RAIL LINK
                      P.O. Box 16390
                      Missoul-a, MT 59808-5390

                      MRXX CORP.    ///
                      PO Box 189
                      Hampton, NH 03843-0189

                      MULBERRY RAILCAR REPA]R COMPANY
                      1200 Prairie Mine Rd.
                      P.O. Box 1038
                      Mulberry, FL 33860

                      MURDOCK EXPRESS    INC. / /
                      503   N. 7rh Sr. us 41
                      Office   2
                      KENTLAND,    rN 4'195I

                      MURPHY TRACTOR AND EQUIPMENT CO
                      3550 ST. JOHNS ROAD
                      LIMA, OH 45804

                      NAPA PARTS HEADQUARTERS INC
                      ACCOUNTS RECEIVABLE
                      4438 CANYON DRIVE
                      AMARILLO, TX 19L09

                      NEBRASKA KANSAS AND COLORADO RAILWAY LLC
                      OMNITRAX HOLDINGS COMBINED INC
                      P.O. BOX 9t2919
                      DENVER, CO 8029I-2919
Case 20-11139-1-rel   Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49   Desc Main
                           Document    Page 358 of 370



                      NEBRASKA NORTHWESTERN RAILROAD INC.
                      c/o Jason Bierwerth
                      P. O. Box 826
                      cRooKSTON, MN 56116


                      NEW ENGLAND CENTRAL RAILROAD /       /
                      ATTN: Cash Receipts Cferk
                      21 60 6 Network Place
                      Chicago, IL    60613


                      NEW ORLEANS PUBLIC BELT RAILROAD
                      4822 Tchoupitoul-as Street
                      NEW ORLEANS,    LA   701-15


                      NMC EXCHANGE LLC
                      PO Box 9II784
                      Denver,    CO 8029L-I784


                      NORFOLK SOUTHERN       //
                      PO BOX LL6944
                      Atlanta,    GA 30368-6944

                      NORTH SHORE RAILROAD COMPANY
                      c/o oiana L. Will-iams
                      356 Priestley Ave
                      Northumberland, PA 17857

                      NORTHERN PLAINS      RAIL SERVICES
                      ATTN SUSAN THOMPSON
                      PO BOX 21 4
                      ERSKTNE, MN 56535


                      NORTHERN PLAINS RAILROAD INC
                      PO BOX 38
                      FORDVTLLE, ND 58231


                      OFFICENET
                      648 N BROAD ST
                      FREMONT, NE 68026


                      OMAHA LINCOLN AND BEATRICE
                      ATTN: ACCOUNTS REC.
                      PO BOX 80268
                      LTNCOLN, NE 68501
Case 20-11139-1-rel   Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49   Desc Main
                           Document    Page 359 of 370



                      ONSITE TRUCK AND TRAILER REPAIR
                      302 E Wapella St.
                      Minooka, IL 60441

                      ORTUS GLOBAL CO LTD
                      7F, No. 31, Dexing W. Road
                      Shilin District
                      TATPET C]TY, 111 TAIWAN


                      PACIFIC INTERMODAL COMPANY LLC
                      lOOO E DOMINGUEZ #203
                      CARSON, CA 90'7 46


                      PADUCAH AND LOUISVILLE RAILWAY INC
                      P.O. BOX 403016
                      ATLANTA, GA 30384

                      PALMETTO GRAIN BROKERAGE INC
                      516 Browns Cove Rd
                      Unit J
                      Ridgeland,   SC 29936

                      PALOUSE RIVER AND COULEE CITY RAILROAD
                      C/O JESSTCA SWAFFORD
                      P.O. BOX 790343, BrN#l-50077
                      sr. Lours, Mo 63L1 9-0343
                      PAN AM SOUTHERN RAILWAY      //
                      1700   Iron Horse Park
                      Treasury Dept
                      N Billerica, MA 01862

                      PAQUETTE RA]LWAY SOULTIONS ]NC
                      10616 W Whispering Woods Drive
                      DeMotte, IN 4 63l- 0

                      PENNSYLVANIA AND SOUTHERN RAILWAY
                      1 Gateway Center Suite 5018
                      NEWTON, MA 02458


                      PHOENIX FEEDS AND NUTRITION INC
                      5482 Ethan Al-l-en Highway
                      P. O. Box 36
                      New Haven, VT 05412
Case 20-11139-1-rel   Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49   Desc Main
                           Document    Page 360 of 370



                      POD LOGISTICS INC
                      312 Doughty BIvd
                      Inwood, NY 11096

                      PORT TERMINAL RATLROAD
                      ATTN:  JAMES CHASTUN
                      PO BOX 2348
                      HOUSTON, TX 11252-2348


                      PORTLAND AND WESTERN RR
                      27 603 Network Pl-ace
                      Chicago, IL 60613-!216

                      PROGRESS METAL RECLAMATTON COMPANY
                      PO BOX 1119
                      ASHLAND, KY 17LLB


                      PROGRESS RAIL LEASING / /
                      25083 Network Place
                      Chicago, IL 60613-L250

                      PROGRESS RAIL SERVICES
                      24601 Network Place
                      Chicago, IL 60613-1246

                      PROVIDENCE AND WORCESTER RAILROAD
                      2160 6 Network Pl-ace
                      Chicago, IL    60613


                      RAIL   PARTNERS SELECT   LLC / /
                      70 West Madison
                      Suite 2200
                      Chicago, IL    60602


                      RAILCAR LEASING AND LOGISTICS LLC
                      2T33 HIGHWAY 317
                      SUITE 12_302
                      suwANEE, GA 30024

                      RAIL]NC CORPORATION
                      PO Box 79860
                      Baltimore, MD 21219-0860
Case 20-11139-1-rel   Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49   Desc Main
                           Document    Page 361 of 370



                      RAPID CITY PIERRE & EASTERN RAILROAD /       /
                      21596 Network Place
                      cHrcAGo, rL 60613-L216

                      RAS DATA SERVICE
                      1510 PLAINFIELD RD
                      SUITE 3
                      DARTEN, rL 60561


                      RED RIVER VALLEY AND WESTERN RAILROAD
                      BrN# 170075
                      PO Box 920I
                      Minneapolis,     MN 55480-920L

                      RESCAR COMP
                      1101 31ST STREET
                      SUITE 250
                      DOWNERS GROVE,        rL   50515


                      RESCAR INC
                      2882 Paysphere Circfe
                      Chicago, IL     6061   4



                      RJ CORMAN RAILROAD COMPANY
                      C/O DAV]D REED
                      P. O. Box 788
                      Nichol-asville, KY 40340

                      RMG   Assets,   LLC
                      7 Madison Street
                      Troy, NY 12180

                      RMG FREMONT LLC
                      7 Madison   Street
                      Troy, NY 12180

                      ROCHESTER AND SOUTHERN RAILROAD
                      27606 NETWORK PLACE
                      cHrcAGo, rL 60673-1216

                      ROCKY MOUNTAIN RAILCAR REPAIR
                      1485 W James Way
                      Tooel-e, UT 84014
Case 20-11139-1-rel   Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49   Desc Main
                           Document    Page 362 of 370



                      RWCI TNC
                      10 Industrial Park
                      Flora, IL 62839

                      SAFETY RAILWAY SERVICE LP
                      403   WAREHOUSE ROAD
                      vrcToRrA, TX 11905-0514

                      SAN LUIS CENTRAL RAILROAD          COMPANY
                      6400 Shafer Court
                      Suite   275
                      Rosemont, IL 60018

                      SANDERSVILLE RAILROAD COMPANY
                      C/O JEROME GRABIAK
                      P.O. BOX 269
                      SANDERSVTLLE, GA 37082


                      SAPP BROS INC
                      P.O. BOX 45305
                      OMAHA, NE 68145


                      Savannah Marine Terminal, Inc.
                      530 Magazrne Avenue
                      Savannah, GA 31415

                      SCALES SALES AND SERVICE LLC
                      8615   VERNON AVE
                      OMAHA, NE 68L34


                      SCHUYLKILL RAILCAR INC        //
                      3 Hockersville Road
                      Hershey, PA 17033

                      SCOTT ELECTR]C INC /      /
                      PO BOX 212
                      FREMONT, NE 68026


                      SCOULAR COMPANY     ///
                      171 Church    Street
                      Suite 250
                      CHARLESTON, SC 2940L
Case 20-11139-1-rel   Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49   Desc Main
                           Document    Page 363 of 370



                       SCOULAR GRAIN    ///
                      Attn:    Heather Farrelf
                      2027 Dodge Street       - Suite    200
                      OMAHA, NE 68L02


                       SCOULAR GRAIN CO / /     /
                       10801 Mastin Blvd.
                       Suite   800
                      Over1and Park, KS 66210

                       See Schedul-e attached Lo 206A/B


                       SOO LINE RAILROAD
                       8293 COLLECTION CENTER DRIVE
                       cHrcAGo, rL 60693-0082

                       SOUTHEAST RAILCAR ]NC
                       PO Box L204
                      Arnericus,     GA 31709


                       SOUTHEASTERN RAILWAY SERVICES INC
                       P. O. Box '12
                      Magnolia, MS 39652

                       SOUTHWESTERN RAILROAD ]NC
                       C/O SANDRA WILDER
                       P.O. BOX LB76
                       OGDEN, UT 84402


                       SPALLTNGER MILLWRIGHT SERVICES
                       1155 EAST HANTHORN ROAD
                       LrMA, OH 45804

                       SPRINGFIELD TERM]NAL         //
                      ATTN: Treasury Department
                      1700 Iron Horse Park
                      North Billerica, MA 0L862

                       SPRINGFIELD TERMINAL RAILWAY ]NC
                       1700 Iron Horse Park
                       High Street
                       North Billerica,       MA 0I862
Case 20-11139-1-rel   Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49   Desc Main
                           Document    Page 364 of 370



                      Steve and Pam Robey
                      PO   Box 246
                      Cairo,    OH 45820

                      STTLLWATER CENTRAL RAILROAD
                      PO BOX 190343
                      BrN # 150077
                      sr. Lours, Mo 63119-0343
                      SUDDEN SERVICE INC
                      P.O. BOX 903
                      LOUTSVTLLE, MS 39339-0903


                      SUNDERLAND CO-OP
                      PO Box 280
                      Sunderland,    ON LOC 1H0


                      SWEENEY FARMS
                      4685 ST RTE 668
                      SOMERSET, OH 43783


                      T   SQUARE SUPPLY
                      140 E Washington Street
                      FREMONT, NE 68025


                      T-Mobile Northeast LLC
                      c/o T-Mobile USA, Inc.
                      L2920 SE 38th Street
                      Bel-levue, WA 98006

                      TAZEWELL AND PEORIA RAILROAD
                      21596 NETWORK PLACE
                      cHrcAGo, rL 60673-1215

                      TERMINAL RAILROAD ASSOC OF ST LOUIS
                      PO   Box 14958-F
                      St. Louis,   MO 631-50


                      TERMINAL RWY ALABAMA STATE DOCKS
                      C/O NELSON SIKES
                      PO BOX 1588
                      MOBTLE, AL 36633
Case 20-11139-1-rel   Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49   Desc Main
                           Document    Page 365 of 370



                      THE ANDERSONS
                      480 W Dussel Drive
                      PO Box 119
                      Maumee, OH 43537

                      THE ANDERSONS INC
                      PO BOX 84878
                      CHTCAGO, rL 60689-8418


                      THE BELT RAILWAY COMPANY OF CHICAGO
                      PO BOX 67
                      Bedford Park, IL 60499-0061

                      THE CIT GROUP CAPITAL FINANCE INC
                      P.O. Box 4339
                      CHURCH STREET STATION
                      NEW YORK, NY I026L-4339


                      THE COLORADO AND WYOMTNG RAILWAY COMPANY
                      PO BOX 134L36
                      Dal-las, TX 15313-4I36

                      THE MALSAM COMPANY
                      15550 390th Ave
                      Mel-l-et.te, SD 5146I

                      THE WESTLAND CORPORATION
                      L415 CONCESSION 5
                      KINCARDINE, ON N2Z 2X6

                      TO BE DETERMINED NAME
                       0
                       0,   0



                      TOTAL QUALITY LOGISTICS
                      PO BOX 634558
                      crNCrNNATr, OH 45263-4558

                      TRANSCO RAILWAY PRODUCTS ]NC
                      91 480 Eagle Way
                      cHrcAGo, rL 60618
Case 20-11139-1-rel   Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49   Desc Main
                           Document    Page 366 of 370



                      TRANSPORTATION SOFTWARE SOLUT]ONS INC
                      C/O Compcare Services
                      PO Box 191030
                      St. Louis, MO XXX-XX-XXXX

                      TRAXXSIDE TRANSLOADING INC
                      231 Speedvale Avenue West
                      GUELPH, ON N1H 1C5


                      TRIN]TY LEASTNG CUSTOMER PAYMENT       ACCOUNT
                      w 510131
                      PO BOX 1111
                      PHTLADELPHTA, PA 19175-0131


                      TRIPLE F ENTERPRISES LLC / /
                      3380 N Calstrom Drive
                      FREMONT, NE 68025


                      TRIPLE F LOGIST]CS LLC
                      3380 N Carlstrom Drive
                      FREMONT, NE 68025


                      TTX COMPANY AGENT FOR ALS
                      Lockbox# 22984
                      22984 Network Pl-ace
                      Chicago, IL 60673-1229

                      TTX COMPANY AGENT FOR CSXT
                      Lockbox# 22984
                      22984 Network Pl-ace
                      Chicago, IL 60613-1229

                      TTX COMPANY AGENT FOR NS
                      LOCKBOX #22984
                      22984 NETWORK PLACE
                      cHrcAGo, rL 60613-L229

                      TTX COMPANY AGENT FOR UP
                      Lockbox #22984
                      22984 Network Pl-ace
                      Chicago, IL 60613-1"229

                      TUNGSTEN NETWORK INC
                      P.O. Box 535146
                      Atlanta,   GA 30353-5146
Case 20-11139-1-rel   Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49   Desc Main
                           Document    Page 367 of 370



                      TZOONG-YI INDUSTRY CO., LTD
                      #22, Lane 30, Sec. 2,
                      Honan Road
                      TA]CHUNG, TAIWAN ROC


                      UNION COUNTY INDUSTRIAL RAILROAD COMPANY
                      355 Priestley Avenue
                      NORTHUMBERLAND, PA 1-7857


                      US HIGHWAY INC
                      26W LUCAS DR
                      PALOS HTLLS,    rL   60465

                      US TRACKWORKS LLC
                      1165 142ND AVENUE
                      WAYLAND, Mr 49348


                      UTAH RAILWAY COMPANY        //
                      27603   NETWORK PLACE
                      cHrcAGo, rL 60673-L215

                      VALERO RENEWABLES /     /
                      P.O. Box 696000
                      Attn: Cash Management
                      San Antonio, TX 18269-6000

                      VANGUARD CLEANING SYSTEMS OF NEBRASKA
                      13057 WEST CENTER ROAD, STE 20
                      Omaha, NE 68144

                      VERMONT RAILWAY
                      One Railway Lane
                      Burlington, VT 0540I-5290

                      VTG
                      3045   MOMENTUM PLACE
                      cHrcAGo, rL 60689-5330

                      VTG RAIL INC
                      103 West Vandalia
                      Suite 200
                      Edwardsville, fL      62025
Case 20-11139-1-rel   Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49   Desc Main
                           Document    Page 368 of 370



                      VTG RAIL TNC / /
                      3045 Momentum Place
                      Chicago, IL 60689-5330

                      WARREN CAT
                      P.O. BOX 60662
                      MTDLAND, TX 791tL-]662


                      WATCO COMPANIES INC
                      C/O Jacob   Hamm
                      Chicago, IL 60694-9500

                      WATCO MECHANICAL SERVICES
                      33919 TREASURY CENTER
                      cHrcAGo, rL 60694-3900

                      WATCO MECHAN]CAL SERVICES
                      39575 TREASURY CENTER
                      cHrcAGo, rL 60694-9500

                      WELLS FARGO RAIL
                      9371 W Higgins Rd Ste 600
                      Rosemont, IL 60018

                      WEST TENNESSEE
                      PO Box 3295
                      Sea   Bright, NJ 01160

                      WEST TENNESSEE RAILROAD
                      P.O. BOX 259
                      340 SOUTH CENTRAL ROAD
                      CENTERVTLLE, TN 37033


                      WEST TENNESSEE RAILROAD
                      11 East Church St.
                      Sea Bright, NJ 01160

                      WEST VIRGINTA STATE AUDITOR
                      Building 1, Room W-118
                      1900 Kanawha Blvd E
                      Charleston, WV 25305-0230
Case 20-11139-1-rel   Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49   Desc Main
                           Document    Page 369 of 370



                      WF WARE //
                      PO Box 144
                      I25 ALhr Street
                       Trenton, KY 42286

                      WHEELING AND LAKE ERIE RAILWAY       CO
                      P.O. BOX 72204
                       CLEVELAND, OH 44L92


                      WTLLAMETTE VALLEY RATLWAY
                      ATTN DAVID ROOT
                      PO BOX 917
                      McMinnville, OR 911,28

                      WILMINGTON RAILCAR
                      C/O JOHN ALLEN
                      3329-K Wrightsvill-e Ave
                      Wilmington, NC 28403

                      WISCONSIN AND SOUTHERN RAILROAD
                      P. O. Box 790343
                      Bin #150071
                       sr Lours, Mo 63119-0343
                      WISCONSIN CBNTRAL LTMITED / /
                      PO BOX 95361
                      ATTN: Non-Freight Management
                      Chicago, IL 60694-5361

                      YANKTON FACTORING     INC   //
                      PO Box 2Il
                      Yankton, SD 57078
               Case 20-11139-1-rel                           Doc 1 Filed 08/26/20 Entered 08/26/20 12:21:49                      Desc Main
                                                                  Document    Page 370 of 370



                                                                       United States Bankruptcy Court
                                                                         Northern District of New york
       In re                     Gom modities, lnc.
                                                                                                                 Case No.
                                                                                           Debtor(s)             Chapter    11




                                                      coRpoRATE OWNERSHIP STATEMENT (RULE                         7007.1)

    Pursuant to Federal Rule of Bankruptcy Procedure
                                                      7007.1and to enable the Judges to evaluate possible
                                                                                                            disqualification or
    recusal' the undersigned counsel                      foi
                                         interstate commodities, in the above captioned
                                                                                             action, certifies that the
    followingisa(are)corporation(';,om@rnmentalunit,thatdirectlyorindirectlyown(s)l0Yoor
   more of any class of the corporation's(s') equity interests,
                                                                or ,"tut", that there are no entities to report under               FRBp 7007.l:


   I   None lCheck if appticabtel




           08/26/2020                                                          /s/ Gerard R. Luckman
   Date                                                                   Gerard R. Luckman
                                                                          Signature of Attorney or Litigant
                                                                          Counsel for lnterstate Commodities, lnc.
                                                                          Forchelli Deegan Terrana LLP
                                                                          333 Earle Ovington BLVD.
                                                                          Suite 1010
                                                                          Uniondale, Ny 11503
                                                                          51 6-81   2-6291 Fax:866-900-801   G
                                                                          GLuckman@forchellilaw.com




Software Copyright (c) 1996-2020 Bost Case, LLC   _   w.bestcase.com
                                                                                                                                     Bsst Case Bankruptcy
